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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
 -------------------------------
MARTIN J. WALSH, Secretary of Labor,
United States Department of Labor,

                              Plaintiff,
                                                     No. 1:17-cv-07931
                                                     Hon. John F. Kness

AEU BENEFITS, LLC,
AEU HOLDINGS, LLC,
BLACK WOLF CONSUL TING, INC.,
SD TRUST ADVISORS, LLC,
and the AEU HOLDINGS, LLC
EMPLOYEE BENEFIT PLAN,

                              Defendants.
-------------------------------:
                INDEPENDENT FIDUCIARY'S PLAN OF DISTRIBUTION

                                            A. Background

       1.      Pursuant to the Court's Preliminary Injunction Order entered on December 13,

2017 (D.E. # 59), Receivership Management Inc. was appointed Independent Fiduciary

(hereinafter "Independent Fiduciary") of the AEU Holdings, LLC Employee Benefit Plan and

Participating Plans (hereafter "Benefit Plan"). Under the authority granted by the Preliminary

Injunction Order, the Independent Fiduciary filed a Motion to Terminate the Benefit Plan (D.E.

#63). On December 21, 2017, the Court issued an Order (D.E. #74) granting the Motion to

Terminate, and among other items, directed the Independent Fiduciary, within a reasonable time

after the January 31, 2018 Benefit Plan's termination date, to establish a procedure for submitting

claims against the Benefit Plan Liquidation Estate. Said claims procedure would incorporate the

appeal process regarding any adverse claim determination as set forth in Exhibit A of the Court's

December 13, 2017 Preliminary Injunction. (D.E. #59).
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       2.      Prior to the issuance of the above-referenced Preliminary Injunction, the Court,

based upon 28 U.S.C. § 1651 ("All Writs Act"), entered, on November 15, 2017, an order staying

all actions, and prohibiting the institution of actions or collection activity by Medical Providers

against Benefit Plan Participants (amongst others) regarding amounts allegedly owed to the

Medical Provider. See Order Staying All Proceedings Against Participants ("All Writs Act

Injunction Orders") (D.E. #38).

       3.      On April 13, 2018, the Independent Fiduciary submitted a Motion to Approve its

Proposed Orderly Plan of Liquidation. (D.E. #140). On April 18, 2018, the Court issued its Order

Approving the Orderly Plan of Liquidation and directed the Independent Fiduciary to submit a

Notice of Filing with the approved Plan of Liquidation (D.E. # 146). On April 20, 2018, the

Independent Fiduciary filed the Plan of Liquidation. (D.E. #147).

       4.      The Plan of Liquidation (D.E. #147) established the procedures that would be

followed in the liquidation of the Benefit Plan regarding claims against the Benefit Plan

Liquidation Estate. The Independent Fiduciary would issue Medical Claim Determination

Statements ("MCDSs") to all Medical Providers and Participants which would set forth unpaid

amounts owed to the Medical Providers from the Benefit Plan ("Plan Responsibility Amount")

and amounts owed to the Medical Providers from the Participants ("Patient Responsibility

Amount" or "Member Responsibility Amount") for matters such as co-pays, deductibles, etc. The

Medical Provider and Participant could either accept the MCDS as accurate or could

object/appeal/request reconsideration. Any Participant who paid to a Medical Provider Plan

Responsibility Amounts relating to his/her medical billing could, under the Plan of Liquidation,

request reimbursement of those amounts. There was also a proof of claim procedure, which

allowed for a Proof of Claim form to be submitted to the Independent Fiduciary regarding non-




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medical claims, the review and determination of which would give rise to, in essence, a non-

medical claim determination statement regarding the Proof of Claim.

        5.      The terms of the Court-approved Liquidation Plan, as set forth in Paragraph 7, then

provides as follows:

               As soon as is possible after all claims have been processed, all appeals have
               been finalized, all appeal periods have concluded, and all assets collected,
               the Independent Fiduciary will file an additional Plan with the Court
               concerning distribution of available assets to all approved claimants resulting
               from the Medical Claims Determination Statement and Non-medical Claims
               Determination Statement. If there is any possibility of an interim distribution,
               the Independent Fiduciary will so advise the Court.

D.E. #147 at 17, p.5. This filing constitutes the Independent Fiduciary's Plan of Distribution.

                             B. Claim Determinations Are Complete

        6.      All claims have been adjudicated and all pending objections, appeals and requests

for reconsideration 1 regarding claims have been determined and the appeal periods concluded on

October 23, 2020.

        7.      As part of its obligations, the Independent Fiduciary also conducted its own review

of the MCDS data to attempt to identify typographical errors, mathematical errors, duplicates and

applicable discounts. This review and the appeals process resulted in the Independent Fiduciary

staff reviewing over 35,000 claim lines.

        8.      Pursuant to its duties, the Independent Fiduciary also conducted an audit of a

sampling of the appeals decisions and the applicable MCDSs to ensure the appeals decisions were

accurately reflected on the MCDSs.




        The Independent Fiduciary received nearly 2,000 appeals and requests for reconsideration. No
requests for external review were received arising from the Independent Fiduciary's determination of those
appeals/requests for reconsideration.


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         9.     Any issues or errors identified by the Independent Fiduciary's review of the MCDS

data and audits were corrected.

         10.    The total of all finalized and adjudicated claims against the Benefit Fund

Liquidation Estate is $54,843,905.55.

                              C. Pending Asset Collection Activity

         11.    Currently there are two asset recovery actions pending before this Court.

                a)     Receivership Management Inc. (as Independent Fiduciary) v. Locke
                       Lord, LLP (1-18-cv-08158), and

                b)     Receivership Management Inc. (as Independent Fiduciary) v. A.J Corso,
                       Inc., eta!. (1:19-cv-01385),

The Independent Fiduciary likely will not be pursuing any more affirmative filings regarding asset

recovery. There have been, however, numerous settlements effected by the Plaintiff/Secretary of

Labor, United States Department of Labor ("Secretary"), some of the proceeds of which have been

paid to the Independent Fiduciary and some of which will be paid, over time, to the Independent

Fiduciary.2

                                             D. Reserve

         12.   The Independent Fiduciary will reserve approximately $3,000,000, plus the

amounts to be paid over time resulting from the Secretary's settlements, for activities that remain

after payment of the Interim Distribution. These activities include, but are not limited to, matters

relating to the Benefit Plan's litigation pending before the Court, responding to inquiries from the

Internal Revenue Service, the U.S. Department of Labor, Participants, Employers and Medical

Providers, providing various notices to affected individuals or entities, communicating with



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        Additional recoveries from pending actions could give rise to consideration by the Independent
Fiduciary of making a further interim distribution, or would be part and parcel (along with other assets
available for distribution) of a final distribution at the closure of these proceedings.


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claimants and maintaining records for a period of six (6) years after the closure of this matter

pursuant to ERISA and U.S. Department of Labor rules.

                               E. Claim Classification and Priority

        13.      There are five (5) claim classifications in this Plan of Distribution. They are as

follows, in descending order of priority:

                 a)     Independent Fiduciary Fee and Expense Claims.

                 b)     Approved and determined amounts for Benefit Plan Participants who

submitted timely claims for reimbursement of amounts they paid which were the responsibility of,

and should have been paid by, the Benefit Plan (hereinafter "Type 1 Claimants") (see Exhibit 1 at

pp. 1-5). Approved and determined amounts that should have been paid by the Benefit Plan are

referred to as "Plan Responsibility Amounts."

                 c)     Approved and determined amounts for Employers who submitted timely

claims for reimbursement of Plan Responsibility Amounts they paid (hereinafter "Type 2

Claimant") (see Exhibit 1 at p. 6).

                 d)     Approved and determined amounts of timely submitted unpaid Medical

Provider claims, as reflected on the MCDS or updates/appeal results regarding the MCDS, from

Medical Providers who/which provided services to Benefit Plan Participants (hereinafter "Type 3

Claimants") (see Exhibit 2 "Plan Pay" column, which shows the Plan Responsibility as to the

unpaid claim).

                 e)     Approved and determined amounts of non-medical claims that were timely

submitted, plus the one non-medical claim that was received past the submission deadline

(hereinafter "Type 4 Claimants") (see Exhibit 3).




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        14.     The Type 1, 2, 3 and 4 Claims noted above constitute all of the approved claims

submitted as against the Benefit Plan Liquidation Estate-a total of $54,843,905.55.

                                       F. Plan of Distribution

        15     As assets become available for distribution, the Independent Fiduciary will pay

each type of claim in order of priority until payment is made in full as to that type of claim. Less

than 100% payments to a type of claim will be made pro rata.

        16.     Medical Providers, who/which cash/deposit a pro rata Interim Distribution, agree

that their unpaid Plan Responsibility claim is partially satisfied, but only to the extent of the interim

distribution amount and will be prohibited from reporting negative credit information or engaging

in any collection activity regarding a Participant in relation to the Plan Responsibility Amount still

owed. The Medical Providers, that cash the interim distribution checks, agree not to engage or

threaten to engage in collection efforts against Participants for the remaining unpaid portion of the

Plan Responsibility Amount, not to assign or transfer that unpaid portion to another person or

entity and to look solely to the AEU Benefit Plan and its Participating Plans for payment of unpaid

amounts in accordance with the Orderly Plan of Liquidation. Medical Providers that cash/deposit

a pro rata Interim Distribution will receive further interim distributions and/or final distributions,

pro rata or otherwise. Medical Providers that cash/deposit a pro rata Interim Distribution are not

prohibited from pursuing a Participant for any Member or Patient Responsibility Amount owed to

the Medical Provider nor are they prohibited from reporting negative credit information or

engaging in collection activity regarding the Participant based solely upon unpaid Member or

Patient Responsibility Amounts.

        17.     Medical Providers which do not deposit/cash an Interim Distribution may not be

subject to the restrictions or prohibitions set forth in Paragraph 17 above. Medical Providers that




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do not deposit/cash an Interim Distribution, however, will still be subject to the restrictions and

prohibitions set forth in the Court's All Writs Act Injunction Order3 (D.E. #38) until the closure

of the Benefit Plan Liquidation Estate or until further order of Court. Id. at             ~   1-3. Medical

Providers which do not deposit/cash the Interim Distribution will forego payment of the pro rata

percentage of its unpaid claims represented by that Interim Distribution. The Medical Provider

Interim Distribution checks will be void 120 days after the date of the check. The amounts of the

voided checks (i.e. those not cashed within the 120 day period) will continue to be under the control

of the Independent Fiduciary which will, at a later time, provide the Court a recommendation for

treatment/disposition of those funds.

                                        G. Interim Distribution

        18.     As set forth in the Court-approved Plan of Liquidation, "if there is any possibility

of an interim distribution, the Independent Fiduciary will so advise the Court." D.E. #147, at ~7,

p. 5. With the Reserve addressed as set forth above, the Independent Fiduciary will make an

Interim Distribution in the amount of $6,735,462.46.

        19.     Of that amount, $377,443.85 will be distributed to Type 1 Claimants (see Exhibit

1 at pp. 1-5) with a cover letter accompanying that distribution (see Exhibit 4 hereto) explaining

that the Type 1 Claimant was receiving 100% of the approval amount of his/her/its claim.

        20.     Next, $8,970.99 will be distributed to the Type 2 Claimants (see Exhibit 1 at p. 6)

with a cover letter accompanying that distribution (see Exhibit 4 hereto) explaining that the Type

2 Claimant was receiving 100% of the approved amount of his/her/its claim.




        The Court's All Writs Act Injunction Order prohibits Medical Providers from pursuing any action
against a Benefit Plan Participant and/or engaging in any negative credit reporting or collection activity as
to a Benefit Plan Participant relating to amounts owed to the Medical Providers


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         21.    After 100% payments to the Type 1 and Type 2 Claimants, there will remain

$6,349,047.62 to distribute, pro rata, to the Type 3 Claimants. Exhibit 2 attached hereto sets forth

the listings of the Type 3 Claimants and other information including the pro rata Interim

Distribution to be made to each Type 3 Claimant. See Exhibit 2 hereto column entitled "Interim

Distribution." The pro rata Interim Distribution: will be accompanied by a letter (see Exhibit 5

attached hereto) that will give notice and explain various matters attendant to the pro rata

distribution including, but not limited to, notice that a Medical Provider who/which

cashes/deposits the pro rata distribution will look solely to the AEU Benefit Plan and its

Participating Plans for unpaid Plan Responsibility Amounts in accordance with the Orderly Plan

of Liquidation4 and that by cashing/depositing the pro rata distribution, the Medical Provider is

prohibited from reporting negative credit information as to Participants relating to unpaid Plan

Responsibility Amounts or pursuing collection activity as to any Participant regarding any

remaining Plan Responsibility Amount owed. That letter will also state that not cashing/depositing

the Interim Distributions checks will mean that the Medical Provider will forego the ability to

receive the pro rata amount of its unpaid claims represented by the Interim Distribution. See

Exhibit 5 attached hereto.

        22.     There will be no assets available for an Interim Distribution to the Type 4

Claimants. The listing of these Type 4 Claimants is set forth in Exhibit 3. Each Type 4 Claimant

will receive a letter (see Exhibit 6 hereto) stating that the Type 4 claim was final in classification

and amount, that there are no assets available for an interim distribution to Type 4 Claimants and

that if funds did become available for a Type 4 Claim distribution, the Independent Fiduciary

would so notify the Type 4 Claimant.


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       The Medical Provider would still be entitled to share in future interim and final distributions by the
Independent Fiduciary, pro rata or otherwise.


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                         H. Interim Distribution Payment Procedures

                                       a) Type 1 Claimants

       23.     Upon the Court's Order Approving Plan of Distribution becoming final and non-

appealable, the Independent Fiduciary will issue checks to each of the Type 1 Claimants. The

checks will be valid for 120 days from the date of check.

       24.     The envelope containing the check will be addressed to each Type 1 Claimant's

address in the Independent Fiduciary's records and the envelope will be marked "Postmaster:

Address Correction Requested/Please Forward." The mailing will be sent by United States Postal

Service first class mail along with a cover letter, a copy of which is attached as Exhibit 4. The

cover letter will identify the tracking numbers associated with the claims that are being paid.

       25.     Any mailings returned to the Independent Fiduciary as undeliverable will be

researched to determine a revised address if one is identifiable by reasonable and economically

feasible measures. If a new address can be determined, a check will be reissued and mailing resent

as described above.

       26.     Funds reflecting checks for Type 1 Claimants that remain uncashed 120 days from

the date of issuance/reissuance of the checks, and checks for claimants for whom no revised

address can be determined as set forth above, will be disbursed to the Unclaimed Property Fund

of the state of the Type 1 Claimant's last known address following the applicable state's

regulations. The Independent Fiduciary will maintain, for the period of six (6) years from the

closure of these proceedings, records indicating to what state's Unclaimed Property Fund each

unclaimed Type 1 Claim Amount was sent.




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                                       b) Type 2 Claimants

       27.     Upon the Court's Order Approving Plan of Distribution becoming final and non-

appealable, the Independent Fiduciary will issue checks to each of the Type 2 Claimants. The

checks will be valid for 120 days from the date of the check.

       28.     The envelope containing the check will be addressed to each Type 2 Claimant's

address in the Independent Fiduciary's records and the envelope will be marked "Postmaster:

Address Correction Requested/Please Forward." The mailing will be sent by United States Postal

Service first class mail along with a cover letter, a copy of which is attached as Exhibit 4. The

cover letter will identify the tracking numbers associated with the claims that are being paid.

       29.     Any mailing returned to the Independent Fiduciary as undeliverable will be

researched to determine a revised address if one is identifiable by reasonable and economically

feasible measures. If a new address can be determined, a check will be reissued and mailing resent

as described above.3

       30.      Funds reflecting checks for Type 2 Claimants that remain uncashed 120 days from

the date of issuance/reissuance of the checks, and checks for claimants for whom no revised

address can be determined as set forth above, will be disbursed to the Unclaimed Property Fund

of the state of the Type 2 Claimant's last known address following the applicable state's

regulations. The Independent Fiduciary will maintain, for a period of six (6) years from the closure

of these proceedings, records indicating to what state's Unclaimed Property Fund each unclaimed

Type 2 Claim Amount was sent.

                                       c) Type 3 Claimants

       31.     Upon of the Court's Order Approving Plan of Distribution becoming final and non-

appealable, the Independent Fiduciary will issue checks for the appropriate pro rata amounts to the
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Type 3 Claimants. The checks will be valid for 120 days from the date of the checks. The envelope

containing the check will be addressed to each Type 3 Claimant's address in the Independent

Fiduciary's records and the envelope will be marked "Postmaster: Address Correction

Requested/Please Forward." The mailing will be sent by United States Postal Service first class

mail along with a cover letter. See Exhibit 5. The cover letter will identify the tracking numbers

associated with the claims that are being paid pro rata.

       32.     Any mailing returned to the Independent Fiduciary with a forwarding address noted

will be resent with a reissued check to the forwarding address noted on the returned envelope.

       33.     After 120 days, any checks (or reissued checks, if applicable) returned, refused, or

uncashed/not deposited relating to Type 3 Claimants will be voided. The funds at issue with the

voided checks will remain under the control of the Independent Fiduciary. The Independent

Fiduciary will make recommendation to the Court regarding disposition and treatment of those

funds at an appropriate time in the progression, toward closing, of the Benefit Fund Liquidation

Proceedings.

                                       d) Type 4 Claimants

       34.     Upon the Court's Order Approving Plan of Distribution becoming final and non-

appealable, the Independent Fiduciary will send a letter (see Exhibit 6) that will inform the Type

4 Claimant that there are no funds available for a distribution, pro rata or otherwise, to the Type 4

Claimant and that if funds do become available, the Independent Fiduciary will be in further

contact with the Type 4 Claimant.

       35.     The envelope of the mailing to the Type 4 Claimant will be marked "Postmaster:

Address Correction Requested/Please Forward."          Any mailing returned to the Independent




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Fiduciary with a forwarding address noted will be resent to the forwarding address noted on the

returned envelope.

             I. Participant Protections Resulting From Type 3 Claimant/Medical
                        Provider Acceptance of an Interim Distribution

       36.     Consistent with the Participant protections provided under the All Writs Act

Injunction Order previously entered (D.E. #38), cashing/depositing a distribution, pro rata or

otherwise, by a Type 3 Claimant a) constitutes agreement by that Medical Provider to look solely

to the AEU Benefit Plan and its Participating Plans for payment of unpaid Plan Responsibility

Amounts in accordance with the Orderly Plan of Liquidation and b) establishes a prohibition upon

the Medical Provider from reporting negative credit information or pursuing collection activity

regarding the Participant as to any unpaid Plan Responsibility Amount. A Medical Provider which

cashes an Interim Distribution would not waive its right to receive further interim distributions or

a final distribution at the closing of these proceedings. Cashing of an Interim Distribution also

will not waive the Medical Provider's ability .to pursue a Participant for "Member

Responsibility"/"Patient Responsibility" amounts nor prohibit the reporting of negative credit

information or pursuit of collection activity based solely on amounts of "Member

Responsibility"/"Patient Responsibility" owed by the Participant to the Medical Provider. Should

a Medical Provider refuse or fail to cash/deposit the Interim Distribution payment within 120 days

of the date of the check, the check payment will be cancelled and the funds held by the Independent

Fiduciary for further disposition upon recommendation made to the Court. By refusing or failing

to cash/deposit the Interim Distribution check within the 120 day period, the Medical Provider

foregoes receipt of that percentage of its unpaid claims represented by the Interim Distribution.

Any Medical Provider who does not cash/deposit a distribution check will still be bound by the




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restrictions set forth in the All Writs Act Injunction Order (D.E. #38) until the closure of these

liquidation proceedings or until further Order of the Court.

       37.     Consistent with the Participant protections provided under the All Writs Act

Injunction Order previously entered (D.E. #38), the cashing of an Interim Distribution check by a

Type 3 Claimant shall:

               a)      prohibit collection activities and actions as against Benefit Plan Participants

which include, but are not be limited to, the filing of a lawsuit or other adverse action, threatening

to file a lawsuit, attempting to assert any other law, regulations or rules to attempt to collect any

Plan Responsibility Amount, attempting to enforce any forms or other documents signed by the

Participant or other person to obtain the Medical Provider's services asserting any alleged right to

collect amounts remaining due which were the responsibility of the Benefit Plan; and

               b)      prohibit the negative credit reporting as to any Participant of any Plan

Responsibility Amount remaining due, the selling or transfer in any manner of such debts to any

other person or entity, and any request for payment of any type including but not limited to sending

a statement, collection letter or other request for payment.

               J. Notification to Type 3 Claimants of Release and Prohibitions

       38.     Type 3 Claimants received either letter or postcard mailings giving notice that the

Independent Fiduciary's Plan of Distribution would, if ordered by the Court, include the limitations

and prohibitions set forth in Paragraphs 37 and 38. Moreover, Type 3 Claimants will be notified

of the limitations and prohibitions set forth in Paragraphs 37 and 38 by the cover letter which will

be sent with the Interim Distribution pro rata distribution checks. The letter that will accompany

the pro rata interim distribution will direct the Type 3 Claimant to review the Court's Order

Approving Plan of Distribution which established the limitations and prohibitions, upon Medical




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Providers who cash their distribution and will set forth how to locate that Order and this Plan of

Distribution. A copy of the letter is attached as Exhibit 5.

                      K. Notification of Participants Regarding Medical
                        Provider's Acceptance of Interim Distribution

       39.     As soon as practicable after the expiration of the 120 day period for the Medical

Providers to accept the Interim Distribution, the Independent Fiduciary will correspond with the

Benefit Plan Participants informing them as to whether Medical Provider(s) accepted the Interim

Distribution. The Independent Fiduciary will send the above-referenced correspondence to the

applicable Participants based upon the most current address information on file with the

Independent Fiduciary. To the extent that mailings are returned as undeliverable, the Independent

Fiduciary will use reasonable and economically feasible measures to locate the Participants and,

if a revised address is so identified, will resend the correspondence to that revised address.

                             L. Requests for Replacement Medical
                               Claims Determination Statements

       40.     Participants and Medical Providers were provided MCDSs with the applicable

tracking numbers in May/June, 2018. At the time a determination on an appeal was issued, the

Participants and Medical Providers who appealed their claims also received amended MCDSs if

the appeal determination or related reconsideration altered the previously issued MCDS.

Additionally, if an audit by the Independent Fiduciary identified an issue with an MCDS, an

amended one was issued with a cover letter.

        41.    Due the costs and expense associated with sending replacement MCDSs and the

limited assets of the Benefit Plan Liquidation Estate, if a Participant or Medical Provider requests

another copy of their MCDSs, the Independent Fiduciary will handle the requests as follows:




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               a)     The Independent Fiduciary will establish a dedicated email box

(aeu@receivermgmt.com) and telephone line (615-370-5733) with voicemail to pennit

Participants and Medical Providers to request replacement MCDSs. The telephone line will direct

Participants and Medical Providers to request via email the replacement MCDSs statements by

providing the tracking numbers and the contact information for the authorized person or entity to

receive the MCDS (including the name, address and telephone number). The Independent

Fiduciary will post and provide a form for Participants and Medical Providers to request the

replacement MCDSs.

               b)     The Independent Fiduciary will respond to requests from Participants and

Medical Providers by encrypted email. No MCDS statement will be faxed or mailed by regular

mail.

                             M. Ability to Seek Additional Relief

        42.    The Independent Fiduciary reserves the ability to further move the Court to address

other claims for relief pursuant to the Court's retention of jurisdiction under the Preliminary

Injunction entered in this action (D.E.#59125 at p. 13) and under the All Writs Act (28 U.S.C.

§1651).




                                             Robert E. Moore, Jr.
                                             President of Receivership M
                                             Court-Appointed Independent iduciary of
                                             the AEU Holdings, LLC Employee Benefit
                                             Plan and Participating Plans




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                            Exhibit 1
                                     to
          Court Approved Plan of
           Distribution/Interim
             · Distribution
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                                                EXHIBIT 1


                                     AEU TYPE 1 CLAIMANTS
                                     MEMBER/PARTICIPANT
                                       REIMBURSEMENTS 1
                      APPEAL/POC #                       REIMBURSEMENT AMOUNT
                                13                                        $(115.00)
                                26                                        $(581.42)
                                28                                       $(1,230.38)
                                33                                        $(384.00)
                                38                                        $(347.51)
                                41                                        $(633.40)
                                42                                        $(322.22)
                                45                                          $(1.76)
                                48                                         $(62.60)
                                56                                        $(370.25)
                                59                                        $(743.80)
                                98                                        $(619.76)
                                103                                      $(1,295.99)
                                107                                        $(25.00)
                                119                                       $(219.80)
                                121                                      $(210.29)
                                138                                     $(2,027.88)
                                162                                     $(10,234.10)
                                163                                      $(399.59)
                                165                                       $(782.89)
                                167                                      $(1,310.01)
                                175                                      $(2,483.78)
                                178                                       $(374.69)
                                194                                       $(542.34)
                                208                                       $(487.80)
                                233                                      $(1,243.04)
                                235                                       $(574.22)
                                260                                       $(377.50)
                                263                                       $(25.00)
                                265                                       $(327.43)
                                268                                      $(1,97 5.17)
                                272                                       $(239.00)
                                275                                       $(234.46)
                                276                                       $(760.00)
                                300                                      $(2,218. 79)


    1
      Please note, to protect each Member/Participant's privacy rights, RMI has identified each reimbursement amount by
    the Member/Participant's corresponding Appeal/POC number.
                                                               1
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                              EXHIBIT 1
                     304                      $(131.28)
                     305                      $(279.77)
                     333                      $(379.99)
                     337                     $(3, 170.20)
                     340                     $(2,740.00)
                     343                     $(1,398.40)
                     345                     $(3,536.72)
                     347                     $(3, 139.58)
                     354                      $(290.02)
                     358                      $(262.99)
                     388                       $(77.00)
                     419                     $(1,452.83)
                     429                      $(105.00)
                     437                     $(1,620.00)
                     442                     $(244.00)
                     446                      $(356.08)
                     451                     $(2,734.68)
                     453                      $(947.94)
                     454                     $(2,441.00)
                     462                     $(1,509.19)
                     463                      $(667.62)
                     467                     $(20,850.00)
                     470                      $(566.22)
                     474                      $(102.10)
                     478                     $(1,026.44)
                     480                      $(125.00)
                     484                      $(170.06)
                     485                     $(2,510. 71)
                     487                      $(105.00)
                     490                       $(95.00)
                     497                      $(128.85)
                     500                     $(1,592.85)
                     503                      $(527.48)
                     524                     $(6,525.83)
                     525                     $(1,100.17)
                     526                     $(36,623.75)
                     533                      $(115.00)
                     534                      $(587.44)
                     537                      $(773.00)
                     548                       $(38.71)
                     550                      $(818.32)
                     552                      $(218.00)
                     553                     $(1,457.24)
                     555                     $(1,211.66)

                                      2
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 19 of 266 PageID #:11115


                              EXHIBIT 1
                     556                      $(4,190.24)
                     557                       $(366.10)
                     563                       $(710.24)
                     569                       $(738.48)
                     576                     $(1,181.70)
                     586                       $(779.40)
                     591                       $(369.60)
                     618                       $(212.26)
                     619                        $(49.25)
                     622                       $(496.00)
                     624                       $(199.80)
                     628                     $(10,363.00)
                     640                       $(600.00)
                     642                     $(10,702.45)
                     655                       $(235.88)
                     659                     $(3, 130.38)
                     660                      $(396.00)
                     663                      $(735.16)
                     664                     $(1,807.20)
                     667                     $(2,352.07)
                     668                     $(7,652.23)
                     669                     $(1, 105.00)
                     673                     $(10,223.94)
                     675                      $(605.55)
                     678                      $(142.91)
                     680                      $(115.00)
                     681                     $(1,359.88)
                     682                     $(3,011.41)
                     687                      $(309.00)
                     691                     $(1,566.20)
                     692                      $(99.00)
                     694                     $(7,493.08)
                     703                      $(583.00)
                     706                     $(1, 701.36)
                     707                       $(47.00)
                     712                      $(335.10)
                     713                       $(45.00)
                     717                      $(102.00)
                     724                      $(813.72)
                     727                      $(407.01)
                     728                      $(486.09)
                     729                     $(4,630.61)
                     731                      $(503.08)
                     733                     $(3,524.00)

                                      3
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 20 of 266 PageID #:11116


                                  EXHIBIT 1
                    735                        $(42.69)
                    743                       $(425.00)
                    746      ·,
                                             $(1,383.04)
                    747                       $(305.15)
                    748                       $(614.96)
                    752                     $(20,900.00)
                    753                     $(13,565.00)
                    758                     $(3,251.00)
                    776                     $(1,017.09)
                    777                     $(4,011.32)
                    809                      $(559.11)
                    815                      $(690,38)
                    816                       $(129.21)
                    819                      $(2,559.80)
                    824                      $(1,264.00)
                    829                       $(30.00)
                    838                      $(2,301.17)
                    839                      $(1,860.73)
                    871                      $(2,081.91)
                    898                      $(3,900.00)
                    958                       $(274.00)
                    977                       $(15.40)
                    987                      $(317.00)
                    991                      $(500.00)
                    998                      $(1,006.00)
                    1022                     $(3, 734.00)
                    1072                     $(491.64)
                    1141                    $(11,546.53)
                    1165                     $(360.00)
                    1224                     $(359.00)
                    1226                     $(200.00)
                    1261                      $(25.00)
                    1271                      $(648.00)
                    1397                      $(300.00)
                    1465                      $(790.00)
                    1471                       $(35.00)
                    1529                       $(25.00)
                    1588                      $(269,00)
                    1730                      $(624.00)
                    1735                       $(90.73)
                    1799                      $(975.00)
                   122/317                     $(22.59)
                   142/577                    $(169.00)
                   168/169                   $(1,080.00)

                                      4
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 21 of 266 PageID #:11117


                                                 EXHIBIT 1
                            184/426                                     $(896.00)
                            209/330                                    $(2, 724.35)
                            266/348          \
                                                                        $(159.41)
                            344/422                                     $(319.23)
                            349/350                                     $(103.10)
                             458A                                      $(1,586.00)
                           4588B-EE                                    $(37,650.78)
                              458F                                       $(954.45)
                             458FF                                       $(974.13)
                            458KK                                       $(1,232.00)
                              458P                                       $(518.89)
                             458Q                                       $(2,001.77)
                           458T-AA                                       $(803.82)
                          506/651/745                                    $(480.00)
                            546/547                                     $(1,400.00)
                            601/602                                     $(8,032.06)
                         612/1831                                       $(2,498.55)
                  632/633/634/635/636/637                               $(1,012.98)
                          658/720                                        $(55.00)
                          708/738                                        $(115.00)
                          739/559                                       $(1,248.34)
                    TALL TREE-E-000862                                  $(2,876.05)
                    TALLTREE-E-010503                                     $(43.12)
                     TOT AL REFUNDS                                   i(377 2443.85)




    2
      This Member/Participant did not file an appeal or Proof of Claim so this Member/Participant was not assigned an
    Appeal/POC number. During an audit of claims, RMI discovered that the particular Member/Participant was owed a
    reimbursement from the AEU Benefit Plan in the amount of$2,876.05.
    3
      This Member/Participant did not file an appeal or Proof of Claim so this Member/Participant was not assigned an
    Appeal/POC number. The original data received by RMI from Tal!Tree stated that the particular Member/Participant
    was owed a reimbursement from the AEU Benefit Plan in the amount of$43.12.
                                                               5
    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 22 of 266 PageID #:11118


                                                 EXHIBIT1


                                AEU TYPE 2 CLAIMANTS:
                            El\1PLOYER REIMBURSE1v1ENTS 4
                                APPEAL/POC #                           REIMBURSEMENT
                                                                           AMOUNT
                                         188                                  $ (183.62)
                                         307                                  $ (546.25)
                                        701 F                                 $ (582.00)
                                       702A*                                  $ (401.99)
                                       702B*                                  $ (300.00)
                                       702C*                                  $     (35.98)
                                     . 702E* 5                                $     (85.00)
                                     721                                      $ (352.00)
                                   751/778                                    $     (89.10)
                                   751/778                                    $   (968.66)
                                  755 A-C                                     $ (2,552.34)
                                    757 A                                     $ (462.70)
                                    757 B                                     $ (1,074.95)
                                    757C                                      $     (37.94)
                                    757D                                      $ (223.36)
                                    757 E                                     $ (145.50)
                                    757F                                      $ (107.43)
                                    7570                                      $ (601.92)
                                    757H                                      $ (220.25)
                               TOTAL REFUNDS                                  $ (8 970.99)




l
/

        4
           Please note, to protect each Employer's privacy rights, RMI has identified each reimbursement by the
         Employer's corresponding AppeaVPOC number.                                                          ·
         5
           Please note, all Appeal/POC numbers marked with an asterisk (*) are claims associated with an Employer
         which instituted an action against brokers which placed the Employer's participants into the Benefit Plan.
         Tue Independent Fiduciary has instituted an action against those brokers on behalf of the Benefit Fund. The
         action brought by the particular Employer has settled, but the Employer will not disclose to the Independent
         Fiduciary whether the release as between that Employer and the relevant brokers improperly releases
         claims that the Independent 'F,iduciary is pursuing against the relevant brokers. The Independent Fiduciary
         will hold and will not pay the amounts noted above with an asterisk(*), which are in the total amount of
         ($822.97) until it is demonstrated to the Independent Fiduciary that claims on behalf of the Benefit Fund
         against the relevant brokers have not been released (or have not been purportedly released) by the
         Employer.
                                                                6
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 23 of 266 PageID #:11119




                            Exhibit 2
                                    to
          Court Approved Plan of
           Distribution/Interim
                Distribution
                                                             Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 24 of 266 PageID #:11120




                                                                                                                                             AEU INTERIM DISTRIBUTION




XX-XXXXXXX     iADVOCATE HEALTI-1 & HOSPITALS CORPORATION
                                                                                                                  ~.·
                                                                                                            tPO BOX 92710
                                                                                                                                                     :i.·2~:.,~<f~~-~---~~-:"'=~:-~.--
                                                                                                                                                                          iOUCAGO.IL60675                                        2,803,456.45:          2,01S,401.69i      1.845,218.07!          136,801391                  215,872.03
13-3g1129s     !NYU lAGONE HOSPITAlS                                                                        isso ARST AVENUE                                              !NewroRtc, NY 10016                             l     2,049,497.66;           1,440,ss1.ss:      1.339,246.13]          225,7s3.92 1                iss,678.38
XX-XXXXXXX     .NEW YORK PRESBYTERIAN HOSP                                                                  jp0 BOX 6154 CHUROI ST                                        !NEW YORK, NY 10249-6154                               1,161.933.13:          1,U4,376.14i       1.115,939.lOj            8,437.041                 130,553.70

36-2179n9      1NO!lTHWESTERN LAKE FOREST HOSPccrl"°AL=-..._ _ _ _ _ _ _ _ _ _ _ _:cc75'-'Rf=M~ITT~A~N=CE~D~R~STE=18=3~4---------+------fiot=ICAG=(?!cclL~606=7S:....._ _ _ _ _ _-+---'1',4.,_,~..,7ll.47:                                                869,621.19;        837,953.44)           67,B4632j                   98,032.16
XX-XXXXXXX     lNoRTHSHORE UNNERSITY HEALTH SYSTEM                                                          j9730 EAGLE WAY                                               !ot1CAG0.1L 60679                     ---+--~'·~u=2.~=~-'•..,:___BD=3.S=38~.4"'3~•-~'~34~,1~08=.99=-l-~'~•·=38~•-~••~i_ _ __,ss=·=883=·cc40'-l
XX-XXXXXXX     !swemsH AMERICAN HOME HEALTH CARE                                                            IP o eox 310283                                               IDES MOINES. IA 50331                                  1.,:120,ss1.67!          181,239.741        719,636.ml           1oa,0s9.12;                  84,190.21

XX-XXXXXXX     !eNGLEWOOD HOSPITAL AND MEDICAL CENTER                                                       !350 ENGi.i: ST                              j                IENGLEWOOD,~.~•0'-'-763=1-..c18DB=-----+j---'90=3·464=.~72~;_ _--'730=·'cc•1:.:.D4c.+;--"'06=,990=3c..7!'--_..c22:c,7ecS'-=91c.:;-l----=82:c,71=0.7:..:9:.i
36:-3297173    jEDWARDHOSPITAL          H .......... _ _ _ _ _ _ _ _ _ _ _ _   -------···---·-·------·-·    iso1swASH1NGTONST                                             !NAPERVllil,FL60540                             l---"gg=s."==-98~\---'-'n""s,.~96.13}              684,221.nl            31,76a3s,l_ _ _~ao~,D4_7~.B"'-I0
31--0950110    !NoRTHWESTERNMEMHDSP                                                                         /POBOX73690                                                   /0i1CAGOIL60573-7690                                   1,145,609.3Df            11s.349.a&;        649,228.43/           Sl.099.o;!                  1s,ss3.22.
XX-XXXXXXX     !NORlHSIDE FORSYTH                                                                           iPO BOX 101818                                                 A11.ANTAGA30392·1818                                 1,620,959.DOl             607,026.85:        595,376.731           11,047.49'                  69,653.11
                                                                                                                                                                                                                          1
XX-XXXXXXX     luKGoPCo Ll.C                                                                                lpo eox 1438                                                  !NEWARK..NJ01102-1433                                   647,784.soi             575,289.631        569,198.89             u10.14\                    66,590.57
XX-XXXXXXX     !PRESENCE CHICAGO HOSPITAtS NETWORK                                                          162243 coLLEcnoN CENTER DR                                    io11CAGO, IL 60693-0622                         I     1.069,840.71:             592.,757.54!       s59,n1.21!            48.129.71!                  65,487.63

1.3-1624082    !MEMORIAL HOSPITAL FOR CANCER AND AWED DISEASES                                              !PO BOX 27998                                                  NEW YORK, NV, 10087                                    800,983.75/             558,823.22)        527,887.311           5S,038.SOj                  61,757.53
XX-XXXXXXX     iJOHNOAROilBOLDMEMORIALHOSPITALINC                                                           !920CAIRORD                                 I                 [THOMASVILLE,GA,31792                           i       733,036.021             S41,95834i         502,505.24          108,363.521                   58,788.08

SS-0526150     ICHARLESroNAREAMEDICAt.CENTER                                                                !Posox3111s                                 !                  BALTIMORE.MD 21297                                     64S.126.3Si             sss,035.34)        soo,358.39            n..c18.3s!                  ss,535.92

~917           isrAMFORDHOSPrrAL                                                                            IPDeox9317                                  I                  srAMFORD,cros904-9311                                  1is,9ssAs!              540,sa3.19l        496,333.25            s1.019.14I                  sa,066.02
XX-XXXXXXX     !LONG ISlAND NEUROSCIENCE SPEOALISr                                                          1285 S1US BLDG :!r6 STE E                   !                  E PATOiOGUE, NY 11772-8814                             438,300.00\             437,3.90.22i       437,390.22,            5,883.121                  SU70.28
5!H943S02      lsHANos HCSPITA1.AT uF                                                                       !PO eox 1000os                                                 A11ANTAGA30348-000S                                    626,682.901             «K>,sn.14!         417.574.40             s,180.34]                  48,ss2.02
13--1G2413S    INew York Sodetyfarthe Relief af Ruptured and Crippled Maintaining                           \PO BOX 29174                                                  NEW YORK. NV, 10087                                    606,08S.36i             423,435521         399,182.191           24,726.31 f                 '46,70032
XX-XXXXXXX     IWESrOIESTERMEDICALaNTER                                                                     19SGRASSlANDSRDBLVDTCCROOMM202              I                 1VAI..HAI.J..A.NY10595--1646                            542,315.731             385,461.07!        382,292.641           27,104.83]                  44,724.41
               IELMHURST MEMORIAL HEALTHCARE                                                                !155 EBRUSH HILL RD                         f                 !ELMHURST, IL 60126                                     454,017.801             383,387.94\        374,385.14             9,872.36!                  43,799.31
XX-XXXXXXX     !NEW YORK UNIVERSITY
                                                                                                            1
                                                                                                             Po eox 415662                                                lsosroN, MA 02241-5662                                  143.352.93:             42S.SB7.6Si        351.039.54!         12a.66L43    !                41,oss.11
XX-XXXXXXX     \MONTUlOREMEDtCALCENTER                                                                      IPoBOX4SSO                                  f                 .NEWYORK, Nv, 10261                                     365,618.521             364.SSS.861        341.5u.11i            25.313.19i                  39.9.53.61
XX-XXXXXXX     iNORTHWESTERN MEDICAL FACUUlY FOUNDATION                                                     !38205 EAGLE WAY                            j                 ;OilCAGO, 11. 60678-1382                                466,oas.soi             373,543.11\        334,796.07            47,316.06 1                 39,167.79
XX-XXXXXXX     i,1cowMe1A HOSPrrAL CORPORATION OF .SOUTH e.                                                 !8201 w BROWARD BLVD                                          IPLANTATION, FL 33324                                   aeo,067.77!             329,158AS!         329,157.67.         504,681.53\                   38.SOS.15
                                                                                                                                                                                                                                                                            1
4~1203188                                   0                                            _ _ _ _ _·_··-...,·-1f-,,_s_GSOLUTION=scccrcc•'------------+----·-·Ja-11CAG01L606n-1004                                                1~.~-26;______        _____ 370.S=•=•.94=-·'!-, _.=309=,62=8.34=1---•=<;2=7-=8."-'78'!-i----="':=.223=-c::"~
F3=-6-=-3484=28='=---ti~='=LNe::c:;uc.::::;::.:~::cDU=·~"'l Y"-CA-":=·:::-"~-=L~H~H:A-:.-:.-:.-:.-:.-:.-:.-:.-:.-:.-:._ _ _ _ _ _ _ _ _\3~00~-~~D•~LL~•~OA_D __________--i'-----t-'1,GEN_EII_A.~IU_u;o_134
                                                                                                                                                                                                        ________,..__._59~;2_48._69~l--~32S~,7_2'l_.28_1f--_3~D6,669.941                           26,122.32!                  35,Bn.31
a2-20624u      iPHOENIXVIUE HOSPrrAL u.c                          -----------·-· ___________ ------+lP_,o"so~•~12=•'.-5_ ____                           l140 NUTT RD       PHILADELPHtA. PA 19176                                 306,348.50)             306,21s.so!        301.2995&!             4,97a94l                   3S,249.o3
XX-XXXXXXX     IALEXIAN BROTHERSMEDCNTR                                                                     i22S90NETWORKPLACE                                            iOJICAGO,IL50673-1212                                   347,223.0.Zj            310,622.11!        298,560.99:           17,984.78!                  34,928.65
XX-XXXXXXX     !CA.BELL HUNTINGTON HOSPITAL                                                                 !1340 HAL GREER BLVD                                           HUNTINGTON WV 25701-9977                               358,040.36;             333,76Ei.97l       298.0,0.33!           35,696.64 J                 34,871.24
XX-XXXXXXX     lLA PORTE HOSPITAL                                                                           133372 COllECTION CENTER DR                                   ]CHICAGO, IL60693                                       374,36450:              301,.800.811       295,662.77:            6,138.041                  34,58958
XX-XXXXXXX     ]MERIDIAN HOSPITAL CORPORATION                                                               !PO BOX416765                                                 ;BOSTON, MA. 02241                                      403,822.00;             291,.974.10\       271,94L39             15,99S.33!                  31,814.42
XX-XXXXXXX     ]LONG ESI.AND JEWISH MEDICAL CENTER                                                          jPO BOX ~7400                                                 iPHllADELPHlA,. PA, 1919S                               483,766.97'.            275,717.42\        26Ei,34L75             9,375.67j                  31,159.32
XX-XXXXXXX     lADVOCATECONDELLMEDICAl                                                                      ]307SHtGHlANDPARKWAY                        l                 !D0ENERSGROVE,ll60515                           ;       489,602.00:             275,071.39;        265,362.60             9,708.791                  31,044.77
XX-XXXXXXX     lscUTHEASTERNREGMEDCTR                                                                       ls2GSOcoL1.EcnoNsC£NTERDR                                     !CHICAGO,IL60693                                        405,4S0.4Si             264,997.01\        264,997.01                      -l                31,002.00

XX-XXXXXXX     IASHLANOHOSPIT."'AL=c=o•"'PO-"RA=TI=o~•--------------t:~eoxist                                                                     ---f-----i[FAS"-H=LAN=D-"KY'-'•='='°'=-0,,1,_,sc,.1_ _ _ _ _-+----=m=·•=••=.2"-•1'--_ _.,273"'1.=483==.s•'--''=62.356.==12'+---'12=·'-"018=3'=[_ _ _--'3:::D,e,:69::l:::·044
XX-XXXXXXX     !NEW YORK PRfSBITTRIAN HOSP                                      ----------;!=S2S=EASr=1=68Tlt=~STll=EET~----------+------ri~~Y0RK, NY 10021                                                                        513,935.88!            277,032.89;        251,975.21l           36,848.4Si                  29,478.58
14--1338586    !VASSAR BROTHERS HOSPITAL                                                                    !1351 ROUTE SS                              )STE 102          ~LAGRANGEVILLE, NY 12540                                 267,04L31:             249,655A7j_        244,977.861            4,953.40!                  28,659.96
XX-XXXXXXX     !CA.ROIOLOGV MEMORIAL PROFEES                                                                !PO BOX 19287                                                 iSPRINGAELD IL 62794-9287                                458,386.92;            255.2D120i         243 4S3.40j           11.747.80(                   28.481.61


                                                                                                                                                       EXHIBIT2
                                                          Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 25 of 266 PageID #:11121




                                                                                                                                                                                                                                            -·-
                                                                                                                                  AEU INTERIM DISlRIBl/TION



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                                                                                                                       ,..::~1.~~   .:;""6-> ...~;"",...
                                                                                                                                                               "'<:?!;;$\-··
                                                                                                                                                               :'."~k,m· - . .;,,_'.::_         a         -~'"'~~~1J.,.,~                  l..:~                   ~--       ~·
~D-4238269       INEONATOLOGY ASSOCAlcS OF ATlANfA                                         'IPO BOX 277279                                                 !ATLANTA. GA, 30384             ;    359,425.0Di       249.11!1.70~    242,791.641        6.328D6l            28,404.19
3&-2276984       !ADVENTIST HJNSDALE HOSP                                                   120N OAK ST                                                    !HINSDALI:, IL60521                  353,401.62:       2.su16.57'      237,090.43!       17,033.!:13!         Zl,73121
XX-XXXXXXX       '!ADVOCATE NOR11i51DE HEALTH NEJ'WORIC                                     3075 HIGHLAND PARKWAY                                          !oowNERS GROVE, ll 60515             409,718.43!       247,717.02)     236,31L6ll        27,620.841           27,646.09
XX-XXXXXXX       iPORTERCARE ADVENTIST HEALTH S\'Sl'EM                                     ,PO BOX 912585                                                  !DENVER, CO, 80291                   347,084.231       232.188.04]     223,894.40 i       8,339.24i           26,193.40
XX-XXXXXXX       IMOUNT SJNAI HOSPITAL                                                     jpo BOX 27759                                                   INEWYORK,.NY10087                    307,895.16:       ~J.835.lOj      220,64158!        18,19352!            2S,B12.116
XX-XXXXXXX       IHACKENSACK UNIV MEO CTR                                                  !30 PROSPECT AVE                                                jHACKENSA~. NJ 07601                 372.758.80!       231.428.631     219,872.571       11,36626!            25,722.89
~,;.2340313      !NORTHWEST COMMUNITY HOSPITAL                                              26779 NETWORK PLACE                                            !otlCAGO, IL 60673              i    410,657.77'.      247,862.11!     217,936.581       28,247.311           25,496.40
XX-XXXXXXX       !PRESENCE HOSPITALS PRV                                                    32815 COI..LECTION CENTER OR                                   !orrCAGO, IL 60693              I.   435,763.66:       :U5,242.39i     216,706.531        9,81376!            25,352.49
XX-XXXXXXX       /STATEN ISlANO UNIVERSITY HOSPITAL                                         475 SEAVfEW AVE                                                /STATEN ISLAND, NY, 10305       )    199,318.99:       213,909.58]     210,028.851       21.050.60{           24,571.27
XX-XXXXXXX       [SAJNT ANTiiONY MEDICAL CENTER                                            lS666ESTATEST'                                                  iROCKFORD, IL,. 61108                321,686.50 1      i-74.886.36:    203,663.161 '    (lS,123.47)(          23,826.55
XX-XXXXXXX       louR LADY OF BELLEFONTE H                                                 )po BOX 406997                                                  !AnANTA GA 30384-6997                252.981.87:       215,930.81!     202,&11.ss!       13.253.261           23,711.24
XX-XXXXXXX       !TREASURE COAST REC0\11:RY                                                !PO BOX 101715                                                  !PASADENA CA 91189-0037         i    278,547.DO'.      200,639.GSi     198,889.&si        1.7SODO\            23,268.10
XX-XXXXXXX       [THE OiARLOTTE-MECICLENBURG HOSPITAI..AUTHORITT'                          !Po BOX 32861                                                   !OIARLOTTE. NC. 28232                307,11SA7;        215,396.63{     195,095.60!       21,865.26/           22,824.23
XX-XXXXXXX       lsr FRANCS HOSPITAL                                                       '!PD BOX 95000-6560                                             IPHJtADEIJ'HJA. PA, 19195            235,375.74:       193,053.151     184,655.07i        8,398.0Bi           21,601_79

XX-XXXXXXX       (KENOSHA HOSPITAL& MEDICAL CENTER                                          ~BOX130                                                        !KENOSHA. WI, 53141                  244,749.66,       19S,560.24!     182,514.73!       13,111.291           21,352.40
XX-XXXXXXX       !otESHIRE MEDOAJ.CENlER                                                   lsaocouRTsr                                                     !KEENE, NH 03431                     276,174.fiS;      l99,10L00:      179,434.56!       21,672.871           20,992.05
XX-XXXXXXX       lsaLVER CROSS HOSPITAL                                                    !,011 SOUJTION CENTER                                           iC!ilCAGO, ll 60677.0001             252,420.55'       190,691.371     178,257.241        9,oos.95i           20,854.31.
XX-XXXXXXX       !ROCKFORD MEMORIAL HOSP                                                    2400 N ROCTON AVENUE                                           IRCCK'FORD. IL 61103                 387,633.38j       217,283.51!     170,961.08!       66,3123Si            20,000.73

XX-XXXXXXX       iAUROftA HEALTH CARE SOUTHERN tAICES                                      !PD BOX 343918                                                  !MILWAUKEE WT 53234-3918             245,376.10 j      215,740.os!     169,28LS8!        47,227.06!           19,804.25
XX-XXXXXXX       lwATERTOWN MEDICAL CENTER uc                                              \pa BOX 684037                                                  louCAGo IL6069s..to37                1B4,BBS.3Si       17S,887.43!     168,587.731        7,299.10!           19,723.08
ll-1871039       ]ST CHARLES HOSPITAL                                                      !PD SOX 95000-6570                                              lPHllADELPHIA, PA 1Sll95-6570   l    331,99Lll6   !    176,896.27j     163,281.23!       14,135.041           19,102.27

3G-2S13909       lCENTRALOUPAGE HOSPITAL                                                   j25 N WINAELD RD                                                \WINAELD,   ~ 60190             I    494,188.37]       241,.234.92!    157,828.46\      106,729.201           lS.464.35
SS-0357050       !ST MARYS HOME HEALTH CARE                                                 POBOX31DB                                        I             IHUNTINGTON WV 25702-0108       i    175,Q65.89i       164,M9.62i      156.436.03 (      10,146.59!           18,301.45

XX-XXXXXXX       '
                 !WHITE PI.AlNS HOSPITAL MEDICAL CENTER                                     POBOX28990                                                     !NEW YORK, NY, 1DOS7                 273,344A9)        180,570.97!     156,235.0S!       36,170.SSj'          18,277.94

11-3243-405      lsroNv BROOK UNIVERSO"Y HOSPITAL                                           POBOX29306                                                     !NEW YORK,. NY 10087-9306            286,516.57!       168,650.59; '   153,087.371       42,949.741           17,909.69

ll-1352310       !soUTH NASS,I\U COMMUNmES HOSPITAL                                        '
                                                                                           !1 HEALTHY WAY                                                  !OCEANSIDE, .~Y. 11572•1551          195,741.fiS(      162..SOL_~&t    152,920.06!        9,881.1ol           17,890.12

S!.-0724462
              ······1WlNTER HAVEN H05PITALINC...... "..........

XX-XXXXXXX ___ . _j~llOREN S MEMORIAL HOSPITAL
                                                                                            PO BOX 743545

                                                                                           !225 E OIICAGO AVE
                                                                                                                                                           IA11ANTA. GA 303743545

                                                                                                                                                           !CHICAGO, IL,. 60611
                                                                                                                                                                                           !    183,349.22;

                                                                                                                                                                                                204,862.16!
                                                                                                                                                                                                                  150,346.35i
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                  160,.~~5.49 (
                                                                                                                                                                                                                                  149,846.35\

                                                                                                                                                                                                                                  146,500.3;,j .
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                                                                                                                                                                                                                                                    14,195.181
                                                                                                                                                                                                                                                                         17,530.52

                                                                                                                                                                                                                                                                         17,139.07

XX-XXXXXXX       !HOLY HAME MEDICAL CTR                                                    lPO BOX 42966                                                   IPHllADELPHIA, PA 19101-2966         195,349.061       156,074.58!     14S.S18.96l       12,132.821           17,059.36
XX-XXXXXXX       iL.EBANON HMA llC                                                         IPo sox 261384                                                  f~~A. GA 30384                       245.9BB.23;
                                                                                                                                                                                                           !
                                                                                                                                                                                                                  149,738.54!     143,999.621        5,738.921           16,846.51

XX-XXXXXXX       lsoUTHAMPrDN HOSPITAL ASSOOAT10N                                           PO BOX3078                                                     iHICKSVIUf, NY, 11802           I    212,417.17        154,633.64I     142,564.0S!       36,277.86!           16,li78.S7

XX-XXXXXXX       !TRINrrv MEDICAL CENTER                                                   jpa BOX 26708                                     !             !SALT lAKE CITY, UT, 84126      I    174,731.31!       144,047.111     142,543.62i        2,788.69[           16,676.18

XX-XXXXXXX       iMEMORIAL HERMANN HEALTH SYSTEM                                            PO BOX 301208                                                  loAUAS TX 75303-1208                 2l.l,841.3Dl '    lS0,916.66~     142,197.18]
                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                     9,539.53!           16,635.65
XX-XXXXXXX       '
                 IUNIVERSITY OF CNctNNATI MEDICA                                           lpO BOX 634856                                                  !oNONNATI, OH 4S263                  250,383.04'       238,997.13!     138,997.13!                            16,261.27

XX-XXXXXXX       lTENET HEALTH SYSTEM NORTH SHORE INC                                      11100 NW95TH STREET                                             '!MIAMI, Ft.33150                    184,lDZ.13]       U8,076.63i      137,173.15!          903.48!           16,047.88

XX-XXXXXXX. -- /WAUKEGAN IWNOISHOSPITAI..COMPANY                                           '
                                                                                           !POB0XSD4316                                                    !SAINT LOUIS,H~.. 63150              341,418.47i       ts3,469.4Si     135,549.19/       52,610.231           15,857.90
l.3-1624190      INEW YORK PRESBYTERIAN HOSPITAL                                           'iPOBOX8448                                                     !CORAL SPRINGS, R. 33075             l.57,254.07i      1381!.~3.35[    132,824.44!        6,008.91!           15,539.13

~1321373         ]HCA-I-IEALTHONE U.C                                                      lPOBOX403417                                                    !ATIANTA._(!~30384                   276,241.83:       lS3,337.33i     131,902.BSi       21434.48;            15,431.31
XX-XXXXXXX       lvALE NEW HAVl:N HOSPITAL                                                 l20 YORK STREET                                   I             '
                                                                                                                                                           !NEW HAVEN, CT06504                  209,478.26;       l4L211.os\      126549.67i        15.445.781           14,805.04


                                                                                                                                           EXHIBIT2
                                                   Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 26 of 266 PageID #:11122




                                                                                                                        AEU INTERIM DISTRIBUTION



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                                                                                                                                                                                                                  ~                                                             ~~f?t!
4s-soss149     isr ANTHONY SHAWNEE HOSPITAL                                       i1106 SOLUTION CENTER                                                !aHCAGo. IL 606n-,001                             148,713.09;         132.586.23~     124,sss.s'll        8,027•66   !           14,572.11
 XX-XXXXXXX    iJFK MEDICAL CENTER LIMITED PARTNERSHIP                            lro sox 402811                                                       1ATI.ANTA.GA 30384-2811                          111.164.001          12s.313.ool     t24,42Ls~I          3.951.14               14,s56.u
 XX-XXXXXXX    iTHEOtRISTHOSPfTAl                                                 l2139AUBURNAVENUE             i            ' □NONNATI,OH45219            172.,636.59'.        127,766.60)         121,768.37:             5,999.Zii                  14.245.68

                                                                                                                                                                                        ..'t-!--=12::1.S211="'""-1;-!_ _,_,4,,.2,,4'-'7.3=•c.·!_ _ __,_,4,,.21=7.,,,66'-I
F:,s-,=2S2=•1~•~1--;:~vAN=o=•""=n.T~M~•=o~o~••-----------------+lo"'E~Pr~A~T~•03=79'------------~----lf'.A"'llANl==._=GA.=3'='•=2'-------1--"=o.=••=•.57=;'--.....:13:,,:3,c.3,:0'-'7.,,,
F-==54='-:i=coo=•cccc=cuecNlY=H"'EAL=TH"--"HOSP=+-rrA"'LS=-----·---------+b=57+-06=•=cETWO=cc••+-PL-=------------+----!°'1CAGo.-1L._606_73_______+-_~13=7~,64D=.69=;-i--~135=,5=-68=-D1c=;-:-==~•=-240=·•=-,2!__=15,,.3=.27"".o=•+-l____::lA,:,0665=e:•ci
XX-XXXXXXX     1NORlHSHOREIABORATORYSERVICES                                      i9532EAGLEWAY                                                        iQIICAGO,IL60678                                 228,024.00'.         160,739.99;     120,009561        44,511.55               14,039.92

          ••-..;i_w~esr_CH_em~•-M~eo~•=~----------------.l•_o_so~x_.,_.,~••------------c._----'ra~N~a•~NA=n~DH=•~s2=6l~------t--~'":::'-=18!1=S1"-;--;__-=12=0,"-407=,..::;~;--~'='"=<,so4=s:::o:;-;___c:•12S=::e•f----'"•"'·0=5.9=!
,_•_1-_15884
       __                                                                                                                                                                                                                     1 7
XX-XXXXXXX     !LENOX HIU.HOSPITAL                                                jPO BOX 95~7415                                                      !PHllADElPHIA. PA 19195-741.5                    215,380.74'.                    .    117,099.941       45,364.15 j             13,699.52
22=-150=0556=-,i=QARA=~MAASS==M~ED=ICAl'-CE-NTE-.---------------;1",~ClAR=A"M~AASS=-'-0~.~----------·t-----li".,"'lIBll=ll.E,=c..,""0"'71"'09-3=550'-'--'=------,--,-~,.=•."',os=.oo::;,---:=::c::::=:::::::;;---','"',."'.lS"'s".2"'•;.-,-~,.,=s~,...
                                                                                                                                                                                                                                                    =.,-,,---~13=,58=._=oo,
1~1387862      iauEsrorAGNOSTICS                                                  l2966coUEcnoNC£NTERORIVE                                             CHICAGO.IL60693                            i     559,175.52'.         197,1)62.96!    115.436.60!       90,Bls.m[               13,504.93
XX-XXXXXXX     !HoMECARE RX INC.                                                  lpo BOX 2397                                                         !SECAucus, NJ 07096                              145,648.20;          113,548.so!     113,135.60!       3~12.so                 13,235.73

3~2167869      !FRANCISCAN HEALTH OLYMPIA FIED                                    '36211 EAGlE WA.Y                                                    iCHICAGO, IL 60678                               213.418.0Sj          110,840.101     109.96254!         2.131.161              12.864.52

 XX-XXXXXXX    lsr DAVIDS HEALlHCARE PARTNERSHIP                                  h201 w LOUIS HENNA BLVD                                              iAUSTIN. TX. 78681                               211.567.oo!          114,940.BS\     109,93s.10!        5,oos.1s!              12,861.31
XX-XXXXXXX     iMlAMIVALLEYHOSPITAL                                               !POBOX932699                                                         !a.EVELAND,OH44193-0015                          186,639.131          110,648.79[     109,462.98!        1,185.81!              12,806.07

3~3208390      !ADVENTIST GLENOAKS HOSP                                           !701 WINTHROP AVENUE                                                 iGLENDAlf HEIGHTS, IL 60139                      141,714.46;          111.415.3ti     108,185.751        3,229.56!              12,656.65

XX-XXXXXXX     !AURORA MEDICAL GROUP INC                                          [PO BOX 341457                                                        MILWAUKEE w153234-,1457                         20:Z.856.14[         tsB,670.31;     101,n6.ssl        52,901.tsl              12,60s.1s

XX-XXXXXXX     !REDLANDSCOMMUNITYHOSPn'Al                                         lPOBOXlOS18                                                          SANBERNARDINO,CA92423                            440,102.2ti          106,533.69)     106,533,69i                _l             12,463.37

XX-XXXXXXX     \WISCONSIN SPECALTY SURGERY CEN                                    J1401104THAVE                                                        lKENOSHAW153142-784S                             214,401_41;          118,4gg_e3i     106,341.33[       12,is2.SO               12.441.57
XX-XXXXXXX     !TEXAS HEART HOSPITAL OF THE SOUTHWEST LL                          IPoBOX849900                                                         IDAUAs, lX75284-99oo                       I     138,301.28!          103.725.96(     103,725.961                               u,134.90

XX-XXXXXXX     )SARASOTA MEMORIAL HOSP                                            l1100STAMIAMITRL                                                     ISARASOTA.FL.34239                         I     131,144.15;          104,716.86:     103.432.lSi        1,284.71               12.100.53
27-328059B     1PMC HOSPITAL UC                                                   .PO Box 660615                                    J                  loAUAS, TX. 7S266                          I     163.266.33;          106,033.11~     1m.21L5sl          :Z.B2Ls2i              12,014.72

XX-XXXXXXX     !MARIN GENERAL HOSPrTAL                                            !PO BOX 45089 SUITE 7000179986                                       ,SAN FRANCSCO, CA 94145                          134,087.061          105,928.78~     102,92B.78i        3,ooo.ooi              12,041.64

XX-XXXXXXX     lxlSHWAUKEE COMMUNnY HOSPITAL                                      12826MOMENTUMPlACE                                                   !~ICAGO,ll.60689                           I     123,300.54;          107,395.SOi     101,88434]         3,99S.S7!              11,919.45

46-2!at956     !MONTEFIORE NEW ROOIELLE                                           iPO BOX 28603                                                        INEW YORK NY 10087-8603                          146,076.SO]          102,198.63~     101,656.63 j         497.oo   I           11,892.81

~~:!_~~.. ~---·i·gJLUMBlA MEDICAL CENTER OF DENTON                                jPo BOX 406310                                                       ATI.ANTA. GA 30384-6310                          265,549.73i          103,512.49~     100,700.49[        3,423.67               11,780SS
F'~~~"~•~sas=~'===LA-~•~o~CUN=1c~,o~u~•~o~•n~DN=______________,,!P_o_ao_x_•~•-1087___________                                                          a.EVEtAND,_p_J:!.~44_,_.,_ _ _ _ _ __,__~1•~1,4~21=.os~:___1~13~,4~9~•.23=+;__..
                                                                                                                                                                                                                                     =,9~1•~J1D"'i--l-~13=,54=s·="'+i---~'~'-=69c.=6.2=•'-1
F2~==•~•cc12~...:PO=RTE=•~"~DSPIT=Al=LL~C~----------------fi',~57""=~'o~u~•~cno=NS~cm~o-•_                                                ----t'"~'CA~GO~·~•L_60693~-------+-~238~.3~32.=•'=,....--~10=2,8~01=-.65='--..                =,8=29=-19=+-I--=·•7cc5='-"=c''l-'----=ll,=67=··=02'-I
 XX-XXXXXXX     !AURORA HEALTH CARE METRO                               lpa BOX 343918                                                               MlLWAU~~ WI 53234-3918       I ·····-·-·124,033.42!---- ...--·-· 106,4_35_.38~;_ _.~.3_67_.D_l,_i,
                                                                                                                                                                                                                                          .                  7,954371               11.624.94
SS-2032904 _   iKENNESTONEHOSPITAL                                                !POBOX406163                                                         iATIANTAGA30384-6163                       ·r-   143,060.64!          109,847.62)      97,250.98;       13,ns.11!               11,3n.39
XX-XXXXXXX     iLOSROBl.ESHOSPITALANDMEDICALCENTER                                IPOBOX402602                                                         !AllANTA.GA30384                                 23S.511.53,           98,807.06!      96,761.02!        2.046.04i              11,320.07

XX-XXXXXXX     lsr EUZABm-t MEDICAL CENTER                                        !Po BOX 63o280                                                       !cNONNATI, OH. 45263                             152,,1S9.98i         108,391.78;      95,705.oa!       12,686.701              11,196.54

XX-XXXXXXX     IREGENTS OFTitE UNIVERSITY Of CAUFORNlA                            !ALE 55737                                                           LOS ANGELE$, CA90074                       I     142,955.00i          100,32932j       95,529.361        4,799.961              11.175.98

XX-XXXXXXX     ICENTURY SPEOALTY SCRIPT W:                                        [& ASHER AVE                                      !                  !TUCKAHOE, NY 10707·2604                         128,706.91~           95,131.231      94,482.541          648.69               11,053.51

XX-XXXXXXX     INORTHRIDGE HOSPITAL MEDICAL CENlcR                                iRLE 8874                                                            !Los ANGELES, CA90074-8874                       189,434.0SI           97,805.ooi      94,184.071        3,620.93               11,018.59

2~3S36780      lsuMMA WEsrERN RESERVE HOSPITAL LLC                                11900 23RD STREET                                                    OJYAHOGA FAUS. OH 44223                          119,736.00            93.573.50;      92,930.40!          643.2.D!             10,871.93
XX-XXXXXXX     !APPAtACHIAN REGIONAL HEALTHCARE INC                              _lpgsox211_ _ _ _ _ _ _ _ _ _ _ _ _, __ _ __,lWESTuBERTY,KY.4t472                     12668699!                                             103440n:         9:Z.756.21}      ts08666!                1ossLSs
XX-XXXXXXX     1ouPAGE MEDICAL GROUP LID
                                                                               . - ll~oow
                                                                                        31STSTREET5UITE 300         f          loowNERSGROVE.~-,-,.-os-,.------r---~,,~,,s~·                                 =oo=:so~-~:--~11~.~~95=;,.'-;;-~,,.~1~..~.22=t-!--=•~~~.,=.=:6S~;---~,=.=:ss=o.=,=-i.
XX-XXXXXXX     !PARKWAY PHARM                                                     !3502usH1GHWAY9                                                      lHowru.NJon31                                    116,521.20!           91.718.84!      91,s10.84i          zos.oo!              10.1os.ss

XX-XXXXXXX     INEUROSURGICAL ASSOOATES PC                                        !PO BOX 21127                                                        INEW YORK. NY, 10087                             179,654.001           91469..80!      91--424.80!                              10.695.79


                                                                                                                                  EXHIBIT2
                                                 Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 27 of 266 PageID #:11123




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--~,AX:ll)K(-ti.,,.,~-~~..,~~,>t,!l$Ulflli~~..-.~.a:--.. ~ADORfS~g.'!~.~-£#.!'k~,
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                                                                                  __, . r : , ~ . : . i , , t J ~ i ~ ~ ~ - . t.ANIP"Nf:" :
23-7098S32    !SARAHBUSHUNCOLNHEAtTHCENTER                                                         !Po_BOX37Z                                !            !~TTOON.IL.61938                 !   130,279.521    104,518.561     9L390.6Si       17,411.50!             10,691.79
XX-XXXXXXX    !NORTH SHORE HOSPITAL HHA                                                            !Po aox 95000-1420                                     !PHH.ADELPHIA. PA 19195          !   243,444.63'.   100,135.33)     s9.~so.ssl      11,274.73   !          10,466.00
11•3355604    iPaoHEALll-lCAREASSOCATEUP                                                           !2sooMARCUSAVENUE                         I            !LAKesuccESS,NY11042-100s        i   196.714.54:    112.SDS.47'     sa,&38.1&j      2s.54s.44!             10,369.78

59-07473'11   1BAPTISTMED1CAI..CI:Nlc.R                                                            IPOBOX45094                                            \JACXSONVIUER32232-5094              123,244.60\     91,393.83\     88,235.101       3.318.73l             10,32262

zo.1129~1~jEASTBATON ROUGE MEDICAL CENTER LLC                                                       !Pa BOX919218                                         iDALLAS. TX75391-9218                m,19a17i        89.~_~:g ____    ._._IBi"l
                                                                                                                                                                                                                           .,~_,_ .       _ _~1.994.~~•"s3j_ _ _ _10~.2~1~0.~1,o
XX-XXXXXXX •.. )ntEVALLEYHOSPITAL                                                                   '
                                                                                                   i223 N VAN DIEN AVE                       i            !RIDGEWOOD, NJ 07450-2726            144,852.45;     94,117B8l      87,459.90:      33,080.79'             10,231.93
~1287638      iNORlH COLORADO MEDICAL CENTER                                                       lPOeox 1988                               i            !GREELEY, CO 8D632               j    95,716.20]     89,973.16!     86,774.81!       3,198.35!             1D,l5L78
XX-XXXXXXX    MOSES CONE HEALTii SYSTEM                                                            IPO BOX 4115541                           I            !
                                                                                                                                                          !ATLANTA GA 30384-S541               100,249.89;     93,99332•      86,499.751       7,604.30!             10,119.60
XX-XXXXXXX    · RONALD E LEV MD PC                                                                 i150W56THSTIJ44                                        !~EW YORK, NY 10019                  lSt.290.00;     88,84257!     84,934.93j        3.907.27               9,936.54
XX-XXXXXXX    THE UNMRSITY OF CHICAGO Ml;OICAI. CENTER                                             I1122   PAYSPHERE CIRQ.E                               ;CHICAGO, IL 60674-0011              122.178.S!f    101,681.16:    84.497.62 1      18,089.57               9,885.38
XX-XXXXXXX    iMETtKIDIST HEALTH CENTERS                                                           /POBOX4755                                I            !HOUSTON, TX 772111-4755             136,115.21/     86,177.BSl    84,380.75!        1,797.10!              9,87L70
46-4612.542   iGEOflGlA DETOX & RECOVERY CENTERS UC                                                i963 BENNOCK MILL RD                      i            ''AUGUSTA, GA, 30906                 111,41s.ooi     96,685.ool    ac,308.841       12..31&.161             9,863.29

XX-XXXXXXX    1PALOS COMMUNITY HOSPITAL                                                            112251580TH AVE                           I            !PALOS HEIGHTS. IL60463-<l'l30       109,325.85!     90,097.91!    84,016.451        6,930.46               9,829.08
XX-XXXXXXX    ;CAREMOUNT MEDICAL PC                                                                Igo SOUTH BEDFORD RD                                   [MOUNT ICISCO, NY 10549-3412         169,2os.oo:    109,458.69!    83,sss.nl        25,86s.ss!              9,s10.sa
~68853        !NORWALK HOSP[TAL                                                                    jpo BOX788596                             i'           IPHILADELPHIA,. P.A. 19178           142.132.00!    120,014.39!    83,115.40!       17,087.791              9.723.67
XX-XXXXXXX    !BARNESJEWtsH HOSPITAL                                                               IPOBOX954540                                           iSAJNT LOUIS, MO 63195                87,179.so)     83,19s.oo'.   &2.430.ool          1ss.ool              9,643.48

XX-XXXXXXX    [CAREMARK                                                                            IPo BOX848001                                          (OAJ..LAS, TX 75284--8001             81,963.24\     81,963.24!    81,963.24[                               9,588.88
XX-XXXXXXX    IAHEYCUNIC HOSPITAL                                                                  i41MALLRD                                 I            leuRUNGTON, MA 01805                 109,241.54!     84,765.84!     81,069.69!       3,457.41               9,484.34
XX-XXXXXXX    ]CEDARS SINAI MEDICAL CENTER                                                         l,oBOxS1248o                              I            lLOSANGEW, CA 90051                  191,944.16:     91,60794/      80.021.91]      (6,21U4)                9,361.76

XX-XXXXXXX    !VAU.EY WEST COMMUNITY HOSPITAL                                                      !1302NMAJNST                              I            !SANDWIOI IL 60548-2587               93,967.07!     83,184.12!    79,709.78;        3,474.34,              9..325.25

XX-XXXXXXX    !NoR11-I SHORE LU MEDICAL PC                                                         !POBOXSOSl                                             lNEWYORICNY10087                     216,933.35"    102,538381     79,476.971       31.817.23i              9,298.01

SS-0643304    iwESTVIRG1NlA UNIVERSITY HOSPITAIS                                                   !POBOX1127                                             !MORGANTOWN, WV 26507                106,490.SS!     91,486.92i    77,535.711       13,951.211              9,070.90

XX-XXXXXXX    !CENTEGRA HOSPITAL MOtENRY                                                           14201 MEDICAL CENTER DRIVE                i            !MCHENRY, IL 600S0                   164,719.1sl     86,648.91;    n.zs1.54i        t0,439.371              9.037.66

39--1835630   UNIV OF WIS HOSPrTAL Q                                                               i6DO HIGHLAND AVE                         I            IMADISON WI 53792-0001               224.805.65'.    86,433.141    76,426.191       10,334.95!              8,94L10
13--3757370   lABORATORY CORPORATION OF AMERICA                                                    !69 ARSTAVE                               I            !RARITAN, NJ 08869-1800              348,320.6SJ    137,111.61!    75,505.64!       68,178.00!              8,833.40

              tsr JOSEPHSHEALTHCARES'tSTEM INC                                               ········1P.O. BOX3G284                                                                            111,242.00i    107,677S4i     74,529.as!       36,712.12               8,719.25
XX-XXXXXXX                                                                                                                                              .. J~_EWARl, NJ 07101

~9-1264986    1AU.SAINTSMEDICALCENTER                                                              i,o BOX 860004                            i        iMINNEAPOUS MN 55486-6000    100,BS2.94   BB,00652~    73,841.98!                       lS,598.741              8,638.77
                                                                                                                                           I
61--0703799   iNORTON AUDUBON HOSPITAL                                                             IPO BOX 36370
                                                                                                   !
                                                                                                                                           IDEPT86100
                                                                                                                                                      1
                                                                                                                                                        LOUISV1UE KY 40233-6370
                                                                                                                                    ----t====----t===~==~-----!--=106c,.S~03=·"'c;'---~73~,"7=9.3~7+1     _ _7c=3,.c,0=22.5=9:!                6,70L731------'8"",54-"2.!l==-ll
XX-XXXXXXX    hNDIANAUNIVERSITYHEALTHIN':_ _ _ _ _ _ _ _ _ _ _ _ _ _                          -+--
                                                                                               i2zo1 RELIAB1E PKWY                           I              ICilCAGO, IL. 60686
                                                                                                                                                        ....1..--·------....-...
                                                                                                                                                                                                92.569.39!     80,164.37!    72,926.SGi        7,237.Sl!              8,53L71
XX-XXXXXXX    MUNSTER MEDICAL RESEARCi FOUNDATION INC                                              !POBOX3604                                !            [MUNSTER. IN,46321                   123,122.76;     88,768.85(    72.824.041       21,353.10!              8,519.68

XX-XXXXXXX    !GoooSAMARrrAN HOSPrrAL                                                               jpo BOX 95~20                                         !PHll.ADELPHIA, PA 19195-652.0       139,111.101     76,369.35!     71.379.11!      12,B14.86l              a,3so.ss

39--0807060   !SAmeD HEART HOSPrTAL                                                                 l,o BOX 111459                                        lwr LAKE arv, UT B4127                95,679.37:     75,492.341     71,195.881       4,296.46
                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                      8,329.20

XX-XXXXXXX    HARTFORD HOSPITAL                                                                    ]PO BOX 310911                            !            '[NEWINGTON, CT 06131--0911          158,997.99.    Wl.,952.93:     70.088.091      50,874.32               8,199.60

XX-XXXXXXX                                                                                         !PO BOX 952"79                                         jLAKE MARY, FL 32795--2679            74,406.62;     70,054.91(    10,os&.91f        3,425.oo[              s,195.96

XX-XXXXXXX    jBRIDGEPORTHOSPITAL                                                                  l267 GRANT STREET                         !            leRtDGEPORT.    er oss10             124,253.00,     84,07756!      69..926.751     17,638.35:              8,180.73

XX-XXXXXXX    DISTRICTHOSPITALPARTNERSLP           - - - - - - - - - - - - ; . c = = = = -BOX      lPO
                                                                                          - - 100507                        !ATIANTA,
                                                                                              -----------t------,'-'======--- - - - +GA
                                                                                                                                      --     !
                                                                                                                                        03084-0507
                                                                                                                                          ~ 3 0 ~ 7 , ~ 7 1 ! 9 = . 6 2 ~ ' ._ _ _~69~,884=.0~3'i-1_ _69=,884=.0=-;3! _ _ _ _-c_[_ _ _ _~B,;175=.73=--t
XX-XXXXXXX    9-iAflLOITE~MECKLENBURGHOSPAUTHORITY                                                 iPO BOX 602242                                         fOlARLOTTE, NC 28260                 105,249.57,     79,40059'.     69,463.411       8,708.401              8,126.52

XX-XXXXXXX    NEU~OSURGICALASSOCIATESOFNJ                                                          !1200 E RIDGEWOOD AVE 200.___                          IRIDGEWOOD, Ml 07450                  96,2&1.00!     69,454~-;-i--•~9,~454_.40_,>1,-_ _ _ _-_i----·~•125=.4~7-,

XX-XXXXXXX    FAOJLTYPRACTICEASSOOATES                                                             IPO 80X28082                                           lNEWYORK. NY10087-8082               21S278.00i      78,216.84!     69,420.77!      12,658.91j              8U1.53


                                                                                                                                           EXHIBIT2
                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 28 of 266 PageID #:11124




                                                                                                   AEU INTERIM OISTRIBUllON




S5-052S724    iuNrrm HOSPITAL CENTER                                  b21 MEDICAL PARK OR                                                                          102,889.97   !   86,499.19(      66,763.83                        7,SlD.70
XX-XXXXXXX     OAK Hill. HOSPITAL CORPORATION                         I PO BOX S03807                                                                              129,743.16!      67,927.20!      66,560.231                       7,786.88
56.()789196    CATAWBA VALLEY MEDICAL CENTER                          !810 FAIRGROVE CHURCH ROAD                                   i.~_!CKORY, NC 28602             78,139.63i      66,418.68)      66,4lB.6Bi                       7,77032
XX-XXXXXXX     SAINT BARNAABAS MEDICAL                                 94 OLD SHORT HJUSRD                                         il\VINGSTON, NJ 07039-9998      103,D65.10'      79,884.12t      66,262.611                       7,752.06
XX-XXXXXXX     SAINT FRANCIS MEDICAL CENTER                            7074 SOLUTION CENTER                                        !OIICAGO, ll 60677-7000         244,836.40!      83,388.BO\      64,74937:                        7,575.03
~-2-1958352   IAHS HOSP CORP CMC                                     ...1PO BOX 10200                                              NEWARK N.1 07193-2000           205,346.09!      72,450.15;      64,349.29                        7,528.22
XX-XXXXXXX    iKENNEDYHLlliSYSTEM                                     !PO SOK 48023                                                /NEWARK, NJ 07'W1                68,312.17j      65,744.lSi      63.98254<                        7,485.32
XX-XXXXXXX     CATHOLIC HEALlH INITIATIVES COLORADO                   12551WB4THAVE                                                !WESTMINSTER CO 80031-3807       91,014.011      71,197.19{      63,779.011                       7,461..51
XX-XXXXXXX     BAY AREASURGICALSPECAUST SERVICES L                    460NWIGETLN                                                  WALNUT CREEK, CA 94598           98,886.541      66,750.ool      63,?so.ool'       3,000.00!  '   7,458.11
                                                                                                                                                                                                I
XX-XXXXXXX    1LOGAN GENERALHOSPrTALUC                                !PO BOX 7425SB                                               !AnANTA,. GA 30374-2598          97,198.28'.     65,861.16'      63,499.571       17,431.S?i      7,428.81
XX-XXXXXXX    loooo SAMARTTAN HOSPITAL                                jpo BOX 845796                                              !LOS ANGELES, CA 90084-5796      105,039.99i      66,403.521      63,403.52!        3,ooo.ooi      7,417.58
11~23650      !NOR'IH AMERICAN PARTNERS IN ANESTHESIA UC               POBOX108                                                   !GLEN HEAD, NY, 11545            104,509.62 \     67,206.39!      62.970.821        4,316.09.      7,366.96
XX-XXXXXXX    GENERAL SURGERY ASSOOATES LLC                           226 N BELLE MEAD RD sum C                                   jEASfSETAUICET, NY 11733-3524

                                                                                                                                  I~ lAKE CITY, UT 84127
                                                                                                                                                                    84,250.oo!      67,996A3!
                                                                                                                                                                                                '   62,945.281   '    5,051.15.      7,;36351
35K1817529    !ST VINCENT HOSPfrAL                                    !PO BOX 27S94                                                                                 88,525.0S;      61,967.SS       61,967.55!                -1     7,249.58
XX-XXXXXXX    koNGMONT uNrreo HOSPITAL                                1PO BOX 912064                                              loENVER. co 80291-2064           105,134.92:      65,135.231      61,546.35!        4,752.77.      7,20031
11·338264S    iLONG ISLANE>SURGERY                                    14 PHYU.ISORSTE B                                           iPATOiOGUE, NY, 11772            100,200.00:      62,196.001      61,510.04           68S.96i      7,1%.06
XX-XXXXXXX    'UNIVERSITY OF KENTlJCKY HOSPrtAL                       i PO BOX 951326                                              10.MlANC, O~. 44193             104,721.15;      59.328.0Bj      60,696.ool        8,632.08:      7,100.82
XX-XXXXXXX    ]WINTHROP UNIVERSITY HOSPfTAL ASSOOATION                IPO BOX 95000                                                PHILADELPHlA, PA. 1919S         139,691.73[      66,275.70 1     59,052.53;        7,223,11!      6,908.55
XX-XXXXXXX    GREENWICH HOSPITAL                                       PO BOX 780317                                               !PHILADELPHIA. PA 19178--0317   Ul,897.19)       ?S,287.9ti  '   57,679.601
                                                                                                                                                                                                              I
                                                                                                                                                                                                                     20,799.63       6,747.94
XX-XXXXXXX    !KETTERING MEDICAL CENTER                               !.3535 SOUTHERN BLVD                                         lmTERING, OH 45429              174,405.77!      65,372.48:      57,355.19!        8,017.29j      6,709.98
88-04S5713    isr ROSE DOMINCAN SIENA                                                                                             iLOSANGELES. CA 90074-62.61       96,984.ooi      59,175.841      57,299.71;        1,876.13!      6,703.49

XX-XXXXXXX    BIOPLUSSPECALTY SERVICES INC                                                                        isulTE1008      iALTAMON1E5PRINGS, R 32701        59,662..44!     59,662.44!      56,836.701        2,825.74!      6,649.32

XX-XXXXXXX    VANDERBILT UNIV MED CTR                                                                                             IATlANTA. GA 31192               106,272.181      56,395.91!      56~95.91f                 -:'    6,597.76
22-2519S96     DARTMOUTH HITCHCOCK aJNIC                                                                                          leosroN, MAD224t                  88,93L20]       69,921.621      56,216.58]       15,499.21;      6,576,78
                                                                                                                                                                                                                                 ;
XX-XXXXXXX     EMORY UNIV HOSP MAIN                                    PO BOX 403054                                               !ATLANTA. GA 30384-3021          60,512.83;      55,516.63,      55,516.63!   '            -,     6,494.89
                                                                                                                                                                    57,361.00:                                   1
XX-XXXXXXX                                                                                                                        !FAIR LAWN~-~• 07410                              56,336.29•      55,120.29         1.216.00!      6,448.52
                                                                                                                                                                                                                                 ;
XX-XXXXXXX    'RADIATION ONCOU)GISTS SOUTH EAST PC                    1919 S BROAD sr                                             lTHOMASVIUf,~31792                so,1ss.ool      59,716.101      54,871.101        4,970.00       6,41937

13-388416&    WESTMEO MEDICAL GROUP PC                                tPOBOX417414                                                 BOsroN, MA 02241                124,836.00'      74,339.51:      54,814.98!       26,408.88       6,412.80

XX-XXXXXXX    '
              lUNIVERSIT'f OF 1CANSA.S CANCER CEN                      POBOX95S915                                                 ISAINT LOUIS MO 63195-5915      110,893.88!      SS,4Sl.D8i      54,Z29AOI         1,22L68!       6,344.30

2CH976S32     lPREMJER CARDIOLOGY CONSULTANTS PLtC                     PO BOX948l                                                  NEW YORK, NY, 10087             105,078.00;      59,894.09!      54,009.39'        S,884.70i  '   6,318.56

XX-XXXXXXX    .TEMPLE UNIVERSITY HOSPITALINC                          J3401NBRoADsr                                                PHllA, PA 19140-5103            484,47LQ51       55,35432i       53,BO!J.19i       1,545.13!      6.295.14

SS-0483245     PRINCETON COMMUNITI HOSP!                               POBOX1369                                                   PRINCETON WV 24740-1369          32.49530]       66,156.61:      53,703.971       12,4S2.64i  '   S,282.83

42.0680448    'MERCYMEOICALCENTI:R                                     PO BOX 677080                                               !DAU.AS, TX75267                112,421.241      66,066.18'      S.3,606.65i      12.8.36.83' '   6.27L44

XX-XXXXXXX ·•-•N,,AURORA BAYCARE MED CTR                              iroBoX892D                                  !
                                                                                                         ·········-i··-·
                                                                                                                                   '
                                                                                                                           ·--·--!~REEN BAY WI 54308-8920           66,686.85[      60,496.791      53.540.96i
                                                                                                                                                                                                              J
                                                                                                                                                                                                                      7,0.35.03[     6,263.76

XX-XXXXXXX    JCOPLEY MEMORIAL HOSPITAL                               '!POBOX352                                                   !AURORA, IL 60507--0352         100.687.?S!      54.3n_11l       5.3,236.10        l.,14L67       6,ZZ8.D9

8&-0982071    (BULLHEAD CITY _!:!~AL CORPORATION                      l2735 S!LVER CREEK RO                                 . ·---·t8ULLHEAD CllY, AZ 86442-7924    53,l94.91i      53,194.91;      53,194.91!                       6,223.27

XX-XXXXXXX    icoLUMBIA HOSPITAL AT MEDICAL OTY DAUASSUBSIDlARY LP    IPOBOX406460                                                 :A11ANTA. GA .30384-6460        165.166A51       53   8.88'      52.169.47'.      46.930.401      6,10331


                                                                                                               EXHIBIT2
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              :OCONOMOWOC MEMORIAL HOSPFTAL

              [UNC01.N PARK ANESTHESIA&. PAIN MANAGEMEKTLTD
              IDAVID MAYMAN MD
                                                                    :ro BOX 1601
                                                                    iPOBOX3613

                                                                    i535 EAST 70 STREET
                                                                                                   AEU INTERIM DISTRIBUTION




                                                                                                                    I         !WAUKESHA, WI 53187-1601

                                                                                                                              jCAROL STREAM. 11.. 60132
                                                                                                                             )NEWYORIC, NY 10021-4872
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                                                                                                                                                                               78,611.62.i
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                                                                                                                                                                                                 74,270.46J.

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                                                                                                                                                                                                                             8,719.60i
                                                                                                                                                                                                                                          6,102.32

                                                                                                                                                                                                                                          6,096.54

                                                                                                                                                                                                                                          6,057.79
XX-XXXXXXX    !UNIVERSITY OF W&ONSIN MEDICAL FOUNDATION             !7974 UW HEALTH er                             i         IMIDDLETON WI 53562•5531                     j    85,064.00:        64,863.55;    51.071.17!   13,334.381    5,974.82

XX-XXXXXXX    !FRANCSCAN HEALTH DYER AND HAMMOND                    !35987 EAGLE WAY                               i        J9.:'_!CAGO, IL 60678                         :   107,783.14'.       64,894.691    50,898.991   is.011.sol    5,954.67
XX-XXXXXXX    koNcoRD HOSP MED ASSOC                                iiso PLEASANTSTREEr                                      !CONCORD, NH 03301-2598                           85,369.33'.       52.181.35!    50,781.70!    l,564.4Si    5,940.95

XX-XXXXXXX    iSCOlTSDALE HEALTHCARE HOSPITALS                      iPO BOX 29679                                            l,!'HOENIXAZ 85038-9679                           65,032.03;        52,292.88'    50,706.011    1,999.62;    5.932.10

XX-XXXXXXX    IADV<NTISr MIDWEST HEALTH                             15101 S WIUOW SPRINGS RD                                 ILAGRANGE.IL60515                                 69,279.39;        55,972.79\    SO.S83.92i    S,38a&7i     5,917.81
XX-XXXXXXX    \VHS OF IWNOIS INC                                    i3249 OAK PARK AVE.                            i         !BERWYN, IL 60402                                 96,188.46]        S3,430.ni     so.120.101    3,310.671    5,863.55

XX-XXXXXXX    iCARECENTRlX                                          !PO BOX 277947                                           iAll.ANTA. GA 30384                               52.046.90!        S0,703A2j     49,621.09!    2,.425.Bli   5,805.17

XX-XXXXXXX    l' LONG ISi.ANO BONE &JOINT LLP                       ]635 BEU£ TERRE RO                             im204     IPCRT JEFFERSON."'· 11777                        101.901.00;
                                                                                                                                                                                            !
                                                                                                                                                                                                 61,088.63;             '
                                                                                                                                                                                                               49,538.751   11,914.401    5,795.54

51-(1103684   iocRISTIANA CARE HEALlH SERvte:5 INC                  !PO BOX 30170                                            !WILMINGTON, DE.19805                             67,662.731        67,53L15~ '   48.584.721   18,946.431    5,683.93

XX-XXXXXXX    !MERCY HEALTH -ANDERSON HOSPITAL UC                   jpa BOX 635.915                                          !CNONNATI, OH 45263-5915                          Gti,oss.ool       52,844.00;    48,537.49:    4,306511     5,678.40

XX-XXXXXXX    IADVENTIST BOLINGBROOK HOS                            isoo REMINGTON BLVD                                      '
                                                                                                                             !BOLINGBROOK: IL 60440-4988                       88,508.121        52,216.34!    48,424.Ui     3,792.231    5,665.14

56-601.7737   iwAKE MEDICAL CENTER                                  jpa BOX 751847                                           jOIARLOTTE NC 28275-1847                     1   162,226.04;        u.ns.11!      48,366.02!   30,842.181    5,658.34

XX-XXXXXXX    lAwNA HEALTH SYSTEM                                   '
                                                                    ;NW8670PO SOX:9345  -                                    I
                                                                                                                             !MINNEAPOLIS, MN 55440
                                                                                                                                                                          ;    58,260.44j        49,924.58!    48,29258!     1.&32.ool    5,649.75

XX-XXXXXXX    IAovENTJST HEALTli SYSTEM suNBELT 1Nc                 !PO BOX 862304                                           'lORlANDO Fl 32886-2304                      i   161,213.0S!        65,609.621    47,85557!    54,116.671    5,598.62

XX-XXXXXXX    !WIWAM BEAUMONT HOSPITAL                              !POBOX5042                                               ]TROY, Mt 48007                              I    77,188.19!        S7.544.80[    47,818.881   12.ou.aol     5,594.33

XX-XXXXXXX    !MAIMONIDES MEDIC\!. CENTER                           14802 tOTH AVE                                           !BROOKLYN, NY 11219-2916                     !   120,344.00:        57,12539)     47,762.821    9,588.851    5,587.77

XX-XXXXXXX    JST MARY MEOICAL CENTER                               iPOBOX3604                                     !         IMUNSTEII. IN 46321                          I    59,554.63!        50,990.751    47,757.441    3,519.lli    5,587.14

XX-XXXXXXX    '
              IMSKCC SURGERY GROUP                                  !PO BOX 26668                                            lNEW YORK, NY, 10087                             101.5ss.oo!        50.571.77(    47,656331     2.915.44!    5,57531

"CJICU:5387   luPMCHAMOT                                            )PO BOX 382007                                 !         iPrrTSBURGH, PA 15251                            126,853.22!        s1,40&.sol    47,013.68!    •.393.ui     S.S00.13
                                                                                                                                                                                                                        I
XX-XXXXXXX    !MEDICAL SERVICES OF PARK AVENUE                      !630 W 168TH ST                                          !NEW YORK NY10032                                47.4so.ooi         47.4so.ool    47,004.60'     44SAol      S,499.07

XX-XXXXXXX    !SACRED HEART HOSPITAL ON 1llE EMERALD COA            '
                                                                    j7928 SOLUTION CENTER                                    l0i1CAGO. IL 60677-7009                           n,011.79l         46,73U9l      46,731.39]            -i   S,4!i7.10

XX-XXXXXXX    !olSCOVERY PRACTICE MANAGEMENT INC                    i4281 ICATW.AAVE STE 111                                 !LOS ALAMITOS, CA 90720                           s1,ooo.001        51,000.DDi    46,063.661    4,936.34:    5,388.99

~1740UO       fLAWRENCE.~~~~Al                                      )SSPALMERAVENUE                                          leaoNXVILLE, NY 10708-3491                       141,893.25;        46,014.44:    45,648.021   74,699.241    5,340.36

XX-XXXXXXX    !TENET HOSPITAlS LIMITED                              lPO BOX 849770                                 i         JDAUAS, 1X7S284                                  U2,064.93l         48,020.291    45,421.601    2,598.691    S,313Jl7

XX-XXXXXXX    \FORT HAMILTON HOSPITAL                               lPo aox 78i294                                           loETRorr. Ml 48278                                61,566.291        S3,721A9:     45,322.651    8,399.831    5,302.18

20-~11030.    iPATI~f.!!: CAR~_~IATES LLC                           lsooGRANDAVE                                             !ENGLEWOOD, NJ 07631                              76,153.00;        46,018.871    45,280.56!     738..311    5,297.37

XX-XXXXXXX    !ENDOCRINOLOGY CONSULT PTS PC                         \229ENGlEST                                              jENGLEWOOD, NJ, 07631-2409                        47,183.ool        47,183.ool    45.249521     1.933.481    5,293.74

XX-XXXXXXX    lPIKEVILI.E MEDICAL CfNTER                            jPOBOX2917                                               IPlKEVILLE KY 41502-2917                     I    S7,778.73'        51,500.86~    44,828.701    6,672.16'    5,24451

XX-XXXXXXX    !ROCKFORD HEALTH PHYSICIANS                           t23oo N ROCKTON AVE.                                     lROCICFORD, IL61103                          i   104,?ss.ool        75,458.30;    44,802.49!   34,33Lssl     5,24L44

XX-XXXXXXX    'iWEIU. MEDICAL COLLEGE OF CORNELL                    is,s LEXINGTON AVE SUITE 540                             !NEW YORK, NY 10087-8375                     I    96,909.00i        59,096.99;             '
                                                                                                                                                                                                               44,721.55!   21.715.73!    5,231.97

54-o715569
              I
              iLYNOiBURG GENERAL HOSP                               f PO BOX 791325                                          !BALTIMORE, MD 21279                         I    -49,822.07        44,341.662             '
                                                                                                                                                                                                               44,341.GG!            -!   5,187.53

SS-0526191    Im AND EAR atN1c oF CHARLESTON                        11306 KANAWHA BLVD E                                     !CHARLESTON, WV, 25301                            53,791.52 1       47.586.~i     44,195.ocl    4,388.781    5,170.37

XX-XXXXXXX    !souTHCOAST HOSPITALS GROUP INC                       IPOBOXU357                                     !         ieoSTON. MA 02211-1357 ..                         60,~.16:----·-·   44,4~!A2:              '
                                                                                                                                                                                                               44,146.921     292.so!     5,164.75

XX-XXXXXXX    lwoooLANo MEMORIAL                                    I
                                                                  ,.,_ Po Box 7-42952                                        !Los ANGB.f, CA 90074-2952                        49,838.oo!        44,224.88'.   44,024.sal     200.001
                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                          5,150.47

XX-XXXXXXX    !~ORTHERN WESTCHESTER HOSP!TAL ASSOOATION             '
                                                                    !400 E MAIN ST
                                                                                                                   !
                                                                                                   -·····-···-·--··-!        iMOUNTKISCO, NY, 10549                       I    70,755.50[        48,533.89~             '
                                                                                                                                                                                                               43,484.27j    5,049.021    5,087.22

XX-XXXXXXX    !HUNTINGTON HOSPITALASSOCATION                        l210 PARK AVENUE                                         :HUNTINGTON,·~;·11743                             61.257.28:        49,185.16)    43.478.06!    2.547.01['   S,086..SO


                                                                                                                 EXHIBIT2
                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 30 of 266 PageID #:11126




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                                                                                                                                                                                                                                     -~~~,
~3935983       iBRAIN AND SPINE SURGEONS OF NEW                                           14 WESTCHESTER AVENUI! SUITE 320                                       !WHITE PLAINS. NY 10604-2SDO                 /       106,125.DO!            48,174.10!       43,275.84!           4,898.35/       5,062.84
XX-XXXXXXX     !sETH ISRAEL DEACONESS MEDICAL CENTER                                      i330 BROOICUNE AVE                                                     ;BOSTON,MA02215-,S400                        l        75,257.36;            44,678.10'       43,207.951           1.470.l.5!      5,054.90
                                                                                                                                                                 1
XX-XXXXXXX     !sELOITQJNIC BHS                                                            l969WHARTRD                                                            BEL0frWl53511·223D                                   53,962.44:            51,681.52:       43.182.75!           8.704.84!       5,051.95

11·3613997                                                                                                                                                                                                                                                      5,180.621
               ISTFAANOSCARD10V:"'ASCU=::LA~R"'PccHe,YS1c,OccANS=P'-'C'-------------,l"-',o"-'sox=::•s=ooo-=662=s-----------t-----,'JPH=JLA"'D"'ElPH=J'-'A,:.:.PcA.,c:1::91::9S:__ _ _ _--4_ __,_n,,,es=•Jl3=;-'---""•7:c,sao=-1e.:7-,-~--'•'-'2"',9"'sa"'_a,,_9if----"'"'-"'"'-;---               5,029.27

                                                                                                                                                                                                                        :=·4-',--===:+---
F38-=140S=14~1'---tlo~AK=WO~O~D~A~N~~-~,;-,~·O=US~H~OSP=IT~AL~------------- r2~3400~M_JC~"~'GA~•~A~v•'-----------,-;•~1~205~----tio~EARB=~OR~•~M~J~4B~l2~4-="~2•~-----+---''~s.=2sa=.12=,!---~•::••n=•.os=,'-~•2,940=:c·..        n.20s.os!                                                        S,023.G3
XX-XXXXXXX     \PARAMOUNT SURGERY CfNTER l1C                                              !PO BOX 63170                                                          joiARLOTTE, NC 28263                                  42,7G0.04!            42,760J>4l       42.760.04!                           5.002.SO

FS"-S-='-"cc735=70'---tjfl'-'O"-YD=Mc=E=.Dl=CA-"LC:CE::;N,.,;TER=-----------------f,PO=O~OX~18=82'------------                                  -i------"iRO=cMccE.==GA,30162~---------fl_ _.:5:,2.05=3·,:.,75';-;---""44'-",844.S==2Ti_ _4:.,2.4=32:::.2=c9:f-,----'=='t---
                                                                                                                                                                                                                                                                    3,015.68!                      4.964.15
XX-XXXXXXX ____ JewoT HOSPITAL                                                            :1 ewor WAY                                                        jMANCHESTER. NH 03103 _ _,_1_~78.401.32:                       ss.324.nl     42.0~§.!?.l,__===-t---   26,4D9.ssl                      4.916.80
s&-0554229     iMERCYHOSPITALINC                                                          !10Ei28PARK RO                                         !               iotARLom.NC.28210                                     70.269.96!            43,761.821       41,892-23!           L879.S9i '      4,900.97
XX-XXXXXXX     iROCKV MOUNTAIN HLDGS, UC                                                  !DBAAlrMl!thads                                        !~R.STElSO      ISANBERNARDINO,CA9240S-3548                           44,035.13;            41,833.37!       4U33.37!                             4.894.09
XX-XXXXXXX     !sr CATHERINE OF SIENA MEDICAL CENlER                                      !PoBOx9s0006s65                                                        !PHILADELPHIA.PA. l.9l9S                             11s,1ss.62;            4S,619A9l        41.195.ssi           8,1173A9!       4,819.50
26-11.75213    l1NNOvtS HEALTH U.C                                                         POBOX.61JOl                                           I               IFARGO,KD,58108-6001                         (        n,313.SO:             40,848.96;       40,808.96.              40.00!       4,774.24
XX-XXXXXXX     !BETHESDA HOSPITAL lNC                                                      POBOX633571                                                           laNCNNATI,OH45263-3571                       [        79,205.751            47,949.83!       4D.365.ss'           3,454.261       4,722.40
XX-XXXXXXX     !NYACK HOSPITAL                                                             POOOXS36671                                           i               iPITTSllURGH,PAS36671-S908                            56,ll60.63!           44,076.06!       39,2DO.Bi            4,875.171
                                                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                                   4.586.11
81•3550464 ...... i1eFFREYCHARLESS0-11LDHORNMD                                             S21PARKAVENUESUJTE1                                   !               INEWYDRIC.NY10065                                     42,300.00~            42,300.ooi       38.629.23!           3,670.77!       4,519.23

XX-XXXXXXX     lrauSTEESOFCOLUMBIA UNIVERSITY IN                                          !Po eox28064                                           I               INEW YORK. ff!_,_,,10087='---------+1_ _.,c72,5=01:=·:::oo'!-!_ _ _;;•1,,,:n=-1.="=t-!_    _,38:::.5:::62=.22",,li--==e:+--
                                                                                                                                                                                                                                                                               13,075.911          4,511.39
XX-XXXXXXX     IREHABIUTATION INSTITUTE OF CHICAGO                                        i2759sownoN CENTER                                                     !011cAGO, IL60677-2007                                s1,13s.10;            43,463.84i       38,215.29]           4,480.821       4,470.81
XX-XXXXXXX     lsrvtNCENTS MEDICAL CENTER                                                  2800 MAIN ST                                                          !BRIDGEPORT, CT06606                                  71,264.34]            Sl,67D.38i       38,015.68j          14,654.101       4,447.45
XX-XXXXXXX     \AWeo PEDIATRICS OF NEW YORI PLLC                                          IPD BOX 1ozso                                                          luN10NDALE. NY, 11Sss                                 ss.971.00j            39,997.85!       37,831.osl           3,181.801       4,425.85
XX-XXXXXXX     !wAUKEGAN CLINIC coRP                                                       202 s GREENLEAF sr STE E                                              !GUitNEE. 11.. 60031                                  s,,537.00!            38,42Ltol        37,649.toi           1,.893.Soi      4,40457
XX-XXXXXXX     lcoNCORDORTHCPAEPrcs                                                       l264PLEASANTSTREET                                     I               icoNCORD,NHD33Dt                                      46,198.oo!            39,3ss.10!       37,388.3ol           t.976.Boi       4,374.06
9S-2294.234    ISANJOAQUINCDMMUNrTYHOSPrrAL                                               !POBOX846178                                           I               !LOSANGELES,CA90084-6178                     f        68,581.24!            41.lS9A9!        37,037.30!           4,222.191       4,332.99
XX-XXXXXXX     iRoav MOuNrAw CANCER CENTERS UP                                            iPo sox911263                                          I               IDAUAS, TX 75391-1263                        !        so,543_00:            39,sooAOI        36,944.321           2,856.081'      4,322.12
XX-XXXXXXX     !coRAM ALTERNATE srre: seavices                                             PO wx 809160                                                          !oa1CAG0 IL 60680-9160                               102.903.ssi            24,062.03!       36,837.941            .,3.001        4,309.67

XX-XXXXXXX ------\ORTHOPE~ICASSOOATESSURGERY                                              lPosox31os&a                                                           \NEWINGTON,cr06131                                    99,992.11;            37,331.6s~       36,804.n\                    -1      4,305.79

XX-XXXXXXX                                                                                                                                                                                                                 1,025.lBi
               !SOUTHSl=D:=EccHccDSm=A:::L,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _-;;,=-30c.:1-'E~MAl=N~Sf~------------+----+8A=YSH~O~RE~,N~Y~l~17_06-8408~~-----+---'63"',2"'7~4.02=i-;_ _ _.c.37~,7~21.9=7-,-j_~3~6"'-,696=.7.c.9i,__..===t--                                                             4,293.16
XX-XXXXXXX ____ -~-~~ANT HEALTH FORSYTH MECICAL CENTER                                     3333 SllAS CREEK PKWY                                                 !w1NSTON SALEM, NC 21103                              4S,3G3.S2'.           40,31u2;         36,GS3.99l           4,14L471        4,288.15
34-1S67805     luNIVERSrrY HOSPITAlS OF O.EVElANO                                         l.lcEPT 781954                                                         IDETRolT, Ml 48278                                    62,781.46;            3~.SS0.33i       36.SS0.33l                   -i      4,279.53

SS-05724GS     l0-11t.0RENSHEALTHCAREOFATtANTAPOBOX116210                                                                                        I               IATlANTAGA30368-6210                         !        54,317.751
                                                                                                                                                                                                                                                    011_~36~,483=·'c.:2+l'
                                                                                                                                                                                                                                             42,m.2=4                        --==
                                                                                                                                                                                                                                                                                6,138.S~.!         4,268.23
FBB-OOS="',"•"',,'--+lsr=.ROSE=c.:DO=M",.",CA'-"N::;H""OSP=rr=="-------------iAL£s62=,,=~-------                                                 I               !LOSANGQES,CA90074                                    so,082.001            37,6ll3s!      36,404.66!
                                                                                                                                                                                                                                                                                   4,055.69;       4,258.98

5!3--1006663   !BOCA RATON REGJONAL HOSPrTAL INC                                          !PO BOXlOS046                                                          jATlANTAGA30348-S046                                  85,262.77:            43,129.?0i       36,I86.41i          35,358.681       4,233.45
XX-XXXXXXX     \SA1NT1HOMAS RUTHfRfORD HOSPITAL                                           \PO BOX 504466                                                         iSAINT LOUIS MO 63150-4466                            66,725.25 \           39,419.?Si       36,039.55;           8,820.DBi       4,216.27
XX-XXXXXXX     INORTI-1 FWRIDA REGIONAL MEDICAL CENTER IN                                 lPO BOX 406407                                                         lAllANTA. GA 3IJ384.G407                              46,031.25:            35,904.461       35,904.46!                   -i      4,200.46
                                                                                                                                                                                                                                                                                            !
XX-XXXXXXX     lvALE UNIVERSITY 50-IOOLOF MEDIONE                                          PO eox 418618                                                         lBOSTON. MA. 02241                                    92,545.00!            54,347.12 !      35,BS7.s6I          24,269.70!       4,194.98
XX-XXXXXXX     leLUE RIDGE HEALTHCARE HOSPITALS INC                                        PO BOX 75427                                                          i01A!U.CTTE, NC 28275                                 46,00S.81i            38,889.84.[      35,640.00I           5,628AS!        4,169.52.

XX-XXXXXXX                        l1ss CRYSTAL RUN RD
               !CRYSTAL RUN HEALTHCARE UP                                                                                                        I               !M100LETOWN, N~~-1~094='-----+--'sa~==~.oo~'----='"''·•~2S~-"''sc;-;-~35~;5~:n".!l'-'2+-l--===+--
                                                                                                                                                                                                                                                       12.002.10!                                  4,162.26
i====--+f========----------------+i 22 00 SU O                                                                                                   !               !.PALMOEACH,FL33418                      3     .oo'        35•=00 1     35    !
                                                                                                                                                                                                                                                                                        -i
XX-XXXXXXX     !RMP ENTERPRISES LLC                                               ;S OH ORO ITEi 1
~.?:~!!~~!_ __ j~_M~~!_CA~L~O~F-=U'-'PPE=RE=AST~Sl~D~E_ _ _ _ _ _ _ _ _ _ _ _ _ _~!1~5 AVENUEOF1HEAMERICAS
                                                                                                                                                 JOT'U FLOOR
                                                                                                                                                  g,n
                                                                                                                                                                 ;•NEW"DRK, NY~1~0~10-"S~------+----'S=S7",400,4;c92.9=1'-:;---'4c=,3•,.=S68.S.Ori-~3~S"~cc34c=·"°~02'-i
                                                                                                                                                                 !I   •·                                                                                  "~; .::,
                                                                                                                                                                                                                                                                    ..   t-i,-_-_-_~~~~-~:f-_~~-
                                                                                                                                                                                                                                                                                  10,408.941
                                                                                                                                                                                                                                                                                                   4,141A5
                                                                                                                                                                                                                                                                                                   4,133.83
XX-XXXXXXX     iHCA HEALTH SERVICES OF TENNESSEE INC OBA                                  lpa BOX402563                                                          IATLANTAGA30384-2563                                  44.633.13'            38,09L89)·       35 'i:1745D1         2.767.391       4,132.61


                                                                                                                                                EXHIBJT2
                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 31 of 266 PageID #:11127




                                                                                                                                              AEU INTERIM DISTRIBUTION




.,,.l,~~t:il~~~~ ,_ _ _ '"•·"                                                                                                                                            -::-..~~~~~.
Sl-4900485      THEEDGERECOVERYUC                                                                    i3000Nw101STLN                                                       lcoRALSPRINGS,FL.33D&s                     !       63,510.ooi          35,070.31(       35.070.3lj                 ~!                4, 102.88
22-11s019o      !ceNTRASTATEMEDCTR                                                                   l901wESTMAINSTREET                                                   1FREEHOlD.NJ07ns-is31                      I       61.633.oo:          39,S36As\        35,021.osl         3,so.9.31i                4,097.82
XX-XXXXXXX      iLAWRENCEGOROONMDPUC                                                                 lz004ROUTE17M                                        !               !GoSHEN,NE10924                                    78.900.18,          38,788.04}       34.929.87          3.963.s1i                 4,086.44

F2~,-~
    ...~•33=21~-tl=M=Sl=SAR~-GW~l~LC~-----------------+lP~0~90=X~10=21~4~1_ _ _ _ _ _ _ _ _ _ __,_ _ _ _                                                                  IAnANTA,GA,30368                           !       44,640.58]          39,280201        34,840.02!         7,793.66:                 4,075.93
XX-XXXXXXX      lzot1UFECORCORP                                                                      l121GAMMADR                                                       ----1PrrTSsuRGH.PA1S23S                       !       71,960.oo:          43,«IOss:        34,745.6511        s,4n.631                  4,064.90

F3:::cS-.:l!l<i=37'-'48=---:!""1o"M'°H=EA.cclTH=Sccvsr=eM,,,s,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _t'jlS6=91=-CO=LLE=cn=occ•=-sCTR=~o•~--------+-----i!=°'='CAG=O=<'ccllc=606=93=--------+---'Bti=•o::•29=.•=-&'_ _ __,34:,,:684.B=7'i;--"34""''"'2"'1.99""1-'---"''43=.12,:,11,__ _ _-:•cc•062=.83=-i
13-3!W8689      TRumESoFcotuM&IAUNIVER.5ITY1N                                                        IPOBOX29096                                          !               iNEWYORK.NY,10087                          I       63,ooo.ool          38,1S9AD;        34,694.64!         3.464.7&!                 4,058.93
XX-XXXXXXX      POSITIVE SOBRIETY tNSTITUTE                                                      ·-···-12300WINDY RIDGE PKWY SE STE                                       IAnANTA. GA 30339-8562                     I       79,170.001          39,270.001       34,667.60'         4,602.4Di                 4,DSS.76

XX-XXXXXXX      IBE PEDIATRIC FACUl.TY FOUNDATION INC                                                lDEPARTMENT    4580                                                  iCAROL SiREAM, IL 60122-4580                       40,422.00:          38.S2L43!        34,642.16          3,738.271                 4,052.79

145--2694620    TEXAS HEALTH HUGULEY                                                                 lpo aox gsisn                                        l               ]OAUAS, nc 7S395                                   42,&10.03(          35,959.og!       34.SS0.321         2,408.ni                  4,042.04

XX-XXXXXXX      'AIREVACEMSrNcoouGLAS                                                                iPosox106                                            I               /W£STP1ArNS,Mo6sns--0106                   !       41.46Lll\           34.521.zs!       34.S21.28!                 _;                4,038.64
XX-XXXXXXX      !suMMITMEDICALGROUP                                                                  !POBOXBS49                                           I               IB£LfASr,ME0491S                           I       s3,677..SS\         47,0S0.62!       34,477.39!        12.300.zsi                 4,033.S1
23-13S2213      isr LUKES AUENTOWN CAMPUS                                                            lu3& HAMILTON BLVD                                    I              IAUENTOWN, PA 18104-5656                   I       54,B36.!J9)         39,311.44!       34,2GSA8!          s,045.96!                 4,aos.72

~1238           !srJOHNSHOSPfTAL                                                                     /POeOX2SS4S                                                          [SALTLAKEOTY,UT84125                               61.0SG.101          43,725.69!      34,079.40           9,646.291                 3,986.9S
SB-2670224      loEERRELDRORIDAHOUSE                                                                 lc1sSFEDERALHWY                               ioeERRELDBEACH,FL3344t-4117    ss,695.oai   33.98625!            l
                                                                                                                                                                                                                  33,986.zs!                     -I                  3,976.05
11-1631796_ !NEWYDRKMETHODISTHOSPrrAL                                                              lPOeox.5792
                                                                                                                                                   1NEWYORK,NY't0087-S792         45,153.871   38,726.SD~           l
                                                                                                                                                                                                                  33,941.&2!            9,648.101                    3,970.83
XX-XXXXXXX ···+cl,.~GA~LLS""M~EM=O~RJAL=H=cosm=ccc....
                                                    = = - - - - - - - - - - - - - - - - , l r - 2 , ~..
                                                                                                      ~,~.=ETW~O-RK_PIA_c_,----------t-----+1.,0i=,CAG~O-,l~l606~73-~~-----+--~83=,256=A6~:---~.,~...
                                                                                                                                                                                                   ~.=s:..:1+!-~.'-',~.S72=.7=.1ii----'•""JS7'-'6=.S'-'o+!-----'3"',9~27=.(i/=-i

XX-XXXXXXX      CANCERCARE&HEMATOLOGY'SPEOAUSTSOFCHICAGO                                             )25070NETWORICPL                                                     !CHICAGO ll.,60673                        i        38,890.00;          34,566.541      33,1!13.741         1,372.8D!                3,883.34
"•:::==,oe:34:.::2:_.1\::BAP11ST==Hc:OSP=rrAL===========---------+i';s=900=•"•"'••°'0"ALL=o=-•-----------+l-----,i"'M"'1A=.M:::1FL"''33~1s.-.c.2=-,.-,-------;l---'..
                                                                                                                                                                   "'.",..
                                                                                                                                                                        =.oo"',1----=."'3,0'l8=.o::s,;·i---=33"',134=_,"o+---",_..=,.=,s:+i----"'3.s=,"6A::3:..i
XX-XXXXXXX      ROYALOAKSURGICALCENTERLLC                                                            ls13ocoouoGEHWYSUITEl20                              !               IRaVALOAKS,Ml48D73                         !       38,495.oo;          34,514.20!      32.552.91,          J..981.29!                3,80836

81--0813S17     INFUSION EXPRESS OF IWNOIS llC                                                       l2601COMPASSRDSTE140                                 i               !GLENVIEW, it.60026                                53,1&0.oof          3s,5412ai       32.541.za.          3,000.00!                 3,ao1.oo

7S-2694137      DES!:RT REGIONAL MEDICAL. CENTER INC                                                 iALES7154                                            j               kosANGELES,CA90074                         I       4t,489.73j          3s.os1.22!      32,401.11           3,&so.osl                3,790.61
XX-XXXXXXX      jDBA UNIV OF IA HOSP AND OJN STATE UN[V                                              !zoo HAWKINS DR                                      I               lrowAOTY,IAS2242                           I       49,976.ss!          32,637.lSi      3US9.98               1n.11!                  3,7V.30

XX-XXXXXXX      MONROE CLINIC                                                                        l2009STHsr                                                           IMoNROE. WJ,53566                                  48,56&.6Di          36.698.40!      31.819.01          11.634.tsl                 3,722.Sl

27~260289       ROTHMAN ORTHOPAEDIC SPEOALTY HOSPITAL                                                !PO BOX 1365                                                         !AU3ANY, NYl2201-l..3GS                            37,788.90[          37,788.901      31..7B8.9Q[         6,000.00i                 3,718.98
                                                              ······-.. ··--·-·-··-····-..
7S-13013G2      LUBBOCK COUNTY HOSP frAl DISTRICT
                =========~------------f~•o~•=o~•=~=oo=--------------i-------+=!w=•='°=ac.=TX=79~~=~~•=•=-oo-----+--~31,9=~=.so==+-J---3=~~•=18.50=t-!_ _,3~~~7~=so~I--                                                                                                                 200~0+'----•~~-''=~~=<
XX-XXXXXXX      jBAPTISTHEALTH LEXINGTON
                 ======='---------------·:']PO~B=-OX~3:..:2~860~------------;--- _,,LO=UISVl_llE~ICY_4023=2~-286=D_ _ _ _ __,. ·~·-~···-·-49,430.80)                                                                                             33,948.9~,..I--'3-"~=312.98==;·---'S",94-"2.=82=!,1~.----"3"',6:63=3=-,l
35-13612~3      ,HENDRICKS REGIONAL                                                      ----+'it=OOO=EccMc..cAlc.cN=.ST'------------+-----;loccAccN~Vl=l.!..E-:.!~!~4G=122=-----                                            43,764.92!          36,519.81!      31,287.85\          5,231.96i                3,6&0.37
                ========"-'"='------------+lro=•=o•::.;S2="='•'-------------t------;t=•H"'DA=••=LPH1A=,!.!'"'A""l9='="'~-7c:•=c'•=----~~:i-1.l.--:_-_-..;e:4B=!J=-30"'.,=ori---"34=,=844.23==,1--=.3o=,,=03=.=..:i•~~~~:._.:,:6.:,.:,[~~~~~~~~:,."'•~is:=.-"•'-I•~
                ;
XX-XXXXXXX      IKESSLER INSTITUTE FOR REHABILITATION

XX-XXXXXXX      [MEMORIAL HOSPrTAL INC                                                               :Pa BOX 601562                                                       !CHARLOTTE, NC 28260-1562                          3S.000.39:          31,501>.40!     30,839.33!            661.071                3,607.89

XX-XXXXXXX      llCAHN SQtOOL OF MEDICINE AT MOUNT                                                   IPOBOX5024                                                           !NEWYORIC,NY1D087-S024                    I        60,288.Dll          38,&SS.lOl      30,601.89           8,267.231                3,580.11
U-3392802       fNZO QJNICAL LA8S INC
                   ====='----------------+\P0=90=X"'2D=SS:::56=--------------fi____                                                                                     _,:i=~· TX. 75320                            \       76,561.40\          42,502.?Si      30,484.0ll         15,809.82)                 3,566.32
58-217!:ISBti   ATHENS REGIONAL HOME HEALTH                                                          !Po eox 2445                                         !               lcotuM8us GA 31502-244s                            s3,252.82t          3a,592.10)      30,120.731          3,359.40!                3,523.82
XX-XXXXXXX      MAYO QJNIC HOSPITAL                                                                  IPO BOX 860197                                       ;               IM1NNEAPOUS MN 55486--01!17                        42,368.20'.         34.021.651      30,026.871          3,994.78!                 3,SU.84

XX-XXXXXXX      loAVJD M DINES MD                                                                    j333 EARLE OVINGTON BLVD srEt06                      I               luN10NDALE, NY 11553-3645                          30,ns.ooi           30,680.oo!      30,000.00!            sBO.aol                3,509.70

XX-XXXXXXX      '
                [STAMFORD ANESTHESIOLOGY SERVICES PC                                   ·-------;f=,os=s,._wccAS=H'~•~GT~O~N-=Bl~VD=STE=44~o_ _ _ _ _ _ _ [, _ _ _ _~!Sl'.~•~M~FO~RD=~.9:"-~06901=~-------,---44=,7~1•~·""~i--~34~,9~12=.so"'i-~2• ••,,..a.ss1ll _ _~•,9"'9=•=·'=;•1,__ _ __.l.S"'07=.29c..i
XX-XXXXXXX      !suNfUSE MEOlCAl... lAB                                                                      Izso MIUER Pl.ACE                           ·r          [HJCJ(SVJL.Lf, NY' 11801                    84,664.65!        42,380.03i  29 813              23,568.58                  i
                                                                                                                                                                                                                                                                                           3,487.93

XX-XXXXXXX      ====------------------+[•~0-'•~ox~51=11~10~-----------~-----,l~AUAS.TX75267-1770
                !METDALSPI UC                                                                                                                                                                         ----+---"42::,,,::•oo=.1S:.1'----=30,,,,Bti=135=.i--=2•,,.683=.60::,._ _.,.,.~'"~·'c.,sl____~3,~•'~2.~68"-<
XX-XXXXXXX      CLINCH VALLEY MED CENTER                                                             iPa&ox402B3s                                                         iATI..ANTA. GA 30384                               47,730.35i          35 os1.s1l       29.661.961         s,419.asi                 3.410.ts


                                                                                                                                                         EXHIBIT2
                                                 Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 32 of 266 PageID #:11128




                                                                                                                                  AEU INTERIM DISTRIBUTION



                                                                                                                                                                                                                              - - i · - - - - : ~ - - ·::
 XX-XXXXXXX   jfLORIDA CANC:R SPECIALISTS                                                IPO BOX 102222                                                        IATIANTA., GA,. 30368                            50,07L71:           29,636.89
                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                    29.133.89 1       S03.00j            3,40837
 XX-XXXXXXX   lGATEWAYFOUNDATION                                                         I3204EAGLEWAY                                                         IOllCAGO,IL606781032                             48,392.47]          32.926.lSI      29,098.161      1,547.99!            3,404.19

XX-XXXXXXX    [STONYBROOXSURGICALASSOCUFPC                                               !POBOX4t9039                                                          !BOSTON, MA,02241                                49,740.ool          35,690.12!      29,09s.osl      6,595.67/            3, 403.33
a&-1040704    lzeus CLAIMS INTEGRITY                                                     lz CROSSROADS DR                                                      lsEcM1NSTER, NJ 07921                            36,139.87;          2s.s11soi       28,911.901              -!          3 , 38 2. 40
 XX-XXXXXXX   !TAUAHASSEEMEMORIALHLTHCARf                                                il300MICCOSUKEERD                                     I               !TAUAHASSEEFL32308-50S4                          43,04288;           30,115.79!      28,824.401      1,.293.00\          3,372.17
3_8-600
  __•30~•-!...RE~G~ENTS~~o~'™~'~""-IV~ERS~ITY~O_FM_l~O!.CIGAN~------------il~PO~•~o~X~22~30~64~------------;_!, ----!r.msa=~U~R~GH~.~.A~L525=~,=~----j---43=,,.'-'1=.,=...
                                                                                                                                                                        : ----'29=_"'60=8"'3"-9!,--=,"'.,,=29=3=2:+i---=.,=.=_07"'1,-------=.==361=.04"---1
sB-2433432    JEASTSIDE MEDtCALCENTER uc                                                 1Pa BOX406092                                                         iATlANTA. GA 30384                               62.425.69(          3s,210.sz~      2s,657.02l      s,&13.SO!           3,352.58
XX-XXXXXXX    !~~ESOA CHEVYOiASE su_RG_ER_v_c_ENTE_R_L_Lc___________ ;!_s_•_•1_AR_U_N_Gr_o_N_RO_su_rr_e_e______                        --~le------!.~ESOA.MD 2oa14                                              28,433.so!          zs~~l           2B.433Soj                !          3,326•43
 XX-XXXXXXX   iVHSACllUlSIOON suss101ARY' NUMBER 3                                       !4no PAYSPHERE c1Ra.E                                 I               ]CH1CAG0, IL 60674-4720                          38,7az.22l          31,219.saj      28,268.661      2.9s1.02!           3,307.15

XX-XXXXXXX    iNovANTHEALTHPRESBYTERlAN                                                  IPoBOX601S29                                          !               iotARlDTTE,NC2B26D                               s1,440.44f          36,345.24!      28.14L77!       s,203A7i            3,29231

XX-XXXXXXX    !MORRIS HOSPITAL                                                           ;,25 SCHOOL ST                                        I               iMORRIS. IL 604SO                                59,487.19!          37,138.391      28,082.761      9,221.631           3,285.40

XX-XXXXXXX    !CARD!OlHORACC & VASOJlAR SURGICAL ASSOOATES SC                            !Po BOX 3722                                                          iSPRJNGRELD, ll,, 62708-                         32,048.00/          27,889.l.51     27,889.151              .!          3,262.75

XX-XXXXXXX    !NY CARD1ovASCuLAR ANESTHESIOLOGISTS                                       !100 PORT'WASHINGTON BLVD                                             IROSt.YN, NY. 11576                              28.950.00'.         28,950.00~      21,BSO.ool      1.100.ool                s.
                                                                                                                                                                                                                                                                                        3, 25 17

ss..1680273   lFLORIDA CJNICAtPRACTICE ASSOOATION                                        !Po eox 1001D8                                                        !GAINeSVlu.E FL 3zs10-01os                       51,111.eo!          29,648.Bzi      21,s13.3z/      3,su.,1i            3.253.88

54-14539~··~-t!A~U~G~U~Sl'.~•~HEA=llli=CA~•~'-----------------;-i,~•~M~EO~ICAL=~''~NTE=R~o~•------------jt_ _ _ _~!~FISH=ERSV=l=Uf,=~~•=22~•3~9-~23~32~----t---34=·487=58=,-!----''='·""'·=•=.2=;0':--=''«·662=-'~oT!_ __:,S, :clOO=.S0::;!_ _ _ __:,3.23=6=.26::..i
XX-XXXXXXX    iroR£STHlLLSHOSPITAL                                                       IPosox41s951                                          !               ]sosrON.MA02241-5961                            116,031.83)          29.354.s1i      21,542.34!      1,312531            3,222.18

~~~!-         !MERCYHOSPITALSTLOUIS                                                      161SSNEWBAllASRD                                      l               !SAINTLOUIS,M063141-8221                         48,234.36;          30,399.59!      27,368.93!      3,603.961           3,201.89

ic39-0=•~1•~848=---+IM='•~cv~H~EA~'~™~SVSTE=~M~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _h_CM>O_M_1•~ERA~L~P0_1_NT_A_"'-----------+----...,l~,ANESV1==UE.='!fl.~•~•~548~------+--~39"',949=3~1'i-!_ _ _""35"",35"'9"'.1°'•+i--'2"-1."'163=.s,:;1i'-_-'•"'.D::84.0=•,_!_ _ ___,3,,,,1,,_n".86=-l
XX-XXXXXXX    !voRKHOSPTIAL                                                              lisHOSPITALDR                                         I               lvORK.MED3909-1011                               41.301.50:          31,ns.ss!       27,131.89!     t0,246.66/           3.174.16
XX-XXXXXXX    (ROCKFORD ORTHOPEDICASSOOATES llO                                          IBOX78534                                             i               !MILWAUKEE. WI 53278                             64,357.SOl          38,595.49;      27,008.901     10,727.7?!           3,159.77
XX-XXXXXXX    !UTsoUTHWESTERNUNNERStTYHOSP                                               !Poaox849927                                          I               loAUAS,TX7S284                                   44,680.47!          26.916.s9l      26,916.591             -1           3,148.97
XX-XXXXXXX    IMONADNOCKCOMMUNrTYHOSPITAL                                                !4520lDSTREETRD                                       I               lPETERBOROUGH,NH,03458                           41.475.95~          33,242.20}      26,801371       6,440.83!           3,135.49

02~222140     IMARv HITotCOCK MEMDRlA1 HOSP!TAL                                          !PO BOX 419112                                        !CENTER DRIVE   !sosrON, MA. 02241-0001                          35,587.531          29,860.BBi      26,782.471      3,911.a2i           3,133.28

XX-XXXXXXX    !BAPTLSTMEMORIAlHOSPITAL                                                   !&019WALNllrGROVERD                                   !               lMEMPHIS, TN38120-2113                           66,840.71!          31,20635!       26,756.43!      2,265.841           3,130.23

XX-XXXXXXX    !GREE~WICH MEDICAL PC ....                                                 l9570s KINGSroN COURT                                 isre: 2200      IENGtEWOOD, CO 80112                             37,908.75 j         33,577.22!      26,730.30
                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                    6,811.48l           3,127.18

F36-4~25=184~•~-,isr=ALEX='="S'-'M~•=o~•CA~L'-'ce=NTE=•~------------ ..... _._.J1sss BARRINGTON R!L ... ··-·--..-· --····--··----··•---+ls_LOG_.1 .......      !~?FFMAN ESTATES IL60169-l099                    88.356.ooi          32,7S6.21f      26,703.901      &,699.31i           3,124.09
~~~ ..        !THoMASMEMORlALHOSPITAL
                                                                                         1
                                                                                         IPOBOX13620                                                           IRIOIMOND,vA23225                                si.s68.22l          38,731.84!      2s,577.37j     13,969.n!            3,109.29

XX-XXXXXXX    !ROCKFORD ANESTHESIOLOGISTSASSOCAlED      u.c                            --f'-PO=BOc.cXc.c•ccc569=-------------,-----'!·ROCKFORD. IL.'-'6=11:c1,,_0_ _ _ _ _ _ _ ___,3"'1.'--'400=.00:c:._·_ ___,,"'0300==·00=,l~....e'•:c.S:,:S:..,.7.BS=-;..I_      (677.SS),..I---~•~-1~07~.oo=i
20-s694301    lw£ATHERFORDREGIONALMED                                                   .!POBOX840407                          I          ioAUAS,TX75284                             33.301.95·                  27,SD7A3~                2&,s54.33l              ..--;~~\              3,106.59

XX-XXXXXXX    )LAKE COUNTY NEUROSURGERY LLC                                              !PO DEPARTMENT 46G3                                   i               !CAROL STREAM, 11., 60122                        54,300.ooi          27.268.20!      26,425.ool      1,01s.ool           3,09L46

XX-XXXXXXX    ICARILION MEDICAL CENTER                                                   !PO BOX 8267SS                                        I               !PHllADEtPHIA. PA. 19182                         42,423.SOi          30,941.16\      26,389.66;      4,551.SO[           3,087.33

XX-XXXXXXX    !SAINT LUKES NORTHLAND HOSPrTAL CORPORATION                                !PO SOX 5037S9                                                        !SAINT LOUIS, MO 631S0                           44.551.46!          :Kl,925.Ds!     26,287.901      4,637.tsi           3,07SA2

XX-XXXXXXX    !OfARLESTON HOSPrrAL                                                       !PO BOX 40290?                                                        !AnANTA GA30384-2907                             58,160.34]          40,911.18\      26,179.21!     14,73L97)            3,062.71
                                                                                                                                                                                                                         1
20-304563D    !RONLEVMDPC                                                                !1SOw56THSTAPT4403                                                    INEWYORK,NY,10019                                34,400.00           zs,160.oo!      26,032.99j      2,121.01!           3,045.60

XX-XXXXXXX    luPPER SAN JUAN HEALTH senv1ce DtSTIUcr                                    !95s PAGOSA BLVD                                                      !PAGOSA SPRINGS, co. 81147                       34,3S3.oo:          26,603.1ai      2S,s01.o&i      1,096.12!           2.984.a7




                                                                                                                                             EXHIBIT2
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                                                                                                                         AEU INTERIM DISTRIBUTION


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XX-XXXXXXX    !CATHOLIC MEDICAL CENTER                                            !100 MCGREGOR ST                                                   1MANOtESTER,, NH, 03102                             49,262.90'.                  33,501.lBi        25,216.12!           8,285.061                      2.9S0.03
.~s-osns14    !ELKHART GEN HOSP                                                   loEPT78908 PO BOX 78000                                            lornorr. Ml 48278                                   64,240.00:                   28,67332(         25,183.97 1          3,784.34!                      2,946.27
              !JUPITER MEDICAL CENTER                                             l1210SOlDD[XIEHWY                                                  iJUPITER, FL33458-7205                              54,114.38\                   25,348AO'.        25,148.40[             200.00!                      2,942.11
                                                                                  19SOSTATE ROUTE35                                                  !MIDDLETOWNNJon48-2603                 !            61,850.oo:                   2S,516.48(        25.059.19!             457.29!                      2,931.67
                                                                                  '920 CAIRO RD                                                      h"HoMASV1L1E GA 31792-4255                          ss.m.oo[                     30,szsso 1        24.84536             9,211.261                      2,906.66
                                                                                  /POBOX840145
                                                                                   ====------------f------+'IL=OS~AN=GE=LE=5~,CA=•=ooccc84'--------+-l·_ _.=c8&cc.2"-79"A"'5+-!---==27,::,08:::2=.l:;:4!                                                24,606.60i           4,407.94i                      2.878.73
                                                                                  \2546W 6AVE                                                        HIAL.fAH, Fl 3301~1328                 !            69,610.731                   24,564A6(         24,564.46                                           2.873.80



                                                                                  f PO BOX 418511
                                                                                                          I
                                                                                    ----------------+--------,,,.~-~
                                                                                  167DSTONELEIGH AVE
                                                                                                                     NY 10SU•3997                                                           !           56,132.89!                   34~1.91!---· 24,545.84!-- ····--==+------"'==!
                                                                                                                                                                                                                                                                   9,656.07!  2,.871.62
                                                                                                                                                     !BOSTON,MA0224Hl51l                                 24,659.03]                   24,530.76!        24,530.76!                  -1                     2,869.85
                                                                                  ]26083 NETWORK PlACE
                                                                                                                                     !
                                                                                                                                                     lotlCAGO,IL6D673-126D                               38,975.00'.                 33,335.11\         24,486.931           8,8S3.24i                      2,.864.73
              !auRKE REHABILITATION & RESEAROI HOSPITAL                           l,ss Mamaroneck Auenue                             I               iwHITE PLAINS, NY 10605                            24,474.09:                    24,474.09;        24,474.091                  -1                      2,.863.22
              !MONONGALIA GENERAL HOSPITAL                                        !Po BOX 1615                                       I               MORGANTOWN, WV 26507                               34,487.Bl~                   31,030.04i         24,430.88            6,766.161                     2,858.17
XX-XXXXXXX    iMETHOOtSTHOSPITAl.                                                 1PO BOX 406180                                     I               jATlANTAGA30384-6180                               29,878.23\                    24,391.22;        24,391.22;           1,062.001                     2.853.53
XX-XXXXXXX    [wElllCORNELLIMAGING                                                ls1s LEXINGTON AVE                                 IRMS40          NEW YORK. NY, 10022                                 35,587.oo!                   28,974.841        24,lSSSO             5,233.741                      2.829.51

~.;:~2556     iADVENTISTHEALlHCAREINC                                             IPO BOX 62121                 i            BA1.TIMOREM021264-2121                  !             25,255.12]        24,726.43[                       24,093.37.    633.06 1        2.,818.68

9,c5-:e,1684=089=-;JSCR=le:,PPS=MER=Ci::...:.:HOS=PITc:;A,:cl.:,ENc:;CN=IT"AS"---------------t=====--------------t------+=l•cc•□
                                                                      1354-SANTAFEOR                            I              =N=IT"-A5.=CA=920=2::.:4c__ _ _ _ _ _+-l_...:,;26,:,00S=·•:cc7+-\_ _ _2::.;4:,:,09:c:,3:=.66:::;._1_..:2c,,4.<J44=:=.03=i----__c:=1-----""=~
                                                                                                                                                                                                                                                     49.63 1        2,812.91

22-240S059    !Bio.REFERENCE LABORATORIES                                         1481 EDWARll H ROSS DR                                             ELMWOOD PARK,_~~•07_407              11~7,~128~36",;_ _ _~3S=/<1=4.04c..c.·!_~23~,843=36=,-:
                                                                                                                                                                          _ _ _ _ _---j-_ _                                                                              -~==,-----~==--i
                                                                                                                                                                                                                                                                           14,160.831 2,7851A3

~~!~1         ]MS ST LUKES AND ROOSM:                                             hooo 10TH AVE                                      I               NEW YORK. NY 10019-1147                            41,303A2'.                    33,026.72j        23,800.221          13,484,75!                      2,784.39
33-(105715S   ]Am!A HEAt.THCARE                                                   13694 SOLUTION CENTER                              I               loi1CAG0, lL60677-3006                             !10,415.48!                  33,089371          23,761371           16,578.281                      2,.779.84

                                                                                  l4100EMPIRE DRSTE12D                                               BAKERSFIELD,. CA93309                               33,450.00~                  33,4SO.OOi         23,690.00)           9,760.001                     2.1n.49
                                                                                  IPOBOX1484                                                         EUCINS, WV 26241                                   25,376.S9!                    24,107.76!        23,657.76!            450.ool                       2,.767.72
                                                                                  jpQBOX.5002                                        I               !wHITE PLAINS, NY, 10602                            63,831.ool                  36,631.57!         23,611.asi          16,730.51!                     2.763.0G
                                                                                  !22S7VISTA PARn¥AY SUITE 2                         I               ,WESTPALMBEACH,FL33411•2724                        25,244.SB!                    23,982.39!        23,615.56             366.831                      2,762.78
                                                                                                                                                                                                                                                                     1
              ,BETSY JOHNSON HOSPTTAL                                             IPOBOX 1706                                                        DUNN NC28335-17D6                                  63,075.45;                    23,558361         23,55836            19,529.511                     2,756.09

;XX-XXXXXXX   !PRIME HEALTiiCARESERVICESSAINTCLARES L                             IPo BOX 536598                                                     iPITTSBURGH, PA 15253--5907                                                                    -~2~3◄-"9~8.2S=t--===;----~==,
                                                                                                                                                                                                .... ·-·- _39.593.54'. ..-. _ _ _3=1,9=65c=.12=•;---:             8,645.13!  2..749.06

ss-2030592~-t!EM=O~RY~□.1=•~ic~•~M=""~LA;....r~o_RY_5~u_••----------------i----------
                                                                 l•o BOX 102398                                                  ·····-·I .. ANNEX   IATLANTA.GA.30368                                  67,113.oo\                   36,400.ozi         23,368..56          11,660.44!                     2,733.89

XX-XXXXXXX    !NATIONAL LABORATORIES LLC                                          :po BOX 733202                                     I               iDAUAS, 1X 7S37:J.3202                             27,200.00!                    23,120.DO~        23,120.00
                                                                                                                                                                                                                                                                                    )                      2..704.81

~~~814S
XX-XXXXXXX    )CONNECTICUTORTliOPAEDICSPEC
                                                 !PO BOX 950007425
              !A.ORJDAHEALTHSClENCESCE=cNTER=-"INC"'-----------------;~===~~------------+-------;---f
                                                                                  lz40a WHITNEY AVE
                                                                                                                                     I
                                                                                                                                   _ _ _ _ _+-j-~54=,ss:z=.19='_ _ _44=,028=.34'-';-i-~2~3,~04-"2.5~7+-~
                                                                                                    P_HI_IAD_ElPff_lA,~PA_19_19_5'_7"25
                                                                                                                                                     HAMOEN,CT06518·3209                                 82,.154.00i                  26,635.S6J        22,980.651
                                                                                                                                                                                                                                                                            (~~-~~,!
                                                                                                                                                                                                                                                                             6,566.911
                                                                                                                                                                                                                                                                                                            2.695.75

                                                                                                                                                                                                                                                                                                            2,688.51
11·170459S    !BROOKHAVEN MEMORIALHOSPrrALMEDICALCENTER                           l101 HOSPITAL ROAD                                                 EAST"PATOIOGUE,NY11772                              32,878.691                   25,8S0.11j        22,939.411           2,910.70i                      2.683.68

              iCAYTON OSTEOPATHIC HOSPITAL                                        j40SWGRANDAVF.                                                     DAYlON, OH 45405                                    71,033.19;                   31,300.52!        22,.932.20 1         8.368.32!                      2,682.84
59--0872594   isoUTHMIAMIHOSPITALINC                                              !POBOX025615                                       I               ,MlAMl,FL33102                         1            26,355.00'.                  23,71950:         22,873.50            (446.oo,l                     l.675.97

      51a13   isweo1SHcoVENANTHOSPITAL                                            !7440SOLUTIONCENTER                                i               l011CAG0,1L60677•7004                  l          IOB,862.63!                    zs,197_40!        22.sn.2of            5,926.201                      2.675.70

              !DES PERES HOSPITAL INC                                             'iPO BOX 741263                                                    A11ANTA,GA30374                                     25,353.98\                   25,353.98]        22.870.06)
                                                                                                                                                                                                                                                        2.67S.57             2,483.92!
                                                                                                                                                                                                                                                    !
22·3452412  !MONMOUTH MEDICAL aNTER                                                   IPOBOX29964                                                       NEW YORK. NY 10087-9964                     83,183.oo:      28.546.73\ 22,618.13 1 9,208.951    2,646.09
                                                                                                                                                                                                                                                    I
                                                                                      b4--28 MEROfANT ST                   i
22e,.·cc365=13:,:93,:__-,l,:,:1Ro,,,Nc:;B::OU:::Nc::D:.,E:,,N,:;DO:csu:=c•,:,:G,:,:1CA=Lsu=••==1CA=L"1N"'C------------;=====~-----------;---------;Jr"=EW~"""-=~•~'"~'='"=s-~284=7--------t---22=.soo=·oo=;;....                             267.lli    2.601.03
                                                                                                                                                                                                                 ___-"22~.soo=oo=+'-~22.232-89;-----==t----==,
XX-XXXXXXX    1TRIBECAPEDIATRtcSPL1.C                                             llSWARRfNST                              I       iNewYork.NY 10001           I          36,106.631       23,076.831       22,019.lBi                                                       3.960.86i                      2,576.02

XX-XXXXXXX    !!:)_!ITHOCAROUNA PA                                                            602179                       I
                                                                                  .lr..Q.!!?X=="-------------+----~l.=CHA="='OTTE.='-'N"'cc.=2=•2=•--------i-!,  -----'•°"1,5so.oo;_. _ _ _..~••_z_u_,_,_;__2;,B29,46l                                                      24,072.84!                      2,,SS3,B3

XX-XXXXXXX    Jucso MEDICAL CENTER                                                 iLOCK80X 556631                                 lLOS ANGELfS. CA 90074-6631            27,256.37)       27.207.12:       21.813.87                                                1       5.393.25!                      2.SSZ.00


                                                                                                                                   EXHIBrT2

                                                                                                                                         10
                                                      Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 34 of 266 PageID #:11130




                                                                                                        AEU INTERIM DISTRIBUTION




               I
XX-XXXXXXX     lCOSTAS l CDN5rANTINOU MD                              11409E.KlMBER1.YRD                                          !DAVENPORT. IA 52807                                       47,544.151    23,228.67]                     4,032.841      Z52B.S9
XX-XXXXXXX     !ADVANCED PAIN MANAGEMENT SC                           !PO BOX 78599                                                   MILWAUKEE, WI 53278-D599                               21,530.Sli    21,530.83(    21,530.83!               -l     2,,518.89

~3106866                                                              lsooSTHAVE.STE 404                                          !FORTWORTH, TIC76104                                       28,475.oo:    21,35625!     2   56.25                       2.498.47
11-1839~2                                                             \POBOX9U6GPO                                                !NEW YORK, NY 10087                                        33,056.27;                              1    1.449.79!
                                                                                                                                                                                                           22,729.451    21.279.66                       2,489.51
XX-XXXXXXX                                                                7102 SOLUTIONS CTR                                      ]otlCAGO IL606n-1001                                       31,525.SO!    27,449.901                     6,186.60:      2,487.46
XX-XXXXXXX _
               I
                      BOARD OFTRUSJ'EES CflME UNIVERSITY              .506 S WRIGHT STREET                        !209 HAB MC 339 iuRBANA,. IL 61801                                         42,071.40]
                                                                                                                                                                                                      I
                                                                                                                                                                                                           25,678.06!                     5,490.Sli  '   2,485.92
XX-XXXXXXX     :AKRON GENERAL MEDICAL CENTER                          !Po BOX 933126                                              IQEVEtANO,_f?..~~~..!~.!...                                89,833.51)    21,805.761                       849.601      2,460.79
XX-XXXXXXX     /PRIME HEALTHCARE SERVICES- KANSAS CITY LLC                PO BOX 874237                                           '.KANSAS 01Y, MO 64187                                     S2,832.SO/    20,944.ssl                                    2,450.34
94-1458J82     !NORTHBAY HfAL'THCARE GROUP                                POBOX39000                                              !SAN FRANOSCO, CA 94139                                    27,100.91!    21,138.72'                      200.001       2,,449.62
XX-XXXXXXX         STAMFORD HEAL"TH INTEGRATED PRACT                  lPO BOX 120004                                                  STAMFORD, CT, 06912                                    47,079.79!    31,146.62!                    12,S92S21       2,436.34
XX-XXXXXXX     !WHOLE HEALllt UC                                      f402 se 6TH AVE                                                 DELRAY BEAQ-1, FL 3348:J.5231                          20,825.ool    20,825.DOi                        25.110!     2.433.39
XX-XXXXXXX     loi1LOREN'SHOSPITAL OF PHILAOELPHlA                        PO BOX 821066                                           iPHllADELPHIA, PA 19182                                    47,299~1      22,776Bsi     20,589.47:       2.97459!       2,408.76
S6-19363S4     iFrRSTHEALTH OFlHE CAROLINAS                           !1SS MEMORIALOR                                                 PINEHURST, NC 28374-6710                               65,252.SGi    20,554.561                                    2.404.68
XX-XXXXXXX     INDIA.NA UNIVERStTV HEALTH NORTH HOSPITAL              !POBOX8227                                                      OtlCAGO, IL 60680-8227                                 20,S09.82i    20,509.821                                    2,399.44
XX-XXXXXXX     .COSMETIC SURGERY Of NEW YORK PC                       14616 NESCONSET HWY                                         !PORT JEFFERSON STATION, NY 11776-2563                     44,000.00:    22,000.00!                     1,,500.00f     2,398.29
                                                                                                                                                                                                      I
XX-XXXXXXX     INATERAINC                                                 201 INDUSTRIAl RD                       STE410          ISAN CARLOS, CA 94a70                                      42,999.68.    2s.tss.2sl                     5,663.05:      2,397.74
XX-XXXXXXX     kovotA UNMRSITY MEDICAL CENTER                             POBO:C.83262                                            !otlCAGO~·;~ 60691                                         38,826.62!    27,783.40!'   20,475.55        9,065.431      2,395A3

SB-1581103     !UNIVERSm' HOSPITAL                                        13SOWALTONWAY                                           IAUGUSTAGA309D1-2629                                       33,044A1'.    25,458.481    20,392..401      5,066.081      2,385.71

XX-XXXXXXX     iMIOTOWN SURGERY CENTER                                .PO BOX 398361                                                  SAN FRANCSCO, CA 94139-836                             83,Gso.oal    20.S23A3!     20,304.06!         219.37       2,375.37

XX-XXXXXXX     !RUSH UNIVERSITY MEDICAL                                   DEPARTMENT 4565                                                                                                    45,826.36(    28,009.66;    20,219.76!       7,878.90!      2.365.51
                                                                                                                                  ;
XX-XXXXXXX     !TEXAS HEALTH PRESBYTERIAN HOSPITAL PLANO              '
                                                                      /6200 W PARKER RD FRNT                                          P1.ANOlX75093-7939                                     38,534.oo;'   27,353.89!    20~27.75         7,326.14
                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                         2,3<13.05
               ST MARCiARETS CONVENIENT CARE C£NTER                   )415E2ND5r                                                                                                             36,806.451    24,109.13)    20,017.65       4,091.48        2,341.86
               ,MEDSTAR GEORGETOWN UNIVERISTY HOSPfTAL                    PO BOX 418887                                                                                                      31,330.14~    20,973.SS!    19,900.98,       l.072.60       2_328.22
                                                                                                                                                                                                                     I
                                                                          242 ROYAL PALM BEADi BLVD                                   ROYAL PALM BEAOI, FL33411-7636                         19,980.00i    19,903.SO:    19,853.so!          so.oat      2.322.66
                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                     1
                                                                      jpoaox1020                                                                                                             43,082.03 1   23,338.89;    19,743A7         9,602.25       2,309.79

                   _,.!AMMANY PARISH HOSP                             i1202SmER5r                                                     COVINGTON, LA 70433                                    30,625.40!    20,825.28•    19,716.90        l.108.38       2,.306.68
                                                                                                                                                                                                                     I
               NORTHEAST MEDICAL GROUP                                J3 ENTERPRISE DR                            srE404          lsHELTON,_q. 06484                                         4s,1n.ooi     27,136.52)    19,629.79       14,414.U        U96.49
                   Mlll.ENNIUM MANOR LLC                                  6633 N UNCOLN AVE                                           UNCOLNWOOD, IL 607U-3605                       \       61,600.00\    24,863..92\   19.595.35!       5,268.57i      2,292.46

XX-XXXXXXX     :BETH ISRAEL MEDICAL CENTER                                PO BOX 950002195                                        :PHILADELPHIA, PA.19195                            I       58,017.06\    24,19828j     l!l.518.571     15,402.321      2,283.48

XX-XXXXXXX     !SAINT JOSEPH MERCY UVINGSION                          1Pa sox 223192                                              jPmsBURGH, PA 15251-2192                                   23,449.95!    20,94156'     19,427.41        1,851.65       un.si
                                                                      ;
XX-XXXXXXX         BLUE ISLAND HOSPITAL COMPANY U.C                       62592 COLLECTIONS CENTER DR                                 CHICAGO, IL 60693                                      70,67L09)     22,276.83!    19,355.031       2.921.aol      2,264.34

XX-XXXXXXX         BLESS(NG HOSPITAL                                      1005 BROADWAY ST                                            QUINCY, IL 62301-2834                                  19.216.Sl:    19,216.911    19,207.38.           9.53       U47.fI1

XX-XXXXXXX         ANTWAN N ATIA MD                                       200 FOX GLEN CT                                         .BARRINGTON 1L60010-1809                                   SS.825.00:    25,146.23!    19,170.33        9.800.901      2.242.74

XX-XXXXXXX         UHS OF PENNSYLVANIA INC                            \2 HOSP£rAL DR                                              'iQARION, PA. 16214
                                                                                                                                  I
                                                                                                                                                                                             27,800.00)    19,160.00i    l!l,160.ool
                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                  -1     2,241.53

                   NOVANT HEALTH ROWAN MEDICAL                            PO BOX 751588                                           !CHARLOITT, NC2827►1588                                    zs,ocs.so!    23,258.83)    18,916.53        4.342.30!      2.213.04
~¥7479                                                                                                                                                                ··-·---·-·-·•····-·-                                           I
XX-XXXXXXX         GASTON MEMORIAL HOSPITAL                           l2szs couRT □R                                              iGASTONIA!._~!=, 28054                             i       20,799.30;    19,79454!     18,863.54]         931.00!      2.206.85
                                                                                                                                                                                     I
XX-XXXXXXX     !~NNEIT HOSPITAL SYSTEM                                iPo sax 116360                                              !ATIANTA GA 30368-6360                                     67,482.00l    24,553.19:    18,840.04!      25,878.47!      2.204.10

11•1639818     !JOHN T MATHER MEM HOSP                                IPDBOX6435                                                  leRAln.EBORO. vros302                                      37.226.881    23,3SlA8i     18.752.781       4_sgs.1ol      2,193.89


                                                                                                                 EXHIBIT2

                                                                                                                   11
                                                      Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 35 of 266 PageID #:11131




                                                                                                                                 AEU INTERIM DISTRIBUTION




lr.-,a~•~::;;111'"~~---~~
~2044647        !NATIONALJEWlSH HEALIB                                                      l140DJACKSON    sr
o&-1483728      IPHYS10ANSFORWOMENSHEAl.THLLc                                               ipaeox19os1                                       !                              !eELFAST,ME0491S                               !         35,090.ooi               is,65LI1!         1B,62S.2sl            8,948   .95!                   z.178,97
XX-XXXXXXX      ]EBHSERVJCESOFFLORIDA                                                       iPOBOX67DS64                                                                     loAUAS. TX7S267-0S64                           I         24,465.ool               24,465.oo)        18,607.54!            5,857.461                      2,176•90

XX-XXXXXXX
                1
                 PHOEBEPUTNE!_MEMORIALH05PINC                                               iPOBOX3770                                                                       )ALSANYGA31706-3770                            !         27,955.07!               23,~9.26:         18,S56.26i            4,483.00:                      2,170.90
XX-XXXXXXX      iaUEST01AGNOSTicscuN1CALLASORATCR1ES                                        !Poeoxszzs04                                      I                              iPHILACELPH1APA19182-25D4                              159.946.461                41.99438!         1e,544.01!          30,124.G&!                       2.169.45
6~·1600397 ______ HOSPITALINCS=U-"NR=IS=E=M=O=U=NT"-~"''""Vl"'E"'w_ _ _ ---------;=l,cc1oo=NTcNAYAWAY                                         !                              !LAS VEGAS, NV,8912B                           I       111.190.os!                20,894.38!        18,376.67(            2,,517.71)                     2,149.89
XX-XXXXXXX      ROCICFORDGASIROENTEROLOGY'ASSOCATES::.;':c'o:;__ _ _ _ _ _ _ _-'i"'•o=1"'•=0>=CBUR""Y'-'RD=-------------t-!_ _ _ _ 1R=OC1CFO==•c:o,..,c::'-.c61=:1::;D7'-------+1_ _~2,,_1,834=.,,,oo:;.1_ _ _-"1s,,,10=6.se,1.1.i_-'1,_,s.e,3:23,e.B,c0!.__                                         ___,3,e83:,:.07"'-!-!_ _ _-'2.~l~432,.7D!!a!.I
                                                                                                                                                                             7
XX-XXXXXXX      iSAINT MIDIAElSMEDICALCENTER                                                ipe BOX 18518                                              ...... ·······-·-·-   !NEWARK, NJ~07~19~2~--------i----=30~,3~n=AD=,.;_ _ _-=18"",S83=AB=;.i--'1=•=·'=16=.S~j,___ _1~,2B2._1_o+i'_ _ _ _2.=1~42.=85=-t
23-236no7       ILEHJGHVALLEYHOSP                                                           l120os.CEOARCREST"                             ····-r··                          1AUENTDWN,PA 18103                                      45,102.9S!                25,915.19i        18,301.25           13.571.02J                       2,141.06
XX-XXXXXXX      fANNAJAQUES HOSPITAL                                                        l2s HIGHLAND AVENUE                               I                              !NEWBURYPORT, MA 01950                         1        22,738.15:                1s,25s.02i        18,lSS.02!                                           2,135.~
134003705       IEASTRIVERMEDlr.Al.ASSOCIATESPC                                             IPOBOX27578                                                                      INEWYORIC,NY.10087                             i        50,025.00i                29,917.60!        18,134.321          11,783281                        2,121.53
XX-XXXXXXX      1ST JOSEPHS HOSPITAL                                                        !215 NORTH STREET                                                                ]HARRISON, NY, 10S28-1140                               22,495.88;                19,294.001        18,133.40            1.18D.60)                       2.121.43

XX-XXXXXXX      iPRESBYTERIAN MEDICAL CARE CORP                                             iPO BOX 601449                                                                   IOIARLOTTE, NC 28260                                    20,681..3S:               19,000.83!        18,117.02             1.983-311                      2,119.51

XX-XXXXXXX      COLQUITTREGIONALMECICALCENTER
                                                                                            1
                                                                                             POBOX537041                                      i                              /AllANTAGA30353-7041                                    36.000.87:               18,115.92!         18,070.33           12,694.91[                       2,114.05
XX-XXXXXXX      !se1MT1uM MED LLC                                                           ls01 sn.VERSIOE RD PMB 325                        \                              lw1LMINGTON, DE 19809-1374                     I        23,310.00:               19,541.soi         18,019.601           1.485.901                       2.1oa.11
83--6000295     iMEMORIALHOSPrrALOFSWEETWATER                         -------1'=12DO=CO=LL=EG=E:..:Dc;Rc___ _ _ _ _ _ _ _ _ _ _f-
                                                                                                                               •
                                                                                                                                              1
                                                                                                                                                  ----"''•==o=Ot:..:SPR=••e:GS.:=WY=•='"°=l_____+-!_                               _.:,23e,,794=.84=i_ _ _=23,:,7"'94::,.84,:e;..l_-'1""7,95=7=.30~i,__!!11.9~611.54=)i,__ _ _ _2.~1-D0_.82_,
XX-XXXXXXX      'LOURDES PHYSICIAN GROUP LLC                                                [Po eox 677957                                                                   ]DALI.AS, TX 75267~7957                                 17.938.oo:                11.938.oo!        17,938.00                       ~I                   2,09857

XX-XXXXXXX      WESTOIESTERHEALTHMEOtcAL                                                    !POBOX4195SS                                      :                              ieoSTON,MA 02241                               !        42,236.481               21,014.10:         17,849.60            3,517.50;                       2.088.22
                1P1NOAKMEDICALCENTER                                                        l1000JOR1EBLVD37D                                 f                              l0AKeROOt::,1L60S23                            I      . 18,om.oo!                 1s,000.ool        17.84756                152.441                      2.087.99
84-0S63230      !vA1tvALLEYMED1CALCENTER                                                    !POBOX11SO                                                                       lvAn.. cos1sss.-1iso                                    24.727.7Dl               22,512A2!          17,780.98!           4,731.44!                       2.oso.20
.u:...nR79012   PREMIER.SPINE                                                               i373SEASTONNAZARETHHIGHWAYSTE203                  I                              !EASToN,PA1804S                                I        17,695.ooi                11,69s.ooi        11,595.ooj                      -1                   2,010.14
XX-XXXXXXX      SPRINGFIELD cuN1c LLP                                                       IPo sox 19260                                                                    lSPRINGAELD. u.. 62794                                  30,255.401               21.sss.94i         11.sss.16.           t.773.18!                       2,065.48

XX-XXXXXXX      HAMILTON SURGERY CENTER                                                    h44SWHITEHORSEMERCERVlll                                                          lHAMILTON,NJ08619                                       17,630.00'.              17,630.00!         17,630.001                     -!                    2,06253

XX-XXXXXXX      JGOODSAMARITANHOSPITAL                                                      !POBOX404310                                      !                              \AnANTA,GA30384-4310                           l        35,156.451               22.920.39!        17,602.79j           11,639.60:                       2,059.35
~!?2194S2       jTRuE HEALTH OIAGNoSTics                                                    iPO eox   2os391                                  I                              loAUASlX 75320-5391                            l        40,128.ni                38,338.32~         17,56534            20,833.761                       2,054,91
XX-XXXXXXX . !toNG ISLAND ANESTHESIA PHYSICIANS                         ·--·- ----··-···-· ·- h33 ROUTE 2SASTE 225                            I                              !ROCKY po1NT,_'-'•·'"'-"11"1'"'1B~-----f---'29"''"'•75=·=00,c;l_ _ _-=1B,,,Ae;7.=,o.2S=ri--==11.,,.s=2000.ocq..'---'•=so=.2==1:;.!_ _ _ _,:2.04=•·:;.,
                                                                                                                                                                                                                                                                                                                   4
F~=,ss=2~~6~T=~M~W~~='~~~oo=•--·----------------<lrooox:..:1~m~---------------~!_ _ _ _+l•~•=o•=~~•='6=1=~=~-=1~m~------f--~~=·~m"m
                                                                                                                                                                                                                                             7 l___~~"'.75=u=s:;.l__1::7,:,™=i~,f-!,_~w~,4~•~7.36;!_ _ _ _2.~•~~~m""-I
~1~?867=--:-c•=-o"™=ER=N-"vA~u=EY=A•e:ESt=H=ES='o,,LO=-GY=P~A~-----------;l~•o~•"o~•-"63"80~87~____________i1_ _ _ _ _~oH,._45=2="'~-----+-~2~93a_00;                                                                                                         24,oao.ooi         11.290.1sl_ _-'6"',7-=B!l=.B4=-i_ _ ____,2.,,,oc::22.=1:.:•'I
F•=~-=380=90c=62=---,ls="='•ecL=HO:.:LD:cl:,NGS=LLc:C,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+1,'-'o'-'•=oc.••"'1~12~~~------------+-----                                                      ~;·;41-7240                                ss,SOS.74!               25,093.S&i        11,293.21l            1,914.osl                       2,021.97
XX-XXXXXXX      lsoUTHERN 1wN01s HOSPrTALSEfMCES                                            tro BOX 1305                                                                               ous. IN 46206                        !        24,722.93l               11.306.os!         11,221.141               84.311                      2.014.77
XX-XXXXXXX      iMERCYo~GNosncs1Nc                                                         i,1.,.PoPlARWO□Dcr                                                                IRALE1GH.NC27604                               i        31,639.38!               28,!112.86\        17,136.oa!          11,776.831                       2,004.74
XX-XXXXXXX      !wAUKESHA MEMORIALHOSPITA                                                   !PO sex 1601                                                                     !wAUKESHA, WI 53101-1601                       I        29,229.18;               23,31,.79i         11,112s1i            9,093.ssi                       2.002.os

XX-XXXXXXX      ROBERT WOOD JOHNSON UNIVERSITY HOSPITAL                                     1Pa sax cso26                                     l                              1NEWARK. NJ 01101--4826                        I        SG,2es.11l               19,22.usf          11.078.97!           z.142.3ai                       1,99s.01
XX-XXXXXXX      lBARBARAANNKARMANOSCANCERHOSPrrA                                            ]PoeOX673352                                      I                              IDETRorr,Ml48267-3352                          i        39,740.141               1s,ns.s2l          16,994_95 1          1,181.87[                       1,988.24

XX-XXXXXXX      HEALTHAUJANCE HOSPITAL BROADWAY CAMPUS                                      lPOBOX64336                                                                      [BALTIMORE.MD 21264-4336                                S6,4U.26·                16,944.st!         16,944.Sli                                           1,.982.37

21J-4Sl38S6     IM£TROPOUTANSURGICALINST"-.~------                     _______1P0=80~•~·~•~01~•-·-----------···l----·!NEWARK,~N~J07~1•~'-------~--~18,=.3~S! ·- ····•--· 18.~•'""='.s=2,,.l_ _1~6,, S4-"2.9D=,•l                                                                                      1,448.62/                       1,982.15
4J'.·222143f:i ···~·. !PRMA MEDICAL GROUP OF GEORGIA LLC                      \950 N GLEBE RD                     .STE 4000 ;ARLINGTON, VA22203        57,169.00 1       19,425.9oi           16,919.04)                                                                                              6,830.19!                       1,979.36
XX-XXXXXXX      !EASTSIDEENDOSCOPYLJ.<;.....         -------------+!P..::D..::•=o•,_•:cm=01,_____________+-_____.l.=:BO=STON=,_,M"'A"-0='=2•::1 _ _ _ _ _ _ _'---'2=•.=.•ooo=.oo=-:,__ _...,,..:::,,8673s!_ _16~,7~54~.34~!--~'·~•1_3._01~d_ _ _ _~1.~•~~-77__,
XX-XXXXXXX      iHUNTERDON MEDICAL CENTER                                                   i21oowESCOTT DR                                                                  ] FLEMINGTON, NJ 08822--4603                            22.384.34!               18 002.21!         16,785.16:            1.211.11i                      l.963.70


                                                                                                                                            EXHIBrT2

                                                                                                                                                  12
                                                       Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 36 of 266 PageID #:11132




                                                                                                                                     AEU INTERIM DISTRIBIJTION



                                                                                                                                                                           -~...·•ID:-
                                                                                                                                                                                  ~~
                                                                                                                                                                     !Al\ANTA GA 30368-2111                         30,639.56i             20.110.sa!            1&,773.111            3,937_41!                1.962.29
172-1531917     !sr CLARES HOSPITAL                                                        J3400 MINISTRY PKWY                                                       !WESTON, WI 54476                             17,652.15)              16,7&9.ssf            1s,m.ss!                       -1              1.961.87
XX-XXXXXXX      !muSTEES OF COLUMBIA UNtvERSITY                                            'jPO BOX 27036                                                               NEW YORK, NY, 10087                         29,180.00;             17,225.45~            16,732.49!              492.961                1.957.53
31..Q830955     iMERCY HEALTH O.ERMONT HOSPITAL U.C                                        IPO BOX 63S804                                                               ONCINNATI, OH 46263-S804                   38,305.35;              21,643Ati             16,726.90!            4,916.St!                1,956.88
XX-XXXXXXX      !oooo SAMARrrAN HOSPITAL                                                   !PO BOX 633580
                                                                                           1
                                                                                                                                                                        ONONNATI,OH452&3                   i       28,717.32!              16,9n.11t             16,677.7ti              300.00\                1,951.13
146-5285330     ivALLEY PHYSJCIAN SERVICES PC                                               PO BOX 16605                                                                BELFAST, ME 04915                          26,339.00;              20,089.89;            16,651.27!            3,724.82\                1.948.03
XX-XXXXXXX      IWNOIS BONE AND JOINT INSTITIJTE llC                                       !5057 PAYSPHERE ORO.E                                    I         /CHICAGO, IL. 6D674                    I       63,565.15!                    35,578.34;            16.599.291           25,322.67!                1,.941.95

XX-XXXXXXX      IATHLETICO llO                                                             )525 ENTERPRISE CR                                 -·-·--i. _________,!_0AJC_BROOK,ll,~•-os_2_,_ _ _ _ _ _+-
                                                                                                                                                                                                     l-~•2~,9~13~.ao-!           --~26~,S~23~.94c.c;-!_ _1=-c•ec,scc96c..•cc6;1       24.<=,273=.33=-"i-------'u=•t=.62=-i
XX-XXXXXXX      IActU REFERENCE MED                                                        i1901EUNDENAVE.5UrTE4                                  l                 iuNDEN, NJ 07036                       !       36.589.28'.             22,04154!             1s,541.s9i           12,23s.1&t                1.935.90
                1
XX-XXXXXXX      W1NONA HEALTHS\'STEMS                                                      IPOBOX5600                                             1                 !WINONA. MN, SS9tl7                    I       29,773.01;              25,433.Gli            1&,s2s.oo!            8,907.621                1.93338
XX-XXXXXXX      TRUSTEES OF COLUMBJA UNIVERSITY IN                                         !PO sex 29752                                          i                 !NEW YORK. NY. 10087                   i       30,595.oo~              is,114.oo!            1&,430.49l            1,.143.51 l              1.922.20
               !NORTH SHORE 0Nc:0LOGY CRYSTAL 1A                                           i1SOOHOLUSTERDR1VESTe112                               !                 luseRTYVILLE,.IL60048                          44,349_00;              16,502.40!            1&,421.40i               75.00!                1.92LB4

                SWEDISH EDMONDS                                                            !POBOX271627                                           I                 [SALTLAKEC,UT84U71627                  I       43,758.QS'.             17,128.07:            16,374.77!             753.30!                 1,915.68

XX-XXXXXXX     1EMPIREarY lABORATORlES                                                     1229 49TH ST                                                             1
                                                                                                                                                                     BROOKLYN, NY 11220                            49,123.17!              29,436.Sti            16,374.48!           13,062.33i                1,.915.65

XX-XXXXXXX .. !MONMOUTH CARDIOLOGY ASSOCATES uc                                            l11MERID1AN RD                                         i                  EATONTOWN, N.!•~•~n~2•~-----;-I--===·oocc.;-[---'1=•cc•64-"2=.a=-9(f--=1=<s,34=7·~BOc;.'!_ _-=228.=1=-•i,-_ _ _..,u=12==.S3=-i
XX-XXXXXXX     IPALMBEAOiBRAINANDSPINEUC                                                   l1447MED1CALPARKB1vosu1TE101                           I
                                                                                                                                                 !wewNGTON,FL334t4                     l      71,Bsz.soi        11,141.911 1s,111.44!                                                  1,,564A1!                1.892.60
XX-XXXXXXX      MIDLAND COUNlY HOSPITAL CIS1R5CT                                           (400 ROSAUND REDFERN GROVER PAAXWAY      I            iMIDlANC. lX 79701-.9960              !      29,528.00:        22,146.00( 16,146.00 1                                                 6,000.00!                1,888.92

35-600154?.~ i=Gc:OSH='"="==c:c•=L'-'ASSO=CA=n=o'-'•-=-'"=''--------------!F200=HJ'-'G"'H~P•-=-•"-'•~•VEN=~"'~•~o~•~ox~ll=•-------;-I'----+.G~OSH='"'"'~'•~•.=.•~•21~-0~13~•------+l--~1~'·~•20~.oo='---~1•~·Tl=OM-'-'cf__16
                                                                                                                                                                                                                           "',,12o.2S.A&II                                        .     6SD.16!                 1,.885.91
XX-XXXXXXX    MIDSTATEMEDICALCENTER                                              IPOSOX310912                                                    INEWl'IIGTON.CT06131                         20,57358]         17,896.52; 16103 ii                                                    1,181.03!                1,883.94

13-336s99s      MEMORIAL PATHOLOGY GROUP                                                   ]PO sox 26668                                                            :NEW YORK.NY, 10081                    I       19,74s.ooi              tG,848.la:            16,083.97!             764.41!                 l.881.66
S6-075S77S      CAROUNAEAST MED CTR                                                        !PO BOX 12157                                                            INEW BERN, NC 2SSG1                            38,787.43i             ·17,900.3a!            16,067.9s1            1.832.431                J.,679.79

XX-XXXXXXX     !NEW JERSFt HEALTHCARE SPEOAUSTS                                            !PO BOX 417191                                                           leosroN. MA. 02241                             22.s1B.00:              zo,49s.s5J            16,044.231            4,454.s2i                1.an.01

s1-to4l863     leNGLEWOOOSURGERYCENTER LLC                                                 !140SYLVAN AVE                                         lsuITE 101        iENGt.EWOODCJFFS, NJ 01532                     16,000.00!              1&,000.ool            1s,ooo.ool                     -I              1.s1L84
XX-XXXXXXX      INTEGRATEOIMAGINGCONSULTANTSU.C                                            jPOBOX95040                                                              lo-11CAGO,IL60654                      l       9~,269.00[              21,937.ZDi            15,973.121           26,453.121                1,868.70

F2"-1-<>=•444=1•'-➔GA="°=-'=-""s:r""A"-:rE"'H"'EA=Lllf"-CARE=~ASSOC=="'~'"=LL~c__________--+l10=ex~c~HAN=G~E~•1ACE=~---------·--+h=STH~•~•---l"!,JE~RS~EY~art~-"'~•'~302~-4~•34~------l__2S=,1~44~.44~[--~22=,os~•~·12=!~~1S~,•~rn~.38"""'"!_ _                                       ~•~·1A6=·'"'41,-----~1.=86=L=OO=-i
SS-0564945     !UN1VERS1TYPHYS1CANS&SURGEONS                                               loePT7Bl719POBOX7SOOO                                  I                 1
                                                                                                                                                                     0ETRorr,M14821s                               2&,591.ooi              t7,487.77i            15,896.63!            1,251.14!                t.BS9.7S

FB,:::B-050=232=0"-➔CARSO==•co•:::AH:::O::cE,::RE:,.:G::IOc:;N:,AL,__ _ _ _ _ _ _ _ _ _ _ _ _ _--+i1=60ccOccM:,E=O=ICAccLccP"'""'c.c...----------+----lFCA~RSO=N~OTY=~••~89=703-4~=62cc5_ _ _ _...,...I_ _S3=,3~Tlcc.89=-;-[---'"'='•c.c•=.84~',--=15:,,890=.9=61___~••-•2_6.9_3➔1_ _ _ _~1.~85_9_.0B_,
2D-820643S      w1LLAMSV1UJ:WELLNESSCENTER                                                 l1os1SCA8AN1StANE                                      l                 !HANOVER.VA23069                       I       33,7so.00i              11,145.ooi            15,83338:             1.311.62!                1.ss2.3s

XX-XXXXXXX      JINOVA AlEXANORlA HOSPITAL                                                 P080X37019                                             j                                                                                                                                        ='=·➔
                                                                                                                                                           _ _ _.;c!BAL:=JlM=O~•·=·~M~•~21~"'~'---------="'=·886=.fu=l _ _ _~1B~,72~1.2S=,-l-~is=·~'33=.8=,3!_ _~•~,9~72.3=•t-!_ _ _-',._~....
11-1661~;·--!CENTRALSUFFOLK HOSPITAL OBA                                                   11300 ROANOKE AVE                                                        IRNERHEAD, NY 11901                            31,142.54!              11.021.16!            15,727.76;            1.3Clo.ool               1,839.99

XX-XXXXXXX      lSAINTV1NCfNT HEALTH CNTR                                                  1232 w 25 STREET                                                          ERIE, PA 16544-0002                          l69,SS6AO:               18,123.27i            15,681351             2,441.921                1.834.56
XX-XXXXXXX      luROLOGYJNSTITUTI:AMBULATORY                                               ta11SMrrHAVE                                                             ,THOMASVIUE,GA31792                    I       20,864.82'              15,64B.62t            15,648.621                                     1.830.73

XX-XXXXXXX      RADIATION ONCOLOGY CONSULTANTS LTD                                         1PO BOX 1130                                           I                 !GLENVIEW, lL.60025                            6S,Ei07.00;             1S.Sti9.6lt           15,579.451              290.16!                1,822.64

XX-XXXXXXX      lLEWISGALE HOSP MONTGOMERY                                                 !Po eox 402814                                                           !A1lANTA GA 30384-2814                         48,845.oo:              21,DZ&.641            is,s6151i            12,065.01!                1,820.55

36-n67920       !ADVOCATE SHERMAN HOSPITAL                                                 !35134 EAGLE WAY                                       l                 !OitcAGO, 1L6061s-13s1                         64.236.oo:              24,751.04]            1S,sso.24!           11,667.isi                1,s19.22

1,39~-~139=os~••~...;l~SA...;CR...;E~O.=.H~EA...;RT~s:r~M~AR~Y...;S...;H...;OS~PIT~Ats_1N_c_ _ _ _ _ _ _ _ _ _ _-f!2=2S~1'-'N'-'S"'HO=•cc•=o=•~m=100~-----------;!-----+!R="'="E1A=•~o!.~~w~1~s•"so=1~-----;-      16,357.1...;4!c---~15=.53=•=.2•'ci-~is=.5=39'-'.29=+1_·-----+-l_ _ _....:,1,e=1~7.94"-'-I
••-=-==12=1''--.,•j·=NO~RTH=STAR ANESTHESIA OFIWNOIS                         ----+·1PO=eo=x'-'s"'1"'2•=••'------------· --+j____,ioAUAS, TX. 75261                                                                  21.521.00[             16,656.sol            15,516.40!            1,140.101                1.815.26

l.3-41897DORETINALAMBULATORYSURGERY-=CE'---------------+13B=140~EASl'
                                                                  __  8Dllf
                                                                       __         _ _ _ _ _ _ _ _ _ _i;--------;-IN_EW_Yo_•_•~•NY_1oa,_s_ _ _ _ _ _---;----"'~·'-so_.oo---;-;____
                                                                            STR_E_ET                                                                                            ,,.~;,_60_.oo....,..!_ _is_,~408_.oo_,i_ _ _•~.s_s2._oo---;-!_ _ _ _1.~•-=--1
2~3069241       IHUNTSVtllEMEMORlALHOSP                                                    !MSC7SO POSOX4438                                                        iHOUSTON. TX77210                               24.620.31:             16.003.2Di            1S.403.20i              600.00!                1.802.02


                                                                                                                                                EXHIBIT2

                                                                                                                                                      13
                                                           Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 37 of 266 PageID #:11133




                                                                                                                                        AEU INTERIM DISTRIBUTION




XX-XXXXXXX             !SANFORDUSOMEOICALCENTER                                                   )POBOXS074                                            !        SIOUXFAUS,SD,57117                                  37,483.77\             29,110.75(          15,315.351            Ei,582.83 1      1.79L74
20-S9042S3             iADVANCED RISK MANAGERS                                                    12984TH AVENUE #"398                                           jSAN FRANOSCO, CA94118                              15,284.43i             15,284A3;           15,284.43)                     .!      1.788.13
XX-XXXXXXX             loRTHOPAEDICSPORTS MEDI ONE AND REHABILITATION CENTER PA                   (ao OAK HILL RD                                                laeo   BANK. NJ 01101                               11,545.001             16,314.90;          1S,225.1ol            1,379.SOt        1,781.18
XX-XXXXXXX             iPAIN CENTERS OFwlSCONSIN FRANKUN LLC                                      !PO BOX 78026                                                  !GREENAELD, w15327S-0025                            15,145.DD~             ts,14s.oo!          15,t4s.ool                     -1      1.771.81
XX-XXXXXXX             !ADVENTIS!.HEALTHPARTNERSINC                                               iPoeax1001                                            1        lsoUNGBROOKILS0440-7oot                             62,7BLOO;              22.173.Sl!          15,090.441            7.527_37!        l,.76S.43
XX-XXXXXXX             i DR GREGORY SHIFRIN _08--GYN PC                                      __   _/1166 E 12TH ST                               ....   i        fBROOICLYN,..~.! 11229                              39,300.~~            ~21~,183=34=--+;_ _15=,084=.Bc=Bf--r--_·_-"'==!--
                                                                                                                                                                                                                                                                             6,098.46!                 1,764.78
XX-XXXXXXX             hoHNSHDPKINSUNIVERSrrY                                                     'POBOX643ts                                           i        !BALnMDRE.Mo,21264                                  19,960.81'             15,373.021          15,074.98!              298.041        1,763.62
3s-211ois2             iMERCYHOSPITAL& MEDICAL CENTER                                             lza231 NETWORK PL                                              !CH1CAG0.a.. 60673                      I           S1.2Ss.02l             23,018.ISj          1S,OOB.s1l           11,247.941        1.7SS.86
65..QS6688S            !uNMRSITYHOSPITALLTD                                                       !POBOX4D29SO                                                   lAnANTA.GA30384                         I           51,380.00!             1S,140.25i          14,940.2Sl           23,594.75!        1.747.86
                                                                                                                                                                                                                                                                                              1
2&-3111283         !ce.PAMERtCA.lWNOISUP                                                          l1so1CUMMlNSDR                                        STEo     \MOoESTO.CA,9S3sa                                   n.s11.001              17.3803Si           14,926.43!            5,344.02         1,746.24
!7:~!.~5               JRIOIMOND PAIN MANAGEMENT                                                  luso HYLAN stvo                                       !        !STATEN ISlAND, NY 10305                            n.ooo.ooi              21,950.00;          14,892.001           ,.,1118.ool       1.742.21
4~1686152              IGILVVDIS VEIN CJNIC Lll)
                                                                                                  16910 s MADISON STREET                                l        fwiLLOWBROOK. L 60527-5504                          22,677.00'.            20,235.47;         14.884501              S,35D.97f        1,741.34
2&-1s15123         !NEW JER.SEYPAJN CARE CENTER P                                                 144STATE RDUTE23                                  Im 15e       ;RIVERDALE. NJ07457                     I           22,038.00'.            ts,731.34l         14,877A2I              6,203.921        1,74051
45--2497248 ...        !BAPTIST EMERGENCY110SPITA                                                 11119 IH 3S SOUTH                                              SAN ANTONIO, TX 78224                   !           23,7~:?!J __ "                                                  ===+---
                                                                                                                                                                                                                                         ~'~'•c..n~•~·•=;6!~~'•.,_,rr,cc..c•5cc1c;.l_ _ 2.000.ssl      1.740.17
~=~~194                !ROMAN E ANN MD                                                            l22 MADISON AVENUE                                             !PARAMUS. l'tf 07652                                30,787.74(             16,311.00;         14,81754    I          1.493.46i        1.733.50

as,.2791823            !HENRY FORD WYANDOTTE HOSP                                                 IPO sox 670884                                                 cmorr, Ml 48267                                     20,203.261             16,913.64!         14,755.411             2.158.231        1,726.24
2&-2122102         lezwNICALlABORATORY                                                            lss1CRANBURYRD                                                 !EAST BRUNSWICK,, NJ oss1s                          23,964.oo:             18,503.251         14,663.751             3,839.501        1,715.51
XX-XXXXXXX             !coMMUNITY HOSPITAL GROUP                                                  !PO eox 11913                                                  lNEWARK. NJ, 01101                      i           39,298.86i             19,804.35!         14,660.05!            19,275.751        1.715.08
XX-XXXXXXX             !EowARDHEALTHVENTURES                                                      i3471EAGLEWAY                                                  i011CAGO,IL.60678                       l           41,285.oo!             16,121.ts:         14A3S.22t             19,701.971        1.688.78
                                                                                                                                                                 1
3&-2852553             hWNoJS VALLEY COMM HOSP                                                    11305 SIXTH STREET                                             PERu, ll613S4                                       28.273.361             19.92832!          14,402.561             5,525.76!        1.684.96
06-1G11111             lRoCXFORo SPINE CENTER LTD                                                 ]PO eox 4S33                                                   CAROL srREAM,    n. 00197-4533          j           24,oss.oo:             14,396.61!         14.396.61!                      j       1.684.26
84-13D0129             lcoRAM 1Nc                                                                 [PO BOX 809160                                                 011CAGO. IL 60680-9160                  I           19,407.00,             14,382.60!         14,382.601             5,024.401        1.682.62
XX-XXXXXXX.... M.JHEALTiiSOUTH OF TREASURE COAST INC

46-31781n
46-4~870
                  ..!ADVANCED MEDICAL THERAPY U.C
                  .•   !H□USTONMETHOOISTSTJOH
                                                                                     .........M
                                                                                              ..M_.)POBOX 864425


                                                          _ _ _ _ _ _ •_ _ _ _ _ _ _ ,lPoeox41ss
                                                                                                  !PO BOX 30907 ...
                                                                                                                                                                 ORLANDO, Fl32886-442S

                                                                                                                                                                 :LOS ANGEi.ES, CA 9 0 0 ~ - - - - - ; .
                                                                                                                                                                 HOUSTON,TXnll0-47ss
                                                                                                                                                                                                         I           24,429.~'.---~'~'·=1D0=.85=,~-~1A=34,7".6"L+-I_

                                                                                                                                                                                                                     34,770.00:       .. ::•.220•6SOr.'._-.·..·.::~.·6S
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                                                                                                                                                                                                                                                                                     2.753.24! 1.678.53
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                                                                                                                                                                                                                                                                                                       1,663.67

                                                                                                                                                                                                                                                                                                       1,662.95

07•1422838 ______ .;AND:::REA=ca.E=NZA=,_,PH::,Oc__ _ _ _ _ _ _ _        --------t=',!l=.lfc.clBD=R'-"OAD~-=.                                                    lEXINGr0N,MA02421                                   29,610.DOi                                       13,524.06!         1,660.78
                                                                                                                                                                                                                                            26,152.84,_!-~'~••=19Sc=.9=.4.c;!--==':+-----'"

                                                                                 _ _w_9_STH_~----·--
F3-'-6-3"'87~5=523~-t;M~l=-DW=ESr=AN~E5TH==ESlccOLOG==ISTS='~:ro~-------------j-4440                                                                             OM LAWN.~':- 60453                          -·                                                                         109.62:
                                                                                                                                                                                                                     20,034.00,_i_ __;1:,4,,::286=·'"=.;_ _ :,.;,;,1:,7=,6.4:::B:,.!_ __:;=:,-------""'
                                                                                                                                                                                                                                                                                                     1.658.51
13--3278578            IMEMORIALSOLIDTIJMORGROUP                                                  ;1275YORKAVE                                      I            NEWYORK.NY,10065                                    17,300.00i             14,414.831         14,144.83!               210.ool        1,654.80

XX-XXXXXXX         !ROGERS MEMORIAL HOSPITAL                                                      !34700 VALlfY ROAD                                !            OCONOMOWOC. WI 53066                    I           35,022.21!             16,434.oo!         14,144.701             2.289.301        1.654.79

XX-XXXXXXX             \coMPASSHfALT11CARECON5ULTANTSU.C                                          \P080X71625                                                    100CAGO,IL60694                                     15,990.001             15,023.001         14,113.00.               910.001        1,651.08

XX-XXXXXXX         !MAYO CLINIC                                                                   i201 WEST CENTER ST                                            JROOiESTER. MN 55902                                31,701.20:             19,020.72~         14,081.021             5,807.261        1,647.34

91·1487485         !SAINT CJ.ARE HOSPn"AL                                                         !PO BOX 310011462                                              iPASAOENA,, CA 91110                                25,618.94.             14,209.33j         14,009.33]               200.ool        1.638.95

XX-XXXXXXX             lMtDWESTORTHOPAEOICSATRUSHLLC                                              l1NSURANCE PAYMENTSOEPARTMENT4559                              !CAROLSTREAM, IL60122                               3S,60Ei.90•            17,360.971         13,938.841             5,648.29\        1.630.70

~~367135           !MEMORIALANESTHESlOLOGYG,R.::OU=P_ _ _ _ _ _ _ _ _ _ _ _ _..;'1=13=3,_YO=••~A~VE~------------+-----f'!N=fW~YO'-R=K,NY,~1=00~6,_s_ _ _ _ _ _+--~29~.2"-75=.00=!_ _ _'-140,,4~76~.3~3;-i-~13~•=•0~L~••c;j_ __,=cc;.-------'
                                                                                                                                                                                                                              574.841      1,626.34

XX-XXXXXXX             jSUTTER SANTA ROSA REGIONAL HOSPITAL                                       !PO BOX 748373                                                 !LOS ANGEL~-~ 90074-8373                            17,005.00!             14,354.63;         13.&97.50;               655.00[    '   1.625.87
                                                                                                                                                                                                                                                                                                   I
2.4-0795682            MOUNTNITTANY MEOICALCE                                                     !1800 EAST PARK AVENUE              _ _ _ __ ,_ _ _ _ _i,_ST_A_TIS_COll.f
                                                                                                                                                                    _ _G_E~•P_A_168_03_ _ _       _ __,.____19,357.SO+. ···-···--·-·-15,364_.6~3/_ _13-,896=.0=3-;.!--==..;--
                                                                                                                                                                                                                                                                  1,498.60i                            1,625.70

XX-XXXXXXX             jMOUNTSINAI GENETICTESnNG                                                  l1GUSTAVELEVYPLACEBOX1497                                      !NEWYORIC.NY10029-6504                  j           23.417.00!             13.748.01:          13748.01!               222.62!        1.608.38


                                                                                                                                                  EXHIBIT 2

                                                                                                                                                            14
                                                   Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 38 of 266 PageID #:11134




~~;t:~~\~~i~~~:;~~-•~-~
3&-3312906

XX-XXXXXXX

3fr2235167
              !NORTMWESrCOMMUNITY HEALTH SERVICES


              I
                  UROPARTNERS llC

              tROSECRANCE INC
                                                                              !25233 NETWORK PL
                                                                              j3183PAYSPHEREOR

                                                                              !1021 NORTH MULFORD ROAD
                                                                                                          AEU INTERIM DISTRIBUTION




                                                                                                                                       lOiICAGO, IL sorn
                                                                                                                                       jCHICAGO, IL, 60674
                                                                                                                                       inooo:ORO, IL61107                  !
                                                                                                                                                                                    36.996.oo!
                                                                                                                                                                                    26,685.QO!
                                                                                                                                                                                    21,297.00]
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                                                                                                                                                                                                                 18,170.0li'
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                                                                                                                                                                                                                                                                                    1.602.06
                                                                                                                                                                                                                                                                                    1,594.00
                                                                                                                                                                                                                                                                                    1.588.10
145-4517851   i1CAHNSCHOOLOFMEDICNE AT MOUNT                                  IPO BOX 28082                          I                 INEWYORK,NY10087-&182               I        u.soo.oo;                    13,.500.00i              13,SOO.oo!                                1.579.36
13-,1725076   [PHELPS MEMORIAL HOSPITAL                                       !101 NORlH BROADWAY                                     151.EEPY HOLLOW, NY 10591            I        21,856.29'                   14,16s.ut                13,43L19i                    733.921      1,571.31
                                                                                                                                                                                                        I
XX-XXXXXXX        FRANCSCAN ALLIANCE INC                                      JPo===~------------+-----1DETROIT,M,,_l,_c4827=8'-------f-1,
                                                                                  sax 1s101s                                              _ _28=••a7:::80:=.6:.:.7,-i---'==::;--=="""--==";--
                                                                                                                                                                          18,906.91] 13,429.65i 5,796.50!                                                                           1.57L13
XX-XXXXXXX        HUDSON CROS.SING SURGERY CENTER L1C                         !POBOX674357                                            !oETROIT, Ml 48267                            57,080.0Di                   24,197.DS;  '            13,377.531                43,702.471      1,565.04
31-117S717    \AWANCE PHYSICANS INC                                           !POBOX781294                                             iDETROrT, Ml 48278                                                  .,...-.. 14,908.SSl            13,351.92)                   692.461      1,562.04
XX-XXXXXXX    ·FRANDSCAN HEALlHSYSTEM                                         !POBOX31001                                              jPASADENA CA 91110-0001                      25,734.58:                   16,415.. '33\            u,341.351                  3,D67.9sl      1.561.51
62-163646S    !wELlMONTOCaJPATIONAL HEALTii SERVICES                              PO BOX 978760                                       !oAl.lAS, 1X 75397                            17,684.00!                   16,653.03;               13,322A21                  3,330.61 1     1.558.59
                                                                              I
XX-XXXXXXX    !COMPREHENSIVE ORTHOPAEDICS                                     17401104THAVE                          !STEUD           !KENOSHA, Wt, 53142                  i        34,391.ool                   lS,511.95!               13,267.00!                 2.244.951      1,552.11
XX-XXXXXXX    NATOtAUG HOSPITAL                                               ] 189 STORRS RO                                         !MANSFIELD CENTER,. CT 06250-1683             1&,289.oo!                   14,569.&Si               13,118.221                 u11.oa!        1,534.70
XX-XXXXXXX    .FRANCSCAN ALUANCE INC                                          IPO BOX 781019                                           larnorr, Ml 48278-1019                       24,435.90;                   19,786.57!  '            13,092.02!                 6,694.ssl      1,531.64
XX-XXXXXXX    '(NEW YORK SPINE AND BRAIN SURGERY                              lPOBOX417989                                            \BOmJN, MA 02241-7989                I        17,845.00:                   13,055.00)               13,055.001                        -1      1,527.30
XX-XXXXXXX    :WEST ORANGE A5C ll.C                                           jpQ BOX 3D5250                                          INASIMLLE. TN 37230                  I        12,978.80!                   12,978.80!               12,978.aol                         -!     1,518.39
27-0385S39    CARNEG1E HILL ENDOSCOPY                                         jPO BOX 787467                                          \PHllAOELPHlA, PA 19178-7467         l        11,soo.oo:                   15,075.00!               ,.,_...,.oo!               2,us.ool       1,513.85
XX-XXXXXXX    RV BEHAVIORAL LLC                                                   PO BOX 934725                                       1AnANTA. GA 31193-4725                        19,480.so!                   12,894J)()i              12.894.oo!                        -1      l,508.47
31"4394942    ]GRAKT MEDICAL CENTER                                               DEPTL3641                                           !COLUMSUS, OH 43260-3641             I        31,707.3Sj                   14,083.so!               12,794.411                 7,59L99!       1,496.82
XX-XXXXXXX    KOSPITALAUTHORfTYOF VALDOSTA AND LOWNO                              POBOX0070                          !ATTN PFS DEPT   !VALDOSTA, GA 31603                           20,309.39!                   14,038.021               12,774.40!                 S,123.99!      1,494.48
21.0662542    CAPE REGIONALMEDICA1 CENTER                                         2 STONE HARBOR BLW                 )                !CAPE MAY COURTHOUSE, NY 08210       I        26,964.37!                   17,775.671               12,704.57 1                4,77UO;        1,486.31
XX-XXXXXXX    WEST PACES SURGERY CENTER LLC                                       PO BOX 932678                                       IAllANTA, GA, 31193                           18,6S6.00j                   18,656.00i               12,695.oo[                 5,961.001      1,485.19
XX-XXXXXXX    BON SECOURS ST FRANCL5 MEDICAL CENTER                           lu110 SAINT FRANCS sLvo                                 IM1DLOTHIAN, vA 23114-3267                    20,112.osi                   16,976.66!               12,641.48[                4,868.18!       1.478.93
XX-XXXXXXX    ILABORATORY CORP OF AMERICA                                     !POBOX2270                                              isuRUNGTON, NC.27216                          53,545.s&\                   21,SS7.73!               12,601.811                 S.276.25!      1,474.29
37--0813229   OSF HEALTI-lCARE SYSTEM                                         !PO BOX 776228                                          iotlCAGO IL 60677-6228               I        21,276.75!                   18,889.60!               12,530.14!                 8,618.511      t.465.90
84-117~794    iUNIVERSITV OF COi.OR.ADO HOSPITAL                              !POBOX73160S                 ·······--..-·..-.~-----F'IDA~UAS= lX75373-1605                           62,934.95!                   13,300.62i               12.4~:~!!                  '455.ul        1,462.19

F===-+=========---------------t=======---------il
01..0820405 lsoUTH SHORE WOMENS MEDlCAL 155' MERRICK ROAD ST£ 200 _____f'!.,R~OCIM= UECENTRE,NY11S70-SS4S                                                                           30,370.ooi                   14,860.691'              12,495.511                 2,365.18 1     1,46LBS
~5-4832340    !BARNABAS
 : . . . . : : : = . : = . - .HEALTH
                              - ; : =MEDICAL
                                     = = = GROUP                      1PO
                                             =====-------------i===='-- - -BOX
                                                                            - -826791
                                                                               -------+-----+1P,~HJ~ELPHIAPA19182-G791                                                              15,083.00!                   12.962.14)               12,491.951                  470.19!       1,461.43
XX-XXXXXXX    !PROVIDENCE SAJNT JOHNS ~ ~ -C- - - - - - - - - - - - , - - - - - - - - - - - -iPOBOX2337
                                  = ~HEALTH                                                   -----;----_,_ISPO_KAH_E~,W_A_99_210
                                                                                                                                _ _ _ _ _ _ _,......._ _           13,756.09~ 12,490.801 1.265.291 1,461.30
                                                                                                                                                        21~.2_61.JS~.,..!---==~i--=="",--===-t----~===-i
XX-XXXXXXX    'ITEXAS CHILDRENS HOSP                                          ;6621 FANNIN ST                                         !HOUSTON TX 7703CH399                         43,687.85!                   18,545.931               12.446.651                 5,098.17]      1,456.13
                                                                                                                                                                                                                          l
22-365194S    !SHREWSBURY SURGERY CENTER                                      !s55 5HREW8URY AVE                                      jSHREWSBURY, NJ 01102                I        13,on.ooi                    12,475.801               12,351.611                  124.19!       1.445.01
XX-XXXXXXX    leETH ISRAELDEACONESS HOSPITALPI.YMOUTH                         IPO BOX 845418                                          'sosroN,MA02284                      I        23,1ss.20l                   16,823.041               12.341.541                4,481.501       1,443.84
XX-XXXXXXX    EASTCAROUNA HEALTH-OiOWAN INC                                   !POBOX8404                             I                !GREENVJ11.E, NC, 27835              i        15,828.00
                                                                                                                                                                                                   1
                                                                                                                                                                                                                 15.310.0S!               12,313.751                 2.996.30i      1,440.59

XX-XXXXXXX    WESTOiESTER MEDICAL CENTER ADVANCED PHYSICIAN SERVICES          '
                                                                              ;PO BOX 5010 CUANT                      #400020         lNEWBRITAIN,CT,06050                 I•       17,476.00]                   14,184.901               12,285.141                 1,899.76i      1.437.24
                                                                              l
XX-XXXXXXX    iNEW YORIC PODIA1RIC MEDJCNE                                    t315 MADISON AVE                       !STE2301         !NEWYORK,NY10017                              23.lSO.OOl                   12.590.00!               12.267.021                  322.98j       1,435.12
XX-XXXXXXX    ]CENTRAL DU PAGE PHYSICIAN GROUP                                lcEPTS777                                               !CAROL STREAM, IL6D122               I        33,188.34!                   18,053.83!               12,229.91!                 7,742.081      1,430.78
XX-XXXXXXX    IDANBURY HOSPITAL                                               !POBOX5153                           . . J____          ..,!ST=AM~FO=•"=•zcr~o~6904=------   i-l_ _   =19~,2~03=.ooc=;-i ---===---===--
                                                                                                                                                                                                           14.383.711 12,.134.82! 2,188.891                                         1.426.67

~~,?454       iARCHBOLD MEDICAL GROUP INC                        -------;,====-------------,----~i~™~D~MASVJ=~ill=.~~3~17~~~-425=5=-___
                                                                               !900 CA!RO RD                                           -4/__~2~~~70=3~~~;----===;.--===.---
                                                                                                                                                       12,736.92! 12,142.05\ 2,077.271                                                                                              1,420.50
XX-XXXXXXX    iMEOICAL FACULTY ASSOCIATES INC                                 !~.o BOX 392220                                         JPITT5BURGH, PA, 15251                        31,834.60j                   17,273.Sol               12,.118.571                9,838.09[      1.417.75
77.0552594    !GENOMIC HEALTH tNC                                             !POBOX74241S                                            lLOSANGEI.ES.CA90074                          13,860.00]                   11.997.60:  '            l~;,-;r                            -!     1403.60


                                                                                                                    EXHIBIT2

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                                                                                                                                                                                                             ,_'.;:.'.2~F.:1~
                                                                                                                                                                                                                                   -•~~t'.~~~
S2-2093120      iHOWARDCOUNTYGENLHOSPfTAL                                         !POBOX418384                                                    isoSTON,MA02241                      j       14,848.331          14,521.66)      11.986.soi     2.534..Ssl     1,.402.34
XX-XXXXXXX      !w1NOiESTER MEDICAL CENTER                                        PO BOX 37152                                                    iBALTIMORE. MD 21297                         15,!341.38;         13,350.94)      11,944.37!     1,416.57j      1.397.37
XX-XXXXXXX      !METROPOLITAN NEW JERSEY U.C                                      ]433 HACXENSACXAVE LLOl                                         !HACKENSACK. HJ 07601                !       86,099.13=          25,712.06;      11,937.99!    12.218.27!      1,396.63
09-54454S0      iLAWRENCI: MINOWITZ.                                            ._.)PO BOX 270                                                    \~PEQUA PARK. NY 11762                       12,960.CKJ!         11,160.ool      11.760.00\                    1,375.80
XX-XXXXXXX      lrut.LAHoMA HMA uc                                                iPO sox 402350                                                  !ARANTA. GA 30384-23sa                       16,175.u!           13,498.19;      1~736.78!      U6s.21!        1.373.09
20-12◄5279 _____;RAVINE WAY SURGERY CENTER                                        P.O. sox4543                                     I              CAROL STREAM, IL601!17               I       2◄,1ss.ool          13,884.2~.,.:--===i---==c::
                                                                                                                                                                                                                                  11,703.88! 2,.180.41!          1,369.24
F3~1·1~405=9.=15'-+1Uc.cNccMS=RS~ITY=OF~C1~N~C1N=NA~Tc.lP"'"HYSl=CA=Ncc.S_ _ _ _ _ _ _ _ _ _ _ _rPO=BO~X~63~6256='------------.;------<! ONCINNATI,OH,45263                            i       26,237.00;          12,986.BD;      11,690.30!     1,296.SD!      1,367.65

XX-XXXXXXX ___ !HACKENSACK            -----------------tc•-=o-=•.=oX"'3406==2_ _ _ _ _ _ _ _ _ --+------;i,N_EWARK,NJ,c;:0"'7189=----------.. --!,---2-•~·•34_.ts_!_ _ _ _..
                                                                                                                                                                           ~•~640_.7Bl _ _11,621371                                 ~=t--~==
                                                                                                                                                                                                                                          1,670.281              1,359.58
XX-XXXXXXX      !PROFESSIONAL ORlltOPEOICANO SPORTS PHYSICAL THERAPY PC           !2142 UTOPIA P1CWY                                              !WHITESTONE, NY, 11357               !       28,880.00;          24,728.68!                '
                                                                                                                                                                                                                                   11,5!38.401   16,826.60!      1,356.90
81-157791S      iSETAUKET SURGERY, PC                                             14 TECHNOI.OGY DRIVE SUITE 220                                  EASTSETAUKET, NY 11733               i       11.sso.oo:          11.sso.00:      11,SSO.OOi                    1.351.23
SS-0440086      !PLEASANT VALLEY HOSPtTAl                                         2520 VALLEY DRIVE                                               1PT PLEASANT, WV 25550               I       15,360.62!          lA,794.64!      ll.,S42.12i    3,2S2.s2!      1,350.31
XX-XXXXXXX      iNOVANTMEDICALGROUP                                               POBOX71049                                                      CHARLOTTE,NC28272                    j       21,029.25!          13,638S8:       11.538.941     3,808.73i      1,350.06
XX-XXXXXXX      !JHC HEALTH SERVICES                                              PO BOX 30180                                                    !SALTlAICE cm', UT. 84130                   15,737.33 1          12,524.251      ll,SOl.OSi     3,585.161      1,345.51
XX-XXXXXXX      iAlAN OtEROFSKY                                                   !4546 KYlAN BLVD                                                lsrATEN ISLAND, NV 10312             !      11,500.ool           11,soo.ool      11.soo.ooi        •s.ool      L34S.38
XX-XXXXXXX      ;LAKE FOREsrPEDlATRICASSOOATION                                   !911 SHERWOOD DR                                 I              LAKE BLUFF, IL 60044                 I      16,425.ooi           13,D7L75(       11,482.271     2.159.99!      1,34331
~7              jSHENANDOAHMEMORIALHOSPITAL                                       314HOPEDR                                                       !WINOIESl'ER,,\/_~22601                     13,880.10!           12,103.151      11,480.19!       622.96!      1,343.07
                '·u~Nl~VERSllY PHYSICANS INC
,_7_~=1~61~73=7-~·                                                                PO BOX. U0429                                                   !AURO~_c;.J, 80042                          2tl,175.00i          13,9SOA61       11,.472.49;    ,.,....,1      1,342.17
XX-XXXXXXX      !PROVIDENCE PARK HOSPITAL                                         :16001 w 9 MILE RD                               I              SOUTHAEtD, Ml 4807S-4818             I       lS,126.001          n,344.soj       11..298581        45.921      1,321.82
XX-XXXXXXX      !CHRISTOSDOSSAMD                                                  IPOeoxa21                                        I              !NEWVDR1C,NY10021-000S               l       11,560.oo[          11.S60.ooi      11.211.02i       =•I          1,319.30
XX-XXXXXXX      !GASTROOPERATJNGCOMPANVLlC                                        /POBOX23l                                                       W£STBURV,NV11590                     !      17,eoo.ooi           14,047.00!      11,263.601     2,783.40!      1,317.73
13-39D3523      tvoRK ANESTHEStOLOGISTS PUC                                       IPO eox 270                                                     MASSAPEQUA PARK. NY, 11162           !      14,280.oo!           13,686AD!       11,172.991     :Z.Sll.411     1,307.13
XX-XXXXXXX      [w1NOHAMCOMMUNITYMEMORIALHOSPITAL                                 !POBOX310477                                                    !NEWJNGTON,CT06131~77                !      26,149.94i           18,924.83/      11,160.801    11,2!35.53!     1,305.70
XX-XXXXXXX      \srJOSEPHSHOSPITAL8REESEOFTiiEHOSP                                POBOX253S6                                                      iSALTLAKECllY,UT,84125                      19,967.281           12,51931!       1l.141.27j     1,378.04!      1,303A2

XX-XXXXXXX      !NOTAMIHOSPITALS-FLORIOA                                          POBOX406352                                                     ATlANTA.GA30384                      1      16,969.00!           11,369.23;                                1
                                                                                                                                                                                                                                   11,119.231       250.00       1.300.84

~?:~~?.?:.~.~ ···-·-iVHS WESTSUBUR~~-tt!.lfQ!~ ··-                                IDEPARTMENT 4658                                                CAROL STREAM, n. 60122-4658          l       18,462.351 ·- · · · · · · 16,574.751. -~~=t--~==--
                                                                                                                                                                                                                                       11,046.29! 5,528.461      1,292.31

F5'°2·-=134=189=0'---+)CCO'-'H""NS'-'H~O~PK=•NS=8A~YVl=EW=M=•=o•-=CAL=CE=NTE=""''"=c'----------fiP~O~•~OX~63=2053~------------;- ··· ............ _. !BALTJ~ORE,_M_D_212_63-_ZO_S3_ _ _ _-+'___1~1.~1•~1.~'•--+!_ _ _~1t,03032)-!-~===o-----+--
                                                                                                                                                                                                                                       11,03032!           '
                                                                                                                                                                                                                                                          -i     1,290.44

XX-XXXXXXX      lNECLUBBOCKEMERGENCYCENTER                                        !POBOX4730MSC47S                                                                                                                 11,000.16!  203.45(
                                                                                                                                       -----'FiHO=USTON==·TX=m=1""~'=30'------+----=l:l.Z=03=·=6lcc:_ _ _.=ucc•Z0=0.1=6i_--===c+----==;-+--                      1,286.91

~7-;_2!1_~---                                                                                                                                                                                                     10,994.161      370.25!'
                ;~!!~CTtVE:c.:RE=CO:.:VER=Y.:,CENTE="'"'"-'uc=-------------+'i'-=o-=•ox=7387=--------------+----..;i.=oE1RA="-Y=BEA=°'"•:.;FLcc3=.34ccB2=.·'cc387:cc._ _ _-ii--..:3"'7,c;ORS=.oo=a!-+_ _..:U.=364'-'."""-l_....::==+---==---                     1,286.21
                                                                                                                                                  1
?~~~.fl5        iOOISNERaJNICFOIJNDATtON                                          POBOX.919140                                                     DAUASTX75391·9140                   !      17,090.7Si           l5,636.48i      10,991.s2!     4,644.961      1.285.90
7S-0800661      lMETtlOOIST HOSPITALS OF DALLAS                                   PO BOX 911875                                                   DAUAS TX 7S391•1875                  l      20,978.60i           20,43157\       10,965.76!     9,465.81!      1,ZBZ.88
XX-XXXXXXX      ;PLASTIC SURGERY CENTER                                           S3SSYCAMOREAVENUE                                !mA            SHREWSBURY,N101,02-4225              I      16.42&.oo!           16,340.ssi      10,936.85!     s,404.oof      1.279.50
XX-XXXXXXX      !HOUSTON RADIOLOGY ASSOOATED                                      !Po BOX 4346                                     loePT 488      HOUSTON, rx. n210                           19,sos.ooi           12,2Ss.111      10,887,651     1,.357.46!     1,273.75
XX-XXXXXXX      !OIARLOTTE PEDIATRIC OJNIC                                        Jpoeox602120                                     !              !CHARLOTTE,NC28260                   l      18,526.oo)           12,92u&/        10,sn.•11      1,633.53!      1,272.55
07•542.7027     :RJOIARD DANIELE                                                  2sowEST90srREEr#61                                              !NEWYORK,HV10024                     l       ts.soo.oo!          u,sso.oo\       10,870.00!     1,680.00   1
                                                                                                                                                                                                                                                                 1,27L68
XX-XXXXXXX      iHELEN COLEN MD                                                   742 PARK AVENUE                                  I              !New YORK. NV 10021                         37,590.oo!           13,700A3i       10,856.151     2,844.28!      1,270.06
XX-XXXXXXX. ·-..tM~DICAL O:NTER OF CENTRAL GEORGIA IN                                !7n HEMLOCK ST                        !MACON GA 31201·2102                21,312.281             14,318.111     10.854.84! a,nl.091                                         1,269.91

F2"-&<1-'67=5'=B6'--IIJ:=OSE=PH=ClU"'ASH='='·.ccMccD_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-+lm=2=1~•---------------t!----+!H~EMPSTEAO,.KV_1=     _ _1_1S_ _ _ ___._ _~1•~.s=-oo~.oo=;---~10=.so~•~.oo'"'-l_ ~   ==,----
                                                                                                                                                                                                     10,aoo.oo!                                                  1,263.49

XX-XXXXXXX      IBEAOiWAYTHERAPY CENTER LLC                                       ;2600 QUANTUM BLVD                 ----                                                                                                     10,792.SOi
                                                                                                                                   j ........ - - --.;-!•~o~YNTO=~·~•EA=CH~·~Fl'-'3~34=-26~-----;--~•=··~'oo=-.oo=,'---~12=·'"='"=6+)-"-===t---==
                                                                                                                                                                                                                                             2,006.561           1,262.65
XX-XXXXXXX      iTRUETOX LABORATORIES UC                                          !so ROSE PL                                      l              GARDEN crrv PARK. NYtt040-S312              11,190,ool           11,790.00/      10,791.601       998.40!  '   1262.51


                                                                                                                                  EXHIBIT2


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                                                                                                   AEU INTERIM DISTRIBUTION




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~2191915
39--1994360

XX-XXXXXXX     JAMES FOWLER PT PC                                                                                                                           20,220.00;           11,191.00'.         10,766.001           43Lool        l.259.51
XX-XXXXXXX     BOULDER COMMUNITY HEALTH                                                                                                                     18,502.971           11,562.33'.         10,76233!            soo.aoi       1.259.08
XX-XXXXXXX     I   MANHATTAN ENDO lLC                                                                                                                       28,050.00!           16,416.62)          10,701.13          9,163.87;       1.251.93
                                                                                                                                                       I
XX-XXXXXXX     \BON SECOURS ST FRANCS                               lPOBOX:751874                                        iOIARlOTTE.. NC28275-1874          11,611.00]           13,20825;           10,686.57I         ZS2L~!l         1.250.22
5~1272769      SOUTHEAST ANESfHESIOI.OGY CONSULTANTS PA             i600 GREEN VALLEY RD                     1Sl'E304
                                                                                                                         /GREENSBORO, NC, 27408
                                                                                                                                                       I    17,458.SOi           10,649.98;          10,649.98'         6,175.00•       1,245.94
                                                                                                                                                       1-
~9-0855412     !MEASE COUNTRYSIDE HOSP[TAL                          '
                                                                    !PO
                                                                    1   BOX 404780                           1 ...       IATlANTAGA30384-4780          I    13,707.771           11,373.SBi          10,633~              740.oo!       1.244.m
23·29ti5949    'INNER CRQ.E CONSULTING INC                           1262 WOOD lN STE 201                    !           !lANGHORNE, PA,. 19047             18,116.00 1          U,634.69!           10,56938•          2,083.49!       1,236.51
3ir3399794     !WOMAN CARE PC                                       ipe BOX 4543 DEPT PER                    I           !CAROl.srREAM,IL601.97-4543        24,334.oo!           12,1s1.sa~          10,525.54!         l.l.32.68i      1.231.38
XX-XXXXXXX     iMARK DRAKOS MD PUC                                   9S4 LEXINGTON A'IIE BOX 700                          NEW YORK. NY 10021                63,660.00;           10,475.93!          10,475.93                  -i      1,225.58
                                                                                                                                                                                          I
XX-XXXXXXX     'AUSTIN ANESTHESIOLOGY GROUP Pl.                     1PO BOX 535488                                       ATI..ANTA GA30353,-6220            19,639.oo;           11,129.96\          10,426.731           703.23        1.219.82

XX-XXXXXXX     lMEDICAl.ASSOOATES OF ENGLEWOOD PC                    POBOX14564                                           BELFAST, ME 04915                 l8.S7D.OO!           11,987.01!          10,413.61          1.483.40i       1.218,29

XX-XXXXXXX     IOJCA CONROE LP                                       PO BOX 406796                                       Ait.ANTA GA3D384-6796              21,7S1.00!          11,071.60j           10,31sA2l           695.181        U13.94
25-14039S8     !REGIONAL HEALTH MANAGEMENT                          lPO BOX 382046                                       !PITTSBURGH, PA 15251..S046        11,638.541           10,489.34!          10,373.34           116.00         1,.213.58

XX-XXXXXXX     HARTFORD HEALTHCARE MEDICAL GROUP I                  !PO BOX417695                                        !eosroN MA02241-769S               20,386.40(           11,095.671          10,360.34           87533          1,.212.06

XX-XXXXXXX     ESSEX ENDOSCOPY CENTER OF NJ U.C                     j275 OfESfNUT ST                                      NEWARX.NJ07105--157D              10,356.471           10,356A7:           10,356.47
                                                                                                                                                                                                                                _,      l,.21L60

XX-XXXXXXX     SOUTtl NASSAU NEONATAL SERVICES                    ... it HEALTHY WAY                                      OCEANSIDE,_~• 11572               10,265.00!           10.265.0Di          10,265.00!
                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                -,;     1,.200.90

S9-'ln6273     !ORLANDO HEALTH INC                                  \1414KUHLAVE                                         OR\MOO, R. 32806--2008             20,405.001           10.S93.20i          10,221.64\         6,370.96!       1,195.83

XX-XXXXXXX     ,MARTIN MEMORIAL MEDICAi. CENTER                     iPOBOX9033                                                                              11,327.72;           10,194.95(          10,194.951                 ·i      1.192.71
XX-XXXXXXX     fwoMENS HEALTH PROFESSIONALS                         1POBOX 1787                                                                             28,017.00;           13,334.80!          10,tSS.881         3,337.841       1.191.65
                                                                                                                                                                                            !
1.3--3279361   !EAST RIVER MEDICAL (MAGING                          !s19EnNDSTSTE103                                     NEWYOR~Nv,100.u                    25,732.00!           16,678.36:          10,180.41!         7,378.95!       1.191.01
XX-XXXXXXX     U't"PHYSIOANS                                         PO BOX 201088                                       HOUSYCN, TX, 77216                 33,326.00;'         13,173.32!           10,171.26!         6.480,411       1.189.94

39--1791586    (WHEATON FRANOSCAN MEDICAi.GROUP                     iPO BOX 860001                                       \MINNEAPOLIS, MN 55486             12,941.00•           11,544.15)          10,162.591         1,.381-56       1,188.92

XX-XXXXXXX     'CAROLINAS PHYSICIANS NETWORK INC                    jpa BOX 60099                                        IO!ARLOTT'E, NC 28260              12.on.oo!            10,932.401          10,127.28!          805.12     '   1,184.79

XX-XXXXXXX     ANESTHESIOLOGY ASSOCIATES OF TAUAH                   lpa BOX 452198                                       fsuNRISE FL 33345-2198             14,280.00;           l2,563.2Di          10,088.94          2,998.78        1.180.30
                                                                                                                                                                                            j
                                                                                                                         )DAUAS, 1X 75261                   10,163.00:                                              1
__ S-3787844   NORnlSTAR ANESTHESIA OF WEST VIRGINIA.                PO Box 610831                                                                                               10,163.00!          10,052.44           110.56         1.176.Dl
                                                                                                                                                                                            l
ll-2419534     NORlll SHOR£ HEMA"TOLCGY ONCOLOGY                    ·235N BEI.Lf MEAD AVE                                IEASTSETAUKET, ~.!.• 11733         14,074.70\           10,79957i           10,046.Gll          752.9&!        1,,175.35
                                                                    I
XX-XXXXXXX     '
               !CENTEGRA PRIMARY CARE U.C                           jPOBOX 187                                           1BEDFORO PARK. IL,. 60499          15,712361            12,455.SOi          10,044.311         3.950.62j       1,175.08
                                                                                                                                                                                                                                 I
6~1011457      !oRTHOPEDICSPEDAUSTS OF SW FL PA                     lPO BOX 63265                                        IOiARLOTTE NC ~263-3265            18,71B.OO;           16,038.00i          10,038.oo!         6,000.00        1,,174.35
               I
XX-XXXXXXX     IROTUDA HOSPrrAL ZEPHYRHlUS                          l,oso GALL BLVD                                      ZEPHYRHILLS, FL 33541              16,301.48:           11,411.04:          10,028.12 1        1,,382.92       1,173.19

XX-XXXXXXX     MULTI PHYSICIANS OF UNIV HOSPITAL                    :1 EOGEWATERSTFL6                                    !STATEN ISLAND, N'r', 10305        21,409.07i           10,470.68;          10,026.1!,6\       1,640.85!       l.1"13.04
                                                                                                                                                                                                                                 1
XX-XXXXXXX     [LENOX Hill. RADIOLOGY & MEDICAL                     iPo BOX 781853                                       lDETROrr, Ml, 48278                18,652.66]           15,292.531          10014.471          6,012.69        1,171.59

47-3380S."l7   /PARIC AVENUE ENDOCRINOLOGY                          Ism AIRPORT EXECUTIVE PARK                           iNANUET, NY, 10954                 32,905.02)           13,398.79!           9,983.471         9,46833         1.167.97

 S-0709870     \SPINE MEDICAL SERVICES, PUC                         (140 ADAMS AVENUE STE B-13                           jHAU PPAUGE, NY 11788              34,300.00;           is,97s.16t           9,975.73!         6,.000.03.      1.167.06
                                                                                                                         lATLANTA,.GA,30341                 12,895.ooi           10,680AS)                               708.0S!
XX-XXXXXXX .•. \EMORY-EGLESTON CHJLCRENS HEART CENTER             ...... !283SBRANDYWINERD                   !srE300                                                                                  9,972.40)                         1.166.67

XX-XXXXXXX     jlCENNETH SfRIED                                     llSO N DEAN STREET                                   lENGt.EWOOD, NJ 07631-2534         11,040.00;           10,224.00i
                                                                                                                                                                                            l
                                                                                                                                                                                                      9,964.!JS'    '     259.DS    '   1.165.80

               OPTION CARE ENTERPRISES                              !7300 5 VIRGINJA5T                                   !RENO NV 89511•11Z7                36.069.221           12,929.28]              9,954.26       2.975.021       1,164.55
68--0208702
                                                                                                                                                                          ----------------···-··1---·-··
XX-XXXXXXX     PHC-EI.KO                                            iPOBOX742S51                                         IATIANTA. GA 30374                 l!l.268.32!           9,952.64:           9 S2.64i          1,333.S9!       1.164.36


                                                                                                           EXHIBIT2

                                                                                                                 17
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                                                                                                   AEU INTERIM DISTRIBUTION




XX-XXXXXXX    iAURORA PSYOIIATRIC HOSP                                                                                   !MILWAUKEE. WI 53234-3918                   11,207.38'.     11,20738;   '   9,925.441       1.2e1.94J       1.161.18
39-1.5953D2   !AURORAADVANCED HEAllHCARE IN                      !PO BOX 343918                                          !MILWAUKEE WI 53234-3918                    32,341.00:      15,262.70\      9.891.0lj      12,059.83(       1.157.15
                                                                 1
80-01!30'28   \PH'l'SlOtOGiC~MCNT SERVICES UC                     Pa BOX28419                                                NEW YORK, NY 10087-8419                 12.3so.oo:      12.3so.ooi      9,880.00\       2,47D.OOl       1,155.86
26-0.590176    SEAPORT PODIATRY                                   111 JOHN STREET •t450                                  !NEWYORK, NY10038
                                                                                                                                                              ------ 22,226.40   !    9,857.13;      9,B57.13i               -I      1.153.19
s9-0n4199     1ST JOSEPH HOSP INC                                 PO BOX 403548                                              ATLANTAGA30384-3548                     20.sss.11l      12S24.nl        9,857.14        7,421.49!       1,153.19
XX-XXXXXXX    j~~L£STON CHILDRENS HOSPITAL AT EMORY UNI           iPO BOX 102135                                         ;A1LANTA. GA 30368                          18,669.25:      ts,a2s.49l      9,8S5.78!       5,972.71        1.153.03
XX-XXXXXXX    JTHEOACARE REGIONAL MEDICAL CENTER-APPLET           '
                                                                  !POB0~2?59                                             I
                                                                                                                         1
                                                                                                                             APPLETON, WI 54912-3454                 17,619.84:      14,910.331      9,835.02!       5,075.31        1.150.60
XX-XXXXXXX     ,LOMA LINDA UNIVERSITY MEDICAL                     !ALEN07964                                                 LOSANGE1..ES, CA90074                  13,559.0t!        9,833.67!      9.833.671         200.00!       1.150.44
XX-XXXXXXX    lNY SPINE AND REHAB MEDICINE PC                     S6W4STH5T                                  i11THA.     jNEWYORK, NY 10036                           9,830.001       9,830.oal      9,a30,oo;'              -1      1,150.01
                                                                                                                         i                                                                       I
 2-0652905    ]WOMANS HOSPITAL FOUNDATION                         DEPT 267 PO BOX 4869                                    HOUSTON, TX 7721o-4869                    13.152.77!       11,574.42'.     9,816.981       1,757.44!       1,.148.49
XX-XXXXXXX     SID PETERSON REGIONAL MEDICAL CENTER               -551 HILL COUNTRY DR                                   IICERRVIU.E, TX 78028                      10,673.00(       10,139.35       9,789.35!
                                                                                                                                                                                                              I
                                                                                                                                                                                                                       350.00;   '   1,145.26
XX-XXXXXXX     NORTHWESTERN MEDICAL CENTER INC                   i133 FAIRAElD 5T                                        SAINT ALBANS, VT, 05478                    14,481.88[       13,144.52:      9,769.521       3,988.27        1.142.94
 1-102nn      iCENTRAL TOX U.C                                    PO BOX 789786                                          ,PHllADElPHlA, PA 19178-9786               13,020.0i         9,765.001      9,765.00!               -!I     1,142.41
XX-XXXXXXX    !WEBSTER COUNTY MEMORIAL HOSPITAL                   P080X312                                               iWEBSrERSPRINGS WV 26288-0312              16,700.771       14,003.88!      9,74;~!         5,479.181       1,.139.66
XX-XXXXXXX                                                       lt7W9TH5T                                   Al'r2       NEW YORK NY 10011-8993                     24,800.oo:       20,080.00!  '   9,713.81       (1,443.81).      1,136.42
XX-XXXXXXX - · .COSMETIQ.UE DERMATOLOGY ~ R & PtASTIC SURGERY    in NORTHERN BLVD                                        lGREENVA1f.:~, 1.154&                      47,900.<Xl!      11.01.8.28l     9,69551'.       1.322.77i       1.1342B
                                                                                                                                                                                                             I
27-U79080                                                         1100 E WOODAELD ROAD SUITE 140                         lSOiAUMBURG, IL 60173-5121                 33,000.00)       10.927.57[      9,641.82i       1,285.75        1,128.00
XX-XXXXXXX     WAYETTE GEN SURGICAL HOSP                         !121 AUDUBON BLVD                                       LAFAYFn'c, LA 70503-2606                   14,548.00J       10,183.60!      9,548.491         635.11!       1,117.08

3~3482203                                                        i801 S WASHINGTON ST                                    !NAP£RVILI.E, I< 60540                     15,180.03)       12,389.11;      9,547.29/       :Z.841.84       l,,116.94
                                                                                                                                                                                                              I
3B-21S6872                                                       , 1234 NAPIER AVENUE                                    !ST JOSEPH, Ml 49085                       14,335.04!       14,33S.D4!      9,546.171       4,788.87        1,116.81

XX-XXXXXXX    !INDIANA UNIVERSRY HEALTH WEST HOSPITAL             2232 RElJABLE PARKWAY                                  ICHICAGO, IL 60686                         17,793.75!        9,98L37'   '   9,545.501
                                                                                                                                                                                                              I
                                                                                                                                                                                                                     5,846.101       1,116.73

3&<0294a83                                                        676 N SAINT CLAIR ST                       sre1soo     a-tlCAGO, II,, 60611                       17,930.00)       11,633.311      9,522.11!       2,086.201       1,113.99
                                                                                                                                                                              i                               1
XX-XXXXXXX                                                       !214 STATE STREET STE 101                               HACKENSACK. NJ 07601-5521                  12,672.401        9,504.30!      9,504.30                -1      1.111.91

91--0565539                                                      iPO BOX 34697                                            SEATltf,.WA, 98124 -· ..-··•·-···         21,SS8.76i       10~_04j         9,479.891                       1,109.05
                                                                 !38 MEADOWLANDS PKWY STE 205                            1                                          15,290.00'.
XX-XXXXXXX                                                                                                                SECAUCUS, ~. 07094                                         10,205.12i      9,447.82!                       1,105.30
                                                                                                                                                                                                                ;
3S-115120B                                                       i4038JEBLYRO                                            !LAWRENCEBURG, IN 47025                    13,496.87!        9,447.SO!      9,447.80                        1,105.30
39-1B24679                                                       [225 S EXECUTIVE OR                                     !BROOKFIELO WI 53005-4257                  11.442.00i        9,787.201      9,444.00                        1,104.85

SZ-0591684                                                        PO BOX79751                                            !BALTIMORE, MD 21275-0751                   9,424.50;        9,424.SO!      9,424.SO!                       1.102.57

XX-XXXXXXX                                                       lpo eox 2Ss22B                                          !SACRAMENTO, CA, 95865                     15,245.COi       13,950.70i      9,416.S6i  '                    l.10L64

XX-XXXXXXX       E HAVEN DETOX llC                               !1325 NORTH HAVERHILL ROAD                              WEST PALM BEAOt, FL33417-5914              17,465.ooi        9,356.25!      9,356.25        3,742.SO!       1,094.59
                                                                                                                                                                                                              I
XX-XXXXXXX                                                       !poeox731                                               i NEW YORK, NY, 10018                      l0,312.00i       U,93651;        9,354.92~       3,316.59i       1,094.43
22·3342098     BERGEN ANESTHESIA GROUP PC                          PO BOX 630                                             FRANKLIN LAKES, NJ 07417-0630             20.920.ool       14,890.00!      9,272.0Gi       5.617.94,       l.084.74
                                                                 !
XX-XXXXXXX    !MARIETTA MEMORIAL HOSPITAL                        )401 MATTHEW STREET                                     '
                                                                                                                         ]MARIETTA, OH 45750-1635                   13,502.52;       11,971.67i      9,268.16,       3.837.231       1.084.28

XX-XXXXXXX    !BIMODAL PAIN MANAGEMENT                           1po BOX 135                                             iORADELL.NJ 07649-0135                     15,900.00i        9,386.21!      9.258A11   '      121.so\       1,083.14

XX-XXXXXXX    !GREATER COlORADO ANESTHESIA INC                  .... PO_BOX176221                                        DENVER, CO 80217-6221                      12,480.00'.       9,527.50'.     9,238.ool         289.SO!       1,080.75

47·3897448 -· fCl.agnostlcMedidneServlces PC                     !Alan 8 Enlnger MO                          IPOBOC117   ITHACA,. NY 14851-0117                     11,250..00'       9,225.00{      9.225.00'                       1,079.23

62·1619606    ·j;~IER ORTHOPAEDICS &.SPORTS MEDICNE PLC          !P0 BOX 20708                                           !BflFAST, ME04915-4104                     14,326.00i '      9,300.47t      9.197.ss!         102.92!       1.076.02

XX-XXXXXXX    :OfHS HO.SPrTAL COMPANY LlC                        iPOBOXS04148                                            !ST LOUIS, MO 63150-4148                  119,015.921        9,196.00I      9196.ooi                    i   1,075.84


                                                                                                           EXHIBIT2

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                                                                                                                         AEU INTERIM DISTRIBUTION



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                                                                                      ~   0 SOX 829500                                                                                                            14,419.00!                  11.055.83(          9,194.63j          1,86L201                    1,.07S.68
 45-S513255         !AMERICAN SPEClALlY PHYSICAL MED                                                                                                                                                              15,180.251                  10,442.161          9,172.981          1,374.271                   1,D73.15
 XX-XXXXXXX         !New Yort. Medical Imaging Assodates                             !16s E 84TH sr                                                                                                               16.140.oo!                  11.616.99!          9,165.59!          2,4SL40l                    1.

F2c.7•=3818="'cc''----..;l;;·w=•==Ac:R:.:.Mc::E=Dl=CAL=Gc:•o=u::.•-=11::cc.__ _ _ _ _ _ _ _ _ _ _ _ _ _1P-=o-=BO=x7:.:.4=2322=-------------;-----f==•===='-------+--=1B,,.S=""=·oo~!-----'"=.384=33=1f-_"'9,1::1""•-=26:;-l_ _.=3,:,0::123=71f----=
27•1185812          lwesrs10EG1uc                                                    lPaBOX28166                                                                                                                  10,100.00!                   9,090.00;          9,090.ool                                      1,0

FS=S-=SS9=8Sc.73~--!:=CHA=Rl::O~TTc.A-=LA~V-=fA~-----------------tlz:.:.00~1-=SANT'.
                                                                                __  A_M~O_NI_CA_B~LV0---'1~180W'----------;-----f--'=~=~=~-----t--~22~,400=.00cc.,-i-----'1=4,048.44)                                                                             9,085.87:          4,962.571                   1,0
S8-0968382          icoaeHOSPITAL                                                    lPoBOX406152                                                                                                                  9,869.44'                   9,422.17;          9,062.45!           21231!                     1.0

4~ss1 . _lGASTROENTER□LO:.=G<c.•=•o::o:.=u,_,---------------+l42=o'-'G"'RA'-'N"'O'-'A-"VE=--------------fisre=1::o=.1_ _..;                                                                                       11,100.00\                   9,435.92~          9,os1.nl            384.loi                    1,.0
XX-XXXXXXX          !GENOVADIAGNOSTICS                                               !63ZIWCOAST                                                                                                                  20.0SS.62!                  15,71.4.54!         9,047.641          6,666.901                   1,0

XX-XXXXXXX          !FELLOWSHlPHALL                                                  !POBOX138!30                                                                                                                 15,620.43 1                 15,620A3'.          9,03633!           6,584.101                   1,,

XX-XXXXXXX          01He METROHEALTHsvmM                                             lP.o. aox 73694                                                                                                                9,232.00:                  9,232.00!          9,032.ool           200.00!                    1,os6.&S

XX-XXXXXXX          INJ GASTRO LLC                                                   124 MERCHANT ST                                                                                                               9,260.DD i                  9,075.00]          9,030.00:             45.ool                   1,

11•1633563          !EASTERN LONG ISlAND HOSPITALASSOOATION                          li01 MANOR PLACE                                                                                                             16,078.65'.                 10,989.27;          9,003.9Si          5,517.30[                   1,
13--4316364         !STAFFORD HOSPITAL                                               ho1 HOSPITAi.CENTER BLVD

36--2690329         loREYER CJNIC INC                                                l2es94 NETWORK PL                                                                                                            19,83S.33!                  14,1B3A9!           B,959.68[          5,579.U!
XX-XXXXXXX          !SlrrTER AUBURN FAITH HOSPrrAL                                   IPo BOX 745886                                                                                                               14,492.501                  12,111.50)          a,ssa.34!          3,iss.16!

~~~44788            lAu MEDICALCENTERINC _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--;l:.;•occBO=X-=100=18:cD_ _ _ _ _ _ _ _ _ _ _ _' -_ _ _-+======'-------+--~•cc-93=5.71=;-'-----'•,,,9=••:c·'c.=''--I'_ __,,S.9:::;lS=SBc;l_ _.aL,,0:,:20.,e,13~!------'1,
XX-XXXXXXX          !ROPER HOSPITAL                                                  !PO Box 751662                                                                                                               16,140.601                  10,111.Bo:          a,902.06!          1,482.74!
23-28S6880          lRECONSTRUCTIVE ORlHOPAEDICASSOCIAlcSII PC                       !PO BOX 757910                                                                                                                8,870.00f                   8,870.00:          8,870.00i                                     1,

74J.2802643         loacroRSHOSPrTALATRENAISSANCE                                    1Posox97os
",:::,..
      :::283=70=•"-""'!"GLE:::N,:;N:::e:::e.:.:RG=,"-•"'LCSW=•====--------------+h'-'os=EAST=3-=.,.,,=-STAE--ET------------+----.====='-

XX-XXXXXXX          iAOVENTIST 1A GRANGE HOSP                                        !PO BOX 775257                                                                                                               31,577.50!
41·2136087          ILEX1NGTON oBGYN                                                 j145 E 32ND sr                                 IFL u                                                                          8,825.00!                   s.SlS.oo!          S.825.oo!                  -I
XX-XXXXXXX          !ASSOCIATED VEIN SOLUTIONS                                       11260 VALLEY FORGE RD                          !sre 102
!_2·134681S         !ANNISTONHMALLC                                                  !POBOX281429                                   !                                                                             11,396.761                   9,117Ali           S.817.41j
~2-052286D          lCAPrrALORiHOPt:DICSURGERYCENTER                                 !Poaox1011s                                                                                                                  11.s12.00l                  u,s12.00l           e.s12.ool          2.100.ool

XX-XXXXXXX          ]oNCOLOGYSPEQAUSlSSC                                             ]pQBQX736                                                                                                                     8,!169.00!                  8,863.691          8,809.69:             60.oo!

i13-5562304
  = - = = -iNEW
             - =YOIU.
                 ==   EYE & EAR INFIRMARY              !Po
                        =~=~-----··-···--·-----··------; .c  - = = = ~ - - - - - - - - - - - - - + - - -j - - ; = = = = = ~ = - - - - - - , - - + - ~ = = ; - 16,D17.91!
                                                           BOX9489
                                                                                                                                                              - - - - ~ = = c12,95039t
                                                                                                                                                                             .;-.....;= 8,806.671
                                                                                                                                                                                            = . ; - - ~4,143.721
                                                                                                                                                                                                        ==t
 ~?"7027004 !NASHHoSPrrAuNc                            !PoBOX7S294                                      l                                                      9,051.sol      9,057.so: S.757.so! ___,_oo_.oo_,
 XX-XXXXXXX         lcoLUMBIA MEDICAL CENTER OF MCKINNEY SUBS                        !Po BOX 100195                                                                                                               15,567.29;                   8,935.57!          8,73557r            200.00!

XX-XXXXXXX          hEXAS HEALTH PRESBY HOSPITAL                                     IPO BOX 910115                                                                                                               26,521.71   i               12,oss.1sl          S.692.93 i

XX-XXXXXXX          !NORTH SHORE SAME DAY SURGERY                                    !3314 EAGLE WAY

XX-XXXXXXX          isrEWARD srEUZABETHSMEDICAL                                      lro sox 417049                                                                                                               37,41!u1[
XX-XXXXXXX          !GcoLLc                                                          lsoMouNTPROSPECTAVE                             [STE104

XX-XXXXXXX          !HIGH.LAND DISTRICTHOSPrTAL                                      1121s N. HIGH STREET                                                                                                           9,557.ss\                  s,002.11!          S,602.111                  -!                  1.0

 XX-XXXXXXX         !uHs OF TEXOMA INC·-·-·-·                                        \po sax 844768                                            -·-·-·--·-joALLAS, TX 7S284--4758                       I. . . ·-···· ts,42D.7S!-•-·-··-··•--·-·· 10.948.741   ··•···-s.~1.43J-···•   2..~34_7_.31__,!_ _ _ _~1,~006_.zs....,
,_20-~2'17_46_19_                                                                                                                      _ _ _ _ _ _.....;1__~15~•~000~.00--,;_ _ _ _9~,750.....;._00c,-:_.....;8,580=~.IXJ'+-!-~11,!~J;l.gl,_!._ _ _ _1,~003=.n'-'-I
                    _,!H_EA_LTH_SO_SPT:.c.:.PC=--------------------flF12S=SSTH=~AV~E~A~PT~6l~----------------;-iN_EW_YO~RK,NY_,._1_00_29
 XX-XXXXXXX         IHORIZON MEDICAL GROUP PC                                         IPO BOX 36363                                  ;..._---~'N~E~W~AR~J:~.~.,~~~71=88-------+--~14~,9=2!1~-~68'c'---~•~•'"=•~-36'-'i-l-~8.~57~3~.7S"i!_ _~1.2=1258=-,-i------'1,~00~3~.0S=-t
 XX-XXXXXXX         lsuMMAHEALTHSYSfEM                                               is25 EMARKETSrREET                            .. j                    !AKR0N.OH44309--209D                                   21.045.ZDi                  13.570.781          8.556.441          8,179.42:                   1.001.02

                                                                                                                                   EXHIBIT2

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                                                                                                                                           AEU INTERIM DISTRIBUTION



 ~IIAtliUfi~lf~-~~. --~-~~---·                                                                                                                                                                                                                                  ~'""' -    -~~-               ::;~::;:~
 21~634562          iVJRTUA MEMORJAl HOSPITAL                                                  /PO BOX 8500-8057                                        I                  IPHllADELPHIA. PA 1917&8057                       11,182.05:            9,400.79~       8,54S.39/       BSSADi        999.73
 XX-XXXXXXX         !scOTTEVINCENTMD                                                           !601CENTERAVE                                            I                  IGRANDJUNCTION,COB1501-2041                       13.262.oo!           13,tao.10:       8,518.48:     4,66L62[        996.S8
 11•1631788         !JAMAICAHOSPTTALMEDCTR                                                     l89QOVAN WYCKEXPWV                                       l                  llAMAlCA.NY11418                                  16,377.53"           10,859.23)       8,499.10'.    3,907.1.3)      994.31
FS"S-CS=34:::2e:,4B:,._-;!:::BO,.cN,oE.::&c::l0=,IN::.,Tc,SU:,::Re,Ge,;EO:::N"'S"'1Na,c~--------------+'11,,oo:,:.T.:.:RACY=c,W,::~:.:.•------------i-----;elOlA=Rl£ST=,oOe,N.e.:WV=2c,Sn=1•e,12S:,7!__ _ _....,._ _.ce11.,:Se,98".llll""-;_ _ _ _!!!p&4.49\       ll,485.42!    2,619.07!       992.71
 XX-XXXXXXX         lGASrRoENTER□lOGY ANESTHESlA ASSOOATES                                         PO eox 864826                                                           ioRLANDO R. 32B86-4826                            10.sn.ool             s,422.00~       8,422.00:                     98S.29
 XX-XXXXXXX         [I.Ak'.ElANO REGIONAL MEDICAl CENTER                                       ;1324 lAKElAND HILLS BLVD                                l                   I.AKElAND, Fl 33805-4S43                         16,608.00!           14,116.BOj       8,420.67'     S.696.13i       985.13
 XX-XXXXXXX         !sreUZABETHHOSPITAL                                                        !POBOX130                                                1                  !kENOSHA,Wl53141                                  10,253.00]            8,810.23'.      8,410.231      400.ool        983.91

 XX-XXXXXXX         !JuAN ERIC AREVALO MALMHCNCC                                               [4580 BROADWAY                                         ... JAPT3D ___   ---INEW VORK.,_,NY:.:..,:1004=•'-------+---'9",60=•·00~!_ _ __;9~,600.D=~•j..i_            _8,400.00[
                                                                                                                                                                                                                                                                    .!l~~--~ 1,200.001
                                                                                                                                                                                                                                                                                ~         '      982.72
 XX-XXXXXXX         lNoRTHSHOREMEDICAJ.GROUPOFTiiEMO                                           POBOX28785                                               l                   NEW'tORK.NY.10087                       l        15,884.00I           11,&is.BB}       8,377.48!     3,948.241       980.0S

 XX-XXXXXXX         iCHCA WEST HOUS1'0N LP                                                     PO BOX 406325                                            !                   All.ANTA. GA 30384-6325                 j        16,242.00[           11,.369.40!      8,369.COi     3,00D.oo;       979.14
 XX-XXXXXXX         !MIDWEST CENTER FOR WOMENS HEALTii                                         601SKOKIE Bl.VD STE4CQ                                   !                   NORTHBROOK, 11. 60062                            13,394.99!           10,000A7i        8,333.28)     1,164A1!        974.91
 XX-XXXXXXX         iEISENHOWER DESERT CAROIOLOGY CENTER                                       39DOOBO&HOPEDR                                           I                   RANCiOMIRAGE.CA92l70                             13,325.70;            g.157.35;       8,324.75!      g02.6oj        973.91
 XX-XXXXXXX         !AtsERTO MARCELIN                                                          iPo Box 860022                                           I                  IM1NNEAPOUS MN 55486-0022                         11.221.cx,i          is,533,a5'.      ........ 1    7,545.961       972.07

 XX-XXXXXXX         /raumES OFCOLUMBlA UNIVERSTN IN                                            jPOSOX5625                                               j                  iNEWYORk,.NY,10087                                21.651.00!            S,5l4.39i       8,305.81!      228.Ssl        971.70
 XX-XXXXXXX         INEUROLOGICAL ASSOOATES INC                                                cis MORRtSST                                             Tm 400             IOiARLESTON. wv 25301-1854                        n,608.ooi             9,842.10!       8,29&.SSi     1,545.42!       970.63

 ll-<1635009        IPRINCETON HEALTHCARE SYSTEM A NEW JERSEY                                  iPOBOX1376S                                              i                  iPHIIADELPHIA,PA191D1-3768               I        14,729.40[           13,912.82!       8,281.28!     S,630.74!       968.83
                    !AiRIUM MEDICAL CENTER                                                     PO BOX 932706                                            I                   CLEVElAND, OH 44193                     I         9.322.66!            8,286.75\       8,276.751        10.ool       968.30

 XX-XXXXXXX         j760 PARK ENDOSCOPY PUC                                                    1SDPARKAVE                                               !                  !NEWYORK.NY10021-1ts2                             10,om.00!            10,000.00!       a,2511.lDI    ~74L84!  '      966.12

 XX-XXXXXXX         iGCSNOLD INC                                                               !200TER HEUN DRIVE                                       l                   FALMOUTH. MA 02540-251.S                l         e,2SO.oo:            s.250.001       8,250.DO!             -l      965.17

 3~3:978153         !BONAVENTURE MEDICAL FOUNDATION                                                PO BOX 5588                                          I                   Ba.FAST ME 04915-5500                            14,983.ool           10,642.92i       B,231.41j'    2,752.811       962.99
 XX-XXXXXXX         {SAINT JOSEPH LONDON                                                       /PO BOX 644673                                                              ;PITTSBURGH PA 15264-1673                         30,902.04!           21,212.82/       s,212.10l    13,000.12/       960.80
 sS-0484469         !ROANEGENERALHOSPTIAL                                                      200ttoSPrrALDR
                                                                                               1                                                                           iSPENCER,WV.25276                        I        10,62e.sol            s,194.nl        ......11!             -!      :958.63
 XX-XXXXXXX         IMoUNT SINAI MEOICAL CENTER                                                !Po sox 21483                                                               ISALT IAKE crrv UT 8412H>483             I        14,3os.33l            9.102.oa;       8,186.47i      915.611        9S7.74
 XX-XXXXXXX         IANNEARUNDELMEDICALCENTER                                                  iPOBOX412715                                             I                   BOSTON,MAD2241                                   1UDA3i               U..133A3i        a,185.ssl     2,941.ss!       957.63

,_46-=3085=9~so_   _,lso_M_ER_VELL COUNTY HOSPrrAL 01STR1cr                                    l1021 HOLDEN ST                                          I                   GLEN nose, nc 76043                              11,a19.1S!            B.173.ssl       8,173.851     3,70S.33!       956.26
 XX-XXXXXXX         !AVEPMEDICALPC                                                             !1PONDVIEWDRJVE                                          !                  IGLENCOVE,NY1ts42-1104                            10,490.00!           10,19050.        8,152.401     2,03B.10i       :953.75

 XX-XXXXXXX
 ~~83617
 XX-XXXXXXX
                    IN EWTON GENERAL HOSPITAL
                    lcoMMUNITYHOSPITAISOFIN
                    !sr LUKES HOSPITALANOERS
                                                                                                   5126 HOSPITAL OR NE
                                                                                               6233REUABlfPKWY
                                                                                               iro BOX 784331
                                                                                                                                                        l
                                                                                                                                                        I
                                                                                                                                                                           lcovtNGTON, GA 30014-2566
                                                                                                                                                                            OUCAGO,IL60686
                                                                                                                                                                           !PHllADELPHJA PA 1:9118-4331
                                                                                                                                                                                                                             1&,:9so.221
                                                                                                                                                                                                                             t4.SS8.B7;
                                                                                                                                                                                                                             42,969.lBL _ _ _
                                                                                                                                                                                                                                                  13,012.S0l

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                                                                                                                                                                                                                                                                   8,149.96!

                                                                                                                                                                                                                                                                   8,112.141
                                                                                                                                                                                                                                                  2=•=.srn~A2~'~-=="--~=~
                                                                                                                                                                                                                                                            B.109.28j  12,398.141
                                                                                                                                                                                                                                                                                 6,504.54!
                                                                                                                                                                                                                                                                                  iso.ooi        . ,...
                                                                                                                                                                                                                                                                                                 :953.46


                                                                                                                                                                                                                                                                                                 948.70
                                                                                                                                                                                                                                                                     ;
F:,o.=54"'s,"fi1'='8'--tiG"'LASS="'."'aa"'1A"'ORl=C"'Fa"'a"r"'a"ss'-PC---------------fl3c.::15c:MAQ='-'ISO=N=-AV_E_m_,-
                                                                                                                     ••-,-----------i-----+1~EWYCRK,NYl0017•540S                                                             38,862.90i           10,.704.14!
                                                                                                                                                                                                                                                                                 2,619.34\
                                                                                                                                                                                                                                                                   8.084.80 1                    94S.84
 XX-XXXXXXX         IM10wesr ORTHOPEDIC CONSULTANTS s c                                        ipo eox 10S2                                             i                  ieEDFORD PARJC, IL. 60499                        141.243.041           11,94939j        S.066.42!     2,335.211'      943.69

XX-XXXXXXX          !GAVINWAYNESIGLEMDPC                                                           POBOX90:9                                            l                  lcoSPGS,C080901-D909                              11.791.00]            a,034.30!       8,034.30i
                                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                         -1      939.93
 u-2393439          !suFFOUCANESTHESIOLCGY ASSOCIATES                                          lro eox 5616                                             l                   HICKSVILLf, NY, 11802                            10.sn.oo!             s.s33_40i       8,013.48!       619.92!       937.50
 o.>3684770         !PETER   c FANTr                                                               NYU MATERNAL FETAL MEDICM                            l~o sex 4lS662      BOSTON, MA 02241                                  s.000.ooJ            8,000.00~       s,ooo.ool             -i      935.92
 XX-XXXXXXX         IPRESENCE HEALTHCARE SERVICES                                              \7447 w TALCOTT AVE                                      Im 121             T0i1CAG0.1L. 60631                                23.o,sm;              g,sso.231       7,985.871     J..67L92!       :934.27

 59,,3214635                                                                                                                                               .."'9"'1S'-------+----"34"",7"'9"'6.18"'i-;---"'16,-,,44c,,Be,Jc,S,i-'_
                    !FLORIDAHOSPITALMEC,,ICA::,L,_,G,,,R=OU=•-------------+i•c:oca•=OX1780S~--------~•--..--·-·····~1~-·-·-····----!BEU::e,l\Sl',,,_,,.,,,..=                                                                                                     _..!..,==--==
                                                                                                                                                                                                                                                                   7,942.69!     8,828.06!       929.22
 XX-XXXXXXX

 XX-XXXXXXX
                    ISHERIOAN HEALTH~ INC

                    lsrPETERS HOSPITAl
                                                                                               !~~.~ox·~~7

                                                                                               \3issoUTH MANNING BLVD
                                                                                                                                                        :

                                                                                                                                                        T
                                                                                                                                                                           iHoLLYWOCO, FL 33081-1737
                                                                                                                                                                            AIBANY, NY 12208
                                                                                                                                                                                                                             10.994.00;
                                                                                                                                                                                                                             11.981.64)
                                                                                                                                                                                                                                                   9.344.90i
                                                                                                                                                                                                                                                   8,938.11!       ...~;~:
                                                                                                                                                                                                                                                                   7,928.801     1.,416.10i
                                                                                                                                                                                                                                                                                 1,617.431
                                                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                                                                 927.59
                                                                                                                                                                                                                                                                                                 925.BS
 81-450109S         IELJTEMDGROUPUC                                                            [pQBQX670098                                             !                   CORALSPRINGS Fl.33067                            32,853.SS;            7,894.66i       7,894.66i             _j      923.60


                                                                                                                                                       EXHIBIT2

                                                                                                                                                            20
                                                   Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 44 of 266 PageID #:11140




                                                                                                                                AEU INlERIM DISTIIIBUTION



~@~~-~ii-,,-~i~-iB~!llf!r;·~:;:~~=~ ~~k~                                                                                                                              ~··,_   ., ..   ~   -~-~~1:~~¥F~A .~                                                                 ~-ri
XX-XXXXXXX     iROBINBSHAWPHD                                                          i294ARGYLERD                                         i               ieROOKLYN,NY112u                       !       12.3so.001          u.no.oo:       7,866.40i     3.903.60/    920.29
141-2ti6s04s   iw1NTHROPCOMMUN11YMED1CAL                                               !100H1CKSV1LlERD                                     isu1TE2D4       laerttPAGE,NY11714                     i       13,515.00'.         U.603.24]      7,853.881     4,071.92;    918.83
XX-XXXXXXX     !suNCOAST ANESTHESIA PARTNERS u.c                                       iPO sox 919368                                                       lORLANDO. FL3289t-936s                          s.100.00!           7.830.oo/     1.s30.ool                  916.03
XX-XXXXXXX     ISENTARANORrol.KGENERAlHC6PITAL                                         tPOBOX796D3                                          j               !BALTIMOREMD21279-o603                         10,S21.33            8,392.60\     7,828.97\       S63.63i    915.91
                                                                                                                                                                                            GOO.DO;'
XX-XXXXXXX     looNNAGERARDMARDER LCSW             -------------+''2=•~•~10~™="'~------------·-·-(·---------+l,NY,=·"'--''~'ooo=•'---------+---"•·-=·=ooc;-•----'•"-·400=·00=-i--'-==-----'=
                                                                                                                                                                                  7,800.001                                                                              912.52
                                                                         1
                                                                                                                                                                                                                                           1.799_,__~I
1-•=s--0a=•=•38=7;_.. ;l'"M:::IG::.cRAlccNccEc.cR=EU=Ec..F_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ F'PO_=•occX:..:13=:04:..:55=-------------+!-----:!-Hcco:..:u=sro=••cc"'=ncc21=9~--------l------"7."-'79=9=.00::..;_ _ _-"7.7:..:9=9·=oo:;.;_ ___,,~                          912.40
XX-XXXXXXX     ,NORTH AMERICAN PARTNERS IN                                             ..!NORTH AMERICAN PARTNERS IN                        !sre 350        ;MELVlll.E, NY 11747                           26,405.40·           8,281.70(     7,765.12!
                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                              516.SBj    908.44
XX-XXXXXXX     IMEMORIAL RADIATION ONCOLOGY GROUP                                      !1215 VORK AVE                                       !               !NEW YORK, NY, 10065                            8,635.00!           7,728.93:     7,nB.931_            -i    90421
XX-XXXXXXX     WESTERN                                                                 )po BOX 860                                                      --..-·,DANBURY, cr. 06813                          19,015.00;          15,154.29~     7,725.29!     1,429.00!    903.78

XX-XXXXXXX     PETER C FRIEDMAN MD                                                     !200 EAST ECKERSON RD                                                INEW CITY. N't 10956-71S3                      12.910.ooi          10,745.11!     7,719.99!     4,600.121    903.16
56-266918S     (HEALTH QUEST MEDICAL PRACTICE PC                                       j1351 ROUTE 55                                                       ILAGRANGEVIUE. NY. 12540               I       15,603.00;           9,16!U2!      7,718.661     1,451.26!    903.01
S6-2592868     WHEATON FRANCISCAN HEALTifCARE FRANKLIN I                               lsox   860006                                                        !MINNEAPOLIS, MN 55486                         10,623.ooi          1.n6.30i       7,716.30:            .!    902.73

XX-XXXXXXX     lceOARSS1NA1ME01CALCARE                                                 )POBOX54679                                                          !LOSANGELES.CA900S4                    !       10,124.001          8.022.73J      7,709.941      355.39)     901.99

o&-1469068     lPRDHEALTHPHVSICtANS                                                    lPosoxis0472                                                         IHARTmRD,CT,0611S                      I       13.366.oo'.         8,889.111      7,651.761     2.608.3Sj    895.18
XX-XXXXXXX     iSANFORD MEDICAL CENTER                                                 lPO BOX 2168                                                        !FARGO, ND. 58107                               29,991.601         14,073.Stl      7,621.34!    15,953.77!    891.62

XX-XXXXXXX     iNDR'TMERN JERSEY PLASTIC SURGERY                                       ;140 PROSPECf AVENUE SUITE 17                        j              IHACKENSACK, NJ 07601                           58,428.001         12.465.0Sj     7,608.081      4,857.oo!    851().07

XX-XXXXXXX     SKY RIDGE SURGERY CENTER LP                                             i10099 m.OGEGATE PKWY SUITE 100                                     h.oNe TREE, co 80124                            44,014.00'.         s,210.oai     7,605.471       604s1!      889.76
                                                                                                                                                                                                                                                                    1
XX-XXXXXXX     .CJJYMECICALSUITEPC                                                      56W4STHSTllTI1FL                                                    !NEWYORK,NY10036-4206                           7,600.00:           7,600.oo!     7,GOO.OD!            .;    889.12

XX-XXXXXXX     !NORTHWEST   COMMUNITY DAY suRGERYCENTER 1                              .26779 NETWORK PIACE                                 i               lo11CAGO, IL 60673-1267                        23,129.10:          12,236.00!     7,541.001    l0,72L63!     882.22
XX-XXXXXXX     STONYBROOKANESTI-1Es10LOGYPC                                            'POBOX4l9049                                         i               leosroN,MA.02241                       !       12,990.00'           9,641.Co!     1.s36.90I     2.104.10I    881.74

XX-XXXXXXX     ioNEOAKMEDICALGROUPUC                                                    342HAMBURGTPKESTE2D3                                !               lwAYNE,NJ07470                                 12,100.00:         12.100.ooi      7,523.40)     4,576.60i    980.16

XX-XXXXXXX      PROHEALTH CARE MEDICALASSOCATION                                        PO eox 1639                                                         lwAUKESHA, WI, 53187                           18,899.oo;         16,812.10'.     7.519.151    10.316.0Bl    879.67

4~2786562
               1
                peGS,LLC                                                                P.O.BOX2SB14                                                        INewvoruc,NY100S78B14                  !      132,ooo.oo:         10,424.091      7,504.091     2,920.00]    sn.oo
XX-XXXXXXX     CASACOUNAH05PITAL                                                       !POBOX6001                                                           !POMONA,CA91769-6001                           13,587.00.           7,503.0D!    1,503.ooi             ·l'   877.78

XX-XXXXXXX     NORTii AMERPARTNERSINANESTli(l'--------------ti~P0~80=X~69'--------------+-----+j;G1.E=N~HEAO=~•N~Y~1~lS4~5-------:-----7~.99=2.40.~'---~7~,9~92.~40'+!-~==-l--'-=
                                                                                                                                                                        7,500.391 492.01!                                                                                871A7

XX-XXXXXXX     sr VINCENT HOSPITAL AND HEALntCARE CENTE                                 1201 RELIABLE PKWY                                                  louCAGo, IL 608B6                      l       13,713.78          12,342A1l       7,473.931     4,~_l        874.37

Fo~1...,,=2~0~11'--tl,~AM=ES~•~•~oc~H~DO=PSO=•~M~o_____________________ J1S1BNORTHLAKE PKWY                                                                 !ruCJCER,GA300S4-7070                  l       14,645.oo·           9,986.25[
                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                              7,472.18 1     754.07]     874.17

XX-XXXXXXX     DUICf REGIONAL HOSPITAL                                                 tPO BOX 751274                                                       iotARLOTTE NC2S27S-1274                        31,386.21.                         7,453.46!             '
                                                                                                                                                                                                                                                           17,655.511    871.98
XX-XXXXXXX     HlSTOPATHCLOGY SERVICES U.C                                             fPO BOX 78ll8B                                                       IPHII.ADElPHIA, PA 19178-1188                  13,780.00'           9,998.0D\     7,438.88!     2,559.121    870.27
                                                                                                                                                                                                                                                                    I
31-0645:zs2    IANESlliESfAA.SSOOATI:5                                                  POBOX932828                                                         !CLEVaANc,OH4419Hl001                          12,944.00;          7,424.aal      7,424.001            ·I    868.53

XX-XXXXXXX     CAPJTALHEAlTiiSYSTEM INC FULD CAMPUS                                     ONE CAPITAL WAY                                                     !PENNINGTON, NJ 08534-2520             I        8,937.00!           ,.s96.4sl     7.396Asl             -1    86531
                                                                                                                                                                                                                                        j
XX-XXXXXXX     !SALVATORE LENZO MD                                                      955 STHAVENUE                                                       !NEW YORK, NY1007S                     I       17,940.78:           8,353.30!     7,379.46:     (938.84)1    86332

XX-XXXXXXX     lsoUTHERNHIUSHOSPMED                                                     93oowsuNSETRD                                                       !LASVEGAS,NV89148                      I       32,657.88!                   '
                                                                                                                                                                                                                                9,599.951     7,359.961     2.339.991    861.04

XX-XXXXXXX     !HEALTH TEXAS PRDVtoER NETWORK                                           PO BOX 844128                                                       loAUAS, nc. 75284                      I       16.969.00;                         7,347.02)'     545.001     859.53

6S-0592449     lPEDIATRIXMEDICALGROuPoFGEORGIA                                          PoBOxzm79                                                           !ATLANTA.GA.30384                      I       14,390.00;          12,264.ssr     7,338.63!     1,895.921    858.55

XX-XXXXXXX     !ANESTI-IESIAASSOCATESPA                                                 PO BOX 1.36                                                         !LEWlSTON, ME04243                     l       10,480.00f          10,131.841     7,330.28!     2.BOLS6j'    857.57

11,="""'=='2:..:•1=-----;!"""'=0Wl=D=A~•~•~olD=M'-'o~-----------------th=2~1~EAsr~60TH-~"'~•~e~e:r~•-•o~•~w~o_R_______-i------,-;N_EW_YO_R~~-~-=10=0=22'-------+-----·-=:;,=··.aoo=.=ooc;-!___=u.,,1"••=·6S::;..l_----"==1---""=
                                                                                                                                                                                                                    7,306.651     •.~is.ooi                              854.80
                                                                                                                                                                                                                                           I
F3=6--403-=cc1•:c.1•=---...;l=EUM="="""'=M=™ccocc•=1A=LH'-"EAC=TH'-'CAR=E=----------------~lo~••~ARTM==ENT~•=ss=•------------+----~JCA~RO-L~STREAM=~•-L_60_1_22_ _ _ _ _--,_ _~1~•.soz.==ooc.si____s~.•~00_22=,_'-~==--
                                                                                                                                                                                                                    7,275.921 ----~•S67..40!
                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                         851.21
XX-XXXXXXX     ENT FAOJLTY PRACTICE UP                                                 !PO sax 708                                                          !ARDSLEY. NY, 10502                             7.380.00:           7,380.ool     7.270.92!        89.08!    850.62


                                                                                                                                           EXHIBIT2

                                                                                                                                                Zl
                                               Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 45 of 266 PageID #:11141




                                                                                                               AEU INTERIM DISTRIBUTION



                                                                                                       ~~~1.
                                                                                                                                                                                                                                     198.83!                  85050
D6-0nssss     i JEFFERSON RADIOLOGY PC                                         h11 FOUNDERS PlZ                          STE400      !EASTHARTFORD,Cf,06108       j     15,818.0Dl           9,475.35)          7,25S.33!          2..399.4Sj                 848.8D
XX-XXXXXXX    !1NOIANA ENDOSCOPY CENTERS LLC                             !s964 REUABlE PICWY              i011CAG0.JL60G85-00S9         7,232.oo:            7,232.00!     7.232.00!             -!             846.01

XX-XXXXXXX    COMMUNITY MEMORIAL HOSP          --------------t-~--------------,-----Fi:M~"~w~•u~KEE=w~•~s~•20=1-0=2=••~----+-i'
                                                                         iPDBOX268                                              --=12,~542.=•=2~;----'='~·••=•~.44~',--~',23=u=•'tl___•.~,2=68.=2B,.l_ _ _ _...;84S=-""''-I
26-11!36986                                                                    lno
                                                                        MONROE ST
              EAST COASTSPINEJOINT AND SPORTS-------------;-====------------!STE==C2=08~-+fHO~B=O~ICf=N• NJ,07030-6350                                                  17,104.00;           9,417.00:          7.222.98           ~192.78/                   845.02
XX-XXXXXXX    jADVANCED RADIOLOGY CONSULTANlS U.C                              lrosox31B6                                            !i.EWISTON:-~f.04243               18,981.00:          13,654.61!          7,212.46l          7,015.151                  843.79
XX-XXXXXXX    GASTROENTEROLOGY CARE INC                                        las22 BAY PARKWAY                                     !BROOICI.YN, NY 11214              10,000.00)           9,000.00!          7.200.00l          1,SOD.DD!                  842.33
                                                                               I                                         I                                                                                                                  1
XX-XXXXXXX    !BACK ANO BODY MEDICAL                                           !133 E SBnl STREIT STE 708                            jNEW YORK, NY1022-ll33              7,195.DD1           7,195.00!          7,195.00                                      84L74
                                                                        ---======--------1··
36-21TI139    !THE UNNERSITY OF CHICAGO                                        !5801S EWSAVENUE                                      l0t1CAGO,ll60637                   14,045.00!           8,820.82!          7,18952            4,628.771                  841.10

XX-XXXXXXX    \CAROLINA DIGESTIVE ENDOSCOPY CENTER                             [PO BOX 603345                                        IOfARLOTTENC2826Q..3345            10,214_00!           1,971.841          7,182.56            195.2ai -                 840.29

1.3-2655001    NEW YORK CTY HEALTH AND HOSPITALS                               IPOBOX9462                                            !NEWYORlC, NY, 10087         l     11,497.83,           8,421.491          7,166.93           Z,11.3.561                 838.46
XX-XXXXXXX    !JOSEPH DISAVERIO                                                'iPOBOX283                                            !vernon. NJ 07462            !      8,980.00!           a.910.ooi          7,164.08           I.815.92i                  838.13
36-3474n9     PULM CRITCARE MEO SPECS                                          ft710 N RANDALL RO SUITE 260                          IELGtN, IL 6012J.9402               9,272.001           8,347.82;          7,162.571         1,.185.25]                  837.95

XX-XXXXXXX    RONALD L DEVOR£ MD INC                                  i isEl.FAST, MED49tS
                                                                               !POBOX8801                       29,900,ooi              7,136.9s!     1,136.951              .j          a34.9S
XX-XXXXXXX    lsounteAST GEORGIA HEALTH sYSTEM INC 'i2415 PARKWOOO DR
                ==========~-----------;====~~----------,i-------.!B_RU_NSW    __ICIC.~~~~3~15_20______-;1--~•.304.50=.c.c.;!---~··~7•~8.~70'1-}_~7~,130=.20c+.--=l,6=18=5=0'1-ll_ _ _ _ _...
                                                                                                                                                                                         =·='•c.-i
XX-XXXXXXX    KCIUSAINC                                                        !1193 N ELLSWORlH AVE                     !           iVIUA PAID:, IL 60181-1040         30,410.60;          11,9&a.ool          1,121.00!         4,836.oo!                   833.79
27◄614930     QUEENS BOULEVARD ASC U.C                                         Jpo BOX 2834S                                         INEWYORK.NVto087-8342              10,100.001          10.100.00!          1.100.00.         3,000.ool                   830.63

XX-XXXXXXX    !BICVENTUS LLC                                                   !Po BOX 732923                                        loALLAS1X7S373-2923                 9,900.001           7,600.oo!          1.010.ooi           sao.ool                   a21.12

XX-XXXXXXX    !ORTHOCONNECTIOJT PC                                             iPO BOX 26303                                         ]oKLAHOMAOTY,OK, 73126       !     18,004.401          13,997.45{          7,038.13          S.057.12!                   823.39
XX-XXXXXXX    lKEVINVINCENTKEUY MD                                             i11E 87TH STRE£TSTE 18                                1NEW YORK, NV 10128-0528     !     19,950.00]           8,312.SOj          7,037.50          1,,275.oo!                  823.32

35-23183SO    ,BRAZOS SA SERVICES                                              17324 SOUTHWEST FWY STE 1550                          IHOUSTON, TX 77074           !      8,786.00;           7,028.801          7,028.BO!                                     822.30

l.3-1624211   VNS HOME CARE                                                    !s PENN PlAZA - 20TH FLOOR                            .NEWVORK,NY10001-1801        !      9,861.86!           7,018.631          7.018.53!              0.10)                  821.10

20-S57655D    OBGYN CARE OF BAY RlDGE PUC                                      !568 BAYRIDGE PKWY                                    lsROoKLYN,NY11209-3310       !      1,000.00;           1,000.00,          1.000.00!                  -!                 s1B.s3
XX-XXXXXXX    RED ROCKS SURGERY CENTER                                         ] PO SOX 742098                                       !ATlANTA.GA30374             !     10,000.ooi           7,ooo.ool          1,000.00                                      818.53

XX-XXXXXXX    Sl"ONY BROOK OlllDRfNSSERVICE            ----------;:===::.·---------------tl
                                                                    !PO BOX 417991         _____l,,,,sosr=ON=•.MA.._0_22_•_1________                                    11.~oo._oo-;-'._ _ _ _•~·•-2•_.1_•,.:-~•-'~•~3~-114!__~1.~468.=63=+-i-----'818=.12=-1
                                                                                                                                                                  +--!_ _

XX-XXXXXXX    CARTI;RET GENERAL HOSPITAL                                       j35QO ARENDEI.LSTREET                                 lNOREHEAOOTY, NC2B557-1619   !     12,99525:           12,402.61!          6,964.37          5,438.24!                   814.76

32-04U!83S    UWH OF NORTH CARO UNA UP                                         lPo BOX 12860                                         laeLFAST, ME 04915                 14,402.oo!           s.1so.s2l          6.952,76          1,817.56;                   814.57

XX-XXXXXXX    ========'---------------!'-'===-------------+-----+'!Pl=N='""'U""RS1'.""~'!.S,.,283=7.c4
              !PINEHURST SURGICAL CLINIC PA             !POBOX2000                                                                               +t_....,...=:..=·''=+---=l.,:1:::;86.23=';-l_ _ __,Bc:,11=.83=-i
                                                                                                      ______..__..:c••=.2SO=-OO=!----'""''1"'70=...
XX-XXXXXXX    lAKE SHORE OBSTETRICS & GYNECOLOGY                               !680 N LAKE SHORE DR                      STEB24      !otlCAGO, IL60611            l     13.302..so:         11,398.64:          6,910.351         4.488.29!                   808.44
XX-XXXXXXX    WATERTOWN PHYSJOAN PRACTICESUC                                   iz8476 NETWORK Pl                                     !CH1CAGO,JL.60673            I      9.SS6.ool           8,682.2of          6,893.10          t.789.10!                   806.42
~1274394      TEXAS RADIOLOGY ASSOCIATES PA                                    IPo sox 4356 DEPT 627                                 !HOUSTON, lX 77210           i     16,374.02\           7,177.00}          6,842.221           334.80\                   800.47

XX-XXXXXXX    MONADNOCK RADIATION ONCOLOGY                                     1111 TECHNOLOGY DRIVE STE 200                         laoAJ.SsuRG, PA 16821~1635   !     10,403.00!           6,B41.80!          6,841.80!                  -!                 BOOA2

XX-XXXXXXX    RILEY P LLOYD                                                    lro BOX 4086!0                                        lot1CAG0,JL60640-868D               s,710.oo!           6,840.29!          5,sn29j                    -!                 799A3
QS.-0624028   lcoNNECllCUTFAMJLY PHYSICAL                                      insPOsrRDE                                            !WESTPORT. CT0688D                  7,510.00;           7,173.041          6,m.45i             400.49!                   79231

XX-XXXXXXX    HOLY CROSS HOSPrfAL INC                                          jpa BOX 64722                                         lBALTIMORE MO 21264-4722            7,055.36~           7,005.23!          6,765.231           240.0C!                   791A6

46-47194S1    iPRIME HEALTHCARE SERVICES-GARDEN                                [8523 RELIABLE PARl:WAY'                              !0t1CAGO,IL60686                   16,660.S7i           7,87!1.o.z;   ···-·--6•c,7Sc,B:54,i_ __,1.,,120=.48=;-!_ _ _ __,790=.68=-i
XX-XXXXXXX    iLAFAVETTE GENERAL ENDOSCOPY CENTER    -------------t===-i--------------;'STE
                                                                    !1211 COOLIDGE BlVD
                                                                    !
                                                                                          __30_2___!,.LAF_AYETTE._~LA_705_03                10~,7_28_.oo....,.i----·~.44_7_.oo..,'.-~6,755.00_,_i'--~1,29_2._oo_,Ji____~790_2_1...,
                                                                                                                         _ _ _ _ _ _ _ _t-_ _
l.3-3908644   TRUSTEES OF COLUMBIA UNIVERSITY IN               --------f===~------------;-----;;c-·•~EW~Yo~•="•~.~Y·~'~OOB~7------+---~13~,1B=•·oo=;
                                                                            !pQ BOX 29710                                                           ____B.~06~L~1•_,;_~•=·1~s1~.12=l__~1.3~10=.02~l_ _ _ _~1"'=-"='c..o
XX-XXXXXXX    lMARTHAS VINEYARD HOSPITAL                                       jPOBOX14n                                             loAKBWFFS MA,02557                  7.-490.92!          1,12!!.01J         6,729.01;           400.oo!                   787.23


                                                                                                                       EXHIBIT2

                                                                                                                             22
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                                                                                                                   AEU INTI:RIM DISTRIBUTION




2~2626897
               1
                sELECTSUBSIDIARIESINC                                      lrosox822614                                                         I                       !PH1lADElPHIA,PA.191e2                                8.397.00i          6,808.91!       6,708.12!            100.19;                  784_78
3g..1:in2739   !GREATlAKESPATHOLOGISl"SSC                                  IPoBOx7B42D                                                          1                       ,MILWAUKEE,WIS3278                                  14,754.ool           B.OS3.3t'       6,699.51\          1,383.8D!                  783•78
81-239462.S    iSHOMAr NAXHJO DO                                           j4SSPARICPL                                                          /UNIT302                JMDRRISTOWN,NJ07960                         !       U.4ss.sa;            s.321.93i       6,69457\           1,62736!                   783.za
XX-XXXXXXX     ''!.~DrAN RIVER MEMORIAL HOSPITAL INC                       iMSC #673 PO BOX 83DS2!i                                                                     1BIRMINGHAM,AL35283.0529                              7,921.D7!          6,676.99'.      6,676.99[--~------~7~81~.1"--!4

XX-XXXXXXX         LEVY & LEVY PH't'SICAL THERAPY PC                       !1482 NORTHERN BLVD                                                                          !MANHA5.SET,NY11030-3006                    I         6,920.DD;          6,920.00~       6,636.001            284.0D;                  77635
~6--1748928        PROVJDENCE ANESrHESIOLOGY                               !PO BOX 7S137S                                                                               [CHARL01TE,.NC2827S                         ;        8,763.DOi           8,763.001       6,619.40i          1,702.00\                  774.40
11-2799543_    '
               leoRo PARX OBS GYN                                            !POBOX9581
                                                         -----------ic-'-==~------------i--------it-~~LFAST,ME049ts-9S81                                                                                                    11,163.00i           8,695.DDj       6,597.93!          2,007JJ7i                  771.89
S&-1797647 ..../GARV 0 WEIOiBRODT MD                                       (1330 CONCORD RO SE                                                  fsreroo                 SMYRNAGA30080-4373                                   8,045.001           6,596.82!       6,596.82/                                     771.76
27-1S97888     ,RAONE ANESTHESIASERVtcES llC                              !PO BOX 6374S5                                                        I                       CNCNNAn, OH452G3                                     G,846.ool           s,510.ool       s,s79.oo!                  -1                 769.GB

XX-XXXXXXX     ,BRATTtEBORO MEMORIALHOSPITAL                              l11eELMONTAVE                                                                                 BRATILEBORO, Vf053D1-6613                           13.306.53!          12,870.96!       6,S70.S6i          6,300.00!                  768.74
XX-XXXXXXX         l M PRASAD MDSC                                         j1550 N NORTiiWEST HWY 107                                                                   PAR,: RIDGE. IL 60068-1458                  j       11,684.DOi           6,566.10(       6,566.10!                                     768.17
30-0750DG2         AMS ANESTHETISrSERVICES LLC                             !POBOX4SSS                                                           !                       SPR1NGAELD, IL 6270B-45BS                   l       l1,400.ao!          11,400.ooi       6.S&s.68!          4,83432[                   168.12
XX-XXXXXXX     ,ST JOHN MACOMB OAKLAND HOSPITAL                           !7633 EJEFFERSON AVE                                                                          DETROIT, Ml.48214                                   28.484.SO!           8,884.381       6,562.781          6,850.86!                  767.78
XX-XXXXXXX     !UOI-MHS                                                   \PO BOX 732029                                                                                DAllAS, lX75373                                     15,176.70[           7,834.48!       6,526.33!          1,308.15!                  7&3.S2
XX-XXXXXXX         BROOKI.VN IVF INC                                      16010 BAY PARK WAY 5TH FLOOR                                                                  jSROOKlYN, NY 1U04-o080                     i       14,920.00i           7,SG6.47j       6,523.101          1,076311                   763.14
XX-XXXXXXX     IMSKCC RADIOLOGY GROUP                                     !pa BOX 26668                                                         1                       !NEW YORI(,    NY_""•.::'008=7------+---=""'·130.00=c:.!;-----"7,,,,,1"'2.,,,os"'i_   __c•,,,.s"'""'.211"'+-l_ _-"1•=,::.·":-;r____--"7.,.=""'-1
XX-XXXXXXX     !SHORE HEALTH GRO~P PC                                !i659 ROUTE 88
                                                         ------------+   ----------- .                      •n••-·- - · - · · · - - -.. - -     l~TR'AN BUI' "'NG IBRINEWCJC,YONJRK0872,--NY·-410029                        32,419.ool           7,886.18!       6,500.141          1,777.31!                  760.4S
~7-S349024         MOUNT SINAI GENOMICS INC                                !1428 Madison Avenue                                               ··1...           ....,,                                                        9,285.44!           9,285.44!       6,495.16]          2,79D.28i                  759.87
XX-XXXXXXX     JuSAcs oF COlDRADO INC                                      [PO BOX5006                                                          1                       .DENVER,C0,80217                            I        8,147.90j           6,490.481       6,490.48!                   l                 759.32

XX-XXXXXXX     !SCHWEIGER DERMATOLOGY PUC                                 IJ.SGWS6THST                                                          !srElllll3              INEWYORK,NY,10019                                   24,sss.00!          10,288.01\       G,483.isl          s,10G.Soi                  758.46
3&4148388      }HEART CARE CENTERS OF IWNOIS SC                           !13011 S 104TI-I AVE.                                                 lsre100                 PALOS PARK, IL. 60464                                a,844.ool           6,603.11!       6,477.63!            125.54j                  1s,.a2
81'-(1702422   TREATMENT PARTNERS OF                                      16!109 SW 18TH ST A203                                                                        leoCARATON, A.33443                                  s,100.00!           6,499.oo!       s,474.00!             zs.oo!                  757.39
06--1223155    !INTEGRATED ANESTHESIA ASSOClATES UC                       IPOBOX1718                                                            l0EPT10soas             HARTFORD,CT,06144                                   12,818.40:           9,697.20!       6,471.3S!          2,948.Dl!                  757.08
XX-XXXXXXX     isr AGNES HEALTI-ICARE                                     IPOBOX21182                                                           I                       BALTIMORE, MD 21228                                  6,736.lDi           6,660.26!       6,460.261            200.00:                  755.79

2!?;-E~01872       PARTNERS IN OBSTErRICS AND WOMENS HEALlH                !POB0Xli63                                                                                   ,FRANKFORT, IL. 60423                                8,130.00i           7,112.87;       6,447.09!            66S.781                  754.24
                                                                           I
XX-XXXXXXX         EAST END PAIN MANAGEMENT LLC                            iPOBOX 5072                                                                                  lso1.JTHAM~~N,NY11969-s012                          11,424.DOi           799&.so!        6,423.04!          l.,573.16i                 1s1.43

XX-XXXXXXX _   ;VXL MEDICAL CARE PC                                       134 PATTON BLVD                                                                               !NEW HYDE PARk.J!l!.11040                            8,492.oo!           6,960.so!       6,419.20'           54L50i                    750.98
XX-XXXXXXX     i~ ENC ANESTHESIOLOGISTS                                   !PO BOX 7025                                                          I                       AMAGANSETT, NY11930-702S                    I        7,190.oo!           6,970.ool       G,412.00!           55s.oo(                   750.14
XX-XXXXXXX     !HARRISON MEMORIAL HOSPITAL                                !1210KYHWY36E                                                                                 CYNTHIANA. ,:Y 41031                                 7,58S.DD!           6,654.40}       6,404.40!           250.00!                   749.25

XX-XXXXXXX     IMEMORtAL MEDICAL CENTER                                   lPOBOX 1980                                                                                   WOODSTOCK, IL60098                                  43,769.001          16,223JJ2i       6,399.891         14,573.13/                  748.72

3&4398969      !ANESTHESIAASSOCIATES                                       i,oeox686                                                                                    DEKAJ.61L6011S-0686                                  s,73O.00;           s,79s.ooi       6 ;i,92.00!          403.ool                  747.so

XX-XXXXXXX         GENEDXINC                                               '
                                                                           !207 PERRY PKWY                                                                              !GAID-IERSBURG, MD 20877                            14,925.00]           6.524.30)       6,387.19!            137.Ui                   747.24
XX-XXXXXXX         BUOIANAN GENERAL HOSPITAL                               11535SlATECR£EICRD                                                                           !GRUNDY, VA 24614                           !        S.414.00!           6,45355)        6,378.Ss!             75.aoi                  746.23

:45-4n4972     !LONG ISLAND DIGESTIVE ENDOSCOPY                           lPo sox 950007090                                                                             IPHILAOELPHIA. PA 19195
                                                                                                                                                                        1
                                                                                                                                                                                                                    i       21.100.ooi          10,071.00:       6.37D.80!          7,700.20!                  745.32
XX-XXXXXXX     iKALEIDA HEALTH                                            ;PO BOX 1392                                                                                   BUFFALO. NY1424D-1392                               9,365.94            6,661.60~       6.361.60!           300.ool                   744.24
D-0477825      = = = = = = ' - - - - - - - - - - - - - - - - - - ;14531
               lsoFTLANDING lABS LTD                                - -W-HARRISON
                                                                           - - -ST-2ND
                                                                                    --                                                                                                              =•08c,l__~90!§~2,."[_____,~..~-~,, -1
                                                                                       fl - - - - - - - - - - i i__ ,_______ .1HIUSIOE.IL60162-161~•------t---'°~,2_n_.oo_j,-_ _~7,26=2~-•o"<t-~•·~·..
               i
XX-XXXXXXX     lPHIWP CAOOPPO                                              isoa Bl ESTER FIELD RD srE 202                                                               !Euc GROVE Vll.LAGE. IL60007-3361                    s,341.0O:           6,341.ool       &,341.oal                                     742.54

XX-XXXXXXX     11 U HEALTH BLOOMINGTON                                     !7987 SOLUTION CENTER                                                                        !ot1CAGD.IL606n                                      s,729.20!           s.20sMl         6.338.201          1,867.24!                  741.51


                                                                                                                                              EXHIBIT2

                                                                                                                                                    23
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                                                                                                                                AEU INTERIM DISlRIBlJTION




                                                                                                                                                                                                                                      12.333.ni            6.333.771           6.0DO.DD!                     740.99
XX-XXXXXXX      !srMAR't'MERCYHOSPITAL                                                 !aox223096                                                          !PmsBURGH,PA1S2S1                         .       1UD3.231                   7.495.54i          6.309.56!           1,l85.9Bj                     73B.16
XX-XXXXXXX      iCHILORENS SURGICAL ASSOC LTD                                          jpo BOX 787677                                                      !PHllAOELPHIA. PA 19178,.7677                     12.!195.DD;                7,797.oo!          6,301.87   !        1.495.13!                     737.26
~!:2393915      !JAMAL RAHAMAN MD                                                      '!11365THAVESUITE18                                                 \NEW YORK, NY 10128-0122                            6.295.00'                6,295.00;          6,295.00 i                   -!                   736.45
XX-XXXXXXX      iTlfE UNIVERSITY OF TEXAS MD ANDERSON CANC                             l1sis HOLCOMBE BLVD                                                 !H□USfON, TX 77030-7009                   i       15,014.1111              13,270.32!           6.289.81'           7,003,71;                      73S.84
XX-XXXXXXX      !YORKVILLE ENDOSCOPY llC              1Pa eox 28492
                 ~==~===---------------.p.c~=-'---------------;!-------;INEWYORK,NY~.100=8~7_ _ _ _ _ __,__-'12"',!l"'Dll"'."'IID',------8:::·19="-:::50:;.!_---"6,:,2:::86:::-DD::.:...;_ _::,:l.9:::12.S=0:;.!_ _ _ _--','-"3"'SAD""-I
XX-XXXXXXX      !SCHOEN & lUBUN QJNlCAL PSYOIOLOGY     h9HU050NST
                 ==========~------------i====-------------;J"'RM=204"----""'N"-EW"-'-'YO"RK"",..~.~100=1=-3------+-----"42".611D=,IID=,.:_ _ _.:,29,:.22~0:::.0::0c.i_                                                                                  _,,•,2ce:4o,5ce.11De,J_......,~L~~J~-----"73ll=,6D"-1
XX-XXXXXXX      iBAv ORTHOPEDIC & REHAB SUPPLY                                        1616 E JERIOIO TURNPIKE                                                                        ..."'s".oo'-'-'-i_
                                                                                                                                                 .._ _ _-:---~11~,!l"'DD~-DD-'---=10"'
                                                                            ----+----------------~------si!t_U_NTI_N_li!U_N_5'_~_JIO_,_N~.NY~1_17_                                                                                                      _.:,6,22S==.oo;___.,_.•c.c'°:::·oo=;-!_ _ _ _...:72B=-'=•-1
XX-XXXXXXX      INORTHERN NEW JERSEY CENTE.R FOR                                       /roeox419313                                                        /SOSTONMA02241-9313                                6,720.00i                 6,216.00'.        6,216.00i                     ./                   127.21
XX-XXXXXXX      lvALLEYHEALTHSYSTEM                                                    jpa BOX 37160                                                       iBALTIMORE,MC21297                                 6,837.7D\                 6,198A9j          6,198A91                      _(                   725.16
13-39086G2      lrRuSJEES OF COLUMBIA UNIVERSITY 1N                                    IPOBOXI0209                                                         l•ewARK. NJ. 07193                                 9,041.00:                 6,673.loi         s 189.35    I          673.651                     12,.09
XX-XXXXXXX      IBLUERElD HOSPITAL co u.c                                              !soo OIERRY STREET                                   i              'ewEAELD. WV24701                                 17,632.42;                 s.no.1&i          6,166.13!            2,.604.03!                    721.38
XX-XXXXXXX      lzwANGER & PESIRI RADIOLOGY GROUP                                      hso EAST SUNRISE HIGHWAY                             isurrezoa      luNDENHURST,NYu1s1-2S02                           31.928.73\               t4,41353j           s,143.11!            s.2M.62I                      718.75
XX-XXXXXXX      !srARR PHYSlCAL rnERAPV                                                1853 BROADWAY                                        !STE110S       rNEWYORKNY10003-4718                              11.3so.oo:                 8,642.71!         6,142.71i          {2,SOO.oo)i                     718.64

    ==~-F======c-.---------------F====------------;------ti•"'ew~YORK.NY1003B
        IJAMES MIUDANlRI DPM PC
!.1-3105064                             h11JOHN 5n4SO
                                        I
                                                                                                                                                                                                             14,300.ooi _____::,6.3:::7c:4.B::;6:;.l_ __,s,.,.121=.s::s,-!,---=25:::"-"::1:,1_ _ _ _ _7:::1:,,6-::16'-I
XX-XXXXXXX      !suRGJCALASSOCIATES SC                                                 :sooAUSTINST                                         I              lev~N.ll60202                                     12,485.00]                 &,n3.33J          &,116.561              6S&.77i                     1is.ss
XX-XXXXXXX      'iDtAMOND MEDICAL GROUP                                                h4ss wANTAGH AVE                                    I               iwANTAGH,NY11793                                  13,715.ooi                a,685.68[          s.101.s2!            :z.sos.161                    714.52
XX-XXXXXXX      !SANFORD MEDICAL. CENTER TlilEF RIVER FAUS                             lpoeoxso14                                          !               !SIOUXFALLSSCS7117-5074                            6,884.23i                 6,622..931        6,077.821              545.tl!                     711.04

XX-XXXXXXX      !MENDOTA COMMUNITY HOSPITAL                                            l1401E12THST                                        I               !MENDOTA, IL,, 61342                      !       20,845.10!                8,SOS.63!          6,071.99!           11,178.31!                     710.36
54-212S332      lmALMo GROUP HOLDING uc                                                '!PO BOX 432040                                     !               IMIAMl,Fl.,33243                          i        9,914.75;                7,16S.12l          6,071.33]            1,093.79:                     710.28
43-0GS3587      !GOOD SAMARITAN REGIONAL HEALTI-1 CENTER                               17420 SOLUTIONS CTR                                  i              lot1CAG01t606n-7004                       I       13,553.oo!               11,sooAol           6,064.ssi            s,435.22!                     709.SO
3&34846n        IOSr SAINT FRANCS INC                                                  15097 RELIABLE PKWY                                                 !0i1CAGO, IL, 60686                       !        7,66926;                  6,758.58;         6,061.60i              888.61!                     709.15
XX-XXXXXXX      IHARBIN CLINIC UC                                                      !221 TECHNOLOGY PKWY                                                lnoME,GA 30165                            I       11.330.00!                s,011.12i          s,oss.1s!            uzs.91!                       1aa.46
XX-XXXXXXX      lceP AMERICA CAUFORNJA                                                 i2100 POW1LL 5T                                     lSTE 900        !EMERYVILLE CA 94608-1844                 !       12.279.361               11,390.06i          6,046.751            5,957.68]                     7D7.41
4S-3968254      lPEtHATRUST LLC                                                        bisSANOERSRD                   - - - - - - - +;im=1~os~---+!N_□_KTH_B_ROO~K, 11.• 60062                --t--~9~,66S=.oo~•.·---~••~713=.2~{... _....... 6,022.68~,-----'•=97=.s=z+l_ _ _ ___,7-"04-"59=-J
XX-XXXXXXX
XX-XXXXXXX
                ]HARRIETTE PODHORETZ PHO

                !MOHAVE EYE CENTERS LTD
                                                                                       !2 WEST 45T1-I ST#103
                                                             ----------..;.=..=~==~-----------,:-----f-:,::~:-~.MAN,~YO~R=K:-~~•om=:~:=-9:~-----+--=:=:.ccDll=:=oi-j·_______12="~'-'71=:~::!----"':::0=
                                                                                   11925 FLORENCE AVE                             1                                           6                       7
                                                                                                                                                                                                                                                                ~=~:+i----'' 4"":!~!j,..-----:-:-:--,
SS-2057191      iATlANTA KNEE AND SHOULDER alNIC                                       !103SSOUTHCRfSTDR                                   !srEtoo         ISTOCKBRIDGE,GA 30281                             10,oso.oo:                7,824.30!          6,016.49i            1,702.81!                     703.87

~?.:~?..~!158   IPRAIR!E CARDIOVASCULAR CONSULTANTS   - - - - - - - - - - - - + =l,o=sox=  ~ - - - - - - - - - - - - - + i_____,l~SPRl=•~•A~E~L0~,.11.,.62794
                                                                                        19257                                                                                                                11,458.00]                6,612.58(          6,008.so\              604.08!                     702.93
XX-XXXXXXX      !otoL PONTotARTRAlN SURGER                                       !4407 HWf 190 SERVICE ROAD EAST         lsum 200 lcoVINGTON, ~ 70433                                                        10,009.00!                6,00SAo!           6,005.401                    -\                    70251
XX-XXXXXXX      !HENRY FORD KEALTH SYSt'EM                                             lPO BOX 670884                                                      loETROrr, Ml.48267                                20,419.23:                6,021.62l          6,002.621           10,100.121                     102.25
1.3-3439470     IMETRO UTl10 ASSOC                                                     l2os LEXINGTON AVENUE l5Ttl FLOOR                                   INEWYORK.NY1001s                                   9,000.001                s,000.00~          s,000.00!                                          101.94
XX-XXXXXXX      ISPEOAllY ORTHOPAEDICS PU.C                                            Jpo BOX 28578                                                       !NEW YORK. NY 1oos1                       I       31.300.00!                6,000.ool          6,000.00!                    -!                    101..94
XX-XXXXXXX      !vrRTIJA WEST JERSEY HEALTH SYSfEM INC                                 IPO BOX BS008032                                    I               \PHILA.PA19178-8032                                1,735.00:                6,188.001          s,9ss.oo!              200.oal                     100.54
XX-XXXXXXX      !EAGLE PEAK EMERG PHYS UC                                              !Po aox 80150                                       I               IPttllADELPHIA, PA 191011150              I        5,976.lllli               5,975.00!         S,976,DDl                     .I                   699.13
XX-XXXXXXX      !PHVSIOTHERAP'f AS.SOCIATE5                                    1PO BOX 844208~ - - - - - - - - - - - ~ ' - - - - _,_•BO_STON,~~M_A_O~Z,~84~------+--~14~•.~~:00cc.,..i---~8~.S~61.S=7;_~5,974.54!----~2,~B3~5=.3~9t-i-----"69B=.96"-1
03-04969S1      !WILTON SURGERY CENTER UC                -----------+====•~-------------+,-----,Jrw~ILTO=N~.cr~o6897=~-4"'07'-'s~-----!----1==1.9=39~·1~0!,_
                                                                               !195CANBURYRC                                                                                             __-"5,!1"'6"9=-'•c;!-----=s~~-~~i-'_ _ _ _-...,-!_ _ _ _ _6::9B=.38=-i
XX-XXXXXXX      iSHA.w CENTER FOR WOMENS HEALTH PC                                     !918 S BROAD ST                                    -t-!----+·™=0MASV1==LLE.=GA=•=11~9zc-._ _ _ _-i----"1'-'1.1:::02=·=22,..l_ _ _--'1"',33"'5"'.43=+-i_ _,,s.~967=.37~---·· --·-1,543.10+--l---~•~
                                                                                                                                                                                                                                                                                        ..~-12---,
!sS-0357057     lWHEEUNG HOSPITAL INC                                                  hMEDICAL PARK                                                       lWHEEUNG.WV.2fi003                                25.610.79!               11.249.83!          s.952.otl            4604.1ai                      696.33


                                                                                                                                          EXHIBIT2

                                                                                                                                                24
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                                                                                                                                  AEU INTERIM DISTRIBUTION



                                                                                                                                                           ·~ -·::.·;~~
              '                                                                           .
7~2896138     JMEDHEALTH                                                                  i3400 W WHEATLAND RO                                !STE360        IOAUAS. TX. 75ll7                      !         22.194.00\                     s,099.3s!    s,949.ool           ts035!      695.97
XX-XXXXXXX    iTRIHEALTH HOSPITALINC                                                      !Po BOX 637986                                                     laNaNNAn, DH45263-7986
                                                                                                                                                                                                    '         34,647.73:
                                                                                                                                                                                                                         ,!                  S.354.B4;    5.93S.7S!
                                                                                                                                                                                                                                                                     .              l
                                                                                                                                                                                                                                                                           10,864.04!     694.78
22·3467721    iAMERICAN ANESfH'ESlOLOGY OF NEW JERSEY                                     \POBOX'Sl                                                          !FLORHAM PARK, NJ, 07932                         13.960.00!                   12,690.00\     5,928.16[                       693.54
4&4689612     !RG
              !
                  ANESTHESIA llC                              (P0BOX310
               =====-------------------f-'==c=....--------------,-----!-'!,,,.,,"'A"'n"'IN.::SVlUE.==GA,,_30=file..:7         _ _ _ _ _--+---"5~.oo;                                                                                         5.925.oo:    s,925.ool                 -i    693.17
XX-XXXXXXX    !SUBURBAN ENDOSCOPY ll.C                        ;799 BLOOMFIELD AVE                      ivERONA. NJ 07044.1301                 10.49s.oo\                                                                                     s,904.00:    s,904.ooi                       690.71
XX-XXXXXXX        NAPLES CDMMUNITY HOSPJTAL                                               !3S07THSTN                                                         INAPLES A. 34102-s130                             s,36s.ool                     6,084.30)    s,884.30!           200.00!     688.AO
~1400731      lsoUTH GEORGIA ANESTHESIA ASSOClATES                                        ;POBOX2125                                          i              lcowMeus. GA. 31902                              13,388.oo)                     6,41.938~    s.s74.181         4,so9.201     6"7.22
4&.m:24743    lAVERA
                                                        ------------'==='-=------------·---·~•H
                                                                       ]PO BOX 76370
                                                                                                ......-...··------·                                          'SIOUXFAUS,5057118-6370                          29,304.65;                   lD,430.87!     5,868.to! -·-·-·-· 4,516.271    686.51
XX-XXXXXXX    lFRANOSCAN AWANCE INC                                                       lPO BOX 788421                                               ·     ioETROIT,Ml48278-8421                  I         14,214.so!                     1,352.3sj    s,861.281         1.525.72j     68S.71
XX-XXXXXXX    lPLAINVIEW HOSPITAL                                                         /PO BOX 415976                                                     leosmN,MA02241-5976                    !          6.160.oo!                     6,160.ool    s,860.ool           300.00!     68S56
XX-XXXXXXX    !CAMPBELLTON-GRACEVILLE HOSPITAL                                            )5429 COi.LEGE DRIVE                                               !GRACEVlll.E, FL32440                             6,166.ool                     s.ss1.1ol    s,BS7.70!                .I     685.29
XX-XXXXXXX    ,PROHEALlH AM6UlATORY SURGERY CENTER                                        12800 MARO.JS AVE                                                  llAKE sucass. NY 11042                            1,sso.BB!                     s,838..88\   s,832.34   i          6.54!     682.33
XX-XXXXXXX    !RETINAL VITREAL CONSULTANTS LT                                             !PO BOX 166516                                                     ICH1CAG0,1t60616-6S1&                            11,345.00[                     1.11u1!      s.sos.22!         1,303.ssl     679.50
XX-XXXXXXX    /FOUNDATION MEDICNE                                                         ,150 2ND ST FLOOR l                                                !CAMBRIDGE.MA 02141-9998                          s,soo.oo!                     5.SOO.OOi    5,800.001                 .!    678.54
XX-XXXXXXX    !sr FRANCS HOSPITAL INC                                                     lPo sox 406841                                                     IAnANTA,.GA30384                                13,043.oo!                    11,235.7S!     5,788.951         5,446..BOI    fin.25

45-4U51254    IGUARDANT HEALTH INC                                                        ]PO BOX 80432                                                      larvoFINOUSTRY,CA91716-8432                       6,800.oo!                     s,780.ooi    s,1so.00I                 -1    676..20
XX-XXXXXXX

'XX-XXXXXXX
              ~=======~-------------====------------+----lr:-~,-:~~=~o.~",~:.:::
              !PRIVATE DIAGNOSTIC QJNIC PUC

                                        h460
              ILAwRENa H ITELD, MD P1.AST1csu
                                                                                          ]Po BOX 63362

                                                                                               N HALSTED STREET SUITT SOS
                                                                                                                                                                                                             :::::                         ~;:::: :::::::                   s.s,u~:       ::
2~1726341     lA klM MEDICAL PC                                                           !2500 NESCONSET HWY                                 isrE2lA        ISTONYSROOK. NY11790                            14,155.ooi                    11.30s.00!     s.112.601         s,592.40!     675.34
XX-XXXXXXX    !PAUS4DES MEDICAL CENTER                                                    11600 RNER ROAD                                                    1NDR™BERGEN,NJ07047                             10,337JX>[                      7,210.13;    5,768.to!         1.442.Cl31    674.81

XX-XXXXXXX    ADVANCED ORTiiOPEDICSAND HAND                                               !504 VALLEY ROAD SUITE .201                                        lwAYNE. Kl 01470-3534                             1,304.00;                    7,092.001     s.1ss.401         1,333.601     673.68
                                                                                                                                                             1
XX-XXXXXXX        ICAHN SCtlOOLOF MEDICINE AT MOUNT                                       !PO BOX 28792                                                       NEWYORK,NY10087                                  9,512.001                    6,735.85]     5,742.0Si           993.BD!     67L76
'47•2313900   lcoMMUNITY RRSTHEALTHCARE oF 1wN01S 1                                       !s645 WEST ADDISON STREET                                          ICHICAGO,ll60634                       I       114,373.25[                     6,020.75;     5,720.751       1D8,6S2.SOI     669.27
XX-XXXXXXX    !RECTOR AND VISITORS OF THE UNNERSITYOF                                     iPO BOX 403059                                                     !ATIANTAGA30384·3059                            36,412.53!                    17,004.361     S,713.BS!        17,892.561     668.47
13-39633!17       HUDSON VAllEY RADIOt.OGY ASSOCATE5                                      i27443 NETWORK PL        ----------+------+l.ot_lCAGO,IL60673                                                  ........ 12.91.::,4=:.96e;!_ _ _ _7:.c:,         5,709.781           590.111     667.99
                                                                                                                                       00                                                                                                             1151
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XX-XXXXXXX    llUJsrEES OF COLUMBIA UNt\lERSITY IN                                         POBOX29784

42•1418847
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              GENESIS HEAt.nt GROUP                                                        POBOX470

                                                                                           POBOX1238                                                         iSEWNGHAM WA98227-113S
                                                                                                                                                                                                          ;.;L: oc;1i:~~~,, :, ·;=;=.,;.'-:+-J~_-:_-::~
                                                                                                                                                                                                               7,369.70]
                                                                                                                                                                                                                                           '              S,672..331          981.lSi     663.61
XX-XXXXXXX    PEACEHEALTH ST JOSEPH

XX-XXXXXXX    AMBRY GENETICS CORPORATION                                                   POBOX51458                                                        loNTAR10,CA911s1-999s                           10,4so.oot                     5,670.01~     s,610.01!                 -1    663.33
XX-XXXXXXX        PRESENCE SAINT JOSEPH HOSPITAL                                          4588 PAYSHERE onru                                                 !ot1CAGO,Jl60674                                44,270.78(                     7,3SU3~       5,660.851         1.690.481     662.26

XX-XXXXXXX    IWNOISGAST'ROENTEROLOGY GROUP U.C                                            POBOX7630                                                         !GURNEE,IL,60031                                1.S,115.00\                    7,95534)      5,657.991         3245.BSj      661.93
39•2014423    LIOHN C. MAlTEUCO JR, M.D.. S.                                              16127GREEN BAY ROAD SUrrE600                                       !KENOSHA. WI 53142                                8,893.00!                    5,649.60'     5,649.601                 -1    660.95

22·2023455    !MANHATTAN PHYSICANS lABS                                                   l25 RIVERSID£ DRIVE                                                !PINE BROOK. NJ 01058-93!11                       7,42&.ss!                    7,13L40l      s,64s.nl          1.48&.13!     660.44

XX-XXXXXXX        UNIVERSllY OF TEXAS SOUTHWESTERN                                        IPoaox845347                                                       lcAUAS, TX752845347                              1D,749.001                    s,668.ts!     s,643.tsl            :zs.oo!    660.19
143-0738490   ,SSM HEALTH CARDINAL GLENNON                                                , 7344 SOULTION CENTER                                             lot1CAG0. 1t60611-1003                           2s,01s.oo:                   16,s64.2sl     s,&3L541         10,932.111     658.83

XX-XXXXXXX    lmvERSIDE MEDICAL CENTER                     -----------+c===~-------------+-----f!KA=NKAKE=="-='~L6090==1--------i---'15"'."''35=.28;1
                                                                             !3SONWALLST'                                                            ____.:,9•cc••=•.2=•-"l_ __,s,,.6=2•=.86==i+l'_ _.:,3:'>:9::L,;,46::,!_ _ _ __::c658=·=29'-l
.XX-XXXXXXX   ASSOCATED PAlliOLOGY CONSULTANTS            ----------,======~---------:-----+!0t1CAG0,1t60677
                                                                         \2634 SOLUTIONS CENTER                                                                                                                1~~M•-----'s,,.60=•==.22=;-;_ _,,s.,,,609=.22::,!_ _ ~•o=s.=29c,!_ _ _ _~6S6=.22=-1
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XX-XXXXXXX
                  CHILORENS HEALTHCARE ASSOCATES PC
                  ADVANTAGE PHYS'ICIANS PC
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                                                                                          12835 NSHEFFIELDAVE

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                                                     Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 49 of 266 PageID #:11145




                                                                                                         AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                       488.401       652.46
                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                    20,044.621       650.77
XX-XXXXXXX                                                                                                                          !DEERAELD IL 60015-5263         12,695.00!    11.452.91~                         S,89035,        650.76
XX-XXXXXXX                                                            !4600 LINTON BLVD STE 1DO                                     ;DELRAY BEACH, Ft33445          31,646.09!     s.srosst         S,560.95!                -l      650.58
23-23D6491       !wt:WNGTON REGIONAL MED                              IPO BOX 100704                                                lAllANTA. GA 30384               7,070.0D!'    7,023.00~                         1,490.SZ!       647.24
XX-XXXXXXX       !LOWELL GENERAL HOSPrTAL                             j295 VARUM AVE                                                ]LOWELL, MA01854                11.046.001    13,686.92(                          B,16L62!       646.40
XX-XXXXXXX       GRAND STRAND MEDICAL CENTER                          /PO BOX 402724                               !                jATIA.NTA, GA 30384-2724         9,335.10!     7,70L46t                          2,195.41        644.15
                                                                                                                                    1                                                      l
XX-XXXXXXX       !New JERSEY UROLOGY LLC                              j1S15 BROAC STREET                           isresuo              eLOOMFIELO, NJ 07003        11.sss.00!     7,694.00i                         2,199.00        642.86
XX-XXXXXXX       !NOVAS DOHR ANO COLL OB-GYN                          600 HART RD                                                   )BARRfNGTON, ll 60010            8,135.00i     1,042.ssl                         1,565.25/       640.80
20-0BS1062       ;MIDWEST DIVISION - RBH U.C                          17065571HWY                                                   leeLTON, MO 64012-2165          10,137.tll     S,676.78}                           200.00,       640.73
XX-XXXXXXX       BRYAN MEDICAL CENTER                                 :PO BOX 82557                                                 ·UNCCLN, NE 68501-2557           6,117.091     6,117.091'                          665.B0
                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                     637.75
XX-XXXXXXX       ltoNG ISlAND OIGSTJVE DISEASE                        j3400 NESCONSET HWY STE 101                                   \EASTSETAUkET, NY, 11733         5,900.00;     5,69:Z.OO!                          245.00!       637.24
                                                                                                                                                                                                                              1
59,.3370576      !PHYSICIANS SURGICAL NElWORK                         10l0WOAKST                                                    KtSSIMMEE, FL 34741             12.545.001     6,856.10!                         I.41G.90        637.03
XX-XXXXXXX       iuLSTER HOME HEAi.TH SERVICES INC                    918 ULSTER AVE                                                IKINGSTON, NY U401•1344          6,400.ool     5,436.oa!        5,436.08                 _J      635.97
13,.2693549      iPECIATRICASSOCATES OF NYC PC                        JPO BOX 28S41                                                 \NEW YORK, NY, 10087             6,703.00]     5,753.81:
                                                                                                                                                                                            '                          32s.1sl       635.03
XX-XXXXXXX       .CONNECTICUT CHILD RENS MEDICAL CENTER               PO BOX 418779                                                 ieosrON, M-;;2241                6,535,40j     5,487.571        5,411.99           240.661       633.15
XX-XXXXXXX       iMCl HEALTHCARE L1.C                                 PO BOX 717                                                    CANAAN, er 06018                46,290.ool    12,279.19! - - .,_ 5,404.55       __...,....1      63228
XX-XXXXXXX       haPSBAv ENDOSCOPY CENTER u~ .....                    1535 2ND AVENUE                                               NEW YORK, NY 10016-8275          9,400.00:     7,904.00l                         2,,506.801      631.42
                                                                                                                                    I
06--1592173      !CONNECTICUT SURGERY CENT                            !81 GIU.ETT STREET                                            !HARTrORD, er 0610S-2630        10,062.DO!     6,912.591'                        1,517.641       631.16
13--3396180      iRYC ORTHOPAEDICS PC                                 iP080X941                                                     ITHACA. NY 14851-0941            9,340.001     8,271.251                         2,,895.92       6:zs.s&
XX-XXXXXXX       !SURGERY CENTER OF ROME LP                           !PO BOX 743982                                                ATlANTA. GA 30374-3982          13,136.00i    10.sos.eoi        S,36S.20j        5,143.60!       6"1:l.fil

5f:rl191387      iAMERICAN ANESTHESIOLOGY OF NC                       jpa BOX 535395                                                IA'II.ANTA. GA 30353-5395        7,697.00:     6,76L431         5,355.67'        1,405.76.       626.56
59--1764486      ILAWNWOOD REG MED CENTER                             PO BOX402781                                                  AnANTA. GA 30384                 8,871.00!     5,715.00!        5,315.00           400.00!       621.80
                                                                                                                                                                                                                             !
XX-XXXXXXX       HCA HEALTH SERVICES OF NEW HAMPSHIRE INC             lPO BOX 402894                                                iAllANTA.GA30384                 6,727.95!     6,163.20j        5,310.201          853.00i       621.24
                                                                                                                                                                                            !
XX-XXXXXXX       ELMHURST OUTPATIENT SURGERY CENTER                   POBOX46S2                                                     !CAROL STREAM, IL 60122--4652    7,078.62'.    7,078.62:        s,304.s1!        1.774.111       620.57
                                                                                                                                                                              I
XX-XXXXXXX       jSELECfMEDICAL REHA81UTATION OJNICS INC              !PO BOX 643407                                                Pms&URGH, PA 15264-3407          6,798.00;     5,30L94[         5,301.94                 -1      620.27

XX-XXXXXXX       !CARIUON TAZEWELL COM HOS                            PO BOX 826761                                                 PHILADB.PtllA, PA 19182          7.228.501     5,363.S5i        5,288.551           75.oo!       6IB.n
                                                                                                                                                                                                                             I
34--1650951      IEDGEPARK MEDICAL RGH ENTERPRISES INC DBA            'l810SUMMIT COMMERCE PARK                                                                      9,321.131     6,918.0.21       5,265.56 1       1.652.46'       616.02
. 7-4755178      !GI PARTNERS OF ILUNO!S LLC                          l212os RIVER RD                              !STE 130                                          8,966.86'.    6.296.78!        5,262.18         1,.034.60!      615.62

XX-XXXXXXX       !ME:D-SURG PROVIDERS AT OIILDRENS                    !PO BOX 102709                              !                 ,ATLANTA,. GA, 30368            10.859.00/     S,666.35)        5,239.15(          427.20j       6U.93

      5773       lMOBILf MEDiCALSf:RVICfSPC                           2800 MARCUS AVE                                               iLAKESUCCESS, N'( 11042          9,950.02
                                                                                                                                                                              1
                                                                                                                                                                                   S,646.DD!        5,232.95    '      413.061       612.20
XX-XXXXXXX       ICARouNAS REHABILITATION                             P080X60099                                                    OiARI.OTTE, NC28260              8,786.9&1     6,408.99!        5,220.85!        1,695.02!       610.79

XX-XXXXXXX       MIDWEST VASCUtAR CENTER SC                           1DEPARTMENT4409                                               CAROLSTREAM, IL60122-4409       10,436.47\    10,436.47!        S,208.95!        5,221.s2!       609.39

33--1032321      !SOMERS ORTHOPAEDIC SURGERY & SPORTS                 ]664STONELBGHAVE                             jSTE300          !CARMEL. NY', 10512             21.9ss.oo!     6,686.241'       5,18l.56l   '    1,516.80;       606.19

45-0503Ul        !teNTERPOINT MEDICAL CENTER                          j DBA CENTERPOINT MEDICAL CENTER             !Po BOX 409786   [AllANTA, GA 30384-9786          5,181.00;     5,181.00i        5,18LOO                  _[      606.13
XX-XXXXXXX
                 !
                 llHE OiRISTHOSP SPl!-!~-~RG CTR                      !P.O. BOX 702978                                              '
                                                                                                                                    '£1NCNNATI, OH 45270            10,354.ool     8,593.82i        5,176.991        3,416.83\
                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                     605.66
XX-XXXXXXX       jGRIFFIN HOSPITAL                                    !POBOX337                                                     !oERBY,CT06418                   8,154.SDf'    5,575.701        5,175.7D ...r      100.ool       605.51
XX-XXXXXXX    ..... 1auesr DIAGNOSTICS                                l13001 COLLECTION CENTER DRIVE                                IOIICAGO._ IL 60693             80,U6.D2:     24,6Sl.07i        S,175.64j       3(1,795.67!      605.50

XX-XXXXXXX       1NORTHERN IWNOIS FOOT AND ANKL                       l11.3WMAINST                                                  'lCARY. IL60013                 111.so.oo;     5.17054! '       5,170.54
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                                                                                                    AEU INTERIM DISTRIBUTION




~~!!~!!!!~"l~!t-
~gl,2Et_       !NoRntSHaRE UJ HEALTHSYSTEM LAB                     iP. o. eox4ts974                                         lsosrON. MA 02241-5974                s.424Asl               s,94124(      s,156.11 t
                                                                                                                                                                                                                     ~~~~
                                                                                                                                                                                                                        1,296.1a1        &03.21
                                                                                                                                                                                                                I
XX-XXXXXXX     !RIOIARD F FORMICA PHO                              j73MORRISAVENUE                                          !HAWORTH, NJ 07641                    6,600.00!             6,l25.00!      5,155.941        U69.06j          603.19
                                                                                                                            I
XX-XXXXXXX     !MICHAEL A WERNER MD FACS                               375 • WESTC"IESI'ER AVE G3                           IPUROiASS, NY 10s_n-zs1a             14,946.00)              6~!?:_~~      S,138.13j        1,665.99;        601.11
XX-XXXXXXX     'UffWATCH SERVICES INC                              110255 WHIGGINS Rom 100                                  !ROSEMONT, IL 60018                   9,750.00;'             S,3.5S..84f   5,135.00i          220-84!        600.74
XX-XXXXXXX     ilSl.AND ENDOSCOPY CENTER UC                        i1175 MDNTAUK HIGHWAY SUITE 1                            !wESTlSUP, NY 11795-4939              s,soo.oo!              5,950.00: '   5,130.001          82D.ooi        600.16
XX-XXXXXXX     !EMERGENCY PROF SVCS INC                            [PO BOX 634704                                            jONONNATI. OH,45263                  8.471.00;              5,369.70!     5,128.90)'       1,401.801        600.03
XX-XXXXXXX
               I
               'PARIClANO HEALTH CENTER                            I   PO BOX 957683                                        !SA.INT LOUIS, MO 63195               6,8S8.90i         • --- 5,377.39f    5,127.391          zso.oof        599.BS
46-0S43230     jlMW HEALTHCARE INC                                 [365 MONTAUK AVENUE                                      !NEW LONDON, CT 06320                1.9,D3S.D3l           1D,862.291      s,120.ooJ        5.347.soi        598.99
06-0&37726     !oRTHOPEDIC ASSOOATES OF HARTFORD                   j PO BOX 230415                                          !HARTFORD, CT 06123-0416             40,324.00:             5,107.821      5,107.821        l,474A3          597.56
XX-XXXXXXX     iARIMEDICALPC                                           244 FlfTH AVENUE                       lm251s         NEW YORK, NY 10001-7604              s.100.00!             S,100.00i      s.100.ool                     i   596.65
                                                                                                                                                                                                                                I
4~2656846      !PREMIER MEDICALAUIANCE lLC                             466 OLD HOOK ROAD                      15urre101      EMERSON, Nl 07630                   11,587.96!              6,383.11:     5,093.531        1.289.SBi        595.89
XX-XXXXXXX     iSolara MedlralSupplies                                 2084 OTAYLAKES RD STE.102              !             IOluLA VISTA, CA g1913-,1368          5,088.001             5,088.00:      5,oss.ool                .!       S95.25
47-2361.569    loRTHOPEDICSRHOOE istANo INC                            PO SOX B4S029                          '             '
                                                                                                                            !BOSTON,. MA 02284                   11,110.ool             8,469.54!      5,078.17!        4,763.J.7        594.10
XX-XXXXXXX     !ADVANCED JOINT SURGERY SPECAUSTS U.C               tPOBOK931324                               !             !ATIANTA.GA31193--1324           I    5,078.00!             5,078.00:      5,o,..ool                -i       594.0S

!..~~-967162   lsuRGJ-CENTER oF CENTRAL VIRGINIA                   l1soo oixoN sr                             I             iFREOERICkSBURG, VA 22401-72l9   i    s,385.ool             S,073.38j      5,073.381                         593.53
XX-XXXXXXX     )WESTOiESfER HEALTH ASSOCIATES PUC                  \60 GOLDENSBRIDGE ROAD
                                                                   I
                                                                                                              !             !KATONAH, NY 10S36               :   15,293.00:              6,024.12!     5,070.32,
                                                                                                                                                                                                                I
                                                                                                                                                                                                                         9S3.soi         593.lB
27-4S94813     !MIDTOWN A.NESl11ESIA GROUP LLC                     !4600 LINTON BLVD SUITE 100                              !DELRAY BEAOI, Fl 33445              10,560.00'.            8,448.00i  '   5,068.801       3,379.20          593.00
XX-XXXXXXX     loouGLAS HOSPITAi.                                  IPO BOX 406158                             I              ATtANTA. GA. 3038,4.6158             8,868.961             5,738.15[  '   5,057.351          878.17!    '   591.66

ll-310U47      loRRGGERONEMUSMO PC                                     317 E 34TH ST RM 201                   !             ,NEW YORK., NY, 10016                13,659.961            10,299.7S!      5,057.11!        5,242.SBI        S91.64

XX-XXXXXXX     ICARDIOLOGY PHYSZCAN5 OF FAIRFIELD                  !PO BOX 19013                             !               BELFAST, ME 04915                    9,017..00/            G,&37.ssi      5,049.34i       Z.250.53/     '   590.72
XX-XXXXXXX     IRIJTH EU2ABETH ICESSlER MORRELL MD                     120 EAST75STREET                       !             ,NEW YORK, NY 10021-3240              6,230.ool             s,401.osi      5,049.os!         358.ool         590.69

04-339745D     IHARVARD VANGUARD MEDICAL ASSOCA.TES                    PO BOX 370083                                        !BOSTON, MA. 02241                    9,013.001             6,654.83\      5,047.69!       1,602.14          S90.53

45-4n2000      !GRASSY WATERS INPATIENTSERV1CES                        POBOX37868                             i             IPHllADELPHlA,. PA 19101-7868         9,997.ooi             5,040.90\      5,040.901       3,956.401         589.73

XX-XXXXXXX     1ASSOCATION FOR WOMENS HEALTH                           POBOX.1008                             i              NORTHBROOK. IL 6006~1008            12,328.00i     ... ······'0,391.48!   5,039.oo!,.     6,579.48 1        589.51

XX-XXXXXXX .., __ ]WOMENS HEALTHCARE IMAGING CORP                  !1896 MORAIS AVENUE                        I              UNION, NJ 07083                     14,300.00[..           7,466.251      5,037.SOf     ____ _;42B.7S       589.34

;~7736         [METHODIST MOQNNEV HOSPITAL                             PO BOX 678626                          I              DAU.AS. TIC 752678626               19,157.00;             5,036.00!      5,036.00!                         589.16


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XX-XXXXXXX     IREHABQJNICSSPTINC
                                                                   IPOBOX53S77S
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                                                                                                                            ,A.TlANTA, GA 30353

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                                                                                                                                                                                                                                         587.48

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UNKNOWN        i1HC-UBERTt'VlllE EMERGENCY' PHYSICANS              IPOBOX63814                                              IPHOENIX. AZ, 85082                   9,674.00'              6,028.961     5,006.411        1,022.SS!        585.70

XX-XXXXXXX     !sroNY BROOK RAOIOLOGY                                  PO BOX 419035                                        iBOSrON, MA. 02241                    8,702.00!              6,509.SS\     5,006.09!        2,058.661        585.66

XX-XXXXXXX
               I
               fASPIRU5 WAUSAU HOSP-MEDEVAC                        '!333 PtNE RIDGE BLVO                      I              WAUSAU, WI 544014120                26,Bto.oo[            25,469.S0l      5,000.DOi      20,469.50          584.95

XX-XXXXXXX     )ASPEN ANESTHES,A.                                  iPOBOX4781                                 I             iOAK BROOK IL 60522-4781              8,411.00!              6.883.001     4,996.04!        , .......1       584.49

~2091369       !C:iREAT lAKei ORTHOPAEDICS                             PO BOX 15223                                         ieELFA.ST, ME 04915-4047              5,158.00j             4,9n.01~       4.972.011                         581.68

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4&-3095174
               !GWINNETTSURGICALASSOCIATES

               !EXACT SCENCES LAB
                                                                   )631 PR~ONAL DR
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                                                                                                                             LAWRENCEVILLE. GA 30046-3371

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~!!::~7399     '!OHIO HEAi.TH SLEEP SERVICE                        fPOBOX73058                                              l~VELAND, CH 44193--0002.             5,431.42)             5,431.421      4,950.761          480.66!        579.l!l

XX-XXXXXXX     !AWED ANES ASSOC PC                                 jP080Xl123                                               !JACKSON Ml49204-ll23                 &,97s.oo!              s,l3a.oo;     4.934.oo!          1!16.oo!       sn.Z3

                                                                                                            EXHt8/T2

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                                                         Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 51 of 266 PageID #:11147




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                 !AccetERATEDREHABIUTATION

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 XX-XXXXXXX      IRAPPAHANNOCK GENERAL HOSP                                          :pa sax 14410s
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                                                                                                                                             - - - - - ! 'A"'RA="'"'A..,_GA=3=03=84-4=1=0=-•-----+---"''.BB=1.c:c13~:____s,.,29=3.,e03c;.l__
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 XX-XXXXXXX      !HINSDALE ORTHOPAEDIC ASSOCtATES                                    'PO BOX 5461                                                          !CAROLSTitEAM, !~ 60197    I 21,832.00 8,591.351 4,893.00; 3,69835)
                                                                                                                                                                            -=~----t--==---==,.--=='!----==!-------"=ct        572.43

t-3_2-047_6_042~-,J_,u_••~•~CH~ILD=••~•~•_..,_MAR=_YCAA'-•~11~c_ _ _ _ _ _ _ _ _ _ _ _ _+1'28584=~•ETWO'-_••-•-'-----------t----+'°"~CAG=~o~.~~606=73'--------,!_ _---=,••=68=o.oo='---...=,s,;!~~~~1                                                     4,877S3]            518.ool                     570,67
F'c=.l-=2223=06c=.6e-_,JM=EDcclCA=LAccRc,,TS'-'RA=DIO"LO=GcclCAL=GccRD=U"-P-'-PC=------------- J.375 E MAIN SfSTE 12        I         i.BAVSHORE, NY, 11706   ...•!_... _.. _, __ .,,1B,021.0D! ·-·-· B,.34S.2Si                                          4,Bn.56];---•~•'°=B.7"8+-l_ _ ___,5"-70=.63=-i
XX-XXXXXXX       iOVERI.AKEHOSPrTALMEDICALCENTER                                   --!;;;~X34224                                        /                 iseArrt.E.WA98124-1224                        /           6,334.311             S,QG7.44i       4,867~'!            200.00/                     569.44

XX-XXXXXXX       STREETERVlll.EPEDtATRICSSC                                          h33EERIEST                                         lSJ'E304           OUCAG0,ll,606U                              I            6,110.00!             5,028.75!       4,863.751           182.50!                     569.01

 XX-XXXXXXX      STEPHEN A MADRY MD SC                                               ia10 BIESTERRElD RD                                jr,308            ]El.IC GROVE VIUAGE IL 60007•3311                       21,879.00;              S.50957~        4,859.13   l       650.441                      568.47

XX-XXXXXXX       auEST01A.GNOST1r:sOJN1CAL                                           )POBOX7409B6                                                         iaNONNATI.OH,4S274                                      17,574.01!              s,554.011       4.S4L90l          1,886.67!                     566•45
 XX-XXXXXXX      !LENCO DlAGNOmc lASORATORY                                          11857 86TH STREET                                                     BROOKLYN, NV 11214-3108                                16,727.001              8,393.021       4,833.101         3.559.92                      555A2
 XX-XXXXXXX      IBAYCARecuN1c UP                                                    li64 N BROADWAY                                                      !GREEN BAY, w1,54303                                      s,680.co!             c,s2s.00i       4.828.oo!                                       564.83
 ~0-1457719      FOOT ANKLE ORTHOPAEDIC5URGER                                        lc20 EAST72ND STREET1B                                                NEW YORK. NV 10021-4676                     l          20,400.00:              7,671.33{       c,s21.s2!         z943.s1f                      564.77

20-8S70015       leMSTRATEGIES, LlD                                                  iPO BOX 1021                                                          BEDFORD PARK. tL 60499-1021                 i            s,214..ooi            s,214.00!       4,821.oo!          400.oo!                      564.Dl

XX-XXXXXXX        DAYTONANESntESIA.&PAINSERV1CE                                      IPOBOX638311                                                          ONONNATI,OH45263-8311                       I            8,068.00;             6,628.00;       4,815.451         1,1112.54                     56336

,_3_1-_148_31_7_3__,_•EA~to~•~O~RTH~O~PA~ED~•cs~&~S~PO~RT5~--------------+!P~O_BO_X_634_1_4_3_ _ _ _ _ _ _ _ _ _ ___,,_----;-'0N_O_NN_A_Tl,~O_H_4_52~6~3-41~43'-----····_····+j_ _~l8~,77~3~.00=+-!---~5,09L98"i_ _.:,:,81=.4cc-"=•t-'--~·'~'.oo=+'-----'s=•=•.30=-i
35-m13537         FRANCSCAN5rFRANCStN                                                IPOsox,s1oas                                                         loETRorr,Ml48278                             I          10,833.65!              s,791.9Dj       4,809.011         (782.89)!                     562..61
XX-XXXXXXX       ,OTI'AWAREGl0NALHOSPITAL& HEALTH                                    l1100ENORR1S DR                                                      !OTTAWA. n.• 61350                           I          47,147.15 i            11.553.94j       4,808.63!        32,,69256!                     562..56
XX-XXXXXXX       !EAGLERANOIACADEMVINC                                               !115W1470S                                                           !srGEORGE,UT84770-6763                       !            6,00D.DO!             6,000.DDl       4,800.001         1,200.001                     561.55
6S--01S201s      .SARASOTAANESnlESJ0LOGtSTPA                                         !12G15TAMSAMITRAJL                                                   iSARASOTA,FL34239-22l9                       I            4,990_00]             4.m.oo!         4,779.oo!                                       5S9.10

45--3576100      !Mru:ooLOrusSEAcoASTHOSPITAL                                        iPOBOX1DDS67                                                          A.ORENCE.SC29S02                            I           6.260.oo!              s,oos.ooi       4,1ss.00l          2so.ool                      sss.64
XX-XXXXXXX       ]COMMUNITYCARENETWORKINC                                            lPOl30X84024                                                         iORCAGO,IL.60689                             I          14,664.00:              7,826.47;       4~752.92!         3,273.19!                     SS6.04
Z~S243343        INEWYORKPAINCAREPC                                                  i41FIFTHAVESTE1A/AS
                                                                                                                                                          1
                                                                                                                                                           NEWYORK,NY10003                             I           4,75D.00!              4,750.(J(,i     4,750.00!                _,                     555.70

XX-XXXXXXX       srLUKE"SCORNWALLHOSPITAL                                            hooUBOISSTREET                                                        NEWBURGH,NYl2550-4851                                  11,9ss23i               s,309.s1i       4,745.831         3.563.74]                     sss.21
SS-0696369       RMRCrTlfSANESlllESIA                                                !POBOX61004l                                                          DALLAS. TX7S261-0041                        !           5,922.00;              5,922.DOi       4,737.60\         1,184.40]                     554..25

.,•::.2-00=':::'43=2_.;l;:,AN::ESnt=:::":::IA:..:M:::ED=ICAL=G=•o=U::.P..:.PC=----------------iiro=•=o,,.x=•''""'='=-'-------------1------f'o'"•=o""""=-A::.:n,,_01t=•=s26=3-.:.,79=•=-•-----+---'s"',11tn=.oo=-'_ _ _..::••~12~s.o=oc-;!_ _•~·12=s.oo~.!+'-----+-----='53=·=13'--1
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F"~·~KN"'O"WN~--jl=-""~IVERSll\'==~H"EA-=LT::.H::.ASSO=-=OA~TES=----------------,.IPO~•~o~X780=--------------j-----t-M~D_RGA_NTO~W...;N~,wv=~26=-507~-----+-'-~12.11D.DD,~;_ _ _...,."';rr~z=·'ccc"+-1_ __,4,""71"9-=.99=iif---·~•67cc.4-=-•ccot-----=·=•2.=19=-i
 XX-XXXXXXX      !RrrASANCHEZMD
                                                                                 1POeox220059                                                            iGREATNECK.NY11021-00s9               \         1,120.001       1,uo.ool           4,716.15 1   2.403.85            55L74
31-taoss:z&      !ATHENA DIAGNOSTICS INC                                             IPo eox 277580                                                        AnANTA. GA30384-1ssc                        I           9,370.00               s.606.soi       c.1os.041         3,S!iB.46                     sso.19
7S-2613493       !TEXAS HEALTH PHYSICANS GROUP                                       !PO BOX 975341                                                        DALLAS. TIC, 75397                          I           9,005.13               S,490.BB;       4,705.751         l.357.03i                     5.50.53
UNKNOWN          TRl-mUNTY EMERGENCY PHYSIClANS LTD                                  !po sox 71709                                                        i011CAGo, 11., 60694                         l           9,049.00               5,406.351       4,703521           1az.34j                      sso.zs

XX-XXXXXXX       !MOBILEANESTHESJOLOGIS'ISOIICAGO                                    !POBOX443                                                            leEDFORDPARK,lt..60499                       I           B.447.43'              s,0,11.61!      4,102.35)          345.zsi                      550.13

59-0914n1        iASHERMEN'SCOMMUNITYHOSPrrAL                                        i33010VERSEASHWY                                                     iMARATli0N, FL33DS0-2329                     I           5,n4.26;               4,692.B3t       4,692.83 1                                      549.01

F'c=.
   ..-=1B9=764~•~_,i=-KEN=OSHA=-=EM=E=•=-GE=N=CY~P~HY::.Sl::.OA=NS~l1~-------------+fPO~•-o~x_G3_s1,_•_ _ _ _ _ _ _ _ _ _ _ _-;-----,-!•_HO_E_Nox_A2_s_so_B2~•~3B~l~•------tl _ _ _7~,163=.oo4-,_ _ _                                      . .;•=·•~•0~.s~oi,---~•·~•90=.so=+i__~1.=ss=s.=35=-/;-----===78"--!
i:•=•-=-2•=•=•33=2-a=-o•ccHTHA==™='=ci;,NSuLTANTSOF LONG ISi.AND                     ]s65 MERRICK AVE STE BON                           1----...;J=wESTBuRY, N_Y~·-='15=""~------+I                          . ~·-·_ is,9as.1xr~:----=s.s=•=•=·••=;i_ _•~·•="'=.soc=t1----°"••=•=Jl3=;!_____.=:54::.7A:::•'--I
3&-3609456       iSANDERSCOURTPED1ATR1csLTD                                          !10S1WRANDRD                                       ISTE103       iARUNGTONHEIGHTS sL,.60004  I-                               s,92a.oo~              4,954.3~l.-----•~•679_3_0,_!_ _21_s.0_0_.l_ _ _ _...;54~7.44-'-'
2&-1215570       [a.OCKTOWERPSYOIDLOGICALASSOC                                       hGolFVIEWROAO                                       STI:4            !1..AJCeZURlot,11.,~;~1210                               6,480.00:              s.647.sol       4.67250!           91s.oo!                      546.64


                                                                                                                                      EXHIBIT2

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                                                Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 52 of 266 PageID #:11148




                                                                                                                                       AEU INTERIM DISTRIBUllON



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XX-XXXXXXX    /ILUNOISEMERGENCYMEOICINE                                          ----f/P_:0;.:SO,:Xe.71=40::2_ _ _ _ _ _ _ _ _ _ _ _-j·-----'!=jOil=CAGO=•""IL:.:&06=94;:__ _ _ _ _ _-+--"16:,:.0:,:36e,.OOC!;,i_ _ _.:s,,_.776.51=::.',--=='-f---'=~>-
                                                                                                                                                                                                                                  4670.17(      1.338.32/                  '                          546.JG
34-0n4357     !CH1LDRE.NSHOSPITALMEDtCALceNTEROFA1.                                         loNEPERKINSSC.UARE                                                         ;AKRON,OH4430B                          l       B.90LOO'             7,832.88!          4,666.31[             3.166.57!        545.91
XX-XXXXXXX    IBASSAM SAYEGH Mc PA                                                          !224 CHIMNEY CORNt:R LANE 102&                                             buPITER.. R334SB                               30,2os.ooi            4,65633(           4,656.331                              544.74
XX-XXXXXXX    !JACKSON GENERAL HOSPITAL                                                     !.~.c,c0~SOX=72~0~------------+i_ _ _ _ !c,Rlc,P!.EY"'-'WV"-'-'25=2=7~l-0=.7;.:2c,c0 -------f--__:6,e.,,-,:::2.90=[____.c:,4,,=89,.:c1-,:.76";;--'=='f.---="!
                                                                                                                                                                                                                                  4,647.76!          250.DO(                                          543.74
                                                                                                                                                                   7
142-0680407   lGREATRMRMEDICALCENT:,:ER,..______________                                    JPOexGG,,,s,.._______________!f-----t'!w:.:esr=•=u,,RUN=GTO=N,_.IA=52:.:65=5=------+---'•::,••:::•,os.o,,.,o'i-:_ _ _..:•:o•63:,cs."oo"',-l----'=""'!----
                                                                                                                                                                                                                                          4,638.ooi                                                   542.60
XX-XXXXXXX     MICHAELFAUST                                                                 [345 EAST 37TH STREETsulTE 313                   lNEW YORK. NY 10016-3256                           s,37s.oo!           s,154.69]             4,620.69i 489.ooi                                           54057
20-54ss3sa     VERACYTE 1NcAusnN                                                            j6000 SHOREllNE crsuITE 100                             J                  jsount   SAN FRANasco, CA 94080-7605            s,400.00~            6,0BO.oo;           •.•ouoL....          1,475.601        538.67

F'=..-=-"c,42:e883=---+·=•=DN,::A;c;RccAN=O=-D=E::M""ERSSle==MAN=----------------+''"V""80=Co=unt,y='-'a="="=-"'c..·----------.ISU_IT_E_l0_3_ _T:RAN_CH_O_Mt_RA_GE~._CA_9_22_70_ _ _ _ _➔i __~7.250_.0~0..,!_ _ _ _.~...
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                                                                                                                                                                                                                             4.S99.23i 297.35/                                                        538.06
 ~2410822       suNSHINEOOCTORSGRouPu.c                                          POBOX7331.54                                        l          !DAU.AS. TX75373-3154                           6,806.ool          4,644.soi 4.594.soi  so.00 1                                                       537.SS
u-3270992     loRUN AND COHEN ORTI-IOPEDtcASSOCATES uP                                      l112s SUNRISE HWY                                                          iMERRICK. NY', 11566                            9,202.00)            s,797.89!          ........ 1            1,206.431        537.15
XX-XXXXXXX    !TRUSTEES OF COLUMBIA UNrvERSITY IN                                           !PO eox 26947                                                              lNew YORK, NY, 10087                            6.Szo.ooi            6,185.23;          4,577.511             1,607.72!        535.52
XX-XXXXXXX    iARMONIC PHYSICAL ntERAP'i AND SPORTS                                         !357 MAIN STREET                                                           lARMONI(, rff 20504                     !       7,395.00:            6,351.50!          4,570.251            (1,424.75) i      534.67
XX-XXXXXXX    !FRoEDTERT PHYS PARTNERS                                                      !Po eox 78600                                                              iMtLWAUKEE, w1, s3278                   I      14,748.00f            s.sss31!           4,564.201             5,412.42!        533.97
o,3.,03ag~z    OIIRAGSHAH                                                                   29999RJNCETONPOO:                                                          lLAwRENCEVIUE,.NJD8648-9997                     4,650.oo:            4.,558.62!         4,558.62)                     -l       533.31
39-1)89197     CHII.ORENSMEDICALGROUP                                                       POBOX78841                                                                 iMlLWAUKEEWIS3278-8841                          6.567.ool            4,57L7Sj           4,546.751               174351         531.92
XX-XXXXXXX     DENVlll.ESURGERY CENTER                                                      3130 ROUTE 10   w                                                          !DENVll.1.E. NJ 01834                           6,760.ool            s,010.00!          4,530.861               539.14!        530.07
XX-XXXXXXX     NEW BEGINNINGS W:                                                            , 193 MOUNTAIN AVE                                                         lsPRINGRELD, NJ 07081                           5.240.0D]            4,940.00!          4.524.431               415.S7!        529.31
22-1ns30s      UNIVERSrTY HOSPITAL                                                          PO eox :3009                                                               INEWARK. NJ 0,103                               s,154.00!            s,154.00!          4.521.601               632AOI         528.98

XX-XXXXXXX    lvHS CHllDRENS HOSPITAL OF MICHIGAN                                            DEPARTMENT 4012                                                           !~ROL STREAM, IL 50122                          7,641.aol            6,876.89i          •.s12.1ol             2.3E4.79!        S27.87
20-0SS0403     ROCKLAND SURGICAL PROJecn1c                                                  !soo NORTH. FRANKLIN lPKE                                                  lRAMS£Y. NJ D7~1177                             1,205.00!            4,51uol            •.sn.oo!                               527.74
XX-XXXXXXX     CCSGINC                                                                      /Poeox2604o                                                                /MACON,GA,31221                                 g,660.ooi            4,916.11l          4,507.481               BIO.SGI        S27.33
XX-XXXXXXX    ,ADAM SHAKER GEYER MD                                                         130-32 ERICSSON P1ACE 1ST FLOOR                                            !NEW YORK. NY 10013-2411                l       8,720.00l            6,12!1.64!         ......zs!             1,631.391        526.25
XX-XXXXXXX    !ST MARYS NEUROSURGa\Y UC                                                     IPO BOX 417                                                                !WHITE SULPHUR5PRINGS, WY 24986-0417            4,511.001            4,511.00i          4.496.991                14.01.j       526.10

XX-XXXXXXX    lsoN SECOURS COMMUNllY HOSPITAL                                               ·PO aox 4Q4ag                                                              IATIANTA. GA 303844299                         13,954.30:           10,465.73!          4,486.Zll             5,979.szi        S24.84

12~-•~'"~'=""=o,..__-fA~CCU=RA~Jf=Dl~A=GN~OSTI=C~lA=•~·•=c_ _ _ _ _ _ _ _ _ _ _ _ _ _       r•~ooo=HADI.EY~~·-"-------------t----➔'SOuntPlAINFJElD.NJ07080                                                            10,su.oo'.            4,529.631          4,476.111                soszl         523.66
p46-4=50e,5e,72"'5'---!AMS=e,,U,e,RGe;Sl'.c,AM=F:,e0e,RD<,AN'.'!!=EST=HEe,SIA=LL,:C_ _ _ _ _ _ _ _ _ _ _ _-4'lp:.,Oc.,80,cX"'30=S2:::SO:c__ _ _ _ _ _ _ _ _ _ _+----"F-~==O!•.!'TN::.c3:c,7.e,230-=5,,,25:,:D_ _ _ _ _f----'6",804=.00e:L! _ _ __,,,6
                                                                                                                                                                                                                                                  -~           4A75.94l                610.74!        523.64

XX-XXXXXXX    !GASTROENTEROLOGY ASSOOATES OF FAIRFIELD                                      !425 POST ROAD                                                             !FAIRFIELD, CT06824-6232                        6,89Lool             ~                  4,467.E4)               156.19!        522.67

1s-2SG2111 _ .. IR0CK HIU.SURGERYCENTER LP                                                  !PO eox 3212                                                               IRoCK Hill. SC. 29732                           s,513.ooj            5,573.00~          4,458.401             1.U4.60j         521.59
30-00023D7     SHAHID 5 llAHI MD                                                            122285 N PEPPER RDSUITE 303                                                1we BARRINGTON,         IL 60010-2538           7,()71.0Di           4,4S3.90l          4,453.90!                              S21.06
XX-XXXXXXX     STEVE 1C1C-1UL LEE                                                           p0 BOX 29234                                                               iNEW YORK. NY 10087--9234                      11,806.ool            s,560.soi          4,448.401             l.797-101        520.42
21-e1sw34     iHACKENSACK PATHOLOGY ASSOOATES u.c                                           PO BOX 95000-4105                                                          !PHllADELPHIA. PA 1919S                         4,818.ool            4,443.00!          ....,.ool                     -1       S19.73
XX-XXXXXXX     OIANA EGELBFISH MO                                                           -2S02AVENUE I                                                              !BROOKLYN, NY 11210                             6.318.001            5,038.lOi          4,441.631
                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                       596.471'       S19.63
XX-XXXXXXX    iSEAAElD SERVICES INC                                                         j7 SEAFIELO LANE                                                           iWHB. NY 11978-2714                            15,025.DD!            7,29S.3Di          4.430.70i             Z,864.60\        518.35
ss-2-s26191   /GEO«GIAINPATIENTMEDASSOc                                                      POBDX96368                                                                lcKLAHOMACJTY.oK. 73143                 l       s.000..00!           4~430.02i          4,.430.02/                             518.27
36-2S7949t    lau1NTOTIESRAD1ATIONONCOLOG                                                    POBOX74                                                                   IM0UNE,1Ls1266                                  4,86LDol             4,423.51'.         4,423.Sli                     -l       517.51
?.~.!~22542    ATLANTA woMENs HEAL'JN GROUP PC                                              ls1soPEACKTREE DUNwoooY RD                              !m300~__
                                                                                                                                                    1
                                                                                                                                                                       !,__AT1ANT==A.~GA.=•~034~2~------~-------!•3ss.oo:
                                                                                                                                                                                                       1
                                                                                                                                                                                                                                            4,73S.24t          4,420.96:               285.481        517.21
XX-XXXXXXX    !MSKHARRISON                                                                  [POeox26611                                                                !NEWYORK.NY10087-6611            1,        s.110.ooi                 s,41z.so)          4,410.081             l,062A2!         515.94

               =-;!Co=••::.:C::;hl:::l•:::"'c:.:"'.e.'..,=":::'°':c'.:=Cene='----------------flso=1SEV=ENTH=-"A-"llE-=N-"u""E___________+ ____jf'FO=•:.:.r-"w"'o""R1H=·rx=1•~1=-04~-----+----'"'·40-=•=·"°c=.;..j- - - ~ 4 ~ . s o !
1''=-s-==•os=,...                                                                                                                                                                                                                                              4,409.90!                              515.91
46--4839214   !METROPOLITAN ANESTHESIOLOGY ASS                                               130 W. PLEASANT AVE STE 334                                               !MAYWOOD. NJ 07607                              4,400.00:            4.400.00~          4,400.oo!                     _\       514.76


                                                                                                                                                  EXHIB/T2

                                                                                                                                                        :,g
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                                                                                                                                       AEU INTERIM DISTRIBUTION




       XX-XXXXXXX    !wASHINGTON ORTHOPAEDICS AND SPOR15                                       (5454 WISCONSIN AVE                                 lSTE 1000       . !0tEVY otASE, MD, 20815                      4,52650:              4.526.Si.   4,394.sol         132.001            s14.n
       XX-XXXXXXX    !ST VINCENTS MULTISPECALTY GROUP                                          ~PO BOX 848529                                                       !BOSTON, MA 02284                    l        a.010.s1;             s,122.s1:   4,384.91!       1.845.10!            s12.99
       XX-XXXXXXX    !ISLAND GASTROcNTEROLOGY                                                  11111 MONTAUK HWY FLR3 STE 1                                          WESTJSUP,NY11795                     j      10,135.62)             5,286.431   4,383.51!         902.92j            512.83
       XX-XXXXXXX    i CPC ASSOOAiES INC                                                       !POBOX318B                                                           !wATERBURY:£f1   ,_..,_os_____----'!         1uis.ool               6,006.ssl   4,381.88 !      1,0is.ooj            512.64
       42•1543617    !MMCOFNEVACAUC                     --------t======~---------;j~:
                                                                  j1299 BERTHA HOWE AVE        . . ...-..-... ·-·--·!MESQ~U~ITE,~N~V~B9~02~7,__ _ _ _ _-!f_'··__c,7•:c27,ccD.::;2B'+'._ _ _ _.;:;•'=25.=6==•,.l_ _;,4c,.37"5"'.6B";!-,_ __,3c:50=.DD:::;.!_ _ _ __,Sc,_llo,.9c,lcj
       XX-XXXXXXX       =========--------------t=====------------.
                     ltudlowe Center for Health & Rehab           !11a Jefferson Street . l, ..-·----+IFA~•~RA=E=LD"-.cr=•~68=25=-------+'---•"'·84D=.ooc=;-'._ _ __:•e:.35:::liD=Dt-i_ _;,4.eo35:::6,::.oo:ql_ _ _ _.c-',-,-----=':::""o,•61~
       XX-XXXXXXX    iYATIN MSHAHMDSC                                                           2025 S OtlCAGO ST                                                   !10uET,JL60436                                4,463.oo!             c,3ss.00!   4,3Ss.oo!         1os.ooi            soo.49
       XX-XXXXXXX    leL PASO HEALTHCARE SYSTEM LTD                                            IPO BOX 409288                                                        ATLANTA.GA30l84                            105,821.901             7,805.00:   4,35t.90i       3,453.10!            509.13
       20--0642311   i~~;·~ HOME CARE SER~-;;~~O CO                                            1511 S. GARY AVE SUITE 150
                                                                                                                                                   1""
                                                                                                                                                                    !CAROL Sl'REAM, ll 60188                      s.831.96/             4,472.41~   4,344.141         us.21l             sas.22
       XX-XXXXXXX    'VASO.llAR AND INTERVENTIONA1. PROFESSIONAL                               PO BOX 71736                                                         !ouCAGO. IL 60694                             4,461.oti             4.382.25;   4,331.isi          4s.ool            s01.c1
       UNKNOWN       !tow-T PHVSICIANSSERVICE PLLC                                             PO BOX 306276                                                        INASJMLLE, TN 37230                          10,111.00.             4,908.70!   4,323.101         sss.oo!            sos.83
       XX-XXXXXXX    !81:AOIWA'f MEDICAL GROUP UC                                              2600 QUANTUM BLVD                                                    1BOYNTON BEACH, FL3342Eii            !        9,650.ool             4,321.9s(   4.llt.9s;               -1           sos.&2
       XX-XXXXXXX    IHUDSON RAD to LOGY CTR OF NJ                                             !410 CENTRE STREET                                                   [NUTlEY, NJ 07110                             s,399.971             s,399s1!    4,320.ool       1,019.911            sos.40
       XX-XXXXXXX    !KANSAS UNIVERSITY PHYSICANS                                              3901 IWNBOW BLVD                                     MAILSTOP4017    KANSASCITV,ICS,66160                          9,162.60:             5,095.34!   4,305.74)         789.GDj            503.73

            ==--1===='-------------------F====-------------!-----FM=™="'="•,.'!!',cc••==1="'=-------4---"•·=os"-7.94=,i
       ?.~;522262 IAMISUB SFH INC                      5959 PARKAVE
                                                                                                                             ____s0• ,94=6.;:,:70:;.i_ __;4,:.3,eDDe:.46:,,;l--l--!<i.646.2=o:•::;.il_ _ _ __,503=·"''''-I
       XX-XXXXXXX !BARRINGTON ANES ASSOC               POBOX7784                         iCARoLSTREAM, l.60197     s,1&0.001     s,344.ool                 4.300.00!                   1,044.00!              503.06
       XX-XXXXXXX    IMID~ESrPHYS ANES SRVCS                                                   !pa BOX 88871                                                        !MILWAUKEEWIS3288-8871                        5,852.00)             4,618.90i   4,299.Uj          319.77]            S02.96
       XX-XXXXXXX    lPRECSION OIAGNOSTICINC                                                   !PO BOX B24560                                                       PHILADELPHIA, PA 19182◄560                    6,526.34]             6,028.96;   4,298.391       1,730.57!            502.87
       S5-0477361    !BOONE COUNTY HOSPITAL                                                    701 MADlSON AVE                                                      iMADISONWV2Sl30-l669                          9,367.41/             4,69838j    4,298.38!         400.DOj            S02.87
       20-3S12079    !EMERGENCY MEOICALASSOOATION                                              ·poBOX6131                                                           IPARSIPPANY,Nl,07054                          s,341.ool             6,453.101   4,294.931       2.1ss.11/            502.46
       XX-XXXXXXX    IGOOD SAMARITAN HOSPITAL INC                                              P0BOX7638                                                            IAntENS, GA30604                              4,534.osl             4,594.osi   4,294.osl         300,001            s02.36
       06-06415704   )LAWRENCE AND MEMORIAL HOSPITALJNC                                        !365 MONTAUK AVENUE                                                  lNEWLONDON,CT06320                            7,557.49)             6,936.17!   4,289.28]       :z.n1.2&l            s01.so
       XX-XXXXXXX    !THE MEDICAL CENTER INC                                                   jpo BOX 742998                                      l                lARANTA. GA 3D374                             9,200.84!             4,913.11l   4,287.671         62s.sol            501.61
       XX-XXXXXXX    JWOMENSSPEOAI..TY CARE SC                                                 POBOX9478                                                            iBELFAST, M£ 04915                            s.341.00!             4,420.26!   4,232.nJ          131.s3J            so1.04
       XX-XXXXXXX    !GREENBRIER VALLEY MEDICAL                                                13662 COLLECTIONS CENTER                                             l011CAGO,IL6D693                              7,05S.28!             5,996.9~    4,281.91\       1,715.071            500.94
       S8-1086339    !WJWNGWAY HOSPITAL                                                        h11JONESMILLRD                                                       1srATESBOROGA30458-4750                       5,685.oo!             5,685.00;   4,281.601       l.403.401            50030
       XX-XXXXXXX    !BRUCE H YAFFE MD                                                         2D1 EA.ST 65TH STREET                                                !NEW YORIC, NY 10065                         12,896.00)             6,253.73!   4,275.99   l    2,128.21 i           500.25
       20-230S158    lTRJHEALTH G LLC                                           BOX
                                                      --------------t====--------              /pa
                                                                                      - - + - - - - - - J ! c N C N N A T I , o H , ~ • = S 2 = 6 3 ~ - - - - - + - - - - ' 1 1 = ; , r , , = · ~ o o ' + l_ _ _-'s~,.20=1,;==o~'---'•"'•2:::•L:c46"!-l__,~.D4=2.7"s,.i_ _ _ _..,c•:::••==.ss=-i
                                                                                  - -633448
       XX-XXXXXXX    iELGIN GASTROENTEROLOGY ENDOSCOP                                          162912 COLLECTION CENTER DR                                          OilCAGO, IL60693                              s,32s.ooi            4,25s.sol    4,iss.sol                            4~.zo
       XX-XXXXXXX    lsrMARYSHOSPITAL                                                          1;;   BOX 2583S                                                      SALTlAKE OTY, UT 84125                        7,097.32)             5,322.e9l   4,258.381       1.054.61\            498.19
       1.3-3498390   !SEAVIEW MBJICALANESTHESIA GROU                                           )POBOXSS07                                                           NEWYORK,NY10087                              12.,685.00i            4,255.00;   4,255.00!                            497.79
       22·2306448    jTENAFLY PEDIATIUCS PA                                                    h2 FRAN KUN ST                                                       ,TENAR.Y,NJ,07670                             7,220.00)             4,752.87t   4.253.26!         712.711            497.59
       XX-XXXXXXX    ]NORTH SHORE ASSOCIATEDS lN GYNECOLO                                      b28uNDENAVE                                                          iwll.METTE,.lL60091                          14,210.00~             7,D17.361   4,23430j        3,563.061            495.37

       XX-XXXXXXX    !CENTRAL ILUNOIS ENDOSCOPY CENTER UC                                      11001 MAIN ST STE 500B                                               lPEORIA. ILS1606-Z037                         8,466.00;             5,9s1.ool   4,233.ool      (l,398.40)!           495.22
       XX-XXXXXXX    !coNcORDE MEDICAL GROUP PLLC                                              h16E30THSTFL2                                                        iNEW YORK. NY, 10016                         10,2cs.s1i             6,911.sa:   4,231.3s)       Z.84s.ool            495.03
       65-0S12900    ISMH PHVSICAN SERVICES INC                                                1700STAMlAMITRL               --------t-----(FSA~A..FL.34,,,23=9-------+-,,--=25e,,14c,c7cc.DDcc;-\_ _ __,6'-',482.=Dc.7~~--"•.22=7.0=7,./                           2,255.00:            494.52
       XX-XXXXXXX    !1aM J ALEXANDER, MD                                                      1206 PHOEBE PL                                                       ICARtsBAD, CA 92011.3435                     38,600.oo;             4,224.sol   4,224.so\               -!           494.22
       XX-XXXXXXX    IEMPAt;f EMERGENCV PHYS uc                                                PO BOX5997                                           DEPTZ07009      CAROLSTRfAM.~.~~-7_ _ _ _ _ _..., _ _ _.=J;i.=LDD=;-;      ---~•=.2=12.0=0!;---"•.2:012=·~00,.l______j;------'·•=2=·',•
       XX-XXXXXXX    iPIE0MONT ROCICDA1.E HOSPITAL                                             i1.412 MllSTcAD AVE NE                                               CONYERS, GA30012-3877                        u.sal.661              s,573.01!   4,202.391         910.s2l            491.64


                                                                                                                                                  EXHIBIT 2

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                                                                                                            AEU INTERIM DISTRIBUTION



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                                                                                                                                                                                                                                                                    ~,,,~'),-~
                                                                                                                                                                                                                                                                                      ·z.
XX-XXXXXXX    lssM HEALTH CARE ST LOUIS                             i1344SOLUTIONS CTR                                  I              lot1CAGO IL 606n-1003
                                                                                                                                                                             ""'            10,185.30!    5,02539\         4,201.911
                                                                                                                                                                                                                                                        ~~~-~

                                                                                                                                                                                                                                                  823.481                            491-58
XX-XXXXXXX    !MORRIS AVENUE ENDOSCOPY LL C                         IPOBOX41917B                                        I              [aosroN. MA. 02241                                    6,650.oo!    4,189.cxf        .,,...ool                    -I                           490.07
ll&-0865643   loANBURYRADIOLOGICALASSOCATES
                                                                    1
                                                                     PO BOX 10068                                       I              /LANCASTER, PA,.17605                                 7,064.00:    6,201.75!        4,187.25)            2,014.50!                            489.87
XX-XXXXXXX    !RETINA CONSULTANTS LID                               12454 E 0EMPSl'ER ST                                lsuITT400      ]oes PLAINES, IL60016                                16,118.00;   4,186.30i         4,186.301              597.66[                            489.76
XX-XXXXXXX
              1
               PHVSIOANS REFERRAL SERVICE                           jPOBOX4439                                                         !Hou~~!-~' 11210                                      4,652.ooi   4,2062Si          4,18L77!  '             24.481                            489.23
UNKNOWN       hHC-SWEDtsHAMERICAN EMERGENCY                         IPO BOX 63814                                       !              lPHOENIX,AZ.,85082                                   14,412.ool    5~9_44j          4,1'9.14i            3,729.70[                            488.92
                                                                                                                                                                                                     I
4~2946918     iARMONK INTEGRATIVE MEDIC NE PLLC                     13010WESTCHESTERAVE                                 isurr,401      IPURotASE, NY 10577                                   4~~:00:     4,600.00'.        4,145.90!             454.10:                             485.03
              .--·-···-·- .
                                                                    1118 N BEDFORD RDSTE2D0                             i              IMCuNT KISCO, NY, 10549                     i
                                                                                                                                                                                                                                                                                    ..,.,.,
J.3.3196427   !NORTHEASTERN ANESTHESIA SERVICE                                                                                                                                              15.360.00!   4,944.00!         4,142.801            2,2ouo!                              484.67
XX-XXXXXXX    iHUMAN RESOURCES DEVELOPMENT GROUP                    114 EAST 60TH STREET
                                                                                                                        I
                                                                                                                        i              !NEWYORK.   N't'-;~                                   s.300.ocl   5,300.00;         ..w.ool             1,161.00!                             483.52

S2-2l65SS4    lo,o LLC                                              !PO BOX 515471                                      I              jlOS ANGELES CA 900S1-6771                            8,552.19;   5,746.061         4,121.10!           1.639.641
XX-XXXXXXX    'IPREMIER PEDIATRICS PC                               ls1 E 2STH sr Fl 3                                  I              !NEW YORK, NY, 10010                        !         5,939.00)   4,292.77!         4,117.771              607.751                            481.74

XX-XXXXXXX    IPHYStC!ANS IMMEDIATE CARE                            jPOBOX8799                                          I              'CAROLSJ'REAM, 11..801.97-8799                        9.100.ool   6,439Al!          4,113.071           3,02LOB!                              48L19

37·1848949    iAl£CTO HEALTHCARE SERVICES MARTINS FERRY             leoRH                                               !90 NORTH 4TH srlMARnNs FERRY, OH 43935                              6,980.04;    6,980.04;        4,112.871            2,867.171                            48L16

n-D46576S     !STANFORD MEDICAL CENTER                              !POBOX742136                                        I              jLQS ANGELES, CA, 9D074                               6,243.00!   4,51722!          4,107.32]            1,217.62!                            480.52

2-367         l1NTEGRATED MEDICALPROFESSIONAl.5 PLLC                1s32 BROAOHOLLOW RD STE 142                         I              IMELVltlE, NY, 11747                                 10,104.18;   6,174.701         4,lOS.77!            2,040.25!                            480.33

9!rU83919     iSAN ANTONIO REGDNALHOSPITAL                          l,o sax 840245                                                     ILos ANG~~ CA 90084-0245                             63,297.so!   8,826.SS!         4,og7.s,!           1,127.231                             479.40

2'72647227    lwoRTHY MEDICAL SUPPLY INC                            !RETURNED TO SENDER: STE 100 3675 CRESTWOOD PKWY                   !ouLUTH, GA 30096                                     4,206.48[   4,092.64!         4,092.64!                    -1                           478.BO

45,.1345486   !ROBIN BLUM MD                                        (200CENTRALPARKSSUITE 108                                          !NEW YORK,, NY 10019-1449                             6,341.ool   4,546.501.--       4,085.54i
                                                                                                                                                                                                                        ···--·-·---·-•r·· ·-· -·~· 460.961                           477-9'7

XX-XXXXXXX    bREe RIVERS HEALTH SVSTEM 1Nc                         IPO sax 72065                                                      lruveLAND. OH. 44192                                  6,494.o5i   6,023.35!         4,D80.30i           1,943.051                            •n.JS
XX-XXXXXXX    IMEMORIALGASTROENTEROLOGY GROUP                       !PD sax 26668                                                      !NEW YORK, NY, 10087                                  6,250.00[   4,076.09:         4,076.09! '                                               476.86

XX-XXXXXXX    [ASSOCIATES IN GASTROENTEROLOGY PC                    12940 N ctRQ.EDR                                    I              !coLORAOO SPRrNGS, CO 80909                           4.889!16!   4,889.96!         4,070,481             819.481                             476.21

~1667838      [CAROUNASPHYSICANS NETWORK lNC                        !PO BOX 601643                                      I              !OIARLOTTE. NC28260                         i         8,768.00;   7,415.991         4,068.081           3,501.911                             475.92

13--4008768   iMIDTOWN REPRODUCTIVE      MEDl□NE PC                 !161 MADISON AVENUE                                                INEW YORK, NY 10016-5421                              4,860.00!   4,860.oo!         4,065.oo!             795.001                             475.56

02.os64427    loAN1EL I RICHMAN MD                                  l,oaax102S                                          i              !AMAGANSETT, NY' 11!130-7025                          7,100.00;    6,770.00!        •.053.ool            2,111.ooi                            474.16

XX-XXXXXXX    !ntEOACARE REGIONAL MEDICAL                           IPoeox 2759                                                        !APPLETON, WI 54gu-21sg                               6,128.78\   4,903.02;         4,052.041             85D.98!                             474.0S

XX-XXXXXXX    !ROCKY MOUNTAIN PHYSICAL THERAPY &                    '35 MARY FISHER ORCLE                               i              !PAGOSA SPRINGS, CO 81147                             s.ssa.ool    s.ssa.ooi        4,046.401           1,511.GDi                             473.39

XX-XXXXXXX
              1
              NASSAU EMERGENCY MEDICNE PC                           i,oaoxam                                            !              jHJCKSVILLE. NY, 11802                                6,4is.ool   5,190.40(         4,040.86!           1.149.54!                             472.74

XX-XXXXXXX ...•. !JERSEY SHORE ANESTHESIOLOGY                       IPDBOX307                                           i              !NEPTUNE. NJ,On54                                     4,875.00;
                                                                                                                                                                                                     ;
                                                                                                                                                                                                         4.~~~-0;          4,026.851             670.6SJ                             4n.34

XX-XXXXXXX    !wACCAMAW COMMUNITY                                   \po BOX421718                                       I              !GEORGET~WN, SC 29442-4203                  1         9,285.49.    8,787.03;'       4,022.18!           •.164.a51                             470.SS
                                                                    ;                                                                                                              1••H
XX-XXXXXXX    )NORTH SHORE llJ OB GYN AT NEW HYDE PARK              i PO BOX 419151                                     I              iBOsrON,MA.02241                                     11,204.oo!    6,658.21i        4,022.u!             2,720.09:                            470.55
                                                                    I
11·2569S22    luNIVERSITY ASSOCIATES lN os GYN PC                   !POBOX1554                                                         lsroNY BROOK. NY. 11190                               8.UB.oo!     5,902.601        4,007.01!            2.13159)                             468.78

XX-XXXXXXX    !RESOLVE DIAGNOSTICS LLC                              j357 RIVERSIDE DR SUITE 214                                        !FRANKLIN. TN 37064-1415                             10,043.40i   4,12BA9/          4,001.131                    -i                           468.09

XX-XXXXXXX    lcoNNEcnarr GASJRo CONSULTANTS PC                     IPOBOX1Sn2                                          I              !BELFAST, ME 04915-4082                               4,000.DO:   4,000.00;         4,ooo.ooi                    -1                           467.96

XX-XXXXXXX    !WHEATON FRANOSCAN HEALTHCARE ST FRANCIS              !eox8601XJ7                                         !              IMINNEAPOLIS. MN 55486-0007                          14,541.46;    4,999.721        3,999.771              999.95j                            467.93

XX-XXXXXXX    l1ESSSAVAlAMOXHEALTH INC                              '
                                                                    115279 Alton Parkway                                lste.100       l1RV1NE. CA92618                                      3388.44(     3,988.441
                                                                                                                                                                                                                   I
                                                                                                                                                                                                                           , ....A41                    -1
                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                     466.61

XX-XXXXXXX    lceNTRAL MAINE MEDICAL CENTER                         [300 MAIN STREET                                                   ILEWISION, ME 04240-7027                             12,299.73:   10,33552:         3.9ss.s2!           6,3SD.001                             466-27

XX-XXXXXXX    !GYNECOLOGICAL CANCER INSTITUTE                       IPOBOX802
                                                                                                                                       I
                                                                                                                                       !OAK LAWN, IL 60454                                   7.334.oo!             '
                                                                                                                                                                                                          3,983.76'.       3,983.76j                    ~!                           466.06

XX-XXXXXXX    !ADAIR COUNTY MEMOA1Al HOSPITAL                       !609SEKENTST                                                       !GREENAELO, IA 50849-9454                             S,018.74;    5,018.74'.       3,976.99:            l.D31.7Si                            46527
                                                                    I                                                                                                                                                                                    I
XX-XXXXXXX    !SAINT BARNABAS OUTPATIEN                             !PO BOX 28268                                                      INEWYORX. NY 10087-8268                               8 861.00:    S.370.00i        3 976.BOi            l.349.20i                            465.25


                                                                                                                       EXHIBITZ


                                                                                                                            31
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                                                                                                                                  AEU INTERIM DISTRIBUTION



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                                                                                                                                                           lsosrON,MA02241                                         u,997.93i               s,792.901         3,975.aal          4,Bnnl                   465.14
XX-XXXXXXX    jSOUTH GEORGIA EMERGENCY MEDICINE                                                   POBOX11755                                  I            [C>AYTONA B£ACH. FL 32120                               15,256.001              3,975.0l[         3,975.011          3,579.301                465.04
XX-XXXXXXX    !VAIL-SUMMIT ORTHOPAEDICS PC                                                    [PO BOX3199                                     I            tGRAND JUNCTION, co 81.502-3199                         13,209.00t             12,891.131         3,970.53   !       8,875.601                464.51
XX-XXXXXXX        HEALTHCARE ASSOOATES IN MEDICINE, =-------·----.,======----------~l----~IFg~~~~=~~LAN=~~~~l~M=~~-----1----'"=··=~=~=-~·----=~~7~=•~1f,-_.~~=~~~==r,--~~~~=3~3l
                                                    PC                        \2535 ARTHUR KILL RD                                                                              _ _ _ __=:462.97=~
XX-XXXXXXX    ITEDMLUMMD                                                                      12825 BURNET AVE                                             iON□NNATI, OH 45219-2426                                 3,943.00(              3,943.0D~         3,943.00                                    461.29
n-0soo102     .COMPREHENSIVE CARDIOVASCULAR                                                   !5945 lRUXTIJN A\lc                                          IBAlERSFIELD. CA. 93309                                  8,880.00i              5,076.39\         3,940.7Si          1,179.9Si                46L03
XX-XXXXXXX    !otlCAGO PEDIATRIC O.INIC                                                           1916 W IRV1NG PARK RD                       i            ]OIICAGO, IL60613-2408                                   5,733.00!              3.930.05;         3,930.osl                 J                 459.78

XX-XXXXXXX    !WATERTOWN FAMILY PRACTICE                                                          127 HOSPITAL OR                                          iwATERTOWN,'Y.~~53=098=-------ll_ ___,,•.e::os=2.0=0:,:_ _ __.c,••=980=·=1Xl=..!--'•"••:::2"::;-75:::;._ _::,2.D::2"'7.25""+d_ _ _ __:•c,so,,,.:.:1•:.i
              I
XX-XXXXXXX    'DELTAANETHESlAPC                                                               lPOaox148                                                    j1AURa.,NY11948                                          4,900.00;              3,920.001         3,918.91 1             L09!                 458.47
31-1466llS        OSU NEUROSCIENCE CENTER UC                                                  )100 ACKERMAN RD                                             !cowMBUS,OH43202                                         4,717.00:              3,917.03i         3,917.03                  J                 4S8.25
XX-XXXXXXX    !AURORA MEDlCAl. CENTER OF OSHKOSH                                              -PO BOX 343918                                               iMILWAUKEI:,. WI 53234-3918                              4,604.08;              4,.316.ssl        3,916.SS!           400.DO!                 458.20

36-3S4S085    !HINES & ASSOCATES, INC                                                             PO BOX0327                                               leLGIN,a.60u1-0321                                       s,.308.SSj             3,913.10i        3,913.10!             562.50;                4S7.79
OG-1211m          COTTAGE GROVE CARDIOLOGY, P.C.                                                  711 COTTAGE GROVE ROAD                      I            !BL00MFIELD.cr06002-3060                                 3,910.001              3,910.ooi        3,910.ooi                  -l                457.43

11·2232585        ISIAND SURGICAL AND VASCULAR GR                                                 1S PARK AVENUE                             !             !BAYSHCRE, NY 117067381                       !         23,7S0.00~              S,269.771        3,908.77;           1,.36L001                457.29

:!?-0933538       INOIANA ORTHOPAEDIC HOSPITAL LLC                                                POBOXG018                                  I             l1No1ANAPOUS, IN 46206                                  12,948.u!               4,654.S&f        3,900.ss!            754.011                 456.36
06-QB848S7    ,CONNECTICUT DERMATOLOGY GROUP PC                                 POBOX4197
                                                              -----------t===--'- - - - - - - - - - - - ; - - - - - 1 ~ , W ~ O B ~ U = R N . = MA,=DcolB:::88~------i---'13""'"'495=·=00=ci_ _ _.=U.=,082=.82=tj--'3",89"'8:::.0S=f---7:.<•1B4=·:.:74:;.!_ _ _ __;45i=.D4:::.i
27-o5n733     !0tR!ST HOSPITAL MEDICAL                                                        !z37 WlWAM HOWAROTAFT                                        IONoNNA~: OH 45219                                       s,ssg.oo!              4,702.94i        3,882.42              4s.46!                 454.20
                                                                                              it027S Lm1.E PATUXENT PKWY                      lm300
XX-XXXXXXX

XX-XXXXXXX
              !AMERICAN NEUROMONITORING ASSOCATES
              !ASSOCIATED PEDIATRIC PARTNERS SC                                               !POSOX8552
                                                                                                                           --------i                       !ccwMBIAMD 21044-3445
                                                                                                                                                           !BELFAST. ME 049J.S.SSS2
                                                                                                                                                                                                                    9,56s~; _ _ _ _•~•rn=•-~oo+!--'3",n~s=~+--2.2=n-".=12s-!,_ _ _ _ _4""53"'~"'-l
                                                                                                                                                                                                                    s,039.ool              4,128.9sf        3,872.75             11s.ool                 453.D7

3S.2163791    lA1HLETIC & THERA INST CF NAPERVILLE                                            i4947 PAYSPHERE OR                             I             (atlCAGO, ll60674                                       14,326.691              8,622.77
                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                            3,87o.sol           5,460.721                452.Bl
XX-XXXXXXX    IHAWTMORN SURGERY CENTER                                                            240 CENTER DR                                            lvERNCN HIUS, fl 600&1                                  31,216.941              3,870.sof        3,870.so!                  -!                452.Bl
41•2161U4         BURT 8 KATUBtG MD Pl.1.C                                                        POBOX909                                                 lcoSPGS,coeo901                                          4,483.coi              4,48a.oot        3,BS7.34j            625.66:                 4SL27
XX-XXXXXXX        MEETING HOUSE LANE MEDICAL PRACTICE PC                                      l1s REMITTANCE DR DEPT 8310                    I             !OflCAGO,JL.6067s                                        1,910.00!              S.548.osf        3,sss.67!           t.&92.38j                4SL07
UNKNOWN       !MIO-HUDSON ANES111ESIOLOGISTS PC                                               )POSOXSSO                                      I             !POUGHKUPSIE, NY. 12602-0SSO                             4,160.00!              4,160.(JOi       3,846.461            313.54j                 450.00

SS.3156212    'j~RlOA MEDICAL OJNIC PA                                       ------F====>------------+!
                                                                                    138135 MARKET" SQ  ____.,,jZE=PHYR=ec"='US.=,..!.!-~•=•54=2_ _ _ _ _-fi___,lc,4.3=2B=·=ooc;!_ _ _ _•:..oa=•3S=;.l_ _,3:,:.S=,35::.58=i-!_ _2,38==2.44"'-1-1_ _ _ _...;448=.72=1
XX-XXXXXXX        AMERIPATH NEW YORK U.C                            ----------f'========---------+l
                                                                                 l12106 COL1.ECT10N CENTER CR ____-;l=°'=ICAGO=::,•c;:"c::...,=•-------~--'~'·~856_._oo~i_ _ _~s,249.11!
XX-XXXXXXX        MIDWEST WOMEN 08-GYNE LTD                                                   j3825 HIGHLAND AVE                              lsre2F       !oowNERSGROVE,IL.60Sts                                   6,360.7sl
                                                                                                                                                                                                                                                        3,835.261
                                                                                                                                                                                                                                                          ..,18"'.,~.;-;
                                                                                                                                                                                                                                           3,8_18_3_6_,,,--,=               --~.~.~,.~,."'i-----...
                                                                                                                                                                                                                                                                                4,413s1\
                                                                                                                                                                                                                                                                                                =.,=.,   448.69


XX-XXXXXXX    ========"-"C.--------------+'="-"='------------~l
                                         lpo BOX416367
              ,HACICl:NSAO:: RADIOLOGY GROUP PA                _____li=s=osro="· MA,02241                                                                                                                           &.29s.oo;              4,241.99!        3,311.30!            424.69!                 446..59
XX-XXXXXXX    iANESTHESKlLOGY ASSOOATES OF SORO    i,o BOX 6735517                     48267                                                               !omo~.~;;,·                                              4,788.ooi              3,816.001        3,816.oo!                  .J                446.43
               =========='------------+:==='--------------;-----,FW"'A"°YN=ES80RO,PA1n68-2394                                                                                                                       9,682.00]              8,495.01:        3,809.82,           4,685.191                445.71
XX-XXXXXXX    !WAYNESBORO HOSPrTAL                  501 E MAINST
XX-XXXXXXX        HA2ELDEN OIICAGO                                                                PO BOX 860188                                            lM1NNEAPOus. MN 5548&                                    &.sss.ssi              3.soa.oo!        3,808.oo!                  J                 44s.sc
                                                                                              I
SS-0665912        PROFESSIONAL ANESTliEStA                                                    1POBOX1SD6                                     I             !CHARLESTONWV2S325-1506                                  4.19s.oo1              3..992.50!       3,798.101            194.40i                 444.34
XX-XXXXXXX    ,AMGIWNOISLTD                                                                   !POBOX343918                                   !             !MILWAUKEE. WI, 53234                                    6,204.00\              4,438.BOi        3,796.65            1,549.95!                444.17

36-4n0166     jsoUTHWEST'LABORATORY                                                           !42250FFICE PARMAY                             I             !oAUAS, TIC75204                                         7,902.68'.             6,322.14;        3,793.28            2.528.86!                443.78
XX-XXXXXXX    iANESTl-lESIAASSOCATES OF SOuntERN                                              !PO BOX 13652                                                iNEWARK.NJ.onss                                         11.668.00;              1,26s.oof        3,793.03            3A11.s1l                 443.75

XX-XXXXXXX    iHOFFMAN ESTATES SURGERY                                                        ' BARRINGTON
                                                                                              11sss        ROAD DOB 35UITE 0400
                                                                                                       =======cc...-----,-~---f"'iHccOFFMAH==ESTATES,ll60169                                                        9,051.00!              4,784.00~        3,TIEi.1~~·-~'-=00=7=
                                                                                                                                                                                                                                                                                ...;-i----~44~1~.n-'-l
XX-XXXXXXX    )ST ANTHONY'S MEMORIAL HOSPITAL                                                     POBOX2S116                                               ISALTI.AKEOTY,UT8412S                                    3,975.821              3,97s.s2!        3,775.82]            2~!                     44L73
              I
~!-!..~       !ROCKFORD RADIOLOGY ASSOC                                                       .POBOX44370                                                  ]MADISON. WI, 53744                                     W,370.00j               4,708.451        3,769.46!           1,656.321                440.99
XX-XXXXXXX    1Phvsfcal Medicine & Rehabtlitation Center PA                                   lsoo GRAND AVE STE 100                                       /eNGLEWooo.NJ,01631                                     10.290.ool              4,619.89;        3,763.15!            8S6.74!                 440.25


                                                                                                                                            EXHIBrT2

                                                                                                                                                  32
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 56 of 266 PageID #:11152




                                                                                                                                    AEU INTERIM DISTRIBUTION




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XX-XXXXXXX    !ueERTYVllLE 0BGYN SC                                                       is90 S GARfJELD AVE SUITE 104                       !              luBERTYVIUE. IL 60048-4723                  j        13,100.ool            4,551.38;       3.1ss.10\          796..28!      439.31
S3-QlS324S    !MATTHEW NORMAN MARTINE                                                     JNYU CARDIOLOGY ASSOCATES                           !PoSOX415662 leosroN,MA02241                                         3,7ss.oo'            3,7ss.oo1       3,7ss..ool                -1     439.30
XX-XXXXXXX    jWAICE SPECIALTY PHYSICIANS U.C                                             )PO BOX 602195                                      I              lotARl.OTTE,NC28260                         i         7,460.DO!            6,113.18;       3,752.osl         2,003.nl       438.9S
XX-XXXXXXX    [UNIVERSITY UROLOGISTS                                                      j7614SCLUTION CENTER                                               ]CHICAGO, IL60677-7006                      I         3,998.00;            3,748.00i       3,748.00;                        438-48
XX-XXXXXXX    1AWA.NCElASORATCR't'PHYS                                                    IPOBOXS968                                                         )STREAM,IL60l97-5968                                  4,113.60:            4,1~            3,735.84:          369.101       437.06
XX-XXXXXXX    ROCkFORD ORTHOPEDIC SURGERY CEN                                             !sax 78580                                                         !MILWAUKEE, WI 53278                                 16,500.00.            6,256.00i           2.529.aoi
                                                                                                                                                                                                                                                        3,726.201                        43S.93
XX-XXXXXXX    IMEMORIALSlOAN ICETTERING CANCER                                            !PO BOX 266$6                                                      jNEWYORK, ~-!~•1~0087=------+---""'''""""'s-==ooc;.l_ _ __;•::c.56SSS==-:_ _;3,,c72==L=681 _ _ _   _-+----
                                                                                                                                                                                                                                                              843.871                    43S.40
XX-XXXXXXX    ]ELDOSE CGEORGE                                                             lPOBOX417918                                                  ---t-j;8_0_STO~N,~M_A_02_2_4_1-79_1B_ _ _ _ _--j-_ _ _4~,6_2_7.62--j-[_ _ __;3~,8~1B38=+!-~·•~71B3B=~;rl-·     --~=-;----
                                                                                                                                                                                                                                                                          100.001        435.01
                                                                                                                                              1
XX-XXXXXXX    lwHITEPLAINSAMBULATORYSURGERYCENTER                                       -··/PoBOX398369                                                      /SANFRANOSCO,CA94139                        /        12.300.ooi            4,646.SOi      3,7i,•.20!          929.30/       434.BII
95-32665168   lLEDERHAUSDISNEY RODRIGUEZ                                                  lzss e SONrrAAVEBLD 9                                              !POMONA. CA 91767-1923                      I         s,239.so:            3,712.831      3,712.J33!                        43436
XX-XXXXXXX    !PARAMUS ENDOSCOPYLLC                                                       lso EISENHOWER OR                                   srE 100        !PARAMUS NJ 07652-1430                      !       14,246.ooi             7,104.lS!      3,700.91!           603.241       432.97
XX-XXXXXXX    INTEGRATM PEDIATRIC ASSOCIATE                                               r11&2 EAST 23ST'REET                                               !BROOKLYN, NY 11229                         I         7,889.9si            4,448.43!      3,678A3i            804.761       43034
ss-o3S699G    !srJOSEPHSHOSPrrALOFsuaHANNONINC                                            i1AMAUA0R                                           I              lsuocHANNONWV2s201-221G                     !         5,199.oo!            4,972.60(      3,673.GOi          1,259_ooi      429.77
3&-379SSOO    !ANTHONY PAUL TERRASSE MD                                                   11000 NORTl-1 WESTMORELAND ROAD                                    ILAKE FOREST, IL 60045-1672                 !        4.565.oo!             3,661.571      3,661.571                  -1     428.37
s1-0324929    !NEWBERRYCOUNTYMEMORIALHOSPIT                                               lPoeox.497                                                         iNEWB£RRY,SC29108                          l        u,35s.11;              s,200.ooj      3,651.121          ~542.281       427.92
45-5S16337 ......l~oRTHERN wesrcHESrER EMERGENCY                                          lPO eox 609S                                        I              IPARSIPPANY, NJ 07054                      I          s,160.00!            3,857.21:      3,656.BII           200.00!       427.81

XX-XXXXXXX    IMDNMOUTHP~LASTI=c~su~•~G~---------------+-!PO_BO_X_B004                                                                                                                       1,603.981
                                                                    _ _ _ _ _ _ _ _ _ _ _ _ _-;-----~l_nE_O_BA_N~K,_NJ_~•~•-""-'-------1l,-__1_1,~1so_.oo_,i,__ _~s.~2S~•~-"'c;i--•~·•~ss~-94'-'-tf---==+-                                                                               427.71
13.:-~~014    !TEXASTEOIUNIVERSTTYHEALTH                                                  lPOeox2141s                                         l              1SALrlAKE~,UT84127-0476                     !        4,584.oo!             4,46930;       3,648.301           a21.00!       42G.81
XX-XXXXXXX    )TR1NrrASREG10NALMEDICALcm                                                  IPOaoxis069                                                        !NEWARD,NJ07192                             I       36,012.46;             1.140.ssl      3,640.sal          3,500.00:      425.91
XX-XXXXXXX    ESOTERIX GENETIC lABORATORIES LLC                                           !2000VMG£N WAY                                                     !SANTA FE, NM 87505-5600                    !        4,339.oo:             3,928.37;      3,616.00\           312.371       423.04
27•5026167    ROXSURY SURGI CENTER                                                        !ro BOX 398395                                                     ]SAN FRANCSCO, CA 94139-8395                         24,900.00[            8,928.68{      3,605.481         10,919.521      421.81
                                                                                                                                                                                                                 1
                                                                                                                                                                                                         =2.=c00,,-_ ___,3,~602=.oo=';--1,-----+------'=
~-~~-..,J,CSO"-'U""N:::D"PHe,VS.:,l:CIANS=c-='=M='RGE=N:::Ci=M='D""IC""IN:::Ec__ _ _ _ _ _ _ _ _ __,!~,pe~ao=x~74~•=119~------------i-i'----+iLOS=AN=G~ELES=·~CA.~900=7~·-------+'--~··~'4~··=00~1----=··..                                            42UO
26-3S28303    !M100lfSE>CCENTERFORAOVANCED                                                !s10SAYBROOKROAO                                    !              IM100LET0WN.cr064s1                                 11,.84s.10!            3,GOO.oo!      3,GOO.ool                  -1     421.16
XX-XXXXXXX    MILLENNIUM MEDICAL PROfESSKJNAlS                                            j495 SMmrTOWN BYPASS                                               !SMITHTOWN, NY 11787-5010                            4,800.00!             3,97G.62i      3,595A2j            38L2ol        420.63

F'~4--=1364=53=-•~-to=RAN=GE=RE=-G=ID=NAL="'M='°"''CA=LCTR=---------------+h~s_CR_VST~"'-~•u_N_R_o_sre_G20
                                                                                                        _ _ _ _ _ _ _ _ _--;------t!~!?DtETOWN.NY1D!M11014                                                       19,867.391             3,825.osi      3,589.961           235,091       419-99

 XX-XXXXXXX   BLUE RIDGE GEORGIA HOSPITAL COMPANY L1.C                             lPOBOX 198161                                          )ATlANTA. GA 30384-8161                                                 7,315.89'             S,08455!       3,S87.70i          1,3;;~~1       419.72

59-333702B    iMAYOOJNl:,:_C,cJA:::CJ<SO=N'"'V'-"ILLE""-------------------ji,-'1PO=-cBO=X'-=lS08=-------------+----+jM~l~NN"'EAP"'-'O:::US=•e,MN=•SS=480~------t--~12=•==328.00=c+:_ _ _ _S.S=7="-=,90:_                                               3,586.17:          6,939.28!      419.55

XX-XXXXXXX .. _.JEMCARE~NX EMERGENCY PtlYSIOANS LLC                                       !Po BOX4l768                                                       IPHllADElPHlA, PA 1S101-l768                !        3.SSG.00:             3,586.00i ____ --·- 3,~s•_=,_I,_-----;-----~
                                                                                                                                                                                                                                                                                   419.53
                  1
                                     -----------ilF'54=LEX='N~GT~ON="~"'~100~----------+l·•·•·-----+l~New~vo~RK,~NY-1_002=1-______,l,-_ _;,.=•110~-oo-,[r-__---'•·~ooo.co="'t_'--,~·ses=.1'-'s+I--~=+-----"
20-&1!t1564 __ .__ 01FEUCEoRTHOPAE01csPc                                                                                                                                                414-251           419.50
XX-XXXXXXX    1T E L - O R U G 4 9 0 1 N . 4 T H A V E N U E                                                  !siouxFAUS.5057104            3.579.301         3,579.30~  3,579.301            -!          418.74

XX-XXXXXXX    ]SOUTHWESTERN EYE CENTfR LTD                                                iMscs21POsoxs21s3                                                  IPHOEN1X.AZaso12-2163                                4,BGO.ool             4,860.ool      3,s1s.S6!          1.,281.44!     418.66

75-25G2784    ACS PRIMARY CARE PHYS SW PA                                                 IPOeoX636018                                                       icNCNNATIDH4S263-5018                                 6,966.oo;            s,657.10\      3,576.30!          2.080.80i      418.39
                                                                                                                                                                                                                                                                                  I
XX-XXXXXXX    lARMEN OiARL£S HAIG MD                                                      ]PO BOX 8763                                                       laEu-AST, ME 04915-8763                             30,300.00:             5,280.201      3,565.ool          1,715.20[      417.07
36--4091497   !RIVER NORTH SAME DAY SURGERY                                               !2893EAGLEWAY                                                      f0t1CAGO,IL60618                            i         8,900.00;            3,560.0Dj       3,560.00]                 .i     416.48

XX-XXXXXXX    PERMIAN BASIN ER I                                                          IPO aox 12668                                       I              loKIAl<DMA CITY, on,is1-2668                I         3,858.13;            3,858.13:       3,ssB.13   i       ,oo.ool       416.2.7
                                                                                                                                                                                                                                                                   1
XX-XXXXXXX    i~~Gl=e,_,EN=G""M:::o_____           -------------t!63sMAOISONAVE                                                               1.11THA.OOR    !NEWYORK.NY10021                                     1,3&0.ooi             s,660.06j~·--·~ 3.556.76          2.1D3.30'      416.11

ZD-0207893    (MIOWEsrRESPIRATORY LTD-···-· - - - - - - - - - - - - - - - - j ! f ' ~ ~ = · · · = = ·~W~l=-c4;::3RO=sr~sre=~·- - - - - - -                  ·;ORLAND PARK. IL. 60462                              4,448..DDi                                                      -l
                                                                                                                                                                                                                                     ~3=,S==Sll8=',____--c,;~'-'53"'.~'"c;i----l-l------"415.69
ic•~7-~288=1QSS=~lAN=Ol'-'O=RA=G•~s~u~RG'-'ICE=NTE=R=LlC~---------------;!4_00_1_1A_UR_E_LST_:;5UcclTE=A'-----------1-1-----f-'AN=OiccOccRAccG:::~'-'.AX=••::so;::•=---------.- ---='·""94'-'7-"'.oo";]c----"''''"55::2-=30"!1---"3~~2.30!                                               415..SB
 XX-XXXXXXX iMEDICAlCOll.EGE OF WISCONSIN INC                             1aoxB83S0                                                  !MILWAUKEE, WIS3288                               9,813.36;                  6.780.851       3.549.27;                               312320)        415.23


                                                                                                                                             EXHIBIT2

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                                                                                                              AEIJ INTERIM DISlRIBlfTION


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XX-XXXXXXX                                                                                                                                                                                                                          3,538.77!                            966.25]         414.00
XX-XXXXXXX                                                                                                                                                                                                                          3,S35.39j                            144.531         413.61
 &400noo      ,BAYLOR scarr WHITT MARBLE FAUS                       / PO BOX 844658                                                                                                             11,455.n           S,66B.12i        3,534.SO!                       2,,133.62            413.50

XX-XXXXXXX
              I
              iUPMCSTMARGARET                                       isis FREEP0RT ROAD                                                                  jPITTSBURGH, PA 15215                    S,045.75·         5,045.75:        3,S32.03.!                      1.513.721            413.21
              I
XX-XXXXXXX    !NEW PORT RICHEY HOSP INC                             iPO BOX 402837                                                                      !ATLANTA, GA 30384-2837                 22,s19.20l        17,114A1;         3,531.52!                    13,582.89!              413.15
~.!-1514974   \cENTRACARESURGICAl.CENTER                            !14066THAVENORTH                                                                    lsr a.oua:-;.;~ 56303                    3,n1.oo[          3,531.15'.       3,531.ts!                                  -1        413.11
XX-XXXXXXX    ]MOiENRY RADIOLOGISTS ANO IMAGING                     lposox220                                                                           IMCHENRY,__!!:,, 60051                   5,844.00J  '     3,542.32)         3,529.00!                            350.32'.        412.86

-~~-1774936   I   FLORHAM PAAK ENOOSCOPY ASC llC                    1195 COLUMBIA_~~---           ..._............................
                                                                                                                                     -----:--
                                                                                                                                                        jRORHAM PARK NJ 07932-2254               5,306.36;        3,526.76;         3,526.761                                           412.60
XX-XXXXXXX    ' UTMB f~~-LTY GROUP PRACTICE                         301 UNIV£RSJTY BLVD                                                                 ]GALVESTON, TX, 77555                    4,546.00•        3,757.01!         3,526.75,                            230.26i        412.59
XX-XXXXXXX    JADVANCEO HEART GROUPS C                              !71WlSSTHST                                                           !STEJOS       I HARVEY IL 6D42G-,l64                   8,655.00[        5,339.971         3,526.311                      1,.813.66i           412.54
XX-XXXXXXX    lMASS GENERAi. HOSPfT'Al                              SSFRUrTST                                                                           jBOSTON, MA 02114                        6,571.82\        4.524.65)         3,521.19]                      1,.313.46l           411.94
              I
XX-XXXXXXX    !SOUNDVIEW MEDICALASSOCtATES                          761 MAIN AVE SUITE 201                                                              NORWALK. CT068S1                         1,654.oal        4,89LD8;          3,S2D.54i                      1,.797.04:           411.B7

XX-XXXXXXX    !CAPE COD HEALTHCARE INC                              !PO BOX 55395                                                                       lsosrON, MA02205-999B                    3,909.62[        3,714.12/         3,514.12                             200.00         411.12
                                                                                                                                                                                                                            i
XX-XXXXXXX    iMERIDlAN HEALTH                                      !PO BOX 11664                                                                       !NEWARK, NJ, 07101                       8,190.00;        7,656.681         3,512..24                      4,354.44             410.90

XX-XXXXXXX        GENERAL ANESTHESIA SERVICES INC                   IPOBOX3444                                                                          OtARl£STON WV 25334-3444                 5.S2S.0Dl        4,196.88!         3,508.381                            688.SO!        410.45

~NKNOWN       luNDARIMKUNOSMD                                       !PO BOX 37974                                                                       PHllADElPHlA. PA 19101-7974              3,505.00f        3,sos.00!         3,505.00                                   -1      · 410.05

XX-XXXXXXX    ICOLORADO IMAGING ASSOOATES                           IPO BOX 223897                                                                      PfTTSBURGH PA 15251-2897                 4,to5.oo!        3,885.24;         3,497.34                             387.!IO!       409.15

XX-XXXXXXX    [THE UROLOGY INST AND CONTINENCE CTR                  iPOBOX2155                                                                          THOMASVILLE,. GA31792-5643              24,002.IXJ!       3,485.94) ·-·--··-·3•485.•94                                 -!       407Jl2
XX-XXXXXXX        FOOT ARST PODIATRY CENra\SVPC                     ll601 W WISE RD                                                                     SCHAUMBURG, ll 601!13-3554               7,787.92!        5,342.72! '       3,474.18.                      1,911.96!            406.44
XX-XXXXXXX    :CRrnENTON HOSPrTAL MEDICAL CENTER                    1101 W UNrYERSITY DRIVE                                                             ,ROOiESrER, Ml 48307-1831               13,986.36!        4,536.36!         3,469.24!                      1,067.12             405.87
                                                                                                                                                                                                                                                                                  i
XX-XXXXXXX    jCONSOUOATEO PATHOLOGY CONSULTA                       J75 REMITTANCE DR                                                                   lOilCAGO It 60675-1895                   5,884.oo]        4,048.16!         3,458.041                            S90.12         404.56
XX-XXXXXXX    IANesntESlA CONSULTANTS OF IN DIANA PO US LLC         POBOX6297                                                                           ,INOIANAPDUS, IN, 46206                  3,780.00]        3,456.00i         3,456.ool                                           404.32

BS-.1153098   lsrAMFoRO PATHOLOGY GROUP                             IPOBOX310                                                                           lw1tTON, er, 06897                       8,513.65:        5,926.48)         3,455.131                      2.483.•121           404.22

31.0745303    'jCOLUMBUS RADJOLOGY CORP                             PO BOX 714150                                                                       CNCNNATI, OH 45271                       s,sss.ooi        3,454.37'         3,454.37                                            404.13

46,.2830834       PHYSICAL THERAPYWESTINC                           !21781 VENTlJRA BLVD STE438                                                         WOODLAND HILLS, CA 91364-1835            7,535.00:  '     4,315.00)
                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                    3,452.001                      4,oea.oo!            403.85
XX-XXXXXXX    STATESVILLE HMA LLC                                   !POBX402332                                                                         IA11ANTA, GA 30384                       5,824.97j        3,745.46;         3,445.461                                           403.08

XX-XXXXXXX    !COLMAN CENTER PC                                     '500 N UNION ST                                                                     MIDDLETOWN., PA 17057-1950               3,709.00i        3,709.00\         3,444.89                                            403.02

XX-XXXXXXX    '[RADIOLOGY ASSOCIATES OFTALLAHASSfE                  IPO BOX 20747                                                                       !~PA R.33622.0747                        4.348-00         3,440.oo:         3,440.00                                            402.45

XX-XXXXXXX    IISLANO EYESURGICENTER                                1865 N'.l.~~~ICK AVENUE                                               iSTEBONORTH   !WESTBURY, NY 11590-6694                 8,600.00:        5,524.67!         3,439.43;                                           402.38

XX-XXXXXXX        IOWA PATHOLOGY LABORATORY                         !POBOXS69                                                                           ices MOINES, IA, 50302                   9,987.90i        6,667.38( '       3,434.sol                                           401.80
              I
XX-XXXXXXX    ALBANY SURGICAL PC                                    !605 N WESTOVER BLVD                                                                iALBANY, GA 31707-2188                   3,630.00!        3,411.ool         a.411.ool                                            399.75

XX-XXXXXXX        BLUE RIDGE HEALTH CARE                            !Po BOX 96072                                                                       lQtARLOTTE, NC 28296                     7,482.00!        3,404.80·         3,404.80                                            398.33

XX-XXXXXXX        MACON NORTHSIDE HOS?ITAL LLC                       PO BOX 406710                                                                      !AllANTA. GA,. 30384                     6,616.SO!        3,398.BSi         3.398.851                                            397.63
                                                                                                                                                        ! □NCNNATI OH 45263-4715
                                                                                                                                                                                                                          I
76-012g17g    IGREENBRIER EMERG SERVICESlNC                         IPOBOX63471S                                                                                                                 4,925.00'.       3,812.00:         3,394.89!                                           397.17

XX-XXXXXXX        0£RMATOLOGY ASSOCIATES OF WI                      la01 YORK ST                                                                        MANITOWOC WI 54220-4630                 11.774.19!        7,043.31'.        3,393.89.                                           397.05

XX-XXXXXXX    !OKTIBBEHA COUNTY HOSP                                1POBox1506                                                                          1STARJML1E, MS 39760            --- - - 9,92U1: ..M••··   9,92L11\          3,385.751                                           396.10

SS-0738421    'HEALTHCAREALUANCE INC

              )MA a.ARK INC
                                                                    'jPOBOX634714
                                                                    l3S2SWPffiRSON AVE
                                                                                                                                         I!STE218
                                                                                                                                                        jONCNNATT OH 45263-4714

                                                                                                                                                        loi1CAGO, ll606S9
                                                                                                                                                                                                 5,143.00;

                                                                                                                                                                                                 6,381.90:  '
                                                                                                                                                                                                                  4,324.25)

                                                                                                                                                                                                                  5,0SL90\
                                                                                                                                                                                                                                    3,382.54i

                                                                                                                                                                                                                                    3,382.37!
                                                                                                                                                                                                                                                 I


                                                                                                                                                                                                                                                                         sso.oo\
                                                                                                                                                                                                                                                                                        395.72

                                                                                                                                                                                                                                                                                        395.70
~6-4499689
                                                                                                                                                                                                            I
XX-XXXXXXX    IPEDIATRICANESTHESIAASSOOATESLTD                      IPOBOX3S26                                                                          jCAROL STREAM. IL 60132                  7,430.00i        4 357.40'.        3.381.39!                            976.011        395.59


                                                                                                                                       EXHIBIT2

                                                                                                                                            34
                                                     Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 58 of 266 PageID #:11154




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                                                                                                                                      AEU IN~RIM DISTRIBUTION




                                                                                                                                                                                                                                                              ,;""~""~,;:t-·:-
XX-XXXXXXX       VGM GROUP INC                                                              !,o BOX 78492                                                          !MILWAUKEE, WI 53278-0492                 I         •..,..sz'            •.111.1s:        3,381.39!       736.39
                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                          395.59
46-25931n        EMERG PROF OF MIOIIGAN PC                                                  !PO aox 638257                                         l               !aNCNNATI OH 45263-8257                             6.217.00=            3.310.20i        3,370.20!      1.303.00!     394.28
XX-XXXXXXX       ]ACS PRIMARY CARE PHYS SE PC                                               \PO   sox 635003                                                       !aNONNATI OH 45263-5003                             4,3Dl.DD-            3,368.40;        3,368.40;             -i     394.07
                                                                                                                                                                                                                                                                     1
XX-XXXXXXX       ilONG ISLAND OPTHALMIC CARE                                                !23D HILTON AVE SUITE 118                              ]               !HEMPSTEAD, NY 11550-8116                           4,475.00!            4,050.941        3,364.69         68625!      393.64
XX-XXXXXXX       imeeP□RT MEMORIAL HOSPrrAL                                                 IPo sox ss1                                                            iFREEPORT, IL s1032-oss1      u,ois.ooi          1,204.35;                                3,363.491      3,840.871     393.49
XX-XXXXXXX       ;,,CA:::,R,:LOS=A_,,ORT=IZ,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+l1:.:•=-z•-=2A=•J.Sr=Ac..Vc:<_ _ _ _ _ _ _ _ _ _ _..,l____+!n=uocSH~1•c.cG"-,N~Y-=l=ll=s=-s-=-2•=3s=------+---'3"'~"'o"".o"'o~\_ _ _-=:,3,360.oo!                             3,360.00[         10.00!     393.09
                 1
6Ml396600         JOHNMUIRMEDCTRCCNaJR                                         loEPT4426tPOBOX390DO                                 !      ISANFRANCSC.CA94t39                        i           4,182.75'.        3,55S341                                 3,355.341       200.ool      392.54

XX-XXXXXXX       INVrTAE.CORPORATION                                                        jt40016TltST                                                           !SANFRANOSCO,CA94103                      I         6,000.00~            4,500.01'        3,35137!       l.141L641     392.08
U-1971977        ·NEW YORK VAMC                                                             :,a BOX 3020                                           i               /!£SANON, PA 17042                                 14,036.13:            3,782.84)        3,348A2!        434.42/      39L73
                                                                                                                                                                                                                                                                                      I
XX-XXXXXXX       NORTH SHORE-W CARDIOLOGY                                                  )po BOX 418533                                                          !sosrON, MA 02241-8533                              6,058.001            3.459.ool        3,346.76i       112.24)      391.54

XX-XXXXXXX       ANDREW A ROTH MO .SC                                                      !246 E JANATA BLVD SUITE 130                                            !LOMBARD. ll 60148-5377                             3,870.00!            3,432.93l        3,342.931        90.oo!      391.09
XX-XXXXXXX       !PRINCETON RADIOlDGY ASSOOATES PA                                          ]PO BOX 956                                            J               !EVANSVtU.£. IN 4770&-0956                          5,187.00:            3,989.80'.       3,333.081       617.321      389.94
XX-XXXXXXX       ieDWARD F MCKENNEY DO SC                                                  !1471 KEOKUK 5T PO BOX 312                              I               !HAMILTON, IL 62341-123S                            6,747.25;            S,367.55i        3,327,osj      2.040501      389.23
                                                                                                                                                                                                                                  1                                                   I
XX-XXXXXXX       !CARNEGIE HIUOB GYN PUC                                                    ls2 EAST BBnt STREET 2ND A.OOR                                         !New YORK, NY 10128-0724                            4,125.00             4,125.ooi        3,325.001       800.00!      388.99
s1-10291~68~..,!1~EW=~H~HOSP=~rr~A~t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-tiP0_8_ox_64S_o_68_ _ _ _ _ _ _ _ _ _ _ _-i-_ _ _ _!.-PmSB
                                                                                                                            __u_R_GH~·-•A_1_S2_64_ _ _ _ _ _-t-_ _20~,,_38_.ll-+-i---~•~•011~.1~0!,--==+---~~
                                                                                                                                                                                                   3,322.581 754_52J                                                                      388.71
XX-XXXXXXX         IVHs ACQUISITION suss101ARY NUMBER                    !PO sox 3532                                    !eosroN, MA02241-3532                     3,683.51!             3,315.22! 3315.221        -1                                                                     387.SS
                                                                                                                                                                                                                                                                        I
12.&-2798973     IMEADOWBRCOK MEDICAL ASSOOATES                                             lass MERRICK AVE                                        src 150N       !wESTBuRY. NY. 11590-6902                           1,150.00:            4,eso.ooj        3,309.00i      1,511.00!     387.12
XX-XXXXXXX       !soUTH SHORE AMBULATORY SURGERY CENTER                                     !444 MERRICK ROAD 4TH FLOOR                                            !LYNBROOK. NY 11563                                 4,717.60!            4,717.60!        3,3112321      1,415.28!     386.34
XX-XXXXXXX       lsr Cl.AIRE MEDICAL CENTER 1Nc                                             !222 MEDICAL ORO.E                                                     !MOREHEAD, KY 40351                                 4,376.Sl!            3.SDL2D~         3,301.201       200.00!  '   386.21
XX-XXXXXXX     !us ANES PARTNERS OF TX PA                                                   !PO sox &50661                                                         IDAUAS. TX. 75265                                  13,22&.oo!            4,993.&o{        3,286.861      8,608.741     38453
0~1344937        lw1WAM M uPSKY                                                             !124 E PARK AVENUE                                                     \LONG BEAOI, NY 11561-2605                          4,4so.oo!            4,4So.ooi        3.286521       1,163.481     384.49
XX-XXXXXXX       !BARRON EMERGENCY                                                          !Po BOX 7418                                                           !PHILADELPHIA PA 19101-7418                         4,269.00!            3,30!J.?o!       3,286A21          17.28!     384A8

XX-XXXXXXX       !DAvtDwruMAN                                                               [POBOX29887                                                            INEWYORK,NY10087-9887                              31,290.00,            3,275.171        3,275.171                    383.16

XX-XXXXXXX       !MEDSTREAM ANESTHESIA Pl.LC                                                !PO BOX 896194                                         I               IO!ARLOTTE NC 28289-6194                            4,625.00·           3,646.00]         3,211.ool       31s.ool      382.67
                                                                                                                                                   1
XX-XXXXXXX       luNITYHEALTHNETWORK                                                        IPOeox640                                                                                                   3,264.111       788.64!
                                                                                                                 .....1i _----+ICUY=A~HOG=A~•~AUS.=-=o"-H-'-44=2=22'-----t--~•.si=o.o~o~---•'".o"'s=2.1'-'s,,_!_--===!----=                                                               381.87

.~2,.,-==='-.. -F!~"·ElR=OccMA=CAc,N=ESTH=ES1=0L~OGY=-"PL"'LC=--------------·,-•o=so~x~B4~589~-~·~------------t-----tlo_AUAS_~•-1X_7_5284- __                                                           3,261.00:
                                                                                                                                              sa_9_8_ _ _ _ _- !_ _~3-!.~!-.~~e-·---~3~,2•_1.~oo~!--~-+-----                                                                       -i     381.50
XX-XXXXXXX       jPIEDMONTHENRY HOSPrrAL                                                    !pa BOX 102140                                         !               IATLANTA. GA 303682140                            11,084.65;             3,991.SO!        3,255.70!       735.SOi
                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                          380.88
XX-XXXXXXX .. ___ TENNESSEE CANCERSPECIAUSTS PUC                                            iPO BOX 10988                                                          1KNOXVILLE, TN 37939-0988                           8,767.00!            4,982.111        3,250.02!      1,732.091     380.22
2s-24199s0       .SOUTHERN SURGICAL ASSISTANTS LLC                                        .. !Po BOX ,042                                                          IOiESTNUT MOUN'TAIN, GA 30502                       3,250.00!            3,250.oo!        3,zso.ool                    380.22
                                                                                                                                                                                                                                                                                      I
XX-XXXXXXX       !MONTOAIR RADIOLOGJCALASSOC                                                Im PASSAIC AVE STE 360                                                 !a.1FrON, NJ 01012.-1665                            s,571.00 1           5,395.1s!        3,238.221
                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                            2,257.56!     378.84

20-110147S       lsrEPHEN FEALY                                                             ls3S EAST 70TH STRE£T                                                  INew YORK, NY 10021                                 9,000.00,            ,.000.001        3.233.sgi       761i41l      378.30

XX-XXXXXXX       LEWlS GA1.E HOSP ALLEGHANY                                                 11 ALLEGHANY REG HOSP LANE                             i               lLOW MOOR. VA 24457-0175                            9,788.00:            5,536.09!        3,228.87i      2.301.22!     377.75

2o-a628410       IASSOOATES 1N CARDIOVASCULAR CARE p                                        i10&1 AVENUE c                                         l                !BAYONNE, NJ, 01002-3328                           1.116.00!            3,221.9csJ       3,227.96 1            -l     3n.64

XX-XXXXXXX       jMots FRANC\SCAN HEALTHCARE                                                !PO BOX 860056                                                         1MINNEAPOUS, MN SS486                               4.983.28!            4,109.97(        3,223.74i       861.231      377.15

XX-XXXXXXX       lolAGNosnc ENDOSCOPY u.c                                                   !ns LONG RIDGE RD                                                      ISTAMFORD, CT 06902-1265                            6,600.Do!            3.882.oo:        3,223.20!       6SBJIOI      377.08
                                                                                                                                                                                                                                                                                      I
1"37,:_•13=••,eBBe,8,__-f!c.=N1RAL='-''w=•,,,01S=RAO=IO:,,LOG='==,ASSOC==1A"-'ns='------------f'ls==200=•=EUAB=us=•KWY=------------+---·····-·/0t1CAGo,. ~'~~6068=~•-------                                           14,141,00:         ......6.947.93\     3,221.801      6,273.8~'     376.92

1!74-:!:1~1="66904='---f!sc=OTT=A!!ND:,_W~H"'llc=Me,EM=Oe,RIAc,l,.!:He,O;!!SPe,IT,:,Al,__ _ _ _ _ _ _ _ _ _ _.µ!P_,,O_,,B,,,oX:.,:844=•0:sa=------------+------;!=o•.,,UAS=•ccll<C'-7~5=284-46=='=8------,--···-·-8.298.11!, _ _ __;,,4,:;323=-81:;1_      _;==+---"==
                                                                                                                                                                                                                                                            3,219.56
                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                       l,983.14l          376.66

52·2416762       !woMENS HEALTH & WELLNESS                                                  !15100 HEMPSTEAD TURNPIKE SUITE 500                                    !EAST MEADOW, NY 11040-1759                         3,535.00i            3,S3s.ool        3.215.00]       320.00:      376.12
                                                                                                                                                                                                                                                                        I
XX-XXXXXXX       DYMEDPEDIATRICSPLLC                                                        !441ROUTE306                                                           lMoNSEY.NY10952-m3                                  7,275.00'            3.773.17~        3,208.171       565.00!      37532


                                                                                                                                                  EXHIBIT2

                                                                                                                                                       35
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                                                                                                                               AEU INTERIM DISTRIBUTION



                                                                                                                                                                                                                                                                   -~11      . ~t'·· ;;,
                                                                                                                                                                                                                                                                                           ~---~
XX-XXXXXXX    !PARAGON CONTRAcnNG SERVICES LL                                         ipo BOX 634710                                       j              !aNCNNATl, OH, 45263                    i        3.379.oo!          3,202.00i     3,202.ooi                   -I                 374.60
2~1225795     IHERBERT DENNISSllTH DDS                                                !1131 RANOAll COURT                                  l              !GENEVA. IL 60134--3911                         u,200.00!           3,200.00;     3,200.ooi                   -1                 374.37
XX-XXXXXXX    !NORIBEASTERN HIGH AELD MRI U.C                                         IPO BOX 632523                                                      iaNCNNATI, OH 45263-2523                         4,000.00)          4,ooo.ooi     3,200.ooi           BOO.DO[                    374.37
XX-XXXXXXX    !ouTPA11ENT ANESTHESIA SPfOAUS1S                                        11805 PO BOX22D                                                     !BETTENDORF, 1A 52722-1805                       3,990.001          3,990.00!     3,192.00 i          19B.00f                    373.43
XX-XXXXXXX    !PRIMARYCAREPARTNERSLLc                                                 l91sJEFFERSONRo                                      1sre200        lwHIPPANY,NJ,07981                               s,129.oo'          3,484.o9!     3.1SB,s1]           221.70]                    373.04
22--3537011   IAOVOCAREPEOIATRlccC:.:AccR""T5'-----------------jl-'40"'2-=Ll~PP-'IN~C~arr=a~•-----------;-----+jMA=R~LT=ON~.~--~080=53'---------,-----"S.'-'43S=.oo'-;;_ _ __.:,4,=12:.:;7.:=;53,jf----'3"',1=8l=·19=;-j--==:;----
                                                                                                                                                                                                                           1,378.76i                                                       372.28

i:'=.5-::26:.:;7885=''--+ITEJ<AS=="o:EA=,LTH"'--------------------+:''-=0-=BO::X'-'91'-'604=''------------~------,·l'-'FO"Rr"-"w-"OR"'TH.""-'TX"-"76:::19:.:1:... _ _ _ _ _ _!-----=•.::.as-<.=66:::.;.__ __e3.lc,7c:•:=·o~1:'--'3"",1"7"'4_01:::_11       --~=+---
                                                                                                                                                                                                                                                              200.ool                      371.33
XX-XXXXXXX    )TRlANGLE ORTHOPAEDIC ASSOCIATES PA                                     IUOWIWAM PENN PlZ                                                   'DURHAM, NC. 27704                               9,547.64!          5,429.44!     3,172.SSr         2.256.591                    371.19
XX-XXXXXXX    lFLORIDAWOMANCAREuc                                                     iPOsoxs100                                           I              /sEtf~~·ME049lS                                  ,,340.00/          3,930.16!     3,112,35/         l,035A1/                     371.13
XX-XXXXXXX    !auESTolAGNOSTICSWESTHIUS
                                                                                      1210nTOURNEYRD                                       l              lvALENClACA913SS-S386                           31,120.nl           s,314.12i     3,169.101        12,544.9gj                    370.75
XX-XXXXXXX    iDAVIOICAMElHAR                                                         !38E32NDSTSUITE601                                                  INEWYORK,NYtOOl&-5507                            6,012.00:          4,776.54}     3,166.22/         1,54032)                     370.42
XX-XXXXXXX    INORTHWESTSURGICARE                                                     !1100 W CENTRAL RD                                                  IARLINGTON HElGKTS, IL 6001JS..2464             18,961.00:          5,688.30!     3,160.11   i      2,528.19!                    369.70
XX-XXXXXXX    l01Gesnve01SEASEASS0C1ATESOFROCK1.AND,PC                                !974ROUTE4sSTE2000                                   I              !POMcNA,NY,10970                                 6,360.oo!          3,461.20!     3,146.341           320561                     368.09

XX-XXXXXXX    !Mmot.ESEXHOSPITAL                                                      !28CREsaNTsr                                         I              IM100L£TOWN,CT06457-3654                         s,31a.ooi          3,724.54i     3,141.341         1.098.201                    367.51
XX-XXXXXXX    !ouR LADY OF LOURDES MED CENlER                                         !PO BOX 828315                                       !              IPHllADElPHIA, PA 19182-8315                     5,490.801          4,502.45!     3,136.461         1.3.!..5-!~I                 366.93
02..0222131   IFRISBIEMEMOruAL HOSPITAL                                               !11 WHITEKALLRD                                                     !ROCiESTER, NH 03867                             s.204.,s;          3,115s1!      3,tts.s1!         l.471.00!                    364.54
XX-XXXXXXX    !GEORGIAGROUPSERVICESLLC                                                !POBOX405790                                                        !ATtANTA.GA30384                                 4,200.00/          3,570.00!     3,105.901           464.10!                    363.36

7S-UBS684     iPARKERCOUNTYHOSPtrALDISTRlcr                                           !P.o.eox&1ocss                                       I              !DAU.AS, TX7S26t0468                             3,100.00!          3,too.ooi     3,too.ool                  -!                  362.67
XX-XXXXXXX    !LAWRENCEMEDICAL                                                        IPoBOX8493Sl                                         I              !eosroN,MA02284-935t                             4,653.oo!          4,D2L65l      3,098...591         923.06!  '                 362.SD

XX-XXXXXXX    lvaRTUAMEDICALGROUPSPA                                                  l303UpplncottDrive                                   I              iMARLTON,NJ080S3                                4,986.ooi           4,574.ool     3,098.12!         1,2RS.BB[                    362.45
20-37S94G6    JGEtm.E CARE OBGVN PC                                                   j130 MERRICK RD                                                     !LYNBROOK, NY 11563--2740                        9,053.28,          3,161.32!     3,097.40!             63.92!                   362.36
31~1344       ]ANESTHESIA GROUP PRACTICE INC                                          IPO eox 53zsn                                                       laNCNNATI, OH 45263                             4,095.00,           3,094.501     3,094.sol                  -i                  362.03
XX-XXXXXXX    i NEWJERSEYMEDICALANDHEALTH                                             l10EXCHANGEPL                                        IFLlS          [JERSEYOTY,NJD7302                               6,158.57;          4,067.061     3,089.03]           91a.oal                    361.39

20-313040s    IEXCELCARE MEDICAL ASSOCIATES p A                                       lro Box 42964                                                       IPH11ADELPHIA, PA. 19101                       28.599.84   !        3,455.38i     3.086.301         3,657.02;                    36L07
XX-XXXXXXX    IGHSPAKTNERSINHEALTHINC                                                 iroaox60087                                          i              !OiARLOTTE,Ncia260                               8,oos.oo,          6,388.20!     3oao.231         3,369.43!                     3ti0.36

XX-XXXXXXX    )MURFREESBORO ANESTHESIA GROUP PA                                       \posox12S2                                           I              IMuRFREESBORO. TN37133-12S2                     4,840.ooi           3,0Bo.ool     3,oao.oo!         1.1so.ool                    360.33
                                                                                                                                                                                                                                                  348.801           359.92
i,7::,:4-:,,210=982e,4:,__-li"AUe;STI=•"'"""'""''°"'"AL=cu=•'::.C::.:PA,__ _ _ _ _ _ _ _ _ _ _ _ _ _-f!Pc:Oc:BO::X=260=1=79=-------------,1_ _ _ _-f'la"'ALIAS,=·rx.~7~5=•':::.•-------+---•z•09=Lo=o+l_ _ __,3,_.•=25=.2=•,..l_ _,,3,"07'-'6".46=-J,i-----===t------=
  XX-XXXXXXX                 \PIEDMONT MEDICAL CARE CORPORATION                                      !po BOX 102321                                 !ATLANT;~ 30368-2321                         5,604.00 !   3,519.961            3,076.04 !   1.256.92[           3S9.87

XX-XXXXXXX    !24-1 EMERGENCY CARE                                                    jPO=BO=•::>1=22,__ _ _ _ _ _ _ _ _ _ ___,·------;cl"1!JCSV1tll,NY11S02                                               s,121.ool          3,660.00!     3,068.aol         4,548.20!                    359.02

XX-XXXXXXX    i;;SIOANS IMMEDIATE CARE LTD                                            i11475 N 2ND ST                                      l              !MAotESNEY PARK, IL. 61115                     U.003.88
                                                                                                                                                                                                                     1
                                                                                                                                                                                                                              8,048.73~     3,061.26!         5.966.161                    358.14

23--3030159   lsoaETYHILLANESTHESIACONSULTANTSPC
                                                                                      1
                                                                                       POeox4148S3                                         !              lsosroN.MA,02241                                 3,060.ool          3,060.ool     3,060.oo!                  -1                  357.99

3g..1101S66   loRTHOPAEDICASSOCATES 1Fw1                                              !PO BOX 554                                          I              lwAUKESHA WI 53187-0554                         9,414.00!           B,641.ss;     3,052.58!         5.588.97!                    357.12

36-44954S5    iNORTHWESTERN OPHTHALMIC INSTITUTE PC                                   !3633 W lAKE AVE                                     !m 104         !GLENVIEW, IL 60026--                           4,715.00]           3,758.91]     3.051.261           707.65j                    356.97
XX-XXXXXXX    'RADIOLOGY WAUKESHA SC                                                  !PoBOX44370                                          i              IMAD1SON,w1.s1744                                1,350.00:          s,930.soi     3,041.31i         3,017.19!                    355.80

XX-XXXXXXX    lPRASADGUDAVAWMD                                                        l1102-t6THAVE                                        !              !BROOICl.YN,NY11214-1002                         3,815.DO\          3,815.ool     3,035.oo!           ,ao.ool                    355.06

XX-XXXXXXX    \WlllCOUNTYOs-GYN LTD                                                   !1106NIARICINAVELOWERl.EVEL                          (              !JOuET,IL60435                                  3,095.oo!           3,095.001     3,035.001          (60.001!                    355.06

13--3997~     I~ESTCHESTER ANESTHESIOLOG.~ ......                                     !PO sox 932554                                                      lATIANTA. GA. 31193                             3,soo.oo'.          3.2Bs.oo!     3,033.oo!           252.00;                    354.83

59--2013191   lFRANOSCO GAUDIER MO                                 _ _ _ _ _ _::,!PO=BO:::X'-'2'-'772"'7"9'-------------+-------flA"'nANT="'-AGA30384-7279                                                4,833.00;                                           39a.11i
                                                                                                                                                                                                                              3,429.10!__~•·~030-.99-;11_ _ _ - --+--                      354.60

XX-XXXXXXX    !MEDICAL tABORATORY OIAGNOsrlCS INC                                     las HORSE HILLRD                                                    !CEDAR KNOUS. NJ 07927-2003            l         s,ogs.ooi          s.09s.ooi     3.029.BSl         2.0ss.1s!                    354.46


                                                                                                                                         EXHIBIT2

                                                                                                                                               36
                                                          Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 60 of 266 PageID #:11156




                                                                                                                        AEU INTERIM DISTRIBUTION



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                                                                                                                                                                                                                                                                           ::,,·-.


                                                                                                                                                                                                                                                                780.70!              354.16
 XX-XXXXXXX      ]coLuMerADOCToRS                                                  ls30w.1sssr.. eox123                               l             !NEWYORK..NY"10032                            3,510.00;                   3,570.ooi       3,D24.37!         545.63]              353.82
 XX-XXXXXXX      1RED BANIC ANESTHESIA uc                                          IPO sox 297                                                      !MANASQUAN, NJ, 08736-0297                    3,BOO.oo!                   3,325.00~       3,021.ool         304.ool              353.43
02..0523146      jAMOSICEAGANESTHEStAPUC                                           !POBOX55155                                                      !eosroN,MA,02205                              3,168.00'                   3,019.601       3,019.60!                              353.26
XX-XXXXXXX       ]SUNRISE HOSPITAL                                                 iPO BOX 403399                                                   lATI..A.NT;~ 30384-3~99                       4,869.2f                   3,213.111        3,013.n!          200.ooi              352.57
XX-XXXXXXX       ITCH PODIA11t1CASSOCIATESE~~                                      !PO BOX 841969                                    _J             lOAUAS, TX 7S284-1969                !_I      4,781.00]                  3,742.50~        3,003.341       1,097.061              351.36
~~~4             !LONGISLANDANESTI-IESIOLOGISTSPlLC                                IPOSOX95000                                        j             !PHILADELPHIA.PAl.9195                        3,000.00[                  3,000.oo!        3,000.00r..             -i             3S0.97
 XX-XXXXXXX ... JotGESTMHEALTHC:ENTEROFH~!'f                                       119sEASTMAINSTREET                            -    !            ··1HUNTINGTON,NY11743                 i       _ 9.000.001 ___...____........~.9519.os!     2.999_osJ               -!             350.86
XX-XXXXXXX       isHORTPUMPIMAGINGLLC                                             ·· 1P0B0x1.Tl577                                    /             J;~A,.GA30384--7577                           6.816.zs;                  s.~
                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                -3-.0--,2!,--,,.~,-1.-ss-t/-----t---
                                                                                                                                                                                                                                                      2,455.34:                      350.70
81-3U2858        !NORTHSTARANESTHESIAOFKENTUCKYH                                   Jposoxs10113                                       !             IDAUAS, ,x1s261.Q113                          s.554.ooj                  4,277.ooi        2.993.90:       1,283.10'.             350.26
XX-XXXXXXX       ln:NNETH v DAVIS oc PC                                            h63 BLOOMFIELD AVE surrE 2e                        l             lMoNTCLAIR, NJ 0,042                 I        6,000.00!                  5,750.ool        2,993.57 1      2.756.431              350.22
XX-XXXXXXX       !STEVEN MOSKOWRZ MO                                               lsss CENTRA1.AVENUE                                i             !NEW PROVIDENce.. NJ 07974-1576               3,46s.oo!                                   2,902.111         22s.oo!              3SO.U
XX-XXXXXXX       '
                 !PARISH ANESrHESIA OF LAFAYmE LLC                                 !PO BOX 019274                                                   loAUAS, TX. 75391                             zgae.oo'                                    2,9ss.ool               -,I            349.57
XX-XXXXXXX       !MID-OHIO EMERGENCY'                                              JPOeoX63509s                                                     !aNONNATI,OH,45263                   I        3,74s.ool                  2.983.25:        2.983.251               -1             349.01
XX-XXXXXXX       l~IC:HAELJ MONFILS MD                                             [11B1 N BTH   ST                                                 iRDDIELLE. IL &1068-2416             l        s,412.ooi                  4,633.so!        2.981.44.       1,652.06!
                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                     340.BO
XX-XXXXXXX       1SOIJTHBAYANESTHESlAASSOCA1ES                                     IPoBOX29140                                                      !NEWYORX,.NVlDDB7                    I        1,900.ool                  2,980.00\        2,.9ao.00i              -!             340.63
XX-XXXXXXX       [wesr SUBURBAN M10w1FE ASSOOATES Lm                               !PO eox 1s011                                                    !BELFAST, ME 04915-4045              I        1,420.00!                  3,810.ooi        2.976.ool         894.001              348.16
F3~s-~201~•~zs~3~__,l,~RA~•~OSCAN=-" HEALTH CROWN POINT                            135306 EAGt£WAY                                    I             l0i1CAGO, 1t60678                    /        4,359.951                  2.973_49;        2.973.49:                              347.87
04-366812ll      IRANCOCAS~ES"ll!ESIOLOGY                                          \POBOX4603                                         I             ILANCASTER.PA17604-'l603                      2,970.00:                  2.010.00!        2.010.00!               -!             347A6
XX-XXXXXXX       lo1GESTIVE DISEASE ASSOOATES LTD                                  l9so NORTH YORK RD STE 101                                       /HINSDALE, IL 60521-8649             I        &,021.ooi                  3,324.06i        2.965.38,         , ..... 1            34632
XX-XXXXXXX       !ANESTHETIXOFl.£XINGTONPllC                                       \POBOX637434                                       !             !aNONNATl,OH4S263-7434               !        4,765.ool                  2,961.ooi        2,961.DDr                '
                                                                                                                                                                                                                                                                      -!             346A1
GS-0622862       i1NPHYNETCONTRACTING       smvias LLC                             lPo sox 634702                                     I             icNONNATI, OH 4S263-47D2             !        3,276.oo!                  2..948AOi        2,948.401               -1             344.93
XX-XXXXXXX       1DOCTORSHOSPlTAlAUGUSTA                                           !3551 WHEELER RD                                                 IAuGUsrA,. GA 30909-6521             !        3,677.92j                  3,677.92:        2,942.351         735.57!              344.23
XX-XXXXXXX       lrAU.AHASSEE OUTPATIENT ANNEX                                     !Po BOX 15939                                      I             iTAUAHA.SS£E, FL32317-5939           I       12,BG2.00j                  s,489.oo;        2,938.371      (1,452.831'             343.76

10s~2-=220=•=2~••~--i-jFRAN==KU=~"~"o=•~•rr~AL=co=•~PO~RA=11~0~•---------------fiPO=eo~•~so~34=u~------------··t-l_ _ _--tlSA1=NT=LO~u=IS~M~0~63=1S=0-=34~U~----ii_ _~23~,=us=.ss'-'!_ _ _...=,.3,223.="-'76'i-l_                           _,2.9=33=.2=◄+---l----'===+--
                                                                                                                                                                                                                                                                290.szi              343.16
45-S2822S6       lMONMOUTHEMERGENCYMECICA.L                                        lPOsoxs1a&                                                       lPARSiPPANY,NJ 07054                 I        s,,s,.oo!                  2,930.79;        2.,930.791      3,387.36!              342.87
XX-XXXXXXX _     iPC REHAB MEO & PHY                                               )960 PLEASANT VALLEY WAY                           !STE 2        !WEST ORANGE, 1t1 01os2-1891                  s,645.ool                  2.969.SOi        2.925.60 i         ss.ooi              342.27
XX-XXXXXXX       jARTESJA GENERAL                                                  ,102 N 13TH STREET                                 I             !ARTESIA. NM sa210                   I        3.673.00i                  3,122.osi        2.922.05 I        200.00!              34US
XX-XXXXXXX       i~CE,0NTRAL=~CA=R0=IO~L=0~6'~M~E=0~ICA~L=0.IN=l~C_ _ _ _ _ _ _ _ _ _ _ _tPO=BO~X_1_1~39_ _ _ _ _ _ _ _ _ _ _ _-+-------i!=·•AKE=RSF==lEL;O,CA93302-1041                 !        5,507.0Dt                  3,493.Ss!        2,912.191         49&.49!              340.70
34-1D21034       INOVACARE REHABILITATION OF OHIO INC                               PO BOX 643407                                                   !PITTSBURGH, PA 15264-3407                    4,972.00i                  3.63S.28!        2,908.24j         727.04!              340.23
                                                                                                                                                                                                                                                       1
47-17S8444       \NORTH SHORE-LU URGENT CARE PC                                    IPo aox 419068                                     I             IBOSTON, MA. 02241                            4,532.ooi                  3,666.So!        2,896.80          110.00!              33830
XX-XXXXXXX       iSUPERIORAIRGROUNDAMBSERV                                         !P.O.BOX1407                                       I             IELMHURST,IL60126-8407               i        5,421.00t                  4,978.3D\        2,896.061       2.082.24!              338.81
XX-XXXXXXX       !GHIStAINE BOULANGER PHO                                          !30 MORNINGSIDE DRIVE                                            !NEW YORK. NY 10025                  I        a.750.00i                  s.100.00:        2,89s.ooi       2,sos.00!              338.69
XX-XXXXXXX       iACCREDOHEALTH GROUP                                              !POBOX954041                                                     iSTLOUIS,M06319S4041                 J        3,616.40;                  3,616.40!        2,893.12!         723.28!              338.47
XX-XXXXXXX

XX-XXXXXXX
                 iELENA. MARA KAMEL MD                                             iPo BOX lilS6
                 lsKOWRON OOUGALMca.EllAN &suwv~AN~_ _ _ _ _ _ _ _ _ ___,j1~44~1~w~TALCOTT AVE #300
                                                                                                                                      i
                                                                                                                                      f
                                                                                                                                                    iaECFORD PARK. IL 60499-10S6
                                                                                                                                                       fom:AGO. IL 60631-3714
                                                                                                                                                                                                  4,880.00:
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                                                                                                                                                                                                                                                                       ,             3311.04
                                                                                                                                                                                                                                                                                     336.11
XX-XXXXXXX       !COLQUITT REGIONAL MEDICAL CENTER                     i3131SOUTH MAIN STREET                                        -1--1-----r,M~O=u~,m=,e.~GA=3l~7~  ..=-------t---.=.,,~,~7.0~0'-,-;-----=~:;1'-,-i--',..=70=_."',;..1                 -----'="---               335.83
;·~;;;~~~M••~·· r~ST   PRACTICES INPATIE;-~E LTD                                   ]3880 SALEM LAKE DRIVE F                                         [LONG GROVE, IL 60047-5292                    4,054.00;                  2,867.89;        2,867.89)                              335.S1
XX-XXXXXXX       !STONY BROOK EMERGEN~-~SIOANS                                     !PO BOX 1554                                                     tsraNY BROOK. NY. 11790                       3,365.oo'.                 2 866.9D1        21166.90!               -i             335.40


                                                                                                                                  EXHIBIT2

                                                                                                                                          37
                                                             Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 61 of 266 PageID #:11157




XX-XXXXXXX



08-5769n8
                  jEDGEWOOD CJNICAL SERVICES INC

l-'l:.1·=,354'-'S=S88=--t'MA!=_lj STREET RADIOLOGY BAYSIDE
                  iJENMFER CHIONOilO LMHC
                                                                             12948 ARTESIAN RD STE 112
                                                                             !PO BOX 28803
                                                                              !2234 JACKSON AVENUE
                                                                                                                         AEU INTERIM DISTRIBUTION




                                                                                                                                      lm 205
                                                                                                                                                      iNAPERVIUE. IL. 60564

                                                                                                                                                       NEW YORK, NY, 10081
                                                                                                                                                      !SEAFORD, NY 11783
                                                                                                                                                                                                   4,620.0Ql

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 sa-1s2075s !NoRTHs1ae EMERGENCY ASSOOATESPC                                  PO sox 115229                                                           iATI.ANT°'~=•~oa=..   ~------t-l      --~•~,4"',a=.3=s;...i----·~!690_39:     2,856.00!           2,83439!          334.12
oc2=-2•=•ss~6654=-~le~M~e~•~PHY ASSOC NORTH JERSEY PC                         PO sox 535551                                                           !oNONNATI, OH 45263-5551          i            3.52.LOO~         2.sso.2oi    ~-2Di                                 333.44
 XX-XXXXXXX       !LAuRASJROWITZLC5W                                          l23wEST73RDSTREETSTE6is                                                 !NEWYORK,NY100l3                             3,225.00!           3,225.001    uso.oo                375.ool         333.42

XX-XXXXXXX        iBAYLORMEOCTRWAXAHACHI                                      iPOBOX844597                                            j               IDAl.LAS, 1X752134                           5,084.18;          .. ~c.S"'S8.=9=3;...:---=2,84=7=.1•+---==i----~
                                                                                                                                                                                                                                                        71L79(      333.09

,.2~6-=293=•=•~is~_,!N~EW~"'=""=c~•~RM~•~r=-cLOG=Y~&~M_c~"~•~su-•_•~'"-'-----------+B20=2N=c~••~•~---------------l!~~rre=3A~--+l"~voRK.NY10011                                               -~3~.soo=.o=•,-!_ _ __:3.S::c7:.=2.=1=;0;,...._2.1!42="'·='"'t---==,'----....!;
                                                                                                                                                                                                                                                  130.ool                 332.SD
XX-XXXXXXX         TEXASOfrtCRENS PHYSK:IAN GROUP                             PO SOX 4769                                                             iHOUSTON, TX. 77210-4769                     S,568.ooi           3,275.11:    2.842.07;           1,500.BOi         332A9
sg..1335473       !eMERGENCYREsouRCESGROUP                                   !Posox11349                                              I               loAYTONABEAa-t,FL.32120                      3,931.00!           z.838.oo;    2.838.oo!                   -l        332..02
SS-059284S        !wrLUAMSON MEMDillAL HOSPI                                 !Po sox 4023zs                                           I                ATlANTA. GA30384-232S                       3,604s1l            3,118.991    2,833.78]            S14.021          331.52
2~1678064         :ANESTitESIACONSULTANTSOFMORRI                             iPDBOX882710EPrA                                         l               OIICAGO.IL6068D-1271                         3,800.00!           3,606.40i    2,832.00!            774.40!          331.32
XX-XXXXXXX         RUSH OAK PARK HOSPITAL INC                                139013 EAGLE WAY                                         j               JotlCAGO, IL6067S.1390                       S,D73A9;            3,162.46i    2,831.76[           1.6S9.81j         331.29
XX-XXXXXXX        '\HAMPTON PINES EMERGENCY PH\'SICANS                       1Pa BOX 3786S                                            l               iPHILADELPHIA. PA 19101-786S                 3.932.00   i        3,53s.soi    2.831.04             707.761          331.20
XX-XXXXXXX        iENDOASSOOATES OF STATEN tslAND PLLC                        360 EDISON sr                                           !               STATEN ISLAND, NY 10306-3041                21,600.00j           3,808.0Bi    2.,829.31[          1.693.88!         331.00
26-3S52869        lmrAL VASOJLAR CARE Puc                                     POBOX28060                                              j               NEWYORK,NY10087.SOSC                        10,962.cx:/          4,3S6.23i    2,sn.2Si            1,646.46[         330.06
36-3S96417        lvALLEY eMERGENC"fCARE MANAGEMEN                            PO BOX 9367                                                             iDAYTONA BEACH, FL 32120                     3,158.00 (          2,819.ss'.   2,819.Ss!                             329.86
XX-XXXXXXX         ADVANCED RADIOlOGY MRI CENTERS LP                         lPO sax 3170                                             I               !L£W1STON, ME. 04243                         6,859.oo!           4,784.oti    2.Bts.691           1,968.32!         329.41
XX-XXXXXXX         ST JOSEPHS HOSPITAL                                       ipQ BOX 27541                                            \               !SALT LAKE CITY, UT 84127                    8,038.88\           3,414.44!    2,814.44             600.001          329.26
XX-XXXXXXX         WEST ELEVENTH STREIT PEDIATRIC                            l46wesr11THSTREET                                        f               lNEWVORJC.NVtoo11-9216                       4,565.ooi           3,t13.3o1    z,su.30.            1..367.13!        329.13
XX-XXXXXXX        IPAlMYRA SURGICAL UC                                        420 CHARTER BLVD SUITE 103                                              MACON, GA 31210-0717                         5,813.oo!           2,813.10)    2,813.10!                   .!        329.10
XX-XXXXXXX        :THE SURGERY CENTER LLC                                     3111WRAWSONAVESUITE100                                  !               !FRANKUN,WIS3132                             3.309.00j           2,812651     2,812.65j                   -i        329.0S
S6-2059380        _VERSCEND TEO-INOLOGIES INC                                jPOBOX5459                                               I               NEWYORK.N\"10087                             2,808.09!           2,808.091    2,808.09!                   .!        328.52
20-39S9465         lAUREl. MD ENDOSCOPY ASC llC                               12510 PROSPERITY DRSfE 200                                              Sil.VER SPRINGS. MD 20904-1640               3,SOB.oo!           3,sos.ool    2,806.40   !         701.60!          328.32
XX-XXXXXXX        !CAROUNA LITHOTRIPSY LIMITED                                PO BOX 95333                                                            GRAPEVINE. TX76099-9732                      7,000.00!           4,900.001    2,797.69   !        2,102.311         327.30
XX-XXXXXXX.. ___ .. NEWTON EMERGENCY MEDICALASSOOATES                         PO BOX 6352                                             I               jPA~PPANY. NJ 07054-7352                     2,791.00!           2,791.00)    2.791.00                    -!        326.52
XX-XXXXXXX         ONCOLOGYHEMATOLOGYCARElffC                                !POBOX733471                                             !               OAl.lAS, TX75373-3471                       11,566.00!           3,478.lOl ··--··- _2,?82.47:.---~=+-----'=
                                                                                                                                                                                                                                                        695.63l 325.S2

XX-XXXXXXX         BOTSFORD G~-~-~~~H~OS=PIT~Al~--------------rPO=BO~X.~B601=s~•----                                                                  !MINNEAPOLIS MN 55486--0159                  5,869As;            3,394.42!    2.779.42i            615.00]          325.16

26--4467~ -·-·· iMORRISTOWN EMERGENCY MEDICAL                                 PO BOX G3U                                                                                                                                                                        324.9B
                                                                                                           - - - - - - - - ~ - - - - ! P A R S I P P ~ , NJ~=;07c,OS4-"'-'73"'1=2'------+---'S"",102.=00~f _______ ·- 2,~777_._86-,1_~2,~7~77~.86=,------;------~
XX-XXXXXXX        •QUEsrDIAGNOSflCS                                          !1001ADAMSAVE                                                            !NORRISTOWN,PA19403-2401          j         13,494.92'.          3,4S5.37\    2,no.44             1,70830\          324.11
XX-XXXXXXX        !TEMPE EMERG PHYSICANS LTD                                  P0BOX 731323                                                            ioAU.AS, TX. 75373                !          5,789.00'.          2,76930(     2,769.30!                   -!        323.98
XX-XXXXXXX         PfDIATRICSPECAUSTS                                         5057 SHORELINE RD                                                       !LAKE BARRINGTON, IL 60010-1700              3,953.ooi           3,080.65'.   2,768.65j            312.00!          323.90
                                                                             1
35--2285785        BENSENVILLE ARE PROTECTlON DlSTRlCT                       iPO BOX 457                                                              !WHEELING, IL60090-0457                      Z,764.SOi           2,764.801    2,764.80                              323.45
2~1480964         ilAkE BLUFF IL ENDOSCOPY ASC LLC                           .101s WAUKEGAN RD STE 980                                                !tAKE BLUFf, IL 600443013                    8,ozs.oo;           3.BlS.Soi    2.760.SO_           1,oss.00!         32235
XX-XXXXXXX        ]CENTRALOKrH0PECICGROUPLLP                                 l6S10LDCCUNTRYRDSTE200                                   1               IPLAINVIEW,NY,11803               !          3,204.00:           2,.796.79(   2,.751.79i             45.00!         321.93
XX-XXXXXXX        iTEL-ORU:,G,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+']~06=W=ElS=H"'RD=AD=------------                                11-----l;ts..Q.~.~- PA19044-2208                             2.1so.10i                                          .,'
                                                                                                                                                                                                                       ~.~•750=··•~!-~2.1so.1ori-----;------'=
                                                                                                                                                                                                                                                             321.73
~D-880968D        fsEO:LEYEMERGENCYPHYSIOANS                                 1POBOX731167                                        ....N!    ·-·---   ___ lDAU.AS. nc:15373                          3,816.oo!           2.746.SOl    2,746.50                    .!        321.31
XX-XXXXXXX        )ANESTHESIAPATIENTSERVICES                                 !168SSERVICERD                             _ _ __,!~STE=3SO~--...                                                                                              320.08
                                                                                                                                           :M_Et~"'=l1E~N-Y_117_"7~-235=8------+---~3,4Z0.00'.---~2~.73~6~.oo-;--='·ec736=.00~!'-----;------=
147-0780857       !SAINT ELIZABETH PHYSICIAN NETWORK                          2683 SOLUTION CEHTr:R                                                   l011CAG0, IL   606n                          3,416.00'           3.416.00~    2.132.soi            683.20!          319.n


                                                                                                                                   EXHIBIT2


                                                                                                                                          38
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                                                                                                                                              AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                                                                                               ~~
XX-XXXXXXX                                                                                                                                                                                                                                                                                      31952
XX-XXXXXXX                                                                                                                                                                                                                                                                                      318.BS
XX-XXXXXXX       jGREAT SOUTH BAY ENDOSCOPY aNTER U.C                                                                                                                                                                                                                            680.00         318.21
11·3438973       lwsNOiS NORTH INC                                                                                                                                   PHl1ADELPHIA,PA1919S                          5,103.23                3,317.11\          2.717.lli          600.001        317.87

i-=S-:..c3194=060=_,~CAP~O~IAG:..cN~O~STl~CS~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ :POBOX101B44                                                                          .PASADENACA91189~-005=3-----+--~20~,4"'95:..c.00=---"-''°""'04cc8cc,4c:1,_'_~2,"-71S=.44-c,',--==c:.;..-
                                                                                                                                                                                                                                                              10,948.391                        317.68

XX-XXXXXXX
XX-XXXXXXX
                 ilClOS HEALTH PARTNERS   ~c
                 MPVNEWJERSEYMOS1:RVICES-PC_ _ _ _ _ _ _ _ _ _ _ _ _ _ [POBOX419430
                                                                                                    !;!.;   GOLF RO                                     isurre 200   !SKOKIE, IL 60076
                                                                                                                                                                     'sosroN,MA,02241
                                                                                                                                                                                                                   4,397.00
                                                                                                                                                                                                                   5,588.16'
                                                                                                                                                                                                                                           2,9_1_0_.u~'._ _2,~715_.13-+i--~=+-
                                                                                                                                                                                                                                           3,562.601          2,711.271
                                                                                                                                                                                                                                                                          1,DSLODi              317.64

                                                                                                                                                                                                                                                                                 85933          317.19

XX-XXXXXXX       \RYE RADIOLOGY ASSOCATES llP
                                                                                                    130R'fE RIDGE PlZ               --------+-----1·~•YE=BROOK, NY~,lOS='~·------+--_.=,s,440~:- ----'3"',1'-'49",4"'7~'--=2.710.86!, _ _ _438.61
                                                                                                                                                                                                                                            _                                                   317.14
                                                                                                                                                                                                                                                                                           ;
XX-XXXXXXX       :NESHAMINYVAllEYOilRCPC                                                             24408R\STOLRO                                                   BENSALEM,PA1902D-6002                         5,575.00                3,800.00;          2,~.00]           2,337.00!       316.81
XX-XXXXXXX       FOREST CTY DIAGNOSTIC IMAGING UC                                                   IPO SOX 685                                                      !BEDFORD PARK, IL,, 60499                    17,420.00;               6,726.07:          2,706.46!         4,019.611       316.63
XX-XXXXXXX       ]SLOANE VESHJNSKI                                                                  !332S HOLLYWOOD BLVD #301                                        !HOLLYWOOD, FL 33021                          3,250.00]               3,000.00l          2,700.DOi          300,001        315.87
36-416!1028      MEDSOURCE LLC                                                                       3002Ga.LST                                                      !BLOOMINGTON, IL 61704                        7,189.SOl               3.594.SO\          2.696.ool         1.117.22!       315.40
XX-XXXXXXX       !MAGEE WOMENS HOSPITAL                                                             jpa BOX 382007                                                   Pms&URGH, PA 15251                           10,365.SOi               3,666.65!          2,682.20          7,615.951
                                                                                                                                                                                                                                                                                        _,      313.79
XX-XXXXXXX       iNoRTHERN aNTER FOR PlASTICSUR                                                      A CAPUANO 700 E PALISADE AVE F                                  !ENGLEWOOD QJFFS, NJ 07632                   22,942.00:               2,681.84 j         2,681.84 \                        3l3.7S

72-1561115t ... _...4D0MINK:AN HOSPITAL                     ...........-.................... ··-·--···· --+-PO~BO=X 742?90 --· ..                                    LOS ANGELES, CA 90074-2990                    3,195.00!               2.97S.ooi          2.673.80!          301.20!        312.81

~~962            !AMBULATORY CENTER FOR ENDOSCOPY LLC                                                PO BOX 417750                                                   BOSTON. MA 02241-nso                          5,040.ooi               2,671.20:_ -~2,o/=1.20=;1-----+---           -i      312.50
13-35184669      !JACKIE COHEN LCSW MstD                                                            /131 WEST 85TH STREET LB                                         !NEW YORK, NY 10024                           5,060.00;               4,752.00!          2,668.20[         2,083.80        312.15
                                                                                                                                                                                                                                                                       1
XX-XXXXXXX       SOtAUMBURG ORAL & MAXILlDFAOAL                                                     ls99 N PLAZA DRIVE surrE 102                                     SCHAUMBURG, IL 60173                          3,682..oo!              3,682.00!          2,665.60          1.016.401       31L8S

9S-3042835       LOSROBLESEMERPHYMEDGRP                                                             JPOBOX661147                                                     ARCADIA.CA91066                               2,n6.oo'.               2.665.ooi          2,665.00                  -1      311.78
XX-XXXXXXX       SOUTHTEXASRADIOI.OGYIMAGINGCENTERS                                                  POBOX2949D                                                      ,SANANTONIO, TX78229                          3,209.001               2,921.60:          2,664.18:          257.42         311.68

XX-XXXXXXX       QACKSPENCER WHITE&MCCORMACK PA                                                      2001 WfBBfR ST                                                  \SARASOTA. Fl34239-5237                       4,594.26;               2,816.60!          2,660.40   I       156.201        311.24

XX-XXXXXXX       :PRIME HEALTIICARE SERVICES RENO UC:                                               11801 W OLYMPIC BLVD #1467                                       !PASADENA, CA. 91199                          8,94L9Si                4,205.481          2,659.07          l.546.411       311.08
XX-XXXXXXX       !mve:N M ARMBRUST MD                                                               lpe sox 3611                                                     CAROL STREAM. 11. 60132-3611                  3,64a.oo!               2,ss1.s1i          2,656.19             31.621       310.75

36-2700n4        fANESTHESIA CONSULTANTS                                                            !34121 EAGLE WAY                                                 OUCAGO, IL 60678                              6,085.00:               4,015.SOj          2,652.26 i        2,475.241       310.29

20-5638ll2....   ,NEW YORK ALLERGY ANO ASTHMA PLL                                                   iPo BOX 20755                                                    NEW YORK, NY 10021-0>75                       5.580.0Dl        ·····~·~·· 2.~69_s_s....
                                                                                                                                                                                                                                                        1)_ _,.~6SO_S_1.-1   -----+----
                                                                                                                                                                                                                                                                                 45.00,         310.13

XX-XXXXXXX       lt1f.!!1 AVENUE ANESTHESIA ASSOOATES                                                PO BOX2594_o_ _ _ _ _ _ _ _ _ _ _ _--t-----i-•-ew_YO_RJC.~N_Y_1oos_1_ _ _ _ _ _-,-_ _ _3~,36_D_.oo--;,-•                   ----•~.3_60_.oo_ir-_~2.-•so_.20......,l___709.80
                                                                                                                                                                                                                                                                           ~-+---1              310.0S

XX-XXXXXXX       !TAYLORVILLE MEMORIAL HOSPITAL                                                      201 E PLEASANT ST                                               TAYLORVIU.E, IL 62568                         3,341.66                2,846.62;          2,646.62 i         200.00i        309.63

2D-8445687                                                                                                                                                                                                                        144.02i
                 PORTER PHYSIOAN 5ERVICESLLCDBA PORTAGE M::EDc:;ICAl=Gll=D:..cUP'---------F•-=D-=BO=X'-'9"'754=--------------+-----J!"'•ru=AST=·M~E~04=915-9=-=-7=s•------+---•~.ss=•c::·OO=-c----''"·'="9"'.8"'1l,__,,2.64=5."'79"i---==,--                                                    30953

 7-1930457       AI.EXIAN BROTHERS MEDICAL CARE GROUP NFP                                           iPo BOX 20684                                                    !BELFAST, ME 04915                            2,885.oo\               2,885.00(          2.645.ool          240.00         309.44

XX-XXXXXXX        ALEXI AN BROTHERS SPEOALTY GROUP                                                  i25883 NETWORK Pl.ACE                                            !0t1CAGO# IL 60673-1258                       3,193.00,               3,193.ooi          2,643.60i          549.40!        309.27

81-SU9163        ]MAUREEN OBRIEN MOOMJY PC                                                          hoE60THST                                           SUrrE1901    !NEWYORK.NY10022-1oos                         3,670.00·               3,622.1oi          2.643.oo!         1.021.00!       309.20
01.0223482       MIWNOCKET REGIONAL HOSPITAL                                                        !200 SOMERSET sr                                                 MIWNOCKET, ME 04462                           2,852.40'               2,641.33;          2,641.331                 -1      309m
XX-XXXXXXX       ,EMERGENCY MEDICINE PHYSlOANS                                                      !PO BOX 18901                                                    BELFAST, ME 0491s-4084                        4,865.40.               4,643.14\          2,640.66]         2,,002.48,      308.93

XX-XXXXXXX       lRALPH VlcroR CONSTANTINO PHD                                                       815 ELM AVENUE                                                  ioEFAULTCTY, NJ 07666                         s,814.00:               s,614.ooi          2,640.00!         2,974.00        308.85
22·2068684       !1RVING PALTROWnz MD JOEL GOLDFARB MD M                                             1086 TEANECK ROAD SUITE 4C                                      !TEANECK, NJ 07666                            3,300.00(               3,300.oo'.         2,640.oo!          660.001        308.85

r2c::6-c:,1lS0=385=-i!='"::cPITE=Rc::A~NESTH==·'=IA::,ASSOC="'------------------i!.~o~•=o"'x~74=383=5=D.-ECPT~l002=6~--------1------f';ATlANTA,.GA30374                                                            3,584.00;                                                     ·1 _ _
                                                                                                                                                                                                                                           2..=63cc7=.82=;~-~2.i63=7.82=l_ _ _ _.....,          308.60

XX-XXXXXXX       lPHYSlCANS DIAGNOSTICS& REHA8LTD                                                    l6700FRANCEAVE S                                   tm 230       \M~NNEAPOUS, MN,,-'='·"=',,'_____.cc.25=9=.2=9c;.l---=2,ec636=.15"-i'------"'=c.c+----
                                                                                                                                                               SS4=35=-------l-'---•cc·..                                                   1,623.141                                           308.40

"4"'S-"560407=::.•=---F•M=E=•:..cGE:cNecctc;Pc.cHc.cYSc;OccF=••=GtEW==O~O""D'-PC=---------------+1P"'O"'BO=X=19~85=2-----------------;1-IIELIS-AST~,M-E_04_915_-4_09_3_ _ _ _ .J__..__~•,52~•·-oo~·----•~.2_0_7.25-;,!_ _2.~635-.60...,i_ _ _571.65!
                                                                                                                                                                                                     .M _ _                                     _+ - - -                                        30834
 27.0113181  CTUMACDER                                                     !1946 45TH STREET                                                 iMUNSTER. IN 463213917                   3.330.00l             2,752.11!       2.632.11 l        120.00                                            307.93


                                                                                                                                                      EXHIBIT2

                                                                                                                                                         39
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                                                                                                                        AEU INlERJM DISTRIBUTION



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~~ rll~•~~~~~~~l~-                                                                                                                 ~-~~Jilif~r~~ "·                                                                  .:~~~~~~~~.p~fl~ "'-;~·.:.:~-.            -_..,;.;
                                                                                                                                                                                                                                                                            ~.1
XX-XXXXXXX    iAKASHDGARG MD                                                                                                                                                                                               ..""""::;..'----"==!----'="'!------""=-I
                                                        -----------t''-'PO'-'BO=X-=10,,•=-·-------------!f-----f!e::,eD=.ofO.:cRo,Dc;P.c.,AR,,,K.,_l,:.L=:604:;,9=:•c.:-l0:::3:::S_ _ _ _+------'4:,:.liS='·oo='----'2."'7"'              2,632.131  796.05]   307.93

31·1375125    MARIETTA HEALTH CARE PHSICIANS INC                                     j400 MATTHEW sr                                                    !MARIETTA, OH 45750                        4,279.90:            3,179.01'.        2.,630.24( 541.15/   307.71

XX-XXXXXXX    HOMEOICALPC                                                          !s106 VERNON BLVD SUITE 202                                   lrstANDOTY,NY11101                  I          4,242.00!              3,208.90;    2,622.10!      sas.sol                306.76

~~3481646     !WEIL FOOT ANO ANKLE INSTITUTE LTD                                   l1◄ss EGOLF RD                                  lsre 131      ioESPLAINES, IL. 60016              t          5,499.ooi              3,2S1.61!    2.614.n!       542.90/                305.89
XX-XXXXXXX

3B-3409nl
              WINCHESTER RADIOLOGISTS PC
              EPMG OF MICHIGAN PC
                                                              --------:-===:::=======================:1sre:::,0<:=====i:W1:N:rn:,:STE:"'~~y"_._:,,;=GO="'-3======----------------+-!l =====2:.10::,.00::i======~2:..:,...::0:f===~===:=====~::::========~::~
                                                            iPOBOX9611S
                                                                                   itGO EXETER DR                                                                                                                                   2,614.SO\

                                                                                                                                                                                                                                 2.613.GO!   -1
                                                                                                                                                                                                                                                           ..             305.87

                                                                                                                                                                                                                                                                          305.77
                             =~----------------+~==~--------------;-----1j~OKIAH~_DM_A_C_rrt~•-°"-"=10~-----•,·--~·~•75~5~.oo-'-<:c-_ _ _ f..,613.60!
XX-XXXXXXX    TEXAS ORTHOPEDICS SPORTS
                           ·===----------------+======~---------+
                                                                                   t4700 SETON CENTER PKWY
                                                                  j' ==~--··1CORTlAND,OH44410-9393I'!
                                                                                                                                    SUITE200     !AUSTIN, TX787S9                               6,531.00~
                                                                                                                                                                                                4,B61.110i
                                                                                                                                                                                                                       2,613.521
                                                                                                                                                                                                                       4,813.401
                                                                                                                                                                                                                                    2,.613.521           -i               305.76

XX-XXXXXXX    TRUMBULL-MAHONING MEDICAl GROUP INC !2600 ELM RD NE                                                                                                                                                                   2.609.oo!     :uouol                  305.23
XX-XXXXXXX    i01GES11VE HEALTH SPECAUSlS                                          ;4 MEETING HOUSE RC STE 6-8                                   ;OfELMSFORO, MA 01824                          4,320.00:              2,808.03l    2,608.031      200.00!                30S.11

XX-XXXXXXX    tSPACEOTYANESTHESIA                                                  la524HWY&N                                      !1342         IHOUSTON, TX 77095                  I          4,266.00!              2,607.00;    2.607.ool            -1               304.99

72-0S35375    !LAFAYETTE GENERAL MEDICAL CRT                                       !Po BOX 54012                                                 !NEW ORLEANS, LA 70154-4012                    2,606.00               2,606.00:    2,606.00[                             304.88

XX-XXXXXXX    KAMEAN£Sr\-lESIA                                                     l34S36EAG1.EWAY                                               \onCAGo, JL6067B-134S                          2,794.ool              2,603.so]    2,.603.sol           _\               304.58
                                                                                                                                                                                                           1
XX-XXXXXXX    CARIUON 5roNEWAl.lJACKSON HOSP                                       /PO BOX 8257'1                                                PHIIADELPHIA, PA 191B2-6761                    5,273.S0               4,746.15,    z,s96_g2I     2.149.231               303.81
                                                                                   I
20--4422527   ADVANCED MEDICAL PRACTICES                                           l1B75 CEMPSTERST                                lsre110       PARK RIDGE. Jl 6006B                I          3,241.001              2,594.33)    2.594.33/      20,.../                303.51

XX-XXXXXXX    PORTER GROUP SERVICES LLC
                                                                                     I
                                                                                  .. 1PO.BOX74~~7                                                iATLANTA.GA30374                    I          3,575.00
                                                                                                                                                                                                           1
                                                                                                                                                                                                                       2,825.06;    2.5B9.SOI      321.ooi                302.95

XX-XXXXXXX    MULTICARE HEALTH SYSTEM                                              IPO BOX 34697
                                                                                   +---------------+----+ISEA_me~,_wA,_sa,_2_•_ _ _ _ _-tl_ _10~,9_,s_.oo....,.:_ _ _                                                  3,~••~3.34'-t-!- ~2,589.411
                                                                                                                                                                                                                                           -;---=cc,----~=,
                                                                                                                                                                                                                                                  5,480.181               302.94

22-38379&7    ,HAMILTON ENDOSCOPY AND SURGERY    ·; 1235 WHITEHORSE MERERVILL 1235
               =========~-------------;=~~~==~--~--------i----c-!rrn_E_NlO_N~•-;.;_-·_086_,..__..
                                                                                                _10
                                                                                                  _ _ _ _ _ _ _; - - 1_ _2~.589.26:                                                                                    2.589.26!    2,589.261            -1               302.92

'XX-XXXXXXX   !PRMA PEDIAlRIC MEDICAL GROUP                                        IPO BOX 15263                                                 BELFAST,ME0491S                                6,828.001              3,162.()41   2,.588.46!    l.174.611               302.82

XX-XXXXXXX    OillDRENSAMBULATORY SURGERY CE.                                      les HARRJSroWN ROAD surre 200                                 GLENROOC.NJD7452                    !         11,100.00!              3,232.00!    2.sas.sol      646.40j
                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                                          302.49

4&-2743318    IN MOTION PHYSICAL THERAPY OF NY                                     J93 BEEOfWOOD srREEf
                                                                                                                                                 1
                                                                                                                                                 FARMINGDALE,NY1173S                 !          s,275.ool              3,68s.so!    2.584.80!     1.100.101               302.40

XX-XXXXXXX    1'TRUSTEES Of COLUMBIA IJNIVER.SITY                                  /pa BOX 28984                                                 INEWYORK,NY1ooa1                    I         19,280.ooi              4,829.04;    2,578.731     2.250.31[               301.69

SS-0491651    ISUMMERSVlu.E REGl0NALM£DICAL CENTER                                 1400 FAIRVIEW HEIGHTS RO                                      lsuMMERSVILLE. wv,266s1             I          4,542.001              3,216.4nl    2,.575.aol     640.GOi                301.34

XX-XXXXXXX    KENOSHA .FAMILY PRACTICE SC                                          is923 GREEN BAY RD                                            lKENOSHA WI 5314,4.3737             !          s,345.00!              2,793.101    2.575.201      21a.so!                301.27

XX-XXXXXXX    JUNIVcRSITT OPHTHALMOLOGY ASSOCIATES                                 !1s REMITTANCE DR                                0EPT1283     OilCAGO,ll,60675                    I          8,832.0D[              2.629.20!    2,s59_zol       60.00!                300.57

                                        J5103 w 159TH sr STE 110                                                                        2,560.ool  640.001
XX-XXXXXXX    ========'----------------f'======----------t!
              iSURGICAL CARE ASSOCATES lln                       _____!r·n00NLEY=P~AR=K,=IL~604=n~-------:--j·----'~<=,200=JHl~\~--~3,200=.00=,i-~==+---==t-----==:.-i
                                                                                                                                                                 299.49

XX-XXXXXXX    ===========------------i-===~------------+-----lreosr_ON~·~·--=0=22"'•:.1
                                              !PO BOX 416923
              !MERIDIAN MEDICAL GROUP PRIMARY CARE                                     _______                                                                                       +-i,_ _. .:•:,:.a: :10.:=ooc:.,. .·___..,3,=,oa,,,>M=;f--==,;..---==f------=="--1
                                                                                                                                                                                                                                      i.sss.is!  48B.29[         298.93
XX-XXXXXXX    SARA l WESER PHO                                                     lus CARRottsmEET                                              jBf'.OOKLYN, NY 11231                          2,975.00!              2,975.00!    z.sso.ool      425.oo!                298.32

XX-XXXXXXX        UROLASC OF NORWALK                                               !12 ELMCRESTTERRACE                                           NORWALK. CT 06850                   I          6.918.0Di              6,23-4.60!   2,548.eoi     3,68s.ao!               298.18
XX-XXXXXXX                                                          /137 STH AVE FL 7
              GREATER NEW YORK GASTROENTtROLO~---- ----------+~==~------------ic-----+•~ew_YoRJS,NY10010-,142                                                                        I          1,300.00!              3 , 6 5 9 . 12,546.n!
                                                                                                                                                                                                                                    ~ - - - - - ~ -1,112.39!
                                                                                                                                                                                                                                                   + - - ~ = ~ - - - - ~297.94
                                                                                                                                                                                                                                                                         ~-1
XX-XXXXXXX    WISCONSIN PHLEBOLOGY MEDICAL GROUP SC                                12001 BUTIERAELD RD STE 300                                   DOWNERS GROVE. IL. 60515                       7,165.95'              3,180.SO{    2,544.381      636.12!                151.67

47•3207494    \EMERGENCY PROFESSIONAI.S OF COLORADO                                'IPO BOX 638803                                 i             □N□NNATI.DH04526-8803               I          5,oss.ool              2,544.oof    2,544.00!     l.78L731                151.62

XX-XXXXXXX    \ADVANCED FOOT AND ANKLE SURGEONS                                    \zis HIUCRESr' A~ surre. 13                                   -YORmLLE. [L60560-1385              \          2,870.12;              2.540.u}     2,540.ul             -i               297.17

XX-XXXXXXX    !CAMDEN CtARK MEO CTR                                                IPD BOX 1134S                                                 !OIARLESTON, WV 2S339                          4,527.54;              3,884.0&i    2.533.38[     1,899.68!               296.38

XX-XXXXXXX    INEUROLOGV AND SLEEP SPECIAUSTS p A                                  !POBOX4356                                      I             HOUSTON, TX, 77210                             6,450.001              5,814.D0[    2,52!U6i      3,284,84!               29S.89
                                                                                                                                                 I
06-151.9342   '!ENDOSCOPY CENTER OF CONNECTICUT LLC                                !2200 WHITNEY AVE SI'E 380                                    !HAMDEIII,   er. 06518                         2.525.00:              2,525.DO{    2.szs.00!            -1               295.40

UNKNOWN       iaNTURA                                                              '
                                                                                   !POBOX119                                                     !eEUAJRE. lX n401                              2,824.98:              2,824.98;    2,524.98!      300.00!                295.40

XX-XXXXXXX        AWANCE HEALTH SERVICES                                           ]4 BEDFORD FARMS                                i             !eEDFORD, NH 031lll-6528                       3,497.45;              3,249.35;    2,523.60!      725.35j                29S.24

XX-XXXXXXX    ]ADVANCED PLASTIC SURGERY OF LONG                                    \1soo MERRICC RD                              ·--·!-----+IMEccR~Rl~CK,=N~Y=ll=S~GG-4~53~0~-----;---=12.=100=.00~·           ----•=•144=.ia=i;---==c.;---
                                                                                                                                                                                                                                  2.522.751       ,..,,..,1               29S.14
              l                                                                                                                                                                                            1
XX-XXXXXXX    'WILLOWS PEDIATRJC GROUP PC                                          (1563 POST ROE                                  l             !WESTPORT, CT, 06B80                           S.490.00               2,843.90f    2.s22.10!       321.201               295.13


                                                                                                                                  EXHlBJT2

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                                                                                                AEU INTERIM DISTRIBUTION



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                                                                                                                                                                                                            1,623.911   295.12
                                                                                                                                                              s,1s9.ooi                                      415.72;    294.63
XX-XXXXXXX    iMOBOlAJI OYEBANJO                                   !3D7 OLD STONE ROAD                                   '!VILLA RICA, GA 301B0-1214          7,430.00;     2,514.20(        2.514.201                  294.14
XX-XXXXXXX    iEUa-tART EMERGENCY PHYSICIANS INC                   IPOBOX1241                                            i~~ BEND, IN 46624                   3,830.00)     2,890.701        2,513.091      1,190.611   294.01
36--3134797   !JAMES G EU PAS DPM                                  !&304NAGLEAVE lSI' R.                                 !otlCAGO, IL60646-3614              15,129.00;     3,449.74;        ~10.34!         939.40i    293.68

-~~2          leMERSON ROAD 1~~1NG CENTfR LLC                       PO BOX 790129 DEPT 30750                             [sr LOUIS, MO 6317!Hll29             s,764.oo!     6,134.80(        2,507.84'      3,626.96i   293.39
XX-XXXXXXX    iANNETCARLON MDPC                                     42.5 EAST 58TH STREET 39A             .i                 NEW YORK, NY 10022               4,7SO.OOJ     4,750.00)        2,503.53!      2,246.47!   292.89
XX-XXXXXXX        NEW JERSEY IMAGING NETWORK LLC                   ]27695 NETWORK Pl.                      i             !OIICAGO, IL. 60673                  S,84D.BS!     3,895.88;                       1.561.BSi
XX-XXXXXXX    ·PROMETHEUS LABORATORIES INC                         !PO BOX 7487.31
                                                                                                     --····1             !Los ANGELES, CA 90074-8731          s,000.ooi     s,000.00'.
                                                                                                                                                                                             2,501.40!
                                                                                                                                                                                             2,500.00       2,500.00
                                                                                                                                                                                                                        292.64
                                                                                                                                                                                                                        292.47
XX-XXXXXXX    iCRANlAI. TEotNOLOGrES INC                            1395 W AU10 DRIVE                                    !T£MP£,A2 85284                      4,DDD.oo!     2.soo.00!        i..soo.ool            .!   292.47
XX-XXXXXXX    !REGIONAL WOMENS HEALTH GROUP LLC
              I
                                                                    PO BOX 536                                           lvooRttEES, NJ, 08043                5,sso.oo:     3.096.08;'       2,499.sol       596.281    292.4S

33-0644S1D    !VITAS HEALTl-lCARE CORPORATION OF CALIFORN          !PO BOX 645306                                        !aNaNNATI, OH 45264-5306             6,279.ool     4,395.30!
                                                                                                                                                                                     '       2,497.04;      1,898.26!   292.13

2~3440338     !cotoNIAL VlllAGE                                     898 GREEN STREET                                     !ISEUN, NJ 08830                     6,141.00.     4,156.60;        2,493.91)      1.662.69!   29L76
87--0492272   iUTAH CARDIOLOGY PC                                   520 E MEOICAL OR STE 310                                 BOUNTIFUL. UT 84010              4.SSo.ool     2,493.11!        2,493.11              .I   29L67
                                                                                                           1
XX-XXXXXXX .....i~RDIO VASCULARASSOCATES OF                        1501 SEAVIEW AVE                         STE100       ,srAlEN ISlAND, NY, 10305       I    3,000.00      2,846.64:        2,493.01[       353.63!    291.6&
XX-XXXXXXX    ; CARDIOVASCULARSERVICEASSOOA,:ES _..                '5255 S CCERO AVE                                     !a-11CAGO, IL~;;~915            I    3,115.ooi     3,1is.ool        2,491.001       624.DO!    291.42

~1.~3699      !MERCY QJNlCS INC                                     POBOX1475                                            IDES MOINES, IA,S030S           I    3,29s.ool     ~.401            2,481.23        532.17     290..28

XX-XXXXXXX    lsouTH SHORE MEDICAL CENTER                          !Po BOX 645515                                        .JaNONNATI( o~. 45264                4,749.00:     3,062.181        ~,'IBOssi       581.63     290.20

  3211013     ]EMERGENCY MEDICAL ASSOCATES                         !POBOX596!J                             !---           CAROLSTREAM, IL 601!:17             2,480.00'     2,480.00i        :Z.480.oo!            -l   290.14

SS-0737750        DAY SURGERY LIMITED UABtUlY                       PO BOX 890239                          I             rCHARLOTTE, NC 282139-0239           5,650.001     2,963.18;        2,479.lBi       484.00!    290.04

XX-XXXXXXX        BELMONT COMMUNITY HOSPITAL                        PO BOX 644134                                         PFTTSSURG, PA 15264                 6,l!:11.82!   3,095.911'       2,476.73        619.18     289.75

36--3358915    PALOSANESlliESlAASSOC                                DEPARTMENT 4622                                      !CAROLSTREAM, IL, 60122              2,47D.0DI     2,470.DO!        2,47D.00!             -!   288.97

XX-XXXXXXX     l'r:INGS DAUGHTER                                   1POBOX2379                                            ,ASHLAND, KY, 41105-2379             5,159.00'     3,13D.2Sl        2,469.87!      l.424.881   288.95

XX-XXXXXXX    1UTTL£COOFMARYHOSP                                    2800 WEST 95TH STREET                                 EVERGREEN PARK, ll 6080S           14,447.92:     3,761.47['       2,469.89!      3,09S58i    288.95

~~~!_51D      (THEDA OAKS GA.STROENTEROLO                          !19226STONEHUE                              sre 103   ;SAN ANTONIO, TX 78258               4,110.00~     3.082.50~        2,466.00   '    616..SO!   288.SO
11:2239841    jNASSAU ANESTHESIA ASSO□ ATES PC                     !216 FIRSTSTREET                                      jMINEOLA, NY 11501                   s.100.00!     2,831.00;        2.464.60        366.40!    288.33

XX-XXXXXXX    .PULMONARY SPECIALTIES                                POBOX4913                                            lsEl..F~: ME 04915                   3.450.00!     2,462.381
                                                                                                                                                                                     I
                                                                                                                                                                                             2,462.38!                  288.07

XX-XXXXXXX    leowARD FISH~~--                                      45 EAST 85TH sr                                          NEW YORK, NY 10028--0957         7,670.00)     6,081.00'        2.461.13!      3,574.87!   287.93

XX-XXXXXXX    iTOURO INFIRMARY                                      POBOX60159                                           INEW ORI.EANS, IA 70160             24,311.241     3,076.00!        2,460.80!       615.21!!   287.BS
                                                                   I
XX-XXXXXXX    lsouTH SHORE MRI LIMITED PARTNERSHIP                 iPOBOX847924                                          leoSTON. MA 02284-7924               2,450.00)     2,460.oo!        2,400.ool                  287.80

XX-XXXXXXX    !MARTIN BASSlUR                                      !s99 CENTRAL AVENUE                                    WOODMERE, NY 11598                  s.soo.ool     3,57S.oo!        2,400.001      1,115.00,   287.80

XX-XXXXXXX        ELIZABETH V HALE KEEP MEMORIAL                    PO BOX 785112                                            PHILADELPHIA. PA 19178-SW        2,451.ool     2,457.00:        2.4s1.ool             .!   287.44
XX-XXXXXXX    !NYACK EMERGENCY MEDICAL ASSOOATES                    POBOX632l                                            !PARSIPPANY, NJ, 07054               3.274.00:     3,081.80;        2,457.00        624.B0i    287.44

XX-XXXXXXX    /SHAWNEE MEDOAL CENTER CLINIC INC                    /PO BOX 258884                                        !OKLAHOMA CITY, OK 73125-8884        4.34U4j       3,636.72;        2.456.44       1.180.28!   287.38

XX-XXXXXXX    !MERCY FRAN WESTERN HILLS                            Jpo aox 632241                                        iONONNATI, OH 4S263-2241             7,585.84:     4,087.56f        2,455.291
                                                                                                                                                                                                        I
                                                                                                                                                                                                            1.637.27,   287.24

XX-XXXXXXX    :uFEUNE MEDICA.LASSOO~TES UC                          iP080XS190                                           !PARSIPPANY, NJ. 07054               8,336.00 1    3,835..37~ -·-·-··2,454.601     1.355.13!   287.10
                                                                                                                         I
XX-XXXXXXX .. ~ \APOU.O HOSPITALJSr GROUP LLC                       !~~ CAMBRJDGE OR                                     !KILDEER, IL 60047-3321              3,841.71!     2,448.61\        2,448.611       933.19!    28fi.46
                                                                                                     ·---~
XX-XXXXXXX    IPINEHU~ ANESTHESIA ASSOOATES PA                      j35 MEMORIAL DR                                      iPtNEHURST, NC 28374                 4,896.00~     2,448.00(        2,448.ool                  28639

20-S290325    IPAINTHERAPY ASSOCIATES LTD                           ;POBOX8477                                               BElfAST. ME 04915-84n            3,250.00t     2,9S1.Sti        2.446.s1l       sos.co!    286.22


                                                                                                         EXHIBIT2


                                                                                                                41
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                                                                                                                                AEU INTERIM DISTRIBUTION


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~;;;;:;~A~-: _.· -.~~~~"'~::
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11•3479155           ioiGESTIVE DISEASE ANO NUTRITION CENTER OF WESTCHESTER                l2 WESTOtESTER PAU DR STE L·l                  1                jWHJTE PLAINS, NY, 10604                         4.315.ooi        :usa.621        2.443.95 '    414.67 !                     285.92
ss-oz411ss           IAEGISSCENCESCCRPORATIDN                                              lPO eox 645463                                                  iaNCINNAn, OH 45264-5463                         4,630.oo~        3,038.3oi       2,4411.sol    s91.so!                      285.55
                                                                                                                                                                                                                                                      I
XX-XXXXXXX           SOUTHWEST PEDIATRICS                                                  i8100 W 119TH STREB'                                            !PALOS PARK, IL 60464-3041                       3,138.00:        2,942.93!       2,439.93!     503.oof                      285.45
11-2552321___ (STONY BROOK FAMILY MEDICAL                                                  jpo BOX 419002                                 !                !BOSTONa:.M~. =·22=4-"l'-------!---"3,3"5"'5:::.00=,: --~2,90~2-~oo,_i- ~ 2.435.821
                                                                                                                                                                                                                                     ==t--~=   466.iaf
                                                                                                                                                                                                                                                 =                                      284.97

XX-XXXXXXX           jNAPERVltJ.ESURGICALCENTRE                  ---------~:"'12~•~·~ " ' ° ' = ' " - T ~ " - " - - - - - - - - - - - - '------<INAPERVILLE., JL,~60540--------+--=15~,25=7~.DD=,-;_ _ __,3~,35=0=.2=5;-[- ~2.~21.12!                      922.53!                      284.02
XX-XXXXXXX           1LAJCESHORE ANESTHESIA PC                                   i541 ens BOWEN DR                                     I             /MUNSTER, IN 46321-4158                2.414.41~     2.414•.u;         2,414All                                                    282.46

F2'-1-=3525=9=ss'-..,M"''==""'""'JTE'-'M=ED=1CA:.:L,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-+i42=1"'s'-'CAM='-'""='cc•,VE~'------------!l-----li=o=XFO=Roa:.2H~.4=5DS6=-------!!_ _-=,3.0"3=o.o=•=-i_ _ __.:,2,"'4'="·=00c;:_-===1-----
                                                                                                                                                                                                                               2.410.00!      -i                                        281.95
 XX-XXXXXXX            jMARYrAY PRlBvt PHO             _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,.2_222_C_HE5rNUT AVE STE 303    --·--·---···-··-L.. ____,,G=LE=NVl=EW=•lt=6002==6-_,1=600=------l---"2,911=0:::.00=,\_ _ __,2,980.00i-!-~==-;--~=~
                                                                                                                                                                                                                               z.410.00! 570.0Dl'                                       281.95
 146-0853200           ISHREWSBURY AMB~LATORY ANESTHESIA l l                          ]po BOX 188                                     1          .lfTTLE SILVER. NJ, 07739                        7,000.0D~       2.no.00;     2.410.00i 300.00:                                        281.95
21-300938S           10NE MEDICALOF NY Pc                                                  !Po Box 637                                                     lSAN FRANOSCO, CA94104-0637              I       4.960.DOI        3,IB3.52l       2,409.581    1.085.941                     281.90
                                                                                                                                                                                                                                                      I
XX-XXXXXXX           GWIN Nm PEDlAlRICSANO ADOLESCENT                                      ls9S HURRICANE SHOALS RO NW                    !STE 300         llAWRENCEVU.I.E, GA, 30046                       4,850.681        3.986.82\       2,409.48;     190.001                      281.89
XX-XXXXXXX               Hill COUNTRY OB-GVN ASSOOATES PA                                  lPO BOX 269092                                                  !01C1.AHOMA crrv. OK 73126-9092                  3,83s.oo!        3,286.29i       2,408.231     878.0Gi                      281.74
XX-XXXXXXX           !METHODISTHOSPITALOFSOUTHERN
                                                                                           1LOCKBOX42428                                                   jlOSANGELES,CA90074                      I       2,606.00i        2,606.00i       2,406.DDI     200.ooi                      281.48
?,!""156278D         !NEW YORK: PHYSICIANS UP                                              ls3S MADISON AVENUE                                             lNew York. NY 10022                      i       5,638.00J        3,992.39!       2.405391     1.614.00!                     281A1

58-107!l83D          !PIEDMONT ANESTHESIA ASSOCIATES                                       1Pa BOX 535384                                                  lATI.ANTA GA 30353.5321                  I       s,22s.oo!        2,s9s.oof       2.4D2.DDi     193.DDi                      28L01
XX-XXXXXXX           KENNEDY MEDICAL GROUP PRAcnCE Pc                                      ]soo MARLBORO AVE                                               IDfERRY HILL. NJ oaoo2                           3,391.1s!        3,532.44:       ~..... 1      782.641                      280.75
~2:-1391851 .. -~ WEST O£S MOINES O&-GYN ASSOOATES                                         14949 WESTOWN PKWY surre 140                                   !wesr DES MOlNES, lA 50266-6716                   2,959.DD!        2,959.DD!       2.393_40[     S65.601                      280.00
2D-54202S1           CAIRO MEDICAL CARE UC                                                 11118 5TH STREET SE                                             ICAIRO, GA 39828-3141                    I       4,833.S9f        2,592.00:       2,39LBsl      •is.s,I                      279.82
XX-XXXXXXX           !seo.ueNOM CENTER FOR MOLEC                                           lDEPT LA24114                                                   \PASADENA. CA 91185-0001                         1,1sz.oo'.       4,984.o&l       2,388.ool    2.596.061                     279.37
02-022sn4            ]SPEAKE MEMORIAL HOSPITAL                                             !PO eox GO                                                      IROCHESTER, NH 03866-0060                        2.,312.ool       2,312.00!       2,312.00!           .I                     277.SO

XX-XXXXXXX           lruLLAHOMAPHYStCIANSGRouP                                             IPOeox11407                                    l0EPT2014        !e1RM1NGHAM,AL35246-ZD41                 I       2.310.00:        2,310.ool       2.370.ool           -1                     zn.z,
27-D904056           AESTHETIC AND RECONSTRUCTIVE                                          !1 WEST RIDGEWOOD AVENUE SUITE 302                              !PARAMUS, NJ 07652                               2,365.00]        2,365.oo/       2,365.001           -!                     276.68
XX-XXXXXXX           !ALL AMERICAN LABS UC                                                 !1101 GREEN RD SUITE A-2                                        IPOMPANO BEAOI, FL33064-1074                     5,904.DOi        2.36t.60i       2.361.GO!                                  276.28
30-0711Z11           IPROFESSIONAL CU NI CAL LAB                                           !2so33 NETWORK: PLACE                                           iOitCAGO, IL 60673--U&o                  I       1,201.2si        2,na.ss!        2,360.701     377.951                      276.18

F""-'-5=28=6=73=•'--;.Jw""EST=VJ=•G='"=IAccE=M=ER=G,,Ee,cNCY=.Pc,cHYSJ=OA=N=''------------+l:1~•~••=M~IT~D~•~M=n=lll3~-----------t-----1l.~.1L60675-1103                                            I,      3,932.001        2,949.ooi       2,359.201     589.SDi                      276.00
                                                                                                                                                                                                                               2,35s.ssl
s"'s-~•63=""''"--'-fl"-ND:::RTH="-•nA=NT"'A"-P:..:E:D::::IATil=JCc::ASS=oc"--------------flP:..:o:..:eo=x-"42=13=67"-------------+-----+-!A~TLA=Nl:~A-=GA=30~34-=•~.8367=------+---'3"'.225=.00=li+-'_ _ __,2.969=~3c.;5'-~==+---==               613.50)                               275.61

~~~44832      NORTHSIDE RADIOLOGY ASSOC PC                                      !Po BOX 102263                                                    ;All.ANTA,~,~-'=°'=..~ - - - - - - f----=•,,,,256.=oo~!,__ __.=,3,"'43""9=.8=5,:_-'== '
                                                                                                                                                                                                                               2,354.91/------- 1,084.941                               27S.5D
SS-0715643-··-·· PSYCARE INC                                                               ]312 6TH AVE                                   STI: 2          1SOUTH OiARLESTON, WV 25303--1265                 3,650.00\        2,786.00!       2,351.00i     603.D0i                      275.04
                                                                                           1                                                                                                                                            2,350.00f  575,00!                              274.93
n-2943708            BARAIJAYANTMOFACP                                                      345HENRYSTREETSU1TE1os                                   --;c!o~RAN=G~E.~NJ~•~1~os~0-=2S~1~1_ _ _ _ __,__ _-=2,,.•=2S=.oo=.-:----=2,9=25~-•~ol,-_==,---==
XX-XXXXXXX           sr touis UNNER5ITY                                                    IPO eox 18353M                                                 !srLouis. Mo 63195-8353                           3,589.ool        2,405.s2;       2,347.81[      s1.s1l                      274.67
62-168221D           COLUMBIA MEDICAL CENTER Of LEWISVILLE SU                              !PO BOX 100276                                                 IAllANTA,. GA30384.QZ76                           3,637.50!        2,546.25;       2,346.ZS!     200.ooi                      274.49
u-3362663            iPARK SLOPE   MEDl□NE pc                                              IPO BOX 54SO                                                   !New YORK, NY, 10087                      I       s.541.ooi        3,100.os!       2,34s.ssl    1.235.sol                     274.44

XX-XXXXXXX           ]w1NDHAMG1u.c                                                         l1SOMANSFIELOAVE                                               1WJWMANTic,.cro&22s                       I       2,339.00]        2.339.ool       2,339.001           -i                     273.64
XX-XXXXXXX           NORTH JERScY HEALTH AND Wfil
                     1                                                                     \47 POWELL RD                                                   !ALLENDALE, NJ 07401-2010                        3,500.0Di        2,584.01\       2,335A11      439.59;                      273.22
46-U97677            bo1NTPRO PHYSICAL THERAPY INC                                         \9545 LINCOLN WAY LN surrE 116                                  IFRANKFORT. IL50423·1882                         5,460.00)        2,33s.os!       2,33D.S3l           -!                     zn.65
XX-XXXXXXX           !METRO OIICAGO SURGICAL ONCOLOGY uc                                   [po sox s11s                                                    lsELFAST. ME 04915                               6,400.0D         2,161.11!       2,328.15!     433.56!                      272.37
~ - ~ ; 5 ........   1~~~ BROWARD MEDICAL CEN                                              i201_E~PL.E RD---------                        i                !oEERflELD BEACH•.   ~Fl.~3~30~64-----~-~·~·08~2.~D=O,-'_ _ __,2~.383=-•~s:,....- ~2,323.211
                                                                                                                                                                                                                                                ==---=  59.84!                          271.79

XX-XXXXXXX           louPAGE VALLEY ANESTHESIOLOGISTS LTC _ _ _ _ _ --------i'iPO=eo=x"-'38=72,_____________ ......,1. ----+!CA=•o=L~STREAM==·~"~•013=,2:..:·•=•u~----+--- 6.330.00\ _ _ _ _4~.56=9.?~s+!                                ---===,---==
                                                                                                                                                                                                                                            2,323.001 2,246.75!                         2n.n
XX-XXXXXXX           lRAYSALCEDOMDINC                                                      IP0sox1001                                                      hARZAHA.CA91357-7001                             3,600.oo:        z.aao.oo!       2,315.901     S64.10!                      270.94


                                                                                                                                        EXHIBIT2

                                                                                                                                              42
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---~23.-~                                                                                                                                                                                                                                                                               F-
                                                                                                                                      AEU INTERIM DISTRIBUTION




XX-XXXXXXX    lrNOVAHEALTHCARE                                                              299DTelestarCourt                                      I                   !FalJsChurch,VA22042                        I          2,32D.4Dl                2,312.00!          2.312.ooi                    j                   27D.48

XX-XXXXXXX     THOMASVlllEORTiiCPEADICCTR                                                   lOOMIMOSADR                                                lR              !THOMASVILLE.GA 31792                                 23,443.00'                4,160.0li          Z.310.951          10,559.SOj                     27036
XX-XXXXXXX     ANTHONY JOSEPH CAPIZZI MD                                                    786MONTAUKHWY                                                              !WESTISUP,NY11795-4926                      !          1.100.00,                Z.400.00~          2.310.00]               90.ool                    210.25

F2"-7-=390S=SS=O=-..;i=CAR=OU=NA=Uc.:RO=l0=G't'-'P-"AATN==:•RS=---------------"!9"-7""35'-'K"'IN=CEY=•"-"'~STE=2=0=-l---------+-----irH"'UNTERSVl===ll.E,=N=-C2B=07-=8--=9=120=-----l----''"''l50=.00c=+--:_ _ __:2,;.B=:°'=·9~-;-\-~2.3~07_.2-;1i_ _~502.=n-+i_ _ _ _-'2"'69=.9=2-i
52-214828D    isuMMlTAMBUlATORYSURGICAL                                                    ;125CROSSROADSDRSTE306                                                      jowiNGSMIUS,MD21117-5421                               2,882.00'.               2,882..00~         2,305.60]             S76.40!                     269.73
XX-XXXXXXX    !~MEDICALCAREPC                                                               ZOGRANOsr                                            ·-1                   /WARWICK,NY10994                                       3,591.00!                3J1]7.09i         2,30SA9!               746.60[                    269.72

33-0n6408     !?·=E.SCE="-NT'-'H-=EA=t""THCAAc..-=c.:•c:1N"'c'----------------!!'-'·PO°'BO=x-=•3=00=<.=-M=S=37_         ·--·------+i____-il'-'PO"RTLA=-=""cc•=°""'""-'=208=--------!--!----"9,,.:;725=.BO=-'----"'.B=•-=•=-•2=;:_                                     _:2.3=03=-n:+'---"l,=530,5,:::85::;[_ _ _ _ _269=.52=-t

::::::: :::~o.::.::::RTS
01-010s009     ROBERTPMOSKALDMD
                                                                                           1:1-::~::~:~;~;;;~~;----- -----l------- -r=:::.::::1
                                                                                            BlSWCENTRALST                                          isreo               IFRANKUN,MA02038
                                                                                                                                                                                                                             :::::
                                                                                                                                                                                                                              4,190.oo:
                                                                                                                                                                                                                                                       :::::; :::::
                                                                                                                                                                                                                                                       2.294.90;         2.,294.901
                                                                                                                                                                                                                                                                                              2.202.38!

                                                                                                                                                                                                                                                                                                       -l
                                                                                                                                                                                                                                                                                                                           :::

                                                                                                                                                                                                                                                                                                                           268.48

39-1gn350     [1HC·KENOSHARADIOLOGY                                                        IPOeoX63814                                                                 !PHOENIX.AZ.85082                                      s,541.ooi                2,31uo:           2.292.40!            2.538.901                    268.19
XX-XXXXXXX    !SPECTRUM HEALTH PRIMARY CARE PARTNERS                                        PO eox 2864                                                                !GRAND RAPlDS, Ml, 49501                               s,923.oo!                7,996.451         2,291.90:            s,104.ssl                    268.13

12·936769S     ESTABETHMORROWAr:sw                                                          641CRAWFOROAVE                                                             leROOKLYN,Nv11223                                      s,220.00!                3,740.64~         U9Q.641                1SO.ool                    261.ss
XX-XXXXXXX     NEUROLOGICALASSOCATESOFLONG                                                 11991MARCIJSAVENUESUITE 110                                                 [NEW HYDE PARJC,NY,11042-2062                          2,800.ool                2,800.00f         2,289.541              51D.46l                    267.85

XX-XXXXXXX    lsrLUKES-STVINCENTSHEALTHCARE                                                i4201BELFORTRO                                              --------;[J~A=CKSO=N~Vl~U£=,Fl=322=1"'6-~1~•'=1-----+----~s,e:62=7=.oo=;i_ _ __..=,3.37=6.2=oc;,l_ _:2,2B7='--'A-=5+-;         ---"1,=os=S.cc75::;1____---'2:.:6::.;7.,,61:..i
26--4058719jCAMDEN<LARK MEMORIALHOSPtTALCORP           ,604 ANN ST                                     IPARKERSBURG, ~-cc26"'l"Ol'------+-----=2•e:B04=~l,..----=~-\,-.-~2.284-.69.-,.11___24_3_.6...;1!_ _ _ _~26~7=.29'-ol
~1-1~~6
           1
            PROFESSIONALPATHOLOGYSERvtCE
        ~-+========='-----                   ---------+-POBOX539
                                                                                                        ; - ~ -----------;-----~----e----~----;_,--~~-,---~=r,l----~='-1
                                                          ~ ~ ~ - - - - - - - - - - - - - + - - - - - +]ASHLAND~~!.41105                            2,715.00;        2,327.0ti   2.28330!    43.711              267.12

11•2ssa11s  STONY BROOK INTERNISTS pc                  jpe BOX419006                                   1eosroN,.~~0=22~•=1--------+---•~·980=.oo'--'-t-;---~'~.2~44~-'-=2,..'-~==~oc;l_ _~962.=22=t------~2""67"".ll3=-i
33-185S733     BOTSFORDANESTHESIOLCGlSTSPC                                                 !POBOX64000                                                 OWR641581       iamorr,Ml48264                                         2,278.00l                2,278.oo!         2.273.ooJ                                         266.SD
XX-XXXXXXX     PALOS MEOICAl GROUP UC                                                       12251 S 80TH AVE                                                           /PAl.0S HEIGHTS. IL,, 60463                            4,067.00!                2.S97.92j         2.27S.06j              322.86!                    266.16
s0-0090759     LAKESHOREGASTROENTEROLOGY                                                    POSOX84098                                             I                  !ouCAGO.IL60689                                         2.273_00:                2,213.00;         2,,213.00!                    -!                  265.92

XX-XXXXXXX     STSURGJCALCONSULTANTS                                                        PO BOX18783                                                                ieruAST, ME04915-4D82                                  4,28LOO!                 2,841.13~         2,,268.671             572.461                    26SA1

XX-XXXXXXX     RIOIMONOGASTROENTEROLOGY                                                    ,POBOX5498                                                                 !BEtFAST,ME04915-9998                                   3,l2L07i                 2,348.42!         2,260.981                87.44:                   264.Sl
76-038Ei391   !KELSEY-SEYBOLD MEDICAL GROUP PLLC                                            PO BOX 840786                                                             !DALLAS, TX. 75284                                      5,864.00;                2.338.831         Z.260.83j              548.62!                    264A9

F46-=l3=03::0::u,._4lMASS==M='""'CA=Lsc='""c'------------------+•PO=•~o•~is=29='---------------;-----\FLOVES=~P~"""=•·!k~••=13~2'-_____....___~•.21=1=.s~si_ _ _~2.~63=5-~48c;'-~Z.~9.48!                                                                                                       376.oo!                    264.34
XX-XXXXXXX-    HAMPTONMEOICALCAREUC                                                        lPOBOX102S                                                                 IHAMPTONBAYS,NY11946                                    3,395.00;                2,928.931         2,256.13:              672..801                   263.94

XX-XXXXXXX     TMH PHYSIOAN ORGANIZATION                                                    PO   sox 4719                                          !                   IHouSTON, n: n210                                      1,32s.oo;                3,480.96!         2,255.s1! _ _       ~1.3=53=:·•=•:-l___-=2=••:::.BB=-i
F'=-"=2544=25=1~---;'o=u"-RAM='="~u.c=----------------------i!-21=64=5.:,Rl:CH.:::ARO=S:=STR=•ET=-:...._ _ _ _ _ _ _ _ _+------i:SA=LT'--'""'=''-"'"ITY'-''-"uT'-'64=115=-------!'-----"''""79"'3"'.oo"'!_ _ __..=,,,e:
                                                                                                                                                                                                                    ..-=s·=s1::;i_ _:>.:,:2S::S:::.S:::1"-l_ _=,l.23=o.o=o::;l_ _ _ _---'2:.:63,e:1fl=.i
SS-0620929     RALEIGHRADIOLOGYINC                                                          POBOX744098                                                                IAnANTA,GA30384-409S                                   3,538.00j                3,411.211         2,252.121            1.159.09!                    263.48

XX-XXXXXXX     PEDIATRIC CENTER LLC                                                        ,PO aox 22ss                                                                ITHoMASVlll.E, GA.31799                                4,747.ao:                2.950.s1l         2,243.57[              582.9ol                    263.06
XX-XXXXXXX    lrHeuN1VERSrrrOFTEXASMEDtCALBRAN01                                           .POSOX660UO                                             loePT730            !oAIJ.ASTX75266-0120                                   6,1s1.33i                6,536.33;         2,243.301            4,293.o3i                    262.44
XX-XXXXXXX    !MARIETTA O8-GYN AFFILIATES PA                                               !Po BOX 17418                                                               !BELFAST, ME 04915                                     4,290,ool                3.695.06:         2,242.781            1.452.28!                    262.38
XX-XXXXXXX    !FANNIN EMERGENCY GROUP uc                                                   !po sox 400                                             1                   ISAN ANTONIO, TX 78292                                 4,523.oo!                3,319.9oi         2,240.sz!            1.023,981                    262.17

11-358n9B     !JSAACALEVIMD                                                                 1575HILLSIDEAVENUESUITE202                                                 !NEWHYDEPARK.NY11040                                   3,soo.oo;                2.soo.001         2.240.00i              s60.oo!                    262.06
22.3302241    !ANESTHESIAASSOOATES oF MORRISTOWN PA                                         PO eox 24002                                                               INewARK. NJ 01101-0410                                 2,240,ool                U40.oo\           2,240.00]                     -1                  262.06
54-a2194308   !EARtYREHABSERVICES INC                                                       sa1sw1LMETTEAVE                                                            !wESlMONT,IL60559                                      2,800.00·                2,soo.ooi         2.240.00i              s&0.ool                    262.06

  :::c==::c:223o::...-i:M:.::O:.::RE::IAN=O'-'O=•:=r.tC!-'NC:.,A550CS==5"'C'- _ _ _ _ _ _ _ _ _ _ _ _ _ _ _!;.=•ll=l=-170ElA=R~•ccLD~ST=31=1----------+-----+!wc.•~u~•=ES-'-HA,=W~IS=3~lE=8-=34~0-'-7_______
3..                                                                                                                                                                                                              ._t ····---·~·-··3,15=9=.ooc.,'---~'·-'-085=.50=c;i-~,.~23~9=.40=;-i --~-=10'+!_ _ _ _ _2.::;6=l.9cc•'-I
1'4-'-7-"'357'-'-83=82=--1•='=M=G~G=AST=Ro~•-~•TE=RO=L=OGY=u.c~--------------;!PO_BOX_4_1915
                                                                                         __ 2 _ _ _ _ _ _ _ _ _ _ _-f-------;)-"'eo:::sro=N·MA,,02241                                                                         S,1S1.oo;                3,23Lso1          2,238.601              993.ool                     261.89
XX-XXXXXXX    lAMERICANANESTHESIOtOGY                                                      !POBOXS3S375                                                                IA11.ANT~-;~30353.5375                                 5.825.00                 2.475.631         2,237.97!              237.66!                    261.82


                                                                                                                                                  EXHIBIT2

                                                                                                                                                       43
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                                                                                                                                             AEU INTERIM DISTRIBUTION




l f J l i l ~ 4 l ~ ~ l : i ~ A f ~ i ~ ~ ~ ~ , ~ ~ ~ , -·-                                                                                                                                                                                                                                            ;.~:,_ ilF ;. :,;~_:. :·
XX-XXXXXXX
               1
                FAIR LAWN DlAGNOSTICJMAGING                                                     1Pa BOX 3341                                                 I              !PEORIA. 1LG16t2-3341
                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                            2,216.00:                 2,241.42!          2.23s.34l                  5.08!                      261.63
9s-uis23o      lPOMDNAVALLEYHOSPITALMEDICALCENrER                                               iPOsox840960                                                 1              iLosANGELES.CA90084                                             s,65s.ss:                 4,193.1&!          2,234,41!             L9ss.1si                         2&1.40

XX-XXXXXXX     IGREGORYAWIENERMD                                                                !544oNCUMBERLANDAVE                                          !STE1os        l011CAG0,1L60656-4100                                           2,3zs.oo'.                2.231.sgj          2,,231.ast                     -1                     2&1.11

,XX-XXXXXXX    (JUUE NISSIM                                                                     \26 FIREMENS MEMORIAL DR STE 115                                            1P0MONA. NY 10970-0998                                          2.705.00;                  2.464.27j         2,230.101               234.11!                        260.90

XX-XXXXXXX     !ISLAND DIGESTIVE HEALTH CENTER                                                  !PO BOX 785132 ----·-- ···-----                              i              !PHllADELPHlA PA 19178-5132                         1:----'lB=·=soo=.OO~i_ _ ·----"'••cc•1c=2.=aa=;!_-'2"'.22""1'-'.l,::60,..ii_ _.:,6.444=.84=!_ _ _ _ _2e,60oc·::::'"e.i
Z6-152Gl6G     iPIONEERGlaJNICAPC                                                               j1200A1RPORTHEIGHTSDRSU1TE210                                I _ _ _ _bNOtORAGE.AK99508-2.969                        ····--··-•-;           2,470.ooi               2,223.aol    2,2231>0!                 -f             2so.01

XX-XXXXXXX     lewoT                                                                            !Po sax 9676                                                 I              !MA,:.::,N:Ol=ESl'E=Rc:::,_!!=-~=.o::::,"wa='=-----l---'•"-:!"-'?~""--~"'1:i                                               ...•~1!~::::::::!258::.,~,
                                                                                                                                                                                                                                                         ======~•:.04~15~:1{~======::r,:!j.•!_=~===1,=,::
:::::: ;:,:;:~-=co,TES                                                                          :::::::Place                                            ·+              -J::~~;:;~:cc•52=63:_______-!------:~~~,o~3~7.,.~---~~~.:~•~=co:::,-'.----"~=:.=12=-,ii----'~"-'~=AB=;-)-----=:-=
                                                                                                                                                                                                                                                          ·                             ..                                                         :::::'-1
XX-XXXXXXX     !WAKE FOREST UNIVERSrrY                                                          !Medical Centel"Boulevard                                    l              iWIMtan-Salem, N.c. 27157                                       8.D71.SO:                 5.23S.2Bt          2.208.64!            2.986.64!                        25839

XX-XXXXXXX     ITW1N BORo PHYSICAL THERAPY ASSOOATES PA                                         !11so RARITAN RD                                                            !a.ARK. NJ, 07066                                             14,771.ool                  2.759•.coi        2.207.521              9.84S.2Bf                       2.58.26

22-2n2134      IARPO EUGENIO GUERRERO MD                                                        h1s CHESTNUT ST                                                             !NEWARK. NJ 01105-1570                                          2.780.ool                 2.1so.coi         2,201.ool                513.00\                       258.20

XX-XXXXXXX     \CHILDRENSOJNICEASTINC                                                           b901cENTRALPIKE                                              !rn2s1         !HERMITAGE,TN,3101&                                             2,811.00:                 2,286.6si          2.206.681                so.oo]                       258.16
XX-XXXXXXX     !KAtoUANPIMO                                                                     lposox1529                                                   I              IPDRTWASHINGTON,Nv110so                                         2.754.ooi                 2.154.001          2.203.20!               ss0.sol                       257.75
1.3-3430629    [MEMORIAL PSYCHIATRY GROUP                                                       lu1svoRKAVENUE                                               I              iNEWYORK, NY 10065-6007                                         2,44s.oo!                 2,200.so!          2,200.sol                      -1                     257.44

33--0106028    !SHARPREESSTEALYMEDICALGROUPINC                                                  IPOBOX939087
Fo=-G-:::16!1=2==04=1:__-f!AM=E:::.Rl..:;CA:-.:N=AN=ESrH=ESl=OLOGY==-o"',==•..::EW=YO=-R-K------------i'i•..::•..::••"'•"'51=c:o:::occRc...FL_2___________
                                                                                                                                                             !              ISANDIEGO,CA,92193                                              1,211.ool                 3,698.62i          2.15t8.7S\           2,147.GBi
                                                                                                                                                                        -i!FM"-'O'-'UNT=~~-"-.NY=,1054==--,-----+---"',.=n::.s:=..oo:;l---~,.,:::,::::7.5=o,;.f--'2,1=,1"".aa'+;--",..=.=,oe:.i_ _ _ _. .c25=1."12'-I
                                                                                                                                                             __,.l_ _ _ _
                                                                                                                                                                                                                                                                                                                                               257.23



11.212so12     !ISLAND SPORTS PHYSIOTHERAPY P c                                                 13012 JERICHO TPK!                                           ISTE 101
                                                                                                                                                                            1EAST NORTHPORT, NY 11131-&214                                  2.14s.oo:                 2,14s.oo!          2.196.ool               549.ool                       256.91
XX-XXXXXXX     !Me MEDICALP c                                                                   l11s EAST 23RD Sf'REET 10TH FL                               I              INEWYORK. NY 10010-4sss                             i           4,560.ool                 2,100.ool          2,195.oo!             2,365.oo[                       256.79

XX-XXXXXXX     lcic1NTIROGLDU
                                                                                                1
                                                                                                 1SDOPLEASANTVALLEYWAYSUITE301                               I              !WESTORANGE.NJ010S2                                 l           2,34s.oo!                 2,34s.oo!          2,195.ool               us.ooi                        256.79
SS-.2613985    iMARYJKOllAICUZHML                                                               ·1POBOX29236                                                                .,NEWYORK.NY10087-92l6                              j           2,!JGS.oa!                2,96S.ODJ          2,195.00\               110.oof                       256.79

XX-XXXXXXX     !PiEDMONTPED1ATRICPHYSIOANSLLC                                                   IPOeox102321                                                                !ATLANTA.GA,,30368                                  l           2.64s.oo!                 2,194.24i          2,194.2.cl               22.03)                       256.70

88-03217U      IBANNEROIUROIIU.COMMUNrrYHOSPrfAL                                                iPOBOX2978                                                                  !PHOENJX,AZBSD62-2978                                           9,38S.SOj                 3,003.55!         2,187.Sl!             2,706.SOI                        255.92

XX-XXXXXXX     !GEftSON HAGOVSKY ANTONEWALTM                                                    !220LDSHORTHIUSR0                                            lm216          luviNGSTON,NJ07039-S605                                         s,110.00;                 2,836.DB!         2.18&.10!                625.col                       2ss.75

XX-XXXXXXX     lwesr SIDE RADIOLOGY ASSOOATES PC                                               128493NETWORKPIACE                                            1j-----'===c••==:_______
                                                                                                                                                                       IOilCAGO IL60673                                         1                                                            ·==1·~!-----=2•=·~··~·
                                                                                                                                                                                                                                    --~··~··~•-"~7-;:---~•·02=6.~00'-'"!_~2,~183=39='•·. __ -460.2
06-104348D ··- l~~OPAEDIC&NEUROSURG~~~-~-~~~;-·-·-·                                             j6 GREENWIOI OFFICE PARK                                     :              !Greenwich,_ cr=o:068='1,.______-4_ __.,,,s,3::::•cc'::::·44:;i_ _ __:,4,63=6.3=•~;_                     _,2,,.,1"'s1=.53,e·1-l__2ei.4:::54::::.86,ce;.l_ _ _ _-'2=55~-!:22c.j
XX-XXXXXXX     ·1~0RE   HEART GROUP PA                                  _ _ _ _ _ _......!1=82==0:.=5Icc~TEROUTE33ST'E48                                      ------ti_NEPTUNE,NJ07?S3                                                     4,415.00!                  4,243.251          2,181.501             1,881.75!                       255.21
XX-XXXXXXX     ·1UNC PHYSICANS NETWORK                                                          iPOBOX27757                                                                 !~LTlAKECITY,UT84127                                            4.034.00!                 3,433.60i          uso.1oi               1,042.90;                       255.12

XX-XXXXXXX ..JAMemCANSPECIALTYHEALTH             _____________...i1~02~2~1~wATERIDGEC1R                                                                      lsre201        ISANDIEGOCA92121-2102                                           4.333.03!                 3,023.711          UBO.ssl              2,15:z.4s!                       255.11

XX-XXXXXXX     ]DR EUGENE G ?APPi M D p C                                                       !21 EAS1' 87TH STREET                                                       INEW YORK. NY 10128-0506                                        2,985.00:                 2.854.96(          2,179.961               675.0Dl                       255.03
XX-XXXXXXX     jBAYt.ORSURGtCARE AT PLANO uc                                                    !1101 OHto DR                                                I              lPLANo. TX 1s093-sz0s                                           2,905.001                 2.11s.1s!          2,11s.1si                      -\                     254.89

XX-XXXXXXX     ioRTHOPEDIC&SPINESURGERYASSOC                                                    l2350ROYALBLVD                                               l~zoo          letGIN,IL.60123                                                 s,ssLDD;                  2,140.sol          2.1n.31i                563.ni                        254.n
XX-XXXXXXX     leERGEN CHIROANDSPORTREHAB                                                       [S32ANDERSDNAVENUE                                                          !ruFFSIDE PARK. N.101010-1121                                   6,soo.oo!                 3.930.00!          2.173.841             2.10L1s:                        254.32

XX-XXXXXXX     !Q.UANTUMANESTHEStASERVICES                                                      :1030WNORTHAVESTE109                                          I             louCAGO,IL60642·2500                                          12.315.oo!                  2,29s.ooi          2,.1n.48!               123.SZi                       254.04

XX-XXXXXXX     !ARMSTRONGAMBULANCfSERVICE                                                       !s1Mvsncsr                                                   l              JARUNGTON,MA02474                                               3,m.oo!                    2.ss6.2st         2,110.191               4es.os!                        253.89

!l-0864789     lweu.srAR SPALDING REGIONAL HOSP~rrAL=IN~c~_                                     !PO eox 743785                                               T
                                                                                                                                   /ATLANTA. GA303::;74,__ _ _ _ _ _.;....._-'1,..27.,~~;.j                                                                ......-... __ 3,297.3s(       2.169.981---   --•~·66=1.1=0,../_____,2=••=.s"-1-l
                                                                                                                                                                                           1
~•~s--0~00,,,"'1"'11c__-.lUEV=e=c•IA=ND~aJ=•~1cc!:,w~••~oA~----------------+iPO=so,,x,.,s,,,..,,,1,,,o____________..,___ _ __,!.,,,UEV=E"'IA""N"D.,_,,o.tt_.44to1                 2,110.00                                                                            2.3zs.s0!          2.168.SOi               1w.oo;                        253.69
XX-XXXXXXX     !suauRBAN LUNG ASSOOATES 5 C                        !Po BOX 2ns                                                                                              \CAROL STREAM, ll 60132-2776                                    4,222.001                 3,883.44;          2,166.40:             1,717.04!                       2S3AS
77--0664938    !aooH1MEDICAL"'CARE=LLe:c===----------------"-13"-,a""w"-SSTH='-=.,.-----                                                                     lsre4t4        iNewvoRK,NY10019                                                2.s20.oo:                 2.189.16]          2.164.16!                zs.oo:                       253.19


                                                                                                                                                         EXHIBIT2

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                                                                                                          AEU INTERlM DISTRIBUTION



~-Jlil~fJ.l_lr_
XX-XXXXXXX     IBAYSTRfETPEDIATRICS                                    \156KJNGSHIGHWAYNORTH
                                                                                                            ~~;;f~•-~!.~: ~/~ .-
                                                                                                                     1            iwESTPORT,CT06880                           I         3,110.00!             2,906.41!       2.164.15!            742.2s!                  253.18

IS-0532054     !AUBURN COMMUNITY HOSPITAL                              l11LANS1NGSTREET                                           !AusuRN. NY 1l(Q:1                                   16,nl.75!              2.704.oo'.      2,.163.20!           540.so!                  2s3.D7
                                                                                                                                                                                                   1
XX-XXXXXXX     IFLORIDA SUNSHINE DIAGNOSTICS INC                           201 SW 16TH ST                            I            iaKEE0-1081:E. Fl 34974-6117                          2,704.00              2,163.20!       2,163.20;                                     253.07

XX-XXXXXXX     IMARIC A Si'EELE MD PC                                      PO BOX9406                                i            I
                                                                                                                                   UNIONDALE.-~!! 11555                                 3,495.00!             2,709~·,_;--"2,=-1S4~-~•2ct>1_ _ _"2D..c.OO~•l-!,_ _ _ _.;:2:,52".DS=-I
XX-XXXXXXX     IPRINCETCN EAR NOSE THROAT                                  lOFORRESTAL RDS 5Te 206                                jPRlNCfTON, NJ, 08540                                 3,64s.ooi             2,88S.96\       2,149.841            691.12
                                                                                                                                                                                                                                                            1               2si.s1

62-158S063     !suMMIT MEDICAL GROUP, PllC                             'PO BOX 59005                                              fKNOXVU.LE..~. 37950                                  3,865.00i             2,914.771       2.148.64!            726.13!                  251.37

5~3411711      !§~!fTO BAY ANESTHESIOLOGY                              lPo sax 637791                                             loNaNNATI. oH 45263-7791                              2,184.oo:             2,184.00;       2,148.001                  -1                 251.2!1
XX-XXXXXXX
XX-XXXXXXX
               ;LIVINGSTON ASC U.C
               i~;~YCROSS HOSPrr~
                                                                       !Po BOX 305250

                                                                        2701 W 68TH ST
                                                                                                                     :    .
                                                                                                                                   jNA.SHVJUE, TN .37230
                                                                                                                                 •.iOflCAGO, ft 60629
                                                                                                                                                                   ---J--~2~,680=.9~S'.,__ _-"2'CC680.=••=,1--'2,"1"'44-".7=!6L__ _ _.;:S3,c6c=.19=-•;...=_ _ _ _.;:25:,D,:.9"-12
                                                                                                                                                                                       10.09s.,a:             2.138.ool       2.138.ooi                 .1                  zsc.12
                                                                       1
XX-XXXXXXX     iNORnlWESTHEALTH CARE ASSOCIATES                         2500 W HIGGINS RD                            !surresos    iHOFFMAN ESTATeS, IL60169-2171                        4,087.00:             2,426.45;       2,133.23!           293.221                   249.57
                                                                                                                                                                                                                                                            1
XX-XXXXXXX     !uNMRSITY OF PJTI'SBURGH PHYSICIANS                     lPo eox 382053                                             iPfTTS6URGH, PA, 15251                                7,387.02;             4,818.42;       2.132.811          4,006.63                   249.52
                                                                       I
XX-XXXXXXX     iAMSOLANESTHETlSTSOFGEORGIA                             iPO BOX 6U154                                              loALLAS nc 1s251.2154                                 3,11&.oo;             2,2Ss.oai       2,132.00[            123.oo!                  249.42

XX-XXXXXXX     IHOME MSDICALEXPRESS INC                                 621 ILROUTEB3SUrTE101                                     jBENSENVILL£, IL 60106                                2,486.25!             2,321.82~       2,124.56j             98.511                  248.S5
                                                                                                                     I
XX-XXXXXXX     !REACT THERAPY                                          ;939 W MADlSON ST                             !STE 103     l011CAG0. IL. 60607-2740                              a,ns.ool              2,124.20;       2,124.201          3,74s.ool                  248.51

XX-XXXXXXX     IMANAlAPAN SURGERY CENTER INC                           !so FAANKUN LN SUITE 101                      I             MANALAPAN. NJ 07726                                  s,317.sol             2,650.so!       2,120.40!           s30.1oi                   248.07

XX-XXXXXXX     lwnm-tROPFACULiYMEDICALAFAUATES                         1100 HIO<S\/lllE RD              !m204 ,BETliPAGE, NY, 11714  i  7,61s.oo!      2,886.4/~            2,111.1,i                     1,606.76:                        247.69

XX-XXXXXXX     iLOMPOC VAUEY MEDICAL CENTER                                                             i     !LOMPOC, ~-;3438
                                                                              +===-------------;------;--~--~-------t---2~,73_2.oo--,-i
                                                                                IPOeox10ss
                                                                                                                                                  ___~2.~•~•6.29=c,! . .___ 2.2,111ts6.29.48~1 ..__..•-.. ,.•.~001._~·0013~'1-I!,----~2~•1~.sa=-i
XX-XXXXXXX     !MIRACA LIFE SCENCES                                ............+PO BOX 844117           !     !DAU.AS. TX 75284-4117    6,167.00'      4,533.61}                            ~i                                             247.49

SS-.1509260    lnex HOSPITAL 1Nc                                                fPO BOX 60655         ·1      IOtARLOm, NC ZB.2GO      11,241.70;      7,018.001            2.tts.401                     4.261.301 .                      247.48

XX-XXXXXXX     losntsnAN HOSPITAL                                      !PO BX 952552                                 I            !ST LOUIS, MO 63195                                   2,41-4.00!            2,414.00!       2,114.00!            300.ool                  247.32

XX-XXXXXXX     !ASSOCATED RETINAL CONSULTANTS LLC                      l1000GALLOPING HILLRDSTE 304                  I             UNION, NJ 07083                                      3,426.01:            ,U62.19;         2,108.84!            408.351                  246.71
                                                                       ;
XX-XXXXXXX     IMORGANTOWN PHYSICAL 'THERAPY                               943 MAPLE DRIVE                           I             MORGANTOWN. WV 25505                                 2,817.00!             2,63S.02i       2,108.10!            525.92!                  246.63

47-S290605     lcoLORADO HOSPITAUST SC:RVICES PLLC                      POBOX73313!!                                               DAl.lAS, TX 75373-3139                               3,274.00f             3,274.00\       2,108.04!          1.16S.96!                  246.62

22·3833933     !SE£MA NAYYAR MD INC                                     315BAYVIEWDR                                 l             MORGANVIUE, NJ 07551-4652                            2,100.oof             2,100.00!       uoo.ool                   J                   245.68

5'3-2239077 ..Jg.uANTUM RADIOLOGY NORTHWEST                                POBOX3157                                 i            i1NDIANAPOLIS~.I_!!, 46206                            4,044.00!             2.275.041       2,099.33!           246.67!                   245.50

XX-XXXXXXX    ··1SINGULAR ANESTHESIA SERVICES PLLC                     iPO BOX 11839                                 I             NEWARK, NJ 07101-8138                                3,sso.ooi             2,940.00!       :Z.097.46!           842.54!                  245.38

~:;592635      lvANGUARD MEDICAL GROUP PA                                  700 US HIGHWAY' 45 STE 450                             tAIRAEW, !!, 07004                                    3,332.ooi             2.319.a2!       2,oss.szl           491.9si                   244.02

2~1193842      !AUUURN MEMORlAL MEDICAL           77 NELSON StREETSUITE 130 i
                       ======---------------+.c=======--------+----;===~=~------;--~2~,60~5~.oo~l
                                                                              iAUBURN, NY 130l:1
                                                                                                                   ---~2.~60~5=.oo~i;--~2.084=-=oo;_ --~•~==•+-!----~'~43"'.8"'1-1
47-~9457       ·IJOHN CRESS                      !1176 MCHENRY RD           ! ,BUFFALO GROVE, IL 60089 2.375.01:!l            2,329.00)     2,084.ooi, ______,2'-'•s,,.o=•t-l----~2co••=·•=1-1

XX-XXXXXXX .... OillORfN & TEENS MED CTR                               !1101wwtsERD                                               !scHAUMUURG, •L. 60193                                4,155.531             2,869.88;       2,082.;;1            785.911                  243.69

35-225209S     jMT BAK.ER IMAGING UC                                   iPOBOX436                                                   SEATTLE, WA 98124-0326                               4,084.05[             3,389.76j       2,082.281          1,307.481                  243.61

XX-XXXXXXX     lvAD1M EDElSTEIN MD LTD                                 !4555 OAICTON Sf                                           lsa::0K1E.1t. s0016                                   3,481.sol             3,208.41(       2,oso.011            99BAo!                   24334
                                                                                                                                                                                                                                         1
XX-XXXXXXX     ICAROLJNAS PATIIOLOGY GROUP PA                           IPoBOX30637                                  I            iCHARLOm NC 28230-0ti37                               3,713.73!             2.733.osl       2,079.45             653.63)                  243_21

XX-XXXXXXX     !PIEDMONT PEDIATRICS UC                                  !tos COWER RD NW                             \STE4060     iATIANTA, GA, 30309                                   2,788.ool             2,344As!        2.01s.nJ             268.68j                  242.84

20-S819700     luntouNK CORPORATION                                     '!2250 W CAMPSEU PARK DR                                  ionCAGO, ll50612-3S02                                 4,944.oo!             2,854.18)       2,070.stJ/           783.381                  242.26

XX-XXXXXXX ·~···••iSANFORO BEMIDJI EYE CTR                             IPOBOXS074                                                 ,SIOUX FA~.?.?.• 57117                                3,396.00:             2,243.05!       2,069.661            749.401                  242.13

2~15285 •.•.. jSOUTHERN VITREORETINAL ASSOOATES                        ,PO SOX 740849                                J-----+======"--------+---'"'·53=&.=ooc;.:
                                                                                                                              )ATtANTA, GA 311374-0849         ___...,2=.ss="=c•::.2!.__._... {~;·;1····•·-·--~~;·.;+i-----~,""•1=...=-i
                                                                       '2617 W PETERSON AVE                                       jot!CAG□..~ 60659                                     3,ooo.oo!_.           2,0&1.so~       2,061.scl                  -1                 241.sa
3~3917~7 .. _.. l~NDY' OTY ORTHOPEDICS

147-4475730    iHIGHUNE ORTHOPAEDICS PllC                              fpoeox 112                                                 lnHACA, NY148Sl                                      11.2&e.31:         -•··-;,~~~;r-·--··;~~~I,._,---..-_-.,.j----~,~."l.84=-<
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                                                                                                                    EXHIBIT2

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                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 69 of 266 PageID #:11165




                                                                                                                                        AEU INTERIM DISTRIBUTION



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    XX-XXXXXXX     !JAYS KWAWER PHO PC                                                        490 WEST END AVENUE SUITE 1-E
                                                                                                                                                                    1NEWYORK,NY10024                               i    &.soo.ool           3,770.ool            2,D64.oo!      1,106.Do!   241.47

    XX-XXXXXXX     /NEC MUELLER EMERGENCY CENTER, LP                                          PO BOX 4724 MSC375                                                    [HOUSTON, TI( TillD-4724                            6,434.72;           2,934.72!            2.DS4.30i      4,380A2!    240.33
                                                                                                                                                                    1
    XX-XXXXXXX     ]CARI.E FOUNDATION HOSPITAL                                                611 W PARK ST                                                          URBANA,, IL 61801                                  5,225.0D,           2,567.50:            2,054.ool      1.7Saso!
    XX-XXXXXXX ···- FAIRVIEW HOSPITAL                                                         IPOBOX117Z -···-·-···-·----------+----,'P""ITTSf=l=cEtD:o,""M"A"'D"'J2=0=-2------,;----'2",4'°1"'8.9c:,8:,.'._ _ __:2,:.Z,::49,::,66=,-l                   ---"==-
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    XX-XXXXXXX      MIDWESTEMERGENCYASSOOATESUC                                               jPOBOX637542                                                           CNCNNATl,OH45Z63                                   2,951.00           . 2,280.60;           2,046.85!        233.75!

    XX-XXXXXXX     iNORTI-1 ATIANTA PRIMARY CARE                                              !34000LD MILTON PKWY                                  /ST1: C27D                                                                             353.621
                                                                                                                                                                    !AlPHARETTA. GA~,3000==5------+--...=,3-"'=5·ccsoc.l_ _ __c2,c,4=5=D.34:c.c,.!_             __,==.-
                                                                                                                                                                                                                                                                 2,046.721
    22-11194941    luNM:RSITY RADIOLOGY GROUP PC                                              1483 CRANBURY RD                              --·-r                                  00



                                                                                                                                                             least Brunswlck, NJ 08816             8,436.85 !       3,642.77i 2,043.83!  ].598.941
    XX-XXXXXXX     isPOR1SPHYS_1CA_LTH_ERA_PY_E_ASr_P_c_ _ _ _ _ _ _ _ _ _ _ _ _ _           +js_18_M_o_N_T_Au_<_H_wv_______                   . ___ J ___,_iAMA_G_ANSm"_~•-••-•_,._,_o______,____5~,83=5.oo~:_ _ _..,2~,ss~us=l-~==;---~=ccc;.-----'2""38"'.n"'
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    XX-XXXXXXX      CONSOUDATEDPATttOLOGYINC                                                  !POBOXS309                                             !       !CAROLSTREAM,D.. 601.97               2,.040.00j       2,040.00~ 2,040.001          -i        238.66

    XX-XXXXXXX     !FAMILY MEDICINE CENTER                                                   i1101 SAJNT OIRISrOPHER DR                              !m 250   ASHLAND KY 41101-7088                2.447.00l        2,061.74( 2,036.741     25.ool
    XX-XXXXXXX      NORTH POINT PEDIATRICS                                                    3180 NORTH P01NTPICWY                                   STE410 jALPHARETTA, GA, 30005                2,884.00j        2,595.60! 2,035.601    s&0.ool
    XX-XXXXXXX      EMERG PHYS SVCS OF Nl PA                                                  PO BOX 638245                                                  iaNCNNATI OH 45263-8245              11,194.001        2,032.80} 2,onaol    7,14930i
    XX-XXXXXXX     !PRECSlON MEDICAL PRODUCTS INC                                             2217 PLAZA DRIVE                                               !ROCKUN, CA 95765                     3,98D.04!        2,587.0tf 2,02!1.Bll   551.211
    XX-XXXXXXX     !VILLAGE OF BARRINGTON                                                    !Po BOX 457                                                            lwHEWNG, IL 60090-0457                              4,037.sol           2,21s.ooi            2,029.00!       249.oo!
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                                                                               682HEMLOCKST              STE300 ·1MACON·,·-~31201                                       583900!                    4,34.,.,,.j    1. 2,024.981                2,331.25:

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 3&-1358208           iMEMORIAl HOSPITAL                                      !a26 w KING sr                    !owosso, Ml, 48867                                      4,296.251                  2.763.lli         2,017.561                  745.671

 XX-XXXXXXX           !NEWYORKCOMMUNITYHOSPITALOFBROO                         ,POBOX9140GPO                     !NEWYORK,NY10087                               I       28,l.22.BSl                 2,826.76i         2,016.821                2,795.931

 ss-102aso3            SHERIDAN HEALTHCARE OF wv                              .pa BOX 743835 DEPT 10036 I        ATLANTA. GA 30374                                      2,01s.oo:                  2,016.001         2.01•.ool                        -1
 XX-XXXXXXX           ;LOUDOUN MEDICAL GROUP PC                               !PO BOX 17334                      BALTIMORE, MD, 21297                                   3,213.00j                  2,752.66!         z.012...1                  8'4.DDI
 XX-XXXXXXX            COMPRftlENSIVE PATHOLOGY SERVICES                      jpa BOX 842049                     ICANSAS trrY MO 64184-2049                             2,lSUOl                    2,009.lOi         2,009.10!                        -1
    XX-XXXXXXX      YEOIIEL=2A=G=ELBA=="M=DO~----------------t!2=DO~W~AUAB==O~UT'-'STR=E~ET~•=1c~---------,-----;-•~•o~o~""=VN~·~"'~ll2=06-~5~54~2-----t-i'--~2~,80=5~.oo=r!---~2,:,33=:6.=4~i                                                                  .. :Z.001.40;    335.09[

    34-;:,::17c,c53::•::1',_-+TH=IRD=STR=EETc:..:.:FA=.,Mc::;l<::.Yc.,HEA=LT'"H'°SE:IMCES==-------------l'l600=-W"-"TI1:::IR:::Dc:ST~------------,1-----;jFMA~N=SFl=ELO=•~O'"H'-'44-'•=DG-~2=63=c3c__ _ _ _f-_--'3"',50"'0"'.DDc=.!,-_ __,,3,"'40"1."-7=,2!_--'=='i-
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    74-2n9329      !STARANESlltESIAPA                                                         POBOX6S9                                              !               ISANANTONJO!~i•,,.,a=Z!lc=3_ _ _ _ _-+---'2"',94c:•=·°"=.i_ _ _..,2,:.SOO=-•=•:...
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    ~2742950       !WJNTERSFAMILYPRACTlCEPC                                                   2350ROYALBLV0                                          STE300         !ELGIN,ll,60123                                     3,076.36;           2,386.991            1,999.681       3s1.3ll

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    XX-XXXXXXX      OULDRENSSURGICALFNDN ORTI-IO                                              DEPT 10243 PO BOX 87618                                               ,QIICAGO, IL 60680-0618                             3,275.001           2.l9LS3j             1,998.251       393.zs!
    XX-XXXXXXX     iBAKERSFIELDEYEINSTITUTEINC                                               !1so8MEANYAVE                                                           BAKERSFIELD,CA9330S.5178                           S.455.oo!           1.997.241            1.997.24!
    22·3820288     jAl\ANTIC AMBULANCE CORP                                                   PO BOX 35654                                                          "NEWARK. NJ 07193-5654                              2,620.00;           2,620.00)            1.995.131       624.871
    XX-XXXXXXX     !CAROLYN SANDBERG MARTIN LCSW                                              223 KATONAH AVENUE                                                     JCATONAH, NY 10536                                 3,915.00;           2,835.00;            1.995.oo!       840.ool
                                                                                                                                                                                                                                                                         ;
    2()..2081121   lseNJORCARE EMERGENCY MEDICALSERVIC                                        700 HAVEMEYER AVl:                                                     BRONX. NY 10473--1102                              2,062.0D!           1,!392.00;           1,992.00!             -!
    XX-XXXXXXX      NORntEAST ORTHOPEDICS AND SPORTS MEDICINE PLLC                           1so1 AIRPDRT EXECUTIVE PARK                            l               INANUET. NY, 10954                                  s.sis.oo1           3,168.32:            l.989.22i      2.683.lOj

    ~-?~9_53073    !INTERNAL MEDlONE PRACTICE UC                                             ]312 BELLEVILiETPKE SUITE lC                                           INORTH ARLINGTON, NJ 07031                          3,383.00;           2,952.24;            1,987.24L...    965.ooi    232A9
    XX-XXXXXXX __ .. iEMERGINET UC                                                           JPO BOX 116151                                                         [AnANTA GA 30368-6151_ - - - - - - + - - ___!.,045.DO]                  2,288.201            ........1       304.56]    232.07

    XX-XXXXXXX                                                                                                                                                                                                  1,983.56! 3,011.30!
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    71-090~2       rASSENTIAL THERAPIES INC                                                   j422 N NOR'THWEST HWY SUITE 210                                       [PARK RJOGE. IL6006S-3261                           5.940.00\           2.479.141            U83.42I         495.721    232.04


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              lsourHERN NASSAU PHYSICAL THERAPY

              lvARUZHAH OOvtATYAN
              !GREG 5 COHEN MD
                  NEMOURS CHII.DRENS HOSPtrAL
                                                                       1225 MERRICK RD

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3&3947062     JARUNGTON RJOGE PATHOLOGY SC                            \s2oe22Nosr                                  i           jtDMBARO ll 60148-6110        i      5,842.0D:
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                                                                                                                                                                                                   3.28L40i     1.973.88           l.307.52]                              230.92

~~672601      lOJNICAI.. PARTNERS PA BAOWNWOOO                        !~BOX1712                                                !LONGVIEW, TX 75606           !      2,224.001                      2,224.ool    1.973.BO!           2S0.20i                               230.91
35-QB68132        MEMORJAL HOSPITAL                               -- --i61S N MlOtlGAN ST                                      i.soUTH BEND, IN 46601-1033          5,168.00i                      5,168.00i    1,972.58;          3,195.421                               230.77

!;:~~~27      [ADVANCED COLON AHO RECTAL SURGERY                       ls10 BRDAOli□LLOw R□ADsurre 307                         !MELVILLE, NY 11747-3606      LI   ... 2.977.ooi                    2,977.00:    l.971.601          1.00SAOI                                230.66
81-074S237        LA PORTE CJNICCOMPANYUC                              iPO BOX 74008602                                        :CHICAGO, IL. 60674                  2.524.44;                      2,UL54i      1.971.541           140.001                               230.65

XX-XXXXXXX        ORTHOFDCINC                                          !PO SOX 849806                                          ioALI.AS, TX 75284                   4,995.00;                      4,3SS.D2!    ,..,._.. 1         2.384.671                              23051

XX-XXXXXXX    IBULLHEAD CITY OJNIC CORPORATION                         iPO BOX 19061                                           !BELFAST, ME 04915~085        I      1,969.00'.                     1,969.ooi    1.969.00                   -i                             23035
XX-XXXXXXX    IAI.ZEIN MEDICAL LTD                                     '
                                                                       1285D W 95TH ST                             STE400      ;EVERGREEN PARK. IL. 60805    !      2,983.00'.                     2,048.561    1,968.56              SD.DOI                              230.30
XX-XXXXXXX    iPAUSADESSURG\CALASSOOATESPC                             las MCGRATH DRIVE                                       !CRESSKILL. NJ 0762G-1745     I      2,4SD.oo:                      2.4so.ool    l.968,00'           492.ooi                                230.24

XX-XXXXXXX    !TAMPA SAY EMERGENCY' PHVSIOANS Pl. DEPT 1104            jpQ BOX 18349                                           IBELFAST, ME 049~078          I     3,800.0D\                       2,990.211    1,.965.21          t.025.00[                              229.91

              '
XX-XXXXXXX ___ !BRADLEY D KURTZ
                                                                       I
                                                                       13300 SPARKER RD                            STE404      !AURORA CO 80014-3529               4,509.oo!                       2,113.33!    1.96333!           1,542.031                              229.69

11·3414236    iSTON'f BROOK GYNECOLOGY AND OBSTETRICS                  '200 MAIN ST STE 2
                                                                       1                                                       lserAUKET, NY, 111;13                8,965.00i  '                   3,713.67!    1.962.90!          2,130.77!                              229.64


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XX-XXXXXXX    AUSTIN GASTROENTER.OLOGY A
                                                                       !20-20 FAIR \AWN AVENUE

                                                                      jPO BOX 15916
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XX-XXXXXXX    TOTAL REHAB PC                                           fpo BOX 72180                                           JROSEUE, IL60172-0180         I      2,380.(XJ(                     2,380.00J    1.953.59            426.411                               22855

XX-XXXXXXX    MAXMAPRIL                                                iPOBOX41S662                                            jBOSTON, MA D2241·5662        !      2,17D.ooi                      1,953,ooi    1.•sa.ool                  .!                             228.48
                                                                                                                                                                                                            I                             I
35--0868178   SOUTH BEND MEDICAL FOUNDATION                            ls30 NORTH WAYETI'E BOULEVARD                           \soUTH BEND, IN 46601·1004           3,s,s.00I                      2.S79.'19l   1.950.031           629.76!                               228.13

4&-54nus      GASTONIA PHYSIQAN SERVICES                               1s66S NEW NORTHSIDE DR                                  IAn.ANTA. GA 30328-5834       i      2.36().ooi                     1,948.001    1,948.DD                                                  2'Z1.90

XX-XXXXXXX    NEW YORK INSTrTUTE OF OTOlARYNG                          ]P.O. BOX 230207.                                       !BROOKLYN, NY 112230207            20,363.28 1                      2,468.90:    1,946.151           s22.1si                               227.68

XX-XXXXXXX        WEST GEORGIA MEDICAL Cl:NTER                         hs14 VE:RNON ROAD                                       :lAGRANGE. GA 30240-4131             2,344.sol                      2,344.BOj•   1,.944.aol                                                 227.52

XX-XXXXXXX    ;WILKES BARRE HOSPrTAL COMPANY LlC                       IP_C? BOX 637907                                        !aNONNATl, OH 45263           i      3,889.00i                      3,052.87j    1,940381           1,112.49!                               227.01

XX-XXXXXXX    IPEDIATRICS AT BROOKSfONE CENTRE p C                     i2001 BROOKSTONE CENTRE PKWY                            !couJMBUS, GA 31904-4572      i      2,486.78!                      2,293.S7i    1.939.83
                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                    1so.ool                                226.94
                                                                       1
XX-XXXXXXX    LAHEY CUNIC INC                                              41MAlLRO                                            leuRUNGTON, MA, 01805                6,340.00'                      3~474.88!    1.939.76           1,S35.UJ                               226.93

20-0800S93    !u~~LLc                                                 !PO SOX 650846                                           loAUAS, m~,.;~                I     1,932.00[                       1.s32.00l    1,932.00                   .I
                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                          226.02

37-088969S    !ASSOC ANES SPRINGAELD LTO                               IPO SOX3823                                             ISPRINGAELD IL 62708-3823            2,432.00)                      2,196.BOj    1,930.24            266.561                               225.82

XX-XXXXXXX    !REGENTS UCO PBG OPHTHALMO                              !po BOX 742769                                           !LOS ANGELES, CA 90074               2,881.15 1                     2.080.251    1.930.2St           150.0ol                               225.82

XX-XXXXXXX        ANN lANG MA OTRC                                     !z63 WESTENDAVE#lC                                      INEW YORK. NY 10023                  1,930.00;                      1,930.00\    1.930.ool                                                 225.79

XX-XXXXXXX        SOUTHERN CALIFORNIA ORTHOPEDIC INSTITUTE LP          lse1s NOBlE AVENUE                                      IvAN NUYS. CA 9140~3130       I      8,-457.00;                     3,080.77:    1.927.431          1.153.341                              225.49

XX-XXXXXXX    !TowN OF SEDfORD NH AMBULANCE                            ls TURCOTTE MEMORIAL DR                     i           !ROWLEY, MA 01969             !      1.92S.21i                      1,925.21(    1.925.21j                  -!                              225.23

XX-XXXXXXX    lrum MEDICAL CENTER                                      I
                                                                       IPO BOX 28296                                           INEW YORK. NY 10087           I      4,688.70\                      2,324.79:    1.924.79!           400.00!                                225.18
                                                                                                                                                                               :
87-073TT49        SCRIPPS Q.INIC                                       l PO BOX 54433                                          ILOS ANGELES. CA. 90074       I      4,577.00                       3,066.89:    1.921..93          1,144..96!                              224.BS
                                                                                                                               I
XX-XXXXXXX        FAISAL BUKHARI MD                                    j2 WEST ADAMS ST                                        !SULLIVAN, ll 619S1-1943      !      5,052.06:                      2.142.10!    1.917.901           224.20!                                224.38
                                                                                                                                                                                                            j
XX-XXXXXXX        RPW OBSTETRICS & GYNECOLOGY SC                       l,osoxu680                                              !BELFAST,~~ 04915-4071        !      2,482.00i                      2,294..60i   1.916.761            377.84!                               224.24

~1579793
              I
              iALABAMA EMERGENCY PARTNERS                              l,o sox 732886                                          loAUAS. TX 753732886                 2,0D&.CDi
                                                                                                                                                                               I
                                                                                                                                                                                                   1.91s.oo!    1.91s.oo!                  .i                              224.15


                                                                                                                 EXHIBIT2

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                                                                                                  AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                                      223.86
                                                                                                                                                                                                                                      223.80
XX-XXXXXXX     jNEPHROLOGY ASSOOATES OF NORTHERN INDIANA          !6.514SOLUTION CENTER                                     iOilCAGO, IL 60677.SOOS                4,536.00;                1,976.16f                                 223A8
XX-XXXXXXX     MUUCAYCARDIOLOGYCONSULTANTSA                       ,PO BOX 95000-565D                                        !PHILADELPHIA, PA 19195                9,120.00:                1,909.77j   1,909.77 1                    223AZ
63-11334S4     SELECT PHYSICAL THERAPY                            1835SOLUTION5 CENTER                                       OilCAGO, IL 60677-1008                2,478.00;                2,478.00:   1,909.GO'         S68.40!     223.40
XX-XXXXXXX     'JATHOME MEDICAL INC                               izooAMERICAN RD
                                                                  !
                                                                                                                            !~ORRLS Pl.AJNS, NJ 07950-2449         4,580.50:
                                                                                                                                                                                                    '
                                                                                                                                                                                            2,313.191   ~7.64,           4os.ssl      223.17
               I                                                                                                                                                                                                                  I
XX-XXXXXXX     jOROIID CITY EMERGENCY PHYSICIANS                  POBOX37856                                                [_~HILADELPHIA, PA 19101               2,119.00)                1,907.lDl   1,907.10\                     223.11
                                                                                                                                                                            I
XX-XXXXXXX     iNEUROSCENCE CONSULTANTSRR                         iPO BOX 160010                                      ··--·-~__}HIALEAH Ft 33016-0001             72,949.00•                2.079.9S\   1,905.02!        174.93j      222.87
XX-XXXXXXX     IAMSURG OAK LAWN IL ANESTHESIA LLC                 PO BOX 305250                                              NASIMU£, TN 37230-5250                1,904.00[                1.904.00;   1,904.00               -1     222.7S
XX-XXXXXXX     la.iNICAL RADIOLOGlSTSSC                           ·2040WILESAV!                             lsrec           !SPRINGAELD, IL, 62704                 4,177.001  '             3,354.3si   1,,903.07
                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                        1,664.781     222.64
XX-XXXXXXX     is-MED                                             PO BOX 862103                                             [ORLANDO, FL 32886-2103                2,254.00i                1,901BOi    ~01.so!                -1     222A9
21>289428B     iMILESTONES PEDIATRICS lLC                         11 EAST OAK ST                                            iOAklAND, NJ 07436                     2A07.0Di                 1,951.30;   l,901.30i                     222.43
XX-XXXXXXX
               1
                PAULMISKOVITZ                                     63SMADI.SONAVE#17                                         iNEW YORK, NY 10022                    1,900.00]                1.900.00!   1,900.00                      222.28
lD-4566164     ]BEHZADTALEBIAN MD                                 PO BOX 417918                                              BOSTON. MA 02241-7918                 3,263.00;                1,935.44;   1,895.44!                     22L7S
                                                                                                                                                                            I
211-40060.3S   srERUNG EMERGENCY SERVICES OF                      [PO BOX 732076                                            foAUAS,_~, 75373                       3,155.001                1.892.80!   1.892.80:                     221.44
XX-XXXXXXX     TRUmES OF COLUMBIA UNIVERSITY IN                   )PO BOX 27648                                              NEW YORK,_~_'!., 10087                4,880.00                 2,446.63;   1.892.761                     221.43
               hNSllTIJTE OF NEUROMUSCUlAR MEDICNE                24901KELLYRD                              !m2             . EASTPOINlE,__~I, 48021
 S-0531371
XX-XXXXXXX     ia-tELSEA DIAGNOSTIC RADIOLOGY                     1230WEST17THSTREET                                        1NEW YORK, NY 10011~5325
                                                                                                                                                             :I    2,910.ool

                                                                                                                                                                   2,940.00!
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                                                                                                                                                                                            2,398.70;
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                                                                                                                                                                                                        1.890.70!
                                                                                                                                                                                                                                      221.35
                                                                                                                                                                                                                                      221.19
                                                                  I
XX-XXXXXXX     0-lltDRENS ANESrHESIA SERVICES                     P0 BOX 116936                                             [ATLANTA.GA 30368-'936                 2,n2.00i                 2.622.06!   U90.ool          732.06!      221.ll
XX-XXXXXXX     jSPINE COLORADO PC                                 lMERCADOST                                lsrezoo         [DURANGO, CO 81301                     2.383.001  '             U40.40l     1,888.80!        4St.60!      220.97
XX-XXXXXXX     JHAITCAOMDPC                                       isot5THAVE                                                iBROOKLYN, NY 1Ul!r4818                5,685.94
                                                                                                                                                                                                    I
                                                                                                                                                                                            2,012.03;   1.887.031  '     12s.00!      220.76
20-060SS64     !MONDANASEPAHI YAZDI MD                            219 EVERETT AVE                                           wYOCOFF. NJ 07481-1904                 3.7so.ooi                2,086.70i   1,886.70;        240.SDi      220.73

XX-XXXXXXX     DONALD MACDONALO                                   21 GILBERT sr NORTH                                       TINTON FALLS, NJ 07701-4951            2,480.00]                2.369.93!   1,886.02j        438.91       220.65

XX-XXXXXXX     )MURRAY HILL MEDICALASSOCIATE5 PLLC                iPOBOX 1223                                               [NEW YORK, NY 10156-lID                1,BB4.00•  'I            1,884.001   1.884.oo!                     220.41

36-264S5!18    PARKVIEW ORTHOPAEDIC GROUP SC                      7600 W COLLEGE DRLVE                                      !PALOS HEIGHTS, ll 60463-1256         11,616.00                 2,499.ztl   1,883.36:        61S.SS(      220.33

XX-XXXXXXX     luMASSMEMORlAI.MEDICALCENTER                       ]pa BOX 415353                                            ieasrcN, MA 022415353                  3,145.83!                2.01s.ooi   1,878.00         200.001  '   215.71

20-47008TT     iEMORY SPECIALTY ASSOCAlES UC                      !po BOX 102398                                            ATLANT"-.~ 30368                       3,491.aof                2,257.03!   1.876.06         675.97       219A8
XX-XXXXXXX     \oR ROMA FRANZIA PEDIATRICPRACT                    1542 UN COLN AVE                                          WINNETKA IL 60093-2327                2.100.aol                 2,20sA6!    1,870.46!        343.7S       218.83
95-44S2032     iGENERALANESTHESlA SPEC PARTNER                    iPO BOX 515108                                            1~;:;GELES. CA 90051                   3,625.(JO!               2,331.sol   1,s10.oo!        467.50       218.77
                                                                  I
XX-XXXXXXX     :eROCICTON HOSPITAL INC                            iPO BOX 844058                                            BOSTON, MA 02284                       2,298.74;                2,068.891   1.868.89!        200.00,      218.64
                                                                  I
XX-XXXXXXX     icHARL£STON OB GYN                                 11027 PHY51CIANSORST'El10                                 OtARLESTON, SC 29414-5351              3,729.00!                            1.864.SO                      218.13
36-316055D     NEW LfNOX ARE PROTECTION DlsrRIOT                  P060X457                                                  1WHEEUNG, IL 60090-0457                1,863.001                            1,863.00               -1     217.95

XX-XXXXXXX     COMMUNITY MEMORIAL HEALTH SYSTEM                   15855 OLIVAS PARK DR                                      , VENTURA. CA 93003                   10.080.90;                            1,859.851       5,520.401     217.58
                                                                  I
XX-XXXXXXX     lRIVER HIUS PEDlATRICi PSC                         1525 ALEXANDRIA PIKE,STE320                               isoUTHGATE, KY 41071                   2.oos.00!                            1,859.75!        1is.ool      217.57

XX-XXXXXXX     '
               !RADIOLOGY ASSOCIAll:5 OF KEENE PC                 j2527 CRANBERRY HIGHWAY                                   !WAREHAM. MA 02571-1046                2,096.ooi                            1,858.40   '     1S4AC!       217.41

XX-XXXXXXX     IAoENA REGIONAL MEDICAL a~R                        jpa BOX 932023                                            lruveIANo. oH 44193                    3,480.00j••.             2,03830:    1,854.36         183.94i      216.94
XX-XXXXXXX     '
               !CARO UNA ENDOSCOPY CENTER HUNTE                   '
                                                                  !16455 STATESVlLLE RD STE 114                             :HUNTERSVIUE, NC28078                  2,599.92!
                                                                                                                                                                                ·-·---·..
                                                                                                                                                                                                    '
                                                                                                                                                                                            1,849.50!   1,849.50:              -:     216.37

XX-XXXXXXX     iarv MEDICAL OF NEW JERSEY PC                      !Po BOX 117092                                            lAllANTA, GA 30368-7092                2,516.391                2,069.42;   1,849.42:        220.ooi      216.36

13--3143253    /PARK WEST RADIOLOGY                               !po BOX 781856                                       ---··1 DETROrr, Ml 482781856                4,246.59'                2.311.11!   l.B4B.BS!        462.23j      21630


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XX-XXXXXXX      !BLESSING CORPORATI: SEIMCES

XX-XXXXXXX       ADVANCEDDIAGNOSTICIMAGlNGPC                                                        ]POSOX440460                                                                   iNASHV11J.E.TN 37244                   !       3,67L9s;              2.31s.s1!              1,843.nl          472JS41                  2is.10

XX-XXXXXXX      !H1NSDALEANESTHES1AASSOCJATES                                                       loEPTn9131                                                                     [ot1CAGO.ILS0678-9131                  I        2,100.00;            uoo.oo[                1,840.oo!          2GD.oo·                 2is2&

XX-XXXXXXX       CARING PEDIATRICS UC                                                               JSS7 CRANBURY RD STE 18                                                        !EAST BRUNSWICK,. NJ 08816             i       3,030.00,                                    u39.33l           142.49'                  215.18
XX-XXXXXXX      FM::,_ER:,,ID::,IAN=M=ED=ICAL=G::,R,::OU::,P.=S:..:PE=CJA=LTY-'-------------1::..:PO:.;BO=X..:;41=66=-=·=-·------------f-----+'IBO=sroN=-·,MA.'-'0=224=1_ _ _ _ _ _-' ________ 4,181..95: .• --                                         2,56
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                                                                                                                                                                                                                                                                               l.8=39_.1_1,_l_ _ _225........c•-•+l----~==.1=-=6-1
XX-XXXXXXX       CANNON MEMORIAL HOSPITAL                                                           :p o eox 787                                                                   luNVILLE. ;·~-28646                    i       1,935.00:             1,838.2Sj              J..838.2Sj                                 215.06
XX-XXXXXXX      !TAMARAC suRGERY CENTER
                 I
                                             u.c                  \448s NORTH STATE 1     !                ]FORT LAUDERDALE, FL33319
                                               --------------t=====----------1·----=======~----l---~="------------'=='---==+------+------'==-t      l        3,339.00\  t.836.45}          1.836.451                      -!              214.85

06-0868382_,. __ )ORTHOPAEDICSPECIAllY GROUP PC                   1305 BL.AO: ROOCTPKE --i-'----+jFccA!ccn,:..:1E=LO• CT, D6825=---------li----"'3.9::,3:::L=:DD:c.i____2:,;.40=2.82=\s--'1,8=30=:.4,c.71!----'5:.:7::2.25:l'l-1_ _ _-'2,:14::,.1S"'-I
XX-XXXXXXX      iJONATHANZOIARNEYMD                                                                 i1111PARKAVENUE                                              I                 INEWYORK.NY1012s-1234                  f       2,uo.00:              2,tso.00!              1.829.ool          3s1.oo=                 213.97

XX-XXXXXXX       MAGEUA MEDICAL ASSOCIATES                                                          !POBOX840384                                                                   iDAUAS, TX. 7S284                      !       4,511.00'             3,983.&2[              u2s.ool          2.157.821                213.62

XX-XXXXXXX       GASTROENTEROLOGISTS OF OC£AN COUNlY                                                1411 LAKEHURST RD                                                              lTOMsRrvER. NJ, 08755                  !       2.12s.oo,             1,824.77~              1,824.n!                                  213.48
                                                                                                                                                                                                                                                                                          1
XX-XXXXXXX      !SPINE AND PAIN CONSULTANT Pl.LC                                                    !PO BOX 11576                                                                  lNEWARK.NY01101-4s1&                           3,100.ooi             2.soo.ooi              u20.00           1.2ao.oo!                21"2
XX-XXXXXXX       NEPHROPATHOLOGY ASSOCIATES PLC                                                     !10810 EXECUTM CENTER DR 100                                                   !UlTtE ROCK, AR 72211-4386                     5,788A9i              1.940.1&l              1,819.831         120.331                 212.90

XX-XXXXXXX       OIEVRA HATZOt.DH OF ROCKlAND COUNTY                                                119 GROVE ST'REET                                                              ]MONSEY, NY 10952-0184                         2.888.00·             2,579.20{              1,816.321          762.88\                212.49

XX-XXXXXXX      !PATHOLOGY ASSOCATES PC                                                              130 N BROAD ST                                              !                 !THOMASVILLE, <,!',._3_17'l_2_ _ _ _ _..,1_ _~S,46~S.OO=:---------   ~•::·.2373;_:---'1,8=14~.22=t-!--~L~18~S-~71=+i_____2:.;12.=2S,
XX-XXXXXXX      !SAINTMARVSHOSPrTAL                                                                 !po BOX 74008788                                                               !CHICAGO, IL 60674                    1        2,068.89:             ..,..........          1,814,zo!         159361                  212.24
XX-XXXXXXX       BAYMONTEMERGENCV ROOM LLC                                                          IPO BOX 47070                                                                  !HOUSTON, TX 77210                             2,516.60)             2,0ll.28j              1,813.28(          200.00!                212.l.4

XX-XXXXXXX ..... EAST MANHATTAN ANESTHESIA PARTNERS                                                 iPO aox sso                                                                    l,ouGHKEEPSIE, NY 12602               l        s,1&0.ooi             2.563.60!              1,807.0S'         756.SS[                 21u1
20-12599S8       ATI.ANTA WOMENS HEALTHCARE 5PECIALISJ5 LLC                                         )POBOx1020os                                                                   )ATIANTA.GA.30368                      I       3,074.ool             1.soo.s2!              1,806.s21          is.ISi                 21L34
XX-XXXXXXX       OPHTALMICCONSULTANTS OF                                                            lu1s Kings Hwy                                                                 IFalrfidd er. 06824                    I       s,11s.01J!            s,1s1.41!              t.806.40!        3.945.011                Zl.133

51-019OB75      !MAYO CLNIC HLTH SYSTM-REC COAR                                                     !POBOX860110                                                                   IMINNEAPOUS,MN55486-01t0                       1,858.90:             1,803.13i              1,803.13!               -!                210..9S

0~3561335        GaU EILEEN DIG IDYANNA 00                                                          iPosroFF1a.sox41111s                                                           lsosrON.MAD2241-1116                           2,168.00'.            1.,952.11;             1,802.11!         160.00!                 210..90

XX-XXXXXXX       SURGERY CENTER OF OJNTON TOWNSHJP                                                  14347S DALCCMA DRIVESUITE 100                                                  !CJNTDN TOWNSHIP, Ml 48038                     3,274.00:             1.,800.70)             1.800.70!               _\                210.66

XX-XXXXXXX      iLUISE EICHEN8AUM lt:SW                                                             lsG2WESTENDAVE1c                                                               iNewYORK,NY10024                       I       2,925.00-             2,9is.ool              1,soo.ool        (57s.0011                 21058

XX-XXXXXXX      !ouPAGE EYE SURGERY CENTER UC                                                       i201SNORTHMAINSTREET                                                           lwHEATON,IL60l87-3152                  I       6,436.50.             2.299_04;              J.797.631          s01.411                210.30

26--3082691      MIDWESTMEDICALASSOOATE
                                                                                                    12295PARKLAKEDRNE                                            !sre:100          !All.ANTA,GA30345                      i       2,995.00-!----1~,.,,,-,-.oo~l,--~1.,-,,,-_-oo,..l----+-----210-.23--1

1'2"'0-S"'2"'8::,199:,:3e.....4•:e•M:::O:::R::.Y,::M::,ED:::ICA=LGR=O"'UP,cLL=C=---------------+!pc.cQc.cBccOX"-1D=23~98~-----------+----'r-•TlA=NT=A,,~GA,30368                                                          i       2,501.00\             2,000.so!              1,796.04i         179.761                  210.12
XX-XXXXXXX      INORTHWESTGEDRGIAMEDICALOJNtcPC                                                     !tsRIVERBENDDRSW                                              STEzoo           laoME,.~_.;,161                        !       s,791.00:             1,1S3.62l              t.793.621               _!                 209.84
","'s-"'""•::,oo:::,2"'ll04:~~~"'•,,,M:,:.G:,:.=c,,.,_"'..cM:,:o"',=a:N°',"•:":,SJ:□A:~•""s=-~-"'"_"'_'--_-_-_-_-_-_-::_-::::::::::_-::~!PO=BO:.:.x=ia=•oo=="---- --------t==---,F•e"'LF~ASr'-=.ME04915-4084              I       1,792.soi             1,792.soi              1,1s2.sol                                 209.74

XX-XXXXXXX       PMPEC1ATRJCS                                                                       l~-~LLOWLN                                                   iSTE301           !NEWHYDEPARK,NY,11042                  I       3,178.20!             2,391.44;              1,791.44:          600.00!                209.SS

XX-XXXXXXX       PYRAMID PfAK EMERGENCY PHYSICIANS                                                  IPo BOX 38063                                                                  !PHILADELPHIA, PA 19101                        1,788.00;             1,788.00'              1,788.ooi               -1                 209.18

22-266s179       VALLEY EMERGENCY ROOM ASSOCATESPA                                                  !po sox 1173                                                                   !ruDGEWOOD, NJ, D7451                  I       5.266.00!             4,os1.ool              1,1s1.20!        1.639.sol                200.os

7S-2737S22       TEXAS MEDIONE RESOURCES                                                            iPO 80X8549                                                                    jFORTWORTH, TX. 76124                  I       4,896.00!             1,787.l&i              1,787.16!          841.00!                209.08

3&3527803       •NORTHWEST WOMENS CONSULTANlSSC                                                      h630 w CENTRAL RD                                                             IARUNGTON HTS. ll60005-2407                    5,046.00!             3,6U..94!              1,783.31   !     1.830.631                208.63

D6-1161899      !□RTHOPEDICASSOC OF MIDDLETOWN                                                      is1SOUTHMAINSTREET                                                             iMIOOLETOWN,CT064S7                            7,040.00'             1,781.21}              1,78121)            45.oo!                 208.38

!XX-XXXXXXX. ··-- iPENN STATE. UNIV! PRESS                                                          !ro eox 3160                                                                   IANDOVER. MA 01S10-0so3                        2.329,00!             1,sn.s9;               1,m.89     l       131.001                 208.00
30-0838S55      !ceNTERFORSPEOALSURG                                                                 jPOBOX28902                                                                   iNEWYORK.NY10087                              zs.000.001             1,n4.53i               1.n4.53:                -1                 207.60

F1~1-~•22=128S=-;i~JOSEPH==o•_o~""-'~o------------------11·~-~EW KYDE PARK RD                                                                                                      iGARDEN QTY, NY 11530-3948                     4,360.69(             3,269.55}              l.!..73.27!      t._~~.1. ----~2=!11~A~•..
26-4S46400      !MEDEXPRESS URGENT CARE INC-WEST                                                     ,PO BOX 7959                                                                  ieEl.fAST, ME 04915                            3,938.00i             3,296.U!               1,771.031        1.675.09i                 207.19


                                                                                                                                                                EXHIBIT2

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9-19205        JSANSUM alNIC                                                                     iPO BOX 621006                              i           !SANTABAR9ARA.CA93160             !   4.()33-00;   2,355.951    1.768.991      1.090.96     206.95
XX-XXXXXXX     iBETH THOMAS-REA                                                                  !11 S FRANKLIN TURNPIICE                                !RAMSEY. NJ 07446-2552                uso.oo:      1.s1s.00:.   1.1ss.oo;         SO.OOi    206.84
               !ERfCMORGENSTERN                                                                  !1317 THIRD AVE                                         !NEW YORK. NY 10021                   3,275.00:    2,483.39!    1.766.17!        n1.22!
05-63SS044     !JANET PEARLMAN                                                                   !4g WEST 24TH STREET SUITE 512              1           ;NEW YORK.NY 10010                    6,125.00t    2.940.00'.   1,164.ool      1.176.001'   20637


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38-3175&78
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                  JOSEPH MERCY HOSPrrAL
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XX-XXXXXXX     \CENTER FOR DIGESTIVE HEALTH LID                                                  j3033 S 27TH STREET SUITE 202                           !MILWAUKEE, WIS3215·3600              t.760.ooi    1.160.ool    1.1so.00!                   205.90
F2c=.1-"11304=cc59=--Jl"'su~P-"ER~\O-'-Rc..cA~IR~-G~Roc..cu-"N~o~AM=BU-"lAN=CE-SE-RVICE--O-F----------i;..;;~LAKESTREET                      l           tELMHURSr, IL6012S-1S08               2,444.00j'   2,199.60!    1,759.68;
                                                                                                                                                                                                                                    I    439.92'     205.86
XX-XXXXXXX     iuHSOF HAMPTON INC                                                                ]357 SOUTH GULPH ROAD                                   liaNG OF PRUSSIA,, PA 19406           z.940.ool    2,osa.00!    1,.1ss.ool '
14-,2554159     a.iNJCAL PATHOLOGY lASORA                                                        !Po sox 141669                                          iAUSTIN TX 78714-1669             i   9,645.SSl    2,929.34!    1.757.23!       910.12!

XX-XXXXXXX      SAODLEBACK MEMORIAL MEDICAL CENTER                                               IPO BOX 21789                                           !LONG BEAOi, CA 90801             !   2,307.00'    z.031.00!    1.755.601
20-S123255      SAMARITAN ANESTHESIOLOGY MEDtCAL                                                 ioEPTlA 24632                                           IPASADENA, CA, 911BS              I   4,100.001    1,75S.OOl    1,1ss.ooi             _I    205.32

XX-XXXXXXX      ELLIOT- URGENT CARE AT LONDONDERRY                                               !PO BOX 9659                                            lMANCHESTER,NH,03108                  5,3n.ool     2,SOS.70i    1,754.571      1,752.13!
                                                                                                                                                                                                                                    I
XX-XXXXXXX      MERCY AMBUlANCE OF EVANSVILLE                                                    '
                                                                                                 !pQ   BOX 100217                                        !ATI.ANTA. GA 30384               i   1.751.SO!    1,7SL50;     1,751.501                   204.91
XX-XXXXXXX     !PAIN MANAGEMENT AND WELLNESS CENTER                                              iPDBOX9044                                              !BARDONIA, NY, 10954              I   1,750.00!    1,1so.oo!    1.1so.ool
                                                                                                                                                                                                                     !
XX-XXXXXXX     !NORTHWEsr ONCOLOGY & HEMATOLOGY SC                                               13701 ALGONQ,UIN ROAC STE 900                           lROWNG MEADOWS, IL 6D008-3193     I   2,657.00:    2,603.00;    1.748.401       908.60

XX-XXXXXXX .~ ... FM 1960 EMERGENCY PHYS PLLC                                                    iPO BOX 98818                                           ILASVEGAS,NV89193                     2,254.001    z.000.s1:    1.747.14;       253.43!

XX-XXXXXXX      CBI.PATH INC                                                                     j110 WASHINGTON AVENUE                                  INDRlH HAVEN, CT06473                 8,985.71]    6,505.49!    1,747.041      4,758.45[

XX-XXXXXXX      DIONYSIOSSKAKOURAS                                                               !104WAJ<HAWPROFESSIONALPARKOR               sreo        lwAXHAw NC 2a1n-so20              I   3,190.001    2.274.so!    1.1...sol       525.00      204

XX-XXXXXXX     !NEW YORK REPRODUCTIVE MEDICAL                                                   ':133 E 58TH ST surre 1002                               INEW YORK,   NY 10022-1278        I   2,065.00,    2.oss.ool'   1.744.001

XX-XXXXXXX      CONEJO LOS ROBI.ESANESTHESIOLOG                                                  :PO BOX 10076                                           IvAN NUYS, CA 91410                   2,100.00!    1,.740.DO/   1,,140.00!            -!
147-2218380     COLORADO SPRINGS HEALTH PARTNERS PC                                              ]POBOX27007                                             !SALT LAKE CITY, UT,84127         I   3,872.0li    2,815.91;    1.734331       1,294.061
                                                                                                                                                         i
XX-XXXXXXX      EMMANUEL R LOUCAS MD PC                                                          '
                                                                                                 j69E76THST                                              !NEW YORK. NY 10021-1826          !   4,77s.oo:    2.629.46!    1.732.23!
XX-XXXXXXX     ISAMUEL BORIS DRASSINOWER MD                                                      itslAKESTREETB                                          lwHrre PIAINS, NY 10603-9998          2,250,001    1.9Sl.351    1,726.351       225.001
                                                                                                 i                                                                                                                  i             1
XX-XXXXXXX     ifREEHOlD ENDOSCOPY ASSOCIATES                                                    i222sotANCK ROAD STE 100                                !FREEHOLD, NJ 07728-2974          i   3,416.00!    3,416.0Dl    1,122.00

XX-XXXXXXX     IANESTHESJA CONSULTANTS PC                                                        lpo BOX 637583                                          iONQNNATI, OH 4S263               I   2,450.00:    1,715.00[    1.1ts.ooi

XX-XXXXXXX     [CABAAAUS GASTROENTEROLOGY                                                        '
                                                                                                 :Po BOX 32036                                           iotARLOTTE, NC 28232-2036             1.959.00'    1,713.91i    1.713.91i

XX-XXXXXXX ..... :OSWEGO ARE PROTECTlON DIST
                                                                                                 '!POBOX457                                              lwHEEUNG, IL 60090                I   1.902-ooi    1.902.00!    1.110.00!
14-Cl707308    'MARYBETH ANGllfllA OARTLEY                                                       j3z GRAMERCY PARKS APT 100                              lNEWYORK, NY 10003                I   2.ozs.00:    1,9so.ool    1.:;...001

XX-XXXXXXX      ANDERSON HIUS PEDIATIRICS INC                                                    h400JAGERCOURT                              l           iaNONNAn. OH 45230..S344              2.13S.DOi    2,DBD50!     1.,706.40!
XX-XXXXXXX     !GUNDERSEN CUNJCLTD PRAIRIE DU                                                    h83650UTH AVENUE                                        !lA CROSSE, WI 54601--5429            2,033,00!    1.931.35!    1.706.201       225.15!

XX-XXXXXXX     !NORlHJERSEY ORTHOPAEDIC ANO SPORTS                                               ls BRIGHTON ROAD SUl'TE 101                             IClJFTON. NJ 07012-1647           I   2.387.00i    z,3a,,oo!    1.704.481
               !GEORGIA ENDOSCOPY CENTER LLC
                                                                                                 1
                                                                                                  3330 PRESTON RIDGE RD STE zoo                          !AlPHARETTA, GA30005-4S09             2.271.00l    1.703.25!    1,.70325;             -l
XX-XXXXXXX      SKIN CANCER & COSME"TIC DERMATOLOGY                                              [ 136 6AffiEAEI.D CROSSING CT
                                                                                                                                                         i
                                                                                                                                                         'RINGGOLD, GA. 30736                  2,475.66:    1,706.65;    1.701.65!             .!
XX-XXXXXXX     !YMCA OF GREATER NEW YORK                                                         13911 RIOIMOND AVE                                      lsrATEN ISLAND,~.!, 10312             2,940,00:    2.940.ool    1.100.ool      U40.00

~~6778         !MERIDIAN MEDICAL GROUP PC                                                        !1so1 N SENATE BLVD   surre 700                         i1NDIANAPOUS, tN 46206-1177           1,700.00;    1.700.00;    1.100.00!             _,

XX-XXXXXXX                                                                                                                 !oAUAS, 1X75267             1,.100.00! 1.100.00! 1.700.00j
               L~ssuRANCETox1co'."w~,;;,="'sc"e,V1C,:,ESc,__ _ _ _ _ _ _ _ _ _ _ _ _-+!PO=•:::eo::x:::•1c:::0408=------------:-----t====='--------+---==:=,-----==:=;-----"==+-------i
81...4298607   iCQMPL.Et'E EMERGENCY CARE PADRE                                                  !PQ BOX 92965                                           isoUTHLAKE, TX 76092                  2.12s.oo!    L900.0o1     1.100.ooi


                                                                                                                                            EXHIBIT2


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                                                                                                                 AEU INTERIM DISTRIBUTION



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                                                                                                                                                                                                                                                                 }i
                                                                                                                                                                                                                                                             198.AO
UNKNOWN                                                                                                                                                                                                                                                      198.34
XX-XXXXXXX    ,ERIE FAMILY HEALTH CENTER                                           !1101 W SUPERIOR ST                                 ]OIICAGO, IL 60622-5646                         1,693.78'.              1.,693.78(     1.693.78!              -i      198.16
XX-XXXXXXX    IOAK LAWN IL ENDOSCOPY ASC UC                                         .~..BOX 3052SO                                     jNASHVILLE, TN 37230-5250                       3,oss.oo!               3,oss.00'.     1,692.62!      1,.365.38!      198.02
XX-XXXXXXX    j ADES PAIN AND ANESTHESIA CONSULTANTS Pl                       ·-·-···j1000 JORIE BLVD sre 370                          jOAK BROOK, ll 6052l-4SU                        2.327.06!               2,11SA1(       1,69232i        423,091        197..98
                                                                                                                                                                                                                          1
XX-XXXXXXX        DR MARK_SOIWARTZ PA                                              1308 OtELSEA MANOR                                  jPARKRIDGE. NJ 07656-2620                       9,950.00:               2,u5.oo        1,692.00!       423.00;        197.95
XX-XXXXXXX        KAA.E HOSPITAL MEDICNE lL                                         POBOX967                                                                                           1,719.00j               1,119.ooj      1,690.soi
                                                                                                                                                                              i..
                                                                                                                           i           jTINLEY' PARK~J~ 60477                                                                                   28.40!       197.78
XX-XXXXXXX        MECKLENBURG MEDICAL GROUP PA                                     iPO BOX 601643                                      jOiARLOTTE, NC28260                          .....~.780.00(             3,135.54f      1,689.51[      1,446.03        197.6G
U-3275330         BRUCE EKATZ MO                                                   !60 EAST 56 STREET
                                                                                                                          ·'······     ;HEW YORK, NY 10022-3350                        3,sos.ooi               2,297.S9i      t.689.11;       GOUS           197.61
                                                                                                                                                                                                                                        1
XX-XXXXXXX    !MARK ALLEN BERK MD SC                                               1900 N WESTMORElAND RD                  ST£222      i1AK£ FOREST, IL. 60045                         4,280.oo!               2,452.22!      1,.682.22      l.412.92:       196.80
                                                                                                                                                                                                                                                     1
XX-XXXXXXX        BEACON MEDICAL GROUP                                              710 N NllES AVE                                        SOUTH BEND, IN 46617-1924                 11,019.351                3,760.441      1,682.02       1,437.92        196.78
1~3971050     lcoLUMBIA oocroRS oPHTH                                              .PO BOX 29963                                       iNEWYORK, NY10087-9963                          3,750.00;               1,890.10)      1.681.13,       235.90!        196.68
XX-XXXXXXX    !ENGLEWOOD RADIOLOGIC GROUP PA
                                                                                   1
                                                                                    POSOX4238                                              PORTSMOUTH, NH, 03802                       1,980.00!               1.948.00   '   1,678.60        269.4D         196.38
XX-XXXXXXX    'iSUZANNE NUNN                                                       !63 PLEASANT HILL ROAD                                  BLAIRSVILLE, GA 30512                       3,494.00:               2.524.63!      1,678.32        709.0S         196.35
33-934S825    lsuSAN LEVrTZKY                                                       161 MAD?SON AVE 6 WEST                             lNEW YORK, NY 10016                             2,400.00!-----··--·----- 1,700.23t     1,675.231        25.oo!        195.99
XX-XXXXXXX    ,CEOARSSINAI IMAGING MED GRP                                         !POBOX607                                           INEWBURY PARK, CA 91319                         2,576.00!               1,674.40\      1,674.40               -1      195.89
XX-XXXXXXX    MONTGOMERY PEDIATRICS INC                                            jpo BOX 13854                                       lsEI..FAST", ME0491S                           1.,7BD.00;               1.,698..0D;    1,673.00         25.001        195.72
                                                                                                                                                                                                                                                     i
XX-XXXXXXX    !HUDSON VALLEY HOSPITAL CENTER                                .......•..•.. 1980 CROM POND ROAD                          [COITTLAND MA,. MA 10567-4182                   2,340.98:               1,872.78!      1,G72.78i       200.00!        195.70
s2-214s1n     jOiESAPEAKE UROLOGY ASSOCIATES PA                                    125 CROSSROADS DRIVE                    ST£306      lOWINGS MILLS, MD 21117                         2,051.00!               2,DSt.001      1,671.60!       379.401        195.56
              !
XX-XXXXXXX    jTHOMAS AFRICANO                                                     .PO BOX 158                                         !nOSSMOOR, IL 60422-9998                        2,784.24!               1,856.16       1,670.54!                      195.44

XX-XXXXXXX    ,UPt-lS PRESBYTERIAN MED                                             lro BOX sz,oas                                      '\PHllADELPHIA, PA 191B2·70B5                   2,338.00;               1,913.aoi      1,570A01                       195.42
XX-XXXXXXX    iv1UAGE PEDIATRICS U.C                                               1323RIVERS11J£AVE                       ZNDFl.      lwESTPORT,CT05880                               z.110.aol               2,209.S1!      t.669.66                       19533
3g.15093&2    ,THEOACARE AT WORK                                                    POBOX8003                                          •APPLETON, WI, S4912                            3,799.001               3,055.021      1,669.45!                      1g5_31
                                                                                                                                                                                                i
36-43511,86   [CARY PEDIATRIC CENTER                                                1001 CRESCENT GREEN                                ICAR'l,NC.27S18                                 2,176.00                1,667.611      t.667.61                       195.ll9

XX-XXXXXXX    :WINTHROP PEDlATfUCA.5.SOCIATES PC                                     700 HICKSVILLE RD STE 204                         !eETHPAGE,_~~. 11714                            2,935.00'               2,053.84!      1,667.52                       195.00
                                                                                   I
XX-XXXXXXX        WEST BOCA MEDICAL CENTER                                         tPO BOX 74124g                                      1AT1ANTA, GA 30374                              2,520.91!               1,86SA7!       1,66SA7i                       194.84
                                                                                   I                                                   I                                                                                I
XX-XXXXXXX        KINeXMEDICALCOMPANY U.C                                          11801 AlRPORTROADSUITE 0                            !WAUKESHA.. WI 533:88                           3,120.90'               1,665.011      t.665.o;!                      194.7'
XX-XXXXXXX    !COMMUNITY MEDICAL ASSOOATES INC                                      PO BOX 776351                                      iOtlCAGO, _!;_ 60677                            3,139.oai               1,844.22!       664.74                        194.76

XX-XXXXXXX    'jDIANON SYSTEMS INC                                                 jl FORESrPICWY                                      1SHELTON, CT 06484                              5,708.00'.              3.825.791      1,664.00                       194.68
              I
XX-XXXXXXX     SOUTH NASSAU COMMUNmES HOSPITAL                                     :PO BOX 67006                                       INEWARK, NJ 07101-8080                          1.659.oo:               1,ssg.oof      1.659.001                      194.09
                                                                                                                                       l
XX-XXXXXXX    MINIMED DISTIUBUTION CORP                                            !iaooo DEVONSHIRE sr                                    NORlHRIDGE, CA 91325                        8,027.99)               5.27L02!       1,659.00                       194.ll9

XX-XXXXXXX    !AVANCE CARf PA                                                       PO BOX90759                                        !RAU:IGH. NC. 27675-0759                        3,786.00;               Z.699.ooi      1,658.111                      193.98

20-218S983    1ELK GROVE RADIOLOGY SC                                               POBOX4543                                          jCAROL STReAM, IL, 60197                        2,sl3.oo!               2,151.751       654.ssi                       193.60
                                                                                                                                                                                                                                         I
XX-XXXXXXX    !atRIST HOSPITAL ORTHOPEDIC                                          lro eox 636912                                      loNONNATI. oH 4szs3                            1,S10.oo]                uis.10!        1,653.00'       4&2.101        193.38

XX-XXXXXXX    !GRAMERCY PSYCHOLOGY ASSOOATES PC                                    is118ROADWAYSUITE501                                INew YORK, NY 10003                             3,300.00'               3,280.oo;      1,653.001      1.647.ool       19338
XX-XXXXXXX                                                                         !3405 N ARUNGTON HEIGHT5 RD                         !ARLINGTON HTS. IL 60004--1536 _____            2,580.00;               1,826.63; __ 1,65D.63!         176.00         193.11
              !RNERStDE MEDICAL SC --······•H ·--····-·-···
SS.QS68984    !oocroRS ANESTHESIA ASSOClATES I_                                    !Po BOX1143                                         !PRINCETON. WV 24740                            1,880.0Dj               1,641soi       1,647501               -i      192.74

XX-XXXXXXX    !uPMC PRESBY SHADYSIDE                                               !PO BOX 382007                                      !~l!}"SBURGH, PA 15250                        n.1zs.zsJ                 2.37'-2S{      1,646.601       725.65!        192.64

XX-XXXXXXX    IFREMONT EMERGENCY SERV~                                              !po BOX 638972                                     !aNONNATI OH 45263-8972                       10,029.00:                1 707.46;      L643.831        676.6~1        19231


                                                                                                                         EXHIBIT 2

                                                                                                                               51
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                                                                                                                                          AEU INlcRIM DISTRIBUTION



                                                                                                                                                                                                                                                                      ··.:.-._',~-
                                                                                                                                                                                                                                                                  1
                                                                                                                                                                              !NEWARK. NJ D7101-4598                             2,55L48!              2,551.48          1,642.96:           908.s2i                     192.21
XX-XXXXXXX       lcoMMUNITY CARE OF WEST VIRGINIA INC                                     iPo BOX 11247                                                                       !eELFAST.ME04!flS-4D03                             2,236.ool             1,9is.so!         t.640.60/           435.20!                     19L93
XX-XXXXXXX       ,EUZABETH RYAN PHO                                                       !1273 NORTH AVE 918                                                                 !New ROOIEUE. NY 1osoi                             2,47s.ool             J..863.ooi        1,638.ool           225.ooi                     191.63

                                                                                                                                                                              UBERTYVILLE,.!;_c,60048==------+---='•e=169=.o=;oi_ _ __,,,.,.=•-'=•➔·-_,L:,:6:;:37:.,.3,:2_i_ _...c:76,:1.0"'1,.!_ _ _ _ _19=,1.55""--I
   =-=.=••'-4!o=R=M-"U"'2A"'F&-=FARS==..=-=D=IA_TR_IC_CA_R,-,--------------+l3825=~H~IG=H"'LA=N=D=AV=E=----------i!sre4L
3&.3884882
F,=-
  ...
                  DRS JAJEH    KOOi SC                                                    1870 W WINOiESTER RD                                           j~~.~41

                                                                                                                                                                              oowNERS GRov.e.1L. sosJS                           3,280.oo!             1,659.95)         1,534.95(             25.ool                    191.21
22~2635484       !MORRISTOWN PATHOLOGY ASSOOATES PA                                      jPO BOX 500                                                                          lHACKrn'Sl"OWN,~~-~·o_7840
                                                                                                                                                                                                    _ _ _ _ _-;--~'.288=-'·•c.;s;_ _ _            -=2,3=•=u=''-'!_    _,1"'.634=-•=•;-!---'=-=•=•-=ooc;.!_____1==01=.2=1:..i
XX-XXXXXXX        BRIDGE ANESTH£5JA ASSOCIATES PC                                        !PO BOX 454                                                                          'BRATTLEBORO, VTOS302                             10,530=.ooc,!_ _ __:,2.S=S=L=So➔i_    _,L,,,634=.18=-:-1---"='cc'·=":;·!____ .,cl9=1-:18:..i
3~2674638        HIGHLAND PK 08 GYN ASSOOATES.L                                           SOREVEREDR~?SD=----------- ...1!_----+i•=o=ITTH=SR=oo="''-'"=-=6006==-'------f---=2,•==•=•.o=o"-l_ _ __cL:,;6865==:•:;.!_-=Le::633=.03=-]f---53~.53~!_ _ _ _~19~1~.os'--'
11-2248S19        PARJ: SLOPE ANESTitESJA ASSOC PC                                        2 CATHARINE STREET                                                                  )POUGHKEE?gE. NY 12601                             2,040.ooi            2,040.00!          1,632.00]           408.ooi                     190.93

2D-4384686       i10HN ROBERT WEST JR MD                                                 !34WATER srREET2                                                                     IMYSTIC. CT0635S-2S24                              9,806.00]            1,829AO!           1,631.fXlj          198..40(                    190.81

!XX-XXXXXXX      loANIEL WElSSBLUTH MD sc                                                 737 N MIDIJGAN AVE                                             im a20               lonCA.Go, it. 60611                                3,730.001             t,870.331         1,630.ooi           160.331                     190.69
XX-XXXXXXX       '[NEPHROLOGY ASSOCATES OF NORTHERN IWNOIS LTD                            6S21SOLUTIONSCTR                                                                    10i1CAGO,IL60677                                   1,690.00!            1,690.00i          1,628.80!             61.20\                   190.SS
XX-XXXXXXX       !AURORA MEO CTR GRAFTON                                                 IPO BOX 8980                                                                         !GREEN BAY, WI 54308                               2,394.86:            2,035.63t          1,628.SO!           407.131                    190.52

XX-XXXXXXX       lcH1CAGO INS11TI.ITE OF ADVANCED                                        fPO BOX 12081                                                                        !eELFAST, ME 0491~011                              2,500.00[            1,625.00)          1,625.00!                                      190.11
XX-XXXXXXX       MAINE MEDtCALCENTER                                                     IPO BOX 360489                                                                       !PITTSBURGH, PA lS2St-6439                         7 A23.S71            4,503.33[          1,624.43!          5,704.041                   190.04
88-01070SO       LABORATORY MEDICINE CONSU                                               !FILE 749203                                                                         jLCSANGELES, CA 90074                              3,822.2.0i           2,212.81   !       1,624.44!           493.92!                    190.04

27-Q039366       !1NOEPENOENT PHYSICAL THERAPY OF                                        !6397 LEE HWY                                                   !sre 300             OiATTANOOGA. TN 37421                              4,948.001            4,705.17!          1,620.271          3,084.901                   189.56

o9-34&366t       !SHARON KLEINBERG LCSW                                                  J1123 BROADWAY' su!TE s10                                                            lNEW YORK. NY 1oa10                                3,sso.ooi            3,sso.ool          1,620.00   !       2.230.ool                   189.s2
F.=-,_=-188=0'-'184=---tiAMSU==.~G~a=•~a~N~NA~TI~AN=em,-..,-.-u.-c----------···-··--~-   fPOeox305250                                                    !                    INASHVll.lE, TN3723D-S2SO                          1,904.00}            1,618.40!          t,618.40)                                      189.34

XX-XXXXXXX       ;TRUSTEES OF COLUMBIA UNIVERSITY IN                                     !PO BOX 29737                                                                        ,NEW YORK, NY', 10087                              3,125.00,            2,710.25!          1,616.46!          1.093.791                   189.11

XX-XXXXXXX       !ASSOCIATED RADIOLOGISTS INC                                            !PO BOX 11137                                                                        [OiARLESTON WV2S3l9-ll37                           4,214.01);           2,590.531          1,614.81'.         1,077.72i                   18B.92
                                                                                         1
XX-XXXXXXX       MIDWESTNEUROMONITORlNGASSOCA                                             1D42DLnPATUXENTPKY250                                                               COUJMBlA.M021044                         !         2.015.00;            t.614.30!          1.614.30!                  -1                  188.86

6S-OT14300       IMASTERCARE PT INC                                                       sssa BEE RIDGE RD, STE 0--13                                                        !SARASOTA. FL 34233                                1,G1L00!             1.s11.00!         1,611.ool                   -1                  188.47

13-4D33867       !DAVID s BLUMENTHAL MD                                                   407 EAST 7Dnt STREET                                                                !New voruc, NY 10021                               1,930.001            1,930.001         1,608.00'.           322.ool                    1se.12
                                                                                                                                                                              1
XX-XXXXXXX       !MIL.WAUKEERADIOLOGlSTSLTDSC                                             39856TREASURY'CENTER                                                                otlCAG0,IL60694                                    2,078.00;            1,943.60!         1,606.20!            337,40;                    187.91

91-213554S       IRuSH UNIVERSITY MEDICAL CENTER                                          1s REMITTANCE DR DEPT 1611                                                          !011CAGO, lA 60675-1611                            2.ss2.ooi            2,001.60;          1,606.osl           40u2I                      187.90

XX-XXXXXXX       SANDRARLAYNEMD                                                          l1751ERIOIOTPKESTE2os                                                                SYOSSET,NY,11191                                   1,9213s1             1,ns.ui           1,003.13f            135.ool                    m.ss

22-474S839       ·CAMILLEMNORVELLPHD                                                     lssWESTMARKETSTREET                                                                  REDHOOK.NY12Sn                                     2.000.ooi            z.000.00!         1,600..ooi           400.00!                    187.18
XX-XXXXXXX       !KINGSTON ONCOLOGY HEMATOLOGY PUC                                        368 BROADWAY                                                   lSUITE403            KINGSTON, NY U401                                  1,EiDO.DOj           1,600.00\          1,600.001                  J                   187.18

XX-XXXXXXX       PRAIRIEEY'EC::NTER LlD                                                  i202owtLESAVI:                                                                       SPRINGfll:LD,IL.62704                              3,63s.ool            1,926.31!         1,598.89!            327.421                    1S7JJ5

XX-XXXXXXX       IDEERAELDDERMATOLOGY                                                    !101LAKECOOKROAD                                                !surre2eo            DEERAELD.IL6001S-S613                              t,672.ool            1,672.aof          1,5s1.oo!             75.ooi                   186.Bl

2s-2213002       !FREDERJo: M CAHAN MD                                                   !is3s LAXE cooK RD m 603                                                             :NORTHBROOK. 1L 60062-145s                         2.905.ool            1.646.57~          1.59657!              so.oo!                   186.1s

XX-XXXXXXX       HEAtTHONE ruN1CSERV1a::s                                                !PO sox 198592                                                  ·4soo e 9THAVE iAllANTA. GA30384                                        2.242.00]            1,676.44\          1.596.44!             ao.ool                   186.n

ss--22ons9       ANKLEANDFOOTSPEOAUSTS                                                   i800GORDONAVE                                                                        !THOMASV11ll.GA31792-6Eill                         2.966.13i            1.1n.s1i           LS9s.tSI            289.041                    186.62

XX-XXXXXXX       eowARDAMBUtANCESERVICE                                                   POBOX7138Bt                                                                         lcNCNNATI.OH45271-3881            -l         186.01i.sso.oo!            t.S9o.ool          1.590.ool
                                                                                                                                                                     i ---~==o=.oo,_!-~1.sso=.oo=c.,!_ _~68~1.=oo~!,____-=1ss=.oo=--t
Fs=-S-0~7--=89'-'9""20,_-+P'-'PG=At"JE=RNATNECOUECT1.~o'-'•~•=u.c~-------------+lP~o~so~x~,s=2•~•-------------,e---•-·-·~LOU1S,M0_~13=2-0=2~••~-----+--~2,~2~10=.o=o...
41-2223S61       ]HENRY' FORD PATHOLOGY                                                  !PO BOX 673835                                                                       !DETROITMl48267-383S                               2.423.00~            1,587.S&i          1.SB7.661                  -1                  185.74

~·---=123~1S=•1~_,iAM_E1U..c..cCA_N_MEDICAL. RESPONSE OF COLORADO IN                     '!po BOX 8 4 7 1 9 9 " ' - - - - - - - - - - - - - - < · · · · - · · ··-···--- ·--   ioAUAS, TX75284-7199                               5,690.64~            2,5885Sj           1.586.231          l.,OC~,.:i.·_,.!_ _ _ _ _1_ss_.s_,....
20-540S972       iTHERANOSTlXINC                       · - - · B O O O V I R G l ~ ~ M A N O R RD5UITE170                                                                     ieEL15Vlll.E,MD20705-4230                          2.300.00'.           uss.ool            1.584.DDi           67LOO;                     185.31


                                                                                                                                                       EXHIBIT2

                                                                                                                                                             52
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                                                                                                                                  AEU INTERIM DISTRIBUTlDN


                                                                                                                                                                                                                                                                                      -       .          ..
                                                                                                                                                                                                                                                                                              i::~~ ~,         ·:...~.];
                                                                                                                                                                                                                                                                                       -1                     185.21
                                                                                                                                                                                                                                                                                s12.21!                       185.(13
XX-XXXXXXX    !ASSOCIATED PATHOLOGISTS lLC                                               ipo BOX-402978                                                        iAnANTA GA 30384-2978                    I         3,353.24,                 l.936.2Si       1.581.17!           373.oe!                       184.98

l-'lc=.1·::3125=548=--+IN:::DccR:::THc:.;5"=0RE=Gc:ASTR=o:::ENTE==•o::to=GY'-------------,233_EA5fSH"'O""RE=•DA=D-----------;------;!::GREA=T'-'N=EC::K.:cNccYcc1=1•=:za-=2•=•3'----'------"1."'62"'6"'.ll"i0._ _ _....:,1,=62=6.=00:,•--'l,S81=°'·00"'-i--!                -----==~----"'
                                                                                                                                                                                                                                                                                 45_001  184.96
ss-1132913    ls01.JTHEASTERNPATHOLOGYPC                                                 !3uwBTHsrNE                                                           jROME.CiA3016S-2723                                1.1sLOO'                  1.s1a.s3l                                      184.67
                                                                                                                                                                                                                                                            1.57B.S3I;·~···--------,-------=
XX-XXXXXXX -iM1SSOuR1.BAPTIST MEDICAL                                                    !PO eox g58361                                                        ]SAtNT LOUlS, MD 06319                             2,430.00 j                1.913.oo;       1.578.20'           334.80'                       184.63

s2-09&2668    lEMERGENCYMEorctNEASSOCIATES PA PC                                         !.PO eox 826491                                                       /PHrlADELPHIA. !~'-',..=1=B2=--------1-----",..,=2.=oo=;;----=,1,s,,.s0;.           -~1.S~'~'-~60+>1_ _ _ _~     .i - - - - ~184.56
                                                                    1
XX-XXXXXXX .!GASTROINTESTINALCARE::O=F~l0::N~G~-------------;--•~o_eo_x_1_,_.,
                                                                             ____________                                                    --;-------;!_MASSA
                                                                                                                                                             __       P_EQ~UA,~N_Y_1_17S_B-4_,_B2_ _ _ __,1_ _~1,"'62=0-".oo'-;!_ _ _~1•::•'~•.23=,!--'i.s="-".23=+-',- - - - - ;I- - - - - =
                                                                                                                                                                                                                                                                                            184.17
s1-1111os2    (coLORECTAL SURGICAL AND GASTROE                                           b:szo w1U-1rTE oRrvE                                                  iLEXrNGTON, KY 40503                               1.940.00:                 1,s13.64!       J..573.64   i              -i                     184.10
XX-XXXXXXX    !NORTM SHORE VEIN PC                                                       lposox790120                                                          SAINTLOUIS.MD63179                       i         2,12s.00:                 1,s1Ls3!        i.sn.s31                                          123.85
                                                                                                                                                                                                                           1
XX-XXXXXXX    ILAJCESHORE MEDICAL aJNIC                                                  !Po eox 37USO                                         I               MILWAUKEE, WI. 53237                               2,11S.00                  2,023.8D!       1,569.so!           454.Doi                       183.EiS
62-168714D    l1NTEGRATED REGIONAL LABORATORIES                                          ,5361 NW 33RDAVENUE                                   I               1FrlAUDERDALE, FL33309-6313                        4,093.5t9;                1,5Ei9.69i      1.569.69 1         2,446.64;                      123.64

XX-XXXXXXX    iASSOCATED CARDIOVASCULAR PHYSI                                            !PO BOX 5940 DEPT 20 1119                                             CAROL STREAM, IL 60197                             2,725.DOJ                 1,635.D2!       1,568.891             6Ei.13l                     183.54
22-3S94884    !EMERGENCY PHYSICAN SERVICES OF NEW YORK. P.c.                              po eox 636008                                        I               [aNcNNAn, OH, 4S2Ei3-Ei008                         2,865.ooi                 2,518.so)       1.s66.90l          1,D11.60!                      183.31
XX-XXXXXXX    IPEDJATRICHEALTI-1 CAREALUANCE PA                                          l4D33 TAMPA RD                                        Im 101          OLDSMAR. R.. 34677                                 3,706.DDj                 1,1n.53!        1.sss.401           381.7Sl                       183.14
XX-XXXXXXX    !MtCHAELMEYERDO                                                            !79DDNMILWAUICEf:AVE                                                  NII.ES,IL60714--3160                     i         4,029.04~                     '
                                                                                                                                                                                                                                            3,2.n.72~       1,563.351          1,7B2.94!                      182.90

XX-XXXXXXX'---+lu~•=BA~N~PHY5=~1CAL=TH=ERAl'Y=~••~c'---------------+l1=1::1o_w_M~A1N_sr _ _ _ _ _ _ _ _ _ _ _ _ _+i·_ _ _ _...,l1E_BA_N_o~N·~™-37_DB_7_ _ _ _ _ _--;1_ _--;2,~,o-2_.oo_,1_ _ _~1,0~3~1.~oa""~---;1.S=62~.a=•t-i--~=~--   369.151                                                              182.84

42-14366SS   !Ol'TlONHEALTH                                                  98SAVf:NUEOFTHEOTIES                 1           lsiLVl5,ll61282                        !    17,459.681                                                     390.Sli
                                                                                                                                                                                             ··-·-··1,~2.62j_-'1,5=62"'.1=1t-''- - - - - = ='t----                                                            182.75
XX-XXXXXXX    !oll10PED1cHEALntCAI\EASOaATES1Nc                                          J◄tsMORR1ssr                                          lm1oc           OiARLESTON,WV,25301                      !         UEi&.ool                  2,012.4si       1.560.391           452.1D;                       182.55
XX-XXXXXXX    lsoUTH OtARLESTON PEDJCATRICS                                              [830 PENNSYLVANIA AVE STE 110                         I               DIARLESrON, wv, 253oz                    I         1,965.00I                 1,666.18!       1.560.tst           106.DD/                       182.53
o&-1412143    !MHSPRIMARYCAREINC                                                         i2sCRESCENTsr                                         l               IMloDLETOWN,cr,064s7                     l         3,292.00!                 1.ss1.2oi       1.560.041           .,2.22!                       182.S1
XX-XXXXXXX    ]BCDHEALTHPARTNERSLLC                                                      !160PEHLEAVE                                          lm302           SADDLEBROOK,NJ,07663                     j         3,D35.ool                 l,G32.7B!       l.557.781             8121!                       182.24
XX-XXXXXXX    !lAKECOUNTRYENDOSCCPYCENTERUC                                              !3033S27TH5rSUITE20Z                                  i               MILWAUKEE,Wl53215-3600                   i         2,224.00]                 2,224.00j       1.-556.SOI          667.2D)                       182.13

20-226S0ij8   liNTERNAL MEDiaNe ASSOCJATES OF RESTON                                     !PO sox 13050                                                         BELFAST, ME D4915                        I         2,706.ooi                 1,62L2ot        uss.so!               65.40!                      182.01
15-0552n5 ___ !MARGARETVILLE HOSPITAL                                                     42084 srATE HWY 2s                                                   !MARGAAEMLU::. NY 12455-2820             I         1,953.GSj                 1,953.65~       1,553.65    I       400.001                       181.76
11-33945111_ •. .Joma BASED ANesrttESIA                                                   PO BOXS621                                                           HICKSVILLE, NY 11802-5621                          1,122.ooi                 1,549.sol       1.54s.sol                  -i                     181.31
~6-0988142    )GASrON RADIOLOGY PA                                                        PO BOX 603482                                                        0-IARLO'TTE NC 2826G-3482                          2,360.00!                 1,565..25~      1,547.45    !         17.SOi                      181.04

p46-4=63~94=""'---+lu=u•e,G,e;ENe.,r__,,CARf=c!:PC!:c___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-!'PO=eox=u=•2B,,,____________--+i-----,"'"'=":.::ASr=,M=E04=915;cc,--<=•a=•------i---1_                                                                                       480.DO!
                                                                                                                                                                                                                                                     7 __,1,54='.ll6=>i--~=~--
                                                                                                                                                                                                               __;,3,=,854.=68=''-------"2,e,02'=·• 6l_                                                       180.99

46-094887z_!M'OtAELW,.:HE:.:N::.:RY"M"'D"'----------------------ll'-'Po=-•=o~x"zs"'23=-•'-------------;-ll_ _ _--+,""EW~YORJC.==NY~100B=~'-9236=~-----+---2~,405=·::••+!_ _ _                                                             ~1,~630=.ll=D-;-i---=;_...==.so='85.sol
                                                                                                                                                                                                                                                                            !f----==t---                      18D.69
XX-XXXXXXX !ROBERT SEGAL MD FACC Pl.LC                       207 EAST 57TH STREET SU~ 176                         INEW YORK, NV 10022                         5.275.D0!       2,347.69.                                                                     1,544.38!           8D331]                        180.68

XX-XXXXXXX    !WHITE PLAINS PATHOLOGY ASSOC                                              PO BOX 4264                                                           NEW WINDSOR, NV. 12553-0264              j         2,782.00!                 2,680.45\       1.544.261          1,136.191                      180.66

              iTHE IOWA C.INIC PC                                                        ;59SO UNIVERSITYAVE                                   lm321           lwESToesM01NES,1A,S0266                            3,204.00;                 2.647.38\       1.540.22!          1.1D7.161                      180.19

XX-XXXXXXX    )RENOWN REGIONAL MEDICAL CENTER                                            iPOBOX848775                                                          ,LOSANGELES,CA90084                                7,724.25i                 4,155.571       1,539.s1I          4,396.181                      1BD.11
                                                                                                                                                                                                                                                                                          I
20-11020251   hw1N VALLEY EMERG PHYSlCI                                                  11299 BERTHA HOWE AVE                                 !               MESQUITE,NV89027                                   1.888.00i                 1,888.001       1.538.00!           350.oo:                       179.93

XX-XXXXXXX    IGREGG ROCK                                                                 119WS7THST                                                           NEWYOR~NY10019                           l       19.285.00:                  2,788.40;       1.531.os!          1,25L35!'                      179.B2

XX-XXXXXXX    liwNOlSUROGYNECOLOGYLm                                                      1875DEMPSTERSTSUITE6Ei5                                              PARIC.RIDGE,ll60068-1168                           z.245.00!                                                    33s.◄1l
                                                                                                                                                                                                                                            ].ft~D.03) ........ _.. l,5~34=-•zc;i--~=---                      179.54

XX-XXXXXXX    jscRAN1:.~!l !!'-!:c'"""cv'-'"=05P=l1'.:::AL"-'c=o=M"'PAc.:NY::___ _ _ ------------Fa•='"--'""M"'OM"'E"NTU=M=PIA"CE~--------- 1------;-cl°'~'~CA~GO~~·•~L6068
                                                                                                                                                                       __                                                                            200.ool
                                                                                                                                                                            , _ _ _ _ _ _ _,,__~1~.m=.ll0=-;--;---~'-~73~3~.oo~~. ··--··1.5=3~3-::oo+!--~="-i---                                              179.35
U-39110n      !MMC EME~~~~CY PHYSIOAN F p p                                              \Po BOX 29580                                                         !New YORK. NY~ 10087                     !         1,917.00•           ..... ··- 1,532.73;   ;,532.731                  .i                     179.31
XX-XXXXXXX    \KENTUCKY HOSPrrAl LLC                                                     iPO BOX 742902                                                        !ATLANTA, GA 30374                                 4.244.01:                 1,782.48,       1,532.48!           250.lJOI                      179.28


                                                                                                                                             EXHIBIT2

                                                                                                                                                   53
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                                                                                                                                              AEU INTERIM DISTRIBUTION



                                                              -~,;:~~-,,.;JR~l§-~~g~~,.~-~-
 62·1562563        isouTHEASTERNMEDICAl.GROUPPC                                                   IPOBDX636020                                             j                ,□NCNNATI.OH4S263-602D                      1            1.azo.00~                1.11s.so1         1,.531.so]           183.901           179.1B
 XX-XXXXXXX        lo1GESTIVEHEALTHASSOCPC                                                        !1100HOUBOLTRD                                           !                ,muET,H.,60431                               l           4.951.ool                2.1so.1s\         1,531.051            549.12            179.u
    XX-XXXXXXX     iPARALLAX CENTER INC                                                           114s e32NDSTREET 6FL                                      I               !NEw YORK. NY 10016-9998                     I           1.&5s.oof                1.&zs.00!         1,s2B.oo             100.ooi           178_76
i.:1.3-="::'•=s"'94"--!i"'M"'ICHA=a=.co=-LEAR=:cY__________________4 1s,,•=-•MA=o"1so=".:.:•VE=R""M"1"'01,_________--11_l-----!;::_""'=.:.:YO:,R,:,K,~!!'Y,10022                                                                     2,380.0DI                1,525.10/         t.525.70!                              t78.49
 XX-XXXXXXX        lcoMPUNETOJN\CALlABORATORIESUC                                                 \POBOX714131                                                              !cNONNATI,OH45271                                        7,351.90;                1,666.86'.        J)i25.53j            146.331           178.47

    43-119364~S-'f·1Sl'EVE=-=-"~"c,Y~ARS=MO=------------------,f!,1"004c.c.=CAR=O=ND=E=LET=D=RIV~E-'---------flsu=rr=-•40S=--j=KAccN-=-SAS=Cc..lTY"-,"'M-=-0-=-64c:1=..14-481lo..cc:cc'c.....----;----=1,93=6.=0c=cD!'-_ _......:,1.,:93:;:6:::.00::;l_-'1.9=22=.Se:S+---:C413=AS"l-----!!17:,c8,e,12'-I
    ls-6005697     ESKENAZI HEALTH                                                                b20 ESKENAZI AVENUE                                       I               /INOIANAPOUS. IN 46202                                   1,521.00~                1.521.001         1.52100                                177.94

,_,_
  ....
    _1_9286
         _                                                                                         _________·_·_,J _____7 i_so_UTH_CHAR
                 _,I_BA_U~s_u_R_GI_CA_L~PRA=cn=CE,________________. ,.'.460=7~MA~CCO~IUll.~E _Av_,_sw                0
                                                                                                                                   __lESl'O_~•~·~wv=25309=---->--~•=.89:..:•=·•.c.o;~---"''"'s1=•=·'•.c;l_-'1.9=19=c:,=•.-l____..;.-____~1nc.c.c:ne_i
 XX-XXXXXXX        /P£RFORMANCEMECICALSERVICESLL                                                  P080X308                                                                  iPARt:.RIOGE,Kl076S6                                     6,430.ooi               2,812.21:          1,.517.25          1,294.96)           177.50
 XX-XXXXXXX        IFPA HOSPITAl.BASED NON PAR MTS                                                PO BOX 5024                                                                NEW YORK, NY 10087                                      1.s11.oo!               1.511.00!          1.517.00                  -l           177A7
 SS-1846036        !DERMATOLOGY CONSULTANTS PC                                                    12045 PEAOtTREE RDNE                                     iSTE200          !ATLANTA. GA 30309-1497                                  3,364.00!                2,560.lSl         1.S14.90            197.19i            177-23

 XX-XXXXXXX        lRAD10LOGY1Nc                                                                  ]POeox12SS                                               I                lsoUTHBEND,IN,46624                                      3,911.041                3,357.30!         1,514.11:          1.,20026!           111.21

 XX-XXXXXXX        !GLENENDOSCOPYCENTfRllC                                                        iisstCOMPASSRDSUITEllS                                                    !GLENVIEW,IL60026                           !            8.504.00!               1,911.001          1.513.32!           397.68             177.04

XX-XXXXXXX         1EXAGEN DIAGNOSTICS                                                            )PO BOX 275Gl                                                             IALBUQUERQUE, NM 87125                      I            2,950.00'.              2,521.04!          1.512..60:         1.008.44:           176.96

i.:•=-s-<>=7c,,925=17'---!1H,::U,:DSO=N:..:P.::Rl::,MA=RYe,:CA:::R:::Ec:.PR;::D::,FEo;SS::cl,:ONALS==-------------¾'l1e,2~VAc,N:..:RE=lccP£,cNccl<"""''------------+!-----iJr',E"'"""=CITY='-''NJ=<J7c,:306=-------l-l_ _...,3,,,7,::84::.9,~a_!_ _ __,,I,!11.49!               1,511.49,            1s.ool            176.83
XX-XXXXXXX         IPROGRESSIVERADIOLOGYOFIWNOtS                                                  POBOXB2652S                                              r                 PHILADElPHIAPA19182-&s2S                                2,420.00:               i.soas1•           i.sos.s1!                 -i           176.49

XX-XXXXXXX         IPORTER COUNTY ANESTHESIA ASSOCIATES PC                                        PO BOX 809139                                                             io-i1CAGO, IL60680                               ---"•,1=1cc•·=ooc,.'_ _ _,.clcc,50=7.0=•s..i_   _,1.90=7.::.0=.31¾------+-----'lc:;76:,3=''-I
XX-XXXXXXX         \SOUTHSHOREEYECARE
                                   __ llP_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-f,2=1•=•c:w::.A:::N.::TA;;GH=AVE=-----------+-----,irw"'Am=Ac=GHc,,.::NY","'ll::.:7=··'------+i_ _.=•:,::••:::••:::·O:,cO;...i_ _ _.,,1.,::8S::1.::0:::6lc.__,:1.SOS=.22==el_ _....,:!34:::,S:,:.B4:::l_ _ _ __e;17"'6:!.1D"--I
XX-XXXXXXX         [CONRD£NT1AL ~;; LTD                                                          !720 45TH STREET                                                           jMUNSTER. IN 46321                          I            2,015.00 j              1,851.78:          1.504.381           347AO              176,00
XX-XXXXXXX         IARBORETIJM PEDIATRICS                                                         PO BOX 60099                                                               CHARLOTTE, NC28260-1252                                 2,273.00l               2,076.SSi          1,504.15 !          572.401            175.97
XX-XXXXXXX         !sount   TEXAS PATHOLOGY ASSOCIATES, LLP
                                                                                                  14085 De Zavala Rd.Ste. 200                                               !San Antonk>, 1X 78249                      I            1,504.00:                1,504.oo!         1.504.00                               175.95

XX-XXXXXXX         !NORTHWAY PHYSICAL n-iERAPY PC                                                 2314 BELLMORE AVE                                                          Bal.MORE, NY 11110-5627                                 4,42o.ool               1,879.72!          1.SD3.66I           376.061            11s.91
XX-XXXXXXX         IPHIUPPA GORDON                                                               162 EIGHlliAVENUE                                                           BROCKL\IN, NY11217-39ll                                 2,425.00\               1,503.49!          1,503.49             10.001           175.89

XX-XXXXXXX         lwASHINGTOM IMAGING ASSOOATESOF DC                                             ]Progressive Radiology                                    PO Box 824053   ]PHILADELPHIA, PA 19182                     I            1.S03.ooi               1,503.oo!          1,503.00                              175.84

1,=1-=354"'94=••=--t:"=AfO=•o=•'-'•=•,."r""•=•c:s=-•'-' "'"c'-______________1,µ=4sJACKSONAVE
1                                                                                                                                                          ·l!·-----ffSEA~FO~RD~·"~Y~u_,~•=..,=,...=------t!__ ····-··;oos.sol                               1,63u91 ........   1,soo.99!..         uo.10!             175.60
i.:'=-o-o=oo::1,.,us=----1!•=UT"'"'REHAB=='LIT""A"'n.::DN=CE=N'-'TE=•.::••c.::c,________ -------1i:!1S2HOWSTERAVE                                                            SANTA BARBARA. CA93u1-2Sso                 I            s.120.00:                1,500.00!         1.500.ooi     ---,._=us::.oo=;-----1",=,AS=-1
XX-XXXXXXX         isccnsoALE EMERGENCY ASSOOATES LTD                                             PC BOX 98601                                             !                 I.AS VEGAS, NV 89193-8601                  /            1,964.0Di               1,964.oo!          1,499.58            4G4.42            175.44
r!-~5-15~.-.,--l:·:v.---es
           .               PARTNER.S5RVSSC                                                        PO BOX 88948                                                               MILWAUKEE WI 53288-8948                    !            1,764.0D!               1,764.00;          1,499.40            264.60            175.41

F54-='~=•=~='=-➔lo=•.::•=•CHAR=~D:cAc,:m===~•~M~•---------------+•=300=~=•cc•=~~o"'•------------+isre=1=~~-_,,,rFRJSCO=~~~'•=IB4~-------+-l__•~;m=.oo=-!___..,1"',4=••:::·~~!_ _,,1,~•~::-=~:+-----i----~v"s"'.u=-l
XX-XXXXXXX         loRTHOPEOICSPECALISTSSC                                                       13soweuTTERFIELDRDSUITE160                                                  ELMHURST,IL60126-5099                      l            2,so3.oo;               2,21s.3oi          1,496.63            7BL67,            115.09
XX-XXXXXXX         lsr PETER'S AMBULATORY SURGERY CENTER LLC                                     · 1375 WASHINGTON AVENUE SUIT£ 201                                         !ALBANY. NY 12206                           I            4,030.001               2,426.00(          t,496.181           929.szl           175.04
XX-XXXXXXX         iW1UJAMSBURG FAMILY PHYSiCAN                                                   i6041 VILLAGE DR!VESUITE 130                             l                 LINCOLN, NE 36516-4787                                  3,32s.oo:               1,890.88)          l.496.azl           f82.73)l          175.02

XX-XXXXXXX         !HACKENSAcr.: DIGESTIVE DISEASE ASSOCATES, PA                                  !s21.ST ST                                                                 Hackensack NJ, 07601                                    6,605.00'               5.039.51!          1,495.50;          3,484.01           174.96

 XX-XXXXXXX        iPADMANABH PAOOU MO                                                            i4902 ClllfENS BLVD                                                       iWOODSall'. NY11377-4444                    i            1,49S.OO!               1.495.00i          1,495.00                  -i          174.90
XX-XXXXXXX         larvoFROCKFORo                                                                 lPosox1J1so                                                               !CAROLSfREA.IL60197                         !            1,494.00:                1.494.00!         t.494.oo!                             174.78
2&-us116s          i~~__HENDI MD                                                         ........ _ .. _!5454 WISCONSIN AVE srE 725                                         joiEVY OtASE, Mo 20815-6901 _ _ _ _+/---'•=,2=19=.oo=;:                          3.z19.ooi          1,492,00/          1.121.00/          114.ss

20-31so59s         !NORTHEAST ENDOSCOPY CENTER u.c                      -------"ls::•=w,,.,w.::ES=W.:.:AY'------------+-----';L=ow=•u.=..~=01=•c=csz,______ ..                         ..,1"',4=90=·oo~l___.,,1,,.,•90=.oo=.'~-1.""4"90'".=oo'!-l_ _ _ _...;...._ _ _ _.:;17:.::4=:32o.,i
                                                                                                                                                                                                                        ;...i'_ _




31-132894~2~!rN=ORTH=EAST=-'C~IN=Q-"'N=NA~n~P£-'O=IA~JRl=C----------·----t!~,o~80=X~63~345=6_ _ _ _ _ _ _ _ _ _ __,,,c-------;a_N_a_NNA_TI~,OH-•~·-'•~3-.~34_S_6_ _ _ _ _ _T!, --··-·2,894.ooi_.. _ _ _ _,~•·~·~3.83=-,.;_~l.,488.58i,...--~15~.ZS=,-t----~'~'·~·15=-i
 XX-XXXXXXX        !ADVANCED ENOOSC0PY SURGICAL CE                                                1142 ROUTE 35 SUITE 101                                                   !EATONTOWN. NJ on24                                      7160.25]                1,860.oo!          l.488.00!           372.00\            174.08


                                                                                                                                                          EXHIBIT2


                                                                                                                                                                54
                                                     Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 78 of 266 PageID #:11174




XX-XXXXXXX

2~2945073
                !NEW YORK SOCIETY FOR THE RWEFOF

                !StENA EMERGENCY MEDICAL SERVICES PC
                                                                     lPOBOXS058

                                                                     !PO BOX 74682
                                                                                                         AEU INTERIM DISTRIBUTION



                                                                                                                            -!Ill,._-~:·;, _-
                                                                                                                                !BLOOMINGTON, IL 61702-2913

                                                                                                                                jNEWlCRK, NY, 10087

                                                                                                                                !a.EVELAND, OH, 44194-0765
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                                                                                                                                                                  !   2.oss.ool
                                                                                                                                                                      4,359.00;

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                                                                                                                                                                                                                                  174.06

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XX-XXXXXXX      SAlNT BARNABAS EMERGENCY MEDICAL                     !PO BOX62SI                                                jPAASIPPANY, NJ 07054-7251        !   1,857.00;
                                                                                                                                                                                 I
                                                                                                                                                                                     1,63S.20~        1,485.60         149.6D/    173.80
XX-XXXXXXX      !JeffreyMlori.                                       [POBoxSU1                                                  !BELFAST. ME 04915
                                                                                                                                                               ---i   1,650.001  '   1.485.oo!        1.,485.00i             -i   173.73
62-10!18942     !AMERICAN ANESTHESIOLOGY OF VIRGINIA                 !PO BOX 535392
                                                                                                                   I            !AnANTA, GA 30353-5392                1,485.00,      1,48s.oo1
                                                                                                                                                                                             l
                                                                                                                                                                                                      1.4BS.ooi
                                                                                                                                                                                                                             _!
                                                                                                                                                                                                                                  173.73

                arv OF BEVERLY HIUS
                                                                                                                                I
~~678                                                                )PO BOX 269110                                             lSACRAMENTO, CA 95826                 J..484.83!     l,484.83i        1,484.83                    173.71
XX-XXXXXXX      MOUNT KISCO SURGERY CENlER LLC                       :34 S BEDFORD RD                                            MOUNT KISCO, NY 10549                1,855.0_?,     1.)ISS.OO!       1,484.001  '     371.00!    173.61
XX-XXXXXXX      GIU;ENWICH RADIOLOGICAL GROUP PC                     j49 LAKE AVENUE                                            .GREENWfOf, cr06830                   6,933.00/      2,484.48':       1.4BLS8        1,051.901'   173.33

XX-XXXXXXX      lne:R 1 DtRECI" PHYSICAL THERAPY                     j330 CONGERS AVE                                           !NORTHVALE NJ 07647-16D7              1,890.00:      1,809.SOi        1.479.93        329.57:     173.14

XX-XXXXXXX      ''HARRISON COMMUNITY HOSPITAL INC                    iPO BOX 932282                                             !ruvELAND, OH 44193               i   3,430.ool      3,335.80!        1,4n.82        1.BS7-9B1    172.89

XX-XXXXXXX      PROSTHETICANO ORTHOTJC MANAGEMENT                    13070 BRISTIJL PIKE SUITE 2-220                            iseNSAl.fM, PA 19020-5364         I   4,082.89'.     2,415.04!        1.473.86         94L18j     172.43
16,,1694674     MlhlMAUY INVASIVE SURGICAL                           In• 01R1S11ANA RD STE 2                                    INEWARK. DE 19713-4219            i   9.5G8.oo!      1,840.50;        1,472.401        36uoi      172.26
                                                                                                                                                                                 I
XX-XXXXXXX      EPMG OF INDIANA PC                                   IPo BOX 9620B                                              loKl.AHOMA an oic 73143-6208      i   3,004.00       1,471.00!        1.471.00       1,s31ooi     172.09

XX-XXXXXXX      koNG lSLAND GASTROENTEROLOGYGR                       '
                                                                     !131MERRJCX ROADSUITEl                                     /MERRICK. NY 11566                I   2,520.00i      1,47D.46!        1,470-46.              -1   172.03

XX-XXXXXXX      !vAlOOSTA ANESlliESIA ASSOCIATES, P.C.               12310 N. PATJ'aSON ST. SUJIDING C                          lvAU>OSTA, GA 31602                   1,470.00]  '   1,470.00f    '   1,470.001              -1   171.98

62-179S572      !SOUTHWEST GENERAL HOSPfTA                           ;7400 BARUT£ BLVD                                          ISAN ANTONIO, lX 78224                2,595.091      1.816.57!        1.466.57         350.0lli   171.57

XX-XXXXXXX      !FULTON DEKALB HOSPrr~ AUTHORITY                     135JESSE HlLLJR DRIVE SE                                   iAnANTA, GA 30303                     1,725.001      t,466..2si       1,466.2S.              _j   17154

XX-XXXXXXX      BOCA CARE INC                                        :1001 NW 13TH ST                              SUITE201     !eoCA. RATON, Fl 33486-2269           4,182.DOi      1,621.80;        1,465.13!      2,430.671    171.41

5&-2520652      JOANNA MORRIS MD                                     !1800 NORTHS1DE FORSYTH DR                    m•oo         IQJMMING, GA 30041-8483               1,817.00]      1,571.961        1,462.99         20B31I     1n.1&

XX-XXXXXXX      CfmER FOR INFECTIOUS DISEASES AND                    b1 YEUOW BROOK ROAD                           I            IHOLMDEI. NJ 07733-1967               1,460.00j      ,.....ool        ,.. . ._001            -1   170.81

XX-XXXXXXX      .I FRANEY MEDICAL lABS INC                           ls2 MERCANTILE WAY                            I            !MASHPEE, MA02649                     1,542.00;      1.S42.ool        1.459.00          83.00)    170.69

SS-07045S9      !JAN-cARf AMBUlANCE                                  IPDBOX2414                                                 IBECJ<IEY, wv. 25802                  1,822.001      1,822.001        1,457.601        364.40!    170.52

XX-XXXXXXX      iGARY P KA12MAN                                      1175 EAST96TI-I STREET21A                                  jNEW YORK, NY 10128                   4,425.00!  '   3,240.00!        1.4ss.ool      :z.s21.soi   170-22

8_!:!!~4734     MEMORIALHOSPITALASSOCIATION                          '!POBOX590                                                 l~o LODGE, MT S9068                   1,654.75'.     1.osusi          1.454.75         200.ooi    170.19

XX-XXXXXXX      O{S Anesthesia Services Group Inc.                   / PO Box 603050                                            !OiARWlTE, NC 28260                   1,450.001      1,450.00i        1,450.00               -i   169.64

XX-XXXXXXX      lcoteN MD PLASTIC SURGERY                            lsu PARK AVENUE                               i            !NEWYORK,N't10021                     6,265.00(      2,413.9Si        1,44837          s65.s81    169.44

45--3201807     ANNALEE CHIROPRACTIC CARE PC                         !92DMAINST2NDFL                               ims          !HACKENSACK. NJ 07601                 3,635.00!  '   Z.408.S0i        1,448.031      t.109.271    169.41

XX-XXXXXXX      JANOALI SURGICALASSOCATES SC                         i6308 8TH AVE                                 113050       !KENOSHA WI 53143-5031            i   2,480.00;      1.sn.1s!         1.445_95        m.ss!       169.16
                                                                                                                                                                                                  !                           I
XX-XXXXXXX      MUNSON OCCUPATIONAL                                  IPOBOX 1131                                                jTRAVERSE OTY Ml, 49685               Z.400.D0'      1.744.921        1,44L96,         302.961    168.69

XX-XXXXXXX      iPRIME HEALTHCARE 51:RVICES                          IPD BOX 412862                                             !KANSAS CTY. MO 64141                 4,307.51"      1,440.871        1.440.871                   168.57

XX-XXXXXXX      !RETINA VISION CENTER                                lio1RIVERWAYPL                                             !BEDFORD, NH, 03110                   9,150.00,      1,706..89!       1,440.20       4,164.65[    168.49

XX-XXXXXXX      !oowNTOWN PEDIATRICS LlC                              '
                                                                      136 N.MOORESTREET                                         INEW YORK. NY 10013                   l,970.00l      1,464.72;        1.43s.ni          25.ool    168.43

XX-XXXXXXX      LEADING EDGE EMERGENCY PH                             !PO BOX4346                                   DEPT363     IHoUSTON TX 77210-4346                z.25132;       1,438.97!        ,...._,11                   168.35

XX-XXXXXXX      MINUTEQJNIC DIAGNOSTIC OF Ill                        · i11200 LINCOLN HWY                                       IMOKENA.11.60448
                                                                                                                                                                              I
                                                                                                                                                                      2,419.97;      1.892.39)        1,438.391               '
                                                                                                                                                                                                                       -454.00!   168.28
                I
XX-XXXXXXX ..   !SCARSDALE PEDlATRIC ASSOCIATES PC                    \1245 PARK AVENUE                            I            jNEW YORK, NY 10128                   1,585.00/      1,511.92:        1.436.92:  '      1s.00!    168.11

XX-XXXXXXX      IENGLEWOOD  PATHOLOGISTS                              ipQ BOX8069                                  I            IENGlEWOOO, NJ 07631-8069             2.osu.'        1,676.Sli
                                                                                                                                                                                                  ;
                                                                                                                                                                                                      1,435.731        240.7B;    157.97
                I
                !IWNOISRETINA ASSOCIAlES SC                          !11 WEST156THSTSUITE400                       I            jHARVEY, ll 60426-4265                1,596.86(      1,559.85!        1,434.ssl        us.col     167.86
36-29]0624 ..                                                                                                      i
XX-XXXXXXX      !LAGRANGE PEDIATRICS LTD                              14727 WILLOW SPRINGS ROAD                    \            \LAGRANGE ll60525                     2196.00:       1,569.33!        1.434.33!        438.23!    167.B0


                                                                                                                  EXHIBIT2

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                                                                                                                                                                                                                                                2.683.00,              l.943.19i        l,.434.03!              509.16;             167.77
XX-XXXXXXX       FIVE TOWNS PEDIATRICS Pc                                                           \145 FRANKLIN PL                                                               lwoooMERE. NY, 11598                                         1.943.00:              1,432.641        l.432.64/               425.ool             t67.60
UNKNOWN          iMIDATLANTIC ENDOSCOPY CENTER                                                      llA BURTON HIUS Bl.VD                                                          :NASHVlllE, TN 37215-6187                                    2.923.19'              1,7S9.DS[        1.431.26;               351.szl             167.44
XX-XXXXXXX       WINSTON BURKE                                                                      i1s315 STONY ISlAND AVE STE 152.                                               !011CAGO, IL 60649                                           2.905.ool              1,43U6~         1A31.t6!                  zs.06i             167.43
F3,,.1-43=9::179c:;S:__,SO=UTH=EASTE=:•::;•.::O:.,Hl,::O.!!RE:,G::,IO::;Ne::AL:__ _ _ _ _ _ _ _ _ _ _ _ __,,•pc:Oc:B0c,X:,_6=,1,c0_ _ _ _ _ _ _ _ _ _ _ _     --1___               !CAMBRIDGE, OH 43725-9614                                    3,729.93!              1,628.48!       1,428.4Bj                82~~[----~·~67~.12-
XX-XXXXXXX       iRAINIERASSOOATES                                                                  ls909DRCHARDSTWEST                                                         ··-··rTACOMA.WA98467-3824                                        2.305.ooi              1.ns.11!        1.428.171               300.0D]              167.08

r:'cc3-099=,::346:,,:6,:_-l;lAP=Oe:RTE=C::DccAN=E5ccASSO=::.CUC=---------------.iPc:Dc:BO:::Xe;lf1=•''----------------'!---···..-·..--1M1CH1GAN_crrv.c,:1N,_,463=•::.1_ _ _ _ _                                                     + __,el.<,42,eB,e.DOe,;•~----"t.4~2e!S.O"'o"i!··- __1,428.001                     _/            167.06

~~?..~627        jNoRntSIOEANESTHESIOLOG't' CONSULTANTS u.c                                         J!~.-~!.!~=.644=' --------------'!                                        ....JAIAfTIANTA~GA·
                                                                                                                                                                                               '"3~~                                            1,428.oo!              1,428.0ol       1,1,428•-·."'..,·i'.                         167.06
3S-1872325       'PEOIATRIC:ASSOOATESOFI.AJ=AYETTE                                                  ]2300FENYST                                                                    I;    •~••""   -.,""-""""3060                                2.474.IJO:             1,427.001             L,                      .I             166.94
XX-XXXXXXX       ROCKVILLE ANESTHESIA GROUP LLP                                                     /5s MAPLE AVE SUJTE 508                                                       lROCKVlllE CENTRE. NY1157D-4267                               2.036.25!              2,036.25~       t.425.38!                610.s,l             166.76
2fr2200022       iKATHYLGRUMMONPHD                                                                  !144E.44THSTREET#401                                                           !NewYork,NY10017                                             1,625.00!              1,62S.00j       1,425.ooi                200.00!             166.71
3fr2659757       NORTH sueuRBAN PEDIATRICS sc                                                       i253o RIDGE AVE                                                                !EVANSTON, IL 60201                                          1,BSS.001              1,424.os\       t.424.osl                      •!            166.60

4S-3136848       EMERGENCY MEDI ONE PHYSICANS oF                                                    !Po sox 18922                                                 I                !BELFAST, ME 04915-4084                                      1,423.00!              1,-123.001      1.423.ool                      -1            166.48
XX-XXXXXXX       DAVIDCULANG                                                                        [poaox9sooo2434                                              T                TPHllADELPHIA,PA191952434                             i      30,142.oo[              1.11u2j         t.422.n 1               35s.10!              166.44
XX-XXXXXXX       suRGI-CARE INC                                                                     Jpo sox 223808                                               I                 lPmsauRGH, PA 15251-2808                                     2,.075.oo;             1,103.9si       1,421.78!               292.201              166.33
22--31417Eil     !REGIONAL CANCER CARE ASSOCIATES Ll.C                                              ]Pc BOX 95~n10                                                i                !PHILADEtPHIA. PA. ll19S                                     1,goo.00:              1,459.&B!       1,.419.68!               40.DO!              166.09
XX-XXXXXXX       !LuRIEOULDRENSMEDJCALGROUP                                                         !oEPARTMENT4S7B                                              l                 !CAROLSTREAM, 1L60122                                        1,586.00
                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                       1,s3uo!         1,419_04[                U2.36i              166.Dl
47-365S18&        LONG ISLAND MENTAL HEALTH                                                         \595 ROUTE 2SA STE 15                                        T                 IM1UER PlACE, NY 11164                                       2,400,00]              t,79us!         1,416.tsl               31s.oo]              165.68
ss-1450232       iPEDIATRICHEALTHCENT£R                                                             l4243ouNwoo0va.ueOR                                           im103            IATLANTA.GA,30350                                    I       3,270,001              1.4is.2sf       t,4ts.28!                      -!            165.57
XX-XXXXXXX       !MEDICALPARKANESTHESIOLOGlSTStNc                                                   lPaBOX&732                                                    i                !WHEEUNG.WV26003-D656                                        1,1to.ool              1.110.00!       1.413.ool               291.ooi              16S.31

XX-XXXXXXX       !SKooeoFF1cERETINACARE                                                             14709WGOLFROADsurrE11,                                        I                !SKOK1E.1L6001s1231                                          3,2so.ooi              1,411.20?       1.411.zot                    -1              165.10
SS--2307485      HEALTHSVCSOFCNTRLGA                                                                lpoeaxt16SBO                                                  I               lATLANTA.GA,30368                                     I       2,253.001              1µ2.ss!         1.410.49!               407.16!              165.01

g4-03a2330       O'IILDRENSHOSPITALOAKlAND                                                           POBOX7424D63                                                 I                !w5ANGa.ES,CA9DD74                                           3,093.oo]              1.1&3.01(       1,410.401               352.61'              1GS.oo

2o-a96B20&       !wtWAMGCIMINOMD                                                                    !52eEA0tRDsre201                                              I                !FAIRRELD,cr06824-6017                                       2,101.001              2,.588.60!      1,409.10!              1,119.so]             164.ss

XX-XXXXXXX       MODERN MEDICAL PC             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 1837 EAST17THSTREET APT~S~A,__ _ _ _ _ _ _+l!-----liSR=O=OKc,LYff=•N°"Yc.clc:1229,==2948=-----li----"3,,::103=.1S:,:_ _ _,..23.103.l5:~.-... ,.,,                                                         -~!-...                .1.694A91..___ _ _~164=.BO=-I

.,22
   =--=33S=•=2=1•'-..!ee=RG=•~•=ANESTHES1AASSOC1ATES                                                lp0eox637728                                                                   laNONNATI,OH45263                                    j       1,1&0.00:              1,160.00:       t.408.ool               352.00!              164.72

F2=-6-0=22=•=•=3''--+°'='w=•='=NS"M='=D=1CA,,t,,G""RO""U"'P-'s"c _ _ _ _ _ _ _ _ _ _ _ _ _ _-F3~,1 N RANDALL ROAD                                                 ,------"ILA=•=•~1NTHE HIUS. IL60156-979&             ..... -··---..   !.      3,09Lool               1,407.53:       1,401.s3!                      -i            164.67
47-09SB220.,, __ ,IOAN1EL ROSHAN                                                                     PO BX 231023                                                                  iGREAT NECK, NY 11023-0023                           !       2.:zso.00!             1.758.23;       1,406.591               3SL64l               164.56

0,co-<OO=0e,7~••,_-,iSl'.e,Ac,c:rE=Oc:FCc,Oe,N::;NE,,cn=cUT,,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _-f2"'63'"'"'A:::RM:::l::;NGT=O::.N~•VE:.e__ _ _ _ _ _ _ _ _--i------,'"'FA,::R:::Ml:::N:::GT:.:O::;N:,_:,CT::.:c06032='-'-19:C:SC::6'----+---'2~,•7!,3,:,04c::l~----"2,22S="-·79:;i_ _1,,,,•""06~.04~i_ _~8.27.751                      164.49
XX-XXXXXXX       !MAROON BEUS      fMfRGENCYPHYSl□ANS                                                PO BOX 13691                                                                  IPHILADELPHIA. PA 19101·3691                                 1,560.00;              1,404.00!       1,,404.00j                      I            164.25
S8-056Eill3      isrMARYSHLTHCARE                                                                    POBOXS318Ei9                                                                  IA1'LANTA.GA30353                                            2.uo.ool               1,404.oo!       1,404.ool                      -1            164.25
47-4949S60       l1NWOODEMERGENCYPHYS LLC                                                           !PCBOX80074                                                                    iPHILADELPHIA,.PA19101                                       2,285.00i              1,403.Sli       1,403.81[                      .!            164.23
42-ltsij(JSS      oeRMATOLOGY     pc                                                                lsooo UNIVERSITY AVE                                          !m 450           lwesr DES MOINES. IA. 50266                                  3,soo.00
                                                                                                                                                                                                                                                           1           1,982.44!        1,402.00)               580A4i              164.02
                                                                                                                                                                  1
OS-7548109       laeRGERMrrotELLMO                                                                  l1999MARCUSAVESUITEM14                                                         INEWHVDEPARIC.NY11042-1033                                   2.3510.ooi             1.584.11!        1,,401.02!              206.48!             163.91

~1279833         lMoNIQUEBROTMAN                                                                    l1ERIECOURT,su£IE1020                                                          loAXPARK.IL60301                                             1.1sL00;               t.400.ao!        1.400.BDi                                   163.88

13-3044S1Ei      IPARKAVENUEPEDJATR1cs..oe,:F.e,MAN=HA=TT,,:AN,,___ _ _ _ _ _ _ _ _ __;l1,,1s:lle.,P"'A"'RX'-'A"V"-E-------------!----~IN::.EW=YD:c•,,,ic.._NY,_l012B _ _ _ _ _ _ _                                                 + ___,1,,,,61"'0"'.o"'oi.___ _--=,1.~~.p~l          1,,400.os!        is.oo!          163.79
XX-XXXXXXX··-··· iOiRISTINA DAVIS     -                                                 1241CENTRALPARICW5rSUITE1C                                                                                                                                                             ;--=="'-----==;..-----"==-!
                                                                                        ,                                                            lNEWYORK,NY10024                                                                           s.ooo.ooi              7,800.00i __ ,,_,1.400.~~-•m•H (S~~:Q!?1;-t_ _ _ __:163=.79=-i
 XX-XXXXXXX      !AMSURG NORiHERN KENTUa:Y GI llC                                                   ;PO BOX 635283                                                                 :oN□NNATI. OH 45263-5283                                     1,400.coi              1,400.00;       1.400.ool~-----+i----~·~·•~-79-
 XX-XXXXXXX      lsuMMITMEDICALGROUP                                                                lPoBOX6352B3                                                                    !aNONNATI OH,45263                                          2.330.00;              1.5sut'.         L398.75l                1Ei25Eil            163.64


                                                                                                                                                                EXHIBIT2

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                                                                                                       AEU INTERIM DISTRIBUTION




84-1561SS3                                                                                                         SUITElOQ   ]WHEAT RIDGE. CO 80033-6039               1,396.00!            1,39&.ooi                                16332
~~1090576        IORTHOPAEDlts-lNOIANAPO_US INC                                                                               l1NDIANAPOUS. rN 46206                    5,841.00:            1,742.95!                      ~~J
XX-XXXXXXX       ,SHELDON BRUCE PIKE, M.O                                                                                     '
                                                                                                                              !LAWRE~ NY 11559                        19,235.00;             1.4;?.29: '   ,...._,.,        217.Dli
                                                                                                                                                                                                                                      163.13
                                                                                                                                                                                                                                      163.11
XX-XXXXXXX       IMCHENRY PATHOLOGY ASSOOATES S                                                                               (PARK RIDGE IL 60068-0698                 3,470.00]      ___ 1,868.00/       l,393.oo!        676.00'   162.97
23--2700908       LEHIGH VALLEY PHYSICIAN GROUP                     jPO BOX 783311                                            jPHIIACELPHIA,   ~~ 19178                 4,SCSJ)()"           1,73L13i      l,392A3i       1,468.70!   162.90
XX-XXXXXXX        -~NK O LIPMAN MD                                  !;!;_~ESr22NO STREET 5TH FLOOR
                                                                                                               ···-r·······
                                                                                                                              !NEW YORK, NY 10010-70n                   2.oso.00!            1.5SO.OO'     1.390.001                  162.62
XX-XXXXXXX       !EMERGENCY PHYSIOAN ASSOOATES                         PO BOX 635999                              I           fcNCNNATI. OH 45263-5999                  1,544.00:            l,389.60/     1,389.60!                  16257
XX-XXXXXXX       IROMAN J OYKUN                                     '2441 lAKE SHORE: DR                          !           !wooasroCK, 11.. 60098                    2,834.oo:            1,627.12!     1.38932!                   162.54
XX-XXXXXXX       !RESURRECTION AMBULATORY                           !52311 COLLECTIONS CE                                     !otlCAGO, ll 60693-0623                   2,841.ool            1,ns.00!      1,388.001                  162.38
XX-XXXXXXX       jST FRANCS PHYSIOAN SERVICES                       !35 INTERNATIONALDR                                       ,GREENVlll.E, SC 29615                    2.ss,.00:            1,,98.39l     1,383.70                   161.88
XX-XXXXXXX        DAVID Wll.lJAM THOMPSON                           j34S MILWAUKEE AVE                                        !BRLNGTNGTON, WI 53105                    2,310.00'.           1,823.25!     1,383.001                  161.SO
XX-XXXXXXX       !wAlSON O!NIC. UP                                     POBOX95004                                             !LAKElAND. FL. 33804                     4,499.oo;             2,667.67:     1,378.46                   161.27
                                                                                                                              lsrooceRJcGE,.~ 30281
SB-1990255

XX-XXXXXXX
                 !ATlANTA HEART ASSOCAITES PC
                 !PINEHURST PATHOLOGY Cl'R .
                                                                   '3so COUNTRY cwa oR

                                                                   IPO B(?X.100553.                               1m•         lR.ORENCE, SC29502.Q559
                                                                                                                                                                      12,403201
                                                                                                                                                                        1,374.02!
                                                                                                                                                                                             4,592.79;

                                                                                                                                                                                             1,374.0?i '
                                                                                                                                                                                                           1,377.03

                                                                                                                                                                                                           1,374.02]
                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                      161.1D
                                                                                                                                                                                                                                      160.75

13-3711(??9 _     MICHAEL MUTONE                                       110 LOCKWOOD AVENUE SUITE 402                          !NEW R~LLE. NY 10801                                      ····-··1.112.53~   1,370,Dll       342.52!    160.28
XX-XXXXXXX       :EYE SPECIAUSTS CENT£R LLC
                                                                   I
                                                                       DEPARTMENT 4684                            I           I
                                                                                                                              lCAROLSTREAM; IL. 60122
                                                                                                                                                             ····-·-·--··- 2,~.oo;._
                                                                                                                                                                       2,090.oo!             2,024.69!     1,369.24        655.451    160.19
XX-XXXXXXX       iNORTHERN ILLINOIS VBN CLINIC                     !6910 S MADISON ST                                         i\YlllOWBROOK. IL 60527~5504              1,480.00:            1,480.00!     l,369.oo!       111.ool    160.16
XX-XXXXXXX       !BROOKLYN WOMENSHEALlli CARE MD S                     421 78TH STREET                                        lBROOKI..YN, NY 11209-3403               2,400.00:  '          1,560.00l '   l,368.82!       191.18!    160.14

38-35832Ei9      'Stand Up MRI of Manhattan PC                     iRonaktWagnerMD                                            lFARMINGDAI..E:, NY 11735                1,365.00)             1,365.ooi     1~65.00!              -l   159.69

XX-XXXXXXX       ]NEW YORK PAIN CONSULTANTS LlC                    'iPO BOX 10668                                             lALBANY,NY,12201                         a,544.ooi             1,641.99[        64.861       277.131    159.67
31~1422758       'PREMIER INTEGRATED MEDICALASSO                    !PO BOX 638581                                            laNaNNATI, oH 45263                      2,283.00)             1,363.17t '   1,363.17:             .I   159.48
XX-XXXXXXX
                 1
                 ST VINCENTS ST QAIR                               Jp O BOX 933840                                            iA11ANTA. GA 31193                      22,426.soi             1,761.00;     1,361.00l  '               ,sg.22

XX-XXXXXXX       isuNSHINE VAl.lEY PEDIATARI                        !7455 W WASHINGTON AVE                         STE300     tAS VBiAS, NV 89128                      4,970.00'.            1,531.001     1,359.731                  ,sg.07

XX-XXXXXXX    -·-···IAlfRED ROSENBAUM                               ,1421 THIRD AVENUE                                        !NEW YORK,. NY 10028-1899                5,20D.00              2.695.591     1,357.~l                   158.81

XX-XXXXXXX       iTHE DAllY OF THE UNIVERSITY OF WASHENGTO          (PO BOX 24366                                             SEATI'l.E, WA 98124                      3,376.00   '          2,583.39i
                                                                                                                                                                                                      I
                                                                                                                                                                                                           1,357.21;                  158.78
                                                                                                                              'PROVIDENCE. RI 02904-6300
~6-0867201
88-021351S

XX-XXXXXXX
                 IMIDDLESEX ORTHOPEDIC SURGEONS

                  FREMONT MEDICAL CENTEREA
                 'METRO INFECTIOUS DISEASE CONS LLC
                                                                   !PO BOX 6300
                                                                   ;
                                                                       770 E WARM SPRINGS RD

                                                                       901 MCC.INTOCK OR
                                                                                                                              LAS VEGAS NV 89119-4380

                                                                                                                              !BURR RIDGE. IL. 60527
                                                                                                                                                                       3.520.01
                                                                                                                                                                       3.729.0D!

                                                                                                                                                                       4.900.0Dl
                                                                                                                                                                                             l.3S6S&f

                                                                                                                                                                                             2,135.44!

                                                                                                                                                                                             3,084.isi
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                                                                                                                                                                                                           1.355.57\
                                                                                                                                                                                                           1,355.68"
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                                                                                                                                                                                                                           lllS.00
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                                                                                                                                                                                                                          1,728.571
                                                                                                                                                                                                                                      158.75
                                                                                                                                                                                                                                      158.71

                                                                                                                                                                                                                                      158.60
XX-XXXXXXX       !HEALTHCARE PARTNERS MEDICAL GRP                  1POBOX6099                                                 TORRANCE, CA 90504                       3,503.04]             1,813.68,
                                                                                                                                                                                                       '   1,355.551       s3a.6sl    158.59

XX-XXXXXXX       !WHEATON EYE CLINIC llD                           12015 N MAIN ST                                            iWHEATON, IL 60187                       2,607.00i             2,048.42!     1.3S3.s8!       694.84i    15836

XX-XXXXXXX       jSOUTHERN CONNECTICUTVASCUtAR CENTER               !POBOX40                                                  '!WINDSOR, CT, 06095                     2,JSs.00:             1,611.03}     l.3S2S7t        213.06!    158.28
38-38783U        ,UNIFIED WOMENS CARE OF GEORGIA LLC                !4360 CHAMBLEE DUNWOODY RO                     STE370     'AltANTA. GA, 30341                      3,SSD.ooi             1,927.08(     1,352.82!       S49.26     158.27

XX-XXXXXXX       luF£ ouROPRAcnc CENTER oF NEW                      is325 KENNEDY Bl.VD                                       NORlli BERGEN, NJ 07047                  9,485.00'.            4,819.93!     1,349.74       3,531.29    157.91

~.D-1323886      lwESTOIESTER 1~1NG uc                              !12 GREENRIDGE AVE                            lsre:303    jWHITE PlAINS, NY 10605-1238   - " - 1,575.00'.                1.51s.ooj     1,349.001       226.00!    157.82

 6-2851160       'jCONSOUDATED MEDICAL PRACTICES OF                 iPOBOX1000DEPT913                                         IMEMPHlS, TN 38148-0913                  3,798.00;             3,798.00!     1,348.001      2.410.00!   157.70

 8-2501863       IESSEN MEDICALASSOCATES PC                         !POBOX417574                                              laosroN, MA,. 02241                      3,039.00•             2,374.85'.    1,347.48       l.058.57    157.64

XX-XXXXXXX       jMIUENNIUM PHYSICIAN GROUP LLC                     lPOBOXU126                                                !BEU:~~~ 04915                            2,72L74.             2,100.53!     1,347.191       793.21;    157.61


                                                                                                               EXHIBIT2

                                                                                                                      57
                                                       Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 81 of 266 PageID #:11177




                                                                                                                                         AEU INTERIM DISTRIBUTION



1Jffillitft~~tiitl•~~L~l~~~sr~1id                                                                                                                                                                                                                       m1~7·:~--
36-6~S79S       !vtUAGEOFBERKfLEY                                                                       IPOBOX6253                                 /                                                                                                      1.346.SOj               ./        157.53
XX-XXXXXXX      !CHARL£STON OBSmRICS AND                                                                14607 MACCCRKlf AVE SW STE 201                                lsoUTH CHARLESTON, WV 25309-1364        !         3.292.00[          2,259.ssi      1.344.ss!         915.00!         157.33
XX-XXXXXXX       iSANDHIUSPEDlATRICS INC                                                                i19S W IUINOISAVE                                             !SOUTHERN PlNES, NC. 28387                        2.02s.oo:          J..402.29!     1,344.75 j                        157.32
XX-XXXXXXX       iGCSAAHESTHBIA PLLC                                                                    iPOeox 849892                                                 IDAUAS, TX 75284--9892                            3,290.00!          1,680.00;      1,344.ool         33s.ool         157.23
XX-XXXXXXX      [ALFONDAMBULATORYANESTHES1A,~•-------------+''1~1ss~•-~--•v_E..~•-1_0F_ _ _ _ _ _ _ _ _ _ _-+----+INY. NY 1012s --------+--~2.11=00=.o=oi                                                                                  2,240.001      1.,344.ooi        896.00          157.23
ZS.1781887       OtlLORENS COMMUNITY PEOIATRI                                                           [11279 PERRY HWY SUITE4SO                                     !WEXFORD, PA 15~93D3                              1,617.00!          1.388-22(      1,343.22!79.03                    157.14
F,~,,.~,122=619~-tPE=DIA~,=.=,c~u=•o~,=OG-=Y=ASSOC==PC=~-------------,!~34UNDERHIUAVE                                                              STE3c:
                                                                                                                                                   1
                                                                                                                                                                      !voaKTOWNHEJGKTS,NYtDS98                          1,910.ooi          1,641.1st_ _1,34=~'·=1s't-l--==;---
                                                                                                                                                                                                                                                                  300.00                    156.97
S!J-1113901      UNIVERSITYCOMMUNITYHOSPITALINC                                                         iPOBOX861372                              I                  !~RlANDO,R.32886-9802                    I         3,SSS.43\          2,674.07i      1,338.161       1.335.91!         156.55
2&.1332866      lotR5THOSPJTAL MEDICAL                                                                  J231 w1wAM HOWARD TAFT RD                  J2No Ft           IONONNAn, OH 45219-26to                  !         2.656.oo!          1,623.oo[      1.338.oo! --      517.781         15653
2o-a83334D      1BOSToN HEART 01AGNosr1cs                                                               IP.a. sox 842856                                             leosroN. MA 02284-2856                             7,667.3S   !       s,321.Sa:      1.331.48i       3,984.101         156.47
UNKNOWN          l1NNASHYKNEVSKYMO                                                                      ;27422NE1WORKPIACE                                            OilCAGO,IL60673-1274                              2,230.00'.         1,583.84}      l.334.42I         mA2l            156.11
XX-XXXXXXX      lALEGENTCREJGHTCNalNIC                                                                  !posox461207                                                 iPAPIWONNE68046-1207                               1,971.10'          1,905.10!      1.333_1sl         571.92!         156.04
XX-XXXXXXX      ]SHARKEY-SAQUENA COMMUNITY HOSPrTAL                                                     IPO BOX339                                                    ROWNG FORK, MS 39159                              l,777.JJ9i         1,332.82;      1,332.821               ·,        155.93
38-,1858634     !AMERICANANESJliESIOlOGYOFMJCH                                                          iPOBOX535465                                                 iA.TtAHTA.,GA30353                                 2,254.00!          2,690.soi      2,332.oo!         ass.sol         lSS.83
F2"'S.-=19::1=357"-7'---ll=•E,,UccRDM=O=-NcclTO=Rl'-'NG::.;S::E::;RVlccCES=O=.F.;cAM=ER=ICA"'-------------+lPO B0X416                                                jGRETNA, NE 68028-0416                             2,123.00j          1,33L19~      ·-~.!:.~!,..- - - - ' t.: - - -    155.74
XX-XXXXXXX       TOWNOFWESTPDRTEMs   0
                                                                                                        1~69MAINST                                I                  iCRoMWEU..CT0641&                                  2,3is.13!          2.315_73!      1,330.83!         984.90!         155.69
2~5888243       !RETINA SERVICES OF l~;IOSU.C                                                           l,447WTALCOTT AVE34S                       I        ----t!CH=ICA~GO=·•~L~6063=1~-3~71~4_ _ _ _ _ _:____ 2,041.00\ _ _ _~•·~04~1.0:!.0c;!--'1.3=27'--'.60=;.'---"=e;....--
                                                                                                                                                                                                                                                                        713AO/              155.32
XX-XXXXXXX      isoumsueuRBANCAR010LOGYASSOc                                                            l,oeoxsssa                                                    BELfAST,ME04915                         !         2,89B.B4i          1,&sa.12:      1,326.97!          331.75!        155.24
XX-XXXXXXX       GASTROENTEROLOGYCONSULTAN'IS                                                           iPOBOXS30SS                                                  )PHOENIXAZ85072-30S5                     !         3,578.00'          3,098.861      1,32'.00!      (l,387.14)!        155.13
s&-t91974B      IN es GEORGIA INC                                                                       IPo eox 936428                                               iATI.ANTA. GA 3U93-6428                  l         1,413.00;          1,3is.10!      1,325_,oJ               -!        155.0!1
2&-1988748      [eROOKLYN GASrROENTERLOLOGY ENDOSCO                                                     /2211 EMMONS AVENUE                                           BROOKLYN, NY1123s-2n1                   I         s,540.00/          s,540.00;      1,322.2s/       4,217.74/         154.69
XX-XXXXXXX       STATHEALTlt PC                                                                         iu77 MOTOR PKWY STE 405                                      ilSlANOIA, NY, 11749                               7,77S.JJQ:         3,326.83i      1,320.981       2.325.85          154.54
XX-XXXXXXX       MARK J JAGUST MD                                                                       1283s MIDDLE COUNTRY ROAD                                    !LAKE GROVE, NY 117S5--210S              i         2.766.0o!          1.51256!       1,320.741         557AZ!          154.51
57•1223311      .MID MIOftGAN Pr SPECALISTS                                                             !12ss East Grand River                     !Po Box 323        FOWLERV11.1£. Ml 48836-0323             !         1,519.oo!          1.519.00!      1,319.ooi               .1        154.31

&2-1591042      ;JHERAPYWORKS                                                                       ....... ].1:1o=BO~x~•--------------+-II_ _ ___,~!!'!OiESTER. TN 37398-0004                                                                                              -1
                                                                                                                                                                                                                  ______ J .~75=•=·00=:~--~'.3=1=-1·=19,,;_....c'-"='7=.19='+-j----t---     154.10
~!-!)608606      CARLMCDOU~ll~-------------                                                             IPOBOX9166                                                   !UNJONDALENYllSSS-9166                   r         4.230.ooi          2,972.85!      1,311.22!       1,655,G3i  '      154.10
XX-XXXXXXX       RlO-IMOND SA SERVICES INC                                                              17324 SOUT~ FWY STE 15SO j                                   1
                                                                                                                                                                      HOUSTON, TX 77074-2053                           15,847.001          2,027.06:      1,315.03 !        712,031         153.85
t-04--21~0~36~1,-..,1-.ewro--.-w-,LLES-LFI_H_OS_P_ll'._~-,--- - - - - - - - - - - ---t/",o=,.-"w=ASH=IN=GT=O~N"sr===--------··-· ! ·-· ·                              NEWTON,MA02462-1607                     i         1,449.26:          l,313.lBi      t.313.18!
                                                                                                                                                                                                                                                                                            153.63

F3~&4-"346000==----i="'=-•='THY=•="'=•=sc~---------·--------!F1•=2~10~LAG=RA=••='~•~o,~m=109~--------t-----i-TJN=LEY~•~-=·"~60487~~------t--~'·•~10:!..~00c;1_ _ _ _1,35=='·15=t-;---'',,.3=13=.15=+-I--~=c;....--
                                                                                                                                                                                                          40.ool                                                                            153.63
XX-XXXXXXX ANES.ASSOC.OFAKRONtNc.                                 b24WESTEXCHANGEsr.m220                          AKRON,OH44302111S             I      4,320.00\    1.640.oo!               1,312.ool    328.001
                                                                                                                                                                                                                l
                                                                                                                                                                                                                                                                                            153.49
XX-XXXXXXX       ASHLANDRACIOLOGY                                                                       l27S4SOLUTIONCENTI:R                                         !CHJCAGO,IL606n                          I         2.185.00:          1,s22.62i      1,310.651         244.751         153.33
XX-XXXXXXX      (PARKSlOPEMIDWIVESLLC                                                                   (S02A9thStreet                                               18rooklyn,NY1U1S                         j         1,450.00i          1,364.951      1,.309.95!         ss.ooi         153.25
XX-XXXXXXX
                1vALLEYPEDIATRICSOFGREfNWIOtUC                                                          lzsva11evor1ve                             2NDFLOOR          !Gn:enwlth.CT06831                       !         1,639.03:          uos.16i        1.308.16!               .I        153.04
XX-XXXXXXX      /NOAHSCHEINFELDMOPUC                                                                    i1sows~THsr                                                  JNEWYORK.NYlOOIS                         l         3.00930:           1,507.99\      1..30132!         300.67          lSl.94
XX-XXXXXXX      IBYRAMHEALTHCARECENTERS                                                                 l301owooDCREEKOR                                              OOWNERSGRove.1L60Sts-S41s               I         8,369.3s!          1.m.00\        1,306.921       1.033.SSi         15230
XX-XXXXXXX      ,COVENANT MEDICAL GROUP UC                                                              !z100 PFINGSTEN RD                                                                                                                                                   is.oo!
                                                                                                                                                                     .GLENVIEW, IL 600~2~S.=13~0~1----·······j····-·--··-1.63~9~.00"',_ _ _ ..~~••29=.83=,!,__:'-"=04cc.=83c+,l---==;..--   152.65
46-S761192
SS-03S7746
                !~G2U.C
                 BECKLEYVAMC
                                                                                                        !i.DlWHITESHILLLN                          t
                                                                                                  --;=!•"'o'-'BO""x"',."'•~ss=~-----------+-----il'~EVIUE,NC:2881s
                                                                                                                                                                     iFAIRAELDCT06824-2177
                                                                                                                                                                                                              l
                                                                                                                                                                                                                        1,912.00:
                                                                                                                                                                                                                        2.111.is!
                                                                                                                                                                                                                                           1,38450!
                                                                                                                                                                                                                                           1,628.90~
                                                                                                                                                                                                                                                          1,304.SO!
                                                                                                                                                                                                                                                          1303.u!
                                                                                                                                                                                                                                                                            tss.ooi         152.61
                                                                                                                                                                                                                                                                            325.781         152A5
XX-XXXXXXX      lraE FEATHERSTONE PARTNERSHIP LP                                                        !PO eox 4661                                                  ROCKFORD. tt 61110                                6,740.oo:          4.381.00!      1301.o&!        3,077.94!         152.44


                                                                                                                                                 EXHlBIT2

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                                                Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 82 of 266 PageID #:11178




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~it~id~~~B~~~~i~~~~~li!:WF,£!~-~~~~,
XX-XXXXXXX    !EASTCAROUNAANESTHESIAASSOOATES                                     lPOBOX645304                          •        j            !aNaNNATI.oH,45264
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                                                                                                                                                                                                          ·_.
                                                                                                                                                                                                    3,342.00[
                                                                                                                                                                                                                 ~!-~--=-
                                                                                                                                                                                                                        1,628.671         1,.302.941            466.76:                    152A3
~;-4031036    !LANDON PRYOR                                                       ] 1639 N ALPINE ROAD SUITE40D                               IROCKFORD, IL61107-1449                               ].636.00:           1,636.00)         1.300.601             335.40!                    152.16
XX-XXXXXXX    \TEMPLE UNNERSnY                                                    jPo eox BZ777D                                              IPHIIADELPHJA. PA. 19182                              3.345.00i           1,382.42!         1.299.soi             sn.42i                     152.03
54--1337D11   iAllAHllC MEDICAL INC                                                   1015 WILBORN AVE                           I            isount BOSTON, VA 24592-3129                          2,533.001           2,438.64]         ~.11)               1,140.531                    151.87

XX-XXXXXXX    [PRIMUS ORTliOPEDlCS OC                                             l186SO GRAPHICS DRIVE SUITE 100                             )TINLEY PARK, IL60477-6263                            5,676.64[           4,431.S7i         1,297.231           3,134.341                    151.76

XX-XXXXXXX    !NATIONWIDE OHLDRENS HOSPITAL                                       I   DEPT 781629
                                                                                                                                 1··
                                                                                                                                              loETRO(T, Ml 48278-1629                              23,203.ui           12,284.tai         1,.296.911          9,987.871                    1S1.73

3~1175224     !STVINCENTERPHYS                                                    is09 HIGHLAND TER                                           iMURFREESBORO,     ~•~-,,~•=•o,__ _ _ _+-__2"-,44=3Jl~B-'-!----=2ec,3cc66:::.8Scc;-;  ----"1,296=='85'-!d__---'7-"70:::-"""'l-'_ _ _ __,1=••:::·72-=-i
                                                                                                                                 I
                                                                                                                                                                                                                   294-__·:-,:---94-;-:__,_;-----=:.=•:--~_..
XX-XXXXXXX    !LAKE COUNTRY EMERGENCY PHYSIOANS                                    G400 INDUSlRIAl LOOP
XX-XXXXXXX    !soUTHWESTWOMENS HEALTH AWANCE                                      /POBOX17390
                                                                                                                                              ::::;;;:,:=-2452=-----+-----':.0=.,.=\=.__00=:'-:--····--:~-4~-:-+:-~~~                                                                           "--'1


XX-XXXXXXX    !PEDIATRICS OIC                                                     l1osn TELEGRAPH RD                             lmuo         !GU:NALLEN,VA,.UOS9                         \         1,516.00[           1,452A8f          1,292.48]              so.oo!                   1S1.21

XX-XXXXXXX    !AR.STCAU.PHARMACY                                                    1500 VETERANS Bl.VD                                       !KENNER, LA 70062                                     3,846.32[           1,292.16j         1,292.161                   -i                  151.17
                                                                                  I
l.3-3362125   !BEN ZANE COHEN MD                                                  [140 EAST 80TH STREET                                       !NEWYORK,NY1001s-o3os                                11,92S.oo!           2.1&2.isi         1.,291.ml           1,47L09 1                   1s1.04
XX-XXXXXXX    !PRINCETON INTI:RNAL MED                                            bs1 wmieRSPOON STREET. surre 130                            !PRINCETCN, NJ 08540                                  1,815.SO!           1,530.58;         1.290.281             240.30!                   150.95
XX-XXXXXXX    ]MOSOU: PEDIATRICS                                                  14197 SPARTINA COURT                                        !JACKSONVIUE, FL 32224-3225                           1,455.oo;           1,415.oo\         1,290.00
                                                                                                                                                                                                                                                  1             us.oo!                    150.92
              I
06-1S67U1     !DECOASSOOATESU.C                                                   30 MATTHEWS STREET SUITE 305                                ;GOSHEN. NY 10924-5229                      l         2,979.95;           2.203.21~         1.289.57!             9~~~;--j_ _ _ __,1S0=.87"-!
XX-XXXXXXX    ITIMOTHY CHAIN MD                                                   !645 N MIOHGAN AVE STE 410                     I            !ouCAGO,JL60611                                       2.29s.oo!           1,548.11!         ~287.621              260.49i                   150.64
XX-XXXXXXX    lCARE AMBULANCE SERVICES INC                                      PO BOX 310012183
                                                          -----------f-'====~---------------r•ASADE==N~A,~CA~91=1=10--=2=183~-----;-----l"-,4=97=E=l+l----'1"';2Jf1=.00=-I----"l.::287"-.ccOO,;'I_ _ _ _ _-,--!_ _ _ __,lS0=.5"-17
XX-XXXXXXX    loAvtDTURBAYMD                          ----------+==='-------------:------f;='"'=-ASr=·~M~N=04-=•=15=--4-=08=•=------+---=,5,04LOOj
                                                                             IPO        BOX 1934B                                                 . . . . .-.. . . _:,2.s=2=s-34=+(---=1,2=86=.os=;-l_ _::,1.23=•.29=;.!_ _ _ _ _,so=·=a4S:.i
XX-XXXXXXX    IGROUP HEALTH PlAN INC                                              iB170 33RD AVES                                             !MINNEAPOLIS, MN. 55425                               3,648.00!           2,631.50\         1,285.66i           (758.84)1                   1S0.41

5G-0954n9     /OtARLOTTE RAOIOlCGY PA                                             jPO BOX 600130                                 i            !RALEIGH,NC2767S                                      2,703.oo!           1,708.73~         ues.68!               733.os!                   150.41

55-076SB11    lGARvs DEGUZMAN MD                                                  :40 MEDICAi.PARK TOWER 4 SUITE 202                          lwHEEUNG, WV26003-6392                                2,950.00;           1,169.s1i         uas.ssi               484.02!                   150.40

XX-XXXXXXX    iPa>IATRDC MEDICAL GROUP OF N CAROLINA PC                           '
                                                                                  )1300SAWGRASSCORPORATEPKWY                     '
                                                                                                                                 !m200        lsuNRJSE,   FL33323-2s2,                    l         1,<2s.oo,           1.285.201         l.2B5.20;                                        ,so.ao

~1074557      ]BANNER UNIVERSITY MEDICAL CENT                                     [POBOX27478                                                 !SALTLAKECITY,UTB4127                                 2,018.751           1,285.00\         1,285.00j                                       150.33

XX-XXXXXXX    '
              1ST LUKES HOSP VINTAGE                                              JPOBOX4241                                     I            iHOuSTON, TX 77210-42411                              2,120.50)           1,484.35:         1.284.351            zoo.ooi                    150.26

XX-XXXXXXX    !AllCARE VISITING NURSEASSO~TION OFG                                210 MARKET STREET                                           ;LYNN, MA01901-1S36                                   ZS.33.0lt           l,281.29!         1.281.291           1.209.99[                   149.90

XX-XXXXXXX    lvALtEY suRG1CALASS1STAN1S LLC                                       20 CARRINGTON COURT                                        :wc>ODCUFF LAKE, Ml 07677-785S                        Z.670.00i           1,600.ooi         1,280.00\            320.00!                    149.7S
77.Q.411079   jWAFIK ABDOU MD. INC                                                 P0BOX2029                                                  IBAKERS>IElD, CAS3303                                 1.230.00!           1,280.00(         1,280.ool                                       149.75
81-423242S    IAMeRICAN ANESTHESIOLOGY SERVICES OF FLOR                           1S00 CONCORD TER                                            1suNRISE, FL.33323                          I         l,280.oo,           1,2BO.ooi         1,230.001                   -i                  149.75
XX-XXXXXXX    jlCA PEDIATRICS PC                     -----------f===-=--------------+I
                                                                  i359AVENUEU                              leROOKLYN,NYl1223                                                              l         1,1os.oo'.          1,404.12:         1.279.12;             125.00i                   149.64
XX-XXXXXXX    leHMG-UNITED MEDICAL                                'iPO BOX 28760      1-----····-···---· -INEW YORK, NY 10087-8760                                                                  2,912.00i           1.SB3-00i         1,211.20!             305.80!                   149.42
                                                                                  i
XX-XXXXXXX    lsoUTH SH DRE HOSPITAL cORPORATION                                  !8012SOUTHCRANCCN AVE                                       l011CAG0,1L606l7-1124                       l         2,Es.00:            1,648.Soi         1.276.so!             389.20!                    149.37

52--0966233   lPEDIATRIC CENTER LLC                                               ls900WATERLOO RD                                            lcoLUMBIA. MD, 2104s                                  1,891.00,           1.391.23!         u1s.23!             c11s.00Jl                    149.31

36-42101115   1MARCOSANTONIO LOPEZ MD                                             j9005 W CERMAK ROAD                                         INORTH RMRSIOE, ILG0546-1017                          2,675.00:           1,499.941         1.274,95!             164.991                    149.16

XX-XXXXXXX    !KISSIMMEE SURGERY CENTER                                               P.O. BOX:742922                            I            !ATlANTA. GA 30374                                    6,840.Qol           1,274.ool         1,.274.00\                  .i                   149.0S

XX-XXXXXXX    !SHELSY MEDICALASSOOAm PA                                               711 N DEKALB ST                            !            !SHELBY,NC28150-3911                                  2,no.oa!            1,457.56!         1.273.351             188.96!                    148.97

~~~76246      iwAGONER COMMUNITY HOSPITAL                                         '
                                                                                  IDEPT24~                                       I            !nn.sA, OK 74182                                      3,153.97)           2,591.26\         1.2n.01f            1.318.25!                   148.93

XX-XXXXXXX    IRODERIOC: A REMOROZA MD
              0
                                                                                  !11 JOHN MADDOX DR NW                          l           ·7;~~   GA 30165-~~;•~w•------+---"'l,9=02.=DO"-j_ _ __cl:,,,2,,_7=2.62=:              --=1,2=12.=•""211------•-,-l_ _ ___:l:::48:::.88=-1
XX-XXXXXXX        BAYCARE MEDICAL GROUP                   - - - - - - - - - - 1!POBOX10744
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20-S801394    iuNOADOAHL                                                          luoes&THST                                     !            !NEW YORK. N~-~~22-3607                               S 635.80=           1,687.SOi         u10.soi               416.,o!                    148.67


                                                                                                                                EXHIBIT2

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                                                Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 83 of 266 PageID #:11179




                                                                                                 AE U INTERIM DISTRIBUTION




·~~~~~~11                                                                                                        ~~:
XX-XXXXXXX   !HENRY MAYO NEWHAU.MEMORIAL HOSPITAL                jPO BOX 51782                                          !ANGaES, CA 90051                       1,269.78:          U69.78;           1,269.781                            148.55
XX-XXXXXXX   '
             !MADISON PARK PH'l'SICAL THERAPY                    !2919AVENUE UNDEFINED                                  !BROOKLYN, NY 11229                     :uas.aa:          U87.Do[            1,269.60!               317.40:      148.53
XX-XXXXXXX   !GAYLORD HOSPITAL INC                               IPOBOX400                                              iwAWNGFORD, CT 06492                    2,389.13!         1,268.00!          1.268.001                      _j    148.34
XX-XXXXXXX   \CHICAGO ANESTHE51A ASSOOAiESSC                     l12334MOMENTUMPLACE                         \          IOIICAGO, IL 60689-0001                 1.J..l!,0-00\      l,584.ooi         1.267.20;               316.BDI      148.25
             'IDERRY MEDICAL CENTER p A                                                                      j
XX-XXXXXXX                                                       16 BUTTRICK RD STE 1D2                      ;          ILONOONDERRY,_f!I:!• 03053        I     2.s1B.ool         1,898.28;          1,266.28]               1s2.00!      148.14
36-4298S71   loERMATOLOGY PARTNERS OF me NORlli                  ;400 SKOKIE BLVD                            jsrE475    tNORTHBROOK,._ IL, 60062                3,079.00'.        2,787.96!          1.263.931              t.S30.C3j     147.87
36-28315SS   IEAR NOSE & THROAT SPECAUSTS OF IWNOIS LTD          !B780WGOLFRDSUITE200                        !          [NILES, IL60714-S611
                                                                                                                        I
                                                                                                                                                                1,785Jl0:         1.307.78)          1,262.7Sj                45.oo!      147.73
XX-XXXXXXX   !CATAWBA RADIOLOGICAL ASSOOATES INC                 IPOBOX 308                                             /H0:0RY,NC28603~0S                      1,483.001         1.260.SSj          1.260.ssl                      -!    147A7
XX-XXXXXXX   icoMPREHENSWE ANEST'HESIA                           POBOX270                                  ··,---··     'MASSAPEQUA PARK, NY 11762-0270         l,750.00\         1.s1s.oo!          1,260.00!               315.DOJ      147A1
XX-XXXXXXX   loRANGE RA010LOGY AND MRt oF MONROE                 lPo BOX 10040                                          !PEORIA. IL 61614-0040                  3,668.DOi         2,239.Bli '        1.259.921               854.691      147.40
XX-XXXXXXX   !ATRIUM OIAGNOSTtC IMAGING                          'i224 TAYLORS MJUS RD STE 108                          !MANALAPAN, NJ 07726-3281               1,300.00:         1.300.ooi          1,259.61:                ..,,... 1   147.35
XX-XXXXXXX   !OUPAGE PEDIATRICS LTO                              139902 TREASURY CENTER                                 l0t1CAGO,IL60G94-9900                   1.140.ool         1,2!17.89!         1,257.89!                40.ool      147.16
lG-0743209   luNJVERS!TY o• R00tEST£R                            IPoBOxm2                                               INEW YORK. NY 10249                     4,9S9.oo!         4,789.16; '        uss.36:            3,533.Sol         146.BG
                                                                                                                                                                                            I
XX-XXXXXXX   IRoo«>ALE PHYSICIAN PRACTICES uc                    IPO BOX 116202                              I          IAllANTA. GA, 30368                     2,019.oo!         1,418.481          US3.48!    '            11S.oo!      146.64
~H267aos     IDAVIO HELFET                                       ls3s EAST701H ST                            i          !NEW YORK, NY 100214823                 2,soo.00;         1,253.22£         1,253.22!                      -l     146.61
9~1683875    !O'JY OF HOPE NATIONAL MEO                          !PO BOX 27447                               I          !SALT lAKE CTY, UT 84127-0447     I     9,214501          1,566.33!         1,253.061           2,892.881         146.GO
XX-XXXXXXX   tsouTHI.ANO HOSPlTAUST GRP LLC                      {915 GORDON AVE                                        lTHOMASVtll.E,GA 31792.-6614      !     3,515.00\         3,297.0G~          l,250.06[          2,0<1.00!         146.24

UNKNOWN      lSHeiL HOLDINGS, UC                                 iPOBOX4172..0
                                                                                                             i          leosroN, MA 02241-n40                   1,249.7D;         1,249.701          1,~:49.70!                           146.20
XX-XXXXXXX   IMIDlAND ENERGENCY MANAGEMENT PLlC                  IPOBOX9530!l                                I          !oKlAHOMA CITY, 01(73143-5309           1,248.001         1,248.DDI         1.,248.0Di                      .1    146.0D

XX-XXXXXXX   IKANAWHA MEDICAL CENTER INC                         !4924 MACCORIQ.E AVENUE SC:                 I          ia-rAR1.£STON, WV 25304                 1,245.ooi         1,245.00:         1,245.00f                       -1    14S.65

XX-XXXXXXX   '[TOTAL RENAL CARE INC                              jpa BOX 402946                                         IAllANTA. GA 30384                    173,511.48!         S,707.34!         1.24253[            4,464.81l    '    14S.36
                                                                                                                        I
XX-XXXXXXX   IGARDEN STATE CARDIOVASCULAR                        j,oeoxsoa                                              ; ELIZABETH, NJ, 072D7                  1,752.0D:         1,397.04'.        1,242.04'                 75.ool      145.31
                                                                                                                                                          I
XX-XXXXXXX   !CAROLINA FAMILY CARE INC                           !PO BOX 602108                                         !CHARLOTTE, NC:Z.8260-2108        I     2.854.ool         2,493.40!         1.241.&1!           1.400.49!         145.26
37~1474161   loMG SURGICAL CENTER uc                             !is93 PAYSPHERE OR                                     lonCAGo, IL 60674                 !    10,445.ool         1,3S7.00!          l 24LOOi                116.0D!      145.18

XX-XXXXXXX   !METHODIST MEDICAL GROUP                            IPO BOX 26708                   . . . . . . -1---      ISALT LAKE aJY,._lJT, 84126             9,931.84!         4,~L23L..                     '
                                                                                                                                                                                                ....... 1.240.271       6,436.881         145.10
XX-XXXXXXX   /RADIOLOGY PHYSICIANS INC                           PO BOX 714030                                          iONCNNATI, OH 45271~030           !     1.238.ool         1,238.00!         1.,238.00!.                     -1    144.83
XX-XXXXXXX   ;HUGGINS HOSPITAL                                   l,,o SOUTH MAIN STREET                      I          !_~ot..Fl:BORO, NH 03894                1,364.01]       .. _!,337.61[       1,237.611                100.ool      144.79

XX-XXXXXXX   ]ruROW & TIERNEY PEDIATRICS pC                      lm NORTHERN BLVD                            lsreuo     !GREAT NECK. ~!• 11021-5308             3,870.00]         1.3Bt.17i         1,235.92:
                                                                                                                                                                                                                --·          320.25!      144.59
XX-XXXXXXX   'iLo.AUDE ASCHINBERG MD LTD                         h14 BARNEY DR                               :          !JOUET, IL, 60435                       3,534.00i         3,06S.99i '       1,235.601         (1,516.20)!         144.55
XX-XXXXXXX   iOALlAS NEPHROLOGY ASSOCATES PA                     JPO BOX 660132                                         !DALLAS, 1X75266                        2.9Dl.DD!         1,324.25!         1.234.2Sj                 oo.ool      144.39
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XX-XXXXXXX   ifllJSHJNG HOSPITAL & MEDICAL CENTER                l4500PARSONG BlVD 6TII FLOOR                I          lFWSHING. N't 11355
                                                                                                                        ;
                                                                                                                                                          I     2,781.DD!         1,382.ts!         1,233.161                148.99!      144.27
             1                                                   IPO BOX 87916                                          'CAROLSTREAM, IL 60188-791Ei            5,859.00)         S.320.00(
XX-XXXXXXX    ELMHURST ANESTHESIOLOGISTS PC                                                                  !                                                                                      1.232.ool           4,637.00i         144.13
XX-XXXXXXX   IANEXSC                                             !po BOX 8883Ei                                         IMILWAUKEE. wt 53288                    1,760.00;         1,760.ool          1.232.001               528.00\      144.13

XX-XXXXXXX   !PIEDMONT TRIAD ANESTHESIA PA                       1145 ICIMEL PARK OR STE 120                 I          !WINSTON SALEM. NC. 27103         I     2,224.00:         2,037.25'          L229.7Si   '            807.SO]      143.87
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XX-XXXXXXX
XX-XXXXXXX

XX-XXXXXXX
             !ARTHUR ICENNISH MD

             lu2HANGMD
             IPEDIATRIC~UATES_PA
                                                                 !1os EAST96TH ST

                                                                 1232 BELI.EVILLETURNPIKE

                                                                 j40 BEY LEA RD STE B2D3                 -·-1
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                                                                                                                        ;TOMSRIVER,_NJ, 08753
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XX-XXXXXXX   !HANS LEE MD INC                                    11306 KANAWHA BLVD E                        isn::100   [OIARLESTON, WV 25301             !     i.m.ool           1,615.04i          1,226.401        ...    388.64[      143,48

XX-XXXXXXX   lCENTRALJERSEY URGENT CARE                          1PO BOX 645370                              !          laNONNATI. OH. 45264                    3,600.261         1,868.30;          L226.30[                265.66[      143.46


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                 !ONE MEDICAL GROUP INC
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                  HEALTli NETWORK LABORATORIES

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XX-XXXXXXX       [BAPTIST MEDICAL ASSOCIATES INC                                                      iPo BOX 950248                                                     . !u:~UISVILLE, KY,~."'"'""-s
                                                                                                                                                                                               .      ------+----=2~~:44-001                                 1,544.80!            U19.68!               32s.22!       142.69
XX-XXXXXXX ..   ~~ IMlkHAIL voLOKmN MD                                                                !so WEST97TH SlREET surre t•E                      i                tNEW YORK. NY 10025                          I            s,&14.oo:                2,884.00;            U1S.ool             1,66s.tsl       142..49
39-~m703 ..      jANESTHESIOlOGYASSOOATESOFwtSC                                                       1POBOX88883                                        ,_i_ _ _ _      -+M_l~LW_A_U_ICEE.WIS3288                                  1,218.00i                1,218.00[            U1S.OO[                             142A9
XX-XXXXXXX       iEMERGENCVCOVERAGECORP                                                               lpo BOX636019                                      l                /CJNOHNATI, OH45263                                       I.624.00!                1,21s.ool            U18.00;                             142.49

!,..~78630       leuRuNGHAMELEANOR                                                                    la6SWENDAVE                                        iAPTlA
                                                                                                                                                                          1
                                                                                                                                                                           NEWYORICNY1002S-8402                        i            2,100.00\                1,21s.99i            1.21&.99!                    -,I    1"2.38
XX-XXXXXXX        5 MARI!; BREWER & B KEITH BEVERLY MD                                                !soo GORDON AVE                                    !                THOMASVIUE GA 31792-6613                                  3,910.06!                1,215.62:            UlS.621               264.071       142.22

XX-XXXXXXX        PRtNCErON PATHOLOGY SERVICES PA                                                     j5755 HOOVER BLVD                                  I                TAMPA. FL 33634-5340                         !            1.37D.ooi                1,233.00:            1.2is.01:1 1           1s.ool       142.14
XX-XXXXXXX       boHNPERRI                                                                            333NM1CHJGANAvesurre2021                           I                ai1CAGO,JL60601                              I            1.&20.00;                1,485.ooi            1,2ts.oo!             270.00!       142.14
XX-XXXXXXX        MEMORIALDERMATOLOGYGROUP                                                            !POBOX27430                                        !                NEWYORK,NY10087                              !            1,440.00;                1,214.63{            1,214.liai                   -i     142.10
XX-XXXXXXX        EASTER.SAIS ouPAGE FOXVLY REG                                                       \830 5ADDISON AVENUE                                                lVIUAPARK, JL60181-2ST1                                   2,sao.00:                1,511.94\            1.214.33!             303.61!       142.06

XX-XXXXXXX        CARDIOVASOJLARMEOICALASSOCIATES=-------------i!~•'~•-srew~AKT
                                                                             __                                   AVEN
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                                                                                                                                                                              _ _ _ _ _ _-t-                                                    206.00!                                                               142.04
20-104SS16        USA GUALBERTI GIRGIS MD AND JOANN GUAlBERTI                                         9 PROFESSIONAL OR STE 101                          icoLTS NECK. NJ, on22            I   1,913.00;              l.629.04!     i.214.04(    2Ss.ool                                                               142.03

XX-XXXXXXX       !~EVER oRM SURGERY CENTER u.c                                                        619 RNER DR                                        I                Et.MWOOD PAR!(, NJ 07407                     !            4,675.~.,-'  ---~,...=•=-•c=;oi;-_,,1,2=u=.s=1~[---'-==+---
                                                                                                                                                                                                                                                                                    781.49i                           141.97
43-1s93353       jSAINTWKESMEDICALGROUP                                                               POBOX504938                                        I                SAINTLOUIS,M06315D-4938                                   2.11s.oo!                1,514.74!            i.2u.03J              22L71I        141.91
XX-XXXXXXX       !JOSEPHRACAN£W                                                                       !1107PARICAVENUE                                                    1NEWYORK,,NY1012S.1236                                    1,425.00(                1,387.8S~            i.2u.ssl              17s.oo!       141.89

3s-2029220       !uRo SURGERY ASSOOATES uc                                                            J400 w 84TH DR                                                      !MERRILLVILLE, IN 46410-6248                 !            1,344.00!                1.286.19!            1.211.191              75.0D!       141.70
&2743S4S          UNIV OF PENN-MEDICAL GRP                                                            PO BOX 824320                                                       !PHU.ADELPHIA. PA. 19182                     :            1,765.00!                1,648.80;            1,210.241             438.S&I '     14LS9
XX-XXXXXXX        UNIVERSITYANESTH£SIOLOGtSTSSC                                                       !POBOX128                                          j                iGtfNVIEW,11.,60025                                      4,200.00]                2,604.DOj             1,209.601           1,394.40;       141.Sl

XX-XXXXXXX       111.ASUKHAOIAMD                                                                      123SARDfNAVE                                       I                5TATENISLAND.NY10312-4148                    I            3,060.00:               1,335.891             1,208.77]             121.12!       141.41

ss-10n~3 __ ,JGASTROENTEROLOGY CONSULTANTS p C                                                        !11685 ALPHARmA HWY STE 320                                         jROSWELL,, GA 30076-4910                                  ~?:_83.28;              1.283.28!             1,208.281              1s.ool       141.36

XX-XXXXXXX        ~NIVERSITY OF VIRGINIA PHYSICIANS GROUP                                             iPOaoX9007                                                          lotARLOTTESVILlE.VA22906                                  1,BS4.ool                1.zsz.84\            1,201.841             SS6.00I       141.31

2D-0826624        SOUTHl.AICE MRI ANO DIAGNOSTIC CENTER                                               PO BOX 1oa19                                       I                MERRILLVILLE, IN 45411-oa19                               1,201.00!                1,201.ooi            1,.201.ool                          141.21

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                 1;;~   COUNTY HOSPrrAL HEA1.l11CARESYSTEM
                 !MEDST.I\R LABORATORY INC
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XX-XXXXXXX        SURGICARE OF MANHATTAN                                                                                                                                                                                                                                                                              141.16

XX-XXXXXXX        BAPTIST MEMORIAL MEDICAL GROUP INC                                                  POBOX40S827                                        l                 ATLANTA.GA.30384                                         3.240.00i                2.851.00!            1,206.441           1.644.56!       14L14

                  INEWARK BETH lSRAEL MEDICA
                                                                                                      1
                                                                                                      POBOX29949                                                          !NEWYORK,NY10087                             i            1,909_ool                1.402.&si            1,.2os.ss]            196.84!       141.07

04-360469D       '
                 !SPRING 05-GYN PC                                                                    !DSSprlngStreet.                                   ]2NDR.           INEWYORK.NY10012                             I            3,840.oo!                2.1ss.ni             1,2os.38l           1.632.sal       141.02

XX-XXXXXXX       !THE MEDICAL MULTISPfCALTY                                                           i11-2G SADDLE RMR RD STE 101                       I                !FAJR LAWN, NJ. 01410                                     2,94s.oo)                1.3ss.00\            1,.2os.ool            150.00i       140.97

XX-XXXXXXX       !wtsEHEALTHCUNICS                                                                    POBOX2QQ608                                        I                 OAU.AS,TX7532D-6608                                      1,20s.ool                1.20s.ooi            uas.ool                      -l     140.97

                                                                                                      ~~ ,E 22ND ST
                                                                                                                                                                                                                                             1

XX-XXXXXXX .. ·-·· 11'NORTHWEST RADIOLOGY ASSOCIATESS C                                                                                                  II               ILOMBARD~ IL, 60148                                    ___;&84.04'.                1,730.811 ___ ,__ ) ... 204.82 ,;-; --~=~--
                                                                                                                                                                                                                                                                                                    526.0l!           140.95

XX-XXXXXXX        ADVANCED DERMATOLOGY PC                __                                           !6LOWEU.AVE                                                          NEWHYDEPARIC,NY,11040                                    4,0S5.DO[                                                        ==c;---
                                                                                                                                                                                                                                                   ···-..- .... _.2,42~7-~6S'f:-~1,~2~114~.22=·,..'1_ _ 1,538.431     140.1!11

SB-,::,2,e23e:3::,89"'6'--J'GO:E0,eR,::G,:1Ac,:FLO=R,:ID,:_A,eEY"'-E=!CEe:Ne,TEe,RTH=O::,M::,ASVl=-----------·-1r228=2:c.EP:.,IN::,ETR=E:.EBL=VD"------------i'-----lf'TH:::0~MASV=~ILI.E=·~·~"--~CC3=17c=92:.-480=7'------!----~'-~l=-97cc.0~0,_.1---~1=.20=•=2=-s)~_,,1,2=03=-25=;-l_ _ _ _                .i+---   140.77

XX-XXXXXXX       !NORTHSID£SUBURBAN PEDIATRIC                                                         !4301 W PETERSON AVE STE 506                                        lai1CAGO. IL60646-5795                                    1.699.oo!                1271.B7i             1,.201.a1I             10.ool       140.61


                                                                                                                                                        EXHIBIT2

                                                                                                                                                              61
                                                   Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 85 of 266 PageID #:11181




                                                                                                                                 AEU INTERIM DISTRIBUTION




                                                                                                                                             i
XX-XXXXXXX

XX-XXXXXXX
                !BOSTONEMERGENCVMEDICALSERVICES

                ~NURSING SISTER HOME CARE INC
                                                                                        !78SAlBANYST
                                                                                        !110 Bl COUNTY BLVD SUITE 114                                       liBOSTON.MA02118-2S25

                                                                                                                                                             FARMINGDALE, NV 11735-3923             1         1.211.25]

                                                                                                                                                                                                              3,600.0D~
                                                                                                                                                                                                                                     1.211.25!
                                                                                                                                                                                                                                     1,200.00~
                                                                                                                                                                                                                                                  UDO.DO;

                                                                                                                                                                                                                                                  1,200.00!
                                                                                                                                                                                                                                                                          11.2S!

                                                                                                                                                                                                                                                                              -i
                                                                                                                                                                                                                                                                                      140.3.
                                                                                                                                                                                                                                                                                      140.39

·~-==•=630ec-_1:cMcclCH=IGA=N=·•=o=DSCO='-'PY'-'CE=lfltR='-'llC=--------------- iPO BOX003393                   ------------+'-----11=-•o'-'ST=ON.MA 02241-3393                                               2,300.00'.             1,200.00)    1,200.00!            1,100.00!      140.39
XX-XXXXXXX      lw00DBR1DGEANESTHESlA GROUP                                            ·114904 JEFFERSON DAVIS HWY                           !STE 100        !waooeR10_§.~ YA 22191-3908                      1,200.00'.             1,200.00!    uoo.oo                              140.39

i::•::.S-.:::SS4=17c:,62,_,IKA=•=••:c'..::CO:::U::NSE=u:::•:::.G=uc=------------------"'i1:::590=Sc.:M="=W:::Au=•=EE=A=v=•=succlTE=ll3=----------+1-----,•e-u_eER1YV                                                                                          480.oof
                                                                                                                                                                 __,_LLE.~IL~60048~=-•=785~----~---·-·-·-··-·· 4,~o.oo,..·---..c1=,6B=-Dcc,oo";;,-_~1.200=·=oo't,---------'=cc;...----=
                                                                                                                                                                                                                                                                                      140.39

~1~-1'-'6B4=606~--+lA~N=ES!H=ES=IA=PAR=Til-"ERS=OF~CO=-ID=RAO=O--------------l'IPO-=BO=-X'-'913D==Dl=------------+t-----t-=-DENVE=""-~C0=80=-29=cl=-·300=1=--------,,--------=l.=20'-'0.'-'00",'-------=:l,=200=.00.:::!--------'1"'.200=-DD='+-'1_____+--_ _ _ _:;:
                                                                                                                                                                                                                                                                 140.39
XX-XXXXXXX      /240NPHVSIOANSPC                                                        !POBOX19108                                                          8Et.FAST,ME04915-4086                            1,194.70/              1,194.70!    1,194.70                            l3!l.77
XX-XXXXXXX      IGLEN BURNIE PHYSICAL THERAPY                                           !PO BOX 590                                                          WESTMINSTER, MD 21158--0590                     2,740.00]               1,230.29i    1,l.94.29 1            3&.oo!       139.n
SS-0293130      iNEVAOA CARDIOLOGY AS.SOCIA                                             !3tSONTENAYAWAY                                      !STE460         LASVEGAS,NVS912S                                2,S3s.60l               1,49s.12i    1,194.11              300.95j       139.71
XX-XXXXXXX      lsnuwATER MEDICAL CENTER                                                !POBOX720006                                                         NORMAN,OK,7.3O70                                7,358.00:               4,360.87;    1,.192.98            5,407.0Si      139.S7
XX-XXXXXXX      ]TIMOTHY B RAPP                                                         !PO eox4lS662                                                        BOSTON. MA 02241.s662                  I         1,310.001              1,310.00!    1,190.00!             uo.oo]        139.22
27·3800862      jGOTHAM MEDICAL GROUP LlP                                               l314W14THSTSTHFLOOR                                                  NEWYORK,NY10014--SOD2                  !         Z.D40.00;              1,288.841    1,lSB.84-i              so.ool      139.08
XX-XXXXXXX .... IPASCO-PINEL1.ASHILL5BOROUGHCOMMUNITY                                   lPOBOXS64855                                                        ,ORLANOO,FL32886--4855                            4,689A9!               2.645.241    1,186.99             1.393.Slj      138.87
XX-XXXXXXX      1ANoREW WEILAND                                                         !s3S E 70TH sr                                       !              iNEW YORK, NY 10021                     l         s,100.00 •         ·   ;,482.38!    1,18S.90i             296.48!       llS.74
52·1262870      !DYNASPUNTS"m'EMSINC                                                    !770RITCHIEHWY                                       )W21            SEVERNAPARICMD21146-3937               ]         2,76S.OOi              2,172.00!    1,185.00!             987.00!       138.63
                                                                                                                                                                                                                                                                        ..,.ool
F06-=1'65=20=3=---'!Mc,l,=DW=ESTc:...=:EM,:E,cR=GE,cN,:Cf:..:DEP=AITTM<NT=="--------------f'P-=0-=B0-=cX"-'205=5=6-------------+'l_ _ _ _--ilrSP~Rl~N~GA~E=lD•ll.:..:6cc27'-'0B=---------•_1I----'-'l.BB=1.0=0•,_.;----=l,BSl.=="'=,!c.......-l.:,184=·="''+'----"==i-------          138.52
XX-XXXXXXX      ioowNERS GROVE PEDIAlRICS                                               ls840 s MAlN STREET SUITE 201                                       loOWNERS G~~vs. IL GOSl&-3493                     1,&so.oo:              uso.83i      1.1so.831                   .!      138.15
os-1613357      leR10GEPORTRAD10LOGtCALASSOOATES                                        !Poeox1187                                           I              ,lfWISTDN,ME042&3187                    I         2.504.ool              1.29s.soi    1,1so.16!             116.641
                                                                                                                                                                                                                                                                              _,      138.07
2&-3843739      hNOIANAPHYSIOANSERVICeS                                                 !Poeox405743                                         !              IATI.ANTA.GA303S4                       l         1,241.00!              1,180.00!    1.1so.oo:                           138.05
20-s704s11      )NEW WINDSOR FAMILY MEDICINE PLLC                                       )s1s HUDSON VALLEY AVE su1TE201                      l              iNEWWINOSOR. NY 12553                   I         2,s16.1s(              1,179.75}    1,179.7Si                   .!      138.02
20-211s993      !SPEAR PHYSK:AL THERAPV   u.c                                           iPDeox 223790                                        I               PITTSBURGH, PA, 1S2s1                            1,964.ool              1,473.001    U7BAO,                294.601       137.86
XX-XXXXXXX      !coNVENIENTMou.c                                                        l111NHAVE                                                           !PORTSMouTH.NH,03801                    1        2,599.03!               1,ssL9&!     1,178.22              ,0,.21!       137.84

F23-08B04l===o=--flSC11=ue:YLK=n.L=-M=ED:clCA=LCE=NTE=•=-EAST=--------------s!":7~ E NORWEGIAN sr                                                           !POTTSVILLE, PA 17901                   I        2,oss.2BI        ·---· l,474.29i__l,174.29_;--I      --~=
                                                                                                                                                                                                                                                                     :W0.°'11         137.38
 XX-XXXXXXX !Rehabilitation Associates                                       !sss BRIDGEPORT AVENUE                                                          ~et.TON, CT06484                       I        3,373.001               2,143.90!    1,173.48              970A21        137.29
                                                                                                                                                                                                                                            2.399.031
'-' "'=l62e,1S=1•'--..,!GYN=,_,,1CSe,ASSOC==IAc:>ES=....._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-il,1=00='-=•-"•1ST=sr=---------------+----+'AU=STI=Ni.~,'-''''-'B7'-'S=1-------+----'"',2=1'-"4_=00c;.i_ _ _...;4:,:.2S=•.s='+-!_-=l.,:17'-'3:::.44~--------'==+--                           137.28
,35.1142669     lSA1NT JOSEPH R.EGIONAL MEDICAL CENTE                                   iPo sox 776404                                                      le1:11CAG0, IL 60677-6404               !         1,659.DOi              1.459.361    1.112.11!             286.lisl      137.20

XX-XXXXXXX      \PM PEDIATRICS OF SELDEN                                                11 HOLLOW LN                                         Im 301                                                                                                       1,311.24;
                                                                                                                                                            !New HYDE PARK..~'!~·1=104=2_ _ _ _-+1_ _~2.809=-=10~,----'l.854=.:o-"=•+!-------=1."'169=.96=1;---===-+--                136.87
ss-2332921      :AlliENS REGIONAL PHYSICIAN SERVICB                                     !PD BOX 161463                                       I              !AnANTA. GA. 30321                      I         1,554.00;              1.166.00:    1.lti&.OOi                          136.41
XX-XXXXXXX      !wATERrowN HEART INSTTTUlE sc                                           l2soo w LAYTON AVE STE 1200                          I              !MILWAUKEE, WI s3221.s434                         1,425.00[              1,425,00(    1,.165.00             260.ooi       136.29
36-404215S      lvuRr M SHKLYAR MD PC                                                   11810 w WINOIESTER RD                                !STE 144       iuBERTYviLLE. IL 60048-5358                       1.2is.00!              1,21S.oot    1,165.00                so.ool      136.29
lS-1861457      ilNANITYHEALTHCAREPHYSIClANSSC                                          !POSOX63B14                                          !               PHOENlX,.AZB50S2·3B14                            1,383.00:              1,165.DO!    1,165.00                    -i      136.29
Bl-2275879      iJENNY MARGARETA FRANCES MO                                             \222 EAST 19TH 5r                                                    NEW YORK, NY 10003-2666                          l,300.00(              1,300.00:    1,165.00]             13s.ooi       1.36.29
XX-XXXXXXX      IM1cH1GAN 1NST1TUTE oF uRotDGY P                                        !2095212 MILE RD SUITE 200                                           sr ctA1R SHORES. Ml 48081                        2,400.00!              2,400.00!    1,163.81)            1,236.19!      136.lS

3S-1446631      (Mt.DISON EMERGENC'i PHYSICANS~                                         [PO BOX 882.76                                                      fMILWAUJCEE, WI 53288                             1,453.00i              1,453.00)    1,162.40!       -----=="---
                                                                                                                                                                                                                                                                      290.60!         135.99

                ·;-•-.. = = = = ~ - - - - - - -------------ti·iPOBOX3100==-'·=l5::ll=---------·-·-·-·-.Ji
XX-XXXXXXX __ '.PEDIATRICASSOOATfS                                                                        !PASAOENA,CA91110-1512                                                                              1,599.00!              1,274591     1.159.26:·            11S.33i       135.62
                                                                              .                           !                                                                                                           ,I                     '                I
XX-XXXXXXX    _.,_.i-lJUcc•="="=''----------------···-----··-···_,~30~,~w~•~•OA=o~sr___________-+_ _ _ _~;~•ETltl.E
                                                                                                            _ _H_E_M~,P_A_1B0_1B-_ss_2s_ _ .__________ ·-···                                               ··-··2,200.ool··---~1.~158_.56~i                        -!
                                                                                                                                                                                                                                                  1.~is_e.s_•-;•-------+----          135.54
ss-112g341      iPEMBROKEP1NESMR11Nc                                                    IPOeox5206                                                          iroRTLAUDERDALE.FL.33310                !         1.810.001              t,448.oo\    1,.15s.40I            l8!1.60l      135.52


                                                                                                                                           EXHIBIT2

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                                                                                                                                                              AEU INTERIM DISTRIBUTION




 XX-XXXXXXX         jsusURBANASSOOATESINOPHTHALMOLOGY'LLC                                                      !1100WCENTRALRO                                                   j            iARUNGTON HEIGHrs, IL 60005-2465              '         3,637.00]                2,076.22i                                  918.53i                        135.44
 ll-2855194         !RAMAPO VALLEY OB GYN PC                                                                   !974 ROUTE 4S sum 1000                                                         !POMONA. NY10970-3568                        l           2.430.ooi               L41&.64:          1,156.39!                269.971
                                                                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                                                         135.29
 XX-XXXXXXX         lGHVHS MEDICAL GROUP Pc                                                                    :101 e MAIN sr PHYSICIAN 11                                       I            )M1CDLEOTWN,NY10940-26SO                      I         1,455.32;                1,3u.01;          1,1SS.01l                1ss.ooi                        1:15,u

XX-XXXXXXX          [Y1.. UAEGRTE•WESTEDIATRMICSo Noc, sr .•uwGoUSTI,RMANE   LOGYGRP INC                       il319 WTOWN PL                                             ·••M•Jsre 1         Jsr   AUGUSTINE, FL.32092                     i         1,681.00;                u 26.sa:          1,iss.oa!                 21   .so!                     135_13
          10 08         08     10
""""'"='134=84:::.7:._-i"=======-=======---------+•-=o-=•=o•c.cs=•=,."-'°=--------------,'-----',,!'l..c~NDERSON,
                      1
                                                                                                                  NV89053-1670                                                                                                                        i,gss.ao·                2.,958.00(        1,155.04!              1,802.96!                        135.13
 27-4S83771         !~_~!§.~BORS PHYSIOAN GROUP PUC                                                            !1120 KINGWOOD DR                                                 !ST'f 100    iKINGW~9.~• TIC, 77339                                  2,117.62:                1,206.651         1,153.69[                 52.96!                        134.97
                                                                                                                                                                                                                                           1
20-so38438          IPACIF1CD1AGNosnc1.ABoRATOR1esuc                                                           'liAU:749193                                                      I            'LOSANGELES.CA90074-9193                                1.489.35[                1.is2.20f         1,.,s1SD2.2_.•,!,-_----__...:1S~"'3.2~2,+;'_ _ _ _...:134.80="'-I
 XX-XXXXXXX         IHEAD&NECJCS'URGICAlGROUPLLC                                              _ _ _ _ _ _ 142SWESr59THST10THFL                                            ..   -·!···---     · INEWYORK,.NV10019-8022          _ _ __ ,_ _          --=,..t.~E.~:              1,4ss.00!         1                                    7               134_65
 13-272299D         HERBERT JA!=FIN MD RlCMARD O MOSS MD                                                       '\160 PARK AVE            -·-·-·-·-·-· ·-·---·--·---·             i           · 1NEW YORK, NY 10128-1212                               1,150.DDi                1,150.00)         1.150.00i                                               134.54

XX-XXXXXXX          ,SAINrTHOMASMEDICAlPARTNERS                                                                /poaox1:138o                                                                   \eELFAST,ME 04915                                       3,431.001                1,859.79;         t,150.04!             1.750.1sl                         13454
XX-XXXXXXX          TUlANEUNIVHOSPANOCLN
                                                                                                               1
                                                                                                                POBOX402872                                                      I            !AllANTA,GA30384                                        3,123.60;                1,149.48!         1,149ABi                         -!                     134.48
XX-XXXXXXX          RUTGERSRWJPEDEMERGENCVFACUL                                                                ]POBOX2631                                                        !            iNEWBRUNSWICK,NJ08903                                   1,443.00j                1,236.291         1.149.29!                 87.401                        134AG

4t.os34920          lPARKNICOll.ETatNrc                                                                        !POBOX9104                                                                     !MINNEAPOUS,MN554~104                                   1,678.25;                t,194.251         1,149.25j                s29.ool                        134.45
XX-XXXXXXX          AUoueoNAMBUtATORYSURGERYCENTERuc                                                            303DNORCLEORSTE101                                          I       !cowRAooSPGS,coa0909                                I          4,099.oo;      1,434.651                      1,141.121                2ss.93t                        134.27

"'-'-4-=295=82e..77:.__,SCOTT==-=ITE=CLl"N""IC'------------------+2~40~1~5~3~1ST_ST'-_ _ _ _ _ _ _ _ _ _ _                                                                _,l____~[~TE~M~Pl£,=·:!?C,:,_7:..,6,::SOB:::....._ _ _ _ _ _-+---'·"''00"'6."'00=,_ _ __,,.,,..,,,,,,,.18,e;_!_     __,,l.c,:146=.S•ei·l_ __,9,,99o,,9,e2i.,i-----=134=.14=-i
!XX-XXXXXXX _ ·-·   SlAWOMIR MAGlER MD                                                                         .lOOSGREENST                                                      !            1JSEUNNJ08830-2125                                      4,GSs.ooi                2,439.7Di         1,14S.l9i             ~38.941                           133.98

XX-XXXXXXX          IAMSULANC£5ERVICEOFMANOfES1'ER                                                             !POBOX300                                                                      IMANOIESTER,Cf06D45                                     2,063.41!                1,893.96!,        1.143.431                750.53                         133.77

~!~·.c'•=--...cls"'o"'o'-'N"-ecou='-'NTY=AM=•u"'LA~N~CE=AUTH=~o•~rr~-----------+"'-•4TH
                                                                                     __ Av_e_ _ _ _ _ _ _ _ _ _ _ _-+_ _ _ __,l~~NTINGTON,WV25701                                                                                                     t,42820]                1,428.201          1,142.ss]                285.64]                        133.67
3&-2690865     lsusuRBAN SURGICAL CARE SPEOAUST                                  4885 HOFFMAN BLVD                    4DD     iHOFFMAN ESTATES, 1L, 60192                        Im                                                                   2,066.aoi               1,391.s2
                                                                                                                                                                                                                                                                                       1         1,142.211                255•31   1                     133.63
XX-XXXXXXX          MEMORIALHOSPITAL                                                                            POBOX9S4263                                                      !            ISA1NTLOUISM063195-4263                                 2,162.00\               1,307.91!         1,142.10)                 165.Bl!                        133.61

13--3260126         PHYSIOTHERAPY REHABILITATION                                                               lsoLEXINGTONAVEAPTU3                                                           ]NEW YORK.NY, 10010                                     2,59s.oo!                t,426.ta!        1.140.ssl                2ss.n!                          133.48

XX-XXXXXXX          IOWA PHYSICANSCUNIC MEDJCAl FOUNDATION                                                     [PO BOX 14SS                                                                   !cesMOINES, IA 50306-1455                               1,995.00i               1,270.631         1,140.63!                510.00j                         133.44
XX-XXXXXXX          1M1DwEST RETINA CONSULTANTS sc                                                              8901 w GOLF RD 1206                                              I            lees PlAlNES. IL 60016-4028                             4,m.ool                 1,199.9;f         1.139.99)                  60.oo;                        133.37

XX-XXXXXXX          !suMMrra:NTER FOR MENTAL HEALTH                                                            \3033 wesr JEFFERSON surr 101                                     !            !Jouer. IL 60435                                        1,140.00!               1,140.ooj          1,140.00;                        ~I                     133.37

~2388587      -R !STEPHEN HtRSCNORN PHD                                                                         4400BAYOUBLVD                                                    !ms1         :PeNSACOLAFL32S03-1909                                  3,590.ool               1,939.os!          1,w.oa!                 760.oo!                         13326
13--3448291         !AVERY MEAD SOIEINER MD                                                                     156EAST79lHSTREET                                                             !NEWYDRIC,NY10075-0570                                  3,940.0Di               1,984.35{          1,138.941                759.27i                        133.24
                7
XX-XXXXXXX          JRlversldeOrtho& Sports Med Assoc.ates PC                                                   PO 80X116                                                                     !LAUREL..!'!!.'-''le!l948=-------+----'l,32S=e,.OO"',-!_ _ __,l,"'2,:,lSe,Ae,fi-'_              __,,l.=,135""::,Al!ji_ _ __,,,BOo,,OO"',!--i_ _ _ _.,:13e,2;:e.83,e..i
XX-XXXXXXX          iEDWARO kATIME MD                                                                           877srEWARTAVESTE8                                                             !GARDENCITY,NY1153D-4803                                2,080.0Di               2,080.00!         1.134.00!                946.0DI                         132.67

~se-=2GS=s•~1~•.. . . !l!!M'!:10T~O,eW!!!N!!cE~N~D0,0Se,,CO,ePY=CE,s,:NTER=:.__ _ _ _ _ _ _ _ _ _ _ _ __,!,.,POc:,B""o"'-x=s•:.c'o"'1,.,_1_ _ _ _ _ _ _ _ _ _ _--'i'-----lCl•:.::TI.A=NT:::A.,_,GA=30::o3:,:53e.-7,:0ecll,__ _ _ _-+_ _-'1,.,.2, ,oo:::;.oo,:1c__ _ __,1,,,134=.oo"'l!-_ __,,1.c:crn=.00 !1_____:-::..j_ _ _ __,132=-•"-<'
27•3069705          lviRGINTA WOMENS CENTER INC                                                                11130 GLEN FOREST DRSiE                                           Im 101       IR1CHMOND. VA 23226                                     1.896.DDt               1.133.os}          1.133.os!                       .j                      132.56

XX-XXXXXXX          loERMATOLOGY AND SKIN suRGERYCE:NTER                                                       l2os RIOGEDALEAVENue                                              I            !FLORHAM PARK. NJ O"r.i32-1348                          3.365.oo]               2.305A2i           t.130A2i              1.11s.00                          132.25
XX-XXXXXXX          IAL£XANoERsH1FR1N                                                                           121EsoST10                                                       I            !Newv0Ric.Nv10022                             !         3,790.ool               1,883.B&!         1.130.291                153.51                          132.23
XX-XXXXXXX          KAMAlAVANAHARAM                                                                            i782822MIRD                                                       I            !sttELBYTWP,Ml48317                           !         1,120.00;               1,130.10i         1,130.10!                                                13221

XX-XXXXXXX          )ACUPATHtABORATORlESINC                                                                    i2BSOUTHTERMINALDRIVE                                             !            [PLAINVIEW,NY11803-2309                                 1,33D.DD!               1,130.00:          t.130.0D!                 47.65,                        132.20

XX-XXXXXXX          !ronTOIRONOPOULOSMD                                                                        !sss1ww95THST                                                     f1J400       loAKLAWNIL60453                                         2,515.30:               1,301.&51         1.121.65!                1so.ooi                         13L92

~~=•zs=--"''N"'IG~HT'-&=OA'-'Y-'-PE=D~IA~r~•'cs=•--'-A_ _ _ ••..······-··--·------· .. -------f'l44cc9c,9_,,M,cED,cl,cCAL=D•~su=ITE,=28=0'---------fi-----,!FSAN=ANTONIO, TI( 78229                                                                   1.295.00; ----'l"",1"'6'-'7.l:,3,,_;_   _,l.:=127=.13=!,-_ _.,::40,:,,00=;.!_ _ _ __:la:31:,,86=-i
XX-XXXXXXX          NWCP PEDIATRIC.S Ll.C                                           _ _ _ _ _ _ _ _ _ _i~6BO~N~IAkE~'-SH_O_R.c..Eo _ • ~ - - - - - - - - - __ ,STE 1050                       iCHICAGO, I~ 60611                                      1,535.001·              1,151..511        l,U6.Sl!                   25.ooi                        131.70


:::::: :;:::::::::CRmCALCARE                                                                                   : : :~~ENCEPARKWAY504                                   ·-· -· ;-              i:::::~:.                                             00                                        1
                                                                                                                                                                                                                 ::,':.,5--009="'·'-----+---=~=o-...,"'!-;----':""·:=:::""!--~"-~0:25,C::C,:l,1              ----"'::'-----"::,.:"'::1!..1                      1


                                                                                                                                                                               EXHIBrT2

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                                                                                                                      AEU INTERIM DISTRIBUTION




XX-XXXXXXX      MIDWESrEMERGENCYASSOCIATESLTD                                    IPaeox637564                                                             fcN□NNAn.oH45263-7564                                      i.m.ooi                 1,123.00;         1,123.oo!                                      13138

~~~14477       ·ADVANCED SURGICAL CARE OF NORTHERN                               !a02 FOX GLEN                                     !                     )BARRINGTON, IL 60010--1860                                 1,630.oo!               1,122.291         1.122.29!                                      13130

F2~==•884=•~-;jo~PU=S-'PLASTI=-=c~su~•cG_.~ERY~LTll~---------------+!P_o_BO_X_577_B_n_ _ _ _ _ _ _ _ _ _ _ _                     -;i..          ---+iCH_1CA_GO~••_L_606_!fl
                                                                                                                                                                        _ _ _ _ _ _ _--+--~1.==~64~1_ _ _ _,::•12=L4~S+'--"l."''=21ccAccs!;-_ _ _ _-+l_ _ _ __:l:::31::.2::Dci
XX-XXXXXXX     leNGLEWOOD"-O"'RTii=C=P-=ED=IC=ASSO=ccCA"-'--------------"!P-=C-=BO=X-=94=19--'------------;----+"=EW~Y-=O"'R<.~NY=1008=79"-4-=19~----+---=•ec•'cc•occ.DO=-f_ _ _.=1.2:::1==6.=19=-\_ _,,,_1,121=·cc:c04i _ _ _ _95_.15_,_i_ _ _ _ _,_31_.15_,
XX-XXXXXXX     JOIARLESARP                                                       j3280HOWElLMILLRONWSUrrE206                                    f"·°"'1.AN1'.=cc.A.,cGA=30.=3c=27~------t----'l,3=12.:::00:::,-]_ _ __.:1:,:,12c:-;L:::D:::D;..!_ _.:,l.c:,12::1:::.00",!_ __:="'f-------''"'31,:,,15"-I
                                                                                                                                                                                                              1
XX-XXXXXXX     iSUFFOUC:ANESTHESIASERVICESIDHC~-------------:l-•~71~M-=O~NT~AU~•~"~w,________                                 -m•j-----+W_EST~ISU~•~··-·-=•-•79~5~-44~1•_ _ _ _ _+---~l,4-=00.=00c,._ _ _ _,::••-=o=o.o==o+'.--"1,"'1=20=.oocc,;----'===+-----'13=L=03=-i
XX-XXXXXXX     !NIX HEALTH CARESVSTEM                                           !414 NAVARRO ST                                     surre 1120           iSAN ANTONIO, TX 7820S                                     u,221.so;                1,40s.oo!        1,1ts.1ol                                       130.99

XX-XXXXXXX     isouNDHEALTHSERVICESPC                                            lPoBOx790379                                      !                     1
                                                                                                                                                          STwuts,M063179-0379                                        s,530.00'               2,212.00!        1.11837                                         130.84

XX-XXXXXXX     (SUTHERLAND EMERGENCY Pt-lYSIOANS LLC                            !Po BOX 80138                                                             PHllADELPHIA. PA 19101·1138                                1,948.0D[               1,948.00;        1,.118.00!                                      130.79
                                                                                                                                                                                                                                                                          1
XX-XXXXXXX     i TcXAS REGIONAL MEDICAL CENTER LLC                               jp O BOX 674129                                                         iDAllAS, 1X 75267-4129 .                                    3,134.73\               1,116.30!        1,.116.30                                       130.60

1~182116        Tl-lERAPEUTIC INSPIRATIONS PT PC
45--4333998     INANITY DIAGNOSflCS LABORATORY
22·3338490      CENTRAL JERSEY EMERGENCY MEDIONE ASSOOATES                       j901 W MAIN ST                                                           FREEHOLD,_HJ, 07728 ··--------l----'2,2=48.0=D,_i_ _ __,2,248.=:::00::,...'_                      _.:,l.c:,115=.40e!l_ _..::,:=::,...-----'13,:0.:::4:,:,,i9
~~1815_ ---- !SOHO PEDIATRICS GROUP                                             iss2 Broadway Fl 5, Ste SN                                               lNEW YORK, NY 10012·3948                                    1,ll.5.0D!              1,us.00!         1.11s.oo!                                       130.44
38--1914289    !EAS"raOE GYNECOLOGY-OBSTETRICS PC                               !29751UTTlEMACKAVE                            !ROSMLLE,Ml48066                     1.415.00\                                                                 _1,_115.oof ___ 1.115.ool-i-----+------'"'30"'.44"-'-I

XX-XXXXXXX     !wE1ZEL COUNTY EMERGENCY AMBULANCE
                                                                               ···1836~AvE==~----------;F-----~iH~uNTJ=N~GT~o~N~,wv~~,,-,o-,--99-,-.----+---;1,393=~.,~o...!- -                                                              1,114.ssl        t.114.SG,                  -1                   130.39
                                                                                                                                                                                                                                                        1
4~3934309      ;OBSTETRIX MEDICAL GROUP OF                                      IPoBOXS0978                                                              !LosANGELES,CA90074-0978                                    1,240.ool               1.240.00         1.114.381            12S.&2i                    130.37

~2702178       lviUAGE PARK MEDICAL PC                                          h1wASHINGTONS0.WFL4                                                       NEWYORK,Nv,10011                                           2.910.00\               1.54-Loo!        1.114.20!            120.441                    130.35
XX-XXXXXXX
               1
                GENERATIONS 08-GYN CENTERS PC                                   !3S046WOODWARDAVE.SU1TE100                                               le1RMINGHAM,Ml48DD9                                         t.160.oo;               1,112.88!        1,112.ss!                  ~I                   130.20
~6-2691642      ORA ORTHOPEDICS PC                                               23DOS3RDAV£                                        #100                 !eETTI:ND0RF,IAS2722                                        2,875.00)               1,499.79;        1,lU.79              437.711                    13D.07

XX-XXXXXXX     \iWNOIS DERMATOLOGY INSTITUlE lLC                                 2622MOMENTUMP\.ACE                                                      IOilCAGO,JL,60689                                           4,881.00[               2,549.9D!        1.110.95!           2,014.95                    129.97
11-2465D19      SOUTHAMPTON RADIOLOGY PC                                        !1333 ROANOKE AVENUE                               i                      RIVERHEAD. NY' 11901                                       2,739.00!               1,347.54,j       1.110.241            33S.73!                    129.89

XX-XXXXXXX     1FAIRAELDCOUN1!Mo:ED,clCA=L~G•~cu=P~PC~------------+l'·~S~CO~RPO=RA~:rE=O~•-----------~ISTE=2~-1~---+=== ==-------+--~2,,707.00,,;-\_ _ _~,~·'=64~.1~1+!--"1.~106=ccl,__~•~.2=•~'·15=t-l----~129=50=-i
                                                                                                                                                                                ...
                                                                                                                                                                                                                                                        1
~.!-4210.,::508:,:_-Fjoc:RTH=Cc:PAE=Dl=.0:=AN.::C:.:SP:..,,<:cE:..:l:,:NSITT=U::;T::E_ _ _ _ _ _ _ _ _ _ _ ___,'f";""BETH=AN=Y""ROAD=-"su::;me=2=1--------->-----+===•=NJ=07~7=30~--------+--~l,944=.02=l---~•~•'=66=.4~1+--"1,'0106=·•"'1!;-_ _-=c=.;.-----''=29cc·44
                                                                                                                                                                                                                                                                     4
XX-XXXXXXX     iCENTRAL DU PAGE EMERGENCY PHYS                                   PO BOX 10859                                                             DAYTONA BEACH fl.32120-0859                                2,288.00f               1.72S.54i        1,105.601                                       W.34
XX-XXXXXXX     iGASTROENTEROLOGY ASSOC                                           931 HALLOCK AVENUE                                                      !PORT JEFFERSON STA, NY 11776-1228                          2,675.00'               U03.97i          1,103.97'                                       129.15

36-2IDn2NORTHARUNGTONPEDIATRICSSC                                                  ..="~"~All=l='"=GT~ON=HT=•o~--------➔·SU=ITT~2=10~--1·AlllJ=~"GTll=~"~HTS=·"~•~oo~04~-4~825=------1c--~l,=l98.=00-'-:_ _ _~u='"=··~';-!_~,.===·•'a:1---=c=;------=129=·12=-i
                                                                                I''=
XX-XXXXXXX      1NPHYNETPR1MARYCAREPHYS1CJANS-                                   POBOX636011                                       l                      cNcNNATI,oH45263                                           2,940.ool               2.366.tol        1..102.SCi                                      128.ss

XX-XXXXXXX     !auAlllY lABORATORY SERVICE                                       ,1523 VOORHIES AVE 2ND FL                                                BROOKLYN, NY 11235                                         1,574.lSl               1,10L82i         1,101.82                                        128.90

XX-XXXXXXX     lo1GESTIVEHEALTHCAREOFGEORG1APC                                   !9scou1ERRO                                       !STE407S              IATLANTA.GA303D9-175t                                       t.,62&.ooi              1,10Loo:          u01.00                                         128.81
75-3221D11     iPRJSM MEDICAL PRODUCTS LLC                                       PO SOX 476                                                              IELKIN, NC2862l-0476                                        2,436.20!               1.375.0Bi         1,100.061                                      128.70

XX-XXXXXXX     ]COASTAL MEmCALASSOCIATES                                         1PO BOX 6300                                                             PROVIDENCE. RI D2940                                       1.100.00!               1,100.00!         1.100.ooi                  .j                  128.69

2t:r2S31558    iSNAPDfAGNOST1cs                                                  [s210CAPtTOLDRIVE                                                       !wHEEUNG,IL60090-79D1                                       4,400.oo'               4,400.00!         1.100.ool          3,300.ool                   128.69
46-SSllStG     j1wEATHERFORDEMERGPHYSJCIANS
,_32_.0_15_033_6_~0_PTI_M_U_M_PH_~~-~-;~,_-_--_--_-

XX-XXXXXXX
                                                   --------------j1              'roeox.8108
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                                                                                  9301G01.F RD

               iotAGNOSTIC IMAGIN-=G~O_F_M~u;o~•~c_Pc~------------,'u-o_OBOXl_W 31LA~-. ·VENUE
                                                                                                                                   ; STE 204
                                                                                                                                                         !roRrwDRTH,1X7Gl24                                          1,is1.ool               1,100.ooi         1,10000!                   -1                  128.69
                                                                                                                                                         !DES PLAINES, lt60016-~1687=-----;----=2,44-'-"'-5.00=.l_ _·_--.._··--_--~c,-;cc;~~~cc;.;.c_ _-·_,-Laa099=:28~t,..···~~~~~2;:7-"4-.7::9:j~~~~~~~~~1;28:.60~'-I

                                                                                                                                              ----!'="coWl.=STO=N~~~-"'04"2'-'4"-3------+----''"''13=6.00==+)_ _ _..:•:::•'='":::·•:::•;-i_.-:,l.e:099=.oo,,_ _ _ __=c11:::·•:::•;..i-----='=28=5::ci7
9s-2321186     iCH1LDRENSHOSPITALOFORANGEcouNTY                                             .. ,:,.   ~                                                 loRANGE,CA928S8                               1.210.00:      1.098.741                     L098.74i        111.261                      128.54


                                                                                                                                 EXHIBrT2

                                                                                                                                         64
                                                           Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 88 of 266 PageID #:11184




XX-XXXXXXX

21-1s11is1
                 1colUMBlA. DOCTORS OF NEW JERSEY

                  !HOMEROUROPRAcnca1N1cLLC
                                                                                                                  iPa BOX 29053

                                                                                                                  !12261W1S9THsr
                                                                                                                                                              AEU INTERIM DISTRIBUTION




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                                                                                                                                                                                                !NEW YORK. N't' 10087-9053

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                                                                                                                                                                                                                                                                                                                                     12839

  ·-===---+=========--------------i=,
~860  lw1LTONVOLAMBULANCECDRPS      !269MAJNSTREET              iCRoMWELL.CT0641~2302 I 1,566.94; 1,566.94~ 1.096.86
                                      ===="------------+----;========-----+---==',----'===---=="!-----"'-="-----'=
                                                                                                                     470.08) 128.32
                                                                                                                              '
?_?.:2979118      lsoLANoGATEWAYMED1CALGRP~-------------+iPO~•o~•~•~,s~199~------------t-------1J,-o_No_N_NA_n.~o_H_•'-'s2~•'~------l-----=1~-=-oo~'.---~1.~os"o.~oo~l_ _1"'.os=•.00=1I------+-----.::
                                                                                                                                                                                                    128.22
~~93376           !RADIOLOGYINC:                                                                                  IPOBOX910                                                  !                  ;HUNTINGTONWV257U-0910                                       1,378.00;               1,101.211    1,,094.671         6.60!           128.07

F13-3=-=90;:;B:.c68:::.7:_-+!TR=usre=,s=o•ccco='""Me:Bl:::.A"U"'":.:"".::RS=rTY=••c;_____________-F!,PO=•o.::•c.c2!l="-='-------------+-----llFNEW=Y0=••=•~•~••~'.::0087~------+----''"'~"35::;-oocc;--:_ _ __,a.,,4.,.,79c:-";:;3!.__.,,i..::o•='·cc•7:-i,---=="'f------=
                                                                                                                                                                                                                                                  2.341.46]              127.93

 XX-XXXXXXX              iNEPTUNEEMERGENCVSERVlCESPA                                            --!')PO=BO::,Xo.;4804='----------------+------i'f-'"°.::USTON==-•TX=77.::21:0:.;-4804='------+----'1.2=1Se:-DD:::!c-_ _~1..09
                                                                                                                                                                                                                           __3_.S07 \_~1,093='-'.50',-f------;-----=
                                                                                                                                                                                                                                                         -1              U7.93
                                                                                                                                                                                                                                                                        1
XX-XXXXXXX        iMUNDE.EIN PEDIATRICS                                                                           i1110 E BELVIDERE RO                                       ]STE 106            GRA\"SCA.Kf. ll. 60030                                      1.858.00                1,380.91]    1,090.91 !      290.ooi            127.63

XX-XXXXXXX       lHUNTINGTDNORTHoPE01csuRG1CAL                                                                    hoCONGRESSST                                                                  lPASAOENA,CA911os                                I          11.s,o.oo:               1,090A1!     1.090A7l              _f           127.57
36-4DEi9845      l PARK RIDGE PEDIATRICS PC                                                                       h01 s   WASHINGTON AVE   sum: 122                                              PARK RIDGE, IL 60068-4200                                   1.48s.oo;               1,485.ooj    1,090_00!       39s.oo\            127.S2
XX-XXXXXXX       lCENTER FOR ENDOSCOP'i                                                                           iJ325 S TAMIAMITRLSTE 100                                                      SARASOTA,. R 34239-5114                                     4,386.001               1,110.001    1,089.90:         20.10!           127.51
o~1:_60334oc.-:=--/;,:;W:.:E:,_NlW=O:,:RTH=OO=uG::,,1ASS=ce""oSl'fl'.=Ac,L,__ _ _ _ _ _ _ _ _ _ _ _-ll.:;1s=•.::c•:::NT11AL==-A:cV:.:E'-------------f-i'_ _ _ _.,,!o:=o;:;VER=•"aa":.:o::::3•=2"-o_ _ _ _ _ _ _+i___a::,.7B=•s:.:1.., _ _ __;2:,:,83:9::.S::,7.,..!_,_:1.,::089=.23=r----___;==i---
                                                                                                                                                                                                                                                                                       1,750.641                                     127.43
46-338513B       !MEDILYNXCARDIACMONITORING                                                                       :G700PlNECRESTDR                                            STE200             Pt.ANOTX75024-4265                              !           9,975.00!               5,472.87]    1,089.23j      4,383.641           127.43
Ol-0~1770.       !CHRISTOPHERPETERUMBACH                                                                          1391667THSTREET                                            !                  !ICENOSHA.WIS3142-9998                           I           1,958.23!               l,774.17l    1,088.06!       6136.lt!           127.29

.,,=s-=294=1•=s1,_·--ir."'~;::,·~"'Rv,_,FO=•o:.:Mc:Ac::CO=M=B"'HOS=Pll'..:c~;::LS=----------------+IPO=BO;:;Xc.B7=08:.:B4-'-------------l!l_ _ _ _---f'lo=ETRO=rr·M',~•=•26=-7-------'l_ __c,•.a=•c=is=•c+;----2"'.635=-=12,.!_ ___,1."'087=.B9=+---==c;.--                                                      ~=:                 127.27

g5:-3os3422~--;i~RH~E=uMA=:ro=LOccc;rc..o.::1AG=•ccOST1=CS=LAB~_______                                            !t01ssVENICEBLVD                                                              ILDSANG~,CA90034                                 I           2,211.00:               l,81LD7!     1,086.64\       724.43i            127.13

F*=264=6425=-1l=su:.:•~u•e:BAN=RA=o""10LO=G,,,1STS=SC:::.___ _ _ _ _ _ _ _ _ _ _ _ _ _ l,=144=•~M=OM~ENTU=~M~•LA~CE~---------+------,CH_1CAG_o~,-•L_60689~~-s_a23~------;l--~'·~628"-.00"--r'----1=~'-'1~a._s1+'-~1.0BS=~.socc,---~=c;---
                                                                                                                                                                                                                             828.0t!                                                                                                 127.03
 XX-XXXXXXX           [GEIGERPSVOilATRICCAREUC                                        ·11752WINDSORRDST£203                              !LOVESPARK.IL6U11             I         2,000.ool         1,SSB.48!    1.083.48!    47s.ool                                                                                                 126.76
XX-XXXXXXX        iPKYSICANS AUJANCE OF CONNEcnosr                                                                !322 E MAIN sr                                              STE 18             BRANFORD, er, 06405                                         1.341.00!               1,082.39;    1,082.391         40.ool           126.63
XX-XXXXXXX        !AGAPRO~ONALSERVICESU.C                                                                         !POBOX935329                                                                  IATIANTAGA31193-5329                             l           4,854.00:               3,582Jlsl    1,0s1.ssi       962.00;            126.57
2&-22n1cs         loAVJDJ BEARDSLEY MO                                                                            1208 e RIDGEVILLE BLVD m    201                                               [MOUNT AIRY, MD 21111.5221                        I          1,oso.00!               1,oso.ocl    1,oso.00;             -i           126.35
XX-XXXXXXX       !SOUTHEAST ANESTHESlA CONSULTANTS                                                                IPO BOX 4096                                                                   CAROL STREAM, IL 60197~                                     1,.200..001             1,080.00)    1,.080.00'            -1           126.35

45-2640B05       !NEWYORKANESTHESlOLOGVPROV                                                                       l40TURFLANE                                                                    RostYN,NY11577-999B                                         2,700,00:               1,oso.ooi    1,oso.00              -I           126.35

XX-XXXXXXX       JPROGRESSNE PHYSICAL THERAPY                                                                ..   J2a NORTH COUNTRY ROAD SUITE 104                                                                                                                                                                      111.ool
                                                                                                                                                                                               -FM~OU.::NT=Sl~NA!cc•~•ccv.:11:.c7.=,6&-,_,1=51=•'------+-----":Z,"'405.=DOccj_ _ __,,1,0"'7=9-~47;~-------- l.•~07_9_.4_7t-----~--   126.29
XX-XXXXXXX ___ _.JEMERGENC'f DEPARTMENT PHYSIOANS PC                                                              !PO BOX 638967                                                                 CINONNATI, OH45263-8967                          J          1,199.00'.              1,079.10:    1.079.10              -t           126.24
                         1KATHRYN e EINHAus MD                                                               110215 AUBURN PARK oR                                                                                                               I                                                                      -!
 3s-zo39005
"2"'&-4004==7=45"----ll"'.Aa"'v"'AN"'CE"-D=M"',o"'IO"'N"-,"'a"-,.-,-w_v_o_RK_PL_L_C_ _ _ _ _ _ _ _ _ _ _--"!i"o=,s=,""A•"•'-'A"vEN=u~eso=UIB~U-N_rr____________..____        !                   FORT WAYNE. lN 46825
                                                                                                                                                                                                 NEW YORK, NYlOD?S-0912                          !
                                                                                                                                                                                                                                                             1.279.oo)
                                                                                                                                                                                                                                                             1,450.001
                                                                                                                                                                                                                                                                                     1.011.01{
                                                                                                                                                                                                                                                                                     1,tso.ool
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~165344 ..       \GREGORYJPAMELMD                                                                                 i11SEAST6lSTREET,_1_s_ _ _ _ _ _ _ _ _ __,_____                               !NEWYORK.NY10065-8184                            I           4,075.oo\               U48.39{      1,073.071  '    275321             125.54
XX-XXXXXXX       ·: HOLY NAME PULMONARY ASSOOATES PC                                                              iro BOX 42960                                              j                  'iPHllADELPHIA, PA.19101                                     1,90S.OO(               1,13s.ooi    1,070.00i  '    sas.ool            125.18

XX-XXXXXXX        !BARRY M. SCHWARTZ M.O. P.C.                                                                    !23e. 79THsr.                                              I                   NEWYORK,NY10021                                             2,351.00!               1,621.901                    553.5S'            124.99

XX-XXXXXXX        iGREENWICH PATHOLOGY ASSOC                                                                      !P080X2018                                                 !                   NEWHAVEN,CT,06521                                I          1,320.00:               1,320.00~    1.068.00        252.00!            124.95
XX-XXXXXXX        INEWYORKSOCIETY FOR THE RELIEF OF RUPTURED& CRIPPLED MAINTAINING                                1PDBOX29234                                                                   !NEWYORIC,NY,10087                                           1,627.00!               1.068.06!    1,068.061       236.941            124.95
46a2886776        !NORTH SHORE W OBGYN AT GARDEN                                                                  ipo BOX 418721                                                                !eosroN MA 02241·8721                                        2,274.00'.              1,067.40(    1,067.40                           124.88
XX-XXXXXXX        !ailLO & ADOLESCENT HEAllMCARE                                                                  iPo BOX 15628                                                                  BELFAST, ME 04915-4051                           j          1.822-00i               1,530.87;    1.()65.73!      477.891            124.68

SS-0521440        !RADIOLOGYASS0~:!!5...!~ecc________                                                             -f!P-=O-=BO=•~s"-30~7---------------!------f'U==MccA.=OH"-4=5=80=2-53=0"-7--------+---"'2.c;,47c:2.00=~·----1~,3-87_.so,_'_~1,063~--•--;7/_ _ _ __,__ __                                        400.031            124.42
47:.:-4:::1""72=•::::••,__,_lr:.::otc:;A:::L:.::U:::RO:::Lc:coGV=CA::::•"'•:.::o::.•.::••:.:w:..v:.:o::;••c.PU=c'------
                                                                                                                    ....._...._...._.._._._···_--_··-_--·-_-_·-·_···_···_···_,.,i,-=o-=so.::xc.c1:.:623='--------------+-----1!~"""-"~ASr~.M~E~049~ts~-------+----=1~.748=.34--;';---•·~·us.1sl   lpG1.81j          63.371           124.22

!"3!:1-1!:48:,c094=1,__-fjG:::Ec:,N,::ESIS=H,eEAe,,Lllt=CAR=E=cSYST=Ec:Mc___ _ _ _ _ _ _ _ _ _ _ _ _ _---;'!PO.::.:;BO::;X°"9:.::5=.;144cc2=---                                                 !a.EVElANO,OH44193                                           2,075.95;               1.660.79!    l.060.79j       600.00!            U4.1D

XX-XXXXXXX        lsueuRBAN SLEEP ANO PULMONARY                                                                   !2os SADDLE LANE                                                              !FOX RIVER GROVE. IL 60021-1298                              3,815.00i               1,776.81'.   1.060.40!       716Ali             124.06


                                                                                                                                                                           EXHIBIT>

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                                                                                                                AEU INTERIM DISllllBUTION




~~J;._
13--3303231   !WfSTOIESTER EYEASSOOATES
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                                                                        !ro   BOX 848536
                                                                                                     ::   .
                                                                                                              ~~~4!                            !BOSTON. MA D2284-8536
                                                                                                                                                                                           ;!!?.

                                                                                                                                                                                            1,180.0D;
                                                                                                                                                                                                         .P-
                                                                                                                                                                                                         1,lBO.OO\     1,060.001     120.ool
                                                                                                                                                                                                                                                ., ·_.;,-!Ill
                                                                                                                                                                                                                                                        "'
                                                                                                                                                                                                                                                      124.01
XX-XXXXXXX     !TRI CTYRAOIOLOGYSC                                      IDEPT4690                                          i                   ICAROL SfREAM, IL 601224J01           I      1,421.00;    1,196.60!     1,059.401     137.201
                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                      123.94
XX-XXXXXXX    !SUPERIOR AMBULANCE OF MICHIGAN                           139s W LAlE ST                                                         !ELMHURST, ll 60U6                           1,059.OO:    1,osg_oo;     1,059.001           -1         123.S9
                                                                                                                                                                                                                                I           ;
ll-Z876070     GAMAUEL IMMANUEI., MO                                    jSfE214                                                                !HEMPSTEAD, NY llSSD-8115                    4,075.001    i~~?.:H;      1.057.13!                      123.67
                                                                                                                                                                                                                  J
XX-XXXXXXX    ,HARTFORD PATHOLOGY ASSOClATES                            iPO BOX 1749                                                           !HARTFORD, CTD6144-1749                      2,037.00:    1,460.21,     1.os1.01!     403.20i          123.66
              !         . ----··                                        I                                                                                                                                                       I
XX-XXXXXXX    iSPOTSYLVANIA REG MED CTR                                 lPO BOX 402656                                                         lATlANTA. GA 30384                    I      1.323.2s:    1,25s.ool     1,.DSG.001    200.ooi          123.54
XX-XXXXXXX      jFRED WISSN.ER PHO                                      _hs WEST 72ND STREET APT tR                                            !NEW YORX. NY 10023                  !       1,921.20!    1,617.761     1,055.36!     562.401          123A7
                I
3~-0672~2 ··-·-JOAYTON CHILDRENS HOSPITAL                               loNE CHILDRENS PlAZA                             _ J___                !           -·-·
                                                                                                                                        . ··-· __ ;DAYTON, OH 45404
                                                                                                                                                                                    1···    1.076.69'    1.os5.1s:     1.055.161
                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                      123.44
                                                                                                                                                                                    ·1
3Ul667480      PROFESSIONAL RADIOLOGY INC                               !9825 KENWOOD ROAD                                 /STElOS             !ONONNATI. OH 45242                          2."BOJlO'    1,174.97;     1,053.18/     12L79/           123.zl
XX-XXXXXXX    :NLUC                                                     hs101 lENSINGTON BLVD                              !mus                !suGAR LANO. TX n479                         U&s.1sl      1,366.84)     1.051.84j     315_00!          123115
74-118015S     THE METHODIST HOSPrrAL                                   l,osox•m                                                               !HousroN, TX n210                    !       3,150.00;    1,984.soi     i.os,.60I     93>.sol          123.03
XX-XXXXXXX    IJAQ(SAOACKA MD                                           i2317AVE R                                                             lsaoonYN. NV 11229                   I       2))24.98!    1.us.s,!      i.oso.591      75.ool          122.!ll
~3992684      !ASAP lAB CORP                                            !PO BOX 1449                                                           !POMPANO BEAOi, Ft 33061                     1.S00.001    1,oso.ool     1.oso.ool           -1         12U4
                                                                                                                                               I
64-091Bll12   lsrARIMU.E CUNIC FOR WOMEN PA                             lioo MEDICAL PARK DRJVE                                                !STARKVILLE,. MS 397~7               I       1,328.00;    1,328.00;     1.049.901     21s.1oi          122.83
20.5377055     ADVANCED MEDICAL IMAGING UC                              [pa BOX 912853                                                         iCENVER. CO 80291-2853               !       l.109.711    1.1119.71!    1.049.24!      60A7!           122.75
3~3748163      NORiHSHOREPATHOLOGYCONSULTANTSSCCOSTclNBERGADVISORSLTD   !PO BOX 779277                                                         ICilCAGO IL 60678                            2,794.00:    1.169.99!     1.049.141     120.ssl          122.74

46-21176U      RUSH OAK PARK PHYSIClANS GROUP lAKE                      [7S REMITTANCE DR STE 1620                                             IOIICAGO. IL 60675-1620                      1,336.00[    1.122.,21     1.047.92!      75.00!          122.60

XX-XXXXXXX     GRUENWAlD & COMAN DATO RE PA                             !90Mtt.18URNAVE                                        STE101          !MILLBURN, NJ, 01041                         1,845.00;    1,072.62!_    1,047.621           _j         122.56

XX-XXXXXXX     PEOIATRICANO ADOLESCENT CENTER                           !1990 EALGONQUIN RD                                    STE200          lscHAUMBURG, n.. eo113                       1,760.00!    1,165.99(     1.045.99!     120.00!          12237
XX-XXXXXXX     NEW YORK QUEENS MEDIONE                                  /POBOX~D96                                                             !BELFAST, ME 04915                           2,440.oo[    I,784.33\     1,045.261     739.071          122.28
                                                                                                                                               !
11-3265Ul     IP ECON IC BAY PRIMARY MEDICAL CARE PC                    118s OLD COUNTRY RO m 2                                                iRNERHEAD, NY, 11!101                        4,370.05)    1,687.77!     1,044.251     543.52i          122.17

XX-XXXXXXX    JNORntSHORE US RADIOLOGY SVE5 PC                          j935 NORTHERN BLVD STE 200                                             !GREAT NEQ, NY, 11021                        1,738.00i    1,043.71;     1,043.11I                      122.10

11-2.534968    LONG ISLAND GASTROENTEROLOGY PC                          j901 STEWARTAVENUE SUITE 23S                                           !GARDEN CITY, NY 11530-7001                  1,300.00;    1,040.aol     1,040.ooi           .1         Ul.67

XX-XXXXXXX    !ADVANCED PEDIATRIC CARE LTD                              !2ts REMJNGTON BLVDSTEB                                                IBOUNGBROOJC. IL. 60440              I       1,340.ool    1,340.ooj     1.040.ooi     aoo.oo!          121.67

XX-XXXXXXX    !LIVINGSTON PATHOLOGY ASSOCIATES LLC                      l520 E 22ND sr                                     I                   llOMBARD,
                                                                                                                                               0
                                                                                                                                                         IL. 60148                          1,300.00'.   1.040.Q()i    1,040.00!           -!         12L67
47~5625504     MAKANfSTHESIA HOLDINGS UC                                [pe BOX 745092                                     i                   I
                                                                                                                                                ATI.ANTA. GA 3037,4-gggs            i       4,085.00!    1,039.701     1,039.70!                      12L63
                                                                                                                           I
SS-1866240     THE ROME ENDOSCOPY CENTER                                !uJOHN MADDOX DR                                   I                   fROME, GA 30165-1413
                                                                                                                                                                                 --·-I      1.540.02'    1,1Ss.o2!     1.D39.52!     115.SO!          121.61

XX-XXXXXXX     HEALTH & RENEWAL INTERNAL MEDJCINE                       19449 SOUTH KEDZJE                                 l"°••s
                                                                                                                           I
                                                                                                                                               !EVERGREEN PARK, IL 60805-2741               1,037.981    1,037.981     1,037.98i           -!         12L43

14fr2784071    BARNABAS HEALTH MULTISPfCALTY                            !1010LO SHORT H!US ROAD SUITE 217 CAR              I                   !wesr ORANGE, NJ 07052               i       1.840.00:    1,037.BOi'I   1,037.801                      UlAl
XX-XXXXXXX     MARKLLUC'fK. PHO                                         1970 FARMINGTON AVENUE                             !suITE30D           !wesr FARMINGTON, er 06101           I       3,950.00(    1,628.001     1.036.DOi    2.GSs.ooi         121.20

XX-XXXXXXX    !CAftTERSVIUf PEDIATRIC                                   iPO BOX 200429                                     I                   !CAJITTRSVIUf GA 3012D-9DOB                  1,849.001    1,698.54'.    1,035.651     67Lnl            121.16
               i                                                                                                                                                                    I
XX-XXXXXXX     'WHEELERSBURG MEDICAL ASSOCIATES                         j8046 OHK> RIVfR RD                                                    IWHEELERSBURG, OH 45694              I       1.szs.ool    1,058.37i     1.033..371     25.oo!          120.89
XX-XXXXXXX     i1NFECTlOUS DISEASE GROUP OF NORTH                       iPOBOX93                                           !                   !BAYONNE, NJ 07002-0093              !       1,84S.OO!    1,291.50!     1,033.201     2583D!           120.87

XX-XXXXXXX
               I
               !AMANDA BERGE
                                                                        I
                                                                        tVITAIJTY COUNSB.ING                               i= E SUITE U._i BARRINGTON, IL 60010                      i      1,030.00i    1,030.00!     1,030.ooi           .!         120.SO

XX-XXXXXXX     !PPG ANEST1iESlA PUC                                     iPOBOX270                                                              !MASSAPEQUA PARK. NY 11762-0270       I      2,400.001    l.160llll!    1.D29.88!'   1.130.12!         120A9

XX-XXXXXXX". !EMERGENCY PHVSIOANSOF PERMIAN BASIN Pl                    :PO BOX 12147                                                          !OKLAHOMA CITY. OK 73157-2147        !       1,029.60!    1,029.60!     1.029.601           .;         llOAS
              -rFORT HEALTHCARE                                         iPOBOX249                                          I                   !FORT ATKINSON WI 53S38-0249                 2,400.oo!    2,157.60:     t,D28.60j    1,129.ooi
39--0286215                                                                                                                                                                                                                                           12034

06-09~2875     :RUSHFORD CENTER INC                                     la83 PADDOCK AVENUE surrE 1                        II                  !MERIDEN. CT06450                            1,298.00)    1,108.30'.    1,028.301
                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                     1os.oo!          12030
5S-0766048     :RIVERSIDE MEOICALGROUP PLLC                             !4016THAVE                                         !surre102           iMONTGOMERY WV 25136                 I       1.420.QO!    1313.18!      1.021.1al     2ss.ool          120.2!1


                                                                                                                         EXHIBIT2


                                                                                                                                66
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                                                                                                         AEU INTERIM DISTRIBUTION




               !MAROA G RAOtUN LCSW
XX-XXXXXXX     !ALLEN JAYNATOW MD                                  19490:NTRALAVENUE                                                    !woooMERE, NY 11598               2,1is.ooi               1,628.68!    1,025.48!        428.20!     119.97
20-1D23704     ICERTIAED HAND CENTER OF ROCJ(FORD                  j2662 MCFARlANO RD                                                   ,ROCKFORD,ll61107                 1,767.00)               1,465.55,:   1,024.001                    119.BO
XX-XXXXXXX     IPROGRESSM DIAGNOSTIC IMAGING                       1445TATERTl3                                                         !RIVERDALE, NJ 074S7-1603         1,280.00:               1,280.DOi    1,024.001                    119.BO
XX-XXXXXXX     iAlllED nlGESTTVE HEAl.lli                          lsoHtGHWAY36STEB                                                     iwEST LONG BRANOi, NJ 07764       4,762.50!               1,02357i     1,02357!                     119.75
13--3204832    ROBERT A KUTNICK MD                                 114 EAST90THSJ'REET APT 1D                                           ;NEW YORK. NY 10128-0671          2,2ts.ooi               1,933.74;    1,020.00                     119.33
...... 600400 ----!NMG SOUTHPARICSE.RVtcES tLC                     ;PO BOX 6025~-                             ........ ,.! _____        !OiARLOTIE. NC28260-2579          1,836.00:               1,836.ooi    1,020.00!                    119.33
XX-XXXXXXX     )ASHLAND ANESTHESIA PSC                             l,oeox29                                                             !ASHLAND ICY 41105-olJ29          1.020.ooi               1,020.00!    1.020.ool                    11933
Sfr1479712     CAROMONT NEUROSURGERY                               it89S HOFFMAN RDSJ'E A                                               iGASfONIA, NC 28054               1,415.00                1,098.80[    1.018.80!                    119.l!J

4~745710       JRESIDENTIAL HOSPICE ILUNOIS LLC                    lt431 OPUS PLACE srE 310                                            looWNERS GROVE,, IL fiOStS-1391    1,017.90)               1,017.90i    1.017.90!                    119.DS
XX-XXXXXXX     SEYMOUR EDEISTEIN                                   i2382 E 13TH ST                                                      !sROOICLYN, NY 11229              1,805.001               1,590.0li    1,017361                     119.02

XX-XXXXXXX     SEAVJEW ORTHOPAEDICS & MEDICALASSOCATES              1200 EAGLE AVE                                                     JoCEAN, NJ 07712-7631              2,040.00'.              1,268.37:    1,016.70!                    118.94
XX-XXXXXXX     iSALUs DBGYN A.5SOCATES uc                          f341 WALNUT ST                                                       !NEWARK, Nl 07105-2611            1,056.DO!               1,056.00~    1,01G.00!                    llB.86
XX-XXXXXXX     !ASHLEY ROMAN                                       !NYU CARDIOLOGY ASSOCATES                              PO BOX 415662 laosroN, MA02241                  1,ms.ooi                1,015.00{    1,01S.ooi               -i   118.74

 0-4238007     CAROLINAS FERTILITY INSTlT\JTE                      !PO BOX 25804                                                       lw1NSTON-SALEM. NC Z7U4-5804       3,398.00i               3,398.00~    1,015.00       2.383.ool     118.74
                                                                                                                                                                                                                        I
71-08752~-- ...lcoRAL_DESERT SURGERY CENT ___                      !1490 E FOREMASTER OR                                  BLDGC        isr GEORGE, UT 84790               8,17956;                1.265.56!
                                                                                                                                                                                                         I
                                                                                                                                                                                                               1,012.45:.     ... 253.111   118.45

86--041506S    [EMERGENCY PROFESSIONAL SERVICES PC                 IPO BOX 64568                                                       !PHOENI~-~- 85082-4568             1,12s.ooi               1,ou.so·     1,01250!                     ll8A5
XX-XXXXXXX     IPROVIDA HEALTlt CENTERS C                          11425 N HUNTQJJBRD                                    lsruoo        1GURNEE, ILG0031                   1,880.00!               1,241.14]    1,011.!B!        229.31!     118.37

22-2233S88     1HAMILTCN GASTROENTEROLOGY GROUP PC                 !1374 WHITEHORSE HAMILTON SQUARE RD                    2NOFLOOR     !HAMILTON, NJ 08690                l.88S.OO:                        '
                                                                                                                                                                                                  1,010.89'.   1,010.891                    118.26
XX-XXXXXXX     :KIDS FIRST' PEDIATRICS PA                           8169 ARDREY KELL RD                                                lOiARLOTTE. NC. 28277              1,291.111               1,074.73;    1,009.73!         65.ooi     118.13

XX-XXXXXXX     isuRGICAL ASSOOATES OF AUSTIN PA                     1015 E 32ND ST 5rE 308                                             !AUSTIN, TX 78705                  2,.435.65!              1,009.34\    1,009.341               -1   llB.08
               1
XX-XXXXXXX       SPECl"RUM MEDICAL GROUP                            482CONGRESSSTSTE 201                                 I             lPORTlAND, ME, 04101-3448          3,640..00!              2.07S.03!    1,008301       1.066.731     117.96

XX-XXXXXXX
               I
                 ONE ANESTHESIA PLLC                               iPO BOX 7D3S4                                        I              lLCUISVll.l.E, KY 40270-0354       2,.772.DO:              1.801.BOi    i,oos.oo!        793.80      117.93

XX-XXXXXXX     '[ HIGH RIDGE FAMILY PRACTICE LLC                   130BUXTON FARM RD                                     ls,:rno       !STAMFORO,_g_. 06905               1,642.00!               1,272.31!    1,006.391        265.92!     U7.74

36-4211!02     jAURORA EMERGENCY ASSOCIATES LTD                    12800 WEST 95TH STREET                                              !EVERGREEN PARK. IL 60805-2701     1,456.00[               1,00&.ooj    1,006.00!.._     4so.oo!     117.69
                                                                   I
2~1832108      ;COASTALSlfEP JAB INC                               JPoBOX9012                                                          l•ELFAST. ME04915                  2,800.00!               1,960.DOi    1,004.ssj        955.45!     11752

26-267!1473    !REPROSOURCE FERTILITY DIAG                         J300TRADECTRSUITE 6540                                               WOBURN, MA 01801                  2,151.00[               1,672.80\    1,003.GSi                    ll7.42
                                                                   1                                                                                                              I
XX-XXXXXXX ··- JerowAH EMERGENCY                                    PO 80X769                                                            DAWSONVILLE,_~. 30534            1,180.00i               1,003.0Di    1,003.oo!                    117.34
                                                                                                                                       I
22-219544.2    WILLIAM K lfE MD PA                                  43 YAWPO AVENUE                                                    'OAKLAND, NJ 07436                 3.15D.OO)               U&S.SO'.     1,002.so!                    117.28
                                                                                                                                                                                                                        I
XX-XXXXXXX     !ALTOONA REGIONAL HEALTH SYSTEM                     ]po BOX 382007                                                       Pms&URGH, PA, 15251              12,331.31]               7,153.401    U:101.BG;                    117.21
               I                                                   1                                                                                                                                                    I
XX-XXXXXXX     llHEANYIOIUKWU AJA ONU                              3 NORTH MAIN ST                                                      FREEPORT, NY 11520-3248           1,000.00\               1,000.00!    l.000.00i                    116.99

XX-XXXXXXX     LoHN GERSON PHO                                      21SKATONAHAVENUE                                                   ;KATDNAH, NY 10536                 1.12S.ooi               1,125.00;    1..000.ooi                   116.99
                                                                   I
XX-XXXXXXX     !MARK MEYER MD PlLC                                 illO EASTS!lnlSTREET                                                !NEW YORK,. NY 10022               1.500.001               1,159.88!     999.81[         160.D7i     116.97
                                                                                                                                                                                                                      I
 4-3249702     'WOMEN SINSTITUTE OFGYNECOLOG                       !16006THAVESTE117                                                   !YORK. PA 11403-2627               1,400.00!                 999.26;     999.76!          34.461     116.96

XX-XXXXXXX     iROBIN IC WALDVOGEL MD INC                          iPo BOX 60790                                                       1PASAOENA, CA 91ll6                1.s10.ooi;--~-· ________ 1,666.00:    999.6Di   '     666.40!     116.94

XX-XXXXXXX     !EXETER HOSPITAL PT ACCTS                           )7 HOUANDWAY 2ND FL                                                 !EXETER. NH 03833--4381            1,516.44!               1.~~-~l       999.11[         414.611     116.89
                                                                                                                                                                                                           I
XX-XXXXXXX                                                         i1SOWESTENDAVESTE lA                                                !NEW YORK, NY 10023-4545           1.300,00!               1,184.30'.    999_10!         140.00i     116.88
               !suSAN USA- UNGAR MD ·····-· _
XX-XXXXXXX     LAKESIDE DERMATOLOGY LLC                            lJss S MILWAUKEE AVE SUITE 224                                      iuBERTYVILLE. IL 60048-3266        2.s41_ooi               ug1.zsi       998.61[       1.238.64i     116.83


                                                                                                                      EXHl81T2

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                                                                                                                AEU INTERIM DISTRIBUTION



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                                                                              !PO BOX 260249                                 !           PlANO, 1X 75026-0249                     2.36ILllD'                 998.08!         998.08 f               '                116.77

5~2246710         \NORntWEST PEDIATRICS INC                                   !4529 JESSUP GROVE RD                                      GREENSBORO, NC 27410                     1,580.00:                  998.0S!         998.0S!               _j                116.76
34.1932959        !cuN1c MEDICAL seRVJcrs COMPANY                             ls100 w CREEK ao surre 35                                 1
                                                                                                                                         1NDEPENDENCE, OH 44131-2133              2.030.001 '
?.~~.740614       fRADIOLOGY ASSO□AlES Of RORIDA PA                           i2100 UNIVERSITY SQ DR                                    !TAMPA. R33612                            2,.076.00:

~~_!:!~:!19       !MANKATOCUNIC LTD                                           !PO BOX 8674                                              iMANKATO, MN 56002-8674                   1,847.17;

                                                                                                                                          !PAlATINE, IL 600S5-6837      99s.ooi
i,2=.M:::1:::••::544=.-;h::::•lfYTliM==TE=Oi"N"'O:,:LOG=IE=-Sl::::N::_C_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _:!:D:::E,:_PTc;Oi=1=6837=-------------,,-----;:.======------+----'"'
XX-XXXXXXX        iCARDINALPEDIATRICS                                         !1247SUNCREsrTOWNE CENTRE                      !          iMORGANTOWN, WV 26505             I       1,620.00t

XX-XXXXXXX
                  1
                   MEDSTAR MEDICAL GROUP RADIOLOGY uc                         jPO sox 417932                                .J.h....    !sosroN. MA. 02241
                                                                                                                                        I          -···-··
                                                                                                                                                                          i       1,827.00:                 1,083.1oi....________994.10;1-.--~89::::.oo=;-l-----''=''::·•=•-1
XX-XXXXXXX        lexcauRGENTCAREOFNESCONSETPLLC                              1484TEMPLEHIUROADSTE104                        l          /NEWWlNDSOR. NY'12553-SS29                1,239.00/                 t,187.so!            992.80/           1!1s.oal             us.is
31-139857S        !CENTRAL OHIO PRIMARY CARE PHYS INC                         Jpo BOX 712505                                 j          '
                                                                                                                                        iONCINNATI, OH 45271-2505         I       1,411.00!                  991.SB!
sa-2077431    INoRTH ATlANTA ENDOCRINOLOGY AND                                bss OLD NORCROSS ao sn 11s                     I          ILAWRENavlUE, GA 3()046..3388             1,061.00i

56-0Sl9994        !ALAMANCE REGIONAL MEDICAL CENT                             !1240 HUFFMAN MILL RD                          I           BURLINGTON, NC 272J.S.87DO               1,189.001

XX-XXXXXXX        !NORTH CYPRESS MEDICAL CENTER OPERATING C                   Jpo BOX 4100                                   !          iHUSTON, 1X 77210-4100            I       1,787.75!                 1,287.18:        987.18!         300.00!

XX-XXXXXXX        !DERMATOLOGY CENTER OF NEWTON                               :po BOX 945934                                 1          'ATLANTA. GA30394-S934                    2,536.00!

~7637             lANDREW THOMAS PSYD                                         149 PARK SfREET                                I          !MONTCLAIR, NJ 07042            --+---    7,680.00!
31-11.14103       ivAUEY PATHOLOG1STS INC                                     iro BOX 73383                                ··-·-i-i-----t======-----
                                                                                                                                         .Q.EVl:LAND, OH 44193-0002       i       1,390.00]

XX-XXXXXXX                                                                                                             --!1"su"'ITE=l05=----'=======-
                  loAVIDARAMOSMDPA,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-"i3::UccDc.cNc=OccGAcclc.clT=cOSc__ _ _ _ _ _ _ _ _ _            !SAN ANTONIO, UC 78225                I       2,970.D1!

22-230~7._ .... loEBORAHSONENBLICICMD                                         irosox41s662                                !         leoSToN, MA02241-S662                 I       1,005.ool

XX-XXXXXXX        lcrsPORTSPH'iSICAL THERAPY AND WELL                         \20GLOV£RAVENUE                               T           INORWAU(,Cf06850                          2.53,.asi
XX-XXXXXXX        IEVERGREEN CARE C£NTER LTD                                  !3900 GARIELLE LN 9130                         j          !AURORA. n. 60598-9999                    1,505.00!

XX-XXXXXXX        IPuLMONARY&CRmCALCARECONSULT                                )Poaox.967                                                lriNlEY PARK, ll 60477-0967       !       1,088.001                 1,088.ooi        979.20!          1os.s0:

XX-XXXXXXX        !PAC PT                                                     11170 MEADOWBROOK BLVD                         i          iMANDEVILLE, lA 70471             I       1,525.ooi

XX-XXXXXXX        lsroNYsROOKORTHOPAED1c                                      IPoaox.419011                                 1            BOSTON, MA, 02241                        1,085.00'                 1,020.11!        s1s.11I
XX-XXXXXXX        INORTHWESTMEOICALCENTER                                     !PO BOX4093Sl                                  !          IAnANTA, GA 30304                        29,007.60!                 1,219.00i        975.201         243.80!

22·3151081        lMru OF WEST MORRIS PA                                      i45 PINE sr STE a                              l          !ROCKAWAY, NJ 07866-3139          I         975.DDl                                                                          114.07

3B-t891883        looCTORS FOR £Ml:RGENCY SERVICES PA                         iPO eox 785422                                 I          lPHILADELPHlA, PA 19178-5422      I       1,985.ool                                                                          114.07

2&-3256679        ISTEPHEN LEWIS                                              !2425 EAST srSTE 15                            I           CONCORD, CA 94520-1S28                   1,278.00]                 1,114.s2i        974.32[         140.20!                 113.99

-~~~368           !STEVEN O DIAMOND MC                                        !PoBOX18839                                                BELFAST, ME 0491S.iw83           I       t.249.ooi                 1,023.32)        973.32i           so.ool                113.87

XX-XXXXXXX ..... INORTHSIDI: PRIMARY CARE PROFESSIONAL                        !P080X935S44                                   II,
                                                                                                                                        [AllANTA. GA 31193-5544                          ----~'==-~4'_,!___972.95°l ··--~2~00~.s~•+l----~'=13-B3=ca
                                                                                                                                                                                  i.n~._?Oj
1.3-4173ll3       lNZS MEDICAL PC                                              2348RICHMONDRD                                           !srATEN ISlAND, NY, 10306                 1,655.001                 1,097.52;        972.52,          125.0o!                113.78

XX-XXXXXXX        '1NMCOPERATJNGCOMPANY LLC                                   l101osPARKRoweC1Ra.esu1TE2s0                   T           BATON ROUGI:. lA 70810           I       1,800.00;                  972.00~         912.ool                                 113.11

XX-XXXXXXX        'PEAK.HOM!: HEALTH CARE                                     i920 ESSINGTCN RD                                          JOUET, IL 60435                  I       2,430.00 1                1.215.ool        972.00!          243.ooi                113.n

XX-XXXXXXX        !KENOSHA RADIOLOGY CENTl:R UC                               h011174TH srsu1TE 1so                           i         !KENOSHA. WI 53142-7533           !       1,126.00i                  971.351         971.35!               .1                113.64

XX-XXXXXXX        !KERN GASTROENTEROlDGY MEDICAL GROUP                        !s959 TRUXTUN AV'£                             !m 200     ''BAKERSFIELD, CA 93309           i       1,662.00'.                1,090.47j        970.471          120.00!                113.54

XX-XXXXXXX        !DAVID R EDELSTEIN MD                                       l1421THIROAV'f41HFLOOR                         I          !NEW 'tORIC. NY 10028             !       1,600.00)                 1,358.47~        970_03!          388MI                  113.48

81·3066025        !ALUED WV EMERGENCY PHYS                                    lro sox 1s7001                                  f         !BALTIMORE, MD 21275                        910.ooi
                                                                                                                                                                                     ..- ..-1..--·-
                                                                                                                                                                                                      --~•~1•~-00...;~_ __910.~l._______-_.!_ _ _ _~'="::::_..=-1
~-~744019 ..•.•   !m   SPEOAUSTS OF CHICAGO HIGH                              i56DOWADDISONST                                           iot1CAGO, IL 60634-4401                   1,769.00;                 1,372.36,-!_ _~•"=-89=,!,__ _..
                                                                                                                                                                                                                                         ~24=7+-l_ _ _ __,1"'13"-.4"-7-I
XX-XXXXXXX        !HUNTINGTON MEDICAL FOUNDATION                              im N ALTADENADR                                 1STE201   !PASADENA, CA 91107-7325                  1,417.00'                 1.126.99i        968.83;          39233j                 113.34

XX-XXXXXXX        !HUMBOLOTEMERGENCYPHYS lLC
                                                                              ~-=                                                           PHllADELPHlA. PA 19101                  968.00!
                                                                                                                                                                                                             -~ -~                                 J                 113.25


                                                                                                                            EXHIBIT2

                                                                                                                                   68
                                                               Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 92 of 266 PageID #:11188




                                                                                                                                     AEU INTERIM DISTRIBUTION




XX-XXXXXXX         !THE JEWETT ORTHOPAEDIC WNIC U.C                                                !POBOX888S                                                         !wlNTERPARK.FL3279D                              1,381.00:           UBLOOi          ....70,    414.30!

XX-XXXXXXX         lsourH ATLANTA PEDIATRICS                                                       i251 MECICALWAYSTEA                                                 iruveRDALE. GA 30274.2522                       uss.oo\               964.tti       964.ul                  112.79
XX-XXXXXXX         !YORK PfNNSYLVANlA HOSPITAL COMPANY                                             :Po BOX 505167                                                      !sr. LOUIS. MO 63l50-5167                         964.co[             964.ooi       964.ool           -i
Fs"-6-=10=33=•=38'--lw=AK=E"'M::ED::•=CA=L-=IA=•=oRA=TO=RY"-"co=N=su=L"'TAN=TS'-------------fl•-=oc.:•=ox"-'20=1•=•-------------+------!i---•-OAN_o_n~.v_A.~2_.._1B
                                                                                                                                                                  _ _ _ _ _ _ _.__~u=•o~.oo~[----='~·15=2.=oo-C;',--....=;:=+---==
                                                                                                                                                                                                                964.oo!        188.001
88-0ll3241         iNORntERNNEVADAAL                                                               isstOTEotNOLDGYWAY                                                  RENO,NV89521-S941                       !       3,130.00"           1,116.00;       96t.40l    154Ji0!
                                                                                                                                                                                                                                                                 !
U.3628017          :PARKAVENUERACIOLOGISTS                                                         iPOBOX69006                                     !                   BALTIMORE.MD,21264                      j       8,071.001           "'l"loo.03·,;   960.30i   l,S88..63!
F34-'=199=7fJ'/-=7~-t!so=UTH=SHO,=RE=5UR=G::ER-=Y::CE::NTE~R.-Ll-C--------------:'is-=3-=BR-=E~NTW=OOO~-RD-.-5U-ITE-F---------t1· ....·----;i=BA-=Y~SH-=O=R-=E.~NY-=1~1=706=----··-·-·-----l-·---"7"',7°'82.ccOccO,-;----=;:--=87:::4.:::00:::::f--....=;:='t---===
                                                                                                                                                                                                                                                           959.96!    914.041

 XX-XXXXXXX .. __ !oAKSURGICALINSTIT'l.ITT                                                         tPOeOX664                                       ;        ·•--m-••-·- IICANICAKEE,ll60901                    I       7,139.71[             960.oo:       •&0.ooi                 112
XX-XXXXXXX         \;~~-;_;~~~-~-ECIA-UST5~-.-l1C----·-----------sj347EDISON5r                                                              _...   1 ..               fsrATENISlAND,NY,10306                   !       2,365.06;             959.sgJ
                                                                                                                                                                                                                                                           959.59/
                                                                                                                                                                                                                                                                             _,    112.

XX-XXXXXXX         PARS NEUROSUGJCAl. ASSOOATES                                                    11212 GARflELD AVE                              STE 300            !PARKERSBURG, WV, 26101                          1,816.0Q!             959.49;       959A91                  112.25

XX-XXXXXXX         OIILDREN S ANESl'HESIOLOGY ASSOCIATES LT                                        i100 E PENN SQ. FL 9                            IBLDG              !PHILADELPHIA, PA 19107-3377                     2,282.00   i        l,3S9.20i       9S8.44!    410.761
3&-04S453          CO!fflERSTONE MEDICAL GROUP PC                                                  loePTS777                                       I                  1CAROLSTREAM. IL60122                            2,356.ool           1,151.91/       957.911    386.oo!
XX-XXXXXXX         BAY SHORE ALLERGY & ASTHMA                                                      j649 MONTAUK HWV                                                    BAY SHORE, NY 117DfM!222                        1,190.00i           1,07LOO!        956.ooi    115.00i
26-zss&sss         iroRT SANOERS oBSTETIUCAL & GYNECOLOGICAL                                       lPo eox 468029                                                     iAnANTA. GA 31146-8029                           1,293.00!           i.ososoi        955.361      9S.54l

SS..2466886        AlHENSOARKEMERGENCY                                                     _ _ _,...1,.-=-o-=-•o~xc=96-=0S~------------+-----tlo=A~YTO=N~A-=-8EA=CH~Fc,L;32=120-9==60S=------,!~---='-<=69=5=.o=soj____.:,S,=5•=20,,_l__-955.20!
                                                                                                                                                                                                                                          ==+------                          -!
XX-XXXXXXX _ !PRIMARY MEDICAL CENTER AND WAUC IN

36--2659864        !st1suRBAN EAR NOSE THROAT ASSOC LTD
                                                                                                      =1009=-------------tj----~iFo~••:;.VER=·co=so~,~·-=---=5009=----- ..,,...!---=2.="':::•=,.c.:'1-i----='•ec364=3,:,9i__-=:=
F2;::.6-;1706=904=--+·oe=•c::VER=•:::ETINA=-===::c•:;.PC;c___ _ _ _ _ _ _ _ _ _ _ _ _ _-+l•-=o-=so=•c...
                                                                                                   !684 WARREN AVENUE
                                                                                                   lsso w   CENTRAL RD SUITE 1200
                                                                                                                                                                      !EAST PROVIDENCe. RI 02914-1405
                                                                                                                                                                      !ARLINGTON HEIGHTS, IL 60005-2382
                                                                                                                                                                                                                       1,.510.00!

                                                                                                                                                                                                                       1,680.ooi      __
                                                                                                                                                                                                                                           l,088.46i       :::!---- 1•::~l
                                                                                                                                                                                                                                                        954.07!
                                                                                                                                                                                                                                           1,044~·=0,'i-i---===+-----===
                                                                                                                                                                                                                                                                      90.00!
XX-XXXXXXX       ··10ANABGELUSMD                                                                   lsoERIDGEWDODAVE                                141liR.OOR         !PARAMUSNJ07652-3625                     I       4,goo.001           2,410.00!       953.581   t.516.42i
XX-XXXXXXX         ARIS RADIOLOGY PROFESSIONALS OF MICHIGAN                                        !PO BOX 72078                                                      iCl.EVELAND, OH 44192-0002                       2.094.00l           1,834.771       952.43!    899.761
XX-XXXXXXX         iANESJliESIACONSULTANfSOFINDlA                                                  IPOBOX71739                                                         CH1CAGO.IL60694                         !       1,592-00!             952.00:       952.00!           .,'
XX-XXXXXXX         JDAVIDMPEREZ-MARTINEZMD                                                         !3527rHAVESUITE1109                                                 NEWYORK.NY1oom                          I       2,152.00!           1.210.so!       ,so.sol    260.ool·

33-C6729l.S        !FAOJLTY PHYSIOANS & SURG oF WJSM                                               IALE 54701                         LOS ANGRES, CA. 90074                 1,664.ooi                  1,010.46i     950.461        so.ool
s1-1056849         1PALMETTO PRIMARY CARE PHYSICIANS LLC                                           !201 SIGMA DR      sre 100        lsuMMERVILLE, sc. 29486    I           1,11Los[                   1,383S4i      sso.os!       433.89!

                                                                                                                                                                                                              4 >_ _.==t--....:,.::,
                                                                                                _ _ _ _ _ _ _ _ _ _ _+-----1i0t=•CAG=o~_l!=,c,GO::•=n,_________ il_ _....:,2,e,r;oc=3=.oo::;i_ _ _....:,.1.54=1.30
F•~--="=rm=2•~..,•=1VERS=='o=•c:.:M=•=o•~CA1.=CE=NTE=•~---------------t-l:1_32~o_so_L_UTI_ON_S_CTR                                                                                                                   949.30!     1,406.00!

 SS-0106941  ~-..cVlc:.:N:::CE=N'-'T-"H=OSP=ITAc,L~----------------11POBOX8422=01~------------t-------jrOAUAS~~·~TX_7~S~284-~22=01~------t-1_~1=.3S=ll.9=',...;---~'-~'48.27=-:!--~=+---~                            948.271       2oo.ooi
SS-2636306         THEBORTOlAZZOGROUPlLC                                                           [POBOX277234                                                        ATLANTAGA30384--7234                    l       2,293.00!             948.221       948.22!    ,s,.os!
1"2,e:O-:,c57c,45e,04:,_7c_-fle,NSP=IRA=HEAl:=TH=N"-ETW=O'.!!RK,:cM::,EO=ICA,::L,. __ _ _ _ _ _ _ _ _ _ _ _-f!1,,12:,0c.,D:,:EIS<A=c=OR=N------------J-----f-!rG"-lASSSO==•:::o'-',ffl,,_oso_28_ _ _ _ _ _-;J__~S.~160.00_...,i_ _ _~•••~78.=29":-;_ _~=;--~=
                                                                                                                                                                                                                                                      945.99! 3,242.30!'
XX-XXXXXXX         !PHYSICIANS IN EMERGENCY ME                                                                                                                                                                         ....ool
                                                                                   -------cls~•=54..c•=•~w~cur~RO,~su~1TE=s__________7 1,-___-rLo~u~ISVIUE.~~rcr-•0~2~1•_______.,.l.--~'=·02!1=.oo='-----=94=5.=o=coi__~=+----                                              _I
20-2709n9          iuMoNJ RWJ EMERGENC't MED                                                       IPO eox 829642                                  I                   PHILADELPHIA. PA. 19182                         2,2BS.ooi           1,059.a9:       944.491    115.401

XX-XXXXXXX         !EASTORANGEVAMC                                                                 !POBOX3024                                      !                   LEBANON.PA17042                                 S,846.S3\           4,677.22!       ..,.,ol   3,734.52!
XX-XXXXXXX         IN□RlHSHOREMEDICALLTD                                                           bouNCLARKST                                     lsre9os            I011CAG0,1L 60657                                2,981.00:           1,142.11!       942.n:     Slt..18)
3S-139Bn4          hoHNSCANTIERI                                                                   l111oowNORTiiAVE                                I                  lsaookf1ELD,w1s3005--44s9                        t.430.00:           1.430.oo~       940,40i
                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                      489.ool
                                                                                                                                                                                                                                                                              I
46-40!l9937        BERGEN THORAOC ANO VASC.VLAR                                                    !3so ENGLE STREET                               !16                !ENGl.EWOOD. NJ 07631                            1.175.0s[           1,175.osi       940.04!    235.01!
0l--OSS9358        !KE~NETH A COHEN MO                                                             !645 N MICHIGAN AVE SUITE 822                   !                  !011CAG0, JL 60611-2879                          1.17S.OOi           1,084.96;       939.96!    145.00!
DS--0540368 •H-•   !~RAlRIELAND OUTPATIENT OlAGNOSTIC                                              !33052 COLLECTION CENTER DRIVE                                    . ia-t1CAGO,.   IL,~606=•=·- - - - - --+---~,.~•so=.ooc;t             1,570.00'       940.00!   (630.oo,I     109.97
                                                                                                   1340 BIRCHwooo A.Y.~.                                                                                                                                              234.34!
XX-XXXXXXX         !eEWNGHAM usoLOGYGROUP

ic•~&-~28-=1232=2~_,!o~RTH=o=•~·~'°~'c~s~u•-="'-="~Y~SP~E~OA~U=STS~--
                                                                                                                                                                      [BEWNGHAM, WA98225                               3.3so.oo,           1,174.11l
                                                                                                                                                                                                                                                           ......,
                                                                                                                                                                                                                                                           939.271

                                                                        ------------f:P.:,O:.,:BccOX:.c54='°'----------------l-----,:F,CA"'R"'O"'LSTR=EAM=•cclt.:.:60l.9=c.'-=-5460=----i----=2,:,26cc7e,,OOc:.,..i------- 1,785.12!-----+------,----~'°"=.83
                                                                                                                                                                                                                                             846.28!
                                                                                                                                                                                                                                                                                   10!!.89



XX-XXXXXXX         !coMPREHENSIVE PATHotOGY SERVICES SC                                            !2ss10 NETWORK Pl                                                   OtlCAGO, IL 60673-1265                          1,849.90:           1.143.41:       938.591    204.sz!      109.Bl


                                                                                                                                               EXHIBIT2

                                                                                                                                                       69
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                                                                                                                                        AEU IITTERIM DISTl!IBUTION



                                                                                                                                                                                                                                                               ~·
XX-XXXXXXX     [BATONROUGEQINICAMC                                                               17373PERKINSRD                                     !                  lBATONROUGELA70808-4373             !       1,122.00:           966..nf      936.11!          30.ooi       109.52
SS-2278269     iGEORGIA ANESTHESIOLOGISTS PC                                                     Jpo BO>t 930437                                                       /ATIANTA, GA 31193-0437                     1,560.00;         1,170.0D!      936.ool         234.ool       109.50

XX-XXXXXXX     lHEALTHSPEClAUSTOFOAYTONINC                                                       ]POBOX932825                                                          !a.EVELAND,OH44193                  I       1.370.00i           932.50)      932.50/               -1
XX-XXXXXXX      !-1ECICLENBURGRAOIOLOGYASSOCIATESPA                                           ....-.}!'-'P0:..,80=X=22,:12:.c4,:.9_ _ _ _ ,_ _ _ _ _ _ _ _i------+''CHA=R::LOTTE=,,_,_NC,~2_822_2_ _ _ _ _ _-il'--_~l.~864=.00-1!,--_ _~1,2=1c:8."-61c;)---==;-.--
                                                                                                                                                                                                                                                     931.3sJ       577.23!

XX-XXXXXXX.• ___ !AcnVHEALTHCARE INC                                                             lposox 1368                                                                                                                                  931.36!
                                                                                                                                                             ----,!;ccu=LB~u,•,•~G~•~;=~~=1=3~68~-----t---·- USO.CD( -·-··-·· __ 2,=oa"'1."'79'tj---==t--- 1,100.431
Fo~1-0~65"'2=664=....-.}STE=PH=EN~IAQ=U=l5=M=D~-----------                      -----il!.~t coLI.EGE PARXWAV 200                                                                                                                                   -==+---
                                                                                                                                                                       !FORTMEYERS,_!:lcc3c:39=D7"--55=2'-'4----+----"93"0.00~i----9=3ll=OO:,)_ _ 930.ool                 -!
l3--3535426     LAWRENCE EDWARDS PHO                                                             !z BYRAM BROOK Pl.ACE STE 2                                           !ARMONK. NY 10504                           1,200.00i         1,080.00!      930.ooi         1so.o;1       108.80
06-146314?____ iGRIFFIN FAOJLTVPRAcr1c:e PLAN                                                          _ _ _ _ _ _ _ _ _ _ _ _ __,_._ _ _ _ .JBeLFAST, ME 049~3
                                                                                       ---tjp_o_8~ox~18800                                                                                                 11      1,a1s.oo]          929.ssi       929,ssj               j
81-1105n4     ··1AHPSPEOALTYCARE NFP                                                             jPO BOX 17634                                                         [BELFAST. ME 04915-4071                     1,162.00:         1,162.00i      929.60!         232.40!
26-21n826      lAURORA RADIOLOGY CONSULTANTSDE                                                   !PO BOX S922                                                          \CAROL STREAM, IL 60197-5922                1,198.00J         l,1SL10;       928.301'        222.aoi
XX-XXXXXXX      NEW YORK CARDIOVASCUlAR ASSOOA                                                   JPO BOX 11381                                                        'NEWARK, NJ 071014381                I       1,402.00:         1,159.51 l     927.60!         231.91!
14s-1216340     J::ANSASOTYUROLOGYCARE                                                           \POeoX802257                                                         ]KANSAScITYM064180-2257              I       2,311.00!         1,s1&16i       927.44 1        650.72!
XX-XXXXXXX     !svCAMORE MEDICAL A$0CATES LLC                                                    i2560 HAUScR ROSS DR                               im 4SO            lsvCAMORE. IL 6017S-31ss                     2,697.oo!         1,s55.24i      927.281         628.961
XX-XXXXXXX     !MEMORlALURGENTCAREGROUP                                                          IPOeox266ss                                                          INEWYORk.NY10087-6668                I       1,000.ool          927.oo;       927.DOi               -1
XX-XXXXXXX      BlASEJTOTO                                                                       !317RUESLANE                                                         !EASTBRUNSWICK,NJ08816               I       1,195.0Di         1,195.00i      926.671
                                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                                    268.33!       108.41

                                                                                                                                                                                                                        •2•.soi1---~=+------'1"08=.39=
S9-3468427_...lce~-~KTRAL=~•~LO~Rl~OA_PA,-THO=to~GY_ _ _ _ _ _ _ _ _ _ _ _ _ __,_!PO_e_ox_1_•_09_B7_ _ _ _ _ _ _ _ _ _ _ _.,.__ _ _---;l,_o_RtAN_oo~.•~~~3_28_14_ _ _ _ _ _ _;-!--~•~·18=5~.oo~.1,_,---~l.~185=.oo.c.e!--~=                                         =I
t=81-=297=111~•-;l,=NIC>IO=LAS=™='""='"~CYGR=o=u•=•uc~--- _ _ _--;lpaeox13342s                                                                                        loALLAS, 1"75373                     i       1,aao.00!          966.oo!       926.a,;1         40.ool       108.33
Zfi.1877940    IMARINAGAFANDVIOI MD                                                              !1 DIANASlRAIL                                                       isrATEN ISLAND, NY 10304-1527                  9s0.00
                                                                                                                                                                                                                            1         9so.ooi       925.ool          25.ool       1oa.22

XX-XXXXXXX     !PALOALTOMEDICALFOUNDATION                                                       !POBOX742867                                        I                 ILOSANGELES,CA90074-2867                     2,626.00!         2,036.001      925.00J         529.ool       108.22

XX-XXXXXXX     !PREMIER PEDIATRICS BEVERLY HIUS                                                 !9907 WllSHIRE BLVD                                 STE 250           !BEVERLY HILLS, CA 90211                     4,215.ool         3,227.50)      924.71!      {2,302.5111
sg.2905984     hOSEPH L RD.fY ANESTHESIA ASSOCATES PA                                            ]Po eox 865340                                                       loRLANoo, FL 32886-5340              i       1,540.00!         1.1SS.ooi      924.oo!         23LOOj
XX-XXXXXXX      PRINCETON GASTROENTEROLOGY                                                       ]131 ALEXANDER RD STE 100                                            !PRINCETON. NJ, 08540                !       1,552.00'          9s1.12l       923.4Di          21.n!
XX-XXXXXXX      HORIZON CARDIOLOGY UC                                                            l261 MIDVALE sr                                                      !RIDGEWOOD, NJ, 07450                        1,420.00!         1.176.55 1     923.231         253.32!
XX-XXXXXXX      DRLAURALHELMANINC                                                                ;1207UNCOLNWAYW                                                      IMISHAWA~IN46544-1709                         921.63!           921.63!       921.63!               .1      107.82

i=sa-=..=197:.:.13=SO=---f•=-=•,,01A::<:.:.Rl::C:.:.P:.:.HYS::•===:.:.PC-=----------------+i1"'1o=so=mABAPP=='::'"'"o~----------+lm=1=20~-1-ir1•o=SWE=U.=GA,3007::5_ _ _ _ _ _-+l--~1,334=·=00c,.l----'1,~04:..:1.5=•,..i_ _==1---'=~-----'1"01,.,,.s,.1
                                                                                                                                                                                                                                                   92usl            198.0D!
                                                                                                                                                                                          _ _ _ _ _ _ _ _ !__'--2,39~•-·oo~l_ _ _~2,,so_._oo.,.i_ _~
F2,::"4:c709=3"57,___,!E::LM=HU::RST=O::<'-'™::,P.:,IC::S:eER:.:.V:::ICE,,__ _ _ _ _ _ _ _ _ _ _ _ _ _+l,5:::33'-'s'-'vc:oc:••c.:STc__ _ _ _ _ _ _ _ _ _ _-+----..;;:=,LM="=uRST=,.!~-60-126                                                         = t - - ~ = ,1,460.ooi
                                                                                                                                                                                                                                                   920.ool         -----1=01~.=63
                                                                                                                                                                                                           1
54-0!97356      wIN01ESTERANESn1esI01.0GlSTSINc                                                  !PDex.3297                                                            jw1N01ESTER.VA22604-2497                     920.ool           920.oof       920.ool               -1      107.63
XX-XXXXXXX     IORTHOPEDICAND SPORTS PHYSICAL                                                    1475 ALLENDALE RD                                  STE 206           IKJNGS OF PRUSSIA. PA 19406                  1,191.00!          919.45{       919.451               -l
F5"-9-=3S:::825=20::_-fBA=YCAR=:cEHe,O::,M,,Ec:::CAR=E.:::IN,:C_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-l'!PO-=.=BOX 403825                                                      !ATLANTA. GA30384-3825               !        919.12)           917.57i       917.571               -:
XX-XXXXXXX      JOINTS IN MOTION MEDICAlllC                                                      i1343E WISCONS.. AVENUESUl!t 112                                     IPEWAUKEE, W153072-3741              i~--1-,310-.00-+f---9-17-.00->i_ _911.ooi
                                                                                                                                                                                                                                              __ , _ _                    .!
                                                                                                                                                                                                                                                                              !
XX-XXXXXXX     !PATHOLOGISTS BIO-MEDICAL lABORATORIES                                            !PO BOX 610483                                                       !oAUAS, TX, 75261                            l.271.30[          925.89!       915.891               -I

XX-XXXXXXX      THE MILTON s HERSHEY MEDICAL CENTER                                              !PO BOX BS6                                                          IHERSHEY, PA 17033                   i       1,513.02:         1.283.611      915.611         368.Sl!
XX-XXXXXXX     ,SOMERSETEMERGENCY MEDICAL                                                        !P080X6222                                                           !PARSIPPANY,NJ 07054-7222            I       1,144.00i          915.20[       9is.zo!               -!
XX-XXXXXXX      MEDICAL DIAGNOSTIC' LAB UC                                                       !2439 KUSER ROAD                                                      !HAMILTON, NJ 08690                 !       3,405.00'.         914.98;       914.98j                       107.04
XX-XXXXXXX     IARCTURUSHEALlHCARE TIM                                                           !1101.SOUTHBLVDE                                   /51c290           /RODIESIERHIL15Ml48307-6116                  1,30200!           914.45:       914.451               .1
~~J.9_9_+0i_ER_O_XE_E_CO_AR_E_EM_ER_G__                                                          !1so OIATTIN DR                                                       tCANTON,GA 30115-8249                        914.40!           914.40l       914.401               -1      106.98
XX-XXXXXXX      QTY OF VACAVIUE-AMBULANCE                                                        lPO BOX269110                                      :                               __9S_B2_6_ _ _ _ _-t-___1~,14-2._7_1+f_ _ _ _l.~1_42._71_:,_,- - - - 914.171
                                                                                                                                                                       15ACRAMENTO,.CA                                                                              228.54;
                                                                                                                                                                                                                                                         t---~=-,-----~106=.95
XX-XXXXXXX __ .. tNORWEGIANAMERICANHOSPlTALINCORPORA'TED~---------+j1~78~2~M~O~M~EN_TU_M_P1ACE                                                                                                               914.001  4,0>sAol
                                                                                           _ _ _ _ _ _ _ _ _ _ _-t!LOC_KB_o_x23_11_B2...,l,..0<_1CAG_o~,~11._6_068_9~-------;---~5~,•=sa~.oo~l_ _ _~2.~781.=oo"1,--~=+--~=~-----ac•06=.93
XX-XXXXXXX     lASSOOATES IN PSYCHIATRY                                                          l2oso LARKIN AVE surre 202                         l                  leLGIN. n. 60123-5899                       1.530.oo!         1,m.02:        913.02\         240.ool       1os.a1


                                                                                                                                                  EXHIBITZ

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                                                                                                                           AEU INTERIM DISTRIBUTION



                                                                                                                                                                                       .-.-:··..· ; " ~ ~ ~ i < t f ; :
XX-XXXXXXX     ]PATRICA   c Mc caRMACK MD PC                                           hsso RICHMOND AVE                             i            isrATEN ISi.AND, NY 10314-1510         1,595.00'        1,,272.90~    9U.301              315.601          106.73
XX-XXXXXXX     !oocroRSCARE PA                                                         l1a1s HENDERSON ST                                         ')COLUMBlA. SC. 29201                  3,SCl.08)        2,003.IS!     91L2Si            1,091.90j          106.61
XX-XXXXXXX     !CHESTERFIELD ANESTHESIA ASSOCIA                                        !PO BOX 844424                                             IDALLAS, 1X 75284                        gtD.00;          910.DOf     910.00!                    -1        106.46
XX-XXXXXXX ,_, .JDEEDWU MD                                                              jPOBOX29239                                            __ .JNEWYORK, NY 10087-9239               1,260.00!         910.00'.     910.00!                              106.46
XX-XXXXXXX     lPEDIATfflCASSOCATES OF WESTERN CON!<IECTICUT                           !41 GERMANTOWN ROAD                                        iQANBURY, CT05810                !     1,498.D2;        1,009A6!      909.461             100.ooi          106.40
XX-XXXXXXX     [MASSAOIUSETTS GENERAL PH"51ClANS ORGANIZ                                   PO BOX 41909S                             !            IBOSTON, MA,. 02241
                                                                                                                                                                                   I
                                                                                                                                                                                   I     4,742.00i        3,74L90;      908.97i                              106.34
XX-XXXXXXX     !BATTERYPARICPEOIA1RIC5PC                                                4000iAMBERSST                                !             NEWYORJC.NY10282                i     1,990.00!         9S7.33!      907.33!               S0.00          106.15
XX-XXXXXXX     !5FFREYHOWARD GccRAcoF,cM~D~---------------t1~15~EAST=86!H~~STRE~~£T-----------+----                                                NEW YORK. NV 10028              f     1,586.ool        1,586.DOi     907.ool             679.oo!          106.11
XX-XXXXXXX     !uNIVERSnY OF PENNSYLVANIA HEAlll-1                                     /PO BOX 824320                                         ... -··1PffllADEl.PHfA, PA, 1918.Z         l.096.ooi        1,096.00;     so,.001             iss.oo/          106.11
XX-XXXXXXX     :RENEE LEFLAND MD PC                                                    isn STEWART AVE STE 25                                     1
                                                                                                                                                   GARDEN QTY, NY, 11530                 2,815.oo:        1,869.48:     90635    !          963.13!          106.lll
XX-XXXXXXX     iSPOKTS MEDICINE CENTER OF BERGEN PC                                     605 MAIN STREET                                            HAaENSACK, HJ 07501-5914        f     6,59s.ool        2,768.50!     904.so!           1,864.00.          105.82
XX-XXXXXXX     1auEST01AGNosr1cs1NCORPORATED                                            4230BURNHAMAVE                               !11250       !wvEGASNVB9l.l.9-540a            j     S,420.40!         963.331      903.331               so.ool         105.68
XX-XXXXXXX     IEMERGENCY'MECJCINEPHYSICANS                                             POBOX18910                                                 BELFAST,ME049l5-4084            I      902.92!          902.92!      902.921                              105.63
~1246&85       !uASrRoENTEROLOGYCONSULTANTSPC:                                          POBOX13641                                                1BELFAST,ME0491S-4027            I     1,69s.1sl         996.48!      901.98!              94.SOi          105.52
XX-XXXXXXX     !INTEGRATEDRLPATHSERV                                                   JP0B0X741087                                               !ATIANTA.GA 30384                      3,964.0li         995.90!      901.lOi              94.BD!          105.42
ll-3SS3374     !WESTERN NASSAU DIAGNOSTIC                                              f115 WSUNRISE HIGHWAY                                      iFREEPORT,NY 11520-3612                 900.001          900.00i      900.00!                    -1        105.29
XX-XXXXXXX     !otARLES eeRSHA.TSKY PHO csw PC                                          239 CENTRAL PARK WEST    sun 1AS                           NEW YORK. NY 10024              I     1,soo.00·        1,800.ooi     900.oo!             100.ool          105.2!1
XX-XXXXXXX ·--l~~oPOLrrANB~VJORALHEALTH                                                 POecx1032                                                 INEWYORK.Nv1021s                       2,000.oot        1,000.00!     900.oo!             100.00!          105.2!1
145-0827219    IFLORIDA House PHVSICIANS GROUP INC                                      sos s FEDERAL HWY                                         !ceeRAELD BEACH, R.33441               l,200.00!         goo,aol      900.ool                    -!        105.29
14-l..540066   !HUOSONVALLEYRADIOLOGISTSPC                                             !2678SOUTHRDsrE202                                          POUGHICEEPSIE,NY.12601-5254     I     3.158.00!        1,042.061     899.131             142.931          105.19

ss-ons842      !KAt«AwHA PATHOLOGY ASSOCIATES INC                                      b3l 1.AIDLEYsr                                lm sos       IOIA.RLESTON, WV25301·1682       I     1,528.oo!        1,003,ooJ     898.ooi             1os.ool          105.06
XX-XXXXXXX     !NOrmtWESTRADIOLOGY                                                      4SPINESTSTE8                                 j            IROaAWAY,NJ,07866                I     2,336.00i        1,083.08:     896.49i             910.191          104.88
XX-XXXXXXX     lCATKERINEORENTREIOIMD                                                   909 AFTHAVE                                               !NEWYORK,.NY10021                I     2.022.00!        1.903.00!     896.26!           1,070.74!          104.85

XX-XXXXXXX     1
               ANesntESIA&ANALGESIAPC                                                  !po eox2441                                                 DAVENPORT, tAS2809              I     2,660.00:        1,28630!      893.ssl             392.45!          104.57
XX-XXXXXXX     !GEORGIA NEUROLOGY CARE PC
                                                                                       1
                                                                                        soo MEDICAL CENTER BLVD STE 350                            LA\VRENCEVIUE, GA 30046-3353    j     2,100.ool        u:ss.osl      892 46:          (1,355 601 l        104.41
XX-XXXXXXX     !CARO UNA ENDOSCOPY CENTER PINEVILLE                                    !po BOX 602011                                              otARLOTrE, NC 28260-9998        :     2,550.821        1,114.501     89~6(J..-~- ,_      22~;r-------"104=.3=-!1

74-110963&     /PROVtD£NCEH~THSERVICl:SOFWAco                                              POeox20s121                                            lDAUAS. nc1S320--6121                  1,4ss.so!        l.09t.63l     89L631              200.00           104.31
UNKNOWN        jM10 srATE HEALTH CENTER                                                 101 BOULDER POINT DRIVE SUITE 1                            PLYMOUTH, NH 03264                    1,463.00!        l,066.41j     89L41!              17S.00           104.29
20-wo~         lcoveNANTMULTISPEClAl.TYGRO!JP                                           4106COLUMBtAROAD surre103                                 !MARTINEZ.GA.30907-1482          I      948.00!          S9L24~       891.241                              104.27
XX-XXXXXXX     1NICOLE A BISKUP MD                                          ---·~·---120325 S GRACELAND LANE                                      [FRANKFORT, IL 60423-9047              1,173.00j         89D.17i      890.17   i                           104.14

XX-XXXXXXX     loRRACH&ASSOCIATESPC                                                     s12H1llGROVEAVE                                           lwesrenNSPRJNGS,IL60558-1442     I     t,305.ooi        1.ns.ooi      890.ool             225.ool          104.12
81•1953854     loESJETLLC                                                              146 UNION Ave                                              lcaESS1C1LL. NJ 07626-2125       l      890.oo'.         89D.ooi      890.ool                    .J        104.12
26-t362sss     ISKMP ENTERPRISES tNC. OBA ACCESS AMBULANCE                             !PO eox 1ss                                                1NoRTH HAVEN, er 06473-01888            888.89 i         888.89;      888.891                              103.99

XX-XXXXXXX     !SA01CK. AESTHETICSURGeav AND                                               911 PARK Ave.sre IA                                    ]New YORK. Nv1001s               I     1.239.00·        1,022.14)     sa1.14\               90.ool         103.86
0S-7384399
               1
               DAV10MKAUFMANMD                                                         ,330WesTSBTHSTM01                             I             NEWYORk,Nv10019                       1,250.00'        1,132.99!     887.47\             24s.s2i          103.83

XX-XXXXXXX     !saoAOLAWNSMEolCAL CENTER                                               !1ao1 HICKMAN ROAD                                         ;!?.~.!"OINES. IA S0314                1,162.00;         138?:=-~~!--'=ss,,1=.1•,,,I. -----'-----===·"''"'-I
39-600S581     l~_9F RAONE ARE cePARTME~ ···-·--·-·-··- .. -···--··•.. -·                  N2930 STATE ROAD 22                                    !wAUTOMA. w154982                l      886.75   ~       886.1s:      886.75 i                             1113.74
S8-1129Sl5     ]EYECONSULTANTSOFATlANTAPC                 3225CUMBERLANDB1VDSE                STE900      )ATLANTA,.GA,30339                                                       !     1,613.01'.         t.314.03'i 886.65!              427.39)          103.73
52-ln5543
               :UNIVERSrrYOFCONNECrtCUT=HEA=llli--------------f!PO=B-OX_1_440--------------t1----·-1.;-~;~:·~---06-14_3_ _ _ _ _ _-;!                                                    1,455.00·~.----1,~068-.7~4!--~...                             =...,
                                                                                                                                                                                                                          ~.~,.-tl--~18~2.~54~:;-----~,..

                                                                                                                                   EXHIBIT2

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~ 1 ~t~~,,~~~1;;~1~,:~-.w~iliwK~~~~i1~J~~c~~_,...;,.;..,::~~--~~1it~~~~~J;~~.;,'/1~.,,.:>
        ---~~,,,r-.~,:,,-..... . . - . ~ L ~ ~ ~ ~ . . , . _ . ---::~<rffl:.:.o/.~~•~0~-~"'iRQQiliiitiOiifsS\;?°1t~~~ ~~-
..,.-;,,.,.~';O.k'~~ ,.,.,d'r',.,oc-...,-..;.      ...,.~,&,.___c-:.=,-mr...il'-i~V.::<7:iir:.
                                                                                                                         ·· :
5?~~934                  SPARTANBURGREGMEDCTR                                                    jPOBOX277700                                              !                      !AlLAHTA.GA30384                                 !           6,430.73:                3,407.19:              885.231         3,504.48!                     11B.S6
XX-XXXXXXX               KARLA      s RAMSEY MD                                                  j2Ul6 NORTHWEST FREEWAY                                   !surre 570             )CYPRESS, lX TT429-4697                                        989.17:                  884.84~              884.841                                       103.52
3S.2106462              !WOMANSHEALTHCAREASSOOATES                                               jPOBOX7010                                                                       !LAFAYETTE,JN47903-7010                                      1,525.00!                  881.87!              881.87                   J                    103.17

3S-3382424               lAKE CNTY ACUTE CARE                                                    PO BOX 731584                                                                    !oAIJ.A.5. TX 75373                              j           1,628.00:                1,000.92t              880.92/           120.ooi                     103.06

XX-XXXXXXX              lSURGICALANEST'HESIA SPEOAUSTS INC                                       !Po sox zsc33                                                                    !SANTAANA. CA 92799-5033                         !           1,400.ooi                1,260.00;              sso.n             379,nf                      103.04

XX-XXXXXXX              lsweotSHHEALTHSERVIC:eESe___ _ _ _ _ _ _ _ _ _ _ _ _ _-J!jPO=BO,cXo.,2682="'-"------------+-----i!"'SA"'LT,_,LAKE=c.,C!TY:e.:,,.:,UT:.:84='2e,6-0ll=2,,,s_ _ _ _,___.....!1=,100=-•~2:'-_ __:,1,~1JJ~•::!·•2~:.                                                        Ba0.34l:--~22==•~.ll8=;-i_ _ _ __,1"'02"".•:::.•-1
F':::.'"'..c060=228=--!·1".0°'N"'AlD=Lccl55=-·-------------------+1'==000=GccRAN=D'-'CAN=V.:OccN.ccPl(ccWVc.c__ _ _ _ _ _ _ _+-----f':',H:::.0-==ES1'.=~"-ru=•';:;L60=16:::.S_ _ _ __,__ __;1:,:,6,=50.0=0.-'.----"•:::••o:-OO::c'.:----"'880"'."'oo~i_ _ _ _ .il-'-----='"=2.95=-i
 S4-0892627      jGASTROENTEROLOGY ASSOC OF N VA llO '" ______ - - - - - - ----1"!3700=.::'o=••::.•:.:H=SlEWl=CK=-------      jsre 308            FAIRFAX, VA 22033-1739                     880.00:                     sso.oo[             880.00                           102.95
XX-XXXXXXX              /NORTHERNMEDICALGROUPPLLC                                                fU1CLOOO"OWERC0MMONS                                 ..   r·····-·"·-···-..--    iBREWSTER,HY10509-40SS                           I           3,673.oo)                l,5S7.61-'             879.491           678.12/                     102.89

47-17034S9              !TURNSTONEEMERGPHYSICJANSUC                                              l2901wESrswANNAVE                                         l                      lrAMPA,R336D9-4056                               I           1.233.ool                  a19.13(              879.13                   -I                   102.as

XX-XXXXXXX               DUPAGE PATHOLOGY ASSOCIATES SC                                          520 E 22ND ST                                                                     LOMBARD, IL, 60148                                          6,066.DOj                2,173.021              878.69 (        1.31833!                      102.80

XX-XXXXXXX               RMH PATHOl.OGtSTS LTD                                                   67BSWEAVERROADST'ED                                                              !ROCKFOR0.1t.s1114                               I           3,29355\                 1,sousi                878.641           622.741                     102.19

XX-XXXXXXX              lsr JOSEPH REG HEALTH cm                                                 PO BOX 202535                                                                     DAI.I.AS. TX 75320                                          2,575.971                1,328.47i              878.47'           450.oo;                     102.n
ss-o138ns                OTEROCOUNTYHOSPITALASSOCJATION                                          MSC380POBOX52163                                                                 _PHOENIX.,AZ8S072                                j           1,0SS.44j                  903.27:              878.27[             zs.00i                    102.75

20-062.~S~---- _ EMERGENCYMEDICALASSO~~'-'OlS=---------                                          lroeox4t7442                                                                     isosrON,MA02241                                  I             87a.ool                  87a.ool              878.00!                  -1                   102.12
~-~1707378              !HYGEJA GYNECOLOGY w:                                                    11 ENGlf STREET SUITE 100                                                         ENGLEWOOD, NJ 07631-2941                                    1.111.ool                1,024.ool              sn.ooi            141.ool                     102.so

F2~'"'~"=•is~'~...l_•o~ac~FO=RD~ASSO=~°"='e~o~cu~N~'CA=L--------------l'-PO=eo""x"'1"'1os=2,__ _ _ _ _ _ _ _ _ _ __,__ _ _ _+°'=1CAG0="-'':::.';:;606:::'4=·'c=os=2-------'---"'•.2B=7-ecDD,c,_ _ _ 1.o?;,?.s9;               876.09!             196.80[         102.49
 54-941259S ··-·" STEVENJSTEIN                                                 1086TEANECX ROADSUITE.c:4=.C_ _ _ _ _ _ _ _ _jj" ...... ---+!TSAN==•:::CC.:,_NJ=r:n,.,66:::6,:____ I   l,7S~!?.~.:_ _ _...:,1,57=5-"'00°';_ __,8""75"'.68='---="""·-'=2:;l_ _ _ _ _1=,D2:-""•':.i
36-3S36253              ,PEDIATRIC HEALTI-1 ASSOCIATES                                           IG36 RAYMOND DR                                           !STE 205               !NAPERVILLE, IL, 60563                           I           1,488.75 !               1,221.&2!              875.62!           34;_~1                      102.44
XX-XXXXXXX             •iCAROUNASMEDICAlcarrERATHOMELLC                                          lroeox602259                                                                     !CiARLOM,NCl:8260-2259                           !             875.0D;                  s1s.ool              875.0D                 -1                     102.37

52.1160308              )ARUNAVKHURANA                                                           !toa04HICKDRYRJDGERD                                                             !cotUMBJA,MDZ1044-3622                                         915.ooi                  91s.oo!              875.oo            100.ool                     102.n
XX-XXXXXXX               AU.ERGYASJ'HMAPHYSIOANSSC                                               !908N ELMsr                                                                       HINSOAlEIL60521-3637                                        l,673.ooi                  994.87!              874.87            708.00!                     102..3S

XX-XXXXXXX               DRXPARAMUS                                                              167CERIDGEWOODAVE                                                                 PARAMUS,N.J07GS2                                :           l,007.oo!                  947.0oi              974.:zol            47.soi                    102.27

XX-XXXXXXX              IPR!MIERPfDJAra1cs0FNEWYOR1CPC                                           2955VETERANSRDWEST                                                               iSTATENISlAND,NYW309                             !           1,460.ooi                1,014.46!              873.86            340.ool                     102.23
XX-XXXXXXX               MARKJCORONELMD,cPe,C,.__ _ _ _ _ _ _ _ _ _ _ _ _ _ _.,,!PO=BO::X:.:4:,113,,,__ _ _ _ _ _ _ _ _ _ _ _+-----!="'="ecASr=M:::E.:04;,:9'-'lH=lll:cD:__ _ _ _                                              --!!l---"'.300==·00"!,_ _ _ _,e87"'3."'71'll_ __,B,73
                                                                                                                                                                                                                                                                                 0,:.,7,e1+-]----::+-----"'lll=l-,e,22'-I
~!·2516729               STVINCENTSURGENTCAREUC:                                                 !PDBOX19014                                                                      laelfASr.ME0491S-4085                            I           1.1s0.00!                1,490.731              873.ss:           617.isl                     102.20

~•~s-=25"'04"s~02,_ !,:,fllf,:D~•~"'~c"'KA"''-'!:'cNSC1-1~~••~M~D~----------------"1s,,,04:,cHe,ls,ClCSVl=LLE=•"'o'-------------i-----•l"·MASSAP==e::,aue,A.:,_N,:cVc,1s='75=&-eeS004=----1--.....!1,5="'20"'.oo""-!
                      4                                                                                                                                                                                                                                     ----='·~184.=4B~l___;B!!f72:?~:;.!_ __e31e,Lo,73!4i_ _ _ __,,10,e2,o.10,:.i
                                                                                                                                                                                                                                                                                               1
1,,..=•75=1os"'2'---FNE,.,W:..YeeO:::RKo,M::;E:D::::lCA""L°'ASSO=ec°":::TceESc:,,'"•·'----------------i'!6=3"'sMA=D::ISO=N'"AV:.:Ee.c,•::•=-o:.:FLO=-OR=---------l-----F•"'EW"-VD=•e2••-"NV'-1"'00"'22=100=•"-------+---'2,34=s:::-•=•;..i----='•ec064=-'e':i:_~•-•N-•872.3~•t-i--~19~1.!l=-•c.;_ _ _ _ _,:::==:.i
~o-84891os               MONTaAJR HOSPITAL LLC                                                   !po sox 417618                                                                    BOSTON, MA 02241                                I           2,109.40!                1,072.ooL._   "-•-N•   872.001----'2"0"0.oo=+l_ _ _ _..,1::DZ=c.02=.i
321Xl84889               PRA BEHAVIORAL uc                                                       11701 E woODAELD RD srE 1000                                                      SCHAUMBURG u.• 1L &0113-5113                                1.3is.ool                1,04.z.oo!             872.00            110.ool                     102.02
XX-XXXXXXX               STACEYLSILVERS                                                          j161MADl50NAVESUrTE11W                                                            NEWYORK,NY10016-5421                                        1,070.00(                L070.00)               871.00            1'9.00J                     101.90

 XX-XXXXXXX             .ALfXlAN BROTHERS BEHAVIORAL                                             PO eox 11632                                                                     leeLFAST ME 04915-4071                                      12.6So.oo1                s,020.641              870.40 r        4,150.24!                     101.83

XX-XXXXXXX              \TOWN OFTRUMBUll EMS                                                     l8TURC01TE MEMORIAL DR                                                            ROWLEY.MA01969-1706                             I           3,79.Z.74i               2.517.84;              870.061         2.922.68;                     101.79
 27N1269714             !GAINESVIU.E EMERGENCY MEDICAL                                           !Po aox 37798                                                                     PHILADELPf-llA, PA 19101-5098                   I             a10.oo~                  uo.ooJ               810.00!                  -l                   10L7a

 XX-XXXXXXX             !lSR ENTERPRISES UC:                                                     b1sS2CASHFORD □Ra.EsuITE102                                                      ]WESLEYcHAPEL.FL33544                            I             870.ooi                   s10.ool             870.ool        -l         101.18
                                                                                                                                                                                                                                                                                                               1
XX-XXXXXXX              !DENALI EMERGENCY MEDICNE ASSOC pC                                       !PO sax 1100                                                                    _l:,::ARCA=::DlA.=CAc:.•::1:,:on=-'=='so=------i-l--"1,"'790=·00:::.;..'_ _ MN--~N-- 1.1?86.82_; _ __,B=69".46"+-l_ _~21"7.36=;_ _ _ _ _,=•='·"'n'-I

XX-XXXXXXX              howAENTCENTER,.,,r u = c ' - - - - - - - - -                             !PDBOX3624                                                                        DMAHA.NE68103-0624                              I             868.00;                  868.oo!              868.ool                                       101.55

47~034                  jPMCMEOICAI..GROUPUC                                                     l1 WORKS WAY                                              !ST"E 1      --+SO=MccERSW=~ORTH=-"N"-H=0387=&-cc1cc64ccO_ _ _- l_ _....=,1.2cc4c:cS·=ooc;\ _ _ __;1.e;1,:1S:::.oo:::+-i_ _,,.s68=.oo::.!_ _..-"2,:c47:.,:.0:::D,..\_ _ _ _.e1,:c01,:.5:,:S~
59--1281714             !R.ORIOA EMERGENCY PHYSICIANS KANG & ASSOOATES MO PA                     lpaeox1010                                                r                      !OiARLOTTE,Nc2s201                                             964.oo!                  867.60;              867.60~                  J                    101.so



                                                                                                                                                      EXHIBITZ

                                                                                                                                                               72
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                                                                                                                                            AEU INTERIM DISTRIBUTION




XX-XXXXXXX        !GEORGIA NEPHROLOGY LLC                                                        !s9s HURRICANE SHOALS RD NW                                          lLAWRENCEVJLLE, GA 30046-8762                1.39s.oo'.
                                                                                                                                                                                                                                                  ;
XX-XXXXXXX        !DR RHONDA GUY AND ASSOC PLlC                                                  j42SSTANAFORDRD                                                      jBECKt.EY,WV2S801                            1,479.00/            1,.204.83·     864Jl3 i        340.00 I               101.lB
3~1811206         iEMERGENCY PHYS OF INOIANAPOUS                                                 !POBOX7112DEPT 31                                                    l1NOIANAPOUS.IN46207                         3,450.001              864.851      864.85!               -1               lOLlB
~-1642810         ITHERAPAlli                                                                    !s45 WEST 4S STREET7TH Ft.                                           !NEW YORK. NY 10036-3409             !       2,458.00:            1,078.55!      862.84!         215.7li               100.94

XX-XXXXXXX        !COLORADO RETINA ASSOCIATES PC                                                 !POeox17949                        ------+----r!o~,•~VE=~E?~-~ao,=11_ _ _ _ _ _ _-r--~3~,134=.o~o...: _ _ _..,1,,,:,.'-'nc=3=1:'--·_ _=:86=2.13=+1_ __,1,5="'=.0=01-l_ _ __,100=.86"-I
62.0S03743        ]MEMPHIS PHYStCIANS RADIOlOGICAL                                               i2S21CRANBERRYHW'I                                                   WAREHAM, MA 02511                   !        1.1Ss.oo;            1,1Ss.00i      ss1.aof         294.D0 1              100.73
20-.S733015       leM£RGENCY MEa1ctNe PHYSlClANs                                                 !POBOXl8907                                                          _BELFASr,ME0491S-4084                          860.70:              860.~        860.70!               -1              100.69
XX-XXXXXXX        lwALK 1N MEDICAL URGENT CARE PC                                                !PO eox 16944                                          l             !BELFAST. MED49~---------:----~'~-os~1~.00~•,_---~•'"=.ssc;\_ _-'8S8=.B=s+/---"'=.ooc.;1!_ _ _ _-=100=.48=-i
XX-XXXXXXX        iRAOKlLOGYASSOOATESOFRfOGfWCJOO                                                /20 Franklin Tw-npike                                  !             /waldwict,, NJ 07463                         1,208.DO'.           I,!196.IOi     858.14;         237.96/               100.39

XX-XXXXXXX        !wESTSlcE COMPREHENSIVE CHIROPRACTIC                                           j330 w SSTH ST STE 407                                I              INewvomc,. NY, 1t'019                        5,540.oo!            5,540.oo!      857.00l        4,683.oo!              100.2G

XX-XXXXXXX        lwDMEN s HEALTH & WEllNESS OF L                                                11300UNICNTPKE                                         ISTE206       1NEWHYDEPARK.NY 11040                        3,170.00!            1,342.041      BS6.831         485.21!               100.24

2~3992822         lASSOOATED FOOT SURGEONS OF JOLIET                                             \2204 weBER ROAD                                       i             lotesr Hill. IL60403-092B                     901.00!               901.00!      8s&.ooi          45.ool               100.14
XX-XXXXXXX        IFAMILY MEDICAL CENTER lAGRANG                                                 ls201 w1uow SPRINGS RD                                !sre 300       itA GRANGE HIGHLANDS IL60525-6539            1,024.00!              975.n:       ass.12:i        120.ooi               100.11
XX-XXXXXXX        lCiRtsTOPHER Wl2MD                                                             !429 EAST75TH STREET3RD FLR                           !              INEW YORK. NY 10021                 i        1,840.00'.             854.971      854.97!               -1              100.0.2

0~14606~----}nuESTolAG,cNosn,==CS:.:llC=w:::•::w:eN:::Gc...._ _ _ _ _ _ _ _ _ _ _ _-+'i:zg=66=coue=~cn"'o=:•.ccc=•"-NTE=RD=•~IVE~-------+i,-----;l~CH~•CAG=o~,~•tcc606=93,._________ll----''"".14~•'"AD=-!_ _ _....:,1,=02:::6.:.:;73::;'---'•=52.89=+1_ __.=164.84=::;l_ _ _ _---'•"'•:1e:•'-I
XX-XXXXXXX        IANNABELLABUSHRA                                                               133oWESTSBTHSTOS04                                                   !NEWYORK,NYIDOI9                    I        3,3ao.oo!            3,380.ool      ssz.oo!        2.52s.oo!               99.68
75-60045BS        !FAITH COMMUNITY HOSPITAL                                                      !111 MAGNOLIA                                                        l.lACICSBORD, lX764ss               I        2,iss.ssi            1.943.sof      ssLo7!         1,092.53!               99.57
XX-XXXXXXX        !1NTEGRATEDMEDICINEALIJANCE                                                    1POBOX8519                                                           REDBANIC,NJOnOI-8S19                !        1,0EiG.OOi             909.29;      850.611           58.681               9951

XX-XXXXXXX        !LAuR1EcNASHMD                                                                 ;799PARKAVENUE                                                       NEWYORK.NY10021                     !         87s.oo1               87s.oo1      sso.ool           zs.ool               99.44
XX-XXXXXXX        irnveNAMANSFIB.DLPCINC                                                         l1606GLOUCESTERSTREET                                  I             leRuNSWIOC,GA31S20-1145             !        1,800.DDi            1,210.ooi      aso.oo!         3&0.00!                99.44
61-1204!342       lceNTRALEMERGENCYPHYSIClANSPS                                                  !POBOX18Z7                                                           LEXINGTON,KY,40588                  l        1,a20.ool              sso.oo!      aso.ool               .I               99.44
XX-XXXXXXX        luNIVERSJTYPATHOLOGISfSPC                                                      l5700SOUTHWVCKBLVD                                    I              _TOLEDD,DH43614·1S09                !        1,.229.&0l             91155{       849.ssl           &2.00!               99~9

62·1694178        iPALMSWESTHOSPITAL                                                             !POoox402no                                           I              !AnANTA.GA30384                              1,062.00            1,062.00;       849.60\         212.40!                99.39

XX-XXXXXXX        tsiu PHYS1CANSANDSURGEONS                                                      !POeox20so1                                           I              SPRINGAEtn, 11.., 6270B                      4,01200!            2.ns.os[        849.33\        1.875.12!               99.36

3....38.~9~3=-1_!;.cDALEVS==M=ED='=CA=L~TRA=•"""'=~T~IN=C~-------------1'~PO~BOX=~ss=•-------------!:-------i-DO_LlO_N~,~•L_604_19_ _ _ _ _ _ __,__ _~84=73~0l ______h__h_HM••-·-847.30!!---~847=30c.;>l_ _ _ _ _.+-1_ _ _ _=99c=.13=;
                                                                                                                                                                                                          I
3. 6-31B.li07.o
XX-XXXXXXX
                  !.DIJ_   PAGEEMERGENCYPHYSIOA.NSLm
                  ITHOMASJ WEIGEL MD SC                                          .............   b,.~
                                                                                                 !PoBOX88495                                                          OflCAGO,IL60680                              465900:         ..•..__1,236.60i
                                                                                                        ~.;;;;.;~·~-;;;;-,u-,r-,-900---------;-----t'CH~l=CA~G=O~,,~L606-l=l-------+·-... ·-·-·• .l::=315=~=·c;r_ _ ___c890=.68==,.!---=845=-68=.'I...
                                                                                                                                                                                                                                                       84S.9sl        l,9D6.6Si
                                                                                                                                                                                                                                                                        45.001
                                                                                                                                                                                                                                                                                              98.97
                                                                                                                                                                                                                                                                                              98.94

XX-XXXXXXX        isrLuKESPHYSIOANS=~G~•o~u~P~••~c~-------                   _ _ _.,_·1·PO_so_x_53_e_•_ _ _ _ _ _ _ _ _ _ _ _~-----tj._•ETH_LE_H_EM~·-~~~1B0~1S~------,---~2,214.
                                                                                                                                                                              __00~l____1,~02=0.o='-t-i_ _=B4-'s~-•~•ri'---•~1_1.s-'e.,.l_ _ _ _~•e.s=1'i
21-0~19369__      !CPCSEHAVIORALHEALTHCARE INC                                      jl0 INDUSJRIAL WAY EAST SUITE 108                      1EATONTOWN, NJ 07724               945.oo'.     945.ool         845.oo!              100.00!           98.86
SS-0721005        1ChartestonPalnManagement                                                      lmschesterfie1dAvenue#302                             !              JOIARLESTON,WV2S304                           845.00!               845.00!      845.ooJ               -i               98.86
XX-XXXXXXX        IRUTHERFORD COUNTY EMS                                                         i611 E LYTLE sr                                        l             lMUFREESBORO, TN 37130-3017         !         84s.oo:               845.oo!      845.ool                                98.86
3S-1173213        lPATHOLOGYCONSULTANTS INC                                                      IPOBOX30309                                           1              otARLESTDN,SC.29417                          1,586.78\              943.ss!      844.ss!          99.031                98.84
51-oss9870        larnNALCONSULTANTSOFSA                                                         !948oHUEBNERRD                                         !sre310       lSANANTON10. TX7S240                        10,zso.oo:            6,842.44!      843.931        2,349.a6!               98.73
                  1
XX-XXXXXXX         umemPSPED1ATR1cPHYS1CA1.                                                      !41wAu1CEGANR01e                                                     lGLENV1EW,1LG002S-s154                       1,1Ss.00:            1.053.101      842.501         210.60!                9856
XX-XXXXXXX        !MONEE ARE PROTEcr1ON otSTR1cr                                                 !Po eox 457                                            I             iwHEEUNG. IL 60090                  i        1.os1.soi          , 1.osLsol       842.341         209.16!                98.SS
XX-XXXXXXX        !AMBULATORYANESPHYSICIAN                                                       /POsoX48180                                            i             !NEWARK,NJ07101                              1,,ss.00·           1.os3.oo!       842.40/         210.&0 1               98.55

F'~"'~34234=~•2~..,!J~r,y~c=•~CHA~MS=M_o_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _"___ ___ juoowPETERSON_~'!.'!=..                !~-----------·. ··-J-----;-jOi=lCA~G~O~,•~L~60646-=~'~•3~1~-----~!_ _~1,'"1os~·~00"''- -~1,5=32.=co=2,_i--"-B4"'1.~10c.;'!_ _~69,0~.92"'i-!_ _ _ __,,98ec.4llc=...i
                                                                                                                                                                                                                                                                         0

UNKNOWN           !CENTEGRA HEALlHSYSrEM                                                         JcePT 4698              - - - - - - - - - - - + !----~OLSTREAM, IWN01S60122                                         ~;1?P.: ..~---·. ·--------84_1.0_0+j---B4_1._00~t_ _ _ _ _·l1------'•:::•:e39"-I
14s,.303s597      ITHfCHltnRENSHEARTCENTEROFw                                                    1POBOXS776                                                           laeLFAST.ME0491S                             1.725.oo·            L427.00'       840.21!         586.73!                98.30


                                                                                                                                                      EXHIBITZ

                                                                                                                                                            73
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                                                                                                                                       AEU INTERIM DISTIIIBUTION



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t==='--"'===c=-------------F-==~--------1·-=--,===='-=~--+-----==""---==;----=::=;.-~"=+-------'=-!
21:r3824506
XX-XXXXXXX
               !SHEllA A BOENDER INC
               iFIVETOWNSNEUROLOGYPC
                                                              )  1.040.oo; 1.040.00\ 840.00!.9721165TH 5r
                                                                                              200.001
                                                                                                    .j
                                                                                                       98.27
                                                                                             !222ROOCAWAYTPICESTE1
                                                                                                                                                     !STE 23            /QRlAND PARie, IL 60467-4511
                                                                                                                                                                        jCEDARHURST.. NY11516                                  l.,597.DDl             939.25i         839.25\                                   98.18

XX-XXXXXXX     !sKRMEDICALADVISORSuc                                                         ls60NEWVORKAVE                                                             /LYNCHURST,NJ01011-1S32                      I           95s,oo)              gsa.ool         83s.oo!          120.00!                  98.04
XX-XXXXXXX     PEDIATRtCANES'THESIOLOGIST'SINC                                - - - - +';·•_o_e_ox_38_7D_ _ _ _ _ _ _ _ _ _ _ ___,_ _ _ _ _!rlAXf=~==·ur~84~1~"=,..•~1•~----·I!__.......,l.~06~1.SO=i-;---~1,~04~7~34-'i(c-__en=·cc87c;l_ _-=209=·•c:..1i.-_ _ _.......,•:::•:::.02:._i
XX-XXXXXXX     !INFECTIOUSDISEASECONSUc,LTc.ANTS.=,___ _ _ _ _ _ _ _ _ _ _ _--il""27-'-4o~w=FO"'STE=•~•VE=STE=40~l~--------;-----t'iO!~l:=CAG=O~,'~'6"'06"'2S~-------+---l."'460=.oo=l_ _ _.......,8~37:=.Scc7;-!_ _.,:837::.:.=.57i-----;-----~·~7~.99'-i
,]>2327529____ PROFESSIONAL REHABIUTATION                                                 __ ..!2000 MIRROR lAKE BLVD STET                                              !VILLA RICA. GA 30l80-2U6                              3,866.66i             2,447.54;        837.001        1,610.49]                  97.92

~-66~67_60_~U-'-ES~ER~G~Al~L~EY~•~ASS=aa,;=res=---------------!1"222="°~"~TE~S9_STE~20~7-----------+-l----+is_u_FF~e•~N•NY,_1oe_01_ _ _ _ _ _ _+-------'1,05=s=.ooc+!---~1,~os=s=.oo.c;l;---•=35ec·cccooc;l                                                                            220.ool                  97.69
XX-XXXXXXX     iCARDION~                                                             ·····-··-·-1PO so~•~•ccl7566=----- - - - - - - · - •..-...:,        ·-~···•••M• _ _..,lcc80ST=O=N~,~=-··~-'-·o"''=-"~17~5~66~-----i:----=s"-,70=0=-00.c;i,__ _ _cc83=S-cc00c;l_ ___,8=35=,.oo~l_ _ _ _   ➔J____....::9c;7I,::,9'-I
145-2842251    lwESTBENDCilROPRACTICU                                                        <UOSCHESl'NUTSTSTEJ                                                        lwesrBEND,Wl530!ilS-3060                     l         1,274.00;             1,039.35!        834..60!         32S.1sl                  97.64
20-385869&     'ARMANDGCAa:tARELUMDPc                                                        iPoeox681                                                                  IROSELAND,NJ070EiB0681                       I         4,200.ool              834.461         834.46!                 .!                97.62
13-32785S2     MEMORIALCARDIOPULMONARYGROUP                                                  POBOX26668                                                                 !NEWYORK,NY,10087                            I         1,175.00:              874.61!         B34.11!           40.sol                  97.SS

XX-XXXXXXX     !uNMRSITYEYESPECUAST                                                          !676NSTaAlR                                             !su1TE1SOO         lom:AGo.n.60611                              I         1,360.oo;             1,356As!         833.ool          523.451                  97.45

i06-1366991    srAMFORDOPHTHAI.MOLOGYL LC                                                    lw1 WASHINsrDN BLVD     m   101                         !                  lsrAMFDRD, er, 06902                                   1,370.ool             1,310.3al        832.11           4n.s1!                   97A3
4&-0540752     AM PM WAUC-4N URGENT CARE CLINIC                                              195 WASHINGTON AVE                                                         !eERGENFIELD, NJ 07621                       f         1.069.901              917.7B!         B32.78            ss.oo!                  97.43

~.~~~!~~t.    \eMERGENCYMEOfONEOF~ACNES                                                      POBOX638227                                            !                   !oNONNAn.oH4S2638227                         l           832.00:              332.ool         1332.0D               J                   97.34
39-600S658    \CTYoFwHITEWATER                   ..                                          W62N244WASHINGTONAVE                                   !                   lceoARBURG,w153012                           !           831.50!              B3LSO!          831.SO,                 _1                9128

XX-XXXXXXX    iPHYSIOAN 51::RVICESCORPORATION OF                                             iPO BOX 504398                                                            !SAJNT LOUIS, MO 63150                                  1,138.00i            l,024.20!         831.08           193-12!                  97.23

1,3e.c7•.::ll:::Bl.::l94=-l!Me:E,:,Me,Dc:,RIA=L•:.:.H:.el'S:,:ICIA=NS"-se=""'"'CE"'--·--------------.;!\p-=o-=eo=x::cl.9='•~•-------------!----~l.::s•cc•"''"="A"'E"'LD",.,,n.-=•2~794=-9:::2=63c...._ _ _ _;...._ __:1:,::,4,::97ce.OO:::.;. i_ _ _1~,os_o_.s_1~1_ _83~•~-7~11;-_~22=•.10=;-l----~•1~.1=•-1
XX-XXXXXXX     lwiWAMWBACKUSHOSPrTAL                                                        !POeOX4lB866                                                                !BOSTON,MA02241                                         e1us!                 830.54!         830.54                  -!                97.16

s1-1os1111     lsoUTHERNEMERGENCYMEDICAL                                                    !POeOX36218                                                                 !LOUISV!ll.E,KY,40233                                  1,951l00!            1.9s0.ool         830.oo,         (37o.ooJ!                 97.lD

XX-XXXXXXX     !REGENTS UNIVERSJtY OF CALIFORNIA LOS ANG                                     .10920WILSHtRE BLVD SUITE 1100                                             !LOS ANGELES, CA 90024                       I         2.938.oo!            z.497.3ol         m.10!          L667.50I                   91.01
72-1ss1134     !sr JOSEPHS Hos MED era                                                       ALE ss84s                                                                  ILOS ANGEL£S, CA 90074-5845                  I         4,900.00!            3,&t1.3o;         829.01,        2.782.29l                  96.99
58,,1612729   ~NGMD                                                                          1349DRUll>PARKAVE                                                          iAUGUSTA,.GA30904-S723                                 1.()65.00:           1,042.92!         828.33!          169.59i                  96.91
XX-XXXXXXX    ~=U!!:N'-"M!!:0'-------------------,!f!:ts::.:7,:.5:cSR::::O::::AD:.:.W.::1":::Y="------------+-----.!H::,EWLETT==,.:::NY:;;115=5::.:7·.=140!2:::8_ _ _ _ _-ti--~l,:::62=0.:::;00',\----"8:.::2:::7.00e,)'l-j!_ __,,8,,,270:.00"f----"'.,_"'oo"','l-1-----"
                                                                                                                                                                                                                                                                        .."'_7"5c,I

XX-XXXXXXX     lvismNG NURSE HOSPICE OF FAIRFIELD COUN                                       !22 DANBURY ROAD                                                           !w1LTON, CT06897                             !         1,033.ooi            l,033-<IOi        826.40           206.601                  96.68

XX-XXXXXXX     'DRELLENMARMUR                                                               112EAST87THSTREETSTElA                                  !                   IN£WYDRK,NY10128-Cl501                       I         3,324.83;             1,150.341        826.18!          329.16!                  96.65

XX-XXXXXXX     !LAS VEGAS VAMC                                                              16900 NORTtl PECOS ROAD                                                     !LAS VEGAS, NV 89193                                   5,463.41!             l,67L4S!         825.84           84S.61i                  96.62

~3810564       LEONKAVAt.ERMDPC                                                              !68EAST86THSTREET                                                         lNEWYORK,NY10028                              I         1,100.00:              823.74!         823.74                  -1                96.37

6~~!3~380~-+1L
             CAP=IT'.~A=L~D•~Gesnve==CAR=ec:LLC~ ........._..... -··-·-·-·-·-·--.. ---------f-!P-"o"'eo"'x,.,,"'122=•------------+!, _ _ _ _-tl8At=TI:=MO=RE=•c::M::Dc:2c::l29=.7_ _ _ _ __,1_,_~i:,='•=3::;ol___....:,I,:,37~•3=0::;!__..,a:,:23,:.54"+-j___s,cSOcc-"'76,c!_ _ _ ___,s:::635==-i
61·1238190     iHoSPrrALOFLOU1SA1N                                                           POeox60990                                                                 lsnouis,Mo63160                              f         1,029.071              823.26!         823.26,                  1                96.31

XX-XXXXXXX     !SE:GUINTEXASEMERGENCf PH                                                     3SOOGASTONAVE                                                              !DAU.AS, TX75246                             !         1,225.00[              822.98;         822.981                 -1                9628

XX-XXXXXXX     THIRDCOA51'EMERGENCYPHYSIOANS-                                                .551HIUCOUNTRYDR                                                           !KERRVU.LE.1X78028                           I         1.225.00i              822.98)         822.98i                                   9628

XX-XXXXXXX     MEOSTAR SURGICAL & BREATHING EQUIPMENT                                        iPO eox 825551                                                             IPHnADELPHJA. PA 19182-5551                            2.613.so!            1,201.99~         s22.B3l        1,.012.soi                 96.26

XX-XXXXXXX     A-TECAMBULANCE                                                                IPOBOX6639                                                                 !CAROLSTREAM,IL60197-6639                              5,022.40(              822.40;         822.401        4,200.00!                  96.2.1

XX-XXXXXXX     p M PEDIATRICS PC                                                             !i HOU.OW lN                                            STE 301            !NEW HYDE PARK. NY, 11042                              1,699.74;             1.274.81~        822.18    i      452.63(                  96.19

XX-XXXXXXX     arvoFWEST SEND          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ lw62N244 WASHINGTON AVE                                                                                      .ccw.,.,1530=12~------+---'1."'02=1:=.so=;...'----=1-=,02::1.,,.s"'o!c---'•==22=.2=•::il---=20S.S==,sl,__ _ _.......,•c:•::·"''-I
                                                                                                                                                     1_ _ _ _ _j~cs=DA""R"'s"'u"'RG=••.
~.~~~~~. -J~NAU PMAJMADARMD. _....                                       ------+-i1SS~•-•-·BA_RRJ_N_GTO_N_RD
                                                                                                           _ _ _ _ _ _ _ _ _ _ _!,..ST_e_so_,_B1.D_G_2_..IH_o_FFMAN
                                                                                                                                                               _ _esr
                                                                                                                                                                    ._A_T_es~,11_60_16_•------;----82_2.oo_,_'._ _ _ _                                a22._oo!--·-·-· s22.ooj..               -i                96.17
B0-0607953     :.~NTIST'HEALTiiPARTNERS.~!:JC                                        --t'!l~69~55~CO=LLECTIO=~NS-CENTE
                                                                                                                 __         _ _ _ _ _ _ _-+1____ !~0il-CAG_,_O~,_ll_606~93_-0_l~69_ _ _ _ _ _,_._~2,23=8=.00.c.:,--_ _~2,~05...,6.~96...,,_ _~8"'21~.44'-'-;-;--~l,235=~52=+i----~•~•·ccclO,
                                                                                                                       R_DR_Me
                                                                                                                                                4
47.1373634     IREDMOUNTAINEMERGENCYPHYSIOANS                                                iPOBOX38D66                                                                IPHllADELPHIA:PA19101                                    912.00               820.BD1         820.80,                 _j                96.03


                                                                                                                                                   EXHIBIT 2

                                                                                                                                                         74
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                                                                                                                                                    AEU INTERIM DISTRIBUTION



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 XX-XXXXXXX         !PADDOCK LAK~E"'FAM="~·~•RACTI=~CE=s~c_ _ _ _ _ _ _ _ _ _ _ _-j·~,13~7~23=6TH=A~VE~ST£=10~3~----------i:-----"!SA~lf=M=,Wl~·~S~31~68~--------t---'=·06='-"'00':-!------===':.::•i-f--=820=·';:;•!_ _ _ _..c·;-j-----"'••:::.0::2-1
  31-1.368946       )AMERICANHEALTHH□LotNG                                                        74DDWESrCAMPUsRo             lF-S10             iNEWALBANY.OH43054                            &20.00:             120.00:        sio.ool                J             95.93

  XX-XXXXXXX        lsrARUNGPHvs1cANS                                                            lPOaoxss1                                        \RoC1CYHlLL.cr06061-0ss1                    1,ns.00:            1,03&.11!        819.54!           s23.38\            gs.as

,.•~s-~S4~•~9121=-,i~••~•~•m=~'A~M!LYOilROPRACflC.LLC                                            lssoYALEAVENUE                lsurre29 --f!w~A=W~•~G~FO~RO~·~CT~064~•=2~-----+---•=s=2.=oo~·------=•=1.9=·00=-;--=81.9=.ooc;·!_ _ _=""=·oo=-;..!_ _ _ _....::;95,::.8::1-1
  s&-1843015        !SOUTH LAKE PEDIATRICS                                     ------tl~PO~•=o~•=so='""'"~'-----------··--L.... _·---+ICHAR==LO=l:!-~~•~c=2=•260=-------··----- _,___________   91s.oo!             a1a~J-!_ _ _   s1B_.2S i_ _ _ _-r-----~95~.1~3-1
                                                                                                                                                                                                                                          71
,_2_&-_21.9_259_•_~\_RAS_v_1NST1T1JTE__ FOR 1~EGRATIVE MEOl□NE AT NORTHWESTERN                   IPO eox 11033                 !                  1oua.Go. IL 60611-0033           1
                                                                                                                                                                                   ,            895.00;             842.Sol        817.soJ-_ _ _zs_._oo+:_ _ _ _-"-     95'-'_..'-'--I
  ~r~1625673        [NORTHSIOE URGENT CARE HOLDING UC--··---                                     IPO BOX 934218                       ----j-'iA_TIA_NT_A.~G_A_3_11~•~3-4l=l·~-----+i_ _ _l,44~~3.00'-+!----'1,443.(l==o;-!--=.,='=_;;.,c;:! ---'5"'06.=00=;-i_ _ _ __..:,95=5=•-1
  XX-XXXXXXX        iROBERTSWIESENMO                                                   ····-···-l2SMONROEsrREET        .....--+.' """             jemOGEWATER.NJ088D7-3043                                                            I
                                                                                                                                                                                              1,200~.~:,__ _ _cc.,cc•·cc'•°'!_ _..c.,=4.-"78=r-·---~-------=9::,5.3:::2:.-i
F3c=-9-,=20c,15:::lc.78c._-l;'-'FOC:RT"-.A.:.:.:.TKINSON EMERGENCY PH\"S                                          i6400 INDUSTRIAL LOOP                                           !GREENDAlE, WI 53129                                            1..%62.00:                 813.40~            813.40j                                          95.16
 n.0356364             IRAVI PATEL MD INC                                                                          6501 TRUXTUN AVENUE                                            !BAKERSFIELD, CA 93309-0633                                     1,02s.oo:                  sss.ooi            au.co'                45.ooi                     95.11

 XX-XXXXXXX            jCATALYSTANESTHESIAGROUPUC                                                                  26413NETWORKPLACE                                              f0-11CAG0.1L60673-1264                              I           1.m.s.00                 1,ois.ool            su.ool              203.00!                      95.oo
 XX-XXXXXXX            !PATHOLOGY&tABORATORYMEOICtNE                                                               3300BUCXEVERD                              !m178               !All.ANTA,GA.30341                                              4,598.00                 1,325.15/            811.20[             513..951                     94.90
 XX-XXXXXXX            l,ovae1SHCP                                                                                )900ROUTE134UNIT3-28A                                           lsoUTHOENNlS.MAD2660                                              sio.ooi                  s10.oo(            s10.ool                    -!                    94.76
 XX-XXXXXXX            lcrrvoFTAMPAFLA                                                                            fpoeox23087                                                     lrAMPA.FL33623                                                  1,GZO.ool                1,458.00:            s10.oo[                                          94.76

 XX-XXXXXXX            !MARCSTEVENMANDELMD                                                                         POBOX2876                                                      lWESTRe1D,NJD709t-2s1&                                          4,200.ooi                1.440.ooi            809.&0!             530.401                      94.72
 XX-XXXXXXX            lruxtoo PEDIATRICS PllC                                                                    f257 LAFAYEITE AVENUE surre 290                                 lsuFFERN, NY 10901-4331                                           970.00\                  ssa.90!            808.90!               so.001                     94.63

 ~J.360$2g             !sPECT'RUM HEALTI-1 URGENT CARE                                                            !ro BOX 2127           !GRAND RAPIDS, M1,c.c••:::•ccc01"-------i----''"'464=5cc•._i----='•cc64.cc6.=33=iJ-i---'808=.'-'79,.[_ _.=1.54=3=·•=;6i-i-----'•"'•=·•24
                       l                                                     lroooxsm                                                    leELFAST,ME.,,;s,~-,m•                               808.IJ0;             sas.oo!            i
                                                                                                                                                                                                                                    808.ool             .\                 04.53
 ::::·-··t:::::~·e.~'-'•"u."'EY'-':"'M"'E"'RG::oENCY=---------------lccPO'-'eo=x.::;53'-'-5-'---------------i------+'IBALD=-=Wl'-'NS-"Vl=IJ.E.==NY'-'13"-02'-'-,-----+---,-'.260=.oo==;-!----,-=.oo::cB.00=;..!--=806=AD=il---2-01._oa...;..l                                                                                   -----."'•"'.34"-I
 XX-XXXXXXX            l1ACKWHUTTER                                                                               f422suMMrrAvE                                                   !ocoNOMowoc.wts3066-3749                                        1,323.00!                1,151.32i            sos.90!             345.39J                      94.28
 XX-XXXXXXX            '
                       IRAHULAPATELMD                                                                              12989 SOUTHERN BLVD STE 204                                    !LOXAHATDIEE, R.33470                                             920.ooi                  920.ooi            sos.ool             1ts.ool                      94.18
 20-00340()3           lrnlA ORTHOPAEDIC CENTER lLC                                                                POBOX14SO                                                      1M1NNEAPOUS,MN,SS48S                                            t.1Ss.ool                  912.ui             804.12]             161.40]                      94.14

 XX-XXXXXXX            iTHeoaoRA PANTELOGLOU, DO                                                                  b143046AVE                                                      !BAYSIDE, NY 11361-3361                                         1,260.00:                  803.03!            803.031                                          93.95
32~022179              !0-1R1STINA G STEl MD                                                                      !125 w 2ND STREET                                               !HINSDALE, IL 60521-3287                                        1,940.00,                1,39s.9sj            ao2.12l             583.261                      93.91
 XX-XXXXXXX            !FAMILY CARE PA                                                                            !257 RTE 22 EAST                                                IGREENBROOK, NJ 08812-1807                                      3,446.DO                 l,U0.93!             802.35!             32gss!                       93.87

 :ZS-188~146 ··- ..    ;CAJUJSLE REGIONAL MEDICAL                                                                  PD BOX 281442                                                  !All.ANTA, GA 30384-1442                            l           1,251.75 1               1,001.40~            8D1.4Di             200.00i                      93.76
 22-3461U7             !ENDOSCOPY CENTER OF OCEAN COUNTY                                                           4n LAKEHURST RD                                                hDMs RIVER, NJ 08755-6342                                         9102s!                   so1.02f            so1.02!                    .!                    93.71
F,=-0-0=-,=a,=42=2'--t!CAR==-O.=YN=IJ.-=C=0-".=~===~-------------;-2~0~W~K~IN2l~E~ST-ST£~11-30-----------;-----1:·~-ICAGO, ll60610-6392                                                                                                           1,069.60[                1,069.60~            801.00i
                                                                                                                                                                                                                                                                                                                    268.6D!                      93.71
 26-4n3173 ....leUTE SPORTSMEDIC,::N,oE.::.IN:::STITU=:.::TE,_,c"-':ro"--------------+'PO=BOc=cXcc3=Z3=1"---------------I                                                         iOAK BROOK, IL60522-3231                                        1,&10.00!                  972.38~            800.93!                                          93.70
 2s-191iso32           lcoRRIDORANESTHESIA                                                                         73sovANDUSENROAD                           surre230            ILAUaEL.Mo20101-s263                                !             soo.ooi                  aoo.ooi            soo.ool                    -I                    93.59
 31-1&21212            IMD2XSC                                                                                     POBOX486                                                       iLAKEFOREST,IL60045-0486                                        1,000.00:                1,000.00!            soo.ool             200.00 1                     93.59
 3&4836347             iPALOSIMAG1NGLLC                                                                           !Poeox834u                                                      iCH1CAG0,1L606s1-3413                               i           1,000.ool                1.000.00!            eoo.ooi             200.ool                      93.59
                                                                                                                                                                                                                                                                                                         1                  I
 XX-XXXXXXX            !DALEJ1ANGEMD                                                                              l,oeox29234                                                     1NewYORK.NYJOOS7.gz34                                           4.110.00\                3,97s.ooi            soo.00            3.175.00·                      93.59

 41-2s202os            IEUEN MANOS MD                                                                             !936 AfTI-1 AVENUE sum: 2                                       !New YORK, NY 10021                                 I             800.oo:                  aoo.ooi            soo.oo!                                          93.59
 XX-XXXXXXX            !DDECANESlltESIALLC                                                                        !POBOX291323                                                    :NASIMUE, TN3nZ9-1323                                             BOO.ooi                  800.oo!            800.oo!                    •!                    935g
 XX-XXXXXXX            !ISLAND EMERGENCY MEDICAL SERVICES                                                          PO eox 74655                               I                   !ruveLAND. OH44194                                  !           1.oso.ooi                  945.oo~            799.921             145.os!                      93.58

 XX-XXXXXXX            iSTJOSEPHHOSPITAL                                         -----------+6_00_2_R_ELIA_Blf_PARKW
                                                                                                                  _ _A_Y_ _ _ _ _ _ _ _ _ _ _                +_ _ _ _ _!.cCli=ICA=G=O,'-"ll'-'6-"06'°8;:;.6_ _ _ _ _ _ _i-(_·~---=-~=1:.2:4~9c=.00:::-=.-=.-_-_~---_:9'-'9:9:.2"'"0C,-!~-::~..~799=~..3036=1l!-'-·--·--·--·==l:99:.84::1==========93:.5:2~
 XX-XXXXXXX ___ _j~~~/.ELS KESSEL MD                                       -···----•M••···                                                                   1
                                                                                             ----------;!=,100=w~H~ITE=Ho=""'=HA_M~'•~ro~• _ _ _ _ _ ----~---~---'.HAMILTON SQUARE. NJ OS691r3540                                                                                   79             9
                                                                                                                                                                                                                                                  1.110.001 _________ 799.3_oc,l_ _~=+-------,-!,-----'9~3~51"-I
 XX-XXXXXXX            IANESlHESIAASSOOATESOF KANSA.Scrrv PC                                                      lPo eox 801185                                                  iKANSASCnY. MO 64180--1185                                        999.00'                  799.20\            1992oi                                           9350


                                                                                                                                                            EXHIBIT2


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                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 99 of 266 PageID #:11195




                                                                                                                                     AEU INlcRIM DISTRIBUTION



wa1~~,,z~~r.:~~;1-.it;"•. .-::.,_-~--~- - ~·- -~ ~:·~-w-;,, _,-:·-•-~Ii~-                                                                                                                                             -~,. . -- ,
XX-XXXXXXX      !LAUREATE MEDICAL GROUP AT NORTH.SIDE                                            lsso PEACHTREE sr NE                          !STE 1SS0        !AilANTA. GA. 30308                      l        ~645.00~             1,11s.02!       796.931       131.09!    93.23
XX-XXXXXXX      iM1KHA1LG1.E¥ZERDOMD                                                             111sEASTs1THSTREETt6FL                        ·                !NEWYORK.NYIOIJl2                        I          ggs_;--             19s.oo'.       196.ool             -i   93.12
XX-XXXXXXX      !AM-VAN                                                                          1315 MARLBORO RO                                               !LOTHIAN, MO 20711                       !          995.0Q;             995.00;        796.00        199.ool    93.12
1'7~4-~309=1•=92~-tlP~IN"NA=CLE="""'=•~==A~TI~o•~•~ETW=o~•~•~t1"c_ _ _ _ _ _ _ _ _ _ _-+l1~•-•~EWT~o-•~•o~u~•-rr~1~01~----------;-----!,_P1A1ST~-□~W,NH,D3865                                                     t,137.ooi         ,_;n1.ooi          795.90(       341.10 1   93.11
62-186S474                                                                                                                                                                       795.56!       200.0D!
                jSAINTTHOMASMIDTOWN=H=O=SP~IT=AL~-------------"IP~O~BO~X~50=1JJ46=-------------;-----'e-ST~ID=UIS~,~,.;..._~-~;;.~1=50~-------t--~1,2=44=.4..._5~:_ _ __;985=.5=.6----'-'='i----==!~                                                                            93.07

2D-832990_7_~lco_AST~AL~•~eo_1A_:ra~1_c_ASSOC
                                         __IA_TES_PA____                                                                                                                                                         794.ooi
                                                                ---------f-lP=O=BO::.:XcclB=-6=1"-•------------+------tl~•'="~AST=.M"E'-'04".9"1S-4:c..cDB=1------+----'•,03=s.=oo~-----•::.:19:::,:::.::00'._ _ _ _-t-_ _2,503.741
                                                                                                                                                                                                                           ~--1~                                                92.89
XX-XXXXXXX      loPHTHALMJC CONS OF BOSTON                                                       Isa STANtFORD ST m     600                                     ieoSTON, MA. 02114                                1,541.ooi            1,530.70~       793.70        ,,,.aol    92.85
13-321s54s
                1MEMORIALDEVELOPMENTALCHEMO GROUP                                               IPo aox 26668
                                                                                                                                     ------;r---                JNEW voRK•. .!'.1_'!._tn~DB~1~_..~..
                                                                                                                                                                                                                           1
                                                                                                                                                                                                  ~-----,----1,2B=•~·oo..._·+' _ _ __,s"'9a.soi
                                                                                                                                                                                                                  1,852.00 1
                                                                                                                                                                                                                                                       79350;
                                                                                                                                                                                                                                      1,072.:;;e-1---==t
                                                                                                                                                                                                                                                                     1os.oo!    92.83
35--1.974765    !GOSHEN HEALTli S~MSINC OBA ~RIME·CA.;- - - - - - - - - - - t / p ~ Q ' - ' B O = X 8 3 4 = ~ - - - - - - - -                                   /GOSHEN, IN 46527~
                                                                                                                                                                                                                                                   793.0S            ...3,/     92.78
XX-XXXXXXX      !K1PS BAY Al,IESTMESIA                                                          ls35 2ND AVENUE                                I                INEW YORK. NY 10016                               1.600.00!             792.00!        192.ool             -1   92.66
XX-XXXXXXX      !ASSOCIATED ALLERGISTS AND ASTHMASPECIAUSTS Lm                                  !1100 REUASLE PARXWAY                                           !011CAGO, IL 60686                                2,352.00i           1,111.so;        792.07       1,377.561   92.66
                                                                                                                                                                                                                           1
XX-XXXXXXX      !CENTER FOR ADVANCt:D PEDIATRICS PC                                             !s1 EAST AVE.                                                   !NORWALK. CT, 06851                               2.023.15              892.04;        790.oai       410.16!    .92.43
XX-XXXXXXX      !ALEX REYENTOVIC-t                                                               NYU CARDIOLOGY ASSOOATES                      !PO eox 415662   leosrON, MA 02241                                   790.00!             790.00{        790.00(                  92A2
27-4S91786      !IMAGING ASSOC OF INDlANA PC                                                     7S REMITTANCE DRIVE DEPrU62                                    lot1CAGO, IL 60675-1162                             790.001             790.00l        790.00!             -!   92A2
XX-XXXXXXX      ieatGHAMANowoMANSHOSPrrAL                                                        7SFRANCISST                                   I                ieosroN,MA0211S                                   ~1&.oo;              :t.440.421      789.44!      uao.02i     9236
i=1:,:3-:,:3444=72:,:6,c_41MA=N:,,:HAe,J'C=ANe_5e,Ue:,RG:,:l::::CA:,:L::,ASSO=OA=TES=llP"-------------i'i25=E=69TH=ST:c...._ _ _ _ _ _ _ _ _ _ _ _-f!STE=1=-----,IF,""'EW"-Y'-'0=""--NY.~•1_0D_2_1_ _ _ _ _ _-;---~1·~106.D_D_,'----·~79~3~5c.;,i_ _ _ _t - - - ~
                                                                                                                                                                                                                                                     78935       90.ool
                                                                                                                                                                                                                                                                    4---        9235
 XX-XXXXXXX        ;aoTHMAN INSTITUTE oF NEW JERSEY PA                                                       PO eox 15407s                          !                    !PH11AD~ PA. 1911s                    I       us2.00!           1.226-ool   789.00i    337.001         9231
                                                                                                                                                                                             ~9~.DD~!---~..
F."'._"',129=64'-"1~..,,qccuc:e:..:N'Tlc:.:Nc:,M:..:Ee:Olc;CAc;Lc:G=-R=O'-'UP=llC==c..c..c._-----------+,.~,w~H~ITES~~Hl~LL-LN------------t,----,,.-,,A-IRA-ELD-.cr~D682~4-~2~177~-----;--~~..           =9.DD=;-l--~=                                                 60.DO!
                                                                                                                                                                                                                                                       789.ool                  9231
S8-2483738      iATlANTA WOMENS HEALTH GROUP II LLC                                              PO BOX468329                                                   [AllANTA. GA, 3U46                                1,288.00)             915.911        787.431       US.48! '   92.12
XX-XXXXXXX      !EPMG OFIWNOISS C                                                                iPO BOX 95968                                                  !olClAHOMA crrv. OK 73143-5968                    1,884.001             786.601        786.60\       9ss.so1    92.02
XX-XXXXXXX      iQuesr DtAGNOSTICS LLC                                                           5511 COLLECTION CENTER DRIVE                  !                !ouCAGO, IL, 60693                                S,869.14]           1,434.73!        785.94        678.591    91.95
21-197soo1      !ATHENS REGIONALSPECALTY                                                         jpo BOX 161435                                I                !ATLANTA, GA 3D321-1435                  I          906.oo!             906.0oi        786.001       120.001    91.95
91-177D748      ls.o.NFORDCJNICNORTH                                                            !p0B0x21SB                                                      lFARGO,NDSSto?-2168                               2.S6Lool            1.147.11:        7a5_45j       545_72i    91.89
4S-.1365260     !HEWLETT URGENT CARE PUC                                                        !3ao ROCKAWAYTURNPJXE                          l                lceDARHURST, NY 11s1&-1122                          90s.ool             845.ooi        785.00)             -!   91.84
36--3428607__   lADULT & PEDIATRIC ORTHOPEDICS sc                                               lsss CORPORATE wooos PARKWAY                   l                1VERNDN   HW, IL 60061-3111                       1,422.ool             956.03:        184.sol       171.531    91.78
                                                                                                                    1
i.c9.c::>·o,17:,:53e,D"'75,_·4
                             ··1N:::O~llTH=W:,EST:c..,E,::M:=ERG='":::CY=PH:.::YS1=0:.:'"c:.:5c:;LLC=-------------f11PO=BO=X=6=34-"'=2D'------------+----+-!F1C1N~o=•~•~~~:n.~o~H~•=52..._63-472~=•'-----t---=9=22.~oo=!+-----"183=.1•=;l                       -l
                                                                                                                                                                                                                                                    ---==,f------+---
                                                                                                                                                                                                                                                       783.7Q                   91.69
65-o836417      !uNDA BERLIN PSY D & PSYCHOLOGICAL                                               1725 N UNIVERSITY DRIVE SUITE 350                              !CORAL SPRINGS, FL 33071                          1.425.00!             883.lSj        783.15        100.ool    9L62

1
 1,=.6-<l=5=22=39=1=--..,ITElCAS==EAR=N=OSE=&ccTHR=OA=T=5PE=OAccusrs=cc•cc.A_ _ _ _ _ _ _ _ _ _ _+1="'~40 NGESSNER DR                          Im 310      ___ JHousroN, TX 77064•U40                             2,624.COi             782.91i        782.91              -1   91.59
21-0901S61      i1NTERVENTIONAL PAIN MANAGEMENT                                                  11-r.i CEDAR LANE                             Im F             !TEANECK NJ 07666-43D4                              sai.ool             aS2.oo !--~=t--
                                                                                                                                                                                                                                             782.00!    ----;------=
                                                                                                                                                                                                                                                      100.00!       91A9
XX-XXXXXXX      !SAMARITAN IMAGING CENTER                                                        PO BOX 179S9                                  I                ILOSANGELES,CA90017-«J959                         1,042.30!             781.12!        781.12!                  91AS
                                                                                                                                                                                                                                                                I
si-0736354      leRGENTMEDPRIMf                                                                  is248NEWJESUPHWY           !BRuNSWtCK.GAltS23-t211                   3,472.00!                                                       1.231,97j        781.46'      1.091.51!   91A2
XX-XXXXXXX      \=1M"'os=,LE=M=,o=-,=="",MA'--G1-NG-sc---------------+1~9~01~R~AYM~O~N-o-o•-m-,-.----------;-----lt-,N-ORTH_B_R_oo~._- .. ~6006=2~-673=9-----:----,~.416.oo!                                                            975.34!
                                                                                                                                                                                                                                                       780.26        195.DBI    9128
                                                                                                                                                                                                                                                                           I
XX-XXXXXXX      ;RPMEDICAlU.C                                                                    l2100AIRYRO                                   ISTE239          !KAHULUl,Hl96732·2986                               840.07!             840.o/         1so.01i         60.001   91.26
2cr1aso3os      IINNOVATIVE SPINE CARE MEDICAL                                                   !11« EAST ruDGewooo AVENUE                    I                IR10GEW000. NJ 07450                              U,45.ool              s10.oo!        1so.oo!       130.00!    91.25
XX-XXXXXXX      !HIGHLAND HOSPITAL                                                               iPOBOX4107                                                     !otARLfSTON, WV25364                              4.899.00'            2,475.00)       1so.ooi      1,695.001   91.25
XX-XXXXXXX      !ROBERT DICK ROSS MD                                                             ]PO BOX 12783                                                  isELFAST, ME 04915-4018                             780.oo'.            780.ool        ,so.ool                  91.25
XX-XXXXXXX      hRu~ESOFCOLUMBIAUNIVERSrTYIN                                                     JP□ eox:za064                                                  !NEWYORK.NY,1oas1                                 2,n9.oo;             i.~~~\          779.80\      l,063.48i   91.23
02-07221.90                                                                                                                                                             779.31!   1,935.951
                IM1DoLESEXENDOSCO"PY"-CE=NTE=•---------------,ir-PO~•~o~x~984~------------,·1-----+IA_vo_•~•_cr_D61J_o_1_ _ _ _ _ _ _ _+-_-~2.ru_2_6+'---~2,~7~15~2~6::====~:=-=;---==c;.                                                                                       91.17

31.o817430      !KE1TERING PATHOLOGY ASSOCIATES INC                                              !PO eox 932783                               -.                !a.EVELAND. OH 44193                                779.00 !            779.00:        779.00!             .I   91.14


                                                                                                                                             EXHIBIT2

                                                                                                                                                   76
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                                                                                                                                            AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                                                                                                                 91.11
56-U49sn         !Au.atGY PARlNERS PA                                                           hGOs FOREST AVE                                           !STE 103         !RICHMOND. VA. 23229                        !         z.ss9.oo:            1.440.00~        778.sol         1.478.DBt                 91.08

3.....a7540      !FAMILY CARE OF LAKE COUNTY SC                                                 isooPARKAVESTE104                                                           LAKEVILLA,IL60046                                     800.60!               777.16)        1n.l.6                  -i                90.92
45-484neg        !KIMBERLY EWRIGHT                                                              1763FREEDOM DR                                            lsre111 --+=,====-----+--==;---==,...,
                                                                                                                                                                     NAPERVIUEIL60563-3SS3 / 1,99s.oo: 1,14435(      776.88;   367.48!     90.89
                                                                                                                                                                                                                ---'--'-'=!----_...e!C=J,---~~
                                                                                                1
01-061TT76       !NEW YORK PRIVATE MED IMAGING                                             !
                  ========c=...______________l=:650=1ST=AVE=2N=O'-'FLOO=R'-----------!-----+•:=EW.c:.:.YO:::R:::IC.c:"':::..:c'001=6=---------+---1,""B7=0-00=i                                                                                       1,841.48!        776.481         1.065.00!                 90.84
XX-XXXXXXX       !LOUIS TSAROUHAS                                                               12999 PRINCETON PIKE                                      [STE 3           iLAWRENCEVILLE, NJ 08648-3261                         1.910.00:            ~120.00}         775.50           344.SO!                  90.73

-~:!"~9388       VCC COUNSElJNG INC                                                             !460BRIARGATEDRSTE700                                                      ieLG1N,IL60111-2284                         I         1,600.00!            1,1ts.~          ns.sol           340.ooi                  90.73

XX-XXXXXXX       JS1_GMAHEALTH PC                                                          ....... _!10640165TH Sf                                   _   __,___ _ _ _ ---l,.ccO~LAND_PARk,. IL.,c&c,c046=7------,!-····--·~-01.5--00~!_ _ _ _,.~12_4_
                                                                                                                                                                                                                                                    ...
                                                                                                                                                                                                                                                     ...,:,-_ _77=5-~00c,i_ _         ~l.3()4=~-•~·l~,-----'90=.6'-l7
XX-XXXXXXX       !ANGELA WllSON PENNISI                                                         12869 N LINCOLN                                                            10IICAGO, IL 60657.&945                               1,200.00:            1.,200.ooi       ns.oo!             42s..ool              9D.G7

XX-XXXXXXX       'oRSKANEANDMISAWALLC                                                           '33 W HIGGINS RD. SUITE' 820                                               !soUTH BARRINGTON, IL 60010-9136            !         3,160.ooi            1,403.0li        n4.83            628.18:                  90.65

XX-XXXXXXX       RADIOLOGICAL PHYSJCIANSLTD                                                     !POBOX21SO                                                                 ieEDFORDPARl(.ll60499-21SO                             790.oo!               774.25i        774.25j                 _j                90.SB

XX-XXXXXXX       WELLNESS OASIS, LTD                                                            1120s.NORTHWESTHIGHWAY                                                     iBARRINGTON,IL6001D-4620                              2,200.00!            1,890.DDl        774.ool       (1,3s1.001!                 90.ss

XX-XXXXXXX       INFUSYSTEM INC                                                                 IPOeox2044SB                                                                DALLAS, TX7532D-44SB                                 2,S?s.ool              773.ui         773_12i          sa2.00!                  90AS
XX-XXXXXXX       iPAUL VAN DEVENTER MD                                                          !1200 PINNACLE PARKWAY                                    ,surre 3         lcoviNGTON, LA 70433                                   848.16 1              772.93;        n.1.93j                 -l                90A3

XX-XXXXXXX       !KOLB RADIOLOGY                                                                !63SMADISONAVE16THFL                                                       iNEWYORK,NY10022                            I         1,sio.ooi            u10.oo)          m.60i           1,037.401                 90.39

XX-XXXXXXX       ENDOSCOPY CENTER OF COLO                                                       !2940 N CtRa.E DR                                                           COLORADO SPRINGS. oo eo909                 I          965.ool               965.ool        772.00j          193.001                  9032

XX-XXXXXXX ... {GREENWICH CUNOAL PATHOLOGY ASSOC                                                !99 EAST RIVER DRIVE 5TH FLOCR                                              EAST HARTFORD, Cf 06108-3212               i         1,943.DOi            1,.501.sot       77I.84i          7Z9.96i                  90.30

~~1541280        iGARY D WASSERMAN MD                                                           !a4480 PO BOX9SOOO                                                         !PHILADELPHIA. PA 19195-4480                          2,oss.00!              912.00!        77L60            200.4D1                  90.27

XX-XXXXXXX       !PARKSIDE PEDIATRICS PA                                                        i52SVERDAEBLYD                                             SUrTE2(10        GREENVIIJJ:,SCl:9607-4021                             989.oo!              810.98:         77D.98!           40.ool                  9020

XX-XXXXXXX       iotASE OENNIS EMERG MED GRP INC                                                tPCBOXG.34718                                                               CNONNATl,OH45263                                     1,028.oo!              771.ooi        77LOO                   -!                90.20

XX-XXXXXXX       AUBURN MEDICAL PC                                                              IP080X2005                                                I                !EASTSYRACUSE.NY13057-4505                             770.00;               770.00,        110.001                 -!                90.08

XX-XXXXXXX       ,GERARD BEGLEY                                                                l38SROUTE24                                                !                iDIESTER.NJ0793o                                      2,920.00!            2,920.00!        768.ss!         2.15us!                   89.9S

22·3464030       IMORRJSANESrHESlA GROUP                                                        !GPO PO BOX 26960                                                           NEW YORK. NY 10087-6960                    !         2,225.001            1,.722.SD!       768.381          954.Ui                   89.89

59-37S6207       !SOUTHEAST PlASTIC SURGERY                                                     i2030FlEISCHMANNRD                                                         TAUAHASSEE,FL.32308                                   2,045.53;            t.915.00l        768.361         U46.64\                   89.89

XX-XXXXXXX       iPALMSPRINCiSANfSTHES&ASERVICESPC                                              !po eox 11839                                             !Mc 11008         NEWARK, NJ 01101-8138                                1,200.00)              960.ool        768.00           192.00 1                 89.SS

XX-XXXXXXX       lMArurnA DERMATOLCGY ASSOOATES PA                                              :111MARBLEMILLROADNW                                                        MARIETTA.GA30DGO                                      sas.oo·               911.ool        768.oo           149.00!                  89.BS

XX-XXXXXXX       !SUNY HEALTHSOENO:: CENTER AT SYRAOJSE                                         11so eASTADAMSST                                                            SYRACUSE.NYt3210-2306                                1,186.00]            1,067.40!        767.40           300.ool                  89.78

84-U01385        !GREENWOOD PEDIATRJCS PC                                                       !9094EMINERALOR5Urr:E1CX>                                                   CENTENNIAL,COBOlU-7201                                980.00                764.16~        764.16                .j                  89.40

~2,e:o-s,,54=2600=-!ic:PAl"'N:.:CO=NSU=Lt:::~eclS:.,O,cF~CE,::NTRAl.="-'"'LLe.,LL,eC'-----------------+!PO=•,,oxo;48::e...._ _ _ _ _ _ _ _ _ _ _ _---+-----'1=":c:•""=:ru=R,--~~,_,•::c2S,02S::....___     ------,~---===o.~ooc.;l____•=S2.S=oc.,-f----''..c62=-oo=;.-l_ _...z100~.so=•l_ _ _ _--:•=•·=15'-1
XX-XXXXXXX       !CAPITOL PEDLATRICSAND AD0l£5CENT CEN                                          i3801 COMPUTER DR                                         !m 200           !RALEIGH, NC. 27609                                   1,637.06;              904.19\        761.93!            62..26i                89.14
ss-3sa283o       VALENOA PEDIATRJC ASSOCIATES                                                   l21a67 SMYTH cRsurre 100                                                   lvAlENCJA. CA 91355-6060                    l         1,02s.oo!              86L.S9i        761.59           tss.11!                  89.10
                                                                                                                                                                                                                                                              1
01-0S94994       COOPERATIVE HEALTHCARE SERVICES                                                !Po BOX 1213                                                                BRUNSWICK. GA. 31521-1213                            1,422.00[            1,1D3.S0         761.50           342.ool                  89.09

XX-XXXXXXX       [MSKCCINTEGRATIVEMEDGRP                                                        !POBOX27430                                                                !NEWYORK.NY10087                                       880.00:               761..541       761.54                  -1                89.09

3~2380180        iNORTHEASrMEDICALGROUPPUC                                                      IPOBOX417292                                                               !BOSTON.MA0224t~n92                                   1,001.ooi              761.26!        761.26\                 .!                89.06

XX-XXXXXXX       NASSAU NEUROtoGICAL coNsutTANT5 PC                                             l1s61ST STREET                                            lm 201           IM1NE01A. NY 11so1'"40s2                              1.31s.ooi            1,31s.oo:        160.24i          &14.7&l                  88.94

F-35"'--1=•~2809='~~!0l~G~ESTIV~_•_H_EAt_TH=CA~RE=ASSO=O~A~TE5~PC~----- --------+:'~-~ROOSEVELTROAD,_?."f:c•e....----------'-------"!v,c"1P=ARAISO==•cc'""-4"3=83-=7=82=9-------!----"'''"'66"'2."'00'i!_ _ _'-7"'5"'9.9,,s<\·_ _.,_7,,59"'.!l"'S'-!_ _ __::c..__ _ _ _,,:BBe,.!le!l'-1
r'.~'--.2=1~47'-'2~77-,-,_+!J.OM~MAIT"-CH~H::::EALL=AN~GESl'HO=LOSrEl=ES=IAN"-&&=cpccASSOCIAAIN=~=EA"-~=--.ENT--------------+:107_NEODYST ____________________--<· ------!:,:,SOc::UTH=BEN=D::<,.::;IN:.::46:,:6,:17:__ _ _ _ _-i-----"760=-DD,:;;c__ ....... _._760.00{---'7"'60=.00c=.+-!-----i,------"B:::;B.!la:l'-I
...,....100012                              ,n    ,,w,                                          !POBOX.638404                                                              (CINONNATl,OH45263-84=::,04~-----l----'950=-DDe,,,; _ _ _-'9°"5D.=0=0+"--..:.7=:60:c:.OO+j----'1=9~~"'!_ _ _ ___,BB=.!ll=--1
&1~1418728       !T1-troA MAW MD                                                                t;;~1 RANDALL RD                                                           !CARP~LLE. IL 60110                                    760.ooi               760.ooi        1&0.00!                 -!                88.91


                                                                                                                                                         EXHIBITZ

                                                                                                                                                              77
                                                   Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 101 of 266 PageID #:11197




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                                                                                                                                                              -~~•~1""                     ---~                               ..,, ..·"•-•·-~~ --                                            .-Y       ;~ilW~OISDi1eltl1urlf~~
                                                                                                                                                                        I              i01ARLOTTENC28260-094s                           l           3,625.is:                   2,s69.4Bi    159.so!       U09.ssi                      ss.90

                                                                                                                                                                                       _ _ _ _ _ _ _+--~1,~0J:.:.0:.:..00_,_,,-_ _ _;83=9.s=i:=,i_ _...,7;59:.:.-•::1,..i_ _ _ _...,-!_ _ _ __:•:::•.a=•'---1
F2"'-0-"'19"'53"9"'-06'---!o~•==•=RU=cN:.:.R=O'-'AO:.:.Pc:E:,DIA:.:.TRl=CSa;P:.:.A=---------------+13=21'-'o=•:.:.••=u:.:.•ccRD:.:.STE=A"--------------+l-----!!"•RAlf=l=GH._N_C.~2-1_•08
XX-XXXXXXX     iP[VQTPHYSICALTHf:RAPYOFPEN                                                          IPOBOX69D08                                                                        lBALTIMORE,MD21264-9008                          I           1,841.50!                   1.354.75~    759.401       1,033.351                    88.84

XX-XXXXXXX     !ot1LDRENSHEALTHCARELm                                                               201EASTsrRONGSTREETSUJTE6                                           l              !WHEEUNG,IL60090-2979                            l           1,242.00!                     809.os:    759.0S'          so.oo!                    as.so

XX-XXXXXXX     ITHENORTI-ISH:.:.O;Rc:E_,_POD=IA:.:.TR:.:.Y:.:.GccRccOUP~----·----------f2"50"'1'-'COM=:.:.PASS=RD~-----------!STE"°-"'12D:~~~~~:iG:LE:N:Vl:EW:~,ll,=60:.:.02:6:::==========~!=====:1,3:7:2.:DO:;~~~~~~~l,:OS:=._.7:4:\!~~~~~7-"'58::"'-:.:.·'"4-'!il~~~~~~2~96:.00:l:,~~~~~~~~~:88:.7:6'-j
06,-1603195     SOUTHWESrSUFFOLKMEOICALPC                                                           !POBOX95000                                                         !·.            lPHIIADELPHIA,PA, 19195                                      2,508.00;                     844.76j    758.SOi          86.26;                    88.74
36-2n1sss      IRADtoLOGICALCONSULTANtS                                                             !9410COMPUB1UDRIVE                                                  l                                                    1
                                                                                                                                                                                       !oRLANDPARK,;~--~6046-,-.,-..,-7-----t-;             --~i,s=,..~oo'-'-:-·----,~,,.~,"-_."'3!,---1'-'sa"'.s"'s'+;j---.=1..,=ai'-----'•::•::.·74::...i
~?7!356697     jASSOOATED GASTROENTEROLOGY       co                                                 530 PARK AVE E                                      ···--·---·-·    Jm 202......   !PRINCETON IL ~;56-3902                                --'1,9=12.'°'oo+'_ _ __,_1s=a.::o=,2ic---      1ss.02! _ _ _1_6l_.oo_l~---~•=•~·•c...,•
               1
XX-XXXXXXX     1uuusSHuLMAN Mo Pc                                                                   229E79TH.srsurre:u                                                  /              'N.EW YORK, NY 1007S-086ti                                     930.00!                     877.20;    1s1.20i         120.001                    ss.ss

3&.3128727      ICENNETHRMARGULESMO                                                                 755S MILWAUKEEAVE                                                   !              lu&ERTYVILLE.. IL 60048                                      1,595.00'                     966.69:    756.93!         209.76!                    88.5S

XX-XXXXXXX     !ADVANCl:OIMAGJNGCENTERLLC                                                           1615VALLEYVIEWDRSUITE101                                            l              !MOLINE, IL 612&5-6150                          !            1.541.96!                     830.441    756.31!          74.13!                    88.48

13-293388!J    iALBEITTSASSOON                                                                      snPARKAVE                                                           l              !NEW YORK. NY 10021                             i            1.soo.00\                   uss.67
                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                             1ss.20!         503A1i
03-o51411a     !EARNOSETHROAT&AUDIOLO                                                               !8334PINEVILLEMATTHEWSROAD                                          l              jOiARLOTTE, NC 28226-3774                       !              1ss.ooi                     1ss.oo!    1ss.00!                    .i              8833
XX-XXXXXXX     STATENlSLANDOPHTHALMOLOGYPC                                                          !noCEANICAVE                                                                       lsrATEN ISLAND, NY, 20312                       I              860.00!                     860.00f    755.oo!         105.00;

XX-XXXXXXX      MMCUNIVERSITYVASCULAR5URGEON5FPP                                                    1POBOX27368                                                                        INEWYORK, NY, 10087                             !            1,736.00!                     754.951    754.95!                                    88.32

XX-XXXXXXX      CALEOONIAESSEXAREAAMBULANCE                                                         POBOXS70                                                                           ISA1NT JOH~BURY, vr oss19                                      754.60]                     754.60j    754.60/                    -1              88.28

XX-XXXXXXX     lSTEAMBOATMEOICALPARTNERSPC                                                          POeox42SO                                                                          IGRAND JUNCTION, -~~_81502-4250                 i              754.oo'.                    154.ooj    154.ool                    -;--l_ _ _ _aa.=2"--!1

'os-1058199    ]BERNAROSJAYMO                                                                       2SAMSONROCKDR                                                                      !MADTSON, CT OG443-300S                          I             9DO.oo!                     753_75!    753_75\             ....   J               88.18

XX-XXXXXXX     !uNION EMERGENCY MEDICAL ASSOCIATES .                                                PO eox 5845                                                                        f PARSIPPANY, NJ 07054-6845                     !            1,022.ool                     7SLB4!     1s1.84:                    -!              87.96
56--1087391    !SOUTHEAST RADIATION ONCOLOGY                                                                                                                                           !OfARLOTTE. NC 28204-3264                                    7,593.00!                   5,382.38;    751.25!      (l,463.78)!                   87.89
                                                                                                                                                                                       I
XX-XXXXXXX     \SOUTH BEND 0.INIC L1P                                                                                                                                                  !SOUTH BENO, IN, 46634                                       3,973.00;                   1,666.561    750.99!       1.49S.63!                    87.86

3&.3641181     IPATRICK W LOGAN MD                                                                  Js30WINNETKAAVENUE                                                                 !w1NNETKA. IL 60093--4023                       l            i.so1.oo;                     1sLool     1s1.ool                    -1              s1.s6
XX-XXXXXXX     ·eREASTJMAGINGPARTNERSPC                                                             jPOBOX42986                                                                        !PHllADELPHIA, PA, 19101                                       980.oo\                     876.60}    750.991         125.61!                    87
XX-XXXXXXX     lMDSMEDICALDEVICESPECIAllYINC                                                        2441SOUTH1560WEST                                                                  '!WOODS CROSS, UT 84087-2327                    I              985.00:                     788.001    750.60!          37.40\

XX-XXXXXXX     IANESTHESIAASSOCIATES                                                                118SMAINST                                                                         !WIWMANTIC, er 0622~2093                        I              1s0.001                     1so.oo!    750.ool                                    87.74

                                                                                                                                   !NEW YORK, NY 10021-4028
!~~1'-','---+IROCK=:.:G'-'PO=Snc.:.:AN=o_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-+ls::,19:..:E:..:7.=:2•,,o:..:STRE=Er=SU=JTE=2=03A"'-----------+----+:=======------!----'"''"425=.D::,of                                                   I
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               1
22--6171731     MATHIASPGBOSTROMMD                                                                  535EAST70THSl'REET                                                                 !NEW YORK, NY 10021-4823                                       750.00:                     1so.oo!    1so.00!                    _j              87.74
                                                                                                       IAUSTIN, lX 78746
F46-=27ec28'64='--+•"'•=JSE=HE:,cAL:,Tl1.:.:CA=RE=SYST=='M=L---------------1]3003eEECA=-"VE=RD'------------+------t====-=---------+---"'',250.00==;_ _ _-'1"'so=.oo=-'---'-7so=.oo::::'l1--____-+l-----"'"7""_7:::•
01-07.33257 _____ THE IOWA atNIC ENDOSCOPY CENTER LLC                                               6800LAKEDRSUITE260                                                                 !WEST DES MOINES,.!.~ 50266-8216                             1,s20.ooj                   1.,520.00!   748.92!         n1.oai                     87.62
XX-XXXXXXX      Q.UEST DIAGNOSOC INC MICHIGAN                                                       !u141COLLECTIONSCENTERDRM                                                          lo,1CAGO. D. 60693                              I            2,731.36'.                  1.808.06!    747.91j       1.060.151                    87.SO

23--2665855    !RADIOLOGY ASSOOATES OF 01ILDRENS HOSPITAL INC                                       100 PENN SQ.UARE EAST                                                              !PHILADELPHIA PA 19107                          I            1,778.00!                   1,066.BOl    746.761         320.04!                    87 36
8&-0828589     !HoNORHEALTH MEDICAL GROUP LLc                                                                                                                                          ILOS ANGELES. CA 90084                                         939.001                     795.99/    745.991          so.oo\                    a1.21
XX-XXXXXXX     !I.AK!: BARRINGTON WOMENS HEALTH                                                                                                                                        !LAKE BARRJNGTON, IL. 60010                                  2.475.oo:                   2.187.08!    745.591       1,441.491                    87.23

XX-XXXXXXX      ROSS M MARKOWnz                                                                     h2wASHINGTONSTSIE2A                                                                lre<AFLY, NJ 07670                               I           uas..oo!                      745.soi    14s.sol                                    87.22
                                                                                                                                                                                                                                                                                                      1
XX-XXXXXXX     \ROBERT J MCCONNELL MD                                                               h61 FORT WASHINGTON AVE STE 210                                                    INEWYORK.NY10032                                 i             B7S.oo!                     87s.oo!    745.oo          uo.oo!

13-17401:2~- _,.sr_JO_H_NS_R_IVE_RSl~D~E_HOS~PIT_"1
                                                ____     ------------fiP..=OIC=BOX=95000==------------i                                                                              !PHILADELPHIA, PA 19195 _______,e--....:3,,,;750=-•e_,7:
                                                                                                                                                                              ------"=====scc:_                          I                    _ _ __;2,c,15=9.00:c:;..1_ _.c745=-DDi      2.,_41.,9_.SS~j~---~•~7.1=6c...,
XX-XXXXXXX ·· 1ASHLAND PEDIATRICASSOOATES PSC
20-S493250
                                                                                       ,332 23RDST STE 1
              !RUSH OTOlARYNG"'o"'LO"'GY=HEA=O=cAN.:..cO::,N_E_ _ _ _ _ _ _ _ _ _ _ _,.,7::Sa;RE=MITI=:.:..N;Cc:E;OR_STE_l_6_11_________________________________       "7-+i~~~~~~~~::::~::~:::~=-----
                                                                                                                                                                        1····        ]ASHLAND, KY 41101
                                                                                                                                                                                       !
                                                                                                                                                                                       •OilCAGO, IL 60675-1611
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                                                                                                                                                                                                             ------;----97_1._DO.,!           _ _ _ _as_O.QO~ ·---~-- .J_~45~--00
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XX-XXXXXXX     lcoRNERSTONE PEDIATRICS LLC        ··-                                               /3333 wESTTEOI ROAD SUITE 220                                       !              lMIAMISBURG, Off4S.342                                       1,080.00:                     144.52!    744.52!                                    s1.10


                                                                                                                                                                       EXHIBIT2

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XX-XXXXXXX    !MERCYMEDICALCARE PC                                 !21394Titsr                                                                   lsROOICl.YN, NY 11209-6807                       I     1,198.93:                       1.011.01!             744.25[            326.78;     87Jl7
XX-XXXXXXX    !SANFORD HEALTH                                      jpoeox 5074                                                                   [SIOUX FALl5 SD 57117-5074                       i     4,890.21;                       2.993.15! '           744.14)          1,920.02,     87.Q6

XX-XXXXXXX        HUNTINGTON BAY MEDICAL ASSOCAT                   i195 EASTMAJN STREIT                                                          !HUNTINGTON, NY 11743                            i     1,200.00;                         744.0Di '           1 ...001                  _j   87.D4
XX-XXXXXXX    !PUBLIC HOSPITAL OlSTRICT 1 OF KING CO               IPO BOX 34551                                                                 ISEATTI..E. WA98124-1551                               2,58030j __                     1,174.91;             744.ooi            430.91!     87.D4
                                                                                                                           I
XX-XXXXXXX        MARK l Gl'fMAN MD D~~~':                         :2030 E FLAMINGO RD                                     j#388                 !LAS VEGAS NV 89119-0818                               4,065.00:                       1,015.31;             743.65!            271.66!     87.CIO
                                                                                                                                             I                                                                                                                         I
21).8103522       MIDWEST CENTER FOR DAY SURGERY                   !1s11 HIGHLAND AVENUE                                                         jDOWNERS G~f?~ IL 60515-1555                           5,095.00!                    _____1.672.00)           743.00'            929,ooj     86.92
                                                                                                                                                                                                                                                  ;
23--2736822   iMCKESSON PATIENT CARE SOLUTIONS INC                 !540 LINDBERGH DR                                                         IMooN TOWNSHIP, PA 1s1oa                                   2,233.60i                           969.oo:           742.00!            272.40\     86.81
                                                                                                                                             ;
XX-XXXXXXX        DEBORAH lYNN 0TTENHEIMER MD                      !so MAIDEN LANE STE 901                                 i
                                                                                                                     ···t····          ······-
                                                                                                                                                 jNEW YORK, NY-10038-4899                               s,930.00!                       1,982.66~             741.711          1,001.101     86.77

20.3187397        ORAL & MAXIL10FACA.L SURGERY                     116 SEUCJD AVE                                          (STE1                 !WESTFIELD, NJ 07090-2187                        I     2.083.00:                       1,158.001             740.601          1,342Ao!      86.64
86-0B72916        CMSON ENDOSCOPY CENTER UC                        POBOXS3057                                             1                  )PHOENIX AZ. 85072-3057                              j     2,93s.oo!                       2,684.20!             740.201         (1.944,.00)!   86.60

XX-XXXXXXX    'BAHAMAS SURGERY CENTER                              !6815 NOBLE AVE                                                               ivAN NUYS, CA 91405                                    7,96S.OOi                         922.00:             737.601            184AO!      86.29

XX-XXXXXXX        EMES PROFesgONAL ASSOCIATES PC                   111 ELLINGTON Pl.ACE                                    I                 IENGLEWOOD OJFFS, NJ 07632-2014                      I     1,536.80;                         737.331             737.331                   -1   S&.26
XX-XXXXXXX
              !
                  INTERVENTIONAL PAIN MANAGEMENT                   !POBOX121S                                              t                 lcoLUMBUSGA 31902-121s                                     2,674.00:                         975.BBi             737.341  '         11B.54!     86.26

XX-XXXXXXX        PliYSl:OAN MANAGEMENT SERVICES OF                PO BOX 140193                                           I                 ioRLANDO, FL, 32814                                  I          se1.39J                      737.16i             737.161                   .i   85.24

XX-XXXXXXX    AMERIPATH CONSOUOATED LABS INC                       ,895 SW3DTHAVENUE,STE 201                               I                 !POMPANO 8EAOi, FL 33069                             I     1,.446311                         798.64i             737.11!             61.531     86.23
                                                                                                                                                                                                                 1
3~1.904143        NORTHSfDE ANESTHESIA SERVICES                    !pa BOX 7232 DEPT 165                                   I                 l1NOlANAPOUS, IN 46207-7232                                  920.00                          920.00?             736.00 1           184.00/     86.10
                                                                                                                                                                                                                                                                                       ;
XX-XXXXXXX    iVJTREOUs-RETINA-MAQJlA CONSULTANlS                  460 PARK AVENUE                                         I                 [NEW YORK, NY10022                                   !     1,500.041                         857.44!             735.641            121.84:     86.06

3~3762672     \MIOilGAN AVE INTERNISTS LL~                         200 S MICHIGAN AVE SUITE 805                                              l011CAGO, IL 60604                                   I     1,140.00:                         803.72;             735.421              68.30i    86.D4

XX-XXXXXXX    IAllENTOWN ANES ASSOC INC                            1255 W MICHIGAN AVE                                     ;                 !JACKSON, Ml 49201                                              735,ool                      73s.ao!             735.ool                        85.99

XX-XXXXXXX    iVIUAGE OF ROMEOVJU.E                                !P.O. BOX457                                            I                 lwHEEUNG. tt 60090                                              73s.oo1                      735.00!             735.ool                   _j   85.99

XX-XXXXXXX    lPAIM BEAOi COUNTY ARf RESCUE                        PO BOX 862036                                           I                 [oRLANOO, R. 32886                                              73S.OD;                      735.00!
                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                              735.00i                   -,
                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                             85.99

XX-XXXXXXX    !KENOSHA PATHOLOGY CONSULTANTS                       PO BOX 130                                              :                TkENOSHA. WI 53141                                               864.001                      734.40j             734.401                   -!   8S.92

13-327855D    !MEMORIAL MEDICAL CONSULTATION                       1PD90X26668                                             i                 fNEW YORK, NY 10087--6668                                       815.0D1                      733.s0!             133.sol                   .I   85.81

XX-XXXXXXX    !MIDWEST IMAGING PROFESSIONALS U.C                   IPo eox 223831                                          !                 IPmSBuRGH,PA 1s2s1                                         3,531.00!                       1,636..87!            733.05(          1.037.82[     85.76

                                                                   [PO BOX 31001                                                                                                                  i
XX-XXXXXXX        REGENTS OF THE UNIVERSITY' OF                                                                            !                 IPASADENA CA 9111CHI001                             ..!    1,360.00i                         9S2.00!
                                                                                                                                                                                                                                                 .T.   ---·--·-· nz.ooi ___   ---~\          85.64

XX-XXXXXXX    !ROCKDALE HOSPrrAL LLC                               PO BOX 742381                                                             !ATLANTA. GA ~0374                                         4,385.87:                         739.SD\             730.40:          2,557.66:     SSAS

XX-XXXXXXX    !NORTI-IEASrERN LAB MEDICINE INC                     271 N CEDAR ST                                                            !HAZLETON, PA 18201                                        1,41634]          '               730.22!             730.221                        8SA3

XX-XXXXXXX        MARCO A GAROA MD PC                              40 35 95 SrREET                                                           jEI.MHURSr, NY 11373                                       3,136.~!                        1,024.80:             729.sol            793.96)     8S38

-!?:.!~~---..!ANGELFISH EMERGENCY" PHYSIOANS LLC                   POBOX13599                                                                jp~JlACELPHIA, PA 19101•3599                               1,559_00[
                                                                                                                                                                                                                                                ··r---·----- __729.00j
                                                                                                                                                                                                                                        1,559.00(                                a30.00!     85.29

31-094S273    lCHILDREN s EMERGSERVICES INC                        !PO BOX 639043                                          I                 ]CINONNATI, OH 45263                                            128_001                      728.00!             728.001                   -I   8S.17

XX-XXXXXXX        MEMORIAL PAlliOLDGY CONSULTANTS                  !roeox910                                               I                 IGREENVILLE TIC 75403-0910                           I     2,036.00'.                        ns.ooi              7211.ool           28350!      85.17

XX-XXXXXXX    !REHABILITATION MEDICINE CLINIC                      POBOX83166                                                                    IOilCAGO, IL 60691                                     2.892.70:                       1,081.50;             nsssi'             355551      84.93
                                                                                                                                                                                                                          ;
XX-XXXXXXX    \DuKE UNIVERStTY AFALIATED PHYSIOANS 1               PO BOX 751274                                                             !otARLOTre, NC2827S-l274                                   3,272.00•                       2,243.80\             725.251          1,318.551     84.SS

11·3313257    IGASTRo ASSOC OF ROCKlAND                            isoo N£W HEMPSTEAD ROAO                                T                      iNEW OTY, NY 10~1132                             !         1,445.00:                     1so.00!             725.00!              25.ool    84.82

XX-XXXXXXX        MEUSSA GUZMAN WINN MD PA                         i2911 MEDICAL ARTS ST STE3                              !                     !AUSTIN, TX 78705                                           sso.ool                      724.7Sl             724.75;                    !   84.79
                                                                                                                                                                                                                                                  I
01-071183S    , GLOBAL CARES C                                     !3~9.-~ CONGRESS PKWY                                                    lCRYSTAL LAKE. IL 60014                                     2,900.00'                       1,399.03:             724.061            674.97!     84.71

XX-XXXXXXX    IALERE TOXICOLOGY                                    iPO BOX 654086                                                            !oAUAS, TX 7S26S                                               1,032.47!                     122.10!             722.70!··                 -!   8455

XX-XXXXXXX    /wlNCI-I~ MEDICAL GROUP                              l1268AMERICANWAY                                                          !usERTYVILl.£, IL60048-3936                                     821.00'                      s21.00!             72LOO.             100.00!     84.35

XX-XXXXXXX    ,ADVANCED CEN"n:R FOR INTERNAL MEO                   jPOBOX3172                                                                    iCAROLSTREAM. R. 60132                                      721.00[                      72LOO!              721.00l                        84.35


                                                                                                                          EXHIBIT2

                                                                                                                               79
                                                        Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 103 of 266 PageID #:11199




                                                                                                                                                                AEU INTERIM DISTRIBUTION




2!-4467651
31.Q91708S
XX-XXXXXXX       IMIOLANOOATHOPEDICASSOOATES SC

XX-XXXXXXX       !HEAi.TH RESOURCES SOLUTIONS INC                                                             1806SOUTHHIGHlAN0AVENUE                                                               LOMBARO,IL60148-4938                                        1,200.00:                 720.00i  '        720.00                                    84.23

20-042,0553 ·-- iFIRST COLONIES ANESTHESIA ASSOOATES LLC                                                      PO sox 791344                                                                         BALnMORE. Mo 2121g.1344                                       900.00 !                900.ool           120.00 i           130.ooi                84.ll
XX-XXXXXXX       !AMERICAN DlAGNOmt LAB INC                                                                   11.91MORRISAVESUITE203                                                               iLINlON,fl107083-3375                                          900.ooi                 900.ooi           120.00:            180.00!                84.23

 XX-XXXXXXX _., _'MIDWEST PULMONARY ASSOCIATES SC                                                            12340S HIGHLAND AVESTE23D                                                             [LOMBARD, IL60148-5396                                         900.oo:          -~•~oo=.oo=,-!---''='o=.ooc=.;.--1---'180=.oq+'-_ _ _ _.....:c84=.23=-i
 o&-1316613       WAUDAJAZJRIMD                                                                                                                                       ..=02~------+-----=so=•=·oo~l-----'-'"'=_.=-2!_ _ _1:..:"'=_.==2:.;.l_ _ _ _.c·i......._ _ _......;84=.22:..i
                                                                                    ------+:1=0=-c•"=EW=L=o"=oo=N-'"IPK='-------·-------·--+-·----;c•=o•"'wi=c=H~,cr=•=
                                                                                                                                                                                                   1
 14-185S010       CENTRALCTENOOSCOPVCENTER                                                                   1440NEWBRmANAVENUE                                                 I                   PlA1NVILLE,cr06062                                          2,048.00'                 719.ool           7l!J.OO                   -1              84.12

 XX-XXXXXXX      ioakHIIICllnlcCcrp                                                                           .POBoxl90SB                                                                          !BELFAST.ME04915                                               ns.oo;                  718.001           11s.ool                                   84.00
 XX-XXXXXXX       PADREISlANDERPHYSIOANSPLLC                                                                  iPDBDX93373                                                                          lsourHLAKE. 1X76092-0113                                       sso.oo'.                8so.ool           116.60             133.40                 83.84
 XX-XXXXXXX       BETI-IPAGEMECICALPLLC                                                                       Posox310                                                                             .PlAtNVIEW,NY11803-031D                                        895.oo;                 895.ool           716.oo!            11s.oo!                83.76
  6-5548304      lw1N0tESTERENDOSCOPYLLC                                                                      i1s1oww1NCHESTERRDSTEt4G                                                             ,UBERTYVILLE,JL60048                                         1,450.ooi                 11s.sai           1is.ss!                   -1              83.72

XX-XXXXXXX       lRALE1GH FAMILY PRAcr1a                                                                     !4414 LAKE BOONE TR STE 502                                                            RALEIGH. NC 21601                                             841.00;                 114.sst           714.ss    I                               83.60
 62·1096336      i~!.',:!'_!'IOLOGIST5 lASORATORY JNC                                                        ,PO BOX 440020                                                                        !NASHVILLE, TN 37244-0020                                    1,490.831                 714.36~           714.36!               4.59!               83.57

           =•-1F"~·•=o•~··""TE=RNA=l~M=EO=IC=!N=''-----------
~-~:':.~:c•..                                                                                                 2027 MORRIS AVE                                                                      !union, NJ 07083                                             5,660.oo!               1.304.Sl            713A2!             SSt.091                83A6
XX-XXXXXXX       IPHELPS MEDICAL SERVICES PC                                                                 !PO BOX 95000-,4690                                                                    PHILADELPHIA, PA 19195-4690                                 1,43s.ool               1.091.76!           713.26             319.70                 83.44

1'6:,,:2·::,1757=6eel•,..___,ICA=R:c:LEc.:FU=••::.:M=o_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-;;!7c:.73ecE::sr:,~::c:ne'-'P'-'L------------+-----IFM"'EM"'P'-'-H-~. TN38t20-0600                                                                                        725.00: ....   h ____   ,_12._2_•+!_ _   ~1=12~~~1---                  !            8332
XX-XXXXXXX       iMIOWEST ENDOSCOPY CENTER LlC                                                               !1243 RICKERT DR                                                                      iNAPERVIUE, ll 60540                                         3,256.00'.                712..00!          712.00.                                   8330
 35'-2305358     !JPRURGENTMEDICALCARfPLLC                                                                   !232wOlDCOUNTRYRD                                                                      HICKSVJU.E,NY11801                                            792.00i                 792.00i           112.ool              80.oo!               8330
XX-XXXXXXX       ILABONE INC                                                                                  PO SOX 822531                                                                        IPHILADELPHIA PA 19182-2531                                 U,804.68:                4,068.33i           711.78]          4,283.0t!                83.27
XX-XXXXXXX       IHIGHLAND MECICAL PC                                                                        IPOsoX216                                                                             lALBANY,NYU.201                                              1.874.ool                 B11.69!           11ual              100.00                 83.2&

XX-XXXXXXX       •QUEST DIAGNOSTlCS MASSAOIUSEIT                                                              5511COLLECTIONCTRDRM:                                                                 OIICAGO,ll60G93                                             5,693.41'.              1,220.13!           711.46             508.67                 83.23
 XX-XXXXXXX      !s1EUNSXIOERMATOLOGYGROUPLLC                                                                 16105S lAGRANGEROAD                                                                   OR1.ANDPARK,IL60467•5503                                    2,015.00i               1.449.42i           71LOOI             738.42!                83.18

XX-XXXXXXX       lRaNAI.D LEDERMAN MD                                                                        j2300 HAGGERTY RD                                                  !m1110             lwesreLOOMFIELD. ~!.,_,•==83"'23~----+---'•=•=o.o"'o"-l                   ---~'=10-"=o;-.!---"71::0:.90:.;'------'-'------=••=-l"-l7
XX-XXXXXXX       lsuwvANEMERGENCYSfRVICESPC                                                                   IPOBOX731711                                                                         !DALLAS. 1X75373--1711                                       U69.ooi                   B88.30l           710.64             177.661                83.14
 ~2809861         FOXVALLEYFAMILYPffYSIOANS                                                                   2425FARGOBLVD                                                                         GENEVA.1L60134-3591                                         3,843.00i               1,374.68i           710.58!            879.SZ!                83.13

   ..~•1B~62D=2~--;!•~o~RTH=•~•-•G~•~•~FAM~IL~Y~M~Eo~•□
i-c•~                                                 ~•~•~ll~C--------------1-~~~~-NGlf sr                                                                                     lsurrE 305          ENGawooo. NJ 07631                                            98s.oo:                 760.00T:_ _ _1_10_.110_;~:_ _ _        so_.oo-!_____B3.0_•_,
                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                       1
i,,,:6o::l5e,5543=•'-----tA=R"'CA=:Dl:::A:,,AM=•ecutAN=,:,CEc:sv,,c,;=BOARD="'----------------i'iN.::29::3:::0.::csr:.::Ae:TEc.:R0=22:....._ _ _ _ _ _ _ _ _ _71_ _ _ _ _ _:t"w"'A::.UTO=MA::;,e.:w:.:•"-S4.:.:•=B2:..c·•==2•::;1_ _ _ _ _, -_ _. .:aa::c1c::.o:.:.1i--:_ _ __.::BB::'-=·•~7l,--_ _7,:09,c:-:::66'i-j----"'l5"'.""'1Bl_,_    -----•~•~-"~'
XX-XXXXXXX       larvoFEVANsrDN                                                                               P.O.BOX45S7                                                                          lCAROLSTREAM.ll.60197                                          757.oo!                 1s1.ooi           708.941              48.06                82.94
 37-0662SG1      !soUTHWESTERN1wN01sHEALTHFACUTIES                                                            POBOx40s                                                                             lecwARDSV1LLE,IL62D2S                                        2,488.so!                 soo.19!           1os.s9!              91.60                a2!Kl

 XX-XXXXXXX      lcoMMUNITYHOSP1a tNC                                                                        i1480 CARTER AVfNUE                                                                    ASHlAND, KY 41101~7633                                      2,140.00:               1.501.ooi           1rn.s2!            799.48i                82.77

 sS..0766633     IPAMELASsrAuo MD                                                                            1111 GREATTEAvs eLvoSTE 101                                                            SCOTT DEPOT, wv 25560-9548                                    m.oo;                   867.30:           101.30t            160.ool                a2.1s

 3s-1s101s&      lsrviNcENT.PEDlATRICSUBSPEOALTIES                                                            IPO BOX UB16                                                                          BELFAST. ME 04915-4019                                      2,159.00:                 884.ool           707.zol            176.BO!                82.74
 62--6269541      ROMANA USMAN MD                                                                             909 HYDE STREET SUITT 210                                                            !SAN FRANCSCO, CA 94109-4845                                   828.oo 1                757.os!           707.08 j             so.ooi               82.72
                                                                                                                                                                           1
 47•3646676       CARDIOVASCULAR H~]:l~Cu~•~•c~PU=C_ _             ----------+PO~•o~•~25c88_5_7______                          !aKlAHOMAClY. OK73125-8857         1,342.49                                                                                                               ~·-•7_.3~3,..1--~'05=-"''-ii--~"'~l.3=•,..i----~·2.5=--9
                                                                                                                                                                                                                                                                                                                      1
                      G                                                               !POBOX826618                                                                                                                                                                                               70600                8259
            '1
 6S-1091915ElrrEIMAGIN L1.C ·····~·····~-                                               ,           - - - - - - - - - - - - + -\PHllADELPHIA,PA19182-6618
                                                                                                                                - - ~ - - - - - - - - - ; - - - - ·70600;
                                                                                                                                                                       .· .                                                                                                              706.00]
                                                                                                                                                                                                                                                                                        -=+--~=·=;-:   -----+-------===-t
 XX-XXXXXXX      1SHEINORTHOPAfDICSPllC                                                   -----+!~sox354                                                                                           ,ITHACA,NY148Sl                                              ~.380=-ccos"!_ _ _ _l=,••cc>cc7.5=s+l_ _-'7=05.S6!             nl.99!                 8254
 22.337903;      loo NATOs Russo. MD, uc                                                                     !ts96 MORRIS AVENUE 3RD FLOOR                                                         !uN1DN. NJ 07083                                             1,093.66;                 704.BB;           704.ssl                                   B2A6


                                                                                                                                                                              EXHIBIT2

                                                                                                                                                                                    80
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                                                                                                               AEIJ INTERIM DISlRIBlJTlON




XX-XXXXXXX    ]09-GYN SERVICES P                                         I130 EAST 7rn-l STREET                                                                                2.100.00!        880.00;      704.001             116.oof     82.36
XX-XXXXXXX    i RIVERSIDE ANESTHESIA PSC                                 lro eox 23398                                                 !LEXINGTON. KY 40S23-3398                 880.00:        sso.oo!      704.00!              176.00:    82.36
 7-2607917        CENTRALAVENUE PROFESSIONAL                             !ro BOX 419337                                                lecsroN, MA 02241                       2,798.00;        934_11;      703A1l              230.70!     82.29
                                                                                                                                                                                          I
59-,1237521   !SOUTHWEST FLORIDA EMERGENCY                                2062NDSTE                                                    !BRADENTON, FL.34208                    1,172.00•        879.00i      103.zoi             175.BO\     8227
                                                                                                                                                                                                                      !
31~843308 _____ ENGLENDER SPER & DRASNIN M DS INC                        jPOBOXBS20                                                    laa.FAST, ME 04915-8520                 1.385.00!      1,!!l_.2.~!i   70257[              673.511     82.24
              1
47-1157S30    ;UTREGIONALONE PHYSICIANS                                  !PO BOX 5154                                                  ;MEMPHIS, TN 38101--5154                  ,02.121        702.12~      102.12[                         82.14
                                                                                                                                       !
XX-XXXXXXX    !DERRY IMAGING CENTER LLC
                                                                      --- j6 BUTTRICK RO STE 102                                       )LONDONDERRY, NH 03053-3417             ].820.00'      1,,540.00!     700.DDi             840.00i     81.89
XX-XXXXXXX    /THOMASG DAUMAN                                             1355 RAMAR RACO STE 112                                      /suLt.HcAD arr, AZB644Z-711JO           1,240.00       1,240.00i      699.98]            (140.021     81.89
XX-XXXXXXX    !RANDY RZIMMERMAN                                          l277SOWHIGHWAV22SUIT'E 120                                    jSARRINGTON, IL 60010-2379               779.00,         699.39!      699.391                    .I   81.82
Bl-1360311        NEENA AGARWALA                                         !20 E 4611-1 ST, ROOM 202                                     !NEW YORK, NY10017-9Z87                 1,152.001        748.801      698.80!               so.00 1   8L7S
XX-XXXXXXX        ARIOSA DIAGNOSTICS INC                                 [DEPTCH 16829                                                 iPALA11NE, IL 600S5-6829                S,985.00 1     1,173.00;      698.oo!             475.ooi     81.66
20,0562668    INEVADA HEART ANO VASCULAR                                 !100 EAST SILVERADO AANCH BOULEVARD              SUITE170     ii.AS VEGAS, NV 89183                   1,290.00'.       767.os!      697.os!              10.ool     81.55
                                                                                                                                       1
S2-ln6724         VASCULAR SURGERY ASSOCIAlES U.C                        i520 UPPER OtESAPEAICE AVENUE                    SUITE306      8EL AIR, MD 21014-4375                  697.00[        697.001       697.00                          B1.54
                                                                                                                                                                                                        j
l.~2907039    IHUMAN SERVICES CONSULTING GROUP INC                       iaoa W FIFTH AVENUE5UrrE 2051                                     NAPl:RVIUE~. ll 60563               1,775.00:       946Mj_.....   696.SB              2so.ool     81.49
              lrOWN CF HENNIKER                                           8 T\JRC0TIE MEMORIAL DR                                      fROWLEY, MA 01969
..........,
XX-XXXXXXX

              IGRADY COUNlY E_MS                                         Jl700N BROAD ST                                                   CAIRO, GA 39827-1150
                                                                                                                                                                                870.00:

                                                                                                                                                                                745.50:
                                                                                                                                                                                               870.00!

                                                                                                                                                                                               s~~~o!
                                                                                                                                                                                                             696.oo!

                                                                                                                                                                                                             ses.soi ._......
                                                                                                                                                                                                                                 114.ool     St.43

                                                                                                                                                                                                                                             81.37
74-22589:12   IGYN PATIi SERVICES INC                                    laa1S DYER su~ 200                                                ELP~, 1X79904                       1,288.00!        69s.12l      69S.121                  -1     81.32
13-2949S05    Im SPECIAUSTS CFWEST0-IESTER PC                             l40 LCXXWOODAVESTE220                                        !NEW ROCHELLE, NY, 10801                1,185.00;       885.02!
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                 190.oot
                                                                                                                                                                                                        .
                                                                                                                                                                                                             695.02!                         81.31
              !
 7-5273455    iCAREPOINT EMERGENCY MEDICINE PLLC                          PO BOX 172328                                                    DENVER. CO 80217-2328                695.DO\        69s.ooi       69s.ool                         81.31
XX-XXXXXXX    jJOfiN VINCENT MCNERNEY                                    !11824S0Ull<WESTHWY                                               PALOS HEIGKTS, IL 60463-105S         719.46'         719.46!      694.46!               25.00     81.24
              I
22~2192806    )EAST WINDSOR PEDIATRIC GROUP PA                           j300B PRINCETON HIGHTST0WN RD                   !STE201       !EAST WINDSOR, NJ 0852~1400              S84.oo:         693.&&i      693.66;                    J    8L15
lll-4465950       431\0 STREET FAMILY PRACTICE PLLC                      iP080X798                                       !             iSYOSSET, NY 11791-0'798               2,301.00'.       793.44;       693.44\             lOD.OOi     81.13
XX-XXXXXXX        RUBY CREST EMERGENCY MEDIONE                           ,POB0X8149                                                    ]SPRING CREEK. NV, 89815                1,198.00)       693.50;       693.50              468.CO      81.13
XX-XXXXXXX        CORNERSTONE COUNSELING SERVICES INC                     16535 W BLUEMOUND RO 5T'E 200                                    BROOKFIELD, WI 5300S-5906           7.452.00       4,9118.00i     693.20             4,214.80     81.10
XX-XXXXXXX        GASTROENTEROLOGY QJNIC OF ACADIANA U.C                  1211 COOLIDGE BLVD                                               LAFAYETTE. LA. 70503                3,513.00;        878.80!      692.44              126.36      81.01
45-262.3555
              I
                  KENNETii ALPER MD                                      I1sa EAST s8lH sr                                                 NEW YORK. NYlOlSS                   1,425.00:       817.18!  '    . .2.,.I            125.00i     80.98
XX-XXXXXXX    'ANGELA AZAR MO                                             PO BOX231.309                                                :GREAT NECK. NY 11023-0309             1,23s.o0i       1,23s.oo!      692.181             S42.B2      80.9B
3fr2510771    ]~IDWESTERN REGlONAL MEDICAL CENTI:R INC                   .252DELISHAAVE                                                iZlON.ILti0099                          1,oso.00;       918.0Dj       691.161
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                 ~~;f        80.Bti

 frl694229    !STEPHEN GBGER MO                                          ;333 EARLE OVING'TCN BLVD STE 106                             iUNICNDALE, NY 115S3--3645              1,150.00!       690.00!       690.00•                    -1   80.72
                                                                                                                                       i                                                                l
 S-29S5207    !COLORADO ANESTHESIA GROUP                                 lpo sox 935293                                                [ATLANTA. GA 31J.93                      980.001         Bti2.40l     689.92!             17448!      80.71
XX-XXXXXXX        SOUTHCOAST PHYSICIANS GROUP                            IPO BOX 415022                                                I
                                                                                                                                       !BOSTON, MA, 02241                     9,620.001       5,875.40!      689.81!            5,185.591    80.70
                                                                                                                                       I
XX-XXXXXXX        CHILD RENS HOSPITAL MEDICAL CTR                         3341 SOLUTIONS CENTER                                            OllCAGO, IL 60677-3003              1.94532!       1,077.56!      689361              624.201     80.65
XX-XXXXXXX    ]PARTNERS COMMUNITY HEAlntCARE INC                         ,PO SOX 417904                                                ieosroN, MA. 02241                       !152.00         784.lSi      689.15!               95.i:x/   80.62

XX-XXXXXXX    'NATIONWIDE LAB SERVICES INC                               i4805 NW 2ND AVE                                              ]eaCA RATON FL 33431-4141              14,514.05[  '     689.131      689.13                   .,     80.62

XX-XXXXXXX    !wee CARE PEDIATRICS p C                                   fs31 TENNENT ROAD
                                                                                                                      ---1S1"EA       . MANALAPAN, NJ 07726-8289          !     964.00i        739.os!·      689.0S:              so.ool     80.61
XX-XXXXXXX    !1CAHN SCHOOL OF MEDICINE AT MOUNT SINAI                   !310EAST14'TM STREET 6TH FtOOR                                \NEW YORK:, NY 10003               i   1,275.001        811:51l       688.94:             182.57!     80.60
                                                                                                                                       !
XX-XXXXXXX    boSHuA w WEINSTEIN MD                                    .... ;72 35 llZTHSTREETPR 7                                     ·FOREST HILLS, NY 11375            I     890.ool        808.D61       688.061             120.ool     80.50
XX-XXXXXXX    lcoR£ 0RTH0PED1cs SPORTS MEDION
                                                                            I
                                                                         !PO BOX 14346                                                 leaFAST. ME 049154036              I    2,032.00!       859.29(       687A3l              171.86,     80A2


                                                                                                                        EXHIBIT2


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                                                                                                                                AEU INTERIM DISTRIBUTION



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XX-XXXXXXX     iANESTHESJAASSOOATESMEOICALGRP                                          !Poeox6079o                                                               !PASADENA.CA911I&-6790              \       2..520.ooi           687.29:         687.291                     -I                  so.41
XX-XXXXXXX     !PALOSDIAGNOSTICSC                                                      !POBOXS958                                                                kAROLSTREAM,ll60197-5958            !         687.ot;            687.oo!         687.oo!                 0.01!                   80.37
XX-XXXXXXX     iPMPED1ATR1csoFuv1NGSToNL.LC                                            /1HOLLOWLN                                                im301           !NEWHYDEPARK.NY 11042               I       1,09s.s2]            866.94:         686.94i               120.00!                   80.37

Z0-5036805     lcoMPLETEWOMENS IMAGING PC                                              !PO eox 27034                                             I                                 _ _ _ _ _ _ _+
                                                                                                                                                                 iNEW YORK. NY.-1_0087
                                                                                                                                                                                                     1
                                                                                                                                                                                                    , ---'-~~-,-:---~'~41l~-43~:,__~68~53~7'-+;_ _ _~63~.06+l_ _ _ _ _s:;;:0=·'=-1•
                                                                                                                                                                                                                                                             1
XX-XXXXXXX. _. iJActsoN MADISION COUNTY GENERAL HOSPrrAt                                jszo SKYLINE DR                                              . _ _ _ _.,,iJ~ACKSON==·11<~·~•~·830=1--------<---"'=s.~so"-i_ _ _-'684.!l==s+-!_ _.c•B4=-9=,slc------·+i_ _ _ __:::80.1='-l
3&-3861752     !suwvAN URGENT AID CENTERS LTD                                          !Po eox 637565                                            1               laNONNATl,OH45263-7565                      1,213.ool            684.80;         684.ao!                     -I                  80.11

4s.2102114     !CATAWBA VALLEY FAMILY MED-- MTN v1EW                                   lpo eox 690273                                     - ..   !·-             !CHARLOTTE. Nc2s2&9-0273                    1.us.00:             697.751         684AS    I             13_301                   so.01

;..323685
XX-XXXXXXX
               !FRANCES=A~BA=H~l
               !MOHAMMEDSAFZALMD
                                 ------------------;i.1~•~•-•o_o_K_OALE_R_O_A0___________,____
                                                                                       l4920EASTSTATEST                                          /
                                                                                                                                                                -;-'--~-::::::::::::::~::::_-:1,l00,:::0~0"'";:::::_-::~·~·~•~-l~.:1::::~.84~_
                                                                                                                                                                 IGLEN COVE, NY 11542
                                                                                                                                                                 ;ROCKFORD, IL 611Dg...Z262                  1.SliO.OOi         1,413.79)         683.79/
                                                                                                                                                                                                                                                               -_-_-_-_-,:oo,;ccoo~Ci,+1~~~~~~~~~;80:.04::
                                                                                                                                                                                                                                                     ~:!"~-1!:--__
                                                                                                                                                                                                                                                                        730.00/                   80.00

XX-XXXXXXX     lCHARLESFREDERICKCOCKEREU.MO                                            !20SNWRDMIZERDSUITE304                                    l               iewE SPRINGS, MO 64014-2520                  945.00)            6B3.411          683.411                     _[                  79.95

XX-XXXXXXX     !1NTenNALMEDIONEPU.C                                                    !21RENIRD                                                 [               IMANHASSET, NY. 11030               i       4,79s.ooi          1,752.47!         683.osl             1.129.39)
               1PRIMARY CARE PSYOtOLOGY ASSOCATES                                      i4ooSKOICIE BLVD                                          1
                                                                                                                                                 sutTE24S        !NORTHBROOK,. IL 60062              !       4,200.00\          1,102.so?         682.SOr               542.Sol                   79.SS

65--0804844    ICARDJACARRHYTHMIASERvtCE                                               11200 N FEDERAL HWY sre 100                               I               lBOCA RATON, R. a3432                       1,m.00!

XX-XXXXXXX     IGASTRoENTI:ROLOGY GROUP                                                !u1 e OJEROKEE ROSE LANE                                  ]               icoVINGTON, LA 70433                        1.s22.ool
XX-XXXXXXX                                                                                                 !TINLEY PARK, IL60487-9229   !
               !HEMATOGEN1X1ABORATORYsmVICESU,ec':------------fls::ts,,0c:1=•STH=sr=su=ITE=•'-----------+-----,=======-----.---=1"-.10=1=.s=-•'r----"'1.e:10::LS9=;!_ __,68=138""i-f_ __,,1,"02,:0,o.21o;l_ _ _ ___,1:,c9."'71'-l
XX-XXXXXXX     lAMEETKUMARGOYALMo                                                      l167PUROiASEST                                                            !~YE, NY 10580-2171                          77Looi             77Looi           68Lool                 so.oo!                   19EJ

~~~·······'~oRTHWESTPRJMARY HEALTHCARE                                                          _,l~,912=•~-=~EST=HWY=~su=JTE~G-~SA~--- - - - - > - - - - - + = = ~!FOX
                                                                                                                                                                     == RIVER
                                                                                                                                                                           ==     ' - - -n.-60021
                                                                                                                                                                              GROOVE,        +---~1.5115=-~20               .•1l, _________ 68 L,so01I . ...
                                                                                                                                                                                                             4 )_ _ _-'9=1=3.                                232.80!           79.IJ7
1"3:,0-,::37.::6307=2'--l'IAN=Nccnc:::.Al,::O::,H,,_N,,,M,,_D_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+'l:3~•00=GA&,=Rl=E=LLE="'cc9=13=0-----------+----+=               !AURORA, =='-""~-----+---'-77"5~.ooc.l
                                                                                                                                                                             IL 60598-4300                      _ _ _ _7===<----==;J+----'SO=-=oo,.
                                                                                                                                                                                                                         3 0 50             680                    1_ _ _ __,_79:::-•:.:>'-I
2;3.7064656    IREGENTS oFTHE UNIVERSITY oF                                            !File 57326                                                               !LOS ~~ELES, CA, 90074              I       1.sso.ool          1,286.75;         680.ool               606..15]                  ,g.ss
XX-XXXXXXX     IMEMORIAL NUO.EAR ME0JONE GROUP                                         !PO eox 26658                                                             !NEWYOR.. NY, 10087                 i       1,11s.ool            962.s3l         679.o3l               283.so!                   ~-44
                                                                                                                                                                                                     I
XX-XXXXXXX     IEYECARE CENTU OF STAMFORD LLC                                          IPOBOX607                                                 \               lw1NDSOR. CT06095-0607              I       1,240.DD!          1,11850!          67!,.00l              43950j                    79.44

2~344606S      lANDREW CARSON BROWN                                                    !POsox8332                                                I               IBELFAST, ME D49J.S.8300            !         768.oo\           768.ooi          61s.oo:                9o.ool                   19.32

XX-XXXXXXX     lttNTER FOR THERAPY & COUNSEUNG                                         !tsWPROSPECTSTRE'ETSUrrE2                                 1               jEAST BRUNSWICK, NJ 08816                   1,485.00[           770.00t          677.65!                92.351                   7928

XX-XXXXXXX     lcuNICAL PEDIATRIC ASSOCAlES OF                                         !POaox22S827                                                              loALlAS, TX. 75222                  I       1,186.001           677.28;          677.28!                                         79.23

58-26191!16    IEMORY PEDIATRICS LlC                                                   IPoeox 102398                                             168ANNEX        iAnANTA,.!SA, 30368                 I       U39.ooi            1,141.20!         51s.aol               411.40!                   79.06
XX-XXXXXXX     !colQUITT REGIONAL HOSPITALISTS W:                                      !3131SMAINST                                                              )MOULTRIE, GA 31768-6925                    'UlS.00;           1,045.20!         675.731             {381.37)!                   79.05

XX-XXXXXXX     !MERCYTlfflN HOSPITAL                                                   !PO BOX 636535                                            l               iCNONNATI, OH4S263                  i        1s2.00!            675.ssl          675.6s1                     -i                  79.04

XX-XXXXXXX     IMIRJAMLEVJTTMD                                                         !1PONDAELDRDSTE303                                        !               lsRONXVILLE, NY 10708-3706          !       1,oso.oo\           1zs.s2'.         675.szi                so.col                   19.03

1=1·2=7~45=888~-;c.iiBAS=YLON MEDICAL PRACTlCE PC
10
                                                                                                                                                                 IBABYlCN, NY 11702-3417                       725.001           725.oo~          675.oo!                so.oo!                   1as1
 XX-XXXXXXX    looNALD AMUH MD                                                                                                                                   '
                                                                                                                                                                 !R.OSSMOOR. IL 60422-2130                     7SD.OD \          675.00;          675.00 I                    •!                  78.97

04-3n4800      !REGIONAL OPEN MRI t1C                                                  iPOeox932203                                              l               lATLANTA. GA 31193-2203             !       1,687.ool           843.soi          674.sa!               168.10!                   78.94

07~1226330     ;HELEN C HABER LC.WI                                                     11 SHERWOOD DR                                           !               !LARCHMONT, NY 10538                !       1.164.0Di          1.149.14!         674.141               47s.ool                   78.87

XX-XXXXXXX     iVR LEDDY MD PC                                                                                                                                   ieRENTWOOD, NY U717-4658                      949.ooi            7S7.74[         674.14!                83.601                   78.87

3~3300615      !WESTERN SPRtNGS FAMILY PRACTICE                                                                                                                  !WESTERN SPRINGS, IL 60558-2254               823.02!            738.601         673.601                65.00!                   78.80

XX-XXXXXXX      lcov1NGTON woMENs HEALTH SPEC                                           !41s1 HOSPITAL DR NE                                     lm 104          !covlNGTON, GA. 30014               j
                                                                                                                                                    fotlCAGO, IL 606n.7002
F23-=7=='=s0,__,!u:::N,:;IVE:,:::RS::,ITY,e:.:FAM=~"-Y'-'PHYSl=C=IA::,N:S.::,IN:::C_ _ _ _ _ _ _ _ _ _ _ _ _+[1~21=•~so~um=~o•~CE=NTE=•----------+-----t======~-----+---~723=.oo!.--···-•·-·-···673.70;-;                                   --~"'"'=-80c,!,-____0::.90c=-;-i-----"78,c,7c:1
XX-XXXXXXX     iADVANCEDORTHOPEDICANDSPINECARE                                          l6101W!:ISTHST                                                                     i
                                                                                                                                                                 !oAK LAW~, IL60453-2105
                                                                                                                                                                             3,898.00i     2.363.56!        612.12\        1.69D.84i       1a.10

F04--=32~•29=63'-·-l·r~'°·--"'IN.=CHccESTE=R"'PHYSl=ccCl,.A_cc•ccsA550=ccCIA=TES=INC~-------------tfPO_SO_X_l3446                               !BELFAST, ME 04915-4025    I
                                                                                                           _ _ _ _ _ _ _ _ _ _ _ _ _ _--;------;--~----------+----•-'o._oo_;,_,         ____722.5_5,_i--~·7~2.55--'-,'---~so_.oo~I-----'~•~-•·
 XX-XXXXXXX    IPAULKRISAMD                                                                       l201Rou1c11Fu1                       I        iauTHERFORD. NJ 0707D-2557 I 1,oos.00
                                                                                                                                                                                      1
                                                                                                                                                                                             79Loot         672.401          148.101       1a66


                                                                                                                                            EXHIBITZ

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                                                       Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 106 of 266 PageID #:11202




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~~3810675         iMEDlCAL PAIN MANAGEMENT SERVICES                                      lrosox 1&12                                                                                            IRoCKFoRo, 1L61110-01u            2,275.00)     1,198301    672.32!    525.981                           78.65
XX-XXXXXXX        !LAGRANGE MEDICAL HEALTHCARE LTD                                       j617DJOUETRO                                                                                           iCOUNTRYSIDE, IL6052S-8976    !     sos.ooi      787.27)    672.27!    115.00/                            78.65

XX-XXXXXXX        iK-2 HEALlHCARE CONSULllNG UC                                          !POBOX3S34                                                                                             iMDOR!:SVILlE, NC28117•3534   i   1.210.00:      840.00;    672.00j    168.00i                           78.62

~G-4208776        !SOUTHERN VIRGINIA PHVSIOANS U.C                                       PO BOX 11407 DEPARTMENT 2291                                                                           ietRMJNGHAM, AL 35246              7!!0.00:      67LSD\     67t.sol           .!                         78.56
3S.31506S4        i1NTERNALMEDICNEASSOOATESSC                                            !912 NOATHWESTHIGHWAY SUITE 107                                                                        !FOX RIV.ER GROVE. IL 60021
                                                                                                                                                                                                ;                                  891.00,       78LOD~     611.ool    220.00!                           7850

QG.14~~029_ -- !CONNECTICUT Gl PC                                                        )2139 SILAS DEANE HIGHWAY                                                                              !Rodcy HIii, CT 06067             1,755.00;      880.20)    670.20i    210.ool                           78.41
                                                                                                                                                                                                I""'
11-283_3366 ·-·--·:DONAl.D R TANENBAUM DDS                                               1630 5TH AVE SUITE 1857                                                                                   !-~-!, NY 10111            l   1,soo.00:     1,soo.00;   670.001    830.ool                           7838
13-,2707948       !Eschen P
                          &OI.lbs                                                        j~~E73rdStSulte201
                                                                                                                        ·--~--- ·-··•··--------------                                              !NEW YORK, NY 10021
                                                                                                                                                                                           ---------.------------                  669.441       669.441    669.441                                      78.32

XX-XXXXXXX        lc1GESTIVE DISEASES CONSULTANTS OF KANKAKEE SC                         1615 N CONVENT STREETl                                                                                 IBOURBONNAIS. IL 60914-1081       1,36:LOo'.     669A7:     669A71            .I                         7832

XX-XXXXXXX        iASHLAND EMERGENCY MED ASSOC                                           POBOX989                                                                                               iASHLAND, KY 41105                 845.00!       668.98;    668.981           .I                         7826
                                                                                                                                                                                 I
XX-XXXXXXX        IAU5ERT HARARY                                                         iuo ESSTHSTREET, 17THFLOOR                                                                             /NEW YORK, NY 10022               1,000.00!      66733!     667.33!           .J                         781)7

XX-XXXXXXX        IHCWARD M AROF MO                                                      676 N SAINT CLAIRST STE 1880                                                                          · 1DIICAGO. IL 60611-2927      !    717.001       717.0Di    667.001     so.001                           78.03

XX-XXXXXXX        !NCH MD INC                                                            !Po sox 741031                                                                                         lATIANTA, GA 30384-1031           1.no.ool      1,368.31;   667.oo;    701.31!                           7BD3

2~1816942         !PEDIATRICS IN MOTION                                                  POBOX832                                                                                               lMUNOELEIN, IL 60060-0832     I     a,s.oo!      66&.75\    666.751           .I                         78.00

~0-4090662 ·-··
                                                                                         6373108TH ST                                                                            I              !FOREST HIUS, NY 113751607    !   1,70IL88i      774.761    666.461    1118.311!                         77!37

XX-XXXXXXX        t::::::.:TPHARMA<Y IN.,. .                                             !sos3 GLENWAY AVENUE                                                                    i              !aNONNATI, OH 4S238-3903
                                                                                                                                                                                                I
                                                                                                                                                                                                                                  1,189.951
                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                 804.30!    665.441    456.86!                           77.85

38--1879370 ----- jANESTHESIAASSOOATES OF ANN AR                                         !Po BOX 673286                                                                      1                  !DETROIT Ml 48267-3286        !   1,325.00!      667.34)    665.31.1     2.03!                           77B3

11-162522S        lGeoRGES FERZU                                                         !PO BOX415662                                                                       1                  lsosroN, MA02241-S662         I    110.00!       110.ool    ...,~I      45.001                           77.BIJ
                                                                                                                                                                                                                                           I
XX-XXXXXXX        luN10N oBGYN INFERTIUIY GROUP                                          )1323 ST\JYVESANT AVENUE                                                                I              !sruYVESANT, NJ 07083-5380          66S.OOI      66S.00;    665.00\           -i                         77.BD
9S-3859526        )HUMBERTO GALLENO, M.0.                                                3lS N 3RD AVE STE 302                                                                   I              lcovtNA, CA 91723                 4,120.00!      813.88!    664.601    7B4.2B!                           77.75

~3089109          jKIUMARS MOSTOWFI MD SC                                                SOS N LAKE SHORE DR STE 203                                                                            l0tiCAGO, IL 50611-3678       i   2,oso.00!     1.291.ssl   664.391    633.16j                           n.73

51--0S19167       ';AHMC GARFIELD MEDICAL CENTER                                         DEPT LA 22678                                                                                          '/PASADENA, CA 91185          !   2,460.891      664A2:     66ot.42!   sn.ssi                            77.73

41--0973876       IANESnfESIA ASSOOATES OF 5T CL                                         370112TH STREET NORTH STE 202                                                           !              ISAINT CLOUD, MN 56303        i    948.SO: '     663.9s!    663.951           -1                         77.68

XX-XXXXXXX        !JOHN HOUSTON MD                                                       h730PARKSTSTE101
                                                                                                                                                                                 I
                                                                                                                                                                                                INAPEIMLLE, IL 60563          I    980.00)       663.95)    GG3.9Sl           -l                         77.68

XX-XXXXXXX        j_~~_P.ICAL SERVICES RIC                                               t27S'l SOLUTION CENTER                                                                                 lot1CAGO,_I~ 60677                 923.00)       756.051    662.491      7.32!                           775D

~3728865          iFRANIC NANI PHYSICAL THERAPY PC                                       345 N MAIN ST SUITE 1                                                                                  !NEW CTY, NY 10956                2,767.801     1,610.101   662.371    947_73!                           77A9
                                                                                                                                                                                                                                                        !
OS-2600107        !BETH St.LAR8AKER lCSW                                                 28 MILLBURN AVE                                                                                        [SPRINGAELD, NJ 07081             1,920.00!      962.04;    662.04l    300.00!                           77.4S

XX-XXXXXXX        lMJDWEST EXPRESS CARE INC__ ----·-                                     l1soouSHWY41                                                                                           lsatERERVIUE, IN 46375-1316         8S6.03:      842.03!    662.03!    194.001                           77.45

2~3392030 .. ....!PRECISlON PHYSICAL THERAPY INC                                         21HALCOOR                                                                                              ~PARAMUS~_~,07652                 1,610.00;'    1,326.so!   661.SOl    665.001                           7739

XX-XXXXXXX        [INFINITY PRIMARY CARE PllC                                            117197 N LAllftfL PARK OR SUITE 540                                                                    !LIVONIA. Ml 48152                  895.0t!      66L28i     661.,,;1     0.01I                           7736

XX-XXXXXXX        !HORRY COUNTY GOVERNMENT                                               tPO BOX 603246 HORRY COUNTY FIRE RESCUE                                                                IOfARLOm, NC28260                   826.ooi      82&.00l    660.801    165.201                           7731

XX-XXXXXXX
                  1
                   NJRAL PATEL MO                                                        11600 LAKESIDE VIUAGE LANE                                                              !              !WINDERMERE, FL 34786-S410    '    S?s.os!       800.17i    66Q_t71    140.051                           77:23

XX-XXXXXXX        !MARC G RUBINSTEIN                                                     401 EAST SSlH STREET                                                                T                  !NEW YORK. NY 10022-6158            705.00i      1os.ooi    660.ool     4S.oo!                           77.21

XX-XXXXXXX        \NORTH COAST FAMILY MEDICAL GROUP INC                                  1477 N EL CAMINO REAL A306                                                              I              !ENCINITAS, CA 92024-1350     I     97s.oo;      78553'.    sso.oo!    136.73!
                                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                                                         77.21

1.3-3904858       iGOLNAZMOAZAMI MO                                                      !635 W 165 STREET ROOM 304                                                              I.             \NEW YORK, NY 10032           I     900.00'      765.62!    659.75!    105.87i                           n.JB

SB-2102607
                  I
                  ·GEORGIA EMERGENCY ASSOCIATES                                          ]PO BOX 10066                                                                       T
                                                                                                                                                                             ··1--
                                                                                                                                                                                                TSAVANNAH. GA 31412-0266      !   1,998.00i'     659.621    6S9.62i                                      77-17

?6-0~         . ....lsr FRANCIS HOSP
                                                                                         I
                                                                                         JPO BOX415839                                                                                          TBOSTON, MA 02241                 3,088.00i      557.79!    657.79i           .!                         76.95

XX-XXXXXXX        IPATIUCAALARSON                                                        !POBOXS29                                                                                              !rr~IL60143-0529                    557.00!';    557.00j    657.aol           .1                          76.B6
                                                                                                                                                                                                                                                                               I
S5-0S28831        louNBAR MEDtCALASSOOATES                                               13752TEAYS VALLEY RD                                                                                   [HURRICANE, WV. 25S26             1.497.00i     1.066.82!   656.22!    410.60;                           76.77


                                                                                                                                                                           EXHIBIT2

                                                                                                                                                                                      83
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                                                                                                          AEU INTERIM DISTRIBUTION




                                                                                                                                                                                     818.27;      655.58\                           76.74
XX-XXXXXXX        !TAHOE CARSON RADIOLOGY LTD                         jPOBOX2087                                                )CARSON CITY, NV 89702-2087            2,508.00)     732.53}      655.75!              76.781       76.72
                                                                                                                                                                                                                       50.03!
                                                                      0
SS-05l2573        !PARKERSBURG RAOIOLDGY SERVICES INC                     POBOXS128                                             !CHARLESTON, WV 25361-5128               1s100'.     705.74/      6S5.n                             76.71
XX-XXXXXXX        i1ROQU01S MEMORIAL HOSPITAL                         J200ES:AIRMANAVENUE                                           WATSEKA, IL 60970                  1,084.25;     85S.47;      655.41.             200.00!       76.68
 6-3525140        iORACLE HEART & VASCUlAR PllC                       l22so OPITZ BLVD                                          [WOODBRIDGE, VA 221!:11-336l           1.11s.oo:     654.ssi      654.88                    .I      76.61
XX-XXXXXXX        j!~HN A EVANS MD PA                                 1414 NAVARRO ST                               STE1l28     :SAN ANTONIO, lX 78205                 3,940.71;     862.56!      654.~~i'            ,.;:;;1       76.60
XX-XXXXXXX ....,-re      WRS INC                                      .!~~ sa.unoNS ce,n:-_~--                                   l0-t1CAGO, IL60677-100S
                                                                                                                               ··-r-------                             1,420.00i     817.94/'     654.35!
                                                                                                                                                                                                            --··
                                                                                                                                                                                                                      163.59!       7655
XX-XXXXXXX        ;RIVERLAKES SURGERY CENTER LLC                      l1SOSMEANYAVESTEB                                         !BAKERSFIELD, CA 93308--5178           s.000.00;    2,762.14;     654.141          12.1oa.001I      7653
XX-XXXXXXX        jENDO & DIGESTIVE C WOODBRIDGE                      !14904 JEFF DAVID HWY STE103                              !wooDBRIOGE, VA 22191·35108            1,200.ooi     &54.ooi      654.00;                           7651
                                                                      I
80-0103.251       [HEARTWISE CARDIOLOGY PllC                          'POBOX8S27                                                    BELfASr, ME 04915                  2,4so.ooi     82L03/       653.55'   '         167.48        76A6
45,,5217513           OEGARA GARDEN CITY PLLC                         leoxm3o7                                                  iDIJCAGO, IL606777009                    653.101     &s3.1of      653.10·                           76.41
27•2452694        SPEEot PATHOLOGY & SWALLOWING                           3375 PARKAVESUITE4010                                     WANTAGH, NY, 11793-3799            1.540,00!     815.?Gi      GS2.GO              163.161       7635
XX-XXXXXXX        'HEART VASCULAR INSTITUTE PUC                       'l4160JOHNRST                                 STE510      \DETROIT, Ml 48201-2021               3,004.so;      69L1Di       652.08,           1,170.02.       76.29
XX-XXXXXXX        .SWEDISH EMEff:§.~_CY ~CPC                          \POBOX5940DEPT.201070                                     iCAROLSTREAM, IL 60197-5940           1,227.00
                                                                                                                                                                               1
                                                                                                                                                                                     652.DD!      GS2.00:             5oa.ool       76.28
06-1~3200         MED NOW PC                                          h040 BARNUM AVENUE                                        lSTRATFORO, cr 06614                  1,069.00
                                                                                                                                                                               1
                                                                                                                                                                                     978.91i      652.001             326.911   '   7628
XX-XXXXXXX        PEDIATRIC ENDOCRINOLOGY & DIABEJ'ESSPEO             14so1 cameron Valley Parkway                                  Charlotte, NC 28211                  701.00:     &97.o3i      GS2.03,                           76..28
XX-XXXXXXX        L PAT ROBINSON MD PA                                '
                                                                      1275 FORESrAVESUITE125                                    !PARAMUS, NJ 07652                     1.074.08)     691.771      65L77!                            76.25
XX-XXXXXXX        HUGHSTON QJNICPC                                        POBOXlB745                                            laeLFASr, ME 04915                    14,786.00!    2.442.23!     651.351                           76.20
62-U66047         !soUTHEASTERN EMERGENCY PHYSICA                      PO BOX 634706                                            lcNCNNATI, OH 45263                      868.00:     651.00/      ss1.oo!                           76.16
                                                                      I                                                                                                                                 !
XX-XXXXXXX        '
                  'UGJ-ITHOUSE HOME HEALiH CARE LLC                   J12S MAIN STREET                                          !oU> SAYBROOK,, CT 06475                 65056!      650.56!      6S0.56i                           76.11
                  I
J.3..4306125      IATNT HOME HEAL111 CARE INC                         !10719 WINTERSET DR                                           ORLAND PARK, IL 60467•1106         1,300.00!     650.0o!      650.00                            76.04
27-36762.11       loAK PARK PEDlATR!CS LTD                            i1107 CHICAGO AVENUE                                          OAK PARK, U., 60302-1803             675.00!     675.001      650.00                            76.04
27-45D2404        1NEAL H BEWN DO                                         2000 N VIUAGE AVE SUITE 103                               RVC,NY 11570                       2,275.oo'.   2,21s.ool     650.00                            76.04
XX-XXXXXXX        COMMONWEALTH ORTHOPAEOICC!NTER PSC                  f.9BOX188010                                              !ERLANGER. KY 41018                      650.00;     650.00\      650.00i                           76.04
XX-XXXXXXX        'lSTAMFORO PEDIATRIC ASSOCIATES PC                  l121s SUMMER ST STE 301                                       SfAMFORC, tT, 06505                  955.00!     910.65!'     649.73                            76.01

XX-XXXXXXX        ASSOOATED PEDIATRICS OF FOX VALLEY                      2121 RIDGE AVE STE 101                                    AURORA, IL 60504-7001                910.00:     736.ooi      649.ooi                           75.93
XX-XXXXXXX        ORTHOPAEDICSPECIALIST50F NCPA                           POBOx:16518                                           ]BELFAST", ME 04915                    1,28320'.     769.03i      649.03    '               .1      75.93

XX-XXXXXXX        FOX VAlLEY HEM ONC                                  1   3232 N BALLARD ROAD SUITE 200                         jAP?PtETON, WI 54911                   1,?._60Ali    9SU6l        648.52              303.?.~       75.JJ7
XX-XXXXXXX        KIMBERLY COOPER                                     !581 N FRANWN TURNPJJCf                                   lRAMSEY, NJ07446-1139                  1,320.00!    1.129.70;     647.!JO             321.80        75.JJO
XX-XXXXXXX        INTERNAL ME DIONE ASSOOATES LLC                     h01 E HURON srsre 12-2os                                      CHICAGO, IL60611-3127               845.oo:      672.32!      647.32               25.00        75.73

XX-XXXXXXX            oocroRS OFFICE OF NEW JERSEY LLC                i484 TEMPLE HIU ROAD STE 104                                  NEW WINDSOR, NY 12553-5529          ss2.001      726.461      646.46!              so.ool       75.63
XX-XXXXXXX        loocroRSOFACE Of MANAlAPAN LLC                          484 TEMPU: HlLLRO SUITE 104                               NEW WINDSOR. NY 12553-5529          775.00!      726.40)      646.40!              so.ool       75.62

XX-XXXXXXX        !NORTH CARO UNA INTERNAL MEDIC NE                   izst KEISLER DR                               !STE300     !CARY, NC. 27518                       1,779.lSl    1,055.58~     646.42!            233.93j        75.62

36-323531S        RUSH COPLEY OBSTETRlc.sGYNECOlO                     !POBOX2091                                                 AURORA. IL 60507                      1,517.00      801.10:      645.68]             161.421       75.54
~1786209          !CENTERS FOR REHAB SERVICES                         iPOBOXS36213                                              !PITTSBURGH, PA 15253
                                                                                                                                                                 i-    1,366DO!     .. B44.4s(_   64S.34j             199.11!       7550

46-389S761        ]SUBURBAN INFECTIOUS DISEASE LLC                    j3530 MOMENTUM PlACE                                      louCAG0.1L 60689                        925.oo!      645.26i      64S.261                   ·I      75.49

;~_161813         IRON MEADOR PT                                      1333 EAST79TH                                             !NEW YORK, N'f 10075-0957
                                                                                                                                I
                                                                                                                                                                         645.00!     64s.ool      64S.00,                   -!      7SA6

3~3417094         IGEORGE LANE 5rANKEVYOf MD                          14119 W SHAMROCK LN SUITE 200                             !MCHENRY, ll600S0-8289                   730.oo:     730.001      64S.OOi   '          as.col       75.46


                                                                                                                  EXHIBIT2

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                                                                                                                    AEU INTERIM DISTRIBUTION



f~~                                                                 ~        . ·:~~ ~ :~~~--il~r::'                                                                                                                                                       --
                                                                                                                                                                                                                                               r ""-AA'ond~1~
XX-XXXXXXX         '
                   !AESTHETIC& CLINICAL DERMATOLO                                '
                                                                                 !908N ELMSTSTE300                            '           lHJNSOAl£, ll 60521-3625                     1,675.00;           1,527.731     643.88!     883.ssl            7533
                   I
XX-XXXXXXX         !BERNARD ANNERlY Pr                                           !188 W MNTK HWY surre E 4                                !HAMPTON BAYS, NY 11946-2363    !            1,152.00i             643.sol     oo.sol           -j            7S.28
3G-38902518        !DREYER AMBULATORY SURGERY                                    !PO BOX1566                                  l           !AURORA,. IL 60507                           1,970.00;             643.00!     643.ooi                        75.22
XX-XXXXXXX         INORnt FLORIDA OBSTETRICAL & GYNECOLOGICAL ASSOOATES PA       IPO BOX 16907                                            IJACKSONVJLLE!.f.132245                      1,045.00              642.381     642.38!     121.os!            75.15
XX-XXXXXXX         !BIUAN BLINDERMAN                                             IPO BOX 419276                                           !BOSTON, MA02241-9276                        2,423.00'. -·---·     667.osi     642.06i      25.ool            75.11
                                                                                                                                                                                                                   I
XX-XXXXXXX         (CMG PAIN MANAGEMENT                                          i 1100 W. 31ST ST'REEr,5UITE400                          !DOWNERS GROVE. ll 60515                          686.00.          686.00l     641.ooj          -1            74.99
                   I                                                           ---T--
XX-XXXXXXX         'THE EAR NOSE AND THROAT CENTER                               I187SDEMPSTERST                              1...1       tARK RIDGE. ll 60068                              ege.ao:          764.461     640.92)     123.54!            74.98
XX-XXXXXXX

XX-XXXXXXX

XX-XXXXXXX
                   !wESfSlaE FAMILY MEDIONE

                   /SEOFDRDS COMMONS OBGVN

                   !KAREN FLEMING SHERMAN RN MSN
                                                                                 .300Wl08TH
                                                                                 !201 ~~;~~CE
                                                                                 115 KINGDOM RIDGE RO
                                                                                                                              l~~-;¥-     'NEW Y<>_'!.",!'.!.!IJP,25
                                                                                                                                          ,BEDFORD, NH 03110

                                                                                                                                          /seoFORO. NY 10S06
                                                                                                                                                                                            640.44!
                                                                                                                                                                                       1.110.ooi

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                                                                                                                                                                                                                                                        74.93
                                                                                                                                                                                                                                                        74.89

                                                                                                                                                                                                                                                        74.87
                                                                                                                                                                                                  I
XX-XXXXXXX         !BORISBIV<OV                                                  iPO BOX 415662                                           lsosroN, MA 022<1-5662                            660.00;          660.oo!     640.oo!      20.00;            74.87
06.1684615         !CENTER DERMATDLOGICSURGERY MON                               lso3 ROUTE 2oa                                           ''MONROE. NY 109SO                           1,940.00]           1,683.831     539,17/   1,044.661            74.78
77~546279          l.solJTHWEST PEDIATRICS A MEDICAL                             l98025r0CKDALE HWY                           5TE103      !BAKERSFIELD, CA 93311-3&53                  1,050.00]             638.99!     638.991          _j            74.76
XX-XXXXXXX         IJACEK E LYSZKOWICZ MO                                        !J015 MILSTEAD AVE NE                        STE 100     CONYERS GA 30012-4515                        3,3is.ool           1,883.72!     638.90!    384.82!             74.74
22--3469401        !iEAN MAICHLOUF MD                                            1sS6 EAGLEROCK AVE SUITT.106                 i           ROSElAND, NJ D7068                                970.00i          638.23!     638.23i          -1            74.67
XX-XXXXXXX         !GRAMERCY GYNECOLOGY PC                                       !115 E 23RD ST                                   FllO    !NEW YORK. NY, 10010                         1,s10.ool           1,324szi      637.76[    687.1&i             74.61
XX-XXXXXXX         lcoUABORATIVE LAB SERv                                        [114WOODLANDST                                           IHARTFORD, CT 06105-1299        I                 739.ool          660.99i     636.991      24.0Di            74.52
XX-XXXXXXX         !DERMATOLOGY & LASERCTR OF otARLESTON                         !2180 HENRY TECKLENBURG ORNE                             IOfARLESTON, SC29414-5798                         909.00           909.0D!     636.301    212.101             74.44
2~515S99S          \BAPTIST HEALTH MED!CAL GROUP                                 16855 5 RED RD                               5TE600      !sount MIAMI FL 33143-3518                        707.00:          636.3D!     636.30!                        74.44
                                                                                                                                                                                                     :
XX-XXXXXXX         !RETINA VITREOUS ASSOC PC                                     14930 WEST 95TH ST                                       OAK lAWN, ll 60453                           4,634.00            1,803.99; '   53Sssl    1,168.04!            74.40
XX-XXXXXXX         lcooK 0-1ILDRENS PHYSICAN NETWORK                             iro BOX 99371                                             FORT WORTH, TX, 76199                       1,287.00;             685.021     635.021      so.ool            74.29
XX-XXXXXXX         IATI.ANTIC EYE PHYSICIANS PA                                  )279 THIRD AVENUE 204                                    !LONG BRANOI, NJ 07740-6210     I            1,.425.00'            634.66!     634.661          _!            74.25
XX-XXXXXXX         loRTHORXINC                                                   !s204TENNYSON PARl<WAY5tJIT£ 100                         iPlANO, TX 75024                                  975.oo:         633.75!      633.75i          _i            74.14
XX-XXXXXXX         !OCEAN EYE INSTITUTE PA                                       1601 ROUTE37WEST                                         TOMS RIVER, NJ 08755-8050                         67aooi          678.00:      633.0D'     45.aol             74.05

XX-XXXXXXX         lsollTHW!ST PEOIATRJcs, 1Nc                                   !6526 LANSDOWNE                                          ST. LOUIS, MO 63109                          1,()45.00!           632.511      632.Sli          -i            74.00
XX-XXXXXXX         ISHREWSBURY DIAGNOSTIC IMAGING UC                             jpo BOX 20521                                            NEWARK, NI 07101-5521           i            2,356.00:           1,.161.001    632.17!   1.134.831            73.96
                                                                                                                                                                                                                     I
l.3-38009n         IGWENSKOROVIN MD PC                                           l70 EAST 77Tlt STREET SUITE 16                          -'.NEW YORK, NY 10075            I                 950.00i          937:?,!i    632.08!    305.101             73.95
XX-XXXXXXX         [woMENS COMPREHENSIVE HEALTHCARE                              '
                                                                                 jPOB0Xl20n                                               BEi.FAST, ME 04915-4011         !                 930.DO'          656.25!     631.251     zs.aol             73.85
XX-XXXXXXX         ICENTRf EMERGENCY MEDK:ALASSOC                                iPOBOX6009                                               !HERMITAGE, PA 16148                              631.DO!          631.DOi     631.0D'                        73.82
XX-XXXXXXX         \JERSEY SHORE BETHANY PEDIATRICS PC                           iPo BOX 416891                                           !BOSTON. MAOZ?,41-6891                            680.00'.         680.0Di     630.00;     so.ool             73.70
XX-XXXXXXX         IHAMILTON GI ANESTHESIA U.C                                   !POBOX9946                                               !TRENTON, NJ 08650-2946         I            1,085.DQ!             630.ool     630.ool          _!            73.70
                   1
XX-XXXXXXX          CAROUNAANESTHESIAASSOC                                       !POBOX2429                                               MURREUS INLET SC29576-2429                        700.oo:          700.001     6ao.ool     10.ooi             73.70
XX-XXXXXXX         IEUSEBRETTMD                                                  !112 EAST 84TH STREET                                    [NEW YORK, NY 10028                               67SDQ(          s1s.00i      630.ool     45.00(             73.70
46-427476S         !SCOTT SANDERS MD
                                                                                 I
                                                                                 IPOBOX 158                                               ''NEW CTY NY 109S6-0158                           965.00(          709.34!     529.341      so.oo!            73.63
                   I
XX-XXXXXXX         IIStANO HEIGHTS OF NEW JERSEY PC                              13342 US HIGHWAY !I                          l           loLD BRIDGE. NI, 08857•2685                       945.00(
                                                                                                                                                                                                     ,       709.06{     629.061      ao.oo!            73.59
                                                                                                                             !
XX-XXXXXXX         iiFK MEDICAL ASSOCIATES PA                                    !roeox11912                                              !EWAJ!~!!O~l                                 2.278.oo:           1,297.28;     628.28!   1,271.45;            73.50
XX-XXXXXXX _____   !lST All.ERGY ASTHMA & PEDIATRICS TOO                         'j6801SYOSEMITESTREET ....                               laNTENNIAL. co sou2-1406                          m.001           1n.oo;       .,,.ool    150.00!             73.35
                                                                                                                                                                          i                       .
26-029415S         !JAMESMBURYMD                                                 j7137 236TH AVESTI: 103                                  jSALEM, WI 53168-8975          ..i_______,----·   955.00i          gss.ool     621.ooi    328.oo!             7335
XX-XXXXXXX         !HOLZER                                                       l100JACXSON .,.,                            I            iGAWPOUS. CH 45631              i            3.102.zoi           1,305.28!     626.63!   2.290.42)            73.31


                                                                                                                            EXHIBIT2

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                                                                                                                                AEU INTERIM DISTRIBUTION




                                                                                        !10060 DEMIA WAY                                                       !RORENCE, KY 41042-4734                                    1,120.00!           819.35!      625.79;             193.56l                7321

                  i=======-=---------------+PO'-'BO=X.=21=02=-------------;-----+'Sl<YIA=ccN=D•~C.cc2cc87'-'7"-6-------'----'1"',64"'7'-'S:::D._)_ _ __:64;:;7c,.8~1i--~·=2S~.~17_,.l_ _                                                                                  ~64~9=.34-'!i-----'7-"3.1=4'-1
                                                             !sg WEST12TH STREET              [su1TE1e i"EW YORK. NY 10011-ss20              750.oo:     1so.00£            625.ool      125.00~                                                                                                      13.12
F22=·cc33=1~600=7'-----i1~BA~RNABAS=-·-HEALTH MEDICAL GROUP              -----+,P~O-BO~X-82-67-.-.------------i                                       --+.P~hl-b~                               -----t-======625.:::oo:i========·:2S.O::o:~====~·2S=:.oo:i~. ========:=========~7-3:::.1~2:
                                                                                                                                                                ...~e~.':!!~~--PA=1.~1~82=1>o~7~..
XX-XXXXXXX        lasu INTERNAL MEDICINE LlC                                          PO eox 633810                 i                                          1C1NC1NNAT1, OH, 45263                                       &ss.00!           &ss.oo~      6zs.ool              40.oo!                11.12

!.6::4~.~         jWESTSUBURBANWOMENSHEALTHLTO~-----                -------<1~54~S_PIA~••-A~ELD~•o___-____ ________ Im c                                       iw1U.OWBROOK, ll.60527                                      904.00!            741.38i     _624.&tl.._ __ .. ____ 11S.77i-[-----'=-='=.o.:...i1
XX-XXXXXXX        JBETH LEDVORA MD SC                                                   ;,soswcOLLEGEDR,SfE2W                                                  !PAL0.SHEIGHT5,ll60463                                     2,750.0ol           849.33,      624.331             413.74                 73.D4

XX-XXXXXXX         DERICK DERMATOLOGY UC                                                /525 E CONGRESS PKWY STE 200                                               CRYSTAL lAKE, IL, 60014                                2,170.0D!         1,895.58:      624.25\         1,321.33r                  73.03
XX-XXXXXXX        \SAMARITAN PEDIATRIC SERVICES PC                                      PO   eox !35000-6555                                                   tPH1LADELPHIA. PA. 1919S                                   zm.ool              9s3.1ot      623.9s   l          830.15                 13.00
                                                                                                                                                               1
XX-XXXXXXX        !vlA CHRISTI HOSPITAL WICHITA ST TERESA                               IPoBOX48SS1                                                             wlOIITA,KS6720l-8493                                      1,m.00\             923.45~      &23ASj              300.00!                72.94
XX-XXXXXXX        !MARQUE URGENT CARE                                                   [22461ANTONIOPARKWAY                                 [135               RANOtOSANTAMARGARITA.CA92688                               m.oo!              829.ooi      m.20\               2os.soi                72.91
46-498399S        IFALCON EMERGENCY PHYSIOAN5 Pl.LC                                     IPo Bm: 98861                                                          !lAS VEGAS, NV 89193                                        923.0Di            923.ooi     623.oo!              300.ool                12.ss
                                                                                                                                                                                                                                                                 1
                  I                                                                     PO BOX 34960                                                           !SEATTI.E, WA98124-1960                                    2,209.00!         2,209.00f.'   622.81 ,         1   .e86.19                72.BG
9_~~:~~l9Z .... ·t•,PRAUYMGET SNODUNN~C0HYSRA_l~PCPLL                                                                                                                                                                                                                      -
4.rv.-.                     0      ._.      r,                                          SSOOMERRICKROAD                                                        lMASSAPEQUA,NY11758-a231                                   1,340.0D!           622.SO[     622.50!                                     72.83

&S-0784345        !1NTERCOASTAI.MEOICALGROUPINC                                         j943saENEVARD                             _ _ _..,.ISTE_l_D6_ .. --·-- SARASOTA. FL..34_2_32_ _ _ _ _ _---+'·--         ····---   2~9.00} , --~1.~11-•~·o_s.,.i--~•22.o=c.,s!_ _~•~37'-".o=or!----~72=·"-'-I

F'=-'•=m=•sc::u,__..!"'MA'-'TTISO==""P"'A"'=OUlGY==LL::..P_ _ _ _ _ _ _ _ _ _ _ _ _ _ __.fro=•~ox'-'67=so=oo~------------;-----rD£TR=O~IT~•.~~--••=z~•'-------+--~'~•63=""='+-'-----''"'84-"Z.~7-=s!,---•=20=.'-"46'i-!_ _..cl.2=22=.32=-,'------'''-"2.S=•"-I
 XX-XXXXXXX         leouLDER MEDICAL CENTER                                             f2750BROADWAYSTREET                           ,BOULDER.CO S0304                  927.99!               620.09!        620.09!             .f                   72.54
XX-XXXXXXX        !ROLAND NYBN Mo PC                                                    [PO sox 1338                                                           !svOSSET, NY 11791                                          780.oo!            620.0oi     620.ool                                     12.s3
                                                                                                                                                                                                                                                                                         1
7~1967809         JGASTROENTEROLOGY CONSULTANTS Of SAN ANTONIO PA                       PO BOX 2778                                                            'SAN ANTONIO, 1X 78299                                     1,559.001         t,02cu4f       620.00J             400.24                 7253
                                                                                                                                                                                                                                                      I
XX-XXXXXXX         BAY AREA SURGICAL SPECIAUSTS INC A                                   !PO BOX 97297                                                              lA5 VEGAS, NV 89193-7297                               4,178.00:         2,05S.84i      617 Z1 t        1.43751                    72.28
                                                                                                                                                                                                                                     1
XX-XXXXXXX        !UNITEDOCOJPATIONALMEOIONE&WALK                                       !POBOX6381.4                                                           ,PH0£NlX,AZB5082-3814                                       922.00             737.60~      617.60!             120.00I                72.25
                                                                                                                                                               1
~3154072          !SAMARrrANCOUNSEUNGCENTER                                             POBOX2196                                                                  NAPERV1LLE,JL60567-2196                                 azs.oo:            742.501      611.sol             m.ooi                  12.24

XX-XXXXXXX        !~.!!:!~ESTEMERGENO'ASSOOATES-_ _ _ _ _ _ _ _ _ _ _ _ _               f-PO=BO~X'-'63~75=61'------------+-----t-□=•=c="="=•TI=·=O=H=45_2=63-_7_56_1_ _ _ _--;---=823~.~ooc,l_ _ _ _.=1=7.25=+:..--==t------!;-----''-"2=.2,1
XX-XXXXXXX.        RUSHAMBULATORYBEHAVIORALHEALTH                                       ]75RfMrrTANCEDR,DEPT1611                                               ;OilCAGO,IL60675-1611                                       112.ooi            112..00!                          9s.oo!                72.18

F2c,,:&-0::,7'.-"8::.:783e,:8,,_·..,··1=Sl(J=N:..:CAN=C:.,:E:c•&=COS=M""ETI"'C"'D:.,:E_ _ _ _ _ _ _ _ _ _ _ _ _ _-+13=·=""-"m=eAE=ID'-'CR=OSS='"=-G=-CT'---------+-----11RJNGGOLD,GA,,-=3=07~36-~5=1='·'-----;---'l."'154=.4D=;..'- - - - - '..
                                                                                                                                                                                                                                              -='=··='';...;--==i------l:--_ _ _ _n=.D.:...i7
XX-XXXXXXX        CONWAY ANESASCPA                                                      IPO SOX 546                                                   ---l'CC=W,::M:.,:BIA.=SC=292,,,0=2'-'-0S"'46"'--------+---"=0.00=•----'"°=·DO=-'--==<----'=""-------"72:,.0::,7-4
XX-XXXXXXX        ICENTER FORGASTRotNTESTINAL MED                                       !sooWESTPUTNAM AVE5TE 100                        ···-7--              GREENWICH, cr0683o-so79               !--·--·· 1.560.=oo=i____s=64=.S£.,. ;--==-=--~=c=t-----~12=.os=-i
XX-XXXXXXX ..... ~EUROI.OGY ASSOOATES OF STONY BROOK PC                                 iPo BOX 417983                                                          BOSTON, MA 02241-7983                                      825.ooi            660.00;      615.00                                     71.95

22·3580952        !NEW JERSEY FOOT & ANKlE CENTERS PC                                   !sso KINOERICAMACK RD STE 202                                           ORADELL, NJ, 07649                                        1.oos.00:         1.oos.ooi                                                 71.95
XX-XXXXXXX        ilAKE-CDOK BEHAVIORAL HEALTH RESOURCE                                 3345 N ARLINGTON HIEGHTS ROAD                        ,STE E            IARLINGTON HEIGITTS. IL 60004                              1.625.00!           97s.ooi      615.00                                     7US
81·2808287        APEX MEDICAL PROFESSIONAlS                                            !6-20 PlAZA ROAD                                                        FAIR LAWN, NJ. 07410                                       615.ooi            61S.oo(      615.00                                     7US
XX-XXXXXXX        !PRESBYTERIAN INT HOSP                                                !pa BOX 51120S                                                         I LOS ANGELES. CA900S1                                      939.00             615.05!                                                 71..95
XX-XXXXXXX        iPHYSIOANS AUTOMATED lABORATORY INC                                   !PO BOX 144405                                                         !AUSTIN, 1X 78714                                          1.415.60:           893.82:                                                 71.93

XX-XXXXXXX        !WE5!SICE PEO_lATRl~INC                                               (po SOX 8944                                                            BELFAST, ME 04915                                  -~64~7~.ooc.+!____•~1~•.6~Sc;-i---==;-----+-------''='""'''-'
20.0121411        fwAXAHAOIIEANESrHESIA CONSULTAN                                       lpo BOX84544                                         :-------+~TILE, WA 98124                                                       900.ool           900.00~      612.,~l                                    71.68
ss-1228604        !KET~UM woo~-;:~URGERTCHARTE=RE:::D,:___ _ _ _ _ _ _ _ _ ___,l:::1899=E,,,1D::Ec:R.=C0::u:.::•c:..r_ _ _ _ _ _ _ _ _ _ _   +------+'"AWl=HASSE=E. FL32308-4537                         --+---1.390~_-oo~i____•_1222_.,: ____•u~-~22'-+l____-+-_ _ _ _ _1_1_.62__,
62-1730S19        !VHSACQUISITIONCORPORATION                                            lPOBOX745837                                                           ILOSANG~:CA90074                                           1.046.32            912.DO'.     612.0DI                                    71.60


                                                                                                                                           EXHIBIT2


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                                                                                                                                     AEU INTERIM DISTRIBUTION




13-266ms        '!a.ARKSfOWN PEDIATRICS
 27•2934823     !ENOOCRINE ASSOOATE OF WEST VlUAGE                                                 i21ssEVENTHAVE 2ND FL                                            ]NEWYORK..NY10001-6884                                   ss1.ool             146.sa~            611.ssi            165.oo:                   11ss
 06-165474S     !MGMMEOICALASSOOATESLTOSC                                                          l834SWESTMAYNARDROAD                              l              [NILES,IL60714-1058                                    4,895.20:            2,104.60)           611.30!          4,114.9D!                   71.52

 11-352457S     jEASTSIDEMEDICALASSOOATES               _ _ _ _ _ _ _ _ _ _ _ _ \:.,:PO'-'BO=Xc:,49:.,74"-------------,'------,i=•E=LfccAST=•Mc,E'-'04=91:,:~.::900=-----+---'1,<C79=:5e,,IIO,e.:,----"87:,,5e,.D5"\;_ __,&,:l:1-30'°'i-!---"'333=.75<;!_ _ _ __,7ce15:e,2'-!
 22·3683554     !ADVANCED AMBULATORY ANES                                                          !!?...!5:'J.t.~34~3~-------------1 . -----··----- ___            \MIDlAND PARK. NJ 07432                                1,SOS.OO;             763.ooi            610.40]            152.60l                   71.41
 oS-3800827     !~1LUAN HENRY                                                                      JNYU CARDIOLOGY ASSOOATES                         lPOsoX415662 tsosrON, MA0224t                  _ _ __,l____                                             1 - - - - - i - - - - - ~ ' ~ u ~ •...
                                                                                                                                                                                                               &1_0._oo_,i_ _ _ _s_1_0._oo..,.!_ _ _&_10_.oo_,,_;
 XX-XXXXXXX     IH□WARDGOlOtN, MD         -----------·-----:=14IB=EAST=.:c"=srsm=•=er'-----                                                                         !NEWYORK._~-~~_1________7                     ___._10_.oo...,:c-----•1~•-·00-;'--~•=1~•·00~,+;'              -----;-----~'~'3~•,
 XX-XXXXXXX     !eesrCAREPEDJATRICLLC                                                              l:!!~~ATE ROUTE 19.sre u                  ....•   f,-~:~:~-    ··--\M□RGANVllf, NJ~,•~'~"~'-----+--~650=.oo~:,----~•'="=·ooc;j. --~•='""".oo""'+-1_ _ _..=.ooc.,!------='~u::;•,
 n-101SOia      /SKtN&lASERCENTEROFNif.LC                                                          lissRAMAPOVAllEYROAD                                             /MAHWAH,NJ07430                                        1,w.00:               848.SOl            610.ooi            23850!                    71.36
 a1-06601ss     l APPLE A DAY PEDIATRICS                                                           184TEMPlETON DR                                   Im 106         !OSWEGO. 11.. 60543                                    1,445.00i             733.ool            soa.ool             ,s.ooi                   7Ll3

 gD-0809664     ilVY ll:AGUE PEDIATRICS INC                                                        :603 OLD NORCROSS RO                              STE A          !LAWRENCEVlllE, GA 30046-4315                            607.50;             607.SO)            607.sol                 -1                   71.07

 11-31B6717     lLDNGISLANDPATHOl.OGYlABORATORYINC                                                 li433HOOPERAVE                                    SUITE320       TOMSRIVER.NJ08753                                      2.41S.OO!             795.25!            606.951            188301                    71.JJl

 s2-121sss1     l1NS1GHTHEALTHCORPDBA                                                              is77SWAYlATABlVD                                  STE400         MINNEAPOUS,MN,55416                                      607.oo;             so,.oo;            607.ool                 -l                   71.Jll
ss-2061514      IGASTROENTEROLOGY SPECIALISTS OF GWINNETT                                          f121 WELLNESS WAY STE 100                                        ILAwRENCEVtUE, GA 30046-3304              !            2,109.ooi           t,084.oo~            607.oo!           477.00/                    11.01

XX-XXXXXXX      !AVERAHOMEMEDICALEQ.UIPMENT                                                        IPOBOX5045                                                       lsrouxFAUS,SD57105-3706                   !            t.049.zs!             891.B&~            606.s11           285391                     70.96

F3-'-6--'-37~684='"~-tl~••=OS~PE.c.CT=H~EIG~HTS=cc•u"'RA1=F~PD~---------------.-l•~-□~-so~•-••~'-------------+----~w_HE_E_UN_G,c:;IL:.;6ll090==---------l----'606=.00==-,-;_ _ __,•:::••::::-DD:::;..!_ __,,,606=.oo,:;!_ _ _ _-+I_____7.:.,D:::,.90"-l
 XX-XXXXXXX  !GLOBAL CARE MEDICAL GROUP                                          isss PAWTUCKET BOULfVARD surrE 3                 towru.. MA 01254-2042              1.982.00     1,748.79t               605.79 !          1,143.oo[  10.&1

XX-XXXXXXX      )PROsPEcr er MEDICAL FOUNDATION, IN.C                                              i1so1 w OLYMPIC BLVD                              iFlLE 2201     !PASADENA. CA. 91199                                     895.01!             630.75!            605.7s   I          65.001                   10.a,
ss-1092732      !PALM BEACH ATLANTIC UNIVERSITY INC                                                lsoso SPRING VALLEY RD                                           0Al.l.AS. TX 7S244-3909                                4.214.oo!             a12.02!            60S.61   I       3,144A1I                    70.85
XX-XXXXXXX      !GLENDORA DIGESTIVE DISEASE JNSTITUT                                               !1794 s BARRANCA AVE                                             !GLENDORA. CA 91740-5421                               2,452.00[             60s.oo;            &as.ooi                 -I                   10.1&

XX-XXXXXXX      IMAPLEWOOOPATHOLOGYPC                                                              iPOBOX8870                                                       1ALBANY,NY:122oa.os10                     i            1.oao.00!             1ss.00!            604.aol            is1.2ol                   10.16
XX-XXXXXXX      !SCARBOROUGH PHYSICAL THERAPY ASSOC                                                1s1 US ROUTE ONE                                  SUJTEJ         !SCARBOROUGH, ME 04074-7145               i              863.00i             863.00!            604.10!           258.901                    70.67
XX-XXXXXXX      !ROBINDARNELlMD                                                                    !4407MACCORKLEAVESE                               STE2           IOIARlESTON,Wi/25304-2505                              1,635.00i             628.531            603.531             25.oo!                   70.61

XX-XXXXXXX      lBAlANCEo MOTION PHYSlCAl 'THERAPY                                                 ls GRASSY LANE                                    !              \WESTFORD, MA 01.886-6800                              1,490.ool           1,490.ooi            G03.11l           BS6.s9i                    10.56

S2-0890739 .. _JQU~OlAGN'-'O.:.S11c;CS=••=CORP=.:.ORA=TED=M~D~------- _ _ _ _ _ii="'°='·~"=lP~"~"~"·=·~··~·•~RD----------j------t!"""~:n~M~O~RE~._M~.~2=122=7~------l•                                              ......._. 2,473.87!..        s10.soi            600.33i           210.111                    70.23
)"3.:.9-D,::8=0636=7=---+:M=ERITE=Re.,H'-'0:,:SPIT=Ato;l,c:NC::__ _ _ _ _ _ _ _ _ _ -------+'-IP.=cO.c.BD,cX,_,2.:.670=8__                                          !SALT 1AKE CITY, UT84126                               1,0S8.81:!'-1---~900=.D-=,si;...__ _6:,DD=-=05ct-;1_ _~300=.00-=,'!,-----'7C.:D:~D4
XX-XXXXXXX      !PErERBMILBURN MD                                     --------l,_•02~•-STH_A_VEN_UE_                                  ---1-------fl~""·••P=~O="'-=YN=,NY=1=12=....,.."-"=------+---11=•-~oo"-l·----"='·oo::::;.!_ _..:600=-DD=-·,-;---'1,,1=•.D:::D,_1_ _ _ __c7D:-'""'-l
D6-1491182 ····1C0~NECTIWTEAR,NOSE,THROAT                                                          :21WMAIN5r                                        Fl3            1WATERBURY~.q!06702                                      78LOOi              599.7(...... _..:5"'99"'.73=;-f_ _ _40=.DD=ri_ _ _ _-'7=0.°'16'-I

XX-XXXXXXX      IPRosPEcrWATERsuRvr•c                                                              l1ao1woLYMP1cs,vo                                 i              PASADENA.CAsws-22os                                      soo.u·              , ...u;            599.ui                  .!                   10.09
XX-XXXXXXX      ILAKEZUR10t PODIATRY PC                                                            lgso w MAIN ST SUITE 1os                                         lAKE ZURIOi, IL 60047-3419                             1,000.00'.            S99.o6i            s99.06l                                      10.cs
XX-XXXXXXX      ISUBURBAN PfDIATRICASSOC!AlESINC                                                   ]po BOX 932142                                                   CLEVELAND, OH 44193                                      630.00;             S98.so!            S98.501                 -i                   70.02

XX-XXXXXXX      [ADVANCED PAIN CONTROL LTD                                                         \12345 W BEND OR SUITE 302                        !              ;SAINT LOUIS, MO 63128-2182                            3,290.00:             860.78!            597.96j           262.82)                    69.96

                INASSAu OPHTHALMOLOGY ASSO□Am PC                                                   1123 Gaove AVENUE SUITE 214                                      !CEDARHURST, NY 1151&                                  u20.ooi             1,092.ool            591.oof           49s.ooi                    6!U4
XX-XXXXXXX      100-ISNERCLINICUC                                                                  !is14JEFR:RSONHWY                                                /NEWORLEANS,LA,.70121                                  3,952.DS'           1.572.65[            596.35j            9763S!                    69.77

 35-14S8053     !NEUROLOGICAL INSTITUTE SPEClALT                                                   !s21 E 86TH AVE.                                                 MERRILLVILLE, IN 46410                                 1,275.00:             59631:             596.311                  -1                  69.76

XX-XXXXXXX     !X-ltAY CONSULTANTS INC                                                             /po BOX4D16                                                      lsoUTHBEND, IN. 46634                                    844.00J... _ _ _~•=82.3=2l     ...__ .. ~S96=.2•c;l---=86=.06"'i-l-----•=•cc-7.:....i•
                                                     _ _ _ _ _ _ _ _ _ _ _ _ _ _!;4c1DO=J=O~~.=N=R------------+----t'!o=ETR=O~rr.=M=l48201:2D13
                i1NPATIENTCONSULTANTS,._OF_M_ICH_IG_AN                                                                                                                                                                     1,637.00~           714.05;             ..:5=95=.80=;..l---=11=8.9=.7,-!_ _ _ __:6=:9-;_:70'-I
XX-XXXXXXX

~~-1276693      !TAll.AHASSEE EAR NOSE &                                                           \1405 CENTERVlll.f ROAD ···-···                   !srf 5400      ~T~~ R.32308-,4=-.54-----1----'3",39=9~.6~9;                                 595.30i      ······-- 595.30!        308.50;                    69.64

XX-XXXXXXX      \lAI SWAMINARAYAN   INC                                                            i435Q 7TH ST.STE 8                                               MOU NE, IL 61265-6890                                    635.00:             635.00;            595.oo~i.- - ~ =.00"'"+\- - - - ~
                                                                                                                                                                                                                                                                                  ..                 ..~.6~1-1


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                                                            Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 111 of 266 PageID #:11207




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91-1385S04

XX-XXXXXXX

XX-XXXXXXX
                  jNORTHWESTPATHOLOGYPS

                  !MIDWESTCENTERFORCHllDRENWmt

                  !METRO-WEST ANESTHESIA GROUP INC
                                                                                                                      !POBOX2837

                                                                                                                      )4701NOAKST

                                                                                                                      jpa BOX 958864
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                                                                                                                                                            AEU INTERIM DISTRIBUTION



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XX-XXXXXXX        !ROSANNATROIAOPM                                                                                                       _ _ _ _ _ _ _ _ _ _ _t-----+
                                                                                                                      l41wEST72NDsr_STE_lA                           ,N-'EW~YO~RX.=•-•~10_0~23~-------i! ____                               1,12S.O(!~J---~•=•3=·•'-'4l,'---"'"=3-""=:1----+-----"'
                                                                                                                                                                                                                                                                                                 69A9
22-1858031___ !WESTAeto OR~9!!!:'.~CGROUPOIARTERED                                                                    ls4t EBROAD sr                                   t-----+!wcce<tfl=el=d"-,"'"'c.."'=090=-------+I_·---=3~~~-~i~_ _ _ _                                 45.oo: 69.44
                                                                                                                                                                                                                                            638_58..,:_ _~s'-'9=3.SS=+j---=c+------'
XX-XXXXXXX        lcoASTALOBSTETR!CSANDGYNECOLOGY                                                                     !999SUMMERST                                  -+lm_•_01___iSTAMFORD,CT~,06_9_0S_ _ _ _ _ ___,._ _ _9~35=.oo-,.'_ _ _ _6~54_.6_9,.;-i--cc••=ZJl9=s'!t---=
                                                                                                                                                                                                                                                                            61.SOi 69.36
F1~1·=3s~•1=6=U~~i1SLA~_•o_F_A_M_U_M_E=D=ICl=•"·----------------'2~o~u•~Q=U_A__R_DA,_D _ _ _ _ _ _ _ _ _ _ _-;-----+!MASSA_~PEQ=UA.~•-•=11~75=3-6~7X,~----lj_                                                                                 990.00~               69284!           592.84!           180~;1               6"-'6
~~~-~0611         ISENYAVAYNER              - - - - - - - - - - - - - - - - - j 1 _ ! ' . ? _ 6 1 E U T H ~ ..                                                       -~'- - - - !BROOKLYN,NY11229                                i          1,57S.OO\               692.231          S92.231           100.ooi              69.28
ss-1192904        lRex PATH.Ol.DGY A.SSC OATES PA                                                                     !4220 LAKE BOONE TRL                                       ·-i~GH, Nc :27607                                            592.ool                s92.ooi         592.00   I               -i            69.26
56-18446S1        jADVANCED HOME CAR!: INC                                                                            !PO BOX 890492                                              lotARLOTTE, NC 28289-0492                                 3,974.27:              2,004.67;         S91.90!          1A12.nl               69.25
11--3054011       INoRTHERNOBGYNPC                                                                                    J3111NEWHYDEPARKRD                                          lNoRTHHILLS,Nv11040                            I            690.ool                600.3oi         591.60               s.1oi             69.21
"4-3466314        )aR1GHAMANDWDMENSPHYSICIANSDRGINC                                                                   !POeox•1<2os                                    i           ieosroN,MA,D2241                                          3,010.00!              2.1suo!           S9L45            1,576.651             69.19
36--3525186       IvALLEY IMAGING CONSULTANTS uc                                                                      !PO eox 223800                                               iPITTSBURGH, PA 15251                                      614.0ol               S9030i                                    -!            69.06
Q4.3485648        isEACOASTAR=llJATEDGROuPPRAertCErNc                                                                 bsHIGHlANDAVE                                   I           iNEWBURYPORT,MA01950                           I          1,34s.ool               606.a3l          590.03              16.soi             69.03
1.3--367992.::6c_f
                IN:.:.Y:::UM::;C:.:PR..::O::;G:.:.RA=M.:;FO,::R:..,IVF:::..,:R:,:EPR..::D:::D::,U:,:CTIVE='------------'i=·660=1ST AVE FLS                                        !NEW YORK, NY, 10016                                        840.00 1              840.00\          590.00!           250.ool              69.02
S5-o490B78        _COMMUNrrY HEALllt SYSTEMS INC                                                                      !252 RURALACRES DR                                          IBEac;,·~. isso1                                          1,400.ool               762.7~           589.70!           145.041              68.99
XX-XXXXXXX        !~RSON MEOICALASSOCJAT                                                                              1575 HJUCOUNTRYDR                               STE2D2      !xeRRV1~;,~7-8-02_a_ _ _ _ _ _ _+1,- - ~...
                                                                                                                                                                                                                          =.oo=,-i----'6",.~...                                   =_..+----==+--
                                                                                                                                                                                                                                                                         -+l---"',..       90.00j                           68.98
                                                                                                                     f
39-U067:::59:_.;;IHeeD:,:Me.::Ec.:CAccR:=E..::M=EDc,ICAl==='"=c_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ls=66=S-"s-"wc=ESTRJ:.:.co:::DG::Ec.=D..::R:::STE=100~_ _ _ _ _ _ _-+-----il~••:.:.w~•=•""""'""-'W1=s..::31=s1_ _ _ _ __cl,-_~1,2"7=3=.so""!'-----=1,t1?57.so!                        589.0S            684.45i              68.91
                                                                                                                                                                                                                         1
11-2146szo               lEowARD G1No1                                                         ,1636 EAST 14TH SlREETSUrrE 1os                                                      lBRoOKLYN, NY11229                            1.sso.001            5B7.o3i                       587.03                   -!            68.68
54-201s100        iMINKRADJMAGINGMEOASSN                                                                              IPOBOX190                                                   JSJMJVAUEY,CA93062                             I          1,951.ool               5s1.10l          587.10!                  -1            68.68
XX-XXXXXXX        1coNNEcrJCUTCHILORENSSPEOALTY                                                                       !POBOX41699S                                                [sosroN,MA,02241                               j          1,506.001               789.201          586.75            446.45!              6&M
XX-XXXXXXX        !LEONARDO MONTEMURRO SR MD                                                                          j9555 76TH ST STE 2601                                       j PLEASANT PRAIRIE. WI 53158-1984             !            675.701               635.45(          58S.45              so.oo!             6BA9
XX-XXXXXXX        !EDGERTON HOSPrTALAND HfALn-1 SERVICES IN                                                           !11101 N SHERMAN RD                                         !EDGERTON, WI 53534-9002                                    727.34!               712.79;          585.37 j          127A2i               68.48
XX-XXXXXXX        le Es r PHYSICAL THERAPY INJURY                                                                     j529 AFTHAVE                                                !PELHAM, NV 10803-1251                                    1,688.00!              1,062.29;         sss.16            477.131              6BA5
11-3422so1 ____ ITH0MASP.ERHARTDO                                                                                     lisooROUTE 112 BLDG 11 STE B                                iPORT JEFF STA.NY11776--3184                   j          1,250.00!               585.00'          sss.oo!             40.ool             68.44
XX-XXXXXXX        !MIOfAELI.JAC08SMD                                                                                  140, E70TH sr                                                INewvoRK. NY10021-53so
                   ====="'-----------------+:lP:::CO'-'BO'-'X-"11"-6:.:1c:..16------------+------i!'-'ATIA=.N'l'.:.:,,_=GA=30=363-6=.=11::6c=______f_____,,1,554=."'00:c+:-----'1.103=.=15c;,!---'5"'8S"".OO"'!----'-'=+-----==-!
                                                                                                                                                                                                                                 !          1.925.00'.              a90.oo!          sss.oo!           1is.ooi              68.44
XX-XXXXXXX        IPIEDMONT CARDIOLOGY OF ATLANTA LLC                                                                                                                                                                                                                                                  sis.is!              68.44
36-39222fi2       IGUARDIAN ANESTHEStA ASSOC                                                                          jpo oox 95369                                               !CHICAGO, IL6D694                              !          1.500.00;               sss.ool          sss.oo                                 68.44
7S-315138a        I MOUNTAIN STATE MEDl□NE                                                                          ..-!sosSUMMERSST                                              !otARLEST'ON, wv. 2s301                        !          2.u1.oo!                ass.ooi          sss.oo!           210.ool              68.44
XX-XXXXXXX        !CARLE PHYSICIAN GROUP                                                                              IPOBOX6002                                                  1URBANAIL61803-6002                            I          1,161.DO!               731.08!          584.861           321.22!              68A2
                                                                                                                                                                                                                                                                                            1
11·3244415        iMARK E GOLDBERG P & 0 LABS OF                                                                      19TECHNOLOGYDR                                              IEASTSETAUKET. NY11733-4000                    j            892.201               584.421          584.42                   .I            6837
                                                                                                                                                                                                                                                                                                               i
XX-XXXXXXX        iABC PEDlATRJCS OF KANKAKEE COUN                                                                    !370 lARRY POWER RD sum 1                                   lsouRBONNAIS, IL 60914                         l          1,010.00'.              584.41!          SB4.4tl                  -1            6837
XX-XXXXXXX        !KANAWHA VAll.EY RADIOLOGIST"S INC                                                                  IPOeox84o                                                   luMA,DH,45802                                  I          1.3,s,oo,               887.BD!          583.09            348.481              68.22
XX-XXXXXXX        lJACOs HEYMAN                                                                                       !109 EA5T38THST.                                            iNEWYORK, NY10016                              I          3,950.DO\               582.71!          582.71!                   '
                                                                                                                                                                                                                                                                                                              ·I            68.17
XX-XXXXXXX        !MED EXPRESS URGENT CARE                                                                            iPo sex 11240                                               !sEL.FAST ME 04915-4003                        I          1,584.&f               1,134.25;         ss1.66!           249.ool              68.05
XX-XXXXXXX        ;NORTHEAST RADIOLOGY PC                                                                             iPOBOX 810                                               -·---r!HAc.cR~TF"O"'R~D,c.=CTc,,cco6::1c.c42~------!! .... --=3,=,25=-,7.=.oo=,l,__ _-=,1.cc461.=18=,l_ ___,58=1.44::::+-!- - - " '930.281
                                                                                                                                                                                                                                                                                                                   ==!---   68.02
2~3059260         [BHS PHVS!!:J.ANS NET\YORIC INC                                              -----+!PO~•=DX=573D~-------------:-----;-!B_ELF_AST~._M_E_04_915-_5_7DD                                                                205.25!
                                                                                                                                                                     _ _ _ _ _ _t_-~1~,3~'•~-00~:_ _ _ _ _7..,03._4~2(;-.--=58~1-~17'+!--~=c+--                                                                             67.99
XX-XXXXXXX        lwe1NBERG FREDERICK                                                   -------i,h=93=N'-'HA"'R"-'RISO=N'-'sr"--                                                  !PRINCETON,                                                                                        ~! - -
                                                                                                                                                                                                NJ08540-3S17=-----.;.----'10"'oc.c.ooc.c.,-i-----'-1~00.~oo~l;----=•,so=.oo=,l_ _ _ _+                                      67.85
XX-XXXXXXX        !MORR!S IMAGING ASSOCIATES II PA                                                                    iPDsox4238                                                   IPORTSMouTH. NH, 03802                                   1.146.oo                59s.7i;          579.941           350.831              67.BS


                                                                                                                                                                    EXHIB\T2

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                                                                                                                                                             AEU ll'lloRIM DIS"TRIBUTION



r~ill~A~~~~ltR'--::·:~,:~i~~A.~~-1':~;'"''--:~~:-~~
XX-XXXXXXX       !HEIGHTSPEDIATRICSP C                                                                     l145 HENRY ST                                                     !APTlG       ;BROOICI.YN NY lUOl-2554                              I          1,345.00:            579.98:         579.981                 -~             67.85
 XX-XXXXXXX      iCENTIJRYEARNOSETHROATHEADAND NECK.SURG                                                   i10660W143RDST                                                    iSTEB        iORlANOPARX, IL.60462                                 ;            850.DO~            624.73;         579.731             45.ooi             67.82

XX-XXXXXXX       !MONITORMEDJCALlNC                                                                        lt21ossK1RKW000RoA011203                                          !            lsrAFFORD,1X774n                                      I            993.3si            124.25!         s19Ao!          144.ssi                61.11

F'=--s-o"'•=•-=•'----'lsr=M:;;•:;;•YS="""""""'sv=,w,=---------------------f!s=""-''--""=EUABLE==PKW=Y-----------+-----,lFot~ICA=-GO,IL60686                            I             579.oo; _ _ _ _s_79~JXJ_!__~•79=.oo'"·[·····----·;-1_____6"7":J-'-14
u-3347515   IA11ANTICDERMATOLOGICASSOOATES                                    1266 MERRICK RD STE 201                              !LYNBROO~-~.!.~•1~1~•"'~------+i--~•.160~--00-;-!___~1,2=44-=·o='"-!--~•'~'c:·•=,•-,---~1.=1S0=.34c.+1____.....:c•7:=.7c:0-1

~ J .__ _!FREYARSCHNABELMD                                                    jpe BOX415662                                  --;-!BO_STON--',~M_A_o_22~•=--1-~So62=------;----·=•:;;1.~oo~!___--'.=23=.c.5c,o~;_       __,1_ _,_; ---·-=•c:1.CCoo'J-!-----=•.:.:7.68=-i
                                                                                                                                                                                                                  ?',...so                                                                 __..c••

u-3262126   !PHIWPFYMAN&ALEXANDERWEINGARTENMDPC         -------f']1=21~Ec:ILE=E~•--"w~•v--'-----------+------+isv=oSSET=·-'!!~·'~'~'•~1-------;--~'·~400=·00c,:___-"l.l"'7-'4.46=,.[_ _-=='---'"'""'-"'00'-f!-----=•.:.:'_..=-i
                  1
 XX-XXXXXXX        GOLDENBERGDERMATOLOGVPC                                                                 l14EAST75THST                                                                  iNEWYORK,NY10021-262S                                 !          1,sso.00!            s77.94t         sn.94!                                 61.61
 39.1150165       /AuRoRAMEDICAtCENTERHARTFORD                                                           "/Poeox343918                                                                    iMrf.WAUl"EE,.WIS32t4                                 t. . .,_   4,BSOAl/           4,325.33;         sn.13!        4,000Azi                 67.59

XX-XXXXXXX       ;HENDIAMBUL.ATORYSURGERY                                                                  !S4S4wlSCONSINAVESUrTE725                                                      iOIEVYOIASE,MD20815                                   !           840.0Dl             840.ooi         sn.s1]         262.49!                 67.56

20-ts10031       izv1MoSTERWEif.MDPLLC                                                                     11S9E3DTHSTREET1ZTI-IFlOOR                                            APTtlA   iNEWYCRK.NY10016-0197                                 I           930.oo:             622.301         s11.30\             4s.aot             67.54
ss-1719867       lcoLUMBUSAMBULATORY                                                                       lPoBOX103B                                                                     !cotuMeus,GA,31902                                               4,021.00!           2.21s.48l        sn.ool         729.s2l                 67.SO
XX-XXXXXXX       loELAWARECENTERFORDIGESTIVECARE                                                           !1tOMEGADRBUILDINGD                                                   BLOGD    iNEWARX,.DE197J.3-2063                                           3,021.54)            720.66!         576.531        144.131                 67.45

XX-XXXXXXX       ]WOMENS HEALTH RESEARCH CENTER L LC                                                       1666 PLAINSBORO RD STE B                                                       iPtainsboroNJ 08536                                               600.ooi             576.251         576.251                 -I             67A2
XX-XXXXXXX       lHUDSONV1STAPHYS1c1ANSERVICES                                                             IPOeox1068                                                                     IALBANY,Nv12201                                                   s1s.ooi             s1s.ool         s1&.00l                 .]             6739
90-0315S90       !srLUKE5EMERGENC'fCAREGROUPL                                                              !POBOX864366                                                                   'ORLANDO,Fl3288Ei                                                 576.00i             576.00i         576.oo!                 -!             6739

5&-1340424       IMe01CALPARKHOSPITAL1Nc                                                            --+!P~o~ao~•~"~l606--------------<-----+'IOtA=•~LOlTE.~=-•-c~2~•21=s-=1606=-----+-
l-'4:..6-=,388=137=·'---+'fOOT=,_CAA=E=c2ccYcc0-=-U-=-IN=C-----------------+[6~·7~E~AG~LE=RO=-CK=AV~E~----------                                        STE B
                                                                                                                                                                                    1
                                                                                                                                                                                      _ _•~·64~a.~•~•~:
                                                                                                                                                                                                     1
                                                                                                                                                                                          iwesroRANGE.NJ 07052-2177.           ..............   t, _. .     100.00
                                                                                                                                                                                                                                                                       ---='•:·:::-----:::!----               3,143.83J
                                                                                                                                                                                                                                                                                                               12s.oo!
                                                                                                                                                                                                                                                                                                                                       01.31
                                                                                                                                                                                                                                                                                                                                       67:J.7

i=2:..6-4664=:::305=.-+!c,,,E=-:k=15-=-G.:,;P~:::TTE=RSO=•c=cc=o:.:.P..::Cc......_ _ _ _ _ _ _ _ _ _ _ _ _ _-fi5=57'--'8"'Lo=ngley=·La=ne'-------------,;...,_                            IReno,NV89511                                                    3,888.201           1,833.11!        S74.67;       1,.258.501               Ei7.23
 XX-XXXXXXX      iPED~TRIC ASSOOATES HO LC ING COMPANY                                                     !4620 NORTH STATE ROAD 7                                          iSUITE 316   IFORT LAUDERDALE, Fl 33319                                        74S.oo!             614.36!         574.36!             40.oo!             67.13
4S-2263500       !C\'NTHtACRANeLCSwc                                                                       !nllMILLWOODRD                                                                 !eETHESDA.MD20817                                     !           a20.00:             a20.ooi         574.ool        246.001                 67.15
 XX-XXXXXXX      1Gtl.£SRSCUCERIMD                                                                         JPOeOX417006                                                                   iBOSrON,MA02241                                       !          s,ooo.ooi            716.ooi         572.SOl         143.201                67.01
XX-XXXXXXX       !CRUSADERS CENTRAL CLINIC                                                                 !1100 BROADWAY                                                                 !ROCKFORD, IL. 61104                                             1,DlO.OO!            772.3Bi         572.JSj        356.64!                 66.96

XX-XXXXXXX       !AU.£RGV CENTER oFooNNEcncUT                                                              !161 MAIN STREET                                                  isurre 10s   IN0RwALK,CT068S1                                      l           993.00!             s,2.141         512.14\         so.ool                 66.93

F'=-'-09=19'-'•=1•~-+!M~EC=ICA'-'L=CE.~R SOUTH TEXAS                                                       !stso HUEBNER RD                                                  lm 240       !SAN ANTONIO ix 7B240-1334                            I           73s.oo,.!_ _ _____,,59"'7"'.oo"'!!-__s,0n.oo='fl_ _ _2S=.oo'":f-------'66=.s!...!2
XX-XXXXXXX       !soUTHSHOREFOOTANOANKL.£1NC                                                               i1ss1ssruROYRDSTE4                                                !            lvALPARAISO,IN46383-7829                              l           692.ooi             692.00 1        57LOO!         121.00!                 66.80

i='"'"'"''7734="'"''--11•,,M=NTY=s,,,eco=•o::.srR=E:::ET.:.cM:::E:::D:::ICA!.=A550=:::CIA=TES=Pc'-----------"-'13=10'-'EAST=~1=2•-=c~STRE=~"-----------+------il~•ew=vo=••~·~l<'/~1=002=1_ _ _ _ _ _ _'i---~'•~l88=.oo=!,--__ --~~191.='"=,!__. .,s"-10=.oo=t-i__,(1,243.04)_,_!_ _ _ _..,:::66:::.68=-i
                                                                                                           1


35-e5g3390        joEAcoNESS HOSPITAL 1Nc                                                                  [po eox 152                                                                    1EVANsvtu.E, 1N 47101                                             s10.ool             s10.ooi         510.00!                                6&.68
XX-XXXXXXX       !CL.ARKEow1N0tlLDERSJR                                                                    14607MACCORr.:LEAVESW                                             surn204      lsoUTHOiARLESTON,WV25309                                          s10.ooi             s10.ool         s10.ool             _;                 66.68
 XX-XXXXXXX      iMAlAHAJAT                                                                                !2aoEERPATHTRAIL                                                  1•-M..       isuRRRJDGE,ll60527-6324                                           69s.oa!             695.aa:         570.oor        us.ooi                  Ei6.68

 XX-XXXXXXX       lnu-couNTY AMBULANCE SERVICE                                                             ls15 NElSONS PARKWAY                                                           !wAKARUSA. IN 46573-9580                                          112.ooi             112.00)         569.601        142.40!                 66.64

XX-XXXXXXX        !THE PECIATRIC C:NTER PC                                                                 lu&MORGANSTREET                                                                !srAMFORo.crossos                                     l          1.220.00:            909.21:         sEi9.21!       3Ei0.ooi                66.59

 XX-XXXXXXX       '
                  !JOS£PH WAHBA. MO                                                                        !3680BEDFCRDAVENUE                                                             lsROOKLYN,NYI1229                                     !           92s.oo!             569.10\         569.10!                                &s.sa

 l.3-2989552      !BHADRASl<AH                                                                             \303 SECOND AVE surre #9                                                       !NEW YORK. NY 10003-2746                                          s1s.oo!             s75.oo~         s&9.ool              &.00!             66.57
 Zl-3556914       !CARE STATION PHYStCIANSPA                                                               132BWSAINTGEORGEAVE                                                            !uNDEN,NJ07036                                                    731.58'.            568.!IO(        568.90!              4.02!             66.56



i=:=-:o~,:"':"'~":'- ·- ➔:=•c;:";:. ;P. : :;: :,•: :~c:,o: : .:. : :c: : ~: :CA: :• -=•:"6'~='"':~~'------------_-_-_-_-_-_--~;:~:=o~c:=:~:w~•~•,~0•~0~su=rr'~22=2_______
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 XX-XXXXXXX      lMoNROEHMALl.C                                                                            lroeox2Bt417
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                                                                                                                                                                                                                                                                                                                                           2:
                                                                                                                                                                                                                                                                                                                                       66.49
 XX-XXXXXXX       ICiARLES RIVER MEDICAL ASSOOATES PC                                                      !Po eox 4140                                                                   lwoeuRN, MA otBBM140                                              945.00~             S67.s3i         S67.s3!                                66.40


                                                                                                                                                                            EXHIBIT2

                                                                                                                                                                                 89
                                                                       Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 113 of 266 PageID #:11209




                                                                                                                                            AEU INlcRIM DISTRIBUTION



 " " ' - ~ ' • • s " - " ' 1 ~ " ~ ~ d ! r ~ ~ - - ' r t , - ~ ~ ~ ~ ~ ~ ~ ~ ~ ' . l l ! ; j a / < ¢ c ,_ _                                         ,,,,,J, ~ , < ( > L = • ; i i ! , , ~ ~ 1 r f , k , ~ ~ ~ ~ ~ ; ¥ . J : } : \ , ~ ~       _.,,!;"                                              -• •
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XX-XXXXXXX
 XX-XXXXXXX
                      IFAISALWASEEMMD
                      iM1D0LETENNESSEEIMAGING
                                                                                               '1D6ELMLANE
                                                                                               hsREMITTANCEDRSTE6164
                                                                                                                                                         1               INEWHYDEPARK,NYUD40-2406

                                                                                                                                                                          CHICAGO,IL60675-6t64
                                                                                                                                                                                                                   1        s,75s.oo:
                                                                                                                                                                                                                            1.132.80(
                                                                                                                                                                                                                                                     567.01!
                                                                                                                                                                                                                                                     566.Ao'
                                                                                                                                                                                                                                                                      s&1.01l
                                                                                                                                                                                                                                                                      566.40 1
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                                                                                                                                                                                                                                                                                                                    66.26
 20-089S849           1BEDFORD      ANESTHESIA                                                 iuo s BEDFORD ROAD                                                        IMouNT KISCO, NY 10549                             1,200.ool                ,os.ao!          s&&.40!           141.sol                     66.26
                                                                                                                                                                                                                                                                        c,.34=c::;!·----..:,...-----''"'''=.26"-I
F27,_•2:,.:4:c73::.70,cl,_-i!STEW=c:cAR=D"HD::,Lc:.,Y:,::FAM=ILc:.,Y"HDSP=ITc,:At=IN:.::C_ _ _ _ _ _ _ _ _ _ _ _-l')PO=BD:,X;...4,e170=S7,__ _ _ _ _ _ _ _ _ _ _.,__ _ _ _ \BOSTON,MA0224=1'--'·70:.::S7=..._ _ _ _ _t---'1.:,:1:,;10,c.48=.,-----"S66-34=:::ci,__...!:S..

l 020-4llS~:.::9::.7~34,_..,iSH=ERlccD::.AN::.~~-ERGENCY PHYSJOA_!II                           iPO BOX 743842 DEPT20008_. -··-····      - - - - - ~ - - - ·---i~TI..ANTA, GA 30374-3842                                     3,109.0D!              1,232.SO~          566.13   L_____ 1,~7237. .;-j_ _ _ _ _66~.23'-'-<

 73-14523=79,_..,!SA=M:.::UE=Lc:N:.:AlHA=N=IEVl=JD::.N:::ESc;Mc;;D:__ _ _ _ _ _ _ _ _ _ _ _ _ _-r!,PO=BO=cXcc==:.::•ccoEPT"-'-=133"'---------- t------tlTU=ISA.=OccKc.c74~12=1c.c·122=8,__ _ _ _ _-;-_ __::'2:::0·::c01=;i----'S=66.=00~!_ _..:S:::6':::.00:::.;/._ _ _.::•·•e:t:;.!_ _ _ __::"::.22"'-j
 ~:¥Kl9242            !WESTWOOD DERMATOLOGY AND DERMATOLOGICSURGICAL GROUP PA                  '390 0~ HOOK ROAD 2nd Ftoor                                               (WES7WOOD. NJ 07675                                  950.00,-'---~84~5cc.7~4i,--~565=--~74'+:_ _~280=.00.c,;,-_ _ __;6~6=.19"-I

 XX-XXXXXXX           !MOUNTAIN WEST DERMATOLOGY -81.ACkHARTPL                                 !640 W MOANA LANE ··-·-···-    ---------+--                               !RENO, NV 89S09-4903                                 807.6;i                807.611_     ··-···S65.32l--- ........ ~2~42.29='t-'----"'":.::.lc:c4-i
XX-XXXXXXX            IMADISONWOMANSHEALTHANDFERTIUTY                                          SOEA5T77THS!REET                                          I
FS=-!><i00=~12"'",1-'-i1""HA'"'u~,AX=H..cDS-=PIT=ALccMc.cED=ICA"'L'"'CE"NTE=R==-----------+."o-=e~ox~73=29~.~.= - - - - - - - - - - - - r - - - - · - - + I D _ A U A S nc~,-
                                                                                                                                                                     ____  ••          -73==~-----,1--~,4,385.00/
                                                                                                                                                                         INEWYORK,NY1007S-1842
                                                                                                                                                                                                         ..::.,=-....         3,225.00~     565.26i
                                                                                                                                                                                                                  =i----=,=.=5.29.::·""•,---=                         Z.729.741
                                                                                                                                                                                                                                             •.::,s:.::.29=-,:-,--'"',-=  =..=,-----"66.13
                                                                                                                                                                                                                                                                         ...         ••==.13=-i
87-0nl370             Al.£KSAHDARICRUNICMDSC                                                   l54tOT1SSOWENDR.                                                          !MUNSTER,IN46321                          1        1,4U.7Si                 56s.19i         56S.191                  -1                    66.12
XX-XXXXXXX            iTRINITYMEDICAI.CENTER                                                   POB0X931432                                                               !ClEVELAND,OH44193                        [          717.00j                705.00!         564.00!            141.00!                     65.98

01-0123sos            BLUEGRASS.DRG                                                            1351NEWTOWNPtKEBLDG1                                                      iLEXtNGTDN,tcV40511                       I        1,020.ool                114.Do!         s'4.oo!            iso.oo!                     osse
XX-XXXXXXX            !MECICALARTSUNUMITEDINC                                                  !114WROCK1ANDRD                                                            U8ERTYVILI.e.lL6004B                     1          735.ooi                623.91!         563.91!             60.ool                     65.97

 ~~:.:•::.:7;.1_1;,:RAccD:::tD=LD,:;GY=AN=D:,;NU::.:C!.EA=,,_•::.:CD""N=SU::.:Lc.,TANTS=,..,sc=------------i!~PO'-'BO=X~712=GO,__ _ _ _ _ _ _ _ _ _ _-t-----.;c°'~t~CAG=o~,t~L606=94-~12"'GO"'------+---''i,448=.oo=;-;_ _ _                         073..23:!-_ __cs~'2=·'ce'+!'-··-··-··110=.•'11l,__ _ __,,::s=.84::.-i
XX-XXXXXXX            !MARv WASHINGl'DN HOSPITAL INC                                           2300 FAU. HILL AVE STE 313                                l               IFREDERICKSBURG. VA 22401-3343            l          624.49!                562-04!         562.04    I              -1                    65.75

?.~.!~S0168           !TRINITYHEALTHOFCCNEW=E"-N~GLA=ND~-------------,-•~o~•~o•~'~•~OOB_n~3-------------i------+!ot_lCAG_D~,_1L_606_74_ _ _ _ _ _ _ _..,!_ _~1,35:8.00! ___ ............ ___ 561.97J..._.                                                            561.97!                  -1                    65.74

 XX-XXXXXXX           !HUNnRCDN F~-1~v PHYSICIANS lNC                                          li11 STATE ROUTE 31              --------+ST~E~11.::1,__~lru~M_tN_Gr_ON~, NJ.~•            OB~B2=2◄~•~53~----;-
                                                                                                                                                                                                             l __~ss=2.oo=l_ _ _-'OB=LacGO"'+-i---=-"~'=·'°c;j--~'=20"-.o=•;--j-----•=s"-'.70-=-I
 ss--2598244          lruNJCALPATHOLOGYLAB                                                     !roeox142286                                                              IAusnN1X7B;~~22ss                         I        1.969.!IB!               681.16[         S61.33!            119.a3I                     65.67
 XX-XXXXXXX            rNTENSrve CARE CONSORTIUM 1Nc                                           !ro BOX 741627                                                             ATLANTA. GA 30374-162.7                             101.ool                sso.so!         s&o.ao!                  -!                    65.61

3&-3144752            loPHTHALMOLOGY PARTNERS LTD                                              ,740WAUKEGAN ROAD                                         !SUITE 360       DEERAELD,   IL60D15◄374                           u10.ool                  704.95[         559.9s1            14s.oo!                     6551

 XX-XXXXXXX          ,ANESniESJOLOGYASSOOAT6..INC.                                             601SCUFFAVE.                                              ISTEA            s10uxFAUS,SOS7104                        I          560.00;                sso.oo!         560.ool                  -\                    65.Sl
~3902289              ROUNDTABLEPH'tSICIANSGROuP,L                                             fMSC#2SOPOBOX4438                                                          HousroN,1X7721D                          !          100.ool               s60.oo;          s&o.oo!                                       6S.St
~s:io::.oss           KENNETHMCKENNA                                                           1406Na:JRINTHST                                           ,STE405         lcoRINTH,1X76208                                   1.680.00!               882.49\          559.92!            322.s1!                    65.Sl

8&-0253280            ANESTHESIOLOGY CONSULTANT                                                9127 w RUSSELl RD                                         !m 110          !LAS VEGAS, NV 89148                      I        1,450.00!               100.00!          560.DDi            140.ool                    6551
XX-XXXXXXX           l8RETTWll.SON                                                             542owADEPtcBLvoSTE10&                                                      LAKE8luFF,IL60044-3012                   l        2,926.00;              2.197.47)         559.891          1.121.sa!                     6550

XX-XXXXXXX            [ROBERTDRUSSOMD&ASSOCAAO                                                 ,POBOX6128                  I        leRIDGEPORT,cro5606                                                                     1,043.00;               sss.64i          558.64 1            10.00:                     65.36

XX-XXXXXXX ·-.. TAENI otANG-STRDMAN M Dc,P:.,C,__ _ _ _ _ _ _ _ _ _ _ _ _f"11,,,60=Jo:::u=:ETc:STe..__ _ ----------!=lrn='=m'--·--- !o'tfR,IN, 4631l                                                               I          SDS.oo[               73a.6Di          5ss.60!            1Ss.14i                     65.35

.~3489520             jsuSAN GUNDUZ MD                                                         .351 tARKflELD ROAD                                                       ·1;;   ~ORTH PORT, NY 11131                          955.oo~                658.53~         sss.s3    j        100.ooi                     65.34

XX-XXXXXXX           )KENT STATE UNIVERSITY                                                    !1sooEASTWAYDRNE                                                           KENT,OH44242-0001                        I          10s.ooi                1os.oo!         sss.oo!            147.ool                     65.28

XX-XXXXXXX            !LESZEKJ BAUARIN Mo                                                      h045 w BELMONT AVE.                                                       io11CAGO. 1L60634-4539                    I          647.40;                647.40j         557.40!             9o.ool                     652.1

9.5--2590617          VALLEYPEDIATRICMEOICALGROUP                                              5353BALBOABLV0.104                                                        [eNONO,CA9131628S8                        !          730.ooi                S56.93!         S56.93!                  .!                    65.16

XX-XXXXXXX            2 MOLECULAR IMAGING ouCAGD uc                                            !28489 NETWORK Pl.ACE                                                     fot1CAGO, IL60613                         I        1,835.60,              t.2B4.s2i         556.sz!            728.40!                     65.11

62-J.501534           WllUAMSCN COUNTY HOSPITAL DISTRICT                                       !4321 CAROTHERS PARKWAY                                                   [FRAN KUN, TN 37067-8542                           2,620.00)              2,163.40(         556.16;          J..607.24[                    65.07

 XX-XXXXXXX            NORTHWEST BEHAVIORAL HEALTH SER                                         l121s. WILKE RD STE zoo                                                   iARuNGTON HEIGHTS. IL 60005                        ~o.oo!                   60s.oo!         s5s.ooi             so.oot                     64S3

SS-0619714 .....fLAWRENCE=MA=:rTH=EW'-=M""IN"'ARc,Dc_l_ _ _ _ _ _ _ _ _ _ _ _ _ _Flsoo=oo=NflAU~~V~ST__                        ············--·-···-·"···-····-·· ---+-----;!_CHA_RL_EST_ON~--WV~25~3~01~-1~600~---- .._ _ _67_S~-•-•~'   ---~•1~s~.oo"'·! ...___..   sss.oo.,...·--~12=•·00=;-!_ _ _ _ ....      ~~=·➔
                                                                                                                                                                                                                                                              1
Fsc::.B-.:,:2006=75-=•=--il=M:::Ct:cNTO=SH.:.:CUN=:::tc.:.;PC:__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+iPO=•-=ox19186                                                            !BELFASTME04915~O86                                2,236.00;                S76.72          ss2.60l            512.92!                     64.65

~.~~~··-· .l~~HNSCHOOLOF MEDlCINE ATtJ!_DUNT                                       ----+JPO_eo_x_2897
                                                                                                  __• _ _ _ _ _ _ _ _ _ _ _--1-----1\=NEW=.vccocc""-="v'-'1=008=7•-=••::.'"-=-------'----"730=.0D;_. _ _ _ _,12_.oo~l___s~~.:~}                                                         1n.oo,_i_ _ _ _ _'4~5-"-'8
91·2073120            iswEDISHlABORATOR't                                                      !POBOX25608                                                               rSALTlAKEOTY,UT 84125                              1.186.00~                637.02i         SS2.02f             ss.oo!                     64.58


                                                                                                                                                       EXHIB1T2

                                                                                                                                                             90
                                                Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 114 of 266 PageID #:11210




                                                                                                                                   AEU INlERIM DISTRIBUTION



                                                                                   - ~ ~ ~ - , . - : - : . ~:.m'i.~7                                                                   -= __... · - " ' - : ~ a,
!!:E44586      iAFFIUATED RAOIOLCGISTS SC                                                loePARTMENT4104                                            !            CAROLSTREAM,1L60122-4104               i          931.ooi         ·        12c.2oi           ss1.col            283,601                      6451
 XX-XXXXXXX    /RAJAS MEHDI                                                              is827WTROPICANAAVE                                         !sumuo       LASVEGAS,NV89103                                 S,548.43l                 764.3B\           sso.B4i            z1354)                       64A4
 XX-XXXXXXX    /GARDEN OTY OBSTETIUCS&GYNECOlOGY                                    Ian STcWAKT AVENUE sum: 30                          /GARDEN cm, NY 11530                                                      1.600.oo!                     sso.54 j
                                                                                                                                                                                                                                            790.091                239.ssl              64A1

 XX-XXXXXXX     luNIVERSnY DIAGNOSTIC MEDICAL                       -------+i1,,2=:ooccW;:,A.:,TERS=:c•lA=C'E'-----------l!'-----!!·-l!~ONX. NY 1D461-0367                                                       768.10;    --~••~L~B.c;zi_ _~•~so~-~oo+----"1•~L=B2c.;l_ _ _ __:64cc34=-i
 XX-XXXXXXX __ _jJEFFREYSCOlT ANE MD                                                                i2zs e 36TH STREET APT#ZN                   ;-----+IN_EW_YO_R_<.~•_v_10_0_,.,_,_... _ _ _ _ _-1----'~.soo=.o~•~l____ •~oo~-~oo~!--~•~so~.ooc+!----=so~-=-oo-+l_ _ _ _--=64-"34'-'-I
 XX-XXXXXXX     !MEDWELL WOME~S MEDICAL SERVICES                                                    !Po BOX 11107                                              IBELFAST. ME 049]5.,,(()QZ                        725.DOi            72S.ool     SS0.00       --"'''-'5=.oo'ii_ _ _ __:64:.:;3:;4'-I
                                                                                                                                                                                                                                                                            1
Fs=-s-o=•=21,,95=''--+lotA="'"I.E5l'O=="'-'G=-ASTI1==0•=-NTE=•=o10=G'-'YA"-----------------"'='oo=M~AC=-c=o=-•KLE=A~v=•- ·- - - - - - - - - ~ [ ~ soo         !OlARLESTON, wv 2.5304-122&          I           1,100.00:            sso.ooi     sso.oo! ____-.__ _ _ _..;64=3;:...i•
XX-XXXXXXX      leeRNARDEUMLER MD _ _ _ _ _                          ---------+i1444970TH AVE _.._,___                        --------~----,!R_USH                __           _ _ _ _ _ _ _--;I. . --·-·-·-·· 2.45s__oo_,_ _ _ _54_9._60-e1_ _ 549.50!
                                                                                                                                                                     1N_G,_N_r_11367                                                                               111.54,_:_ _ _ _ _64=3,o
 3~2762780     IROCKFORDASSO;;DPATHOLOGISTS                                               POBOX15785                                                             ILOVESPARK,IL61132-5785                           873.DOi                 624.00!            549.60t            260AO:                       64.30
 22-3s21101    IMIDDLESEXEMERGPHYSPA                                                      POBOX634s1s                                                            !aNONNATI,OH4S263
                                                                                                                                                                 1
                                                                                                                                                                                                                  1,034.00;                549.oo;            549_00!                   -l                    64.23

XX-XXXXXXX     tEMERGENCY MEDICINE PHYSIOANS                                             IP080X18933                                                              BELFAST,ME04915-4084                  j         1,517.40:                548.92i            548.92                                          6422
 27-439662.S   lKADIN FOOT & ANXLE CENTER PC                                             !soos   ROUTE 130                                                       DELRAN, NJ 08075-1869                           1,33LDD]                  885.63!            548.S6             362.071                      64.18
47.1708588     !oMG ARIZONA UC
                                                                                         1POeox49s                                                               SAN FRANCISCO.CA 941.04-0498                      stL10!                  598.22!            548.22
                                                                                                                                                                                                                                                                       1           so.ool                     64.14
 XX-XXXXXXX    '!MARICMYERSLCSW                                                          i300MEMOR1ALDRSTE200surre200                               !            CRYSTALLAKE.IL60014                               120.ool                 648.ool           548.oo              100.00!                      64.11
 XX-XXXXXXX    !TENNESSEE ORTHOPAEDICAWANCE PA                                           iP080X9118                                                              M!NNEAPOUS,MNSS480-9118                           898.DD;                 smuo!              547.94             260261                       64.1D

S7·1129339     !KAREN A DEVORE MD                                                         490F1.0YDRD                                               I            lsPARTANSUAG,SC29307-1S1B              I        1,599_001               1,311.1si           547.48!             763.101                      64.0S

XX-XXXXXXX     iAQBERT5SMmt MD INC                                                       JPOBOX123451DEPT3451                                                    DAUAS, TX753123451                              2,716.00i                 547.191           547.19,                    J                     64.02

XX-XXXXXXX     !AMrT S ICHAIIOD MD                                                        PO eox 16293                                              I            Im.FAST, ME 04915-W57                  I       14,920.00]                 ss1.oo!            547.ool              40.ool                     63.99

XX-XXXXXXX     IATUL AGARWAL MD                                                           PO eox 10898                                              I            !BAKERSFIELD, CA 93389-0898            !        1,600.0D ·                sso.ssl           546.9s)             103.s0l                      63S9
XX-XXXXXXX     llNPATIENfCONSULTANTSOFIL                                                 )POB844918                                                              LCSANGEl.ES,CA9DD84                               781.00:                 546.70]           546.70                                           63.96
XX-XXXXXXX     ]FODTHEALTHCENTEROFMERRIMACK                                              /451ANCOV£RSTSUITE209                                      I            lNoRTHANDOVER.MADt845                  I        1,105.oo!                 747.0S!           546.21[             200.1a[                      63.91

XX-XXXXXXX     lMEMORIALHEMATOLOGVLYMPHOMAGROUP                                           P080X26GG8                                                I            !NEWYORK,NY,10087                      I        1,490.00!               1,361.12!           546.12 1            815.DDl                      63.89

XX-XXXXXXX     !PROGRESSIVEEMEAGENCYPHYSICANSPLLC                                        ,POBOX414469                                               I            eoSTON,MAO2241-4459                             1,344.ooj                 546.ool           546.ool                                          63.as
 XX-XXXXXXX    lHARRISRSTERMANMDUC                                                       la10PAL1SADEAVE                                            I            TEANECK.NJD7666                        l        5,300.ooi                 909.ssi           545.91!             363.941                      63.87

 XX-XXXXXXX    lASADREDJAIMD                                                             .1945WESTW11.SONAvENUESUITT6120                            !            !ot1CAG0.11.60640==•2=s•,____          l          GGD.oo'                 545.95i           545.95                     -1                    63.87

XX-XXXXXXX ....JDAN1aGROISSER                                                             .coaoxsn245                                         ...   f            IPHltADELPHIA.PA19182.-724S                     4,656.oo!               1,628.ul            545.87            3,32.9251                      63.86

XX-XXXXXXX     !GEORGECBORSTIIIMDPSC                                                      1201STotRtsTOPHEADR                                       i            IASHLAND,KY4U01                                 t,400.oo:                 545.11!           S4S.71                    .f                     63.84

 22-21605~ -··-· !PRINCETON NASSAU PEDIATRICS                                             301 N HARRtsONSTSTE 14                                    I            !PRINCETON, NJ,c,0=8540=------'--- __,971=-1=0,_;            ----=·06=.82::;1,___S::::•=··=28:+----=2•=·=.54"-tf------'·='::.·'·"-I
11-1!148518    !PUNEETBHATIA""-------------------+"~'~"CAR=~o1~010=GY~A550=~0A=:ru~--------tlPO=•~o~x•~l56=62c.-;!~eosr~ON~,M~A--022~--~•~•-------;-----"54~•~-DD.c,.,----~54~s~-DDc;!--~54='.oo=t------1•i____~63=:1~•,
XX-XXXXXXX     !NORTH SHORE CARDIAC IMAGING Pc:                     ,203s LAKEVILLE RD                    lsre 101    !NEW HYDE PARK, NY, 11040              620.00!         &20.00!    545.00,       75.oo!     63.76

 ts-1521996    IRAuLRSILVAMD                                        ,s0eROAowAYSUrrE2D                    !            OIESSICIU..NJD7626                    62s.oo!         625.ooi    S4S.ool       BO.oof     63.76

 XX-XXXXXXX    !otArrANYA couNSEUNG SERVICES PA                     !s1 NEWARK ST                         !sre 202    !HoeoKEN, NJ 01030-4543                620.ooi         620.ooi    S45.ooi       75.oo\     63.76
 XX-XXXXXXX    !eRu GENPATH D1AGN□sr1cs                             !481 EDWARD H ROSS DR                 i           laMWooD PARK. NJ 07407-3118            545.ool         S4s.oo!    545.00!           .I     63.76

 XX-XXXXXXX    !RMH EMERGENCY SERVICE                                PO BOX 826755                        !           !PHllADELPHIA, PA. 19182               732.00!         54430{     544.30
                                                                                                                                                                                               1          -1     63.68
!~325261       jANDERSONVJLLEPHYSlCAL THERAPY                                             S414NBROADWAYST                                                        CHICAGO.JL60640                                 3.680.00,               3,680.0D;           544.ool           3,us.ool                       63.64

 XX-XXXXXXX    !BERGEN WOMENS HEALTH ANOWEllNESS                                         !1 WEST RIDGEWOOD AVENUE                                   isuJTE 110   [PARAMUS. NJ 07652-2317 ---·--·-·---.. ---+---=544=.ooi                   544.ooj            544.00                                  -1         63.64
 34-07145:38   ,::iA="'"TMA="'-'""'o"'""'=•=•--------------::::::::_-_-:::\=2"'600~:.:~"-•;,XTH::sr:~s:w~':_===-------------+=="'---ii""CANT=o=•=.oH4471CH7D2                                                      843~!----"·_·•·-~·~~·;3=··~""'i-;{ ·-·-_--_. .~-54~····=~:=~~-,-l~~~~~=300-_.oo-...+!----~.,=s~,-,
 XX-XXXXXXX             lsornte & MEGNA MD Pc                                       13so  EDISON sr                                            .,STATEN ISLAND,..~.!• 10306                                      2.085.oo~                 901.04)______ 54L47[                  nos1!                        6335
'"...=,..
     "',","",.'-""1N"'O"-R"'TH~EAST=:::.N:::OO=SCO=PY:..::C'Ec_N1E-RU_C
                                                                      _____________      _,,:,"',."'w0'EUN=cc.,.cc...w-A-YSTE_l_l0----------+------1=-IA=WREN=~CEVl=LLE.= GA30046                                1.734.~-!                 9S3.70;          ~
                                                                                                                                                                                                                                                            ••=L20=-+.----=.=.,~50=1;-l----..
                                                                                                                                                                                                                                                                                           =3,1


                                                                                                                                              EXHIBIT2

                                                                                                                                                        91
                                               Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 115 of 266 PageID #:11211




                                                                                                                                 AEU INTERIM DISTRIBUTION



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                                                                                                                                              N J . . - ~ ....:~".r..,'~_el~...,d'l?-~ .•
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                                                                                                                                                                                                                                   ~                                  :·'-'·       ·~        ¼~-
                                                                                                                                                                                                                                                                                    -...· ~ - -"'<'~=--
'XX-XXXXXXX   )NoKTHSHOREMEDlCALANDSURGICAL                                             l260EMAINST                                           !STE201        !SMITHTOWN,NY.11787                        !      1.691.ooi              1.260.4s!          541.ml                719.421                    63.30

XX-XXXXXXX    USASOKOLOFF                                                               !13sGLENWOODROAo                                                     IENGLEW000,NJ01s31                         I      6,600.001              3,240.001          540.ool           csso.OOJ!                      63.17

XX-XXXXXXX    tEDHARDMATTES                                                             t199PARKAVE                                          l               iNEWYDRK,NY1a1za                           !       66s.ool                 66s.oal          540.ool               us.oo!                     63.17

s&-2434369    D£RMATOLGYASSOCIATESOFGEORGIA                                             11951CLA1RMONTRD                                                     !oeCATUR.GA30033                           l       623.oo;                 540.00:          540.ool                     -1                   63.17

l'S~S-<l~665=9~11~-,,srEPH=='N~CASSIS==M~D------------------<!~~149THSTSE                                                                    !STEA           \CJWU.ESTONWV253D4-19C9                          2,215.00)               1,739.36!          539.281           1,200.08~                      63.09
XX-XXXXXXX    ;COASTALCHII.DRENSCUNIC                                                   i703NEWMANROAO                                                       iNEWBERN,NC28S62                                   667.00;                 S39.24;          539.24;                     -1                   63.09

XX-XXXXXXX    !THSPHYSICANPAR'TNERSINC                                                  1460SMACCORKLEAVESW                                                  iSOUTHOiARLESroN,WV25309                          2.063ASl                 830.90!          538.90!               234A3!                     63.05

st-0655487    ·1GHARIRI01ARDSON MD                                                      l38110LDHWY41N                                       !               !vALDOSTA.GA31602~0,                       l      1,320.00;                S3B.83!          S38.831                                          6304
XX-XXXXXXX··-·· .NORTitEASTRADIO~GY INC                                                 iPO BOX42468                                         !               !cNONNATI, OH 45242-0468                           89s.oo)                 642.65~          538.S7!               104.081                    63:01

S6-1699742    CAPITALHEARTASSOClATESPA                                                  !Poeoxniss                                           I               tRALEIGH.NC27636                           j     i.soo.00 1                657.66]          537.661                     -!                   62.!lO

XX-XXXXXXX    iLAKEWOODRESOURCEANDREFERRALa:NTERIN                                      )POBOX1D2995                                                         lATlANTA,GA.30368                         I      1,035.231                 858.13]          537.131               321.00!                    62.84

XX-XXXXXXX     GASrROINTESTINAi.ASSOCPA                                                 IPoBOX419380                                                         !KANSASCITY,M0,64141                       [       875.ooi                 667.16!          531.021               uo.141                     62.83
XX-XXXXXXX    MEMORIAL HERMANN MEDICAL GROUP                                            ]909 FROSTWOOo DR FL 1                                               lHOusroN, nc. 11024                       l      1.567.78!                 636.ati          536.81 i              224.28;                    62.80

XX-XXXXXXX    !TEXASRADlOLOGYASSOCLLP                                                   !POBOX2285                                                           !iNDIANAPOUS,IN,46206                      f     1,112.00!                 562.ooi          536.531                65.471                    62.77

~~~72         FOXVAU.EYANESASSOC                                                        !Poeox1m                                                             bAocsoN,MJ49204                           I      1.21s.001                 536.oo:          536.ool                     -l                   62.71
XX-XXXXXXX    PINEHURST MEDICAL CUNIC 1Nc                                               PO Box 63283                                                         lowu.orn. NC 28263-3283                          2,46s.ool               1,&21.01;          535.a1]           1,,01s.2sl                     62.68

              .ROBERT KARPASPSYD
              iJENNYSHUOZBERG
                                                                              ---11='32=AHe:D:.:OVE=•:.:;•::::DAD=------------1e-----+·1•=os=Lc.c"".c;Hc:::Ec:::1Gc.cKTS=,N"'v_,,=15"-77'---
                                                                                                          _ _ _ _ _ _ _ _ _ _.....,!
                                                                                       lm1EAST'ffl:I STREET                                                 BROOKLYN, NY 11230
                                                                                                                                                                                                        1.,100.ool
                                                                                                                                                                                             - - + - - - "..
                                                                                                                                                                                                                                        660.ool          535.ool
                                                                                                                                                                                                                 -.-.oo-j----,-••-...~is---.-35-.-....,l_-_-__ _-..-..-.--..~.. =.~...
                                                                                                                                                                                                                                                                               125.00!                    6259
                                                                                                                                                                                                                                                                                    ~!-_-_-_-_~---_-_-_-~625====•:

              !nANECK PEDIATRIC ASSOCIATES                                              !197 a:DAR LANE                                                    ···~ECK.NJ 07666                                     605.oo!                 s3s.oof          535.00]                10.ool                    6259
XX-XXXXXXX    !NORTH SHORE WOMENS HEALTH SC                                             iPO BOX 8472                                                         !BEL.FAST, ME 04915-8472                           535.oo!                 535.ooi          535.oo!                     -!                   62.59

              l10ELJKASSIMIRMD                                                          110E88THST                                                           iNEWYORK.NY10U8                                  2,000.001               1,291.32!          534.79!           1,106531                       62.57
07~7480878
XX-XXXXXXX    RIOGEWOCo ORTHOPEDIC GROUP LL c                                           las SOUTH MAPLE AVE ZND FLOOR                                        IRioGEWooo, NJ 014so                               890.ooi                 623.ooi          533.00l                90.00!                    62.36

?7-4803222    !CTYDFHOPEMEDICALFOUNDATION                                               \poaoxs121ss                                                         JlosANGEL.ES,CA9oo51--01ss                        1.56534[                 S32Jl9!          532.891               s10.39j                    62.34

XX-XXXXXXX    ,BAYVIEWPHYSIOAN5EfMCESpC                                                 IP080X7068                                                           IPORTSMOUTHVA23707-0068                    I       907.00:                 636.281          532.881               103..4D1                   62.34
                                                                                                                                                                                                        1
1'06-0=263=S6=S"--l!'-'PtAc.cN~N=E=O'-'PAccR=,ENTHO=c,D=O~Oc..F~SO:.:U~Tli~E~RN=NEW=,E~N=GtA~---------tP~O~BO~X~19=12=1-------------r-----t-'B-"-'_AST~,_M_E_D4_915
                                                                                                                                                                 _ _ _ _ _ _ _ __,_r _ _ _888.0~~·~!----S36.25,":~-~53=2.~73'+1_ _ _3=9~.7~51~_ _ _ _6=2-=.3c..a2
ss.1839412    mPHENWBROWNANDRAtHOLOGY                                                   !PDBDX.3845                                                          !AuGusrA.GA30914-384s                     I        ru.oo!                  713.oo!          sn.401                1so.so!                    62.29

06-0945S61    ~~NBURYEYEPH'fSIOANS&SlJRGEDNS                         ------!=••="""=o'-'P-"JT'-'R=OAD=------------;------l'!DAN=su=•v~,=cr'-'068=1Q.I004~=------;-1_ _~622=.oo=,-i---~•=22.=ooc+!--=•3=2=.00-'<,l'----="°=.oo=+-l_ _ _ _-=62=.2"-4-I
3S-1907367    LORIN M BROWNMD ....--..... ·-·---------------i.::'9S0=;:,4SlH=sr=STE=2:::00,__ _ _ _ _ _ _ _ _-+-----fiMccU=N=STE=R.'-'IN-"4=63:::2=1-=39=1c.7_ _ _ _ _-ll_ _ _=785=·=oo,;!_ _ _ _7:..;44cc·:::•3c;.'---=•:::31::·•=•:-!_ __;2=12.9=•,_l_ _ _ _..::6:2.2:,34
XX-XXXXXXX    j'NoRTH AMJ:RICAN PARTNERS IN PAIN     ----------+PO'-'ao=•~l99~------------+----t-                                                            l•~"~"~"~EAD~,
                                                                                                                                                                         NY, 11545                              s1s.ooi                 556.82!          s31.s2!                zs.oo!                    62.22
XX-XXXXXXX    UNCCLNPRlMARYCARE                                                         POBOX:11934                                          !               !eElfASTME~;l.5-4010                               954.ooi                 726.30!          531.30!               19S.ooi                    62.16
s1-2705668    iEMERGEN(YASSOOATESOFMONTaA                                               66WESTGILBERTSfREET                                  I               IREDBANK.NJ01101                           I       53us\                   s3us\            531.25!                     -1                   62.15

XX-XXXXXXX    iFNAMEDICALDIAGNOSTICSPUC                                                 300WEST11GTH5rf8K                                                    !NEWYORk,NY10026                           I      1,75D.OO:              1,170.421          531.061               63936]
                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                          62.13

XX-XXXXXXX    ]ACUTESURGICAL&TRAUMASERVICE                                              POBOX909                                                             !coLORAOCSPRINGS.coa0901                         2,89s.ool                 s31.ooi          s31.oo!                                          s2.u
XX-XXXXXXX    !coRNERSTDNEPEDIATRICASSOC                                                !90HEALlHPARKDR                                      lsu1TE160       !wu1SVtL1.E,C080027--9472                          595.oo!                 sss.54(          53D.54i                is.ooi                    s2.01

01--0780875   AVENUE u MEDICAL CARE PC                                                  12153 EAST 3RDSTREET                                  !              laROOKLYN,NY 11223                                 9Ds.ool                 654.92!          s29.!l2i              us.oo!                     62.00
                                                                                                                                                                                                                                                                                         1
03--0428325   [ROBERTGMARXMD                                              _ _ _ _,ls,~35;..EAST=_7~0'TH=STR~EET~-----------+j_ _ _ _-;i_NEW_YO_RK.~NY
                                                                                                                                                    __1_002_1-«1_2B__                             ······i       sso.oo;                 s10.CK!,_;_ _. .,s30_._oo.. ,[_ _ _40~.oo...,:;..-----"='~·oo~

22-32492~~ ....... 1MONTaA,,,1R,.,•:c•=:c•==CE=NTE,=•P:..;Cc__ _ _ _ _ _ _ _ -------1j=37'-'""'-="=LLE=RTO=N'-'~.cVE=STE=2___ ----t------fiM~D=NT=a.A!=R.. NJ, 07042 __ ,. ---·---·--· ...-·---·---..-·1_. --~87;..5~.llll=-;---~•;..1s=.oo=:;--~530=·=00Cf1_ _~34"S"'.oo=!,_·-----•=2.=oo-'--1
XX-XXXXXXX         iNOR111SHOREINTeRNISTSPHYSIOANS                                   _ _ _ _;-!2_4S4_E_DEM_PSTER
                                                                                                           _ _su_ma_,_o_s_______                  iDESPLAfNES,IL6COt6-5308                              I           740.ooi               660.ool      530.ool    130.ooi                62.oo
S&--1872913   !QUADRANGLE ENDOSCOPY CENTER                                              !1850 w ARLINGTON BLVD                                               tGREENvu.LE. NC 27834-5704                         530.00:                 530.oo!          530.ooi                     -1                   62.00


                                                                                                                                            EXHIBIT2

                                                                                                                                                  92
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                                                                                                                                 AEU ll'lTERIM DISTRIBUTION




XX-XXXXXXX      !HERA SAMBAZJOTIS MD                                                        f1991 MARCUS AVE STE M101                         I                  !LAKE SUCCESS. NY 11042                          l        1.066.00;                       611.99i          529.81!              80.70!                      61.98

23--1689692     lLEHJGHVAUEYHOSPITAtl7                                                      iPOBOX4120                                                           IAI.LfNTOWN,PA18105                              I        1,303.03:                       729.70:          529.70;             200.001                      61.97
sS-0759257      iuCKLEY MEDICAL IMAGING INc                                                 iPo sox 1248s                                                        !ROANOKE. vA 24026-2485                          l        1,812.00;                       s34.22,          529.601           1,244.521                     &t.96

XX-XXXXXXX -·-· )MJCHAELL HUNDERT MO                                                        146-19 UTILE NECK PKWY                                               JUTTLE NECK. NY 11362-1428                                  779.75'.                      S82.46i          529.09   I           53.37!                     61.90

~?.:1399427     lMIDAMERICARADIOLOGV
                                                                                            1PoBOX66971DEPTMR                           m••••+•-••m••••          [STLOUIS,M063166                                            S87.~~i                       528.951          523.95\                       !                 61.88
57~341194       'GEORGETOWN MEMORlAL HOSPITAL                                               iPO BOX 421718                                    !                  fGEORGElOWN, SC29442•1718                                 1,042.42;                      1,042.42)         528.73i             513.59!                     61.86

XX-XXXXXXX      l~KISCOVOLUNTEERAMBULANCECDRP                                               ]POBOXS19                                         I                  fTARRYTOWN,NY10591-0519                                     587.00:                       52S.3Ci          528.301                   -!                    61.81

XX-XXXXXXX      !FAMILY FIRSrPEDIATRICS_P A______                                           1!8714 SPRING CYPRESS SUITE 170                                      !SPRING, TX 77379-3396                                      955.00)                       S53.30'.         528~1                25.00 [                    61.81

74-,1666524     /SYNERGY RADIOLOGY ASSOCIAlES PA                                            PO BOX 301062                                                        j~~. lX, 75303                                              704.oa/                       673.75,          528.00;             145.75!                     61.77
XX-XXXXXXX      !LAIQ;LAND MEDICALPRACTIO:S                                                 IPO BOX 708                                                          !SAINT JOSEPH, Ml49085-0708                      I          750.ool                       652.so\          s2,.soi            125.ool                      61.1s
XX-XXXXXXX      IRICHMONDUNIVERSITYMEDICALCTR                                               !POaox1is6s                                                          !NEWARK.NJ01101                                           2,029.00;                       s21.oo!          s21.ooi                                         61.65
2s-.3454827     loEAA.LB MEDICAL PRIMARY CARE GROUP                                         !PO eox 934915                                                       !ATI.ANTA. GA 31193-4915                                    663.ooj                       626.76:          s26.1Gl             100.00!                     &L63
XX-XXXXXXX      ICENTERFOREMOTIONALHEALTH                                                   !2soEXECUTIV£PAkRDRNENE                           isuJTE100          lcoNCORD,NC28025                                          1,200.00;                       566.IGi          526.t6l              40.ool                     61.56

4~1382916       iNoRTHsHORE-WOB-GYNpC                                                       IPOsox417725                                      l                  iBOSToN.MA0224t                                  I          895.0o;                       sis.ni           S2S.11l                   -1                    s1s1
20-5~8969.•.. !ELHANsuLEY                                                                   h12GREENPOINT AVE                                                   TaROOKLYN. NY11222--e99s                          I          675.ool                       675.00i          s25.oo:             ISO.ool                     GL42

27-43382&5      IPR!MIER HEALTH PARTNERS 1Nc                                                !PO eox 3816                                                         ISAN 01~. CA91113-1a1s                                      56s.oo!                       S6s.oo!          szs.ooJ              40.ool                     &1A2
XX-XXXXXXX      !NORTHSHORE HEALTI-1.CENTERS....                                            IPOBOX 1430                                                          IPORTAGE.!~46368                                          1,442.00;                       639.981          S24.991             114.991                     61A2

~~~~684         !MORTON Pl.ANT HEAL1H SERVIC£S                                              !PO SOX 404841                                                       !ATLANTA. GA30384                                !          525.00;                       szs.oo;          szs.oo!                   -!                    61.42

XX-XXXXXXX      lssMMEDICALGROUP                                                            !1SS1WAU.STREETSTE                                Im.no              !SA1NTCHARLES,M063303                            I        1,ts1.ooi                       603.79!          523.79!              so.00!                     61.28
XX-XXXXXXX      lFIRSTSTEPFOOTCARE                                                          !POBOX932                                                            IPROSPECTHEIGHTS,R..60070                        l        2,841.00;                      1,174.99(         S23.341             739.6sl                     61.23

XX-XXXXXXX      \BRENDAL BRAK MD                                                            :400FOXGLENCT                                                        fBARRJNGTON,ILEiOOl0-1824                        !        1,391.00\                       828.47i          523.32j           (305.ts)\                     61.22

3S-.3800548     l011CAGO woMENS HEALTI-1 GROUP                                              izu e 01tCAGO AVE                                  STE 1200          l0-11CAGO, IL. &0611                             !        1,27&.ooi                       908.901          S23.zcl             616.sol                     61.21
XX-XXXXXXX      !tNANrTY~UP                                                                 l111EASTmscoNS1NAVENUESUITE2000                   !                  !M1LWAUKEE1w1s3202                                          654.ool                       654.ooi          523.20!             130.BO!                     61.21
XX-XXXXXXX      luNIONMEDICALCENTER                                                         l,oeox2168                                                           lsPARTANBURG,SC29304                             I          ss1.2s!                       523.131          523.13!                   -i                    61.20
XX-XXXXXXX      !NATIONAL.MEDICALPROFESSIONAlS                                              !POBOX844648                                                         i":DAllAS==·1Xe,_c7Se,2,e:84,__ _ _ _ _ _ _+-!,_ ___,1.,,,6,.,26,,.00"'l-!_ _ __c5e,22.=40l                s22.40[                   _!                    61.12

 XX-XXXXXXX lsitVER SPRING HEALTH CARE !Po Box 229            !wAKEFlEJ.D, RI 02880
i=-=='-..;========----------------<'===--------------l------!,===                          I
                                                                                 =-------i--                                                                                                                                940.ool
                                                                                                                                                                                                                            - ~ - - ······-- 662.361                        s22.36!         ·-· 120.ool-'_ _ _ _6::1=.1=-11
                                                                                                                                                                                                                                                                                                          '
.!~-2s1a2s2     loUTREAOiDEVELOPMENTC                                                       111111MYKnEAVENUE                                                 .•... ~R101MONDHILL.:c•::.:•c..:1:::1•::1B,:_____            1,140.00i                       s~.16i ----·--··--522.16[     ·····-· 47s.00:f-----'6"1."'oo=-!
XX-XXXXXXX      !FAMILY MEDIONE UC                                                          ,PO BOX 6811                                                         !wHEEUNG. WV 26003                                          916.oo:                       682.12)          s22.12i             160.00i                     61.08

XX-XXXXXXX •.   ;!JOSHUA EDWARD lANEMD         ------------------al=m=••=•::OO=<Sl'=o=•:::•.=CE=cNTR=E.:.PK"'Y-------+-----f!,co=LUc::M=•=u5"-,GA=l::1904-==2954=-----,.!_ _ _4e,.2:;:45=·=••:;-i_ _ _.,:2.,:6:::67c::.8:2.:.i--=•==:,_,:____,2,,,o,,,as,,,.a"1'-l------"'61.0=7-t
4HJ98Ei131 ·- STCLOUDMEDICALGROUPPA                                                         izs1COUNTYROAOl20                                                    f5.A1NTaOUD,Mt456303                                        869.00]                       522.041          522.04!                                         61.D7
XX-XXXXXXX      lCAROUNAK105PEOlATRICASC                                                    l260S8LUERIOGERDsrEtllO                                              ]RALEIGH,NC276(f]                                I          905.00j                       S21.76!          521.76!                   _j                    61.04
XX-XXXXXXX      :wESTCHESTERPATHOLOGYASSOCPC                                                !•oooX4264                                                           INEWWINDSOR,NY12S53                                         ss2.00i                       652.00!          s21.60\             130.401                     61.02
XX-XXXXXXX      'LONG ISLAND PEDIATRICS LLC                                                 '664 MERRICK ROAD                                                     BA1DWIN, NY 11510                                        1,288.25:                       S2LOS!           S21.0S I                                        60.96

XX-XXXXXXX      iotsTR1croFcOLuMB1AGOVERNMENT                                               lPOsox21167                                                          lwASHINGTON.OC20038                              I          sz1.10'.                      s21.10!          s2L10:                    -I                     60.96
s2-179SSB7      ISTtUKESMEDtCALCTR                                                          lroBOX4106                                                           lSALTlAKEOTY.UTB4110                             I        4.Sll.98                        119.00)          su.00 1             200.00!                      60.72
XX-XXXXXXX      !eRIGHrUGKTRAOIOLOG::c:IST'-'5:::Cc__ _ __                                  !31 ARUNGTON HEIGHTS RD                                              !EU: GROVE VILLAGE, IL 60007                              5,444.00 :··--···-·-··~· ...   5,3~6_9_.oo➔!__~5~1B~.SO=l--~••~·2~S.2~01,/_ _ _ _~60~-~69'--I
                                                                                                                                                                                                                                                                                                      0


XX-XXXXXXX      iRAlE1GH RADIOLOGY llC ..   -·····-••H•                                     :POSOX12408c_____                                     _    _ _ ___;i_,R00AHOKE.VA,24025                                        3,365.00!                      1,922.74)         518:~~t ..............__1.•4~04~.2~2~:_ _ _ _~60~.66c.c.,

~.!::~!.~~137   fsoUTH NASSAU DERMATOLOGY PC                                                1258 MERRICK ROAD                                                    ~OCEANSIOE, NY llSn-1427                                  2,150.00'                      1,024.67:         517.54!             507_13j                      60.SS

XX-XXXXXXX      [CENTER FOR NEUROLOGICAL DISORDERS                                          !PO BOX 410                                                          ISROOKFU:LD. WI 53008-0410                                1,Ei2S.DOi                      646.82l          517.46i             129.36!                      6054


                                                                                                                                            EXHIBIT2

                                                                                                                                                  93
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                                                                                                                                             AEU INTERIM DISlRIBUTION




•ttitl~a\Jj~~iS!f.~~-l&-il_f_t~~~BJ                                                                                                                                                                                                                                                                ~iji,l@k1li~~'.
                                                                                                                                                                                                                                                                                                                . 'ti   I'.   •         ~


XX-XXXXXXX ___ STARUGKTPEDtATRICS PU.C                                                              lsoo HOLLY SPRINGS RD                     ----t-!sr~•~1~01~---;l"~c~u:~•~S>-•~••~G~•·~•~c.~27~54~•c......-----t---~'·~••caL=oocc!_____s=1""1.~•2'-'-:_ _..,s=11cc.42='1-i;  ---'=..=·="c+'-----=60:::5::3:...i
:::::: 1::::::;::::~:CAL GROUP LLC
XX-XXXXXXX    /GASTADENTEROLOGY ASSOOATES,.1                          --------------li--"....
                                                                                                    ~::::::ER;:r;e"
                                                                                          ="=ElP=•cc•sr=•ccwc......_ _ _ _ _ _ _ _ _ _
                                                                                                                                                           J

                                                                                                                                                           t--1_ _ _ _
                                                                                                                                                                                +i:c=LE~:~;~~==~~v~•~:=-:=.~,-,_-,.,-.-----+------':is='"=:=:+;----":=::=~::::;::---:-::-::-.t-,                     ---:=.:-:",:----~:=::~,'-!
                                                                                                                                                                                .,.,!CA=•TcaCe,N,,_,O,cHc::44e;:7;18-,:c3:,602=._ _ _ _ _+---"''·"'=•.00::::;.'----"·=='li:::23=;_ _;51,::6'".23"'!_ ___,7e,00e,-Oe,,01--'_ _ _ __::&Oa;.3~•--1
XX-XXXXXXX     ieMERGENCYMEDICJNESPEOAUSTSINC                                                       1roeox14S406                                           !                     ioNONNATI.OH4sisa,.540s                         I             s16.ao'.                s1s.oo(          s1s.oo!                    -!                  so.37
XX-XXXXXXX     /oa01AR0 MEDICAL CENTER sc                                                           jSG DRO'IARO STREET                                    ~-I                   fANTIOCi, IL60002                                           1,os2.00 j                s15.90~          sis.90!                    -!                  60.36
                                                                                                                                                                                 jNEW YORIK, ~.!~•1_00_22______
ll-3497895

31-1~..
              l
                  MEDICAL IMAGING Of MANHATTAN Ll.C
                                                                                                    I
                                                                                                    )635 MADISON AVE FL 16

              lJNTERNAL MEOICl~N~E~CAR=E~IN~C_ _ _ _ _ _ _ ...-·-··--· ··-·-..-···-·- ....- ..- ..- .. PO BOX 712145
                                                                                                                                                                                 '
                                                                                                                                                                                 j □ N□ NNATI, OH 45271
                                                                                                                                                                                                                                             4,910.00;
                                                                                                                                                                                                                                 i---==_'----~~.,~.=50'·
                                                                                                                                                                                                                                       735.00;
                                                                                                                                                                                                                                                                     2,225.ooi          515.oo!            277.00i
                                                                                                                                                                                                                                                                                        .,.·.sof--i,----==c+,-------=='-1
                                                                                                                                                                                                                                                                                                                   -!
                                                                                                                                                                                                                                                                                                                                       60.25

                                                                                                                                                                                                                                                                                                                                       60.19
XX-XXXXXXX     jNEWYDRKSPJNECAREMEDICALPC                                                           !2asM1001.EcoUNTRYROAD,suITELL6
                                                                                                                                                                                 1SMmrroWN,NY11787                                             886.03!                 642.80;..        514.221            us.ssl                      60.16
XX-XXXXXXX    ,HENRYSAPHIER                                                                         !498ENGLEST                                            I                     IEAGLEWOOD,NJD7631                              !          4,425.00!                  590.s1!          513.44/             s2.43j                     &0.01

XX-XXXXXXX    iuNIONSQUAREmCARELLC                                                                  !23SPARKAVES                                           !2NDR.OOR             INEWYORK,NY10003                                I           1,330.00:                 637.97!          su.97              us.001                      &0.01

XX-XXXXXXX    !PCNMEDICALGROUPLLC                                                                   221wGRANDAVE                                                                 iMONlVALE.NJD7645                               i          1.660.ool                  937.soi          su.so              425.ooi                     59.96

XX-XXXXXXX     ATERRB.WlWAMSM0                                                                      hoooowCANTONROADSUITE30S                                                     !JACJCSON,MS39216-424S                                        ns.oo;                  632.11\          512.17             120.ool                     59.92

XX-XXXXXXX    !PRADEEPVICALOICHE                                                                    POBOX9208                                IH1GHLAND,JN46322-9208         I              1.235.oo!       699.s5!         s11.s1                                                                          1S1.14i                     59.88

                                                                                                                                                                                                                                                                                                                  -!
9~_540991

XX-XXXXXXX
13-412S496
              iuscCAREMEDICALGROUP                                                                  POSOX:31309

               HAROLDMERME1SI'_E~1N_M_o_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-;-lt_o1_s_c_ENT_RA_L_PAR_K_Av_e_su_rr_e_sre_304

              !LEXINGTONMEDJCALGROUPLLC                                                             l2&FIREMENSMEMORIA1DR
                                                                                                                               l             lLOSANGaES,CA90031

                                                                                                                 _ _ _ _ _ _--;--------,!_SCARSDALE.
                                                                                                                                               _ _~•-•-1os_ll3-3
                                                                                                                                                             __244
                                                                                                                                                                 m11s
                                                                                                                                                                                           1,460.oo]



                                                                                                                                                                                 lPOMCNA.NYl0970
                                                                                                                                                                                                           510.35;         510.35;

                                                                                                                                                                  _ _ _ _ ___,l,......._~1,~m=.oo-"1c-_ _ _ ~5.3~•c-;l--~•~10.3=,1
                                                                                                                                                                                                                                 I             890.ooi
                                                                                                                                                                                                                                                                      =
                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                      s3s.oo~          .s10.oo
                                                                                                                                                                                                                                                                                                           11s.os!
                                                                                                                                                                                                                                                                                                            zs.ool
                                                                                                                                                                                                                                                                                                                                       s9.71

                                                                                                                                                                                                                                                                                                                                       59.10

                                                                                                                                                                                                                                                                                                                                       s9.66

2&-206ss10     BRIAN HOWARD DUNN DPM                                                                h132 isr AVE                                                                 IH1GHLAND PARk. IL &003~3202                    I             650.oo:                sss.oo!           s10.oo   I          75.oo..,1_ _ _ _~..
                                                                                                                                                                                                                                                                                                                              =·~66--,

XX-XXXXXXX    lPEDIATRIXMEDICAl.GRDUPDFOHKl                                                         !POBOX100445                                                                 IATLANTA.GA30384-0445                           !           1,147.00'               1,147.00'.         509.601            637.40!                     59.62
01-0S8n68     iARY&ILPOUACKMD                                                                       !34SEAST37nlSTREET                                                           !NEWYDRk.NY10016-3256                           j             785.oo!                549.S0!           S09.SOI             40.00(                     59.61

XX-XXXXXXX    ;ANESTHESI0LOGJSTSMID0L.ETOWN                                                         is1souTHMA1NSiREET                                                           !M1ool£TOWN,CT06457                             I           1,680.00'.              1,tsG.tsi          50935\             646.soi                     59.59

1&-is1869s    iCATSKJuDERMATOLOGYpC                                                                 h2SMEETINGHOUSELN                                            STEJ            !sountAMPTON,NY11968-5087                       !           1.2SS.ool                110.00~           508.62             201.38!                     s9.so

XX-XXXXXXX    !1HCHOSP1TAL1srs11c                                                                   lPOsox63814                                                                  lPHOENDC,AZ85082                                !            565.ool                 sos.soi           5oe.so                    -i                   59.49
XX-XXXXXXX     SOUTH NAPERVIUE FAMILY PRACTICE                                                      20200GDEN AVESTE400                                                          IAuRDRA. IL60SD4-SB9S                                         610.ool                s011.22!          soa.22I                   -1                   59.46

~?.~~~~ ..... !STEUARHEALntCARE1.TO                                                                 s212STHsrsms                                                                 IFARGO,Nosa1CJ3.8721                                          6n.ooi                 501.16!           501.1&i                                        59.40
XX-XXXXXXX    lwoMEN CONTEMPORARY CARE OB GYN                   ------               ----+,=DO~H=,'-"CKSVJ=u:E=ROAO=--                                           SUITE 204       iBETHPAGE, NY 11714-3472                                    1,245.00)              ~.,"",.,""a"'~-----',=06'-'.6'-'l..----n-.s-,+;-----',"",.,"','--1
F...
  =,..='2=•2~-tl=o•~NVE="~"=
                           ...
                            ~'"=--------------------t!P_O_BO_XS4_26_ _ _ _ _ _ _ _ _ _ _ __,_ _ _ _ _l;-o_EN_VE~R,__~.80217                                                                                                      !           1,415.32!                904.56t           506.62r-··          97.94 1                    S9.27
"='-096==68"'64-'--+TR=u=-•=M=ED,0
                                 1 CA=LCAR=•'-'PC~-----------------+la~1=20~1=•1TH==sr------------+---                                                                              ';-•'•~MAl=CA.~•~Y=11~••=2~-•~63~•------;-!.--~2~•"~•=.30=,-)---~'"="-=•c=,2f,___s=os=·=;42l _ _~..-"2.="='!c---___----'s=•=.2s=-t
2~6789 _.. _ !DERMATOLOGY AND AESTHETICS OF                                                         176S N ELST'ON AVE STE 110                                               -·-·:ot1CAG0~.!!-:- 60642                                   925.ooi           842.S□!   506.ool         336.so!                 s9.20

S7-1107504     MOUNTPLEASANTPEDIATRICS PA                                                           !t041JOHNNIE DODDSBlVDSUITE SA                                               !MOUNTPL£ASANT,SC29464-6156                                  S06.02i                 506.00;           506.00                0.021                    59.20

XX-XXXXXXX    lHUDSONHEALTHCHIROPRACTICPUC                                                          !zs5MJTHsrSTE202                                                             iNANuET.NYl0954                                 I           1,sao.00!               1,113.30)          SOS.49.            601.s1I                     59.14
XX-XXXXXXX    lsusuRBANPULMONARY&SI.EEP                                                             !POSOX967                                                                    !TINLEYPARk,IL604n.-0967                                    1,309.ooi               1,003..00;         505.20!            497.ao!                     59.10

XX-XXXXXXX    !PAULKWEIN                                                                            3131K1NGSHWY                                           ,STE06                lBRoOKLYN,NY11234-2647                                        640.00)                 640.0C;          sos.cc/            13s.ooi                     s9.os

XX-XXXXXXX    lsuMNERRAD10LOGYPC                                                                    620HARTSVIUEPIKE                                                             !GALlATIN,TN3706&-2S23                                      1,186.34'.               504.19!           504.19]            593.17!                     ss.99

~1021857      lsouIBFLORIDASPJNEWNICINC                                                             3000BAYVIEWDR                                                                IFORTLAUDERDAt.E.FL.33306                                     897.oo[                 627.!!0j         504.lEi,           123.74!                     sa.98

XX-XXXXXXX .... iLAWRENCEASHORT DPM                                                                                        --t'~'~'·~·~·=•L"-V~ID=•"~'c"·-•~sr='------------;------+iG,RAYS t.AKE. tl~6003=~().~20=15~------+---~54-"9~-00~l,....._ _ , ·-~9.001                        504.00(--·----·•-H 4_5._oo_,l;-----_ _ _ _58.96_---J
3B-,:;3::5:,,65,:12B"'--_·..;:·IR,,,0CH=ESTE=::.""''M:::Ec::RG:::EN=cr:..:G:::R=Ou:::•...,•...,cc......_ _ _ _ _ _ _ _ _ _ _ _-4=j3'-'47'-'s"-'MOMENTUMPLACE                            !CH1CAGO,,.IL60689                              S&o.oof           504.oo!                       504.00I                _-,l;-----___;------58=.96'-<
XX-XXXXXXX                      !FARAHMEDICALUC                                       _ _ _ _ _ _ _ _ _ _ _ _ _ _!1~40~0~•~•-M-~_~1GARDENSDR1VE                   _ _ _,_lsre_1os
                                                                                                                                                                                _ _ _+-JN0RTHMIAMIBEA0t,FL33179              I        1.016.00 1          529.92!                       503.94)            125_9sl                     58.96
62-177154D    !POPlARHEALTliCAREPLLC                                                                1POBOXlOOO                                             !DEPT461              IMEMPHts.TN,38148                               i           1,039.00[                629.33!           503.70!            125.63!                     58.93


                                                                                                                                                         EXHIBIT2

                                                                                                                                                                  94
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                                                                                                                      AEU INlERIM DISTlllBUTlON




                                                                                                                                                                                                                                                S8.85
                                                                                                                                                  I
XX-XXXXXXX         RADIOLOGY & IMAGING OF SOUTH TEXAS LLP                        iPO BOX 60036                                                    !CORPUS CHRISTI, TX 78466-0036                     624.79;
                                                                                 I                                            -'                  I
                                                                                                                                                                                    1,150.00                     502.641            122.15!     SB.BO
XX-XXXXXXX                                                                       !251ROaRD                                         lsre2e         !GLEN ROCK. NJ D7452-1797           825.00        588.27i      S02.40!             85.87!     58.78
XX-XXXXXXX                                                                       !_;BOX33DS                                        I              fPIKEVILLE,KY41502                  785.00'.       628.CID'.   502.40]            125.60_!    58.78
XX-XXXXXXX                                                                       13100 N TENAYA WAY                                               jLAS VEGAS, Ml 89128                552.00;       ssz.ooi      502.00]             so.oo!     58.73
XX-XXXXXXX     ;LUUNG EMERGENCY GROUP llC                                        !PO BOX 731587 ...                                                   CAL1AS, TX7S373                 111.00!       501.90!      501.90;                        58.72
XX-XXXXXXX

XX-XXXXXXX
               jMEDSPRING
               ]WESTWOOD OPHTHALMOLOGY ASSOCIATES PA
                                                                                 jt950 N STEMMONS_FWY
                                                                                 j300 FAIRVIEW AVE
                                                                                                                             . . . i!             !DAUAS. ll: 75207
                                                                                                                                                  IWESTWOOD, NJ 07675
                                                                                                                                                                                      sss.oo:       681.89)      S01.89!            uo.ooi      58.72
                                                                                                                                                                                      785.001       560.65{      500.65!             60.0Di     5857
                                                                                                                                                                                               I             I
XX-XXXXXXX     ieP FAMILY CLINIC PA                                              !1400 GEORGE DIETER DR                             STE210            ELPASO, TIC79936-7657           540.D4:       540.D4!      500.04              40.oo:     5850
XX-XXXXXXX     !MICHEU£ AlPERT                                                       87--89 RFTH AVE sum: 604                                     iNEW YORK. NY 10003                 sso.oo:       sso.oo!      500.00              so.ool     S8A9
XX-XXXXXXX         DAVID M SLOVEN                                                ]4738 N KENMORE AVE                                              lo11CAGO, IL 6064CJ.S01G            soo.ooi       soo.oo!      soo.oo!                -!      58.49
31i,.4S02398   iMOHAMMAD ILYAS MD                                                i2024 HICICORY ROAD SUrTE 104
                                                                                                                                   I
                                                                                                                                                      HOMEWOOD, IL 60430              885.001       625.00i      soo.ool            us.ool      58.49
XX-XXXXXXX     [SERENA D TIOWB.L MD PC                                           Jts3s 13TH AVE                                    jSTEB200           COWMBUS, GA. 31901           1,715.00;        923.46! '    soo.oof           ts3.46l      S8A9
XX-XXXXXXX     IEARLRECTANUSPHD                                                  !233STAMIAMITRN,STE.S08                                              NAPLES, FL 34103-3456           soo.ooi       500.00;      soo.oo1                  -i    58A9

~-9-1867557    !UNIVERSITY OF FI.ORIDA JACKSONVILLE                              841 PRUDENTIAL DR                                 STE110         JJACKSONVlll..E, FL, 32207
                                                                                                                                                  I                -
                                                                                                                                                                                      855.00)       583.34i      499.19\             84.tsi     58AO
               1
XX-XXXXXXX         RTOODPLOTTMDPA                                                12469 TIMBERLAND BLVD                             STE5D1         IFORTWORTH. TX 76244             1,536.00'        627.00!      499.00           1.031.ool     5838

                                        0
                                                                                 ]POSOX3160                                                           ANDOVER, MA 01810-0803          499.00!       499.oo!      499.ooi                  _,I   58.38
: : : : : : - - · - t : : : = M D PC                                         booES6THST                                                               NEWYORK,NY10022              1,950.00         548,74; '    498.74              SO.OD!     58.35
XX-XXXXXXX         EMfRGENc.Y MEDICINE PHY510A.NS
                                                                             1
                                                                              PO BOX 18929                                                        leB.FAST, ME 04915-1084
                                                                                                                                                  I
                                                                                                                                                                                     498.75i        498.75:      498.1st                  -i    58.35
XX-XXXXXXX     !PRIMARY CARE OF WESTPORT llC                                         333 POST ROAD WEST                             GROUND FLOOR !WESI"PORT, cr06880               1,523.ssl       1,076.04;     498.251           746.40/      S8.2.9
XX-XXXXXXX     tNORTH COUNTil:Y MEDJCALAS500ATE                                  [195 E MAIN STREET                                                   HUNTINGTON, NV 11743            800.00)       498.11!      ....111                        58.27

XX-XXXXXXX     IARASH TIRANDAZ MO                                                !&124 W PARKER RD SUITE 234                                      IPLANO, 1X 75093-8124               57L2S,        538.08]  '   498.D8!                        58.27
XX-XXXXXXX         NEW ENGLAND URGENT CARE ENAEtD U.C                                55 HAZARD AVENUE                                             ]ENFIE10,CT06082                    560.oo:       ssa.ool      498.00                         58.lG

XX-XXXXXXX         M&S RADIOLOGY ASSOCIATES PA                                   !POBOX2947                                                       ]SAN ANTO~_IP, TX 78299             620.00!       515.06!      497.56!                        S8.21
1H201oos       !nuAo cnv ENDOSCOPY LLC                                               4340 7TH STREET                                                  MOU NE. IL 61265-6867        1,344.oo·        497.001      497.00                         S8.14

XX-XXXXXXX     tMEOSTARSTMARY"S HOSPITA INC                                      !POBOX418730                                                     jBOsrDN, MA 02241-87.30          1,055.76,       1,055.761     496.81            558.9S       58.12
                                                                                                                                                  I
XX-XXXXXXX     koNCORD IMAGING CENTER                                            ]~_1/2 BEACON ST                                                 !CONCORD, NH 03301               1,246.00        1,033.15!     496.65                         58.10

XX-XXXXXXX     !CARDIOVASCULAR CONSULTANTS OF L                                  ]3003 NEW HYDE PARK ROAD SUITE 411                               !NEW HYDE PARK, NY 11042         _:µso.oo         509.osi      495.86                         58.01

B7-0468377     \U--l.l OERMATOLOGYDMSION                                     i121ssooe                                            !sre400         jSAlTlAl(E crrv. UT. 84102         596.68'.       495.ssl      495.ss:                        57.98
34-1875S45         Cl:NTER FOR ORAL AND MAXILlOFAOAL                             :6653 FRANK AVENUE NW                                            ;NOR1H CANTON, OH44720           l.,250.00;       495.47!      495.47                         57.97

95-.4083140        CITRUS VALLEY GASJ"ROENTEROlOGV                               !500 W SAN BERNARDINO RD                          STEB           !covtNA. CA 91722                1,625.00:        495.23\      495.23'                        57.94
                                                                                                                                                  I                                                                       ;
XX-XXXXXXX     !NORTHSTAR ANESTHESlA OF INDIANA LLC                              iPO BOX 612364                                                   !DALLAS. TX 75261·2364              495.00:       495.ool      495.00                         57.91

XX-XXXXXXX     !PICKAWAY HEALTH SERVICES                                             PO BOX 932790                                                ]a.EVELAND, OH 44193                705.70:       493.99(  '   493.991                        57.79
               I                                                                                                                                                                                                          I
XX-XXXXXXX     'VIRGINIA RADtDLOGV ASSOCIATES PC                                     5015UNSET LANE                                               lcuLPEPER. VA 22101-3917            581.00;       493.BSl      493.85!                        57.78
XX-XXXXXXX     !PHILIP RUBINFELD                                                 !PO BOX 48101                                                    !NEWARK. NJ 07101-4811           ..... 9~2.ooi    672.56!      492.56! ......                 57.62

XX-XXXXXXX     :PIEDMONT PATHOLOGY ASSOO~TES INC                                 ]1899TATE BLVD SE STE 110S                                       iHICKOR"'t, NC2B602              1,054.oo!        492.44!      492.441                        57.61
                                                                  ·--··-··--·-                                                                                                                               I
~~716483           FAMlLV HEALTH CENTERS, INC.                                   fPO BOX 950244                                                   iLCUJSVILLE, ICY, 40295             S42.01!       542.01!      492.01,                        S756

XX-XXXXXXX         ROPER SAINT FRANCS PHYSICIANS NETWORK                         ,PO BOX 7S1649                                                       otARLOTIE. NC 28275          1.493.00'       1,297.27!     49t.9Si           80S.32j      5755


                                                                                                                               EXHIBIT2

                                                                                                                                        9S
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                                                                                                                     AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                                         zs.oo!                   S7.55
                                                                                                                                                                                                                                                                  57.54
XX-XXXXXXX     JOSEPH E PITTMAN OD                                                 !555 W OGLETHORPE HWY SUITE C                            !HlNESVILLE, GA 3131.3-4489              1,070.00              626.727    491.72 i          l3S.DOi                   57.53
XX-XXXXXXX     iwatsTREET OF GEORGIA PC                                                POBOXn4447                                           !ATtANTA,GA,31139                          783.18;             728A1)     491.67            10L74!                    57.52
XX-XXXXXXX     iHARRY R KOSTER MD                                        1119 lS ATIANTICAVENUE
                                                                   -----~~---------------+-___  __..,.iR_ICH_M_OND HIU. NY 11418--3216                                               I.234.00              663.91;    49!:~2-.,1---1=7-=2.cc70c;.!_ _ _ _----'s'-'7A:,:7-1
XX-XXXXXXX     [ZIV HA RISH MD PC                                                  [200 ENGLE STREET STE 18                    I            i••GLEWOOD, NJ 07631-2417                  596.00'             s•s.oo!    491_00;           ws.oo!                    s,...
XX-XXXXXXX     !MERCY MEDICAL CENTER.cl.lNTON INC                              iPO BOX 677909
                                                      -----------ii'-"-===------------+------'lo=-•=UAS,=,:X-'-7""52"'6'=--------+-----'73"'s==.a==s"-----...:•:c::90::.9:::•;..!__:::490::,-:,:96::+l_ __,20:::o.:::oo=;..t-----•~7:::.44::..i
XX-XXXXXXX ... iUMG HOSPITAUSTS U.C                                                          ______________ l
                                                                                   :PO BOX1705                                              iA1:1.GUSTA,GA309Q3.1705                  565.00,              56s.ooi    49().80!           74.lOi                   57.42
XX-XXXXXXX     JERRY BAUER MO                                                      !1s1s W DEMPSTER SUrTE 410                  T            iPRRICRIDGE.ILS0068-1168                  701.00.             490.70i     490.70                                      57Al

XX-XXXXXXX     ;WINCHESrER HOSPITAL                                                !41 HIGHlAND AVE                            l             WINOiESTER. MA01890                     1.546.oo;            511A3!      490.43            79530!                    s1.Js

XX-XXXXXXX     luuvSTEELMDPLLC                                                     j2S CRANBERRY STSTEB                                     !RIVERHEAD, NY 11901-2762                 985.00.             S43.72;     490.36!            5336[                    57.37
XX-XXXXXXX     1l£E MEMORIAL HEALTH SYSTEM                                         j13681 DOCTORS WAY

46--0650451    iUNIVERSITY RADIOLOGY - ATLANTIC U.C                                \POaox101s                                               !EA.ST BRUNSWICK. NJ   08816             4,987.90;           1,387.08)                      896.851                   57.35

XX-XXXXXXX     PR0Vl0£NT EYESPECALISTS PA                                          !112U MONTWOOD DRIVE                                     letPASO.nc.751936                         621.11;              551.3z!                       61.15!                   5734
11-3S63467     NEW YORK OPHTHALMOLOGY PC                                           1333 EAST SHORE ROAD                        JSTE202
22·296584G     lcooPER PED1ATR1cs                                                  !POBOX6018

XX-XXXXXXX     !PEDIATRICS FACULTY FOUNDATION ____                                     26245 NETWORK PLACE

ZD-2879668     !STRATA PATHOLOGY SERVICES                                          PO BOX 417436                        ---J-----...!eo=STON~,MA,02241..... ------;---~904.00~...,•----=oe~•.3~0'>!---"'=+-----'2==00.=D•c;.l_ _ _ __,s"'12::4'-I
XX-XXXXXXX     MICHAELA ROTtlSOtllD MD                                             1175 PARK AVE STE lA                                     !NEW YORK. NY 10128                      1.050.00:             814.92!    488.94            325.98                    S7.20
XX-XXXXXXX     NORTH VISTA MEDICAL PARTNERS                                        4943STAT£ HWY si                                         [DACONO,COSOS14                           902.001             488.48{     488.48                  -1                  57.15

XX-XXXXXXX     BElOIT RADIOLOGY                                                    ',340 MIDLAND RD STE 120
XX-XXXXXXX     RIVERSIDE EMERGENCY PK'ISIOANS                                      IPOBOX82ti608                                            !PHILADELPHIA, PA 19182-6608              578.00'             578.00!     488.00!                                     57.09

XX-XXXXXXX     ASPEN l£AF EMERGENCY PHYS LLC                                       ipe BOX 80076                                             PHILADELPHIA. PA 19101                  1,103.001            487.Sli     487.81 l                                    S7.07
                                                                                                                               I
XX-XXXXXXX     RAYMOND ESPARAZA, MD INC                                            1330 W COINA BLVD                            m203        iSA.N DIMAS, CA91773-32.00                no.oo!              487Asi      487.45                                      s1.03

XX-XXXXXXX _ .... FA. DAVIOOOil.                                                   555 MARIN STREET                                         ,THOUSAND OAKS, CA 91360                  905.ooi             487.3s!     487.35                                      57.02
XX-XXXXXXX     !STEWARD HEAi.TH CARE SYSTEM Ll.C                                   1900N PEARLSf.aQ:400                                      DALLAS, TX 75201                         487.24]             487.24\     487.24\                                     S7.00

XX-XXXXXXX     ESSEX HUDSON UROLOGY PC                                             1   256 BROAD ST                                         !eLOOMAELC, NJ,07003                      990.00;             487.oG!     487.06;                                     56.98

XX-XXXXXXX -- . MYEYEDR OPTOMETRY OF CONNECTtCUT                                       125 OANBERRY RD                         lsurre 8     !R1DGERELD, er 06877                      681.ooi             687.oo!     487.00                                      56.97
XX-XXXXXXX            = = = = = = - -C- - - - - - - - - - - - - - t = = = ~ - - - - - - - - -2550
               Gt.EN MEDICALASSOCIATESS                                                       --- COMPASS
                                                                                                   -1~m   ROAD
                                                                                                            =c-~D---si-~LENVIEW,1L60026-1610                                          809.00!             584.90!     486.701                                     56.94
27•1820320     RICHARD JOHN VAUNOTTI MO                                                164 WEST MAIN STREET                                 \BABYLCN, NY 11702-3411                   10s.ooi             606.64i     486.64!           120.ool                   ss.93
20-4noe8       lDANtELSBEHROOZAN MD                                                    2221 LINCOLN BL100                      1            ISANTAMCNICA,CA9040S                      sso.oo;             486.431     486.43!                                     56.91
                                                                                                                                            1
11•2772955     RAPHAEL RflSS PHYSICAN PC                                           '6905 YELLOWSTONE BLVD                                    FOREST HILLS NY 11375-3753               48&.oo,             48&.ool     486.CNJ:                                    ss.s6

XX-XXXXXXX     liMAGING CONSULTANTS OF ESSEX P A                                   jPOBOX3247                                                1r.101ANAPous. IN,46206                 1.026.00\            540.oo!     486.ool           (54.ooJi                  56.BG

XX-XXXXXXX     ]MNP MEDICAL SERVICES LLC                                               SFAIRWAYCT                                           !scor01 PLAINS, NJ 07076-9998            1,400.00i            486.00;     486.00!                                     56.86
XX-XXXXXXX     !WASATCH PEDIATRICS INC                                             !6967SRIVERGATEDR                           iSTf 100     iMIDVALE. UT, 84047                       S96.00(             48S.96;     485.96                  _j                  56.BS

XX-XXXXXXX     ;BRISTOL GASTROENTEROLOGY                                iis NEWELL ROAD E-36
                                                            ----------;c=~=~~------------__1 ...· ____..iBR_ISTO~~-CT_06_01,oa_______                                                 98LOO~              485.61i     485.61i                 -l                  56.81
XX-XXXXXXX     i!!.HS PHYSIOANS llC                                - - - - - - f lpc
                                                                                 =eox   = ~ - - - - - - - - ----i----~]CHARI.OTTf.= NC2"'82cc63-cc3~442~---------;-j--~'~' =·°"cc-,..:-----=•=••=.zs=·..., ---=·=zsc.;1.
                                                                                     =63442                                                                                                                                              so.ooi                   56.77
XX-XXXXXXX     !SUSAN J W AOJNA M~ SC _______                                                                                                                                      48_s._oo'
                                                                                      - - - - - - - - - - - + - - - - - - + 1 S t . C h a r t e s , I L 6 0 1 7 5 _ _ _ _ _ _--+____
                                                          - - - - - - - - - = = = = -l2310DeanSt.                                                                                                _ _ _ _485_.oo_c!-·_ _485_._oo.,.i_ _ _ _~.i~---~'~'~-74,
XX-XXXXXXX     !ROBERT WAYNE OKERBLOM MO                                           j915 E STOWEU. RD                           isurre C     !SANTA MARIA. CA 93454-7010               77D.OO            684.97(        484.97 j         200.001       56.74


                                                                                                                              EXHIBIT2


                                                                                                                                   96
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 120 of 266 PageID #:11216




                                                                                                                                               AEU INTERIM DISTRIBUTION



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XX-XXXXXXX

0~1114602
                !HILlCOUNTRYEARNO:SE&THROATPA

                luROLOGY ASSOCIATES OF DANBURY PC
                                                                                                  ,42GRUENEPARl:CRIVE

                                                                                                  1s1-s3 teENOSIAAVE
                                                                                                                                                      --· l                   !NEWBRAUNFBS,TX78130-2460

                                                                                                                                                                              !DANBURY. cr06810-2301
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                                                                                                                                                                                                                             582..50:

                                                                                                                                                                                                                             590.00:
                                                                                                                                                                                                                                                         •:.:D,'•-~~~/~~ ·:,-~;
                                                                                                                                                                                                                                                           574.4t'.    484.411         90.00!     56.67
XX-XXXXXXX      IROCKFORD RETINA cuNtC                                                            i101s FEATHERSTONE RD                                           lsum 10     laoCKFORD. JL&11D7                           2.os9.oo!                     1,544.25:     484.isl      (940,00)1     56.6S
XX-XXXXXXX      :FAMILYCHIROPRACTICPC      ----···-···------..---·-----------,!,=136=W""ll"'50t<=Pl-"K=-E-=O'-'RC"'L£-'----------..------f!B""R=ENTW=-=o=oo",-"'TN'-3"-70=X1=-------:----63=0.=00c;-i-----'-=68=;-l___                                                            120.93('
                                                                                                                                                                                                                                                                       _::483=-75"'!;----'==---   56.59
F2~0-~3984=1~O3;--+!B~m~RN=P~HYS~ICA=L,~T~HE"'RAPY=~•~c_ _ _ _ _ _ _ _ _ _ _ _ _~i~2•~•~os_E_RT_PITT_D_R_STE_11_0_ _ _ _ _ _ _ _ _ ; -_ _ _-+!M_O_NSE_Y~-~r.109S2                                                          3,875.00                      1,91o.ssI     483.43!      1.427.42!     56.56
XX-XXXXXXX      INYFAMILYPRACTICE PHYSIOANSPC                                                     !POeoxn1226                                                     i           !wooDHAVEN. NY, 11421-6226                   1.010.00:                       563.45;     483.451         so.ooi     56.56
XX-XXXXXXX ____..!NAlliAN'-"'="c;.P=EAR=DD="-'-----------------il--,45~s~OUT="~•~..~•~P~LST=35~6------------;-!___-_--_-+·l~~--o~•~rusr=ow=•~·"'="'""96"'o'------l----"'1,62=5-=ooc,-·----'''-'1"'9_0==1,.i__~483=-09c:;I,__ _;=
                                                                                                                                                                                                                              175.92!                                                             56.52
20-s1~.244·-·-·••ISTEVEN ROBERT BAUER                                     !15640 DON LOCHMAN ~~! ______ ........                                                  i
                                                                                                                      -l~=""''=-om.='-'"=-c2==•=2n=-•:::643=------+---..._   __ oo~'----•-is~.B~7-;--!---4B2=-5~1i,----~=cc;-----
                                                                                                                                                                                                                              133361                                                              56AS
45-s212144      /SOUTHNASSAUOBSTETRICSAN'DGYN                                                     jPOBOX11130                                                     /           /BEI.FA5T,Mf049154002                        2,090.00/                      572.93i      482.32         'l0.611     S6A3
XX-XXXXXXX      ]GASTROENTEROLOGY CONSULTANTS                                                     1100CENTRALAVE, surreH                                                      !w1LMETTE,IL600.9t                  I        &,snoo:                        519.09\      482.13        136.961      S6A0
XX-XXXXXXX      ISUSAN SANKARI MD                                                                1640 s WASHINGTON srREET SUITE 224                                           iNAPERVILLE, IL 60540-6791                    585.00    ~                   sso.so!      480.50   i    100.ool      56.21
11-09298?3      IDAVINDER KUMAR CON                                                               i12 LENMORE DRIVE                                               !           loLD BETHPAGE. NY 11s04                      z.125.00:                      480.33;      430_33\             -:     56.19
XX-XXXXXXX      iREGO MEDICAL PC                                                                  POBOX3s1022                                                                 ieROOnYN,NYlWs-ae22                 I         sss.ool                       sss.ool      480.oo         1s.ooi      56.16
XX-XXXXXXX      !LESue SEAN RAMSAMMY MD                                                           53 WEST MERRICK ROAD                                                        !FREEPORT, NY tiszo.3709            I         aoo.oo[                       soo.oo:      480.oo        320.00!      56.16
XX-XXXXXXX      iPHYSIOAN GROUPS LC                                                               670MASONRIOOECENTERDR                                           !sre300     [SAINTlOUlS,M0,63141                I         736.oo'.                      494.oo:      480.00          1,.ooi     56.16
XX-XXXXXXX      !MASOOo MEDICAL PC                                            -------;l~•-Al_rA_M_O_RE_ST
                                                                                                        ____________-+-----~fM_E_Lvw.e._~NY_U_7_4_72!l_o2_ _ _ _ _-+l_ _ _600_.oo_i _ _ _ _60=0.~oo+l_ _~480=.oo+--~=+---
                                                                                                                                                                                                                120.ool                                                                           56.16
95-4m491        !SANTACLARITAENT                                                                  l21s19sMYTHDRNE                                                 !           ]vALENOA.CA9Us~011                            480.ool                       480.00!      480.oo!                    56.16
                                                                                                                                  c                               !           le PATOIOGUE, NY, 11172             1


                                                                                                                                                                                                                  I
XX-XXXXXXX      !BROOKHAVEN GASrROEHTEROLOGY AS.SOOATES PC                                        !260 PATCHDGUEYAPHANKRD STE                                                                                                                                         4S.OOj
                                                                                                                                                                                                                            524.B~_!i------~52'-'"'=•,sl_ _ _4cc79=.8S=t----=+--                  56.14
XX-XXXXXXX      !ACUPUNCTURE & INTEGRATIVE MEDICNE CENTE                                          PO BOX 1D47B                                                    !           IPHOENIX.AZ8~~                               1.010.ooi                      479.49:      479.49,             -l     56.10
XX-XXXXXXX      !PERSONAL WOMANS CARE                                                             !148TERRVRD                                                     !           ISMmrrowN,NY,11787                  I         860.00'.                      s23.11.i     478.11         45.ooi      55.93
XX-XXXXXXX      !WOMENS HEALTH ASSOOATES OF SOUTHERN NEVADA                                       is906 SPANISH RIOGE AVE                                         isre 202    !LAS VEGAS, NV a914e                I        1,343.ooi                      snag\        478.09         <5.ool      55.93
XX-XXXXXXX      lMITOiEU MEYERSON MO                                                              _1015 ROANOKE AVE                                               I           IRJVERH£AD. NY 11901-2735                    2,880.00:                     1,149.571     477.561       672.01!      55-87
XX-XXXXXXX      .SfARNETDBA WESTOiESTER EMS                                                      !P.O. 80X9S00-1605                                               I           letttLAOELPHIA, PA 19195            l         597.ooi                       597.ooi      •n.60;        119.401      55-87
XX-XXXXXXX      !MASS EYE AND EAR ASSOClATESINC                                                   l24301ARLESsr                                                               isosrON,MA02114-300z                !        1.11s.oo!                      840.96!      477.40!       363.56!      55.85
74-168~98 ___   islNGLETONASSOOATES,PA                                                            POBOX4346                                                       !oEPTBOB    !HOUSTON~-~~n_21_0_ _ _ _ _ _ _! _ _ _
                                                                                                                                                                                                                   56_S.O_o_,i_ _ _ _544~-~-~!--•=n~.2=0!                             66.BO'      55.83
22-3572B52 -·\j::~ERCERBUCICSORTHOPAfDIC                                                          POBOX8095                                                 ··-·r,1'          Ii
                                                                                                                                                                               LANCASTER. PA 17~-~                r·       3,758.00:                     3,758.00i     477.00i      3,261.DOI     55.80
54-1973284_.. !PATIENTARSTMARYIANDMEDICAI.                                                       1POBOX7S8952                                                                                                                                                                   55.75
                                                                                                                                                                              IBALilMORE,_~P.~,2=12=7cc5_ _ _ _ _-t--~l,=l5~1.DO=j---~5=2=6.=-54+!---'•'-'76=-.54-f----==i------=     so.oo!
ll-3412792      ..i~AUBERATORE                                                                    [154 EBSTHSTREEr     ·-··--•--m• - - - - - - - - - - ;                      1N.'f, NY 10028-2168                >----'~•09_5_.oo~l~--~=~'-_47-il_ _ _._76_.4_7+',:- - - sts.ooi
                                                                                                                                                                                                                                                                          - ~ - - - - ~55.74
1'6=1•-=-'73=575=2-:l'-'PR=EM="":.:cPH=c'-'PHe:YS=•=OA"'N"G"'R::D_ _ _ _ _ _ _ _ _ _ _ _ _ _-tj3=5=-•1~s~•~•5~e;-________                                      ._,_!STE=320=--..,1roe_NTD_-
                                                                                                                                                                                         -•~•ix_1_•2~'~"---------·-1r--~'~-DB4~.1=-2l_ _ _ _~575=.74
                                                                                                                                                                                                                                                                4
                                                                                                                                                                                                                                                                  !___•~15=_7'-'!4i____~=+-----'
                                                                                                                                                                                                                                                                                       100.ooi 55.66
20-s10zs2s      !ALANOWENSLCPC                                                                    \9241sROUTE31                                                   i           ILAKEINntEHlUS,ll60156              !        1,oao.ooi                      &so.ss!      475.saC       11s.ool      55.64
XX-XXXXXXX      luRGENTMED INC                                                                    !2n1 SOUTH UNIVERSITY DRIVE                                     !           loAVJE, Fl33324-S842                I         sso.001                       535.Soi      475.so!
                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                      GO.oo!      55.63
XX-XXXXXXX      iSlP INVESTMENTS INC                                                              j4005 zont sr                                                               !VERO BEACH,fl.32960                          750.00;                       600.00f      475.0Ci       us.ooi       55.57
83--0364945     tMARYCPOZEGADO                                                                    6637KANAWHAAVESE                                                I           IOtARLESTON,WV25304-2915            I          soo.ocl                      s00.00!      475_001        zs.oo!;
                                                                                                                                                                                                                                                                                                  55.57
XX-XXXXXXX      luD.A RAO MEDGRP                                                                  iALE 5S619                                                                  ILos ANGELES, CA90074                I       1,600.ooi                     l,SEis.ooj    475.00i      1,090.00!     55.57
XX-XXXXXXX      IMERCYCUNIC::S                                                                    IP080XSOS164                                                                lsrLOul5,M063l.50-5164              !        s,10s.101                     4.SOS.54'.    474.oo!              '
                                                                                                                                                                                                                                                                                    4.161.141     55.45

XX-XXXXXXX      lNORltlEASTFLHOSPrTAUSTINC - - - - - - - - - - - - - - f ' P 0 = 8 0 ~ X ~ 6 = 3 ~ 5 6 8 4 = - - - - ..····..-······-.. -··- --··-                            ioNONNATl•..9~·~•5~2~63~------+----658=.oo~.,..'---~59~2.=2oi·-··-·-·..-·473.76,..!- - ~118.44/
                                                                                                                                                                                                                                                                      =+---                       55.43

~~-54625~
XX-XXXXXXX
                !PREMIER HEALTH
                !GCGAPHYSIOANSINC
                                                                                          ,1540 I.YON DR
                                                                               ------f;PD=BO~X~63=12~17_________
                                                                                                                                                     . ..   -·-·-i----~i~N~EE~NA="•-~!• 54956
                                                                                                                                                                  !           !0NC1NNATI,CH4s2s~1211
                                                                                                                                                                                                                             513.59
                                                                                                                                                                                                                           1,Ui5.ool
                                                                                                                                                                                                                                      ! ····----· ~··-    513.59;
                                                                                                                                                                                                                                                          583.Sli
                                                                                                                                                                                                                                                                       473.59
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                                                                                                                                                                                                                                                                                     109.911
                                                                                                                                                                                                                                                                                                  55Al
                                                                                                                                                                                                                                                                                                  55.41
XX-XXXXXXX      !RUTGERS- RWJ PSYCHIATRY QJNIC                                                    \po BOX 829642                                                              iPHllADELPHIA. PA 19182'"9642                 750.00
                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                          60858!       473.58!       1as.oo!      SSAO


                                                                                                                                                             EXHIBIT 2

                                                                                                                                                                       97
                                                       Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 121 of 266 PageID #:11217




                                                                                                                                   AEU   INTERIM DISlRIBUTlON




XX-XXXXXXX       !THOMSONORTHOPEDICS&S?ORTS                                              :sl.lJMOUNTPLEASANTRD                                    I                !THoMSON,GA,30824                                !            541.00;

0~1s             iFRANosxwALSHMoPC                                                       lPosox11sao                                              l                leeLFAST.MED4915-4073                                         64s.oo:                 s22.Soi           472.501              so.ool                    ss.2a
XX-XXXXXXX       lOIARLESTON NEPHROLOGY HYPERlENSION                                     !4610 KANAWHA AVE SW SUITE 402                                            !SOUTH OtARI..ESTON, WV 2S3DS-1367                          1.208.92;                 898.87;           471.67   j
  XX-XXXXXXX                 [f~DURGENTCARE                        _ _ _ _ _ _ _ _ _ _ _ _ _ __.l,,:=•cc•"'=otw=•:="'-'"°=-----------·-i=llm=1=os'---tia.A=YTO=N"-."""c°'2""1s"'2"0_ _ _ _ _ _--+l_ __.:,3,::14cc7.00=-'---~2,26="''.a=sc..;_ _.::•:c''"'·1::c•J1-'_ _1.""s~:.~."';----~••=-12=-i
                                                                                                                                                                                                 1
ic'~'-=-'45=0'-'•=-1•'-_,io'-'•~CH=•==•~"~A~•=-oz'-'o=-EBA'------------ _____,l•~2~L~ocu=sr_A_VE~------------+------+!w_AL_U_N_GTO_N~·"-'-"-'"~s1_-1~300~----,;-•-····                                    84&.oo;                 549.24)        471_03ll                11.21!              ss.11
ic'=-6-0=6:=16=,66=3'--+ie'-'UZA=B:=ETH'-'C ICNAFO MO .........·--·-·-·· -------------+'i1=,oo=e='"=-'-----                                                         !HOUSTOH, TX 77004                    942.00:                 471.00!        471.00.                                     55.10
XX-XXXXXXX       !MEDICAL COMPRESSION SYSTEMS, INC                                       !10405 BAUR BLVD STE A                                                    ISAINTlOUIS, MO &3132                                         980.00                  784.00;           470.40!            313.&0/                     55.03

XX-XXXXXXX _,    )SPRINGAEW PRIMARY CARE PC
                                                                                         j8902SPRINGAELD BLVD                                     ,              -F1a=uee=•s"V1'-'UA=G"e,=•:=•"'11'-•,-,--2S-1-•---+---'s=,o=.oo==,;------'-s,==o:::.0=;0;,__...;•°'10"'."'oo+j---=10"0".oo"!_"'lf-_-_-_-_~---_-_-_-'"54::::=e:"~'
XX-XXXXXXX      .. !PEAOiTREE OR'IHOPAEOIC a.lNIC PA                                     i2001PEACHTREERDNE                                 ..    I               !AT1ANTA.GA3030                                              1.676..00~               1,323.62!          470.oof            778.521                     54.99

XX-XXXXXXX       louRLADYOFLOURDE                                                        14801AMBASSADORCAFF                                                      !wAYETTE.LA70S08                                               ss2.00'.                586.ao!           469.441            117.36!                     54.92

XX-XXXXXXX       loR RODNEY A GREEN MD FACS u.c                                          Is~ MARC DRIVE                                                           lwewooo, NJ os101-s1u                                          900.00!                 1s2.01!           469.20i            31z.s11                     54.89

45--3174970      ]NORTHERN R.UNOtS EYE CUNJC LLC                                         :333 E IL ROUTE 83                                       !SUITE 106       MUNZELEIN, IL 60060                                           684.59'.                634.14i           469.14 j           165.oo!                     54.BS

XX-XXXXXXX       l1CAHN SCHOOL OF MEDICNE AT MOUNT                                       1310 EAST14TH STREET2ND FLOOR                                            iNEW YORK NY 100034284                            I            625.oo:                 513.63!           468.631             4s.ool                     s4.a3

&t-1205340       IMICHAELDONCANTYMD                                                      !61;23RDSIREETm11                                        !                ASHLANO.KY41101-284s
                                                                                                                                                                                                                    1
                                                                                                                                                                                                                               2,625.00
                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                         468.66;           468.68!            718.49!                     54.83

84-07-43121      !HOSPICE OF METRO DENVER INC                                            iso1 s CHERRY STREET                                                     !DENVER, co 80246-1325                                         740.00I                 468.00!           468.ool            198.001                     54.7S

XX-XXXXXXX       lwoMEN FOR WOMEN OBSTETRICS &GYNECOLOGY                                 1410 LAIC.EVIUE RD STE 305                               !                NEW HYDE PARK. NY, 11042                                    1,310.ooj                 933.2sl           451.s2i            465.1si                     54.70

XX-XXXXXXX .... ILou1SPATR1CK=CO=AT-'es"-o'-'o'----------------+!s~•~is_M_u_RPHY.
                                                                               __  _ _ _ _ _ _ _ _ _ _ _-t_ _ _ _ _
                                                                                  Ro                                                                              !,. .GAR_LAN_o,,_nc_1504_s-_ze_2S
                                                                                                                                                                                                ______t-___•~••-·oo-;-i____.._,_.s~o'.___46~7.s"o+i_ _ _ __,-1_ _ _ _~54=...,
47-s564851       !~~ eNoocR1NoLoGY ASSOCIATES                                            !m STATE ROUTE 35                                                        IREo BANK. NJ 01101                ...... { ...... ·····-·-·- s12.ooi ......... -..-·-···-· .s37.48'....- ..---·- 467.48,-.1-----+------'54".=
                                                                                                                                                                                                                                                                                                               ..c-i
XX-XXXXXXX       iABINGTONMEMORIALHOSPfTAt                                               !POBOX826577                                                              PHILADElPH1A,PA191B2                             l            623.00;                 467.25!           467.251                  -I                    54.66
                                                                                                                                                                                                                                          1
.tS-3279277      ILAKEVIEWIMMEDIATECARELLC                                               l1262SOLUTIONSCTR                                                         OIICAG0.11.,,60677                                            936.30                  936.30(           467.17i            444.13!                     54.65
XX-XXXXXXX       IP1EDMONTHEALTHCAREPA                                                   16SOSIGNALHJLLDRIVEEXT                                                   lsrATESVIUE,NC.28625                                           841.DDf                 467.osi           467.os!            HSEo!                       54.64
XX-XXXXXXX       !uNMRSITYOFUTAHAOutrseRVtCes                                            1POBOX413033                                                              SALTIAKECTY,UT,84141                             i          1.211.isl                 786.37l           466.n!             319.ssi                     54.60

1
 ,•=...=2J!Oc=9904='--+!v""All.EY=c.c•ccAccTHo.cOcaLOGY=-"s-"c_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+i,,_o_eo_x_is_2_ _ _ _ _ _ _ _ _ _ _ _-;-----;-LA_SA11E,_~•~~•_1J0_1_ _ _ _ _ _ _t-_ _ _s_10._so_,__:_ _ _ _
                                                                                                                                                                                                         41;z_e_,i_ _ _466_.4_2..,i_ _ _ _s.a_•_.,i_ _ _ _~•~•.s~'-1
3~3042409        !w1NAELDRADCONSULTANTSSC                                                !29DSONETWORKPL                                                           CHICAG0,11.,,60673                               j          2,672.00;                 s20.oo!           466.401            153.60!                     54.56

06--095D232      !GREATERHA!ITTORDORTHOPEDICGROUP                                        !1000ASYLUMAVENUE                                        1suITT2126       HARTFORD,CTDGtOS                                 !          1,,160.aol                465.141           465.141             35.DO!                     54.42

D5--9342485      !ANNETT(HOUANDER                                                        i282 SUNStT AVENUE                                                        ENGLEWOOD, NJ 07631                                           600.DDi                 600.00!           465.DO!            135.00,                     54.40

!!:~.~~!!.___ J~9LY CROSS PRIMARY CARE INC                                               Jpo BOX 70700                                            !                [FORTLAUOERDALE, ~L..3~"'··--
                                                                                                                                                                                                                                                                                   1_____54="::_i'
                                                                                                                                                                                                     -----!---~""-0.00=+[----'9"'70"".o"'o,...'--"'464"'."',o'l,:_ __,s=os,,,.3c,c0,-.
D2-0532906       !MARKBLEWMDLLC                                                          i2704GLENWOODROAD                                                        j8ROOKLYN.NY1121D-2326                                       1,003.00;                 S80.58)           464.461            116.12                      54.34

XX-XXXXXXX       iPATIENTARSTMARYLAND PHYSICAN~_Gcc•~ou"'•-----------+'•~o~•=ox"-7"5=89=5"-2-------------+-----1·1=BA=LTI~M=O~•~E,.M0,~21=2~1s'--------l--~l.=l!!~l---~•sa=22=,l,__ _•o.c64~-=zz+-!_ _~484.=DO.c+------'S4=.31=-t
                                                                                                                                                                                                                                                                                                       1
47-212D124       ;A&EDIAGNOSTICIMAGING UC                                                l28263NETWORK PL                                                          OilCAGO,JL60673                                  I            S80.0Qj                 S80.00!           464.00J            116.00                      54.28

76-037363S       !wesr HOUSTON RADIOLOGY ASSOOATES                                       lPO BOX 4346 DEPT 125                                                    lHousroN, 1X n210                                 I            sso.oo:                 464.oo!           464.DO !                                       54.28

os-o319999       lPEDJATRIC   ASSO□Am 1Nc                                                leLDG 10-1                                                   MEMORIAL     iEAST PROV1DENCE. RI, 02914                      I          1.251.00'.                css.ssj           463.65   l         328.SO                      54.24

XX-XXXXXXX       iAMcNORTHFULTONURGENTCARE4LLC                                           )POBOX742S74                                                             lATI.ANTA.GA30374-2574                            I            87&.oo'.                sss.so\           463.sol            us.ao                       54.22

11.33os210       lMARKJOFE MD                                                            l21ss OCEAN PARKWAY                                                      !BROOKLYN, NY1123s-1a11                                        936.ooi                 ss3.3sf           453.35[              90.DOi                    54.21
XX-XXXXXXX       ILONG RIDGE DERMATOLOGY LLC                                             f1os1 LONG RIDGE ROAD                                                     SfAM FORD. CT06903-4436                                       sss.oa!                 685.36i.          462.97 [           222.39!                     54.16

XX-XXXXXXX       laRALENA Wll.LETTE o c PROFESSIONAL             - - - - - - - + ! s - ' z s ~ w wise RD                                          I         --+-ISCH_A_u_M_eu_•~o·~"-60_19_3_____--+___683_.54--+)____4_78.:~~.i_ _ _•62=.38"+,1___~1•~.1~0._I----~54~.09"'-'
os-1559920       iANBPTSMAHOLDINGS                        ----------')47NORTHMAINSTRE=Er'------------i-··--                                                        .... !wESTHAft1!DRD,cros101        1.~5.oai        462.oai        462.ool              -!            54115

XX-XXXXXXX+'
          l1LE=cON=ID~IA~M~P_,E~•                                                                               1 N, ME04241-1849
                                  "'M"'D~P-"C----------------··-·➔PO·BO:::X,.:184=9'--------------!-·------FLEWISTO=c=                                                                                                         1.050.QD'.                57750;            462.00(            115501                      54.05
32-013SU3 ······1coLQUmREGIONAL                                                          !6HOSPrrALPARK                                           i                jMDUTRl~GA31768-6700                                        1,485.oD·                 461.821           461.82!                  -!                    54113



                                                                                                                                                 EXHIBIT2


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22-2222S02

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               ATLANTICMEDICALIMAGING

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              !EASTERN NEW YO RIC MEDICAL SERVICES PC
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XX-XXXXXXX    !RoBERTNADELMD                                                                                      i37&FJRSTSTREET                                        IM1NEOLA.NY1ts01.3131             j            460.001          4GO.oo1             c&0.oo!              .I         s3.sz

XX-XXXXXXX    ;ASSOCAlBIN PSYOIJATRICWELLNESS                                                                     14711GOL.fRost1200                                     !SKOKIE.IL60076                   !!           soo.oo;          sGO.oo1             460.ooj       100.00!           53.82
                                                                                                                                                                                                                                                                           1~;-!
XX-XXXXXXX
XX-XXXXXXX
               SOUTH SUBURBAN NEUROLOGY
               IAWRENCE SCOTT WILNER DO
                                                                                                                  !Po BOX 848
                                                                                                                  i12so IAGAE ROAD UNIT J

                                                                                                                  1330 ~ouNT AUBURN ST
                                                                                                                                                            t            !AURORA. IL 60S0,
                                                                                                                                                                         ,CASn.E ROCIC, CO 801QS.!1452     i
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                                                                                                                                                                                                                        s,s.ooi
                                                                                                                                                                                                                       1,256.0D:
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                                                                                                                                                                                                                                                             459.40!        424.00)
                                                                                                                                                                                                                                                                                             S3.82
                                                                                                                                                                                                                                                                                             S3.75
XX-XXXXXXX    lMDUNT AUBURN HOSPITAL                                                .............. _,,,_,, ____                                                          !CAMBRIDGE, MA 02233-5502                      115.00:          735_00;             459.ool       276.Ql?.1         53.70
36--2639052   iew1N1NTERNALMEDtCALASSOOATESSC                                                                 114SFLETCHERDRSTE101                          /            laG1N,1.60123-4748                i           1,473.ooi         989.ss~             458.74!       530.94/           53.67
XX-XXXXXXX    INoRTH sueuRBAN FAMILY MEDICINE LTD                                                                 f1so N RIVER RD STE 310                                loes PlAINES. IL 60016                         840.oo:          483.761             458.76!         33.ooi          53.67
XX-XXXXXXX     DIGESTIVE HEALTH ASSOOATESOFTEXA                                                                   l1s10 STEMMONS FRWY                       !sum: .soo   /DALLAS, TX 75247-4231                                          458.Sli             458.51
                                                                                                                                                                                                                                                                      1      95.ool
                                                                                                                                                                                                                        93fi.oo!                                                             53.64
XX-XXXXXXX    SOUTH FLORJCA SURGICAL SPECIAUSTS                                                               IPO SOX 329                                   !            jSTUART, R. 34995-0329                         572.42 i         572.4li             457.94 I      114A81            53.57
XX-XXXXXXX    !SJC:ox:rE FAMILY cuN1c Pc                                                                      16605 MAPLE ST                                             IMoRTON GROVE. IL 60053-1425                   100.00\          &57.54f             457.541       200.00;           53.53
XX-XXXXXXX    !souTHERN CRESCENT FAMILY PRACTICE                                                                  !s2S FOREST PKWY                          Tm 100       IFOREST PARK. GA. 30297                        750.14 i         106.e&!             456.s&i       100.14!           53AS
ss-2612884    !METROATLANTAAMBULANCE                                                                              !POeOx4130                                             !MARIETTA.GA30061                 I          1.025.ool        1,0zs.00)             4S6.201       568.sol           53.37
XX-XXXXXXX    !ALLCARECJNIC                                                                                       i31FREOER1CKSST                           i            jwESTORANGE,NJ010s2               I                             45&.ool             456.ool       153.20 1
46-10lln3     !JILLP ~~HUEil ..                                                                                   !w359NS002 BROWN ST                       jSUITE 208   locoNOMOWOC. WI 53066-3366        r·--..       664.00;
                                                                                                                                                                                                                    -·--~6.00~           456.DO!             456.ool        30.ooi
                                                                                                                                                                                                                                                                                             53.35
                                                                                                                                                                                                                                                                                             53.35

36--2924043    NORTHWESTORTHOPEDlCSURGERY SC                                                                      t~030 W SALTCREEK LN                      l~ 100       -,ARLINGTON HEIGHlS, IL, 60005               2,495.00'.     _·- ~·~68.~7~0,_j---"·54=.9•,   ,!----'=+--
                                                                                                                                                                                                                                                                          113.74!            5323
36--360S476   !;~WARDQ.YAVITZ                                                                                     IPOsox1790                                T            1eROOKFIELD,W1~;1;;;··-------                  sis.oo!          sis.ool             4ss.oo1         60.001          S323
XX-XXXXXXX    isrewARDMEDICAI.GROUPINC                                                                            !POBOX9657                                l            leeLFASr,ME049~657                I            s10.ool          611.02!             453.111       193.85;           53.02
XX-XXXXXXX    !ALGONQUIN FAM ELY HEALTHCARE p                                                                     !2220 HUNTINGTON DRIVEN                   I            !ALG0Nctu1N   n. IL &01024419                1,349.ool          799.66!             453.11!             '
                                                                                                                                                                                                                                                                           527.531           53.Gl
XX-XXXXXXX     SHEPPARDPRATTPHYSIOANSPA                                                                           i6so1N01AR1.£Ssr                          I            lrowsoN.MD2J.204-.6819            !           1,2co.oo!         86s.ool             452.661       415.34''          S2.96
59--1713947   PUBUCHEALTI-fTRUSTOFOADECOUNiY                                                                      !POBOX864728                                           !0RLANDO,FL32886-4728                        1,417.00!          977.73J             452.6Sj       s2S.os!           52.96
XX-XXXXXXX     GEORGIA DERMATOLOGY & SKIN CANCER                                                                  !2400 BEU.EWE RD                          lsrc 21A     ioueuN. GA. 31021                            7,999.oo!        s,151.ssf             452.&1!      4,302.24!          52.9S
XX-XXXXXXX    JENKINS MEDICAJ. ASSOCATES                                                                 ___ "_j3os W SPRING CREEK BLDG D su101             I            IPLANo, TX 75023-4653                          65S.OO;     _cc45=,2.54=,"i,__..;4:::52.S4=,;.'     .i
                                                                                                                                                                                                                                                                       ----+------""
                                                                                                                                                                                                                                                                                   52.94

52·2112078    ANALETANJEMA PITTRSON MD                                                                            !PO SOX 791208                            l            IBALTIMORE. MD 21279--1208                   8,405.0Cl          527.401             452.40!      5,165.831          52S3
XX-XXXXXXX    lNICOLASGBIROMO                                                                                     IPOSOX15828                               ·r           leELFASr,ME04915-4053             l            496.681          496.681             451.68j        45.ool           52.84

56--2328611   issoNEPHROLOGYANOHEPERTENSIONPA                                                                     h&0ESSEXSTSTE304                           I           !HACKENSACK.NJ07601              -I            619.00J          464.831             4SO.ssl        13.9Sj           52.75
XX-XXXXXXX    IP01.JoREVAU£YMEDICALGROuPLLc                                                                       13ss5PREastoNDR                           lsre100      T!LOVELANo~_~.sos38               I          1.2&3.oof          510.73!             4so.nl          60.0Di          S2.73
XX-XXXXXXX    !JuLENESTASSou                                                                                      !zo41eow1NAVENue                          J            !FORTLEE.NJ0102c2co1                           450.oo!          450.oa~             cso.ool              -1         52.65

XX-XXXXXXX    iSEA BWE NEUROLOGY CENTER PA                                                                        13100 CORAL HIUS DR STE 308                            lcoRAL SPRINGS, FL 3306~138       I            cso.oo!          450.ooi             450.oo   l          .I          52.65
32-00S6ns     iAoDISON-CENTRAL PATHOLOGY 1NC                                                                      ls20 e 22ND sr                                         iLOMBARD. JL 60148-6110           !           1.1&0.00:       1,093.0o!             4so.ool       643.ool           52.65
XX-XXXXXXX     PRIMARYHEALTHASSOCAlESPC                                                                           l1&s12s.106THCT                                        !oRIANDPARK.IL60467               !            450.ool          4SO.oo!             cso.oo!             .!          S2.65
XX-XXXXXXX    !CATHERINE B HOWELL PHO                                                                             \7363 HALL RD                                          iCOOUDGE. GA 31738-2407                       1,050.00]         700.ooi             4S0.001       390.ool           52.65
              1
XX-XXXXXXX     MCMAHAN--CLEM151NSTITUTE                                                                           iis1N MICHIGAN AVE                        IAPT913      !CH1CAGO,IL.60601                             1,648..oo!      t,452.5s1             449_40j      1.003.15 1         52.58
XX-XXXXXXX    J1NTEGRATED MEDICAL SERVICES INC                                                                    !9250 N 3RD ST STE 4010                                !PHOENIX. AZ 85020-2432                        576.00'.         47432!              449.321         is.ooi          S2.57
                                                                                                                                                                                                                                                                  128.35\                    S2.53
~.!:!!'~139   ·1RAcu~~oLNDGYcoAu:NMCEEoPC,·CA··•
                                             ..N,•CE·  NT.__,·.....N...
                                                   ......                 -------                                 JPOBOX440166                                           jNASHVILLE. TN37244-D16&                       &00.00\          577.3s~       44=•·.ccoo+!---===+----
311-241~435   ;="='=="="===='----- - - - - - - · -                                       ·--•N•-N•.. -)1005            SUSHIGHWAY27                         l:5TE 100    iSAINT JOHNS, Ml, 48879                        610.0Di          448.0lr-----448.011       60.G!li                   52.41
XX-XXXXXXX ·· ... !soUTH MIAMI CRmCARE INC                                                                        !Po Box 919315                                         loR1.ANoo, FL 32891·9315                       100.00!          soo.oai             448.oo!        lU.OOj           52.41


                                                                                                                                                           EXHIBIT2

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                                                                                                                                                                                                                                                     - -..             =,=_,=,"-i--......:=:.;_i-------=.=,.l=cs:..i
XX-XXXXXXX     iPOUDREVAllEYHEALTHCAREINC                                                        li024SLEMAYAVE                                                              IFORTCOWNS,C080524                                I    634.10\              561.23:         447.611           113.62                    5237

XX-XXXXXXX     iszNAIMEDICALCENTERSLTD                                                           .lOORLANOSQUAREDR                                                           !oRLANDPARK,IL.60462                              l    10s.00!              587.11!         447.11:          ·140.001                   52.31

1&-1020913     toAK DROIARD COMMUNITY HEALTH CENTER INC                                         J3:.:oo~w===•v:.:•~•"~•~----------+-----~is:.:•o:.:C1t~PO=RT~·~NV~1'-'44~2~0-=11:.:1"'s_ _ _ __,
                                                                ··--·--·····----· _ _ _ _ _ _ _...                                                                                                                                  447_00:              447_00;         447.00·li                                   s2.29
XX-XXXXXXX     IHAMPTON HOME CARE INC                                                            [260 HAMPTON ROAD                                                           'SOUTHAMPTON NY 11968                                  670.26!              670.261         446.85            223.41!                  52.28
                                                                                                                                                                                                                                                               7
47-S349604     ITMcPROVtoERGR:::O:::,UPc,P.=LI.C=-----------------+=l1:::37:.:Z2=•MBASSY==:.:•oc.ow'-----------!-------'SA~ANTON10."";.""_"-_?!=2=1•=------+---=.,"'•"'oo'+I----SD6=.s=a!---=...
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~200971 ..."...!UNION 5ClUAREGASTROENTEROLOGY P
43--1625293    iMARKAlANSCHEPERLEMD
                                                                                                 lposox 5740
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                                                                                                                                                                            ·F;B~EI.F~ASf=·~M~E~04~915~------+---"'"''200=:~c.c-·:t
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47.3210120     lcoUJN COUNTY CPAP                                                                14100 w a. DORADO PKWY                                     STE 100-4&1
                                                                                                                                                                            1MoaNNEY. TX ,so,o                                     1,1So.ool             445.ooJ         44s.ool           4ss.ooi                  s2.06

s&-m0310       !BAPTIST OUTPATIENT SERVICES 1Nc                                                  Po eox 198136                                                               IATLANTA. GA 30384-8136                                445.oo[              44s.oo!         44s.oo]                                     52.06

XX-XXXXXXX     !vEHUDAICLEINMAN,MD                                                               ,a1sruoTAVE                                                                lMIDDLEVJUAGE,NYt1379-1300                             1,&so.ooi             444.ss;         444.561            44.11i                   s2.01

36-4t48'n9     !wee CARE PEDIATRJCS                                                              455 s ROSELLE RD SUITE 209                                                  ISOIAuMBURG, IL 60193                                  &02.001              444.59!         444.59 i                -I                  s2.01
3&,.3U2938     IPEDIATRICCAREASSOCJATESSCHE                                                      2SOOWHIGGINSROAOSUITE67D                                                   IHoFFMANesrATES,IL60t69                            !    808.ool             444.43!          444.43/                .\                  51.99

1&-0739760     !01x1eANESTHesrA LLC                                                              l1490 e FOREMASTER DR                                      BlDG c          !SAINT GEORGE, UT 84790                                 660.oo:             sss.so~          444.401           111.10                   s1ss

21..oas7340    ]DERMATOLOGY&SKINCAREASSOOATES                                                    !Poeox9110                                                                 leE1.FAST,MED4915-911D                             I    682.001             582soi           444.161           138.741                  51.96

XX-XXXXXXX ____ lAWEOSEHAVORIAl.HEALTHSERVlru                                                    !22S40LORAINROAD                                                           IFAIRvtEWPARK.OH4412&-2212                         [    ns.oo[               568.95!         443.951           us.ooi                   51.94

XX-XXXXXXX     leveCARECENTERoF NORTHERN                                                         11400 DRY CREEK DR                                                         ltoNGMONT, -~·s=oso=a------+-----"so='-=oo=t-f---~so~u=•,-;_ _.;.44:=3·-861....                                 60.oo                   Sl.93
27..0&8802S    IKHUSHI JENNA PARTNERSHIP LLC                                                     800 E WOODFIELD RD SUITE 102                                               iSOWJMBURG, IL 60173                                    78LOO;              443.52~          443.s2!                                    51.89

4&-4649629     !SAMU HO MD                                                                       ,201 E HURON sr 5UrTE 12 202                                               !OfJCAGO, ll 60Eill-3127                                590.00!             532.09!          442.09!            90.00                   51.72

XX-XXXXXXX     !PARK AVENUE POCIATRIC CARE PU.C                                                  295 MADISON AVE                                            SUITE414        !NEW YORK, NV 10017                                i   1,000.00!            736.71!          442.02!           294.69j                  51.71

~'·"•Ue-..::.•__:!:::SPc.::O:.::RlS=M:::E=:Dl:::O:::NE;..:A!!T.::ote:EeclSEA=P:..:U.::C,__ _ _ _ _ _ _ _ _ _ _ _4 i=22'-'w'-'EST=2=1ST=sr'--'STE=400=---------+-----j'IN=EW=VO=R:.:K,ccNV=100='0-6=94'-'6'------+-l---'S<=s.oo=,.l_ _ _               ~•=••=·•=';-i--:::,.::'·o:c"':.;!___.::25:::-00::+-l-----•"'1"'.7-"-IO
o&-1452971     \FAIRAELDCCUNTYHEALTHCAREASSOCATESPC                                              !iscoRPORATE DRIVE                                                         !TRuMBUU.CT06611                                   I    934.00!              692.22!         44ugl             250.s3J                  5t.63
XX-XXXXXXX     IGARRY SHERMAN oPM PA                                                             !100 EAST HANOVER AVENUE                                                   lcecER KNOLLS, NJ 07920                            !   1,oso.ool            735.st(          44t.29l           294.22 !                 51.63

XX-XXXXXXX     IAWANCEPATI-10LOGYCONSU,-"LTccANTS=-------------+iP0=80=XS=9~67~------------i-----!,=CAR=O=LSTR=EAM=~"=•=o19=7~-S=9=67~----;-l-~l~,33='-=60"'-f-i---~884.=04.c;!,___44=1.27=!-,l_ __,_44-=2.=7-'-,71-;--_ _ _-'5"'1.6=2=-i
i='::cl-05=385:::-::,·;~e_--_---FME:,:R,:C'/'--'He:EAo:L:,TH'-'---'·F.::A:::IR:,:RE,:·;-,,=-·--:.:~0:::SPIT=AL=U.=C-------------f•'-'o'-'so=x•=as='=6D=-------------+----i;.=c:::N-=ON:.:NA=T'~·OH=•=·2=63-=57=60'-----        !   1,496.001             44LOO!          441.00!                                    51.59
XX-XXXXXXX     !NEIGHBORHOOD RADIOI.OGY OF ELMO                                                  !545ELMONTRo                                                               leLMoNT.NY11003-4ooz                          ··   1    441.00!              441.00!         441.ooi                ~l                  sLS9

XX-XXXXXXX     :!'.!PW. DOLPHIN, MC PLLC                                                         1155EAST72NDSTKEET                                                         INEWYORK.NY10021                                   !    720.00~             530.39;          440.85!            89.54i                  5158

lG-4294974     !SANJAY BHARTI MD PLLC                                                            4000 HAMPTON CTRsrE s                                                                                                                 +!__.:....=o.38! ..-""•--·- .:,1,,,••=·'="!-!_ _ _ _ _s:::1==.s~2
                                                                                                                                                                            JMaRGANTOWN~~-~2=••=0•=------+----""'=a.=oocc,-;----'•=so"...
               l1RW1N RAPPAPORT MO PC
                                                                                                 1530E20THST                                                APT MG          lNEWYORK.NY10009-1300                                   BS0.001              548.24!         440.161           108.08;                  51.49
XX-XXXXXXX

XX-XXXXXXX     IBRIAN HALPERN                                                                    ls3se10THsr                                                                !NewY0RK.NYt0021-4B23                                   485.ool             48s.oo!          440.001            4s.oo                   s1AS
XX-XXXXXXX     jBETH ESHUBIN STEIN MC                                                            !Po BOX200987                                                              !PITTSBURGH. PA 1s2S1--oss1                             soo.oo:              soo.ooi         440.ool            60.ooi                  51.48
XX-XXXXXXX     !sr MARY MERCY HOSPITAL CR.NA                                                     POBOX223459                                                                !PITTSBURGH.PA1525t-2459                           I   1.100.00!             sso.oo!         440.ooi           110.ooi                  sl.48

XX-XXXXXXX     ;Q.EARWATER COUNSELING CHICAGO UC                                                 l1oswMAD1SONsr                                             lsre;,oz        !CH1CAG0.1L6060Z                                   I    tiOO.oo\             600.00!         440.oo!           160.00!                  SL48

04,3399616     !NORTH SHORE MEDICAL CENTER INC                                                   POBOX3561                                                                  !aosrON,MA02241-3S61                               !    864.0D!              439.781         439.781                                    51.45
9>-367S415 __ [LOS ROBLES RADIOLOGICASSO_CA_TE___                                                icEPTLA21628                   _ _ _ _ _ ___,_ _ _ _!PASACENA,=CA~•=''=··~-----;---~•=2s.~oo~:~--~•a=•·••1 ___________ 43'.60!-I_ _ _ _-➔i                                                           ____-"SL"'43=--!
XX-XXXXXXX     !ACTON MEOICALASSOCIAT""~'------------------+!;::32::1.:;:MAl=Hc.::STRm="------------                                              !ACTON. MA01720                                                                   754.oo!              439_44!         439.:~L.-              -!                  51A1
02-0sss29s     luNIVERSALFAMILYMEDICAL CARE       Pc_________       _ _ _ _ _ _ __,!"'340=E~MA_,~•~sr~sr~'~'~--------- __..,..!,..-_-_-_-_---c!·BA--YSHORE~.!!~ 11106                                                               szo.o~_,__l_ _ _ _s_,._.2_6,)___•~"~.2=•+l_ _ _so=.oo'"'i_ _ _ _-'s~1~.l•'--'
11-3576SS2     iaROTGRELLO                                                                       i39DMONTAUKHIGHWAY                                                          !WESTISUP,NV11795-4403                                 940.00 1             488.46j         438.46!           375.ooi                  51..30


                                                                                                                                                          EXHIBIT2

                                                                                                                                                             100
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                                                                                                                            AEU INTERIM DISTRIBUTION



                                                                                                                                                                                                                                                                        ,, ....       ,..~
                                                                                                                                                                                                                                                                                  51.24
                                                                                                                                                                                                                                                                                  51.23
                                                                                                                                                                                                             875.00:                                                              51.16
 UNKNOWN            jHVHAGINS&FNTHOMPSONPART                                           iPOBOX255228                                     I                iSARCRAMENTO, Q 95865--5228                                         437.0D~     437.oo'
 20-0~3098 ___ _lasSTETRICS GYNECOLOGY Of FAIRFIELD                                    !PO BOX 150473                           -·--·--t···               !HARTFORD,..£!:• 06115                 1,460.00~
                                                                                                                                                                                                             431.001
                                                                                                                                              - - - - - 1 = = = = = = = = - - - - - j , - - - - = = , , - - - - " ' 1..            ••'".•"',+-,---,o-7.-75:,
                                                                                                                                                                                                                     =57::,,----=."'
                                                                                                                                                                                                                                                                                  51.12
                                                                                                                                                                                                                                                                                  Sl.10
 XX-XXXXXXX         !MICHAEL P DAVENPORT     oc                                        jnso SALTCREEK LANE STE 109                      !                                        ===-'-'-----+----'==------'-546.ll==col,---__
                                                                                                                                                          ARLINGTON HEIGHTS, ll60IJOS.1089              910.00:               •:::•=•.ac=;: ________ 109.20!                      51.10
 36--2707880 ..... ,ASSOCIATED RAOIOLOGISTSOFJOUETSC                                   !6801 W 73RD sr                                  is,-e 637            ====='---------+--.....=,==----·=2=1.94""\-;
                                                                                                                                                         r~~FORD PARX. IL ~99            1,426.00;       _ _..;4:::36:::.2c:,6;                             (92.40):;             51.04
 39-189_3276        _FOX VALLEY EMERGE,:.N:::C<;cMc:ED=ICIN=E:::SC,___ _ _ _ _ _ _ _ _ _ _ _-f!Pc;Oc..,BO:::X::.8=0=31'-----------------i                !APPLETON, WI S4912.ao31                            sn.ooi          436.00~     436.001 _ _ _ _ _ _·:                    51.01
 UNKNOWN            /EGHEAL~·;··-·                                                     /209STEfNWAVAVE                                                   lsrATEN' ISlANO, NY10314-4844                     1.110.asi         S76.58:     435.89:            140.69,               50.99
 XX-XXXXXXX         iERROL OiRISTCPHER BAPTIST MD                                      1461 NORTH MULFORD RD                                             IROO::FORD, ll6U07-5190                           2,724.001         961.31!     43s.22l            778.631               S0.92
 XX-XXXXXXX         iuCHEALTlt ER                                                       POBOX7331S8                                                      !DALI.AS, TX 75373                                2,749.001         635.16;     435.16!            2DD.OO!               50.91
 XX-XXXXXXX         !;,.ELIZABETI-ISHOSPITAL                                           1PO BOX 26934                                                     JSALT lAKE CITY, UT 84126                         2,032.74)         835.00!     43S.OO(            400.00!               50.89
 ls.443163S          8£RTHA CABRERA MD                                                 \601 W CENTRAL RD SUrTE 1                                         !MOUNT PROSPECT, ll 60056                         1,030.00)         434.811                                              50.87
                                                                                                                                                                                                                   i
 XX-XXXXXXX          BROOKHAVEN PHYSIOAN SERVICES PC                                   [100 HOSPITAL ROAD                                                 PATOiOGUE, NY J.1TT2·8814                         895.00]         434.73]      434.                                     50.86
 XX-XXXXXXX          LONG ISlAND RADIOLOGY ASSOOAT                                     !S4s ElMONT RO                                                     ELMONT, NY 11003-4002                            1,877.001       1,750.60;     433.80            1,316.80!              50.75
08-S668450          iMOHAMADELBABAMD                                                    POBOX417918                                                       BOSTON, MA 02241-7918                                    '
                                                                                                                                                                                                           1,444.00j         4~.40i      433~j;----~·7~.99'-'-f-!_ _ _ _-"'=-I
                                                                                                                                                                                                                                                                         S0.70
l"l~l-~2584~9_26_   _..!ISAAC
                        _ _MAD_E_B_M~D_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-+t22_4_l_O_CEA_N_A_VE_ _ _ _ _ _ _ _ _ _ ___,_ _ _ __,_ _ _~--~~-----i---~=....,..----·;s29.96i----·
                                                                                                                             !BROOKLYN, NY 11229-2303      1,795.00!                                                                     432.871           1,097.091              S0.64
 XX-XXXXXXX          AESTHETics&OBGYNFCRACVANCED                                       hosis64THAVE                                                       FOREST HIUS, NY 11375                            2,36S.07!         473.741     432.aal             40.B&i               S0.64
                                                                                                                                                                                                                                                1
 so-oo71212         !IVYREHABPHYSICAL THERAPY Puc                                      i1377MOTORPMYSTE307                                                JSLANDIA, NY, 11749                               730.00:          S40.60i     432.48             1oa.12I               S0.f;i0
 XX-XXXXXXX         lHOWAROJKlAPMANMDLTD                                                444SKOKJEBLVDSUITE220                                            lWILMETTE, ll.60091--9998                          730.DOi          507.381     432.38.            100.00 1              SO.SB
 XX-XXXXXXX         !ADVANCEDMEDICALSOLUTIONS                                           21957W83RDSTREET                                                 !LENEXA. KS 66227                                  900.00[          no.ori      432.ool                                  50.54

 2CJ:~!_66.~l~-fj0t=EYE=NN~E~R!~G~1000NA                                                                           CHEYENNE. WY, 82003
                                      =L'-'PHYSl=CANS==•~RO~U~P_ _ _ _ _ _ _ _ _ _ _-+PO=B0~~~2~097~0-------------;-----;-'---~~~=------t----~=
                                                                                                                                             748.171                                                                                                                              50.52
 XX-XXXXXXX         IL.AKE COUNlY IMMEDIATE CARE UC                                     PO BOX 15586                                                     1LOVES PARK. It. 6W2-5586                         1,292.ooi                                        120.00•               5052
SS.2212236          1CHllDRENSMEDICALCENTER                                             131COMMONWEALTHDR                                STE.310         !GREENVILLE, SC 29615-48n                          630.001         431.74~                            9.Ssl              5051
 22·3405G73         la-11LORENSANESTHESIOLOGYASSOOATIS                                 [poeox1a1122.                                                      PHILADELP~~• PA 19178                             770.001'         539.00\     431.20:1           107.80                SOAS

XX-XXXXXXX          !GASTROENTEROLGV HEPATOLOGY ASSO                                   !325TRAWBERRY HILL COURT STE 41042                                STAMFORD, CT06902-2778                            2,112.ool         758A3i      43LOO;            (327.43)               50.42
                                                                                                                                                         1
 XX-XXXXXXX          JEFFERS MANN & ARTMAN PEDIATRIC AND ADOLESCENT MEDIC NE PA         2406 BLUE RIDGE RD                              !m 100            RAWGH~-~!=• 27607                                1,067.00;         685.23i     430.891            254.34)               S0.41
XX-XXXXXXX          ~~!)HN VAN ARSDAL.E MO                                              676 N SAINT QAlR ST SUITE 1880                                   IOIICAGO, IL60611-3139                             603.oo:          430.67\     430.67!                                  S0..38

36-1000_540 ...     !KATH SHAW BETHEA HOSP                                             1403 EAST lSTST                                                   !DIXON, IL 610213115                               4&9.ooi          430.32)     430.321                                  5034
22•3730574          lRAou XRAMER MD                                                    '.BOO KSNDERKAMACK RD   surre 20s                                  ORADW.,. NJ 07649                                 600.00!          480.oo!     430.00!             so.ooi               50.31
XX-XXXXXXX          !mveRSIDE SURGICALASSOCATES PC                                      2527 CRANBERRY HWY                                                WAREHAM, MA 02571                                 sso.ooi          sao.ooj                        150.ool               50.31
                                                                                                                                                                SAN ANTONIO, TX, 78228
1"'"'3-e,lOBo:>:e07:cl~-+lv!!HS=SAN=Ae,N_,,TON='O'-''"'MA"'G"'""'"'-'"-"AR1N=o:•"'"-------------+4440=c,5c.:.P1,:EO:::RAS=D:::R:__ _ _ _ _ _ _ _ _ _-F.:..::=---t=======------;-----===;---__.1."84"5"'.s"i6i
                                                                                                                                                                                             3,17L20i                                                      1.722.851              50.27
XX-XXXXXXX          i1 V MEDICAL COCfOR PC                                             1630 PARJ.AVE                                                     ,New York,. NY 100tiS                              474.00I          474.00\                         45.tXl,              50.19
 XX-XXXXXXX         tTIFTCOUNTYHOSPITAL                                                ]PO BOX 95000                                                     lPHllADELPHJA PA 19195-0001                       USS.19;           429.021     429.02!            651.75!               50.19
                                                                                                                                                                                                                                   '              .
 XX-XXXXXXX          MK:HAEL D WEIL PSY D                                              lzo GROVE STREET' SUITE 250
                                                                                        POBOX967 _ _ _ _ _ _ _ _ __
                                                                                                                                                        [PETERBOROUGH, NH 03458-1470
                                                                                                                                        : - - - - - f = = = = = = = = ' - - - - - i - - - - = = t - -750.00!
                                                                                                                                                                                                     - - ' • ~ ~ = 1 ~ 1 i_ _          _!.m.~n~:---'-~--o_o;-j----~-----,
                                                                                                                                                                                                                                                                    50.16
 77-06734DO          PAUL REVIS                                                                                                                           ~.~~LEY PARK. IL 604TT--0967                     1.370.00j         826.69;     428.40f            398.29:               .50.12
 2S-1~-~4           .!CENTRE DIAGNOSTIC IMAGING                                        \PO BOX 197                                                        STATE COLLEGE. PA.16804-0197                   753.00;
                                                                                                                                                                                              ----;---=.....,---~519.o5;_._ ... 4m.oo;-!              --~.,-=-~os+!______,_50.07
                                                                                       J6127GREENBA.YR05TE=l=00~---                                      !KENOSHA. WI 531422941                             111.00:          533.25/     427.soi            1os.1s!               50.01
39•1738~ _..[EARNOSETH.=RO=.A::.~-"FA"M°'IC"Y.=CLIN=IC'-'0'---------
                                                                                                                                    ········!-···-
 22·2802925         IRUTGERS-RWJ DEPARTMENTOFMEDIONE                                   166WGllBERTST                                    !STE100          !nNmN FAUS Nl 07701-4948                           427.ooi          427.00\     421.00:  '               -1              49.95


                                                                                                                                      EXHIBIT2

                                                                                                                                            101
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                                                                                                                                        AEU INTERIM DISTRIBUTION




 XX-XXXXXXX       leRYANRADIDLOGYASSOc                                                              POBOX.5306                                      ;             !BRYAN. txnsos                                  I                   610.00'.             421.00)     427.00;              -I           49 .9s
 XX-XXXXXXX       !Lu&BOac:couNTYHOSPrTALDISTRICT                                                  .POBOXS9BO                                       !             [wesoa. TX79408-S980                            I                   427.00i              427.oo;     421.00!                           49 ss
37-o89940s        !MA01SoNRADIOLOG1STSsc                                                           iPaBOX4437D                                                    !MAotSON,Wl5374M370                                               1,54s.ool            t,444.GO:     425.60)       1,091.00!           49•79
XX-XXXXXXX ___ .• \HOSPrrAusr MEDICINE PHYSICIANS OF                                               !PO SOX 740635                                   !              LOS ANGELES, CA 90074-0635                                       2,188.00'            l,53L60'.     425.281       1,106.321           49.75

 XX-XXXXXXX       io1AGNOSTICCENTERSOFA'-"M='"'=CA=---------------i=i80cclc.cSE=JOCCH~~~..~Y.E_____________fi5TE=-·=•---t!sru=AR=T•ccRcc34=99=5--=-513=9-------+i----"3.,,,104=.oo=-::_ _ __.!,1,23=2.l!.3"">:_ _. :•::25::,;-IB"'l--,___8,c07:c-:,65,.;i_ _ _ __:!4~•-!:74~
 11·3S33882       !BAY 08 GVN p C                                                                  127360CEAN AVENUE surre 1A                                     i~_!t00KLYN, NVlU:29-4705                                           500.00 !             450.00i     425.ooi         25.00j            49.72
 27•3519967       koAHOLDJNGS ~c                                                                    131 e s~sr_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _]NEWYORK.NY_~•               1=0065-'=-'-7006=------s--'""_-_-_-_-_~--'.:,o:.oo:=i=======:•so."_""~"<l---.=25"'_"00"-i----'25=_00"'1-----'4"'9_"'n'-'
 3&-2748681 -··   -1~-~~~-9:~£-~~~~~-~~---..                                                 . ____J222 COLOAADO AVE                                              iFRANKFORT, IL60423-1334              ---·-+·---77_0_.oo~:---~'•~o.~ooca;:::::.~25~--~oo:;i--_~~-----'1:15:.o:o:J=========~••            :.1:,:
XX-XXXXXXX        !PATRIOAFKATZMO                                                                  !676NSAINTaAIRSTSTE'l880                                       !OfrCAG0:·;~60GU-2927                                               567.00              464.94i      424.94/         40.00/            49.n

XX-XXXXXXX        !CHERRY VALLEY FIRE PROTECTION DISTRICT                                          \PO BOX 1368                                                   IELMHURST, IL 60126-9!il98                                        1,411.00!            1,376.QOj     424.SO!        951.10!            49.71
2~3872453         !PRAIRIERHEUMATOLOGYASSOCIATES                                                    10660WESr143ROSTSTEB                                          loRLANDPARK.IL60462                                                 73U:6]              424.63;      424.63               -!           49•68
11-2m005          ILARRYPBERSTEIN MO                                                                100MANEITOH1LLRCAD                                            iPLAINV1EW,NY11So3-1311                         i                   910.00:             514.24:      424..24         90.ool            49.53
l.3-3652555       IREFUAH HLTH CTR                                                                 ;728 NORTH MAIN STREET                           !             ;SPRING VAll.EY, NY 10911                                         1,306.98   I          509.69!      424.0s!        336.ool            49.6l

XX-XXXXXXX        L~NlHONYALBERT-PULEO                                                              1S5ROUTE70                                      l             IMeoFORD,NJ0aoss-2l1a                                               530.00!             S30.ool      424.ooi        10&.oo!            49.60
XX-XXXXXXX        locMe01CALCARELLC                                                                ,Poeox 1118                                      !              ENGLEW0000.11=FS,NJ07632-1178                            15s.oo:        604.oo~ 424JJE,..l--~•=oo=·=oo+!-------"•._==..
                                                                                                                                                                                                                                                                                        =-i
XX-XXXXXXX        1;~NCETON EYE&EARUC                              ---------Fi2~99~9'-'p·~'"~CET0=~"-"~··~----------+'11.,.~'---+!l]\ENTON,NJ 08648-3261                                                          +-----''=60=.00=-r'----•===i-!_ __,423=.9D"'c------l-l_ _ _ _....=,•9.5=9-1
XX-XXXXXXX __ , ! ~ N MAINE MEDlCALCENTER                                                          ·143 WHITING HILL RD                             .             !BREWER.ME 04412                                                  1.340.00:            1,.196.301    423.80,        772.SOI            49.58

XX-XXXXXXX.
11-2B11s10
                  iDA\flDWOLFSON
                  liosePH ouvA
                                                                                                  ·!=•=Ol,cAc,VE=N_ _ _ _ _ _ _ _ _ _ _ _ _+i____--FBR"'OO=KlccYNcz,c,NY'-'1=12=30...
                                                                                                   j887 OLD couNTRv ROAD                                           RIVERHEAD, NY 11s01
                                                                                                                                                                                                         ·····~   i·-· ·-· ·•· ·-
                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                    1,750.ooJ...-·-·
                                                                                                                                                                                                                                    1,100.00'.
                                                                                                                                                                                                                                                       --•=23~.7=1+-!---'•23=.7=;1'-----+--------"•9=5"--17
                                                                                                                                                                                                                                                          423_11)      423.11 l                          49.57
XX-XXXXXXX        !CHA.a1SMATiccouNSEuNGWELLNESS                                                   lnooEoRvcREEKRD                                      sreczoz    CENTENNlALC0801l2-2S63                                             a1s.oo!             sn.s1!       423.51         200.ool            49.ss
XX-XXXXXXX        la1CKAPOSTONDOPC                                                                  217DOALLENRD                                                  JWOODHAVEN,Ml48183                                                  S30.oo;             4zz.1sl      422.75               .I           49.46

.XX-XXXXXXX       h.rnt.EHICKORYPED1ATR1csuc                                                       )issRIVERPARKXING                                              lwooDSTOCK,GA,30188                                                 465.1G:             422.3si      422.38               -l           49Al
XX-XXXXXXX        INORlliSl"ARANESTHESIA                                                           lPOBOX610503                                                    DAU.AS, TX75261-0SD3                                             2,632.00!             921.201      42L47]         499.731            4931
XX-XXXXXXX        !RITA K BATHEJA
                                                                                                   1szs VAN BUREN ST                                               BALDWIN HARBOR. NY 11510                                           soo.ooi             soo.oo!      420.ool         so.oo I           49.14

F'"o-"10=12=s=so=-..;l=,B0e.:W'-'M"'AN=PSY=c":::'A""T"-'R=1C.:::A_,,M='°'====co,,RP=------------ ..1~!.!.7 WILSHIRE BlVD., m. 101                                 1eEVERLY HIUS, CA.90212~1907
                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                      900.00 j            44s.oo!      420.ooi         25.ool            49.14
XX-XXXXXXX        ~OGIANESTHESIAUC                                                                 iPDBOX4860                                                     iMURREUSINLET,SC29576                           I                   420.00!             420.00~      420.00!             -!            49.14

4&-1651764        IENGLEWOOD WOMENS HEALTH PC                                                      !2s aoocwooD PL sre: 305                                       !ENGLEWOOD, NJ 07631                                                44s.ooi             445.oo!      420.00!         zs.ool            49.14

F'=-'l-=c303=616'i=-!l-'-PA'-":n"'E:::NTS=FJ:::RST=LAc.:KE=EUA=M'-'E'="cc'CAL=-------------+l1=69=0~•~M'-'o=•'-'•~o•~sr~----------+----t"TAUA=~HASSE=~'-~R.=3=23=03=------t------'44~5.:::DDcc,--;_ _ __;44cc5::.ooc=;!,--__•=20=·=ooi_ _ _=2S=.OO=;..I_ _ _ _ _4::,9:::.1"-'4
 GS-0413832  !PALM BEAot oaSTETR1cs AND GYNECOLOGY                            4671 s CONGRESS AVE sum 1006                                     LAKE WORTH, FJ..33461-4783                   sso.ooi       510.ool           420.ooi         9o.ool              49.14

 XX-XXXXXXX  !RONALDBtAlTMDPC                                                 144EAST44ntSTREET                                               lNEWYORK.N'i10017-4008                      1,050.00        459.831           419.83         40.ool               49.12
 XX-XXXXXXX  laRENlWOODPfOIATRICS                                            ls111MARYtANDWAY                                                 !eREN1Wooo,TN31oz,                            101.00:       419.ssi           419.sa!         ss.oo!              .:ig.og

XX-XXXXXXX        lcoNSULTANTSINWOMENSHEALlH
                                                                                                   113SSCENTRALPKWYS                                    STE400    iSANANTONIO, TI{. 78232-5057                                       960.27\              642.82t      418.77!        232.81!            48.99

27-081'1858       !MERCYH05PITALJOPUN                                                               POBOXS049SO                                     !              STLOUES,M0631SO                                                    836.00!             618.64!      418.64j        200.oo!            48.98

XX-XXXXXXX        !ASNA WELLNESS MEDICAL OBGYN                                                     !30.16 30TH DRIVE FLR S                                         ASTQfUA. NY 11102.                                                 597.89!             418.53!      418.53    !         -i            48.96
Bl-0618378        !JEFFREY, CROWLEY                                                                isio1 COMMERCE DR suITE 101                      l             !BAKERSflfW, CA   93309-0412                                        745.oo'             6405D;       418.49 !       222.011            48.96
XX-XXXXXXX .. ~   !COSTCARE~PLIC~------                          ----------;,l2~445=s 3RD sr w                                                      r.srE s       /MISSOULA. MTS9801-1330
                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                     41s.ao'              418.~-~;_ _ _4_18_.oo_',_·_ _ _ _..,_!- - - - ~ ="-1
                                                                                                                                                                                                                                                                                                         ....

XX-XXXXXXX ·- iotAO SIMMONS MO PA                                              _ _ _ _ _.....                                                                            _ _ _ _ _ _ _--+--~••63_2.58-' ____
                                                                                           lus_•o_H_1L_LCR_EST_Ro_m_2_0_3_ _ _ _ _ _ _ __,._1_ _ _ __.IDAL1AS_~•-n<.~1_s_230                                1sz~~---•-•1_.58~"+----••~9-~n"+d_ _ _ _--'.._.=•'--1
                                                                                                                                           1
                                                                                           j684 s BARRINGTON RD S1E 112                               !STREAMWOOD, IL 60107-1841                                         _~11.00 1_
XX-XXXXXXX        ;~O~H.::.Nc.c8::,ENccSO=N--· ______                                                                                      1                                                     600.oo:    492.ool
                                                                                                                                                                                                                                1----'75-=-·=oo't:_ _ _ _---"48=·cc78'--I
~1529169          !COMMUNITY HEALTH CARE INC                                                       l944CHERRYSTREETEAST                                           ICANALFULTDN.OH44614                                                902.00;             661.69!      416.69         245.ool            48.75


                                                                                                                                                  EXHIBIT2

                                                                                                                                                        1D2
                                                      Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 126 of 266 PageID #:11222




                                                                                                                                            AEU INTERIM DISTRIBUTION



~i-~~'.~1~a                                                                                       :,:~~~"'1'.'c ~:.~~:. ",l~-~~~~~~E . -:~-=~-.~i;;;;;.
 XX-XXXXXXX           /THEOULUTHQJNICLTD                                                          IPOBOXl4SO                                               . INW7813         IMINNEAPOUS.MN554BS-7Bl3                        i        2,343.00;               2,013.so!       41&.1_0!         1.591.1oi                 48.75

 ZG-4257026           iPAAAGON E M E R G E N C Y M E D I O N E P C P o e o x 3 0 6 1                                                                         I               isRIDGE.HAMPTON,NY11932-306t                    !        1.078.41~                 916.6sl       416.65!           soo.ooi                  48.74

3S.3587932            !STEVENESOilABACHDO                                                         S95BARCLAYCIRSUrTEO                                                        !ROCHESTIRHIUS,Ml48307·5802                     !          831.02 1               420.89;        416.65j              4.26!                 48.74
                      iRONALDFREEMANDEME□ Mo                                                                                                                                 7
 ss-os66757                                                                                       !POBOXt-4-4254                                             i               lcoHALGABLES,FL33l14       sos.40:   4t6.2s!               68S.oo:
                                                                                                                                                                                                                                                             =..u,
                                                                                                                                                          ....:::_------+-----',=,.=.oo=-i----',"',."'.oo:::;..1__:::••"'•"'.oo"'J---'"'so"".ooe:c.!- - - - -..
                                                                                                                                                      ....~
                                                                                                                                                                                                                                                                                                19z.14i                  48.10



~::~=----1::=:~~::::::: ·
               ... _ .r1                 ====---------·--------+h'"'s"R:::EM=-rrt=-A=NC=-E'--D-•-12-48----------i-i---
                                                                                                                     .. _-+'jai=,"'CAG=o"'.,"',606=,'"s"

                                                                                                  !4oHUR1EYAVESTE4                                                           (KINGSTON,NY124ot-3738                                     476.00'.               476.ooi        4ts.ool            m.oo!                   48.67

F'=-6-=254:::s,,,2"'1s=----;Ac=Mc.:•="'=CAN=aJ=RR=•=NT'-'CARE='-'OF"-"1WN=o=is=--------------"'°=so-=xc.so=••~--------------,-----irA=-000=1SO-=N~,~TXc.'ccSD:::01::.-<>.=.01=•-----i----'•:.:1•cc·oo::.,...1------"•1=-=•=·oo=sl~--'•::•:::•·==ooi,_ _ _..:60::.00::1-i_ _ _ _ _48 7                                    =·•"-1
6~17227
     = = ~ i1PIUMAMEO
             ====
                      jDIAGNOSTIC READERS GROUP INC
                        =====-------·--------j~BOX205650
                                                                                                  lrosoxs64572                                               I               ioRLANOO.fl32886-4672
                                                                                                                                                          ..-·r·----+';OA°"UAS==:,TX=75'-"3=20-:::56SD==-----
                                                                                                                                                                                                                                        sso.oo~
                                                                                                                                                                                                                                      1,515.00i
                                                                                                                                                                                                                                                               s20.oo!
                                                                                                                                                                                                                                                               617.53~
                                                                                                                                                                                                                                                                              416.oo)
                                                                                                                                                                                                                                                                              41&.ool
                                                                                                                                                                                                                                                                                                104.ooi-i_ _ _ _ _4:,,Se:,,6"-17
                                                                                                                                                                                                                                                                                                571.5;/                  48.67
XX-XXXXXXX            PH'r.ifClANS PllC

XX-XXXXXXX           ICAPITAL HEALTH MEDICAL GROUP                                                iPOeox11ssa                                                I               BELFAST,MED4915-4010                                       41s.oo:                41&.oo!        41s.ool                    -I              4&.67
 XX-XXXXXXX          IWIWAM DANIEL GRUBBS DC                                                      2125 NATIONAL ROAD PO BOX 2008                                             WHEEUNG, WV 26003                                          590.00)                51957!         415.66 !          103.911                  48.63
XX-XXXXXXX           !v1UA MEDICAL ARTS                                                           •33SVIUAAvesurrez                                                         IVIUAPARK,ll60181-2650                           r          410.00:                415.09:        415.09!                    -!              48.56
XX-XXXXXXX           ICONNECTIQJT NATURAL HEALTH SPECIALI                                         i3is E CENTER srREET                                       I              iMANCHESTER. er 06040                            !        2,300.00:               1,n3.31!        414.37   j      1.414.00!                 48AS
23-62!11113          IGElSJNGER CUNJC                                                             IPO SOX 826595                                             !               PHllAOELPHIA. PA, 19182                         !          588.00:                44L73!         413.461            28.271                 48.37

XX-XXXXXXX          loERMATOLOGV AND SKIN SURGERY AS
                         ~~~====="--------------!P,:,Oc,BO=X.=13c,S65,,,__ _ _ _ _ _ _ _ _ _ _--i-----j!B::,ru:,ASr=•.!!M!=.E,c049=15'--------+----'1!.~',e.OOe,!_ _ _ _4:,,1e,3-,,;23,;_\_ __,4c:13e:,.23"'i-i----::;-----~48:!>,.34~
XX-XXXXXXX           [PRIME HEALTHCARE, PC                                                        3D JORDAN LN                                               lm 3            WETHERSAELD,__q_c:,06:::1::09:::.__ _ _ _-+---•==3=•.oo=:_ _ ___:•::•::::•·oo::::,..j--"'"=.oo::.,!__:_ _,22=s=.oo=-!_ _ _ __.:,:48::::3,02-1
22-3762BS9           lNDRTH JERSEY SPINE AND SPORTS                                               480 MARKET ST STE 1                                                        SADDLE BROOK, NJ 07663                                     808.DO)                413.06(        413.~.;.J-----+------48=32=-<
20,.2588793          lwEST VIRGINIA VASCUlAR INSTITUT                                             2SOSTANAFOAD ROAD                                          I               BECKLEY, wv 2SBD1                                        1,225_49-                s1s.isi        4u.ul             103.041                 43.21
XX-XXXXXXX          -,DAVIDJ BENEUYAHU DC                                                         636Ml001£COUNTRYRD                                         1              !SELDEN,NY11784-9999                                        690.DO·                412.03i        412.03]                    -i             48.20
SS.1820883           icuMBERlAND WOMEN 5 HEALTH CENTER PC                                         lPoeoxll697                                                !              ieeLFAST,ME049~7                                 !         41L64;                  411.64!        411.64j                    -i             48.16

54--11413G2.         leMERGENCY PHYSICIANS OFTIOEWAT                                              PO BOX Ei03325                                                            iOiARtoTTE, NC28260                                        41LOOi                  411.00j        411.00!                                   48.08

XX-XXXXXXX           iME'OJCAL EMERGENCY PROFESStONAl.S llC                                       PO BOX 17723                                               j              !BELFAST, ME04915-4072                           i        2,121.00:               1,733.lSi       410.lBl         1,323.ooi                  47.99

XX-XXXXXXX         lvAN WOLFSON MD                                                                i241 WATER 5TREET4 FL                                     I               INEVJYOIUC. NY 10033-2019                        !         780.ooi                 1so.oo~        410.00!           310.ool                 47!37

XX-XXXXXXX           !NEILS ROSENTHAL MD                                                          201 EAST JSTH sr                                                           NEW YORK. NY 10003-3123                                   450.ooi                 4so.ool        410.00!            40.ooi                 47!J7

Lu-3830338           'WMINCAREPH't'SIOAN GROUP PA                                             _   !~ ~~   67~8~272~------. ·-·-----· ----- ·-----·          .i.          .. _!l:~U.TXNJ7So2,6_627"'-82.e,,72ce.__ _ _ _ _ _ i-----=56:::6Jl=D!;-_ _ _;::c<1::0e:·•':.;!_ _..c•::1D::,D7:::.;..i- - - -   ,L__ _ _ _     ;::c47c::.9:!...l7
                                                                                                                                                      --1I-----F-=====-------+----'·"'••.,,.•,••.1;_ _ _ _4:,,09e,.S:,2,:.;_ __::409=.52::.Z1-I"_ __,73=,.77!!.4-i_ _ _ __:,4_:.,7.9~1:..1
~1,c1-4::-c2~•~2-=--1l~LAft"!!!;RY!..!B!=!ER!!:NA~RDc,CHASl=!!'•!.__·_ _ _ _ _ _ _ _ _ _ _ _ _ _-+!1SS=.:::,C0e,Ue,Nc:.cTYc.,R:,:0_ _ _ _ _ _ _ _ _ _ _
27-40.26658 ___ louatADYOFntELAKEPHYS1aAH                                                         !POBOX677957                                          !       DAUAS,TX7S267    I     1,ags.ool          1,545.721             409.ool            1,0S4.0D!                 47.as

1,1.,_-=:>7c.c11528==--->ISJM=O:::N:=S=.STEV=E=N~-------------------··1"5:::14:.,A'-'~°'EN,oU::.E.::.M:.___ _ _ _ _ _ _ _ _ _ _.;,!STE=1::.F_ _-4BRDO=,:;KL=YN"-'"-NY:..:1"12::30-4=648=-------i·!_ _ _.:,88::0=.00=..'_ _ _ _::,65::,2.:::25::;.l'---'408=.9C"l-i--~2e,4:,:,33,e,1::;.i_ _ _ __:,4'-'7.B,:4~
XX-XXXXXXX           i011LO-ADOLESCENT HEALTH ASSOOA'TES                                          !pa BOX 1206                                                              lRADFORO, VA 24143-1206                                    475.00!                 408.961        408.961                                   47.84

XX-XXXXXXX           lonCAGOcORNEACONSULTANTSLTD                                                  S06CENTRALAVl:NUESUITT300                                                 iHIGHLANDPARK..IL6003S-S61!1                     l          sso.oo:                ns.s1f         408.s1l           32o.ooi                 41.so

D2-0497927           IWENTWoRTH oouGLASS PHYSIOAN CORP                                            !,89 CENTRAL AVE                                                          lcoVER, NH, 03820                                !        1,zss.00·                483.lsi        408.3si           57L64!                  47     .n
XX-XXXXXXX           !0tl\RLOTTEMEDICALCUN1CMCP                                                   IPOBOX G01643                                                             !01ARL01TE,   NC28260-1643                                  538.oo,                s20.oo!        408.oo!           112.00!                 47.73
XX-XXXXXXX           !PAITESH & TARAJ:: PA                                                        20525 AMBERFIELD OR                                        !STE 104       !lANo a lAKES, FL 34638                          I          458.00·                45a.ooi        408.ool            so.oo\                 47.73

02..0330598          iMONADNOCKOB-GYNASSOOATESPA                                                  4540LDSTREETRDSUITT302                                     J              1PETERBOROUGH,NH03458•l200                                1,600.00:                509.15~        407.321           101.S3i                 47.65
1.3-3977719          IGEORGEJICESSt..ERDO                                                         l16sWESTENDAVENuesurre,r11c                                I               NEWYORK,H't1OD23                                         4.345.ooi               1.09s.ooi       407.ooi         1.488.00]                 47.61
                                                                                      1
XX-XXXXXXX-=..-+l•:.::A"'TH"'W"'A"YS"-'PSY=CH=ow=GY-"s::E""RV"'ICE='=----------------.;,,2~1W=130ROOSEVELTRO.sum:203                                                        !wlNAELD, IL,_,60=1,,.,90,,________                        545.00:                 432.DD~        401.00!            2s.00/                 47.61
XX-XXXXXXX           lsuNAISE PED1ATR1cAS.,,soc=1AT,_,ES"------ -------··-·----·---·!1s2osc:;NoAYDRIVE                                                       lsu1TE211      !OiARLO~;,NC:t7607                           ..i.....      407.00;:-_ _ __.::•o,.,,c,.oo,e;l_ __:40=7.oo=;.l_ _ _ _-=i_i_ _ _ __:•!!.'·~•1=-1
XX-XXXXXXX           IPRAJRIE POJNT OBSTETRICS ANO GYNECOLOGY                                     !1675 BETHANY ROAD STEC                                    r             . lSYCAMORE, ll 60178-3160                     _,.!----'s::•=•.oocc:   ,i_-----"'•o=•=-·70=.;l_ _ _.::06=.;.7::D+i-----;------'•.::.7:::.58=-i
22·2159534           !RECONSTRUCTIVEORTHOPEDIC:SPA                                                4EVESDRSTEA100                                                            iMARLTON,NJ,08053                                         1,065.00.                611.62\        406.621            25.00!                 47.57


                                                                                                                                                           EXHIBIT 2

                                                                                                                                                                  103
                                                            Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 127 of 266 PageID #:11223




                                                                                                                                                                       AEU INTERIM DISTRIBUTION




 ~~~~~~~~~!!l~§~~~~=~~lllt~~il];;~~
· s9-1113ss2             ]JASONRAD1aMD                                                                             l1so1NE123ST405                                                      l                   fMIAMl,FL331s1~2884                                             756.00                                      406.11 ! '           77.001                      4751
 o&-3644556              KENNETH A. EGoL MO
                                                                                                                  1Po sex 415662                                                                            leosroN. MA ozz41                                               644.oo:                   450.soi           4os.so!              45.00i                      47A7
 XX-XXXXXXX              HERSCHEL KOTKES MO                                                                        ;305 EAST 55TH STREET                                                                    !NEW YORK, NY 10022                                             SOD.DD·                  450.00;            405.00   !           4S.00 [                     47.38
                                                                                                                                                                                        i
 XX-XXXXXXX              SHMCUMARPANDIAN                                                                           !120EODGfNAVESTE106                                               ... I
                                                                                                                                                                                        i
                                                                                                                                                                                                            lHINSDAI.E, IL 60.521
                                                                                                                                                                                                                                                       -----[               475.00                   475.oo'.           405.oo!              70.ooi                      4738

 1'3=3-053=='86='"--+PRO=""'='™=·•=RTN=•ccRS:..A,.,M=E=D=ICA=L=GcoR=O=UP~-----------+i6=8S=N=l3~1H=AVE~--------                                                                                             1UPlA~~. CA 91786
                                                                                                                                                                                                                                                              !           2.750.oo·                   404.78~           404.78!             953.20:                      47.36
  XX-XXXXXXX             !PAUL R LUCAS DPM                                                                         lsoo W CENTRAi.RO SUITT 110                                           IMTI IL 60056-2380     PROSPECT.
                                                                                                                                                                              --+-----+======="------+---=96=2.=o•:..·
                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                         _o.oo_,...;----~47=.34"-t
                                                                                                                                                                                                                      _ _ _ _7:.;:04.=69:,.!_ _.c;4;:;D4:::-69::cj _ _ _..
  22·1914792 ...... _AZZARITIKOLSICVPl:OIMEOICAPA            _ _ _ _ _ _ _ _ _ _ _ _ ___,!B?OPAUS,llOEAVE                                                                                   !STE201         jTEANEOC. NJ 07666                                              610.001                  404.36~            404.36]                   _j                     4731

  XX-XXXXXXX ... ,_ MllUE RFl:UMD PC                                                                              !;~SICINGSHWY
                                                                                                                                                                               --------!I                   ]BROOKLYN, NY. 11229                                            55D.OO:                  493.84(            403.84i              90.ooi                      47.25
 3~3279415               RONALD C PAWLOWSKI DO                                                                    luso BAMBERG CT                                                           I           .   IHANOVERPK. lt60133                                             694.00!                  443.66;            403.GEir             40.00i                      47.22

 XX-XXXXXXX              '
                         !WWA HEALTH CARE ALLIANCE PC                                                                                                                                   !                   '
                                                                                                                                                                                                            !WHITE SULPHER SPRINGS, WV 24986                                619.00°                  428.401            403.401             168.00!                      47.19

 XX-XXXXXXX              ,EXPERT MEDICAL DIAGNOSTICS PLLC                                                         !24RAYPlACEAPT2-3                                                                         !SCARSDALE, NY 10583-5463                         I           1,350.0D!                  897.30!            403.17!             494.13j                      47.17

 XX-XXXXXXX              l0RTHOPE01c ASSOOATES DF KANKAK                                                          ;PO BOX 13006                                                         i                   )BELFAST, ME 04915                                 I          1,650.00!                  403.17!            403.17!                   _!                     47.17

 XX-XXXXXXX              DR LORI PORTNOY                                                                                                                                                !                   l0i1CAG0. IL 60614-ggga                                         672.00!                  605.81!            403..20i            202.&1!                      47.17

 S8-6025393              IHOSPrrAL AUTHORITY OF UNION COUNTY                                                                                                                            !                   ieLAIRSVIUE, GA 30S12-3139                        I           3,822.SO!                 2,926.00!           403.201           2.747.SD!                      47.17

 XX-XXXXXXX              loR RALPH SIMMS JNC                                                                                                                                            I                   [GLEN DANIEL. WV 25844-0100                       !           1,344.00!                1,161.92!            402.921             769.oo!                      47.14

  XX-XXXXXXX             !TRUSTEES OF COLUMBIA UNIVERSITY IN                                                      IPO BOX 5209                                                             I                INEW YORK, NY 10087-5209                                        USO.DO'.             1.003.331           402.66!              600.67]                         47.11

                                                                                                                                                                                      ...  !                IEAST SETAUKET, NY 11733
   ..~~12-•:~:~:===CHARLES=•e:LLE::M:':r :-~'-~M~:~:='~~':~~~--~~---_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_--f-+'l:;;:::•:::1"'0=--106;;'---,---_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_~_:-~~~~~~~~::"'="'---'::::::=~:;::;:;;~~~~--:~~~::~~~:...,22,~1,83:"'
                                                                                                                                                                                                           '[OiARLOTTE                                             :'~a_~:::!~~~~~~~1~.::=:=""'~"<1:,_--_---_--_--_··~:::02=:=:c;.l_ _..:l.,::;:"5:6:::.B:c::~----':°':"':==---l7
 >-~-
                                                                                                                                                                                           I'                              NC 28260-1067

                         !RAMAPO RACIOLOGV ASSOCIATB ~
                                                                                                                                                                                            I
  XX-XXXXXXX                                                                                                      !PO BOX 10040                                                                             [PEORIA, IL 61614-0040                                          402.00]                  .co2.oof           402.00)                                          47.03

 XX-XXXXXXX              !MDVIP MEDICAL GROUP GA-An                                                               haoo HOWELL MIU. ROAD, srE. 650                                       I                   [ATLANTA, GA 30318-0920

 SS-0737998              !Pl.EASANT VALLEY EMER PHYS                                                              !2520 VALLEY DR                                                       i                   !POINT PI.EASANTWV lSSS0-2031                      I            S74.00:                  401.80!            401.80   I
 5s-nss942               jNIOtOLAS A TIUAKo                                                                       l1os WALTHER RD                                                       I                   !LAWRENCEVILLE, GA. 30046                         I
 XX-XXXXXXX              iontDANDAOOLESCENTHEALTHASSOC                                                            )221SSANDERSRD                                                        lm1os               JNOR1HBROOK, I~ 60062                             i           1,575.00;                  6S2.0S:            401.30!            475.86;

 S4-09n713               jRADIOLOGICASSOCATESOF                                                                   !PoBOX7019                                                            i                   jFREDERICKSBURG, VA 22404                         I           1,021.00!                  401.28!            401.28!                   -i
 1'2'---1-=2001=•~•1~-tlTR='""'ITY=PAl=N'---c=•~•TE=•-----------------··-!s1◄6CEREBELLUMWAY                                                                                             !m102               IT'RINITY, FL346SS
                                                                                                                                                                                                                                                              I           2.21◄.oo!                  401.13!_           401.131                   J                      46.93
                                                                                                                             1....        ICHAR1.£ST0N, WV 25304
 l'S,cS-O,c7c,69,elfl,c2,._-ln,=•,cuSH=ANe,D,cC,:,LAR=K'-'ALLE=R:,,Ge,IST"----------------f!3::,4:;ll,_,N"'OYES"=-"•v,_,Ee,NU,cE,._,SE=------------------F=---F=====-'------t-----''"",225.S==•c.!                                                            i
                                                                                                                                                                                                  -----=SO=S.=6S=,i,---__400=.BS=td_ _..:1,73_S.OO->i_ _ _ _ _4_6.9_D
  XX-XXXXXXX             !PlANNEOPARENTHOOCOFNYC-MSC                                                              llPOBOX415952                                                                             I
                                                                                                                                                                                                            BOSTON, MA 02241                                  I             860.00:                  400.13~            400.13!                                          46.81

 XX-XXXXXXX              ROBERTEURREAMD PA                                                                                        IEL PASO, TX 79925-3413 !
                                                                             ----------"'6=21=1,._,•=o=GE=M=•=•e=s=ums='~----------t-----r==~===------;---~1~35.ocf                                                                                                                                 2.oa1.4Sl           400:~J,__~1,~68=73=•+l_ _ _ _---'46"'.e=1'-1
 ~~sooG                  IIGEABRAINSPINE                                                                          \1os1coMMERCEAVENUE                                                                       :UNION, NJ 07083                                                400.00:                  400.00!            ◄oo.ool                                          46.ao
  XX-XXXXXXX             1JUDITHWSOIWAR12                                                                          ;4SEASr82NDST                                                        !                   !NEW YORK, NY lOOZS-0326                                        4zs.oo                   425,00;            400.ool              25.ooi                      46.80

  zo.1597136             OPEN ADVANCED MRI OF DEER PARie Ll.C                                                      loEPT 4725                                                                               iCAROLSTREAM, IL60122-4725                        !                                                                                                          46.80
  20.3097074             ACCURATE DERMATOLOGY PLLC                                                                 l1ssoEAST1TH STREET                                                      I               !BROOKLYN, NY 11230-6406                                        Sij(J,oo:                560.ool            400.ool             u;o.ool                     46.80
  XX-XXXXXXX                 BREG. 1Nc                                                                            IPo sox 844628                                                            I               !CALLAS, TX 75284-4628                                          400.00i                  400.ooi            400.oo!                                          46.BO

  XX-XXXXXXX             ADVANCED ORTitOPEOIC SPECIALISTS PC                                                       12305 GENOA BUSINESS PARK                                                lsurrE110       leRIGHTON. Ml4B114                                I                                                                              4s.ool                      46.80
                                                                                                                                                                                                                                                                                                                                                   I
  XX-XXXXXXX             IASTAIREKSELASSIEMD                                                                       ILENOXHILLSTATION PO BOX9S1                                                              !NEW YORK, NY10021-09S1                           !             490.00:                  490.00:            400.oo!              90.00l                      46.80

 XX-XXXXXXX    H_   ••   !NEW VORK RETINA co~~TANTS~P_LLC____ ---------                                           F[31=0'='4~TH=sr~SU=ITE~4=19"----------                                   i               [NEW YORK.NY 10003-4201                           I             400.00·                  400.00/            400.oo'.
                                                                                                                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                                                  ·;...:_ _ _ _...;a46:a.80=-i
  XX-XXXXXXX ___ .. lMEREDITHWEISS,MD                                           ________  -_--;.:l163=•:::•G="==-'"m=-----------+==='----+======-----~---400=-=oo,.,
                                                                                                                                     !su1L01NG2 {ENGLEWOOD, NJ 07631                                ____•,,oo=.occo+!_ _..:4=DD:::.oo:=i,1.                                                                                                       -!                     46.80

  XX-XXXXXXX             ioAK MILL MEDICAL ASSOCIATES.SC                          -------1'-J1900=~•~M~IL~w~•u~KE~E~~~v~•-----------<im 1soo                           _ _ _ _ _ _ _+--___6_3_3.0_o_,_ _ _ _4_24_.s1:H-•-·.. ·-
                                                                                                                                                !N1LES_1L_60_71_4-_31_6S                                                                                                                                                399.87'..·--···-· .... tis.001~'----~46~.1~•-1
  XX-XXXXXXX···-···lPmRGSULTANMD                                                                                 ··!1asoLOcouNTRVROADSU1TE2                                               746.oo'           iRlVERHEAD,NY11901                                                                       444.41;            399At[               45.ooi                      46.73


                                                                                                                                                                                     EXHIBIT2

                                                                                                                                                                                                104
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                                                                                                                                                               AEU   INTERIM DISTRIBUTION




n-11Bs210       jMVHEINC                                                                                    iPOsox93282D                                                       I                  laeveLAND,OH44193-2B20                            I       1,985.oo:                ss9.4Zi           399.42:                        .I         46.73

XX-XXXXXXX      !sl.JMMITOBGYN                                                                              1331SUMMJTAVE                                                      !                  !HACICENSACK,NJ07601                                        570.00;                399.oo'.          399.00:                        -i         46.68

XX-XXXXXXX- IMIUSSHERMANGJWAM&GOOOWJN                                                                       lPOBOX6386BS                                                                          !aNONNATl,OH45263-868S                                      399.ooi                399.DD'           399.00;                                   46.68

1=13""-3=6=13=56=1=-_,:E,,M:::.A::,N;:;UEl=lAZAR=.:..:M:::D=------------------i'!is=SE=G=u•=•c:c••c;;-="=·'---------------;-----!"'SI"-A"':rEN=ISWl==D·'-'""-Y-=1D=309=·3cc7Z=0'------'----'680=.DO:::.,...!----"39=8.=Bt,_1--~398~.81_,i _ _ _ _ _-,-;-----•-'6-=.66"-j
~-:~~?9283      la-iesH1REHEALTHSERVICES                                                                    l149EMERALDST ...•.•..•.         _ _ _ _ _ _ _ _ j~~rrK                               !KEENENH0343t                                               919.oo:                623.70)           Jss.10!_..,.             225.oo!          46.64

!~-2644371      !sroNYBROOK UROI.OGY PC                                                                     !Po BOX 419042                                                     !                  isosrON, MA,'-'0=22~•-='-------+-1·-_ __,2,""6=30=·°"=-i_ _ _...,1,,,2=13=·•=1,._:--=3·=•.20=,i_ __,1,2=63=.6=1....                  ! _____46=5"-19
~2011400        isolSTASLABPART_N_ER_s____                                                                  !4380FEDERALDR                                                     !STE100            fGREE~;,,NC.27410                                 I       1,sss.ss-                73l.3s'.          398.uj                   334.23!          4658

XX-XXXXXXX      iPACF1c~ PEDlATRICS                                                                         1;216SANTA MONICA e1.vosre 204                                    +-------s!SANTAMONICA.~CA_904_04
                                                                                                                                                                                                            _ _ _ _ _ _J                                      sso.~l,---~3=•=•·12=,'--='•"•=.12~.:                                               4658
XX-XXXXXXX···   j~ESTERN WASHINGTON ENDOSCCPY CENTERS LLC                                                   ,PO eox 21s1                                                                          lrACOMA. WA 98401                                         1,210.00;                131.20:           397.16 [        ·   ·    340.041          46.46
                I                                                                                                                                                                                                                                                      1
XX-XXXXXXX      !UNIVERSITY CANCER & BLOOD CENTU LLC                                                        13320 ow JEFFERSON RD BLDG 100                                                        !AntENS, GA 30607-1465                            I         604.18                 44L91(            396.91 !                  ss.ool          46A3

J.3...3S01644   l0tARLES GORDON                                                                             l200CABR1N1aLvosurrE1N                                                                INEWYORK,NY10033                                            945.ooi                39&.62:           396.62i                        -1         46.40
SS-0771729      IOASJS BEHAVIORAL HEALTH SERVICES                                                           ]689CENTRALAVE                                                                        iSARBOURSVILE,WV2SS04                                     1.190.001                676.'4i           3Sl6.64)                 280.00 1         46.40

XX-XXXXXXX      iPRAIRIEaJNICSC                                                                             l112HELENST                                                                           !SAuKcrrv.w1s3513-1011                            I         538.oo;                44554)            39554]                    so.ool          46.39
XX-XXXXXXX      !ORANGE COUNTY URGENT CARE 3 INC                                                            lPOeox1434ao                                                                         !tosANGELES,CA90074-34BO                           !         s76.57!                s1551!            39557j                                    4639
7~2898968       !DAVIDCK,:U::,D_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--;!=cS<=l'-'W'-'MCD=='"=M,,OTT=DccRc:S=UITE=A'----------+!                                                      ----'i"'All£=N,_,TX=7:::S0c:l3cc-999=B'--------i----"74.=3,..:::DI?.',_•_ _ _ _7D_L_48_,'_ _..;3_9_6A_B;.l_ _ _30S_.oo..;i_ _ _ _ _4=63=8'-I
20-82◄3412..... _ISA~ANEMERGENCYMEDICAl.SER                                                                 !POeoxgsoooss45                                                                      iPHtLADELPH1A.PA1919S                                        746.ool                39s.ooi          395,ooj                         -!         4633

1=2'-7-464=0=3S:::S,___,IMO=RR=OW=FAMl=Lc.cY-=M=ED:::l=O•~•"LLC~--------------fl1=4DO=N=D=RTHS=ID~•=•=oRSYTH==D=•--------+------ticuMMING,GA3004c_~=1·~76"68~-----,---~•~10-=.04+!---~·•="-="=;5l                                                                                                     396.DS!                   435_02!          46.33
◄7-1622688      lsM~.FAMILYMEDICINELLC                                                                      !3903scoosoR                                                       sum200             ISMYRNA,GA30080                                             60S.0ol                484.ooi          396.00(                    ss.oo!          4633
XX-XXXXXXX      IFAMlLYCAREASSOCIATEsuc                                                                     i6sCENTRALsrREET                                                   !STE ◄             !GEORGETOWN,MA01833-2◄11                                    575.oo:                445.ssf          395.ss!                    so.oo!          46.28
XX-XXXXXXX      loGNJENJCAGOGA BRKIC-VUKOTIC MO                                                             iPO sox 5563                                                                          IBELFAST. ME 04915-SSOO                                     s10.oo!                395.sgl          395.59 i                                   4628

XX-XXXXXXX      IMETROPOLITANHOSPrTAL                                                                       ls900BYRONCENTERAVESW                                                                 fwvoMING. Ml49519                                         3,395.25:               3,395.25!         395.zs!                  3,ooo.ool         46.24

XX-XXXXXXX      IRoBERTG KOHN oo                                                                            l5404w ELMSlREErSTE Q                                                                 IMCliENRY, ILGOOS0-4007                                     420.00!                ◄20.00!          395.oo!                    25.oo!          46.21

XX-XXXXXXX      !eooY IN BAlANCE PHYSICAL THERAPY                                                           lsu OLD wtu.m PAnt                                                 sre 1os            lHAUPPAUGE, NY 11788-4115                                   sso.ool                393.94i          393.54!                         -l         46.09

XX-XXXXXXX      luNIVERSITYOFUTAHCOMMUNITYPHYSIC                                                            i121ssooE                                                         lsrE400            lSALTLAKEcrrv,UT84102·1959                                   sss.s9l                393.95(          393.9s!                    14.11!          46.09
                                                                                                                                                                                                                                                                                                                                      1
XX-XXXXXXX      lPENRAO IMAGING                                                                             jpo BOX 2989                                                                         ]COLORADO SPRINGS, co.~•~"'~•~1-----;----·=13=·~°"c-:----43=•=.oo=-,-'--='94=.ooc;·---=75=.SO='+-i----~46=.o=•-i
XX-XXXXXXX ___ !sRlAN GMEEHAN MDPC-=-----------------;1:=-202=•'="'="=G-=STI1='ET=s•=cc=•=D~F1.0=o=•-------;------+
                                                                                                                  l1N=EW~Y=D•~•=·"'='0012==·----------;-!___...
                                                                                                                                                            =·=°"~i___~3="=_..=+-;_ _=3•='=·68c,!~_ _ _ _-.,_i----~46=.DGc=...i
XX-XXXXXXX      ·1RAOIOLCGYIMAGINGCOHSOAICIAWN                                                              !7SREMITTANCEDRDEPT13U                                                               1CHJCAGO,IL60675-1312                              !         535.00!                393.65;           393.tiS[                       -i         46.0S

~~99s1s         ~HEERPEDIATIUCASSOOATES,sc                                                                  :10MEADOWV1EWaNTEasurre300                                                            \KANkAKE'.E,IL60901                               I         601.00'                393.60!           393.60!------+-l_ _ _ _~..=-os=-i
58-,1090380     ITHEVERANOAPC                                                                               l2101MEREDYTHDR                                                                      iALEBANY,GA31707-2267                                        393.011                393,00j           393.00'                    0.011          4S.98

XX-XXXXXXX      iRADIOLOGY IMAGING ASSOOA"TES PC                                                            IPo eox 223862                                                                        !PITTSBURGH, PA.15251                             i       1,400.00i                579.43!           392.s1!                  1as.s2!          45.95

XX-XXXXXXX      !NATURE SPINE AND JOINT CARE                                                                125 MANOR OR                                                                         iMORRlSTOWN, NJ 07860                              !         625.00J                437   .soi        392.SOi                   45.00i          45.!12

~1539504        ~OHN P. MAHER ocPC                                                                          1131.SA ROUTE 52                                                                      iCARMEL NY iosu-4556                              \         392.ool                392.00!           392.oo!                        -I         45.86

XX-XXXXXXX      faLTICENTERPRISESLLC                                                                        !t34BALTIMORESTREET                                                                   !cuMBERLANO,M02l502-23D2                                    7CO.co:                491.97!           391.97!                  100.00!          45.86

                                                                                                                                                                                                                                                -+___;83=0.:::D0==;-;_ _ __:<=90.0=0:-'--=392=·:::DD:,>i_ _ _;::98.::00:::.1,-._ _ _ _ _4::,S::.8=-J6
~?~,:.0--1!:::We:ESY::..::ESSE,:::-,Xc:S::,Pl,_,,NA:,,L0;CA:::R;:,E.::ASSD=C:::IA::.,:TES.=:..__ _ _ _ _ _ _ _ _ _ _ _ f:::11A""0'-'8::LO::;D=cM:cF.=IE=lD'-'A'-'VE'-'SIE=230=----------i-----f'jW;;ESY=.;CA1D=c;;Wc;EU.=IIJ=-rJ7=006:=..._ _ _ _
                                                                                                           4
80-027879S      ,GEORGINASRINIVAS RAD MD                                                                    iPO BDX318S                                                                           iCARDLSTREAM, <60132-3185                         i         S20.oo:                392.00'           392.oo!                        _j         45.86
s1-0s1so10      :SAADPEDIATRICMEDICAl GRP
                                                                                                            1
                                                                                                             630 N 13TH AVE e                                                                     luPlANo, CA917S6-4975                                       ◄!l0.oo:, _______ ---~3!l=L6~',.'--=••1_._63
                                                                                                                                                                                                                                                                                                         _____  -----+'----~45=.82=-i
                                                                                                                                                                                                                                                                                                                 ~1.




:;!::;:-· t;:~~p::::::. -;~---
                                                                                                                                                                                                                                                                                                                         1
                                                              _ _ _ _ _ _ _ _ _ _ _··_···--;···
                                                                                           .. t2___1__s_ooweNsRDsw                                                          ••M-/STEA             !coNYERS,GA30094-39.91                                      425.oo!                                  391.ooi ·                  57
                                                          -
                                                                                                            !PO BOX 14359                                  _ ------.------F';~LFAST. ME 04915-4036                                                          1,613.00                1,::~              390.~...         _;'+;_____~_:_~_,
                                                                                                                                                                                                                                                                                                            ; --~(40_6_...
XX-XXXXXXX      lRoBERT Fl:lDMAN                                                                            \po aox 13030                                                                         lsELFAST, ME 04915-4021                                     435.oo!                435.ooi           390.oo!                   45_00!          45.63


                                                                                                                                                                             EXHIBITZ

                                                                                                                                                                                1D5
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                                                                                                                            AEU INTERIM DISTRIBUTION




XX-XXXXXXX       !ruFFS10EMEDlCALLLC                                                 IPoeoxlS46                                                            ieNGt.EWOODCJFFS,NJD7632-0S46     \          675.ooi             426.03)       390.03           42.21!                45.63
XX-XXXXXXX       IJAYEGLADSTEINMD                                                    !s901woLYMP1cBLvosumsoo                                               iLosANGB.ES.CA90036-4667                     110.00· ·           100.00:       390.ool         320.oof                 45.63
XX-XXXXXXX       IJAMESJ.KINDERKNECHTMD                                              IPOBOX~887                                                            lNEWYORK,NY10087-9887             I          390.00              390.00'.      390_00]                                45.63

36--3583464      !ALEXANDER w KMICKEWYCZMD                                           !12622 SOUTH HARLEM AVENUE                                            IPALOS HEIGHTS. tL 60463-1428                s10.ooi             sto.oo:       390_00\         uo.ool                 45 _63
3~3875992 .. JT□DDSNEWBERGERMD                                                       !POBOX18484                                                           !BELFAST,MED49~79                          1,087.00,             633.95.       390.00          243.9~1                45.63
                                                                                                                                                 I                                           !                                            3!10.oo!

                                                                                                                                                                                                                                                          7~~:                   : ~:
<_6-5383572      ISAMUELTAYWRMD                                                      (osox2m•                                                              iNEWYORK,NY10087-9234                        390.00:             390.00,                                              45 _63


::::--1=="7~:,:·::~:~DSP
XX-XXXXXXX       /JEROMEHSIEGELMDPC
                                                                                     ;::~::
                                                                                     j~·~X9759
                                                                                                                                          -T
                                                                                                                           ..... ··-··-~-----·
                                                                                                                                                           i:.:::.~,::·3831
                                                                                                                                                           l~-~ASi,ME04915
                                                                                                                                                                                           --+-·      1:~: :
                                                                                                                                                                                                     10,000.DO/
                                                                                                                                                                                                                           :::: ::::
                                                                                                                                                                                                                           486.52!        388,32/          gs.zai                45.43

XX-XXXXXXX       IKtSHWAUKEEPHYSICJANGROUPINC                                        !POBOX487                                                             loe1<AtB,1L.&01is                            812.20:            548.os~        38s.oai         160.ool                45•40
XX-XXXXXXX       ioRSULSFAMILY&SPORlSMEDICINE                                        20WASHINGTONPt.ACESUrrE3                                              !BEDFORD,NH03110-6743                        453.00[            413.00(        lBS.OO!          25.00                 4539

XX-XXXXXXX       !GftfGORY LOVALLO                                                   255 WEST SPRING VALLEY AV STE101                                      !MAYW000,NJ07607-1444                        412.001            412.00!        387.oo!                                4S.28
36-3877S41       !uNtvER.SALRADroLOGYLTD                                             !941occMPUBILLDR                                                      !oRLAND PARK,ll60462-2627                    645.oo!            483.75]        387.00           96.75                 45.28
XX-XXXXXXX       !WADSWORTH FAMILY PHY THERAPY INC                                   145 SMOKERISE DR                                                      iWADSWORTH,OH44281-87D2           i          584.DO]            386.18:        386.18!                                45.18
!_!~2075         ia:NTtJRYINTEGRAT£OPRTNRS INC                                       IPoBOX9899B                                                           !LASVEGAS,NV89193                 !          996.00;            386.13l        386.131              -1                45.17
XX-XXXXXXX       /BOCA PEDIATRIC GROUP                                               15458 TOWN CENTER RD                                    1m20'         !BOCARATDN.R..33486                        1,000.ool            Mi9.24i        386.021         167.48!                45.16
F1~1·3~4=98~3~32~-t!JA~V1~··:,ER,=ZE~LA~<~A~M~D~-------------------!•~-~ PROSPECT PARK WEST                                                                lsROOKLYN,NYIU1S-saos                      1,410.00!           1,12S.11;       3BS.85]         739_32J                45.14
~2~.~-~!......!Y~ HEALTH MEDICAL                                                 ..... __ PO SOX 11~3                                                      ieELFAST. ME04915-4tXl7           I          sso.oo)            460.sol        3BS.5oJ          1s.ool                45.lD
XX-XXXXXXX       [SUBURBAN WOMEN 5 HEALTH SPEOAUST                                   2350 RoYAL BLVD sum: 600                                              IE1.GlN,ll60123-4727                         410.0oi            410.DO~        385.oor          25.oo!                45.D4
SS-0789127       !RlOiARD A LEVIN MD                                                 1305 POST RD SUITE 302                                                IFAIRFIEJ.D,CT06824-6016                     sso.oo:            sso.ooi        3ss.ool         165.ool                4S.D4
XX-XXXXXXX       !ARBOR FAMILY MEDIONE                                               13655 E 104TH AVE UNIT A                                              1ntDRNTDN, 00 80233-6136                     410.001            410.0D~        385.oo!          25.oo!                45.D4
35--2166056      jMJ MEDICAi. GROUPS C                                               POBOXS9784S                                                           !011CAG0.1LG0659-7845             i          1ao.oo;            449.73\        384.nl           ss.ool                45.01

XX-XXXXXXX       !FRANICUN MEDICA1. GROUP PC                                         lPo eox 74008790                                                      !0-11CAG0. 11. 60674              l        1.016.01'.           445.18!        384.67           60.52                 45.00
XX-XXXXXXX       !cOWNSMEDICALASSOC2PC                                               95W00D1ANDST1STA.00fl                                                 !HAKTFORD,cr0610S                 !          735.oo;            412.17i        384.69           82.48                 45.00
XX-XXXXXXX       \METRO PEDIATRIC CARDIOLOGY                                         •1349 E NORTHFIELD RD_SUITE 105                                       ILMNGSTON, NJ 07039-4802          !        l,960.00~---···      S04.14i        384.45          119.69                 44.98
~2-0466163.... ..!PH'rSICAN SERVtCESOFFLORIDA LLC                                    .3113 IAWTONROAD                                                      laRLANoo, R.32803-3517                       719.ooi            384.331        384.33!                                44.96
XX-XXXXXXX       !l(ANE PODIATRY ASSOCIATES, SC                                      l2112e1ACKBERRYDR1vE11112                                             ]GENEVA.IL60134                   I        t,295.oo!                                                  =-""-!•
                                                                                                                                                                                                                           384.1:i!,_:_ _384=·=,sc;,i-----;------..
                                                                                                      0 0l=CA=L=PAR~K=Dft~-----------+'-srE=200~--ac!a~R1=DG=EP~DR=T•. '!!.'!~•2~63=3=0------+--~•=73=.o=ot-;-----=•=23.cc4Dccl,-._ _384=·=•3,,.J_ _~•=••=.3"-7),__ _ ___c44=-"3"-l
~~-1=1Sc.7_,cJM=D=U"-NT""A""IN=ST'-'A~TE=-cMccE=D'-'ICA~L=SPE=CIA=LTl'-'ES~l=N=C-----------1i=12=•=M=ED
XX-XXXXXXX       lur SOUTHWESTERN uN1veRS1T                                          ]s201 HARRY HINES eLvo                                                JDAU.AS. TX 75390                 I          600.00 !           480.00l        384.oo   l       96.oo                 44.92
XX-XXXXXXX       loLMSTEDMEDfCALCENTER                                               i210N1NntsrSE                                                         iRootESTER.MNS5904                I        l,365.00l            10s.10!        383.80          324_90!                44.90

XX-XXXXXXX       IABSOUJTEMEOICALPC                                                  POBOX102017                                                           IPASADENA.CA91189                 l          443.62!            443.62!        383.621          60.00,                44.88
XX-XXXXXXX       IMOUNTAINCOMPHEALTH                                                 IPOBOX4180                                                            IPixEVILLE.KY41S02..i1so          i          a20.oo!            638.33{        382.98)         25S.3Si                44.ao
XX-XXXXXXX       !PRECISE DIAGNOSTICS                                                !st CHARLES ST surrE202 FLOOR2                                        iMINEOIA, NY 11so1                l        1.700.oo:            636.BG;        382.tol         254.76                 44.70
XX-XXXXXXX       lNEALMESNIO::MDPU.C                                                 iswesT16THSTREET                                                      !NEWYDRK.NY10011                            44S.oD!             426.92;        381.92!          4s.oo!                44.68

o&-1174666       !THOMASARAGOMD                                                      !3101MA1NSTREET                                                       lsRrDGEPORT.CT06606-4263                     970.00;            a02.11;        380.94          221.ni                 4451

                                            _ _ _ _ _ _ --------------!'iP.=0.=BOccXec62=9_ _ _ ····-· -·-····------· -----------:-----l'IM~A=U=lD=IN~•=SC'-"2966==-2-062=•'------+-----'7'-"5"'9.0e,0:,._ _
~•-1-_39_2_42_13_,l_,o_SE~•~H~C_M~UR_RA_Y_D_PT
                                                                                                                                                                                                               1           3ao.so;        380.ao/              -f                4455
UNKNOWN          IDMAGEN HEALTHCARE III                                              as90 RIO SAN DIEGO DR sum: 111                                        ISAN DIEGO, CA 921Q8.5597                   BOo.oo\             460.sol        3so.sol          so.ool                4455

22~3655205
"...
               !~;   ~F WOODBRIDGE LLC                                               PO BOX 828393                           !
  =,36690==,-l1"".A•=TM-=R!TIS"-'-'"'-OSTEO="•c:.0"•'"'0S1S=-CE-NTE-•---------------+i3=0=,.=o=ocw=•=u.~A-VE_N_u•------------;
                                                                                                                                                           !PHllADElPHIA. PA..~19=-182=-----+-- _1,0
                                                                                                                                                           !HAMDEN.   era;;~
                                                                                                                                                                                                       ,3=•~•.oo=l___~380=2=5,_!---"380=.25=,·J_ _ --"129=·•~1+-/_ _ _ __..o:44:c-•cc•-1
                                                                                                                                                                                                     641.00·               380.2,l        380.24 1         so.ool                44.48



                                                                                                                                           EXHIBIT2

                                                                                                                                                     1D6
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                                                                                                                                            AE\J INTERIM DISTlllBUTIDN



~~.,~~-~~~~~~~.ii;~--~1:,:.:--...--~~
 20-009212&          IR.ORIDARETINACONSULTANTSPA                                                !2202tAlf1.ANDHIUSBOULEVARD                               !                lLAKELAND,Fl.33805--2908                   !           380.00!              380.00)

F2=-6-=206=34=·•'--..,!u="=-'VE=RSITY=-"RA~Dlc,O,:W,cGY"-----------------l'iP-"O-"B~O•c..1"0~75'-------------~!-----ii"EAST==BR"U"NSWl=O:.=N~J"'08S=16-'-'lOCC.75CC..._ _ _! -_ _-'4~75=.00~i----'•7"5."oo"'i_ _-'3=BO=·OIJ.,.!                                                   ----+---
                                                                                                                                                                                                                                                                                      95.oo!              44.46
 XX-XXXXXXX !GOTHAM GASrROENTEROLOGY PU.C                                      !s35 STH AVENUE SUITE 611                                   INEWYORK.. NY 10011-ao16               425.00!               425.DO'    3so.oo!                                                               45.ooi           44.46

 XX-XXXXXXX           jMIOtlANAHEMATOLOGYONCOLOGYPC                                             !PoBOx448                                                 l                !solfntBEND,IN46624-044B                   l           380.00,              3so.ool         380.oo!                -1          44A6
                                                                                                                                     1
F'~6-4-'1~•135=0'---+iu~N'-1VERS=~11Y~RA~Dl~O=W=GY"--'TEA=N=ECK=11=c-------------+l1P-'o-'eo~•-1_0_1s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ,__ _ _ __,_!&m~_•_•u_NSW
                                                                                                                                                           __10:,~NJ_oss_1_•_ _ _ __, ·--------·-··3BD._oo_i---~3.B0~.oo+l--=3BO=.oo,!_ _ _ _+------"'
                                                                                                                                                                                                                                                     44.46
                                                                                                                                                                                                                                                         0
                                                                                                                     1
F2'-1,043=ss=1•'--+IKA=Vll'.~A~MAR==IW~A11A='-'M"o'-----------------+!i=zs",~MO=NT~AU=•-'"'-'G'-HW~"--'----------;'-----;r,==-'1SL~1~•·-'"'-n"1'-1s=s-4-"-91'-•-----!--~1~.22=-•=.ss=-,-i---~••"1=.03~--------379_~3._!,----==c+-------'
                                                                                                                                                                                                                            211.101    44.45

..,_1-_201_•_21_•_   _,__LAF_A_V£1TE
                              ____ ~RNAL    MEDl□NE QJNacuc                                     l~~9AMBASSADOR CAFFERY PKWY                               !m 410           (LAFAYETTE...~~1=0SOB=-------i----'as=•=.o=o.,.!---~'=-04.8=7,-!_ _,::379=.9•::,:__                     --=:::+-------==
                                                                                                                                                                                                                                                                                      44.891      44A5

 62·1861198          !vHSACQ.UlSITIONSUBSIDIARYNUMBER71~~-·-- .. _....................-----···-·-····----+iP_D_BO_x_3_38_s__________
                                                                                                                                                          1                leosroN,MAD2241                            I           499.soi              379.ssl         379.ssl                _[          44.44
 XX-XXXXXXX           EVERGREEN PEDIATRICS lLC                                                  130960 STAGECOACH BLVD STE W120                           l                )EVERGREEN, co. 80439                      :           909.00!              587.33i         379.ll1          20752i            44A3
                                                                                                                                                                                                                      1
 XX-XXXXXXX           FOX VALLEY ORntOPAEDIC ASSOC sc                                           !2S2s KANEVILtE ROAD                                      I                !GENEVA. 1L 60134-2578                                 733.oo:              439.62(         379.62            60.oo!           44A1
 XX-XXXXXXX          !FIFTH AVENUE ASSOCATES                                                    !1034 STHAVENUE                                                            lNEWYORK, NY 10028                                   1,135.00i              424.42!         379.42            45.ool           44.39
 XX-XXXXXXX          lLuONA TREVJNO                                                             lso7 PlEASANTON RD STE 101                                                 iSAN ANTONIO, TX 78214-1335                            41926;               41925!          379.26;               -1           44.37
 XX-XXXXXXX           FIRST CARE OHIO, uc                                                       1955 REDNA TERRACE                                                         laNCNNATI. OH 45215                                    s12.00!              379.osi        379.os!                -1           44.35
 XX-XXXXXXX          /AVERY BROWNE                                                              !901 OAK TREE AVE                                         lm H             isoUTH PLAINAELD NJ 01oso--su1             i         t,114.oo!              sso.oo[        379.ool          47L00i
                                                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                                                          44.34
 75--2560110         ]PEOIATRICASSOICATESOF PlANO                                               16130W PARKERRDSTE410                                     j                !PLANO, TX 75093                           I           768.00!              379.95!        378.75,             9.72!           44.31

 27..2394548         ]BLUEAELD QJNIC COMPANY uc                                                 !PO sox 19081                                                              !BELFAST, ME 04915-4085                    I           395.ooi              39s.oo!        378.40             16.601           44.27
                                                                                                                                                                                                                                                                                               I
 XX-XXXXXXX          iSURGICALASSOCATES OF NEENAH SC                                            !tOOTHEDA MEDICAL PLAZA                                   ISUITE4DO        !NEENAH, WI S4956                                    3,473.00~            3,473.00/        378.40          3,094.601           44.27
 XX-XXXXXXX          JSALLY souTH NP                                                            l1s ROXBURY LA                                                             IMASSAPECl.UA. NY 11758                                700.00!              378.02 1       378.ozl                 -1          44.22
 XX-XXXXXXX          )HAAIPGADDEMD                                                              1330NMADISONSTL11                                                          lJouET,JL60435                             !           540.ooi              37s.ool        378.00                 )            44.22
 XX-XXXXXXX          iscOTTDANASMOLLERMD                                                        l1soswB4THAvesumc                                                          lPLANTATION,FL33324                        i           750.ool              377.3s!        377.35!            7SA7\            44.15

 XX-XXXXXXX          !RosmwoooJoHNSCN UNtvERSITY HOSPfTAt                                       !Po eox 4S025                                                              lNewARK. NJ 01101-4825                     I         3,450.60 i           1.10aosl         377.33[         1,330.751           44.14

 XX-XXXXXXX           a-11LDREN'S HEALTH AND THERAPEUTIC                                        luo3 ROANOKE AVE                                          i                IRIVERHEAD, NY 11901                       l         1,950.ool              69L64'         377.31           720.351            44.14

 XX-XXXXXXX           atlLORfNS HOSPfTAL PEDJATRlC ASSOOATION                                   !Po BOX4161                                               I                !wosuaN. MA01884                                       410.00!              377.20!        377.20t                 -1          44.13
                     1
 XX-XXXXXXX           HERJTAGEPARK5URGICALH05PITALLLC                                           l360tNCALAJSST                                                             jSHERMAN,TX75090                           I         J..962.00i           t,47LSOi         311.20!         1,094.30(           44.13

 9s-3s11359           IAMSHVD DAVID KARUN MD                                                    !7301 MEDICAL CENTER DR SUITE 410                                          lwesr Hills, CA. 91307-1994                I           soo.ooi              soo.ooi         377.oo           m.ool             44.11
 Qij-0857329          CYRILWAYNIKMDPC                                                           is28fAOiROAD104                                           ]                !FAIRAELD.CT06824-6017                                 635.00:              426.44!        376.44!           so.oo!            44.04
                                                                                                                                                                                                                                                                                           1s.00!
l!i2,e:I0-4:,Be,68967='-..fM,,:,l,,:,N,,_UT"E=QJe,N:,,IC:..,De:IA,sGe!N05Tl=e,_C,,_DfC-'N-"Mc!!..._ _ _ _ _ _ _ _ _ _ _ _-fl1:::83::.US=H:::IGH=W::.;AY;c20=6S=-----------tl_ _ _ _~i~CH=E5"!!~.!.!f:J_.,_,07::.;9:::30=--------tl_ _ _6=,13°".00=.·---~S:::1=1.4~5'i-i_ _.:,37,:;6::.;.4,cSf---=""f.--   44.04

 2~2744733            HEIDI SUE ROSENBERG MD                                                    j33 EAST 32ND STREET FOURTH FLOOR                         I                iNEW YORK, NY 10016                                    655.00;              459.49!        376.40             98.09l           44.04

 XX-XXXXXXX                                                                                                                                                                                                                   so.ool
                     lGRACEPILCH=•==·-------------------!la"6=23"-'J'-'D"',W"-EY=G:::RA::.;Y'-'C~R,~m=1~01=---------;,-----f-l,A=UG~U=Sl'.-'A.~G::.;A~3=09~09=---------:--~1~-83~0=.oo=;-:---~·~""''-·=•',...;--=37-=•·:::40c;---~=t--                                                                    44.04
 XX-XXXXXXX          !PRINCETON HEALlHCAREAFflUATE                                              14 PRINCESS RD                                            !STE 207         !lAWRENCEVILLE, NJ, 08648-2322                         899.001              575.911        375.47            160.441           43.93

 21-111sos9          lsuauNGTON COUNTY 1NTERNALMED                                              J314 SURREY ROAD                                                           lOiERRY HIU.. NJ 0B002-1S40                            sos.ool              450.46!        375.4&!            75.00!  '        43.93

 20-0257~30          lPULMDNARY&CRJTICALCAREASSOCIATESPC                                        1621MEMORlALDRNE                                          I                !soUTHBEND,IN46601-1074                                375.ooi              37s.ool        375.00
                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                              -t
                                                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                                                          43.87

 XX-XXXXXXX           1PM PEDIATRICS                                                            10NE HOUOW tAHE.SUITT 301                                                  llAK.e success, NY 11042                               900.00i              s5s.oo1        375.ool           1so.oo!           43.87

 22-276.9S47          HMC CARDIAC DIAGNOSTIC SERVICE                                            !PO BOX 416387                                                             !sosrON. MA 02241..5337                                375.DO'.             375.oo!         375,00 j                           43.87

 2~3582400            ,SEBASTIANZIMMERMANMO                                                     !33DWS!IDISTSTE609                                        !                !NEWYORK,NY10019-1818                                1,200.00(              800.00)         375.00i        13so.001i           43.87

                                                                                                                                                               4 o!_ _ _ _ _~•3~S-~oo...,l_ _-'375,=.oo=;-!--~=c;---
 XX-XXXXXXX.         ,..lsr_AM_FO_RO_u~c'-PC~------------------+13=000='-="=M~M~••=STRE=~ET-----·------; -----ai~Sl'.~AM~FO=Rc,crcs~so~5-43~1~1------;---~•1~a.o                                              103.ool                                                                                     43.87

 XX-XXXXXXX          j~TERNACARE PC                                   !43956 MOUND RD                   c-----f'lm=RUNG HEIGHTS Ml 48314-2034~----;---~sos.oo=c.!           424.891             374.89:        so-':11?.l                                                                                 43.86

 3B-135908.~7_tFSR=O~NSO=N~M~ETH=O:::OIST='-'"D=SP~""~A=L__                 -------'~;0-'EPT_77_9_2B PO BOX770DO                                          ]                loETROIT. Ml 482TT-0928                                                                        so.oo!
                                                                                                                                                                                                                                  S3~~J~'----•=2cc•.a~o+\_ _.:,3'--74=.SO=!f---==t---                     43.SS

 XX-XXXXXXX           1
                      ;PHYSIOA.NSLABORATORYLTD                                                  lpoBOXSOSO                                                !                !510UXFAll.S,SO!i7117-SOSO                             407.oo!              374.44:         374.44!                -!          43.81


                                                                                                                                                        EXHIBIT2


                                                                                                                                                              107
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                                                                                                                                                       AEU INTERIM DISTRIBUTION



~~f~-~~~~lfill~~~~~llifdf'~~·~~~~·-··· '~~~~~,.;:;;;~-~~;,
XX-XXXXXXX        [PEDIATRICUROLOGYASSOOATES                                                              lss1CRANBURYROAOSUITE4                                     !_                 \EASTsRUNSW1CK.NJ0BB16                               ;        92s.00i              399.30:         374.30!         25.ool               43.79

XX-XXXXXXX        iSPEOA.LTYPROVIDERSATOIILDRENSLLC                                                       IPOBOX102.709                                                                 IA"MNTA.GA303~2709                                            434.00!              434_00;         374.00!         60.00!               43.7S

XX-XXXXXXX        !;1LtNERANDALWEISSPA                                                                    !isRoawoooPtsreuo                                                             lENGLEWOOD,NJ.07631                                           sao.001              sos.31·         373.37!        13s.ooi               43.68
                                                                                                                                                                                                                                                               1
XX-XXXXXXX        !_~RGWERNICKIMDPA                                                                       i13S537THSfSTE301                                                            .. jvEROBEAot,FL,32960                                         622.00               373_20i         373.2~-!                             43.66

2~~3_,_JaBARTOI.OMEOMDSC                                                                                  1·12DN.NORTliWESTHIGHWAY                                                      jBARRINGTCN,IL 60010                                          373.00:              373.00;         373.00!              -!              43.64

~~998-·- -!SUMMIT MEDICAL ARTSASSOCIATES LLC                                                              •9225 KENNEDY BLVD                                         :STE B             iNORllt BERGEN, NJ 07047-5361                        I      1.210.00!              510.36]         3n.861         137.so!               43.62

XX-XXXXXXX ______ \CHRISTIECUNICUC                                                                        ilDlWESTUNIVERSITYAVENUE                                                      lOIAMPAIGN,ll.61820                                  l        600.00!              372.40;         372.401              -1              43.57

XX-XXXXXXX ....   lR□fW.DEDWARDTIJPIKDD                       ........... -·-..---··"•-·-------·-         lsoowMA?1.ESTE203           ---------'                                        ]N~LENOX,IL60451-29s2                                I        465.ool...           447.oo!         312.00!         1s.00
                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                43.52
XX-XXXXXXX        r~~~AARTHRITIS&osrEOPOROSlS                                                             !8421PWMOR                                                                    iuRBANDALE.IAS032Z-7356                              J'       582.00;              S82.00;         3n.aoi         no.ool                43.52
XX-XXXXXXX        !ADVANCEDINPATIENTMEDICINEU.C                                                           iPOBOX66                                                                      iNDRTHBROOK.IL60065-0066                             l        465.00!             46s.ool          3n.ool          93.ool               43.52
                                                                                                                                                                                                                                             1
XX-XXXXXXX        luMGNEUROLOGYLLC                                                                        !POBOX170S                                                 i                  IAuGusr~GA30903-t705                                          793.ool             464.29;          37t.43t         92.86(               43.45
2&034139D         !PuLMoNARYASSOdATESOFOIARLESTON                                                         l4619KANAWHAAVESW                                          I                  lsoUTHotARl£STON,WV,253&1319                         I      1,101.00]            1.10Lool          311.00!        730.ool               43.40
21-01242os        iPORTEMERGENCYMeo1CALSERVICESPC                                                         IPOBOX74667                                                :                  la.EVElAND.OH44194                                   l      1.166.ool              37Looi          3n.ool               -i              43.40
XX-XXXXXXX        iLUDMIUA BRON FIN MO                                                                    lsso ARST AVE 7T1i FLOOR                                   i                  lNEWYORK. NY 1001&-3240                              !        600.00'.            410.1si          370.18!         40.00]               43.31
ss-2s.12221       .JLA1CeNoRMANREG10NA1.MED1CAL                                                           !POex2B141B                                                I                  !AT1ANTA.GA30384-t4ts                                       1,001A2l               705:.~\         310.m!        cm.101!                43.30
XX-XXXXXXX ......l;1CAROOJPF£RRAZMD                                                                       ;,3740iESTNUTSTsrEA                                        !                  INEWARK,NJ071os-2495                                          310.00!              370.ool         370.oo!              _j              43.29

36-446S262        !THE MEDICAL GROUP OF KANKAKEE COUNTY u.c                                               1sss E NORTH ST                                            l!!'E E            !BRADLEY, IL. 60915                                           934.001              370.01/         370.01~              -1              43.29

XX-XXXXXXX        !RUSH UNIVERSITY 1NTERNlSTS ... .       _______                                         !1s REMITTANCE DR DEPT1611                                 ,                  ICH1CAG0. 1LGOG1s-1s11                                        445.oo~             44~:~l           370.ooil        1s.ool               43.29

XX-XXXXXXX        iwtLUAMKOffiERMD                                                                        i4BESSEXSJ'REET                                                               IM1LLBURN,NJD7041·16D7                               :      1,346.00:             473.,24!         369..56!       103.68!               43.23

o&-1576869        leRANFOROINTERNAl.MEDICINELLC                                                           jPoeox.3160                                                                   lANDDVER.MAD1810-0BD3                                !        783.00!              635.06j         368.52!        266.54!               43.11

11-230221•        IMAYERJSAAOMDPC                                                                         hnPOsrAvESTE106                                            I                  IW£STBuRY,Nv.1is•o                                   !      2,933.64i              608.22j         368.221        819.631               43.DB
~~294183          !HOPEMEDJCAtOJNJC                                                                       !2604DEMPSTERSTREET                                        Tsurre403          iPARKRIDGE,IL6006B                                            368.DD(              368.oo!         368,ool              -1              43.os
XX-XXXXXXX        !ME01CAl.ASSOCATESPROF£SSl0NAL                                                          !POBCX936160                                                                  ]An.ANTA.GA31193-6160                                         809.0D!             436.04!          367.41!         68.631               42.98
XX-XXXXXXX        !TE<ASHEALTHNETMEDICALC                                                                 l121301H10WSTE306                                                             JSANANTON10,1X18230                                  1        465.0o!             416.n!           366.721         so.ool               42.!ID

ics~s-~364~'~•~12~_,iBA~PTIST=~•~"'M~A~•~v~CA~•~•~••~c_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _i,_,Po,_,ao=x.:c44llD4='-------------+-----F;'JA:,,CKSONVl===L1E=-''-'L"'3223=1e.:-«I04='------+i'_ _~98o:6JJO=+i_ _ ___::4,e61.38=i--'_ _:,366o:3:ese+!_ ___,2e,79e,.86"'l-i_ _ _ _ _4:,z.s=•~
                  1THENEUROLOGYCENTER                                                                     1
                                                                                                          4isCARRAGEDRIVE                                                               iseacLEY,WV258o13366                                 I        523.00!              366.10;         366.10!              J               42J!3

                  ILAUGHLIN HOSPITAL                                                                      l1420TuscuwM BLvt>                                         i                  1GREENV1ll.E, TN 37745                               l        911.soi              msol            366.ool        357.sol               42.82
fiZ-0701119
XX-XXXXXXX ..-..-!UCLA PATHOioGY LABORATORY                                                               lF1LES5632                                                 l                  lLOSANGB.ES,CA90074                                  !      1,098.00;              988.20i         366.oo]        622.20!               42.82
XX-XXXXXXX        !EDWARD ASSI                                                                           11700 E OJFF DR BLDG ASUITI: 2:;DD::,__ _ _ _ _ _ _ , _ _ _ _~j,=EL,_,P,:,"50=•1X=7:,99;=cD2,c·S.:,l9e,6c__ _ _ _ _!,_1_ __,1,,,22=8.::00:::,..j_ _ __.,,854=.46::,:.             365.951        488.511               42.81
XX-XXXXXXX        !UPTOWN PEDlATRICS PC                                                                   i1245 PARKAVl:NUE                                                             lNEWYORK. NY 10us-1135                                      1.01s.oot              390.61;         365.611         zs.ool               42.n
XX-XXXXXXX        IMIUENNIUM PARK MEDICAL ASSOCA                                                          130SOUTHM1ot1GANAVENuesurrEsoo                             1                  i011CAG0,1L606D3                                              530.ool              40s.22!         365.22!         40.ool               42.73

,=84-0=6=;14"'90"1'---"iBc:D:UlD=E•ecDRTH="'o"P"'m,::•cs=PC=----------------f-1,P.:;D.:;BO=X,,S4'-'2='---------------+------i;"'"'"'""'.sr"-"',M"E'-'04"'9e,15-=5400=------i!_ _ _,=93e,1.0,.,,,_,0!_ _ _ _~,•~1.~•s:;:___;3~65~.os:!,l-l'_ __:4:!,22.~60!!-1_ _ _ __!4~2-!.!,71~
XX-XXXXXXX        !vlSION CENTER. 1.TD                                                                    laao BRtoGEPORT AVENUE                                     1
                                                                                                                                                                                        1SHELTDN. CT06484-462S                                        36s.oo·              36s.oo!         3GS.ool              -1              42.70

XX-XXXXXXX        iHEIGtlTSDERMATOLDGY AN01ASER GROUP                                                     l11sREMSEN STREEr                                         T                   IBRookLYN, NY1uo1-4212                               !        soo.ooi              soo.oo!         365.oo!        13s.ool               42.10
XX-XXXXXXX        lPRJMARYPAINCONSULTANTS                                                                 IPOsox6608                                                 I                  IBR1DGEWATER,N.IOBB01-0608                           I        410.001              410.ool         365.oo!         4s.ool                42.10
XX-XXXXXXX        !wOMEN'SHEALTH SPEOAUS!S. SC ... ___ ,_., __________ ,_ _ _118:l=.8!'-'NM:::,EA""Of=STR=EET= ---------+----.;'-!A"-'PP=LET"'O""N'-"W'-'l5 4 = 9 1 e e l ~ - - - - - + - - _ __,S,:c:20,:,00:;.,-                                                       ~364=.oo~:---'==ooc+i____-i,..'_ _ _ _4=2.Sll=-i
ic2~6-4~38~2~ss~o_..,\so_u~THE=•"~°"~10 EMER PKYS ~ ···                                             ····---- hs.::•::•MIT:::.:..:D:.:Rc__ _ _ _ _ _ _ _ _ _ _ _--'----~l,=01:,,1CAGO==;•c::"c::606=7s,,,11,:co,:3:___ _ _ _ _,_____:;.19s_oo,                              363.62i         363.62!             ._-.._1_ _ _ _-"42=54=-i

XX-XXXXXXX        !ALLERGY ASTHMA CARE CENTER                                                             \11500 w OLYMPIC BLVD surre 630                                                                                                ..;! --- --~53=2.=0=;2:_ _ _ _450:·~~~--· .. ..
                                                                                                                                                                               _ _..;1,oLOS=ANe,Gc:ELES.=.:::CAec!!0064-=='':e:3e,8_ _ _ _                                                 363..51 1-·     ss.11l               42.53
5!3-1614118       !1NTERNALMEOldNEASSOC                                                                   !POBOX7006                                                 r--                jFORTMYERS.FL339l9                                          1-,-,:i.no'.           413.44]         363.44!        496.00;               42.S2


                                                                                                                                                                    EXHIBIT2

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                                                                                                                                              AEU INTERIM DISTRIBUTION




.s&-1Z45030    lNoRnt METROPOUTf'N RADIOLOGY ASSOCS                                  !PO BOX 1146                                                       !                                                                               .
XX-XXXXXXX     lHosPJCECARENElWORK                                                   j99suNNYS1DEBLVD                                                   I                    'i:.voooeuRY.NYll797             J               ns.941            363.ooi        353.00!                  _i   42..47
XX-XXXXXXX     loEKALBMEDICALSPE□ALTICAHEGRDuP                                       1Pa BOX934925                                                                            lAnANTA.GA31193-4925            i               423.ool           423.ooi        363.ool           60.00i      42 _47

XX-XXXXXXX     !iuLES STEIN EYE INSTITUTE                                            1ALE 2939             ···-· ..-·--·...··-··..··-·-·-·•             )                     ILOS ANGELES. CA 90074                          635.oa:           453A2;         362.73 /          90.69   !   42•44
XX-XXXXXXX ____ \EASTPATOIOGUEPOOIATRYPC - - - - - · - - - - - - - - - - - - - - -   ;28S~~RD                                                           181.DGlSD             !EASTPATOIO~Y._;NYllTil--4801                 1,34LOO             521.82:        362~;-j         159.23l       42.42

O!MS67855      iMARIABOURNIAS                                                        iPOBOX417918                                                       j                     ieosrON,MAD2241-7918            i               980.00:          412.49;__       362.49i           so.ooi      42.41

ss.2340606     iTHOMASVlLLEOBGYN                                                     lsossouTHHANSEU.sr                                                                       THOMAS'JILLE,GA.31192           l               963.00i           361.~~         361.94!           ,1.sg!      4234

                                                                                                                                                        i         ..............__..1eeLFAST,ME04915-4082
13-3042~
XX-XXXXXXX

0S-0540914
               ISHIMMYOMITSUGU         _______
               ;GREATERHCIUSTONGASTROENTEROLOGY

               !SPEOALTYPHYSICIANSOFIWNOlSLLC
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                                                                                                                                                                                                                                                               1s1._?_~_L_
                                                                                                                                                                                                                                                               361.ooi
                                                                                                                                                                                                                                                               360.7S!
                                                                                                                                                                                                                                                                             ...... ,s.oo[
                                                                                                                                                                                                                                                                                 60.00/

                                                                                                                                                                                                                                                                               140.60!
                                                                                                                                                                                                                                                                                             4233
                                                                                                                                                                                                                                                                                             42.23

                                                                                                                                                                                                                                                                                             4UO

XX-XXXXXXX     lcoMPREHEN5rve EYECARE PHYStOAN5 PC                                   16233 w CERMAK RD                                                                       !eeRWYN, u.. 60402-2317                          796.oo!          420.43\         360.43!          &0.00!       42.17

SS-0668436     boHNMANOllNJIOO                                                       1409wMA1Nsr                                                                              IBR1DGEPORT,WV26330-t752                      1,838.00i          865.28!         3&0.1sl         sos.1ol       42.14

u-32238SO      lMARTINJOELCALTONMO                                                   !42RREISLANDAVE                                                    lm140                IBABYLON,NY117D2-3540                            38s.ooi          33s.oo!         360.oo!           25.001      42.12

l.3-4064568    !sotwARZ &AMMIRATI MEDICAL                                            !2os EAST 76 STREET SUITE Ml                                                            iNEW YORK. NY 10021--2.141                       400.00:          400.ooi         360.oo!           40.ool      42.t2
XX-XXXXXXX     iEARLNOYAN MD                                                         !1314 WHITEHORSE HAMILTON 50.UA                                                         IHAMILTON, NJ 08690-3701                         450.ool          450.00;         3so.ool           90.ooi      42.12

XX-XXXXXXX     !MtCHAELLAIKIN MD                                                     !680WESTENDAVENuesu1TE1e                                                                 NEWYDft!!.~10025                                450.00;          450.00!         3so.ool           90.ooi      42.U
XX-XXXXXXX     isuMMrrRA010LoG1CALASSOC1ATES                                         !POsoX460                                                         I                      suM~!!....~,07902                               49s.oo 1         396.oo!         360.oo!           36.oo!      42.12

22·266147S     IPATRICKJCAPUTO                                                       l719NORTHBEERSST                                                   SUITE2A               ,HOLMDEL.NJ07733-1523           i             3,976.10!        3.~~-!=!0[        360.ool       3,6i16i.1D!     42.12
36--2658561    l10RKEYECENTERS~                                                      ]1427LAKEsr                                                                              RIVERFOREST,JLGD30S-18t7        l               40S.DO!          405.oo!         360.ooi           45,ooj      42,12
XX-XXXXXXX     l10RGEBRUNEL1.EMD                                                     !12DsoUTHuNcoLNAVE.                                                                     ;AURORA.ILG05D5-422B                             400.00'          400.ool         360.oo[           40,00]      4 2•12
s1-11Bss1B     [G1NoG1SMON01cos                                                      ln10wP1Kesrsu1TE100                                                                      IClARKSBURG,WV26301-2696                      1,245.00:          124.sol         360.ool         387.ool       42.12
XX-XXXXXXX     lwoMEN swell.NESS CENTER PA                                           J2950 VIUAGE DR STE 100                                                                 lFAYETTcVILLE. NC28304                           532.00'          359.661         359.661                 _j    42.08
XX-XXXXXXX     l1NTEGRATEDDERMATOLOGVOFGROTON                                        l481GOLDSTAR1-1wv                                                 lsre201               JGROTOHCT06340-6702                              611.B7,          S67.-t9l        359.59i         201.901       42.01
XX-XXXXXXX
S2-122!181S
147-2487194
               )JOEYSREITMC

               iFEIDMAN-HAUSFELDOTOIARYNGOLOG
               lALAN euGENE LASSER MD
                                                                                     !u40DVE.NT\JRA8LVD738
                                                                                     SS454WISCONSINAIIES1US3S
                                                                                     J4111 GOLF RD
                                                                                                                                                       !
                                                                                                                                                                             isruDIOCTY,CA916~2406

                                                                                                                                                                              CHEVYCHAS<,M020815-6!122
                                                                                                                                                       Im a01j5K0t::1e It G001&-1246
                                                                                                                                                                                                              I!
                                                                                                                                                                                                              .
                                                                                                                                                                                                                              780.00)
                                                                                                                                                                                                                              suoo:
                                                                                                                                                                                                                            1,03s.oo ~--·-
                                                                                                                                                                                                                                               384.091
                                                                                                                                                                                                                                               513.00;
                                                                                                                                                                                                                                             _____101.6s;
                                                                                                                                                                                                                                                               359.09!

                                                                                                                                                                                                                                                               359_101
                                                                                                                                                                                                                                                               358.91 !
                                                                                                                                                                                                                                                                                25.00!
                                                                                                                                                                                                                                                                               153.901
                                                                                                                                                                                                                                                                               342.74~
                                                                                                                                                                                                                                                                                             42.01

                                                                                                                                                                                                                                                                                             42.01
                                                                                                                                                                                                                                                                                             41.99
'46--2326726   JePICfAMILYPH\'SIClANSLLP                                             l163UNMRSALDRIVENORT1-I                                                                 jNORTHHAVEN,CT064n.3tsz              ____________ 670.00'.        358.77!---·- .....358.nj                -1    41.97

59--2188091    IADAM s PLOTKlN Mo PA                                                 ls210 LINTON sLvo STE 301                                                                DEL.RAV BEAD-I, Fl.. 33484                    1,009.16·          924.63;         358.75 1        56s.ast       41.97

XX-XXXXXXX     bCKSONVILLE CRNAS INC                                                 !ro sox BBB                                                                              JACKSONVILLE, IL 62650                        1,01Loo·           448.oo!         358.40i           89.so!      41.93

4fr5706i672    lsurtGICAREPLUSUC                                                     f367ATHENSHIGHWAYSUITE100                                                                LOGANvtll.E,GA300S2                             640.00:          448.oo!         358.40!           89.601      41.93
XX-XXXXXXX     IRIVERSIDEMEOICALO.INIC!NC                                            !3660ARUNGTONAVE                                                                         RIVERStDE,CA,92506                              857.00;          457.54!         357541          184.131       41.83
XX-XXXXXXX     !seRGEN OPTOMETRY GROUP PA                                            !348 MAIN ST                                                                            IHAaceNSAOC. NJ 07601-5803                       GSG.Do'          431.21:         357_211          ao.oo!       41.79

XX-XXXXXXX     lcoLUMBIAMEMORtALHEALTH                                               \poeox2000                                                                              (HUDSON,NY,12534                               1,424.00!          437.ool         3s1.001         610.BB!       4t.n

0S-0526336     lADVANCED01AGNosnc1MAG1NG                                             iPOeox1849                                                                              !l.EWISTCN,MED4241                               548.00!          410.ool         356.401         113.tiDl      41.10

XX-XXXXXXX     lOOUSMAN CUNICSC                                                      !u4 SIEGLER ST                                                                          !GREEN BAY, WI S4303--263Q                     1,084.00:          4S6.46:         356.46!         100.ooi       41.70

46--4914056    IHEALTH EDGEMEOICA.L CARE PLtc                            !;c.S04=M~•~o•~o~•□~•~·~·------------1,·,-----rlp-ATCHQ
                                                                       ----                                                                  _ _G-U-E.-•_Y~U~7n=-13~2~1-----,---~91=S.00c_..,-'---~3~·•~-•~•;-1--~3•~•~-•·"!;_ _ _ __.__ _ _ _ _."'1"'.7~D
XX-XXXXXXX     lsuRESH BHAUA          - - - - - - - - - - - - - - - - + ·!210 N HAMMESAVESU1TE112                                         11ouET, JL£,043S                                                    ... '-----'-445""_'-'44'<)_ __,3"'S6".34'-"I
                                                                                                                                                                                                  1.s_1_s_.o..o                                            as.10! 41.69
48-1290~ ··-   !RADIOLOGY ASSOCl~;;-~~s E ~                              !Po BOX 250                            --t1--.-.-~~~~~~:p,""ZA:N:ESVl::LLE~~.pH~.. :.;:3"70-,,,-,~~~~~~~~~~~~:~~~~.-:_,3S=6.0"0"-i---~3cc56"'.00:::;..!_ _=,3S6=.oo=il_·----;-;_____..::,41e,.S"-l5
XX-XXXXXXX     lHOLMDEL IMAGING LLc                                                  !PO eox 637247                                                                          lcNCINNATI. oH 45263-7247                      2.824.oo:        1,493.44!         3ss.oo!       1 137_44[       41.65


                                                                                                                                                      EXHIBIT2

                                                                                                                                                            109
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 133 of 266 PageID #:11229




                                                                                                                                                 AEU INTI:RIM DISTRIBUTION




11•2720584       jCATHERINEMARIEFLYNNAUO                                                           IPOBDX415662                                                                    iSOSTON.MA02241-5662                                   395.DD;              355501             355.50j                                 41.59

XX-XXXXXXX •• - !BtAIRS LEWIS MD PC                                                                lpo aox as10                                                                    jeEt.FAST, ME0491SBS10                         ···-·-•--··- 100.oo'""i_ _ _ _,_ss_3_3;:---'~ss~33"-'+_ _ _ __.__ _ _ _ _4.::15 ,7        =
XX-XXXXXXX=-4iW=ESTSl=D:::E.:.:M.::ED,cl,::CA.::L.:.:A$0=CIA=TES=---------------+!2:::2B::.W=EST=B2=cN=D-"5!R=EET~_ _ _ _ _ _ _ _ __;__ _ _ _<"jN::.EW"--"YO::;RIC.=Nc.Y::lDD2=4;__ _ _ _ _ _                               i,··-· .. --l.=S00=.0~0~;_ _ _~3.::SS.::3:::3~'----~~-~)._:-:----+------'4::15::.:7-1
XX-XXXXXXX       lBRIAN p QUINN DPM                                                                i122 FULTON STREETSTH FLOOR                                                     1NEWYORK, NY 10038                       '            400.oo:               400.oa:            355.DO!                                 41.53

F2S-~1•:::•...c703:::5=-+M.::ILT.::O~N.::S.::HE.::RSH=EY=M=ED:::ICA=LCE=NT:::E.::R_ _ _ _ _ _ _ _ _ _ _ _ _ i~PO~BO=X:::SSS=M:::C~AA-'l.::C_______                                 lHERSHEY,PA17033-0858                    I                                  354.90~            354.90\                                 41.52
                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                          546.0Dl
XX-XXXXXXX .•    !ANGELES MEDICAL CLINIC INC                                                       !204 E PICO BLVD                                                        ...,___ ...!LOS ANGaES, CA 90015         .....               l,410.00\              353.72:   --,-53-:-+n\-----+------4:::13=8'-'
OHl153960       ··1UNCOLNHEALTH                                                                    iPOBOX360402                                               !                    IPITTSBURGH,PA1Sl51-6402                 !           1,61L04[               841.74;            353.411                                 4135

XX-XXXXXXX       tSUBURBAN PEDIATRICS LlO                                                          !9000 WAUKEGAN RC STE 240                                                       !MORTON GROVE, IL 60053                               460.001               353.18i            353.18!                                 4132
XX-XXXXXXX       SAN GABRIEL VAUEY CONSULTING                                                      ]PO BOX 10076                                                                   VAN NUYS, CA 91410                                   1,232.00i              35258;             35258\                                  41.25
XX-XXXXXXX       !ruSCAN SURGERY CENTER tAS ccuN                                                   !101 TIJSCAN DRIVE. STE 100                                                     !IRVING, TX 75039                                    2,767.ool              &81.00;            352.401                                 41.23
XX-XXXXXXX       !DAVIDSIMPSONOC                                                                   41SWEST57THSTBC                                                                 1NEWYORX,NY10019-1752                                 440.00;               352.DOi            352.00                                  41.18
XX-XXXXXXX       ASSOOATED PEDIATRIOANS UC                                                         :1101 E Gl£NDALE BLVD STE 101                                                   VALPARAJSO, IN 46383                                  383.CD!               37655i             351551                                  41.13

F54-=1G1-=2=1:::09=--tM=H~OSSE=••~RA2A=~V1~M==o~PC~---------------+·'~"'"~04="~"'~RS=o•~o~•~V1S=HWY~STE~1~0~•-------+----irw~oo~o~BR='DGE.=~v•~2~219=1------+---~1=·300=·00~,l----~'s~u=s9!,--=•s:::1=39c;!_ _ _ _+-----•e:1:::.1=-11
~31&&166.        ISOUTH SUBURBAN GASTROENTEROLOGY                                                  1oss MAIN STREET                                                                lsotm1 WEYMOUTH. MA 02190-1547                        350.col               350.00\            350.00                                  40.95
XX-XXXXXXX .... !PULMONARY & INTERNAL MEDICN·;-·--·······.                                      ..... 4G99 MAIN STREET SUITE 209                                                   BRIDGEPORT, CT 06~1830                                670.0Q!              670.00)             350.00!                                 40.95

13·2796079       RHEUMATOLOGYASSCOATESPC                                                           10BSPARKAVENUE                                                                  INEWY0RK,NY1aue-u.32                                  350.oo~              3so.ooi             3so.ool                                 40.95

XX-XXXXXXX       :THOMASV1ll.E PHYSICAL THERAPY INC                                                fpo BOX 2476                                                                    jIBOMASVILLE, GA 31799-4748                           915.0D!               350.00i            350.00                                  40.95

B1·20D1E15       iDARAHUANGMD                                                                      l139CENTRESTSTESJ5                                                              !NEWY0RKCITY,NY10013                                  350.CD!               350.001            3S0.00                                  40.95

XX-XXXXXXX       CJNTONMEMORIALHOSPITAl.                                                           lsossoAKLANosr                                                                  ISA1NTJOHNS,Ml48879--2253                             37950i                349_1,l            349,14!                                 40.as

XX-XXXXXXX       !soUTH SUBURBAN GASTROENTEROLOGY SC                                               17901 GOVERNORS HIGHWAY SUITE 106                                               !HOMEWOOD, ll 60430                                  2.100.00!              349.lOr            349.101                                 40.84



S6--1305929      ICAPn'ALFAMILYMEDIONEPA                                                           !332DEXECU11VEDR                                           !STE214              !RAlflGH.NC,27609                                    1.css.00!              610.91!            348.soi        t142.91li                40.n

38-3sl3~234~_,jo~===oo~H=EAJ;=JH~CAR=E~G~•~ou~•-'•~'"~1.-------------1l~..eox67ooocEPT2uso1                 DETROIT.Ml48:26cc721="'------~---'880=.oo:::;...l_ _ __:348=32::c!,-.._ _348=-,,32e.i____-+-_ _ _ _...:40=-'s:c.i
XX-XXXXXXX 1ASSOOATEDPHYSl□ANSLLP                                    ~~~1~o~•E~G~ENT=ST~-----------t-----l-MA0
                                                                                                            __ 1SO_N~,_w_153_70_s_                              ~-~ooc.-;i_ _ _ _•~1=3.22=;.:_ _~348=.22=i,-.._ _~65=.ooc:::;.!_ _ _ _--'40=-''--'•-1
                                                                                                                                .._,0_1_ _ _ _ _- ; - - - - · ~..
XX-XXXXXXX       /oENNISPATRICKMOuovoc                                                             r201AROUTE4S                                                                    !VERNONH1LLS,IL60061-999a                             902.s2l               s13.67~            348.00           318.29!                40.11

OS-7505903       jRISAKIRSHMSCCCSP                                                                 bssMA1NSTSTE102
                                                                                                                                                                                   1ARMONK.NY10504                                       s10.oo,              a10.00i             348.00          s22.00                  40.11

9_?"_!~3360      iMlSSION HOSPITAL REGIONAL MEDICAL CENTER                                         27700 MEDICAL CENTER RD                                                         MISSION VIEJO, CA 92691--6426                         348.00;              348.00~             348.00j               _',•              40.71
XX-XXXXXXX       EVANSMEDICALGROUP                                                                 465NBElAIRRDSTElB                                                               EVANS,GA30809--3189                                   571.00]              347.93)             347.93j                                 40.70
XX-XXXXXXX       lcoMPREHENSM: PEDIATRIC CARE INC                                                  7447 w TALCOTT AVE                                              SUITE 248       t0t1CAGO, IL 60631•3745                              1,485.oo!             347.&?i             347.671         100.ao\                 40.67

22·1899118      !SOUTHJERSEVRADIOLOGYASSOOATESPA                                                   il3o7WHrrEHORSERD                                          iA102                VOORHEES,NJ08043                                      347.02!              347.00l             347.oo!            0.02!                40.60
31>3961920       [TENN EN BAUM & ANSTAOT LTD                                                       )575 W NORTH AVE STE 107                                                        MELROSE PARK. IL 60160                                690.00:              571.89!             346.89!         225.00!                 40.58

XX-XXXXXXX       !GASTROENTEROLOGY ASSOC OF OSCE                                                   PO BOX 917038                                                                   iDRlANOO, Fl32891-7038                                650.Q0;              346.631             346.63!               .!                4055
                 1
XX-XXXXXXX        e1..EV1NSME01CALGROuP1Nc                                                         6572MIDLANDTRAILRD                                                              !ASHLAND,XY41102..g2Bs                                592.00:               3ss.40!            346Ao·            40.ool                4053

F0~1-0~1-=sc~10~s=--;lru~CH=AR~0~•~MAXA='-'-------------------+''~505~ouL1JTH PARK LH
59-33n10a        loall-iDPAEDltASSOOATESOFSTAUGUSTINE                                          ___ _j10RTH~PAED1CPL
                                                                                                                                                              1~400
                                                                                                                                                              •
                                                                                                                                                                                                  _ _ _ _ _ _ _ __,__ _ ..~=0.00=)_ _ _~1.587~-~oo"+'--~34~5~.oo:::+-i---'1~1~1.00=;,l_ _ _ _~4D~3"6-I
                                                                                                                                                                                   !ouurrH,..~~•3111196
                                                                                                                                                                                   ISAINTAUGUSTINE,FL3l086-4202       ..   l...          345.oo)               34s.oo;            345.oo!                  :              4036

XX-XXXXXXX       !MURFREESBORO MEDJCALCUNICPA                                                      !PO BOX 7006                                          ··-·._!                   j~RfREESBORO, TN 3n33-7006         ·    l-----···- 4,2::;7.=8.::.00:c.:----'"''534=.9~3..i__   -=344=.744;, --~3,_19_0._19-+i_ _ _ _ _4D_3_3_,
27-4461n5        iruUERFAMILYMEDIC'INEPC                                                           l404SAVENUEB                                                                    IBIWNGS,MT5911J6.1738                                 485.00;               384.58,            34458             40JX)j                40.31


                                                                                                                                                          EXHIBIT2
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                                                                                                                                    AEU INlERIM DISTRIBUllON




                                                                                                                                                                                                                                                                                                   40.29




F'=-'·=-3409=6=32,_+c==,=-------------------+l•cclAccHccEccM=P~-"A-"VE,__ _ _ _ _ _ _ _ _--i_ _ _ _--f'RO"'OOJ=l=ll.E=-CE=NTR=E'-'NY'-'1c-=15cc7.=.0-=2043=---l----=880=.00""-._ _ __;:40::8.::U ),........-~34=3.lee+S;_ _---'64=.77'-;[_ _ _ ___:4e,D.1:7'----I
                                                                                                                                                                                                                                                      7
 13-2744       1     lmANKWEISER                                                         i71SPARK_AVE_N_ue__________                                              NEWYORK,NY10021                                     1,000.00'                  428.991       343.ui         as.so'               40.1s

   s-1039502         [soU1HERNURGENTCA=••~M~u~•~•Ell5=~'""'LET'---------------il'"-,583
                                                                                     __ us_HWY
                                                                                            __ 1,_ _ _ _ _ _ _ _ _ _ _ _+-----+jM~U~RRE=us='""'m=.sc=29"'s~7&-~706=1----+---54=1JJ0~------44=1.'°=s-1_ _-=-343=.2=-o;e-------=-38cc.4D:::.;..i_ _ _ _....;::••==.1=•-1
 XX-XXXXXXX          l1NDIANA UNlVERSITYRADIOLOGY ASSOCATES INC                          is924 RELIABLE PARKWAY                                                   OilCAGO, 11.. 606SG                                   373.DO,                  343.oo:       343.ool        30.ool               40.13

 XX-XXXXXXX          ;CHI OIING SHUM MD                                _ _ _ _----,]100.UNITEDNATIONS_PlAZA=-"4"'2A"---------;                              ..... ,.,_ jNEWYORK,~NY_1DD_l7______             ~--~1~,S_lD_.OO_-_ _ _ _422.~62: --··-342.62~---·-·-·-·-··-560=.~70,.'-------'4'°'0.0"'B'--1
 XX-XXXXXXX           PRCMEDICA CENTRAL CORPORATION OF                                   ,PO BOX 638890                                                          iONCINNATI, OH 45263-889D                              403.00                   342.55!       342.55 !                            40.07

   7-4909860         ,UNIVERSfiYPATHOLOGVDIAGNOSTICSSC                                   5700SOUTHWYCKBLVD                                                       1TOLEDO,OH43614-1509                                   382.10:                  342.55;       342.ssl                             40.07
                                                                                                                                                                 1
 XX-XXXXXXX          jPIEOMONTPHYSICIAN NETWORK LlC                                      !200 S HERLONG AVE                                                       ROCK Hill, SC 29732                                   972.00i                  G45.24!       342.19        303.Ds!               40.03

 ~1023013            lsoUTHWESTCOMMUNJTYHEALTHcrR                                        !968FAIRFIELDAVENUE                                                     1SRIDGEPORr,cr0&&0s                                  1.200.00.                  34s.ssl       342.os!        31,75!               40.02
 2o-on5063            SE1'AUKETPRIMARYMEOICALCAREPC                                      l200MA1NSTREErsuITEs                                                    lserAUKET,NY11733--2918                                s3s.oo:                  341.98!       341.ss!                             40.01
 04·2888373          !BAYSTATEMEDICALPRAtnCES                                           IPOeoX3467                                                               iBOST0N,MA02241                                      1,04s.ooi                  732.2ol       341.ssl       39032!                40.00

FS"'9--=229=204'-'1=--.,•ST=V-"-1Nc-=CENTSAMSULATORYCAREINC                            .. P0,80X~1885=•~-------------t------fiec-=EUS=-AST=·~M-=E~D4-=•-=l5,__ _ _ _ ----1---~"~'-=·00~·,.....---~••c=1.=B3=;j_ _~34:;:1.83=+1_ _---'so=.oo=-+1_ _ _ _~3,c9.9,c9'-I
 XX-XXXXXXX          JMIDM\OtlGANMECICALCENTERCLARE                                     !4000WEUNESSCRIVE                   ------!-----t~!.[?lAND,Ml48670-2000                                                         431.00!                  417.60/       341.68         75.92j               39.97
                                                                                        1
 XX-XXXXXXX           TRUsrEESOFCOWMillAUNIVERSITYIN                                     POBOX27S89                                                               NEWYORK,NY10087-7589                                  420.00:                  34l.26i       341.26              -1              39.92
 XX-XXXXXXX           SENTARAMEDJCALGROUP                                               lPOBOX79n7                                                                BALTIMOREMD21279-0777                                 584.oo:                  366.aai       341.08         25_cx,J              39.90
 XX-XXXXXXX          lASSOOATESIN DERMATOLOGY sc                                        \1404 EASTLAND DRIVESUrrE 204                                            :BLOOMINGTON, IL617Dl-7904                           2,463.00:                 uoas1l         340.50!      1,16831l               39.84
                                                                                                                                                                 1
 45--2724105         iotlROPRACTlC RRST OF ROCKFORD LLC                                  863 S PERRYVILLE RD                                                      ROCKFCIRD, IL 61108                                   91LOO:                   474.40:       340.SSl       133.35j               39.84

 XX-XXXXXXX          !PKYSICIANSMEDICALIMAGJNGSC                                         1901 RAYMOND DR5TE20                                                    !NORTI-ISRDOK, IL60062-6739                          2,sn.OO!                   568.77:                     22a49)                39.81
 3S-2535S08          !1CAHNSCHOOLOFMEDIONEATMOUNT                                        !Paeox9501                                                              !NewYORK,NY10087-4501                                1,46s,oo!                  616.97 1      340.23        311.s1l               39.80
 XX-XXXXXXX           KETTERING NElWORK RADIOLOGISTS INC                                 !Po BOX 1198                                                            lsoMERSET. PA 15S01                                    755.0o!                  483.52!                     143.42:               39.79
 XX-XXXXXXX           BERTCOPPOTEWMDLLC                                                  21.EeROAD                                                               iussoN,CT06.3s1-301s                                   340.00\                  340.ool                           -!              39.78

 XX-XXXXXXX          jArlington Eye Physicians                                           11604 West central Road                                                 !ARLINGTON HEIGKI5, IL6000S                            340.00l                  340.oo!                                           39.78
 XX-XXXXXXX           MATTHEW MARTUS ROBERTS MD                                          1535 EAST 70TH ST                                                       !NEW YORK, NY 10021-4823                            35,400.00]                  340.00i                                           39.78
,___-7--1880_70_0_-tU-C-JRACARE ANESrHESIA PARTNERS lLC                                  'PO SOX 29211                                                           (PHOENIX, AZ 8S038~211                               2,800.001                 1,400.00;                   1,060.00               39.78

 0HM22490            icoASTA1.WoMENSHEALnt'-"CAR=E_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-+PO~BO~x~20~1----------------;-----;-:11AA_mEBO
                                                                                                                             __ Ro~._vr_os_302_-0_2_0_1_ _ _ _+-___                                                     00_2_,~'____,_,._.s_3J,__==+---~•~.0~2>-------'•~•~-n"--I
                                                                                         1
 XX-XXXXXXX          iLAwRENCES LEleownz DPM                                             3699 ROUTE46                                                            IPARSIPPANY. NJ 01054-1049                             914.00:                  1ai.soj       339.soi       442.00;               39.72
 XX-XXXXXXX                                    1 HEMPSTEAD T P K F A R M I N G O A L E , NY 11735-2028
                     iRONALD C FAGAN M D 4 9 0 0                                                                                                                                                             r·-·     1,000.00'                  566.20!       33933 j       306.871               39.70
 ss-ons380            MICHAEL TWAYT                                                      ;1612 WHEELING AVE                                                      iGLEN DALE, wv 26038-1734                              700.00!                  464.37?       339.37   I    125.00!               39_10
 XX-XXXXXXX           MPPG INC                                                           !ro BOX 102032                                                          !A'TLANTA, GA30368-2032                                554.00;                  42931;        339.31!        so.cio               39.70
 3§.1634971          :DALALMEDICALCORP                                                   is825BR0ADWAYSUITEB                                                     !MERRILLVILLE,IN46410-2664                             800.00[                  504.10!       339.10        165.0o[               39.67
 XX-XXXXXXX           MADISON SPINE UMITED PARlNERSHIP
                                                                                         1
                                                                                          219 RIOIMOND AVE                                                       iNEW MILFORD, NJ 07646-2517                            n4.oa!                   338.73:       338.731             -!              39.63

 XX-XXXXXXX           STEVENKIRICINOODBOOTON                                             l720W34THSTSUITE100                                                     iAusnN,TX7870S-U41                                     458.00'.                 3785S;        338551         40.oo!               39.61

 ~~mo,ao             leEUEFONTE PH"r'SiCAN SERVICES•.                                    1000 ST otRISTOPHER DR                                                  !ASHLAND. KY 41101-1034                                sos.ooj __ .   ----•~2•~-'~•-,.i--~•38=.2c.,7'e------~.,=-48=,-,----~••c=-'::.'-1
 XX-XXXXXXX          iSTFRANCSFAMILYHEALTH ·---·..·--------------,l2=0cc16~5c:M::.Al'°'N.:.;sr~_ _ _ _ _ _ _ _ _ _ _ _                         -+----            !MARYVllJ.E, M0,64468         ----t---~43~,6S3=.B3=.,.1_ _ _~1=.9~BS::..1::.6;-;--"'33Bcc.Occlc.,!--·-·· l.S97.15!,___ _ _ _3c,9,:.54-'-I
F2~0-~u::.os~2~•1_   _,iMA_R_CE~LSHEINMAN M D _ _ _ _ _ _ _ _            ------.'1=•:c•Rc:Oc:CICA=W::.A::.V.:.;TU::;RNccPc:"'-'''-------- ---1--1-----+=IIA::.WccR'-'E::.NCE=, K~ussg.1033__                         1D.147.30i                  336.84!       336.84;             -1              39A1
 XX-XXXXXXX          le&LCOGNmvEBEHA~ORAL                                                l4ooMONTAUKHWYSUne:1u                                                   !wESrlSUP.NY11795-4429                               1,600.001                  536.561       33656:        200.ooi               39.37


                                                                                                                                               EXHIBIT2

                                                                                                                                                  111
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                                                                                                                                                   AEU INTERIM DISTRIBUTION




XX-XXXXXXX        ieots0N-METUOIENORTHOPAEDICGROUP                                                 i10PARSONAGEROADSUITESOD                                              j          iEDISON,NJ08837                               !             aso.ooi              232.SB~        336.48!                -!               39.36

Sl-1264577        iHU~N-;;~; PHYSlCAL THERAPY PLLC           --                                    izs SMITH sr srE 202                                                  I          !NANUET, NY 10954-2971                                      S3D.oo]              4zo.23f        336.15    !        84.08)               39.33
32-02as192        !orro BOCK ORTHOPEDIC SERVICES LLC                                               !11s01 ALTERRA PARKWAY STE 600                                                   !AusnN, TX 787SS..3t69                                      629.oo:              420.01:        336.06!            84.01!               39.32

XX-XXXXXXX        jflRSTSfATEANESTHESlASERVICESUC                                                   POBOX6385                                                ·-----·---·'.-         !Wl~INGTON.OE19804-0985                                     420.00:              420.00'.       336.00!            84.00(               39.31

XX-XXXXXXX
XX-XXXXXXX
                  !wOMENSCAREFLORIDALl:~...
                  lDAVID GARRELL MD
                                                         ------                                    iPOBOX2S317
                                                                                                   :2238 BlACK ROCK TURNPIKE
                                                                                                                                          ---·-·-·--··---·--+-------.., JrAMPA._~33622
                                                                                                                                                                                    iFAIRAELO, CTOG825-3219
                                                                                                                                                                                                                                              1,375.00'
                                                                                                                                                                                                                                                68Lool
                                                                                                                                                                                                                                                                     64833'.
                                                                                                                                                                                                                                                                     681.00f
                                                                                                                                                                                                                                                                                    3~~!1
                                                                                                                                                                                                                                                                                    336.00~
                                                                                                                                                                                                                                                                                                    (312.34}1
                                                                                                                                                                                                                                                                                                     34s.oo1
                                                                                                                                                                                                                                                                                                                            39.31
                                                                                                                                                                                                                                                                                                                            39.31

45--0666163       !_~•GENTCAREMECJCAlASSOOATESUC                                                   l,oeox189                                                                        r□oKAELo._□-:.06804                      ---l
                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                .,,,_oc:             375.77!        ,,s.ni            •0.00!                39.2B

XX-XXXXXXX        laR1ANaoHEALTHPHYS10ANGROUP                                                      [Poecx915092                                                          I          _ORLANDO,FL32B9t                                            s1s.~!               395.651        335.65!            60.ooi              39.27
XX-XXXXXXX        !GOPALBHAIAlA                      °'--------                                    j2024tEWJSAVE                              ··---..   -·---·--···-···J            ZION,ll.60099-1546                     ·-•···•!             880.aa!              37S.3sf        335.351           90.oo!               39.23

XX-XXXXXXX        lTHROGGSNECICWALK-INMEDICALCARE                                                  lPOBOX16946                                                                      IBElFAST,ME049ts-4064                        !              46s.oa!              395.25)        335.25!           sa.oo!               39.22
XX-XXXXXXX        lPIEDMONTINTERNAlMEDlClNEPC                                                       105COLUERRONW                                                        j#3040     :AT1ANTA.GA30309-171D                        !              !321.00;             739.71/        335.18!         (25035)1               39.21

27-o93Bll7        leREALYN SELLERS MO                                                               so FIFTH AVENUE SUITE 12068                                                     !NEW YORK. NY 10011                                         no.oo:               110.00)        335.00!         {300.oo)l              39.19

3~0911            lccR HEALTHCARE MEDICALASSOOATES                                                  1360 w 6TH   sr surre 200                                                       !SAN PEDRO, CA 90732-3561                                   590.00!              665.ool        335.00]          330.ooi               39.19

XX-XXXXXXX        !Nw1ABONEJOINT&SPORTSSURGEONSPC                                                  luootSTAVEE                                                           !surrec    lsPENCER,IAS1301                                            500.ool              soo.ool        335.ool          165.oo!               39.19

,_5-4024729       !TRISTATEWOMENSSERVlCESLLC                                                        P0BOX19100                                                                      !eeLFAST.ME049l5-4086                                       460.oo!              440.oo!        335.ooi          us.ooi                39.19

~1964720          lceNTRALCAROUNACOUNSEUNG                                                          223USHWY70ESTE130                                                    i          iGARNER.NC27529                               !I            425.oo!
                                                                                                                                                                                                                                                                                         7
                                                                                                                                                                                                                                                                                          ,i_____-+-I'_ _ _ _...::;39::,.19"'--l
                                                                                                                                                                                                                                                                     425.oo~!----=''=='=·00

?.S-e:2:,22308=:::''---,:!AM=Ee,Rle,CAN=M:::Ee:D:::ICA:::L:.:;R::ES::..PO:::N,:5=.ED:::Fc.:IN:.:,IAN=D:.,E:,:M::..Pl'-------------i'lP--=0--=80=X"-'30250=:=.-------------:-------,i--=LOS=AN::..G:::ElES=·--=CA=500=3==""25==·----+---='""'604=-•"-i7ff-_ __,1,563=::::·48::;'---''=34:,,-7:..:6+-I----   --;·!----~·~•.1=•,
XX-XXXXXXX        !rows Mo-Nc 1002 PU.C                                                            13625 N ELM ST STE 110A                                                          !GREENSBORO, NC 27455-2697                                t.040.ool              9n.osi         334.621          537.461               39.1s
XX-XXXXXXX        !ST CATHERINE HOSPITAL INC                                                       !PO BOX 3604                                                                     !MUNSTER. IN 46321                                        8,900.84;             S,161.651       334.40 j        6,06855]               39.12

XX-XXXXXXX        !vAGISHASHARMAMD                                                                 l310BM10WAYRDSU1TE202                                                            1PlANO,lX75CJ93..t636                         I             834.ool              331.6oj        333_00!                -l              39.03

sB-2331252        IMASONTTREBONY,MD                                                                !2509soUTHMAJNST                                                                 \MoULTRIE,GA31768-6772                        I             704.ool              541.10!        333.55i         (206.011!              39.03

XX-XXXXXXX        J.RAJSPECTORMD&STEVENAKLEIN                                                      l300oLDCOUNTRYROAD                                                    !STE201    iM1NEOtA.NYllS01-4116                                       920.ool              501.93;        332.93!          469.291               38.95
XX-XXXXXXX        luROLOGYDFGREATERATLANTALLC                                                       POBOX105062                                                                     !A11ANTA.GA30l48-5062                        I            1,.243.02!             a29.11l        332.861          s1u1I                 38.94
BS-0119638        [RADIOlQGYSPECAIJSTSLTO                                                           700EXEcunvECENTERDR                                                  SUrrE155   !GREENVll1.E,SC2961S                         l            1.110.00[              334.621        332.89!            1.731               38.94

                                                                                                                                                                                =00°'0"':..:"':..:D7e.c63=1-=1so=•=-------fl_ _ _•-"1=6.=oo;.l_ _ __c4~1=6-=oo1___,_32._BD_I                      ··-···--83.20],-----~38.=9-"--13


                                                                                                                                                                                                                                                              ---~:~:~:~3:---:~:=:+r---                                    ::::
20-22ass21        !seRGeN LAPAROSCOPY &                                                             3S0 ENGLE ST     - - - - - - · · · --····-·-·--···· .... . 1-----+le=c•=GLEW=·


::::: :::::::,::::~::=':'::...=:.~------------;-,~~o~~-o:~:o~.-..-7B----------- ---+------.-1:::,:~~-9007-.------t-',---1,58~·~..                                                                                                                 L4B~-ll0~,,.!

XX-XXXXXXX        !TANYAOBEROI PANDYA DO                                           i               !pa BOX 13358                                                                    !BELFAST, ME049~4                                  --~~52=9.~76--jl---~.=11.9=Bc;.)---=3~3L98=1t-!---B0-.00-)+-l-----"38:::.84:.:...i

      !oAVJ"'o'-'M"-LE=EM=o~••~------------------<'~•144~•-CE=N"111A__
20-23054~9 .. _
XX-XXXXXXX        !LATARAENTERPRlSE INC                                                             1n6WHOLT AVE
                                                                                                                    I
                                                                                                                   LE_x_PY________                                       iSTE1so    iDAUAS,TX7S204-32os
                                                                                                                                                                                    !POMONA,CA91?68
                                                                                                                                                                                                                                                100.ooi
                                                                                                                                                                                                                                                923.COi
                                                                                                                                                                                                                                                                     331.681
                                                                                                                                                                                                                                                                     596.42)
                                                                                                                                                                                                                                                                                    331.681
                                                                                                                                                                                                                                                                                    331.26!
                                                                                                                                                                                                                                                                                                           -!
                                                                                                                                                                                                                                                                                                     26S.16!
                                                                                                                                                                                                                                                                                                                           3a.ac
                                                                                                                                                                                                                                                                                                                            38.75

XX-XXXXXXX        !srLoUISCHILDRENSHOSPJTAL                                                         POBOX9S6190                                                                     lsrLouis.M063195                             l              473.oo;              331.10)        331.101                                38.74

XX-XXXXXXX        !PAlJLRSTEINWACHSMO                                                              !13363RDAVESUITEA                                                                lcoLUMBUS,GA31901·2114                                      890.ooi              502.441        331.04i           n40!                 38.73

27•1029865        IToooMJotAElMCNIFFMD                                                              POeoxs213                                                                       leELFAST,ME04915-5200                         !             sss.oo!              -4ss.77!       330.ni           165.so!               38.70
XX-XXXXXXX        lGEORGECSHAP1ROMD                                                                 4WESTotEsrERPARKDRsrE210                                                        !wHITEPlAINS,NY106Q4.3431                    l              410.10'.             410.10\        330.70i           so.ool               38.69

3fi..31D5151      lcoMPREHENSNE UROLOGIC CARE INC                                                  lmss PEPPER RO srE 201                                                           ii.AKE BARRINGTON. IL 60010-2540                            759.oo!              464.1s'        330.ss    I      133.s9i               38.68

~~3801926         !ADALBERTO CAMPO                                                                 li431 N WESTERN AVE "506                                                         !ot1CAGO, IL60622•1778                       !              soo.ooi              41D.61i        330.61 j          80.ooi               38.68

XX-XXXXXXX        !JLCAMPBELL                       --------------+'17".."ce"-'--NTRALAVE                                       ---------+-----;::!oc:cov"ER"'"'":::"-=m==•=:,n.'-'254=''------i-----=sa=•=·o:;co,_i_ _ __esss=-00,;l'---_---','-'30=·=00:.·l_ _......:c2s,:,5~~1                                          38.61
11·3339724        !ARISTOTEU SAICEUARI MD                                                          l~~-UTH OYSTER BAY RO surre 2os                                                  !H1CXSV1UE, NY 11801                                        485.Y.Ql             485.~~--~'~30~.oo=;--1--~'•=•-~oc~~:::_-:::_-::;,=•"'_.:,~
~~:;~-;~~---ioR MtCHAEL       KAPLAN    ~~ ;~- ..   ---------------;l329EMAJNsr                                                                                         im9         !SMITTliOWN,NY11787-2831                                  1,104.60'              480.00;       330.ooi         1so.oo!              38.61


                                                                                                                                                                      EXHIBIT2

                                                                                                                                                                             112
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                                                                                                                                           AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                                                                     ~.iN'~

                                                                                                                                                                                                                                                                         38.61
                                                                                                                                                                                                                                                                         38.61
                 !TRACY SOI ELLER MD LLC                                                                                                                                                                        330.00         330,00;                                   3S.61
                 iBTHUYLE                                                             262 CENTRAL PARk W                                                                          NEW YORK NV 10024-3512        BOO.OD        415.00!                                    38.61
56-176~695_,.._ iwAKE_ EMERGENCY PHYSICIANS PA                                    IPO SOX 890053                                                                                  OtARtoTTE, !'S 28289        2,874.0DI      1,470.001   330.00(      1,974.00:          38.61
XX-XXXXXXX       lsrePHEN LADORE MD Pc                                            l9SQ4THSfSE                                                                                                                   51D.0Di        510.00!   330.00(        11D.OO!          3S.61
XX-XXXXXXX           DAVID LOMBARDI MD                                            !1001usHl~~--!Y9105                                                                                                           525.0Qj       379.54j    329.54          so.ooi          38.55
XX-XXXXXXX -·· i0-1URCH HIU PHYSICAL THERAPY
                                                                                                                       ·····--·-·····---····-----·- ............. JsrE2 ___       NEWTOWN, Cf 06470           1,076.00:
                                                                                  i30CHURCHHILLRD                                                                                                                             470.24!    329.14'       14LlO[            38.51
XX-XXXXXXX       !tsRAELSAMSON                                                    1545 CENTRAi. AVE                                                                               CEDARHURST, NY 11516-2144     ssa.oo:       32855;     328.ss!                         3SM
6!Hl603006       !PHYS PRIMARY CARE OF SW FLORIDA Pll                             j12730 NEW BRITTANY BLVD                                                      ISTE200       iFORT MYERS FL33907-3646          539.00!       36833;     328.331         40.oot          38.41
XX-XXXXXXX       ISAN c1eGurro ORTHOPEDIC MEDICAL CENTER                          h32 SANTA FE DR STE 110                                                                     ·ENONITAS. CA,92024-5143        1,311.701       570.78:    328..251      310.57!           38AO
XX-XXXXXXX       .FAMILY MEDICNE OF BlACKBURG LLC                                     133 BOSTIC 1N                                                                           !PEMBROKE, VA24136-3678           893.ool       478.36)    328.29!         70.11!          38.39

XX-XXXXXXX       iUSASTOO:FORO 00                                                     5450JEFFERSON AVE SUITE 1                                                                                                 353.ool       353.DOj    328.DD,         25.00;          38.37
                                                                                                                                                                                                                         I
XX-XXXXXXX       i DRS MUSCO INC                                                  12301 CAMINO RAMON STE 180                                                                                                   llS.00!        328.00)    328.ool                         38.37
~9-.172~531   ...... SPORTS PH'l'SICAL THEAAPY & REHAB                                3048 MOMENTUM PLACE                                                                     !CHICAGO, IL60689                746.00!        327.ss(    327.85!                         38.36
04--3042554          PATHOLOGY ASSOCIATES OF lAWRENCE                             1posox3045                                                                                  ]LEWJSTON~-~!_.04243            2,031.00'.     2,031.00;   327.79)      1,703.211          3S.35
XX-XXXXXXX           DAVID GOOOMAN
                                                                       . . . . . . . i~os   IUINOJSAVENUE SU~~.~                                                              ISTCHARLES,ll60174              uoa.oo\         427.80!    321.so!       820.BS[           3S.35
S4-2006893           HUDSON VALLEY DIAGNOSTIC IMAGING                             ;PO BOX9340                                                                                 !   PEORlA. IL 61612             914.00l        909.sol    327.84,       581.96            38.35
XX-XXXXXXX           JAMES RWEAGLEY MD                                                PO BOX 19487                                                                                BELFAST, ME 049~089          sgo.oo'.       402.52!    327.szl         75.DO           38.32

20-06S2173           WINDSOR REGIONAL MEDICAlASSOCIATES                           j300A PRINCETON HIGHTSTOWN RD STE 102                                                       ,EASTWINDSOR, NJ,08520           59LOOi         484.401    327.34!         92.06!          38.30

S2-2055746       iADVANCED RADIOLOGY PA                                           :26999 NETWORK PL                                                                           fCHICAGO, 1l, 60673              996.001        327.07!    327.07!        12.00!           38.26
XX-XXXXXXX      IMCCABE AMBULANCE                                                     764 KENNEDY BLVD                                                                        'BAYONNE, NJ 07002-2859         1,364.00!      1,364.00i   326.30!      1.037.70!          38.17
XX-XXXXXXX       ,RADIOLOGIC ASSOCIATES OFMIODLETOWN                              [PO SOX 11208                                                                               l,_..CASTEI. PA, 17605          1,117.00'  '    531.00;    326.08        1!16.301
                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                         38.15
56-1U8388        !UNIVOFNCHOSPS                                                   li01 MANNING DR                                                                             :OtAPfLHIU.,NC27S14-4220        1,89s.ooi      1,408.611   326.00'       BS7.67l           38.14

.?~;9430         IFEHMIDA M KHAN                                                      2504 WASHINGTON ST sum: 303                                                             I
                                                                                                                                                                              1
                                                                                                                                                                                  WAUKEGAN, IL 6008S-4960     1,4ss.ool       445.24!    325.46        119.78            38.08

~~843            !GREATER BOSTON GASTROENTEROLOGY PC                                  475 FRANKLIN STREET 5Ulll: 11D                                                              FRAMINGHAM, MA 01702-6265     soo.oo:       350.oof    325.00;         zs.ooj          38.02

    540536       iTANI SANGHVI MDMPH                                              ls1 EAST 73RD STREET                                                                        ,NEW YORK,, NY 10021-3568
                                                                                                                                                                              I.
                                                                                                                                                                                                                350.ool       350.00!    325.ooi         25.oo!
                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                         38.02
                                                                                                                                                                              1
XX-XXXXXXX       ALLAN PLAUT MD                                                   !1gs HARBCRV!EW N                                                                               tAWRENCE, NY 11559-190S      350.0D:        350.001    3zs.00f        25.00l           38.02

XX-XXXXXXX       l~EUROSCENCE ASSOCATES
                                                                                  0

                                                                                      POBOX632                                                                                !MARTINSVILLE, NJ 08836-0632     32S.00!        325.00;    325.~.              -i          3S.D2
XX-XXXXXXX      )MIKHAIi. PLOTNITSKIY                                                 303 E PARK AVE                                                                              1.0NG BEAOI, NY 11561       1.oso.oo:       6so.oo!    325.DD.       325.00            38.02

XX-XXXXXXX       '
                 !DRS STEVEN AND BRENDA SMOKE OD PC                                   18301 W US HWY 12                                                                           NEW BUFFA1.0,Ml49117-8848    370.ool        370.00:    325.00         45.ool           38.02

~NKNOWN          [AHMEDSHAR                                                       ,1360 CHAUSER lN                                                                                WOODBRIDGE, ll. 60517        400.oo:        400.ool    325.00,         7S.~i           38.02

XX-XXXXXXX       !PARTNERS pti'(gOJ\N GROUP                                       !224 W EXCHANGE ST                                                                          iAKRON. OH 44302                  530.00        424.31)    324.31[       199.0D1           37.94
XX-XXXXXXX       /ADVANCED RADIOLOGY LTO                                          j590 EUREKAAVE                                                                                  RENO, NV 89512                706.00,       324.00;    324.00'
                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                       346.00!           37.90
                                                                                                                                                                                                                                                  I
XX-XXXXXXX       i NEW CREEK FAMILY MEDIONE PLLC                                  !1234 NEW CREEK HWY                                                                             KEYSER. WV 26726-9404        420.0D         398.70'.   323.70;        so.ool           37.87

                                                                                                                                                                              i~~ LENOX, IL 60451
                                                                                                                                                                                                                                                                 I
~6-2981388       jc & R MEDICAi. GROUP SC ,..._.,                                 li89o SILVER CROSS BLVD                                                       ,STES70                                        644.ooi        423.66!
                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                         323.66j       100.00:           37.86

S8-2675346           SUSAN C CAPl:UE                                              j3495 UNIVl;RSITY AVENUE                                                                    iMORGANTOWN, WV 26505-3001       410.00:       __!~7!      323.371        45.ool           37.83
                 I                                                                I
XX-XXXXXXX       j~EORGIAN METROPOUS EMERGENCY                                    ;PO BOX 37755                                                                               !PHllADELPHIA. PA 19101-SOSS     766.00         766.oo'    3n.ool        443.00            37.79

XX-XXXXXXX       IHIGHLANDS REG MED CTR                                           IPOBOX668                                                                                   !PRESTONSBURG. KY 41653           654.78i       403.26:'   322.601         80.661          37.74


                                                                                                                                                             EXHIBIT2


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                                                                                                                                            AEU INTERIM DISTRIBUTION




XX-XXXXXXX                                                                       _ _ _ _ _ ___,iP0'-=80=X=93=55=5=2------------;-----ii-A11Am==A,.~.c.31=19=3=----·-·-·-·-·---•-1                                                 784.00;              32LS3~          32153!          203.55                   37.62
04-248694D                                                                                          isoX769                                                                !FJSKDALE, MA01S18                                     443.00!              396.16!         321.16!           75.00i                 3757

F4:c:Ss::,25:::.9S=•:::."=---f-'======----------------f'S:::.S::.;SE::cB::RO=A!J=W:::A::_Y__________                                                     -;-!m_2_1s_ _-flA_CXSO_N~._WY_S3_0~01'---------,----34-S_.oo,...·c-----'-'32~D.B~s'fi_ _~3~20"'-.BScc;-!----+------'3"'754=-'-l
XX-XXXXXXX -·· !THOMASVlllE SURGERY CTR                                                             i2282 E PINETREE BLVD                                                  THOMASVlllE, GA 31792-mgg                            2,200.00'.             320.SS;         320.85 1                                 37.54

XX-XXXXXXX           ..!DEER PARK FAMIL•.,_Y=aJ::.N::,IC,_,P,,A________
                                                                _____                __1·2910MceNTE
                                                                                                 lER.,_,coSTR""."'-EET"'--Y-RD_ _ _ _ _ _ _ _ _ -··i-j-----ll.1?..~~R PARK, TX 77536-4943 ----+------"••cc'·=1oc,l_ _ __;3:.c7=D.2=Bc;.~---='='o=.2ll:::.f _ _ _25_.10_,___ _ _ _~•~1-'-'_47'--'
                                                                                       12 78 100
i:12::.-5=:40:::15=·'=--+'Sl=M;;D:,N:,.:A;:..:l:f:::SMA=:::•.:.;•":::"=----------------.....;:===="=n•n==---------~----""-1/FSM""ITHTO=::.W"'-N~•.cc•0-•=11:::1•:.c•-=-29=15=-----i-----'40=ruJ=O,--j             _ _ __;;.400=.o=,i........._...;3::>=D-:::OO~!_ __;SO=.OO::.,l_ _ _ __,3::_7::::.44::...i
XX-XXXXXXX                PARSIPPANY EYE CAREASC                                                    46 EAGLE ROCK AVE                                                      !EAST HANOVER. NJ, 07936                               425.00.              425.00~        320.00;          105.00    !              37 .44

XX-XXXXXXX                !NICOLE COOLEY                                                            79 UNDERHILL AVE                                      2R               !eROOJa.YN, NY 11238                                   750.001              445.00i        320.00!          125.001                  37.44

36-380049S                ANXIETY & STRESS CENTER                                                   ,18161 MORRIS AV£                                     STE102           jHOMcWOOD,IL60430-2140                               1,175.00;              320.00J        320.00                                    37.44

36-4042S43                iOANIELJ PESAVENTO                                                        2nso H HWY 22 STE 37                                                   lBARRTNGTON,IL60010.2340                               soo.ooi              320.00:        320,ool          200.ool                  37.44
                          1
81·3288715                UNIVERSITY DERMATOLOGY                                                    !2500 NILES ROAD SUITE 10A                                            iSAINl"JOSEPH,Ml4908S                                   410.00\              410.00l        320.00 1          !30.00                  37.44

!_~-0851756               WEUSTAR NORTH FULTON HOSPITAL                                             PO BOX 743792                                                          A71ANTA. GA 30374                                      397.30i              319.83j        319.83                 ·i                 37.42

XX-XXXXXXX                OfRIST HOSPITAL CARDIOVASCULAR                                            jpa BOX 636210                                                         CINCNNATI,OH4S263                                    1.1c5,oo,              424.nl         319.nl           1os.ool                  37A1

22·2040nl                 '
                          !METROPOLITAN PEDIATRIC GROUP PA                                          !PO BOX 11236                                                          [eetfAST. ME 0491S-4003                                SOS.OD;              319.63i                               -!                 37.39

02-0S96679                fAnANTIS URGENT CARE.INC ........                                         2254 HIGHWAYAlA                                                                                       ..~•22~-+-----663_._00~'----'-'-8.97-;-!--==~--~~--f!C!.;-i----~·7~3~2;
                                                                                                                                                                           l1NDIAN HARBOUR BEACH, FL3293_7_
75•2775SU                 PfDIATRIOANS OF OAUAS PA                                                  l832S WALNUT HILL LN                                  5TE225           OALI.A.S, TX75231-4263                                 539.00!              499.ooi                         220.00!                  37.32

XX-XXXXXXX                    MIOiAEl PENN MSW                                                      260 WEST 72ND STREETsrE 18                                             INEW YORK, NY 10023                                  1,440.oo:              718.64i                         400.oo!                  37.28

31·1126469                MEMORIAL HEALTH UNIVERSl'TY MEDICALCl:NTE                                 POBCX945660                                                            !ATIANTA,GA30394--5660                                 636.00\              318.00!                                                  37.20

3~1701402                 .WHEATON FRANCSCAN LABORATORIES                                           POBOX860009                                                            MINNEAPOUS,MNSS486                                     732.00;              317.96\                                                  37.20

36-3087n8                 LAKE COUNt'Y NEUROLOGICALASSOO                                            1616GRANDAVENUESUJTE103                                                WAUKEGAN,IL60085                                       690.DOj              362.71!                         Z5L04                    37.17

XX-XXXXXXX                jTHOMASCOUNTYEMERGENCY                                                    1202REMINGTONAVE                                                       THOMASVlllE,GA.31792                                 1.472.lDi              452.91!                        1.120.97.                 37.09

XX-XXXXXXX                !1HOSVAN1 MIGUEL MD                                                       1n1sANDREWSAVENUE                                                      FTLAUDERDALE,FL33316-4024                  i         1,032.001              496.57l        31s.s1l          u0.ooi                   37.04
F,_"'Ss=!P3"'
         .. :.:7::.S'-_-...;-+!"'M"'"'A"l:C0:1M:~D:A"-Vl"'"'"'D:COSG:~"""°_"'_VE::""M-"'D-_-_-_-_-_-_-_-_-_-_----------!',1"-6'",1--',"'VE""NltJ=RA=.,-"vo="------------+----+,.'-'o'-'N"'O"".CA=.=,.~
                                                                                                                                                                                                     ...                                         ••"'1.2"'0'+!--...:,::16::.20:+:---225.ll===.'+!-----","
                                                                                                                                                                                                      c=,=1=2•=='----!... ---"1.e=OOB=.00=,1-----"                                                      ...==.'-l
   ==:=•=c•::.11,_-..lrn=o=MAS=EYE=G::.•:=o""u•c.......-----------------1,.rosox11~•~145~-----------+---->-A~TIA=NT~"-~·~·•-o-'-',..~------+---~ss~s'-'.oo=.-'---~s~1s.~0~1,...l__=•'"~·cc.01+----~1•~•.oo=t,--i_____3::•=-'-=-i"
i:....
XX-XXXXXXX    H ..   ..    ~HM,,,e:,:Dc,ICAl.=CEeeN,:.,TE~•°'s"c'----------------F=====-----------+-----iie'"LG"1"N,~~~60=12=0-=3•=20=-------l---::.34ccL~OOc;'----34=L=OO'j-i_ _...,3=1•=·00=t-_ _~25=·=00+i-----"''"•.9::7;
                                                                                                                           I
XX-XXXXXXX                 FORT COLLINS YOUTH CLINIC PC                       1200 e eUZABETH sr                            FORT cowNS. co 80524-4007       35s.oo:      359.oo:    316.oo !         43.oo I           3ti.97

0&-0646599                !oAY ICIMBAU. HEALTHCARE                            320 POMFRET  ST                               PUTNAM, cros2GO                 638.90;      sss.99!    315,54j         244.35\            36.93

3g..1130597               ;RADIOLOGY ASSOCATES OF APPLETON SC                 PO BOX 1790                                    BROOKFIELD, WI, 53008          48L00j       425.35;    315.35!         110.00)            35.89



3S.1613280                lBARBARAANNKARMANOSINSTITUTE                                              IPOeox67so54                                                           lDETROrr.M1482S7•5054                                  463.oo:              386.56\        314.961            7L60,                  36.85
UNKNOWN                   ]Ko011N MEDICAL pc                                                        2952 BRIGHTON 3RD STREET                                               ieROOKlYN, NY 11235                                    s00.00;     soo.ool       314.65 1               185.lsl                 36.81

FD:e:6-090=2::46::,1"---+!N:::E:::Ue.:;RDe,ID:,:GY=ASSO=:::CIA=TES=O,cFc..:N:.::D::RW::;AUC='--•::.c_ _ _ _ _ _ _ _ _ _ _-f!63=-7W=ESr=AV~E"'SU=ITE=20=•=----------f-----f;"•=o•="'=-==CT~06-"SS=D-4004='-----+---=·"-'4'".oo=,--;----=·3=·=·12=;ii--_--'3=14.:!.!,1.......__ _,22::4-'C.7:.:1.,l_ _ _ _-=36=.7:.:Bc..i
55--04229S8               israNEWAUlACKSONMEMORI                                                    1230HOSPITALPLZ                                                        [WESTONWV26452.SSS8                                    330.34~              313.82:        313.82[                                   36.71

23-,135513S               IPHILADELPHIA COLLEGE OF OSTE.=O'-'PA.o.cTH~l:::C___                      i4190CITY AVENUE                        lsurre 777          !PHILADELPHIA, PA 19131                   975.00~--       313.74!     313.74!                                            75.oo!                 36.70

XX-XXXXXXX                fMAR~PETERSON,MD                                         _ _ _ _ ___,i::..1•cc3ccNO=""'="'M:.:Al:.:N_____________ ,·,1,.......----;!~.u~n,~1~•GT=O~•·~cr~o=648=9------i----~48=0~.D~3-'----=313=2c;oi_ _. .;3c.c13=·=;20!                                          -!                 36.64
~~~~9999                  IEMERGEN~-;~-;;-~~~-PR0Fess10NAL       ASSO□AnoN                          15435 FELTL RD                                                         !MINNETONKA. MN 55343-7983                             341.00;              313.20~         313_20!                                  36.64


                                                                                                                                                        EXHIBIT2

                                                                                                                                                           114
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                                                                                                                          AEU INTERIM DISlRIBUTIDN




XX-XXXXXXX    /RETINA & VITREOUS CONSULTANTS OFWlSCONSIN                             !2600 N MAYFAIR RD SUITE 901                      j                  iMILWAUICEE, WI 53226--1307                           1,536.09 f           sss.12(       313.oo!          zs2.21l    36.62
XX-XXXXXXX    iNORlHEAST GEORGIA PHYSK:IANS GROUP INC                                !Po sox 742616                                    l                  ]ATI.ANTA. GA 30374-2616                               912.00'.            608.53;       312.85   i       295.0Bi    36.60
XX-XXXXXXX    jtAKESHOREBONE&JOINTINSTITUTE                                          iPOBOX16SO                                        I                  lMIDDLETOWN,OH•5042-1650                              1,086.711            312.S?i       312.s,l                -!   36.57
XX-XXXXXXX    \PRO SPORTS ORTHOPEDICS INC -- ___ ,. _______ -····· - - - - - ------+!POc=BOX 19625                                                        !BELFAST, ME 0491S-4CS1         '.,1                  3,000.00,            632.SO!       312.SO   l      1,19S.OO!   36.56
27-5170!342   !lABORATORYSERVICESLLC                                                 !101soUTHSWINTDNAVENuESU1TEG                      I                  loeLRAYBEACH,FL33444                                   390.00:             31200:        312.ooJ                     36.SD

36--4120S62   PRtMECARE FAMILY PHYSIOANS LTO                                         !1400WADDISON STREET                                                 ,OflCAGO, IL60634                                      985.oo;             432.00!       312.001          uo.oo!     36.S0
XX-XXXXXXX    ENDOCRINE CONSULTANTS!~.                                               12425 BROOICSTONE CENTRE PKWY                     !                  icoLUMBUS, GA 31904-4501        j                     1,669.oo:            ns.sai        311.64!           27.BOI    36.46
XX-XXXXXXX    !JAN KATHRYN OAVISMO
              l~-;~TERCNCNNATI~~~~-~~;-·
                                                                                     1902 FROSTWOOD DR STE 156
                                                                                     !POBOX632958
                                                                                                                                      +
                                                                                                                                    -- '
                                                                                                                                                              !HOUSTON, TX 7702,1.2449
                                                                                                                                             ·-·--·..·· ....--!~~-;;-~~~~.OH45263-2958
                                                                                                                                                                                          1...... _........._
                                                                                                                                                                                          j
                                                                                                                                                                                                                 350.~~:,____3_11._12_i,____31~~;1
                                                                                                                                                                                                                 995.00i             407.lli
                                                                                                                                                                                                                                            3~U.12,i_- - - - - , - - - - - ~
                                                                                                                                                                                                                                                                     96.56:
                                                                                                                                                                                                                                                                               36.40
XX-XXXXXXX                                                                                                                                                                                                                                                                     3634
XX-XXXXXXX    iGARY RAOIUN DO PLLC                                                   14230 HEMPSlEAOTPKE SUITE 200                                        !eETHPAGE. NY 11714-5700                               513.oo:             360.561       310.56!           so.ool    3633
145-4001381   SOUTl-t otARLESTON DERMATOLOGY                                          481S KANAWHA AVE sw                                                  SOUTH DfARLESTON, wv, 25309    !                     2,97s.ooi            68&.&91       110.s1   I       ......!    36.33
61-16994S9    GCSA AMULATORY SURGERY                                                  PO eax 844516                                                        DAU.AS. TX 75284-4400          I                     2,400.ooi            310.24)       110.24   I                  36.29
2NJ806549     sr JOSEPH s EMERGENCY PHYSICIANS                                       !103 MAIN ST                                                         !PATERSON, NJ 01s03                                    s10.001             s10.ool       310.00!          200.ool    36.27
XX-XXXXXXX    GHODRATOLLAH SARRAFI                                                   isa1 EGOLF RD
                                                                                     1
                                                                                                                                                          loES PlAINES, IL 6001&-2349     I                      3so.oo!             350.00!       110.00]           ...ool    36.27

XX-XXXXXXX    oR AARON DAVID AND oR LARISSA                                           980 N BROADWAY                                                      !MASSAPEQUA. NY    111sa        I                      ,as.oo!             110.ool       310.ooi                     36.27
~ ~ ; _ .... !HEALTHONE HEART CARE LLC                                                PO eox 11sso                                                        !BELfASr, ME 0491S-4CXJ9        I                      1so.ool            40.oo!
                                                                                                                                                                                                                                     1so.ooi       310.001                     36..27
7.S-2530206   FAMILYHEALTHCAREASSOClATES. _ _ _ _ _ _ _ _ _ _ _ _ _ __,_13_00_5_FI_E_LD_ER_RD_ _ _ _ _ _ _ _ _ _ _-+-_ _ _ _,,_AR_UN_liT_O_N~,_TX_7_60_13_·_234_B_ _ _ _ _ _~!, _ _ _39_2.00__,.!_ _ _ _34_9_A_9..
                                                                                                                                                                                                                i ___               40.001
                                                                                                                                                                                                                    309_.49-,1_ _ _ _     '
                                                                                                                                                                                                                                        ...;---                                36.21
XX-XXXXXXX    CORNERSroNE FAMILY PRACTICE PC                            3464 S WILLOW ST #92                                   DENVER. co 80231◄531                                  349.ool            334.15{     309.lS !        2S.ool                                     36.17
XX-XXXXXXX    DANIEL JUAREZ MD PA                                                     1303 MCCULLOUGH AVE                                                  SAN ANTONIO, 1X78212                                  466.00i             374.04f       309,041           &s.ool    36.15
XX-XXXXXXX    NORTHSHOREPHYSJOANSGROUP                                               IPOBOX419448                                                         ,BOSTON,MAOZ241-,os1                                   sz1.ool             368.24i       3os.z4!           ...ool    36.06
                                                                                                                                                          1
XX-XXXXXXX    JCOLORAOO OB-GYN SPeCAllsrs PUC                                         79SO Kl PUNG sr                                  fSTE 201            ARVADA, co, sooos              I                      496.ooi             308.13~       308.13   I        17.90!    36.05
u-i116365     !LYON&MARTINMEOICALASSOCTTESPC                                         ls9EAST54TH                                       !aM23              INEWY0RK,NY10022-9ZSO           I                      388.ssi             388.9si       301.68!           BL3D!     36.00
XX-XXXXXXX    ,EMERGENCY' ASSOOATES- UNIVERSITY                                      1601 ELMWOODAVE&OX320                                                !ROCHESTER. NY 14642            l                      375.00!             307.35!       307.351                •i   35.96
                                                                                                                                                                                                                                                                          I
XX-XXXXXXX    RADIOLOGICAL PHYSICIAN ASSOOATES                                        Po eox 2rao101                                                      !0tARLOTTE. NC 2&289-0707       I                      452.00!             384.zo!       307.36;           76.84'    35.96
XX-XXXXXXX    !HEARING SERVICES OF FRANKLIN L1C                                      -100 COVEY DRIVE 111                                                 .FRANKLIN, TN 379§!.1~          t                      600.00'.--- ---~3~83_.!~2i,-__307=·~14
                                                                                                                                                                                                                                                      7
                                                                                                                                                                                                                                                            !__
                                                                                                                                                                                                                                                        --=.c+----
                                                                                                                                                                                                                                                          76.78!               35.93

XX-XXXXXXX ___ !ACCU00c1NCPC                                                         fpoeox121                                                            !GREENSSURG,IN47240             I                      573.oo!             366.80~---~306=.80-=-l1---=~--- 60.oo!    35.89
XX-XXXXXXX    jSTEPHEN HARRIS ROSENTHAL MD                                           !246 WALNUTSfR STE 104                                               !NEWTONVILJ.E. MA02460                                1,020.001            612.00!       306.ool          646.00:    35.80
5~2059693     iOIARLDITEGASJROENTEROLOGY&HEPATOLOGYPU.C_ _ _ _ _ _ _ _-+PO=BO=X::,49:.:,7_ _ _ _ _ _ _ _ _ _ _ _--i------FH°'UNTI;=RS=Vl=ILEc:,,-"N.:.C2:,807=0'-------{-!,_ _. . . ,30=c6,c.00cc;.. ~_ _ _......=3:::06.c:OOcc•e---306=.00=,.'!_ _ _ _- ! - - - -        -1   35.80

XX-XXXXXXX _____ isaooKHAVEN Os-GYN ASSOOAT£5 PA                                      1012 o A BIG LANE DRIVE                          ~_ _ _ _-el~••~o~o~KHA-~N. MS 39601-2331                                  41s.ool             n1.oo!        306.00j           11.ooi    35.80
XX-XXXXXXX    IBOBBYBUKAMDPC                                                         !220FROKTSfREET                                   1                  ;NEWYORK,NY10038                                      1,572.98;           1,095.94;      305~+,i---=.c.;...---
                                                                                                                                                                                                                                                            790.011            35.78

XX-XXXXXXX    IME01CAL PARK IMAGING PA                                               !Po eox 9730                                      !                  !PEORIA. IL 616U                                       aao.oo!             546.0D{       30S.4ol          240.60!    35.73
XX-XXXXXXX    BRIDGEPORT FAMILY MEOJCINE LLC                                          154 ruNTOH AVENUE                                                    BRIDGEPORT, er 06604                                  4ss.ool             305.28~       3os.za!           SO.DO!    3S.71
11-31s1uo     J.r1HMED1CALSERVICESPC                                                  POSOX9639                                                            UNIONDALE,NY1155S                                     740.ool             30s.1s!       3os.tsl           14.10!    35.70
XX-XXXXXXX    iM□DERNPATH tNC                                                        !s1oosoUTHWYCK BLVD                                                  hoLEoo,oH43614-1509                                    3os.oo:             3Ds.oo:       305.ooi
                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                          -:   35.68
U-3289459     ,1osePHsroxoPM                                                         i33FJFTHAVENUE                             I         INewYORK.NY10003-433B                                                  sso.oo:             425.oo:       305.oo!          245.00!    3'.68

XX-XXXXXXX    !ASSOCIATEOPTHAMOLOGJSTS=P~c_____                                                 ow_•~•------------,'1_su_1TE_1•_0_1_--t1~~YORK, NY10038--4381
                                                                   - - - - -.......1~,so~s•_o_A__                                                                                         l                              i ___.....=350=.oo=;'--~•=os=.oo=;-;_ _
                                                                                                                                                                                                                 350:~.....                                          45.00!    35.68

XX-XXXXXXX    ITIDEWATER_NEU~OLOGY_wesr ASH                                ---+i9=13~BO=W~M~AN=•o~•~o- ----------1surre~105~---+•MT_.P_LEASANT_. sc 294_64-_323_5_ _ _ _~___30_5_.oo~i_ _ _ _3_os_.oo_f,__~305~-~oo~!__________~
                                                                                                                                                                                                                               35.68

XX-XXXXXXX    loONNAJOANHAGBERG                                                      '.31RNERROAD                                                         ICOSC08,CT06807                                        305.00:             305.oo'.      3os.ooi                -!   35.68
XX-XXXXXXX    !NAUVEEDIOBAL                                                          !10MAGNOUAA.VE                                                       !eR10G£TON,NJ08302-1760         l                     24so.ao:            2,450.oof      305.00\         2.02s.ooi   35.68


                                                                                                                                     EXHIBIT2

                                                                                                                                           115
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                                                                                                                                            AEU INTERIM DISTRIBUTION




 3~3993106        lLGMLLC                                                                       i162SNSHERIDANROAD                                              lSTEC,UNIT4    IWILMETTE,IL60091-l824                              . 40D.001            37_!.:~i          305.00l              73A21                       35.68

41-oe10112        ilSlANDHEALTHCA.RE                                                            !24SEOGAKIWON-VINEYARDHAVENRD                                   j               EDGARTWON,MA02539-6937                               400.00:            no.ooi            305.ool                   -f                     35.68

XX-XXXXXXX        iuPPER EA5TSIDE G't'NECOlDGr PllC                                             !Po eox 12011                                                  I               !eeu=AST, ME 04915-4011                               120.00 '.          304.69i           304.691                   .j                     35.65
!:t~673297        lNEW ROCHEliE RADIOLOGY ASSOCATES                                             !Po eox 10001                                                  I               iPWRlA, IL. 616U                                i     752.ool            303.64~           303.64!                                          3S.S2
11.3099325        lsoPHIA A ARGERDPOULOS ocPC                                                   Jg Roosevar AVE                                                 l              )PORT JEFFERSON srAnON, NY 11776                      445.ooi            303.06'.          303.06i                                          35AS

33-102s1S2        IN[?RTHWESTINDIANA PATHOLOGY CONSULTS Pc                                      l11SOSOLunoN CENTI:R                       ----+------·-----i•Niai1CAG0, JL60677                                                     724_00:            41s.s1,~!---=-'02.=•c:c2!_ __;,.=.':.:;•os:::i-f_ _ _ _....::35:::.44:;:,.i
                                                                                                                                                                                                                                                                                                      1
20,4851978 ......!:;;•CAD=E"'M:::<C"'P:.:;R::;IMAR=Y'-'CAR=E:.:ASSO=:::ClA:.:TES=------------+'':.:'=08c.cS:.:;MA=1N'-'srC..m=.=.•_ _ _ _ _ _ _ _ _ _-+-----f'•-=-LAO<SB=.=.":.:•,Gc•c.c•c..••~':.:;40c.c60~------+-------'•=10:.:;.ooc.cc..;-----='=58=5=.8;;---'=,02.=60'+1_ _ _=1S:::.9;:_8. __ _ __;3::S::;:A::...i0
zs.2522952        i~UTH~N_UROLDGY_LLC _______ ·-··-                                             !120RUELOU1Sx1v                                                ,_____w_~_YErn.~.-LA70SOB-5739
                                                                                                                                                      ........ i,                                                                                                                   =.1S~l,-___~•=s-=.3"-i3
                                                                                                                                                                                                                                     931.oo!----•~0~1.-'-11~!__--'3~02.~0""2i ______..
XX-XXXXXXX        l-reNDERCAREQINICINC                                                          !803SMAINSJREET                                                1     !Greensboro,GA30642                                       j     302.DO]            302.00\           302.00 1                  _1                     35.33

1s.101soos        !MARIAN DAVID MD                                                              l,o sox 9608                                                   I     luNJONDALE NY 11555-9608                                  I   15,832.ooi         1.&0.1c[            30L82I            2,154.39j                      3s.31

 XX-XXXXXXX       IJAYSTEVENKAPIANMD                                                            la60ATLANTICAVENUESUITTs                                                       !SALDWIN,NY11S10-31ti4                                62s.ooi            301.20!           301.20)                   -l                     35,24
XX-XXXXXXX        !ACCESS PHYSICAi. THERAPY WELLNESS                                            \s30 Main Street                                               !               JArmonk, N'I' 10504                                 3,187.00i          1,167.491           30L20]              866.&Sj                      35.24

XX-XXXXXXX        !sN RA010LOG1CAL                                                             !PO sox 5674                                                    I               ,H1CKSV1LLE. NY 11802-5674                      I     160.ooi            576.601           301.12/             21s.48l                      35.23
26-18237S3        iATt.ANT1CCAFU>1ovASCULARASSOC1ATES                                           i94scONEYtSLANOAVE                                             lsurrea         leROOKLYN,NV1l230-0492                      -i  I     1s0.00!
                                                                                                                                                                                                                                        35.22           301.04/           301.041

3S-2186542        iiEFFREYALLENGRINBLATTMD                          _ _ _ _ _ _ _ _ _.....,,IPO=ao=x'-'5""13=7-------------+------FSl("'o"••:E.=IL-'-600=76'--------ii----=32=0.=oo=-;r-_ _ ._ 301.0s,..!___,0_1_.os~l_____-+-l_ _ _ _~35~.22=-i
F3-'-,;,""288=1os=-2'----+l•~•=•=°"c..ce=•re=•~•o~•-=rn=CA~RE=sc'-______________-tl2_640_w_11_,RD_sr_R_E_er_ _ _ _ _ _ _ _ _ _ j_ _ _ _--;--IHO_M_EW_o_o_o~•"-604_30_-_2•_1_•_ _ _ _--;--___1,36~5_.oo--;--i-
113565069         1
                  jMrrotELLRu&1NSTE1N,DO                                                       l1093371STRD
                                                                                                                                                            7I                 iroRESTHIUS,NY1137S-48&7                             14so.ooi
                                                                                                                                                                                                                                                      uss.soj
                                                                                                                                                                                                                                                        300.31i
                                                                                                                                                                                                                                                                          300~!
                                                                                                                                                                                                                                                                     .. ,_.,_~.37!
                                                                                                                                                                                                                                                                                            1.0ssooi
                                                                                                                                                                                                                                                                                     ...._,_ ..... ~·-_+I;____
                                                                                                                                                                                                                                                                                                                           3S.16
                                                                                                                                                                                                                                                                                                                        ~,.=.,=.--<
"s=-.:.,=, "'.=•"'1•'----+1."","-u=,.=,OG=.=,NTERN="'."',"-M""E'-DIC_N_E~~~~~~=====-- -------+1407==12TH=STRE=~ET-EXr________                       ....·-·---1·.. ----r-1,-..N-C-ETO~N-,wv~,-.-,40~------+--~·~9.-;;-- ---~.~33-;~r-;--~300=.3~1,---1-32.-.-.+-!----~35~_13'-'-'
 04-3U8993                 !CAROrOLOGY ASSOClATES OF GREATER                                         b, SARTLETTSfREET                                         isulTE 206      1,oweu. MA 01852-1317                                 600.001            30000:            300.001                   _j                     35.10
XX-XXXXXXX        iwARREN STEINBERG                                                            !225 MAIN srsre 202                                                             WESTPORT. CT06880                                   2.000.00;          2,000.00!           300.001           1.100.00!                      35.10
XX-XXXXXXX        IJANEGATANlSMSOTR                                                            l14S4THAVENUE"14E                                                               \NEWYCRK,HY10003                                     1,200.00;         1,200.001           300.ool           (600.00)l                      35.10
26--4736602       iEIOELMANDERMATOLOGY,PLLC                                                    l24SWEST19THSfREET                                                              .NEWYORK,NY1001-4072                                  300.00[            300.oo:           300.001                   -i                    35.10
XX-XXXXXXX        1uN10NMEOICALCAREPLLC                                                        l1s606UNIDNTURNPIKE                                                              FRESHMEADOWS,HY1~1734                          \     600.00!            360.ooi           300.ool              60.ool                      35.10
s&-2151401        l0t1LD & FAMILY THERAPY CENTER PC                                            1363 WILLIAMSON RD                                               ISTE 102        MOORESVILLE, Nc2a111-s974                            450.ooi            450.oo!           300.ool             1so.oo!                     3S.10

F20-004='-'"=°'cc'=-----+!G=R=EA'-"T¥R NEW YORK GASTROENTEI\OLOGY                               boo131sr AVE                                                                   ASTORIA, NY 11106                                   2,sso.00!          1,876.00;           299.aol           1,576.201                      35.07
~~1ss6            icotORADOPATHOLOGYcoNSULTANTSPC                                              1Poeox840274                                                    1                DAU.AS. TX7S284-0Z74                                 &2s.os!            569.181           299.13!             210.osl                     3s.00

XX-XXXXXXX _ .. ]PROGRESSIVE FAMlLY FOOT CARE                                                  !966 W US HIGHWA"'Y~3=-0_ _ _ _ _ _ _ _ _ _!f-------FSOi=EllfR=~VILLE=·~•N~46=-3:.:7=-S-=1S~51=-------;---~88=5·2=D"-i_ _ __,S=-SB=.8,,1,__\                             ="=-;i____,2:csa.=0=2+-!-------=-34="=.•-1
                                                                                                                                                                                                                                                                   ---='...
                  1
6&-0344702        !:t.§GENTS OFTHE UNIV OF CA                             ----------lj'-'po"'a"o:::x..:.,•;.:26:::1:..:4_ _ _ _ _ _ _ _ _ _ _ _if-----i'JLOS=AN=G=m=s•,.. ~•..:.•00=1•'------,e-----=1,34=LO=oi,-_ _ _ccsso=AB=.f_ _--'2=••=·60::'+!:---=•s1.=.ac:ca,!,-_ _ __;34="'=-1
3~39.2631 ..    _joHN"J."ENHUN.. , _ , D : . , _ F E = L D = - - - - - - - - - - - - - - -      IB11wDNERSEYPQil                                               !                CHICAGO,IL60614-1207                           I     410.001            348.SO[           zss.so;              so.ooi                     34.92
SB-1871078        !EAGm LANCING FAMILY PRACTICE                                                 12330 PATRICK HENRY PKWY                                       im 200          !MCDONOUGH. GA, 30253                           I    1,600.00i           756.69\           298.43!             458.26;                      34.91

~ 7 ~ - :AW:RGY&ASTHMACARE                                                                      i101s1NAUAVJ:                                                   ISTE200        !oveRtANDPARK.KS.66211                          I    uss.oo!             993.01!           zss.30!             609.96!                      34.90

~7381 _ _jSANDHYA VNEK GUMASTE MO                                                               lissCEDARlANE                                                  I               ltEANECK.NJ076oG-43D3                           !     616.oo:            348.24!           298.241              s1.ool                      34.89

XX-XXXXXXX        iHEALTHSOURCE MEOICALSERVICES                                                 !1143 NORTH OCEAN AVENUE                                       I               1MEDFDRD. NY 11163-2649                         I     670.ool            399.42·           298.181             101.24i                      34.sa

26-282058S        !PROFESSIONAL SLEEP SERVICES                                                  !Poeox49D6B                                                    I               icoLORADOSPR1NGS,coso949                              sso.ool            297.s6\           297.S&!                                          34.81

XX-XXXXXXX        !PATHOLOGY ASSOCIATES OF PRINCETON                                            lro eox 744325                                                 ]               lATlANTA. GA 30374-4325                               291.00:            291.00!           297.oo!     -!      34.75

B7-0B07914        !coRE PHYSICANS uc                                                            h HOllANC WAY Fl 1         ______                 --~---____,lEXflER. NH 03833                                                       394_00!                                      __oo_l,_____3~•--'s_.
                                                                                                                                                                                                                                                        394.0Q!,-_ _2_,_1._oo~]___,,,

XX-XXXXXXX ...... !~wRENCE.,,_E.:.:••=ue=N=M,:.D_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                _,la03 CONCORDsr                         ----····-·--· <----~l;_ARM~rN_G~HA_M_.~M_A_o_11_0_1-4_60_2_                            !     34LB2L ·-        ~34~1.~12--;'--~'~96=.12=;-l_ _ _4S..:.-~oo~l_ _ _ _~34~-c.."'--'
                                                                                                                                                                                                                                          1
20-~343214 ... _ !LUIGINA VlAD                                                                  lss e NORntA:::ELD="=-""'m=•---------                      ---i--······------;'.uv=rN_,_,Gsr=ON~,~NJ=-O~'~o•~9-4~23~1_ _ _ __,.!     100.00             386.49;           296.49! ..... _ _ _ _     -l,-___~34=-•"'i•
XX-XXXXXXX        !FAMILY PRACTICE CEHT"ER OF PAlATINE                                          1371 w NORn-lWESTHWY                                            \              iPAlATINE. IL60067-2414                         l     819.00.            376.121           296.ui               80.oo•                      34.64


                                                                                                                                                           EXHIBIT2

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                                                                                                                                                        AEU INTERIM DISTRIBUTION




~~~~~A~~~~~-:                                                                                                                                                                                                                                      ~Jkr:-~~~~~
XX-XXXXXXX  I    ~oRS.AHERN&aGNO                                                                              !noANBURYROAD                                                    iRIDGEFIEtn,cro6877-4029                                 341.ooi             341.ooi       29&.ool          45.00!               34..63
XX-XXXXXXX       !RANDOLPH ELKINS HEALTH DEPT                                                                 !32 RANDOLPH AYE STE 101                            !            IELKJNS, WV 26241-3815                                   460.aa'             2os.oa'       29s.oal              -1               34.63

01.072585S       !ATLANTA MINIMALLY INVASIVE GYNECOLOGIC                                                      i1oscowERRD                                                      IATLANTA.GA30309-1730                                   1.930.00(          1,124.53)       29s.96l       1,42357!                34.sz
XX-XXXXXXX       lNORTHBERGENOERMAlOLOGICGROUPPA                                                              [PO_BOX95000-7385                                   !            !PHILAOELPHIA.PA.19195                        I         l,3Ss.ni            722.59)        295521          337.01!               34.57
F,=._~,..
       =1342=-;l=LON=GM=ONT=HO=s,~rr~ALJ~ST=GRO=u~,~,LL=C=~-----------:!Poeox17004                                                                                ]            ioeNVER.coso211-0004                          !          308.00             29s.s2)        29s.s2•.             .;               3457
1-54--m-.,-
         ••---li-Oi-lLD-REN_S_M_EO_ICA-LG_R_O_UP-,-.c----------------+;2-o-
                                                                          ..-,-.,".cess=-.-
                                                                                         ••-,-.-D----------+------,,\q-RG-,N-IA~.-             ___________,f---~.~,..
                                                                                                                                 .-Oi-V_A,_234_5'
                                                                                                                                   .                                                                                                       ~ao~,~.---~,.=s=.20~:--""',=.s=.,=a+-------_f-,
                                                                                                                                                                                                                                                                            1             ----""',""•"'.s'-14
1-0-,--,60-723_0_ __,!_RI_OiARO
                          _ _o_o_N_G_ll_RH_IM_M_o_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ !25PROSPECTAVE                                                              ~_ _ _ _ i_~OCENSACK.~01GD1-l9-60-----;i---=ns=.ao~-----=,..                                          ".s:::1'--l
                                                                                                                                                                                                                           =.ooc;~---'29S=.oo=-'+,---10-.oo-;l--------'..
                                                                                                                                                                               1                                             1
 XX-XXXXXXX     fPREMIERPHYSICIANSCENTER.51NC
t------tl-Ge_o_RG-IARAOIOLOGOYIMAGING
                                                                                                              I
                                                                                                              !.Pc eox 639004                                     !,
                                                                                                                                                                               1
                                                                                                                                                                                CNCNNATI, OH,4S263
                                                                                                                                                                                                                                                               295.ool
                                                                                                                                                                                                                                                                  i       383.1s!
                                                                                                                                                                                                                             1,·--····--67-•._1s_:____64_3_.s~o;,__~=~.--~=~,,----_,•cc•=.s=-i1
 90-0790ns                                                                                                    ·POBOX932413                                                     jATI.ANTA,GA31193                                        295.DO!            29s.oo;        295.00!              -I               34.51

91.11ao120       Iau SH UNIVERSITY MEDICAL CENTER                                                             l1s REMITTANCE DR DEPT 1611                                      :OilCAGO, IL 60675-1611                       !          320.00:            320.00'.       29s.oo!          25.00   I            34.51

XX-XXXXXXX       iATLANTICCCASTUROLOGYPA                                                                      l1944STATEROUTE33                                   lsu1TE101    'NEPTUNE,NJons3...m63                                    660.oo!            414.31!        294.31!         120.nol               34A3

XX-XXXXXXX       ;iaERANJTRAYNORDPT,OCS,MT                                                                    i1420B0sroNPCSTRD                                   !            lLARCHMONT,NV10538                            I        1,aoo.001            367.so!        294.oo!          n.so!                34AO
s1~9014          ILOGANONCOLOGYCAREASSCOATES                                                                  !122SA1NTCHR1STCPERDR                                            iASHLAND,ICY411D1                                        420.ooi            294.00(        294,ooi              -1               34.40

XX-XXXXXXX       leMERGENCYMEDlCINEPHYSlCANSCF                                                                !Posox18896                                                      leEL.FAST,ME0491S-4083                                 1,35s..90J           293..95~       293..95!             -i               34.39

~3-0588057       ILEeCeSTETR1CSGYN                                                       -----+l'=''~•-=-,_sr_____________,_lsre_2_ _ _..!_0PE_UKA_A1_368_0_1_-S429
                                                                                                                                                              _ _ _ _ _ __,_,_ _ _46~2~.oo-;'s----~340.=''"';_ _-'2~••~_..,'-+!_ _ _46~.20,.l_ _ _ _....c.••"'-'"-"-1
22-32.37544      !SAMIHRAIABABBASSIMD                                                                         1372VALLEYROAD                                                   !wESTORANGE,NJ07052-S303                               1,400.ooi            S43.BO!        293.soi         611.~;j               34.37




XX-XXXXXXX       IMETHODISl"HOSPrrAL                                                                          IPoBOX4109                                                       iHcusroN, ,xn210                                         s64.oo!            366.6oi        293.2s!          n.n!                 34..31

XX-XXXXXXX       ]wESTCOASTPATHCLOGYLABORATCR1es                                                              l112ALFREDNCSELDR                                   I            !HERaJLES.CA94547                             I          442..30:           292.32~        292.nl          129.48!               34.20

76-042243S       l0AL£CHWILKINSONPHYS1CANNETWORK                                                              1Poeox848565                                        I            !BOSTON.MA 02284                                         476.ool            311.00;        292,00 1        184.D0!               34.16
XX-XXXXXXX       !AovANCEMENTSIN ALLERGY AND AST                                                              !124so wAYlATA eLvosurre 21s                                     IM1NNET0NKA.MN 55305                                     460.oo!            33L61~         z9u;1!           40.ool               34.12

XX-XXXXXXX
                 1
                  MGMCLLC                                                                                     iPC80X4182B3                                        I            leosroN,MA.02241                              !          410.00:            37z.s3!        291.641          so.s9!               34.u

XX-XXXXXXX       1CARRIE euRNs MD                                                                             !4308 ALLEN BROOK DR                                I            IBArroWN, TX 77521-3200                                  316.03)            31&.aol        291.00!          25.031               34.04

47.350320~1-+'jMARLON==~•~LA~•~'   M~□~-----------------1i""BOO=w"-SAM=c.•=LE"'R=OA"'a'--                                                                         I            :coRALSPRINGS. FL33065-4039                              42S.oo!            39s.ool        291.~!--~'~04~.oo=l_ _ _ _~34~JJ4"-"
s1~547544        lTHoURYAHAOUE>BROWN MD                                                                       !246FEDERALRDUNITC32                                i            laROOKFIE1.D,cr06804                                     341.00'.           290.861        290.86 1         10.ool               34.03
~S-0754263       icoRNERSTONEHEALTHCARE                                                                       ]1907ANNST                                          l            lPARKERSBURG,wv26101                                     400.03!            365.741        290,14!          75.031               34.01
XX-XXXXXXX       :~.l!TIMOTHYROBINSONGENERAL                                                                  j3245BELLBLV0                                                    i!BAYSIDE,NV11361-1060                        !        1,928.92'.           290.61!        290.61[              -!               34.00
81~576059        !~!,IBGROUPLABSU.C                                                                           [POBOX639197                                                     !cNCNNATICH45263-9197                                  3,068.BS[            997.04!        290.SO!       l,92L69]                33.s!J

XX-XXXXXXX       !PATHOLOGYGROUPOFLOUISIANA                                                                   !POBOX84030                                                      !BATONROUGE,lA70884-4030                                 S74.00!            310.14l        290.14i          20.001               33.94

XX-XXXXXXX       INORMANRIEGELMD                                                                              l14916SDTHST                                                     IHowAROBEACH,NY11414                                   2.515_00;           1,S4o.ool       290,ool       1,s61.1Sl               33..93

1!"~29241        !oeBROVNER otARLES HMD                                                                       1
                                                                                                                  338 EAST 30TH STREET                                         INEW YORK, NY 10016-8318                                                                             1•____-+[_ _ _ ___,,33:::.!l:::3'-I
                                                                                                                                                                                                                                        290.=cao,,i_ _ __,200=·=00,f____,2"'90"'.oo"-·1-
XX-XXXXXXX       IPHvs1aANSEXPRESSLLC                                                                         l2ooowMAINSTsuITEM                                               lSTCHARLES,IL60174-l773                                  348.oo:             348.oo!      290.ool         ss.ool          33.93

XX-XXXXXXX       luNCOLNWAY MEDICAL ASSOCIATES PC                                                             bso eMAPLE ST                                                    !NEW LENOX. IL60451                                      340.oo;            340.00}        290.ool          so.oo!               33..93

XX-XXXXXXX       lsuMMIT EMERGENCY HOtolNGS uc                                                                :18101 PRESTON RD sre 201                                        loAl.LAS, TX 75252-5473                                  364.oo;            3so.oo/        zso.ooi          74.oo!               33..93

                                                                                                                                                                                                                                                00
::::: J:;:::::~=L::c:NEW                                                              ------,::~~-a~~ST~:;:~::::~rrrno __                                         lsretao      ::;:::.:::--                  --------- ·L:.-.NN-..-...-.:-:-:   -ao"'":----:-::-:-:--~::~::-;:---,-00-.00--;-!----~::=~=:-1
is*::.1::BB:::1::13::;7c.._-f!•:.::•:::coM=EO:::ICA=C:::ENTRA=.:::L.:.:PHYSl==a_ _ _ _ ._ _ _ _ _ _ _ _ _ _ _ti'-=o-=•=o•c..•=•=aa='"~-   _ _ _ _ _ _ _ _ _l ....N
                                                                                                                                                                 .. -•-M•-·--$'~oNNATI, OH45263-BB19                         ; __    _,•='c..'·=aoc..'_ _ _.__:2=89=.B='~!--=,..
                                                                                                                                                                                                                                                                              =.83"<l_____             __=:33=":.:'-1
                                                                                                                                                                                                                                                                                               -i-!_ _ _ _
XX-XXXXXXX       luNIVERSITYPHYSICANS                                                                         '.16606CCLLEcnoNSc~~oR                                           ICH1CAGO,IL60693-999s                      ...i         tM0.oo,             399.39i        289.601          19.sg!               33.BS


                                                                                                                                                                 EXHIBIT2

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                                                                                                                 AEU INTERIM DISTRIBUTION




39--1986621   !REGIONAL GENERAL & VASCULAR                                  1888 THACKERAYTRL                                  lsurre 103               locoNOMowoc, wi 53066                 !        1.100.ooi          1.100.~        289.0S'.       810.92!               33.B2
3H1DS970      lmoeoTERT HOSPITAL                                            i92oow WISCONSIN AVE                                                        IMILWAUKEE. w1 53226-3522             I        :z.421.so:                                      1,544.931              33.77
XX-XXXXXXX    iHEALTHONE CAREN OW URGENT CARE    UC                        IPO BOX 743893          I       !ATLANTA. GA 30374--3893                                                                     463.00;            348.56(       288.561          60.ool              33.76
XX-XXXXXXX    !vAu..EY PEDIATRIC ASSOOATES PA                              b01 E FRANKLIN TURNPIKE
                                                                        --;:=======-----------!     _____,_1H0H0Kus, NJ074Z3                                                                  i.                                             21.21!             33.74
                                                                                                                                                                                                        63S.oo~:---~340=.65cc;!__,_~2S8.=='"'!-;---'='-i-------=""-J
XX-XXXXXXX    ICOLLEEN ANN EDWARDS MD                                     1111 EAST81lSTREET
                                                                        -+====~-----------!-~
                                                                                                                               i         \NEWYORK,NY10128                         ·       710.DO\            333.07/          288.07!           45.oo;
                                                                                                                                    ---;i~CHA~RLO=TIE.=Nc.:Ccc2B=260-~33-,-.-----j·----~360=.oo=;-i------'3=60=.oo+\---=2BB=_"'oo'-f!---==+-------=""'-J
                                                                                                                                                                                                                                                            33.70
XX-XXXXXXX    !PATHOLOGISTS DIAGNOSTIC LABORATORY                           !PO BOX 603374                                                                                                                                                      12.ool      33.69
                                                                                                                                         1
XX-XXXXXXX    !RELIABLE MEDICALSUPPLY OF THE MIDWEST                        !23405 Rl~.!1_5!?. =
                                                                                               SUITE
                                                                                                   = 400= - - - - - - - - - + I_ _ _ _-.·o:.:es=-•c.:LA:.;;l~§IL60018--5909
                                                                                                                                         1                                                                                                      12.ool
                                                                                                                                                                            ____ J_ .. ___600_._oo_:_ _ _ _3_60_.oo....,.!_ _~2B:.:s.~oo-i!,__ _= =,.------"= -1
                                                                                                                                                                                                                                                            33.69
XX-XXXXXXX ..•.. !HEALTHARST OHROPRACTIC PC                                 !ts04N ARLINGTON HEIGHTS RO                 . . . _ . _ . . ,..,1_ _ _
                                                                                                                                                                                                                                                        a.oo]
                                                                                                                                                     __,jARUNGTo~ HTS, 1_,_600_04__,_ _ _ _......... _ ___,3=36=.oo=i_ _ ___,2=ss=.oo=,-l--=288.00=c.+i---=:=.;..------===-i
                                                                                                                                                                                                                                                                        33.69
46-60000&9    IOTY OF BROOKINGS                                             40022NDAVE                                                                 ;BROOKINGS, SO 57006                   1         288.00!            288.~         288.00j                              33.69
XX-XXXXXXX
              1
               ROCICINGHAM RADIOLOGISTS LTD                                 ,2010 HEALTH CAMPUS DR                             t                       !HARRISONBURG. VA 22801-8679           !         288.00;            288.00!       2sa.ool              .!              33.69
XX-XXXXXXX    !USA D Mil.I.ER MO                                            4152 BAKER ST NE                                                           ICOVJNGTON, GA 3oolA-1404              I         426.oo:            426.oo!       288.00/         18.DO/               33.G9
XX-XXXXXXX    !ELENA LJONES MD                                              I 108 EAST 86 STREET                              I                        !NEWYORK,NY10028                       !         497.00i            347.90!       287.90l         60.ool               33.68
XX-XXXXXXX    !COLQUITT PATHOLOGY PC                                        j304 C SUNSET CR                                  I                        1MouLTRIE,GA3176B                                972.ooi            287.s6!       2a,.86l              -i              33.68
                                                                            I
XX-XXXXXXX    iPHOEBE PH'tSIOAN GROUP INC                                   JPO BOX 13493                                     !                        lseLFASr.ME049t5                                t.831.00!          t.635.78!      287.781       1,405.971              33.67
XX-XXXXXXX    DERMATOLOGY ASSOCIATES OF CENTRAL                             3548 ROUTE 9 SUITE 2                                                       loLD BRIDGE, NJ oass1-21ss                       &so.oo:            422.43!       287.431        188.221               33.63
XX-XXXXXXX    !JENNIFER
               = = =M   =RIDGE
                          = ~MD- - - - - - - - - - - - - - - - = - - , ~ = - - - - - - - - -!210
                                                                                             --- N+
                                                                                                  BREIEL
                                                                                                    - - BLVD
                                                                                                         ------;'MIDDLETOWN,OH45042·3808                                                                760.00!            400.63\       286.74!        113.89!               33.SS
~2690415      !SUTTER EAST BAY MEDICAL F01:!ND                            PO BOX. 255789
                                                       ---------r===~------------+'-----,lrcSA=CRA=M'NTD~,CA=9S:.:•=ssc.:-•~'.=-----i---""'12=.oo=..i
                                                                                                                               .                                                                16s.ool
                                                                                                                                                                 . .c,.;_ _..:2=•6=.66=;+-i'_ _--==:;....--
                                                                                                                                                     _ _ _ _2=•=•·=                                                                                                           33.54
XX-XXXXXXX    WOMENSHEALTHCAREASSOCATES                                     1245 16TH STREET STE 4300+01292                   !                        !SANTA M;-;~ CA 90404-1239             !         326.oo:            326.ool       2s6.00l         40.ool               33.46
XX-XXXXXXX    PROMPT PODIATRY LlC                                           70 HUDSON ST LOWER LEVEL                                                   JHOBOKEN, NJ 0703D--4659               j        1,615.00i           61SAS!        285.841        329.61!               33.44
62-088l.S11   PEDIATRIC EAST INC                                            .8110WALNUTRUNRD                                                           :CORDOVA. TN38018-6362                 1         321.ool            2SS.s1!       2s5.sil
                                                                                                                                                                                                                                                               '              33.44
62·1508884    GALEN MEDICAL GROUP                                           !PO BOX 1030                                      I                        !CHATTANOOGA. TN, 37401                I         31s.oof            300.a3!       2ss.83!         is.oo!               33.44
XX-XXXXXXX    GUILFORD PEDIATRICS INC                                       i152 BROAD STREET                                 I                        !GUILFORD, CTD6437-2603                          328.01!            285.67!       285.67!              -1              33A2
34--1790929   SUMMA PHYSICIANS INC                                          iPO BOX 638874                                                             !aNCNNATl,OH45263-8B74                 i        1.ss2.00!           490.48)       285.48,        900.14!               33.40
XX-XXXXXXX    IFRtEOMANlAFFEMDPA                                            j401ASVAN BRUNTSTSUITE4                                                    IENGLEWOOD NJ 07631-4600               !         s10.ool            2ss.ooi       2as.ooi              .!              33.34
                                                                                                                                                                                                                                                               I
SS.1330744    ]ATHENS NEUROLOGICAL ASSOCIATES PC                            hos61/2 BAXrER sr                                 l                        IATHENS,GA30606                        I         89S.00
                                                                                                                                                                                                                 1
                                                                                                                                                                                                                           895.001       284.80
                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                        610.20i               33.32
XX-XXXXXXX    !FUNCTIONAL = =SOLUTIONS
               = = = =REHAB   = = = 'LLC                     8313
                                       --------------F===cc,,= ~- NW
                                                                   - STHTERRACE
                                                                     --------+!-----,:F'"OCA=~~•.FL33487                                                                                      I         2ss.oo:            284.ss!       284.ssl              -1              33.29
XX-XXXXXXX    IAU.ERGY & ENT ASSOCIATl:S                                    ,450 GEARS RD SUIITE 4208                         I.                       !HOUSTON, nc 77067                     I         776.oo:            363.27!       284.44!         78.83!               33.28
13--3397465   .~~~AMTN ZAREMSKI MD                                        ls 10 EAST BOTH STREET                    7NEWYORK.NY10075--95198    I    1,350.00(       683.401         284.391    399.01!        33.27
38--1859393   lANGSTON WALKER & ASSOCIATES PC                             15700 SOUTHWYCK BLVD
                                                           -------i=======-----------;------1'iTOLE==DOcc•ccoccHcc•=35"'14-'-15=09~-----i---=39=S=.ooc.;1!                                      11.1ol        33.27
                                                                                                                                                             _ _ _ _3::,SS.S=O+i_ _..:2,:.B4:;-40=!---~->-----~=-1
145-3041493   !ASTOR MEDICAL GROUP LlP                                      147 WEST Z5fH                                      \ianHL                   NEWYORIC,NY10001                                34s.oo!            284.16!       284.161                              33.24
0&1581003     isERAAMA M GWUZGAL                                            38 B GROVE ST UNIT l·B                                                     !R10GFFlflD, CT 06877-4665
                                                                                                                                                       1
                                                                                                                                                                                                        284.oo!            284.00j       284.001              .i              33.23
77-0S82101    OBA CONEJO MRI THOUSAND OAKS                                  '219DLYNN RDSUITE220                                                        THOUSANDOAKS,CA9l360                  !        1,191.ooi          1,191.00;      234.ool        901.00!               33.23
06--1083895   ,NEW ENGlAND PEDIATRICS llP                                   183 CHERRY ST                                                              !NEwCANAAN.cr,06840                              39&.00!            333.9s~       m.ss'           so.ool               3322
XX-XXXXXXX    !oocrORS CENTER AT REDROCK                                    8413 W LAKE MEAD BLVD                                                      !LAS VEGAS. NV 89128                             836.0o!            3ts.641       283.sil         31.831               33.20
62·1483206    '\HERITAGE MEDICALASSOOATES PC                                222 22ND AVE N                                lsrE 100 !NASHVIIJ.E, TN 37203                                                797.50
                                                                                                                                                                                                               1
                                                                                                                                                                                                                           363.32:       283.32!         80.00(               33.15
XX-XXXXXXX    j~~MONO EMERGENCY MED ASSOC                                   i~. CENTURY DR                        ·----~l__,___ ,kARSIPP~Y. NJ 07054-4610                                              1,115.00!_ _ _ _2=83=-~l,8;.. __ .M_.. _283.181... _ _ _ _-;------==-i
                                                                                                                                                                                                                                                                          33.13
XX-XXXXXXX    VISHNU D GA!HA MD                                           isoo=
                                                                       ---F   AUSTIN
                                                                                 =ST =SUITE
                                                                                        =602W
                                                                                            ==~--------+-----                                                                                                                                                  -i
                                                                                                                                                      -<=1,.."'ANST=c.:Oc,N,,_,IL'-'60=2=Dc:.2_ _ _ _ _ _-+---"'·"60"'.00:.:,..'_ _ ___,2=83=.13=l;----=283=-=13'+'-----+------"'=-l
                                                                                                                                                                                                                                                                              33.U
42•1089512    lMCFAR1AN0a1N1cPc                                             \~-~.~x~3014
                                                                                    ·--------------+-----;-lAM~ES,._IA,50010                                                                            939.90.            356.15\                      515.901
                                                                                                                                                                                                                                         283.03,_!- - ~ =   ~ - - - - = =33.11
                                                                                                                                                                                                                                                                          -<
27--3969969   lsoUTH CENTRAL EMERGENCY SERVICES PC                          Jpo BOX 637113                                    !                        !aNONNATl,OH45263-7113                           331.00'            297.90j       282.96\         14.94!               33.10


                                                                                                                            EXHIBIT2

                                                                                                                                   llB
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                                                                                                                                                AEU INTERIM DISTRIBUTION




XX-XXXXXXX     (suZANNEGREIDER                                                                /sooAUSTINSTREETSUITE311WESTTOWER                                                  /EVANSTON.IL50202                             681.00!              367.69:        282.69/             ss.oo!              33.07

l&-21s5992     !HARVEYANESTHES10LOGlSTSSC                                                     !PDsox1123                                                                         iJACKSON,Ml49204-1123                         9so.oo;              9s0.ool        282.66!            ,s1.34 \             .33.01
22·3180981     \MEDICAl.ASSOCIA.lESOFWESTFIELD                                                !324ESOUTiiAVE                                                                     iwESTRElD,NJ07090                             45S.QOi              307Al1         282.41!             25.ooi              33.04

 XX-XXXXXXX    !cuRTISUNIVERSALAMBUlANCE                                                      IPoeox2007                                                              I          !MILWAUKEE. W153201-2001                     2.630.,oi           2,630.10!        282.29!          ~41J                   33.03
 s1-oss3957    !~AMILYPRACTICEOFGNH          ____________                                     lssoNORTHMlANSTREETEXTI:NSION                                           leu1UNG2   !wAWNGFORD,cr0&492______                      ,so.oo!              2S2.14i        2s2.14\            340.001              33.01

 26-1G6S42S    1PAMElA ?illORRISON. ~HYSICAL THERAP                                           !140 WEST END AVE STE 11( -·······                                 ..   !          r~;;~ORK, NY 10023                            525.00;              470.00!        282.00!__   . ·-·-• lB~tool             32.99

 XX-XXXXXXX    i.~GINA LOUISE EDMOND MD                                    !Po eox u01s                                 ··!               leELFAST, ME 04915-4011                                  300.ool         2s1.sgf        2BL89:                                                                   32.98

2.3-nos1os     lLAMPREYHEALTH CARE 1 N c ' - - - - - - _ _ _ _ _ _ _ _ _ _412:::os=so,,unt=MA='"-"""sr"""=ET'-------------<~-- -----l"!N::cEWM=AR=KET=·•=.H:..:03:css=-,-=,..:..:•=-----i----'28"'1".oo""-i_ _ ___,,.,,,1:~.,..i__,.=,.oo==;.                                               .',_,-----"=,.c....i'
;;~~;-~--~---1~-~~ITYHEALTH~-~~                                                               i140CAMPUSDRM                                                                      !colllGEPARK.MD20742-0001                     616.00'              456.ooi        2SLOOl            175.ool               32.87
◄6-4151225     ICAHNSOtODLOFMEDICINEATMOUNT                                                   lpoeox299os                                                                        ,NEWYORK,NY10087                              487.ooi              340.so!        2so.90!             60.ool              32.86

36--2915368     NORrnWESTPUl.MONARY ASSOC                                                     IJ441wTALCOTI AVE 51.JITE 542                                                      lo11CAGO, ILG0631                             390.00;              3s1.ooi        2ao.aoi             10201               32.ss

XX-XXXXXXX     ~GASGAS LLC                                                                    !lA BURTON KILLS BLVD                                                              NASHVU.LE, TN 37215-6187                     1,DSO.OO!           1.050.00l        280.621            769.38!              32.83

 XX-XXXXXXX    f~wRUCKERMD                                                                    l1999MARcusAvEm216                                                                 LAKESUCCESS,NY11042                           475.oo!              303.15J        2so.s3J             22.62!              32.82
XX-XXXXXXX     MEOSURG'EYECAAEJNC                                                             !22MAL.LARDCOURT                                                                   lseaLEY,WV2SBOl                               sis.ao)              360.So!        2so.soi             so.ooi              32.82

20-0161=•79c=--F)ur=PH::.;YS='=C1:..:AN~•=SP:..:Eo.:OA:::,<:,1Y-"'SE=IIVICES==---------------+~P=o=•o=x:..:30='~448~------------+-----+IOA=UAS.=·-~~'•~•~.,.._~'~~-------+----=280=·=oo,.,1_ _ _~2=so.so.__ ~~j---'2"'so"'.oo=+-!-----+-!-----='=2·::.;'•=-i
                                                                                                                                                                ...
22-3n4701 __ . 1;WESTPARKCHIROP_~~-~--~-~-R:..:LL:::C:__ _ _ _ _ _ _ _ _ _ _+i7,c80ccW::.;EST=.cPccAccRK"A"V=E-----------FSTE=1,___ _-+o=AKH=U=RST=•:..:NJ:..:o-"n=SS-~103=S'-------+----=3SO=.ool 3 00               zao.oo;      10.001             32.76
26-0837S76     ;EASTOVER PSY0-10L0G1CAL               _ _ _ _ _ _ _ _ _ _ __,i20123 TORRENCE DIAPEN RDSUITE 203                                                                  !CORNELIUS, NC 28031-6399               --•-•_o._oo_,_;_ _ _ _,_,o._oo_,_!--~2so=.oo"<l_ _~2~••~·oo=l----~•2~·'~•-.1
~~1856390      iCARDIDLDGYSPECAUSTSOFACADIANAuc                                               lPOeoxs139B                                                                        lwAv~lA70S9B-1398                             1,02s.00l       zso.ool            2so.ool                        32.1s
XX-XXXXXXX     JOHN KELLY Mo                                                                  1BZ0 E SUMMrr AVE                                                                  ocoNOMowoc. w153066-3973                      1,668.00)       495.ool            2so.ool   1,10:t.41[           32.76

 XX-XXXXXXX    HOLYNAMEMEDJCALASSOCIATESPC                                                    lpoeox42966                                                                        PHIJADELPHJA.PAt9101                          s&0.ool              2ao..001       2so.oo!                  -1             32.76

XX-XXXXXXX     MEDICAL UNIVERSITY OF SOUTH CAROLINA                                           1PO BOX7S1461                                                                      CHARLOlTE, NC2827S-1461                     2,762.ooi            2.102.sof        2so.oo!          Z.122.80/              32.76

SS-2333747     NORlli FULlON OB-GYN PC                                                        i340o OLD MILTON PKWYsurre. csas                                                   ·ALPHARETTA. GA .30005-4434                   280.ooi              2so.ool        2so.ooi                  -1             32.76

n-os2T111      lnrreEYECAREMED!CALGROUP                                                       J910esroweuRo                                                                      SANTAMARIA,CA934s+-1001                       34D.oo\              340:.oo!       zso.oo!             60.oo!              32.76
26--1825323    !&eATTING YOU UC                                                               !1 WD.llAM CARLS DRIVE                                                             !COMMERCE TOWNSHIP, Ml 48382-2201             530.00 1             31D.QS:        279.841             30.211              32.74

:4&-2439971    ;ADVANCEUROLOGYINSTITUTE _ _ _ _ _ _ _ _ _ _ _ _ _ __,l.,121,eO!l=CO"U"'N"lY-"'ROA=,:.D_,,103:::__ _ _ _ _ _ _ __,l!------FO"'XFO=•o,,_F,_,L,s34484-=,_,29=51,___ _ _ _ _+-----'1."'44"'2.00=·+''_ _ ___::4,::52.::,nc.c't-·_ _..,21:.e•·e.:'•:.;-!----''"''•,,.B,,_1!f-----~•"'2"'.,"-l3
XX-XXXXXXX ,_JARUNGTONPEDIATRICS                                                              !312BEL1EVILLETPKE:                                                     fSTE3C     NORTHARI.JNGTONNJ0703l;i460                   370.00:              279.sol        279.501                  _I             32.70

i,5::,S-O::,s,.,,.,,ss,,,,,_s_,i,,u,e,ll:::M:::Ac,:l'Ec,H::,EAc,lc,:rtlc:.,Se,E"'RVl:::CcS=INe:C"'----------------+1"'s1,,.,o"'u"'s"'R"'OUTE=.:60:__ _ _ _ _ _ _ _ _ _+----F•H:=Uc.cNTI""N~GT~ON.=.'f.'V.~~·25=705~-----i--~Ucc23=.00=;;_ _ _ _:,.o::.;,_="c;-i_ __,2"'79"'.38=/_ _ _32_7~.7~3~1_ _ _ _ _32_.58_,
                                                                                                                                                 _ _ _ _ _ _ _--r____t-!GO_LD_EN_V_lULEY_~•-M_N_554<_7_ _ _ _ _;-----"'~•~·oo--;-;_ _ _ _3_35_.oo_;,-_ _z~79.:·=ool _ _ _s~•"'JJO=i_ _ _ _ _3~2.~54--,
1-•='--='""'15"'70=•---,-"PAcc.:rHW=•~YS=PSYC=H:=O=LD:..:G"'ICA"L"'SE"'R"'Vl~CES=P~A_ _ _ _ _ _ _ _ _ _ _-+i1~s~,s~G~Dl~D~•~•-vAUeY~~•o~su_rr_E2_30
XX-XXXXXXX     otESAPfAKEMEDICALGROUP_ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,ll'-1,o~eo=x_,12"'005~-------------;------flBf~Lf~AST=·~M~E_04~•-1S-40
                                                                                                                                        __  11_ _ _ _ _-+___1~.o,=5·~00~:_ _ _                                                                   ~•~'e.~•~•+-i--='78=.38=;!_ ____,1~00"'.ooc.=.t-l_ _ _ _~32.5='-1
XX-XXXXXXX     1J & l MEDICAL SERVICES LLC                                                    h99 PARK ROAD EXT STE A                                                            MIDDLEBURY, CT 06762-1833                   2,889.46]            1,341.341        278.161          1.063.18!              32.54

XX-XXXXXXX     1GREATEROilCAGOSPECIALTYPHYS                                                   laowHIUCRESTBLVD                                                        srezos     iSCHAUMBURGIL6019S--31U             l         360.ooi              33s.oo!        21s.ool             60.00!              32.52

                                                                                                                                                                      !                                                      3An.ooi
3~3985656

O~U13306

22-359975S
               CENTERFORPED1ATR1c

               !FAIRRELDCDUHlYPATiiOLOGYLLC

               !MER101AN<ABORATORYPKl'SCIANSPA
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                                                                                              lPOBOXS046

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                                                                                                                                                                                                                                                                                     137_,o;
                                                                                                                                                                                                                                                                                                           32.48

                                                                                                                                                                                                                                                                                                           32.47

                                                                                                                                                                                                                                                                                                           32.45
XX-XXXXXXX     SANDRAGPROCHAZKALMSW                                                           bo3sHOGBACKSTE210                                                       !          !ANNARBOR.Ml4Sl05-97SO              i         67s.oo:              377.22;        211.221           100.ooi               32.43

~-~~-~~---···IFOXVALLEYlAsoRA-rp_~.!.~~~~£.. _ _ _ _ _ _ _ _ _ _ _ _i!!-,,o"-eo=x'-"s=13=3-------------•L.                                                                       lo11CAG011:_"'505c=cso.=s=13~•-------I--·   -~:='-cc.'"=;i____,"'2~•.44=;_ __,2"'n"".1"4;...j_ ___::4"'7.30=!_ _ _ ___:•='·•=2'-1
XX-XXXXXXX     ICHARLESSHll?=lO"-FS=-clCY=OO=-----·------                                     '17140PRESTON ROADSUrTE 3~•-·•--·· --·-·-                                          !PLANO. 1X 75024                              349.00!              277.00'.- ·-----· 277.00~.;-;_ _ _ ___,.1_ _ _ _~•~2·~··"-I
 46-1m63S      IGWINN~~NSULTANTSINCARDIO                                                      ,POBOX116939                                -· -- .. ,_.. _,_.,_                   [ATLANTAGA30368-6939                          S6s.001              47S.0li        211.00:            198.Dli              32.41
XX-XXXXXXX     :;;;·;~;~MEDICA.LGRouPuc                                                       l1300POSTRosurre202                                                                !FAIRFIELD,cr06430                            s10.ooi              216.&1!        216.s11            200.oo~              32.38


                                                                                                                                                                 fXHIBIT2

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                                                 Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 143 of 266 PageID #:11239




                                                                                                                                                            AEU INTERIM D151RIBUTION




                                                                                                                                                                                                                                                                                                                                                                 32.32
XX-XXXXXXX     j~DICALSURGICAL PC                                                                      !2955 VET'ERANS RD W                                                                      !STATEN !SIANO, NY 10309-2515                                      1,095.641               276.16,                                                             32.31

XX-XXXXXXX     \PARKSIDE OBSTfTRICSGYN ..--                                                            :,-~!?.~   DEMPSTER ST STE 465                                                            JpAfUC RIOGE. IL 600613--1129                                         425.00!               276.00:           276.ooj                                           32.29

1'16-=173=5484=-_,!:..:PHY.:,Sl:cCAL=sa=,,,•ru=""'":e:SITTUT=::':.::'""c'------------- --~.PO=BO,::Xc,19:e,2,..-________                                                                         IOARENDON HILLS. IL60514-0l92                                         690.00·              275.40;            275.401                    .I                     3222
XX-XXXXXXX .... (~t!'."A LOGVINENKO                                                                    (14-2S PIAZA ROAD 531                                                                     \FAIR LAWN, N.I 07410-3403                                            300.00;              300.00;            2,s.ool               25.ooi                      32.17
XX-XXXXXXX      EUZABETHJBEAUlYMANMO                                                                   ·1315WESTS7THSTREETSUITE3                                                                 jNEWYORK NY10019-3158                                                 275.00:               275.00'           275.ooi                                           32.17
                                                                                                                                                                                                  1
20-4~64004__ ·---!SUNRISE INSTITUTE FOR PAIN MANAGEMENT                                                fp0
                                                                                                       • BOX 15011                                                                             .....~E"'
                                                                                                                                                                                                      U-,AST. M•E 049'"   •045
                                                                                                                                                                                                                     .....-.                                           325.00'              325.00;            275.00j<              so.ooi                     32.17
                                                                                                                                                                                                  1
2()-498S811    1WESTERNMANHA.TIAN.WOMENSKEALTHAN                                                       l21MUi\RAYS1'Fl3
                                                                                                       1
                                                                                                                                                                        ······-r-··-             lNEWYORK,NY.10007                                                     575.00/               27s.ooi           275.oo)                    -1                     32.17
XX-XXXXXXX     !STARK COUNTY WOMENS CUNJC                                                              4347 PORTAGE ST. NW STE. 102                                                              lNORTtl CANTON. OH 44720                                              275.00\               275.DO!           275.ooJ                       I                  32.17

F'~'·~1SB=o"~'~-1i~MAX~•MEYES~~o.".f'"'CA=L1:,,N,:.c_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-+i2,.,oo,,_wm==2•:::.™:::.ST=••""Er'----------+-----l"N"'EW"-"YOR=K,:.::Ne.Y:,,1000,1,_,1'-------+--~2c!,1s.~oo~:_ _ _....;;2!.i1s~.oo~!i---''!<,s=:.oo~-----"-l>------'3!!u=1!.-I
XX-XXXXXXX      AusnN oBGvN ASSOOATES                                                                  Ji911 MEDICAL ARTS ST ste 3                                                               AUSTIN, lX 78705-3302                                                 21s.oo                21s.ool           21s.oo,                    -l                     32.11

45-41522::zs   iFRANKUN FAMILY PRACTICE INC                                                            lsoo e couRT AVE STE 3DS                                                                  laes MOINES, IA 50309-zos1                                            21s.oo!              21s.ool            21S.ooi                    -1                    32.17

 6-0979801     lwALLSTREETPH'i'SIOANPUC                                                                l111BRDADWAY                                                          SUrrE!!02          {NEWYORK.NY10006                                                      ns.oo\                21s.oo!            21s.oo!          -l      32.17

p"1:,:-4:o57"-0~7:,,:54,_...!SA=NTIAG=e,:O:.,Ae,NG,eEl"-'=CAN=OO~CA=MeeDe_______________-l'IPO=e"'ox,_1,,1"'s1,,,a_ _ _ _ _ _ _ _ _ _ _ _                                  +-____i,,,s,,,us,:,:AST,,,,_,,,,M,cED4=•15-407==o------i---~2c!,75:,.oo~·....~ _ _ ___;;21!,s~.ooL._                                275.ooi-i  ----·+l____-=32:a·:0'1-1
SS-0708334     )PS1MED 1Nc                                                                             fPO eox 9569                                                                              !soUTH CHARLESTON, wv 25309                                           300.ool              300.00;            275.00!              25.ool                      32.11
81-361.1139    !ANOREWSCOTTGARDNERMD                                                                   bs4SEAST37THSTREET311                                                                     NEWYORK,NY10016                                                       320.00;              300.00!            275.00l              45.00;                      32.17
                                                                                                                                                                                                                                                                                 1
s&-2G62S02     iwESl"OIESTER MEDICAL PRACTICE PC                                                        PO eox 16447                                                                             BELFAST, ME 04!JlS-4059                                            t,739.00                299.&s/            274.65)             s1s.sol                      32.13

35-403::zggg    ISAACIBOMASMD                                                                          3915WOGLESBYAVE.                                                                          jGURNEE,IL60031-3370                                               1,040.001               741.61\            274.09(             467.521                      32D7

22-311s1s3     1JOSEPH   e SEEMAN cc                                                                   /s1S NEW BRUNSWICK Ave                                                                    FORDS. NJ OB863-,2t3t                                                 860.0o!              33s.ool            274.oo;              64.00J                      32.06

XX-XXXXXXX     isroNERtDGEMEDICALGROUPSC                                                               30646THAVGNUE                                                                             IEASTMOUNE.1t6t24M2Bt                                                 410.00!              373.as(            273.ssJ             100.ool                      32.04

UNKNOWN         CML-atlCAGOMARKETLABSINC                                                               1590PAYSPHERECIR                                                                          1CMICAGO,tL.60674                                                  1,166.72\               3918.7S!           213.7S              125.00\                      32.03
XX-XXXXXXX     iARSfCAREMECJCALPC                                                                      IV-2ROUTE299                                                                               HIGHLAND,NY12528-2524                                                584.00:              482.33!            273.69                                           32.02

XX-XXXXXXX     !JOSEPHBURCH                                                                            iPOBOX3253                                                                                !JNCIANAPOUSIN46206-3253                                              467.00:              373.&0i            213.60!             100.00                       32.01

31-141.0856.. _ \TIU-srATEPUt.MONARY

.XX-XXXXXXX .....]~RSONVALLEYMEDlCAl.CENTERRURAL
39-1796267_.. .J~MIDWESTENTE=
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                                                                                                                                                                                                                                                                                                                                                                     ::.1~

.~!~-~.~~.wSUFFOLK ORTHOPAEDIC ASS~.~ _ _ _ _ _ _ _ _ _ _ _ _ _ _,.1375 E MAIN ST                                                                                            STE 1               BAY SHORE, NY11706-8418                                               SS0.00!              3;J.:.~~~--~272.=6Sc.;i_ _ _ ~45=.00c.c.i-----~•1=.90-
22•3680826     !NEW JERSEY PA1NcoNsutTANTS Pc                                                      · ·-l~PO-o soxx·::~,.-···- ________                                    . . .J-----'l:::•=EWc:.:AR=•"'=01,.,10=1'-'-D4=30'-----~-+-----"2,"'604=.00::.ic.....__ --""='·~••+·---=2'-'12"".GO"''!-I__2,25='-',"="'+------=31Jl9='-!
76-<>528576    !nMBER1ANDMEDICALGROUP                                                                        80     ~                                                                            \BOSl'ON,MAOl.284-8414                                             1,008.001               297.62!            272.62\                                          31.89
XX-XXXXXXX     !VAu.EYMEDANOCARDCLNLTD                                                                 829850LUTIOHSCENTER                                                                        OUCAGO,IL60677-aoo2                                                  4,g.00;              272.47)            272.471                                          31.88

;~p~4'-~)ALL=ISlA=•~o~G~ASTR=O~ENTE=~•~ow=GY~&~uv=•~•------------i=l1~A~•u=N:::GTO=•~A~~=•="~'•=UTE=1,__ _______.;......___--i(=MAL=VERN='~•.:,"Y'-'1=~=6S-=12S.2=-----t--....=,1,900=~·00~:____c~=•.84=;_ _~2~12.=~"-l---.......!-""'''1-----~3~1B~G~
1,..1710504 'CAAioAUSTtNMO                                                     boowESTAGEBUScmsre2a1                           jFIS!itoU.NYus20-22••                                 soo.oo!      342.osj    2,2_32:        ...,,                 3uo
3&3843619      Im PHYSICIANS & SURGEONS                                                                i2S45 N SHERIAN RD STE 102                                                                 0i1CAG0, IL 60657                                                    44t.oo!              .362.35:           212..35                                          31.86
03--0482395    :oRTHOATLANTA                                                                               PO BOX 8327                                                                           isELFAST. ME 04915-8300                                               636.00)              636.00~            212.00\             364.ooi                       31.82

XX-XXXXXXX ·-· JwoMENS    CENTER FOR HEALTH LP                             -------'1"'=="HO::,BSO=N,_,RD=·STE='='•::-------··-·-·-··--·;...                                                      '1~AP£RVILLE. IL60540                                      ·-·-·   ·-,2.7~-~1,'_           .2n.oo:...... -~27c,2.:::00=,'-'-----+-!____--=c31.8=2➔
~9-1191205 ·····}ASPE1'_400:THOPEDIC:.S&REHA8                                                          ,19475WNORTllAVE201                                                                        BROOKAELD,W!S3045                                                       LJ.N              3.3L83i            271.83j               60.00                      31.80
42•1!07837 ....... (HENNEPINCOUNTY=M:::E,:cDl:::CA:.::Lc=CE=N'-'TE"'R'---------------i'\f_C?.BOX860046                                                                       l                   {MINNEAPOUSMHSS486                                                  2,075.30\               27L35;            271.35!           1,D01.7Si                       3L75
46-57S4759         luRoUJGECAL PROFESSIONALS                                               1190 CHURotST                                                                     lsre430             IMARIETTA. GA ~;··-•-•H----+--=,,"."'.oo"':----"',n~.=°"c..'---','"==+-!--==_::;.i-----=3=,.,"'1'-l
                                                                                                                                                                           E){HIBIT2

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                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 144 of 266 PageID #:11240




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!6-0=67'-'8=2•"''-.;clM"'l"'KE~N"'A"-NY,.,CN=G.cYllec.AN=M=D.,_Pc,HD'-----------------f'l2c.7=8E"'RE"'N""GE"'R'-'PIA=CE=-------------+-----;'=csuc,GAccRcclAN=Oc,•-""''-'77"-4"'79--'-"'55=57,__ _ _- '_ _ _.:,_27c,5: : ·DD,:;'_ _ _ _"'27c,:0.c,95e,1_ _..,2,.:;70::,.95,:c;.• - - - - + - - -                 3L70
XX-XXXXXXX      !DING   s. LAM. M.O.                                                                ;soo N GARFIELD AVE                                    !sre 101              !MONTEREY PARK. CA91754-1167                         355.00;           270.26:       270.261               -!                   31.62
0&-11s2us       !CONNECTICUT MEDICAL ASSOCATES PC                                                   it82S BARNUM AVENUE STE 203                                                  STRATFORD. er 06614-5333                             410.00'           m.1st         z10.ool           s3.751                   3LS9
o&-1462226..JoouGLASJAMES ic:oOf oc                                                    ----Fl1=1oo="'"'"=GS t1,1GHWAY EAST                                                       !FAIRFIELD, cro6825--5400                            ns.ooi            11s.oo;       210.ool         445.00/                    3LS9
F2,,_o-=2S:=23cc06cc3c.....-f1Ac:PP-"A1A=°'=IA"'N.=SP,_,R::clN:=Gc.:DE=RMA="-'TOl.=OGY"'--------------!i·u12 COUNTRY CLUB RD                                                     !FAIRMONT, WV26554-1216 ______                                                                    90.ooi
                                                                                                                                                                                                                  ----+---'3"'60".oo=,-I----=3,,so,,,,.00.j__ ._ ~2~70~.oo-'.;lf----~                            31.59
XX-XXXXXXX      leve CARE CENTER OF LAXE COUNTY LTD                                                 1;~0 s   GREENl.EAf STREET, SUITE 209                                        lGURNEE. IL 60031-5708                            330,00 !         330.ool        210.ooi          60:;;;;1                     31.59

F'=~=,1=~-"~='"---+IP~A"-~=UO:=Nc.P~E=D=IA~='~=AT~G~•=··"'·-=·~='N=G---~~~~~~~~~~~~~~~~~~;P0~~80:x:822::~:7:~~~~:~~~~~~~~~~~~~~~~~~=-:_-:_-:_-:_-:_-:_-:_-:_:1-.~--,=IAD-=-=•lPHlA.==PA~~='~=--=2~='-----l---~2"-10"~~0~!_ _ _-=2~7D.=O=O~i_ _=no.oo                                                             3LS9
XX-XXXXXXX      IFOuRCORNERSWOMENSSPECAUSTSUP                   ~
                                                             _, .. ..-··-·-·-..·--· _ _ _ _ _ _ _ _ ,_,1_M_ER_CA_oo_sr_m_1os_______               ····-·-··~,st-·•       ______ !~~RANVEGGAS0.__coNV_s1_~_1_-7~31_1_ _ _ _ _!•-·-···· -~54~0._oo~•---~,,~10.00.~oo~•,,. .;,·_ _ _               -!
                                                                                                                                                                                                                                                                                21_om_ 1,_ _ _ _-+---            3LS9
SB-0404982      iLasVepsPalnlng:JMe&MedlcalCenterLLC                                                :4&16W5aharaAve                                                  337       7 uw                 89 , -2                                270.00j       7                      270.00      -!                   3LS9
XX-XXXXXXX      isENNmJBERKOWnzMCPC
                                                                                                    12exEOJTIVEBLVO                                        !surre306             SUFFERN,NY10901                                    1,31.!i.oo:         385.31!       269.641         115.671                    3LSS
XX-XXXXXXX      loRTHOPAEDICS& RHEUMATOL.OGY                                                        !PO sox 10111                                          I                    luNJONOALE, NY, tisss                               1,412.001           a13.1al       269.so[         603.58[                    31.54
XX-XXXXXXX      !ROBERTHLESNIKMD                                                                    li4090ElPi\SEOSTE103                                                         iPA1.MDESERT,CA92260-4US                  \          410.DO\           269.io!       269.10                                     31.48
XX-XXXXXXX      1uNIVERSITY PH'tSICIANSGROUP PC                                                     IPO eox 50089                                          I                     !srATEN ISLAND, NYto305-0089                         314.00)           314.oaf       269.ool          ...ool                    3IA7
                IDES PLA!NES EYE PHYSICANS                                                          1940 l.£E ST                                           I                                                                                                                    !
XX-XXXXXXX

~6-2587114      !01rT'HOPEDICASSOOATES                                                              !4tsWGOU:RDSTE68                                       !
                                                                                                                                                                                 OES PLAINES, IL 60016-6555

                                                                                                                                                                                 jARUNGTONHTS,IL60005-3929
                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                      807.00 j

                                                                                                                                                                                                                                 1,210.00I
                                                                                                                                                                                                                                                        425.BSl

                                                                                                                                                                                                                                                       ?62.3(V
                                                                                                                                                                                                                                                                      269.00

                                                                                                                                                                                                                                                                 268.56
                                                                                                                                                                                                                                                                            _j
                                                                                                                                                                                                                                                                                      ....,.,
                                                                                                                                                                                                                                                                                      156.8S1                    3IA7
                                                                                                                                                                                                                                                                                                                 31A2
1"7.,_4-22=•2cc408=--+'"cco~RA'-'ao=•~RAM=cc'•=E2=-------------------f/9~11~•~G~•1~sso~M~•~o_ _ _ _ _ _ _ _ _ _ _-tl____-;lpSAN_A_NTD~N_10~."'='~m~1~-2~•~10,..______                                                      ~,_____ 438.S~2!:----~3o~s.=56cc;i_ _~2~6856="-!-----'---                             3IA2
XX-XXXXXXX      IR□R1DAHOSP1TA1PHYS1C1ANGRouP                                                                                                                                                                              67.osi
                                                                            -------t!P~o'-'so=•=11-"797"'----------------;\_ _ _ _-F!Bill=AST=·-"M~•~oo=is"--------+-l----=94-"1-".oo=·;-:----=335=3=;9!_ _~2c=68.3=1+i_ __;=:+---                                                                               3139
XX-XXXXXXX     INEJWORKHEAlTHSYSTEM                                                      IPOBOX84BS83                               lsosroN.MA022~8S83     l                      596.oo;          283.10!   268.101       is.col
                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                 3137
~1294785       1JA't'NEr.PlNCUSMD                                                                   \POSOX5627                                             l                     BELFAST.ME04915-s600                                 33s.col           268.coi       268.ooJ               -I                   3135
XX-XXXXXXX      !w:EwoooPATHOLOGYASSOOATE                                                           iPoeox841830                                           I                     ioAUAS,TX752B4-1830                                1,oos.00!           463.lloi      268.00!         195.BO!                    3135
XX-XXXXXXX      llANGHCRNE PHYSICAN SERVICES                                                        IPO BOX 19W                                            I                     BElFAST, ME 04915-4086                    !          268.00'           268.00!       268.00!               -!                   313S
XX-XXXXXXX     !ASSOC PATH OF sr JOSEPHS SAP11S                                                     Ji9045 N DALE MAS RY HWY                               !                     LUTZ. FL 335484982                        I          357.ool           267.1sl       267.75
                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                            -I                   3132
40-77639S5      tGAA1.ANoo.SC0TT,M.o.                                                               /1100eM10-11GANAVE                                     lm204                 J.ACKSON,Ml49201                          f          515.ool           267,45;       261.-151          3.811                    3129
                                                                                                                                                                                                                                                                                             I
46-330ms       lSAuRABHLODHA                                                                        !44SWEST3BTHST                                         i                    .NEWYORK,Nv1001s                                      SSD.ool           312.421       267.421          45.DD;                    3129
~t~.~72646     IFAMILY OilROPRACTIC HEALTH CENTER PC                                                11001 ROHLWING ROAO                                                         !eu. GROVE YIU.AGE, 11. 60007                         592.00)           412.82!       267.ui          14S.70i.                   31.25

~~~~?...... lzuFALL HEALTH CENTE~ ~Ne                                                               ll13                                                   I                     lOOVER.
XX-XXXXXXX
                                                              w BLAcKWEu sr
                !lAKELOVElANO 0£RMATO·~,~O-GY----------------t;...=~.=~~~;··-----------+!,-5-38
                                                                                                              NJ 01so1
                                                                                              _ _ __,_D_EN_Vf~.-C-0_80_2_3l-..-..                                                                     -,-------1-,,---7-53-.0-0_,..!----3,-L-l-i3,---,-..-3-l+- - - ~459.781
                                                                                                                                                                                                                                      126.s1i           12s.s1!       266.~
                                                                                                                                                                                                                                                                       -+---    1,
                                                                                                                                                                                                                                                                                                                 3L21


XX-XXXXXXX      IBfATIUCEc»iYEA0ER                                                          --                                                                                           ..~o.~oo;-:----=,..
                                                                                             ....-._f'il~D4'-'lAICfVl£W~==AVf.~NU-E----------+1#S="----+OJ~FT-O~N~.NJ~07~D1~1=~------+---~                ~_=oo'"i--~,=
                                                                                                                                                                                                                               ~~J
                                                                                                                                                                                                                      ..~m=t---~
                                                                                                                                                                                                                                                                                                                 31..J.6
                                                                                                                                                                                                                                                                                                                 3L12
                                                                                                                                                           1
21.-4002793     !GENESISHEALTHCAREPARTN~ERS=PC~---                                                  !POeX3386S                                                  ----+iSA_N_DIEGO,CA92163-3865                                         591.00·           265.82~       265.~                 -1                   31.10
XX-XXXXXXX      i01GESTIVE DlSORDERS UVER CENT£                                                  ···--IPn. BOX9S740S                                       !                     HOFFMAN ESTATES, ILS0195                             97s,oo:           265.84!       265.84                -I'                  31.10

20-3t6Sn6       iYORKCCUNTYUROLOGYLLC                                                               !z4wcoLERD                                             lsrec                 BIDDEFORO,ME0400S-9404                               490.ool           3Ss.54l       265.541          90.oo!                    3L07
Q6.126U44       iSCOlT M SPECTOR MD                                                                 !,61 MAIN AVE                                                                \NORWALK, CT 06851-1080                   \        2,290.00,          2,005.71;      265.34 \       1.740.37\                   3W4
XX-XXXXXXX      !GREENLEAF ORTHOPEDIC ASSOCIATES                                                    !1101 SOWTIONS CENTER                                  I                     !o-tlCAGO, IL 60677-7001                           1,812.00'.         1,146.79)      26S.29 j        88LSOi                     31M
88-0t75nS       !01ARLfS E aeMMENSEN MD uo                                                          l1sos MEDICAL PKWY                                     lDERMATOLOGY          :CARSON CITY. NV 89703                    !          3gE;.ooi          26s.2S[       26S.2S    I           -1                   31.03
XX-XXXXXXX      IFRANOSCANMEDtCALGRouP                                                              iPosox31001-1s1B                                       !                     PASACENA,CA91110-ts1s                              1,741.00!           735.191       264..95         960.36!                    3LOO

3.;S.;234=99=3~1-i!rEAST=F~I.ORl=O~A~P~RMA=IR~Y~CA~R"'E~LLC~---------------'ii'-'PD=BD:::Xc,40::,58:,9::1, _ _ _ _ _ _ _ _ _ _ _ _t-------f-'AllANT=="-~GA=303=84~-58=00=------+··---43=~~0'-t!----'3"'04"-'.5"'0<-!--~2~=.50=,c __ _ 40.oo!
                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                                       =,c-;----                 30.94

26-39S6318      lHSHS MEDICAL GROUP I N C P ' ? . B O X 4 0 S 7 --·-..- ..... - - - - - - - - - - - ~ - - - - · ' C A R O L STREAM, ll60197-4057                                                                                      406.00,           349.16; _ _ _2~_.l_&i;--_    ·---+---
                                                                                                                                                                                                                                                                                       ss.00!                    30.90
XX-XXXXXXX      :;;~HAELJ NEELY 00 PLLC                                   - - - - - - - + , 1 8 4 1 BROADWAY SUITE 500                                                          ·~1---YD-.-.-.-.1~002-,_-,.-ss------+---7DD.O--O-:----3-53-.9-<ir·                    263.92!        90.oo!                      30.88
XX-XXXXXXX      lPATHOLOGY AND LABORATORY                                                           163!:IOFLY ROAD                                                              EAST SYRACUSE. Nv 13057                              87S.ooi                           ..~-~=;-i---==+---
                                                                                                                                                                                                                                                        ~,ll2.2=7c;~--~,~            18.45!                      30.86


                                                                                                                                                        EXHIBIT2

                                                                                                                                                               121
                                                                 Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 145 of 266 PageID #:11241




                                                                                                                                                                  AEU INTERIM DISTRIBUTION




~~!'~~~~j&tlf~~~..,~~~1'4!:~ -~~~j~~~:!~1~~
 4;:~;--y;FRANCSAFRUATEDSERVJCESLLC                                         --·--·-··                                 ·1POBOX17l45                                             l              -    ·reEU=AST,ME04915-4066                                l              507.69\               263.62!          263.62!                                         30.84

 76-081341'5        lHERMITAGEPRIMARYCARE                                                                              !s653FRISTBLVOSTE236                                    \                    )HERMITAGE,TN,37076                                                  633.00:              303.00;          263.ooi               370.001                   30.77

 XX-XXXXXXX          j~~ELMAN MECICALGR                                                 ______                    __,i,~p BROADWAY SUITE 1                                                          !MASSAPECLUA. NY 11758-5=03=1'----+--..:1.e=02S.=00=,;c...-_ _ _=35c::0.84=;!_ __.:2e,62e,,9,,:;3[                               102.lBJ                   30.76

F9S-=2Bcc62"'7-"09'--t[P'-'Uc::EBc,Lc::O'°'RA"'D=IO~OGY MEDICAL GROUP INC                                              ] 0 E P T l A 2 " ! ~ - - - - - - - - - - - - - - - - - - ' : .. ·····-·--·--·--·..-!PASADENA, LA91185 ···-·-------!                   ___1,=19~L~OO...,...;---~3B4=.8Sc.e;;.-----'2"-'6=Z.8=5+r_··-_ _.:12=2.00=1_ _ _ ___:3c::0::..754
 36--2830582        [DIONISIO 8 YORRO                                                                                  '.168AMBROGIO DR surre 104                                                 •.... ii GURNEE, ll60031-=il33e,9,.-___          ······1.····   --~"'=0-=00"";_ _ _~3=37~.S=O~j---='=62,,,.so::.\r----'"=·00:::.1~_____::30:c:.71.:::..i
 XX-XXXXXXX         /IWNOIS PATHOLOGIST SERVICES LlC                                                                   .PO BOX 9846                                             j __                ]PEORlA,. IL 61612-9846                                             621.00!               376.80;          262..40:              U4.40i                    30.70

 Z0..2598218        !~~wSTORMS                 MD                                       ···- -·····--·-· ··-······- .. _.. _ 11625 MEDICAL CENTER POlNTSTI: 190                l- · -·- -·-   --·--·/coLORADO SPRINGS._CO 80907-8721                                   1.586.0D!              397.101          252.lDj
                                                                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                                                                     695.7~_ )...,_ _ _ _ _3~0=.6~6
 XX-XXXXXXX         IHEALTHAWANCEMARYSAVE                                                                              lrosoxtssa                                              i                    •KINGSTON,NY12402                                                   403.ool               26ust            261.95[                                         30.6S

 22-2676S75         iMuCOOLOGARYLMD                                                                                    14oEBSTHSTRfETSUITE1D                                                        !NEWYDRK,NYlOlZB                                                     3SB.54!              286.83l          2s1.33!                2s.ool                   30.63

 SS-0614866         !oH1ovALLEYMED1CALCENTER                                                                           l2000EoFFsr                                                                 1WHEEUNG,WV26003                                                    2.024.oo'              20L66!           261.66!                    .!                   30.61

 XX-XXXXXXX          MILSJcADPATHOLOGYPC                                                                               !1412MILSTEAOAVENE                                                           lcOVJNGTON,GA300I6                                                 1.02s.ooi              6ll.3t'          201.so!               3sg.s1!                   30.59
 Z0-1984008         lMlwESTHEALTHCENTI.RPA                                                                             \po&OX13203                                                                  !ELPASO.n::79913-3203                               I                392.00!              290.s2!          2&1.32!                29.zoi                   30.s1

 22.3479023          SKYLANDSMEDICAI.GROUPPA                                                                           [33NEWTONSPARTARD                                        STE1                INEWTON,NJ07861J..2764                               !              425.oo:               31126)           2sus!                  so.ooi                   30.ss

 2~6-0B='•~•='"~-+[MAN=~HA.~rr=.,.~co=LORE=cr=AL"'s~u~•G=•~o•=s~11C~-----------;ls03A1RPORTEXE=CUTIVE==••:::•::.•--------+------+!N,,,•:::•e:u:.,ET,.:.•::,r_,109=s,.,e:s,,2:,3s,__ _ _ _--ll__-"2.S3=o,,.ooe,·l_ _ __,,1,05=L25:,,;.!_ _~2~•1~.12~i_ _...;B00~-~1•+!_ _ _ _.....;30~.s~s~
 XX-XXXXXXX   lsoUTH SHORE RADIOLOGtCAL ASSOCIATES INC                          [roe.ox 1079                                                        !LEWISTON. Ml:, 04243-1079              !      1.oss.00'.            1,oso.00;        261.00i          78!1.00I               30.53

 u-2572826          IN1010LASRHA1.PER                                                                                  !49LAKEVIEWAVE                                                               !ROOMLLECENTRE.NY1157D-3S02                          i              425.oo!               380.90(          250.90[               120.ooi                   30.s2
XX-XXXXXXX          IRONAlDR BRANCACCIO MO PC                                                                          l79014THAVENUEAPT AlO                                                       . rBROOKLYN. NY 11209-3957                            j              540.oo!               42S.10!          260.70!               165.00I                   30.50

 3~2679510          !DRSGJRGISANDASSOOATESSC                                                                           j908NElMSTSUITE306                                                           !HINSOALE.ll60S21-3625                                             1.179.00[            1,088.94[          260511                82&.431                   30.4B

 UNkNOWN            \srJUDEHOSITTAL                                                                                    !Poeox310011920                                                              IPASADENA.CA91110-1920                                               349.00!              3zs.22
                                                                                                                                                                                                                                                                                                    1          2so22!                 65.ooi                   30.44
 u-3276347           J£FFREYSRUBJN                                                                                     ]t660Et4thSt:SU1TEu-1                                                        !eROOKLYN,NYtl.229                                  I               30s.ooi               3os.oc!          260.ool                4s.ooi                   30A2

XX-XXXXXXX           AMYBLEWISMD                                                                                       jl20EAST75ll-lSTREET                                    r                    !NEWYORK.NY10021                                    !               45O.00i               350.00j          260.00i                90.oo!                   30A2
 XX-XXXXXXX         \TINlEVWOODSANESrHESlASERVICES                                                                     \182.00LAGRANGERD                                       1                    !TINLEYPARKIL60487•7121                                           12.os1.oo!            3,uaool            260.ooi            {2.868.00J!                  3DA2

 XX-XXXXXXX          CANTERsuRYPEDIATRICS                                                                              J401MONR0ETURNPIKE                                                           IMoNROE.CT06468-2216                                 I              285.ooi               zss.oo!          260.00I                zs.oo!                   30.42

 38-36S28Qs         !PEACHTREE DUNWOODY oAA::,L.:::&.::••c:OA='------------,1~,sso=s•~EA'-'CHTR==e=•~•u"'N'-'wo=o-=-ov'-'RD"'---------FSU"'ITE=600=----FI.A'-'nA=Nl'..,,A.,_GA=3cco342=-------+i _ _ _400_.oo_lr'_ _ _ _32~0_.o,oj_ _~:l60~.00=;-!_ _ _60=.oo, 1l____-'3~0A~Z'-i
 Ss-0716672          KIMBERLVLSKAFF                                             \4so2MAC.coru:LEAVESESUrr£A                                             IOIARLESTDN.WV2S3D4-l83S               I      305.00!           3os.oo~        260.ool         4s..ool           :1,0A2

 XX-XXXXXXX          HEALTHCAREFORWOMENPA                                                                              l9sow1RONWOODDR                                         rm101                lcoEURDAlENE.ID83814-2668                                           260.00!               2so.ool          2so.oo·                     -!                  30,42

 20-S682886          WINTHROP CHILD NEUROLOGY ASSOCIATES                                                               1173MINEOLA BLVOST"E101                            -~----""l.'M=IN;::E:;:;DLA.:,,.cN!,.=11=501:..:·25=29=--'-------'----=68c::0:::.00:c,l_ _ _ _4;::3:.c;4·:.c;40'!-i_ __::2S::,9:::.40:,:c';...!,   ----''"'='-OO:,:,.i____....:.3:::03::::5'-l
 9~-0198361 ··- \SOUTHERN N_EW HAMPSHIRE_lt:ffERNAL .. ···-··-···                        ...... ,... ··-······-·-..·· .. __ JPO BOX 38                                             ----+ID:::EAA=••..-:•::.:Hc::030=38'--------i-----'BZ=l.OO:c,;.\_ _ _-'SS"'B:::.1,::•,.!---·-258.86\                                             .~9.28!                    30.l8
 XX-XXXXXXX         i14STREETMEDtCAL PC                                                                                !po BOX 17919                                                                !BELFAST, ME 04954                                                   282.96!              2B2.96j          257.96f                25.00]                   30.18

 XX-XXXXXXX          EMERGl:NCY PHYSIOANS INTEGRATED CARE llC                                                          iPOBOX9G39s                                                                  lo1C1AH0MACl'TY,OK73t43                              i              73Lool                zs1.s3)          :l57.831                    -!                  30.1s

,..11~-2~•~·588=·~~IA.cRO_~oz REZVANI MD                                                                               !640BEllETERRERDBtDGJ                                    Poaox1              IFORTJEFfERSON,NY11m                                 I              310.00!               257.49i          257.49!                     .!                  30.12

 20-S384133         (SPINE AND PAIN INSTITUTE ATM                                                                      !POB.OX443                                                                   lFARMINGTON,C1"06034                                 !              350.00;               257.48!          257.48
                                                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                                                           .:                  30.12

 26-370167S          !DAVID J PATTON MD                                                                                hoo3oAKHURSt'DRIVE                                                           iOIARLESTON,\oW2S314                                                3ss.00!               291.so\          zs1.so!                40.ool                   30.12
 XX-XXXXXXX          TiiEKIRICQJNICLLC                                                                                 !stAURELCI"                                                                  !MOULTRlf,GA31768-9~8                                               383.co;               257,45[          2S7As!                 12.11!                   30.12




                                                                                                                                                                              EXHIBIT 2

                                                                                                                                                                                   122
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                                                                                                                                 AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                             84D.OO\
                                                                                                                                                                                                             S79.D0:               284.44)            256.lOj          28.34!                29.56
XX-XXXXXXX      \HOSPrrALRADIOLOCiYSERVICESc:                                              l,oeox:2914                                                        !BLOOMINGTON,IL617D2-2914                    1.319.ool               46124;             iss.991         2os.2si                29.95

XX-XXXXXXX      !WASHINGTON TOWNSHIP MEDICALFOUNDATION~-----------+IP--'o--'eo=x'--''~'°~-------------i-------<jFR_!~ONT, CA94537                                                                            &1&.00:               2B052: _ ___,25=5=.s=2+!---='•=s.=00'-'!_ _ _ __:2=•.s=•'-l
XX-XXXXXXX.. __ ]ROBERT lAWRENCE HO_~A!lP~o                                                !119 WESTS7THSTREETSUITE141                                   _ ..--·-!NEWYORK,.-"NY'-1=•=01=•----    ·---;!-_ _ _30_0_.o_o,_:_ _ _ _300_.oo_1___2_5_5._oo+i_ _ _.~5_.oo_i_ _ _ _ _2=•=.sc...,3
XX-XXXXXXX      iPUTNAM COUNTY HOSPITAL                                                    !1542S BLOOMINGTON ST                                                                        _ _ _ __,_ _ _~630.=00-t!---~3=1S~.00=)----'25=5~.00+f--~3~7=5-=00+;-------=29=.83=-!
                                                                                                                                       -·····-t·----+G_R£_E_N_CASTLE._~IN_4_6_13_S-_22_12
                1
XX-XXXXXXX      ERINVSTOEHRPLLC                                                            i10MEDICALPARKSTE300                             !                 WHEEUNG.WV26003--6389                          255.oo:               iss.oo:            255.oo;                                29.83

1-•~s-~504=""=11~+MA~•~·=•L~-W=lLENTZ DE~RMA_T~O~LD_GY_PU_c_ _ _ _ _ _ _ _ _ _ _ _ _-+-500_N_B_RO_A_DW_A_V_STE_1_66_ _ _ _ _ _ _ _ _ _ ..   +                 !JERICHO, NY U753-21l7                         300.oo:               300.001          _____ 1Ss.00J.... _ _ _45=.oo+l,----~2=•=.s"--13
XX-XXXXXXX      iE!_:!~Cl.AlREMD                                                           ,330WS8THSTSTES0l                                               '"'"!NEWYORK.NY10019-1819                         260.00!               255.00'.           255.00~            s.ooi               29.83

S8-1906891      ieRADLEYGJACOBYMD                                                          !,17oHIGHWAY278                                                    COVINGT'ON,GA30014-1529                       396.02:                315.00(            2ss.ool          60.02                 29.83
XX-XXXXXXX      TUSCAlOOSAMEDCENT                                                           SOOSOSCARBAXTEROR                                                 !ruSCALOOSAAL354~369B                        1,198.00:               279.96!            254.96          1,s.ooi                29.83

XX-XXXXXXX      !New YORK PSYCHlATRIC SERVICES PC                                           3047 AVE U                                                        :BROOKLYN, NY 11229                           aoo.ool                349.&&i            254.66,          95.00                 29.79

XX-XXXXXXX      ISA1HT JOSEPH REGIONAL MEDICAL CENTER IN                                   /Po sox 932983                                                     a.EVELAND, OH 44193                           445.00!                374.si!            254.61!         120.00!                29.79
XX-XXXXXXX      !seNDASNDRTHWBTURGENTCARE                                                  [945DMJNGAVE                                                       iBAKERSFIELO,CA93311-1.3BB                    370.oo]                314.SO(            254.50           60.oo!                29.77

                                                                                                                                                                     =2.oo=i___--'1-=-01~.•~1..., --=254=-'°c.---~•=5'=·'~'+-----=29=-'=5-i
F'"'-6-4-"545=72-=-•::_..;l,:.::u=u=eA"'M"'a"'a'-'•=-e""MD=------------------~•~75~W=N~ORTH=~•ve=m=5~o•~---------:-----+-iME=LROSE=~"~A""-.~n.~60=160-=162=•----+---~..
20-411B625      YUUYAKIN-KARTS1MAS=M:::D=----------------+•-=-''-'""='w=-"="0A=o-=-m=11=••---------+-----+/ve=••-=-o~•~"='US.=
                                                                                                                             ...~-,L'-'6~006='·-=-''=oo~----+---•-=-'°=·-=-ooc+!_ _ _ _•=•-=-4.10==.-j---=254=·'=-o\!--_--'1"60."'00=+i-----=29=·'c:''-I
XX-XXXXXXX      l~N c·H~OVER PHO PC                                                         16325 s HARLEM m    200 1s1is1s62S                                TINLEY PARK. 1L 004n                         1,51s.oo;               554.oo~            254.00!         300.00!                2s.12

XX-XXXXXXX      fTHCMASPRIGNANO, 00                                                        :893 MAIN STREET                                            --+EAST  _ _OR_D~•CT_06_108
                                                                                                                                                            _ _HAR1f                            697_._00_,__ _ _ .. 253.64; .. -··-·-... 253_.64--t-'- - - - - t - !_ _ _ _~29~.6~7,
                                                                                                                                                                               _ _ _ _ _-+_ _ _ _
58-115700S      !HOSPrTAL AUTHORITY OF BEN HILL                                            ; PO BOX 1447                                                      !FITZGERAU>, GA 31750                         316.25'                316.25!            253.00                                 29.60

~3668203        [GARBISGARYBAYDAR MD                                                        370GRANOAVENUE                                                    IENGLEWOOD,N.107631                           495.00]                287.94!            252.52;                                29.54

XX-XXXXXXX      [CRAIGANTW.00                                                              ,POBOX4156ti2                                                      \B05fON,MA02241-566Z                          370.00!                in.so;             252.501                                29.54
                1
XX-XXXXXXX       SOUTH CAROLINA RAOIOlOGY GROUP Ll.C                                        POBOX743146                                                       !ATIANTA,GA30374                              498.00i                423.30[            252.451                                29.53

XX-XXXXXXX      CABARRUS EYE CENTfR                                                        1201 LEPHILUPCf NE                                                 CONCORD NCZB02S-Z900                          302.00]                297.31i            252.31!                                29.52

XX-XXXXXXX      10.EVElAND HEARTIAB                                                        !Po BOX 8587                                                       !CAROL STREAM, IL 60197-8587                 1,392.25 [              9SO.ss!            252.18                                 29.50

20-S384198      iOfARLES BALDWIN MO                                                        !502 MADISON OAK                                                   ISAN ANTONIO, TX 78258                        83s.oo1                252.09!            252.09                                 29.49

XX-XXXXXXX      IDERMATOLOGY ASSOOATESOF FAIRFIEL COUNTY PC                                 191 MAIN STREET                                                   lwESrPORT, er 06880-3204                     1,13s.oo:               839.44!            2s2.00!                                29.48

XX-XXXXXXX      PAULA OLIVA LCSW                                                            262 RIDGE RD                                                      DOUGLASTON, NY 11363                         3,420.001            3,420.00!             252.00!                                29.48

XX-XXXXXXX --., w1L1.1AM BEE RIRIE HOSPrrAL                                                ip o eox 95371                                   I                 !GRAPEVINE. lX 76099                         9,872.Soi               2SL97j             2s1.91i                                29.48

XX-XXXXXXX      \BRIDGEPORT FAMILY HEA-"LTH~----------------1·!~lRESERVCIR AVENUE                                                           I                 r!e_RltlGE
                                                                                                                                                                   __    PDRT_._cr_06_&o_6_ _ _ _ _ _, __ _ _340_.oo-;..;____ .. __ ,_ 2?4.01~!_ _ _
                                                                                                                                                                                                                                                   25_1._••..,!-----+-----~29~-•~7-,
72-104454S      iruc1NOTIA & ocCH1P1NT1 MD                                                  111 N CAUSEWAY BLVD                             lsre 100          MANDEVlll.E, LA 70448                        1.192.oo:               68&.12!            251.86:         434.86 j               29.47

36-412532D      ·PATiiOt.OGYCHPSt                                                           P0eox2◄86                                                         1N01ANAPOus,1N   ◄&206-2486                    a01.oo!               2SL10)             2SL10I                -l               29.45

SS-0518039      WALTER RAMSEY                                                               '1301 LEE srREET EAST                                             1CHARLESTON. WV25301-1928                     SlS.00'                431.68!            251.68·         120.001                29.44
                                                                                                                                                                                                                                                            1
08-238320S      fMICHAELJOSEPH CAR VO DO                                                   !POST OFFICE BOX 4171161                                           !BOSTON, MA 02241~n16                        1,103.ooi               2SL461             251.46                                 29.42

XX-XXXXXXX      ;MICHIGAN SURGERY SPECIALISTS PC                                            L-3697                                                            lcoLuMaus. OH 43260                          4,992.00'               776.4Di            zs1.401        1.729.ooi               29.41
XX-XXXXXXX      )NORTHWESTSUBURBAN                                                          455SROSELLERD                                   !STE209           !SCHAUMBURG,IL60l93                            529.00                341.62!            2SL36            90.26]                29Al

                                                                    - - - - - - - .. !P~ BOX-=-l.6=95="=--------------+------i'lBc:Elf=cASr=·ME04915-4064
                                                                                                                                            L. .
. 7-5184978 ... _ .. !souND BEACH PEDIATRICS~                                                                                                                                                                582.80:               331.14:            251.14!          80.001                2938
                                                                                                                                                                                                                                                                               1
XX-XXXXXXX. _ !~~UNTAINVIEWFAMILYMEDICALGROUP                                               !~osox496084                                        ----~la_eo_o_1N_G:~·~-•604_9________,____2S_1._oo..,i_ _ _ _2_5_1.oo~l_ _ _
                                                                                                                                                                                                                          2S_1._oo-+---                                                      29.36

~2711267
XX-XXXXXXX
               1    RETINAtDlAGNOSTIC CEmER..: A: .:M=E,:.:Dl=CA,: L_ _ _ _ _ _ _ _ _ _ _-ilP'-'0'-'B"'O"'X°'S7=25=2B"------
                IFAMILYMEOICALCENTERLLC                                                     i16sMA1Nsr
                                                                                                                                            1----~'SA~L~T--'LA~K~ECJTV=~•U~T~84-=-1~57~-25=28~---~---S7=0.0=..0!
                                                                                                                                                              !MONROE.CT06468-2810                           629.oo'.
                                                                                                                                                                                                                           ...._, __ ~250.86;.-.
                                                                                                                                                                                                                                   293.66i
                                                                                                                                                                                                                                                   -~2~50~.8~6;---- ---·+!-------=29=.3=5'-!
                                                                                                                                                                                                                                                      250.77           42J19!                29.34


                                                                                                                                         EXHIBIT2
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 147 of 266 PageID #:11243




                                                                                                                                                    AEU INTERIM DISTRIBUTION




1&-010s600      !co,1NGTIN EYE CENTER PA                                                             !P0 sax 414854                                                                    lKANSAScITY, MO, 64141                                              408.oo·                  310.12;               2so.n!            60.oo!                       2933
~~~269180       loRTHOPEDICASSOCIAllON oF CENTRAL                                                    120s MAYSTSTE202                                              I                   [EDISON, NJ 08837-3267                                              3SS.63T                  304.65'.              2so.66l           53_99j                        2932
~2211522        !w1NTHROPARSrCAREMEDSVCS                                                             i100H1CXSV11J.ERDADSUITE2D4                                   !                   lerntPAGE,NY11714                                    :              350.00'                  zso.13:               zso.13!                 -!                     29.26
XX-XXXXXXX      \9SR1cst1AUNK1NGMD                                                                   !roBOX5007                                                                        INEWYORK.NY2009B-s007                                !              2So.ool                  zso.oo:               2So.oo\                                         29.zs

XX-XXXXXXX      !EYEGROUPOF.=co=:•:c•cc•cn=CUT=uc=---------------j'-'469=•=Mc:AlccN.:cSTR=E!T~-----------                                                                              ;sRIDGEP0RT,CT06606                                                 830.ooi       ----•~s~'·~•s+J--~250=.oo~;,...:---•'-'o~~j!-----=,.cc.zscc...i
 XX-XXXXXXX     lNEWYORKNEURDLDGYASSOClATESPC                                                        is1CAROLSTREET                                                                    iLYNBROOK.NYllS63-1125                               I              250.oo'.                 250.oo'               zso.ooi                 -i                     29.25

XX-XXXXXXX      )M1CHAELHPOLCINOMD                                                                   (796DEERPARKAVENUE                                                                lN□RTMBABYLCN,NY11103-4304                           I           1,000.00;                   soo.ool               2so.00!          250.00!                        29.25

 22-~2220                                                                       ···1F2'-'PR"'IN.ccCESS=.cc"°cc5TE=C~-----------+-l-----f:Lfl=W'-'RE""N""CEVl=LLE.=NJ=D8~64'-'S-~232=0----+l_ _ _3S=S·:::;00"!_ _ _-'2SO=.oo=,.!_ __:c2SO=.oo::.!,__ _ __;·:I,.·_ _ _ _....:c2•e.:.2S:a:..i
                loeLAWAREVAUEYOBGYN _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
XX-XXXXXXX      TRl-STATE DIABETES                                                                   12301 LEXINGTON AVE SUrTE 220                                 i                   !ASHLAND. KY 41101-2833                                             854.oo:                  854.oo!               250.00:          604.oo!                       2925

XX-XXXXXXX       LUKE E EYERMAN                                                                      117s BERGEN BLVD                                              i                   IFAHMEW. NJ 01022-1619                                              2So.oo!                  iso.oo;               2so.oo!                                        29.zs
XX-XXXXXXX      ]soCHMEDICALGROUPPC                                                                  !POBOX416289                                                  I                   leosrON,MA0224t                                                     74s.ool                  300.ooi               zso.oo!          44s.ool                       29.25
36-33S2487      iGLENWOODMEDJCALCORPmATION                                                           l1013Swl59THSTlU:ET                                           I                   loR1ANDPAR1C.IL60467~31                              !              250.00 1                 250.001               250.ool                 -1                     29.25

XX-XXXXXXX      ,STATCAREURGENT&WALKINMEDICAL                                                        1232WOLDCOUNTRYRD                                                                 IHICKSVll.LE,NY11S01                                                325.00i                  325.oo:               2SO.ooi                 -1                     29.25

XX-XXXXXXX      HARRYHERNANCEZ                                                                       !u6SONAC0GDOCHESRD                                                                15'\NANTONIO,TX7BZ17                                                275.SOl                  249.96i               249.96i            o.so!                       29.24
                                                                                                                                                                                                                                                                                                                1

FS~9-=2819=7~41~-+0SCA=~R~O~SO=Rl~O~M~D~-----------------+!.,488=1+N+W~BTH=A~\/£~-----------<!~~2_ _ _t'j,GAl=N=ESV+lllE=~"~32605-4
                                                                                                                           _ _582   _ _ _ _ _-t---~1,2=18.SO=i _ _ _ _~2•~•·~68't:_ __,2co,49c,.68="t-                                                                                                          1   ___    4.=6c,7.'-'79'l-·!_ _ _ _-=2=:9.2c;1'-I
ss-2433438      !CARTERSVILLE MEDICALCENTERLLC                                                       !PO BOX406087                                                                     1
                                                                                                                                                                                        AllANTAGA30384-60B7                                I            a,553.ooj                S,987.10!                249.62\        s,737.4s!                       29.zo

36-60061S1 __ JvtuAGEOFWESTMONT                                                                      !so1ssCASSAVE                                                I                    !wESTMONT,IL60S59-2611                              !            1,330.00\                   3u.60!                249.281          nB.ni                         29.16
                                                                                                                                                                                                                                                 1
F•"2-0,,,660=39c:c1:.......,"'e:EocR="''-'"-=os=PIT=Al"-------------------f1.,S40=E,_,J=EFFE=RSO=N:.:ST"-------------+lm=305=---IF,o'-'w:::A:.:OTY=IA=S22=•-"s-:.:•c:c•":.=....-----l----"38"'9"'.oo::.·f-'·----"•11=.2=;0;_ _...;>,:::48e.,.96""+-                                                                 ----'&2.2=•c;.l____--'2~•.1=•'-1
OS-0502282      IROCKLANOFAMILYMEDICALCAREPC                                                         :6MELN1Cr.:ORSUITE101                                        I                    1
                                                                                                                                                                                        MONSEY,NY10952-3370                                 I              350.00!                  248.87}               248.87!                .j                      29.12

XX-XXXXXXX      !NYPREMIERCARDIOLOGY,PC                                                              i110RURYLANE                                                 I                    IGREATNECK,NY11023-1309                                          1,210.00                    275-04!               248.83!           2s.21l                       29.11
XX-XXXXXXX      lsHASHlSHEKHAR PALEMR MD                                                             1106 CALVERT STREET                                                               IHARRISON, NY 10sis.3200                                         1,137.4oi                   3so.ss1               248.&s!          iss.48!                       29.09

33--1159527     lsuffRISEMTNVIEWMULTISPEC                                                            !2ssoNORTHTENAYAWAY                                           lsurre100           !LASveGAS,NV89128                                    I             404.00;                   273.09~               248.os!           25.ool                       29.oz

XX-XXXXXXX      Q.UESTCAREMEDICALSERVICESPLLC                                                        !PCaoX99082                                                  I                    iLASvEGAS,NV89193                                                1,133.00;                   248.ll4i              248.04!                .j                      2!1.02
0G-1595303      ,essexoERMATOLOGY                                                                    lzoSAYBROOKRD                                                i                    lessex.cr06426-1401                                  1              sis.ooi                  s1S.OO!               248.ool          2,0.00!                       29.01
2&-2789320
                1
                 GS:NEVASLEEPANDWNGCENTERlLC                                                         IPCBOX~~.?                                                                        h1NLEYPARK,IL60477-Q967                              I        ........ 310.00!               310.ooi               248.ool           ~.ooi                        29.01

                                                                                                                                                                                                                 _:.:_ _ _ _ _ _-;l
1=•:::c&-.:c27c,Oo,136:::c7:_-10:::SSTE1R==ICS=GY'-'N"'E"'CO'-'L::OGY,.,__ _ _ _ _ _ _ _ _ _ _ _ _ _ __,,;187=S:.:O:=EMccPSTE=cc•.:csu°'rr:.:Ec.c24S=----------f.·•·······--·-···---·l::=::=-.,oG=:"-'~~•60068=,.:c                                     ... 21s.oo:_.               276.01?.i-      ...   ~~-~!             28.00!,__ _ _ _2_•~.o_,1
 •.==="'--FBAN=NER PRIMARY CARE PHYSIOANS                                                              iPC sex s2e&                                                                                            2 2696                                ...... 273.oo! .-          ··--~?~~~?-           _;~:~J-__ ·-· · ~.ool,-____29=.D,1
                                                                   _ _ _ _ _ _ _ _ _ _ _ _ _ _-:=!:=::.:~"HYlA=3:=:::::Dvoc.=STRE=ET::.-_ _ _ _ _ _ _ _ _ _
:~::::"':1,,•'-+~:::""::::•:=~T.:::"':s"'N"'~•.::;::::c...o_LCG_v•_c
             9                                                                                                                                                  -l'j1=02~---+l:"'EW"-~TE"voc.=N"":~"-NYc:c•o'-':=:'-',w=6-60~•os-~04~33-DB----+---===:cc:::.;___ ·_·-_·~-=•'-':~::::1•,,.t_·_. ,:c::::c:~:::c:,. .;__. .;~:::s:::::~:::;c;.i!_ _ _ _-=:=:•:"'•'-I
15-1142&14      oeRMPATii NEW ENGLAND uc                                                             :LOCKsox 111842 Po eox850o                                   I                    lPHILADELPHlA, PA 19118-1842                                       sis.001                  531.141                2◄1.so!          290.24!                       28.96
os--is&2s30     IANNEMAftlEVILLA,MD                                                                  l140HAZARDAVENUE                                             !surre102            lENAELD,cro6082                                     !              3s2.oo!                   247.49!               247.491                .I                      28.9S
.!.~383607      !1GORGROSMANDOFASG                                                                   lis11vooRH1ESAVE                                                                  leROOKLYN,NY1123S-3919                               !           1,400.oo!                   309.34j               247.◄1!          203.41!                       2sss

XX-XXXXXXX      !oeGYNSERVICES                                                                       !11CASESTREET                                                                     !NORWIO-t,crD6360                                   !               246.80!                  246.So:               246.801                .1                      28.87
1.i.29S9346     !PATHOLOGY REFERENCE LABORATORYLLC                                                   iro BOX 2037                                                 I                    !SAN ANTONIO TX 781S1·2D37                                       2,760.oo!                   824.73j               246.411          115.62:                       28.83
20-13&9179       PHILIP LEDEREJCH                                                                    !1033 CLIFTON AVE 204                             !          lruFTON, NJ 07013-3s11                                                                   782.25   i              1S2.2si                246.331          490.s2I                       28.82

3~733~66 __ .__ !MEOINAHO-;SPIT~A~L_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                               -'lf!-PC::.Bc;O,:,Xc.,:93-,,22:::0:,1~-----------+-----'~0.EVELAND,.qt-144193                                                                          432.~·                    246.29!--.-~246_.~2!1_,l_ _ _ _ _            -1______2_8_B_,1
XX-XXXXXXX -----~BANNER PHYSICIAN SPEQAUSTS                                                          !po   BOX 52696                                                                   :PHOENIX,PiZSS072•2696                                              211.00·                  211.00;               246.oo!           25.oo!                       28.78

14--1852500     ja.ARXE-OCONEE FAMILY PRACTICE UC                                                    11010 PRINCE AVE STE 182                                                          lAll-lENS. GA 30606-SBlS                ---,---~38S=.00=i___~245.76! _________ ~24"'S"'.,'°.i-1,----+-----~2=•·~'5'-1
XX-XXXXXXX      iRuSH UNIVERSITY MEDICAL CENTER                                                      !75 REMITTANCE DR SUITT 1611                                                      1ouCAGO, IL 60675-1611                                              562.25 i                 451.06!               245.601          205.461                       28.73


                                                                                                                                                                 EXHIBIT2


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                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 148 of 266 PageID #:11244




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                    ~O~TR~PARlNERSPC

                    METROPOUTANMEOICAtASSOOATES

                    PRINCETON MEDICAL GROUP PA
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                                                                                          i&l6DOAICTRAIL

                                                                                          j419 NORTH HARRISON STREET
                                                                                                                                                !~~~~.:::~
                                                                                                                                                    l            ;WESTBLOOMFIEW,M148322

                                                                                                                                                                 !PRINCETON, NJ 08540-3594
                                                                                                                                                                                                                         308.00;
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: : : ~ ~ M•   ••   :;::::::IKOS DO                                                                                        5 _ ____,!_::;:::~~y7"2""1,=.o.-2SS-S-----i---~·,30ll~..-.-::-,:--
                                                                       -------F::=:=cSICcc•=:=·=co:"':=H'-"WY'-----------,-i'U_ITE_lSO                                                                                                        2.~:~13.....                                          :-----=::=:=:-1
                                                                                                                                                                                                                                                       4-'.~ ,.:--~::~s~:-';ic--~2,368A~1~os.~oo~~+-1
37-159S406          ,PCASSOOATES uc                             _ _ _ _ _ _ _ _ __,!PO~BO_x_,..
                                                                                              _ _ _ _ _ _ _ _ _ _ _ _ _ ri-----;-ieo_w_ARD_SV1_1J.E,~•~t~•2~02S~-0~190~--- --·· _!                            "---- 73s.oo·,;_---~''=•=·•=;sl__~2'-'44-"z,"'-e---=19=s=.oo=;l_ _ _ ___:2=•·=•s:...i
ss-ong139           .wesrv1RGINIA UNIVERSITY MEDICAL CORP CH                              jPO aox 700'J                                         ·   l            I
                                                                                                                                                                 MORGANTOWN, wv 26507-7000                               49&.oo'           __   ,_12._oo_:;-,___244_.so_ ,..___12_1.2_0+1;_ _ _ _~ 2~
                                                                                                                                                                                                                                                                                                    8 _.."-'-'

XX-XXXXXXX          !COMMONWEALTH PRIMARY CARE INC
~~~;·;·-·- ·,~-;~~";ISK oesrrnucs& ClAG
                                                                                          !1800 GLENSIDE DR STE 105
                                                                                          /posox4437D
                                                                                                                                                                 I
                                                                                                                                                                 RICHMOND, VA 23225-3769
                                                                                                                                                                 /MADISON, WJ 53744
                                                                                                                                                                                                                         401.001
                                                                                                                                                                                                                        1,194.00:
                                                                                                                                                                                                                                                294.75!             244.~-!                 SO.DO
                                                                                                                                                                                                                                          --==--c;-;--~2~43=.7S+i,----=,.~.~,,'+;-----=,."'.s"'2C!
                                                                                                                                                                                                                                                                                                              28.63



XX-XXXXXXX          !PROCARE MEDICAL CENTER OF OAK PARK                                   !6715 NORTH AVE                                                        jQAK PARK, ll 60302-1006                                450.00i               243.n.!              243.71                                    2851

XX-XXXXXXX          !vtSTAIMAGtNGASSOCIATESSC                                             IPOBOX8453                                                             ICAROLSTREAM.IL601!il7                  !               336.00[                271.60;             243.60[                 84.00.            28.50

XX-XXXXXXX          JAEOKOiA                                                              !4SHOMESTEAODRSTEB                                                     iooLUMBUS.NJ08022-1005                                  480.oo:                293.56!             2•3... 1                so.ooi            28A9

XX-XXXXXXX          SAMARrTAN HOSPrTAL OF TROY NEW TORK                                    PO BOX 844228                                                         IBOSTON, MA 02284                                       270.QO;                243.0Di             243.00!
XX-XXXXXXX          UNION CTY MEDICAlSUPPLY INC                                           1 MAOlSON STREET BUILDING A                                            !EAST RUlliERFORO, NJ 07073-1653                        303.70i               303.70!              242.96!                ...,.!
XX-XXXXXXX          !NoRMANAlANCHAPMAN~M-"-D_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-j1~•20===•~co~o~•-•o~s_u_me_1_1S
                                                                                                         _ _ _ _ _ _ _ _ _1------;-iDE_E_RA_ElD-·~•l_600=1~
                                                                                                                                                          ...                         ~·~14~------;---~s~2~•·00-=;-l_ _ _-=29~~,..:----'="'
                                                                                                                                                                                                                                        242.90!                                            so.ool             28A2
54-123903S          FARI DAK£RMANon                                                       !po BOX 8310                                                           !ROANOKE, VA 24014-0310                                 765.oo!               303.60!
                                                                                                                                                                                                                                                                    242.BBt-·. ···-·•      60.:.~             28A1

21-2oa1220          lwesrvsRGINIA GASTROENTEROLOGY ANO EN DOS                             lss OIENOWETH CREEK ROAD                                               !ELKINS, wv 26241-9237                                  380.SS I              287.69}              242.69!                4s.oo:             zs.39

i:':c7-_=c145=122=•=--...,l=IABO=RA=JO:,R:cY"PH::.:YS"'ICl:::Ac:N:::S..:,Lle::C_ _ _ _ _ _ _ _ _ _ _ _ _ _-1'1PD=•=o::.xn=s•,,1.c.•_ _ _ _ _ _ _ _ _ _ _---l-----+lOi""l"'CAGO=•cc'''"'60o77=:...-=:S1,:.78=------1----"332.80! _ _ _ _2_◄_2._63-j-1_ _=
                                                                                                                                                                                                                                                       242.63
                                                                                                                                                                                                                                                          =
XX-XXXXXXX          lCAuFORNlA PACIACORTHOPAEDtcs & SPORlS MEDICNEA MEDICAL CORP          j839 cowAN RD                                                          leuRUNGAMI:, CA 94010-1204                              41s.oo:               242.1s!              242.251
XX-XXXXXXX          ,RITA YA DAYA M DSC                                                   !1200 S YORK RD STE 4150                                               [ELMHURST, IL 60126-5630                                400.00;               332.101              242.10;                 90.ool
XX-XXXXXXX          IVIRGINIAPHYS=NSINC                                                   l3000WATERCOVERO                                          i            !MIOLOTHIAH,VA23112-3982                                461.00;               261.251              241.70                  19.55\
XX-XXXXXXX          CONGRESSMEDICALASSOCSINC                                              !POSOX!W730                                                            !PASADENA,CAS1109-0730                                  839.0ol               24LSB1               241.ss!                      ..i
XX-XXXXXXX          !COMPREHENSIVE PEDIATRIC p C                                          !1407 W 6TH ST                                                         !BROOKLYN, NY 11204--4802                               543.00!               240.94\              240.941
2~3261066           ANN MARIE STRONG MO                                                   PO BOX 13029                                                           iBElFAST, ME 04915-4021                                 27s.ooi               240.79;              240.79!                      .!
                                                                                                                                                                                                                                                    I
1"90-0=804=38:::2,_-fso=UTH=ERe,N:..:ARl20=:::•e,A,_,U,eRG,eE,cNTe...__ _ _ _ _ _ _ _ _ _ _ _ _ _+'3:,:66:,2c..,W:.,EST=INccA'-'RO=AD=-----------flsu=ITE=lSO=---,i!",ru"'cso=Ncc,,.,_=ss,,,,1"41=--------t----~~~-;L _ _ ___.:,46,e3.::,86e,if-_-"'=,--
                                                                                                                                                                                                                                             240.601
 7S-30S3660              ~.~oRGIA DERMATOPATHOLDGY ASSOOATES                                     !Po sox 26s                                                 !EVANSVIUE, IN 41102-0265                          634.oo!      300.54\        240.43                                          60.11

~631086 iMOuNTSINAI Lfl GROUP                                                                     PO BOX 2eos2                                  I            <NEWYOR1<,_lj!,~100=•~'------+----69=2.oo'-'-":----=28~S.~•~s,_:--==;-          240.45                                       259.Sl
2~119121            lsoUTHuucE PEDIATRICS PC                                              99 E 86TH AVE STE o                                                    !MERRILLVILLE, IN 46410                                 m.oo'              ___290.3sf              240.361                SO.OD
UNKNOWN             APP UNIPA.THUC                                                         POSX.671289                                                           lDAUAS. TX7S267                                         453.00[               240.26:              240.261
XX-XXXXXXX          !MEDICAL SPECIAllSTS OF FAIRFIELD UC                                  142SP05TRD                                                !aEARlOO     !FAIRAELD,CTD6824                                       240.oo]               240.001              240.00
XX-XXXXXXX          lARRY ALAN AUERBA01 MD                                                112SEASTLAKECOOKRD                                        lsurre110    leuFFALOGROVE.IL60089-2261                              210.00!               210.00]              240.00                 30.00!

XX-XXXXXXX          lPROGRESSN'E NEUROLOGY PC                                              2600LDHOOKRDSUITE200                                     i            lWfS'TWooO.NJ0767S-3123                                 300.ooi               zss.oo!              240.00                 45.00              2s.os

S8-2654568          ISHeLL£Y MONIQUE ouNSON--ALLEN MD                                      PO BOX 18496                                             I            !BELFAST; ME 04915-4079                                 300.001               240.00!              240.00                                    28.0S
2&4no7SD            ]BRIANMARGOUS                                                          373RDUTE1115TE5                                                       !sMITHTOWN,NY11787-2814                                 540.00;               239.941              239.94!                                   28.07
XX-XXXXXXX          !souND VISION CARE INC                                                 887 OLD COUNTRY RO                                           STE IC   'RIVERHEAD. NY 119D1-2115                               299.00 j              299.ooJ              239.20[                 59.BOj            27.!18

56-228S626          iGUIL.fORD INTERNAL MEDIONEGR0=~"•~-------------<138s CHURCH ST m 101                                                 IGUllFORD,_cr'-'0643='-'------·----·! ····- ---"'279-=·=ooc;\_ _ _-'2"'1=•·:::oo:;..!_ _.023::,9:;:.00:::,1
                                                                                                                                                    \                                                                                                 40.00~(-----'2~,_.c..•'-'
11-224852S          !AMllYOBGASSOCIATESPC                                                 ll1111MONTAU~•~"~'G~HW_Av__________~i·__,_______1wesr1suP.NY11795--4910              r-------~~:.':10! ---~2~•3.~•~•;--i_ _~238.            = ___-=25~.oo"+-:----~''-=.9=2-1  ~:c;!
XX-XXXXXXX          !READING HOSPITAL                                                       PO sox 10as1                                  tjPHllADELPHIA, PA 1oes1                           6.868.90    L. . . . .__
                                                                                                                                                                                                         1
                                                                                                                                                                                                                                    238 1
                                                                                                                                                                                                               S,633.D3l _ _..=::~c+'--""s.'-149=·c..'"=i'-----=2c..1·=••:...i
                                                                                                                                                                                                                                1


XX-XXXXXXX          !KMBSCPOBOXS308                                                                                                                              PEORIA,IL61601-S308                                    1,18~1.=49'<,----=<4::7=c4.=90!             237.97,               236.93              27.84


                                                                                                                                               EXHIBIT2


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                                               Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 149 of 266 PageID #:11245




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                                                                                                                        -~-<.,,.,_,..,        ~-
~~681          IAISHUNGOBSTETRICS&GYNECOLOGY                                       l831EASTSANDHURSrDRM.                             !                        1SAN0W101,1L60548--1390          I               nB.OOl                 23s.oo/         238.ool                     -1               27.84

XX-XXXXXXX     jAll.ANTAPERINATALCONSULTANTSLP                                     POBOX1281                                             [                    NORCROSS,GA30091-1281            j               510.DO;                357.ooi         238.oo!               119.DO]                27.84

XX-XXXXXXX     !eERNHARDTLABORATORIESJNC                                           POBOX93543t                                                                1ATLANTA.GA31193-5431                            41s.ool                237.91;         237.91\                     -l               27.83
XX-XXXXXXX     !THE SK[N AND LASER SURGERY aNTEROFNE PA                            i74AUDSsr                                                                  ]NASHUA, NH 03060-4745                         2,120.00'.              1,676391         237.651              1.438.741               27.80

XX-XXXXXXX     IWINKl.EYCOMPANY                           ---------1740DOUGLASDRN                                                                             !GOLD;~VALLEY,MNS5422                            297.ao:                237.60r         Z37.60i         ..          -)               27.80
95-37923n      jMJCHAELKMCCRAY                                                     12742DTOURNEYROAD260                                                       ]VALENCA,CA913Ss-5636                            715.00'.               57D.SSi         237.601               333.25f                27.80

ss-os39897     l~NAWHAPASTORALCOUNSEUNGCENTER                                      116LEONSUWVANWAYSTE3DD                      ·-····l                        JOiARLEST~;:·wvmo1                               sso.oo/                357.so'.        n1.so!                uo.ooi                 21.19

5g..2200s69    IJEFFREYDRAESEL                                 -----           ... _...J110SKANECONCOURSE300   -------            ·+··-                       iBAYHARBORISlANOS,FL33154-2068   J._.            450.ooi                337.so!         237.501               100~~!                 27.79
a&-0872873     /soNORActUESTlABORAT~R1ES                                           !1zsswwASH1NGTDNST                                                         iTEMPEAZsszs1-1210               I             1,428.83/                316.06;         z31.ssi               201.azt               21.19
XX-XXXXXXX     llASERANDMOHSSURGERYOFNEWYORK                                       !130WEST42NDsrREET                                                         iNEWYORK,NY10036                                 416.65:                326.931         236.931                90.00                27.72
XX-XXXXXXX     iORTHOPAECJCASSOOATESOFAUGUSTAPA                                    81113THST                                         1m20                     iAUGUSTA,.GA30901-2771                           531.00[                282.57j         236.!36I               25.61/               27.72
&2-1179254     IMJoDl.ETENNESSEEEMERGENC'f                                         POBOX97                                           l                        1SANotMAS.CA91773-0097                         U.39Aoi                  7!15.311        236.951               558.361               21.12
XX-XXXXXXX     lMERCYCUNJCEASTCOMMUNmES                                            irosoxn6084                                       !                        !0-11CAG0,11.60677                               352.00i                261..671        236.67!                zs.oai               21.s9
72·1557890     ! ROQY MOUNTAIN HEALTH CENTERS                                      i9191 HURON ST                                                             !THORNTON, co 80260                              386.00;                386.DO~         236.oo]               tso.00l               27.61
Bl-5056290     lvASSARHEALTHCONNEtnCUTJNC                                          !soHOSPITAI.RO                                                             ~RON,CTD6069-2096                                294.oo!                294.00(         ns.20I                 ss.aol               21.s2

XX-XXXXXXX     leNGLEWooo FAMILY HEALTH CENTER PA                                  148 ENGLE STREET                                  !STE 1                   !ENGLEWOOD, NJ 07631-2582                        260.ooi                2so.ool         235.ooi                25.ool               27.49
XX-XXXXXXX     IEASTTENNESSEE CHtLDRENS HOSPITAL                                   PO aox 15004                                                               !KNOXVILL.E, TN 37901                            474.ooi                33s.22f         234.92!               100.30!               27.48
ou2ts982       IR10iFORDHEA1.ntcENTER1Nc                                           !44MAJNSTREETSU1TE200                                                      RJ01FOR0,vro541&-1141                            384.oo!                284.so!..       234.sol                so.ool               z7A7
36-447S112     !PARKWESTFAMILYPHYSIOANSSC                                          3SOSNORTHWESTHWY200                                                        PARKRJDGE,JL60068                                300.oo!                234.77!     .   234.nl                                      27.47
6S-OS00890     !JDNATHANMFRANTZMDPA                                                12731NEWBIIITTANYB1.vo                                                     !FORTMYERS,Fl.,33907                             s9s.oo!                234.6i          234.63!               262.61!               27.45

XX-XXXXXXX     IAUERGYANDASTHMAPHYSICAN                                            J5421MAn.oa:RD                                                             ARUNGTONlX76018-LS32                             360.oo!                279.63!         234.631                45.ool               21AS
                                                                                                                                         1
ss-o563741     !SHENANDOAHVALLEYMEDICALSYSTEMINC                                   ]rosox1146                                                                 !MARTINSBURG,wv25402-1146        1               83Lool                 284.ool         234.ool               387.49!               27.38

0&-1631039     IFAMJLYMEDtCINECENTERLLC                                            lroaox112                                                                  lw1NDSOR,cro509s                 l              S39.ool                 233.esi         233.85)                so.oof               27.36
XX-XXXXXXX     lnoo::FORDORTHDPEDICAPPUANctco                                      422EASTSTATE.smeu                                                          IROCICfoRD,1L6t104                            3.910.40i                1.986.56!        233.s5i              1.ZZL98i               21.35
?.'-:2968847   !MA.RISSANLARGOZAMD                                                 4499MEDlCALDRIVE5UIT'E191                                                  ISANAHTONJO,lX78225-3774                        475.00;                 273.71!         233,111                45.80                27.34
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20..5755130    !ApPALAQtlAN REGIONAL MEDICAL                                       'Poeoxl8594                                                                lBeLFAST,MED49ts                                 410.48:                231.41;         231.411                     -!              21.01
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                                                                                                                                                                      _s.00__.,:_ _ _ _2_,1.2_0.,._/--=23='=-20c;l_ _ _ ~1=os=.2=s.,',                                                   ----~,1~.o='-<
20..5471790    MALIK EYE INSTITUTE ll.C                                            !3865NMUlfORDR0                                                   ......   !R□~RJl:,ll,61114 _ _ _ _ _ _+       ___,1,:,_.23e,7c:,.llD::c;_•_ _    441.37i         231.091               525.28[               27.04

XX-XXXXXXX     \MED ONE MEDICAL GROUP                                              i7019HARPSMILLRD                                      isre200              \RALEIGH. NC2761S                                408.oo'.               329.64!         231.11!                98531                27.04


                                                                                                                                   EXHIBIT2

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XX-XXXXXXX       ;EYE PHYSIOANS& SURGEONS PC                                                               '202 CHERRY STREET                                                    j _ _ _ _!ccMc,ll=FDR"'D."CT"-06460-0===232=------;..''_ ___,23,,,o,,,.oo=---:----=23"0.0=0!_ _~230.ool
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                 1GAROENSTATEHEARTe.,oCA,:,Re,EcePC,c__ _ _ _ _ _ _ _ _ _ _ _ _-l'1s,,,,1"-m,=•e,Ee,Nr.,_;RO=m=le.F_ _ _ _ _ _ _ _ _-4_ _ _ _ _,;:::M:=ANAIAP=c::~.~-NJ07726-8289                                                                                                                 2ao.ooi             ao.ooi
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32-oos_3039____!AoVANCED EYE CARE s c                                                                      l1s10S1LVER CROSS BLVD STE 110                                        !            ____!NEW LENOX. IL 60451-8640                          400.00;                 21s.os;              230.os!             •s.ool          26.91
45--5290911      looaoRSPLUSPLLC                                                                           12osBRANCHV1EWORNE                                  ····· - ---·--·   I               !coNcoRD,NC28025                                    330.ool                 210.00;              no~r-···            40.ooi          26.91

42-U.68366       !GASTR01NTEST1NAl CUN1c OF THE QUAO OTtES PC                                              !so41 UTICA mDGE RD                                                   [               :DAVENPORT, tA 528D7-3480                         1,33s.oo!                 229.91   !           229.91i                  -1         26.90

~7-4385810       ilNTEGRATED DERMATOLOGY OF CALUMET                                                         902 CUNT MOORE RD SUITE 226 DEPT                                                     !soCA RATON, FL 33487-2800                          876.641                 642.04;              229.ssj            412.46!          26.86

31-110s593       IANESTHESIA & lNTENSM CARE CONSULTANTS INC                                                 L 6147                                                                               laNONNATI, OH 4S270                                 no.ool                  s11.so\              229.00!            34s.so!          26.79

4fr1S43027       !tABORATORY MEOICNE CONSULTANTS LLC                                                       iPO BOX 701                                                           j               INEW HAVEN, Cf06503-0701                            326.00'.                304.841              228.84!             76.ool          26.77
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06-124S772       !CARt.SON THERAPY NETWORK                                                                  470 WEST MAIN STREET                                                                  OIESHIRE. CT"06410                               S,018.00f               2,445.S2!              228.741                   '
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XX-XXXXXXX       !XPRESS WELL.NESS UC                                                                       220 S VAN BUREN ST                                                                   !ENID, OK 73703-5812                                SS2.00(                 360.76[              228.60!            132.16!          26.74

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21-2s1s538
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36-4U8997        iLEWIS S BLUMENTHAL MD                                                                     200 S MICHIGAN AVE                                                                   !ot1CAGO, ll 60604-2402                             635.00(                 350.29[              227.761            122.53!          26.65

37•1001642       !CARL WtwAMSODERSTROM JR MD                                                                4909 N GLEN PARK PlACE RD                                                            jPEORIA, IL61614-4676                    i          864.61!                 483.18!              227.791            200.os!          26.65
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3~102174         lREGENTS OF THE UNIVERSITY OF                                                             lPo eox 500904                                                                         SAN DIEGO, CA 92150-0904                           103.ooj                 221   .44i           227.441                  -!         26.61

XX-XXXXXXX       !TYGARTVAUEYMEOICALSPEClAl.TIES                                                            911GORMANAVENUE                                                      i               .ELKINS,WV26241                                     302.40\                 302.40}              227.40!             75.ool          26.60

2S-1106so8       jEtguR mRPORATION                                                                          ssoOAMCKNIGHTROAD su1TE200                                                           1PITTSBURGH, PA 15237~                              284.oo!                 284.oof              22,.201             56.801          265B

                                                                                                                                                                                                                                     221.ooj 67.oo!
1"0:::5-0:,:3o,;9Be.,36o,3,__-J.IWEmR==!c!LY_eRAD=IOe,le,OG,cYc,ASSOCl==•TES=l,:::N"-C-------------;'t=OB,::OX'-'II7=1-------------+----+:Wle,N:,:DSO=R.'-'CT=06095--087==.:.1_ _ _ _ _+-___;29=4.,e00,;.!_ _ ___,29:c4:,,.0e,Dt-!--="°'i---=="'                                                                                      2656

 !!:~634324     iASlANAZRAICDDS                                                1
                                                                                 l316THAVENUE                                                           !BROOICLYN,NY11217                   227.oo:                227.00;          221.ooi     _j                                                                                   26.56

~311334          IM10 DAKOTA CLINIC PC                                                                      PO sox 11~51                                                                         iBELFAST, ME D491S-4007                             504.oo'.                22&.aol              226.BD!                  -l         26.53

51--0067938      IBEEBEMEDICALCENTER                                                                       IPQ80X828790                                                                           PHILAOELPHlA,PAl.9182                              533.47'.                426.78:                    '
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XX-XXXXXXX       ls1GNATUREMEDICALGROUPOFKCPA                                                              !126390LDTE550N RD                                                    isre100          SAINTLouss.M063128                      I        4,0?s.oo:                 ggg_34l              226.311           ~oo•.011          26.48
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54--1723436      !FAMILY PRACTICE5PEC1AUSTSOF                                                              13142 WJNTERAELD RD                                                                   !MIDLOTHIAN, vA 23113                               584.oo'.                .;os.11!             226.34!            319.83!          26.48

XX-XXXXXXX       iQuJOWIEDMEDICAl.PC                                                                        2689BROADWAY                                                                         INEWYORK.NY1002.5                        i          675.97;                 345.30i              226.30!            120.00!          26A7

43-06S2680       lsr tu ICES EPISCOPAL PRESBYTERIAN HOSPITAL                                                232 SOUTH woo cs MILL ROAD                                                           !CHESTERFIELD, MO 63017                          12.706.9oi               3,504.2s!              226.11!           3,278.17!         26.45

2Q.85S0806       jMINUTECUNIC DIAGNOSTIC OF MAS                                                             !po BOX 8483                                                                         :BELFAST", ME 04915-8483                            452.00(                 375.99j              225.99;            1so.oo!          26.44

XX-XXXXXXX       luNIVERSITY MEDICALCENTE=•--------- _ _ _ _ _                                          --;lc,:1ao=owesr==°'.:::AR:::I.ESl"O=="="'"'vo'--------···--•-i-- _.... ·-·-· ........ 1t.AS VEGAS. NV 89102                      l        2.169.az!                 3zs.oo!              226.00f            100.00!           26.44

OG-12119s3 .... ~PULMONARY &INTERNALMEOIC1NEASSOCPC                                                         !1s CORPORATE DRIVE                                                      -----'"'"=":::M:::BU:=U.=crc.:066=1.c.1________ j___ss="·~oo'-i_ _ _~ao~o.~•:::1"-i--==,-----'=:::
                                                                                                                                                                                                                                                                           ms1I     21s.ool                                            26A3

!.!:~~7638       lCH1NAT0WN CARDIOLOGY Pc                                                                   1139 CENTRE sr           ---·-··-··----· __ ----+!sre=•:=rne..__--;l,=•EWYD==•"-,.N,c:Yc.,le::00::,13-<1=554=-----+1                     11s.oo!                 22S.s5;
                                                                                                                                                                                                                                                                                                  225551             373.46!           2639

XX-XXXXXXX       )tATDNAH PODlATRY PC                                                                       boo KATONAHAVE                                                                       !KATONAH. NY 10536-2175                             54&.oo'.                327.Go~              22s.oo!            102.00!           26.39


                                                                                                                                                                            EXHIBIT2

                                                                                                                                                                                     127
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                                                                                                      AEU INTERIM DISTRIBUTION




11·2958236                                                                                                                                                                                                                                              2635
XX-XXXXXXX       !EAR NOSE & THROAT CONSULTANTS INC                 )100 TRADE CENTER                                                  iwoauRN, MA 01so1-1SS2                     300.00i             300.00!         2zs.ool                75.00'     2632
XX-XXXXXXX       ;GINO A CONSIGUERE MO                              !1 MEDICAL DR STEA                                                 jPORT JEFFERSON STATION, NY 11776-1593     32s.oo:             250.00~         225_00!                25.oo!     26.32
13--3003240
                 1
                  DESIDER ROTHE                                     !131 EAST6STHST                                                    INEW YORK. NY 10065            ...         soo.oo:            soo.oo;          ns.ool               275_,?.?_i   26.32
XX-XXXXXXX       l!!:tE MARY IMOGENE ~m HOSPITAL                    iPOBOXlll                                                          jCOOPERSTOWN, NY, 13326-0111                                 1.ss2.00:
XX-XXXXXXX        ANDREW FAGELMAN MD                                j1SS SPRING ST 4TH FL
                                                                                                                      !                !NEW YORK, NY          i:;~
                                                                                                                                                                                3,628.30:
                                                                                                                                                                                  250.00:
                                                                                                                                                                                                                      2~.:.00;
                                                                                                                                                                                                                            ...i ·····-··-·· 2,38030
                                                                                                                                                                                                                                                        26.32


                                                                                                                                                                                                                                                  ..
                                                                                                                      I                                                                              250.00j -··--·-··· 225.00               25.00!     26.32

2~.:~-~~~-------1-~~-DIATRICSPEOALTIES PA               _           !90PROSPECTAVE
                                                                                                            ·····-·   lmIA             !HACKENSACK, HJ 07601                      336.0Dj            224.9Si          2l4.9SI                           2632
XX-XXXXXXX       1NORTHEASTERN ANESTHESIA PHYSI.OANSPC              i24SOUTH 18TH ST                                                   IAI.1£NTDWN, PA 18104                    1.soo.00!            ns.oo!           225.00i                           26.32
XX-XXXXXXX       ioR Ga.LLIAN KATZ                                  '166 STM AVE 2ND Fl.CCR                                            !NEW YORK, NV 10010-5960                   250.00!            2so.oo;          22S.ooi                is.ool     2632
36-U484SO         RCS HEALTHCARE LTO                                ;22285 N PEPPER RD                                m111             1LK BARRINGTON, IL60010-2S39               225.00 1           2zs.oo[          m.ool                       _!    2632
XX-XXXXXXX       lolANA BURDA                                        12626 LAKEYJEW DRIVE                                              /oRLANo PARX. IL 60467•1061                557.001            21s.oo!          22S.0Cli               SO.OD:     26.32
    976900        OfAMPlAIN IMAGING                                 lPOBOX8002                                                         :SALEM, NH 03079--8002                     225.00!            225.00!          m.oo                              26.32
54--1671658       COMMONWEALTH RAOIOlDGY PC                         11508 Willow Lawn Cr.. Ste. 117                                     Richmond, VA 23230                        225.ool            225.oo!          ns.oo!                    -!      26.32

2~063957. ·-· !MATTHEW 5 COHEN MD FAAP                               272 WEST PARK AVENUE                                              lwNG BEAOI, NY t1S61·3ZU                   635.00)
                                                                                                                                                                                        I
                                                                                                                                                                                                     214.s1l          224.87!              290.ooi      26.31
XX-XXXXXXX       ,FAMILY MEDIONE CENTER INC                         145 CARE"t AVE SUITE 300                                           !sun.ER. NJ 07405-1475                     392.00!            344.59;          224.59               120.00!      26.27
XX-XXXXXXX

XX-XXXXXXX
                 ioAVlC> FAGAN MD

                 \JOUETRADIOl.0GlCA1.S1:RVICECORP
                                                                    lmalln,tumedfn>m, POBOX418510
                                                                     36910TREASURY CENTER
                                                                                                                                        eosroN, MAD224t--8Sl0
                                                                                                                                                    0



                                                                                                                                       !CHICAGO, IL 60694-6900
                                                                                                                                                                                  530.DD;

                                                                                                                                                                                  331.00i
                                                                                                                                                                                           '         224.D3i
                                                                                                                                                                                                             .
                                                                                                                                                                                               ·-····- 271.24!
                                                                                                                                                                                                                      224.031
                                                                                                                                                                                                                      214_001
                                                                                                                                                                                                                                                  -!
                                                                                                                                                                                                                                             47.241
                                                                                                                                                                                                                                                        26.21
                                                                                                                                                                                                                                                        26.21
                 I
37-155110S       !TAKE CARE HEALTH OHIO INC                         .16798 COLLECTIONS CENTER DR                                       lot1CAGO, ll 60693                         363.99)            314.0ti          224.011                !10.00     26.21
                 I
65-0564!301      ICARDIOVASCULAR MOBILE SERVICE INC                 l9200 sw nNo STREET BLDG,                                          !MIAMI, Fl33173-3240                       320.00!            224.oo!          224.oo!                           26.21


                                                                                                                                                                                                             .
                                                                                                                                       I
1~725352          BRJAN N CAMPOlATTARO                               30 EAST 40TH SUITE 405                                            !NEW YORK, NY 10016                      1,358.22)            26a69f           223.69 1               45.00!     26.17
XX-XXXXXXX       SANDERSON KRVSTYNA                                 1453 EAST14TH STREEfllllE                                           NEW YORK,       flt   10009               298.4ti            298.41!          223.41                 7S.OO!     26.14
                                                                                                                                                                                                                             I
XX-XXXXXXX       VINCENT JAMES PUCOO                                !1492 vtCTORY BLVD                                                  STATEN ISLAND, NY10301                  4,200.00j          3,372.oti          223.21!            3,976.79i      26.11
                                                                                                                                                                                                                             1
XX-XXXXXXX       !CHAMBERSBURG lMAGING ASSOClATES                   !zs PENNCRAFf AVESTI: f                                             OIAMBl:RSBURG, PA, 17201                  342.00!            318.BD~          223.16                 95.64      26.11

~-1-0744468      !AMERIPATH ONONNATI INC                            !14885 COLLECTIONS CENTER DRNE
                                                                                                                                 ·---·--·!OIICAGO, ll60693-0148                   579.00;            528.321          m.20l                30S.12i      26.11
?'1717812        ;SUMMIT RADIOLOGY SERVICES PC                       PO BOX 200096                                                     iCARTERSVIUE, GA 30120-9002                219.00\            279.00!          223.20                 S5.80      26.11
XX-XXXXXXX _     !PROVIDEA HEALTH PARTNERS ll.C
               ···r-
                                                                    il026019lSTST                                     iSTElOO          IMOKENA, IL. 60448                         fits.oo!           439.001          222.97               216.031      26.09
XX-XXXXXXX       ]NEWCO GI UC                                       11.SOS NORTiiSIDE BLVD                            ]STE4000         ;OJMMING, GA 30041                       1.234.00!            222.311          222.31                      J     26.01
58-11-43684      !ATLANTA GYNECOLOGY & OBSTETRICS PC                !PO BOX 116002                                    I                IATLANTA, GA 30368-6002                    337.00i            268.3si          222.14                46.21       2S.99
                                                                                                                                       I
XX-XXXXXXX       DlGESTIVE HEALTHCARE CENTER                         POBOX400                                                          !SOMERVILLE, NJ 0887&-0400                 m.oo;              222.00!          222.00!                           2S.97

31·1496603       'USA MSKINNER MD                                   is30 PENNSYLVANIAAVENUf                                            !CHARLESTON, W't 15301-3240               760.00;             -437.41;         222.001                           2S.97
XX-XXXXXXX       IPRIMARY CARE MEDICAL ASSOCIATES LTD                1460 N HALSJ'ED, STE 202                                           Oi!CAGO, IL 60642                         3os.oo;            221.84!          221.84                            2S9S
                                                                                                                                       !
XX-XXXXXXX       OR RAK'ESH GUPTA OR MEENU GUPTA MEDI               hl3-12 JEWEL AVE                                                   !FOREST HlllS, NY 11375-.3953              970.00             221.62(          221.62]                           2S.93
27~510885        THOMAS MATHEW, MO                                  !915 HILlSIOf AVE                                                   NEW HYDE PARK, NY 11040-2529              525.00i            221.29!          211.291                           2S.89

39-08Dfi315      lcoLUMBlASTMARYS Mil                               h404 s01..unoNS cm                                                 I
                                                                                                                                         OIICAGO IL 60677-7004                    302.ooi            266.tsi          221.lS                •s.ooi      25.87

1?~1~8832         CARTHAGE FAMILY CARE PA                           !PO BOX 15656                                                      !BELFAST. ME04915-4051                   _?).00               421.02\          221.021              206.001      2S.86
XX-XXXXXXX       !Hudson Headwaters Health Network                 ...to.eox8646                                                       'BELFAST, ME 04915                         22LOO'....         22LDO!           221.ooi                           2S.8S
                                                                      I                                                                                                                                                                          I
XX-XXXXXXX       ]BRAIN RESOURCE COMPANY LLC                          !263 WEND AVE                                   jAPTlD        -·· !NEW YORK, NY, 10023                    z.~~0.00.            2so.ool          220.40:            1,319.&0i      25.78
XX-XXXXXXX       iPARVIZMOAZAMl MD LLC                              hooo BOULEVARD EAST                                                !GUTTENBERG, NJ 07093-4818                 304.47'            260.37~          220..37\               40.oo!     25.78


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                                                                                                                                             AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                    1
 XX-XXXXXXX             !RFLEDONMDPC                                                             i1308MORRISAVE STEl02                                    j               !uNION,NJ07083-3328                                1,230.00;                  220.141             220.141               -1      25.75
 XX-XXXXXXX             !HENRY HASSON                                                            \z759 CONEY ISLAND AVE 3RD FL                                            leROOICl.YN, NY1123S-S061                          1,00D.00'                  400.10~             220.10!         1so.ooi       25.7S
 22-zs99707             iuMDNJ.SOM PATHOLOGY                                                     fPO eox 635                                                              !eeUMAWR. NJ 08099-0635                              220.00:                  220.ool             220.00!               -!      25.74
 22-326947'-9-+-!AlAN=~L~SCH=ECHTE==Rc..M~O~P~HD~---------------+'!26~P-=lAZA='-9~DR~IVE~-----------+----->!MA~N~Ac..LAP_A-'N!,~__!!?7~2~6-~301=0-----t---~300=.00c..',----.=c30::0.=0=,0~_ _-'220=.00c:+!- - - - - 'BD.oo!
                                                                                                                                                                                                                     ="l----                                                                              25.74
 31-0644802___...ISOUTHWESTOHIO EN.'-T=SP-=•o====·•ce-•c=·----- _______ ·-tl=PO~BO=x=71~40=,s~------------t------f!a=•=o~•=••-'TI~•.:c0Hc..45=21",...                                                                     -!
                                                                                                                                                  -=12~----+----'2"•=s.=ooc,.:_ _ ___c2:c••=·•==•:;.l_ _.:22=•=·00=.lr----...:.;..--                                                                      25.74
 XX-XXXXXXX             iBARRINGTON EYECARE CENTER                                               j330 eMAIN S T R E E T •llsuITE 1e                                       !BARRINGTON. IL 60010                                z&s.oo!                  z&s.ooi             220.00!           45.00!      25.74
 XX-XXXXXXX             !A&DAUAH KARAM MD                                                        J&s1 EGOLF RD STE 306                                                    IARLINGTON HEIGHTS. IL60CIDS-4D71                    220.00:                  220.00!             220.ool               -i      25.74
 ?.?.-3251420           iCADTCPARTNERS                                    ··--·---·--·--·-·--·--·· -----:1D31FARMlNGTONAVENUE                             l               iFARMINGTON,t:r06032                     ;           S60.001                  220.001             220.00:         100.00i       25.74
 95-4.249869            /ROBERTGKAYLANDMD                                                        11B375V£NT1JRASLSUJTE615                                 i               1TARZANA.CA9t35&-42ts                    I          245.oo!                   24s.ool            220.00/           zs.ool       ZS.74
 XX-XXXXXXX             /PETERDwEISMDINC                                                         !Posox17829                                                              leELFAST,M£0491S                                    350.00\                   219.a2j                                   .I      25.72
 XX-XXXXXXX             iertoNXVILLE INTERNAL MEDICNE Pc                                         In PONDAELD RD                                                           ieRONXVlllE. NY 10108-3809               l          511.00\                   274.&/             219.69i           S4.92!       2S.70
 XX-XXXXXXX             !EAR NOSE & THROAT CENTER LLP                                            '32STRAWBERRY HILL couRT m      4                                        /STAMFORD. cros902                       I          5so.02 I                  489.os!            219 ...   !      269.S9i       25.68
 XX-XXXXXXX             !MAuNGMAUNG,MD                                                           b.362038THAVE                                                            !R.USHING,NY11354                        I          110.00!                   219.21!             219.27;          49.58!       25.65
1&-0512625              !HEA WNIC PA oeA HOusroN EYE ASSOCIATES                                  IPO eox 4958                                                             !HOUSTON, ix 77210-4958                            1.ts0.ool                  312.121            218.89 j          93.831       25.61
 5s-1123064             l~BARRUSPATHIJ:LOGY~ASS=DOA=ru=•~A~------                                !POeox4M                                                                 !BLuEAELD,wv24101-040s                   I          s11.00:                   482.601            21S.60_;--l--==,---
                                                                                                                                                                                                                                                                                    264.oo!               25.57
 3s-3423905              KARENAALTAYMD_.____________                              ----+-!4-'71~w=AR~M~Y~TRA~"~•~o~•u~1TE_1os                                                                                                                -1
                                                                                                                          _ _ _ _ _ _ _ _+-------;l~•w~DM_1_No_o_ALE~.•~L60=1os=-26~73~----llc---~•73.=oo~1_ _ _ _~2"=·43=;!---''="=A3~·;+-l----+---                                                      25.SS
 s6-2~~42pH1uP BRUDER MD                                                - - - - - - - - ; ! 2 4 5 E 63RDST                           ------+----i'!NEW=~YO~RX=·NY"-"'1oo&s-1453 ___________ --..,!c---~B9~5=.ooc;:,----·-·····-322.s2i _________                                      104.22 1
                                                                                                                                                                                                                                                                            21B.30l-------==+---          25.54
 37-l3496SS             IAGIUTAS USA INC DBA RESULlS PHYSIOTHERAPY                               !PO BOX 306123                                                           !NASHVILLE, TN 37230-6123                          3,991.00i                1,108.23!            218.231         1.738.971      25.53
 XX-XXXXXXX              LIFE.STREAM HEALTH cENTRE PA                                            1705 MAIN sr                                                             lcoPPEu.. ix 7S019-4742                             299.oo!                   iss.14;            21a.14!           ..... 1      2S.52
 XX-XXXXXXX             ,WHEATONPEDIATRICSLTD                                                    !55ELOOPRD                                               lsurre301       lwHEATON,tL6018!J-l938                   l          2ss.oo,                   269.1&l            21a.13!           51.031
                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                          25.52
 st-2041953             !TOTALWEUNESSFORWOMENINC                                                 !poeox692201                                                             !oRLANoo,R.32B69-2201                    I          420.00!                   268.Q6;            21&.ool           so.oo!       25.Sl
 XX-XXXXXXX             )GREATNEOCOSGYJII                                                        JgooNORTHERNBLVD                                         im220           !GREATNECIC.NYUD21                       l         1,390.00!                  217.601            217.601                -1      25.46
 XX-XXXXXXX              AOIIEVEORTHOPEDtCREHABIUTATlON                                          IPOBOX18225S                                             I               lcowMeus,oH4321B                         I         1,210.001                  212.ooi            211.60!           54.40!       25A6
 XX-XXXXXXX              l.OU!SOPUPOMD                                                           l&lNEWlONSPARTAROAD                                                      lNEWTON.NJ07B60                          I          3SO.OOl                   216.32!            216.321                -1      2531
 06-158175=•-l!'FAl:,,,R,cA,:ELO=PR""IM=••e.,Y.eH,.,EAL::,JH=CA=RE,_,UCo:c..._ _ _ _ _ _ _ _ _ _ _ _41=12=•1:.:POST=co•=oc.:su=rre=2=•1~-----------'c-----<j·~~1RFIELD, CTD6824-6072                               !          393.oo!                   216.lSi            216.151                -1      25.29
 S8-1844895             !VAtoo5rAFAMILY MEDICNE ASSOOATES                                        i24u NORTH OAKsr                                                         [VALDOSTA. GA31602                       !         2,376.00'                  216.oal            216.osi          255.30!       25.28
  ..="=•,..,12=64.;........,:J=0,:.,HN=<AGAN=.~I?.
F.=-                                                                                             13210 CLEVELAND AVE SUITE 100                                            [FORT' MYE~. FL33901-71B2.                          585.00:                   256.~~;-l--=2•=·~·c;i___ 40.ool
                                                                                                                                                                                                                                                                         ..                  =c+-------=25.28
 01--0750853            !1MAG1NGSUBSPEOAUSTSOFNORTHJERSEYuc                                      'POBOX3607                                                               l~EV~AN=SVl=tLE,=•Nc..•'-'n"-'ss-=360=7------1,-----=21=•=·00=;,----=21=•·=00=-:_ _...,2='•=·00=-1-i- - - - +-1- - - - - - '25.27
 36-363518~---···· MACIClE SNEBOLD oo                                                    !3920 NJOHNSBURG ~o                            !JOHNSBURG. IL 60051-6320                 381.ooi                                                               266.oo!            216.00    I      165.oo!       25.27
                        ,THEMETHODISTH"'o"',.-rr-.-LS-,N-C----------------l:"'21=,so=N=ETWO==.=.PLA=CE,c__ _ _ _ _ _ _ _ _i-----"!0t=,CAG=O=.=,L"606'-'73-=l2=-7=3=------+---1.=717.18:                                                               1,302.62;            215.781
 35--0868133                                                                                                                                                                                                                                                                               I.086.84!      25.24
                        !MT AUBURN NEPHROLOGY INC                                                iPo sox 640!J19                                                          laNCNNATI, OH 45264-0919                            304.00j                   215.471            215.47    !            _l      25.21

 XX-XXXXXXX             !BAPTISl'-sot.m-lEAST GYNECOLOGIC ONCOLOGY A                             !PO BOX 45278                                                            !JACKSONVll.l..E, Fl32232                           430.40)                   215.20~            215.20!          215.20!       25.18
 XX-XXXXXXX             !T£ANEO:. ALLERGY ASC                                                    ls3GRANDAVEm100                                                          lRNEREOGE,NJ.01661                                  450.ooj                   245.22!            21S.12!           33.10!'      25.17
 XX-XXXXXXX             !BANNERHEALTHPHYStOANSWEST
                                                                                                 1
                                                                                                  1441N1:zntsr                                            l               lP110EN1X.AZBS006-2831                              381.00;                   249.ui             2is.16 1          33.96!'      25.17
 04-32285S6             !JORDAN PHYSICIANS ASSOCIATES                                            !21s SANDWICH sr                                                         IPLYMOUTH. NH onso                                  376.oo                    376.ooi            215.ooj          161.(JOi      25.15

                                   ,=su=•G~E~o•~•~---------- ------,!~--RESNIK ROAD Sum: 301
F04-=32~•~777~•~-;!~ASSC=Cl~A~:rEO=EVE                                                                                                                                    IPlYMOUTH, MA02360:-!~------+--                    ...~.?.:,ccoo,+J_ _ _---'23=0.=oo:,.~---=2=,s=.OO=c',...'       is.oo!
                                                                                                                                                                                                                                                                                         ---==+---        25.15

 06-132S219             !OB GYN PROFESSIONAL                           - - - - - - - - ; l ~ 2 0 0 ~ 1WEST MAIN STREET                  _ _ _ _ _ _i,m
                                                                                                                                                    __m_ _ _~lST_AMFO
                                                                                                                                                                _ _RD~·CT_06_9_02_-4_54_3_ _ _ _ _ _ ,_._ _ _2_1_s.o_o.,.;_ _ _ _2_1S_.oo__.!___ ·-------· 2ts.oo! ___________ _                          25.15
 os-21ssso1             _VALESIA c HENRIQUES PA..C                                               !Po sax 415662                                           !I              1aosroN, MA0224t-5662                               430.ooi                   2is.oo'.           215_00\                -!      25.lS
 XX-XXXXXXX             !KARtSHMACHOICSEY                                                        1Poeox415662                                                             leosrON. MA0224t-5662                               2ts.oo:                   2ts.oo!            21S.oo!                .I      25.15


                                                                                                                                                        EXH181T2

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                                                                                                                                  AEU INTERIM DISTRIBUTION




XX-XXXXXXX     !GROSVENlREOBGYNLI.P                                                      iPOBOX3306                                            i                         !1DAHOFAUS,IO 834D3-3306              j         215.DO'.             215.00i       215.00j              -!       25.15

37~6885        iFRANKLINHOSPITAL                                                         !201eA1LEYLN                                          I                         ieENTON,IL62812-1969                            305.SO!             214.95~        214.95!         60.ool        25.15
UNKNOWN        jPROCESS STRATEGIES                                                       ,POBOX4009                                            i                         !otARLESTON. WV 25364-4009                      995.00;             489.18!        214.18 I       27S.OO(        25.06
02-D497438     !MERRIMACK VISION
                           = = CARE                           !2075
                                 =-----------------=~~~~~------ --- SOUTH
                                                                      ~-- Will.OW
                                                                           - - - iST
                                                                                  ,..M_AN,..Ot=Es:r:!~NH03103--2305                                                                                                      229.oo:             229.ooi        214.ooi         15.00j        25.04
07-11367223    !FRANICJOHN=
                          PARASMO - - - - - - - - - - - - - - - ; = = = = = = ~ - - - - - - -j-1644
                            = = =MO                                                             --- DEER PARK AVENUE
                                                                                                     + - - - - - : l o e e P P A R K . N Y = 1 1 = 1 - = 2 9 c . . 5 2 = 1 1 ' - - - - - - + - - - - ' ' = 1 = 0 . ~ o o ' - :_ _ _        ......c2=ll!l=1.,.'_ _.=213=.97c:.;!~----'-i   25.03
                                                                                         i
XX-XXXXXXX         MONMOUTH CENTER FOR DIGESTM AND HEPATI                                !POBOX416378                                                                    leosmN, MA02241-637B                           1.330.ooi                 10s.ss~         213.1sj_ _ _-"="--
                                                                                                                                                                                                                                                                               sss.ool    25.01
XX-XXXXXXX     !HOPE AND HEALTH MEDICAL CARE PC                                          '726 AVENUE Z SUITE 2                                 i                         ·eROOKLYN,NYll.223-6222                         840.00;             213.76!       213.761               _j       25.01
XX-XXXXXXX     I.IEREMYMOSS                 4639MAINST             lsre1
               ====----------------------+'~~=------------·--,-··-···-   -----······ !~~PORTCT06G0S.1832                                                                                                                 12s.ool._....       S92.861 213.781 404.os!  25.01
                                                                                                                                                                                                                                         ---==+---"==+-----"==+--------=~
XX-XXXXXXX     !ALLERGY ANOARTHRITISASSOCATESPA                                              66 SUNSET" STRIP STE 2.U1                         I                          SUCCASUNNA, NJ, 07876                          406.00:             278.44\       213.44!          65.ool        24.!17
SS-0737600     lP01NT PLEASANT PHYSICIAN                                                     POBOX236                                          !                          POINTPLEASANTWV2S550-0236                      304.61)             213.23!       213.23!               -!       24ES
XX-XXXXXXX     ioAVIOGGROSSOO
                                                                                         I
                                                                                         i303 W 89Tt-t AVENUE                                  lsurree•                  iMERRJUVILL.E. rN 46410-6295          I         43a.ool             213.ooJ       213.ooi         200.26l        24.92
XX-XXXXXXX     ' SOUTHEAST EYE SURGERY CENTER PC                                         !PO BOX406157                                         !                         iAll.ANTA. GA 3038'Hi1S7              !         537.001             332.85!       2U.8S'          120.00['       24.90
XX-XXXXXXX         COASTAL RADIATION ONCOLOGY CEN                                        iPOBOX849697                                                                     LOSANGa.ES,CA90084                   j         442.0D•             212.74!       212.74!               .!       24.89
XX-XXXXXXX     [ADVANCED DERMATOLOGY OF NEW JERSEY                                       luoo e ruoGewooo AVE                                  l=m                        RIOGEWOOD, NJ,07450                  I       1.120.00:             887.2.l       212...   i      614.76!        24.86
XX-XXXXXXX         MARY ANDREA OPM                                                       131-1047THSTREET                                                                1tONGISl.ANDatY,.!ff~1~1103-=1~668~-----;l---~•so~-~oo,,'_ _ _~2=85.3=1+l_ _=2~~!.                 72.891        24.86
XX-XXXXXXX     IMEDPEDSASSOOATES OF SARASOTA p A                                         !t931S TUTTI.EAVE                                                               iSARASOTA,. R.34239                             687.00!             375.96~       212.451         163.51 1       24.85
XX-XXXXXXX     UMASS HEALTH SERV~MHERST               ------------+====-='------------ll
                                                                    l1so1NFJRMARYWAY    ____--+AM=HERSr=..!MA01003-9288                                                                                        I         592.00\          _ _3_82.3_9]~_ _,_12.26~-+j--~=~----~=--<
                                                                                                                                                                                                                                                                   170.t3!     24.83
XX-XXXXXXX     IEUZABETHLBROWN                                                   ---+-----------------l
                                                                                    4607 MACCORXLE SW srE _     AVE.     200
                                                                                                          ,-----;-·so_UTH_OtA_RLESTON,WV2S309                                                                  i         730.ool             362..02;      212.02I         475.001'       24.80
36-324S198     lscorro GlAZfR MD sc                                                      i600 W LAKE COOK ROAD SUITE 110                                                 Iau   FFALO GROVE. IL 60089                     535.ooi             324.67!       211.16l         112.91!        24.77
13-39D8641     TRUsrEESOF COLUMBIA UNIVERSITY IN                                         !PO BOX 29986                                         !                         INEWYORK,NY10087-998G                 !         325.ooi             236.&sl       21Lss!           25.ool        24.76
XX-XXXXXXX     INORTI-1 CARROLLTON PfDIAlRIC ASSOOATES PA                                !4443 N JOSEY LN                                      !STE 160                   CARROLLTON, TX. 1so10                          390.ool             236.53!       211.53   !            -1       24.7S
XX-XXXXXXX     IALEKSANDR DEKHTYAR MD                                                    !ssa1SEP'l'EMBER BLVD                                 !                          LONGGROVE,IL60047·5117               I         450.00;             236.4~        211.431          zs.oo!        24.74
XX-XXXXXXX     !GABRIEL A VALLE                                                           2001NE48THCTSUITE4--5                                I                         !FORTLAUDERDALE,FL3330S               I         •so.oo'             301A&i        21L461           so.oo;'       24.74
74--3221066    AMERICAN PSYOi ASSOOATES INC                                               601 RENAISSANC£WAY                                                             !RIDGELAND, MS39157                             5so.oo1             291.021       211.02!         196.02i        24.69
XX-XXXXXXX     VANITHA YADAUA MD                                                          3350 ROUTE 138 STE 128                               !                         !wAll NJ 07719-96!14                            211.00!             211.00!       211.ooj               -1       24.68
XX-XXXXXXX     NEILSPfOtrMO                                                                  POBOX3S2                                                                    !WJNDSOR,CT0609S-03S2                           585.00!             210.!12!      210.92j               -!       24.68
XX-XXXXXXX     PINNAaE ANESTHESIA CONSULTANTS PA                                         !Po BOX 650426                                        !                          OAUAS, rx 7S265-0426                 I         393.oo 1            23s.so!       210.so J         25.00J        24.Ei6
XX-XXXXXXX     f~!_HOLOGY ASSOCIATES OF SOUTH MIAMI                                      fP0 BOX 198523                                        I                          AT1ANTA.GA30384-8523                 j         263.00'--i---~2=•·=·00~:,-_ _2=,1,:DAO=!-li_ _ _==+----
                                                                                                                                                                                                                                                                          52.60!          24.61

XX-XXXXXXX     !~ORlH LINCOLN COUNTY HOSPITAL                                            1~~-~==c=c.------------i,-____
                                                                                              ADAMS ST                 -f'iA'-FT'-'O"'N'-''WY=83=l=l=-0-!!=62=1-----~!                                                   s2s.1s:            S10.40~   210.401            300.00 1         24.61
11·3228734     PHYSICANS MEDICAL CARE PC                                                     820 JERIOiO TPKE                                                            iNEW HYDE PARK. NY, 11040             !R•-      640.oo!             210.24!       210.24J          61.821        24.60

XX-XXXXXXX     MERCYHEALTH VISmNG NURSES ASSOOATION                                       4223 ESTATE ST                                                                 !ROCKFORD, IL611D8                            2,ll3.48!            1.391.61!      210.24!       1,.181.37!       24.60

1-4-1645098    '
               !FAMILY FOOTCARE GROUP                                                    !427 BROADWAY STE 2                                   I                         IMONTICELLO,NY.12701                  I         420.00·             300.12i       210.121          so.ool        24.58

1.3--3842292   IMrTCHELLJAY MANDEL MD                                                        POBOX312                                                                    low    WESTBURY. NY llSoB-0312                  660.001             650.ooi       210.ool         4so.ool        24.57

2<M454589      !ADVANCED PSYCHIATRY AND COUNSl.lNG                                       \oNe TIFFANY POINTE surrE 110                                                    BLOOMINGDALE. IL601os-2915              I    iso.oof               2so.oo!       210.ool          40.ool        2457

XX-XXXXXXX     !ROBERT SANTIAGO MD                                                       1396 PORTLAND WAY N                                   I                         !GAUON. OH 44833                         !    300.00:               210.00'.      210.00!               -1       2457
36-266817S     !NORTHWEST SUBURBAN MEDICAL ASSOCIATES SC                                 isso WEST CENTRAL RO SUITE 8100                       J                         iARUNGTON HEIG~.!.l:-.6000S-==-=m=1_ _-i-l___ =25c=s.~ooce:_ _      2ss.ooi              4s.ool
                                                                                                                                                                                                                                                           210~!--- --+--                 24.57

3&4104240      iDARAMREDOY                                                                             ===----------
                                                                                         !609 GREENWOOD AVE                                    i . . -..~-.. .· -.   ··-·-·!wAuKEGAN.1t60087--5000                       28S.oo;             2ss.oo!       210.~J
                                                                                                                                                                         ILAG_RAN_G~E.~1L-&0_s_25_ _ _ _ _ _---;----35-o.-oo-t•1----,-,-o.-oo+i----,-10-.oo-;-!---=+---
                                                                                                                                                                                                                                                                            75.oo!        2451
               '
-XX-XXXXXXX .... !ASHLAND HEALTH lLC                                                     h2 N CA~ERINE AVE                                                                                                                                                                       .1       24.57
XX-XXXXXXX     !RICHARD H HOPE MD                                                        !360122ND STREET                                                                ILuBBOCK. ~·;;41~1309                 l         420.00)             30a.04l       210.ool          98.041        24.57


                                                                                                                                             EXHIBIT2

                                                                                                                                                   130
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                                                                                                                    AEU INTERIM D151RIBUTION




            _-lTl'"c"uc=-------------------·
~}_-2_02_22_..
                                                                     ;:~~--' ·.:,.~~~=~;~ara-~~~;;;
                                                                                   JPOaox844s20 -!                              l                  \BOSTON,MAo2284-4s20                   i          210.ooi                  210.00!      210.00!                                 24.s1
ij~8133          ;SK1NANDCANaRASSOC1ATESLLP                                        iPOBOX69473o                                 !                  iMIAMl,FL33269                         1          41s.ooi                  114.ss}      209.86!         1ss.ool                 24.ss

S!;-!~-- :coURTVtEWOB-GYNASSOCATESPA                                               j706SUMMITCROSSINGPL                                            !GASTONIA,NC.28054                                213.00:                  208.95)      208.95!               -!                24.45

s1-10BS212                                                         l1=02'-'H"'-A"'RlH="-=-------------;-!_ _ _ _-l!Fsu"M"'M"'ER"'Vl"LLE=·sc=29=-48S=------'!f----"'•::•"·oo::,',----~'•o:•e:·OOe;i_ __,2, ,09"',oo""l-!_ __:40=.oo"!i_ _ _ __:2::::•·::::45~
                 tHARTHPLACEFAM:::IC'-YM=Eo'",a"'""'~--------------f
ss-2540874       )P1EDMONTPRDV10ERS_LLC .......   ---------------1-l'°~"°~'~'~•n~,~'--------- ____,. ;_ . . . . ·--···-l~~'!!:~~~30~'...,='~32:::1______,                                            &11.ool                  s36A3i       209.oo!         327A31                  24.45
4~267~633 ...... ;CARD1ovASOJLAR DJAGNosncs PC                                     !863snueENS BLVD                             iSUITE 2LM         !ELMHURST, NY 11313-4434                          940.ool                  372.28;    ~'~08~~i,__-=2~1s:_;!l,__ _ _ _2~4Ac=;'
                                                                                                                                                                                                                                              ...

38-~816~                 VALLEY PEDIATRICS PC                    _ _ _ _ _ _ _ _ !~632SOUTHMIU:ORDROAD                          !              _ . !Hl!iHl.f':::N=,D,_cM"-14'35=:::'-------+--_;3e;75Jl==,D\          ----~208=.36~;_ _~2"08=36!-j----•,;.'-----=24.c3:::B,
                                                                                   i
XX-XXXXXXX
XX-XXXXXXX
                              OD                                                   15 GREELEY AVENUE
                 (tARRY A WEl~;~CH M-D------··--- ··-·--·····-···· -------;-[PO_BOX_3_16C   _ _ _ _ _ _ _ _ _ _ _ ___,
                                                                                                                                                   \SAYVILLE, NY 11782-2604
                                                                                                                                          . ····-·-I~NDOVER, MA 01810-0803
                                                                                                                                                                                                     320.00'.,'. .•
                                                                                                                                                                                                     49S.OO;
                                                                                                                                                                                                                              253 09 i
                                                                                                                                                                                                                              324:79i      ~=::i:-!---,-,-..-~+'[- - - - - : : - : - , - ,
                                                                                                                                                                                                                                                 .I         4S.00!



0&1089381        iRALPH ROSENBERG, MD                                              136 EAST MAJN STREET                                            iAVON, er 060D1                                   300.QQ:                  207.95\      207,95i          25.ooi                 2433

21-oo&igs3       iTH01HuEN,Mo                                                      ft004EGARVEYAVE                                                 IMcNTEREYPARK.CA917SS-3031             J          aso.oo!                  207.98!      207.981         336.91I                 2433

XX-XXXXXXX       la.cLIA lAND                                                      !145 E 16TH sr                                                  !NEW YORK. NY 10003                               780.00!                  3oa.oo!      2os.ooi         100.00!                 2433

43-198S987       !HARROGATEFAMILYANDHEALTHCAREINC                                  IPOeox120                                                       !HARROGATE, TN,37752                              456.ool                  257A3!       201.431          so.oo!                 24.21

XX-XXXXXXX       lKARENASANDERS                                                    I375NORntWALLSTREET                                            IJ:ANKAKEE.IL60901                                 241.00!                  232.301      201301           25.ool                 24.25

1'6a,:.l·.:l3S=S3e,20:.__-'1'-'FL=cORE=NCE=UccR6=,ENT=CARE=:cl,:;NC=.PSC=--------------fj8820=c..cBAN=ICE=RS'-'5T~-----------!-----ir.FlO=REN=CE•_!£'!°,~••.c1~042~------!----325.--00-;.:_ _ _ _2_6_7._12_i,_ _ _2~07~.l2~1,_.--~60~.IIO~l+l,_ _ _ _~24.c.23=-,
XX-XXXXXXX       !COLONIALINTERNAL MED!ONE                                         iPO BOX 845                                                    !FREDERICKSBURG, VA 22404-0845                     207.00'.                 2D7.0Di      201.ool              -:                 24.22

81-oG18945       lctuENTIN LVANMETERMD                                             !isooHOWELLMILLRD Nwsumos                                       !A11ANTA.GA30318-253s                             420.00!                  351.ool      201.00!         150.00!                 24.22

XX-XXXXXXX       !I~ER~~CLE FAMIL~ PHYSICIANSu.c                                   !1529 ROUTE206STE L                                            lrABERNAru•.~.~·OB0=aa~-----+----10=s.=oo'+'----'66C=3"''+l_ _.,,2=06::.89:.!;..·---'"=s.is,,,·,.!!____....:02•,,.20=-1
XX-XXXXXXX       iPROMeo PATHOLOGY u.c                                             IPo BOX 743                                                    lKACKETTSTOWN, HJ 01a4'Hl743           31s.97[       221Ao1     206.611                   20.791            24.11
56-23637S9       !SHoRTHtLLSOPHTHALMOLOGYLLC                                       !ss1M1LLBURNAVE                              i                  jSHORT HILLS, NJ 07078                 !        1,320.ool                  29s.s2i      206.52;                                 24.16

XX-XXXXXXX       !SAM JAY WEISS                                                    139000 SOB HOPE DR IC303                     I                 !RANat:O MIRAGE, CA 92270

~8-3018129       iJOINTVENTUREHOSPrrALlAB                                          1999 REPUBUCDR                                5T£3D0           !AU.EN PARK Ml 481D1-3668               I          702.aa!                  205.86,      205.86!         121.ss!

XX-XXXXXXX       !eEST CARE LABORATORY UC                                          1Pa BOX 708                                  :                 lsouDERTCN. PA 18964                    I
XX-XXXXXXX       lAVENUEUPEDIATRlCSPC                                              l2149EAST'STHSTREET                          !                  !sROOICLYN, NY 11223                              419.22!                  205.591      205.591
~-~~593303       /OAKWOODAMBUlATORYll.C                                            jPOBOX673006                                                    lcETRorr,   ~!• 48267 I    452.021            230.15)       205.lS!           99.81j
                                                                                                                                                 lNEWYORK, NY 10016
F'=-:,.=c3813=•"'"=--a!A""~""'~o=c.SH!.~~E""R""M"D~----------------tb"ss=LEX'-'IN~GT=o~•~••"'~•T~3~7lH=ST~-------+==~-;=-~===~------;---===o~.oocc.,-i
                                                                                                                                       2ND FLOOR                         I            ----=829=.2=:o',_--'205=·=-04,.l__--=•2=-:•"·'=:61
XX-XXXXXXX      !1NNOVATIVE HEALTHCARE PHYSICIANS PC                                            J225 BROADWAY m901                    I          INEWYORIC, NY, 10007         292.97(            20s.osj       2os.osl                   -l
                                                                                                                                                 INEWYORK. NY1001&4889
                                                                                                                                                                         ~-
~,:,366=s==••,.:c7_,,;1JO::E"'L"'M""SO:::L:::O""M"'ON,,_,,,MD"--------·---------'F"'::•c:>~ND"'A""V"'E.=cSTE=2C:.___ _ _ _ _ _ _ _ _ _'-------+======--"=-------+---'=':=s·=:oo,,_,   _ _ __,20S=.oo""l-!_ __,,2os=.ooec>l.___ ~,1~0.~oo'+,i
~3836S9         !MYLESMIITLEMANMD                                                               !SB47FRANCISI.EWISBLVD                           !BAYSIDE, NY 11364-1698 I    1so.00:            750.oo!       2os.ool         S4s.ool
XX-XXXXXXX       [JOHN cosrABLE                                                                 1Pa eox 5691                          !          ieel.fAST, ME 04915     I    zso.ooi            250.oo!       2os.oo!           45.ool
20-s12400s       hNTERNALMEDICNESPECASO                                                         '370DWASHJNGTONSTSUITE3DS             !          lHCLLYWOOD. R 33021     i    28s.oo!            285.ooi       2os.oof           so.ool
XX-XXXXXXX       !TRI-COUNTY ORTHOPAEDIC                                           iPO BOX 1446                                                   ;MORRISTOWN, NJ 07962-1446              !
                                                                                                                                1
26-321943D       lCARc1ovASCULAR INSTITUTE OF NEW                                  168 CUMBERLAND ST                             STE103           1woONSOCKET, RI 02895                              935.ooi                  689.stl      204.97j         484.841
XX-XXXXXXX       !MARKJ FRITZMD                                                    1212N lARKINAVE                                                 !1ouET, ll60435-6604                              250.00:                  250.00:

XX-XXXXXXX       lELGIN FAMILY PHYSICANS                                           1901 CENTER sr sre 3000                                         iELGIN, a. 60120-2132                             230.oo'.                 230.00\      2os.ool          is.oo!
~7-0661199       !oeCATURMEM~!!!~ccl'.!HOSP=lT~~~l~-------         -------ec!2300=~"~'D~w~•~•~o~sr_                                                !DECATUR. ll 62526                     !          358.ooi                  304.3D!      2os.oo!
                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                            993'1;-   -----="=...
XX-XXXXXXX       !AeEu   PAR"'E""DES=M"'D'------ _                                 lPo eox 3025                 ·~----··-~· -·-- !                 !MCKINNEY TX 75D7CWJ181                !          315_00;                  273.06'.     2os.oo;          40.oo!                 23.ss
                                                                                                                                         !COLLEYVILLE, nc 76034             !
1s-~2·:::"'"'•::__-:l=KA,,TH:.::•c:.:•,:.N.:;:A:..:P1,_,FER,,____________________+·1•,,2"'1•:..:G:.:.Ac:;TE"w"-A"-Y=DRJV='-"su"'rr'-'e'-'100=-------------,======~-------+---=20=s=.oocc;-:----=205=.oo=:\:--- 2os.oo!                                          -1                 23.9s
XX-XXXXXXX       !CARDIAC SURGERY ASSOOATESSC                                       PO BOX 153                                                     lOtANNAHON. ll 60410                              429.oo:                  249.76:      204.761          45.oo!                 23.95


                                                                                                                               EXHIBIT2

                                                                                                                                    131
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                                                                                                                                                 AEU INTERIM DISlRIBUTIDN




!!~i:!:!~~~tli-i~~---~~~::~~~~~~;~•,s,•~::;~~
XX-XXXXXXX       IR.ORIDA UROl.l>GY PARTNERS                                                       !1601 w TIMBERLANE OR                                                                      IPlANT CTY, Ft 33567                                        862.00!     642.351    204.45]          317.90;                 23.92

2&-2139799       loAKR10Ge URGENT CARE PUC                                                         1200 s OAKRIDGE oa                                               tm 10G                    iHUDSON OAKS, 1X760B7-t794                                 1,044.001    2oc.43j    z04.43j                    -1            23.92

~1140286         iMAHESHNARAYANKABAOIMD                                                            l12CASESTREET                                                    !                         /NDRWlot,cro6360                                            273_00!     204.40)    z04_401                                  23.91
 11-28438751     IPARKst.OPEPATHOL.CGYSERVICESPC                                                   !PoBOXS445                                               .....   !                         iNEWYORK,NYtOOB7-5445                                       240.001     204.00i    204.00i                                  23.87

 XX-XXXXXXX      !eus1NESS AND BALANCE INTERNATIONAL                                               ls3s BELLE TERRE no sum 204                                                                iPORT JEFFERSON. NY 11771                 !                 325.ooi     zss.ooi    204.ooi            s1.00l                23.87

XX-XXXXXXX       ipJSMEDICALDIAGNOSllCPLLC                                                         j&SOHAU.OCKAVENUE                                                                          !PORTJEFFERSONSTATION,NY11776             1.....            425.00      203.651    203.65\              ..]                 23.83

XX-XXXXXXX       !~RUNSWIOCURGENTCARE                                                               318SROUTE27              _____                              jl                            jFRANKUNPARK,NJ08823                                        384.oo!     ns.1s_i    203.16]          ns.oo]                  23.77
XX-XXXXXXX       ~OIAGNOS11C IMAGING ASSOCIATES PC                                                 !Po BOX 14549                                               .. ·-..-·•··-·-·-···-·• _ ..   ,oES MOINES,. IA S030i--3549    -------------:- --------    986.10!     407.92;    203.10i          283.321                 23.76

S6-1984960       lruQUAYEYECAREODPA                                                                iSOSJUODPKWYNEsrE100                                             I                                406.22!
                                                                                                                                                                                              lruauAYVARrNA.NC2752&-2389
                                                                                                                                                                                                                 203.11!         203.111                   soo.ooi
                                                                                                                                                                                                                                                        23.76
~3672891         !PHYSJOANASSOOA:=m=,,'-c----------------!!"'•o=e.:.:o:.:x=S22=•..===c=.....--------+-----Flt.0=-N"'GW0=.:.:o"o,=,.:.:,,"-z,:.:s=-,===----..-l---'.=.,=.o::.:2"".------'2=•s=.s=,'--!--"'2•=•=.os::i·l----==.,:::A::9;....l----=2,:::.,.::...1•
oS--0340626      lcvsPHARMACY                                           ,1cvsDR                                      IP0sox1075  !wooNsoocEr.RI0289Ht46                  l         203_00:           203.00\     203.00!                                23.7S

26--1240279      lsuLEMANJBANGASHOOSC                                                              !11soNRANDALLR0surre120                                                                    iELGIN,tL60123-7900                                         228.oo:     228.00!    203.00!            2S.ool                23.75

47-440S014       IMoLLYMWARTHAN                                                                    162ZSTHAVESTE120                                                                       IFDRTWORTH,1X76104415S                                          248.DD!     248.0Di    203.oo!           45.oo!                 23.7S

ss-1334402       IMAcoN ORTHOPAEDIC & HAND CENTE~•.:.:•A~_ _ _ _ _ _ _ _ _ __,1~_70BNORTHSIDE DR. BUtLDING_A
                                                                                                           _______                                         _,,l,____-,..!MA_co~~- GA3121D                                                                 444.ooi     210.10!    202.42!           23.36!                 23.68

F0=-2--0=28=0::.:23=3'--+'MAN=.:.:°'.:.:==~•=-o=esrn=-""ICAL=.:.:ASSOC==IA.:.:m=-------------+150=t~ARRYT=__'!.'!'.:.:•.:.:•.:.:o.:.:AO~----------+'----~'i-MA_NCH6TER,~~~·-·~·~•1~0~3-2~713~----,---.:.:•~·"~-.+i           . _ _ _ _2S_2.00_,i,__~2=02.=oo=;-1_ _ _..                          =·ooc.;i_ _ _ _......;23=-•·'--i
 :U-l&4496l       !PERTH AMBOY HEALTH CARE u.c                                                            !601 AMBOY AVE                                 -----1..        l,•=ERlH=AM=•=OY~•~"'~o=es=61=·=2S9=s-
                                                                                                                                                            • ____ _ _ _...                                       __ 1.3                i_l          ~--;-.os
                                                                                                                                                                                                                      ,200. 00___]_-------· ________252.4
                                                                                                                                                                                                                                              ________     __Ji,------ ----~_01.
                                                                                                                                                                                                                                                                            ___1.8
                                                                                                                                                                                                                                                                               __?._8.. --~'°~-~••'+•!_ _ _ _~2=•,.=•,
                                                                                                                                                                                                                                                                                          ;-!;


 XX-XXXXXXX       IISABELLE PONGE-WILSON M D p C                                                           50 PARlt AVE                                li 1              !NEW YORK. NY 10016-3075                    1 75 00_                       6....,                 20 2                 463.23!                23.61
"'2S--=1,"'1s:cso:=:6"----'1su=M'"'M"'rr'"'•""HYS=,CJA=N::SE::::RV1=C£S=-=-----------------"l,=ss.:.:STH=-"'AVEN'-'---u-E_su_1TE_3_ _ _ _ _ _ _ _ _-+l=~---!ecCHAM=.:.:BE~RS~e.:.:u~RG,=PA=.,=,=20~1-    ◄-232---      483.oo:                     2ea.00!                 201.601               e&.401                23.59

1s-1031s91       !BAvtoRMEDCTRMCXINNEY                                                             !POsoX847051                                                                           loAUAS, TX7S2B4                               I                 341.00,     201.2&1    201.26]                    -1            z3.ss

2o-s121644       !PRINCETONFAMILYMEDIONE                                                           !1soM1STYLANE                                                                          IPRINCcTON.WV2474D                            l                 322.00!     2s1.20!    201.20!           so.ool                 23.54

s&-2409669       issMEDICALSERVICESPROFESSIONAL                                                    4l21FARMEWAVE                                                    lsreu                 looWNERSGROVE.IL                                                48D.aoi     200.11!    200.71
                                                                                                                                                                                                                                                                                          1       1&0.001                 23.48

XX-XXXXXXX       ISTRAuBaJNICANDHOSPrrAL                                                            POBOX74024t                                                     [                     !LOSANGELES,CA90074-024l                                        s1s.oo;     482.631    200.&sl          281.981                 23,47

XX-XXXXXXX       !oERMATOLOGYANDPlASTICSURGERY                                                      1124ESSINGTONROAD                                               I                     IJouET.IL60435-8446                                             a10.a6i     4Ei6.33l   200.s1!          2&s.1&I                 23A6

XX-XXXXXXX       !AKRON RADIOLOGY INC:                                                              525 E MARKET ST                                                 I                         !AKRON~_9.!:!• 44304                           539.0Dj           246.071  200.4S i      45.62 i           23.45
~~84802          ioR s:::ENNET11 BLAU                                                               21 HOSPITAL AVE Sum 303                                         I                         !oANBURY, cr=    =,,,_-.-•-•1_ _ _ _ __,__ _~305.40="'+-j---~200.=12"i~-~,=..=_~12+!---==i_!f-------',=,~A1'--i
                                                                                                                                                                                                              ...

XX-XXXXXXX ___ ,FOTE, TOSCANO & DlSTEFANO                                                          !910FARMINGTONAVENuE                                             !st.11TE201               lwESTHARTFORD,cr06101                                       339.64)     200.ui     200.11!            ss.oo!                23.41

XX-XXXXXXX       !HAROLD SAl'Z MD                                                                  -132EAST76STREETSUITE2F                                      I                         INEWYORK,m10021                                                 zoo.oo;     200.00!    200.ool                    -1            23.40

13-3700=287~-,lw~A~""='~M~w~'"~"~JC~•=-o~c_ _ _ _ _ _ _ _ __                                        1s9EAST74THSTREETSTE2                                       i                         !NewYORK,m10021-3235                                           1,200.00:   1,15331{    200.00!         1.000.ool                23AO

XX-XXXXXXX       !VINCENT LABRUNA                                                                  43 YAWPO AVE STE 11                                          !                         !OAKLAND.NJ07436-2717                                           245.ooi     24s.ooi    200.00!                    -I            23.40

XX-XXXXXXX       !PISCATAWAY SOMERSET OB GYN GROUP                                                 31STELTONROSTE4                                              I                         !PISCATAWAY, NJ, 08854                        I                2.100.00;    1so.o0~    200.ool          &so.61l                 23.40

XX-XXXXXXX       IDR MATHIASZEMELLLC                                                               !660 BROADWAY                                                                          !PATERSON, NJ 07514                           I                 200.00!     200.ooi    200.ool                    -!            23.40

XX-XXXXXXX       lsuNRlSE OBSrETRtcS & GYNECOLOGY                                                  !POBOX9750                                                                                 !BELFAST, ME 049:JS-97S0                  !                 200.00;     200.00!    200.00!                    -!            23AO

27~357794        lLOURDESCARDIOLOGYSERVICES                                                        iP0B0X824599                                                     I                         !PH1LADELPHJA.PA19182-4699                                   200.00•    200.0Q:    200,ool                    .!            23.40

XX-XXXXXXX       [ROSE GOMEZ MD                                                                    ls7S N M1rn1GANAVE                                                                     !0t1CAGO. IL60611•t946                                          200.001     200.ooi    200.00
                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                                                          23AO

45-o002069       larv OF FARGO-·-·-·                                                                1240 25TH ST 5                   - - - - - - - ; -_ _ _ _ jARGO,NDS8103=-23~o/~--------;---=30~:~.,-.•---~30cc2..:.:00-c;lc-_--'2"'00=·=00+i_ __,(1.:.:02.=00)i-'i_ _ _ _..=23cc.40.::..,i

S6-23564"'58~+l·nc=M.ccEccO~ICA~L~G""Rc=-Oucc•~-;~c~_
                                                                                         -----+!40W~222=wox;~---------·----·                                        lmn                       iSA1NTOiARLES, IL. 60175                                     200.00:    200.001    200.00!                    ·1            23.40

XX-XXXXXXX       loANTE ANTiiONY MARRA MD                                                          booo EOFF STREET sum 602                                         l                     1wHEEUNG,WV26003-3823                                           373.oo,     27L49\     200.01]            7L48
                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                          23.40

58--1374387      lEYE PHYSIOANSANOSURGEONS PC                                                      !PO BOX 92208.B                                                  I                         iNORCltOSS, GA30010                                          245.00:    245.00)    200.ool            45.001   '            23AO


                                                                                                                                                              EXHIBIT2

                                                                                                                                                                        132
                                                             Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 156 of 266 PageID #:11252




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      , ,_, _ ·:' ' '                                                                                                                                                            ~-
                                                                                                                                                   AEU INTERIM Dl>TRIBUTION



                                                                                                     "a§~~l-·,                                             --~~                  ~ 3 - ; , - ~ ; n , ' - " ''                                           ~.,;:,       -               ~-~,.~
~     ~   - " ' ? ¥ . ~ ~ . l ; ; i . . ~ s __   • ..-i;,.     ·-•·.   "                -~·-         ~t·~-{~,                                         ~-"' -. =~ '""~                                                                                                                         ~<m ·~

&2-1872100         iArnRHOURSPED1ATR1CSlNC                                                          IPOBOX634708                                                                   !aNCNNATI, OH 45263            I        200.00:          200.00;              '
                                                                                                                                                                                                                                                           200.001              -!              23.40
~~510855           !SAAD MAm BAKHAYA MO                                                             !23734 VALENOA BLVD STE #205                                                   !VALENCIA, CA 91355            I        450,0()          450.001        200.ool        250.00j'              23.40
XX-XXXXXXX         HERITAGEVAll.EY BEAVER                                                           j200 OHIO RIVER BLVD                                                           !BA.DEN, PA 15005-1914         !       V1S.00i           1!19.86!       199.86!         89.zsi               23.38
XX-XXXXXXX         ]Htus PEDIATRICS INC                                                             !&13 COURTYARD DR                                               l              !H1L1SBOROUGH. NJ 08844-4256   j        s10.ooi          199.sai              '
                                                                                                                                                                                                                                                           199.BOi              .1              2337

81-353401s         lsoUTH LAKE WOMEN s HEALTHCARE Pl.le                                            ..i.~s1 w CATAWBA Ave             i 3So.ao'.                   .... isreA       !coRNeuus. NC, 2so31                                     219.64i        199.64i         48,001               23.36
                                                                                                                                                                    1
XX-XXXXXXX          PROPATH seRv1as u.P                                               '1135S RIVER BEND DRIVE 1 1011. TX 75247-491.5 t 890.00!                                         1111 c                                               2sz.sa!_                 63,001
                                                                           -------t•=~~~~--------+------F~=~=c,,,,cc=c------'i----=""1                                                                                                                 ,,. 199.58! _                            2335

F2=-2·,::18:=9,::61B=1=--!i'-'FE=:LD:::MAN=-"ETRA=:=&,::SC:::H::,:IF:,:FMA=N'-'PT-"R'--------------+188S=,cMAl=N~ST"-,--------------!'-----_lHACICENSACK,NJD7601                                                  "t!____
                                                                                                                                                                                                                        2B_5.oo_,:_ _ _ _19_9.SO_;i,_ _ _     _,__ _ __
                                                                                                                                                                                                                                                           199.50!              -i              23.34
01-0_839?6.? ~--   i!o1NA WEINTRAUB                                         -------+-30S_EAST
                                                                                           _ _SSTH
                                                                                               __  ST_ _ _ _ _ _ _ _ _ _ _ _ _~l_ _ _ _ j_New_vo_••~·-•v_1_00_2_2-<_1_48                                         199.30l
                                                                                                                                                                      ____________;__________ ~-:.~!----~2~•930~;r--~=+-----;,-                                                                 23.32
sS-0357069         WETZEL COUNTY HOSPITAi. ASSOCATION                                               ]3 EAST BENJAMIN DRIVE                                                         JNEW MARTINSVIUE, WV 26155     l       l,648A9'          783.171        198.501        584.67i               23.22

XX-XXXXXXX         DENVILLE ASSOOATES Of INTERNAL                                                   l1s POCONO ROAD SUITE 317                                       i               Denville. NJ 07834            /        290.00!          248361         198.36!         so.ool               23.21
XX-XXXXXXX         !srCHARLESHEALTHSYSTEMINC                                                        IPoaoxss79                                                      !               BENo.oR977aa-ss79             !        422.04,          258.37i        198.371         60.00[               23.21
XX-XXXXXXX         !NoRTH susuaBAN SURGICAL ooNSULTANTs LLC                                         11900 N MILWAUKEE AVE                                           !               NILES.11. 60714--3184         I        3so.ool          19s.24J        198,241              -,
                                                                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                                                                23,19
XX-XXXXXXX         l1wNors PAIN TREAlMENTrNSlTTLITE                                                 !43t SUMMIT ST                                                                 iamN, rL 60120-38&1                     302.ool          19s.1oi        19B.10!                              23.18

45-386408S         NORTHEAST URGENT CARE MEDICAL                                                    !Po BOX 15116                                                                  !LOVES PARK. IL 61132-5116              s10.ooi          258.05;        198.osl         so.ool               23.17

XX-XXXXXXX -- ;JAg')NFALLER                                                                         )333W57THST                                                     I              !NEWY0RK,NY10019-3196                   275.00!          198.0Dl        l9s.ool              -1              23.16
XX-XXXXXXX         DAVIDCAROfENUTOt;?.?...........•.•.. _ _ _ _ _ _ _ _ _ _ _ _ _                   l1ooeASTBROADSTREET                                             !               WESTFIELD,NJD7D!IO            i        243.oo;          243.Dol        1,s,ooi         45.ooi               23.16

XX-XXXXXXX         FG1CMASIKMDFACOG&ASSOCA110N                                  ______              '3onwJEFFERSONST.sre101                                                         murr,11.6043s-s263            l        19s.oo;          19a.0of        ,,._ool              -i              23.16

04-,=37c,403=17,_-!=BA""R8A=RA=Zl=.OGA5,=c,MD=.,Ll=C'------------------t!1PO=BO=X848685==--------                                                                                                                                          197,701
                                                                                                                                                                     t •-----t805TO==••~MA=02=284=-------t1_ _ _=50=6,=0Dc,!_ _ _ _19=7,~70+l'--==,--                           -1              23.13

XX-XXXXXXX         leomprehenslve Neurological                                                      ]North Jersey Brain and 5f:lfne Center                          .liaNDERKAMACK jORADBJ.. NJ 07649                     1,257.60!         692.34!        197.341       (542.34)!              23.D9
                                                                                                                                                                     1
XX-XXXXXXX         !HuRONGASTROENTEROLOGYPC                                                         ls300EUIOTTDR                                                                  !vPSILANTJ,Ml48197                      323.ool          242.2si        197.25!         45.ool               23.0S
~1120567           JLAKeSHDRf PATHDLOGlSTSsc                                                        !s20E22NDST                                                     I              !LOMDARD,IL60148-611D                   752.00:          53937
                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                           196.801        437.57!               23,02
S9-3544464         JM1GUELANGELMASJRMOFAAPPA                                                        1130tPLANTATIONJSDR404                                          !              isrAuGuSTINE.FL32080-3118               245.ooi          1S&.12i        196.721              -i              23.01

XX-XXXXXXX         AUSTIN RADK>LOGICALASSOC                                                         l1soow 3BST                                                     !sum 100       !AUSTIN, n:1rn1                !        3zo.00!          196.721        196.12!              -!              23.01

01-G494363         icoASTALORTHOP£01cs&.sPORTS                                                      !POBOXSS44                                                      !               BELFAST,MED49J.S-Ssoo         I        31&.ooi          221.20!        196.ZOi         25.001               22.95

F•"'-==220=•=--1i=-·0u"'t°'JZ"RA"'°'=''-''P'-'M:::D=------------------+l300=•="'="'='ETO=N~"='G~HTST==ow=•="°~-------;l~su=m=10=2--FIEAST=~wi=•=~~"'=OBS=2=o_ _ _ _ _ _r l_ _~2S=•=·oo,.:- - - ~ = = o o ~ ; ~196.ool
                                                                                                                                                                                                              -~=+---~60.00i
                                                                                                                                                                                                                         =,,--                                                                  22.93

95-44n46z          !&.BMEDICALGROUPINC                                                              ls1oovAUEANAVE                                                  !              lvANNUYS,CA91406                        196.03;          196.03;        196.0li              -!              22.!13
XX-XXXXXXX            NA"-PI.ES==CE:::NTE=R=FO,::R:,:0:_;E::,:RMA"--T-OW_GY_A_N_D_CO_SM_ET1_C_5_U_RG_E_RY-------+,150=5'-'1"'S,:=A=M=IAM=l~TRAI-L---------·-,
                                                                                               1                                                              jFORTMYER5,FL33908-518Z  1,571.32!        85352:
                                                                                                                                                                                                                   195,841            s12.ssl                                                   22..91
XX-XXXXXXX           !TRICTYEXPRESSCARELLC                                                 --+=ls=,o=w=•'"'w'"o"'T"-'RD=su'-'m=-w-3---------f-l----+G"',U1E=RT:.:.,:::AZ=as-"23=3===-----+---=,.c:5=,00=+1-----'25=5.so=,---==;-----'==--
                                                                                                                                                                                                                   195-50_1,_, ,_, _ _ 60.00 i                                                  22.87
                                                                                                                                                            1
,-•-s-_10_2_•16_3_ _,!_otA_RLES_RoBERT JOHNSON oo                                                                                                                                                                  195-501
                                                                       ---------+h=so=1c=c-=uNT=M=o=o="'~"=OAO=su="'=is=•-------+_ _ _ _-1l~BOCA=~""~~'~'~"~'=,..~1-57=15~----,lr----=2=•0=,oo~'r----="='=.socil--~=,,_----+--             -1                                                   22.87

  1s-us233s          lTEXASRETINAASSOCATES                                                     iPOBOX6S0037                                                    DAU.AS. TX75265           590.ool        255.43!   I195.431             so.ool                                                   22.66
                                                                                                                                                                                                                                                                 I               I
XX-XXXXXXX         [VIKASVDESAIMD                                                                   145EMAINST                                                                      EAST1suP.Nr11130-2S02         !        eao.ool          21~!           195.33!        205.101               22.B5
XX-XXXXXXX         TRINITYMEDICALCENTERWEST                                                         l3BOSUMMITAVENUE                                                               lmuBENvtU£,OH439S2--2667       !        4Sti.ool         315.30(        195.30)        120.ool               22.85
22·3786714         IMIUENNIUM GASTROENTEROLOGY INC                                                  j397 HALEDON AVE sum: 103                                                      IHALEDON, NJ 07508-1551                 300.00:          195.19!        195.191              .l              22,84

22"3495259         !ADVANCED EYE CARE OF NEW JERSEY PA                                              \s92 SPRINGFIELD AVE                                                           !wESTAELD, NJ 07090                     965.00l          709.14\        195,141        514.oo!               22.83
XX-XXXXXXX         IMtNDY w1SER-esnN MD                                                             :200 WHITE ROAD surn 1os                                                       lUTTLE SILVER. NJ 01739                 19s.ooi          19s.oo:              '
                                                                                                                                                                                                                                                           195.001              .!              22.81
F2"-7--=284=3634=--;i.::oM=•cco=ESAIA=ccPSY=CH=IAlR=IC'-'5='""V1'-'CE=5c=Llc,C, - - - - - ............ ··-·--.. ·-·-·--···---+'p:::o:::•o~•~·-----------            ,_____,,.IRO~~~-i:. NJ 08555-0009                      285.oo!          285.00:        19s.ool         90.00!               22.Bl

i:3:::6-4c:12D='c:10::__,l;:,OB-GYN=="==:::™=ASSOC=:::"':;:':.:ES::,5:::C=---------------+i,=..
                                                                                              -='=':::'-=10=8TH=A"V~E_ _ _ _ _ _ _ _ _ _                          --;I___ . . ...;DRLANDPARK.IL60467                       325.ooi          19S.OOi        19s.ooj                              22.81

XX-XXXXXXX         !NEELKFRENotMo                                                   ____           _,[2=•=11,_,so=,un=o:.:.•-=ce==•ccTE=•-----------1-----;i011CAGo.1t60677-2oos                                           247.00;          194.94!        194.94·              -!              22.81
61--0853995         LOUISVIUEORTI-IOPAEOICOJNIC&                                                    !POBOX95ot4S                                                                   \~ulSVU.l..E.KY4D29S           l        676.oo:          676.oo!        195.DOi        48LDOj                22.81

                                                                                                                                                                   EXHIBIT2
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 157 of 266 PageID #:11253




                                                                                                                                 AEU INTERIM DISTRIBUTION




47_129g340·-····:MoNADNOCKEVEPHYSl=CIA"'N"'S~--------------l-·~54~Q=W~STRE=ET~•o~•~o~su~1TE=2~04------                                      ;--'-----t!P~OTE=•~•o~•~ou~G~"~·"-"~034~S8~----+----55=D-=OOc.i_ _ _~37~4.~7~•':-j---=194=·'...
                                                                                                                                                                                                                                        4[!-_~1B=O.=D=D+!------=22.=':.:"'-j
XX-XXXXXXX     !SARAH .SCHWAR12.MD _ _ _ _ _ _ _ _ _ _ _ _ ------1i..:soo=MO="'cc.•~u"-K"'Hl=GH"W"A"'Y~STE~w_______                     __-·,_I----+fwccESr=ISUP=~·""-'-='=''"=S~-4440=~-----+----..,=•·=oo"-i_    219.66;         194.66!        25.001             22.77
XX-XXXXXXX ____ INANCYmEUNDUCHMO                                                         i225Mlll8URNAVESUITE209                             ;I                           IMILLBURN,NJ07041-1737               255.0D~                   194.09i           19409;                                 22.11
XX-XXXXXXX     lexca URGENT CARE OF NJ LLC                                               ~2&24HIGHWAvs1&                                                  BRJOGE,"NJ=DB8'-"s'"',""_2306"'--------1---·=,.==1.=0::;o:----=,14c:.09::::;.(---'1c::94:o::09"''-i---u-0.-00:+l------',=,.'-',,'--l
                                                                                                                                                                          [oLD

XX-XXXXXXX __ ---j~ULT AND PEDIATRIC DER~~~§!-~~- _ _ _ _ _ _ _ _ ----+'3'S=•cco:.:u"1E"'1"'s""so=UTH=-----------·--..--~ --_-
                                                                                                                             __-__ -;.f-su_rre_e
                                                                                                                                   _            _____r]EAST--BR_U_N~,.,-,-Ot.-NJ-DBB-16--s-,-03----+---194-.04--,-l----,...-..        -,:--=,..      ~_:.:04c;f--~=+-----,,.=,-=-i0
XX-XXXXXXX      :EMPIRE URGENT CARE PUC                                       /Po BOX 223055                                          1               PITTSBURGH, PA 192s1-2oss                           254.001               254.ooi            194.ooi           60.ool            22.10
                                                                                                                                                     1
XX-XXXXXXX      iPROVIDENCE HEALTH &SERVICES WASHINGTON                       IPO sox 421                                                             ueERTY I.AKE, WA 99019-0421                         254.ooi               254.00:            294.oo[           60.00
                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                       22.10

XX-XXXXXXX     j ROBERT AELDS M D & EVAN J BACHNER                                       7301 MEDICAL CENTER OR SJ'E.400                                                  west HIUS, CA 91307                  238.92 j                  238.92)           193.92 I                  -!           22.69

84-05934S5     l0RTI-10PAEDICAN0 SPINE CENTER                                            1POBOX4Sl                                                                        iFORTCOWNS,COSOS22-04S1              958.00>                   193.79;           193.79!            2SB.OS,             22.67

XX-XXXXXXX     !SREEDHAR OfAVA, M.D.                                                     \3SSOSANTAANrrAAVE                                  Im A                         ELMONTE,CA9173t                      205.00]                   193.01[           1s3.02f                   -!           22.Ss

XX-XXXXXXX     !ACCESS COMMUNITY HEALTH NETWORK                                          8496SOLUTION CENTER                                                              tCHICAGO, IL 60677-8004              420.00;                   257.7&!           192076[              GS.oo!            22.55
                                                                                                                                                                          1
XX-XXXXXXX     i1CAHN SCHOOL OF MEDICINE AT MT                                           lro sox 28082                                                                     NEW YORK. NY 1ooa1-soB2             212.00;                   211.62!           192.52[              is.ooi            22.53

XX-XXXXXXX     iMARKSREYNMO                                                              i:zs11 FAIR LAWN AVENUE                                                          FAIR LAWN, NJ 07410-3412             385.00;                   192.50!           192.SO!                                22.52

s&-1s~s2s      lGASToN EYE ASSOOATES LLP
               !
                                                                                         i232S ABfRDEEN BLVD               --------1;,·STE A                              GASTONIA. NC 28054--0642             315.ooL ···-···--- ··--   2B2~·-··----- 192.421.. ····--·-.. -·· 90.oot-!  ----~==1-.
XX-XXXXXXX     :MEADOWS REGIONAL MEDICAL CTR                                             jPOBOX407                                                                  ··--rVIDAUA,GA30475-0407                   274.75]                   19233:            192.33~-----+1_ _ _ _~22.S=D-<

S8-2139333     ;HIDDEN VALLEY MEDICAL CENTER INC                                         PO BOX 848417                                                                   iBOSTON, MA 02284-8417                635.00 i                  353.71!          192.31!             16L40!              22.50

XX-XXXXXXX     !GREGORY GANZER                                                           ,2101D-1APUNEsr                                                                  WHEEUNG,WV26CD3-3B7S                 s1s.00'.                  2SL49l            192.04[              99_45i            22.47

22·2223478     !AusnN MPATI'NER MD FACP PA                                               li11   N DEAN ST                                    !m 207                       !ENGLEWOOD, Nl 07631-2522            320.00i                   isz.ooi           192.00i                                22.46

SS-0775750     \FAIRVIEW t-lEALTH ASSOOATES INC                                          350 FAIIMEW HBGHTS ROAD                                                          [SUMMERSVIUE, WV 26651•S301          212.ooi                   212.ooi           192.oof              80.00,            22.46
61~679378      :RADIOLOGYASSOCATESOfNORTHERN                                             POSOX17630                                                                       ;EDGEWOOD,KY,41017                   338.00!                   255.02j           192.00!              63.0lj            22.46

81-<>400370    !NORTiiERNROCICIESORTHOPAEDICSPEOAUST'SPlLP                               2831FORTMISSOULARD                                  lSJc232                      MISSOUI.A,MTS9804                    403.00!                   403.DOI           192.00;            211.00!             22.46

31.11192&1 ___.;,::!A::,NN"'STR=o"''""'"'-------------------!-l"'°=-•=occ•-=
                                                                           ..                                                    =•SAS=c~rrv=,M0=64='84-='•~2~•----+----'='='.oo=+l___~l!l=1.=0=0,_i__-=l!l=1=.00=;!~----+------=22.3=s'-!
                                                                                                    -"'="28=-------------+-----+l..                                                                         1
~273S850       1SCOTTSDALEHEALTHCARECORP                                                 IP080X84563S                                                                     LOSANGE1.ES,CA90084-S635             572.00/                   572.00i           191.00             381.00t             2235

XX-XXXXXXX     lSOUTHNASSAUWAU:-INMEDICALCARE                                            i2110LONGBEAOIRD                                    fsre2                        !OCEANSID      NY11572-2255          464.oo!                   394.40!           190.~--~1~•'-~•~s~!-----==~2
~~1418299      JROBERTJANlZ                                                              70GCAOETCT                                                                       LEBANON, TN37D87-2651                484.66!                   306.36;           190.70 1           115.66i             2231
57-109B556     !MEDICAL UNIVERSITY HOSPITAL AUTHORITY                                    JPO BOX 931854                                                                   AllANTA. GA.31193-1854              1,154.00~              1,111.07!             190.54             920.S31             2229

XX-XXXXXXX     jNORWIOIDIAGNOSTICIMAGING                                                 !POBOX9132                                                                       BROOICUNE.MA02446                    516.00i                   360.22(           190.00             170.221             2223
XX-XXXXXXX     :ALLMEOJCALCAREUP                                                         8622BAYPAAKWAYSUITE1                                                             j8ROOKLYN,NY11214-4171              2,940.00'                  287.03;           190.04!            482.08!             22.23
l.3-3551814    MICHAEL ROSENBAUM                                                         450 WEST END AVE                                                                 NEW YORK. NY 10024                   44S.OOI                   445.00!           190.00             255.00              2223

XX-XXXXXXX     IALAN o JOHNSON MD                                                        ,28 Clover Orde                                                                  !Streamwood, ll 60107-2361           230.00\                   230.00!           190.ool              40.ool            22.23
XX-XXXXXXX     !DRSBEDINGAEI.DANDROSEWEllSC                                              i2sOOWHJGGINSROSUITE440                                                          !HOFFMANESTATES,JL60169              190.00j                   190.00!           190.001                   .;           22.23

XX-XXXXXXX

ss-os24324
               iMICHIGAN NEUROLOGY ASSOCIATES PC                                         i35429 SCHOENHERR

               !GREENBRIERPHvs10AN,,_s':::":cc_ _ _ _ _ _ _ _ _ _ _ _ _ _ _--i!.~~MAPL£Wooo AVE

S9-35:49905 . . -i!?.~~-~~ITAICER MD
                                                                                                                                                                          !mRUNG HEIGHTS. Ml 48312-4258        430.oo!

                                                                                                                                          ...... f-1----+IR~o~•CEVE=~RTE.=wv=2~•~•10~-----+----21S=·~""c,-l____~19D=.oo~;- - · · ·

                                           - - - - - - - ________--4!•::.:lD:::B::.,Hc::ENc.:D:::E:::RSO=N..::Blc;Vc;cD_ _ _ _ _ _ _ _ _--i,            .....   ··········-·-·~f:::::AFtGA3363:-::so.,00       •,2sos.o.000;_;
                                                                                                                                                                                                                                         21s.ool



                                                                                                                                                                                                                                         192140...000~.
                                                                                                                                                                                                                                                           :::i· . .
                                                                                                                                                                                                                                                           190.00j



                                                                                                                                                                                                                                                           189.80'
                                                                                                                                                                                                                                                                                25.oo!



                                                                                                                                                                                                                                                                                25.DD-!
                                                                                                                                                                                                                                                                                                  22.23

                                                                                                                                                                                                                                                                       ·······-···;!~=+,,-----=22=.23='-!
                                                                                                                                                                                                                                                                                                  222U.2D3
XX-XXXXXXX     )WEST FLORll!~ PHYSIC AN NETW':).~~.µ_C                                   ·PO BOX 405958                                                                   ,..,,um,..._     ..,_,..
XX-XXXXXXX     1uNCOLN cou~TYHOSPITALDtsnucr                                             !PO aox 1010                                                                     JCAUENTE. NV 8900S-1010              226.oo~                   214.101           189.101              zs.ool            22.19


                                                                                                                                            EXHIBITZ

                                                                                                                                                  134
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                                                                                                                       AEU INTERIM DISTRIBUllON




                                                                                  lmfS                                            ~
                                                                                 19N4THAVE                                                                                                                                                                    ,s.ool           22.11

02j!,~~71                                                                        iso NASHUA RO                                                                                                                                                                 9.oo:           22.16
36-435D103                                                                       17069SOLUTIONCENTER                                                                                                         359.59(           214.14!         189.141        25.DO!           22.13

os-1324397      ADVANCED BAO:.CENTER, PC                                         ijJOSEPH DPAOtECO, cc                                 ]srREET    ---+!so=UTH=IN~GTO=N~,cr=0648=•'------+---=,.,=•-=ooc+j_ _ _ _1B9=·=oo"-i_ __,1B9=.00::c;..'----+------=22.=11=--i
55:'1748937    !~~RMATOWGYGROU_P_O_F1H~E_CARO _ _ _ _ _ _ _ _ _ _ _ __,_33S_PEN_NY_L_N_ _ _ _ _ _ _ _ _ _ _ _+-------,;-=ro=•""O?.~--~s--=••=o=zs'-------+---'=<·'=·=•-=oo',.'------'·=90=.2S=i___1_89_.oo-+-l___7~56.25,;----~2=2.=1=-t1
                                          __UNAS
XX-XXXXXXX __ •• !JERONovic PEDIATRICS, tro.                                     lsn WEST JEFFERSON sr                                               ......   ISHoREWooo. IL60404                            290.oo,           238.87;         1ss.s,!        ~:;1             22.10

~-2768204      !HARVARDMEDICALFACULTYPffYSIOANS                                  l!POBOX414363                                                                ;eosroN,MA02241                                662.oo;           466.96!         188.12!       278.24!           22.os

05:;_~?.657    I M 1 D D L E T O W N M E D I C A L P C 1 1 1 M A L l E S E D ~ - - -..---                                                                     [M100LETOWN,NY10940-211s                       22s.oo            22.a.001        1ss.oo!        40.oo;           2uig
XX-XXXXXXX     !MARYVIlLEMEOICALSERVICESLLC                                       P080XS37                                                                        EDWAROSVJL1E,1L62025-0537                  374.DOJ           248.00i         188.00         60.00            21.99

SB-2447143     1BREASTCARE SPECIALISTS LLC                                       1975JOHNSONFERRYRD                                    !STE100                ,A11ANTA.GA30342                               23s.ool           1sa.oo'.        1ss.oof                         21.9g

XX-XXXXXXX     !GEORGIA SKIN CANCER & AESTHETIC                                  ,PO BOX 18680                                                                isELfAST, ME 04915-4081                        823.58:           689.97!         187.SO,       s02.11!           21.97

XX-XXXXXXX      KARENHENDL£R-GOLDBeRG,M.0.                                       1310EAST14THSTREET                                        STE319S            iNEWVORK,NY10003-4201                         1,00S.00;          19L26j          187.26          4.00;           21..91

XX-XXXXXXX     :NORTH VALLEY MEDICAL PC                                          !22719 MERRICK BLVD                                                              LAURELTON, NY, 11413                      1,300.ool          187.17'.        187.17 i      241.861           21.90
D1-0651407     [RHEUMATOLOGY ASSOOATES OF SOUTHERN WEST                          1421 HUGUENOT ST                                        lsu111:44       !NEW ROCHELLE. NY 10801-1021             232.ool         232.oo:     1a1.ool      4S.oo
                                                                                                                                                                                                                                                  1            21.SB

F-==•2~10,_-'l=ro=LORA==oo~w=•sr=HEAl:=TH=CAR=E=-SYSTE=~M_ _ _ _ _ _ _ _ _ _ _----;j~~§~•o_•=o-------------;-----~!G_RAN_o_,_u_Ncn_o...,~~co_a1SO~s_ _ _ _--t_ _ _=22=~=00~;_ _ _ _1=B1~-=007!__=1=B1~-oo=l.-____-T!_ _ _ _~2u=•,
Fl,=.1-=290=25:.::SS,_. .,[AR=IAll=NA=PAP;:_Ac;G=E;:cORc,Gc,cE_;cMc,cD_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-f:PO=BO=X22=06~---- ······-·-··--··-·--!------;!=NEW=YC=RIC,.NYl0021-0054 .. _ _ _ _--+---480=.00=,-l----40S=.00=;-!--='86=.91,]_ _~21=8.=09=;.-!_ _ _ _-=,21.8=--!7
4S-2SOS453     :suMAIYAH MEDICAi. PC                                              1 SOMERSET ST                                                               \HUNTINGTON STATION, NY 11746-8411           2,533.00i           226.89j         186,89        673.13   !        21.86
XX-XXXXXXX     IMEDEO.UIP INC                                                     27 BROOKUNE                                                                     ALISO VIEJO, CA 926S6-1461                 287.oo;           186.ssl         186.SS              -l          21.82

XX-XXXXXXX     .JAO:: W LENOX Ml>                                                !msNMULF0RDRDSUITE200                                                        ]ROCKFORD,IL61107-3879                       5.330.00:           874.82!         186.54!       688..281          21.82
XX-XXXXXXX      USAGWCHLMD                                                       '3o3EASTARMYTRAILROm200
                                                                                                                                                              1
                                                                                                                                                                  BLOOMINGDALf,IL6010S-2143                  240.ooi           23135:          186.3si        45.00
                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                               21.80
                                                                                                                                                                                                                                                        1
XX-XXXXXXX     iwoMANS QJNIC                                                      POB0X22663                                                                      JACKS0N,MS3922S                            209.00!           18632j          18632                           21.80
               1
XX-XXXXXXX      WESTERN Ml:OICAL ASSOC                                            PO B0X8703                                                                  .81:LFAST, Ml: 04915-8703                      303.00'.          186.32!         18632j                          21.80

XX-XXXXXXX     °0EICALB-GWINNmCBGYN PC                                           j-4045WETHERBURNWAYSTE4                                                      jN0RCR0SS,GA30092                              335.00:           186.231         186.23                          21.79

XX-XXXXXXX     !NCRTHS!CI: PRIMARY CARI: INC                                      11820 NORlllFALLLN STE 1103                                                     ALPHARETTA, GA 30009-7974                  400.oo\           21LOO!          186.00·        25.00            21.76

XX-XXXXXXX     ! ~ MEDICAL GROUP PA                                              .PO BOX 678513                                                                   DAUAS, lX 75267-8513                       31-4.00           18S.90l         185.90!                         21.7S

XX-XXXXXXX     HIGH DESERT Ml:DICA.L GROUP                                       :po BOX 7007                                                                 ilANCASTER, CA9353~7007                        410.00:           305.94!         185.941-_ _u_o.oo--;-!----~21.='~•....

Zo-5689327     lorESTNUTHlLLCUN1ccoMPANYLLC                                      IPCBOX848959                                                                 1e0sroN,MA02284-89S9                           490.oo·           185.83:         185.83                          21.74
                                                                                                                                                                                                                       1
D}-0709650     !INNOVATIVE PAlHOLOGY SfRVICES PUC                                 50120TH   sr m   G3                                                             KNOXVILLE. TH 37916-1839                   218AD             185.641         185.64                          21.72

XX-XXXXXXX      UROLOGY GROUP OF PRINCETON PA                                     134 STANHOPE ST                                                                                                            482.00 1          245.40]         18S,40j        D0.001           21.69

XX-XXXXXXX     !PEDIAlRlCASSOCATESOFWEU.ESLEY                                     134SOUTHAVENUE                                                                                                             SS6.oof           234.9s!         184.95]        50.00            2L64


~0-4863434      ALECtA G10VlNAZZO MD, LLC                                        !123 BROADWAY                                                                    STATEN JSlAND, NY 103~2833                 1Bo.oa!           180.ool         1ss.ool                         21.64
s~             !STEVENENEWMANMDPC                                                 449BAYRIOGEPICWY                                                                BROOICLYN.NY11209                          210.00;           210.00;         1ss.ooi        2s.ooi           2L64
XX-XXXXXXX     lo.ueeNSSTARMEDtCALPUC                                            i63118WOOOHAVENBLVD                                                          jREGOPARK,NY11374                              583.ooi           181.29!         184.84          z.4sl           2LG2

XX-XXXXXXX     !GREATER ONONNATI PATH 1Nc                                        !,o eox 631104                                                               icNCNNATI, OH45263-1104                        350.101           350.so!          184.701      166.10!           21.s1

274412271.    . ~URGENTCAR,_EP'-'L=LC'---------------H....-·-·-··-·· !POBOX938                                                    ... __   _------;="'=LLE=,EN.="'='"=540=----------,~---=•=,..=·oo.1----=304=.64o,1 _ ___,1B4=.64cc;.!---"'480"'."'oo::;!-----=2:::1.::::60'-I
                                                                                                                                           1                                                                                          1
XX-XXXXXXX      SWEDISH COVENANT MANAGEMENT                                      !Po BOX77"1.927                                                                              _ _ _ _ _ _ _ __,___ _ _S09_.s_•.,.I_ _ ··-·· ~20s6;_ -...
                                                                                                                                                              lOUCAG0,..1.!:,_606T7                                                            184.osi       236.91]           21.s3
                         -·                                                     .., . . c . =1
                                                                                               ==-----              -----.:!.~~------~~~:,,·,...OAX:;:.:,=o...,o_<.          TERRACE.1Lso1s1                 320.00..          224.001     ·····•-H;~;r--·    40.oo!_          21.53
:::::          i:::::'::::•:::DIA:c:TE=CARE='-"'TD:.::.._ _._ _ _ _ _ _ _ _ _ _ _ _l-'l:=;:":=~""~"M"'r"'•-"vE,________
                                                                                                  9
                                                                                                                                           ,-                 lsoUTHl:RNPINES.Nc2838s                        184.00;           184.oo:         184.00,             -l          2
                                                                                                                                                                                                                                                                                   153


                                                                                                                                    EXHIBIT2

                                                                                                                                            135
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                                                                                                                                              AEU INTERIM DISlRIBUTION




i~"m!i~~lff£it~-l't§!~~\:~\%~~1i~~fr~~~,filfi~~~~
~~L-(~UTitSHOREY-'.9.~ENSH_EAlTttPC                                                             1>9e.ox1BB                                                    j                !soUTHWEYMOUTH,MA02190                  :      2,11s.oo;       1.858.97'.    ws,I         L67s.oo:    21.s2
XX-XXXXXXX        !INTERNALMEDl□NEASSOOATES                                                     POBOXU93                                                     1                 )BEDFORDPARK.IL60499                     j       843.ooi        ts3.91'.     183.91!             -!   21.s2
52•2438106        !JONATHANLEIBOWITZ                                                            134355lHST
                                                                                                1                                                             j                !BROOKLYN,NYlUl!l-4202                  i        656.00[         193.85~     183.961          9.39j   21.52
XX-XXXXXXX        !RON HOOD PHO                                                                 laos STATE FARM acsre 63                                                       !eoDNe, NC 28607-4914                   I        675.oo.        504.65~      w.12!         210.3~.i   nA 9
XX-XXXXXXX ______ ISPeOALTYASSOCoFHauSTO~---···· _ _ _ _ _ _ _ _ _                              i20423KUYKENDAHLRD                                                             JSPruNG,TX773?9-3492                             412.00!        183.56;      183.561             -i   21.47
SS-2362733        J,1eaMONTREG1DNALARSTCARE                                                     l~soxt61436                                                  I                 ~ATIANTA.GA.30321                                545.ool        437_4~       183.41!       254.oo]    21.46
XX-XXXXXXX        lcoNSULTING OPKTHALMOLOGISTS.PC                                               /499 FARMINGTON AVENUE                                       isuITE 100   ·---\FARMJNGT□N, cr 05032                             zso.ooi        1s3.13;      183.13   j      45.ool   21.42

n-2428001         IWGMOBGYNPC                                     ...........................   l1,u1..ASK1Ro                                                !~Nrr1            i~NORTHPORT,NY11731-2442                         290.00;        2os.o1~      w~1I            2S.oo!   21.41
XX-XXXXXXX        iEMS?ECAUST5PA                                                                POSOX8847                                                                      {FORTWORTH, TX76124-0847                       1,572.00'.      1,572.00~     183.00'      1,389.00J   21.41

SB-2082140        !NORlHGACERMATOLOGYPC                                                         POBOX862823                                                  I                 loRlANDO,R32886-2823                            w.ool           183.00:     183.ool              .I   lL4t
XX-XXXXXXX        laiFFORO LSUSSMAN MD                                                          liso w FOOTH1u BLVD                                          I                 !SAN DIMAS, CA 91773-1102               1       300.ool         182.!18!    182.981                   21A1
XX-XXXXXXX        !GREGORY A ECHT M O PA                                                        PO BOX 674004                                                                  !DAUAS, TX 7S267-4004                          1,542.00;        182.74!     182.741         24.D4i    2L38

XX-XXXXXXX        !AUSTRAUAN HERRING INP SVC U.C                                                fPO BOX !18583                                                                 !LAS VEGAS, NV 89193                            26LOOi          182.70!     182.70i              -i
XX-XXXXXXX        !ASSOcf.lHYSIOANS OF UBERTYVIL                                                hsso w WINCHESTER RD                                         lsre 220          tueERTYVILLE IL 60048-slss              I      1.019.00;        201.s2!     1a2.s2i         25.00'
22-20S9062        !ATLANTJCMEDICAlGROUP                                                         i74SNORTHFIELDAVEsrE2                                        I                 [WESTORANGE,NJ070S2-1136                \       185.00j         182.34)     182.341
XX-XXXXXXX        lcoNNECllCUTSKINHEALTH UP                                                     4CCRroRA.TE oR                                               !sre386           lsHELtoN, er".Do484='-'-------+l___,c,.•===25'-i-'---..c•::,;•....,.===•:;-l--==,,---=<=::
                                                                                                                                                                                                                                                              182.041 5,667.91!
XX-XXXXXXX        !w1UJAM OTTO THOMPSON MD                                                      !69S DUTOiESS lPIC'E SUITE 206                               l                 lPOUGHK;.;~E. NY 12603-6442               !      37s.oo:     30L74!  18L74i   120.00I
S7-0694298        lOiARLESrON PAlliOLOGY PA                                                     !PO BOX 30309                                                I                 iCHARlESTON, ~ 29417           -----;i----204.-00-;i----~18~L~737i--==.---=~
                                                                                                                                                                                                                                                    181.73!
                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                   -!
41.1911s16        !GoLD CROSS AMBULANCE SERVICE                                                 !Po sax 860193                                               I                 !M1NNEAPOUS, MN 5S486-0193              !      1,s31.191       1.745.90;    181.561       l.514.34i
XX-XXXXXXX        !ANGELA lNTIU MO                                                              11415 ESSINGTON ROAD                                         l                 !JOLIET, ll 6043~2873                   !       226.DOl         206.47)     181.•,!         25.0Dj'
44-0661D18        lmuMANACAOEMICPHYS                                                            2301HOLMESsr                                                 l                 \1CANSASCR'Y,M0641.0B-2640                      363.00!         181.44!     181.441              -!
l-'•~7-~306"'7~33=3'--tJ•~o"•~"'~J=ERSE=Y'-'F"-AMccl=LY'-'M""E"'D"'1o"'N"-EU.C=-------------+1=•~v•~w~P0~•~~•'-------------t[_ _ _ _                                          -,!,..=
                                                                                                                                                                                 __0~,MJ~D7~4~36~------;----~•2S=.ooc.,:----'='=""="c+i_ _-==i----==
                                                                                                                                                                                                                                           180.961 so.ooi
XX-XXXXXXX        luNIFIEDWOMENS HEALIBCARE OF TEXAS                                            61DO HARRIS PKWY                                             lsre 140          IFORT WORlH, TX, 76132                          540.oo;         1so.94f     180.941'       260.00!
XX-XXXXXXX        IPROGRessrve MEDICAL CENTER                                                   1841 w ARMY TRAIL ROAD                                                         !ADDtSON, 1tso101-l901                  l       248.00!         220.sai   1ao.aai  40.001
F'=-o-=•56=5=03~1'--+IM"U"'K"'U"N=.Dc;KO"'M"-AN=DU"R=-IMccD=-SC~--------------f,96=3129=TH INFANTRY DRIVE SUITE 100                                                 ---~------JJ,;,u~.IL~604-•~s~-•~103~------l~_ _ .,445.00i..__________ --=296=·•=,11__~=+---==t-----'21=
                                                                                                                                                                                                                                                         1ao.ssl 115.861
                  1                                                                                                                                                                                                          1                           180.301  25.001
i===12,,,1,,,os=s'--tLH=""=M=EDc;ICAL=P'-'C'----------------- ]PO BOX 30817                                                                                                  !NEW YORK, NY10087~-08=1'~----+---~•1~•=.3•=;_ _ ___:c20=530=1-!---==+-----===+------=21
21--0441401       \LORt NAGLIERI MC PA                                                          11011 RIBEUN RANOi DR                                        lsurrE 200      !AusnN, TX mso                           200.00 l                  1ao.osi  1ao.oa!          21

ic•=-1-<=i•••~•='"'--t[...,=~••~•=•~•"=-RO=L0=GY~ASS=o=C1A=:rES~-------------+1~00011=-coNGRESSSTREET                                                        I                 !PoRTtAND,MED4102-2124                          401.00!         314.46!     180.DO;        134,46:    21
XX-XXXXXXX        IPATHOLOGYCONSULTANTS                                                         IPOeox21361                                                                    1NewvoRK,NY1D087•7367                           180.00:         120.00!     180.ooi              -I   21

2o-s792on         luPPER WEST SIDE DERMATOLOGY PC                                               2n w END AVE APT 1B                                                            !NEW YORK. NY, 10023                    I       465.oo!         3s9.34j     1B0.00!        209.34[
XX-XXXXXXX        [PONCE PRIMARY CARE                                                           !PO sox 14680                                                I                 !eELFAST, ME 04915-4041                 i       225.oo'.        1so.001     1ao.00I              -1   21.os
XX-XXXXXXX        INANfTTE [DOK MD                                                              4480 N COOPER LAKE RO SE SUITE 220                           I                 ISMYRNA, GA 30082-4623                  !       180.00 ·        180.00!     1so.oo!
XX-XXXXXXX        !EUGuus P LELIS MD & ASSOC SC                                                 1953 N 129TH INFANTRY OR STE 110                                               bouET, IL 60435                         l       22s.ooi         225.00:     1ao.ool          •s.ooi
i47-0813040       !NEBRASKA SPINE CENTER                                                        13616 CALIFORNIA ST                                          isrE 100          loMAHA. NE 68154--5336                  I      3,898.0D[       3,sgs.00!    180.ool       ,.64,.ool
XX-XXXXXXX        !OJMBERtANDFAMlLYMECMCNE                                                      !1203HIGHSTNSTEA                                                               !MJUVIU.E,NJ,08332                      !       200.oo!         180.00t     1ao.ool              _I   2

XX-XXXXXXX       IANDRES ENmauez MD                                                             !836 E REDD RD                          ------<!_____..!eLPASO, TX 79912                             - - - - - + - - · ··- 220~!-         220.00{          180.00!'40.ooi     21.0&
XX-XXXXXXX --•·· lcot1s~eCK aBGYN ASSOa~~-~-~-~ ---·-                                           ]po eox 240                                                  !I                !roLTS N~~ NJ on22-0240      --+--·~ 340-00!----_-_-_-_-_-_="',,=~_.94=
                                                                                                                                                                                                                                                  __ "":---==;---~=-----=,-=LOS=
                                                                                                                                                                                                                                                           179.941
ss-2631866 ____   lTHoMAS=K-"KAR=tSNY~-----·--------                                            li'-,202=H~os"',"'nc~.,-.-D-___-__- - - - - - - - - - + .- -__-___-_-_-___-_-;c!SLA1=RSV=1u.e._GA3os12-3134                    320.00'         299.93!     179.93i        120.ool    zLos

75-2n8206         iNORTHDAUASPATHOLOGYSERVICES                                                  iPOBOX744127                                                 I                 iDAUAS. TX75374                                 281.0D!         224.80)     179.84-i        44.96!    2LD4


                                                                                                                                                           EXHIBrT2


                                                                                                                                                                  136
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                                                                                                                              AEU INTERIM D1511118U110N




02-D44264S    lcouNSE:UNG CENTER OF NASHUA PA                                       !1 MAlN STREET                                      I                )NASHUA. NH 03064-2716                               250.00·                 zz9.2a:         179.2s   i           so.oo!                   20.91

D6-0BB182B ____ fuROLOGYSPEClAUSt'PC                                                f1s79STRAITSTURNPtKE                                lsum2A           !M1CDLEBURY,cro6762                                  179.ool                 179.oo:         179.oo_:_ _ _ _-+1,_ _ _ _ _,o_.94_,
,.1_1._35_3_85_54_ _,l_HA_B_IB_M_O_NAS_M~D~-----------------+f3cc79=5'--'E'-'T""RE"'M""O"'N-"TA"'VE"------------i-----+=!eRO=Ncc,X.NY10465-.=.245=7c _ _ _ _ _ _+-----=65=0.00=;i_ _ __c2=2=0.B=Oc;..;_ ___:17;,B:=.9,:.31 _ _ _ _
                                                                                                                                                                                                                                 41.87=;--!------='"=..=-•-1
  XX-XXXXXXX        !ASSOOATION OFALEXANORIA ~~-~f?.LOGISTS PC                      !2501
                                                                                  PARKERS LN                                         !ALEXANDR1'\_Y~-~m_o_6_ _ _ _ _-+___ss_o.oo-;-l_ _ _ _2~32~5_6,_i--=-1'="=56,1_ _ _=.54cc.oocc.,-i------='"~-•=•-1

::::: 1::~;E:=~=PC                       ----------------i~!:.:"::AYBEACHBLVO                                                           '····----··-- _J::;~:::.~U694-2018                                    :::::                   :::::           :::1----'125=       14=:=6+-!------=::=:=S-i
s?-1140783    ~-USTEESOFCOLUMBIAUNIVE~;;                                            !Posox2952.7                                        I                iNEWYORK,NYtooa,                                     s9o.ooi                 383.26!         178.261           (255.DD)i                   20.as
                                                                                                                                                                                                                                                                                  1
XX-XXXXXXX    ieuseoASENOO,MD                                                       isgss47THAVE                                                         !wooos10E.NY11377                                  1,410.00,                 11a.10\         11B.10!            S2B.1s                     20.84

2&-1561210    !HEARTANDHEALTHLLC                                                    !2s1M1ooc.EcouNTRYRD                                I                1M1cDL£1StAND,NY119s3                                311ssl                  21s.09(         178.091             40.ool                    20.s3
XX-XXXXXXX    l1MMEDICENTER BLOOMFIELD                                              !ss1 BROAD STREET                                                    IBlOoMFIELD, NJ 01003                                203.00l                 203.ooi         178.00i             25.ool                    20.B2
3B-3878US     luRGENTCAREENTERPRISEUC                                               !POBOX742606                                                         :ATLANTA.GA30374-2606                                23a.ooi                 238.00)         173.ooJ              60.oo!                   20.a2

XX-XXXXXXX    !KIRKWBRODYMD                                                         lm4002341MCCAWEAVE                                                   !O!ArrANOOGA. TN37404-3237              I            692.ooi                46LSBi           1n.s2l             233.661                    20.a1
XX-XXXXXXX    IJEFFERSON OBSTETitlC:S & GYNECOLOGY                                  !GOO PETER JEFFERSON PKWY STE 290                                    !otARLOTTESVIUE, VA 22911                            195.001                177.81)          177.Bll                  _\                   20.80

e..~27009S6   lNoRTHWESTORAL&MAAILLOFAOALSURGERY LTD                                !1GOOw CENTRAL RD'------------,f------f-!A:::Ru~•~GT~ON="~•·~•G=HTS.=!L=6000S-=='40=7              ---+---''""'864.DO="'t-!-----'•=•'.::;65"'.oo'-'"+-1_ _.::;177=.36=+1_ ___c3,:.S::::87:.::.64:;:;..l-----='":::·'=-i'
XX-XXXXXXX    !sourH STRAND INTERNISTS & URGENT                                     l~o BOX 11967                                                        leELFASr, ME 04915-4010                              311.ool                 221.13:         111.ul              so.ool                    20.12

XX-XXXXXXX    iCARRoLLCOUNTYMED-5ERVICESINC                                         1Poeox900                                                            !wESTMJNISTER,MD211SB-0900                           743.0D!                43a.22!          1n.03l             26L19f                     20.11
XX-XXXXXXX    lKR1SGMCGRATii                                                        isooNM10i1GANAV1::                                  isurrE16420      l0i1CAG0,1L60611                                     222.00 1                222.ool         111.ool             45.oo[                    20.11
XX-XXXXXXX    IFOoT ANK1.E ASSOOATES oF NORnt                                       l24211RA E woocsAVE                                  5rE 100         ]GRAPEVJNE, TX. 76051                              2,53Lo0i                1,aso.59(         176.gol            913.791                    20.10
XX-XXXXXXX    1RAYMONDTAM Mope                                                      13-31Cfl5IHAVEN lANE                                                 lwHITESTONE, Nv1us1                                  349.00!                 201.14!         116.84!             is.co!                    20.69
SS-0628506    ICHARLESTONFAMILYPRACTICEGRO                                          l1220LEESTESTE201                                                    1CiARLESTON,WV25301                                  337.00:                 176.66!         176.661                  J                    20.67
XX-XXXXXXX    !MOUNT AUBURN PROFESSIONAL SERVICES INC                               jPO sax 415583                                                       ieosroN, MA, 02241                                   409.00!                 329A6!          116.46!            153.ool                    20.64
XX-XXXXXXX    IDERMATOLOGY ASCOF MORRIS                                             !m BALDWIN RD STE 230                                                \PARSIPPANY, NJ, 07054                  !            460.00i                 323.89j         176.39:            147.SO!                    20.64

p',,:~A===•<e.--1l,eM,e!NeeUTE=CUe,Ne,,IC"-'D'"IA,sG,eN,cOST1=c_,,OF,:,.W1S=------------- !~PO=BOe,X,_,lcc415=S_ _ _ _ _ _ _ _ _ _ _ _+!. _              !BB.FAST,ME04915-4032                                333.00!                 276.QEii         176.06!           100.00!                    20.60
 XX-XXXXXXX    iALKESH PATEL MD                                                          ·····111n MAIN STREET BUILDING                                  lPlANTSVILLE, cr06479-l568                           450.ool                 250.86!          1,s.a&l            1s.ool                    20.s1

F2~,;.~•1S=6900~-,i~,M~•o_WEST~-••-oo~CR~••..co~LO~G~Y~LLC~---------------t)=-88~70=-•~•=LA=EL=o~•~o~AD~------------,f-----·rlCRVST=~"'~IAKf.=~'~'~6oo~1~~~~•-----;-'!_ _ _445=.oo"+"!---~'"=·ao-',1,-__1~75~.so=',,l_ _ _..
                                                                                                                                                                                                                          =·oocc;•!f--_ _ __c2~•=.s'-f1
02-o66aoo8    !l'HEALTHWAYMEDICALPC                                                 \219sEAST22NoST,1c                                                   1eRCOKLYN,NY11229-3656                  I            300.ool                 zss.141         175.74!             so.ool                    20.ss
                                                                                    1
20-222&0s3_~010LoGV ASSOOATES oF NEW JERSEY                                          28075 NETWORK PL                                   I                !0t1CAGO. IL 60673                                   489.oo!                11s.s3!           175.63 j                -'                   20.ss

XX-XXXXXXX    !BACK IN BAlANCE CHIROPRACTIC                                         !S18 HILLGROVE AVE STE 275                                           !wESTERN SPRINGS, ll 60S58                           645.ooi                445.50[           17S.SOI           405.00
                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                    20.53

XX-XXXXXXX    IACCESSMEDICALASSOOATESuc                                             lPOsox16081                                                          fLOVESPARK,IL6W2-6081                                269.00!                11s.4ot          17S.40i                                       20.s2

S6-2154671    !1MPERIAL ent FAMILY ME0IONE                                          14309 EMPEROR BLVD                                  'STE 125         louRHAM. NC. 21103                                 1.10Loo:                  2Bs.a1!         11s.211            385.181                    20.s0

XX-XXXXXXX    !PRIMESURGfCALASSOOATESINC                                            :POBOX421607                                                         !ARANTA.GA30342·5821                               1.711.SB!                 219.0B!         17S.26!             43.82'                    2050
XX-XXXXXXX    lLESUE C DOCTOR MD                                                    (129 KINGS HIGHWAY NORTH                                             iWeSTPORT, CT 0688~2431                            1.040.00\                 620.79;          17S.001           SDS.79l                    20A7

XX-XXXXXXX    !KlAuDtYA RUVINSKY MD                                                 !2829 OCEAN PKWY AVE                                                 !BROOXLYN, NY 11235                                  zso.01l                 11s.01;         11s.01!                                       20.47

134314316     IAMBUlATORY CARE PH\ISIClANS                                          lPO eox 638392 _ _ _ _ _            -------+-----+'o=•c-=c='"c-="•=TI, OH4S263-83!?2                                      200.~i~--~'~oo=.ooc=;'. --=175=.oo,i_ _ _=iscc.oo='+-i'_ _ _ _.....:,>O=A"-7-l
XX-XXXXXXX    [HUDSON   VALLEYGASTROENTEROLOG-=-Y'-'PC~-----------+l2~6~PEA="'~STR=•~ET___                                                               !KINGSTON, NY l2401-4S=2=-2------+------'2SO=.oo=;-i-----=1'-',s=.oo=:,___1:::75.::;.oo=;.!_ _ _ _......_ _ _ _..c>:::•:.:·•'-f'
20-406657& .. ioAVJDGANDLERMD                                                       ]gos FIFTH AVENUE                                                    lNEWYOR1C,NYto02t                                  3,600.0Di               3,400.00;          11s.ool        (2,455.oo)!                   20A7
XX-XXXXXXX ··· !1s FAMILY MEDICAL                                                   i3743MERMAID AVE 2ND FL                                       ---,c!•=-•o-o~n~YN~.~.-,-1122-.----- -----~2SO-.oo-,---~1-,-,_-oo+!--~,~,,~.oo"+-I- -                                        '+,----~,-
                                                                                                                                                                                                                                                                                        •.•~,...

                                                                                                                                       EXHIBIT2

                                                                                                                                            137
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                                                                                                                                                         AEU INTERIM DISTRIBUTION



                                                                                                                                                                                                                                          ':~~.          .   ._ ._;-'.· ~~,~;~-:..;;
22-34S2516         [SA~DAJ.Y                                                                             451BROADWAY                                                            i                  !BAYONNE,NJ07002·5836                  i            200.00)                                                                              20A7

XX-XXXXXXX         )FoRWOMEN INC                                                                         ,Posox7061os                                                                              iaNONNATI. OH45270-6tos                             11s.oo!                ns.ool             175.ooi                  -l                20.41
XX-XXXXXXX         ITHOMAS HANDEL 0   D INC                                                              270 S Ct.EVELAND MASSILLON RD sum: A                                                      iFAIRLAWN, OH 44333-3D14                            175.00\                175.00i            175.00!                  -!                20A7

~6-4762484         ]ANNEMARIE.t::UDELKA=M:cDc;Fc::A::::CC:__ _ _ _ _ _ _ _ _ _ _ _ _-f!2==•=-H:cE=•=••-=-ST'-------------,f"'sre=•os=---,.=;0t""1"'CAGO=•cc""""'D6"1"-1-=292=6------+----=•"'''==.o==•,-;-----=":c•::.00c::;i_ _~1,,,,,s.,,,00'+\-----=,..-----''"'0:::::A'-17
4S-2132507         IKEVIN MCPHERSON                         ______________                                                _ _ _ _ _ _ _ _ _!sr_ec_ _ _ lcotuMsus. GA31904
                                                                                     i,~,.-•_•_•o_o_KSTO_N_e_ce_N_Tll_E_P_KWY                                                                     470.ooi            .. 410.oo~  11S.00 ;i_ _                                                                     --=29ccs=.oo=i------='•cc.·•=-'-1
                                                                                                                                                                                                                                                                                                 1~.ool
                                                                                                                                                                                                                                      0

~?_:4734363        jURGENTCAREPH'l"SICIANS                                                               !46NEWMANSPRINGSRDE                                                                       r;~BANK,N.IDnOl                                     470.00:                470.00~                               23s.ool                 20.47

XX-XXXXXXX ....•.1BRADOOCKMEDICALGROUPPA                                                                 :91ZSETONDR                                                            !                  !cuMBERLAND,MD215D2-1818                            175.0D                 175.00/            175.oo]                  -i                20A7
XX-XXXXXXX.... )CHILDREN~ MEDl~LGROUP             ......... ······-·····--•H- •MH•H•m - - - - - ~ ---+i186~7_CRAH_E_R_IDG_E_DR_STE_10_1B_____                      ..   ::.:::J                              MS=.~.,=,-=.===-----+1.----'215=.o::.:o:..:-----',"',."..=.;..,_ _,::17:.:4=.9~.i-.- - -..-.oo-,~i,-----=,.~.•-,..
                                                                                                                                                                                          ---"iJA=OCSO=:c:N=-.
XX-XXXXXXX         !ADVANCED RADIOLOGY SC                                                                i615VAUEYVIEWDRSTE202                                                i                    1MOUNE, IL61265-6180                   i            53652(                 201.16f            174.21]              26.SS!                20.38

XX-XXXXXXX         'wALTERCAMPSEtLMD                                                                     2401RAV1NEWAY                                                          lsurre101          !GLENvtEW,IL60025-764S                 I            756.oo:                114.22!            11.c.221           334.a1!                 203s
01.g1260SO         iJOHN r MCINERNEY LCSW                                                                f275 7TH AVE 112501                                                                       !NEW YORK. NY 10011                               2,100.00,              2,100.001            174.ool           1.926.ool                2036
 XX-XXXXXXX        :MEDICALWESTRESPIRATORYSERVICESLLC                                                    19301DIELMANINDUSTRlALORIVE                                            t                  fSAINTLOUIS.M063132-2204                            217.00:                217.00!            173.60)              43.40!                2031

XX-XXXXXXX         !RENAISSANCE MEDICAL GROUP PA                                                         66 WEST GILBERT STREET                                                                    !TINTON FALLS NJ 07101                 l            227.00i                173.351            173.351                  -1                20.28

27--3670095        !BAYSIDE URGENT CARE CENTER INC                                                       [10015 FORT HARRISON AVE                                               !sre: 101          !0.EARWATER FL33756-3941               f            372.St!                372.51;            173.141            139.37!                 20.26

XX-XXXXXXX         !EARNOSEANDTliROATASSOCIATES                                                          !4401COITRCSTE411      - - - - - - - - - - + l_____,i~FR=ISCO=·~TX~'-='035=-0S.2=0~------+----=··=•=.o"co•_ _ _ _s=,Oc.=1.2=8c;i_ __,1"'72.9=•...' ___3::.,2:,63:;D:e;_ _ _ __:2:,::0.2::4:...i
22-373&10~•-+IOA=KT11=e•~•_AM_1_,v~,+===ce:c:u.=c~--------------+-11_n_e_ss_,x_A_V_E_SJJ_1TE_10_1__                                                      ............ !METUOiEN, NJ 08840-2281   l        ---~~~2:     .............5::zs.nf-·..·-··-· ~?2.96f- _ 352.a1i                  20.23
                                                                                                                                                                                                                                                                                             H




22-25157388        !eclSON IMAGING ASSOC PA                          ---------~PO~SO~X~32=·=·-------------+----~'!~DIANAPOUS, IN 46206-3263                                                                                                          U67JJO'                  519.00;            1n.54i             346.46[                 20.19
XX-XXXXXXX         !1MAGINGASSOOATESOFHAZLETONPC                                                         !POBOX9695                                                             ]                  IPEORIA.ll61612-9695                                400.0D!                172.39;            172.39!                                    2D.17
S5-2248203         !CiARLESWArr5aROBERTS                                                                 142PROFESSIONALPARKDRSUIT'E1DOAND2                                     !                  !MoORESVlll.E,NC28U7                   !            725.oo!                112.00!            112.00!            553.ooi                 20.12

XX-XXXXXXX         IWMcc1VERSIFIEDSERV1CES                                                               Posox11so                                                                                 lvA1t.cos1&Ss-1iso                                  760.ss:                sos.9s!            1n.ss!             533.95!                 20.10

XX-XXXXXXX         !MEMORIALHOSPITAL                                                                     lSO0ESHOTWEUST                                                                            l~INSRIDGE,GA,39819                               2,379.oo!                171.75!            171.75!           1.410.071                20JJ9

XX-XXXXXXX         !eR1DGESOHROPRAcnt                                                                    sot55WEST£RNAVE160                                                     I                  isaouxFAUS,S057108                                  445.zs!                231.22!            111.54!              65.68!                20JJ1

XX-XXXXXXX         )GWINNETTCENTERMEOICALASSOOATES                                                       ,7480lDNORCROSSRD                                                      !surTEtSS          !LAWRENCfVILLE,GA30046-3395                         34LOO!                 171.411            171.411                  .!                20JJ5

XX-XXXXXXX         lwAtTER PEREZ.MD                                                                      ]Po sox 111                                                                               !HARRlSON, NJ 01029&1340               !            20&.oo!                111.21!            111.21!                                    20.03

XX-XXXXXXX         \MHSPHvs1aANSoFTEXAS                                                                  6400FANNINsr                                                           !sn:2010           \HOusroN.TX77030-lS4t                  !          1,sal.1&'.               244.35!            111.os!           1,326.541                20.01
35-11:,51882       IRADIOlOGICASSOCIATESOFNORTHWESTINDIANAINC                                             POBOX809636                                                                              l0i1CAG0,IL60680-8802                  II           461.00!                195.34~            170.74j _ _ _2:c:4".SD",>1_ _ _ _~19=.9',

i: •: : S-: :1"': .•: c•o:•=-2,_-4_-i:M:,c:H=1=GAN::H:EA:"'c"'nt:CA:••:.: :.""o:::FE55::"',:=o:N"A:::IS:~:~::::~~~~~~~~~~~~~~~~:i"',. .=~;"',:":o=RTI1~~:wesre~-=-;""~-H~l~G-H~W~~~v~s-u=rr:e:c~~~~~~~~~~::~~~~~~~~~lr-ARM~-~-='":GTO~:•~.-M_-,_•~63~34~~~~~~~~~~~~:1~~~~~~27~=3.~oo:~,~=--~""s=A~2,J_ _~1"'"'•·.c•2'1-l·___◄"s"'.oo'"!~---~'==•=s•1
13-27~5787         iKIM Ol'OONG W- NORTiiEAST BRONX OB GYN                                               623 EAST 233RD STREET                                                                     !BRONX. NY 104~2801                                 390.00~        _ __,19=S=.3=3i;-__.::17c:,0.=:33'e!l___:2Sc,.00=,..i_ _ _ _...:19::.9-=--!3

20-386797s ... .JoiARlfSFGLASSMAN                    --------------f2,::6e:FIR:,EM=E::.N.::M::cEM=D•ec•:.:1:=15=---------+----!e-PO:::M,cO"NA=•N::.Y.:10::97=0-04=SD=------i-----'"==15.00=:-!_____3_1234
                                                                                                                                                                                                     __                                                                              !__~1=70~.23=),____1:c:•=2.=11c;:----~"=..~'c.a
XX-XXXXXXX         IMICHAEL TERRAN1 MD                                                                   PO eox 310                                                                                '.PtAINVIEW, NY 11803-0310             I          1,481.00!                523.39!            110.ts   i         353.21]                 1si.s1
XX-XXXXXXX         lcoLQu1TTREG10NALsuRGERYLLC                                                           14LIVEOAKcouRT                                                         I                  'MOULTRIE.GA3176S                      !            462.0D'                110.1&i            110.1&!                  ..l               19.91
06-100364S         lOENNISJAYGOTTI=RIEDM                                                                 !s95EASTMAINSTREET
                                                                                                                                                                                                   1
                                                                                                                                                                                                    roRRINGTON,cr06790-39IB               I            2Ss.oo;                110.14i            110.141                  -l                19.90

1s-12S&s19         IRAolOloGY ASSOCIATES OF NORTH                                                        IPo aox 99337                                                                             lrnRTWORTH, TX 76199-0337                           3s1.ooj                110.12[            110.121                  -1                19.90

U-3923884          !oAVIOOVOLPIMD                                                                        i262CENTRALPARKWEsr                                                                       !Newvosu.:,Nv10024                                1,1SO.ooj                690.ool            110.ool            520.ool                 19.89

XX-XXXXXXX         !GLOBAL PEDtATR1cs AMO FAMILY M1Eo10NE                                                iPO sox 19719                                                                             lSELFAST, ME 04915-4092                             4s0.00\                19s.ool            110.00!             40.oo\                 19B9

F2"-1-.,,1•::.'""''=.,~..,!"',.ev"''=N-=CASS=•=-0v'-------------------                                   lsts. KEISLER DR STE 104                                        ...   J....               !CARY, NC27518-7097                    ! __1.~360_.oo_:___ ...... 1.360:oo~ _....._..•. ="~•=·oo"'l __~l.~?.?.~!----~"=.s=•.,
Ss-1140337
XX-XXXXXXX .....
XX-XXXXXXX
                   lsuMMrfRADIOLOGY
                   !CRYSTAL LAKE IMMED1ATE CARE PHY~~~'------------~!=PO:c•=o=•=''"',..=-------------f---
                   lSHElBY RAOIOLOG!CALASSOOATES PA
                                                                                                         ls20e 22ND sr

                                                                                                         !222 N LAFAYETTE ST STE 1
                                                                                                                                     ......... _..............·-·-··------i!_____,"';LO=M=BAR~o~.~"=6•='48-~•-110
                                                                                                                                                                                                   [OiJCAGO,IL606~94~-~''~
                                                                                                                                                                                                   ISHELBY, NC28150
                                                                                                                                                                                                                        ..~------+·!.··
                                                                                                                                                                                                               ______··-i-;·_···_ _ _,_. .~·oo_ ---~'34.~00_)_ _~1='=•·=;001
                                                                                                                                                                                                                                                       230.00'.
                                                                                                                                                                                                                                                       170.001
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                                                                                                                                                                                                                                                                              230.oo;
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                                                                                                                                                                                                                                                                                                 170.00i
                                                                                                                                                                                                                                                                                                                    S64.ooj


                                                                                                                                                                                                                                                                                                                          -i
                                                                                                                                                                                                                                                                                                                                            19.89
                                                                                                                                                                                                                                                                                                              --=SD~.ooc,...!----~19~...cc.-i
                                                                                                                                                                                                                                                                                                                                            19.89


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                                                                                                                              AEU INTERIM DISTRIBUllON




 XX-XXXXXXX         lsoun-r LAKE o.tNIc PA                                              [1110s Hur01INS cRsurre 250                                           !MINNETONKA. MN ss34s                                         no.ool                   194.ss:            169.ssl                  25•00    !                   19.a7
 XX-XXXXXXX         \AFTER HOURS PEDIATRICS PC                                          15904 HOU.Y AVE NE                                 -r----t1A'-'IB~U'-'QOCU-=:E•ccn,ccuE=,•'-'"M=87'-'1=13'-'-2"47'-'2'-----+----=:1nc.:c.s=.7:s:_ _ __c169=-:::87cc'._ _..,1::,69:c,.87:,_!;-_ __,,,0.0,,,1,.i_ _ _ __:19::,.8:,:7-1
 XX-XXXXXXX         I SEAPORTMEDJCAlCENTER                                               56WHITEHA1LAVE                               _   ...1m_1_ _ _,..;_M_YSTI_<;_.~.06355                                             1.os2.oo;                   798.64)           169.78!                 317.86!                      19.86

 XX-XXXXXXX         lw1WAMBSIMPSONMD                                                    f1s3813THAVE#S150                                                     lcoLUMBUS,GA3190l                                )          2,681.00:                 1,258.39:           169.471               1,103.s2!                      19.83
 XX-XXXXXXX         lw1N0SORMEDICALASSOCIATESUC                                         !PoBOX104                                          l                  !WJNDSOR.CT06095                                 i            us.oo:                   159.40\            l69.40i                        -!                    19.82
 XX-XXXXXXX.
 XX-XXXXXXX
                    IMtSOI HYUN HODAPP HEALTHCARE LLP
                    \DESERT SHORES PEDIATRICS PC
                                                                                        jnso w H~-~~!l_!l~GE PARKWAY
                                                                                        is2BSs HIGLEY RD
                                                                                                                                           !
                                                                                                                                           !
                                                                                                                                                        I      HENDERSON. NV 89052-507S   _·1                               2,s.00!                -I169.191
                                                                                                                                                     ____,_jG-,LBERT--.-.,.~as-,.~....,~.,=~----+---~,,~,.o~o~,----','-'=.oa=! -..----·----~~;l-----+-----~,.=_'-l
                                                                                                                                                                                                                                                                        169.19 r                                             19.79

                                                                                                                                                                                                                                                       69                                                                        78
 11-34404&2         !ARGENMEDICALPLLC                                                   lsmNESCONSETHWY                                    lsum10             lPORTJEFFSTATION,NY1111s.20&1                    /          1.774.ool                1,634.401            159.ool               1,481.00]                      1s.77
 XX-XXXXXXX         !THOMASKENNETHEHNI                                                  !121SSARUNGTONHEIGHTSRO                            I                  lARUNGTONHEIGHTS,IL6000S-3142                    f            60S.OO!                  304.00!            169.001                 135.ool                      19.77
 ?-1466368          ICAROuNAMEOICORPENTERPRISESINC                                      Jpoaox1s1S03                                       I                  ICttA1U.CTTE,NC2827s-1eo3                                     194.00:                  194.ool            169.00!                  25.ool                      19_77
 S13--262979S       IAovarnsrHEAl.ntSYSTEMGEORGIA                                       )103SREDBUDRD                                                         ICALHOUN,GA30701-2012                            1            z5s.oo!                  268.oo!            169.oo!                  49.ool                      19.77

 s1-022641S         lwESTERNMONTANAWNICPC                                               IPoBOX7609                                         I                  !MISSOULA.MT59B07                                [            221.00!                  l.6B.9Bj           168.981                       -!                     19.7?

 2o-s57226=''-+i•-"RANA= CENTER FOR ASTHMA AND ALLERGY                                  t6857 KINGERY HIGHWAY                              !                  !waLl.OWBROOK, IL60s21-s114                      l            230.00!                  m.as!              168.88i                  is.oo!                      19.76

,',=-2--=:100&.l==-·•'-...,!LAF=A-"Y-=:ETTE=H-"EAL=TH"-V-'-'E""NTU=R=ES'----·--·_·----------+!9=00=-E~5A=INT=MAR=Y=-BL=V=-D=-5lE=106~-------11 _ _ _ _-+!LAF=A~YEm=~·LA.='=-05=03=-------+---•=2=-6.0=-0c.'._ _ __cl,:"8::.BS=;-t--=-'""=.85=:l,--_____                                                +!'------="""·'"''-I
,_4_5-443_1_•_n_                                                                                                                                              __u_,_G_A_31_7_92_·53_91_ _ _ _--+·--~r;,~•~"~'~'.---~==.ss=-~---'=""=.ss=<l
                   _,ITH_o_M_=_111E_FO_o_T_A_No_A_N_KLE_CE_NTE_R_ _ _ _ _ _ _ _ _ _ _ _.,.l2_0_2•_e_P_1N_ETR_e_,_s_,v_o_ _ _ _ _ _ _ _ _ _ jmH _ _ _ _!,_TH_o_MASV1                                                                                                                             114.18)                      19•72
 XX-XXXXXXX          lsHARATDASANIMD                                                     :POeoxz14                                         i          [B.MWOooPARK.NJ07◄01-021c                         1.110.00:        408s1i      168.19!                                                    240.78!                      19.68

XX-XXXXXXX         !KCEXPRESSLLC                                                        iPOscx23789                                        !                  IJACKSON,MS,39225                                           2,11s.23;                  2oa.11l            168.11[               1,293.11!                      19.67

 s1-0524963        IAMSOLPHVSICIANSOFcoLuMsusGA                                         lro eox 610203                                     I                  lDAUAS, lX 1szs1-ozo3                                       3,300_00 1                 539.92!            168.01!                 371.911                      19.66
30-00ZS909         !ROULRSIRCARMD                                                       j44SO.CAUBREXINGNWSUITE1224                        I                  ]ACWOR1H,GA30101-4104                            I          1,724.13;                  88335!             167.93:                 790.42l                      19.65

 sS-066s614        IPRESTONTAY1.0RCOMMUNITYHEALTMCENTERS                                iPOsox3S                                           !                  lNEWeuRG.wv25410                                              218.ool                  21a.ool            1sa.ooi                  so.ool                      19.65

84-0S96245         !FORTCOLUNSWOMENSCUNJC                                               !1101s.LfMAY                                       !sum300            IFORTCOWNS,cceos24-3955                          I            168.ool                  168.00!            168.00]                      -1                      19.tiS

XX-XXXXXXX         !MERCERPHYSIOANSERVtCESPC                                            IPOeox1911s                                        I                  leELFAST,MED4915                                              ss2.oo;                  29L38i             167.78!                  98.&0i                      19.53

~-~13              jREDIQJNIC AUSTIN LLC                                                jPO BOX 14150                                      j                  !BELFAST. ME 04915-4132                                       296.ooi                  192.60!            167.60]                  25.po=     -----="'=.6=1-1
                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                          i-i




Fo=-1-<=''=54-"094=---+!KE=c=otA=""""M='°='CA=LASSO==OA=n=o~•-------------+h=,.~•~w~CRA='="~•OA~o__________71rm=140~--t-l'"~D~RTH=LAS~VE~GAS.~_•_v890=32~-----t-i--~•=2•=·2~•.,.'1 ---~,.~•=-.,=·,-,---=:'"=-'·=34'!,l--~'=2._=-.='1-l
                                                                                                                                                                                                                                 . ____,.=.s=-1•
 XX-XXXXXXX   !PRIMARYCAREOFSHElTONllC                                             lssSBRtDGEPOR'l'AV£NUE   ln2             lst1ELTON.cr06484                  !         290.00              167.371       167.37!                -I   19.se
                                                                                                                                           1
XX-XXXXXXX __      !oESMOINESUNMRSJTYOST'EOPATHICMEDICAL                                IPoaox16z14                                                           iseLFAST,MED491S-4DS7                                         304.oo:                  1a2.34i            161.34!                  is.ool                      1958

XX-XXXXXXX __      lsa.HEALTHMEDICALGROUPBIWNG                                          \poeox912596                                       I                  loENV£R.COS0291                                      --~2=,s=·'~'~'---~2=01·.~~-                          161.021                  -10.ool                     19.54
XX-XXXXXXX         ·1SOUTHTEXASONCOLOGY&HEMATOLOGYPL1C                                  !roeox268                                          !                  !SANANTONIO. TIC78291                                       3,317.04i                1,352.84!            166.821·              1.186.021                      1952
XX-XXXXXXX         !oe.-GYN so1.m1wesr                                                  1122ss s BDTH AVE srE 20s                                             IPALOS HEIGHTS, JL 60463-1284                    I            tas.oo:                  166.Sol            166.so!                       J                      19As
XX-XXXXXXX         :SCRLABORATRYPHVSICANssc                                             lPOaoxs9ss                                                            !CAR0LSTREAM,1L60197-5959                        l            189.oo:                  1n.ss!             166.44!                   6.11!                      19.47

XX-XXXXXXX         !KANG-LEE &JANUSZ PEDIATRICS LLC                                     /2177 OAK TREE RD STE 207                                             iEDISON, NJ 08820-1082                                        405.00)                  16631!             l663li                  165.91]                      19.46

 XX-XXXXXXX        !sa.HEALTHMEOICALGROUP•DENVER                                        !POBOX912396                                       j                  'DENVER,C080291-2596                                          166.25\                  166.25!            166.25!                                              19.45
 XX-XXXXXXX        lv1NCENTPBAS1Uc:EMDPC                                                13400NESCONSETHKiHWAYSUJTE107                      I                  IEASTSETAUKET,NYU733-3327                        I            3zs.oo:                  226.14;            166.141                  60.ooj                      19.44

?.S-2302043        !LEWISVIUE OBSTETRICS & GYNECOLOGV                                   !4001 LC:NG PRAIRIE RD SUITE 150                   l                  I ROWER MOUND. TX.~7~502~•~----~--                        __.203.~      --~--~----·--· 166.18•,-.j--=-'66=.18=;1c--_ _ _ _J+-----='"cc·44~

~t-4164GB='-'i'-',RD"M""G'-'A550='-'0A=res=••-'-----------------i'~'o'-'s'-'o~x===------------i1-----Jpo~ALIAS=·~T1<.=7S32~~-                                                                                             3.670.03] __________________ 2.25s.,=.04a!._ _..,1=c66=.oo=;-l_ _   =,2.•=89=-·c:co,'+i______,io"'.4:::2'--1
~.?:0836544 lENOOCRJNEASSOCATES'?£.~N_G_ISlA_N_o__________ -·--•-·-·· ~732SMmITOWNBYPASSSUrTE 1m          I       lSMrnrroWN.~Y. 11787-5020                                                                                 3SO.oo.:_.,_...,___2_s_s.1_•1--i___,._s_.1_,•le----'°-·oo-;-l_ _ _ _~l!l=.J~•-1
si-3357723         iTRr-srATE EMERGENCY                                                 11s REMllTANCE DR                                  ID£PT6091          !ottCAGo, tt.. 60675                                        2,656.ool                  16S.3sl            t6S.38l                 690.00!                      1935


                                                                                                                                          EXHIBIT2

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                                                                                                                                                           AEU INTERIM DISTRIBUTION



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                                                                                                                                                                                                                                                                                                                                   ··"'~"' "''   ~
                                                                                                                                                                                                                                                                                                                                                 1935
J.3..3679951     !NEILGOLDBERG                                                                            l77poNDF1ELDRD                                                                     leRONXVILlf.NY101os-3so9                                     2is.oo,                 187.ta(          165.28!                21.s2·                 1934
l.5-0539039      iAOFOXHOSPrTAL                                                                           l1NORTDNAVE                                                                       !oNEONTA.NYl.3820                                 I          J.»3.44[                 1ss.24J          165.24!             1.011.44!                 19.33
XX-XXXXXXX       !GEORGELUMMC                                                                             !13630MAPLEAVESUrTElJ                                                              !R.USHING,NYlUSS-3869                                        450.00!                 235.36]          165.16!               70.20)                  1932
                                                                                      1
XX-XXXXXXX       !CONCORD OPHTHALMOLOGIC ASSOCIATES ...                     ---------F-
                                                                                      2 PILLSBURYSTREET~Sc:U~ITE=-1=00~---------'I . ···-- -·-···--..!coNco_RD, NH_03301-3549 ___ -----+---'240=-"="'-[-----"24:,0.,eoo"::_ __cl,:,65:,.DD""l-l_ _ _7c,S,,,.oqi;...- - - - ~19.30
                                                                                                                                                                           1
F2=-o-=••=160="'--.i•M",1NUTErnN1co1AGNosnc OF GEORGIA                                                    13905 aue WEST RD NW                                             1                 iMARlmA. -~-~ 30064                                          786.0Df                 3D3.13j          1ss.ooj              337.ui                   1930
XX-XXXXXXX       \BRICKWOMENSPHYSIOANSPC                                                                  l1140BURNTTAVERNRD                                               ,~-~2A            iBRICK,NJ08724-1496                                          165.00:                 165.00!
                                                                                                                                                                                                                                                                                       4
                                                                                                                                                                                                                                                                                                   165.00!                    -1                 1930
:.:6-4:..:.:..:,~=~-D:R:MARK::=••"'AP"'Pc.cAD,cD::::ro=u:::M:cD::.P_C_ _ _ _ _ _ _ _ _ _ _ _ _ _-l',:n.=E"'l"'RV"'IN:.:.G.::•c:··"'·"'•:.:.D~-----------+,s"u"'ITE=C'-----,Fw"'oa"'o"o"-ALE=,"'IL"'60,::1::,'1c_·20-20---------i-_-_-_-_-_-_..!!_215_··_~;,_;;-l__-_-_-_-_-_-:_-=-_215.:=ooi~--'1=.=•.oo::::;._,..!~~~~~~.:.-.oo"'C},"'''~~~~~~:~:~,::
                                                                                                                                                                                                                                                                                                                                                  1930
 XX-XXXXXXX           FREDERICK PEARSON MD                                                       190SsCHEVROl.ETDRSTI:Z04                                            T                  fetucorrarv.M02104z-4000                                     zss.oo
                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                   zss.oof       165.ooi               so.oo/                     19.30
ss-1168693       !1NTERNALMeo1aNeoFGRrFANLLP                                                              !619SBTHsr                                                       iSTE200          -l~RIFRN,GA.30224                                             330.ool                 16s.oo!          16s.ooi                                       1930
XX-XXXXXXX       ivALENCA GYNECOLOGY ASSOOATES INC                                                        l21an SMYTH DR surre 102                                         l                 lvALENOA, CA 91355                                           3Bs.oo:                 1ss.ooi          1&S.ool                                       1930
XX-XXXXXXX       !FREDERICAIMAGINGPC                                                                      lPOBOX16866                                                                        !SAVANNAH,GA31416                                            309.00(                 164.aol          164.SOi              103.0DI                  1!1.28
oB-4443915       !sose1urrAoc                                                                             l2oosNE6STHST                                                                      ISEAmE,WA9Stts                                  i            34s.ool                 204.39j          164.391               .co.ool                 19.23
sS-2559985       !AUGUSTINE o EWE MD PA                                                                   11100 N OREGON                                                                     let PASO, TX 79902-3557                                      430.oo/                 164.11!          164.11!                    -r                 19.20
20-541uo9        SOUTHLAND EMERGENCY MEDICAL                                                              111Ss STH ST SOUTHEAST                                           l                 ICAIRO, GA 39828-3142                                        s86.0oi                 164.ool          164.ool                    -i                 19.19

XX-XXXXXXX        OWICOFTAMPABAYINCMEDEXPRESSURGENTCARE                                                   ]26812USHIGHWAY19N                                                                 la.£ARWATER,fl.,.,33::.7:.:61=-------+----''=Z=O-;::DDs_;_ _ __:Z:,:6D.::;DD:::;..f_ _.:;164=-00~•'---=Z:::57c,:.OOc,l+--1_ _ _ _:19.19
36--3159042      1PADMINITHAkKAR                                                                          i300FOXGLN                                                                         !BARRJNGrON,·;~60010.1818                                    200.DOi                 188.951          163.95!               25.00f                  19.18
XX-XXXXXXX       ILOU?SIANASTATE                                                                          IPOeOX919100                                                                      -rDAUAS,TX7S39Hl100                                           462.00\                 163.96!          163.96'                                       19.18
XX-XXXXXXX       wv ASTHMA & ALLERGY CENTERS INC                                                          boa MACCORr:LE AVE se                                            !                 iotARLESTON,   wv. 25314                                     259.ooi                 21s.1s/       ··-· 163:~f'·-·-·...                             19.16
                                                                                                                                                                                                                                                                                                            1
26-15274S4       ~CEAVENU£ MEDICAL PC                                                                     12460 MICKL£AVENUE                                                                 lsaoNX. NY 10469--6040                                       430.ool                 1s3.1gl          163.79                                        19.16
ss-11s1454       !PARTNERS IN WOMENS CARE, LLC                                                            i760 SAYBROOK ROAD                                                                 IMIDDLETOWN. er 06457                                        250.oo!                 163.6B1          163.sal                    -1                 19.15
XX-XXXXXXX       NEUROLOGICAL PROFESS!ONAL                                                                1211 ESSEX sr SUllE 202                                          i                 IHACKENSACK, NJ 07601-324S                                   3so.ool                 238.37!          163.37!               1s.ool                  19.11
XX-XXXXXXX       fsrANDUPMRIOFLVNBROOKPC                                                                  IPOeox110                                                                         TFARMINGDALe.N"1'11735                                      l.,36s.ool                204.14!          163.31!               40.83i                  19.11
2~5805198        AMERtcANCURRENTCARE                                                                      !POBOX9014                                                                         !ADDISON, TX750D1-9014                                       425.00,                 30823i           163.23:               70.00!                  19.10
                                                                                                                                                                                                                                                                                                                               1
F4"-1-0;::B4:;;:3:.,96::,6:_-FIAK,_,Ee,tAc,,N.:,D:.:M::,Ee,NT!!AL=HEA=LTH=CE=-NTE=•'-------------+1980=SD=UTH=TO=W=ERccRD=..c_ _ _ _ _ _ _ _ _......;_____f'l,,.,,_R=GUSFAUS. MNS6537                                                                     347.so!                 243.25!          1s3.25i               ao.oo                   19.10
1+288803s        JOSEMMARJNADO                                                                            i1022EGR1FANPKWYST£108                                                             IMlSS10N,nc1ss12-z401                                        310.00,                 20s.12i          163.121               45.00!                  19,os

XX-XXXXXXX       ORTHCPAEDICCENTEROFIWNOISLT'-'D'-------------'l'PO.:..:.BO=X'-'9469=-------------+----+iSP=Rl~NG=A=ELD=,lccl6Z=79c-=1-<14=69=------+---~67c,c5.00=+j_ _ _---'3:::D=8.=13:;.!_ __:1=:6z.87="!-----'1:::4:,::S.Za,6c;_'!_ _ _ __ 19.05
                                                                                                                                                                                                                                                !

F4.:,.7-48=9Z=85=9,__,i:::•U:.:.T,::GE,:;RS::;sru=DENT='-'""'EA='™'-'-------------------f'l,.o=eo=-x~82="'='"=-------------+----+jp"-"='LAD=•=LPH"IA.=•,,A=19=1=82c:-<~•9=•'----+---··"-"-·"-o~I---~18~'~-•~"---1~62.81="-!_ _ _2S=,oo~f-------'=
                                                                                                                                                                                                                                                19.05
27--0388788      !NORiHWESTUNITEOURO=LDGY=--------                                 -------Fl2101sArllngtonHeigh:;:tse;Rd::.._ _ _ _ _ _ _ _ _ ,,STE1SO                                       IARUNGTON,IL6000S                                            419.00!                 325.SB\          162.SB!              153.oo!                  19.0Z
XX-XXXXXXX       HOMETOWN PEDIATRICS                                                                      !ts9S l.AKE FRONT ORa.E                                                            jTHE WOODlANOS, TX 77380-3604                                355.00\                 162.SO~          162.SOj                    -i                 19.01
XX-XXXXXXX       IJONATHANl:HOWARDMD                                                                      !POBOX415662                                                                       leosrON.MAOZ241-566Z                                         zso.oo~                 ts1.sol          162.so!               zs.oo!                  19.01
52-44S3496       !RAauELB DARCIK                                                                         -!~eox415662                                                                        !eosr0N,MAOZ24t-566Z                                         zso.oc\                 1e1.so!          162.Sol               zs.oo!                  19.01
zs..1109054      iPINKAaEHEALTH INTERNAL MEDICINE RESIDEN                                                 lro BOX 826805                                                                    lPHILADEI.PHIA, PA 191BZ-6805                                 211.ool                 168.24i          162.24!                 6.oo!                 18.9B
XX-XXXXXXX       UNIVERSITY PROFESSIONAL SERVICES                                                         !Po BOX 3590                                                                       !PORTLAND, OR. 97208-3590                                    559.00!                 212.2.oi         162.20 1             315.731                  18.98
1+1541340        jSAINT FRAN as OUTREA01 SERV1CES LLC                                                     lo600 s VALE AVE STE soo                                         f                 lrutsA. otc 74136-3300                                       210.00;                 162.ooi          162.00!                    -!                 18.95

XX-XXXXXXX       [wroMINGPAl]:!£~_.. _ _ _ _ _ _ _ _                                                   ····tOBOX912790                                                                       1oeNVER.C080291                                              162.00[                 162.QOj          1&2.ooi                    -1                 18.95
XX-XXXXXXX       INEWRNERHEALTHSCARBRO                                               _ _ _ _ _-41~POe;B::Oc:X.::33c,7_ _ _ _ _ _ _ _ _ _ _ _ _1-_ _ _._;::ISCARB==•=,o,_wv.zsg11                                                                          825.75)                 4SD.a6i          161.86!              289.oo!                  18.94
~!?3=•~'15~-+:R"'ow=oru,=-="""D='=DG='=CA=''-'ASSDC=°''~ro=---                     ------~13,::S:c.1=eEX£,eamv=e=:•c:•:,:•c:RKW=Ae.Y_ _ _ _ _ _ -----l-----l"!a,coCKFO=e::RD".• 1L6110;-s293                                                                                                                                           18.91
                                                                                                                                                                                                                                                          59s.ooi ····----·--· 342.B.3,..~---"1•::10:,64::.il----=18::Lc=1'e;!_ _ _ __:::,
..as-2419394     iNORTHOAKSPHYSIClANGROUPLLc                                                              iPOBOX3087                                                                         IHAMMOND,LA70404--30B7                                        659.os!                211.66i          16L66l                60.osl                  18.91


                                                                                                                                                                         EXHIBIT2

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                                                                                                                           AEU INTERIM DISTRIBUTION




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XX-XXXXXXX    luRGENTCARBDtNC                                                        827 DEEPVA1.l£YROAO, sum 100                      I              iRoWNG HILLS ESTAres. CA90274        530.00;     266.31'    161.311     1os.ooi                1&87

XX-XXXXXXX    !1WNOIS GASTROENTEROLOGY INSTI                                        ,POBOX365                                                         !MORTONIL61SS0-0365                 5.513.00:   1,217.62;   161.141    (241.581!               18.85
                                                                                                                                                      1
XX-XXXXXXX    (RIOfARD GARY DAVIS MD                                                11700 EAST JERIOtO TURNPIKE                                        HUNTINGTON,NY11743-5614             430.00·     221.01!    161.07       60.ool                18.84

XX-XXXXXXX    loH10 vAUEY SURGEONS INC                                              'iPOBOX6824                                                       lwHEEUNG, wv 26003                   206.00:     205.00/    161.00       45.oo                 18.84
XX-XXXXXXX    !JACKSON HEALTHCARE FOR WOMEN PA                                      IPO BOX 24268                                                     !JACKSON, MS39225                    233_00:     161.ooi    161.00!           -l               18.84
XX-XXXXXXX    !ROCKY MOUNTAIN MEDICAL IMAGING                                        PO BOX 1157                                       r              !LONGMONT, C080S02.                  293.00;     161.02!    161.02!           .,               18.84
XX-XXXXXXX          ======~----------------.====~-------------···i::LISTE=•---
              lcoLQUITT COMPlETE CARE U.C       i210 WEST MAIN ST                 !:,:co:,:L::,O!,:,UITT=,GA=l9:::Bl='---------+----=385=-oo~!---~160=so~l'-__1:!:60~so~i____                                                      .:::-l,____-'1!!!a.s:!!,~
XX-XXXXXXX    !aFEUA B AVUSTE MD SC             !4121 FAIRVIEW AVE      !sre100 ·-,DOWNERSGROVE,ll60Sl5                                298.00:       ltiD.87; 160.87i                                                               .1             18.82

XX-XXXXXXX    !ALLERGY&ASTHMAMEOICALASSOCLTD                                        i389S SCHMALE RD                                                  !CAROLSTREAM. L601BB-2756            306.ooi     266.ooi    1&0.ao!     1os.20!                18.81
20--30479S0   /Z & E MEDICAL MANAGEMENT                                             l210camtALPARKSOUTH                                               INEWYORK,Nv1001~141&            !    800.oo]     459.13!    160.231     298so!                 1s.1s
XX-XXXXXXX    islAND COUNTY MEDICAL OJNIC                                           !12301 GRAPERELD ROAD                                             lBAS11AN, VA24314                    :m.oo'.     160.Joi    160.JOi           .j               1s.1s
XX-XXXXXXX    IPREFEMU> ANATOMIC PATHOlDGY SERVICES IN                              , P0 BOX S2087                                                    [LAFAYITTE LA 70SC&2087         !    229.DOi     16030!     160.30                             18.7S
                                                                                                                                                                                      1
XX-XXXXXXX    iMDISES M TENEMBAUM MD                                                 PO BOX 41S715                                                    IBDSTON,MAOl241-S7lS                l,97s.oo1    200.001    160.00.      40.oo!                1s.12
XX-XXXXXXX    laceNOSHA URGICARE sc                                                  10625 W NORTH AVE     m    101                                   IM1LwAuKEE,w1s3226                   220.00'.    220.ool    160.ao!      so.oo!                1s.12
XX-XXXXXXX    !BARRINGTON BEHAVIORAL HEALTH                                         !290 RAND RD, SUTTE D                                             !LAKEZURtG1,1t.60047            !    900.00!     32o.ool    160.00      1&0.00!                1s.12

XX-XXXXXXX    !ARTHUR G JAMES CANCER
                               = =HOSPITAL
                                     = = =AND
                                           ==   ' - - - - - - - - - - F = = = " - -jpe
                                              RESEA                                 - -BOX
                                                                                        - -643662
                                                                                           - - - - - - - - l - - - - - ; l , c P f r n S = , : , U c : : R G H , PA1S264-3Ei62             160.00t     160.00!    160.00                             18.72
XX-XXXXXXX    !ABC UL AZIZ MD                                                        2504 WASHINGTON STREET                                           lwAUKE~, IL6008S                     160.oo!     160.0oi    160.00I           -I               1s.12
XX-XXXXXXX    !ROBERT ARTHUR WOODBURY MD                                            !uooE PUTNAM AVE                                   !              lRMRS1oe,cr06878-l43o               2,1os.00:   1,1s1.a2!   160.00     1.S9L821                1s.72

XX-XXXXXXX    !MARK REDMOND lMHC                                                     ONE ARNOI.D CRCLE                                                !CAMBRIDGE. MA02139             I    soa.ool     285.ooi    160.00.     125.oo                 1e.12

XX-XXXXXXX    ;HURLEY AVENUE FAMILY MEDICNE PLLC                                     211 HURLEY AVE                                                   [KINGSrON. NY 12401                  240_00:     240.oo!    160.ool      so.oot                1s.12

46-D3118S6    ioPH'THALMOLOGYlTO                                                     6601 S MINNESOTA AVE                               STE200        !S1oux.FAU.S.SDs11aa                 s2O.oa1     229.so[    15sssl       68.ssl                1s.11

XX-XXXXXXX    !WHITESTONE PODIAlRY PC                                                122515CJTH5r                                                     lwHITESTONE,NY11357-1747        !    290.oof     159.84;    159.84,                            1s.10

13-3911n1     (UNMRSITY PlACE ORTHOPAEDICS UP                                       !95 UNIVERSl'TY PL 8TH R.                                         TNew YORK. NY 10003-4515        !    s1s.oo!     264.Ss{    159.ssi     10s.oo
                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                     1s.61

88-014S500    !RADIOLOGY CONSUlTANlS LTD                                            lpoeox21n                                          :              ILOMU.. AR 121~2112                  so2.oal     221.s2l    159.48       68.34                 18.66

XX-XXXXXXX    !GROWING CHILD PEDIATRICS PA                                           260 HORIZON DR                                                   [ RALEIGH, NC 27615                  313.00;     159.43!    1S9.43                             18.65

7~2254247     IHEARTPlACf                                                            16980 OAUA5 PKWY,     m    200                                   !DAUAS, 1X 75248                     400.ooi     159.42!    159.42                             18.65

XX-XXXXXXX    !LAFAYETTE FAMI\.Y CARE                                                264 LAFAYETTE ROAD, STE 8                                        !PORTSMOUTH,NH03801                  209.41)     209.41:    1S!Ul 1      SO.DO                 18.6S

3~2435247     'SPRING HILL CARDIOLOGY PlLC                                          !428 DIVISION SIREEf                                ST"E2         TsollTH OtARLESTON, WV25309          410.00[     296.57!    159.lSi     137.42!                18.62

XX-XXXXXXX    lsr JOSEPH HOSPITAl                                                   IPO 80XS34                                                        IBANGOR,ME04401                      529.75!     423.80;    158.761     265.04,                18.57

XX-XXXXXXX    leERGEN EAR NOSE AND THROAT ASSOCATESPA                               i20 PROSPECT AVESTI:909                                           !HACKENSACK. NJ. 01601               soo.ool     628.21!    158.74\     409.471                1a.s1
                                                                                                                                                      1
XX-XXXXXXX    UUNITH M 11-IOMPSON MD                                                16530 SHERIDAN ROAD                                                KfNOSHA, WJ 53143-5063              221.00!     158.62i    158.621      11.SS   I             18.56

36-31459S1    ILEONARD Mlt.LMAN MD & ROBERT R                                       1120 FOX GLEN CT                                                  !BARRINGTON, 1L 60010                595.00!     isa.s1\    158.51!     3BS.oo1                1s.ss

XX-XXXXXXX    !RICHARD MARC EZGUR DC                                                 2835 N SHEFFIELD AVE 411                                         f0t1CAG0. ll.60657-5084              300.oo;     191.ssi    158.37       39.61[                1s.s3

XX-XXXXXXX    !MARK A DAGOSTINO MO                                                   ONE LONG WHARF DRM                                !su1TE302      iNEWHAVEN,cro6511                    ssLoo.      1SS.is!    1sa.isl     120.00/                is.so
~n166._       /OPTIMUS HEALTH CARE INC                                              ')982 EAST MAIN STREET                                            lsR10GEPORT,cr06608-1913             220.00
                                                                                                                                                                                                  1
                                                                                                                                                                                                       157.94/    151..941          .I               IB.48

XX-XXXXXXX    I~ntUR PETER HEUOTIS MVD                                               !108 EAST AVE                                                    INORWAUC.CT06851                     400.001     367.78:    157.78[     210.00!                18.46

36-298539S    jADVANCEC URC\.OGY ASSOCIATESS C                                      ]1541 RMRBOATCENTER DR                                            :JOUET, 1\.60431-9341                358.00;     238.95:    157.76/      81.19[                18.46

XX-XXXXXXX    IHEALTHY HABITS WEUNESS CENTER                                        i140STOWNGSAVE                                                    !LOGAN. WV25601                      245.oo'     11251:     1s1.s1I      is.ool                18.43


                                                                                                                                      EXHIBIT2

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XX-XXXXXXX
XX-XXXXXXX
47-234S170
               ~~-~v..:;:~~~..tl~ ·
               PROMPTCAREMD
               ELENA FRANKFURT MD
               EVAKUMAMD
               IUMG PRIMARY CARE SOUTH CAROLINA llC
                                                                      iio37 FULTON STREET
                                                                       9n LAKEVIEW PKWYSUrTE 165

                                                                       3620N JOSEY lANE STE 118

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                                                                                                                                   !AUGUSTA, GA 30903-1705
                                                                                                                                                                  . : ~·~1' ~·
                                                                                                                                                                                 j    225.00'.
                                                                                                                                                                                       280.00:
                                                                                                                                                                                      749.00[

                                                                                                                                                                                      360.oo!
                                                                                                                                                                                                   ~ .~   ... ~-       . ~·. ~- ·,. .
                                                                                                                                                                                                                   157.soi
                                                                                                                                                                                                                   197.40;
                                                                                                                                                                                                                   303.S6i

                                                                                                                                                                                                                   ts1.ool
                                                                                                                                                                                                                                157.SO
                                                                                                                                                                                                                                157Ao!

                                                                                                                                                                                                                                1s1.02l
                                                                                                                                                                                                                                157.00
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                                                                                                                                                                                                                                                     40.ool
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                                                                                                                                                                                                                                                                     18A3
                                                                                                                                                                                                                                                                     18Al
                                                                                                                                                                                                                                                                     1837
                                                                                                                                                                                                                                                                     18.37
XX-XXXXXXX     !EXPRESS CARE & FAMILY PRACt'ICE                        130 CARDrNAL DR                               !             !ROANOKE RAPiDS, NC 27870                          424.00;                      256.921      156.92             100.ooi           18.36
XX-XXXXXXX     'IRADIOLOGY ASSOOATES OF RICHMOND                      ipo BO.X 13343                                               RICHMOND, VA 23225-0343                            279_75;  '                   223.80!      1S6.66!             67.141           1833
XX-XXXXXXX     jFAMILY PRACTICE AND INTERNAL                          jpQ BOX 185310                                 i             HAME:OEN, CT 06518                                 840.ool                      452.49~      156.31!            296.18!           18.29
XX-XXXXXXX     lrooFAN MEDICAL HOLDlNGs LTD                      .• __11DD1 AVENUE OF MID AMERICA                    isre4       ___ [EFFINGHAM, IL62401                              295.00:  '                   156.25!      156.251                   -!         1828
20.5824138     NEXTCARE ARIZONA U.C                                    POBOX79S73                                    I             !crrvoF INDUSTRY, CA. 91716               I        385.00·                      276.141      156.14             uo.oo!            18.27
XX-XXXXXXX     SIDELINE ORTHOPEDICS AND SPORTS MEDIONE                 POBOX8310                                     I             )ROANOKE. VA, 24014                       I        1so.ool                      1so.ooi      156.00             S!M.ool           18.25
XX-XXXXXXX     BANNER URGENT CARE SERVICES UC                         10330 N SCOTTSDALE RO                          Jmis          !PARADISE VALLEY, AZ 85253-1427                    54&.ool                      156.oo;      156.00'  '                -1         18.25
XX-XXXXXXX     ,NEUROSENSORY CENTER OF BEUAIRE                        · 5001 BISSONNETST                             isre101       '
                                                                                                                                   IBEUAIRE. TX, 774014015                            983.oo!                      3BS.7oi      155.86             229.841           1B.23
75--1664109    PRO PATH ASSOCIATES PLLC                                POBOX678174                                   i             !CAUAS, TX 75267                          i        422.95
                                                                                                                                                                                               1
                                                                                                                                                                                                                   239.07!      155.28              83.791'          18.17
                                                                                                                    I                                                                1.01,.ool                                       I
                                                                                                                                                                                                                                                   ....121
                                                                                                                                                                                                                                                    ,,...,
XX-XXXXXXX     !GREG E SHARON M DSC                                   !303 E ARMYlRAILRDSTE 403                                    BLOOMINGDALE,. IL 60108                                                         26L62!       1SS.Uj                               18.15
XX-XXXXXXX     !1WNOIS INST OF PEDIATRIC CARD                         1202N 75ll1Sf                                 !m2,o          DOWNERS GROVE. IL 60516-4274                       70D.OO!                      232.10:      155.07j                              18.14
XX-XXXXXXX     ROSERT L WEISS MD                                      i761 MAIN AVENUE SUITE 101                    I              1NORWAIJ(. CT 06851                       i        850.00:  '                   718.60!      15s.ooi            ......!           18.13
XX-XXXXXXX     1PlAHNED PARENTHOOD MID-HUDSON VAUEY                   3125 ROUTE 9W SIE 201                                        NEW WINDSOR, NY 12553-6764                !        m.ool                        1ss.ool      1ss.oo!                 -1           18.13
XX-XXXXXXX     !PEAOITREE DERMATOLOGY ASSOCATES PC                    371 E PACES FERRY RD NE                       !mgoo          ATIANT~ GA 30305                                  U6S.001                       999.70i      m.ool              844.70i
                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                     18.13
XX-XXXXXXX     !M D PATEL INC                                         3331 WHITE EAGLE DR                           I              NAPERVILLE, IL 605644605                           225.oo!                      194.76i      154.76              40.00i '         18.11
SS--2271999    iwANDA LOPEZ. DC                                       I120 E 56TH ST SlE 830                                       NEW YORK, NY 10022                        !        390.00:                      303.72!      154.78             148.041           18.11
XX-XXXXXXX     PROSPECT MANO-IESTER HOSPITAL                          POBOXS60                                                     MANOIESTER,cr0604S                                 432.72!                      154.361      154.36 1              s.ool          18.06
XX-XXXXXXX     'jFRANK J BUSH, MD                                     121 HIWARD STREET                                            MANOIESTER. cr06042                       I        485.00!                      154.31!      154.31                    _j         18.DS
                                                                                                                                                                                                                                                          _,
54-099333S     !MEDICALASSOCIAT[S OF SOUTHWEST                        1810 HOSPITAL CR                                             Bl.ACXSBURG, VA 24060-7023                         154.oo!                      154.00j      154.00                     '         18.02
XX-XXXXXXX     LE.WIS GALE PHYSICAN l.LC                              lpe BOX403901                                 I              ATLANTA, GA 30384·3901                    I        246_00!                      153.71!      153.71                    -1         17.98

IJ4.2S2199Ei   !NEW ENGLAND ORTHOPEDIC SURGERY                        300 BIRNIE AVENUE                              !SUITT201     SPRINGFIELD, MA 01107-1121                I        348.0D!                      153.61!      153.61                    .i         17.!!17
XX-XXXXXXX     jCPO SERVICES INC                                      741 W MA.IN STREET                            I              PEORIA. IL61606-19S3                      !        240.00!                      192.0QI      153.60              38.4D!           17.97
                                                                                                                                                                                                                                      !
XX-XXXXXXX     CONTEMPORARY CARDIOLOGY PC                             i1621S HIGHLAND A.VENUE                       Im lA          JEMAICA, NY 11432-3452                    !        300.oa!                      198.49!      153.49i             ...ool
XX-XXXXXXX
               I
                JEFFREY A MORRISON MD UC                              !461 PARK AVENUE SOUTH                        I              iNEW YORK, NY 10016                                545.00;                      321.94!      1S3.31!            .......,          17.96

                                                                                                                                                                                                                                                                     17.94
XX-XXXXXXX     1
                 HEALTHCENTRALPA                                      S55 REPUBLIC DR STE 460                       I              PLANO, 1X 7S074-5481                      I        300.ooi                      153.34!      153.34               9.17[           17.94
3~2643663      ASSOCATEPATHOLOGlSTSJOUETLTD                           139784 TREASURY CENTER                        i              I
                                                                                                                                    OIICAGO, IL 60694-9700                            496.00!  '                   153.191      153.19 1                  -I         17.92

38-3ill346     'MACOMB PROMPT CARE                                    143455 SCHOENHERR RD SUITE 17                 I              !st"ERUNG HEIGHTS, Ml 48313                        30LOQj                       213.20i      153.20!  '          oo.ool           17.92
XX-XXXXXXX     MARTIN J SAYEGH MD                                     625 MaEAN AVENUE                               !             YONKERS, NY 10705◄738                     i        300.oo;                            '
                                                                                                                                                                                                                   181.48\      153.11              28.37'           17.91

XX-XXXXXXX     RMRDALE PEDIATRICS PC                                  2600 NETHERLAND A.VE SfE 120                  I              BRONX. NY,10463                           I       1,135.ool                     910.00i      153.00           csn.ooi!            17.9D

XX-XXXXXXX     ZJNAIDA PEUCEY DO                                      ,32 W 96TH STREIT A.PT A                       i             NEW YORK. NY 10025                                 220.00:                      220.ooi      153.00]             67.ool           17.90
XX-XXXXXXX     !o11LDRENS PRIMARY CARE MEDlCAl. GROUPINC              i3880 MURPHY CANYON RD SfE 200                I              SAN DIEGO, CA 92123-4411                  i        193.oo'.                     193.oo!      153.00
                                                                                                                                                                                                                                         1          40.00i           17.90

XX-XXXXXXX     ELITE PRIMARY CA.RE UC                                 !2690 MADISON STREET.sre 130                  !              '
                                                                                                                                   IQ.AR~~- 1N 37043                                  41L00.                       193.ool      153.ool             co.ooi           17.90

XX-XXXXXXX     ] PINNA.a.E DERMATOLOGY SC                             i1124 ESSINGTON ROAD                          !              JOLIET, IL 60435-8446                              31a.ool                      31s.ooi      153.00             225.00)           17~

XX-XXXXXXX     iPHC OF BUFFALO GROVE QJNICAL                          l_!-,!'5 E HAWTliORN pr;wy STE 235            I              !veRNON Hilts, IL 60061-1454              I        350.00'.                     152.89!      152.891                   -!         17.89

XX-XXXXXXX     PRIMARYCAREOFSOUTHWESTGEORGIA                           360 COUEGE STREET                                           BLAKELY. GA 39823-2554                            1,700.00!                     191.03!      152.821             38211            17.88


                                                                                                                   EXHIBrT2

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                                                                                                                        AEU INTERIM DISllUBUllON



~~._;,~'-:~"~_"'::'=':~~-i.·                                                                                                          ·-:.:::11r.--;·
~S-2473418      iPRIMARYHEALTHINC                                                     IPOBOX9101                                               lcoPPEU.. TX. 75D19                 l         234.oo!           111.soi      ts2.sol         is.ooJ    11.ss
91-~771         MOUNTAINMEAOOWSMEDICALGROUP                                           l961MICADR                                               ,CARSONCITY,NV89705                 j         292.00]           152.11\      ts2.11i              -!   17.80

XX-XXXXXXX      jDANIELJASS                                                           lt330 PARKWAY AVEST'E 5                                   TRENTON, NJ 086:ZS..3006                     215.0(f           21s.ooi      152.00j         63.ooi

XX-XXXXXXX      MICHAEL H0CH0LOI0E                                                    jt400E LAI(£ COCK RO SUITE 150                           !euFFALOG,::ROllE=,c,IL,_,6,cll08!Hl2=='·'----+----'·""'5.e;DO='- - - - ' =  ~--E
                                                                                                                                                                                                                         41s.ooi ru.ool
                                                                                                                                                                                                                                   ! ~ - - 3n.ool
XX-XXXXXXX _...•..,BATON ROUGE EAR NOSE & THROAT
                                                                                                                                                                                                                      l51.94i
                                                   ~~------------l!:,:SPO:,essc::80."'XAR"''""'eeue:N_"'--o-.-•.-~-----------+------")"'"E:,LFASr=,ME 04915='-'.."'ll04'-'------t-'!'___,s"',."'.DO='.,------===;---===+--
                                                                                                                                                                                                              427.94!            ,,•.ool
XX-XXXXXXX         RENOORTHOPAED1CCUNICIHC                                                              ,.., ,..,.,ia                               ,RENO,NV89503-4724             '       260.00,            152.00: 152.ool         -1
ss.2199194      MARY-MARGARET JAMES MD                                                       lts0 PROF£5SIDNALPARK DR                   lsumzoo/400 ,MooRESVILLE, Nc2S111-s604     !       200.00;            151.11! 151.77i---      J
XX-XXXXXXX ____ !LAWNWOODCARDIOVASCULARSURGERYUC                                      lPOBOX404283                                I            iAnANTA,GA30384-4283                          453.00\           151371       151.371

1.J.-3978884    iLAWRENCE G HERBERT                                                   J4og EAST 14 Sl'REET                         SUITE F     iNew YORK, NY 10009-2700                      210.ooi           1SL39l       1susl                -1
XX-XXXXXXX      !et00MFIELD FOOT SPECIALIST                                           '1 NORTHWESlcRN DRIVE, STE 301                            BLOOMFlEl.D, CT 06002                        330.oo!           1SL08!
                                                                                                                                                                                                                       ,    lSLOB!          ss.oal
XX-XXXXXXX      !LEXINGTON HOSPITAL CORPORATION                                       IPO BOX 50W53                                            'SAINT LOUIS, MO 63150-1053                   176.00!           17Ei.OOl     ts1.ool         25.00J'
                                                                                                                                                                                                                      I
XX-XXXXXXX      JFRANKJ tVANSDO                                                       !PO sox 1.119                                            israuwATEA. 0K1co16-U19                       30s.ooi           209.42!      lSLOOl          S8.42!
XX-XXXXXXX      IWESTERNVALLEVFAMn.YPRACTICEPC                                        l:zetNORTHPWMSTRE£T                                      IFRUfTA.COSJ.S21-noo                          199_001           199.001      150.aol         48.20'
XX-XXXXXXX      YOUNGSTOWN OHIO PHYSICAN SERVICES                                     !Po BOX 9673                                              BELFAST, ME 04915-9673                       468.oo!           11s.6sl      150.68!         25.ool
46-54~~         !IUCHOLDINGS INC                                                      1449 ICAPAHULU AVE SUITE 104                              HONOWLU. HJ 96815-3850                       317.71 I          203.25i      150.671         52.591
                                                                                                                                                                                                                     I
XX-XXXXXXX      iDR LUBA STEIN PEDIATRIC                                              !s96 ANDERSON AVE SUITE 2D7                               CUFFSID£ PARK, NJ 07010                      200.00[           175.40!      150.40!'        25.ool
XX-XXXXXXX      ,ANOINTED HEALTH PARTNES LTD                                          lzzoo E 93RDST                                            OIICAGO, IL60617                             800.00 1           150.421     150.42!              -1
                                                                                                                                                                                                                      I
XX-XXXXXXX      !AUDREY F EotT MD                                                     I10931 RAVEN RJDGE RD STE l                               RALEIGH, NC27G14-6499                       5,866.00t         1,832.45:     150.,11!     1,561.98!
XX-XXXXXXX      !oH1ovAUEYASTHMA&ALLERGY1NST1TUTE                                     l2101JACOBST                                 STE601      IWHEELING.WV,26003                            310.oof           269.061      150.0Gi         94.oo!
XX-XXXXXXX      COASTALDIGESTIVEDISPC                                                 1234ABANKsr                                 ,FL4         !NEWLONooN.cr,05320                 I         300.oof           300.00!      150.00!        150.0Dl'
XX-XXXXXXX      MARK CHARLES STECKEL MD                                               \140 SHERMAN STREET                                      !FAlRAELD, CT0682.af.5849                    USS.OD!           l,23Ei.7Di    150.ool      1,,261.lSj

XX-XXXXXXX      /MIOIAEL WINSTON MD                                                   i2 MEDICAL ORM                                           1PT JEFfSTATION, N'f 11776-1598               250.001           150.001      150.001              -1
~120418         lsoMAN M woNG MD                                                      Im CENTRE STREET suSTE 809                                NEW YORK, NY 10013-4558                      300.ool           150.ooi      1so.ool              -!
2~2870950       WESTOiESTERMEDICAL GROUP OBA WES                                      (PO BOX 417414                                           !BOSTON, MAD2241-7414                         234.11[           150.oo!      1so.001
2~3657140       All.ANTIC SHORE DERMATOLOGY UC                                        i7000 WELLN£SS WAY STE 7120                              1
                                                                                                                                                ST SIMONS ISLAND, GA 31522-2285              43s.oo[           ◄3s.ool      150.ool        245.DO!
XX-XXXXXXX      BACK SEIGaANO GOLDSTEIN MO PA                                         !soi IRON IIRIDGE ROAD sum: 4                             FREEHOLD, NJ 07728-5305            !         150.ooi           150.001      150.DOI
XX-XXXXXXX      1CARLHYDER                                                            1735MAINST                                  i             MEDfORD,NJososs-2430                         230.ool           19s.ooi      150.oo!              -i
XX-XXXXXXX      JUSUF21ATANJC                                                         i132EAST76TRSTREET                          T             NEW't'ORK,NY10021-28SD                      9,100.00:           iso.ool     1so.00!      a,9so.ool
XX-XXXXXXX      MEDEXPRESS URGENT CARE PCPENNSYL                                      !:z60o OLD WASHINGTON RD                    !STE 150     iPITTSBURGH, PA 15241·2595                    210.oo!           21o.ooi      1so.ool         60.ool
XX-XXXXXXX      RECOOPERATION PHYSICAL THERAPY INC                                    j400 S REINO RD STE 101                                  !NEWBURY PARK, CA 913204285                   400.oo!           386.ooi      150.ool        23s.ool
XX-XXXXXXX      CARENOW URGENT CARE                                                   1330 S CASINO CENTER BlVO                                !LAS VEGAS NV 89101-6102                      475.oo!           2so.00}      ,so.ooi        100.ool
XX-XXXXXXX      JOHNSHOPICJNS                                                         iPOBOX418341                                             iBQSTON.MA0.2241-8341                         175.ooi            11s.ao!     150.ooi         25.00J

sa-21601os      GASTROENTEROLOGY CONSULTANTS OF                                       1393 N BELAIR RD                                         levANS, GA 30809-3096                        1.485.oo!          800.00: '          '
                                                                                                                                                                                                                            150,001       (6so.001:
                                                                                                                                                                                                                                                  I
XX-XXXXXXX      IPR1MARYHEALTHCAREASSOC1ATESJNC                                       '3oawBASSsr                                               KISSIMMEE,FL34741                            150.03)           lSO.OO!      lSB.oo!          D.03!

XX-XXXXXXX      iHOMETOWN RESPlRATORYCONSULTANTS INC                     !2233 E MAIN ST                            )MONTROSE, CO 81401-3831                  150.001               1so.ool                     tso.ooi                          -!
XX-XXXXXXX
                                                                                                                                                                            iso.ooi 150.0Di'
                lcowoeNMEDICALCJ~!S:_~~--------------_;;!2,,,oo=EAST=EeeLM=STe,REe,ET"-----------l------l"co"'w""o"'e"'•'-'·'Ls,62,e422=-------+----'ts""o."'ooe,;..l------'=e,;...--=~--                                                        .!
n-OU4S27         GOLDEN VALLEY MEDICAl. ASSOOATES                        !4813 COFFEE RD m 200                      lBAKERSAELD, CA 93308                     213.04!      1,s.00;  tso.ool                                                 25.D41
XX-XXXXXXX ..   !oPTIMUM CARE FAMILY MEOICNE LLC                 ...... _f321.e MAIN ST STE 1                       !SMITHTOWN, NY 11787-282D                 11s.oo]       175.oot 150.001 ---                                             25.ool
XX-XXXXXXX      !THE NORWAUC MEDICAL GROUP PC                                         f40CROSSST 411i FL                                       !NORWALK. CT06851-4647                        330.00!            167.93~     149.92!         18111!


                                                                                                                                 EXHIBIT2
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 167 of 266 PageID #:11263




                                                                                                                        AEU INTERIM DISlRIBUTIDN



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XX-XXXXXXX      !LINCOLN PARIC OSGYN SC
                                                                       ..   ,    . '; - ' , ., :,;, :":"~:~111-~-.l~~~-~~~'"'""~:;,::,~~ :~'
                                                                                 !PO BOX 578Z20                                     l                 !CHICAGO. IL60657-7303                 I             GCI0.46[
                                                                                                                                                                                                                      ~. ~:'
                                                                                                                                                                                                                               14:9.901
                                                                                                                                                                                                                                            ~~~---:
                                                                                                                                                                                                                                             149.901              -!              17.54

;;3789095       IMIIC:LDS FOOT AND ANKLE 5PEClAL.1S                              !54tOTISBOWENDR                                                      lMUNSTER.IN46321                                     607.75;             149.76'.     149.76!               -l              17.52
42--60(]6380    IMrTOfELL a)UNTY MEMORIAL HOSPrTAL                               ,140WEST4THST                                      in                !srANSGAR.IAS0472                                    349.00:             189.74\      149.74!          40.00i               17.52
XX-XXXXXXX      \MIDWEST INnRNISTS
                 ====="'-------------------r•=•oo=w"-'=15!IT=H'-'5T-"._ _ _ _ _ _ _ _ _ _ __.__ _ _ _i=DAK=•=D•:::EST=,•='=604S=2'------+----""'"'""''oo",:'-----=,..=·••,,,'--...cle,49e,.62,,.i_ ___:45:,.=eOOe;i_ _ _ ___,1,,,1.s_,o'-l
XX-XXXXXXX      !rnROGS NECJC MEDICAL MULTICARE PC                                3058ETREMONTAVE                                                     lsRONX.NYl046t-5726                                  310.ooi             284.soI       149.50         ns.oo!                17.49
                                                                                  j23SSOCEANAVENUE                                -+-----·F1B~RO~D~Kl~YN~,~NY=l12~29-=3-JS_O_·----t---~7~S0~,00"-i-:---~17~4.~3c.2ir---=c14:::.93:::.2:+r----"25=.00:::.l!>------'1"7"'.47=---l
 U-4428914      lseRNARD BEREL YONK MD
XX-XXXXXXX 'RADIOLOGY ADVANTAGE NEW JERSEY PA
       =-1=========='-'---------------"'•ccoccBO=X7'-'82548==------------+----!PHllADELPHIA, PA,.'-'19=1'""-----+---=66:::L::OO::;j _ _ _ _3_SL_"7-;--;--~'·~·~·29+--~·~•2.~68~"+-'                                                                                    ----~"~·•c....i'
XX-XXXXXXX       MARIEANNE GIARDINA-BECKITT MO                                    111 UNION AVE.                                                      !RUTHERFORD. NJ D7070-U72                            37S.oo!             194.Zol       149.20j         45.00!               17.45
27~5184          PRESTIGE WOMENS HEALTHCARE PA                                    l1DOONM£SA.                                                         1eLPASO.TX79902-4008                   I             258.oo;             149.17!       149.nl               .I              17A5
S7-o959374       UROLOGY CENTER OF SPARTANBURG
                                                                                 1
                                                                                  391SERPENTINEDRSTESOO                                               ISPARTANBURG,SC29303                   I             255.oo!             209.10!       149.to!         60.oo!               17.44
XX-XXXXXXX      ,MINUTEOJNIC DIAGNOSTIC OF TEN                                    POBOX8443                                                           !seLFAST,ME04915-8443                 l              269.ool             114.00/       149.oo!         25.ool               17A3
3~37!19340      ;OIICAGO ORAL& MAXIUOFACIAL                                      !676NSTQAIRSTSTE2280                                                 ICH1CAGO,IL606l1                      I              194.00!             194.ool      149.ooi          45.oo!               17A3
S5--0791398      TAYLOR MIUS FAMILY MEDICAL                                       224TAYLORSMJUSRom112                              !                 IMANAtAPAN,NJ07726                     !             480.oo!             198.84;      148.84           so.ool               17.41
XX-XXXXXXX       THE PHVSICAI. THERAPY EXPERIENCE                                 222.MIDDLECOUNTRYROAo                             isurre1os         !SMmlTDWN,NY11787                     I              540.001             185.86!      148.10!          37.16,               17.40

SS-0580401      iFt.ORAFPACISMD                                                  ,POBOX41                                                             iCHAPMANVILLE,WY25508-0041                           242.DOI             188.73i      143_731          40.00i               17AO
                                         1
XX-XXXXXXX       ======"----------------+
                 EYE CARE SPECIALISTS PC ,·,c:••=-:•:::uC'-m=•::.AV:.:Ec.__ _ _ _ _ _ _ _ _ _-+-----,IF"'""GST=O:::N:,.,:r~ 18704                                                           l            U30.00i               827.toi      148.661         543.441               17.39
XX-XXXXXXX      luNDENHURST PEDIATRICS sc                                        i2011EGRANDAVENUESU[TE200                          l                 !UNDENHIJRST.IL60046                                 165.ooi             1A8.SQI      1.48.sai              -1              1.7.37
XX-XXXXXXX       RENAISSANCE PEDIATRICS PC                                        4012 RAINTREE RDST'E 200A                                           (OfESAPEAK£, VA 23321-3791                           165.00i             148.50}      148.50                -•              17.37
XX-XXXXXXX ········rDAVlD G ICENNED't' MD PC                                      POeox1179s                                                          ISAINTlDUIS,MD63lOS-OS9s               i             480.ool             2GBAoi       148.401         120.00!               17.36
XX-XXXXXXX       ASSOCIATES IN FAMlLY MECIONE                                    i3130ELUSSTREET                                                      leewNGHAM,WA9822S                      l             242.01!             148.38:      148.38!               .!              17.36

XX-XXXXXXX       RAKESH MARWAHA MD SC                                            IPO eox 6010                                                         fwoooatDGE. IL sos11                  !              zss.ooi             113.311      148.31!          is.oo!               t7.3S

XX-XXXXXXX       PRIMEX CLINICAL LABORATORIES INC                                 16742STAGGSTREET#12D                                                ivAN NUYS,CA91406-164t                I              421.00:             148.271      148.27                -1              11.1s
06-DnOSSl        EASTERNCTIMAGINGPCRHOSP                                          POBOX939                                                            1WINDSOR,CT06095                                     410.oo!             148.19:      148.19                .I              17.34
XX-XXXXXXX       D&AMEDICALLTD                                                    333EBENTONPLsrE204                                                  !OlrCAGO,IL60601                                     980.oo!             98D.OOi      148.00          832.DO'               17.31
4§::!!_~2"79"'7-+Ju,.,R"'GE~NT=CA~•=•~o•ccso="™='":.:GTO=N,.,L=LC=------------    36SQUEENSTREET                                    iuNrr4            lsoUTHINGTON,CT06489                   i             so1.00!             14s.ool      148.oo           60.oo!               17.31
XX-XXXXXXX      !SANJUANEYECENTERSPC                                             ·1164W3RDsrREET                        ----+---·-----f-~!~!~£9.=814'-'1'-'0-~184=2_ _ _ _ _ _+1,l_ __c>cc••=.oo=-=;.l_ _ ___,2""oao=•,-!_ _.=c148=,oo::.:!_ _              ~'"~-~00_1_ _ _ _ _1_1.s_1_,
46-41081SO      !QUCAGOlANDCOMPlETEHEALTHCAREUC                                   POBOX4901                                         !..               !SKOKIE.IL60076-49D1                                 ns.ooi              279.73!      148.00/         163.73:               17.31

XX-XXXXXXX       HUNTERDON RADIOLOGICAL MSOC PA                                   PO BOX 5388                                                     ·   r~;~·;~~-   NJ 08809-0388           ··- ~-·-·· _   __,1~•'~..·~'~---~1•~'~""'01___,147.SO_,_ _ _ _ ~1
                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                  17.29
       -·~"'-'--+1WRI
"l~"""~..          __ GHT&ASS0CA15FAMILY                                          282STATEROUTElD1                                  !~~PARK           1AMHERST,NH03031-1706                 !              2,s.ooi             147.66       147.661              ~,f-----1=,=.,=---i,
XX-XXXXXXX      ,NY'CTHERAPY LCSW pSyC                                            3580 Nrnt£R1AND AVE, GROUND FL                                      !eRDNX. NY 10463                      I              300.oo!             191.sol      141.sol          so.oo!               11.26
XX-XXXXXXX      ]ADAMJB!EC                                                       1303STHAV£SUITE1410                                                  INEWYORK.NY10016                      I              191.soi             191.sol      147.so           so.ooi               11.26
XX-XXXXXXX       GREGORY All.EN OLIVER DO                                         5645 LAFAYETTE ROAD                                                 ilNDIANAPOUS, IN46254-1102                           34s.oot             274.4?t      147.27          121.201               17.23
XX-XXXXXXX      !SEACOAST PATHOLOGY INC                                          lPO sox 1oas19                                                       IAnANTA. GA 30384-0519                I              is,.oo:             141.211      141.21!               -1              11.22
                                                                                                                                                      1
XX-XXXXXXX      loLEGKOTELSKIYDO                                                 bs16NosrRANDAVE                                                      eaoonYN,NY1W5-9998                     l             3Ss.ooi             191.20l       147.201         so.oo]               11.22
XX-XXXXXXX      IFRANasJDIPALODOPC                                               booeMA1NSTREETsum:2EAST                                              !SMITHTOWN,NY11787                    I              400.oo]             141.12'.     147.U                                 11.21

!5"c,2=cS6=661=2-f'!M"'o~u=m~AJ=N~V~IEW=MccE=cD=G~••------------·----iFss=1=-s=TE"'Oi~CE=NT=ER=o•~-----------~---···                                  !coLORADO SPRINGS, co BD919-99!t8     I              244.~.,.i---~1~46=·'~•·~'--=-14"'6"-.79'+-             -/              11.11
SS-0691297      iwDMENCAREINCDBAFAMIL'fCA.11:~~.~--                              lPosox12s1s                                        i                 leeLFAST,ME04915                      l              294.ool             111.73!      146.731    --~25=,oo=/_____11_,1_1--,
12-12n1u        !NORTHlAKEGASTROENTERLOGY                                        ;:ll"'606=1oo=cro=RS=•""'vo"-----------i'lsre=•=---..;':.::"AM=M"'o"'"=o,~LA=7040=3'-------,llf---=22,::o.,::oo"',_ _ _ _.,,,19c::1·:::.68:;(. _____146.Ga+i_ _ _•~s~.ooc,!,-_ _ _ _1~1-~1•.,
OIP1044837      !MIDDLESEXCARDIOLOGYASSOCS                                       i42DSAYBROOKROAD                                !              jMIDDLETOWN.CT06457--4747                  1,065.00[      146.GOi                    146.60       825.DO[            17.15


                                                                                                                                  EXHIBIT2

                                                                                                                                        144
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                                                                                                                                                                                                                                     -~~-
                                                                                                                               AEU INTERIM DISlRIBlJTION



                                                                                                                                                                                               -~; -:--'                            :.~~
                                                                                                                                                                                                /i       •

                                                                                                                                                                                                               7BLOO!            429.58~                146A9;            283.09j                   17.14
3~1806762      MILTON SfANLEY CiASPARIS MO PHO                                         jl3S2 SLAKE PARK AVE                                                IHOBART, IN 46342'"5964                             220.00!           196.la\                146.38\            so.aol                   u.12
XX-XXXXXXX     'HOMERKEVINTAYLORMD                                                    '101MEDICALOR                                         i              ;DUBUN.GA31021-2548                                 190.00:           146.24'                146.241                 _I                  17.11

62-1566~7 ____ .!PATHLAB OF MIDDLE TENNESSEE                                           !Po BOX 6349                       -----+----__,l,...FLO_RE_N_CE.SC..~29_5~0~2------+---=260=.2=6i;----=260.2==;6!_ _~1cc4=6.2=•;..1_ _-=114=.oo;:;!_ _ _ __:1,c7.1=1=-i
                                                                           ~~•_wo_LLOW=~ST~STE=s~•·---
XX-XXXXXXX -- !FLATIRONS SPINE &JOINT HEALTH ltc _ _ _ _ _ _ _ _ _ _ _ __,!....                                                                            joENVER. ~~231-4531                       !        174.00"            171.ts:          ··-   146.15!-----.. -...,_25_.oo-+-i_ _ _ _ _1_7~.1-'--'0
XX-XXXXXXX'-fAO"~'-ANT=A=GEccH=EAL=mccSAl=NT=MAR=Y...:S...:M=E=Dl=CAl=G"-R_ _ _ _ _ _ _ _ _--tP-'O'-'BO=X=l9=12=3--------------j-----j=iB=ElfccAST=•=ME=04=9=1S-4c=D86=------+----'69=9::.D::D,-i_ _ ___:2:::06::,.0:::D;..'_ _.:;146:::.DO=}l_ _ _:::60::;.DO:::lf-!._ _ _ _ _l:,7-".D"-JB
XX-XXXXXXX     !RADIOLOGVGROUP...:PC~----------------+•...:•=u•=••=ESS=•=••=•...:occ•ov='-----------;-----ijFBRAN=...:'°ccRO=,•c.:cr'-06405-==29=88=------l-----=22=S=.oo=!~_ _ _.:;14:,:S=:.9o,2! _ _~1-=••=.9=2;-i------+!-----='...:7.0=7-i
XX-XXXXXXX     \suMMIT"COSMETICSURGERYCENTER PA                                        11111 SHIPYARD BLVD                                  !m 100         !wnMINGTON, NC28403                                931.ao[            560.42!            145.871               414.551                   17JJ7
74-301S655     !SHAVANO FAMILY PRACTICE P                                              112000 HUEBNER                                       Sl"E 104       !SANANTONIO, 1X 78230                              355.00!            300.961            14S.77J               155.19\                   17.05
sS-0160184     GREENBRIER VISION CENTER INC                                            laos GREENBRIER sr                                   I              foiARLESTON. wv 25311                              nB.OO!             no.4o~             145.40 1               as.ml                    11.01
2s.2181211     !RMOSTAFAVIMDOPTHAMOLOGlSTPC                                           !3860VJCTORYBLVD                                                     fsrATENISI.AND,NY1Jl314-6720                       325.00J           205.o5!             t4s.os 1               60.ml                    16.97
XX-XXXXXXX     ,ANNE ARUNDEL PHYSICIAN GROUPw:                                        !ATTN 12&22w                                          ipeeox 14000   lseLFAST, MED4915-4017                             560.ao:            110.ooi            1cs.ool               415.00!                   16.96
XX-XXXXXXX     iBAYCAREURGENTCARE                                                      POBOX744170                                                         !A11ANTA.GA30374-4170                     I        62s.ool           358.00:             145.00f               463.00I                   16.96
XX-XXXXXXX     PRCFOBGYN&JNFERTIUTY                                                    4on1nwAYSTREET                                                      !ROSELAND,NJ07068-1414                    I        145.00'.           t4s.oo!            14s.oof                     -1                  16s6

XX-XXXXXXX     OHIOHEALTHURGEN.TCAREu.c                                                DEPrL-3702                                                          lccwMBUS,OH43260-0001                              145.00j            14S.oo[            14s.ool                     -l                  16.96
XX-XXXXXXX     GEORGIA DERMATOLOGY CENTER Pc                                           isos NORTHs10e BLVD STE 1500                                        laJMMJNG, GA 30041                                 400.ooj           3S3.11!             145.ool               t63.nl                    16.96
SG-1844262     !MURPHY MEDICAL CENTER INC                                              PO eox 17423                                                        leruAST, ME 0491S-4069                             212.00 1          244.so!             144.aol               100.ool                   16.94
XX-XXXXXXX     RA01OL0GYASSOOATESU.C                                                  !Posoxnss                                                            l1NDlANAPOUS.IN46206-328S                 I        4ta.ool            144.43!            144A3i                      -1                  16.90
36-4223Bn      lMIOUGAN AVENUE IMMEDIATE CARE                                          180N MICHIGAN AVE                                    srE 1605       !otlCAGO, IL60601                         f        430.00'.          144.ts!             144.lSi                                         16.86
                                                                                                                                                                                                                                          1
XX-XXXXXXX     iaGNAaouoMENGANMD                                                       461NMULFORDRD#lo                                                    lnoCKFORD,IL61101                                  200.00[            1ao.00             144.ool                36.ool                   16.85
XX-XXXXXXX     PEACEHEALTHPARTNERSPC                                                  1POBOX13636                                           !              !PHllACELPHtA,PA.19101                             345.00!            175.39;            144.osl                31.341                   16.85

~1"'•·=083,=--'-'·w==DM='""'''-'"-=EA'-''"-TH"'ASSOC!A=="-"'=s.c,r...:D~------------+-744"7~W~TA-=L=co"rr~A"v-='-----------r•u~rre=4S~•~-+iCH~•==CAG=o~.•~L605=31~-------+!--~'=•=o.oo=;_ _ ___,,"44"".oo"'f-i_ _.:•44=.DD=.!_____-+-l_ _ _ _. . :::1•:::J1S=-1
fl4.Dn0897  IBARRYRIOiARD5UNDLANOMD                                          1421SPOTOMACSUJTE320                                       !AURORA,.C080012-45U                      194.0D[         194.oo!         144.ooi       SO.OCH             16.85

XX-XXXXXXX     icoMMUNITYSURG!CALSPLYTOMSRIVER                                         l390ROUTI:37WEST                                                    hoMSRIVER,NJOS754-4686                             179.95!            L79.9si            143.961                3S.991                   16.84
XX-XXXXXXX     lELEONORAKULUPSKIMD                                                    !7447WTALCOTTAVESTE269                                               !onCAGO.IL60G31-3707                      i        450.00!           4SO.DDi             143.50!               305.50!                   16.79
46-348lan..    KANSASCITTOBGYNPA
                                                                                      1
                                                                                       122oow10GTI-1sr                                      surre230       !OVcRlANDPAR~KS66Z15-230s                 I        110.00\           143.54j             143.54j                                         1a19
2_~!3!73       rocus INTERNAL MEDJONE AC                                               460 BR1ARGATE DRIVE                                  !surre ISO     ;.soUTH ELGIN, IL 60177-222.4                      320.ooj           183.44j             143.441                40.ool                   16.78
F3~2-0504=c,7::;41c._+M::,C.C=.::1B:.:UCa:=.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-l'!IP0=BO==X"-'89=62=13~-----------+l_ _ _ _-1i=CHA=Rl=D"-TTE"', NC,28289-6213             298.00(             203.47!           143.47 1                   16.78                           -!
 XX-XXXXXXX            !ROSEANNE BRADY co                                          110S WYNSTONE PARK.CR 101                      !BARRINGTO~~·~L<-=600=10-6=9==80'-----~f-----"720=.oo=.l~---=,,=o=ss"i---',"'••"'.is::c+-!I---,67-AD:;!-----'..
                                                                                                                                                                                                                                                "'_"'1s'-I
F22"'-•"'2"'4448=9~-+,1AN=HAR="-ouo=LEVY=...:Do~----------------1=,,=,-"EAST=M=.,"-N=ST===~-------+----f'IRA~MSEY="."-NJ""o~1....                    ==...=,=-----;---~230=,oo==;:                                       ----",.=.=.
                                                                                                                                                                                                      .,=.!---',"••"'.1""',l----'"'so",00=!-I                                        -----=,.==:1"'•-I
XX-XXXXXXX     srONYBROOKDERMATOLOGYASSOClATES                                         POBOX417995                                                         !eosroN,MA.02241                                   39s.ool           18!.ooi             143.00(                45.oo!                   16.73
XX-XXXXXXX     IPAINCARECONSULTANTSSC                                                  POBOX1123                                                           IJACKSON,Ml49204-1123                             2.697.00!          888.99)             142.10/               746.29!                   16.69
XX-XXXXXXX     PRIMARY HEALTHCARE A.SSOOAru sc                                         21102 NETWORK PlACE                                                 ICH1CAG0.1t 60673-1277                             350.ool            161.&2!            142.62]                2S.001                   16.69
XX-XXXXXXX     IDAN1ELFRANKUNROSESMD                                                   POBOX415662                                                         leosroN,MA02241-5662                               250.oo·            1B1.soi            142.so!                45.ool                   16.67
22.1941319     AVERYKuFutc                                                             l4s3LAKEHURSrROAo                                                   ITOMsR1VER.NJ0s1ss                                 460.ooi           20iso!              142so!                2ss.00!                   16.67

XX-XXXXXXX .... MARLA o KUSHNER DO SC                                                 !Po eox 578220          ---------1-----F!ot==•=CAG=D·~""606=57~•..c73'-'o~•------'---~43=3.=SO"+-•----=•~•1-".•c=;si.. ____                             H     1~2.4s,_l_ _ _33_._03.,_l_ _ _ _ _,_s.67-<
                                                                                      1
!:'.~KNOWN     JTZVI BAR DAVIDceDc:.,'M::..__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-f1•cc•=c1•"Hc=EN:::R'-'Y-"H"'uo=so=•...:•KWY=-----------i!_ _ _ --+IRIVE=Rc=D'-ALE.=N=Y-=10463='-'·150=5~-----'                 250.oo!            187.SO!            142501                 4s.oo!                   16.67
3S-2U4191 __   !Rs1PC                                      ---------+-2600_N_c_.._7_H_WY                                                                           .._-_,.-o~o-,·~',~~~~~~~~,.:-,""_-._1:~===----"142==·•~1•=======53=,06=:i=========:,.:..:.:
                                                                                     _ _ _ _ _ _ _ _ _ _ _ _-+-_ _ _ _.,.lw_,_N_DE_U.~Nc_2_1_59_1______~_-_-_-_-_-_-
XX-XXXXXXX     lMARTiiAJEFR:RSON HOSPITAL                                              lPO eox 759149                                                      iBALTIMORE MD 21275-9149                          t.863.00\         1.11s.oo/            142.401             t,03s.&0I                   16.66


                                                                                                                                          EXHIBrT2

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                                                                                                                          AEU INTERIM DISTRIBUTION




XX-XXXXXXX    lPROSCANWOMENSIMAGINGCENTER                                          1Posox632918                                        I                !cNCNNATI,OH.45263                                 700.oo:              3SL73;          141_73/            210.00!               1ssa
XX-XXXXXXX    !HYTHAMAL-MASRIMD                                                     istSOWtBSTHSTSTEA                                                   !TINLEYPARK,IL604S7•9229                           141.69\              14L69:          141.691                  .j              1658

4&-3ss83s3    GEORGIA SURGICAL PROFESSIONAL                                         Pa sex 936166                                                       !AllANTA. GA 31193-6166          --tl___;:;34=s.=oo=,l_ _ _----'2"0:::uo=i-1_ _...,1=•1=.00='1--!_ _..:oo:::·=oo,-l_ _ _ _..:16e,.Se,1-1
XX-XXXXXXX    1NsmtJTEOFDIAGNosnc1MAG1                                             l2829UNIVERSITYDRssum10                             I                !FARG0,Noss103                                     2ao.ooi              14LS7!         141.s11                   )               1 &5 &
Sij-2071829   !sRAo HEARN                                                           16525 BIRICDALE COMMONS PKWY                       lsre 100         !HUNTERSVILLE, Ne 28078                            c1•.00j              256.Soj        1•1.soi             2Ss.00I               1,ss

XX-XXXXXXX    EUENBENTL£Y                                                          '700MT.HOPEAVENUE                                                    18ANGOR,ME04401                                    170.DOi              141.36!        141.361                   -1              16.54

lO-S329523    !ARETHA NANDA PERSAUD-MANCU=SI_M~D--------··-·--··--··--·--··--1·!~.~ BROAOHOU.OWRO SUITE3U                        ........ lj ............MEtvtUE, NY 11?47--4901         --,--~1,~230~-~oo"\_ _ _ _•~22=·cc".,.;_ _~1~•1~.34+!              --~:za=,:-•~·;..·1 -----=ls.s=•'-1
XX-XXXXXXX    MAP1..EEYECARe11c                                                    !257ERIDGEWOODAVE30I                                                )amGEWOoo.r-11014so                     l           266.00i              186.20~        141.201              45.ooi               1s.s2
XX-XXXXXXX    !NOVAMEDCARE INC                                                     b1&sreLTCN RO                                        SUITE 83       IPISCATAWAY, NJ 08854-3284                          21s.oo!              141_19)        141.191                   -!              16.52

XX-XXXXXXX    IHACKENSACKSt.EEPANDPULMONARYCENTER                                  h10PROSPEcrAvEsr1:20                                                IHACKENSACC,NJ0760t                                soo.ooi               230.961        140.96!              90.001               16.4 9

XX-XXXXXXX    JLEEOPTOMETRYLlC                                                     121901.DHOOICRD                                     isre2           lwesrwooo,NJo7675-3131                             195.ool               iss.&s!        140.651              15.ool               16AS

XX-XXXXXXX    icLPCENTRALCAROUNAMEDICALCENTER                                      !POBOX743742                                                        iA11ANTA,,GA30374                                  200571                140.401        14DAOi                    .1             16A3
XX-XXXXXXX    iBAPTISTNEUROLOGYlNC                                                  POBOX41113                                                         h"0CSONVIUE,A.32203                                 215.oo!              140.22!        14022!                    -!              1s.40

XX-XXXXXXX    NORTHWESTMEDtCALSURGICAL                                             /PO BOX 16Et                                                                      "'"'os=•'c:B-01-=SS=----~--~1,~B60=.ooc+!----=990=.oo=iif--__l=c4Dc=c-~oo,.,!_ _-=•so=.co=,,l'--------'l,::6::38"-I
                                                                                                                                                       fSAINT AlSANS,VT

XX-XXXXXXX    SOIATZKI ASSCCATES INC                                                ~c:1.::;Mc,O;:;OO'-'Y-=ST"--------------+-----f'!1=uo"'LOW=, MA.,=~cc-1=056"'--------+-----'188=.oo=;-(_ _ _.......,1=ss.=oo:::;...1_ _:=.140=.oo,,l___c::48=.oo='+-1--,-__lo,6e,3"-IB
XX-XXXXXXX    lxeNNent M REED MD                                                    PO eox 18501                                                       leeLFAST, ~E 0491S-40ao                             755.oo!              s1G.91:        140.ooi             376.91]               16.38
u-33429S7     IPATRICKEMCMANUSMD                                                   !303EASTPARICAVE                                    !               lwNGBEAOf,NY11SG1                                   825.ool              46s.ool        Ho.ool              325.oo!               16.38
204693555     1JEFFREY NAICHJAVAH DO                                               1160 SUNRISE HIGHWAY                                                lwesr BABYLON, NY 11704-6014            !           165.ooi              1ss.ooi        140.oo!              25.ool               16.38
XX-XXXXXXX    HAOOONG SONG                                                          2698 HIGHWAY516srE D                                               !oLD BRIDGE, NJ 08857-2305              !         2,100.001            1,350.DO!        140.oo!            1.210.ooi              16.38
XX-XXXXXXX    !CENTENNIALMEDICALGROUPEASTLLC                                       [POBOlC5435                                                         !eeLFAST,ME049l.S-5400                             200.00;               200.0D!        140.001              60.001               16.38

'XX-XXXXXXX   lo1aecr uRGENT CARE                                                   3095 TELEGRAPH AVE                                                 laeRKELEY. CA 947os                                492.00;               t40.ool        140.ool                   -1              t&.38
ss-1678127    lwAKEOPHTHALMOLOGYASSOOATESPA                                         1osmCARYPKWYsn:200                                                 ICARY,NC21S11                                      140.00i               140.00!        140.ool                   -1             16.3B

XX-XXXXXXX    WESTERLY EYE CARE LLC                                                186 BEACH ST                                                        !WESTERLY, R! 02891                                380.00;               200.00!        140.ool              60.a:>!             16.38

XX-XXXXXXX    MICHEi.EA couRI MD                                                    PO BOX 10038           ---------1-1----f-l1•~eo~•~,.~•'~'6~1~si~2-00='"~------··e--~2~•1~.00=;-i---~u~•~.s~5t-\--~139~.s~6,.i_____Jt-._ _ _ _ _1::6=-''-l'
XX-XXXXXXX    IPARKPRIMARYCARE                                                      97605KED?1EAVESTE2                                                 !EVERGREENPARK,IL6CBOS                             360.00;               207.33!        139.87!              67.461              16.36
13-39s791s    lsreFANKIESERMAN                                                      61EAST86THSTREETSUrrEsc                           l                \NEWYORl(.NYtoozs                                 2,160.00/            2,os1.isi        13930)            t.941.95!              t6.3D

4~-8438425 ..IGHANSHYAM PRAOYUMNA DWIVEDI                                           1778 METRCMEDICAL DRIVE                                            IFAYETTWJLLE, NC 28304                              1,s.00\              139.22!        139.22;                                   16.29
SS-0839725    !AUDREYMHENDERSON                                                     POBOX1980S                                                         !eELFAST,ME049l.S-4093                              150.oo:              139.28!        139.281                   -i              1629

XX-XXXXXXX    IM£01CALIMAGINGCONSULTANTSPC                                         iPOBOX242848                                                        !MONTGOMERY,At36124--284S               i          452.05!               250.54)        139.22!             126.021               1629
7.S-0827446   ittENDRKXMEDICALCENTER                                                POBOX971667                                                        IDAUAS,lX75397-t667                                 &10.09[              439.2si        139.26!                   _i              16.29
XX-XXXXXXX    ROBERT G. CURRAN, M.D.. P.LLC                                        !306 HEMPSTEAD AVE                                                  !MALVERNE, NY 115651201                             355,00:              139.13!        139.13   I                -1              1628
42-1n1so2     MINUTEruN1c01AGNasncMEDJCAL                                          !PoBOx:8441                                                         !BELFAST,ME0491.5-844t                              164.oo;              164.oo½        139.00\              is.ool               1626
XX-XXXXXXX    MID-ATLANTICRADIOLCGY                                                IPOBOXUOS90                                                         !NEWPORTNEWS,VA23612                                139.00;              139.0Df        139.00]                   -l              1626
XX-XXXXXXX    isoUTHEASTERNPATHOLOGYASSOCA                                         l1000sus1NES5CENTERDR                                    SUITE13D   !SAvANNAH.GA31405                                   674.oo/              345.0oi        139.oo\             206.oo!               1626

114-,c-_:l,=129=12=0_.::;iROOCY==Mc,OU:,:NT=AIN=FAM=""-'-"•HYS=)=C=AN=Sc.PC=--------..--.--•-·-- ~1124 E ELIZABETH ST STEC 1-----~iFO=RT~co=w~•~s, co SDS24--40Sl                                   164.00!          164.oo!       139.oof            25.ooi            16.26
~!,!~S-~06~9-+]0W>=~T~A~rn~•~•-------------- ______,.!2S0_2_EASTEMP1RESTEC _ _ _ _ _ _ _ _ _ _ _ __ ,                                  +l•=w"'o"-M='"~GT=o•~·="c:61='-=-114-'-'3"-739=-----i---=29-=-3·=00i _ _ _-'2S=S.8=7+l--~1=38~.s~71f--_-'12=•cc·oocc,-l_ _ _ _-=16=2=•-1
                                                                                                                                            _ _ _ _




F'-=-s-=3845=253=--;i''-'"='M=•=CAR=•--=coMMUNrrYHEALTH.~••~c~--------------;i_,o_sox_~,•~•--------------i-·_ _ _ _,_le_eo_FO_RD_•_••-"-~'-'604_!19--0      __  ,._6_ _ _ _-t-___BDO_.oo--,-l_ _ -~2~18~-'~•7! ___m_.,_oi,-___ao_.oo--;-J_ _ _ _~16~2~3'-I
XX-XXXXXXX        IBELLMCRECERMATOLOGYPLlC                                                       IEstBEDFOROAVENUE
                                                                                                                                       11

                                                                                                                                        ieeLLMORE,NY1171.0                                          33s.oo:          zsa.szl       138.s2!           120.ool            1s.21


                                                                                                                                     EXHIBIT2

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                                                                                                     AEIJ INTERIM DISTRIBUTION




XX-XXXXXXX

XX-XXXXXXX      IPACAC PEDIATRIC CARDKJLOGY MEDICA                Isa w BELLEFONTAINE ST.. STE 405                                                          1.2&0.ool   138.lll                                16.16
XX-XXXXXXX      IPRIMARY CARE MEDIONE LLC                         l6-20 PLAZA ROAD                                                                           350.00i    138.00:                                16.14
XX-XXXXXXX        PATHOLOGY CONSULTANTS INC                       IPOBOX16295                                               ,§.~~ENVILLE. SC 29606,.7295     29s.oo!    298.00i                                16.14
                I
XX-XXXXXXX      jADVANC:D RADIOLOGY SERVICES                      IPO BOX 776446                                            lotlCAGO Jl 606n-6446            721.001    290.osi                                16.12




                                                                                                                                                                                                               .
XX-XXXXXXX      ICP ADVANCED IMAGING PLLC                             lSSCANALST                                            l•EWYORJC. NY 10013-4551         250.00\    131.sol                                16.09
22-3n8069       !I.AAlSAKLOTSDO                                   i11 BUFFALO RUN
                                                                                                               I            iE   BRUNSWICK, NJ   0881~78     340.COi    137.531                                16.09
XX-XXXXXXX
                I
                [NEUSE VALLEY INTERNAL MEOIONE PUC                i101 £XPOSCTION Pt STE 218                   I            fRAlEIGH. NC 27615              1,047.00i   346.ZB                                 , .,,.
56-,1560351     Ria-tARO D ADELMAN MD                              7320 SIX FORJCS RD STE 260                                RALEIGH, NC 27615-5285          350.00 1   206.91                                 16.07
l~;-2709797     I.ONG ISLAND ENT ASSOC PC                          875 OU> COUNTRY RD srE 200                               !PlAINV!EW, NY, 11803           1,420.00'   361.63l                                16.06
                                                                                                                                                                                                           i
XX-XXXXXXX      ,DAY KJMBAU MEDICAL GROUP INC                     1POBOX8469                                                !eeLFASr, ME 04915               900.oo!    440.67
                                                                                                                                                                               1                  623.36i      16.03
XX-XXXXXXX      ia-iARLES KLEINBERG MO                            l1000PARKAVE                                              iNEW YORK, NY 10028              325.0Cj    203.ooi                    66.18!      16.01
XX-XXXXXXX      !ADOlESCENf-YOUNG ADULT MEDICINE                  !29BARS1'0WAD                                    STE201   iGREATNECK. NY. 11021
                                                                                                                            I
                                                                                                                                                             ssc.ool    226.631                    oo.ool      15.98
                                                                                                                                                                   i
!14923203       iBROOKLYN FAMILYMEDICALASSOOATES                   821018TH AVE                                             !BROOKLYN, NY 11214-2901         290.0G;    136.53!                     0.06       15~
XX-XXXXXXX      BOULEVARD PEDIATRICS MEDICAL GROUP                 16550 \1£NTURA BLVD STE 414                               ENCNO, CA 91453-6505            265.00!    161.33[                    25.ool      15.95
                                                                                                                                                                                              I
XX-XXXXXXX      Sli:PHEN ESCARAN11NO                               3nPOSTAVE                                                !WESTBURY. NY 11590-2201        1,254.80:   423.19t      136.261      286.931      15.94
XX-XXXXXXX      1TUUAHOMA HMA PHYSIOAN MANAGEMENT                 iPo BOX 11432                                             iBEI.FAST, ME 04915-4005         522.00:    196.26       136.26        60.00       15.94
XX-XXXXXXX      !TENNESSEE HEALHTCARE PARTNER                     ,POSOX281738                                               NASHVILJ.E, TN 37228--8508      2n.ool     136.001      136.001                   15.91
XX-XXXXXXX      IKNIO::ERBOCICER otlROPRACTIC CENTRE              !21 KNICKERBOCXER ROAD                                    !DEMAREST, NJ 07627-1904         170.001    110.00!      136.ooi       ...ool .    15.91
26--4429830     /GEORGIA RADIOLOGY SERVICES UC                    '
                                                                  IPO BOX. 22971                                            !BELFAST, ME 0491$               215.00!    191.00;      136.ool       ss.ool      15.91
XX-XXXXXXX      IDAVID BOWMAN MD                                   4600 COX ROAD STE 120                                    !GLEN AUEN, VA 23060-6708        371.ool    195.991      135.991       60.00       15.91
XX-XXXXXXX     'jGMG HEALTH SYSTEMS ASSOC                          720 PLEASANTON ROAD                                      JSAN ANTONIO, TX 78214           834.oo;    323.131  '   136.031      187.10       lSSl

XX-XXXXXXX      LOW COUNTRY OB GYN PC                             !s3S3 REYNOLDS Sf STE 201                                 !SAVANNAH, GA 3140s-6087         284.00•    135.89:      13S.BSI                   15.90
74-2146S18 ...•..1~1ABETES & GlANDUlAR DISEASE CLINIC PA           S107 MEDICAL DR                                          SAN ANTONIO, TX 78229-4801       321.oot    175.91:      l3S.91i       40.00       15.90
XX-XXXXXXX      ACttSSIBLE PHYSICIAN HOME CARE LlC                 S860 COLUMBIA PIKE STE 105                               lfAUS OtUROI, VA 22041           251.00;    175.70i      135.701       40.00!      15,88

XX-XXXXXXX      WALTERSTRASH DPM                                  l74z4 BROADWAY                                            1SAN ANTONIO, TX 78209          1,496.72[   673.59!      135.57!      500.osl      15.86
XX-XXXXXXX      ]oeGYN GROUP OF EASTI:RN CONNECTICUT              12600TAMARACKAVENUE                          lsum200      lsoUTH WINDSOR, er 06074-S560    2saoo!     135A9!       135.491                   15.85
                                                                                                                                                                                              i
XX-XXXXXXX      SfLF MEDICAL GROUP                                l75 REMITTANCE ORNE DEPT6764                               C-HCAGO, IL 60675-6764          275.ooi    215.44'      135.44;       so.oo!      15.85
XX-XXXXXXX      MASON URGENT CARE                                 '
                                                                  1PO BOX 645497                                            '
                                                                                                                            IONONNATI, OH 4S264-5497         760.00i    570.49i      13S.49!                   15.85
                                                                                                                                                                   I
45-S622044      !AWANTDERMATOLOGY PA                              :8620 E COUNTY RD 466                                     THE VIUAGES, FL 32162            S03.47i    453.ul       13S.S2       317.60!      15.8S
XX-XXXXXXX      tAGA CUNICAJ.SERVICES UC                           1000 JOHNSON FERRY RD                                    -A~~ GA. 30342                   314.00)    18S.44i      13S.441           -!'     15.8S
38-3316S59      iiHA HEALnt SRVCS CORPORATION                      24 FRANK llOYD WRIGHT OR                                 iANN ARBOR, Ml 48106             199.00!    135.42:  '   135.42!  '                15.84
XX-XXXXXXX     !GYNECOLOGY & OBSTETRICS                           ,1602 VERNON RO                              !STE200      '!LAGRANGE, GA 30240             225.00i'   135.31!      135.311        8.77       1S.83
               !                                                                                                                                                              I
87-6000S25     !UNIVERSITY OF UTAH HOSPITAL                       !POBOXS11258                                              !Los ANGELES, CA 900S1-7813      735.30!    135.28i      13s.za!      342.69[      15.83
               I
XX-XXXXXXX     iWEST SUBUR~!_PM~RMOTOLOGY AND                      POBOX2137                                                CAROL STREAM, IL 60132           18S.OOj    lBS.OOi      135.00        S0.00,      15.79
                                                                                                                                                                                                        ;
XX-XXXXXXX __ .. !ANDREW L GOLD5TEIN MO                           139 HUNTER ORrvE                                          'EASTCHESTER, NY 1071J9..S20S    175.00;    115.00:  '   135.00!       40.00!      15.79
                                                                                                                            i
XX-XXXXXXX ·- .. i~~NIC SCAFURI Ill DO                            1682 FOREST AVE                                           !STATEN ISLAND, NY 10310-2507    225.ool    225.~i       135.001       90.00i  '   15.79
                                                                                                                                                                              I
XX-XXXXXXX      IHARVEYM WOLF PSYO                                '
                                                                  !115 S WILKE RD STE 300                                   IARUNGTON HTS. IL 60005-1535     200.ooi    160.00;
                                                                                                                                                                                           I
                                                                                                                                                                                     135.00!       is.ool      15.79


                                                                                                              EXHIBIT2

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                                                Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 171 of 266 PageID #:11267




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74-2US17S
              !BRUCE P KOLTON MD
              1LANcr eERGSl'ROM
              IRAD10toGY □F HUNTSVILLE. P.c.
              'BAY AREA DERMATOLOGY AS
                                                                                    !2601 UNIVERSITY' DRS

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XX-XXXXXXX    BRYANMEDICALASSOC                                 --------+!4-"1=12'-'E'-'2=-•™=STRE=ET"'------------+-----i=•.c.RYccANo,,ccTX.c.n=•02=---------1----=2S-0.00_,:_____
                                                                                                                                                                                  17_S.oo--;-1_ _~13~S~.oo~,.1,,._ _ _40~.oo=;-'------'lS"'.70'-'-I
81-47S3049    !a-uwRENS MERCV- PE01A11uc CARE                                        12541 FOSTER ST                                   lm 260           ovBU.ANo PARK, KS. 66213                           &10.14i             134.92;       134.921         4os.2ol                is.78
XX-XXXXXXX    ISVETLANASALERNO                                                       613PARJC.AVE2NDFLOOR                                              1EASTORANGE,NJ07017-1905                           525.00;              134.6Sl       134.65:               _j               15.75

SB--1942609   IIROSWELLRAD1o='°c:GV=ASSO=t"'IA"TES=•-=-c_ _ _ _ _ _ _ _ _ _ _ _-i'Jp.;:o.;:BO;:;xc.;1:.c•=ss'---------------i                         _j1ND1ANAPOUS.IN46206-1485                          153.00!,             134.64j       134.641               .\               is.1s
XX-XXXXXXX    ,DEERAELDMEDICALASSOOATES                                             i1200STERMANAVESUllcl03                            (...             DEERFIELD,IL60015                                 278.00!              134.57!       134.57i         139.DOJ                15.74

22·2618491    iRlCHARDLEIOiELMD                                                     i1BOWHITERO                                                        .IJTTI.ESILVS:R.NJ07739-1166                       ns.aoi               194.35~       134.35!           60.DOl               15.72
46--29S4s21   lLASveGASMEDICALGROUPL                                                l13s9GAU.ERIADRIVE                                 lsurre:100      !HENDERSON,NV89014                                 506.ao!              224.36!       134.361           90.ool               is.12
91·1879977    AfflUATEDPATtfOLOGISTSMEDICALGROUPlNC                                 1POBOX749202                                       I                LOSANGEl.fS,CA.90074--9202                        224.oo!              134Aoi        134.401               .I               is.n
IJ4.160244S   lsuN•HOOFOOMD                                                         2S4CANALsrREETS003                                 !               INEWYORK,NY10013.3501                              600.ooi              284.21!       134.21[         1so.ool                15.70

21--0110791   !oflAWAREVALLEYUROLOGYUC                                               lSOOOMldlantfcDrtve                               lsultelOO       IMOuNTLAURELNJ08054                                29Loo]               2l9.44j       134.22/          2S.22i                15.70
S7~~~2        Watterbo,-cFam!IY~.ctr~.....                                          li010iurchStn:=ct                                                  lwalterboro,SC29488                                134.0ol              134.00!       134.oo!               .J               15.68

1'7-'==09=2=--+:-FAUS=.::M:=ED=ICA=L=CE=NTE=R.::PAc.,__ _ _ _ _ _ _ _ _ _ _ _ _ _-fh=D9=3=1.::RA~V.:.EN=Rl~DG=E~RD=srE=11S~-------+------t~LEIGH,NC.~2~7=61~4---------,---=200.0=0ct\----1=7=3.85=+-!_ __,133=.BS=t-i----+-----.:.1S=.:.66==-!
  ......
13-42333n     REGIONALOTOLARYNGOLOGY HEAD AND NECKASSOctATES                         PO eox ssooo-5ses                                 l               ;PHILADELPHIA, PA 19195--ssas                      675.00i              193.76(       m.1&i             60.ool               15.65
XX-XXXXXXX    Loov L KELLY MD 11ASSOOATES u.c                                       2901 N KNOXVILLE AVE                               l               !PEORIA. IL 61603-1747                             178..35!             133.76!       m.16!                                  15.6S
47.2235591    !e1G OAK PHYS1CAL THERAPY uc                                          !z23 sCRAWFORD STREET                              l               THOMASVILLE. GA31792--55D4                        1.3as.ooi           t.OGG.aol       m.sol           933.ool                15.65

SS.2083505    iGWINNETTPATHOLOGY                                                    iPDBOX1526                                                          RDMEGA30162·1526                       !          148.00!             133.62!        133.621               .1               15.63
11~323S233    lPED1ATRICCAR010LOGYoF u PC                                           ,100 PORT WASHINGTON BLvc                                           ROSl.YN NY 1157r,.1347                           1.7&5.ool             s10..21!      133.41!         376Jlol                15.61

88--0363142   !CARSONtJROLOGY·CC                                                     1425VISTALN                                                        CARSONCTY,NV89703-4644                            158.00!             133A2!         133A2!                                 15.61
20-a5n402     STMARYMERCYPHYSICJANPRACTICES                                          POBOX223478                                                       ,PITTSBURGH,PA,.l5251                              679.03!              158.38!       133.381         230.03i                15.60
41·2041289    HEALTHCALL PRIMARY CARE CENTER                                         PO eox 6300                                       I               !PROVIDENCE, RI 02940                              220.ool             133.331        133.33!               .j               1s.&0

~~766764      1BREAK.ff-BRACE                                                        2004SPROULRD                                      !                BRDOMALL.PA19008--3511                            333.00\              16650!        133.201          33.30i                1558
01--0179500   !soUTHERN MAINE HEALTH CARE                                            PO BOX 360125                                     !               1PJTTS8URGH, PA 152S1-6125                         133.oo:             133.ooi        133.oo!                                15.56

~l-2233U6,_-+EAR='-'NOSE==&-"TH"'R::0:.,AT:..:ASSO=::CIAccTES==OF:..:N""EW=Y=ORcc<ccPC=-----------i'SS2=8~M~AJ~•~sr~------------;-1_ _ _ _...,l-"A.~US~H~IN=G•.NY11355--5044                             1.350.00[             425.381       132.991         292.39!                1556
XX-XXXXXXX    DR MIOIAELJ KELLY MC                                                   16 CONLIN sr                                      I               5ALISBURY. cr 06068-1823                           15s.oo!              158.ool       m.ool            is.oo!                1556

1'3=&.=2664=9=••=-+•o=•=•RTc.c..=..EGO.~RSl~CH=-------------·-------1242sw.22NoSTRfET                                                  !no3_ _ _-+o=AX=•cc•oo=<.,.,1Lcc60:=S23=--------li---='°='·=oo=+!_ _ _ _1=1=s.=02,.!_ __,13=3o:.D::21-l·_ __,•,,s.,,,ooc;.1l_ _ _ _.....:1S::5::6:.i
31.1502905    iOIARLESDBESS                                                         1;~·~x944                                          l               IKEYSER.WV26726-0901                    l          iss.ool              132.661       132.661               .!               15.52

3~3s9ssos     lmHNMDORN                                                             fPoBOX248944RIDIAHORD                              I               lovER.IN463U-OZ4B                                 1.1as.ooi           1.147.691       132.69!        1.01S.OOI               is.sz
62--0908836   MURFREESBORO RADIOLOGY & NUC.EAR CONSULTANTS INC                       PO BOX 3233                                       j               !lNDIANAPOUS. IN 46206-3233                        633.ooi             323.75!        132.531         19L22i                 1550
77~75056      iMARKsCORAZZA.MD                                                       243tCASTiuosr                                     l                SANTABARBARA.CA93105-4301                         32s.oo!              132.34j       132.34\               .\               ts.48

11·3300114    PLA2A.MEDtCAI...P.c.                                                   6410VETERANSAVENUE                                                 BROOKLYN,NYll.234-5605                            21s.ool              132.05!       132.osl               .!               15.45

11·3S32419    BORO PARK MEDICAL PC                                                   137954TH STREET                                                    BROOKLYN, NV 1U19--42.59                         1,985.00'             622.25\       132.0S!         497.70!                15A5

2~2029931     lce:NTERPOINTEF~~~LY~M~ED~l~□~••~uc=--------------;!PO_BO_X13548                   ----·------...------;',=••::LFccAST=,M=•04=0l.S-40:....,='=c•------+----=22=0=.00=:...           · ----===·oo=,i~-~1==•=2.00=!_ _           15.44
                                                                           !s3 HERRICK ST STE 1003                         >------+!a_ev_au:_•.~MA_0_10_1S-_27_S_7_ _ _ _ __,_____300_._oo_.!_ _ _~1~32~.oo-+;--~1•~2~.00~!~----+----~1•~A4'--I
                                                                                                                                                 -·--+'.....
XX-XXXXXXX    !GARDEN OTYPEDIATRICS

XX-XXXXXXX    !DAVIDVANDAM                     --------------+l7"'38~W=NO=RTHWESTH\NY                                                          =~N~"'~""=·'~'600=1~0.~2~640"------+----~'°~·~·oo=t-i_ _ _--=1~6S~-00=;-[_ _=132.=00-1 33.oo! 15.44
XX-XXXXXXX    !~·NORWAUCPC                                                          !so7MAINAVE                              ~··----·-;-··-·~          iNORWALKCi06851·1058                               652.DO;              532.ooi       132.00r---· 586.00+l-----=lS"-.44"-i


                                                                                                                                      EXHIBIT 2

                                                                                                                                           148
                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 172 of 266 PageID #:11268




06-1046S58
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               !DERMATOLOGY ASSOCATES OF WESTERN CONNECTICUT, PC
                DERMPATit DIAGNOSTICS TROY AND ASSOC

               iJDSEPH KEITH YOUNG 00

                JFK MEDICAL GROUP
                                                                                   !110 MOUNT PLEASANT RD
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XX-XXXXXXX ..____] e GLENN BLAIR o PM PC                             -----+'j3~75~•=•='"=••~•=0RT=•="'=N="•~---------flsre="=---..;!~§~~~.£!.~=,.'------ _,___ _ _925._o_os--;_ _ _ _,s_o_.•~o'.,-__13='-'=•.-,...'----'2~•=9A--'1.,_i-----=••=-'=•-1
XX-XXXXXXX     :ISLAND PRIMARY MEDICAL CARE __ ..    _ _ _ _ _ _ _ _ _ _ _ _li-•62S
                                                                                __  M_ER_R_ICK_R_D_ _ _ _ _ _ _ _ _ _ __,.._ _ ___,;~PEQUA.NY1l758                                                                187.SO,       ----''='1.=2Sc+(--=13='=~-l-----•;-i-----=15=-'=--iS
11.J294852_, _____ JPAUL BRUCE LANG MD                                             joNE Hou.ow LANE sre110                                !                      iNEW HYDE PARJC. NY 11042-1215                   2&0.ooc,'----=134~-=••c;;----'13=1=.23=!_____·;-I-----=••=-'=--i'
~~~_E.~76      !eeRANBA~-~-~H="="~AN=1-"N=E1ST=•"=T='•ccc=o=es'-------------tl='790=•=•=0A=c~w~•~•-------                        ..........._J1rn_FLI?OR _____   j_NEWYORKNY10019-l412            .....   J____1_10._oo~l_ _      11s.ao:     13ux,i          45.001               1533
XX-XXXXXXX     IDAYrON PHYSICANS LI.C                                              ,Po eox 63509&                                         i                      laNONNATI, OH 45263-5098                  1      n2.00:          464.68;     130.86i        {90.001i              1s31

XX-XXXXXXX      MEMORIALEXPRESSCARELLC                                             iPoBoX19123                                            I                      iSPRINGFIELD,IL6279491.2l                        421.00;         220.ssi     1.30.ssi        90.ool               1531
XX-XXXXXXX      THE MEDICAL GROUP OF ENGLEWOOD                                     140 GRAND AVE                                                                 IENGLEWOOD, NJ 07631-6581                        534.00i         175.40i     130.40!         4S.00f               15.26

38-214S264     !GAANDVAll£'(MEDICALSPECIAU                                         J19oowEALTHVSTSESTE1SO                                 I                      iGRAND RAPIDS, Ml 49506                          206.Soi         155Asl      130.4S1         25.ool               1s.26

XX-XXXXXXX     isuDIPTADEYMD                                                       U7PINES8RJDGERD                                                               leEACON FALlS, er 06403-101.1                    26S.o3i         143.35i     130_43[         39.71!               1S

XX-XXXXXXX     !NY MEDICAL & HEALTH PC GS                                          '7054 YELLOWSTONE BLVD                                                        !FOREST HIUS. NY W7S-3S63                        210.OD!         130.36!     130361               -l
                                                                                    I            !□RlANDO, R. 3~2152
F•~--~248=SB9=9'--t2~isr=CENTU==RY~o~N~co~LO~GY=u.c~--------------+!PO~•~ox~BG=2ts~2~------------+------,,--~---~-----t-----''~,3=10.=12=:,----~''~•=-2c,4;_ _--'130=.2:e~+l._ _ _..
                                                                                                                                                                                   =·=00,.1\_ _ _ __:1:::s.2:::•'-I
XX-XXXXXXX      KEVIN MICHAEL CRONIN MO                                            fpa BOX 13853                                          I                      I!~-'¥-· ME 04915-4029                           250.00;         130.201     130.20!              -I              15.23
XX-XXXXXXX .____ GASTRQ SPECIAU5TS L1C                                             52AMAGANSETTDRM                                        I                      iMORGANVll.lE, NJ DnSl-1184                    .1,595.00i       1.487.54!    130.13!      1.,357.41!              15.22

XX-XXXXXXX      LEWlSKASS                                                                                                                 i                      IMT
                                                                                ...... 1035.BEDFORD~••_D_.SU_ITE_ll_l_ _ _ _ _ _ _- - ; e - - - - - ; - - - !CISCO,
                                                                                                                                                            ~ - -NY     - - - - - ; - - - ~ ' " ~ • ~ - O ~ • . , . . i------'1SS=.1Xl--+l--=130~.oo=-.c.;:_ _ _=25=.00=;-i_____15=.2=--it
                                                                                                                                                                    - -10549
XX-XXXXXXX     1MICHAELZFE1N DPM                                                   850-IOOLSTREET                                         I                      !BETHEL, Cf06801·18Tl                            115.00!         11s.ool     130.001         45.oo!               1s.21

2~2044950       ORlANDOMILLS                                                       !5lSJRONBRIOGERDSUrTEONE                               I                      IFREEHOLD.   NJ   oma-5300                       212.00[         130.ooi     130.00;              -1              ts.21

XX-XXXXXXX      COREYNans                                                          1SSMORR1SAVE                                                                  ISPRINGFIELD, NJ 07081-1224                      765.oo'.        680.ool     130.00{        490.ocl               ·

37-17094n      !QUAUTYACUTECAREPA                                                  !1421SMA1NSTm111                                       i                      !BOERNE. TX 78006-3322                           235.00;         235.DD'     130.00!
s1-0845aos
               1
                1NCYTE PATHOLOGY 1Nc                                               lro eox 3405                                                                  !SPOKANE, WA 99220-3405                          130.001         130.001     130.00/              _j              is.21

XX-XXXXXXX      REIDPHYSICANASSOCIATESINC                                          iuooREIDPARKWAY                                        I                      lru01MOND, IN 47374-1157                         297.oo!         129.90!     129.90!        167.101               15

XX-XXXXXXX      PREMIER HEALTH ASSOCATES LLC                                       !532 lAFA'tETTE RD STE300                              I                      lsPARTA, NJ 07a11-44u                     i      248.00!         129.75!     129.7S(              _!
4&-5556819      DERMATOLOGYSKlNSURGERY                                             84lSNPIMARD
                                                                                                                                          I                      !SCOTTSOALE, A2 852511-4485                      423.74:         129.79{     129.79!              -!
XX-XXXXXXX     !RAOIOLOGICASSOCIATESOFNORTHERN                                     POBOX1072B                                                                    !lANCASTER, PA 17605-0728                        730.ool         162.1oi     129.68!         32.421
XX-XXXXXXX     !GARY R GECELTER MD
                                                                                   1
                                                                                    Pa sox 95000-6640                                     i                      iPHILADElPHIA, PA 19195-6640                     ses.ool         174.47!     129.47!         4S.ool
47•3568473      COLUMBtADOCTORSOFBERGENcouNT                                       POBOX!i-454                                                                   !NEW YORK, NY 10087                      i       250.oo;         114.s1i     m.s1i           45.ool
XX-XXXXXXX     !NORTHWEST FAMILY MEDICINE· DRC                                     CAROLINE 0-101, MD PO BOX 5202                                                IV£RNON HILLS. IL 60061                  !       284.821         129.291     129291               -1
oz-01s1iss      RANDALLJHILLMD                                                     a30PENNSYLVANIAAVESTE301                                                      \OIARLESTON, WV 25302•3390                       241.00;         m.21!       m.zsl                -1
XX-XXXXXXX     lMH&JSULLC                                                          !156ROUTE9                                             !                      leNGUSHTOWN NJ on26-8231
20-4529S93      JOHNLEPOREOOPC                                                     ilo10SBANBURRYCROSSORNE                                !SUITE170              ILAS VEGAS, NV 89144                     I       705.00]         188.43:     129.041         59391
ZD-4888130     lsueuRSANNEUROLOGYGROuPLLC                                          302RANDALLROADSTE204                                                          !G.ENEVA, IL 60134                       I       250.oo=         12u1!       128.971              -!
22-31444S5     ,GASTROENTEROLOGY MEDICAL ASSOCATES                                 !9223 KENNEDY BLVDsrE D                                                       INORTH BERGEN, NJ 07047-5359                     625.00(         160.781     128.62:         32.16!
31-135~092     ]wRIGKTSTATEPH'tSICIANSINC                                          )POBOX8716                                             I                      leruAST. ME 04915                                7S4.oo:         128.63\     128.63!              -1              15.D5
                                                                                                                                   !ot1CAGO, IL 60686
F•~s-=''~•1~2=1•~-ti•~•~c1ANA=~c=u~N1~c_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--'!s=20,::B:.:R::E::LIA:::B=lE'-'P-"AR"'ltW:::-•sv'----------<,------'-"====c.....-------'------"'21=•=·00j.". ____1_s~•-~•2c;-i_ _~12B=-•~2t-i-----'2S~-=ooc;-1!_ _ _ _~1~s.0~2'-I
45-390978S      U\BTEOiDIAGNOSTICS                                                 ;lSOZEGREENVILLEST                                     l                      [ANDERSON, SC 29621·2:0DS                        990.12:         160.32i     128.25!         32.07\               15.00

XX-XXXXXXX     lwoMENS HEALTHCARE CONSULTANlS OF GWINNITT PC                       !soo MEDICAL CENTER BLVD                               !sre,os                itAWRENCEVlllf GA 30046                          110.00!         128.061     128.061              -i              14.98


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                 JSl£EPY HOllOW PHYSICAL THERAPY
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                  EAR NOSE & THROAT AND FAOAL PLASTIC SURGERY CENTER
                 !MILWAUKEE HEALTH SERVICE SYSTEM
                                                                     •   ._ ... .•.:,.·   •   ~~·   . '•~·       :-;.., ·- -~-5#; •
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XX-XXXXXXX      . lsouTHWESTINFECTIOUS DISEASE ASSOCATES                                                     i1os1 ESSINGTON RD                             lsuITE210              imuET. IL 60435-2815                                  no.ooi       128.00       12e.ooi                    14_g7
XX-XXXXXXX       ,£AST AL MEDICAL CENTER                                                                     iPOBOX3488 DEPTOS116                                                  !TUPELO, MS 38803-3488                              2,038.001      128.00(      128.ooj    1.52s.oo!       14.97
XX-XXXXXXX       ~Al.KER WOMENSSPEOLAtsrS                                                                    3400HWY78 E                                    STESlO                 !JASPER, Al 35S01-8907                               217.00;       127.56!  '   m.ss!                      14.92
~885859          !ORTHOVIRGINIA INC                                                                          POBOX7S86B
                                                                                                                                                                         ··----· BALTIMORE, MD, 21275                                  1,092.00]      333.781      127.371     455.091        14.90

~!~~             [oR FARA BASS DPM PllC                                                                      i2381 EASr29TH STREET
                                                                                                                                                           .fSTEA200
                                                                                                                                                                                   BROOIClYN. NY 11229-5027               I            1,327.00;      211.20!      127.20i       ~~;1         14.88
XX-XXXXXXX       !BARRY A KOFFLER MD                                                                         i1zss HEMBREE RD                                                      ROSWELL GA 30076-3809                               t,824.ool      735.85(      127.191     518.66!        14.88
54-761418D         MARIE A REBONG                                                                            [23SO MCKEEROAD                                SUITE1                 ISAN JOSE, CA 95116                    i             ns.ooi        121.osl      121.osl                    14.87
                 I
XX-XXXXXXX       IGEORGE SKARPATitlDTIS                                                                      2709 MOMENTIJM Pl.ACE
                                                                                                             I
                                                                                                                                                                                   l0i1CAG0, IL 60689                     !             223.ooi       152.01(      127.01!       25.ool       14.86
XX-XXXXXXX       ''SOUlliERN NEW HAMP5HJRE RADIOLOGY                                                         ; PO BOX 846192                                                       lBOSTON, MA 02.284-6192                              487.00:       419.s0!      126.90!     292.60!        14,S!i

XX-XXXXXXX       !KANAWHA VAL1EY INTERNAL MEDICINE                                                           POBOX40322                                                            OiARLESTON, WV 25364-0322              I             220.00:       151.94;      126.941       25.ooi       14.85
XX-XXXXXXX       !MOUNT AUBURN QBSl'ETRICS & GYNECOLOGIC ASSOC INC                                           2123 AUBURN AVE sum 724                                               CNCNNATI, OH 45219                     I             220.00!       126.83:      12&.83i           _!       14.84
36--3746106      RIDGE ORTHOPEDIC & REHABIUTAmN                                                                                                             STE1                   ioAJC lAWN, IL 60453                   I            1.040.00 1     401.39 1     126.79!     274.60!        14.83
                                                                                                    .. ······l::::::;E~5Tc 165
4&-119!J760      jTRICORE PHYSICAL THERAPY INC                                                                                                                                     iSCHAUMBURG, IL 60173--4181                          490_00!       158.42!      126.74!      31.68[        14.83
!1·3584054       CONNECTICUT TEAM PHYSIOANS PC                                                               PO BOX 639119                                                         laNONNATI, oH 45263--9119                            181.DD!       18LOO!       12&.101      54.301        14.82
3()-0304489       MUSTAFA RAHIM MD INC                                                                       JP080X964                                                             feECKlEY, WV 25802                     !             320.0D!       226.46!      126.46'     100.ool        14.79

11•3437030        MAIMONIDES MEDICALCENTER·MMC                                                               !PO BOX 27097                                                         iNEWYORK,NY, 10087                     I             47D.DDi       210.szi      126.33!     14-U9i         14.78
                                                                                                                                                                                                                                              I
XX-XXXXXXX       NORTHWEST GEORGIA MEDICAL 0.INIC U                                                          PO BOX 468329                                                         ATLANTA,. GA 31146--8329               !             255.25:       U6.30!       126.301
                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                     -r       14.78

XX-XXXXXXX       'IPHIUP JACK STRENG ER MD                                                                   29 COUEGE ROAD                                 !                      MONSEY, NY 10952                                     400.ool       256.02!      126.02!     130.00!        14.74

XX-XXXXXXX       lMETROPOUTAN NEUROSURGERY                                                                   1309 ENGLE STREET"                             jSTE6                  \ENGLEWOOD, NJ 07631·1822                            240.001       21s.00:      12s.ool      ,o.ool        14.74
26--2945930      NORTH TEXAS HAND CENTER PA                                                                  !3021 COLORADO BLVD sum 103                                           !DENTON, TX 76210                      I             37s.oo!       196.D3l      126.021      10.011        14.74

XX-XXXXXXX       GLENDORA RADIOLOGICAL ASSOOAT                                                               jpo BOX 678132                                                        DAUAS.lX                               I             376.ooi       12s.12i      125.721           -l       14.71

XX-XXXXXXX       MICMAEL.J EVEROSICI MD PC                                                                   i990 WESTBURY RD STElDD                                               WESTBURY, NY 11590-5309                I             205.00!       125.64!      125.641           -i       14.70
XX-XXXXXXX       0AJCLANO ORTHOPAEDIC SURGEONS PU.C                                                          POBOX14813                                                            BELFAST, ME 04915-4043                 i             295.00!'      185.SSi      us.ssl        60.ool       14.69
62-1n6DD1        ;GENESIS WOMENS CARE                                                                        /300 STONECREST BLVD STE 31D                   !                      SMYRNA, TN 37167                                     254.ooJ       125.ssl      125.561           -l       14.69
46--3577564 ..... iRGPMO UC
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                                                                                                             121os TAFT sr
                                                                                                             1
                                                                                                                                                                                   'jPEMBROICE PINES, Fl33026                           lB0.00
                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                      12S.38i      125.381                    14.67

~~!?~3125        !RAINBOW PEDIATRICS OF FAYETTEVllJ.E PA                                                     \PO BOX 87407                                                         1FAYETTEVlllE. NC, 28304                             464.00'       125.34!      125~!             -!       14.66
XX-XXXXXXX       MARIA E GONZALEZ MD                                                                         794 W DUNDEE RD                                                       !WHEELING, ll~2652                                   250.46!       165.ul       125.181      40.001        14.64
U-2613359        M RASHID OiAUDHRV MD PC                                                                     '!1 BROOKDALE PlAZA RM 157                                            .BROOKLYN. NY 11212•3139               i             78D.OD'. '    125.13!;
                                                                                                                                                                                                                                                                   125.13!           -!       14.64
XX-XXXXXXX       OfARL01TE EYE EAR NOSE & THROAT ASSOOATES PA                                                !PO BOX 102419                                                        !ATLANTA GA 30368-2419                              6,621.DOi     3.253.68:     us.101     2,837.981       14.64
20--1725149      JA2NIVA CURIOCA MD PA                                                                       Jsoa SHAVANA AVE SUITE257                                             !TAMPA, R. 33609                                     250.ool       175.DD•'     us.ool       so.no!        14.62

XX-XXXXXXX       KATHLEEN CAUAGHANJACOB LCSW                                                                 j185D N NEW ENGLAND                                                   !ouCAGO, ll 60707.g99s
                                                                                                                                                                                   I
                                                                                                                                                                                                                          i             150.00:       150.00!      125.ooi      25.oo!        14.62
                                                                                                                                                                                                                                                                          I
XX-XXXXXXX       ]ANDREW PARKER MD UC                                                                        h4s EAST AVENUE sum 21                         !                      iNORWALK,. CT06851                     !             125.oo:        us.oo 1     1zs.001                    14.S2
27·1891193       !PREFERRED PROFESSIONAL MEDICAL CARE                                                        350SVETERANS MEMORIAL HWY                      STEC                   [RONKONKOMA. NY 11779-761.3            I   ·-~--1,140.0Di          744.621      124.93!     619.69!        14.62

XX-XXXXXXX       !PAUL F GROTE MD                                                                            7320A 1:INGSGATE WAY                                                  lwESTotESTER, OH 45069-6565           l              804.0D;       388.99;      124.991     264.00i        14.62
                                                                                                                                                                                                                                                                                      I
36--3053431       QAYTON R MALAKER MO                                                                        !!~4 VAN BUREN STREET                          l                      leELVIDERE, IL &1008--22s2             I             12S.OO;       us.ooi       12s.oo!                    14.62

38-188!1896       GLENDALE NEUROLOGICALASSCIOATES PC                                                         128595 ORCHARD lAICE RD sum: 200               i                      IFARMINGTON HIUS, Ml 48334-2979                      150.DO!       1so.oo;      1zs.ool      25.00!        14.62


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43-,1564392    !PROMPT MEDICAL QJNIC INC                                      iu2ss NOLAND RD STEC                             1            I
                                                                                                                                            !INDEPENDENCE, MO 540SS·1346
                                                                                                                                                                                                '
                                                                                                                                                                                                I               165.00;
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                                                                                                                                                                                                                                                     I                         _,
XX-XXXXXXX     ILANMAHON                                                      l11s&OAKRDSTE e                                               ISNEllVlLLE, GA 30078-2220                          I               12s.oo;              12S.ooi   125,00!
                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                '                      14.62
XX-XXXXXXX     HOSPITAL INTERNAL MEDIC NEPA                                   l1s10 Nw 107TH TER                                            IGAINESVR.LE, Fl. 32li06                            I               125,00;              1,s.001   125.00j                         -1                      14.6,2
XX-XXXXXXX     GRANITE OTY PHYSICANS CORP                                 __ ....,!PO BOX 11803                                             leeu:AST. ME 04915-4009                                             194.oof              164.90!   124.90:      '            40.ool                        14.61
               MIDDLESEX GI ASiOQATES                                         !410 SAYBROOK ROAD                                                                                                                398.00
                                                                                                                                                                                                                         :           124.57\   124_57!                  1.9s.oo!
XX-XXXXXXX                                                                                                                                  !MIDDLETOW~!..9:_96457                                                                                                                                     14.57
22·3799931     !CHRISTOPHER B KRUSE MD LlC                                    IPO BOX 829685                                                 PHILADELPHIA. PA 19182-9685                        i               524.52!              260.591   124.ss!                  13G.01I                        14.57
XX-XXXXXXX     loANVlllE POLYCUNIC Lm                                         l107 N LOGAN AVENUE                                           !DANVI~! IL61832-4360                               !               180.00;              164.ssi   124.SB!                   40.ool                        14.57

XX-XXXXXXX     lTR&-STATE MEDICAL GROUP, .INC--                               ]1000 DUTCH RIDGE RD                                          !BEAVER, PA lSDDS.-9727                             l               163.ool              U4.37]    124.37 1     '                                          14.5S
                                                                                                                                                                                                                      I
XX-XXXXXXX     ,Nil.SA LABORDE MD PHO                                         t4201 TORRANCE BLVD                               ST£ 110    -!~KRANCE. CA90503                                   I               215.00,              U4.22!    124.22[                     1.10!                       14.53

20-006S616     !FRAN KUN alNIC CORP                                           f102 FAIRVIEW OR SUITE B                                       FRANKLIN, VA238S1-1206                             i               31LOO'.              124.14!   124.141                         .I                      14.S2
                                                                                                                                                                                                                                                                              I
XX-XXXXXXX     MINUTECUNtC DIAGNOSTIC OF NOR                                  IPOBOX8450                                                     BELFAST, ME 04915-8450                             I               258.00J              204.131   124.131                   80.00\                        14.52

XX-XXXXXXX     :PR0GRESS1VE PEDIATRICS INC                                    \3196 11:ENNEDY BLVD STE 2                                     UNION CITY, NJ, 07087                              !               495.74!              124.13!   124.13!      '           ......1                        14.52

XX-XXXXXXX     SCOTT Al.AN VANDER VENNET MD                                   12 IVY BROOX RD                                   ;STE125      SHELTON CT 06484-6416                              I           1.639.00l                124.ui    124.121                 1,371.00[                       14.S2

32-8549S17     !DANIEL GROHEN5 PHOLCS                                         14873 MANHATTAN DRIVE                                         iROCKF0RD,IL6ll08                                   !               440.ool              124.oo!   124.00                          -1                      14.51

56-µ?5640
                                                                              1POBOKG02120                                                  !CHARL0TTE NC 28260-2120                            I               703.oo!              164.001   124.00[                  538.00i                        14.51

~-~2276994    ·t::::::::E;:;:~EALTH CDRPCRA110--                              IPO BOX 602905                                                 CHARLOTTE, NC 28260                                I           1,701.DO!            t.70Lll01     124.001
                                                                                                                                                                                                                                                            ·-------   1.sn.ooi                        14.51

XX-XXXXXXX     [GRAPEVINE PfOIATRIC QJNIC PA                                 l1600 W COLLEGE ST STE 60                                      !GRAPEVINE, TX76051-3SBO                                            130.00!              124.02!   124.021      '                                          14.Sl

27~856S        UROLOGY OF VIRGINIA PUC                                        !225 a.EARFIELD AVE                                            VIRGINIA BEACi, VA 23462-1815                      I               295.ool              236.ooi   123.BO!                  112.20!                        14.48

XX-XXXXXXX     VINCENT DESANTIS MD                                            lsn WASHINGTON sr                                             !well.ESI.EY, MA 02482-6461                                         200.ool              148.56'   123.SEi                   25.oo!                        14A6

XX-XXXXXXX     AMY FREEMAN                                                    !12EASTWILL0WST                                                MULSURN, NJ 07041•1417                                             250.00!
                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                     213.2&1   w.2&!                     90.oo!                        14A2

XX-XXXXXXX     lMJCHELlE M. LEWIS; D.O.                                       i1701--A3 NGREEN VLY PKWY                                      HENDERSON, NV 89074                                                215.0Q'.                   '
                                                                                                                                                                                                                                     123.19j   123.191                         .!                      14.41

XX-XXXXXXX     'l HARTFORD EYE PHYSlCIANS PC                                  lssNY£ROAD                                        STl!104      GLASTCNBURY, CT06033                                               288.00'  '           208.74i   123.00                    8S.74i                        14.39

45-544119S     !tAWRENCE M KORN MD                                            Jgoo NORTHERN BL\ID SUITE 245                                  GREAT NECK, NY 11021-5337                                          020.ooi              123.00!   123.00                   236.aol                        14.39

XX-XXXXXXX     iRETINA INSTITUTE OF TEXAS                                     13414 OAK GROVE AVE                               I           lDAUAS, lX 75204                                    I               281.DQ)              176.82f   w.oo'                     53.821                        14.39

XX-XXXXXXX     la-iARLESTON ENT ASSOCIATES UC                                 lms HENRYTEO::LENBURG DR                                       OiARLESTON, SC 29414-7801                          I               295.00!              167.SO!   =so                             -!                      14.37

XX-XXXXXXX     EVANSVILLE RADIOLOGY PC                                        !3SOW COLUMBIA5rSUfTE420                                       EVANSVILLE, IN 47710-1782                          I               11s.ooi              122.50!   122.50                          .i                      14.33

XX-XXXXXXX

XX-XXXXXXX
               MARIE EPLING LCSW MSW

               ACCESS NEUROCARE PC
                                                                              i5975 REDANSA DRIVE

                                                                              bso Ft.ErCMER RD m 204
                                                                                                                                             ROCKFORD, IL 61108-1201

                                                                                                                                            •ELGIN, IL 60123-4736                               I               11s.oo!

                                                                                                                                                                                                                11s.02l
                                                                                                                                                                                                                                     11s.ooi

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                                                                                                                                                                                                                                                                                                       14.33

                                                                                                                                                                                                                                                                                                       14.33

XX-XXXXXXX     SENNETT HAMBURGER ICAEll& TAN ....                             !PO BOX 30931                                                  NEW YORK, NY, 10011-0105                           I               360.00!              162.12,   122.12                    40.ool                        14.29

XX-XXXXXXX     1ZHANNA BRANOVAN MD                                            h680 ROUTE 23 NORTH                                           iwAYNE, NJ          ~;~70                           I               420.00!              147.09!   122.0!I                   25.00i                        14.28

XX-XXXXXXX     SOUTH NASSAU COMMUNmES HOSPITAL                                lPo eox 12491                                                  BELFAST, ME 04915-4015                             i               350.00!              146.69~   12LG9!                    25.ooi                        14.24

22-362136S     REMINGTON MEO GRP UC                                           boo STATE ROUTE 31                                STl!105     !REMINGTON, NJ 08822                                I               152.00;              12L601'   121.601                         -!                      14.23
                                                                                                                                            I
XX-XXXXXXX     CAROLINA VALDMEZO                                              !POBOX417454                                                  JBOSfON, MA02241-7454                               !               152.00!              12L60)    121.60                          .I                      14.23

116-4073271    iMEDMD INTERVENTIONALCAREPC                                    ins COOL SPRINGS Bl\lD m        550                           1FRANKUN, TN 37067                                  i               886.oo!              49255)    121.ssl                  370.90l                        14.23
ll-3399032     !JAY LERMAN MD PC                                              !PO BOX 28982                                                 JNEW YORK, NY 10087.S982                            i               eoo.oo:              361.32!   121.46 1                 23!1.BEil                      14.21

XX-XXXXXXX     iMloTOWN_DERMATOLOGY PC                                        '311 EAST 34 ST                                   i           !NEW YORK. NY 10016                                 !           1.380.00i                      '
                                                                                                                                                                                                                                     324.77!   121.33i                  133.44j                        14.19

*2804016       '
               lCATHERINE POULOS PSYCHIATRIC NURSE PRACT                      1332 W MONTAUII: HWY                              lsurrn      1~MPTON BAYS, NY 11.946-3551                        I           1,800.00:    '           146.20!   121.20! ...               25.ool                        14.18

XX-XXXXXXX     JFOUNDATION RADIOLOGY GROUP PC                                 i1s REMITI'ANCE ORCEPT 8310
                                                                                                                                I           iOilCAGO, IL. 60675-1001                            !               95s.ool              39zs2!    121.00;      '           211.•2I                        14.16
                                                                              I
U-3485414      la.uEENS MEDICAL SERVICE PLLC                                  !3304 93RD srREET surre 1W                                    !JACKSON HEIGHTS, NV 11372-1941                                     225.00'.             120.ni    120.721                         -l                      14.12


                                                                                                                               EXHIBITZ

                                                                                                                                    151
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                                                                                                        AEU INTERIM DISllllBUTION




                                                                                                                  I
                                                                                                                  I
XX-XXXXXXX    iAVNER REGGEV                                                                                       !
XX-XXXXXXX    !ARTUR CARVALHO                                        620 ESSEXSTREET,STE. 8 3RD FLOOR                                                                 245.00!      120.ts!                                       14.06
                                                                                                                                                                                            1
~~778424      MONONGALIA EYE CLINIC                              13140 COWNS FERRY RD                                              MORGANTOWN, WV 26505               160.0Di      135.14              120.14!       is.ool      14.06
XX-XXXXXXX    [PARAGON SURGICALSPfCALISTS PA                     1200 MEDICAL PARK DR STE 400                                  ICONCORD, NC28025                      182.00i      165.11'. '          120.111       4s.ool      14.05
~133~98 _ .. JABDUL QA'l"YUM MAUK MD                                 1 VILLAOOM CT                                             loix HJLLS. NY 11746-5444            1,293.0D;     1,034.40!
                                                                                                                                                                                                     ·-;;;;:;!      914,40i      14.04
XX-XXXXXXX    '
              iGENERAL EMERGENCY MEDICAL                             lAKRONGENERALAVE                                                                                120.ool       120.ool             120.ooi                   14.04
                                                                                                                                                                           I
XX-XXXXXXX    :KENNETH J LOSSMAN OD PC                               9SO WESTROUTE:225UITE 125                                 lLAKE ZURICH, IL 60047                120.00:       120.ool             120m,           __-!      14.04
3B-2777871    iroor HEAl.lHCARE ASSOOATES p C                        POBOX16297                                                !BELFAST, ME04915                     240.00\       240.00(             120.00!      120.00!      14.04
 ..,690306      AJS BROOKLYN MEDICALPRACf\CE PC                                                                                ll.OSANGB..£S, CA9DD2S-7422           200.00!       uo.os)              120.osi            -!     14.04
              I                                                                                                                                                                                                 1
SS-1582343    lCARTERSVIUE 06GYN ASSOaAlES PC                    [9S8 JOE FRANK MARRIS PKWY SE                                 t CARTERSVILLE. GA. 30120             sso.oo;       331.02!             120.03       (51.57)1     14.114
SS-.2570937   !rnPHEN J ntOMPSON                                 [3208 SHRINE                                                                                        120.ooi       120.ooi             120.00                    14.04
XX-XXXXXXX    ANN UNMRSITY PED1ATRICS LLC                        !1259 US HIGHWAY 46 STE 101                                                                         145.ool       145.00r             120.00!       25.00j
                                                                                                                                                                                                                             i   14.04
30-033S730    GOTHAM QTY SPORrS MED                                  50 MOUNT PROSPECT AVENUNE                                                                        ll9.96!      119.96;             119.961            .j     14.03
XX-XXXXXXX    '
              !TODD H MORGAN OD                                      2020CATTLEMEN RDST'E 600                                                                        130.00~       119.961             119.96                    14.03
7S-l333299    ICARDIOLOGY & INTERNAL MEO AS50CS                  !PO BOX 951340                                                rDALLAS, 1X 75395-1340                544.001       213.031             119.89!       93.14!      14.03
XX-XXXXXXX    BIK ORTHOPEDICS PC                                 i11ow1WAMST                                                   /NEWYORK.NY10038                      11s.oo!       164.B7i             119.87!       4s.00!      14.02
XX-XXXXXXX    lw1WAM KEHNE MOELLER MD                            1800 TREE LANE SUITE 140                                      !SNELLVILLE, GA 30078-6799            520.00!       24LS2'.             119.791      122.oal      14.01
7S-2507223    IKELLY L WIMBERLY MD                               .17101 PRESTON RO STE 200                                     DALLAS, TX 75248-1374                 250.00i       159.76i '           119.76!       40.ooj      14.01
XX-XXXXXXX    KEENAN MAUADI AND ONEILL                           lOHOSPITALDRIVE                                  SUITE106     ltt0LYOKE. MA 01040                   689.2D)       456.81)             119.411      337.40       13.97
XX-XXXXXXX    !PLANNED PARENTHOOD CALIFORNIA CENTRAL CO
                                                                 1
                                                                     SlSGARDfNSf                                               !SANTA BARBARA, CA 93101-1606         423.43j       293.061 '           119.36!      184.86!      13.96
XX-XXXXXXX    SHAPIRO AND BORENSTEIN DERMATOLOGY                 !11030 RCA CENTER DR SUITE 3015                               PALM BEAOi GARDENS, FL. 33410-4276    170.00;       110.00!             119.00i                   13SZ
SS-0764504    jDAVID CLARKE OD                                       215 NORTH ICANAWHA Sf                                     BECKLEY, WY 25801-4'716               234.ool       134.ooi             119.00,                   13SZ
XX-XXXXXXX    UNJVERSITY OF ALABAMA                                  750 PETER BRYCE BLVD                                      TUSCALOOSA. AL. 35401                 236.ool       157.95j             118.95;                   13SZ
74-ll59753    BAYLOR UNMRSITY HEALTH                                 209 SPEIGHT AVE                                           IWACO!.TI'-' 76706                    239.QOI       182.20!             119.00                    13S2
87--0689258   ROCKY MOUNTAIN HEALTH CENTERS SOUTii               j3540 S POPLAR ST                                5UITE200     IDENVER. co 80237                     215.00]       168.92!            118.92!                    13.91
XX-XXXXXXX    ROBERT G FAFALAK                                   f36 WEST 9TH Sf ARST FLOOR                                        NEW YORK, NY 10011                760.00        163.621             11a.62i                   13.118
XX-XXXXXXX    JOSEPH KOiEMPLAVIL MD                              12100 HARTFORD ROAD                                               HAMPTON, VA 23666                 286.001       163.66;             118.661  '                13.88
XX-XXXXXXX    'iHtNSOAL£ PEDIATRIC ASSOCIATES                    1911 N ELM STREET SUITE 215                                   !HINSDALE. IL605213641                21s.ooi       143.57!            118.57'                    13.87
XX-XXXXXXX    !DIANE J REPPERT DC                                119 WESTS7THSTSTE 712                                         ;NEW YORK. NY 10019-2302              925.ool       572.44!             118.46)                   13.86
                                                                                                                               I
  SS57052     SAINT MAR'JS MED1CAL GROUP INC                     !1801 W OLYMPIC BLVD                              ALE 1463    'PASAOEHA. CA 91199                  1.144.So;      707.95! '           l18A7;                    13.86

XX-XXXXXXX    FLATIRON INTERNAL MEDICINE PC                      '
                                                                 !90HEALTII PARK DRIVE SUITT 320                               tWUISVILLE,0080027--9742              607.ool       456.ZBI             l18.46j                   13B6
22-26U882     !LARCHMONT IMAGING ASSOCIATES                      j1295 ROUTE 38 WEST                                           HAINESPORT, NJ 08036                 1.392.00i     1,337.DO/            118;:W[  '                13.85
11-330&9S2    !LAWRENCE F LEMBO                                  '
                                                                 !177 CONKLIN SfREET                                           !FARMINGDALE, NY11735                 280.ool       147.681             118.U[                    13.82

~~7           !RADIANT DERMATOLOGY LTD                           !1140 MEDITERRANEAN OR STE 102                                SYCAMORE, IL 60178-3191               21LOO]        147.70l             118.16!                   13B2
XX-XXXXXXX    :RESURGE~_E,!PiDPEDIC                              lPo aox nosso                                                 ,ATI.ANTA._~.303S8                    534.55,       315.19!             118.lSi                   13.82

95-4S00132    'IJAMES ESHOM, MO                                  i~~S1STAVE                                                    IARCADIA, CA 91006                    1.S0.00'.     118.15;             118.lSi            .,     13.82
                                                                 .PO BOX 849356                                                ieOSTON, MAD2284-9356                 175.00•             '
                                                                                                                                                                                   117.98j._. __ ...,_..117.981I     57.02!      13.80
XX-XXXXXXX --···t~DlSON MEOICALAFFIUATES
                                                                                                                               i
84-169S066    ,RENEE DIANE LASS DO                               14626 PA.OGRESS OR                                                DAVENPORT, IA 52807-3485          32B.00   '    168.0Dl             11s.ool       so.oo!      13.80


                                                                                                                 EXHIBIT2

                                                                                                                      lS2
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                                                                                                                                                     AEU INTERIM DISlRIBUTION




XX-XXXXXXX

 5,4.1413707
                    .NARINOERKUICAR,M.D.

                     OYSTER POINT DERMAlOLOGY INC                                                     j475 MQAWS CR STE 1
                                                                                                                                                             ~~~-


                                                                                                                                                                                          hERIOtO, NY 117$3-1302
                                                                                                                                                                                          jwtWMSBURG, VA 23185
                                                                                                                                                                                                                             -·•_'~-:'-~~'°


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                                                                                                                                                                                                                                              550.00;
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                                                                                                                                                                                                                                                             117.7i

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                                                                                                                                                                                                                                                                                               42.14/
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                                                                                                                                                                                                                                                                                                                       13.76
04--2103545          TRUSTEES OF BOS'TON COUEGE                                                       !140 COMMONWEALTH AVE                                                               !otESTNUT Hill,. MA 02467          I                120.00·        117.33!          117331                                   13.73
 84--0710615        iROCKY MOUNTAIN SURGICALASSOCATES                                                 i3464s W,UOWSTsrf.418                                                               loeNVER. co 80231-4531                              377.oo:        177.16;          117.16           60.oo!                  13.71
                                                                                                                                                                                          I                                  I·
F2=-D-48119=cc9D4c.c...._f'[,A'-"RVcclU)ccASPORT ANDSPlNE GROUP                                       i12189 W 64TH AVE SUITE 102                                                         !ARVADA. CO 80004-4031             L_.              378.00:        146.40i          117.13           29.271                  13.70

F6S-0=73cc2=1S=S,__,_tco="'=-•=LETE=LO=CA=L=sP-"EC=AL=TY_,CAA=Ecc1Nc,Cc__ _ _ _ _ _ _ _ _ _ _ _ _ _ .__ 11485=5'-'W'-'H"'llLS8==0•ccocc•~'VD=m=•'-'2'-_ _ _ _ _ _        iCOCONUT CREEK. R. 33073-4356
                                                                                                                                                                -+_----:~=======--c=----+----===---    I 5331'3                                              192.1oi          111.1oi          7S.ooi                  13.70
                                                                                                                                                                                          I
 74-1700Q61         ;HlllCROFrMEDICAL QJNIC                                                           PO BOX 41027                                                   !                    IHOUSTON, TX 77241                 I                476.01:        111.ui           117.12'  '       41.nl                   13.70
                                                                                                                                                                                                                             I
 91•177796S          DAKOTA DERMATOLOGY                                                               !4950 S MINNESOTA AVE                                              ..............."_____ !SIOUX FAUS, SO, 57108                     1,884.00i          961.251          117.00          1144.251                 13.69
27·3041902           MEDICALQ63-50HEALTH4AUPC                                                         /63--SOSAUNDERSSf
                                                                                                                                                                                               I
                                                                                                                                                                                               /REGO PARK, NY 11374          !            2..134.20,         138.Blj          116.941         992.07!                  13.&8
XX-XXXXXXX           HUGULEY MEDICAL ASSOOATES INC                                                    l1iso1 SOUTH FWY                                                                    leuRLESON, TX, 76028               !            4,518.00f          510.04!          116.83          318.21]                  13.67
 XX-XXXXXXX          MATTHEWJ MARANO JR MO                                                            !200SORANGEAVESUITE 209                                                             lt..NtN~ON. NJ 07039-5817          i                110.00!        16L7li           116.711          45.00!                  13.65
 XX-XXXXXXX          HARRIS HUGH MCILWAIN MD                                                          !4700 N HABANA AVE                                             m201                 iTAMPA R.33614--7117               I                524.001        182.15!  '       116.681          68.47!                  13.65

 XX-XXXXXXX         !MICHAB. R TRAUB D C LTD                                                          !PO BOX 221                                                                         locoNOMowoc,        w,
                                                                                                                                                                                                            5306                          U2S.So!            960Asi.          116.55          843931                   13.64
                                                                                                                                                                                          I
XX-XXXXXXX           DERMATOLOGY alNJC                                                                1241 MONMOUTH RD. STE 101                                                           !WESfl.ONG BRAND-I, NJ 07764-U78                    175.00'.       116.39!          116.39,                                  13.62

 XX-XXXXXXX          PEISUN~,U.C='-'-------------------,1s~SO'-NO_RlH_M_N_N_ST11E_ET_EXT
                                                                                      _________                                                                     --;-----,----~---------r------,----
                                                                                                                                                                           :wAlllNGFORD, Ci06492 I 410.00! 141.121'                                                           116.12!         220.ooi                  13.58
                                                                                                                                                                           I
 62-17921St         !FAMILY MEDICAL PC                                                                i1407 W BADDOUR PKWY                                                                !LEBANON, TN 37087-2513            !                5&1.001        229.10!          116.ool         24L64!                   13.57

2&-12G4BB1          ,EYES ON UBER1Y                                                                   bso1BAYPARKWAV_·---·---------- - - + - -NV
                                                                                                                                   !eROOICl.YN,  - -11214-1955
                                                                                                                                                                                      420.00!
                                                                                                                                                                                                             = = ; . - - - 115.!34[
                                                                                                                                                     - ; = = = ~ = = = - - - - - + - - - - ~ = , - - - - - -115.94!        --==+---                                   '                             "i                 1356
                                                                                                                                   I
"3~7-=13.3=12S=6~l~a~NT~RAL=IWNOrs PATHOl _                                                           !PO Box 9190                 !PEORIA, IL. 616U                                4,560.001             2,156.BO:          I      (410.04)1                                 115.84!                                  1355

 XX-XXXXXXX          WOOD RIVER HEAllH SERVICES                                                       is23 MAIN STREET                                                                    [HOPE VALLEY, RI 02832"1920        !                135.DOi        11s.14l          115.74                                   1354

11:r1727S96          DIGESTIVE AND t..NERCENTER                                                       !PO BOX 677938                                                                      loRLANDO. FL 32867-7938                             288.75:        1SS.76j          115,76!          40.00!                  1354
                                                                                                                                                                     !                    !PARK RIDGE, IL 60068-1831                          200.00!                         115.sof          25.001
 20--4930032         NORTHWEST MEDICAL CENTER SC                                                      11022 N NORTHWEST HWY                                                                                                                                  140.sol                                                   1351

XX-XXXXXXX           ATIANTICARE PHYSIOAN GROUP PA                                                    !Po BOX 786061                                                                      !PHllADELPHIA,. PA 19178-6061      I'           1,115.00;          410.44:          115.401         5114.781                 1350
06-1043!366         imOIARDWEIN, MD                                                                   lzs FAIR STREET                                                                     !wAWNGFORD, CT 06492               I                110.00!
                                                                                                                                                                                                                                                     ;
                                                                                                                                                                                                                                                             115.23!          115.23           is.oo;'                 13.48

XX-XXXXXXX          !GREATER BRISTOL MULTIP..SPfOAL1Y GR                                              \PO BOX 416874                                                                      JeoSTON, MA02241-6803              I                255.001        114.971          114.97           25.ooJ                  13.45

XX-XXXXXXX          !TRJAD RAOIOLOGY ASSOCIATES PUC                                                   PO BOX 63111                                                                        ICHARLOTTE. NC 28263-3111                           115.00j        115.00!          115.00                -!                 13AS
 XX-XXXXXXX          ORANGE COAST WOMENS MEDICAL GROUP INC                                            !PO BOX 15450                                                                       iBELFASr, ME 04915-4049                             140.001        140.0Q:  '       115.00i          is.ool                  13AS

 59--292402.1        UNIVERSITTOFCENTRALFLORIDA                                                       13400QUAORANGLEBLVO                                                                 !oRLANDO, Fl 32817                 I                516.40"        140.001          us.ooi           25.oo!                  13.45

~~~?25585            NEOGENOMICS LABORATORJES INC                                                     !PO BOX 864110                                                                      /oRlANDO, fl 32886-4110            I                230.00'        Z3o.ooi          115.00          115.00!                  13.45
                                                                                                                                                                                          I
36--457~1,c74::_...;:::RU::,SH=OAc,•,.,•,,
                                       . o:•,.,•,,.•,.,•HC!!YS-"!IC,::Ac,N:,:Sc,G,cROe,U=-P-------------+!7,.,,sccR,:EM,,,ITT=A"'NC=E=D"-Rm==162;0,_
                                          .                                                                                                         _______     ---i------!-'======-
                                                                                                                                                                           lotlCAGO. IL 60675-1620                                            no.ooi         143.53!          U4.82l          383.71!'                 13.43
31·lS7S051          lsevEN HILLS oe-GYN ASSOctATES INC                                                !Po BOX 634159                                                                      !cNCNNATI, OH 45263-4159                            240.001        114.56;          114.56!               .I                 13.40

XX-XXXXXXX          !1CAHNSCHOOLOFMEDIONEATMOUNT                                                      lPoBOXZB284                                                                         !NEWY0RK, HY 10087-828-4           i                903.00:        114.32;          l14.32i         584Jl01                  13.37

~1578257             NEWINGTON INTERNAL MED                                                           !365 WIUARD AVENUE                                             l                    iNEWINGTON, CT06111                                 210.00=        114.22!          114.22,          so.oo!                  13.36
 XX-XXXXXXX         !NORTH ATlANTA UROLOGY ASSOOATES PC                                               1631 PROFESSIONAL DR ST490                                                          ILAWRENCEVIL1.E, GA30046                            279.00;        178.331          114.24i  '        4.091                  13.36

 XX-XXXXXXX         lcoNNECTICUT lNST1TUTE FOR cOMMUNm                                                ls1 NORTH smeET                                                 SUITES309-311       !DANBURY, CT06810                  I                20s.001        114.20!          114.20                .!                 1336

 XX-XXXXXXX         !PATHOLOGY CONSULTANTS                                                            IPO BOX 2036                                                                        !BISMARCK, ND58502                 I                163.oo!        114.10)          114.10
                                                                                                                                                                                                                                                                                                    _!                 13.35
                                                                                                                                                                                                                                                                                     I
 XX-XXXXXXX         !ROWAN OlAGNOsnCCJNIC PA                                                          1611 MOCICSVILI.E AVE            iSALIS6uRV._~_;_;28144-210s                                                                            420.00:        294..DOi         114.101         179.SO!'                 13.35
                                                                                                                                       I
 ~~~~2                                                                                                '
                           MINUTECUNICDlAGN05TICOF.~~~H~AM~PS=Hl~RE~----------r]P.=0.=B""OX,c12=63;:1_ _ _ _ _ _ _ _ _ _ _ _-l---·-----ii=====-'="----
                                                                                                                                                ME0491S-4017                              !BELFAST,                                           164.DO'        164.ool          114.00! ,  ..    so.ool                  13.34
                          1
                                                  -----------------;.b~60=LOO=KOUT
FS"9-:.21.94=34=-7---;'-"TH'-'O;;:MAS=J:.:BAc;R;;:Nc=E=cSM;;:O=-                                      FLACESUJTE 107                     ~ N O , Fl 32751-4458
                                                                                                                                                                                                                             i                185-00;        114.00}  '       114.00
                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                                                    -1                 13.34
                                                                                                                                       I                                                                                     1··
 XX-XXXXXXX               lontoRENS DIAGNOSTIC IMAGING OF                                1PO BOX 1205                                  IINCIANAPOUS, IN 46206                                                                                 134.00:        113.90;          11350                 -!                 1333


                                                                                                                                                                    EXHIBIT2

                                                                                                                                                                         153
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                                                                                                                       AEU INTERIM DISTRIBUTION



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                                                                  ~-             .•~
XX-XXXXXXX
               I
               jMAYRCWER MED GRP INC                                    h40 N ORANGE AVE                                         1m100          '
                                                                                                                                                !WEST COVINA. CA 91790-2032                     327_13!       113.83!    113.83i               -!   13.32
               I                                                        I
ll-2569793     !LEONARD VITO GIOIA MD                                   j53 BRENTWOOD ROAD srE E                                 !              iBAYSHORE, NYll?OG-6943                         314.00i       158.68)    113.68j
                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                          45.DOi    13.30
XX-XXXXXXX     lcrNTENMALSURGICAL. ASSOCIATES LLC                       jpo BOX 277937                                                              AllANTA. GA 30384                         2.347.00:      1.01155J    m.Gsl           897.901    1330
!!4-0735271    lcolORADO ALLERGY & ASTHMA CENTER PC                     [12SRAMPARTWAY                                           !sre200        lceNVERCO 80230-6429                  I       1,297.00        188.&7;    113.67          593_77]    1330
               I
XX-XXXXXXX     )LAU~ KUPERMAN, MD PC                                    !10C.20QUEENS8LVOIW                                                     jFOREST HlUS, NY 11375                 i        325.oo·       113.36i    113.36                     13.26
XX-XXXXXXX     I   FAMILY HEALTH CENTER                                 !407 NORlH PARRISH AVE                                                  IAOEL. GA 31620
                                                                                                                                                                                  ···-·!
                                                                                                                                                                                                235.00:       113.321'   113.32!          37.301    13.l6
XX-XXXXXXX         OAR MEDICALSERVIO:.S, JNC                            !1007 5 OAKWOOD AVE STE 1008                                            jBEO:I.EV, WVlS801                    i         175.671       138.34!    113.34!
                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                          25.ool    13.26
XX-XXXXXXX     iHAROLD JAIMES MD                                        !~153 W FULLERTON AVENUE                                                !attCAGO, IL 60647-2809                         480.00·       273.33!    113.33'        160.00!     13.26
XX-XXXXXXX     IINlANDCENTER MEDICAL GROUP                              /9220 HAVEN AVE                                          m210           /RANOfO ~CAMONGA, CA 91730-0603                 250.00;
                                                                                                                                                                                                      I
                                                                                                                                                                                                              112.SO;    112.90/               -1   13.ZI
27.3473834     !TRIHEALTH HF LLC                                        !421 SOUTH CAMPUS AVE                                                   ioxFORD. OH 45056-2400                I         277.00!       112.72\    112.12!           a.szl    13.1"
XX-XXXXXXX     IASSOQATED PHYSICIANS OF HARVARD                         !Po BOX 419015
                                                                        I
                                                                                                                                                .BOSTON, MA02241                                16LOO,        112.1oi    112.70               -!    13.18
                                                                                                                                                I
11-2593$40     IA DAvtD FLUG MO p C                                     !10615 QUEENS BLVD                                                      !FOREST HILLS. NY 11375-4375                    800.00'       112.Sli    112.s1I        120.001     13.16
20-8820EiG4    IGWJNNE'IT URGENT CARE PC
               I
                                                                        j1300 PEACHTREE INDUmuAL BLVDSJ'E4101                                   '!SUWANEE, GA 30024-4542                        36L48!        112.S3i
                                                                                                                                                                                                                     I
                                                                                                                                                                                                                         1U.S3l                -I   13.16
25--1918025    !UNION COUNTY HEALTH CARE ASSOCIATES                     !3DOSOUTHAVE                                                            GARWOOD, NJ 07027-1312                         250.oo;        162.501    112.so:         so.oo!     13.16
t.3--3518SS3   !PRO FITNESS PHYSICAL THERAPY P C                        lt71E84THSl"FL2                                                         NEW 'tORK, NY 10028-2029              I       2.28().QOt      561.521    112.30         449.221     13.14
OHS4102S       lMIC:HAELHARGROVE                                        111 MERLIN AVENUE                                                       !SLEEPY HOUOW, NY 10591               I        240.00!   '    u1.2oi     112.20          25.;;;;1   13.13
XX-XXXXXXX     IJAMESBENJAMIN ISRAELMD                                  l222ROUTES!ISUITE10S                                                    ]SUFFERN, N'f lD!IOl                  I        196.00!   '    137.20j    112.20          25,ooj     13.13
                                                                                                                                                                                                                                                I
45-3os29n      !STAHTDN CARDIOLOGY CENTER PLLC                          14315 MACCORKLE AVE SE                                                  1C!WU.ESTON, WV, 25304                I        312.00i        113.sal    112.2!l         61.38j     13.13
32.QQ44441     JCOMPREHENSIVE CANCER CENTER OF OKLAHOMA PC              jPOBOX2Ei8869                                                           OKLAHOMA CITY,OK73126-886!1           I        394.00:        239.96i    112.os]        127.911     13.11
                                                                                                                                                                                                                    I
0&-090Z834     !ROBERT B NATHANSON, MD                                  /,1souTH MAIN srREET                                                     WEST HARlFORD, cro6107               i         150.00!       111.s!H    111.99              -1     13.10
                                                                                                                                                I                                                                              I
XX-XXXXXXX     !JNTERMOUNTAIN MEDICAL GROUP INC                         1610 WYOMING AVENUE                                      srE2           iKINGSTON, PA 18704--3787             I         11s.oo!       140.0Di    112.00!         28.00i     13.10
XX-XXXXXXX     llJSA.MNATl'IAN                                          ]NYU LUTHERAN ASSOCIATES                                 PO BOX415662   leosro•. MAD22•1                      I         112.00~       112.0Di
                                                                                                                                                                                                                     J
                                                                                                                                                                                                                         112.ool                i   13.10
36-216TI57     i1EW1SH CHIW ANO FAMILY SERVICES                         !216 W JACKSON BLVD                                                     ,O'IICAGO, IL 60606-6920              i        40s.oo!        162JlOi'   112.00          so.ool     13.10
                                                                                                                                                                                                       I
XX-XXXXXXX     jATHENSORiHOPEDICCUNIC                                   !1765 OLD WEST BROAD ST                                  BLOG2-200      ATHENS GA 30606-2887                           1as.oo:        39s.01I    11L38l         283.63;     13.03
XX-XXXXXXX     IPROVIDENCE                                              '
                                                                        !PO 80X2334                                                             SPOKANE, WA 99210-2334                         444.oo]        278.30!    111.D1         167.2!1!    1.2.99
XX-XXXXXXX     iPODIATRICMANAGEMENTSYSTEMS                              bW TALCOTT RD STE 23                                                    !PARK RIDGE, 11. 6006S.SSS6           !        224.ool        224.00i    111.001        m.oo!       1.2.99

XX-XXXXXXX     \ANCHOR HEALTHCARE PLC                                   :PO BOX220                                                              !FREE UNION,_Y._~, 22940              I        410.ool        136.00!'   111.ooi         25.00\     12.99
                                                                                                                                                I
XX-XXXXXXX     !FRANK PINTAURO                                          i11SOSEMINOLEAVENUE                                                     BRONX, NY 10461                       !        36s.ooi        135.86!    110.86          25.00!     U.97
142-1534506    1;ROVIOENCE MEDICAL GROUP INC                            IPo eox 638554                                                          ONONNATI. OH4SZ63-85S4                         298.oo:        271.0Bl    110.85          65.ool     U.97
                                                                                                                                                                                      I
XX-XXXXXXX     '
               IMICHAELHWEISSMD                                         !GPOBOX27636                                                            NEW YOU, NY 10087                     I        300.00!        157.891    110.sz!         47.37!     12.93
XX-XXXXXXX     lwoMENS GROUP oF FRANKLIN Pu.c                           14323 CAROTHERS PKWY                                                    FRANKLIN, TN 37067-5916               I        225.aol        110.SS~    110.ssl                    12.93
XX-XXXXXXX     !PACIFIC RIM PATMOLOGY MEDICAi.                          !AlE1440                                                                PASADENA, CA. 91199                   I        121.00!
                                                                                                                                                                                                                    i
                                                                                                                                                                                                              110.431    110.43i               -1   U.92
52-231266S     !CHESAPEAKE BAY ENT PC                                   lmz PERIMETER PKWY STE 104                                              !VIRGINIA BEA.01. VA 234S4            I        274.00i        155..36f   110.361         4s.oo!     ll.91
XX-XXXXXXX     ICHICAGO ORTHOPAEDIC& SPORTS MEDIONE                     !POBOX3179                                               I              !CAROLSTilEAM, IL 60132               !        261.00!        110.10!    110.10!   '      so.ooi    1Z.B8
XX-XXXXXXX     IivAN s COHEN MDPC                                       ll3os Posr RD STE 310                                                   iFAIRAELD, er. 06824                  !       1.SOD.00       1,432.n:'   110.ool       1.322-77i    12.87
Dfr1344992     '
               iASSOOATED ~'fSICIANSOF SOUTHBUl!'f
                                                                        !
                                                                        i38S MAIN ST SOUTH                                       I
                                                                                                                                 j---           I.SOUTHBURY'. CT06488
                                                                                                                                                                                      i.,_.    780.oo·        13s.ooi
                                                                                                                                                                                                                     I
                                                                                                                                                                                                                         110.00,        652.901     U.87
XX-XXXXXXX     bAMES T MARTIN JR                                        !9213 A UNIVERSIT'f BLVD                                !               ! ~ N , SC29406-9145                  l       1,270.S0i      1,270.50!   110.00!       1.160.SO;    12.87
Zo-5087138     !1tEANA PEREZ-QUINTAIROS MD                              16310 SUNSET DR                                                         MIAMI, R.33143-4823                            150.00;        150.ooi    110.00!         40.00;     12.87
XX-XXXXXXX     IMEDICALASSOOATES OF NORTH JERSEY                        1s2SWANAQUEAVE                                           sre101         !POMPTON lAKE. NJ 07442-1833                   235.oo!        1&0.ool    110.ooi         so.ooi     12.87


                                                                                                                               EXHIBIT2

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                                                                                                         AEU INTERIM DISTRIBUTION




XX-XXXXXXX    !HEALTH SERVICES CORP OF   se IN                            PO BOX4t25                                           !lAWRENCEBURG, tN 47025-4125                    m.oo!      144.oo!    110.00!       457.11!     12.87
XX-XXXXXXX    icoMMUNITYORTHOPAECICSLTD                                   348 SHERWOOD COURT                                   [LA GRANGE. lA 60526                            310.00!    370.00\    110.ooi       260.00i     12.87

XX-XXXXXXX    l~~N1YOFlAKE                                            13010 GRAND AVE                                          !WAUKEGAN, ll 60085-2321                        391.ool    160.001    110.ool        so.ooi     12.87
                                                                      I
56--2601102   !KARIMYUNEZ.Mo                                          ]130 S MAIN ST SUITE ZOl                     I           [LOMBARD, ll601.48-,2670                        135.00!'   135.ool    110.ool        25.00'     12.87
XX-XXXXXXX    JOHN W. LEE MD                                          l1soo WARM SPRINGS ROAD                                  -lcoLuMeus, GA 3ts04-SOS9                       110.00!    110.00!    110.00j             -!    12.87
XX-XXXXXXX    ZAFERJAWICH                                             l 1890 SILVER CROSS BLVD STE'3SO             !               ~EW LENO)(, IL 60451-9528                   150.00;    lSO.OOl    110.00!             -1    1Z.B7
XX-XXXXXXX    lFAMILV PRACTICE CARE UC                                    700 CASSlDY AVE                                      iFREDONlA. KY 42411                             150.001    150.00i    110.ooi                   12.87
XX-XXXXXXX    )PREMIER PEDIATRICS                                     i260400ETROrrRD                              Im,         !WESTLAKE, OH 44145                             300.00i'   259.92:
                                                                                                                                                                                                 j
                                                                                                                                                                                                     109.92i       1;~~;;      1Z.B6
XX-XXXXXXX    !GEORGE W URBAN MD UC                                       170 NORTH LAKEWOOD ROAD                              ltAJCE lN TME HIUS. ll 60156                    211.ool    109.94i'   109.94i                   12.86

XX-XXXXXXX    WEST VIRGINIA EYE CONSULTANTS LLC                       !S01 SUMMERS STREET                          I               OIARLESTON, WV 25301-1239                   206.931    154.84i'   109.84 1       45.00!     12.BS
XX-XXXXXXX    lviNCENT ICAU MO PA
                                                                      1
                                                                          12121 RIOIMOND AVE 5                     Im              HOUSTON, TX 77082-2420                      412.14!    109.09!'
                                                                                                                                                                                                 ,   109.09!              '
                                                                                                                                                                                                                    94.?!JI    12.76

XX-XXXXXXX    [G&A WEI.UIESS MEDICAL CLINIC                               11037 FM 1960 RD W                       lSTEB2A     IHoUSTON, TX nOGS                               241.00!    109.091    109.09!         1.881     12.76

XX-XXXXXXX    !oewrrrANDCHISOlMll.C                                   .1500 OGLmtORPEAVE                          I            !ATMENS,GA30G06-2179                            180.00:    1os.sol    108.BD!             -!    12.73
                                                                      1
                                                                       1435 S OSPREY AVE SUITE 201                                 SARASOTA, Fl 34239-2905              !      497.00[    168.781    108.781        60.ooi     12.73
                                                                          606 W SCREVEN ST                        I            '!QUITMAN, GA 31643                             600.oo,I                            2•s.ool     12.71
                                                                      '                                           I
74-2S92013

ZD-0437957
              !oeRMATCLOGY ASSOOATES Of SAN ANTONIO
              I
              !KAIKEI CHO MD
                                                                      17832 PAT BOOKER ROAD

                                                                      i6077 COFFEE RD SUITE 4 PMS 98
                                                                                                                               l5AN ANTONIO, TX 78233-2601
                                                                                                                               IBAKERSFIE;;;~·-CA 93308-9416      -·-··--!-
                                                                                                                                                                         !
                                                                                                                                                                               930.oo!

                                                                                                                                                                               150.ooi
                                                                                                                                                                                          423.961
                                                                                                                                                                                          108.26)
                                                                                                                                                                                                     108.61 1
                                                                                                                                                                                                     108.261
                                                                                                                                                                                                                   315.351
                                                                                                                                                                                                                         -1
                                                                                                                                                                                                                               12.71

                                                                                                                                                                                                                               12.67

22·3646458    ,DAVID J GOlDBERG MD OBA SKIN LASER &SURGERYSPECAUSTS   !10s RAIDER BLVD STE203                     I            I
                                                                                                                               !HILLSBOROUGH# NJ, 08844                        96s.ool               108.30,       327.841     12.67
11·2984618    CONTINUED CARE OF U JNC                                     130SEAlANE                               i           \FARMINGDALE, HY 11735                          123.291               108.06!            -!     12.64
XX-XXXXXXX    LISA A BREISOt PSYD AND ASSOCATES                           662SN2NDST                              I                LOVES PARK. IL 61111-3744                   885.0D:               108.ool       200Dol      12.63

36-307S323    PRAIRIE HEALTH CARE LTD                                     954 W STATE STREET                      !                SYCAMORE, lL 60178                          21&.oo!               108.00i       1os.001     12.63

XX-XXXXXXX    tSTACV LYNN TERRY MD PA                                     4040 LEGACY DRIVE                        lsu1TE201       FRISCO, TX 75034                            22s.oo!    107.84!    107.841        50.00!     U.62

XX-XXXXXXX    lRA ROSENBLUM 00                                            POSTOFACE BOX417116                      i               BOSTON, MA 02241-ntG                        314.00!    132.2sl                   zs.ool     12.55

XX-XXXXXXX    aTY OF OVERLAND PARK ARE DEP                                POBOX2S707                                               OVERlANO PARK. JG 6622S-S707                467.o,!    467.09!    101.11\       359.92!     12.54

XX-XXXXXXX    :MIDWEST MEDICAL CENTER                                 ·ONE MEOICAL CENT!R ORM                      i           [GALENA. IL 61036-8118                          313.10:    22836!     101.12!       Ut.24!      12.53
                                       625 WOLCOTT STREET                        WATERBURY,cr06705                I
                                                                                                               360.ool
06-14!~.~~---··.J.~CARE.CENTEROFWATERBU~!.~'---------------t=====~----------ic-------!-'=====~------!----'==i-----'1~07~.0~lf-l                      180.00[       12.52
                                                                                                                               --=:10"-7,c.01a,j_ _-'=C:.,...-----===-i
XX-XXXXXXX    IMeRcv MEDICAL                                              PO BOX 951081                            I           lwveLAND, OH 44193                              634.ool    ·491.os!   101 .os   i   390.00!     12.52

XX-XXXXXXX    .fAM\LYTREEMEDICALCENTE                                 !3510 E TROPICANA AVE                       !sumic       !LAS VEGAS, NV 89Ul                             315.0oi    106.64!    106.641             -i    12A8

XX-XXXXXXX    lraDD R SCHLIFSTEIN oo                                  1201 EAST69THSTREET                         '
                                                                                                                  JSTE2C       INew YORK. NY 10021                             sso.ooi    iss.s2i                  122.10!     12A7

XX-XXXXXXX    ;LOGAN PEDIATRICS INC                                   1300 PROSPERITY LANE                        lsurrE100        LOGAN, WV 25601                            1,14S.OOj   131.soi    106.soi       605.541     12A6

XX-XXXXXXX    IMONMOUTH MEDICAL IMAGING PA                                POBOX9428                                                PEORlA, 11. 61612                           462.ooi    113.72!    106.381         7341      lZAS

XX-XXXXXXX    !EYE SPECIALISTS OF IL                                      444 N NORlHWEST HWY                     iSTE360          PARK RIDGE, IL 60068-3277                   286.ool    166.29!    106.29!        60.ool     12.43

XX-XXXXXXX    BEDFORD FAMILY PRACTICE URGENT CARE                     h612NMA1Nsr                                              !sHELBYVIUf, TN 37160                           277.DOi    146.24\    106.Z4j        40.oo!     12A3

Z~S015113     \KAREN HULTMAN DO                                       !5495 MAPLE LN                               I           !FAVEITEVlll.E, WV 25840                        169.00'    106.0l~    106.01;                   12AD

!!~~9S585     !MERCY HEAi.TH PHYSICtANS LORAIN LLC                    iPO BOX 636643                               i           laNONNATI, ow 4S263--6643                       543.00!    235.oo\    106.001       216.68!     12.40

XX-XXXXXXX    !, M IBRAHIM MD LLC                                     (97ENGLEST                                   i           !;NGLEWOOD. NJ 07531-2904                       ts1.ooi    1s1.oo!    106.ool        45.DO:
                                                                                                                                                                                                                          I
                                                                                                                                                                                                                               12.40

                                                                      !6000                                        I TURKEY LAKE RD SUITE 205          ioRLANDO, Ft32819            200DO!
XX-XXXXXXX,__.iCH=ILD=Nc;EU:,:R::::Dl:::O:,:GY:_;C:::E:oNT:.,E"-R:::COF:_:O::,R:::LA::....._ _ _ _ _ _ _ _ _ _ _ _+-'=..==c.=====---------!----+====~-------+----'=~:-----'16~5~.9-',1:c---_-'1"'~-:~:~='+•·        60.oo!
                                                                                                                                                                                                            - - - ' = ~ - - - - =1239
                                                                                                                                                                                                                                  =i
XX-XXXXXXX    !SEALE HARRIS O.INIC PC                                 :805 SAINT VINCENTS DRSTt 510                I           !s1RMlNGHAM. AL 35205                           427.08!    3~.szi     tos.661       213.94(     1236


                                                                                                                 EXHIBIT2


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                                                                                                                                                                  AEU INTERIM DISTRIBUTION




 XX-XXXXXXX      'GATEWAY OBGYN ASSOCIATES PC
 XX-XXXXXXX       1LONG ISLAND PODIAlRY GROUP PC                                                               375 N CENTRAi. AV£                                                                    jvAll£Y STREAM, NY ltsB0-1134                                   790.00·                 10SA2!                               2ss.ool                     12.33
 XX-XXXXXXX       iASSOOATED PAiHOLOGY CONSULTANTS                                                             DEPARTMENT4387                                                                        jCAROLSTREAM,IL60122                                            936.20                 467.z/                                392.ooi                     12.33
 SS-0652017      IAUIEO HEALTH SERVICES INC                                                                   !POBOX1088                                                                             IMORGANTOWN,WV26507                                             127.93:                 105..43i                                                         1233
                                                                                                              1
 XX-XXXXXXX       DER.MATOLOGY CENTER OF NEW JERSEY                                                            10330.IFTONAVE                                                    tl2NDROOR           !ruFTON,NJ07013-3517                                            37S.OO'                 309,a1f                              114.68!                     1230
 27-12B7ns        !KALOSSURGICALASSOCATES U.C                                                                  5670 PEACHTREE DUNWOODY RD $TI; 910                                          ---;-IA_nA_N_T_A,~GA_3034_2~-4_7_89_ _ _ _ _--I                          258.0Si                 176.42!                               71.29                      12.30

 XX-XXXXXXX       ARST UROLOGY PSC                                                                            13431 SOLUTIONS CTR                                                                    )CHICAGO. It. 606n                                           Z,096.oo!                1,093.0oi                            1.l24A7f                      12.30
                                                                                                                                                                                                                                                                              1
 XX-XXXXXXX      !METROPOLITAN GASTROENTEROLOGYPC                                                             '30-103asr                                                                             !ASTORIA. NY 11103                                              150.D0                 1os.oo!           1os.oo!                                         u.2s

 D6-t068317       GARYLLASTMO                                                                                 lsaocorrAGEGROVERD                                                                     eLOOMAELD,cr06002-3032                                          150.ool                 150.oo~          1os.oo               45.00]                     12.2a
 XX-XXXXXXX       ILARRYJUOAHSHEMENMD                                                                          233fAST6911isrREETSUITE1D                                                             NEWYORK.NY10021-5449                                            ssruJoj                sso.oo;           1os.oo!             44s.00 1                    12.2a

 tl1-1S29781     lmoNGMEOICALGROUP                                                                            !601ELMWOODAVEBOK320                                                                   iRoDiESTER,NY14642-0001                                         145.ooi                 145.ooi          1os.oo]              40.ooi                     u.2a
                                                                                                                                                                                                                                                                                                                       1
 XX-XXXXXXX      ]LASERANDSKINTHERAPEUTICSPC                                                                  )41?MAINS1'REET                                                                       iOiATHAM,NJ0792&-210s                                            150.ooi                150.oo!           1os.00               4s.ool                     12.28



..,_
   .._1,_o_...
  22-3S78721:~·-----;~•1;.r~_""'Y!"Wlnu~-.,o;                                             ~LI,.......
                                 ."_=G:E,.,_m-_n'-'_:::~·.'"'a..G"'"10"'.0.GYU=,P:CON·:A:~-
                                                                         _                                                                                 1:139::·:•o:im::·:3:9=======================:========:;ru~:=::~:·•"'
                                                                                            --·~::A::.·-~:::-_-_-_-_-_-_-_-_-_~----_-_-_-_-_-_-_-_-_-_-,-'·STOBOGGANRIDGERC                                                    .
                                                                                                                                                                                                                               NJ"_0808::;':::-.cc9770;::========:=====~16::::•=.oo;::=======~1:65:.oo:::
                                                                                                                                                                                                                   !SADDI.ERIVER,NJ07458-2521                            iso.oo;               150.00l ====:1,,,os,,,::,.,,,00:::=====~·~-~-'
                                                                                                                                                                                                                                                                                                                lDS.OOi                      -ti,=========:12:.28,;'-I
                                                                                                                                                                                                                                                                                                                                                 '            1228

XX-XXXXXXX       !PATJENTFIRSTPENNSYLVANIAMEDICAL                                                             IPOBOX7S8952
                                                                                                                                                         1
                                                                                                                                                                                                    iBALnMoRE,.MD21275-89S2                                          211.nl                 130.00:           1os.ooi         ···- 1s.00;-i   -----=12,,,.2a=-i
;;~~~;,;~· -·-1,~;,;~ MSUU.IVAN PHD                                                                            s,uNcnON ROAD                                   ·-·-·-··----···· --•;------;-\..
                                                                                                                                                                                             ~oo_KA_ELD~,CT~o6804==~----                                          1,oso.ooi                 22s.ool           ,os.ool            409.01!                      12.28

XX-XXXXXXX        LO EYE CARE                                                                                 , 70ZWLAKE LANSING RO                                                                 !EASTlANSING, Ml48823                                            194_00;                105..00!          1as.oo!              44.ooJ                     12.2a

 XX-XXXXXXX       MICHAELE SOMERS MO                                                                          !2190 CLAY eowAAos DR m         1240                                                  \NoRTI-1 KANSAS   c:rrv, MO 64116                                420.ooi                420.00!           1os.ool             3is.oo!                     u.za

 XX-XXXXXXX       M2MEDICALC0MMUNITYPRACTICEPC                                                                i821018TiiAVE                                                                         !eROOKLYN,NY1l214--2901                                          150.DD:                1os.ooi           lDS.00                     .!                   12.28
 XX-XXXXXXX      lx.ftAYASSOC!ATESOFLOUISVJUE                                                                 ;POBOX7159                                                                            !LOUISVIUE,KY40257-0W                                            950.50;                tos.ooi           lDS.00              718.68                      12.28

72-USB141         HERBERTW MARKS & ROBERT G BROUSSE MC                                                         4228 HOUMA 8LVC SUITE 110                                                             METAIR IE. LA 70006                                             150.00;                150.00i           105.00j              45.00j                     12.28

XX-XXXXXXX        1RENEBOSWELLM0                                                                              1752oeLAlRMOREDR                                                                      i~OR0,1L61101-s226                                               290.00!                14s.ool           1os.oo              1BS.oo!                     12.2a

91•1397408       ]~RN WASHINGTON PATHOLOGY PS                                                                  PO BOX 2114                                                                          ;TACOMA,. WA 98401-2114                                          128~~+!---~123=.5~7;--j--=104=.!l5'+-----=18c,.62=;--!------=12,=.2=-!8
~2-0222150       !LAKES REGION GENERAL HEALTHCARE                                                              PO BOX 1327                                                                           LACONIA, NH 03247-1327                                          194.00:                154..871          104.87[              SO.DO'                     12.27

 XX-XXXXXXX      i_g.uesr DIAGNOSTICS VC:NTURES u.c                                                            PO aox 751634                                                                         OiARLDTTE. NC 28275--1634                                       131.10:                u1.1ol            104.ssl              26.22                      12.21

11·3347168       lNEWYORKNETWORKMANAGEMENTLLC                                                                  9201FOU!U'HAVENUE.1STFL                                                              lsROOIQ.YN,NV11209                                               450.00:                104.78!           104.78                                          1226
F58'=209~7~82=•~+ANAN==DERMATCPATHOLOGY LAB                                                                   ;1200 LAKE HEARN OR                                                !STE 300           iAllANTA. GA 30319·1459                                          150,00                 131.00!           104.80               215..20]                   12.26
1.3-3030956      leuGENEWEISEMDPC                                                                             l11sEAST6lSTREET                                                                      lNEWYORK.NY10065-8183                                            300.00:                144.75!           1D4.75               40.oo!                     12.25

20-0so6164        AESTHETICDERMATOLOGYuc                                                                      lsoowooceuRYRDSTEA                                                                    iwoooeuRY,NY11797-ZS03                                           sso.oo;                31951!            10452               112.ss                      12.23

 XX-XXXXXXX       8MB OB GYN PC                                                                                86U6 MARENGO ST                                                                      !HOWS. NY 11423-1437                                             200.001                104.10)           104.10                                          12.18

 22·2651458       CORNEAL ASSOCIATES OF NEW JERSEY                                                            !101 PASSAIC AVE STE 200                                                              !FAIRRELD, NJ 07004-3563                                         400.00!                224.071           104.07   i          12D.DDi                     12.18
XX-XXXXXXX       iRADIOLOGYCONSULTANTSOFROCX:FORD                                                             !39020EAGLEWAY                                                                         lCH1CAGO,ll..,.60678                                         1,163.00!                 240.87!           104.11:             22LS2I                      12.18
 XX-XXXXXXX      !CARIUON HEALTHCARE CORPORATION                                                              !PO sax 826755                                                                         !PHILADELPHIA. PA. 19182                                        360.00!                164.o5i           104.asl              60.oo!                     12.11
                                                                                                                                                                                                                                                                                                                       1
F""''-423-=cc91=B4.c._+RA"D""IO=LOG=Y-=succBS=PE:::OccAUsrS==.co=cF-"N"'o"'TH~ER"'N'-'~~----------r'1PO=BO"'x'-'1~40086=~•~•-----------+------+iot~ICAG==o~.1~L606=7~4-8-=•"'•~3------,                                                                       ____   963.00'._____....,---~'=04~.•"'•,-i---=104=.oo~!--~37"-7"".s"'o7: _ _ _ _---=12".1"1-I
XX-XXXXXXX       !NORTH HILLS FAMILY MEDIC NE PA                                                              !4351 BOOTH CALLOWAY ilD 101                                                           INORlH RIOtLAND HILLS, 1X 76180                                 216.0Di                   128.89:         103.89 l        25.00              12.15

 11·3_634048 .. _ .JNEURO_PAINCARE.~PC~----------------t-j1_6408_6_STH_A_IIE_N_U_E_____                                                                                                             iFRESHMEAOOW,NY1136S-18D3                                        450.00:                103.77\           103.771                                         12-14
 XX-XXXXXXX        lot1LD&FAM1LYBEHAVIORA1HEALTH                   lzooEAST33RDSTSUITE3U                                                                                                            iNEWYORK.NY.10016                                                400.oo;----12=s.-••"i·---=,".,~.69~!!----2S-.oo-;-,-------=12=.u'-'--1

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                                                                                                                                                                                                                      if.----    .,~

                                                                                                                                                                                                                                             -,=,
                                                                                                                                                                                                                                                    ~,111
XX-XXXXXXX     !A Pl.US URGENT CARE                                       '
                                                                          !PO BOX2B21                                                                  I
                                                                                                                                   !LOVESPARK.IL&n32-2B21                          26&.oo:    103.46!    103.46                          i             12.10
XX-XXXXXXX     tMARIFTTA OB-GYN AFFIUATES 2 L l C                         'PO BOX 468329                                           !ATLANTA. GA 31146-8329                    f    187.50;    111.ssl    103.35!                 14.211                12,1)9

~~-1473421     la1 PHYSIOANs Psc 1Nc                                      !PO 90X 633854                                           !CINONNATI, OH 4S263·3854                       726.0Di    176.79;    103.171                 73.621                UB7
474913206       HUNTERDON SPECIALTY CARE PC                               j3 MINNEAKONING RD                           i           1!1,EMINGTON, NJ 08822·5n6                 !    204.00!    163.20\    103.20!                 so.ool                12.07
XX-XXXXXXX     lSHAHNAZAICHTAR, MD                                        !16 EAST 29TH ST                             l           ;BAYONNE, NJ 07002-1603                    I    lSE-RP.!   103.osl    103.06j
                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                       12.06
XX-XXXXXXX     JAMES ROBERT HOPPE MD                                      ' DURHAM AVE
                                                                          1273                                         !           Is PlAINR~: NJ O10eo                            447.24:          '
                                                                                                                                                                                              103.00'    103.00.                 78.74                 U,DS

XX-XXXXXXX     iROBERT LEVY MD                                            j2345 MONROE                                             iD;;;RBORN, Ml 48124                            300.00i    102.82!    102.sil                150,00!                12.03

XX-XXXXXXX     :NORTH GEORGIA MEDICINE ltC                                '
                                                                          !123WEAVERRO                                 lsurreA         BLAIRSVILLE, GA 30512-9998                  2S2.0oi    1s2A1l     102A7!                  BO.DO                 11.99
~092721         MERCY LABS ST LOUIS U.C                                   !PO BOX 776084                                           10ilCAGO, fl. 60677                             410.00/    110.131    102.18                   7,9S                 11.gs

11-365577D
               1
                112 GVR MEDICAL PC                                        f6960101ITHST                                ,STE108     !FOREST HILLS, NY W7S-4302                 I    540.oo!    102.D3i    102.03                   ,.,si                11S4
ZIH.736848     !LAND MEOICAl ASSOCIATES SC                                !PO BOX 15474                                            jBEtFAST, ME 0491S                         !    210.061    147.041    102.041                      '
                                                                                                                                                                                                                                 45.001                11S4
XX-XXXXXXX     !MIDWEST EAR NOSE & THROAT lTO                             13 EAST HURON                                lisrn       l011CAGO, IL6D6l1                          I    230.ool    192.05:    102.os!                 go,ool               11.94

XX-XXXXXXX     CENTRAL OHIO UROLOGY GRP, INC                              1101 TECH CENTER DRSlE 100                   i           )GAHANNA. OH 43230-1987                    I    283.DO]
                                                                                                                                                                                          I
                                                                                                                                                                                                    l
                                                                                                                                                                                              1O2.00l    102.DO                  2&.10!                11,93

SS-0613849     ,NIOiOlAS CASSISJR MD                                      IPOBOX16786                                              laeLFAST, Me 0491S-4062                    !    324.00!    324.00\    102.ooi                222.DO                 11.93
S9-3209688     !ADVENTIST HEAl.nt: SYSTEM-SUNBELT INC                     '!PO BOX 100402                                          !ATLANTA, GA 30384                         i    312.00!    1n.ool     102.00,                 1s.ool                11.93

XX-XXXXXXX     IMEA ELK GROVE llC                                         !PO BOX 637544                                           lcNCNNATI, OH 45263-7544                   I    41,.oo!    10L911     101.91j  '                                    11.92
                                                                                                                                                                                                               i
04--3~SS38 -----rlAINS MEDICAL a!NIC                                      !329020TMSTS                                             IFARGO, ND S8104                           I           '
                                                                                                                                                                                   220.00 1   14L79!     101.79!                 40.00!                11.91
ZG-4881619     !UNIVERSITY HOSPITAI.S Ml:OICAL GR                         !POBOXS467                                               !BELFAST, ME 049155400                          ts1.ooi    101.1s!    101.75!                      -1               11.90

26--2159031    JMARJORIE RAVITZ                                           !260 MIDDLE COUNTRY RD STE 104                           ISMITHTOWN, NY11787-29Z3                   !    3SO.ool    1S7.71i    101.69                  26.021  '             11,90
XX-XXXXXXX     OilLDRENS HEAlllf AUIANCE LLC                              !PO BOX 742036                                           -iATtANTA. GA 30374                        I    254.00i    141.63i    101.63                  40.DO                 11.89

XX-XXXXXXX     STATMD PKYSICANS Pl.LC                                     l2090JERlotOTPKE                                         INEW HYDE PARK, NY, 11040                  I    740.00!    262.251    101.43!                100.a2l                11.87

XX-XXXXXXX     jMASSAOiUSETTSMASSOOATESPC                                 119 VILLAGE SQUARE                           l           !0-IELMSFORC, MA OUl24--2783               !    360.00!    176.391    101.39   '              7S,00                 11.86
3D-0402S81     !JAMESJ OIRESTA                                            l,11/ZFORRESTERsr                                        INEWBURYPORT, MA 01950-1938                     466.78(    276.89i    101.33                 175.SG                11.85

XX-XXXXXXX     'IHOLBROOK INTERNALMEOIONE PC                              !900 MAIN STREET                                         THOLBROOK, NY 11741                             200.001    U6,DO!     1Dl.OD                  2S,00                 11.82

XX-XXXXXXX     LABPLUSLLC                                                 '
                                                                          !PO SOX 504975                                           lsr LOUIS, MO 63150-4975                   I    267.so!    205.98!    100.99                 104,991               11.81

13-.!784813    ORANGE DERMATOLOGY
                                                                          i
                                                                          j5m STATE ROUTE 208                                      iMONROE, NY lOSIS0-1619                -l       280.oo!    190.74!    100.74!                 90.DO                 11.79

2~1838458      ALLEGHENY SPECIALTY PRACTICE NETWORK                       ]PO BOX 645306                                           !PITTSBURGH, PA 15264                   i      1,285.00!   sso.ao!    100.so!                491.20                 11.79

D6-1617584     ENDOCRINE ASSOOATESOFCT                                    IPDBOX634                                                iGUllFORD, CT 06437                        !    165.00:'   100.49:    100A9                   4S.DO                 11.76

XX-XXXXXXX -···- OERMEDXINC                                               1222 EMAIN STREET                            5TE228      iSMITHTOWN, NY 11787-2806                       779.12l    342,SOI    100,56                 241.94]                11.76

XX-XXXXXXX     HEALTHY LIVING FAMILY CARE CENTER                          r84 SANFORD sr                                           IEAST ORANGE, NJ 07018-1927                     185.00!'         '
                                                                                                                                                                                              lDO.SS:    100.ssl                      -i               11.76
                                                                                                                                   I                                                                 I
XX-XXXXXXX     VISION CARE ASSOOATES                                      145WEUSST                                    SUITE202    !WESTE.Rl.Y. RI 02891•2927                      165.DO!    143.14i    100.19                  42.951                11.72

XX-XXXXXXX     [SHOREHAVEN BEHAVIORAL HEALTH INC                          h900 WEST BROWN DEER ROAD                    STE2DO      IBROWN DEER, WI 53209-1220                      150.DO:    150.00 1   100.00!                 so.oo!                11.70

XX-XXXXXXX     'iEMPtOYEE ASSISTANCE RESOURCE                             b78 EAST MAIN STREET                                     lSMITHTOWN, NY 11787                       I    300.00i    140.0ll    100.01:  '              40.CIOl
                                                                                                                                                                                                                                         !
                                                                                                                                                                                                                                                       11.70

XX-XXXXXXX     )DAVIDHAUOMD                                               izs1 FOXHURST RD                                         '
                                                                                                                                   !OCEANSIDE, NY 11572-2352                  I    200,00'    145.13!    100.00i                 45.13!                11.70

XX-XXXXXXX     NORTH SHORE MEDICAL CARE PC
                                                                          I
                                                                          !399 FORTSALONGA RD25A                                   !NORTHPORT, NY 11768-3045                       160.DO;    160.ooi    100.001                      ,, I
                                                                                                                                                                                                                                                       11.70

XX-XXXXXXX     !ALAN H GREENSPAN MD                                       h9 BROADWAY SUITE 3005                                   INEWYORK,NY10006-3062                           350.ooi    100.00!    100.00                  79.86!                11.70

144S07438 ..   HEMlATA BHATIA MD                                          [332 BLOOMFIELD AVENUE                                   !BlOOMFIELD, NJ 07003-4806                      2~.L.      100.00\    100.ool                                       11.70

XX-XXXXXXX     PLANNED PARENTHOOD OF METROPOLITAN                         !238 MULBERRY ST                             lSTFLOOR    !NEWARJC, NI D71Q2,3528                         273.00]          '
                                                                                                                                                                                              100,04i    100.04!                                       11.70
                                                                                                                                                                                                    ;
22-1910SS9     ALAN B EOIDCSON MO PA                                      !22 OLD SHORT HILLS RO SUITE 108                         lLMNGSTON, NJ 07039-560S                        125.00:    125.00:    100.001                 2S.ooi                11.70


                                                                                                                     EXHIBIT2

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                                                                                                     AEU INTERIM DISTRIBUTION




XX-XXXXXXX                                                                                                                        iHAMPSHIRE, IL GDl40                200.llO\     200.ool      100.mi                        11.70
~2·1639127     COLORADO URGENT CARE PllC                                                                                          Ian OF INDUSIRY, CA 91716-9576      260.00i      160.ool      100.00'                       11.70
XX-XXXXXXX         MIRZAM ASHRAF                                                                                                      WAPPINGERS FAUS, NY 12590        160.COj     160.DDl      100.00                        11.70
XX-XXXXXXX         PAHS LARKIN VENTURES U.C                                                                                       'HOUSTON, TX77210                   250.DD;      11s.ooi      100.(l(il                     11.70
XX-XXXXXXX     ls1DNEY lO't' GULLEDGE III MD                            'j4301lAKE BOONETRL                                       :RALEIGH, NC27607                   200.00~      us.ool       100.00'
                                                                                                                                                                                                         I
                                                                                                                                                                                                                              11.70
XX-XXXXXXX     boHN LCCSSU oo                                           j612DWINKLER RD STE E
                                                                                                                L         --·-·-·--·-!FORTMYERS, FL33919--8191        340.00;      140.ool                                    1L70
XX-XXXXXXX     f~ICHAELALLEN MCFARlAND MD                               !110S OAKSTSUITEA                                             JOURDANTON, TX 78026-2117        125.00!     us.ooi                                     11.70
XX-XXXXXXX     iHIGH HllLPOINT COMPANY UC                               l1e1 FERNWOOD ORM                                         leouNseR001<.1t s0440-4SZS          43s.ool      435.00!                                    U.7O
81-196S879     ISOUTHERN VASCULAR SPEOAUSTS                             'SOS GORDON AVE                                               THOMASVILLE, GA 31792-6645      467.oo;            i
                                                                                                                                                                                   100.02!                                    11.70
82.0301061     180151: RADIOLOGY GROUP PUC                                  PO BOX 17170                                          1RENO, NV 89511                     22s.ool      100.00!                         so.oo;'    11.70
XX-XXXXXXX         KAMRAS & POLANSKY MEDlCAL                            5821 lAMESON CT                                           ICARMICHAE~ CA 95608                 100.001     100.001                                    11.70
                                                                                                                                                                               ;
XX-XXXXXXX     PEDIATRICAWANa PC                                        1100 WASHINGTON AVENUE                  isurre2is         !CARNEGIE, PA 15106--3616           207.00i      144.67!                        45.00!      11.66
~667001        ACEETI GUPTA PHVSlOAN PC                                 l,001 METROPOUTAN AVENUE                                      MIDDLE VIUAGE. NY 11379-2191    sso.ool       99.67i  '                                 11.66
XX-XXXXXXX     TERRY HUMMER
                              ···-·-·-··-·-·····-·--
                                                                        19MAINST                                                      EUCINSM, WV 26241-3125          142.0D!      131.97j                        32.33!      11.66
                                                                                                                                                                                            I
XX-XXXXXXX     COMPREHENSIVE ORTHOPEDICS                                !PO BOX 580                             I                 !wAWNGFORD, CT ()64.g2-2434         444.oo!       99.16i                        ss.ool      11.60
                                                                                                                ·····
20-3S16155     'IMINUTEalNIC DIAGNOSTIC OF RORDIA                       !12280 lAICE UNDERHILL RD                                     ORLANDO, FL. 32825              2s3.0ol      164.06!                        25.00!      11.59
06-()864996    EAR NOSE AND THROAT ASSOCIATES OF CT
               1                                                        POBOX218                                                   WINDSOR, CT, 06095                1,DBO.Col     927.001                       828.001      11.58
55--0686660    SANDRA H WHllTINGTON                                     3840 PENNSYLVANIA AVI:                                    !atARI.STON, WV 25302               159.00       159.ool       99.001           60.ool      11.SB
4v2265819      EREXPRESSCARE LLC                                        !43 wEST WILDWOOD RD                                      JSADDLE RIVER, NJ 07458             20s.oo!      158.82        98.821           60.DO:      1156
                                                                                                                                  ;
XX-XXXXXXX     SOUTH JERSEYSKJN CARf AND LASER CENTER                   101 GA mi ER DR                                               MOUNTLAUREt., NJ OBOS4-1701     819.00!      421.58!       sa1&            262.821      1155
                                                                                                                                                                               I
XX-XXXXXXX     LEON BERNSTEIN MD                                        PO BOX 751003                                                 FORESrHIUS, N'Y ll37S-8603      465.00       217.98!       9855,           119.431      1153
XX-XXXXXXX     TOVBA CARE MEDICAL PC                                    '!S WD.TSHIRE OR                                          !MANALAPAN, NJ Dn26-3570            260.QO;       98.51!       9851                         11.52
                                                                                                                                                                                                                  74.601
XX-XXXXXXX

XX-XXXXXXX
               MARIETI'A EYE QJNlC PA

               !CHAPARRAL MED GRP INC
                                                                        POBOX63263
                                                                        1866N ORANGE GROVE AVE 202
                                                                                                                                  'OIARLOTTE, NC 28263-3263

                                                                                                                                      POMONA. CA 91767-:~~.,3__
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                                                                                                                                                                                   193.ooi       98.40,
                                                                                                                                                                                                 9836!   '        45.06!
                                                                                                                                                                                                                              1151

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XX-XXXXXXX     ITAKE CARE HEALTH ARIZONA PC                             16738 COLLECTIONS OR DR                                       OIICAGO, ll 60693-0167          200.00!      123.30!       983oi            25.00!      1150
                                                                                                                                                                                                      I
5~2470331      HORIZONS DIAGNOSTICS L l C                               106 ENTERPRISE CT                       l=c               ;COLUMBUS,~ 31904                   87S.OOt  '   813.14!       98.26'          114,sa;  '   1150

74--1703601    AUSTIN PATHOLOGY ASSOICATES                              jPO BOX 203294                                            jDALLAS, TIC 75320-3294             243.0S!      194.44!       98.27            96.171      1150

XX-XXXXXXX     REGENCY MEDICAL CENTER P(                                boo FOX Gt£N er                                           )BARRINGTON, IL 60010-1809          176.00!
                                                                                                                                                                             I
                                                                                                                                                                                         '
                                                                                                                                                                                   123.201       98.20            25.00       11.49

XX-XXXXXXX     OPEN MRI AT WALL LLC                                     !PO BOX 1230                                              !EATONTOWN, NJ, 07724               443.001      146.66!       9S.10!           48.56       11.48

XX-XXXXXXX     isoLITHWEST GASIROENTEROLOGY SC                          :9921SOUTHWESTHWY                                             OAK LAWN, IL60453-3754          286.00:      143.15.       gs.isl           4s.oo!      11.48
XX-XXXXXXX     lwesrsUBURBAN NEUROSURGICA1                              hoo e OGDEN AVE surre 106                                     WESTMONT, IL 605S9-1283          98.00!       98.ooi       gs.ool                .!     1L47
                                                                                                                                                                                                      I
95--4617809    !GLENDALE PEDIATRICS                                     7SO TERRADO PLAZA srE 40                                    COVINA. CA 91723                  186.00;       98.00;       98.00i                       11.47

13-357SS95     :GANGARAM RAGI                                           222 CEDAR IANE
                                                                                                                                  I
                                                                                                                                  !TEANECK. NJ 07666-4313             350.00i      159.841       .,...i            s1.ssl     11A6

9S-.3672~ ..   lsoHEILSAMlMI, M.D.                                      lPOBOX1628                                                lwesr COVINA. CA 9179~--            300.00       130.88:               '              '
                                                                                                                                                                                                 97.95! ·-····..-·-32.931     11A6

XX-XXXXXXX
               1
                RUTGERS HEALTH-RWJ IMMUNOLDGY                           '
                                                                        !PO BOX 829642
                                                                                                            ·---1                 IPHILADELPHIA, PA 19182-9642        334.ool      137.69;       97.69!           40.001'     llA3
                                                                                                                                  I
XX-XXXXXXX     ,DIGESTIVE DISEASE CARE PC                               1137 WIWSAVE                                                  MINEOlA, NY 11S01•26n           214.00'       9753j        97.s3l                       11.41

SS-0774633     iPRJME HEALTH ASSOClATES PLLC                            iPOBOXSSO                                                 !~;~;·WV25813                        175.0D;     122.so!       97.sol            25.ool     11.41


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                  CAPrTAl FAMILY PHYSICIANS PA
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                                                                                 ]2417 ATRIUM OR STE 201
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                                                                                                                                                    RALEIGH, NC 27607
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XX-XXXXXXX       !TRUSTEES OF CDLUMBIA UNIVERSITY                                ]PDBOX5313                                                     iNEW YORI(. NY 10087-5313                         308.00:             137.03:    97.03 1                     5625!                    1135
XX-XXXXXXX        LOTUS VlSION LLC                                               /3400 OLD MILTON PlWY STE AS20                                     AlPHARITTA, GA 30005-3751                     470.00;             249.SS)    96.Bl!                      92.74!                   11.33
S7-108B757       lOiARLEST"ON PSYCHIATRY LLC                                     \9229 F UNMRSITY BLVD SUITE 2-B                                !N CHARLESTON, SC 29406                           200.00i             136.74!    96.74!                      40.ooi                   1132
XX-XXXXXXX        ENVIStON IMAGING OF ACADIANA LLC                                   POBOXS686                                                  loENVER, CO 80217-5686                      i     468.DO!             uo.as~     96.10i                      24.18·      '            1131
XX-XXXXXXX       ILEAvrrr MEDICAL ASSO□ATES                                      !2600 lAKE LUOEN OR                             lsrE1eo            MAITLAND, FL 3i7St                           4,371.00:         2,466.?0\     96.sol                 2,310.20!                     11.29
             I
n~597873 _--rDVANCED ENDOCRINOLOGY AND DIABETES CENTER PC                        !16005 LAKE PARK AVE STE 1104                                      HOBART, IN 46342-6641                         346.ooi             156..52;   96.521                    60.oo!                     11.29
1.3-3893663       otUNG-ETSENG MD                                                jt33-47SANFORDAVE1E                                                FLUSHING. NY 11355-5816                       300.ool              97.37j    96.271                   196.101                     11.26
XX-XXXXXXX -··-iRDC LOEFFLER INC                                                Ii CENTER lANE                                   1--·               lfVITTOWN, NY 11756-1066                      235.00i             14LOO]     96.oo!                      4S.<Jl!I                 11.23
XX-XXXXXXX        GEORGES KHACHAN MD                                             i62SICENTAVEST'E301                                                OJMBERI.AND, MD 21502-7412                    lSO.DOi              36.01!    9&.01'                                               11.23
XX-XXXXXXX        DEKAt.8 PATHOLOGY PC                                           IPOBOX 1457                                                        BLUEFIELD, WV, 24701                          220.00'.             96.ao:'   96.00i
                                                                                                                                                                                                                                           !
                                                                                                                                                                                                                                                                     -i               11.23
                                                                                                                                                                                                                                           I
XX-XXXXXXX       iSEATTL£ SKIN & lASER - KEAN B LAWLOR MD                        b1101 76TH AVE WNO 304                                             EDMONDS, WA 98026-7536                        135.00!             136.DO!    96.00i                              -1               U.23
XX-XXXXXXX       ]ANDREW SHAPIRO DPM                                             166 W ME:RRJCK RD SUITE 101                                    lvAU.EY STREAM. wv 11sao-s101                     193.60(             193.60!    os.101                      97.90]                   11.20

XX-XXXXXXX       !STONY BROOK PATHOLOGISTS UNIVERSITT                            !Po BOX419020                                                  1BosroN, MA. 02241                                180.DDl            144.ooi     9s.&sl                      48351                    11.19

XX-XXXXXXX        URGENT CARE OF COLORADO                                        19116 W BOWLES AVE STE 3A                                          UTTI.ETON!£D 80123-3476                       265.00;
                                                                                                                                                                                                         I
                                                                                                                                                                                                                      tSS.18i'   gs.1s!                      &o.ooi                   11.14

37-09670G8       fBLOOMINGTON RADIOLOGY SC                                       lPOBOX3668                                      !              j!LOOMINGTON, ILG1702·3668                        190JJO)              gs.22\    os.221                              .!               11.14

XX-XXXXXXX       !JAMES MICH~l GOLDRJNG MD PHO                                       3009 N 8AllAS RD STE 2098                   !              tSAINT LOUlS,_~O 63131-2323                       430.00!             tSS.24i    9S.241                      60.ooi                   11.14

~7-0216316 -·     LONG ISLAND FQHC INC                                               380 NASSAU RD                                                  ROOSEVELT, NY 1157S                           307.DOi              95.04!    s,s.a.cl                    S4.941                   11.12
XX-XXXXXXX        MARYVILLE PHYSICIANS SERVICES LLC                                  P0BOX790                                    i                  EDWARDSVILLE, IL 62025-0790                   13s.ooi             135.ooi    9s.ool                      40.ool                   11.11
                                                                                 I
XX-XXXXXXX        INTERNET MEDICAL GROUP PC                                      jPO BOX 51051                                                  !NEWARK, NJ 07101-5151                            300.00:             22,.22:i   9s.ool                     131.22!                   11.11
                                                                                                                                                                                                                                           i
XX-XXXXXXX       lw,wAMSON MEDICAL GROUP INC                                         306 H05'rTALDR1VEsrE 202<                                  ,SOUTH WILLIAMSON, ICY 41503                      150.00;             135.ool    95.00!                      40.ool                   11.11

XX-XXXXXXX       ISARA JI VEGH 0D MD SC                                          11880W WINOiESTER RO                                SUITE105       UB£RTYVILLE. IL 60048-5341                    189.DO:             154.98!    94.98!                      ...ool                   11.11

45-4S74670       ,CO._,PLETE NEUROLOGICAL CARE PC                                    1311 BRIGHTWATERAVE APT lBU                                    BROOKLYN, NY 1123S                            25o.ooi            1ss.oo!     9s.oo!                      so.ool                   11.11

XX-XXXXXXX       lcs1 MEDICAl. GROUP                                                 S25S0UntDA                                  STE11S             MOUNTAIN VIEW, CA 94040                       140.001            140.00!     9s.ooi                      4s.001                   11.11

XX-XXXXXXX        HARCART HOLDINGS lLC                                               POBOX6390                                                      ANNAPOLIS, MD 21401-(1390                     231.soi            1.54.911    94.91!                      60.ool                   1U0
XX-XXXXXXX       !DANUTAJANKOWSKA MD                                                 58 EAST 79TH STREET                                        ,NEW YORK, NY 10075                               BS0.00'              94.88!    ..... 1                             .,  i
                                                                                                                                                                                                                                                                                      11.10

41-013208~.-      PN METHODIST HOSPITAL                                          ip0 BOX 1488                                                   !MINNEAPOUS, MN 55480-1488                        393.00:             294.1sl    94.1s!                     200.ool                   11.08

XX-XXXXXXX      ··-,WAU::ER MEDICAL DDIAGNOSTIC                                  !14SOJONESDAIRY RD600                                          !JASfER. Al 3S501                                 113.00!              94.621    ....,!    I
                                                                                                                                                                                                                                                                     -1               11.07
                                                                                                                                                    COLUMBIA. Thi 38401
                                                                                                                                                                                                                           1                                 60.00!
XX-XXXXXXX       IMID-SOUTli SURGEONS                                                1222 TROTWOOD AVE STE 211                                                                                    258.00!            154.64      94.64!                                               11.07

02-048SS59       !GERALD SPINDEL                                                 i, TSIENN£T0 RD SUITE 101                                          DERRY, NH 03038--1584                         255.00;            169.s2i     ••.szi                      75.ool                   11.116

3S-2535461       loAUAS MEDICALSPEOAUSTS. PLLC                                       S700 E INTERSTATE 2D SVC RD S              ·!              !AlfDO, TX 76008--5115                      i     206.oo!              94.58;    94.581                                               11.06
XX-XXXXXXX        DAVIDS HEMMER MD                                               12210 DEAN ST STE L                                            iSAINT CHARlES, IL 6017S-1059                     47s.ool             364.29;    94.soi                     269.791                   11.06
XX-XXXXXXX       !MIO-srATE GASTROENTEROLOGY                                     li11soowsr                                                     j MURFREESBORO, Thi 37130-2487                    180.00:              94.46;    94.46;                              .I               11.05

11-3S32202       !a.AUDIA AND STEVEN RAVINS MD PC                                !54 SANDY Hill ROAD                             !              !OYSTER BAYCOVE,NY11771                           40D.00i              94.19i    94.191                              .,               11.02
                                                                                                                                                I
XX-XXXXXXX       !GEORGIA BRAIN & SPINE CENTER                                   !11877 DOUGLAS RD SUITE 1D2272                                 !ALPHARETTA, GA 3000~25                           626.80:             139.00;    94.00!                      45.00l                   11DO

3>2484295        !THE l.ITTlE_?JNIC Of IN U.C                                    !2620 ELM HILL PIKE                                            !NASHVILLE, TN 37214                              119.00;            119.00!     94.00j                      25.ool                   11DO
                                                                                                                                                                                                                                           I
62·1664297       JuRoLOGY ASSOOATES Pc                                           !Po BOX 409879                                  I              !All.ANTA,. GA, 30384                             601.ool             134.19~    93.93·                     300.26!                   10.99
XX-XXXXXXX       jCOIWN PEDIATRIC ASSOC                                          ;PO BOX9150                                     i
                                                                                                                                                I
                                                                                                                                                IPADUCAH,.KY, 42002                               216.00:              93.83l    ·;3~;;1                                              10.98

XX-XXXXXXX       IATtANTlC RADIOLOGY ASSOOAT5 LLC                                14700WATERSAVENUE                                              !SAVANNAH. GA 31404-6220                          104.19:              93.77!    93.771                              -1               10.97


                                                                                                                               EXHIBIT2


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                                             Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 183 of 266 PageID #:11279




                                                                                                                             AEU INTERIM DISTRIBUTION



ra1t1tJ;~~~.,.~1&-i"I,~~~-~~~~~~~-~:·:: : , ~ - ~ ~ ~ i -
XX-XXXXXXX    !LEWMEOJCALPc                                                            !21902UNDENBLVD                                 l             k.AMBRlAHEIGHTS.Nv11411              I         23s.ooi             93.7Bi       93.1si             .!    10.97
XX-XXXXXXX    !ALTAMEDHEALTHSERVICECORP                                                !2040CAMFIELOAVE                                I             LOSANGELES,CA90040                   t         388.60"             93.SS)       93.55)          754j     10.94

s1~st6264     IUTAHSURGICALASSO□ATES                                                       1c90EFOREMASTERDR                           lsre200       lsrGEORGE.UT8479o                    f         gso.oo:           &1s.s2!        93.46j        5233&1     1033
XX-XXXXXXX    VATSALABHASXAR                                                           !s1S01ANCKRD                                    lmc-l4&C-1S   IFREEHOLD,NJD772B-3074                         140.00;             93_23:       93.23!             -!    10.91
_27-3999894   !THE CHRIST HOSPITALMEOlCALASSOCIATES                                    f237 WJUJAM HOWARD TAFT                         j             !9.~9NNATI, OH 45219                           403.COr           2s2.1ol        93.toi        189.CD!    10.89

22-3343ss2    lRoeeRTPJCOANo Mo                                                            36 PACJAcsr                                 !             NEWARK. NJ onos                      !         261.00!           183.ooi        .,.ool         90.ool    to.BB
XX-XXXXXXX    ICHIU>RENS ORTHOPAEDICS OF ATlANTA                                           5445 MERIDIAN MARK ROAD STE 250                           All.ANTA. GA30342-4767               I         ns..ool           239.731        92.98i  '     146.751    10.88
,_2-0_0_34_1_••-...I-BRA~VEH~-~EA~RTS~TH~E~RA_PE_UTt_c_.,_0_1N_G_&_E_c_uCA_TIO_NAL_CE_NTER
                                                                                      _ _ _ _ _ _ __,\~~o IL ROUTE 113                               iPOPtAR GROVE, '~~61~065=-"7~1~•-----;---~'°=•.o=•c,-!-----=•2=.94,.l---=~'---'==+------"
                                                                                                                                                                                                                              92.94i 140.COi 1o,, 1r1,:.
XX-XXXXXXX        IVHSHARPER-HUlZELHOSPrfALINC                                                       ioEPr4S24/-·-·-·-.....                          /CAROLsrREAM,ll.60U2                 I         l3B.ooi            92.46!        92.46/             _j    1o.s2
38-3740n4     i0tRISTQPHERJ BERARD                                                     PO BOX 48U                                                    BEtFAST, ME 04915""4812              !         352.32!           117.44!        92.441         is.oo/    10.81

XX-XXXXXXX    !GARAELOEMERGENCYMEDtcAL                                                 lPOBOX845417                                                  lLOSANGEt.ES.CA90084-o013            !         429.ool            92.36¼        92.36!             -i'   10.81

XX-XXXXXXX    lFAIRWAYPEOIATRICSl.1.C                                                  ,7020NORTHHIGKWAY:l!IO                          iS'TEc        !COVINGTON,lA70433                   i         190.00!            92.27:        92.21l             -i
7+2712301     FAMILY HEALTH CENTER OF M                                                1920 EAST GRIFFIN PARJ:WAY                                    MISSION, 1X 78572                              299.ttl           175.21;        •2.061         83.ts!    10.77

06-175S230    MERIDIAN PfOIATRICASSOOATES PC                                           PO BOX 416768                                                 BOSTON, MA. 0.2l41                             785.ooi           ss2.00?        92.00!       &00.ooi
                                                                                                                                                                                                                    92.00!                '
                                                                                                                                                                                                                                  1,075.st!
F3"-6-=c390=829=8,_-F8U"-FF"-ALD=G=Ro=Dc,cVE,.,O,:.Rnl=O"-PA""E"'D""ICS=SC=--------------+1=2S~E=LA=•E,.,c~oo=•~•=c'-'STE=2~2---------t-----r'1•=""~AlD=~GR~D~VE.=•t~6008=''------:----·~•c=82=7=-00=;:,-----"1.=16,:.7:.S1=,!----==t-----"===t-----'1"0.::.,76
                                                                                                                                                                                                                                                         I
XX-XXXXXXX    PIEDMONTMEOICALASSOCIATESLI.C                                            POBOXS3l55                                                    iATLANTA,,GA3035S-1155                         295.00;           117.00;        s2.00!         25.00i    10.76

SS-0626152    IGOVIND M PATEL MD                                                       1844 LOCUST AVE                                 i             FAIRMONT, WV 26S54                             250.00:           142.00i92.001      so.oot               10.76

XX-XXXXXXX    hAHoe FRACTUREANDORTH,,o=•c.ce=°'cc.c__________                              973 MICA DR                                 lm201         !CARSON CITY, NV,,_,897=•~5------!-!---=984=.ooc=.,-:----=2=&2.=83::,l:----'='+---
                                                                                                                                                                                                                             91.70\     275.131
2&-2s26662    fsaGsKV DERMATOLOGY                                                      J4515 VALLEY COMMONS DR                                       ieozeMAN, ~ 5~7ls-8897             I         102.00 1         91.59J    9LS9/            -1              10.n
XX-XXXXXXX    !ARNOLD BARTON MD                                                            23861 MCBEAN PKWY E12                                     lvALENCA. CA 9USS-2D77             I         240.00\         186.GS!    9L65j      148.351
s1-1son30     RIVERBENDMEDICALGROUP                                                        POeox10n                                   !              !011COPEE,MA01021                    l         230.00]            91.51!        9t.s1!             -i
XX-XXXXXXX    IDAVIOROCCAPRIORE                                                        ,39Pl.fASANTSTREETAPT2A                         1             !MERlDEN,CTD6450                     i         200.00!            9L43i         9L43f              -1
XX-XXXXXXX    INORTHOAUASFAMILVCAREPA                                                  !400SCDTTONWDODSTEB                            I              RIOfARD50N,1X7SOBO                   I         l.60.0Ci          141.36:        9L361         so.00]
XX-XXXXXXX    CONNECTICUT EMERGENCY MEDICNE                                            PO BOX 26519                                   lDEPT 200      HARTFORD, CT06146                            2.021.00!           289.441        9L3t!        198.131
XX-XXXXXXX    DEMOTTEDRUGSINC                                                          POBOX662                                                      .DEMOT'TE.IN46310                    j         130.30\            91.2ti            9L21I         _j     10.67

-~~~-=139=6--,FRW"-J,_,o,,sc=GYN=ASSOCIA=="-'JES=PAc__ _ _ _ _ _ _ _ _ _ _ _ _ _-t•'=v~o,.,S<~~~T~E~R0~UTE=2~7_ _ _ _ _ _ _ _ _ ___,'psre=2200=--r•='"=DALL=~·A"'Rl(,=NJ=-08824-==1c,45"'8_ _ _ _+-l_ __,sso=-OO~)_ _ __;2::64.3=2,..!---==t--
                                                                                                                                                                                                                                         9L121   173.201
XX-XXXXXXX        IEY1:SH1GHT OPHTNALMJCS£RVICES PA                                liss eoRTHWlCKAVE                                STE 200e             PORTSMOUTH, NH 03801-7156                          166.00!         16&.oai      91.ooi   1s.ooi
XX-XXXXXXX        !PSVO-llATRIC SERVICES OF RACNE LlP                              la100 DURAND AVE sre 600                                              STURTEVANT, w1 53177-2096                          30z.ooi         u1.ooi       91.00i  21LOOI
3~3451422         iolAMOND HEAOAOtE CLINIC LTD
 --- ----------7--.                                                                 1460NHAISTEDsrE501                                                   OfICAGO,ILG0642.                         I         300.00!         130.911      90.911   40.ool
                                                                                                                                                                                                                                         90.881'
                                                                                       1
XX-XXXXXXX        !ORTHOPEDICSPl:CIALTIES OF SPARTANBURG LlC                        303EWOODST                                                           SPARTANBURG.SC,29303                               741.oo;         626.64"              535.76!
XX-XXXXXXX        iSPRlNG LIFE MEDICAL SERVICES PC                                  961769THAVE                                                         !FORESTHIUSNV11375-5139                   I         461.00:          90.78!      so.7sl               10.62

XX-XXXXXXX          OtRtsTINE HOUAND MO PA                                          PO BOX 700930 DEPT 431                                              !TULSA. OK 74170-0930                     j         199.00]         130.SO!      ,a.sol   co.ool      10.59
                  I1
                    HIGH1ANDER HEALTH U.C                                          11900 UNION VALLEY RO STE 303                                        iHEWITT, NJ 07421-3024                    I         230.00!         115.481      .....1   is.oo!      10.59

XX-XXXXXXX         !Hill.CREST CLINIC LLC                                          i2S4HIGHWAY515WSTE5                                                   BLAIRSVILLE.GA30SU                                 163.0o!         130.40!      ,....!   co.oo!
!,_6-3454190       !PIVUSH C BUCH MD                                                7480 W COLLEGE OR SUITE 203                                          PALOS HEIGHTS, IL 60463-1195                       255.0Dt         210.38)      90.381  120.ooi      1057

23-28!3?142 -·· CENTER FOR DISEA.5E                                                !11603 CROSSWlNDS W ~ A ~ Y - - - - - - - - - - t - - - - - - F      I.ISA~N~ANT=O~N~I0 ~TX~78=23~3-6=00~5----;----'15=0~.0~0',-·_ _ ___,90.26\
                                                                                                                                                                 0 •••                                                                   90.26!               10.56
XX-XXXXXXX    iMEDICALX-RAYINC                              -·-·--····-···--•·-····~   !POBOX42456                                                   !aNONNATI,OH45242·D456                          90.25:            90.25;        90.25!             -!    10.56
2~2~300 _     iSHANE DRAPER LTI)                                                       11995 ERRECART BLVD 200                                       !Eu:O, NV 89801-8337                           168.00;            90.201        9J?.:.20!                10.55
XX-XXXXXXX    IRUSSEU COUNlY COMMUNITY HOSPITAL                                        14401 RrvER QI.ASE DR                                         !PHENIX CITY, AL368G7-7483                  11.895.41:          2.999.08!       90.181      2.908.90!    10.55


                                                                                                                                     EXHIBIT2

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              !PARADIGM OBGYN SERVICES PC
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                                                                                                                                                                ____LAWRENCE. NY 11559
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                                                                                                                                                                                                                                                                                 1054
OS-1755228    ,MERIDIAN MEDtCALGROUP-AETAlla.JNIC PC                                                   iPO BOX 19597                              !             iaELFAST, ME 049~09D                     135.oo[                     13s.oo!     90.00               45.00       1053
XX-XXXXXXX    GREG KRENEK MO                                                                           !so3 MEDlCAL CENTER BlVD 140               !             !coNROf.. ,x 11304-2923
                                                                                                                                                                I
                                                                                                                                                                                                         185.oo!                     152.BD(     90_0,,I              62.80!     1053
XX-XXXXXXX    jPHIUP J ARETSKY                                                                        1385 SOUTH MAPLE AVE.                       lsrEtU        !GLEN RDCIC, NJ D7452-1545               150.00                      tso.oo'     9D.ooj               60.00j     1053
XX-XXXXXXX    l □AVIDAHMADI MD                                                                         i222 EASTON AVENUE                         !                 NEW BRUNSWICI(,. NJ 08901     !      1.SO.oo!                    1so.00!     90.00                60.001     1053
XX-XXXXXXX    Al.l.£N N. SAPADIN MD                                                                   1370 SUMMlf AVENUE                                        /HACKENSACK, NJ 07601             I      115.OO!                     115.DO•     90.00               25.00;      10.53

XX-XXXXXXX    lDANIELJ E HELMER DPM                                                                    i3rI77 W JEFFERSON ST STE 204                            -JOLIET, IL 60435-5264            i      290.00!                    242.29;      90.00              15229!       10.53
XX-XXXXXXX    /JOYFUL SPEEOt U.C                                                                      i130 BUTTERCUP CN                                             BOGART, GA, 306n              !    1,6ZS.OOi                    943.97;      90.00:             853$7!       10.53
XX-XXXXXXX    isMARTCARE UC                                                                           14400 PEACHTREE RD NE                                         AllANTA. GA 30319-2729        I     326.00!                     150.ooi      90.00                           1053
XX-XXXXXXX    '
              !CENTRAL ALABAMA URGENT CARE                                                            121 MIDWAY PlAZA                            STEB          fooRA. AL 35062-9340              I     441.s2!                      so.ool      90.ooi                   -1     10.53
XX-XXXXXXX    SOUlll OfARLESfON CARDIOl.OGY                                                          ·14607 MACCORQ.E AVE SW                                    !soUTH otARlESTON, WV2S309-1364   j     200.00!                     200.ooi      90.001              so.oo!      10.53

XX-XXXXXXX    UNIV£RSITY OF NORTH CAROLINA AT                                                         !PO BOX Z7lS47                                                SALT LAKE CITY, UT,84127          17,219.DO!                 uss.401         so.oo!            2,165.401     1053
XX-XXXXXXX    .ORTHOPEDIC PROFESSIONAL ASSOC                                                          !io325 88TH ST                                            lLOUISVll.1.E, C0 80027-9452            130.oo\                     130.00!      90.DDI              40.ooi      10.53

XX-XXXXXXX    !CARE PLUS PC                                                                           liss1PRoFESStoNALLN                             UNrT140   !LONGMONT, CO 80501-6963                150.ooi                     114.71!      89.711              34.11!      10.50
XX-XXXXXXX    !PEDIATRIC &ADOl.ESCENT CENTER OF                                                       1455 SCHOOL ST STE 26                                         TOMBALL, nc n375-4595         !     220.001                        89.66!    89.66                           10.49

XX-XXXXXXX    STANLEY W KOOi                                                                          .!411 MAXINE DR                                               MORTON, IL 615S0-249S                619.ooi                    495.201      s9.sof             428.00!      10.48
XX-XXXXXXX    1NESTER PODIATRY ASSOCIATES                                                             j3 WALNUT ROAD                                            !GLEN COVE, NY 11542              I     480.00'                     134.39!      89.39               45.Dlll     10A6

XX-XXXXXXX    ASSOCAlES lN ENT All.EAGY                                                               j470 NOR'TH AVENUE                                        leLJZABETH, NJ 07208·1738              1,085.65!                    439.731      89.45!             616.04!      10A6

XX-XXXXXXX    !ANNE ARUNDEL GENERAL TREATMENT SERVICES                                                12001 MEDICAt. PARKWAY                                        ANNAPOLIS, MD 21401-328D      I    5,871.78!                     111.18i     89A2                2236    '   10A6

XX-XXXXXXX    lx RAY PROFESSIONAL                                                                     'i2 l/2 BEACON STREET                       STE 199           CONCORD, NH 03301'"4424       I     1os.oo!                        89.25!    89.25                           10.44

57--0523224   UPSTATE CARO UNA RADIOLOGY                                                              !POBOXlJB                                                 Tcot.uMsus, GA, 31902             I     228.00;                      123.sol     88.80               S8.14       1039

Zl-2594034    AlAN ANDREWS                                                                            ISDDPIERMONTRD                                            .O.OSTER. NJ 07~4-2845                  200.00:                     178.741      88.74 1                         1038

XX-XXXXXXX    CENTER FOR ORTHOPAEDICS PA                                                              ·1~00PLEASANTVAU.EYWAYSTE101                              !wesrORANGE, NJ, 07052            I     64s.oo!                     253.96}      88.74,             16s.22!      1038

XX-XXXXXXX    CHEST INFEOlOUS DISEASES & CRfflCAL CARE ASSOCATES PC                                   !t601NW 114THSTSTE347                                     l_~~ MOINES, IA S0325-7046        I     727_00!                     552.94{      88.671             464.271      1031
7S-1412851    R08fRTO PHIUPSJR MD DAVID L TURNER MD                                                   iwoo PARK CENTRAL CR STE sso
                                                                                                                                                                I
                                                                                                                                                                    DALLAS,~ 75251                      23O.00,   '                 113.68;      88.68               ZS.DD       1037

30-0090SD2    iADVANCED DERMATOLOGY UC- AMY TAUB                                                      !275 PARKWAY DRM SUITE 521                                ]LINCOLNSHIRE, IL 60069-4344            Z4S.DD!                     2os.2Si      88.ZS              120.00       10.32

XX-XXXXXXX    lGL KOEHN MD AND ASSOCIATES SC                                                          !s201 S WK.LOW5'RINGS RD                                  '
                                                                                                                                                                /LAGRANGE HIGHLANDS, IL 60525     I     225.DDi  '                     BS.ts!    88.18                           10.32

XX-XXXXXXX    GRAND TRAVERSE INTERNISTS PC                                                            '501SNROYAl.DRM
                                                                                                      1
                                                                                                                                                                    TRAVERSE CJTY, Ml 49684                       '
                                                                                                                                                                                                        339.57:---···-··-
                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                    113.19;      sa.tsl              25.00!      10.32

XX-XXXXXXX    JOSEPH BERGER MD                                                                        !305WHANSELLsr                                                THOMASVILl.E GA 31792-6649         1.712.00'.                   781.511      88.141             882.221      1031

XX-XXXXXXX    !ADVANCED WfllNESS INSTITUTE PA                                                          !2sa1 NC 108 HWY EAST                                    !COLUMBUS, NC 28722-mt            I     128.00:                      12s.ool     88.00               40.001      10.30

XX-XXXXXXX    NANETTE FABI MD                                                                          iro BOX 1419                                                 MATTESON, IL 60443                  210.00)                      16s.ooi     9s.00i              BO.oo!      10.30

XX-XXXXXXX    FERNANDO M STRIEDINGER MD                                                                lpa BOX 18533                                                BELfAsr, ME 04915--4080             180.00                       137.42!     87.42               SD.DD       10.23
59--1797355   lw1NTER PARK INTERNAL MEDICINE MD
              I
                                                                                                       i1sssHOUYWOODAVE                                         iw1NTER PARK, FL 32789                  195.00                               '
                                                                                                                                                                                                                                       87.15'.   81.1s!                          10.20

OS-544S76S    !SANFORD QAYPRONER DPM                                                                   11428 MIDLAND AVENUE                                     !BRONXVlll.E, NY 10708                   220.00:                     132.00!     s1.ooi              45.ooi      10.18
                                                                                                                                                                    ENGLEWOOD, NJ 07631-3570             510.00(                                 87.00/             223.00!
14--1683486   iMIOtElE GRODBERG MD·-···-··-- ............_                             __ .. ·------·--·-···-l;oo GRAND AVE SUITE 330
                                                                                                      ]1209 lBTH AVE NW                                         !AUSTIN, MN 55912-1881                  102.00(
                                                                                                                                                                                                                                    300.00!
                                                                                                                                                                                                                                     102.00!     87.00
                                                                                                                                                                                                                                                         I .         15.001
                                                                                                                                                                                                                                                                                 10.18
                                                                                                                                                                                                                                                                                 10.18
lo-3606109    !SHOPKO STORES OPERATING CO UC

XX-XXXXXXX    lrucsoN _SHOULDER ELBOW & HAND PC                                               ..........)Pa BOX 64368                                           rucsoN, AZ. 85nB-4368                    vs.oo'                     275.oo:      87.00!             lBB.001      10.18
                                                                                                                                                                1
7S-1423804    ITROYCE FWIWAMS MO                                                                       i203 WEST 20TH                                           iMOUNT Pl.EASANT, lX 7S45S-1101         635:00'                     395_17!      86.931             366311       10.17


                                                                                                                                                EXHIBIT2


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                                                                                                         AEU INTERIM DISTRIBUTION




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XX-XXXXXXX     !EL CENTRO DB. BARRIO                                                                                              1SAN ANTONIO, TX 78221              110.001             111.72j                   25.ool    10.15
22 3442483
  4
               'VICTORIASHWPER MO                                    ;0101 MADSISDN AVENNUE SUITE 103                             ;MORRISTOWN, NJ 07960-7305          uo.oo!              111.66!                   25.DO!    10.14
XX-XXXXXXX     !ARIZONA OBGYN AFAUATES, PC                                                                       ... !            'PHOENIX. AZ 8S072-2733             23a.oo:               86.48;                            10.12
ZD-2007664     !MULTI SPEC!AtTY PHYSICJANS INC                       jPOBOXl999                                                   jSUN CITY, AZ 85372                 235.00;             126.45!                   40.00)    10.11
XX-XXXXXXX     OCONOMOWOC VISION       rur,nc LLC                    jt674 OW SCHOOLHOUSE RD STE101                               !ocoNOMOWOC. WI 53066               uo.ool              123.49!                   31.osl    10.11
XX-XXXXXXX     'CARLOS RODRIGUEZO{IROPRACTlC INC                     14519 ADMIRALTY WAY, SfE 208                                 !MARINA DEL REY, CA 902S2-S4;;-·    2os.0ol             143.87:
                                                                                                                                                                                                   I
                                                                                                                                                                                                       86.32
                                                                                                                                                                                                               1
                                                                                                                                                                                                                    57.551    10.10
XX-XXXXXXX     STEVEN F .SOLTES MD                                   !4400 w 95TH sr srE 304                                      loAK LAWN, IL 60453-2654            200.00!             161.19!      86.19,       75.DO     10.08
                                                                     1                                                                                                201..0ot
57-0874Dn          LEXINGTON COUNTY HEALTH SERVICES DST INC           tWELLNESSBLVDSTE 203                                            IRMO, 5C 29063                                      111.20!      86..20!      !ll.21    10.08

SS-2S75191     !MARLENE LBLA15E MD                                   3400 OLD MILTON PKWY SUITE C-325                             'iALPHARETI'A, GA 30005-4433        2&S.ooi             171.20;      86.20        64.oo!    10.08
XX-XXXXXXX     jMIOlAELDECX MD                                       lPO BOX 671002                                               iDAUAS, TX75267-1002                128.15!             107.74
                                                                                                                                                                                                1
                                                                                                                                                                                                       86.19        21.ss:    10.08
XX-XXXXXXX     ADVANCED EYE PHYSICIAN Pt.LC                          99 ELIZABETH Sf FL 2                                             NEW YORK, NY 10013              350.00!             13L13j       86.131       45.00 1   10.08
 7-3750080     JAMES G STUART CO U.C                                 46WEUSST                                                         WESTERLY, RI 02891-2924         431.00!             431.00!      86.00       3SLDO!     10.06
XX-XXXXXXX     !srEVEN J. GINSBERG, D.P.M.                           218 11 JAMAICA AVE                                           !QUEENS VJUAGE, NY 11428            340.001              85.89!      85.89            -!    1D.lJ5
XX-XXXXXXX     ':SOLUTIONS BEHAVIORAL HEALTHCARE                     891 BElSLY BLVD                                              :MOORHEAD, MN 565GO                 175.00[             125.83·      85.83       40.oo!     10.04
XX-XXXXXXX     !OCEAN STATE PRIMARY CARE CENTER                      nFR.ANKUNST                                                  jw£STERLY. RI02891-3177             260.001              85.83 1     85.83            -1    10.04
95-4TI8882

XX-XXXXXXX
               !KAREN SUSAN LAPESARDE
               A PARr.;$ ORTHOPAEDICS llC
                                                                     IPOBOX480125
                                                                     Is FRANr.:uN AVENUE
                                                                                                                   !   SUITE502
                                                                                                                                  kos ANGEt.ES, CA 90048
                                                                                                                                  lee:UEV1LLE. NJ 07109
                                                                                                                                                                      258.00:
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                                                                                                                                                                                                                              10.04
                                                                                                                                                                                                                              10.02
XX-XXXXXXX     ANTHONY' CORDISCO                                     l,10s SUNSET RD                                                  BURLINGTON, NJ 08016-2290      1.ru.ooi            1,125.621     BS.62,                 10.02
                                                                                                                                  I                                            !
XX-XXXXXXX     jlAURELTON HEART SPECIALIST PC                        lpoeox:a                                                     jROSLYN, NY 11576-0029              230.02               85.53;      85.53!                 10.01
,34,,1890178   !NOIITTIEASrOHJO ENDOCRINOLOGY INC                    4634HILI.SDALESAVENW                                             CANTON, OH 44708                600.00•              85.46!      85A61                  10.00
XX-XXXXXXX     !MANTECA MEDICAL GROUP INC                            !12&2 E NORTH ST                                             !MANTECA. CA, 55336                 258.ooi             110.48       85.48 1                10.00

XX-XXXXXXX     RADIOLOGY CONSULTANTS OF IOWA P                       POBOX338                                                     iCEOAR RAPIDS, IAS2406              126.00!              85.431      85.43                   5.99

REFUND         MEDICAL IMAGING PKYSICANS                             12591 MIAMSBURG CENTERVILLE RD                               !DAYTON, OH 45459                   794.&s!             753.78!  '   SS.381                  5.55
XX-XXXXXXX     XATHERINE AMBROSINO                                   1360AKlANOAVE                                                    MILLER PLACE. NY 11764          250.oo!             125.ooj      85.00                   9.54
11-31.96278    '
               1FRANKUN IMMEDIATE MEDICAL CARE PC                    30 FRANKLIN AVE                                              ~KUN SQUARE, NY 11010-2527          110.ool             110.ool      IS.DO                   9.54

XX-XXXXXXX     \JAMES DAVID KOEPSELL MD                              !2829GLENWOOOAVE                                                 ROCKFORD, IL 61101              560.DO!             487.50!      85.00                   9.94
                                                                                                                  -I
20-l39121S     !EVElfl'DAY MEDICAL CENTER                            SSO BURSIOE AVENUE                                SUrrE3     !EAST HARTfORD, er 06108-0610       110.ool              ss.ooi      IS.DO                   5.94

XX-XXXXXXX     POTTSTOWN MEDICALSPEOAUSTS INC                        1S91 MEDICAL DR                               !              !POlTSTOWN, PA. 19464               900.oof             900.ooi      85.oo,                  5.54
                                                                                                                                                                                                               I
XX-XXXXXXX     GRINGERI FAMILY MEDICNE PC                            770 NEWTOWN YARDLEY RD                        ]STE221        lNEWTON. PA 18940                    ss.ooi              85.00!
                                                                                                                                                                                                 I
                                                                                                                                                                                                       85.001                  9.94
XX-XXXXXXX     CRYSTAL MEDICAL CARE PC                               6914 41ST AVE                                                lw00DS1oe. NY 11377                 124.52!              as.om       85.00                   9.54
XX-XXXXXXX     !souNO INTERVENTIONAL PAIN MGMT                       POBOX207B                                                        AUBURN, WA 98071                236.00'              84.97:      84.97!                  9.54

XX-XXXXXXX     CREEKSIDE WOMENS CARE PA                              li483 TOBIAS GADSON BLVD. STE 102                                OiARLfSTON, SC 27407            125.00!             125.DO]      as.001                  5.54

XX-XXXXXXX     PErER E ONEILL MD                                     !226 SEVENTli Sf STE 103                                         GARDEN OTY, NY 11530-5723      1.oso.00!            41S.34)'     85.00       925341      9.54

XX-XXXXXXX     !5MART MEDICAL PUC                                    in PIERREPONT sr                                             lsROOKLYN!NY11201                   aoo.oo;              .....i      84.86!       2728:      9.93
36--3769500    !SHELLEY HALPER MO                                    !s201 WlllD~.~~INGS RD 430                                   ilAG~~E, IL 60525-6538              235.DO[             129.soi      84.aol       45.DOi     9.52
XX-XXXXXXX     lDRSGANJUANDLANTNERMDSC                               l5600SWOLfRDSTE 135                                          !WESTERN SPRINGS, IL 60558-2201     150.00\ ...   _.    129.80!      84.soi       45.ooi      9.52
XX-XXXXXXX     \LANCASTER RADIOLOGICAL ASSOCIAT                      1PO BOX 31067                                                IOIARLOTTE, NC 28231                256.881               84.s1!     84.811            -I     9.92


                                                                                                                 EXHIBIT2

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                                                                                                                                                    AEU INTERIM DISTRIBUTION



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XX-XXXXXXX     jMtMORIAL RHEUMATOLOGY PA                                                                   902 FROSTWOOD RD                                        !                    IHousrON. ix 77024-2420                          486.ssi              84.73!     84.73!               -j     9.91
58--23805!5S   !MATRIX OCCUPATIONAL HEALTH INC                                                             !PO BOX 933985                                          I                    IA11.ANTA, GA, 31193                             982.001            &st.sol      84.751         491.75i      9.91
XX-XXXXXXX     )MID-aTIES NEUROLOGY                                                                        1305 AIRPORT FWY STE 205                                                     !BEDFORD, 1X 76021                               2B7.36;             144.68(     84.681          60.ool      9.91
20-SD9Ei637    !LORA lEAJOHNSON FNP                                                                        1~.!KJX 772 MINUTEalNIC CREDENTIALING                                        lwooNsoCKE'I", RI 02&95-0784                     164.DO\            109.sal      84.SOI          25.DD!      9.8"
16--1531979    ;CAPtrALCAAE MEDICAL GROUP UC                                                               !sot NEW KARNER ROAD                                    imlA                 [ALBANY, NY 12205-3882                           us.oo!              109.46)     84.4i'          25.ool      9.88
XX-XXXXXXX     !HOUAND COMMUNITY HOSPITAL                                                                  CEPT77S57PO BOX 77000
                                                                                                                                                         --······1
                                                                                                                                                                   I                    larnorr. Ml 48D7                                 120.60/              84.42/     B4A2i                .I     9.88
XX-XXXXXXX     [TEXAS ONCOLOGY PA CC PRESBYTER                                                             3001 PRESIDENT GEORGE BOSH HWY                                               RIOlARDSON, ,X 7S082                            1.014.ool           105.48;            '
                                                                                                                                                                                                                                                                         84.3_~(         21.10
                                                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                                                     9.87
XX-XXXXXXX     iNTD LABORATORIES INC                                                                       80 RULAND RO STE 1                                      i                    lMELVJI.LE, NY11747-4211                I        880.0C!             192.281     84.291         107.991      9.86
9s.4631858     /NURIAF.PLEITEZ.MD.                                                                         1430 W BADIUO ST                                        '
                                                                                                                                                                   I           .        jCOIIJNA. CA91723-1829                  I        330.00i             84.171      84.171               ./     9.8S
20-SB6n68      !CUTANEOUS PATHOLOGY                                                                        POBOX4003                                                                    !FLORENCE, SC29S02-4003                          us.ool              84.llj      ...ul                .I     9.84
XX-XXXXXXX     !ROBIN C NANCE USW                                                                          !604 S SUNSET AVE #102                                  I                    WEST COVINA, CA 91790-2808                       405.00!            100.10:      84.101         103.001      9.84
()6..1321408   BURTON R RUBIN MD                                                                           IPOBOXS626                                              I                    BELFAST, ME 04915-5600                           120.00!
                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                            120.00!      84.00l
                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                         36.ool      9.83
XX-XXXXXXX     THE PALMEIT0 SKIN ANO I.ASER CEN                                                            1563 HEM.TH CARE DRIVE                                                       !ROCK HIU.. SC 29132·3858                        488.00i            488.00!      84.ool         ....ool      9.83
                                                                                                                                                                   I                                                                     109.ooi
                                                                                                                                                                                                                                                                              I
XX-XXXXXXX     lTAXE CARE HfAl.l}I TENNESSl:E PC                                                           16805 COL1.ECTION CENTER DRIVE                                               !CHICAGO, IL60693                                                   109.00]      84.00j          25.00J      9.93
               t
XX-XXXXXXX     iWEST CENTRAL PATHOLOGY SPECAUSTS                                                           !1005 BROADWAY sr                                       I                    lau1Ncv.1L 62301-2834                             84.oo!             84.ooi      84.00[               .I     9.83
XX-XXXXXXX     PULMONARY SERVICES                                                                          201 w PASSAIC sr sre 201                                                     !ROOtELLE PARK, NJ 07662-1328                    120.00i             84.00\      84.00]               -1     9.83
XX-XXXXXXX     'ISPEOALCARE ORTHOPEDIC &HAND SURGERY                                                       675 W NORTH AVE. STE 607                                I                    !MELROSE PARK,, ll 60160-1627                    m.oo:              64Ll9:       83.991         ss1.2oi      9.93
                                                                                                                                                                                                                                                                                                 I
XX-XXXXXXX     !AlAN DUNBAR WILD DC                                                                        !634BTHST                                               I                    HUNTINGTON, WV 25701-2120                        105.00j            10s.oo!      84.ool          :U.001      9.93
XX-XXXXXXX     !PREMIER PAIN TREATMENT INSt'ITUTt                                                          !POBOX330                                               !                    iurnlAND. OH 4S140                                      '
                                                                                                                                                                                                                                         !123.00i           234.06!      84.061         =It          9.93
XX-XXXXXXX     iea1c O RASMUSSEN                                                                           j4700 PT FOSDIOIC DR NW srE 219                         !                    !GIG HARBOR. WA 98335-1706                       124.00\            U4-DO;       84.ao!          40.00j      9.83
XX-XXXXXXX         FOX VALL£Y DERMATOLOGY SC                                                               3420 JACKSON ST SUITE E                                 i                    !OSHKOSH, WI 54901-8145                          saa.oo!            158.761      83.76!         392.521      9.80
Ss-6011147     )MINERAL COUNTY HEALTI-1 DEPARTMENT                                                         541 HARL£Y O STAGGERS DR STE 1                          I                    imsm. wv 26726-8203                               83.66;              83.66!     83.661               -1     9.79

XX-XXXXXXX     HAZEL VERNON                                                                                7001 FOREST AVE srE 400                                 !                    !HENRICO, VA 23230-1726                          210.00!            263.44i      83.44!          60.00i      9.76

XX-XXXXXXX     ARIZONA PRIMARY CARE PHYSlCANS UC                                                           PO BOX 638397                                           I                    ON ON NATI, OH 4S263-8397                        147.001            108.18!'     83.Ui '         25.001      9.73

XX-XXXXXXX     FAMILY FOOT CARE PC                                                                         2011 ROCK ST.. S'Jl: D1                                 I                    PERU, IL 61354-1392                              360.ooi            zas.ooi      83.ool         2os.ool      9.71

71--0992590    •JOSEPH BENEDICT PIGATO MO                                                                  !375 N WALL SJRITT
                                                                                                                                                                   ,;~;;3;-a.v          KANKAICEE, ll 60901-3691                         zso.oo!            uuoi         82.54!          49.66)      9.66
                                                                                                                                                                                                                                                                               1·---
04-3S91082     icoNCORD CHILDREN CUNIC                                                                     il040 VINEHAVEN DRIVE                                                        ,CONCORD, NC 28025                               267.83i            122.4sl      3z.43l          45.131  '   9.64
!!-2501616     'iLEONARDFElNER                                                                             !350 CENTRAL AVE 121                                                         !LAWRENCE, NY 11559                              350.0ol            142.36!      82.36!          601JOi      9.64
XX-XXXXXXX     \ROBERTTOLEOO DO LTD                                                                        1552 W WARM SPRINGS RD                                  lsrrnx,              ittENOERSON, NV 89014                            346.00;            158.94!      82.36!          76.58!      9.64
XX-XXXXXXX     iRICHARD MILLER MD                                                                          299S EASTROCK DRIVE                                     i                    laaca:ORD, IL61109                               657.001'           322.09i      82.891         240.00!      9.60
XX-XXXXXXX     [HEATHROW INTLMED                                                                           !PO BOX 277410                                          !                    AnANTA. GA 30384-7410                   i        492.00j            344.40!      82.lOi         262.30!      9.60
                                                                                                                                                                                                                                                i                              I
XX-XXXXXXX     !ANNE M NATHAN PSYD                                                                         17S OLDE HALF DAY ROAD                                  fsu1T£210            luNCOLNSH1Re.1L 60069                           1,600.00;           8SS.60l      8L9S!         (344.61)!     9.59
XX-XXXXXXX     !COMPREHENSIVE GERATRIC MEDICINE PC                                                         6010 BAY PAaKWAY srE 901                                i                    !BROOKLYN. NY 1U04-6081                         1.094,ssl           210.87!'     82.0li         1211.86!     9.59
XX-XXXXXXX         STEl:PlECHASE PEDIATRIC CENlER PA                                                       113114 FM 1960 RDWS'TE 114                              !                    HOUSTON, lX   noss                               160.00:            132.ool      s2.oo!          so.oo\      9.59

XX-XXXXXXX     ]MARCUS J MEYER                                                                             j1130 lAKE PLAZA DRIVE SUITE 230                        !                    COLORADO SPRINGS, CO 80906-3595                  142.00:            142.00!      82.001          60.00i      9.59
4&-4354068     HEART CENTER LLC                                                                            \poeox 142936                                                                iAnANTA. GA 30374-2936                           243.DO(            2D3.6zf      81-93]         121.691      9.58
                                                                                                                                                                   !--··
XX-XXXXXXX     ,;~K     ZIEGEi.SAUM RPT                                                                    !26 MANORHAVEN BLVD                                     !                    iPRTWASH. Nruoso                                 145.70(
                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                           __1D1.99)     81.60i
                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                         20.391      9.55

XX-XXXXXXX     [CAlLEN-LORDE COMMUNITY HEALTH CENTER                                                       l~ WEST 18TH STREET                                     !                    I
                                                                                                                                                                                        iNEW YORK. NY 10011--4401                         96.00:             81.60:'     81.60!               .,I    9.5S
XX-XXXXXXX     !DRS SOIUESSLER POPE KEHL BARNES                                                            1W62 FOR.$YTH ST                                        iSUrrE:38            iMACON GA 31201                                  204.ool              81.60~     81.60!               .,     9.5S


                                                                                                                                                               EXHIBIT2

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                                                                                                  AEU INTERIM DISlRIBUTlON



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XX-XXXXXXX     ' DOASSOCIATES IND
               !MD                                                lsr1: 310
1)4..3056641   iMILfORO GASrR0 ASSOC INC                          l21swESTsr                                            !M1LFORD.MA011s1-22n             I      3so.ool                   81.39{               s1.39j                                   g.sz
XX-XXXXXXX     !ADVANCED INPATIENTCONSULTAN15                     13461 MOMENTUM Pl.ACE.                    I           jOilCAGO, IL 60689                      116.00:                   81.201               81.20!                                   9.50
XX-XXXXXXX
2~5306160
               :.~'RERJAH MEDICAL AND REHABILITATION

               fsrAPLETON PEDIATRICS PC
                                                                  1131238THSRE£T

                                                                  !2975 ROSLYN   srm 100                    I           !BRDOIClYN, NY 11218-,3612

                                                                                                                        iceNVER, CO 80238-3326           !
                                                                                                                                                                12&.oo;
                                                                                                                                                                 230.oo!
                                                                                                                                                                                        12s.ool
                                                                                                                                                                                        1&3.02!
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                                                                                                                                                                                                                               31.9si
                                                                                                                                                                                                                                                        9.48
                                                                                                                                                                                                                                                        9.48
               lolfHEALTH       ·-----------                                                                                                             !
XX-XXXXXXX                                                        !uooTRANCASsr                             lsurra3ao    NAPA. CA 94558                         277.oo:                 105.92!                80.921          25.00                    9A7
XX-XXXXXXX     IANNISTON RADIOLOGY GROUP p C                       425 E 10TH ST STE B                      !           IANNISTON~.~~-~6207                     z40.ool                   so.as;               so.as                -1                  9.46
XX-XXXXXXX     !~TRIX PATHOLOGY AND LABORATORY SERVICES          -·1291 MOODY STREET                                    I,--~---------,---~35~0.~00~i,-_
                                                                                                                         LUDLOW. MA 01056--1246          _ _~10~1.=10!-------·-~•~o.sa=+!---"'2occ.22=c';...!_ _ _ __,9:::A6                              4
:Z0..1487543   !L£ON HODES MO                                     i474AT1ANT1CAVE                           I           !EAST ROCKAWAY, NY llSn.1415            165.00'                 10S.74j                80.74'          25.001                   9AS
XX-XXXXXXX     !MICHAELKGABBERTMO                                 i 1700 CURIE STE 5600                     I           !EL PASO, 1X 79902-2986                 300.00'                   80.72!               8D.72i               -1                  9.44
XX-XXXXXXX     lruGMOSC                                            4709 GOLF RD SUITE 107                               SKOKIE, IL 60076-1231                   2,s.00:                 22s.s,!                80.57          t4s.oo!                  9.43
                                                                  I
XX-XXXXXXX     ISAANDEIS                                          1415 SOUTH ST                                         lwALTHAM, MA. 02453              i      165.37:                 105.49j                80.49!          79.18!                  9A2
XX-XXXXXXX     !TAU.AHASSEE ORTHOPED1C CUNIC                      13334 CAPITAL MEDICAi. BLVD               lm•oo       !TAUAHASSEE, FL 32308-4470             4,109.ool              1.on.3s;                 ao.44.       1.112.391                  9.41
75-2.788839    !UROLOGY CUNICS Of NORTH TEXAS PLLC                 3GOO GASTON AVE                          !m12os       DALI.AS. TX 75246-1812                 600.DOj                 407.14!                80.44          326.,70                  9Al
27-U13669      IKAc NGUYEN MD - FAMILY PRACTICE                    16736 OIAMPION FOREST DRIVE              I           SPRING, lX 77379-7024

84--1533145    Imm •GRATIGNV MD                                   18925 5 RTDGEUNE BLVD                     !sulTE109   HIGHlANDS RANot, CO 801&2502            142.ooi                 130.12;                so.12!          so.oo!                  9.37
XX-XXXXXXX     !GEORGE AlAN IDEUCOPE MD                            68 SRAmEBORO RD                          !           HINSDALE, NH 03451-0011                 iso.ool                 130.00!                so.ooi          so.ooi                  936
lo-6487105     !MARY JANE NELSON                                   19W39THST                                i           NEW YORK, NY 10018                      150.ooi                 1os.oo!                so.oo!          25.ooi                  9.36
1.3-4009634    '
               !COMMUNITY MEDICAl. & DENTAL                        40 ROBERT PITT DRIVE                                 !MONSEY, NY 10952-3333                  12s.oo!                 125.oo!                80.ool          45.00!                  9.36
XX-XXXXXXX     IO!ARLES HIGHSTBN                                  ,557 CRANBURY RD                          I           !EAST BRUNSWICK. NJ 0881<r5419          t6s.ooi                 165.oo!                so.oo!          zs.oo!                  9.3&
XX-XXXXXXX     IPROGRESSIVE UROLOGY PC                            l15osSTATEST                              I           lAPCRTE, IN 46350-3115                  125.ool                 12S.ooi                so.oo!          45.ool                  9.36
XX-XXXXXXX     [RHEUMATOLOGYQ.NC                                  4160 HOU DAY ST NW                        I           ICANTON, OH 44718-2532                  12s.ooi                 125.ooj                so.ool          45.oo                   9.36
XX-XXXXXXX     '
               JRURAL URGENT CARE LtC                             !1soo FIRST AVE NORTH                     1
                                                                                                                UNIT3   BIRMtNGHAM, AL35203-1865                291.001                   so.ooi              so.oo                                    9.36
               !cLEG KATOIER MDPC                                  1765 EAST l9Tlt ST                       !           BROOKLYN,NY11229                        225.oo!                 125.00!               ao.ooj           45_00:                  9.36
63-07S3806     !ERNEST BURDETTE GATTEN OD                          1008Aa.EYDR                                          FRANIWN, VA23851•2427                   12s.oo!                 1zs.ool               so.oo 1          45.00                   9.36
               iFAMILY SYSTEMS THERAPY ASSOCIATES                  10810 SW 75TH ST                        :                       =~-------+---~•~so~.•~•i-l---~13~•~.oo'i!.--~•~•-==~1._,--~so=:.oo=i------==•·=="':..i
                                                                                                                        MIAMI,_!:!-, 33173

27--0614861    IHu MC CARDIOVASCULAR                              !400 FRANK W BURR BLVD                    lsu1TE22    ,TEANECK, NJ 07666                      ns.ao!                  193.s9f               79.911          11l.&8J                  935
               1
XX-XXXXXXX      HEALTHONEalNICSERVICES                            iPOBOX402388                              !           ATLANTA. GA30384·2388                   770.00!                 407.76i               79.841          327.92                   9.34

XX-XXXXXXX     lDAVID w WANG. MD                                   210 N GARFILfD AVE                       imaoo       MONTEREY PARK. CA 917.54-1746           230.00!                   79.78!              79.78                                    9.33
XX-XXXXXXX     !FRANK GOLDBERG PHI>                                1347 E 13TH ST                           !           '
                                                                                                                        !SROOICLYN, NY 11230                    150.ool                 l04.4sl               19.491           2S.oo!                  9.30
XX-XXXXXXX     !JOHN J WURlZBAOtER MO                             '!2000 EOFF srREEfSUJTE 601W              I           (WHEELING, WV 26003--3823        i      us.oo!                    ,._.,i              1s.•2i                                   9.29

XX-XXXXXXX     \WESTO\ESTERBRONX OBGYN GROUP PC                   !po BOX 14427                             I           !BELFASJ'. ME 04915                    t,49s.oo1                w.s1i                  7926           54631                    9.21
XX-XXXXXXX     !MARESH SAWtANI MD PC                              l344s N CENTRAL AVENUE UNIT c             I           iCHICAGO, IL 60634                      320.00                  119.osj                79.0S           40.00                   9.25
XX-XXXXXXX     [MINUTEQJNIC DIAGNOSTIC MEDICAL                    !Po BOX 8440                             I            1
                                                                                                                         BELFAST, ME 04915-8440                 129.00;                 129.ooj                79.00           SO.DO                   9.24
XX-XXXXXXX     iooREENA MCBRIOE MD PC                             j451 BROWN BLVD                           i          BOURBONNAIS, IL609l4                     26s.oo:                 103.93!                78.93           zs.oo                   9.23
XX-XXXXXXX     1DAVIDSAFAR MD                                12025 HAMBURG TURNPIKE SUITE M                 I         ,WAYNE, NJ 07470       I                                           . 78.741              78.74                                   9.21
               IORLAND PRIMARY CARE SPECIALISTS       .......r;~~-; 107TH AVE           ··-·-               I
XX-XXXXXXX

:ZG-8617521
               +--    .:..:==..=c====------ -------i,-==--ccc..c=~---
               [PHIWPAZVLANOFF                                    lPOBOX305
                                                                                                                      ioRtAND PARK, ll 60467
                                                                                              ··--·----·--··---··--·----!----+=~==~------I
                                                                                                            I           MARLETTE, Ml48453
                                                                                                                                                                           .... ,_.,_.,.__ ,103.60; ·-
                                                                                                                                                                                        11s.s1!
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                                                                                                                                                                                                               1a.s1f          40.00)                  9.18

XX-XXXXXXX     lwesrV1RGINJASCHOOLOFOSTEOPATH1c                   l1464JEFFERSONSTNORTH                                 !LEWtSBURG. WV 24901·1380                                         78.40!               78.40[              _!                  9.17


                                                                                                          EXHIBIT2

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ll-3626n9                                                                                                                                                                                                                  9.13
XX-XXXXXXX    !MERRITT W DUNLAP, MD                                                                                                                               232.DOl        78.oo!           78.00                    9.13
XX-XXXXXXX        DAVID L OOOlEY l;)_O                            \3902 MONROE                                                                                     ISIS.DO;     117.!J3i         77_g3                     9.12
              1                                                                                                                                                             I
XX-XXXXXXX    MUNSTER RADIOLOGY GROUP PC                              PO BOX3248                                              l1NDIANAPO~J.~.. 46206             1,099.00       756.911          77.61j                    9.08
                                                                                                                                                                                       l
XX-XXXXXXX        CROVEm BONE AND JOINT I                         !2779 W HORIZON RIDGE PKWY                                      HENDERSON, NV 89052             210.00:       14L27;           77.60                     9.08
                                                                  I
XX-XXXXXXX        J GREGORY JONES M 0 PC                          jBS6AR5TST                                                      MACON, GA 31201-687S            175.DO'       1225Dl            77.SO                    9.07
XX-XXXXXXX        DERMATOLOGY ANO SKIN CANCER                     !148 HIGHWAY 45 EN
                                                                                                                              I
                                                                                                                                  MEDINA TN 38355-3000             122.54\      12254/           77.54i -                  9.07
XX-XXXXXXX    •HALIFAX HEART CENTER PC                                POBOX111S                                               !SOUTH BOSTON, VA 24592             1ss.oo:       122.451          77_45]                    9.06
                                                                                                                                                                                                          I
XX-XXXXXXX    IMELANIE S KEllON MD                                lPOBOXS628                                                  !BEi.FAST, ME 04915-5600             120.00'      120.ool          77.341                    9.05
XX-XXXXXXX    locuGLAS LMNGSTON DPM                                   1685 NEWBRIDGE ROAD                                         NORTH BEUEMORE. NY 11710        300.ooi       176.64!          77.17         99.47       9.03
ll-3220403    iSUDHARAM IDUPUGANTI                                    sas BAYIUDGE PARKWAY                                        BROOKLYN, NY 1U09               200.00!       102.21!          77.21,                    9.03
XX-XXXXXXX        MARK G TUUY PHO                                 l44SOBELDEN VILLAGE ST NW604                                !CANTON, OH 44718                    11o.ooi      102.00:           n.ool                    9.01
                                                                                                                                                                            I
XX-XXXXXXX    .PRAC11TIONER SUPPORT SERVICES UC                       324 ELM ST STE 20:ZB                                        MONROE, CT 064GB                255.01;       11as1!           77.00                     9.01
XX-XXXXXXX    !NORTI-IWESTENT ASSOCIATES PC                           80LACYSTNW                                                  MARIE'ITA. GA 30060-1174       1,084.04!      647.21!          77.00                     9.01
                                                                                                                                                                            I
XX-XXXXXXX                                                        !POBOX904BD                                                 10IICAGO, IL60596--0480              95.97i        76.77;          76.77                     8.98
95-486S091
              I                                                   I
                                                                      8135 S PAINTER AVE                        !STE20S       'WHITTIER. CA90502-3170             tso.ool        76.64!          76.64                     8.97
XX-XXXXXXX        MILFORD HOSPITAL INC                                300 SEASIDE AVE                                             MILFORD, CT 0646D              1,029.561      391.sol                                    8.94
XX-XXXXXXX    llAURENTIU GALAN, MO                                i:36 lAFAYETTE STREET                                       !NORWICH, cr06360                    96.ao!        76.1,l
XX-XXXXXXX

XX-XXXXXXX
                  NORTH SHORE RAOIOLOGICAL ASSOCIATES INC

                  IYAOKRAOWAN
                                                                  IPOBOXG750

                                                                  1411 PARK GROVE DRIVE SUITE 620
                                                                                                                              I
                                                                                                                              1
                                                                                                                                  PORTSMOUTH, NH 03802-6750
                                                                                                                              jKATY, lx.774~1576
                                                                                                                                                                    95.0D:

                                                                                                                                                                  705.00;
                                                                                                                                                                                 76.00;

                                                                                                                                                                                21s.soi
                                                                                                                                                                                                                           ....
                                                                                                                                                                                                                           8.91



                                                                                                                                                                                                                           8.89
XX-XXXXXXX          ORP BAILEYWEBEREYEASSO LlO                        4060 Bun.ER PIKE SUITE 100                              IPLYMOUTH MEETING, PA 19462-1560    195.00!       135.911                                    8.88

61--0994897                                                           PO SOX 1240                                             \ASHLAND, KY 411051240              zos.oo!        94.681                                    8.86
XX-XXXXXXX    1MURRAY HILL DERMATOLOGY ASSOC                      ;345 E 37TH ST RM 307                                       !NEW YORK, N\I', 10016              490.00\       343.0ei                                    8.85

XX-XXXXXXX                                                            3913 DARROW RD                                              STOW, OH 44224-2621             437.00:        75.68'                                    8.85

62·1673297                                                        !PO BOX 15004                                                   KNOXVILLE, TN 37901             u1.oo\        100.561                                    8.84
XX-XXXXXXX                                                            ,noetsCAYNEBLVDSTE 114                                      MlAMJ, FL33137-3247             180.961       125.911                        16.28!      8.84
XX-XXXXXXX                                                            1644 BROAOWATcR AVENUE                                  .BILLINGS, MTS9102                  135.00         94.SOi                        18.90!      8.84

5S-076SD26        OR KRESS EYE.CARE ASSOCATES                     !100 WEST MAIN STREET SUITE A                                   BUCKHANNON, WV 26201            185.00        115.27!                        40.00       8.81
XX-XXXXXXX                                                        1530 MCLEAN AVE PO BOX 337                                  fvONKERS, NV 1070S                  16S.69:        93.90!                        18.78       8.79
                                                                                                                                                                                                                       !
XX-XXXXXXX                                                            n1 AMERICAN AVE sum: 304                                ,WAUKESHA, WI S3188-5071            22&00;         75.141                                    8.79
                                                                                                                              ;
Q6.14861S6                                                            2631 MERRICK RO STE 300                                 !BEU.MORE, NY 11710                 650.00;       szo.00}                       ..,.ool      8.77
20-06449S0    !scorr BERNE BURG
                                                                  I
                                                                  :315 HARPER PARK DR                                             BECKLEY, WV 25801·2617          135.ool       135.00•
                                                                                                                                                                                       I                           _,      8.77
2~1241617     !RENO PS'fOIIAlRJC ASSOCIATES UP                    lac CONTINENTAi. OR STE 200                                     RENO, NV 89509                  100.ool        1s.ooi          1s.00!                    8.77
                                                                                                                                                                                       I
                                                                                                                                                                  115,00,

                          DPM
2~2119279     !CEDAR BRIDGE PEDIATRJCS                                16 lACKIE DRIVE                                          MORGANVILLE, NJ ons1                             115.00i          75.ool        40.00!      8.77
                                                                                                                              !                                             1
XX-XXXXXXX    ltt!LlARY                                               160 BROADWAY SUITE 1000                                 iNEW YORK, NY 10038                 200.00        135.00;          75.00         60.00       8.77
XX-XXXXXXX    lNAPERVILLE EYE ASSOCIATES
                                                                ·--!:::;:::;::RD                                i
                                                                                                           ···-·-
                                                                                                                              jNAPERVILI.E.11.~1104               100.00;
                                                                                                                                                                            :
                                                                                                                                                                                100.aol    ··--·-· 7~.00 r     25.00,      8.77

XX-XXXXXXX        MICHAEL WOODBURY'
                                                                                                                    I         ]BARTLETT. TN 38133-4023            135.00        13S.ao[          1s.aol        so.ool      8.77

 5-3123110        MEOEXPRESS URGENT CARE PCVIRGINIA               !POBOX'962                                    !             !BELFASf. ME 04915-7900             16S.ooi       t3s.oo:          1s.oo\        60.001      8.77


                                                                                                              EXHIBIT2

                                                                                                                        165
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                                                                                                                                      AEU INTERIM DISTRIBUTION




s1-1101919     .LESLYSDAVIDSON                                                            \90lVON1CotNrTZRDsurre100                                !                !MTPLEASANT.SC29464-3772                    I           120.00!              uo.oai               ,s.oo\            45.ool                      s.n
XX-XXXXXXX     !ooNZALESHEALTHCARESYSTEMS                                                 IPoeoxsa1                                                i                JGoNZALES,TX.78629                          I           993.00\              90s.20!             1s.00!            830.20l                      s.n
XX-XXXXXXX     iel.lSASROGERSMDINC                                                        !1100NPALMCANVONDRSU1TE104                                                IPALMSf'RINGS,CA.92262-4414                 l           100.00!              100.00!             75•00              25•00 1                     8 •77

XX-XXXXXXX     :MEDICALQJNICOFNTEXAS,__  ~-~=----------------PIPO=BO"X'-'fil'-'BO=•=·'---------------i-1··_·-----+0=AUA5=:,•..:;TXC-'7c:5=2•::.1_ _ _ _ _ _ _--l1_ _ _=,1S:,:M:,:De,!_ _ _ _..,1:c•.B2,ee;.J_ _--'.:74.,:,8e,21-,_ _ ___.c•:i,i_ _ _ _ __!:8.:!,75~
XX-XXXXXXX     iBlANDFOOTCARE ~----                                  iPOBOX673                            I                ]FRANKUN,VA238st                           iso.oo!               166A2i                  74.641            91.1sl             8•73
XX-XXXXXXX     STATEOFMISSISSIPPI-UNMRSnYOF ____________________                               __11_40_7_ _ _ _ _ _ _ _ _ _ _ _T _ _ _ _TJI.B~IRM=IN'-'G~HAM=•-Al'-'3"'52=..4cc.6_ _ _ _ _-+---'3"'1"'4.0=0'7'.----'194=.5=3i-j_ _ _7:;:4.:::S3 j____.::;60::.00:::,..'_ _ _ _ _8e,,7c,2cj
                                                                                          J_PO_BOX
                                                                                      7                                                                                                                                                                                   4
XX-XXXXXXX     iPEACHTREECUNICINC                                                         )1114YUBAST                                                                MARYSV1L1E.CA95901                                     228.oOf              124.40!             74.40!             so.oo!                      8.70
36-4000m       ~lAKECOUNTYHEADANDN~~SPeCIAUSTSSCli22sGREENlEAFSTSUrrEl06                                                                -----i-----·..··1~RNEE,ll60031-5705                                                160.ooi               134.31!             74.31!!-[---'60=.oo=i-,------=a."'•·'-l

l,XX-XXXXXXX   !DESMotNESORTltOPAEDICSURGEONS                                             !6001WESTOWNPARKWAY                                                       !WESrDESMOINES,IAS0266                                 106.00!                74.20/             74.20!                  .!                     8.68
XX-XXXXXXX     HURLEYMEDICALCENTER                                                        lDEPT7841SP0s0x1e000                                                      !orncrr.Ml48278                                        1co.00l               119,ooi             14.00              4s.oo!                      8 •66
SS-0554001     VALLEYHEALTHSYSTEMSINC                                                     j2S853RDAVE                                                               lHUHTINGTON,WV,25703                                   114.00i               114.00!             74.00              40.ooi                      8.66
71-0.996547
               1
               VAUGHrNEUROLOGICALSERVICES                                                 l1117HARPERROADSECONDA.OOR                                                 BECKt£Y,WV2SBDt                                       1ss.oo:               1ss.oo!             74.00             111.00!                      a. 66
91•1779986     RUSHUNIVERSllYMEDICALCENTER                                                '1,zswHARRiSONST                                         !m264             OCICAGO,IL60612                                       175.00]                73.95!             73.9s!                  .i                     8.65

l-'4-=1·=223=1=1~73~~•~EA~CH=CT1c~=ESURGENTCARE=~IN~C~--------------j'-60~20_S_EABL_U_FF_DRI_VE_U_NIT_1________-;-----t-!PLA:_YA_IIIS1:_~,,,,~CA~9JJ094='--------+---~209=.23=t-!_ _ __cl,:13.81L.••--..,,-·-73.81=t----'40:::.00cc>;-1_ _ _ __;8:,,64=='-l
~1-0&0sS62     IPREMIER UROLOGY GROUP LLC                                                 ls,osoUTH AVENUE EASTBUllDING A                                           !CRANFORD, NJ 01016                                    323.13!               11s.94!             73.84              4s.ool                      a.64
82-05851353    ITDONETGlASSCOCK                                         -----f-]P..=□..=BO=cxcc•ccnc..__ _ _ _ _ _ _ _ _ _ _ _+-----,i'-'P!ll=N=CETCJ="'"''-'wv=2=•14D_ _ _ _ _ _-;-_ _ _l00_.oo...,:,----~98~.~ss'-t!_ _~73.8=5;---~25=.=oo't1!_ _ _ _ _..=8.=64,
4S-1627697     lsoNTERRADERMATOLOGY PLLC                                                  11314 ESONTERRA BLVD                                      STE 2201        ;SAN ANTON10,.~~'~•25=•------;----'20~•~·00-;-;----''13=·'.c,•ir-_-'1-"3.'-'16+----40=.oo=,>l_ _ _ _ __,s:::·•::..r'
XX-XXXXXXX     RICHARO LEWIS                                                              IPOsox8310                                                                 ROANOKE. VA24014                                      309.ool               ue.73!              73_73\                  -1                     8 •63
XX-XXXXXXX     .BRIGHTONRADIOLOGYASSOC                                                    l200PLEASANTDR                                                             AUQ.lJIPPA,PA15001                                    184.00J                73.&Gi             73.661                  _j                     8.62

:4~3164626     !WHrTEPLAINSMECICALDIAGNOSTIC                                              IPOBOX28014                                                               !NEW YORK, NY,10087                                      90.00:               79.611             73.611              6.00'                      S.61

~1271462       iB1RM1NGHAMPED1ATRICASSOOATE                                               JB06SA1NTV1NCENTSCR                                       STE6ts          ·BIRMINGHAM,AL3S20S-1616                               191.oof                73.49!             73.49!                  _I                     s.so

02--0474391    RIVER ROAD PEDIATRICS P LL C                                               f 58 HAWTHORNE DR                                                         iseoFORD, NH 03U.D-6912                                200.02   !            123.27!             73.27!             50.00!                      8.57
26-4809S47     !FAITH ESTERSON                                                            IpO BX 829661                                                             . PHJLADELPHIA, PA 19182..,661                         227..99 f             227.99t             73.26             154.731                      8.57

FD:,2-06=25=2:cnc.._-fCA=RO::U:.NA=EYECAR£===0F"U"'N""CO""L""N"'CO"'U"'N1Y=----·---------•1·,2=31NGENERAt.SB.::LVO~----------t-----!Fu"NGO=LNT=O~•·~•=c=2B0=•2,.,.35=5=·'-------j-----'"'"'o:::.0=2t-l-----=1•=•,,.oo=,i;-_ _:73..:,00=+---'60=.02=,"~-----'8."54:e..j
~~789991 .. -1WAYNE_~EDICALCENTERPU=C'-----------·------;=i12=0=3;.5-"w'-'AY"N"'E"RDAO=-----------+-----+W=ESTIAN='-'D"',"M"-l48=1B64:::...:3=6Z=-----+---=l65=.00=.'!~----'..                                                                       "'':::00:;l___c73::::.00:::,-!_ __:25:,.00=+!-·_ _ _ ___,,s.s::,:•e.i
l':"',-:'" '1 "',:"'2:.·'--+
                        ~ 1 :m."'
                             0
                              "'" '• , .;NG.! MC,: -=0"'1on,'□RA-
                                                             - □_C_&_V_AS_CU_LA_R_SIJ_RG-----------f::=:"'..21"':=='UTH=ll.c:B=~~c:D_Bl_V0_ _ _ _ _ _ _ _ _ _ _-+1Sl'E_S_6S_O_ _ _!r=:.."'YS"J=~;:-:-:~.:~:s~,,-..-----+----~~0:~::-:----'=:u=.60"7'""i--~:=.:'-t·:----''=13=3=~t-:-----':=~=-i:
                                                                                                                                                                                                                                                 1


XX-XXXXXXX     GOOD HEALTH PSY011ArrucsERv1CE                                             IPO sax 3s0186                                                             BROOKLYN NY 11235-0186                     I         1,840.ool               91.20!             12.20l             25.oo:                      S.45

22~221nao      IFREeHOLCAREARAOIOLOGY                                                     !POBOX6548                                                                ·FREEHOLD,NJ0772a                                      452.00!                00.20!             12.1sl             18.osi                      8.44

XX-XXXXXXX     [MOUNTAIN STATE MEOICALASSOCIAT5                                           j300 KENTON ORsrE 100                                                      OiARLESTON, WV, 25311                                 508.ool               292.02!             71.94(            220.08!                      8.42

27--0245007    !PODIATRYCENTEROFEASTERNCTLLC                                              1360TOUANDnJRNPIKE                                        SUITE2C          MANOiESTER,CT06042                                    140.00)                7L99i              71.99i             40.00]                      8.42

XX-XXXXXXX     IOtANDLER EMERGENCY MEDICAL GROUP                                          !Po sax 96328                                                              DKl.AHOMA crrv. DH 46050-8979                         653.oo\               653.oa!             12.00;            ss1.ool                      8.42

XX-XXXXXXX     lsuMMERSVIUEPECIAlRICS                                                     lPoeox310                                                                 lsuMMERSVIUE,WV26651                                   111.ooi               111.ool             72.ool             45.ool                      a42

XX-XXXXXXX     :STEPI-IANIE GOLDMAN MEIS MA LCPC                                          Ins SAINT JOHN'S AVENUE SUITT 400                                         !HIGHLAND PARK. ll   60035-4649                        s10.oo:  .96.861    11.e6!    is.ml           8.41

42-1oa105s     IFORT_MADISONPHYS1C1AN5ANDSUR                                              !PDeox1410                                               I              ..... !FORTMAD1SON,1_A_s2_oz_1_ _ _ _ _-+_ _ _54_3_.oo-+'----~n~.•~•.-f--~'~u~•~; _ _ _ __,__ _ _ __,s"'A=-11
2"-1=•21~•~948=-,M~AN=ATEEPHYSIOANAWANCELLC                                               IPOeox637801                                             !..                 iaNaNNATI,OH4S263--78D1                   !          219.oo!             116.81i               71.Bt!            4S.001             BAD

                                                                                                           TR~-STE::l00:::::_-.~:::::::_-_···_-_,1·=~~~~~~~~-;-l"'RA:LEl:~G-H~.:-~c~-,~,~•~01;.-'-7~529::~~~~~~~~~~:~~~~~~.:10:.00::i~~~~~~~:,~."'.:...:;-1,. -_-_-_-_~"",:u:o:i~~~~~-,:32.5::.:1==========..:.:o
F
 32~365638     !RALEIGH CAPITOL EAR NOSE & THROAT    _ _ _ _ _ _ _ _ _ _ _ ...,l•~600=LA~•~•~BO~D~N~E....
XX-XXXXXXX     !;;REHABILrrATIONPROfESS'ONA~....                                          i16633DAUASPKWYSUITE1SO                                  j                JADDISON,TX75001-681.2                                 260.00;               121.7~              71.741             50.0DJ                      8.39


                                                                                                                                                 EXHIBIT2

                                                                                                                                                       166
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                                                                                                                                       AEU INTERIM DISTI!IBUTION




274130575        iADVANCED SKIN QINIC ANO                                            i1310SAN BERNARDINO 207                                          /                  /UPLAND. CA 91786-49&5                        /             264.96!
                                                                                                                                                                                                                                                        ~~~-~- 11.12.1              11.12/          _/   8.39
7~~~,~•-----;!~STEV='~•-•_DA_VJS_M_o~•~•-----------------ti1_s_10_10U_1S_P_ASTE
                                                                             __u•_o_o__________,l,..su_1TE~200___i'"i'SA~•~-=0~•~10~._TX_1~•~m______i'"i'___•c.:t6.-'oo=:_ _ __c23cc2.cc66~'--...;.:=;---'='-'
                                                                                                                                                                                          71.72;        160.94!
XX-XXXXXXX       iKEVINPINSKl                                                         374LARRYPOWERRO                                                                    jeouRBONNAtS,IL60914                          j             651.0o!                194.57\                 71.59!    122.98 1

F...='"c:c'60=10,__..;i•ccu=ss='=Llc.=L=JO""N=ES:..:Dc,C'-------------------f''=OO=--WESTM==o=•=ElAN=O=--O=FA=CE:..:PccA=•·'-------                                                                                                    =.,.=e';----'-="-----==
                                                                                                                                                                        _!;-cD=UNBAR,==WV=25=064-=2=7=25'------:----'18=S.=oo=-;_ _ _ _..        71.43!     17.85!
62·1095750       ITHE NEUROLOGY GROUP                                                 302 OLD STONE BRIDGE RD                                         !                  :GOOOLETT5VILL£, TN 37072                                    100.00'.                 89.301               7L44!       17.86!
F'=--'·=2Sc.c.7=19=--94'--fiMl=CH=AE=LL=T=U~ME=N'-'OC.C.eM"'--------------------+14=33=3~M=E~RR~ICl(=R=OAO~------                                                                                                                       11.2oi
                                                                                                                                                     _.:_-::::::.:j_~-----·-·_PE_ll_U_A,_NY~ll-7-58-600--1-----t----332.=00-+,----,~.~t.2~0+j--~=,---==
                                                                                                                                                                                                                                                    90.00(

~19:!~!!.•c.-,!,cc•l=OG=E'-'c=H='"°="~RA,0cr=1c=CE=•'-"TE=•:..:Lm-"=-------------..;l=t04="'=--0G=E~RO=AD=SU=ITE=--144=----------+-----f-'M=IN~D=OKA.=="=6044=7=-909=8'------+---•="=·oo=l____c3c:cS0=.9=3,-!---'-==                                                                          279.73~

XX-XXXXXXX
64-0507S72
                      lEASTLAKEPEDfATRl~~~c_ _ _ _ _ _ _ - - - - - - -----+11_83_25_E_l_O_M_ILE_RD=·•-U_ITE_10D_____
                      lHATTIESBURG cuN1c PA                                                  IPO BOX3488
                                                                                                                       .
                                                                                                                                  ;101
                                                                                                                                         ---·-·--·--l'....
                                                                                                                                     r.-:;,,,,.-.,.-
                                                                                                                                                          1TUPELO. t-4538803                                 96.ool     96.oo!
                                                                                                                                                                                                                                         11.201•..•

                                                                                                                                                     .....,ROSEVILlE, Ml 480.=c"""=--="""°'------1-----=120=.oo=;i_____;7c:cL:=:04,,i_ _ 71.04!
                                                                                                                                                                                                   !                                     71.00:
                                                                                                                                                                                                                                                                                   _c=              .!
                                                                                                                                                                                                                                                                                               25.00!'
B4-U1&216             iRoBERTJWESrERMDPC                                                      196DNOGDENSTSTeseo                  !                       loeNwR.coso21s                                    333.ool   33100!             7L00i                                                262.00!
                                                                                                                                                                                                                                                                                         I
XX-XXXXXXX       lPARKVIEW PEDIATRICS PUC                                             346 TAYLOR RD                                                                      !HONEOYE FAUS, NY 1.4472                                    151.20]                110.74!                 70.74l     40.ool
3S-OBGSlS7       lsr JOSEPH REG MED CENTER se                                        ls21s HOLYCROSS PARKWAY                                                             IM1SHAWAKA.IN46S4S-t469                                    3,601.00!              3,60Lool                 10.101   3.530.30!
62-1n6681        iNOUotUC(EY MANAGEMENT SERVICES INC                                 1406 TUSCULUM BLVD, 1200A                                                           !GREENEVIW:, TN 37745                                       381.DOj                   95.ss!               7058!     121.99!

n~.396732        )DANIEL CRAVJOTTO JR, MD INC                                        5333HOWSTERAVESTEl35                                             loRTHCPEDIC        JSANTABARBARA, CA93111                                      100.001                   ,o.ss!               7D.56)          .I
XX-XXXXXXX      ...!GREATER GWIN Nm INTERNAL MEDI ONE ASSOC                          IPOBOX404435                      - - - - - - - - - i - - - - - < ' - ' A n A ~ " ' GA,~'°'=                                                                          (90.S71~
                                                                                                                                                                               ..' - - - - - - - - t - - - ~ 3 4 4 " . o o = i_ _ _ _23=S.=••'+'----"=t-----'="-'+------=8.:c24'-I
                                                                                                                                                                                                                                                7D.421                                               '
XX-XXXXXXX       !NORTH GEORGfA 08 GYN AS.SOCATES PC                               ····1119,s MoRR1s Ro STE D~-- ···                                                     ALPHARETTA. GA 30005-4444                                   180.ool                110.34;                 7034       40.00!    s.23

33-116B930 -~-:~J~KOTIC PATHOLO~ ASSOCIATES LLC                                       POBDX740209                                                    --!----·--------f!AccTLA=NT-"""-GA=303=7-'•-0-=2=0=--•-----+-----==oo:.;i _ _ _               10.1oi __,333.=6=2:!============================:8.2:o:
                                                                                                                                                                                                                                                                261.szl
2_~2806138       iMUDGILOERMATOLOGY PC                                                30FIFTHAVESUrTE1D                                               j                 ·rl-~_YO_R~K,~NY~t00~11_-B8_0_3_____-;----·~··=·oo=;.-i---~"~0~.oo+i- - = =10.ool
                                                                                                                                                                                                                                                   = 1 - - ~ =!10S.001!
                                                                                                                                                                                                                                                              ";-----~·~.19'-"-i
                                                                                                                                                                                                                                               1                                               25.00i
XX-XXXXXXX       iKEITH TURNER                                                        5015 CANYON CREST OR STE 201                                                       RIVERSIDE, CA 92507-6020                                      95.00                   95.00!               10.00I               8.19

XX-XXXXXXX       lsuoHIR M GOKHALE MD sc                                             1os22 s ca:ao AVE                                                    surre 202      !oAK lAWN, IL 60453                                           9s.ool                  95.oo!               10.ool     25.ool
XX-XXXXXXX       la-t1ROPRACT1C FAMILY WELLNESS LLC                                  !11673 MA1N ST                                                   /                  iRoscoe. IL. 61073                                          250.0o(                140.00~                 10.00!     10.00I
46--1045262      !iN2GREAT PEDIATRIC THERAPY SfRVICES                                275 WEST DUNDEE ROAD                                                                !euFFALO GROVE, IL60089-3704                                420.00[                420.ool                 10.ool   1300.0011
47•3304617       !JENNIFERBRADY,LCSWLLC                                              100MARmoR1VE                                                     tsuJTE16A          INEW1NGTON,cr0&111                            I             200.00!                   10.oof               10.00!     SD.oo!
s:s-onss87       ALVARO R GUTIERREZ                                                  2199 CHEAT RD                                                                       MORGANTOWN, WV 26508                                        llS.00;                11s.00!                 10.00!     45.oot
                                                                                                                                                                                            70.00:
                                                                                                                                                                  =·=oo';-'----~··=·oo=;-!--~4----;-
72•l.S31263,c_-FHE,,MA=U'-'Nl=T=HAK=KA-"'R'---------------------;~20~1~SD~EAN=~sr~u~•~ir~2_ _ _ _ _ _ _ _ _ _--t------i-sr~CHAR=LES,=~"=•01~74-'_1_"'7~-----t---~..                                                                                                                            ,s.ool
XX-XXXXXXX       PHYSIOANS IMMEDIATE MED                                             U75 HWY 54 W STE 201                                                                FAYETTEYIUE, GA30214-4538                                  1,168.82!              1,073.33!                69.92!   1,003.411

XX-XXXXXXX       NEl1Y VELASQUEZ MD PA                                               ;901) E 30TH ST SUITE 200                                                           AUSTIN, nt 78705                                            104.001                   69.92i               69.92!          J
36-389S533       METROPOLITAN ADVANCED RADIOLOGICAL                                  it362 PAY5PHER!: ORC.E                                                              OIICAGO, IL60674                                            288.00[                   87.04/               69.631     17.41!
                                                                                                                                                                                                                                                                                              277.45!
                                                                                                                                                                                                                                                                                    .....:
XX-XXXXXXX       !CENTRAL PAU EAR NOSE AND THROAT                                    i409 CENTRAL PARK DR                                                                /ARLINGTON. TX 76014-206S                                  1.530.00!               624.26f                 ••-•11
                                                                                                                                                                                                                                                                                                     ;
XX-XXXXXXX       !soUTHWEST DERMATOLOGY                                              15300 WEST AVE STE uo                                                               !oRLAND PARK. Tl. 60462                                    2,57s.oo!               209.481                           140.DDI    8.13

XX-XXXXXXX       JMOUNTAIN STATE EYE ASSOOATES P                                      PO BOX 15173                                                                       BELFAST, ME 04915                                           190.00i                109.46!                 ••.••!     40.ool
XX-XXXXXXX       iCAPITALINTERNALMEDIONE                                             j3955 PATIENT CARE DR                                            l                  LANSlNG,Ml48911                                             100.02:                   69.32;               69.32!      4.&Si
XX-XXXXXXX       iRDBERTMOOREMD
                                                                                     1POeox504931                                                                        lsrLOuJS,Mo63iso                                            iso.ooi                129.22;                 69.22!     eo.oo!
CJS.(J.567827    !GRACE MEDICAL CARE PtlC                                            /48 KENSlNGTON CRIClE                                                               NORTH HJUS, NY 11030                                        262.DO!                   69.D31               69.03!      3.1s!
XX-XXXXXXX       couNTYOF oAKIANo                                                    l1200 N TELEGRAPH 34E                                                               !PONTIAC. Ml 43341-0432                                       69.oo!                  69.ool               69.ool
62·1237S66       IMIDDLETENNESSEERADIOLOGYASSOOATESPC                                ]POBOX95S                                                                                                                                  . ,1"',3°'11".00:: .;.!_____
                                                                                                                             - - - - - - - - - " ' > - - - - - - - f i M..•CM=IN,:,NVl=ll=eE,~TN"'3"'7.=11=1-09=SS=-.._ _ __,__ _                                              ---==.---=
                                                                                                                                                                                                                                                             .::,69:,,.00::,_',·   69.oo! 1,049.Sll
4~1SD1909 •··•~··rcoMPREHENSIVE URGENT CARE LLC                                      jPO BOX 644836                                                   1.......           !P~URGH PA 15264-4836                                       460.0Dj                188.92;      68.92! 222.DOj'

                 !ST JOSEPH REGIONAL HEALTH NETWORK··----·---·-------- ..           l~'l BERNVILLE RD                                                 ·                  IREADlNG,.~~~'=9605=-------+----''""''-"0"'o.;..'                                               68.soi
                                                                                                                                                                                                                                                   ----'68"'s~2=0,-j_·--"=+---= .,•...;1
                 lcoLuMsus PEDIATRIC ASSOCIATES PC                                   1uoo 10TH AVE                                                    j~         100F    lcoLUMsus. GA 319D1                                         706.Doi                s11.03l                 68.77;    235.95!


                                                                                                                                                    EXHIBIT2

                                                                                                                                                          167
                                                      Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 191 of 266 PageID #:11287




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                                                                                                                  AEU INTERIM DISTRIBUTION


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                   IBEN ZJACOBS MD                                        1648 EAST 14TH STREET                                                                                                                                                                                    1
11•3467498                                                                                                                                                        ieROOK:LYN, NY 11229-1175                          84LOO!       328.lli                                 259.46
                                                                                                                                                                                                                                                                                .I.
                                                                                                                                                                                                                                                                                        8.03
14-17!35081       [ALLIANCE EMERGENCY SYSI'EMS lLC                       !Po BOX 14076                                                                            AlBANY, NV 12212-4076                              us.ool         68.54i                                              8.02
XX-XXXXXXX        1WESTERN MARYLAND OUTPATIENT OIAGNOSTICC               i12500 WILLOWBROOK RO                                      I                             jcuMBERlAND, MD 21502-1854                          99.94!        68.211                   &a.21i             -l      7.98
35--4523190       'IOALE R GRA.Y MO                                      ,2829 GLENWOOD AVE                                                                       !ROCKFORD, IL61101·3507                           m.oo,          281..20)                  68.00!       213.20!       7.96
5g.3175743 ·-     !RADIOLOGY ASSOOATES OF-TARPON
                ···1
                                                                         17183 66TH. srN                                                                          PINELLAS PARK. Fl:33781                             68.00i        68.00(                   68.00j'            -!      7.96
XX-XXXXXXX         !ORTHOPEDIC SURGEONS LTD                              13399 TRINDLE ROAD                                                                       !CAMP tDU. PA 17011-4413                           330.00'.     123.so!                    67.961         ss.54!      7.95
364094346 _        \LAKE COUNTY MEDICAL GROUP OR                         !1110 EAST BELVIDERE RD STE 202                                                          IGRAYSLAICE. IL6003O                               165.00;      107.84! '                  . ,... 1      <0.001       7.94
 XX-XXXXXXX --- \ALPHA EVE ASSOCIATES l l C                              13969 S COBB DRSE STE 105                                                                SMYRNA, GA 30080                                   225.~:       121.11!                    67.71i             .I      7.92
XX-XXXXXXX         /SHELDON PAUL HERSH MD                                {110-11 72ND AVENUEDlO                                                                   IFORESrHIUS, NY 1137$-9998                        610.00/       22s.o2 1                   67.56!       160.46/       7.90
XX-XXXXXXX        !JAMESJlAN CUI MD PHO                                   13620 38THAVl:SUITESH                                                                   !FLUSHING, NY 11354--4232                          180.00;      107.561                    67.S&i        40.ool       7.!lO
XX-XXXXXXX         lwnSCN KO, M.D.                                       )t3625 MAPLE AVE                                           ,202                          IRUSHING, NY l.1355                               36s.OOl         67.Sli                   67.51!'            -!      7.90
32-003S339        IMIGUELJAEN ALCORDO MD                                 it8210 LAGRANGE. RD SUITE 201                              I                             TINLEY PARK, ll60487-n25                !          :zss.ooi      tu.soi                    67.501       16LBEil       7.90
XX-XXXXXXX         iAPPLE MED URGENT CARE PC                              $04 GAAMATAN AVE                                          I                             lMOUNTVERNON, NY 10552-3009                       387.ooi       107.S6i                    67.561        .CO.OU'      7.90
XX-XXXXXXX        '
                  1BEADtURGENTCARE INC                                    9820 N ICINGS HWY                                                                       IMVKnE BEACH, SC 29572-4013                       146.001       117.29!                    67.29!        SD.DOI       7.87
                                                                                                                                                                                                                                                                                   I
XX-XXXXXXX         iMCRRIS AUDIOLOGY                                      P080Xffl                                                  I                             MORRtS, IL 60450                        I    .....__ 120.00!      84.0Dj                   67.201        16.80!       7.86
XX-XXXXXXX        !FRANCISCAN HEALTH MICHIGAN OTY                        j35640 EAGLE WAY                                                                         OIICAGO, IL 60678                      J        1,416.001      1,384.20;                   67.20\'     1.311.00!      7.86
XX-XXXXXXX         INCRn-1 SHORE EKGASSOOATE                              5927 SW 70TH ST 1439031                                                                 SOUTH MIAMI, Fl 33143-9998                        105.00)         84.ool                   67.201        16.aol       7.86
XX-XXXXXXX        1;,;,.,.DMEDIClNEPLLC                                  !210 E MAIN sr                                             !srn                          HUNTINGTON, NY 11743-2979                         325.01!       319_00!                    67.oo!       2Sa.01!       7.84
43-1899S13         iTARKIO FAMIL PRACTICE CENTER UC                       100 EAST CASS STREET                                                                    .ROCK PORT,MO 64482-1528                          155.oo!       130.83!                    67.ool        63.831       7.84
XX-XXXXXXX        1BOZEMAN     HEALTH DEACONESS                           POBOX.1348                                                                              BOZEMAN. MT 59715                                   67.oo!        &1.00!
                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                             61.00!             -!I     7.84

XX-XXXXXXX         iNEW MEXICO FOOT ANO ANKLE tNSTTTIJTE                 14343 PAN AMERICAN FWY NE                                  im2l4                         !A!BUQUERQUE, NM, sn07                            336.00;       336.00!                    67.00!       269.00!       7.84
27-109437S        jL& MPHVSIOAN AS.SOCIATES INC                          , PO BOK 41S8S8                                                                          180STON. MA, 02241                                352.00!       190.tsi                    66.911       123.241       7.83
                  I
4&-5355023        !ACTIVE MEDICAL UC                                      3890TEAYS VALLEY ROAO                                                                   !HURRICANE.~ 25526                                307.95!       214.97;                    66.74!       148..23!      7.81
                                                                                                                                                                                                                          !
XX-XXXXXXX         ~ENNIFER PENNCJYER, MD                                 47 JOLLEY ORtvE                                           i                             BLOCMFlflD, CT06002                               140.00!         66.63;                   ss.ul         25.ooi       7.8D
XX-XXXXXXX        !FP GILES eoxwoco                                       PO SOX 82675!:i                                                                         PHILADELPHIA. PA 19182                            148.00:         94.15(                   66.631        27.521       7.80
XX-XXXXXXX         lroR YOUR HEALTH WB.l.flESS                           1401 W ONTARIO. SUITE 220                                                                OIICAGO, IL 60654                       i         235.DO!         91.39j                   6639!         zs.oo!       7.77

XX-XXXXXXX         /LAURA MARIE VAN DUSEN MD                             i17385 W WOOD LANO DR                                                                    GRAYSt.AltE. IL 60030-3042                        780.00]       418.29t '                  66.0lj      (lSS.44)1      7.72
                                                                                                                                                                                                                          ;
XX-XXXXXXX        i~~VJN D KAAGES                                         702 E 34TI-t Sf STE 100                                                                 JOPUN, MO 64804-3900                              759.DOi       664.83!                    65,931       59ss0I        7.71

XX-XXXXXXX         iMAA.GARET KEARNS STANLEY MD                           8517104TH STREET                                                                        !RlotMOND HIU. NY 11418·1124                      350.00!       105.74' '                  65.74[        40.00i       7.69
                                                                         !
XX-XXXXXXX         IHEAATDISEASf SPEOALISTP A                            !97-42 VIA Vl:RGA ST                                                                     ILAJ<E WORTH, Fl 33467-6161                       199.95(         6S.491                   65.49:                     7.66
                                                                                                                                                                                                                                                                  I
XX-XXXXXXX        IVAU.EY5ICIN SPECAUSTS INC                             ,3708 S MAIN sr                                            SUITEG                        BLACKSBURG. VA 24060                              216.00'.      15S.18!                    65.18!        90.001'      7.63
XX-XXXXXXX         \MACKUANA MO                                           130 E 8TH ST STE JU                                                                     NEW YORK, NY 10003                                300.00'.        65.26!                   65.261             -i      7.63
                                                                                                                                                                                                                                                                   I
11·3023943         lAnR~i,-r ALLAN ROCHE-BARNETT MD                       581 MIDDLE ROAD                                                                         !BAYPORT, NY 11705-1916                            130.00:      105.09!                    65.09'        <0.ool       7.61
                                                                                                                                                                                                                           !
XX-XXXXXXX         !.ASSOc:1ATES IN FOOT                                 jz159 ROUTE 88 E                                                                         leR1oc, NJ 08724-3271                           1,390.IXJi     1,390.00[                   65.ooi      uss.oo!        7.60
XX-XXXXXXX         !NEW YORK SOCIETY FOR THE RELIEF OF                    POBOX29234                                                                              INew YORK. NY IOOB7-92l4                             ss.ool       65.00;                   65.ool            -1       7.60
1~2954103.        !THEODORE CHARLES fAILMEZGER MD                         314 WEST 14TH STREET 6TH FLOOR                                                          NEW YORK. NY 10014-5002                            iso.oo!        9o.ooj                   65.00i        25.oo!       7.60
XX-XXXXXXX         [HU0SON VAU£Y PERINATAL CONSULTING                    '
                                                                         !68 WEST CEDAR STR££J'                                     !m1                           i!.~UGHICEEPSIE, NY 12601-1300                  1,355.00;      1,010.00;..                 6S.001'      945.00!       7.60

XX-XXXXXXX
XX-XXXXXXX
                   !MEUSSA VENTIMIGLIA 00
                   lcoLLEEN A HAGEN MD
                                                                        ...J32W961HST_A?TA.
                                                                         i5201 WILLOW SPRINGS
                                                                                                                                                                  \NEW YORK, NY 10025

                                                                                                                                                                  I
                                                                                                                                                                  LA GRANGE, IL 60525-6537           ·--1           s2s.oo;

                                                                                                                                                                                                                     110.00 1
                                                                                                                                                                                                                                  110.00i
                                                                                                                                                                                                                                  110.00'.
                                                                                                                                                                                                                                                             65.ool

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                                                                                                                                                                                                                                                                                        7.60

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XX-XXXXXXX       !SHA1YES1-WAHUSH1NHARM0
                                                                                   ill~~~-=~~st·. :_. "'~
                                                                                       l6sBRDADWAY
                                                                                                                           AEU INlERIM DISlRIBUTION




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                                                                                                                                                                                                                                                          •s.ool      1.so
XX-XXXXXXX       iFTSANDERSOB-GYN GROUP PC                                              ]sa119TH srSTE S09                                             !KNOXVILLE. TN.37916                                 90.ooi      90.00!    ss.oo!                  zs.ool      1.60
XX-XXXXXXX       !ROBERT APPEL MD                                                       34 FOREST AVE                                                  iGLEN COVE, NY 11542                                240.00;     139.61:    64.61!                  75.oo!      7.56
XX-XXXXXXX       NEWYORKCORNEAPU.C                                                      UOBROOKSTREET                                                  !SCARSoALE.NYl0583-5136                !            650.oo!     295.SZi    64.591                 231.23!      756
os-214001a       IROBERTMIGNONE                                                         tlONEUNIONsrSTE206                                             IROBBINSVILLE.NJOB691-4219                j         200.ool     1z4_4sf    64.Asll                    .!       754
S8-1999625       1APPAlACHIAN SURGICAL PRACTICE PC                                      ;PO BOX 2627                                                   !BLAIRSVILLE, GA 30514-2627            i           200.00\      124.13!    64.13;                  so~!        750
,_13-_37_44_64_6_..,I_RICHA
                        __  RD_KA_RA_N~A~LIAN=M~•~•~c_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ JcEPTon6584                                                         \PALATINE. IL600Ss                        j        400.00j       64.oo!             .j
                                                                                                                                                                                                                                  64.oo+i----+---                     7.49

                                                                                                                                                                          =·"°cc;-'----=104=.oo=i!'---=64:::·=:""+'----"'==+----
1'2~0-084=7~7~•1~+c""~ox=cu~•~1c~c~o~••------·····--·-···-·--.. ---·--· ----------t!p~o~•~•~•~os~64~----------- --,-,----f'l•~eLfAST=~·~M~E~D4~•=1.S-!l=s64~-----f-i1---=...                                       486.401                                            7.49
 XX-XXXXXXX  /EN GUSH ROWS EYE CARE PC                                                 /3027 EN GUSH ROW AVE SUITT 209              iNAPERVlllE. ll 60564-5107      /    109.00i            109.00!    64.00        45.oo!                                            1A9
 UNKNOWN       NANCYJASTlEMD                                                            19900WCATAWBAAVESTEB                        !coRNEuus.Nc2so31-4032          l    554.oo!            554.00
                                                                                                                                                                                                   1
                                                                                                                                                                                                       64.00       490.oo!                                            7A9
 4&-3542582   iviRGINIABEATONFNP-FAMILYHEA                                             l12&2EJER10toTPKESTE1                        !HUNTINGTON,NYU743              !    2S1.ool             64.oo!    63.97         0.031                                            7.48
 XX-XXXXXXX   isountMIDDLESEXOProRTUNnYCO                                              13ooHowARDsr                    I            !FRAMINGHAM.MA01102-e313        I    14s.ool             ss.80!    63.80:       zs.oo!                                            7.46
7S-2993094       iDEVANGPATUDPM                                                         i48BMalnAve                                                        N0RWALK,CT06851·1080               !            ll0.00i      63.70\    63.70                       -I      7.45
XX-XXXXXXX       iTHEPODIATRYGROUPOFsou                                                l102PALOALTORD                                  isre133         !SANANTON10.TX1s211                    !           140,oof      103.62!    63.62                   40.ooi      7.44
XX-XXXXXXX _... ;!COUNTRY a.us MEDICAL cuN1c PC                                         PO sox 1590                                                    !SANTA TERESA.. NM asoos-1590          I            90.ooi       sa.59~    63.591                  25.001  '   7.44
XX-XXXXXXX -·· .. DERRIS WAYNE RAY MD                                                   309 WALNUT ST SUITED                                           IAMrre. LA 70422~2055                  I           115.00i      103.421    63.42                  40,00\       7.42

F0~6-=1008=7~00~-+'"~EW=EN=GLAN=•=-•=e=RM=,AccT.=0=LO~GY=ASSO=C~---- - - - - - - - - - i ~ ~ HARFTORDTURNPIICE                         i                   VERNON, CT06066                               1,010.00;     523.59!    63.19                 540.40!       7.39'

F2=-D-25=38=19S=---;!W=ILU=•=M:..:STREET==C::.:Hl::,:R0:::P.:;R:;:;ACTI=C.,_PC=---------------f1=00=-W"-l=WA=M:..:ST.:..STE==121=5~---------f----+"=EW.,_YO=•~
                                                                                                                                                            ..~•.,_Y1=003=6-S-=0=36"-------'f----=,1,,ps.oo!           445.ool    53.20,                381.801       7.39
XX-XXXXXXX       !ROGERSMEDICALLTD                                                     ;24D12wESTRENWICKRDUNrr141s                                         PLAINFIELD,IL60544                 I           160.00!       as.1a!    6l.18l                  ,s.oo!      7.39
XX-XXXXXXX       EZEQUIElMENDEZsc                                                       l◄121sAR0tERAve                                \                   0t1CAG0,1L60632                                200.00:      103.lS;    63.1s,                 40.00!       7.39
XX-XXXXXXX       OiESAPEAKE EAR Nose & THROAT                                          !soo INDEPENOeNCE PKWY sre 100                                  10iESPEAKE, VA 23320                   !           3ts.ool      182.811    63.061                119.81:       7.38
XX-XXXXXXX       SARAYS10010.u1Mo                                                      ipoeox415&62                                                    1BosroN.MA0224t•5662                   I           334.00!      250.sol    63.00                 ia1.sol       7.37
XX-XXXXXXX       ,QUAUiY LIFE HEALTII CARE UC                                           46 PRINCE ST                                   t SUITE   201   INEW HAVEN, CT 06519                   !           400.00   !    63.oo!    63.00                       .,  ;
                                                                                                                                                                                                                                                                      7.37
7S-3031688       s POUAKAUDIOLOG1CAL PC                                                !209 AVENUE Pm 2A                                               !BROOKLYN, NY, 11204                               zss.ool                                        40.ool

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                                                                                                                                                                                                                       102.98!    62..518!                            7.37
                                                                                                                                                                                                                                                                  1
F42:,.-0,c7c,43,c,B~90~-f•MccETRO==:PO=LltccAN=M=ED=,ICA=L=LA80=RA=TO=,RY=PL=C-----------~jPO=BO;cX~43=16~------------f-----1j·P.:AVENPDRT. IAS~316                                                      1,135.50!     270.491    62.9S:                 207.54       7.36
147-3364525      ICRtSTINABLUM                                                         issSFRONTSTREET                                                 1SANFRANClSCO,CA94U1                                90.00;       7B.29i    62.63j                  15.66:  '   7.33
XX-XXXXXXX       BARBARA M H15LER MD                                                    J1300 UNION TPICE                                  sre 303     /NEW HYDE PARK. NYlt040-17S9           I           11s.00l      101.s6!    62.56                   45.001      7.32
4:!:_~.!1!].54   DERMATOlOGY ASSOCIATES OF NEW YORK PLLC                               1
                                                                                        440 MAMARONECK AVE, SUITE 412                                      HARRISON, NY 10526-2416            i           300,00!      107.s&i    62.561                  45.001      7.32
47.3572738       TOBEOIIEBEDE                                                          !26COURTsr100s                                                      BROOKLYN,NY1U42•1110                           630.001      2fiS.OOi   62.56                 205.44!       7.32
XX-XXXXXXX       !DERMATOLOGY ASSOCIATES OF NORTHWEST                                   311 E 89TH AVE.                                                !MERRILLVILLE, IN 46410                I           413.90!      206.83!    62.51                 144.32!       7.31
84--1424766      ivAU.EYFAMILVMEDl□NEPC                                                iPoBOX16489                                                     !selfASr,MED49J.S.4059                 I           168.36\      102.41!    62.41                   40.ool      7.30
                                                                                                                                                       1
11•3540038       iNIRANJAN KMITTAL.PHYSJCIAN,PLLC
                                                                                       11404sTHAVENUE                                                      BR□OKLYN,Nv112og..2704             I           300.oo!       62.1sl    G2.1a                   31.631      727
XX-XXXXXXX       CENTRAL KENTUCKY RADIOLOGY                                             121850UTH BROADWAY SUITE 310                   f                   LEXINGTON, KY 40504                !           170.00!       77.721    62.17                   15.ssl      727
XX-XXXXXXX       COLUMBIA MEDICAL CENTER UMITED                                         19696GORDON DR                                                 IHIGHLAND,IN 46322·2909                I           225.00;       86.941    6L941                   25.00i      725
XX-XXXXXXX       )oCEAN STATE URGENT CARE CENTER                                        !77 FRANKUNST                                                  !WESTERLY. RI 02891-3177               l           110.00l      102.00!    62.ool                  40.00!      7.25
20..S220791, ·-·- ~ROCKDALE BLACKHAWK UC ... _····-·-····· _ _ _ _ _ _ _                jpo BOX 674240                                                 jCALlAS, TX 75267-4240                             3D3.00       101.761    61.76
                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                              __ ._   --=    =--
                                                                                                                                                                                                                                                        40.IJOi       7.23
Ss-6001998       ;uN1voFGEORG1AUHC                                                     !ssCARLTONST                                                    IATHENS,~•0002                         i           249.oo!      136.84:    61.84                       -!      7.23


::::: ::;~:;N0                   o ;CSIMAGINGANC._,...   -·-·-··•·-··•·-·-···---------!,;;::,:::::STE       A                                          [~p::NJ,.",';;                      .J,..     ---:-::-::-;-----:-:-:-c:--~:~~:~:--~=+---           15.40i
                                                                                                                                                                                                                                                          15.40,  '
                                                                                                                                                                                                                                                                      721
                                                                                                                                                                                                                                                                      721


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                                                                                                                                                                                                                                                                   100.371   '                         7.19
                                                                                                                                                                                                                                                                   164.311                             7.16
XX-XXXXXXX        VAXCARE CORPORATION                                                                                                                                           ORLANDO, A. 32803                11&.ooi                              61.001                                           7.14
16-670055S        NADIA DIAZ                                                          j6763 ALDERTON ST                                                                     ]REGO PARK',NY123749998              200.DO   '       86.ooi              &1.00[       . .~.:..~1                          7.14
XX-XXXXXXX        PRlf.lCETON REMINGTON_ EYE INSTITUTE INC                            !601 EWING ST C-15                                                                    jPRINCETON. NJ 08540                358.00j         150.80;               60.901         29.901                            7.12
XX-XXXXXXX     fPRINCETON DERMATOLOGY                                                     208 BUNN DRlVE                                                                    IPRINCETON, NJ 08540-2851            360.00;         120.9Di              60.90,1        60.00                             7.12
                                                                                                                                                                            1
                                                                                                                                                                                                                          !
11-256S839     ieRBER WIWAM F                                                             S91 OCEAN PARKWAY                                                                     SROOICLYN, NV 11218-5913       1,125.00,        583.ssi               60.74!       522.84!                             7.11
XX-XXXXXXX        HENRY G ADKINS MD PSC                                               ,POBOX517                                                                             !GRAYSON n 41143-0517                1&0.00]        130.601               60.&0!         10.ooi                            7.09
20.2979207     /ANNA MILSTEIN, MD                                                     iln77 VENTURA BLVD srE 200                                       f                    iENCNO, CA 91316                    2&s.ooi         1ss.sol               GO.SO       (125~01
                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                       7.08
XX-XXXXXXX     lDERMATOLOGY & SKIN CANCERSPECJAUSTS LLC
                                                                                      I
                                                                                      JPO BOX 803317                                                                        IKANSAS trrv, MO 64180-3317         125.001         120.37(               60.37j        60.00!                             7.06
XX-XXXXXXX        MENOMONEE FAUS AMBULATORY SURGERY CENTI:                            !Wl80NS04S TOWN HAU. RD                                                               [MENOMONEE FAl.LS, WI 53051-3518   2,377.00(          75.21!              60.221                                           7.05
XX-XXXXXXX        MACUlACARE PUC                                                      !s2E72NOST                                                                            NEW 'f'ORK, NY 10021               1.ns.ooi        1.135.ooi              60.19!      1,074.81                             7.04
XX-XXXXXXX     [KEW GARDENS FAMILY PHYSIOANS UP                                           11940 METROPOLITAN AVE                                       1srEE1               iJCEW GARDENS, NY 11415-2623        150.oo!         100.11!               60.111         40.00                             7.03
XX-XXXXXXX     .INTI:GRIS CARDIOVASCUlAR PHVSI
               I
                                                                                          PO BOX 960430                                                                     ]OKLAHOMA QTY, OK 73196             245.93:   '     145.91!               60.07         85.841                            7.03
                                                                                                                                                                                                                                       I
XX-XXXXXXX      JANUAN MEDICAL GROUP LlC                                              1833 58TH STREET                                                                      BROOll.'t'N, NY 11220-3609          768.00           60.001               so.oo[        11.s1!                            7.02
XX-XXXXXXX        ALVIN E FIUEDMAN-KIEN MD                                            j530 ARST AVENUE5UITE 17C                                                             NEW YORK, NY 10016-6497             250.00i         100.00!                             40.00!                             7.02
20--2377356       SOUIB SHORE MEDICAL CARE PC                                         ll6VANCOTTROSTE2E                                                                     Of:ER PARK_ NY 11729-9998           310.DOj         100.00!                             40.00!                            7.02
20--4768243    ,MJNUTEQJNIC OIAGNOSTIC OF TEX                                             POBOX8447                                                                         leeu:AST, ME 04915-8447             129.00!          ss.ool                             ,s.ool                            7.02
XX-XXXXXXX    IROBERT A PROVENCHER DO                                                 fa.96 KINGS HIGHWAY                                                                   lotLARKSBORO, NJ 08D20-l.3l5        100.00!         100.00!                             40.00i                            7.02
                                                                                                                                                                                                                                        I
XX-XXXXXXX     ;NORTHERN WESTOIESTER OPHTALMOlOGY PC                                  11940 COMMERCE ST                                                                     !YORKTOWN HEIGHTS, NY 10598-4428     1s.ool          75.00!                              is.oo!                           7.02
XX-XXXXXXX     !USACOlllNS                                                                5610LENOXRD                                                                       :LISLE. 11..605322352               tsc.oo!           60.001'                                 -1                          7.02
XX-XXXXXXX     'COASTAL MEDICAL AND COSMETIC                                              9850 GENESEE AVENUE SUITE 8SO                                                     LAJOUA,.CA92037-1233                100.00!         100.00!                                                               7.02
XX-XXXXXXX        BELi.ADON NA MEDICAL PC                                                 6410 VETERANS AVE                                                                IBROOKlYN, NY 11234-5605             4so.ool          so.oo!               60.00                                           7.02
XX-XXXXXXX        RURAL HEALTH INC                                                        PO BOX 13201                                                                     !0ELFAST, ME 04915                   220.00!         110.001                                                               7.02
 6-0951268    i~N COURSE PS'tCHOlDGICAL COUNSELING                                    !!~    N VIUAGE AVE                                               STIS200             ROCKVILLE CENTRE, N't 11570-3701    650.00l
                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                110.ooi                                                               7.02
XX-XXXXXXX                                                                            13805   COMPUTER DR                                                                  ]RALEIGH,NC276Q9.65o3                373.00t         223.BOi               59.80!                                          7.00
20-2S34462                                                                            3303 GlYNN AVE                                                                        BRUNSWICK, GA 31520                 190.00[         119.70i               59.70!                                          6.98
SS-07SD221                                                                            707 OIESTNUT"sr                                                                       O"IARLESTON, WV 25309-2003          397.00[         253.49)               59.64!                                          6.98
XX-XXXXXXX                                                                                POBOX:1025
                                                                                                                                                       '                    tARUNGTON HEIGHTS, ll 60006-1025    285.00J          59.50! '             5950                                            6.96
                                                                                                                                                                                                                       I··--
XX-XXXXXXX        GEORGIA SKIN SPEO                                                       1800 HOWELL. MILL RD                                          lsns6so             ATtANTA. GA 30318                  1,600.00!        824.77!               59.52                                            6.96
                                                                                                                                                                                                                          ;
XX-XXXXXXX     ISEASIDE DERMATOLOGY PA                                                    654 BELLAMY AVE#691                                                               MURREUS INLET, SC 29576             210.66!         104.25:               59.25                                            6.93
                                                                                      I
XX-XXXXXXX     'lMID AMERICA CUNICAL LABORATORIES LLC                                 'fi714 REUABI.E PARMA\'                                                               OUCAGO, ll 60686                    364.lOi         338.ss!               S9.15                                            6.92
XX-XXXXXXX        ElA HEALTH INC                                                      14933 W 95TH ST                                                                       !OAKlAWN, IL60453                   180.00           s9.osl               59.o5!                                          6.91
                                                                                                                                                                                                                                      !
XX-XXXXXXX     :RAYPAR!NC                                                             h240 S FLORIDA AVE STE 105                                                            !LAKELAND, FL33803                  228.22;         119.DO;               59.00         oo.ooi                            6.90
22·3533802     iGREG RUBINSTEIN                                                       !s11 GRANGE RD
                                                                                                                                                                           ,lTEANECIC, NJ 07666--9998           350.DO!         103.93! '             53.93[        45.ool                            6.89

~1~593
XX-XXXXXXX
              !THOMAS R RIOf
              I
              !KRISHNA V R SUNKUREDDI
                                                  -···-···-· -----·--·--..------ -·   1215 MONMOUnt RD
                                                                                      ;1406STONEHOLLOW_~~-
                                                                                                                                                                           ;aAKHURST, NJ onss
                                                                                                                                                                           !
                                                                                                                                                                           !KINGWOOD, 1X 77339-2295
                                                                                                                                                                                                                12~~1
                                                                                                                                                                                                                soo.oo:
                                                                                                                                                                                                                                103.78!               58.781---
                                                                                                                                                                                                                                                      58.83
                                                                                                                                                                                                                                                                    45.00i
                                                                                                                                                                                                                                                                   400.0o!
                                                                                                                                                                                                                                                                                                      6.88
                                                                                                                                                                                                                                                                                                      6.88
                                                                                                                  ·········-··•·----·-··-·--··-                                                                                 208.831------··-·--
XX-XXXXXXX    luuA. ·RADULOVIC                                                        !1~~- WEST END AVE STE lE                                            ..... ---------·-··JNEW_YORK,, NY 10023              290.ool         128.6!?:              ss.sgl        70.00~                            6.87
47-398!?918   'lStGNATUREPSYCHIATRY ASSOOATES                                         lPo sox 16312                                                                        leeLFAST. ME 04915-4058              106.01!          98.5!i               5&591         40.011                            6.85


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XX-XXXXXXX     AWANCE FAMILY CARE u.c                                hns ACCESS RD                                     SUITTC      !COV1NGTON. GA 30014-1987                l30.Q4:           118.43)            53.43j          60.04i    6.84
              1
XX-XXXXXXX     WOMANS HEALTH GROUP PU.C                              I PO BOX 405477                                               IATLANTA, GA 30384-S477             I    139.00l            ss.22!            58.221              -1    6.81
XX-XXXXXXX    IGENETICS CENTER                                       [211 S MAIN STREET                                surree      !oRANGE, CA92858                         250.00!            33.21/            ss.211          25.00!    6.81
~2849701      IWIWAMSON HEALTH AND WELLNESS                           POBOX2080                                       i            IWIWAMSON. WV 25661                      148.00:           138.12!            sa.12!          so.ooi    6.8D

                                                                                                                                                                                                                 ss.ool        --~.:~I
XX-XXXXXXX
SS-1111447
              ;MARY C Ol5ZEWS1CI DPM
              !HAILEY BRODY CASEY & WRAY MD PC
                                                                     ; 1804 N ARLINGTON HEIGHTS RD

                                                                      U18 W PAas FERRY RD NW STE 200
                                                                                                                                   lARUNGTON HEIGHTS, ll 6000C-3910
                                                                                                                                                                      -!    118.00•
                                                                                                                                                                            221.ool
                                                                                                                                                                                              11!,DDI
                                                                                                                                                                                                                 sao2i          148.ool
                                                                                                                                                                                                                                           6.79


XX-XXXXXXX
              ;
              jD!AG~~ IMAGING AWANCE OF LOUISVILLE PSC               !PO BOX 950121
                                                                                                                                   rTLANTA. GA.~0327-2308
                                                                                                                                   LOUISVILLE. KY 40295
                                                                                                                                                                       i     SB.DO!
                                                                                                                                                                                              206.02!

                                                                                                                                                                                               58.0D:            5s.ool              -1
                                                                                                                                                                                                                                           6.79
                                                                                                                                                                                                                                           6.79
XX-XXXXXXX    jBU~JNGHAM PRIMARY 1-{fALTH                             2325 HERITAGE CENTER DR                         'lSTE200     !RJRl.ONG, PA 1B925                      801.00!           11s.001 ________ 58.00'           262.ool    6.79
22-196569S    ..IAVeNEL !SELIN MEDICAL GRP                            400 GILL I.AN£                                   ST'Et       itSEUN, Nl08830-3059
                                                                                                                                                                      -,    JgQ.OOt'           82.74!            57.74/          25.00/    6.76
XX-XXXXXXX    !MODERN MEDICAL PUC                                     2044 OCEAN AVE. STE A6                                       '
                                                                                                                                   !BROOKLYN, NY 11230                 I    39D.OO,            82.S0i            s1.s0l         195.74!    Ei.73
XX-XXXXXXX    iMIDWESTSPORTSMEOIONE &ORTHOPAEDICSURGICALSPECIAUSTS   !POBOX807                                                     iBJC GROVE VIUAGE, IL60009-0807     i    607.001           249.21!            57.47 1'       10uol      6.72
XX-XXXXXXX    iMEDEXPRESS URGENT CARE PC                              PO BOX 13706                                                 :BELFAST, ME04915-4028              i    210.ooi           117.371            57371           60.oo!    6.71
XX-XXXXXXX    !TRENTON ORTHOPEDIC GROUP PA                            POBOX16112                                                   ]BELFAST, ME 04915                       saL66I            157.26i            57.261         689.74 1   6.7D
XX-XXXXXXX    IANOR£W LOEWY MO                                       !4760 E GALBRAITH RD                                          loNONNATI, OH 45236                 I    257.00!           137.31)            57311           ao.oo!    6.70
XX-XXXXXXX    !FORT PIERO: ORTHOPAEDIO:i LLC                         IPO BOX 277188                                                lATIANTA. GA 30384-7188             !    667.00[           466.90!            56.90!'        410.oof    6.66
XX-XXXXXXX    !VJNCENT RAJ=:ER BENIG MD                              !1144W Jm:ERSON STSTE200                                      ]SHREWD OD, IL 60404-1700
                                                                                                                                   I
                                                                                                                                                                       I    sso.oo!            421.89!           56.9.r         364.931    6.66
XX-XXXXXXX    !GRABOWSKI SURGICAL ASSOOATESS                          800 BIESTERFIEW ROAD 3004                                    iEUC GROVE VIUAGE, IL60007          I    250.00!
                                                                                                                                                                                       -·· -· ·-·t16.43l
                                                                                                                                                                                                   _.. r--   -- 56.43]___ __     60.ool    6.60
                                                                                                                                                                                                                                      I
XX-XXXXXXX    !MOUNTKISCOFOOTSPECAUSTSPLLC                            359 EAST MAIN STREET                             SUITE2D     jMOUNTKJSCO, NY 10549-3035          I    550.06:           330.15'            S6311          273.84t    6.59
XX-XXXXXXX    lsTH AVENUE POotATRY Pc                                 3G WEST 441l-l STREETSTE401                                  INEW YORK. NY 10031>81D7            I    650.00i'          565.77!            56.311         509.46:    6.59
46-0G39327    IIOENffiY MEDICAL GROUP INC                             751 E DAILY OR STE UO                                        ICAMARILLO, CA 93010-6004           !    424.75;           3S3.79t            S6.24i         297.951    658
XX-XXXXXXX    IDERMATOLOGYOFATHENS                                    2000 PRINCE AVE                                              !ATHENS, GA 30G06-G022              I    731.00!           542.os!            S6.22i         485.831    6.58
XX-XXXXXXX    ~EFFREYWEISS MO                                         44ROUTE23 N                                                  lruvmoAI.E, NJ 014s1-1GD3           I    144.00!            96.00l '          s&.oo!          ss.ool    6.SS
2&-1356310    lsr MARYSMEDICALGRP                                     PO BOX 13059                                                 !earAST, ME 04915-4021              I     56.00 1           s&.ooi            56.0Di              .,    6.55
26--3694174   lsr DOMINIC MEDICALASSOOATES LlC                        PO BOX23666                                                  '!JACKSON, MS 39225-3666                 44s.oo!                 '
                                                                                                                                                                                              445.00 1           56.00I         389.DD!    6.55

XX-XXXXXXX    jJOHN   TCARROlLM D                                    ·!PO SOX 219/]!J FORfSTCT                                     losweGo. rL 60543-0219
                                                                                                                                   ;
                                                                                                                                                                            160.00]            96.oo!            56.001          40.ool    6.SS
                                                                                                                                                                                                                                      !
XX-XXXXXXX    !ROBERT PATRIGNEW MO                                   1170iUROiHlllRD                                               !TRUMBALL, CT06611-4S66                  860.oo;           542.11!            56.0Di         486.lli    6.55
              I
XX-XXXXXXX    !KERN RADIOLOGY MEDICAi.GROUP INC                      !2301BAHAMASOR                                                !BAJCERSFJEW, CA 93309-0663         I     10.00\            70.00!            ss.oo!          14.ooi    6.55
XX-XXXXXXX    lsu• crrv roor CARE                                     3320 NORnt BUFFALO DR                                        ILAS VEGAS, NV 89129                I    363.00:'          183.241            55.97!         121.211    6.55
!~1911857     I~LlOfART CJNIC Ll.C                                    410PARKPLACESTEA                                             !MISHAWAKA, IN 4654S-3S57           I    151.00!            55.93!            55.93:              -1    6.54
XX-XXXXXXX    !PEAK PERFORMANCE PHYSICAL TIIERAPY'                    3750 OACORO LN SUITE 130                                     I = ROCK, C08D1D9                   !'   17S.OO•'           69.92i            55.94!          13.981    6.54
XX-XXXXXXX    !JERSEY SHORE GASTROENTEROLOGY ASSOOATES PA             408 BEJ'HEL RO                                  !sre E·l     lsoMERS POINT, NJ 08244-2191        !    125.00!           115.48{            55.48!          60.oo!    6A9
ZD-8372444    !suwvAN PHYSICAL THERAPY                                12411 HYMEADOW DR                                STE3B       !AUSTIN, TX 78750                   !     90.00:            55.35)            55.35!              .I    6.48
XX-XXXXXXX    !EVERGREEN COUNSELING S£RVJCES                         ls2 PALOMINO LN m 102                                         lsEOFORD, NH,03110                       780.00;           315.00!'           5s.ool         26D.DD1    6.43
              I
XX-XXXXXXX    iANOREWTiiOMAS MECCA MC                                1s6U WHITESVIUf RO                                            lcowMeuS. GA 31904-9031             I    820.00]           szs.oo!            5s.oof               '
                                                                                                                                                                                                                                473.00;    6A3
              1
11-3121.995    ALVJN lfB                                             12985 QUENTIN RD                                              !BROOKl.YN, NY 11229-9998                100.01,           100.00!            5s.ool          45.01[    6.43

XX-XXXXXXX    [ALLERGY & ASTHMA 5PEOALISTS                           !s2 E AUfNOALE ROAD                              /m1A         fSAODLE RIVER, NJ 07458-3057             425.ooi           143.471            55.DDI '       311.01!    6.43

XX-XXXXXXX    i;~·~RT CESPOSITO DPM                                  l310AKSi'REETSUITE8                              !            lPATOiCIGUE. NY 11772-2887               200.ooL-·-··      100.00)            55.ool          45.0DJ    6.43
30-008986S    1KARANDE ANO ASSOCIATES SC                             !isss BARRIN~~~DG 2 sum: 406                                  !HOFFMAN ESTATES IL,. 60169-5020         100.00\           100.00;            ss.~l           45.ool    6A3
XX-XXXXXXX    jMARV GAIL KWIECINSKI                                  hG4t N MILWAUKEE AVE                                          IUBERTYVILLE. IL60048-1350               115.00;           1is.oo!            5s.ooi          60.ool    6.43


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                                                                                                                                         AEU INTERIM DISTRIBUTION




XX-XXXXXXX                                                                                       131 KEROiEVAL STE 390                                                                           so.ooi                                                 25.001     6.43
XX-XXXXXXX                                                                                       P.O. BOX3S4                                                                                    200.ooi         ao.ooi           55.00:                 25.00[     6.43
                                                                                                                                                                                                      I
42•1697201      DERMATOLOGY OF LOWER MANHATTAN      ------··-- _,_...._---                       ~!.!.ROADWAY                                      isulTE3DOS                                   100.00j       100.ool            ss.oor                 4s.ool     6.43
XX-XXXXXXX                                                                                       !PO BOX 741827                                                                                 115.00:         ss.ool           55.00                             6A3

 6--2899482                                                                                      1290 BIG RUN ROAD                                                                               ss.oo1         ss.oo!           ss.oo,                            6.43
 7-3508626                                                                                       !111 RURAL ACRES DRIVE                                                                         189.131         97.39l           54.93[                 42.46      6A3
XX-XXXXXXX                                                                                       1n MIDDLETOWN RD SUITE 1                                                                        so.oo;·       so.oo;            S5.001                 25.00      6.43
XX-XXXXXXX                                                                                       1190SCUNT MOORE RD STE 214                                                                     145.0D'.      14s.ool            ss.oo!                 90.ool     6.43

65--1088591                                                                                      !us W INDIANTOWN ROAD STE 104                                  JUPITEll,Fl33458                26s.oo!        ss.oo!            55.00,                       -i   6.43
XX-XXXXXXX                                                                                       h434 LOUIS PASTEUR DR                                           SAN ANTONIO, TX 78229          100.00!       100.00!            55.00                             6A3
                                                                                                                                                                I                                                                     I
XX-XXXXXXX                                                                                       PO BOX879                                                      !BURLESON, lX 76097-0879        400.00!       400.00\            55.00[               345.00,      6.43
84-070678g      ADVANCED MEDICAL IMAGING CONSULTANT                                              PO BOX 270580                                                  !FORT COWNS, CO 80527           157.00 1        ss.ooi           55.00I                       -1   6A3
                                                                                                                                                                                                         I
~1-1497377                                                                                       13400SQUAUCUM PICW'i                                           BEWN~,WA9822S                   100.00        100.00!         ... ss.oo ·······-····-·-·· 45.ool   6A3
XX-XXXXXXX                                                                                       jl508RT88SUITE1l7                                                BRICK, NJ 08724•3044         150.0Dj          S4.SG!                                             6.42
                                                                                                                                                                                                                          . -------54.86 --------

                                                                                                -!::~:CE:::,:28
                                                                                                                                                                I
XX-XXXXXXX     1DERMATOLOGY CONSULTANTS OF NORTHERN JERSEY LLC                                                                                                  !MORRISTOWN. NJ 07960-6348      10s.oo:         99,84.i            54.84          45.00            6.42
               I
XX-XXXXXXX     ! RMERA PEDIATRIC MEDICAL CENTER                                                                                                                 !INDIANAPOUS, lt,i 46254       533.00!        288.46!            54.s1l               23,ssl       6.38

51-0\16234     IM[TOIElt F BANKS MD                                                              555 BROADHOllOW ROAD SUITE 107                                 !MELVILLE, NY 11747             210.00!       144.201            54.20;                 so.oo!     6.34

XX-XXXXXXX     '
               !COWMBJA PRIMARY CARf LLC                                                         1PO BOX 277353                                                 jA'Jl.ANTA. GA 30384            153.00;  '     79.14
                                                                                                                                                                                                                     1                                  25.00j     633

02.Q682371      THE: VASCUlAR GROUP PUC                                                          !POBOX2S                                                       !ALBANY, HY 12201-0025          190.00!         54.ool           54.00                             6.32
XX-XXXXXXX      DHARMVIRVERMAMD                                                                  '616 SHIGHWAY 31 SUITE B                                       ,MoreNRY, IL 60050-S269        297.00!          99.ooi           54.00
                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                      243.00!      6.32

XX-XXXXXXX      GEORGE MORRtS DDS                                                                2158W183RDST                                                   jHOMEWOOD, ll 6043D-9998      3,D!lo.ooi     3,090.00:           54.00              3,036.00'      6.32

39-141S029     !EYE CENTERS OF RACINE ANO KENOSHA                                                ipe BOX684026                                                  QJIGAGO, ll 60695               154.ool       129.00i            54,ool                 75.00      6.32

XX-XXXXXXX      THE DOCTORS INN MEDICAL CrR                                                      hnw::esr                                                       RAMSFf, NJ 07446-2089          110.00\         78.74!            53.74-                 25.00      6.29

XX-XXXXXXX      TONYTHUANG MD                                                                    40 W PALISADE AVE STE 208                                      jENGLEWOOD, NJ 07631            115.00!         78.741           53.74                  25.00      6.29
~~3186         !MED FIRST IMMEDIATE CARE AND FAMU.Y                                              ,POBOX8728                                                     ,BEi.FAST, ME0491.S-B728        iss.ss!       103.671            53.67'                 50.00.     6.28

XX-XXXXXXX      NORTHSHORE SLEEP M~'?~IHE SC                                                     j34SlCHUROIST                                                  EVANSTON, IL 60203-1621         200.00!       173.42; '          53A2!                120.00;      6.25

XX-XXXXXXX      RITA N OGANWU MD                                                                 19550 GOVERNORS HWY STE .35CO                                  lROSSMOOR, IL60422-2147         120.00:         93.42j           S3.42,                 40.oo!     6.25

XX-XXXXXXX      PEOJAiRIC NEUROLOGY ASSOC                                                        ':s875 BREMO RO                                   lma10        RIOIMOND. VA. 23226             200.ool       153381             5338                   60.00i     6.24

XX-XXXXXXX      ANEW MEDlCAL. ltC                                                                 193 ROUTE 9 SOUTH, sum: 10                                    ENGUSHTOWN, NJ 07726            100.00!         53.22!'          53.22                             6.23
                                                                                                 I
XX-XXXXXXX     !PHYSICIAN PRIMECARE INC                                                          12911S NEW BRAUNFELS AVE                                       SAN ANTONIO, TX 78210           101.00;         77.941           52.94!                 25.oo!     6.l.9
XX-XXXXXXX
               I
               ISUGARlAICES FAMILY PRACTICE                                                      ll6902SOUTHWESTFREEWAY                            !sre 100     SUGAR LAND, lX 77479-3574       13s.ool         52.871           52871                        -i   6.19
27-3136n3      !JEFFREY P l.AICE MD INC                                                          h6311 VENTURA BOULEVARD SUITE sos                 i            iENCNO.CA.91436-4309            310.ooi       220.osl            s2.soi               167.56!      6.14
               I
XX-XXXXXXX

XX-XXXXXXX
               !OPHTHALMOLOGY ASSOCIATES OF

               ]KENNETH BRAD MANDELL
                                                                                               --.--
                                                                                                 1414 NAVARRO ST
                                                                                                 f
                                                                                                 15300 JOG ROAD SUITE 2C2
                                                                                                                                                   1sre400      1SAN ANTONIO, lX 78205

                                                                                                                                                                loELRAYBEAOI. FL33446-1234
                                                                                                                                                                                                150.00:
                                                                                                                                                                                                300.ooi
                                                                                                                                                                                                                97.50:           52.50\

                                                                                                                                                                                                                6SA9 :-- ___ ,____ ,_S239t-- _
                                                                                                                                                                                                                                                        45.ool
                                                                                                                                                                                                                                                        u.1oi
                                                                                                                                                                                                                                                                   6.14
                                                                                                                                                                                                                                                                   6.13
                                                                                                                                                                I
XX-XXXXXXX     isourn COUNTY FOOT & ANKLE INC                                                    hos1 WARWICK AVE                                  !uNJTl       JWARW~-~~P.2888-354S            49s.so:       15852'             5202,                106.SD!      6.09

36--2685449 -- ---+~£>DlATRY ASSOCIATES LTD
                                                      --·-------·---·---·-----·----·--------
                                                                                                 !25 E WASHINGTON sr                               [srn01       IClilCAGO, ·~ 60602             19O.00j       t42osl             S2081                  90.oo!     6.09
15--2609642    iPmR BASIL HllARIS DPM                                                            ls1 SUMMIT AVE.                                                'HACXENSAOC, NJ 07601-1.262     42S.OOi       212.ooi            52.ool               160.oo!      6.08


                                                                                                                                                 EXHIBIT2

                                                                                                                                                       1n




                                                                                                                                     .   -·-·-·-·--·-----------------------------------------------------
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 196 of 266 PageID #:11292




                                                                                                                              AEU INTERIM DISTRIBUTION


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                                                                                                                                                                            e   '"'"'"


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27..(]Q85539   iMERICHAN EKG GROUP                                                  ]PO BOX 416787                                                          leoSTON, MD 02241-67B7                              325.ool
XX-XXXXXXX         PREMIER WOMENS HEALTH ASSOOATES SC                               1t710 N RANDALL RD srE 360                                              jELGIN. IL SOl.23-9406                              130.00:              76.99!         sL99               25.ool              s.0e
04185781           SJR MEOICALP C                                                   lPO
                                                        - - - - - - - - - - - c ~ ~ 7 " " " - - -BOX998
                                                                                                 ----------t------,li'v"oNtcERS,NYl0703-099B                                                                    24s.oo!              96.92!         s1.92;             45.ooj              6.07
~-3171583      lotARLESMOREW DPM                                                    J910 E BOS'l'oN POST RO                                l                !~MARONECK, NY 105434109                            220.ool              96.soi         sLso!              45.ool              6.06
57-1034S55     ISHILAND FAMILY MEDICINE
                                                          - - - - - - - - - + =iPO=
                                                                                  BOX=  =--------------+----
                                                                                     602120                                                                 !FCH"'A""R=r.om='-'·""c"'2S2=•0'-_ _ _ _ _ _ _ _ _ _19_a_.oo~l_ _ _ _5_1._78_,;_ _~5L~7~a,[ ···-··-···-·   ss.79i-j-------'•~·"""'•
9S.2631536     lsr JUDE RADIOLOGY MEDICAL GROUP INC                                 l.~9 BOX940                      --------+-----~••_ew_au_RYPARX.CA91319                                                     1s2.00I              64.601         5L68[              12.92)              6.as
XX-XXXXXXX     \PSI PREMIER SPECIALTIES I                                           !Po BOX 27113                                                           !SALTLAICECITY, UT84127                              ~.:!~c..j----=51=.Sc.7;-i_ __,5:,:1.57::,+l_ _ _ __,__ _ _ _---'6.=D::..i3
11:3194883         NOAM GLASER MD                                                   )737 BROADWAY SUITE B4                                 I                J;_,ASSAPEQUA. NY 11758-2348                        360.oo!             216.00\         51.00 1        165.001                 s.!17
                                                                                          =====-------·--""+
XX-XXXXXXX     )LENOX Hill PATHOLOGY PC                                             !too EAST77THSTREET                                                     lNEWYORK. NY 1D075-185D                             39D.OD!              63.83\         Sl.061             12.77               5.97
XX-XXXXXXX         JOSEPH BENCO                                                     j4125 MEDINA RD                                                         !AKRON, CH 44333                                    130.00!              76.ao;         sLOO!              25.001              5.97
XX-XXXXXXX     !JCS£ F£RNANCtOZAVAl.£TA. MO PA                                      in37SWFWYSTE415                                                         !HcusroN, TN77D74-180D                              1is.03!              sc.79;         so.79!             86.ssl             s.94
XX-XXXXXXX     !oRCHRJSTOPHERJ MOSHOURES                                            !4830MAINST                                                             jSHAUOTTE, NC 28470                                  79.00!              63.20:         50.56!             12.64!              5.92

XX-XXXXXXX     IJAMESJ GLAZIER MD PC                                                \4160 JOHN R ST                                         srES25          lcETRorr. Ml 48201-2022                             400.001              so.s31         so.s3I                 -i              5.91
XX-XXXXXXX     iONOY FRANCYN HOFFMAN DO                                             !& AMAlA ORNE                                          !               lcoRTLANDT MANOR. NY 10567-7014                      150.oo!              95.37J         50.31!             4s.00,             s.89
XX-XXXXXXX         COLQ.UITT REGIONAL. CARDIOLOGY UC                                !us 31ST AVE SE                                                        IM□ULTRIE,GA31768                                    531.00!              so.36i         so.36          169.301                 s.89
                                                                                    I
XX-XXXXXXX     !MONTGOMERY SURGERY ASSOC                                            [8010AVISSTSTE1                                        i               let.ACKBURG, VA 24060                                729.ool             389.01!         so.24i         338.77                 s.BB
XX-XXXXXXX
               I
               (MICHAEL LGOLDABER MD                                                j65WALNUTSTSUITES2D                                                     !WEI.LESLEY, MA 02481•2191                        1.405.00!             526.86:         50.201                Ii -----5-.B-7-i
                                                                                                                                                                                                                                                                   476.66 ...

XX-XXXXXXX         SEAN B MCGUINNESS DPM                                            \212 HIGBIE LN                                                          iFARMINGVILLE, NY 11738-2807                        120.00;              95.17!         50.17              45.ool              5.87

XX-XXXXXXX         BLUE ISLAND CUNICCOMPANY UC                                      '
                                                                                    jPOBOX783S                                                              !eeLFAST, ME 0491.5-7800                            359.oo!             1&1.ss!         50.10!         111.48)                S.86
XX-XXXXXXX     ;KIM P ROBBINS MD                                                    !1 SASCD HIU.ROADSUITE202                                               !FAIRAELD, CT06824                                  270.ooi             162.Co!         SO.DD          112.00!                 5.85
11-309SB75     !LONG ISLAND SPlNE SPEOAUSTS PC                                      !763 LARKFIELD RD 2ND FL                                               lcoMMACK. NY 111~3131                                ns.oo:              775.0o~         so.oo          1is.oo                 s.as

11·3627249     !NORTH SHORE PHYSICAL ME DIONE                                       14 EXPRESSWAY PIAZA                                    STE100           IROS1.YN HEIGHTS, NY 11577-2034                     3so.ool              so.oo!         so.001                 -1              5.85
XX-XXXXXXX     ,TALLMANOBGYNPC                                                      1134 ROUTS 59 STE A                                                     lsuFFERN,NY,10901                                   300.ooi             225.00}         so.oo          21a.1s,                 5.85

XX-XXXXXXX         PORT ORANGE URGENT CARE                                          !1690 DUNLAWTON AVE surre 210                                           !PORT ORANGE, FL32127                     j         185.00'             110.ool         50.00              00.00'              5.85
XX-XXXXXXX         WlLLOWDALE COUNSELING CENTER PlLC                                !322 AMHERST STREET                                                     iNASHUA. NH 030Ei3-1741                             150.00!              9o.ooi         50.00              40.00               5.85

XX-XXXXXXX     !AllERGY CONSULTANTS PA                   i197 BLOOMFIELD AVE
                      ======-----------------t"=====----------+----t'lv=•R=O=NA..~,".07044="---------'----="=3:::.00=,..t---~460=.•"i•i__-=5::::D.0,::0+---'°•1:::D::::·••"l-------=5=,a::..15
122-3459877    .~poRESrOWN OERMATotOGY ASSOC           /110MARTERAVENUE SUITE 102
                   =========-------------;========~-------+-----tiM=OO=REST=O~WN,~~"'~080=5_7-~312=•-----ti_ _ _~95=.oo-tj----~·~5.~00+j_ __.:,50~.00~J/.. _ _---'45~.=oo+------=-5.85=i
3~2894128          HOWARD BROWN HEALTH CENTER                      ;415===-===='---------+l
                                                                       WESTGOlFROADSUITE 16 ____ l1~~GTONHEIGHTS,IL6000S                   100.001              90.00!        50.00             40.00             5.85
4~1774217                                                              BOXS020      !;~
                                    ====~-------------t-----------------""~STE-A---+T"'OM=ES"'RIVE=R.
                   EXPRESS MED OF IQNG OF PRUSSIA U.C                                                     . NJOB754-S"-=•2=•'-----+-i'___,za"'1"'.oo~:----=1=1•=·04ccj,--_ __,5=•·c::D4:;.!---60=.oo=li--_ _ _ __,s.,::as::..i
XX-XXXXXXX         RV DRONAVAW MD                                                   l2138SCENICHWY N                                                       lsNELLVlLLEGA30078-6106                              200.00!              1s.ooi         so.DO!             25.oo:              S.85
77-DG31093     IMURFREESBORO DERMAmlOGY aJNIC PLC                                   t1725 MEDICAL CTR PKWY STE 300                                          !MURFREESBORO, TN 37129-2250                         95.oo!              9s.ocl         so.oo!             45.ool             s.s5
XX-XXXXXXX     iCARTERSVILLE FAMILY MEDICINE PC                                     h1cou1NSDR                                                             lCARn:RSVJl.l.E,. G'A 30120                           85.00'.             71.33~         49.931             2L40               S.84
                                                                                                                                                           1
XX-XXXXXXX         l.EIGKTON ELUS                                                   :12201 RENFERTWAY SUITI!: 110                                           AUSTIN, 1X78758-5362                                16S.OOj             138.SBj         49.84!         114.20!                5.83

XX-XXXXXXX     '
               !EASTSIDE ORTHOCARE                                                  12121 FOUNTAIN OR STE E                                                 ISNEUVILLE.GA3007~2500                              656.64]             227.39i         49.10!         132.69[                 5.81

!~1771632      'IMERRIOERM DERMATOLOGY PLLC                                         l3644MAJNsr                                            !2FL             !RUSHING, N'I' 11354                                245.DO;              49.66
                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                    49.66!                                 5.81

XX-XXXXXXX
               I
               'MUKESH NAIK DO INC                                                  !P □ B0Xl27                                         !        iNAPA,CA94559              141.00{   74.57! 49.57!   zs.oo!      5.80
                                                                                                                                  .,.,.,,_,e.,"--"e""'"-•"-""--;====~-------+---~=+----~=c-----'=+----==i-------="'-1
XX-XXXXXXX ··- !CRAIG HELM MD A PROFESSIONAL                         - - - - ~ - - - - !27420
                                                                                       - - - -TOURNEY
                                                                                              ------  RD
                                                                                                       - SUITE
                                                                                                         - + -100
                                                                                                               - - - ~ 1 V A L E N C I A . C A c , 9 c , l 3 c = 5 5 = - - - - - - - - + - - - - · " ' ' o . o = • , - '----=-1•,,•=.s~.,.;,_ _...c•=•=.so=l~----'l=00:::"00=-'-----="79:..::..1
74-2B763SO     iTOTH ENTERPRl5E5 II
               1
                                                                                    14303 VICTORY DR                                                        !AUSTIN, 1X 78704-7507                              115.00\              49A3:          49.43!                 -!              5.78

XX-XXXXXXX         0UVERGREGORY                                                     i734S COURAGE WAY SUITE 101                                             iotATTANOOGA. TN 37421                              100.00!              99.35!         49.3si             so.ool              s.n

                                                                                                                                         EXHl81T2

                                                                                                                                               173
                                                                             Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 197 of 266 PageID #:11293




                                                                                                                                                                                                       AEU INTERIM DISTRIBUTION




XX-XXXXXXX            iBENJAMIN BOONE                                                                                                11626 W. BUSINESS1H1-51UTE 108

5_!1:,~D690 7NoRTH RJLTON Pe_o1ATR1cs Pc                                                                                             l12ss HEMBREE RD STE 100
                      0

                          HEALTH TEXAS PROVIDER NETWORK OBA BAYLOR                                                                       2740 N STATE HIGHWAY360                                                                 jsre 100                     !GRANO PRAIRIE, TX 75050                                   70.00~                          4g.ool                                                                        S.73

                                                                                                        -------i='140=5~Cl~ift~on~R~d~N~E
XX-XXXXXXX

XX-XXXXXXX......JEMORY MED CARE.~FN~D~n<~--                                                                                                                                                                            --'------.!A11ANTA.s:G:,A,.;3:,,03,e22"----·----i----!6~1.00~:_ _ _ _ __:!48!',.80~)_ _..,;48.~80!                                                                                                              S.71
XX-XXXXXXX... _...!M~Dl~L ASSOCATES OF FREMONT INC.-···--····-·-····                                                                 139225STATESTREET________                                                       ··········•·l-·-·...              -·--··[!.RE~~.CA94S38,=__ _ _ _ _ _+----''"''='.0:::Dc...:                                       .:48-78\           48.781                                                      5.71
                                                                                                                                                                                                                                                                                                                       184.aa:
                                                                                                                                     :;~:e~:~=:;: . ,_,_
XX-XXXXXXX .......!RALEIGH. OtlWREN & ADOLESCENT3                                                    ······-··-····..•~·------·-..·---+!3:::100=DURALEIGH RDST1,300                                                              :                            iRALEIGH, NC27611                                                                         136.72)            48.721···                                                   5.70
38-189173~..... _!OR L REYNOLDS ASSOC~

~594105.......!Y.~2.~~!.~~~~!E. ··-·--··..
XX-XXXXXXX            lEDISON RAOIOWGYGROUPPA
                                                                                                                                                                                                         :~~~::::::··r;;·,oo ·:=:·==::i:=:.:"'·:"':"':o'-                                ----_-_--t-1·--==~::"'1.0_:"'.~:'"i,-----'==;:::;.;.;--...:==~::::if---'". '.
                                                                                                                                                                                                                                                                                         7
                                                                                                                                                                                                                                                                                                                                                                                                  "'_,=~:1~~~~~~~~~~"':":"':""):"'
XX-XXXXXXX ___ PJBURBAN BEHAVIORAL HEALTI-I INC                                                                                          1S443 SUMMIT AVE                                                                        lsulTE 305                   IOAKBROOK lERRAtc, IL 60181-3973                         :100.00~                          73A2!             48.42!                25.oo                                 s.66

~!i;-~857929          jGEORGEVBUCOERO                                                                                                    P090X967                                                                                                             fnNLEYPARK,ll60477--0967                                 110.00i                           93A2i             48.42!               45.0llf                                5.66
s2-22BS231            lCAREGROUP._,P'-'··~'---·-_.._-:::::_-_-_-_-_-_-
                                                                    _ _ _ _ _ _ _ _ _ _-+1:.:so=PO:..:T::::OMA=C:.:ST::.STE=1:::11~--------'-'-----i'!A:::Uc::•o=RA::,,:.:co=soa=11:::.,;c:.1•;::3:......_ _ _ _                                                                                           _ _ _m=.oo=;_ _ _ __,_73,:.28~:_ _..,;48=.2Bc'!!ti---.!,zs.=.ao~!_ _ _ _ _                                                 .=•·~••~
                                                                                                                                                                                                                                                              /:.:::::::::-4213                                                  ;,---.....:=:..~=.o;o"'1,-!,--...::;  .:---,~:-'-:~:--:------'-:~~::'-'
                                                                                                                                                                                                                                                                                                       4

XX-XXXXXXX __ ,TOODDGWIN ........ _ , , , . _ _ _ _ _ _ _                                                                            /:::::GSPRINGSRD                                                                            /rnz40a                                                                               •~oo:
02..0309807           ;ANTliONYJCORRE:NTIMD_ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                                                                                                                                   53 0
                                                                                                                                  --f1===--------------1----+======------+----'':::..
                                                                                                                                                                                    :::·_"00:::..                                                                                                                                                                  ..=_o'"a1·--........:="'i------='1
06--0857901           jMANCEll& BLAU MOS PC                                                                                              PO SOX230                                                                             ..1.........                   !GLASTONBURY. CT06033-0230                                                                                                               -I                             S.62

                                                                                                                  34 ·-1             j                                                                                                        ----+l=PEORIA,=="==•1"•"-12====-----1---...:48.00="!,-_-=_-=_-=_-_-=_-=_-=_~.."'"'."'oo:::;L.· .. - .....~.. 48.~L
22-333~925 . fCAROloVASCU~RHEAL~CONSULTAN
~~;;~;· ··-1~N~O~ DERMATOLOGY········ ·-·-··· .... _ _ _ _._
                                                           ... _.._                     ...._.~~~~=-l';F~"a=•:·:::~=,":c,GST0=
                                                                  ...._..._····_·-_·-_--_·                                                   ~:.:.:v~e--                                                           . . . . . JSTE         ~F --··. -··-·   .LLNINGSTON,NJ 07039-4040                                   150.00;                         1os.ooi             48.001
                                                                                                                                                                                                                                                                                                                                                                                                       -I
                                                                                                                                                                                                                                                                                                                                                                                     ----_.l..,- - - - - =•. 62==-i
                                                                                                                                                                                                                                                                                                                                                                                                                                       s.62




::~::~:::J:::::::::::lMEDIONE PL                                                                                                     1::~:~:oR:::nc ,:--                                                                      I                               i:::::;::•tOG4                                           ::::                            :.::1 _..,;: :. :=:::.;0:___             .=:::::::--+-if-_-_-_-_-_-_-_-_-_-_""=:"'·:::'l
XX-XXXXXXX            ]CHARLES~!.~~!                              ---------------.'2""4-'-PO:::RTIA="'""'D""RO""AD=------------sl_ _ _ _--+"!KENNEBUNJC.ME04043-663D                                                                                                                                                   20s.oo!                           93.461            47.9a!               62.891                                 s.61
                      lMITCHELLAUNlACKSON MD                                                                                         j300 N MILWAUKEE AVE SUITE LJACICSONEYE s                                                                                ILAKE VIUA,. IL 60046                                    780.oo'.                        254.761             47.34!              206.92    l                             S.60

XX-XXXXXXX            !AuCIAROBERTS LPC                                                                                              !sos3 KOLMAR AVE                                                                                                         ISKOic:1E. IL 60076                                      140.00~                           12.891            47.89                is.oo                                  s.oo
2~;~~ENTCARENORTiiWESr~~-··-··---                                                                                                        2708EASTHWY78                                                                                                        iJA.5PER,AL35501                                         199.00!                           47.811            ~,_•---=33::0:....-----=5.S;:;9:.j

~;~as                 .~MMUNtTYHEALTHCENTERINC                                                                                       j134srATESTREET                                                                                                          jMER1DEN,cro54so                                         191.00:                           72.461            47.46;               zs.00 1                               s.ss
                      I
                                                                                                                                                                                                                                                                                                                                                                                                             -----='.,='"
                                                                                                                                     I                                                                                           •                                                                                                                                                                       I

7S-1771l:4SD ·- ···l!iOODHIUPEDIATRICASSOOAT~                                                                                                                                                                                                                                                          i
                                                                                                                          ---''833=5'-'W"'AlN=l/T=H=lll"'LN"'-----------Ji~~ _ _...l::DAc:.,UAS=•c.:.'lX.:,,"'75"'23::1~-------+-----'""'::::·DD,c:c__ _ _..,;4::,7,:,,46,:;;_ __::.,47:~~.. - - - - -...
XX-XXXXXXX... _.. jARNOLD PANZER MD __ .. _.. _................-                   - - --· -·-····                                       910 ROUTt   109                                                    ••m•-·-..-···.. J•··· ...................... __   !NORTH LINDENHURST, HY 11757-llSB                         121.16!           72.101           47.101-·-···          25.ool           5.51
58-23~7525 ......~NORTH A ~ A OERMATQWGY                                                             ---------l=!3Bo,50e;P:,LEASANT==-"""''ll"RD"'------------i-/----+-~,ELunt. GA30096                                                                                                                                .~9.oo' _---~250=·=11,.i--....:::"'"''1::1,..'---'15=8.:::DD:.,.i_ _ _ _ _,::s·='':.i
XX-XXXXXXX ... _4DEAN           ~ ':)ORFMAN DPM                                                      _ _ _ _ _ _ _ _ _ ,.szo E HlU.SBORO"'B"'L"'VD"--------                                                                      I                            OEERFIELDBEAOl,c,:fl"'3"'344=1_____           ..-···--··-·-85.00!                          46.7sl            =·'::::•,,______..,;c;-_ _ _ _ _.,,,sA=,7'-1
                                                                                                                                                                                                                                                                                                                                                                         _ ..
~~_2_89_7~?.......   ..!,~~~~~!~~~~~~~ !?.~~.~~~~~···- ....... -..··-----·- ..-···-·                                                 ls210 WEBB RD         ---...........__ .                                                    !                            !rAMPA. FL 33S15                                         439.oo'.                        136.4~!-·     _ _46=.43=!.-.--~'"~·~ao..         l_____~s-~•'ci
XX-XXXXXXX,_ !WESTERN WASHINGTON MEDICAL GROUP. INC PS                                          _ _ _ _ _ _ _ _ _.:.,iic::330=R,cOC,:KE:,:FE,:,llE=Rc:;A"'VE:.,5::;Ul::,TE,,;4:,:SD::,__ _ _ _ _ _                          --4i.____-l!rEVER=m=•"'W::::A'°98e,2D:::1::,·1:::6n:..:.,__ _ _ _ _j -_              _,1,,_,De,78.,:,00""-i_ _                       !c__ _..:,46~3.=3,;_i_ _
                                                                                                                                                                                                                                                                                                                                         .._·_--_-..,;~::,-::,~"!·                           _..:,49e,1.e,67~l,__ _ _ __,5c,,4"-J2
~~77886               !ooRuauZA,MD                                                                                                   (60B3MYRTlfAVE                                                                              !                            !R10GEWOOO,NY113B5-S90B                                  22a.ooi                           46.20!            46.20                       -;                              SAO

XX-XXXXXXX            !New JERSEY FOOT ANDANkLE                              ___   ------------------~PO aox 14840 __                                                                                                                                         BEtFAST, ME04915-4043                                    206.00:                         us.as; --'•~s.~aa"'l__--=u~o~.1~sf~----~•~3""'9
04-~829689            ioRTHOPAEDICSN~~~~---                                                                                          !Posox 11831                                                                                                             BELFAST. ME04915-4009                                    11s.ool                           9S.96i            45.96!               so.oo!                                 S.38
                       ]FAMILYHEALT!'~C____ , _ _ _ _ _ _ _ __                                                                       .PQBOX453                                                                                   r                            WHTSULPHURSPG,WV24986                                    119.00!                           11..00i           46.ooi                25.ooi                                5.3B
~5:-0n3910

s.;.:~2l..7Zl          iAPPALAOllAN ~~~TR:IC;,;:5::,ER!!Vl:::CES=P:,ll::,C_ _ _ __                                                   !iot4JOHNSTOWN ROAD                                                          --·•--i------                               isECICLEY, WV 25801-4940                                 170.00!                          136.0D!            46.00'                90.DO(                                5.38

4~5121811 .. _ ;~!-!.~."~!~}~.~!?. .~~                                                                                              ··1.3,36 29THX, ST, SU l~..1~!.... _                        ,._.. ___ .................. ·-·1-······ ...........          !ASHLAND,.KY 41101-197,:c6_ _ _ _ _+----"17~8=.00(_ _ _ _~•~D.BD=i__                                         45.80!               45.00!                                 536
38·1693395         !HURON
       --···-····-··r-·-··         _•.........RADIOLOGY
                           ........VALLEY                       PC
                                              _ ........ ............... .                                                                0 60 93 2701                          ··--··-···-···-··-·-·--                          :                     .... _iaEVELAND,oH,44193                                        373.ooi                           45.7D:          ··- 45.7~L.......      45.86;                                 s.3s

                                                                                                                                                                                                                                                                                                                                          ----':=:c.:---"::""'~:i·-·--· -""""',~"'•:::::ci------=:=:::..i2
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BB-031~7?.
33..0795271
                      ·tWIIClERFAMILYP~CTICE..AS
                       :PINNA0.E MEDICAL GROUP
                                                                                                                            · · ·. . t~!!;;;;~ "·           01
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                                                                                                                                                                                                                              EXHIBIT 2

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                                                                                                                           AEU INTERIM OISlRIBUTION




XX-XXXXXXX                                                                            j210l JACOB ST SUITT 201 VAUEY PRO                                     !WHEELING, WV 26003-6390         420.ooi          185.49[    45.10!      14039!       S.lS
ZD-3897330     )UPPER VAUEY URGENT CARE CENTER PA                                     ,121E REDO RD                                                          ELPASO, TIC79932-1981            740DOi            ,s.os!    4s.oal      32250        5.27
06-1.332870                                                                           j°~BOX262                                                              WINDSOR, CT 06095-0262             cs.oo:          45.ooi    45.00!  '                S.26
1~085639                                                                              1688WHITTPlAIN5RD                                                      iSCARSDAI.E, NY 10583-5015       soo.oo:          s00.00!    4s.ooi      4SS.OO       S.26
XX-XXXXXXX
                                                               -------·---- ·--····   1109 LMNGSTON AVE                                                      jNEW BRUNSWICK. NJ 08901-2410    lDS.00           10S.OO!
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                          4s.aol       60.00       S.26
22--3782703                                                                           !19410AICTREE RD STE 203                                               EDISON, NJ 08820                 180.oo:           70.00l    4s.oo!       25.ool      5.26
XX-XXXXXXX     KIMBERLY J HENDERSON MD P                                              jPO BOX9309                                                            lBELFASi, ME 04915-9309           ,s.ooi           ,s.oo:    45.00                i   S.26
XX-XXXXXXX     l,owARllOLSEN                                                              144 PIERCE AVENUE                                                  MACON, GA 31204                   90.ooi           90.00!    45.00        45.00       S.26
47--4302355    jMINIJTEOJNIC DIAGNOSTlC OF MAINE                                      !PO BOX 16359                                                          BELFAST, ME 049~058              219.oof          219.00!    ,s.ool      174.00i      5.26
SS-0766918     TYGARTVAUEY ORTHOPEDICS & SPORTS MEDIC NE INC                              1502 Harrison Ave                                                  Elklns. WV 26241                 195.00;          186.29!    4s.ool      141.29       5.26
XX-XXXXXXX     Lt1NGAHAN MD                                                               16W32NDSTREET                                 Jm..,                NEW YORK. NY 10001-0990          220.00!           44.78(                150.00!      S.24
XX-XXXXXXX     !ELISA M KAVANAGH                                                      i696 WHITE PIAINS RD                              !                    .SCARSDAl.E, NY 10583-9998       280.00i          129.78!                 ss.ooi      5.24
5~2227847      !WESTERN WAKE INTERNAL MEOICNE                                         ]202s GIOVANNI CT                                                      '!CARY, NC 27518                 433.00!          340.18!    44.76       295A2        5.24
                                                                                                                                                                                                         ---
22-26305!:Ni   1MONA TANTAWI PC                                                           177 SUMMIT AVE                                                     HACKENSACK. NJ 07601             140.001           89.SO!                 16.osl      5.21
XX-XXXXXXX     INDEPENDENT EKG CONSULTANTS INC                                         POBOX3S2                                                              LANDISVILLE,. PA 17538-0352       84.00'           44.S2i                             5.21
                                                                                      1
XX-XXXXXXX      OSEPH FISHICN MD LLC                                                   ss KINDERICAMACK ROAD 11201                                           EMERSON, NJ 07630                320.ooi           89.33!                 45.00       5.19
XX-XXXXXXX     !EDG£BROOIC DERMATOlOGY PC                                             jPOBOX8762                                                             ICARDLSTREAM, IL 60197--8762     ns.oo!           104.40!                 60.00       S.19
XX-XXXXXXX                                                                            loNEHOSPITALDRM
                                                                                      I
                                                                                                                                                             !OARt0N, PA 16214-8.501           49.00;                'i
                                                                                                                                                                                                                44.10;                     _i      S.16
XX-XXXXXXX     EYE CARE SPECIALISTS SC                                                !633 W WISCCNSlN AVE.STE 1400                                          !MILWAUKEE, WJ 53203             134.00:          134.00!    44.00        90.oo!      5.lS
XX-XXXXXXX     i V STEPHEN SlANA MD SC                                                !612SGREEN BAYRO,STESOO                                                KENOSHA. WI 53142                170.00'          119.oo!                 7S.00       S.lS
                                                                                                                                                                                                    I
46-510D478                                                                            · 336 29Tit ST STE 101                                                 !ASHLAND, KY 41101-1.976         180.001          110.ooj    44.00         6.ool      S.lS
                                                                                      l
SS-2042643     OiEROKEE WOMENS HEALTH SPECIALIST                                          227 RM:RSTONE DR                                                   CANTON, GA 30114-5256            323.001          193.80!                149.80;      S.15
                                                                                                                                                                                                                                            I
XX-XXXXXXX     lotRISTOPHER e NICORA MD                                                   356 ROUTE 202                                                      SOMERS, NY 10589-3207            125.00:           68.1s;                 25.00'      S.12
XX-XXXXXXX     HARSHA SHANICARA REDDY                                                     310 E 14TH ST SUITE 319 SOUTH                                      NEW YORK, NY01003-42D1           200.001          103.59!    43.59        60.00       S.10
46-S304668     INNOVATIVE PLATINUM CARE SC                                            iPO BOX 14382                                                          BELFAST, ME 049154036            233.00)          103.lSi    43.15!       60.00t      S.05
                                                                                                                                                                                                                                  I
XX-XXXXXXX     AUSTIN GASTROENTEROLOGY PA                                                 PO BOX 268840                                                      OKLAHOMA, OK 7312~8840           1601l01           43.10!    43.lOt                   5.04
~~~52~         jWARREN ARTHUR MADDOX JR DC
               I
                                                                                          25 NASHUA RD.AS                                                    LONDONDERRY, NH 03053-3445       600.00'.               '
                                                                                                                                                                                                               343.84'    42.981      300.86       S.03
XX-XXXXXXX     !GONSTEAD CHIROPRACTIC CUNIC SC                                        ':3535 CLINIC RO                                                       !saorrw153511-1952               129.00:           61.28
                                                                                                                                                                                                                      1   42.90,       79.66.      S.02
3S-.1S657S4    iNORTHWEST INOIANA NEUROLOGICAL                                            801 MACARTHUR BLVD STE 404                                         !MUNSTER, lN 46321-2919          590.00:          552.84!    42.841      510.00   '   S.01
                                                                                                                                                             ;
XX-XXXXXXX     lTROICHAN OERMAlOLOGY u.c                                              !235 CLOSTER OOCIC RD                                                  IC.OSTER,. NJ 07624              175.00            87.ni     42.72!       45.00       5.00
XX-XXXXXXX     !QUEST DIAGNOSTICS OF PENNSYLVANIA INC                                 !PO BOX 7521S1                                                         CHARLOTTE. NC2827S-.21Sl        2,152.40.          83.SSi    42.69       3S2.21       4.99
XX-XXXXXXX     \CHRtSTOPHER L GOESEL                                                  !PO BOX95040                                                           CHJCAGO, IL 60694-S040            s3.oo;           S3.oo!    42.40        10.60       4.96
45--7310662    MACK J RAOIAl MD                                                       1
                                                                                          550 PEAOITREE5rNESTE 1230                                          ATLANTA. GA 30308-2238           213.ool          117.34[    4Z.34            -i      4.95
XX-XXXXXXX     {MINUTEalNICotAGNOSTICOF CT                                            !POBOX8437                                                  ...... ·-·--tBELFAST. ME 04915-8437         298.0Di          132.261    42.26       120.00!      4.94

XX-XXXXXXX     !SPRINGOAlE ROAD MEDICAL                                               ')225D CHAPELAVE WSTE 120                                              OiERRY HILL,. NJ 08002            ss.ool           67.15!    42.15!                   4.93
XX-XXXXXXX     IFRANKE AC~RDI MD                                                       1110 EAST 40TH ST #407                     ·-··~-!                    !NEW YORK. NY 10016              216.00·           87.0Dl    42.ooi       4s.oo!      4.91
XX-XXXXXXX     iFOUNDATION INC                                                        iP080X743                                                              iSAN ANTONIO. 1X 78293            42.00'.          42.oo!    42.ool           -I      4.91


                                                                                                                                     EXHIBIT2

                                                                                                                                            175
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                                                                                                                            AEU INTERIM DISlRIBUTION




XX-XXXXXXX    IENGLEWOOD ENT                                                         216 ENGLE ST STE 101                                                      leNGLEWOOD.NJ07631                     I         300.00'                86.75!           41.1s]           45.oo!                  4.88

82-1188Q!ll   IAMGIRINC                                                              S08GOROONAVE                                                              ITHOMASVIL1.£,GA31792""6646            ;         103.00;                59.371           41.561           11.a1I                  4.86

22-258966s    IMARGARETSRAVTTSMD                                                    !121suMM1TAVE                                                              ,HACKENSACK,NJ07601-1,os                         290.ooi               1163sl            41.39!           75.oo!                  4•84

l''-=-'-~•33-=-•~ss~•~-tl™=o-=-.....,==NA'-'E=LUSON==M=D~PC~--------------+'G'-'•-=-o-=-sox~2~1•~•-•------------;----·---r-"'-=-EW~Y0'-'R~K.~NY~1oos=1-------!---'-'"=".oo=l_ _ _ _=
                                                                                                                                                               1
                                                                                                                                                                                   ..=·,.=,-!___                                                        •='-='••i:---=2S=.oo=+-'_____:•:c·•~>
1'1-=-6-082=o=sn~-f!SA=•NT=L""""'ES"PH'-''51=□=cAN=SPE-=□=•-=-usrs='-------------+PO=so-=-x~S04407=~------------t-----,lSAINTLOUIS.M0631S0-44D7                                                                 145.ool               101.20i           41.zo!           60.ool                  4.82
XX-XXXXXXX    leNOOCRINotOGYASSOCOFCENTRAL                                          F!s="'"'RO="="="'-=-OGE="="AD=su=ITT~12~-------+;'_ _ _ _-tl;'-',;;.=..,=•0LD=·"'=rm=2•:::53:::0S:c__ _ _ _-ll----'•=e.oo=;l,__ _ _...,si::·=oo~i_ __;:•1.09=;----=40:-:::00il-_ _ _ _ _._-=-•=i•
XX-XXXXXXX    IGANoH1ME01CALC£NTeRPC                                              ···-l2121H1GHWAYAVE                                   !                      jH1GHLANo,1N46322-161S                 !         120.00!                66.00 1          41.00!           25.oo!                  4.ao

14-1504s10    IAU!ANYENT&ALLERGYSERVTCESPC                                           400PATROONCREEKBLvosuCTE20s                                               ;AlBAN~.NYlZ206-S012                   l         11s.oo/                so.75;          40.?s/           40.ool                   4.n
XX-XXXXXXX    isoUTHERNOHIOPATHOLOGVCONSULT                                          POBOX632242                                                               !ONoNNATl,OH4S263                      !         439.00!               us.osl           40.s1I           ss.21!                   4.77
XX-XXXXXXX    hllEPARICERSKJN&AESrHETICOJNIC                                        !3737PARKEASTDR.STE109                                                     leEACHWooo,oH44122-4329                          145.ooi                ss.541          40.54J           4s.ooi                   4.74
21.2is8246    !TETONDERMATOLOGYINC                                                  l984WESTBROADWAY                                    surre4                 IJACKSON,wra3001                                 390.ool               371.1,l          40.441          210.10!                   4.73
XX-XXXXXXX    loAUASASSOOATEDDERMATOLOGISTSPA                                       l132SWESTNORTHWESrHWY                                                      !GRAPEVINE,TX7605t                               120.ooi                85.461          40.46                 .I                  4.73
XX-XXXXXXX    lMERIDENEYECARELLC                                                     21HtLLSIDELANE                                                            !MaNROE,cr06468                        I         3so.oo·                40.32!          40,32!             s.oo!                  4.72

XX-XXXXXXX    IAMERICANFAMILYCARE.INC.                                               MSC.0000020                                        POBOXB30810 !B1RM1NGHAM,Al35283                               I         174.0ll                40.34!          40.34[            11.311                  4.72
34-1u1so6     IRAD101.0GYSERVJCESOFCAHTONtNC                                        !POBOX2023&                                                                ICANTON,OH.44701                       I         224.ooi               is1.67l          40.27           111.401                   4.71
XX-XXXXXXX    INHAO.MDPA                                                            i331tUNICORNLAKESLVDS1'E181                                                loENTON,TX76210                        !         198.00[               100.21!          40.27r                -,                  4.71
OB-054354S    IKARENHAUNSS-SAPMD                                                     B33NORTHERNBLVDSUrrE260                                                   iGREATNECK.NY11021                     I         600.oo!                ss.oo!          40.ool           4s.oo!                   4.68
XX-XXXXXXX    laHPHYSCANPRACnCESUC                                                   11oowESTwARDST                                     exrw                   !oouGLAS,GA31S33-19D2                  !          95.00t                46.7si          40.00              s.1sl                  4.68
XX-XXXXXXX    leuRN SURGEONS OF SAINT BARNABAS LJ.P                                 \94 OLD SHORT HILLS RD                                                     ILNJNGSTON, NJ 07039-5572                        100.ooi               100.00!          40.ool                .I                  4.68

XX-XXXXXXX    IHEMANTSHAH                                                           J291ceNTRALAVE                                                             hERSEYOTY,NJD7307-291D                 !         iso.oo;                90.ooi          40.ool           so.ooj                   4.68
XX-XXXXXXX    !GRANDVIEWEMERGMEOASSOC                                               lP.o.eox.13100-1432                                                        iPH1LADE1.PH1A.PA, 19191               !         560.00!                so.oo'          40.00           414.64j                   4.68
XX-XXXXXXX    IFAMILYPRAcncEMEDICA.LSERVICE                                          274WESTBADD.Losr                                                          lcovtNA.CA.917231906                   I         200.00!                64.971          39.97            25.ool                   4.68
XX-XXXXXXX    !QHtuPSTATEMEOlCALPC                                                  i120EERWOODRD                                                              ISPRINGVALLEY.NY10977-l001             l         350.ooi                40.oo!          40.00!                                    4.68
                                                                                        1                                                                                                             1
33-Q92306S    IJ MARK GALBRAITH MD                                              ........ 26691PLAZA 110                                                        !M1SS10N vtEJO. CA92691-6347           11----•~o~.oo~:r;---~oo=.oo,1_ _~40~·"="-i----~so=·=oo 1_ _ _ _ _.c•=·•=-is
                                                                                                                                                                                                                                                                             7
F•=-6-463=GSS=•,_·_···-f-i,=oUTH=SH::.:O::,RE=RAD=10:::LOG=1"'m=-s:::c'---------------+•=2S~J=o=-uET=sr~.~~•=,.~----------!---                                 loven.1N46311=-1~1•~1_ _ _ _ _ _ _-+·--··---~=-oo"-;-!---~s=o=.oo7i_ _~40.00=+----''="·=ooc.il_ _ _ _ __:•=·68"-I
                                                                                                                                                               :,srMeolMF□••o,NISLANv11,63-,GA22 12
      =                                                                                _:-•==-..
                                                                                                                                                                   5 O 5 0 31522
          502=,1~_.IM~"-"""='~'-'w-'oo=STE~•~oPM
""""'~•~7-=-                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+1_006      ,~ESS-~-~we:~s•u:•,•DAD                                  ·····-···-                                          .       ··-,,-~,.-00__ ,_\,----=ss=.oo=!f--_   _;;4De:-e:oo'l-_ _ _45=.oo=-lf------...:•o:-68"'-'
 4~1811972           !uLYOBSTETRJCSAND GYNECOLOGYLLC                          7000 na.w.n       ,.., "" 22 0
                                                                                                                                                               1
                                                                                                                                                                                                      r               00                   40.04-1     40.04-                -i                  4.68
4~3568152     IAPOUOME01CAL01AGNOSTICSVCSPLLC                                       ,4D3674THSTREET                                                             elMHURST,NY11373-S630                 !         100.00!                40.oo!          40.oo                 -1                  4.68
47-11ssss1    iuNIQUEHEALTHCARESYSTEMSLLC                                            1101usH1GHWAY19N                                                          IPINELLASPARK.FL331a1                            100.00(                40.00!          40.oo                 .!                  4.68
XX-XXXXXXX    ittaLLv JOHNSON                                                       !4110AKSTREET                                                              !noSEVILLE, CA ssm                     I         110.00:                65.oo!          40.00!           zs.oo 1                  4.68
XX-XXXXXXX    lttUNTERDON PRIMARY CARE PC                                           ]3 MINNEAKONING RD                                                         !REMINGTON, NJ 08822-5726              I         12S.OOI               100.00!          40.00                 -!                  4.68
UNKNOWN       !0indren'sDlagnostk:1magtngofAlianta                                  iPOeox12os                                          I                      l1NDIANAPOUS,IN30041                   !          40.00
                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                       40.oo!          40.oot                -!                  4.68
XX-XXXXXXX    !e1NYOMIN NEMON                                                        670 MYRTLE AVE                                     1180                   lsROOKLYN NY 11205-3923                          430.00                 64.94;           39.94[          is.oo!                   4.67
XX-XXXXXXX    !GAMAUELIMMANUELMEDICALSERVICES                                       .230HILTONAVE                                       1                      IHEMPSTEAD,NYl1550                              3,480.00;               66.48\           39.89!        3,026.59;                  4.67

27•2039417    !STVJNCENTMEDICALGROUP MOB                                            /po BOX 12812                             - - - ! - - - - - - +!.iB+Elf+ASr~·+M=E_04+9~15-401~~·~-----+-1_ _ _12=0-=00+;_ _ _ _~....+ __,,.=
                                                                                                                                                                                                                              ..... --~·~•-~1•,.1i_ _ _~2S=.oo~!,...·_ _ _ _ _...
                                                                                                                                                                                                                                            j_                                 =-is
3s-2216011    koNooNwoMENSCAREPuc                                                    ]POeox2214                   :LEX1NGTON.KY40Saa.2214 I 100.00! 39.781 is.ool   4.6s
                                                      ------·-···--·--··-- --------,===--,-------------+-----,-====~•==~-----+---~=+-----,=c,----==t---~=c;-----_;;=-t
                                                                                                                                                                1
s1-600029s    lcouNTYOFSUMMT~------------------;1POBOX9597o                                                                                                    !soUTHJORDAN,UT8409s-a910                 ugs.isi        613.oJ                39.n!          s13.21                     4.6s
XX-XXXXXXX    !NORTH TEXAS DlABETES ENDOCRIN           KIRKPATRICK LANE             1;~~1                                                                                                      !, ---=1BO=.OO=-; _ _ _ _c,39,=_=a63;.)---"'39:::_6"-3i-1_ _....:.:::,3.::60+,------"._"'64'-I
                                                                                                                                                               :FLOWER MOUND. TX 750:ZS..1415-,-



                                                                                                                                      EXHIBIT2

                                                                                                                                            176
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                                                                                                                      AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                                                                             4.61
                                                                                                                                                                                                                                                                             4.61


XX-XXXXXXX         ROO:FORDPEDtATRICPULMONOLOGYLTD                                 1n44KLECKNERRD                                                                                               235.oo:           134.10!          39.l!JI          9551!                    458

11.2572959         SHAPIROGOLD=M=AN"-T'-'A"'w"'"'----------------!1=130=BR:::'=GKTO=:.:.•=•EA=CH.:..:•:::"'=----------i------F="'                                                             1,12S.oo!            39.oo! !        39_00
                                                                                                                                                                                                                                  40521 1              6                     4.5

XX-XXXXXXX         RAPPAHANNOCKGASTRO ASSOC PL.LC                                  1,'."°.o".BOOXX1210106&0             ---1---·---,t-iBE_Lf~ASr=·=M~E04=9:tS-«>12~=-----+----'12=0=.aac.c;-;----"'=.aa=,!'---=·=•·:::00:;1---40=.00::,if--_____:•:::.s"-I•
XX-XXXXXXX     !PATHOLOGYSOENCESMEDl~GROU                                                                                                      0GCO,CA9S927                                      72.50)            39.00:         39.00                                      4.56

S5-0604920         MART1NSBURG RADIOLOGY      ASSOa=Ac.cTES=--------------,1~_00 FOXCROFT AVE st'E2028                                         MARTINSBURG,    wv.~=~1-------;----•-1_.aa-!;,------..
                                                                                                                                                                                                   "'-'"62'l-:_ _---=c•1.=90=!---=•·.:..:12:.:.!_ _ _ _ _.;,4.5=•=-i
XX-XXXXXXX     !RIOtARDISULTAN DO                                                  '190ocORUESAVE                                              NEPTUNE, N/07753-4804                             90.DD/            78.741         38.74 1           40.ool                   4.53

XX-XXXXXXX     !noaERTHANDS                                                        i331ESADDLERIVERRD                                          !uPPERSADDLERM:R,NJ07458                        150.00]             78.74i         38.74                 .1                   4.53

22-mo21s           THE DOCTOR'SOFF1ce PC                                           l1010STATE ROUTE 34                              STE c      MATAWAN, NJ 0?747-3468                           11s.oo!            &2.1oi         38.741             ~us!                    4.Sl
XX-XXXXXXX     .1.AC£v FAMILY MEDICNE                                               833 lACEY RD sre 6                                         FORKED RIVER, NJ 08731                           110.00;           163.74 1        38.74             ss.ool                   4.S:3
XX-XXXXXXX     !CHOAHOSPITALBASEDUC                                                !POBOX1027090                                               !Alt.ANTA,GA30368-0001                            63.00[            63.00!         38.691            24.311                   4.53
XX-XXXXXXX     IADVANCED SPINE AND PAJN CENTERS                                    11908 KANIS DR             .m G7                            urne ROCK. AR 72211-3773                        247.00~             38.70!         3S.10f            35.291                   4.53
XX-XXXXXXX         CONVENIENTCARELLC                                               20731STAVENUESE                                            IMOULlRIE,GA31768                                397.60!             38.651         38.6S             11.221                   4.52
27-D986430 _       JEANNEtNG"LEs                                                   l21cENTRALAVENUE                                            GAWPOUS,oH45631                                  '57.ooi            6355!          38.ss             2S.ool                   Cil
XX-XXXXXXX         WESTERN ANesntESIOLOGY ASSOOATES INC                            339 CONSORT DRIVE                                           !BAU.WIN, MO 63011-4439                          ss.oo!             38.SOl         38.s0!                -:                   4.50

XX-XXXXXXX     !TRANGTTRINHMD                                                      !217701CINGSLANDBLVO                                        KATY, lX77450-2S13                               90.001             63.47, ____ _ _38_.4_7_,.i_ _ _25_.°'!,.-'_ _ _ ___;4,::.50::,,i
s2-224ess9     loeLMONTMEDICALCAREFREEPORT                                         i5sNORTHMAINST                                              FRE£PORT.NY1is10                                122.00!             ss.75!         38.37             17.381                   4.49
XX-XXXXXXX     !JAMESGLAWSOO                                                       iPOBOX73448                                                 Ct.EVELAND.DH44lS3-0002                           38.00f            38.00!         38.00.                                     4.45

XX-XXXXXXX         SAri ANTONIO GASTRO ASSOC PA                                    is20 E. euam AVE                                            !SAN ANTONIO, ,x 78212-4414                     354.341             38.oa!         3s.osl             o.oal                   4.45
39--1924563    'NICOLE ANDERSON-WEISS MD                                           lPo BOX 44310                                               1MAD1SON, wi 53744-4370                         20Loo•             112.911         31.911                                     4.44
XX-XXXXXXX
XX-XXXXXXX
XX-XXXXXXX      SAttANTONID•MMCPADBAMACGREGORMEDICA!:._<;.T,!L _ _ _ _ _ _ _-f;P,_,O,_,BO=X;::244B=-------------+----p=======----t----'1:::05::.00=;-!_ _ _ _                                                      "'Tl:.:,.94,::if------'3cc7.94""f---="f------......:•:::·44~
               1
XX-XXXXXXX     'GEORGETOWN PHYSICAN ASSOOAT!S llC                            ]PO BOX 1209                           MURREW INLET, SC 29576-1209   180.00;    112.91!                                                              37.91.                                     4.44
~023282        !LASERANDCORNEALSURGERYASSC?C=--------------1'--"°=-"~o~x-=1BS=20~-----------+----·rls~ru=-ASr=·~M~'~04~•-===aea=-------~---==~i_ _ _ _.=.,=·'"'"+-!_ _                                                          __!7-{{_~_ri----1-----~•-~42'-I
               1
XX-XXXXXXX     VIRGINIA ENDOCRINOLOGY                                              2384 COLONY CROSSING PlACE                                  jMIDLOTHIAH, VA 23112-4280                      119.02!             82.80\         37.80                                      4.42
                                                                                                                                                                                                                                          1
XX-XXXXXXX         VISlTING NURSE ASSOOATION OF G                                  11440 DUVE B0ULEVARD200                                     CREVE COEUR, MO 63141                            56.00!             37.821         37.82                                      4.42
27•3396617     lSTREETERVILLE INTERNAL MED, llC                                    :s1&NsraA1Rsrsum11◄0                                        ,011CAG0,1L606U2974                             125.oo;             n.61)          37.61!                                     4.40

0&-1731478     lceuNA MEDICALcuN1c PU.c                                            b01 N PRESTON RD                                            !CELINA. TX 75009-3777                          190.00!             37.44~         37.44                                      4.38
XX-XXXXXXX         CONNECTiaJT PHLEBOLOGY PC                                       12001 BUTTERFIELD RD SUITE 330                              DOWNERS GR0Ve. lL60Sl5-l473                       85.00'.           46.761         37.40!                                     4.38
81--0630387        CENTER FOR SURGICAL DERMATOLOGY INC                             !Po BOX 76142                                               lo.evelAND, oH 44101-47S5                        144.oo!            97.16[         37.16!                                     4.35
XX-XXXXXXX     !SOUTHWEST KIDNEY INSITTUTE. PLC                                    )2149EWARNERRD,STE102                                       !TEMPf,AZ85284-349S                             215.DD)             37.161         37.161                -1                   4.3S
71-07S7572         HEBER SPRING.S CLINIC PA                                        !PO eox 1570                                                iHEBEK SfKINGS.AR 12543                          90.ooi             16.so\         3&.so!            40.oo   I                4.21
XX-XXXXXXX     !TRUSTEES OF PUROUE UNNERSl'TY             ----------;=:90~1=~-~_S!._"!/IWAM RD STEA                                           !DELPHI, IN-46923-17S9                           194.ooi            116.40;         36.401            BO.OD!                   4.26
XX-XXXXXXX ...JHEAI.THTEXAS PROVIDER NETWORK                                       !Po BOX 842001                                             ioA1.1.AS. TX 7S284--2001                        155.00i             86.27!         36.271            SO.CO!                   4.24

XX-XXXXXXX     !PULMONARY ASSO~OA_T~E~•------                                      1Pa eox 5352                                 i____--;=!BE=Lf"'A5T=•:cMc:.E:..04""91S-=•=30"'0------l-----"90=.oo=-'----="'c:·aac:.;~=_ __,3:::,6.001 ________ _.._._00-;-!-----~•2=-1'-f
                                                                                                                               _,
22-25S9801     1RIDGEWOOD CARDIOLOGY                                               hoo GODWIN AVENUESUJTE 100                   1             !MIDLAND PARK. NJ 07432-1460                       4s.oo:            cs.oot         36.00!             9.ool                   4.21


                                                                                                                              EXHIBITZ

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                                                                                                                                                        AEU INTERIM DISTRIBUTION




27-0389saz       !HuLSeeus ROCKFORD CHJROPAACTic                                                            1sn DAIMlER RD                                                              ]RoOCFoRo, IL 51112-1oos       I     2Ss.is;       102.0&~          3s.nl              66.34!                  4.1a

 XX-XXXXXXX          SOUTH FLORIDA ENT ASSOC                                                               !8181 NW 154TH ST       m   200                                              !MIAMI l..AKES, R. 33016             640.001       34204:           35.43]            306.61j                  4.14

 ~;_n401.5       IPED!ATRICASSOOATESINC                                                                    !491ALLENDAlEROAD                                           ISTE121          !1C1NGDFPRUSSIA.PAt94D6-1430           'i1'1.oof    7533)           3533[              40.ool                  4.13
 11-2ass139_. _._JTDTALFOOTCAREPC                                                                          1373ROUTE111SUITE1s                               ··-·   ··-1                iSMmrrowN.NY11787-4759         I       95.oo:       95.ool          35.ool             &0.00!                  4.09

 XX-XXXXXXX      !ANGELOSCOTTI                                                                              1BOWHITERDSUITE211                                                          !UTT1.ESltVER,HJ07739          j     140.00i        59.98;          34.981             25.oo!                  4.09

 XX-XXXXXXX      !REYTVILLANoeos                                                                            9CLYDERD                                                   !su1TE102        1SOMERSE'r,NJ08873-SD36        I     360.oo!       1so.00l          3sooi             14s.oo!                  4.09

XX-XXXXXXX . IWAIH"o""L=UM=M::.:D=------------------Fi':1""12"'0,=-,'-'STH=-A-VE--------------;:,,==-=---~i,:o:R:esr::H1~us.:~N=n~1~37:s-:ss:=3========~======:is:o:.oo:=========75:.:oo"f~~~~~~35::oo::1~~~~~~..:_.oo"'. .,'+.!~~~~~~~~~~~•-.o"'. . ,g"-I
                                                                                                                                                                                                                                       1

XX-XXXXXXX       TCNBEHAVIORAt.HEAl.THSERVICES                                                             i600EOAYrONYB.LOWSPRINGSRD                                  !             ---- !FAIRBORNOH45324             1      75.oo!        60.00i          3s.ooi             25.0D·                  4.09

XX-XXXXXXX       loAvroEDURYcAODPC                                                                         'msSHlAWASSEEsr                                            !                 fowosso.Ml48867-2744           I      ao.oo!        ao.oo!          3s.ool             45.ooi                  4.09

XX-XXXXXXX           CHARLOTI'E DEFLUMERE MD                                                                1068 CRESTHAVEN RD STE 110                                                  )MEMPHIS, TN, 3B119                  150.oo!        1s.00\          3s.ool             40.ool                  4.00

XX-XXXXXXX       kYLEDVICTORMDPC                                                                            2656MOMENTUMPLACE                                                           l0-11CAGO,JL60689                    100.001        79.B4i          34.84!             45.oo!                  4.08

 XX-XXXXXXX      l1NNOVATIVE RADIOLOGY PA                                                                   DEPT 486                                                   !Po BOX4346      IHoUSTON, TX n210              !     131.02[        34.67!          34.671              0.02!                  4.06

11.2s9292s       JcoNOMGRASSOMD                                                                             B305GRANDAVENUE                                           J                 1Et.MHuRST,NYll373-41D4        I     22s.01i        34.48~          34.481              0.01!                  4.03

,_11_.oa~•~2•~••~...,!--'ru<AS=~H~EAL~rH_CARE~~•~u.c~---------------~!s_1_oo_H_AR_R1_S_P_AR_<!N_Av_ _ _ _ _ _ _ _ _ _-Flsu::rre=35=0=----+lro=RT'--w"'o=Rllf=•..;TX::.c7c::G=13=2-------+l_ _ _--'94=..oo::,l_ _ _ _                       __:,s=g·=30,;.i______,:34::,.3:::D;..I_ ____,25,o.OO,e -----•~.0,1
                                                                                                                                                                                                                                                                                     ,_I




XX-XXXXXXX       )YAKovsKABASSO                                                                            ll.3600CEANPARKWAYSUTTE10N                                 I                 leR00KLm,NV11230-999s          I     3so.ooi        59.1Bl         .. ~is,-.!--~25=.oo=;l_ _ _ _ _..;••=°"=-1
XX-XXXXXXX       lwsPHYS1C1ANSOFM1011GAN                                                                   }DEPT467s                                                  !                 !CARCLSTREAM,11.&0122          I      91.00!        34.is(          34.lS;..I   ----·.;.l_____..;4.00=-i
14-1a:oo161      ]awGAUSTINMD                                                                              j32SMEETINGH0USELANE,SUrre1                                I                 lscUTHAMPTON,NY11968           I      19.13;        79.13!          34.~I              45.00]                  3S9

XX-XXXXXXX       !uL£TTE DAUMAS-BRITSDi MD                                                                 il275S woooFOREST BLVD                               ... __!                 \HcuSTON, TX 77015-7737        i      so.ool        59.14!          34.14!             zs.00 j                 3.99

XX-XXXXXXX       ]KENNETH J FUQUAY                                                                          210 JUPITER LAKES BLVD BWG 30000   sre 10                 !                 !JUPITER, FL334SB              !     120.00!        18.99!          33.99
                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                               45.oo!                  3.98

22-333899S       HERVEYSSJCHERMAN                                                                           1777HAMBURGTPl:ESTE3D1                                                      lwAYNE.NJ.07470                I     GSS.OO:       s23.74j          33.74/            49a.oo/                  3.95
26-2S91281       JAROSLAWSPONDOMD
                 1                                                                                         l11uN10NAVENUE                                             I                 IRUTHERFORD,NJD707D            !     240.0D(        78.741          33.74]             45.ool                  3.95
XX-XXXXXXX       BHDERMATOLOGYMANAGEMENTINC                                                                !433NCAMDENDRSUITEBOS                                      I                 !aEVERLYH1us,CA9021D-4412      I     GSo.oo!       359.91!          33.68j            326.231                  3.94
XX-XXXXXXX       iR1VERS1DERADICLOGY&1NTERVENTIONALASSOC1ATES1Nc                                            POBOX182268                                                                 lccLuMBus,oH,43218                   579.oo!        38.11!          33.ssl              s.15;                  3S3

il!:'!121127     DIGESTIVEDISEASESPEOAUSTSINC                                                               POBOX7316                                                 I                 lmMOND,OK73083-7316            ~,   3,433.2B;      606.&oi          33.60!            573.ool                  3.93
F2'-"G-0=-75=72e,G3:c_-+"M""C,"'~"-Y"FA,:,Ml=:<c:.Y.::CHlc:,Re,0:cPRACT1=:..:C::.__ _ _ _ _ _ _ _ _ _ _ _ _ _F3D1 N. LINCOLN RD.                                                        hiOCICVIUf, SN 47872                  44.00'.       3331!           33.31!                  _j                 3.90

01.0823798       CLARK DERMATOLOGY       w:                                                                l1~;~CENTRALAVE                                            I                 lOARK. NJ07066-1116                  1S9.32:        41A3!           33.141              8.291                  3.88

XX-XXXXXXX       PATHCLOGYCONSULTANTS                                                                       POBOX88487                                                I                 f0-11CAGO,IL06068                    472.0Di       377.601          33.091            344.Sl!                  3.87

XX-XXXXXXX       WAKE 0RTHDPAE01cs LLt                                                                      3009 NEW BERN AVE                                         I                 tRALEIGH. NC 21610-1214               40.00:        33.oo:          33.00!                 .,                  3.86
11·3471921       SHEEPSHEAD BAY MEDICAL ASSOC                                                          ··~·-!3632 NOSTRAND AVE                                                          [BROOKLYN, NY 11229                  315.00i        33.751          33.00i             74.67!                  3.86

22-2Es6Ei0       !PRINCETON FOOT ANO ANKLE ASSOC                                                            263   PRINCETON HIGHTSTOWN RD                                               lwesrw1NDSOR, NJ ossso-3u1     !     n,4.00!       31a.so!          33.00\            2as.sol                  3.86

XX-XXXXXXX       !PREM1ERUROUJGYASSOC1A1ESuc                                                                3131PRINCETCNPJK£                                         lsre~z12          \lAWRENCEV1LLE.NJ08648-2201    I     ns.oo!        z09.3ol          33_00!            13uol                    3.86
31J.187Ei299     GRAND TRAVERSE RADIOLOGISTS Pc                                                            !Po BOX 30516 DEPT 9516                                    l                 !lANSING, Ml 48909-8016               33.oo;        33.ooi          33.oo!                  •!                 3.86
46-3'211671      )HEALTHY SCHOOLS, UC                                                                      /3546 SAINT JOHNS BLUFF RD SOUTH, UNIT"                                      j.JAOCSON\IJllf, .FL 32224            75.00         32.98!          32.98!                                     3.86
XX-XXXXXXX       !ARZANDMDSC                                                                               lisssNBARRINGTONROP3ZD                                     i                 IH0FFMANESTATES,1LGD169              us.oo:         12.BB!          32.BSi             40.ool                  3.ss

XX-XXXXXXX ICAi:tD1AtCARE.~ASSO=-=ClA~TES=•~Nc-=----------------t'l1~20=•~•~MA~•~•~STR=EET~----------;i~su~rre=10=1~-,_!0\0W=~•--'P01=NT~,~'N~4G~307~-~••~1_1____+---~209=.oo~·-----"•1.~oo~:,__~3='-=-•o~l,___~•=-'=-oi,-. .____- '3=-.84'-'-I
14-3o299S4    i METROPOLITAN       DERMAT0LOG1csuRGERY                      fs75JOHNSON                                    lsrE3oo
                                                                                                                          FERRY RD     '.A1tANTA.GA.=-3"=342~-------+i_ _ _-=32=o=.oo~-··-· 1.~•'~-•=-2!;--_~l~!.~t--•!                -='-=82=-i                       --~60=-.llll=•i_ _ _ _ _

14s-2923040 _ /Pl PAlM LABl                                                 iPOeox 1507                         ---+-----f!Gcc•=EE"-'N"'Vlll.E.=-"TX.=75403='------+-l__--'225=.3=s'-.----=-..=·'=-9j~-~•=2s=•,,!___=l9"'.1=-•._!____--',=-"==-i'
5~1944452        IJAMESLOI.JlTITMO                                                                         1402LAICEH0WELLROAD                                        I                 lMAIT1.AND,FL32751             I     lDB.0D 1       46.56:          32.591             13.97;                  3.81


                                                                                                                                                                    EXHfBIT2

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                                                                                                                                           AEU INTERIM DISTRIBUTION




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                                                                                                                                                                                                                                                                                                                      -~

                                                                                                                                                                                                                                                                            32.s1i                              40.00!     '   3.8D
                                                                                                                                                                                                                                                                            32.29!                                    -1       3.78
27-lll4689     jROBYN DALE SIPERSTEtN MD                                                      !9897 HAGEN RANOt ROAD                                                tBOYNTON BEAOi, R. 334n-7401                    336.00                          183.76(                 32.351                           151.411           3.78
XX-XXXXXXX     icLEARl.YDERM uc                                                               \Jooow PALMmo PARK RD surre 110                                       \eaCA RATON, A. 33433-3429                     1,,464.oo'.                      650.74)                 32.35)                       1,049.39\             3.78
 s,,_2-089=942=•"--+la=RS="':::CXEN=-=CRAN·==LEY=&_,.,TAe,YL;::Oe;Re.P.:::A_ _ _ _ _ _ _ _ _ _ _ _ _.;:1•_,,oc.:ao=x"'6=2=62:::o________                            !BALTIMORE.MD21264-2620            ·             834.00~                        26036i                  32.ui                            228.24i           3.76
10
XX-XXXXXXX _,_ ,.lFRAN=~n'-s~co=NZ~o~,•~MD=-----------------1Jr28'-6~S1'-us~RO'-su~ITE"'5~---------~---=-~~-=--=-~~~--~~:1-EAST::"'P'-A:T-=CH:'-o=G:u~e,:"NY~-1=1-n:-=2--aa::1"-o-=-~~~-=-·-···+·      lr'.~~~~~~155;:.oo::\     ~~~~~~~~.:.:1~1.54:~;-l,.._-_-_-_-...,-======::+'!---_-_-_--:_-_-=c:::=o,=,,,:c._--:_-_-_-_
                                                                                                                                                                                                                                                                           31.54                   <0.00!                      3.69
XX-XXXXXXX     !VICTORY PODIATRY ASSOCtATES PLLC                                              f230s VICTORY etvo                                                    lsrATEN lSLANo, NY 10314-6623                  1,540.00:                        ss2.22l                 3LS6                             SOS.66!           3.69
XX-XXXXXXX     !montD.L CARDIOLOGY HEART MED GRP                                              iPO BOX 80011                                                         jCITY OF INCUSTRY. CA 9171&-8011                770.0Di                         121.10\                 3~;;,                            215.&lt           3.68
2G-Osss302     l~~ERINE o CARRETERO, Mo                                                       lllio w   2srH AVE                                     Im 600         loeNVER, co so211-3844                          149.54·                           3138!                 3L381   '                                 -1       3.67
XX-XXXXXXX     EDISON FOOT ANO ANKLE CARE Pc                                                  h02JAMESsr                                             !sre 301       IEolSON, NJ OBBl0-3970                        1,112.&2!                           9130)                 3L30,                        1,062.82!             3.66
XX-XXXXXXX     vrUAGEOAKSPATHSERVICE                                                          IPOsox29441                                            !              !SANANTONIO, TX78229               I              52.ool                          39.ooj                31.20!                                1.aol        3.6S
XX-XXXXXXX     !vALDOSTA PSYOIIATIUCASSOc w:                                                  13541N CROSSING CIR                                    I              lvAWOSTA. GA, 31602                             200.ool                         101.14i                 31.141                             10.00!          3.64
2D-5793SS9     !PAREKH MINUTECUNICOF NEVADA                                                   !PO aox 8431                                           j              ieELFAST, ME 04915                                89.oo!                          ss.ool                31.001                              25.ool         3.63
XX-XXXXXXX     INTEGRAIMAGtNGWESTPSSEATTLE                                                    IPoeoxsaoa                                             I              iSEATTI..E,WA98U4                  !              48.ool                          31.04i                31.041                                    -1       3.63
XX-XXXXXXX     MEDCAREEXPRESSLLc                                                              b288eERUNl'PKE                                         I              lwEW1NGTON,cr0o111                              480.011                         1&2.1a!                 3D.95l'                          131.83!           3.62
3D-<J579768    IFRANKJTRUPOMD                                                                 IPOBOX68U                                                             ID<ARt£STON,WV25362-()812          I          1.397.00i                         576.071                 3D.97!'                          545.101           3.62
XX-XXXXXXX     \DERMATOLOGY ASSOCATES OF TALJ.AHASS                                           \1707 RIGGINS RO                                                      [TAUAKASSEE, FL32308-5317          [            151.DD:                          30.93.t                30,93\                                    -!       3.62
XX-XXXXXXX     !TR1N1TYCOLL£GE                                                                13ooSUMMITsr                                           f HEALTH era   !HARTFORO,cros10&                                 as.001                          ss.84!                30.841                              25.0Di         3.61
XX-XXXXXXX     !PRESTCN FAMILY PRACTICE                                                       !4479 CENTRAL AVENUE                                   I              lwemRNSPRINGS. 1L60ssa                          187.DOI                         148.10!                 30.ssi                           111.25!           3.61
XX-XXXXXXX     !MAGNETIC RESONANCE OF NEW JERSEY                                              !sso KINDERKAMACK RD                                   l              !oRADEU.. NJ 07649                            1.&00.001                         304.26l                 30.751                           273.511           3.6D
XX-XXXXXXX     ,FAMILY MEDIONEASSOC OF TE                                                     14333 N JOSEY LN STE '"2                               i              iCARROLTON, TI< 7S010                           m.65 i                            70.6S   i             30.65!                             ,w.ool          3.59
36-401944S     lcoMPt.ETE VISION CARE Pc                                                      16209 WEST 9ST1i STREET                                               loAK tAWN, IL 54053-2101                        126.DOi                           75.so!                30.60i                              45.oo!         3.58
XX-XXXXXXX     RICHARD 0. CANSON, M.D.                                                        !216 W PUEBLO ST STEC                                                 !SANTA BARBARA, C'A 93105                       320.ooi                          30.56j                 30.56                           160.ool            3.58
U-1614034      RITEAID CORPORATION                                                            1301 SOUTH BROAD ST                                    I              !ntOMASVILLE, GA31792-9998         !              30.3Si                          3D.3Si                30.3sl                                    -1       3.55
11-291~2~•-.;:IG£=0,cR~G£=BA~•~==------------------il"'98"7c:,:6.=Q,eUE,:E""NS:..,B,.LVD:,:__ _ _ _ _ _ _ _ _ _ _rlm=1A=----;el1R,,,EG:,:O"P=•••,,_N"'Y'-'1""13"'7"4_ _ _ _ _ _+:___180=·=DD,;.'-----"30e,.OO=,.:_ _....e:=i~--="'
                                                                                                                                                                                                                     ,o.ool                                                                                     24.791         3.51
XX-XXXXXXX     IMuHAMMADTAHtRMDPC                                                             !1BHOUDAYPONDROAD                                      I              !JERICHO,NYU753-t1S6                            610.oo!                          30.00!                 30.00                            303.75!           3.51
XX-XXXXXXX     v BAY5HTOK PHYS10AN PC                                                         lgs-os 63 DRNE                                         I              IREGO PARK. NY 11374                            150.oo!                          30.ooi                 30.00!                                    -i       3.51
20-uss661      HUEBNER FAMILYMEDICJNE PA                                                      IPO eax 17068                                          I              leeLFAST, ME04915-406s             I              30.ool                         30.00!                 30.ool                                    -!       3.51
XX-XXXXXXX     ADVANCED CARE INTERNAL MEDIONE                                                 1140 VO TECH DR SUITE 3                                               !MCMINNVJLL.E, TN 37110-1329                    100.00;                          70.00!                 30.00!                              40.001         3.51
XX-XXXXXXX     1PSY0-11AiR1CASSOCAiES L LP                                                    l2is ROUTE 11 NORTH                                    I              iROCHEU.E PARK. NJ 07662                        300.oo:                          1s.ooi                 30.001                              45.ool         3.51
26-05S3931     !SAINT ALPHONSUS SPEOALTY SERV1CES                                             13340 E GOLDSTONE WAY                                  I              IMERIDIAN, ID 83642-1026                        152.00i                         12&.21l                 30.00                               96.271;        3.51
XX-XXXXXXX     !NoRTH COAST PROFESSIONAL COMPANY                                              lPO eox 713310                                         I              laN□NNAn. OH 45271-3310                         1DS.001                         105.00!                 30.DO                               75.00]         3.51
ss-2148418     NW GA oeRMAlOLOGY AND s1t1N                                                    1103 JOHN MADDOX DR NW                                 I              iROME, GA.. 301&s                               410.00:                         41s.o1!                 30.00                            388.011           3.51
XX-XXXXXXX     !oi1WRENS ORTHOPAEDIC AND scou                                                 !sis SIXTH AVENUE SOUTH SUITE 450                                     tsr PmRSBURG. R. 33701                          32LB2i                          2S6.6Bi                 30.00!                           226.68]           3.51
XX-XXXXXXX     APRILGARONERDO                                                                 iPOBOX4723                                                            !aELFAST.ME049~723                              195.00'.                          ss.oo!                30.ooj                              is.ool         3.51

 ?..6-0:.=75c,1,:03::=2'---FL"'ER:::RO,cLD=.FccSCH=W"'AIITZ=-----------------'i·11 MREADOu':: ~••oSTEoK !AcNE                                                       [MONSEY. NY 10952-2528                          1~:.'?.0'.                       10.ooi                 30.00!                              40.ool         3.51
   _ _3_284_-+1._,._NA_a£_8EHAVIORAL HEALTH INS
,_II0-()55                                                                      8 51    •• 7 ~                                                                      IMARLTON, NJ 08053                              110.00;                           ss.oo=                30.ool                              25.~!          3.51

XX-XXXXXXX     TETON COUNTY HOSPITAL E M S T R ~ I C T ~ - - - - - - - - - - - -             ... j'-l•=O=BO=X:.;:40:::;1:::0_ _ _ _ _ _ _ _ _ _ _ _ _ -----+iJACKSO_~N·~•c.83_00_1_ _ _ _ _ _-+-_ _,._~--00_:,-i_ _ _ _1.c..66_3._00_i_ __                                  ~E~j                         2,660.00 1            3.51
XX-XXXXXXX     lcoNSumNG CAR010L0Gtsrs.. PC                                                   !305 WESTERN eouLEVARD                                 !surre 100     iGLASTONBURY.CT06033-43so                         so.ooi                          29.78l                29.78i                              ,o.ool         3.48


                                                                                                                                                   EXHIBIT2

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                                                                                                                AEU INTERIM DISTRIBUTION


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;;t_ ..... __ ,._   -.
                          -~-- -
SS-2100288
XX-XXXXXXX               iPALERMD EYE CARE                                      [18 S EVERGREEN AVE
XX-XXXXXXX               !GARY S COHEN MD                                       1PO SOX 12070                                         !AtSANY NY 12212-2070                42.00!                     29.40)                   3.44
XX-XXXXXXX               ;JOSlANE S LEDERMAN MD                                 !116 lAMBERTS lANE                                    lsrATEN ISLAN~. NY 103].4.7210      400.0D'.       193.85\      29.23,                   3.42
XX-XXXXXXX               '
                         !KAREN WESSON MD                                       !1010 NORTHERN BLVD SUITE 120                         !GREAT NEOC. NY 11D21..S306         350:,_~:'      193.as!      29.231                   3.42

XX-XXXXXXX ----- iPULMONARY & SlfEP MEOIONE                                     '2971 W ALGONQUIN RD STE 104                          !ALGONQUIN, IL 30102.9407           235.00'.        36.411      29.ui                    3.41
XX-XXXXXXX               PHVSICANS DIAGNOSTIC IMAGING                           JPOBOX3173                                                INDlANAPOUS, IN 46206-31n        29.ool         zs.ool      29.00/                   3.39
XX-XXXXXXX               ~_9~ SUBURBAN WELLNESS LLC                             1732ARST5r                                                HIGHLAND PARK, IL 60035       1.045.00!        835.96l                               3.39
g.1.3019135              :SAFEWAY INC                                           19229 E UNCOlN AVE                                    iLONElREE, CO 80124                  48.00/         29.ooI                               3.39
XX-XXXXXXX               !CAROLINA ORTHOPAEDIC                                  is20 SUMMrr CROSSlNG 108                              !GASTONIA. NC 28054                  56.00)         36.061  '                  7.21!     3.38
XX-XXXXXXX               CENTENNIAL EYE ASSOCIATES                              15901 E BRJARWOOD CR UNIT 100                             AURORA,, CO 80016-1781           g7.oo\         73.90\                   45.oo!      3.38
40.0002911               ST MAAV INTERNAL MEDICINE                                                                                        PtAINRELD, IL60586             2S0.05l          68.82!                   c,.osl      3.37
26-0B8g23g               tSUN PAIN MANAGEMENT PLLC                                                                        STE1SOH     !PHOENIX. AZ 85018                 380.00 1         88.75
                                                                                                                                                                                                  1
                                                                                                                                                                                                                   60.00       3.36
XX-XXXXXXX               ALPERT ZALES & CASTRO PEDIATRIC                        !'1623 ROUTE 88 WEST                                                                     590.00          213.571      28.57       185.00       3.34
                                                                                193SWYt::E RD
XX-XXXXXXX               !oERMATOLOGY CENTER OF SHELBY PA                                                                                                                118.00]          88.32   '                60.00[      3.31
 6-1039154               iMVSTICMEDlCALGROUP PC                                 200 SANDY HOLLOW ROAD                     STE2                                           220.~           108.10                    eo.ooi      3.29
                                                                                                                                                                                                  I
XX-XXXXXXX               loeRMATOLOGY ADVANCE CARE                              2433 MAHAN DR                                             TALLAHASSEE. fL 3230W329      2,616.881        595.73'                  567.601      3.29
2""539859                PAUSADES PODIATRY ASSOCATES LLP                          11 MEDICAL PAR~ DR                                  !POMONA. NY 10970-3560             668.00;         6GB.OD~      28.00       640.00       3.28
                                                                                l                                                                                                                          I
 6-4454451               FUTURE DIAGNOSTIC GROUP LLC                            1254 N REPUBLIC AVE                                   houET, IL 60435                   2,4ss.ool         ZS.DO:      28.00!            -!     3.28
                         jDOBSS EYE Q.INIC                                      1201 SOUTH MAIN   ~                                   ,ENTERPRISE, AL 36330-2544         113.00!          21s1·       27.971       20.00!      3.27
 3-06536U                !WASHINGTON UNIVERSITY                                 POBOX60352                                            !sr LOUIS, MO 63160-0352           210.00!         151.sol      27.00!  '   130.sol      3.16
                         COMPLETE WELLNESS MEDICAL                              J30 E GOTH sr SUITE 302
                                                                                                                                      i
                                                                                                                                          NEW YORK, NY 10022-7102         30.ooi          21.00!      21.00!                   3.16
                         MINUTEa.tNIC LLC                                       jPOBOXB426                                            !BELFAST,ME04915-8426               .....1          26.49!      26.49                    3.10

                         ,HENRY RATLIFF                                         !&01 EWING ST srE A-B                                     PRINCETON, NJ 08540-2754       ,.,.ooi         163.22~      26.52,       86.70.      3.10
XX-XXXXXXX               jWIUlAMSON MEDICA1.GROUPUC                             4323 CAROTHERS PKWY SUITE 505                         !FRAN~.~• TN 37067                 535.00!         220.54f
                                                                                                                                                                                            ---T
                                                                                                                                                                                                      26.49i      194.os!      3.10
                                                                                                                                                                                                                        I
~4-1834454               CAPrrAL CARDIOLOGY ASSOCATfS                           !7 SOUTHWOODS BLVD                                    •AlBANY, NY 12211                    S4.CO:         26.431      26A3j                    3.09
                                                                                ; PO BOX 912275                                       iDENVER, CO 80291-227S                                                  1            1
XX-XXXXXXX               JACkSON HOLE MEDICAL IMAGING PC                                                                                                                   33.00!         33.oo!      26.40         6.60       3.09

XX-XXXXXXX               S01.JiHWESTSKIN AND CANCER                             '383S3DOE                                             !sr GEORGE, UT S4no                105.00;  '       76.24!      26.241       50.00       3.07
21>5292168               !lABORATORY OF OERMATOPATHOLOGY ADX LLC                80 CROSSWAYS PARJC.OR srE 100                         !woooBURY, NY 11797-2047           430.00!         167.09!      2s.22l      140.87!      3.07
XX-XXXXXXX               jAaMEMPHIS                                             PO BOX 144225                                         !AUSTIN 1X 78714-4225             1,91S.ooi        724.70l      26.06!  '   894.02!      3.05
31-1504D7S               MANAGEMENT NETWORK SERVICES                            iP.O.BOX73!396                                        I a.EVElAND, OH 44193              37S.52]         176.00:      26.00       1so.oo\      3.04
56-21DnS9                fUROLOGY SPEOAUSTS OFlHE CAROLINAS PLLC                201 QUEENS RD                                         ICHARLOm. NC. 28204               1,61s.oo!        as:z.ss!     25.70[      826.BSi      3.01
XX-XXXXXXX               lsourH GEORGIA SPlNE AND JOINT                         202 S MADtSON sr                                      !THOMASVILLE, GA, 31792            635.CO!          25.40;      25.40!      189S2        ,,,,
 5-4707235               IFEux CHI MING YIP, MO INC                             !600 N GARFIELD AVE 308                                   MONT£REY PARK. CA 91754        460.00!          2536'.  '   2536         43.06       ,_,,,
XX-XXXXXXX               lDANTE TROVATO, MO                                     !10216101 AVE                                             OZONE PARK, NY U416            440.001          25.00;      25.ool       76.oa(      2.92

XX-XXXXXXX               iJAMESRICKETTI                                         l2273STATE HWY33STE204                                ]HAMILTON SQUARE, NJ 08690-1747     JS.co:          75.00!      zs.oo!       so.ool      2-!12
XX-XXXXXXX               ICARDIOVASQJLAR ASSOCIATES OF THE DELAWARE VALLEY PA   120 WHITE HORSE PIKE STE 112                          !HADDON HEIGHTS, NJ 08035
                                                                                                                                      i
                                                                                                                                                                           25.00:         25.00~      25.00             -!     2.92

3&4205596                .MEDICAL HILLS INTERNISTS UC                           IPO BOX 843246                                        IICANSASOTY, MO 64184-3246           25.001 '       25.00''     25.00             -i'    2.92
                                                                                                                                                                         390.00i-·····
XX-XXXXXXX               !NY SOOETY FOR THE RELIEF OF                           429 EAST75TMST                           i3RDFLOOR    !NEW YORK. NY 10~.-;23                             390.00;      25.DOi  '   365.ooJi     2.92


                                                                                                                        EXHIBIT2


                                                                                                                          180
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                                                                                                        AEU INTicRIM DISTRIBUTION




                                                                        I
XX-XXXXXXX                                                              iPOBOX959S                                                          NEWYORK, NY 10087                495.00!       2SL7Bi       24.10!                   2.89
XX-XXXXXXX          MUNSTER ORTHOPAEDIC INSTITUTE UC                    19136COLUMBIAAVE                                                !MUNSTER, IN 46321-2907              278..96 1      69.741      24.74        45.00!      2.89
                                                                                                                                                                                     I
XX-XXXXXXX          USA MEits                                           [ 1ss S ROOiDALE DR STE A                                       !ROOIESTER HILLS, Ml 48309-2276      329.00;       168.231      24.701      143.531      2.89
XX-XXXXXXX          HEALTHTEXAS PROVIDER NETWORK                        '
                                                                        18080 N CENTRAL EXPY                            !surre600       IDALLAS, TX 75206                      so.ooi       24.68:  '   24.68'       25.ool      2.89
XX-XXXXXXX          SARASOTA ORTHOPEDIC ASSOCIATES llC                  '[2750 BAHIA VISTASTRE:ET                       isre100         tSARASOTA, Ft.34239                  538.00]       278.68!      24.28 1 '   254.40!      2.84
XX-XXXXXXX          TARRANT DERMATOLOGY CONSULTANTS PA                  .!_~2 8TH AVENUE SUITE 100                                      ';FORTWORTH, TX7G104                 150.ooi        69.ul       24.11                    2.82
XX-XXXXXXX          OESCANSO DERMATOLOGY MEDICAL GROUP                   1346 FOOTHILL BLVD STE 203
                                                                                                        --·-· -· -··--·+-·-···              lA CANADA, CA 91011               90.oo\        69.13!      24.13!                   2.82
XX-XXXXXXX          JOE GARMON                                           200 GORDON AVENUE                                              l11toMASVtLLE, GA31792               165.oo!        24.00{      24.001                   2.81
XX-XXXXXXX          ;ADVANCE BIOMEDICAL                                  3089 S HARBOR BLVD                                             '
                                                                                                                                        !SANTAANA,CA92'04-6448              2,750.ool       39.98;      23.991                   2.81
                                                                                                                                        I
XX-XXXXXXX          TOTALVISION EVECARE CNTR                             MANOIESTER PARICAOE                            !MIDDI.ETNPIC   !MANCHESTER. CT 06040                394.oo)       153.zsl      23.91!                   2.80
                                                                        1                                                                                                                           I
 S-5571958          EU otEN MO INC                                       333 OCONNOR DRIVE                                              !SAN JOSE, CA 95128                  261.00!        83.89       23.89!'                  2.79
52--2130579         .MEOTOX LABORATORIES INC                             NW S830 PO BX 1450                                                 MJNNEAPOUS, MH 55485-2450         23.SS)        23.ssi      23.BS                    2.79
XX-XXXXXXX          ROBERT H DROPKIN MD LAURA A COSTEll.O MD             6 EXEOJTNE PARK DR                              sre10          ,Al.SANY, NY 12203--3791              6S.oo:        48.64!      23.64                    2.77
                                                                                                                                                                                       ;
XX-XXXXXXX          ioRTHOPAmlC OJNIC P C                                P080Xll2S                                                      loPEuKA. AL 36803-2125              1,171.00       685.04!      23.69                    2.77

XX-XXXXXXX          !sr. AUG- FLAGLER FAMILY ME DIONE                    130 HEAKTH PARK BLVO                                           ST.AUGUSTINE, Fl32.086-Sn&           109.661   '    23.59i      2359!                    2.76
XX-XXXXXXX
                    I
                      LONGWOOD MEDICAL GROUP PA                         ,PO BOX 18819                                                   !Ba.FAST!..~.! 04915                 250.ooi        83.48i      23.481  '                2.75
XX-XXXXXXX                                                              iPOBOX15405                                                     !NEWARk. NJ 07192-54CIS             2,500.00;      216.41\      23.30                    2.73
XX-XXXXXXX          ncOFGEORGIAUC                                       jPO BOX 932958                                                  la.EVELAND, OH, 44293                493.ooj       173.04)      23.00                    2.69
XX-XXXXXXX                                                              iPOBOX654                                                       1MJDDLESBORO, KY, 40965               9S.D0.        22.82:      22.82                    2.67
XX-XXXXXXX                                                               90TURNERAVE                                                        EUC. GROVE, IL60007              iss.oo!        62.691  '   22.69       40.ooi       2.65
XX-XXXXXXX          FAMILY PRACl1C: ANO INJURY CENT                      S778 5TH AVENUE NORTH                                          ST PETERSBURG, FL 33710-7204         130.00:        47.56!      2256         25.ool      2.64

XX-XXXXXXX          jRUSH CENTER FOR CONGENITAL                         f75 REMITTANCE OR                                OEPT1622       iatlCAGO 1L 60675-1611                2a.00,        28.001           '
                                                                                                                                                                                                        22.401        s.ool      2.62

XX-XXXXXXX    -•M
                    ;THE tJTTlE aJNICOFTENNESSEE UC
                                                                        1PO BOX 932958                                                      0.EVElAND1 OH, 44193-0028        142.00         43.14l      22.21''      20.93;      2.60

XX-XXXXXXX          COLONIAL FAMILY PRACTICE l LC                        325 BROAD ST Sic 100                                           .SUMTER, SC. 29150-4167
                                                                                                                                        I           ·-··••
                                                                                                                                                                             207.00,        ss.ssl'     22.00!       23.85       2.57
20,4907803                                                              '175 E. HAWTHORNPKWY336                                         'VERNON HlU.S, IL 60061              11s.00;        62.DOi      22.00        40.00,      2.57
 7.2339794                                                              l1580N NORTHWESrHWYSUITI: 225                                       PARK RIDGE, ll 60068             150.00(        sz.ool      22.00        40.00 1     251
                                                                                                                                                                                                            I
XX-XXXXXXX          jlCABULSINGHMD                                       43-73 UNIONSTREETSUITE«A                                           R.USHING, NY 11355               100.001        71.541  '   2154!        50.00       2.52
XX-XXXXXXX                                                               150 EAST '17 ST 1D                                                 NEW YORK, NY 10075-1922          225.00!        21.46!      ZL46i                    2.51
                                                                                                                                        I
XX-XXXXXXX                                                              !42550 GARAELD RD STE 103                                           OJNTDNTOWNSH!P. Mt.48038-1644    145.00j       110.00!      21.251       es.1s l     2.49
XX-XXXXXXX          '[P~EHURST RADIOLOGY ASSOCIATES                     !PO BOX 63443                                                       QiARLOTIE. NC 28263-3443          82.001        21.12!      Zl.lZ!           ·I
                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                 2.47
XX-XXXXXXX          [JOSHUA D STERN MD                                  '!PO BOX 151                                                        PT WASHINGTON. NY 11050         1.01s.ool       21.04•
                                                                                                                                                                                                    i
                                                                                                                                                                                                        21.04!                   2.46

XX-XXXXXXX          EMERGENCY MEDIONf PHYSICIANS                         PO BOX 18904                                                   jBf!FAST, ME 04915-4084              896.4Dj       493.ozi      21.02!      472.0D       2.46
                                                                                                                                        i
27~9894             !NEW AMSTERDAM MEDICAL ASSOOATE                      PO BOX 95000 Q.5280                                            1PHJlAOELPHIA. PA 19195               30.oo!        2LOO;       ZLool                    2.46

XX-XXXXXXX                                                              '!~~~~-'!1ARICET SQUARE                                         lZEPHYRHIUS, Fl 33542-7502           13S.OOl        BLOOl       21.ool       60.oo!      2.46
XX-XXXXXXX          !?YES PARK OilRDPRACTIC CLINIC SC                   1421 RrYERLN                                                    ;LOVES PARK...!L. 61111              260.0D[       177.00\      21.001      156.00!      2.46
                                                                        I
SS-1294798          DIAGNOSTIC IMAGING SPECIALISTS PA                   lpQ BOX 678910
                                                                                                             -..--•--·····..            ,OALlAS, TX 75267-8910
                                                                                                                                        I
                                                                                                                                                                             137.00[   '    86.70l  '   20.831       6S.s1!      2.44
XX-XXXXXXX          lTHe EYE ASSOCATES oF MANATEE uP                    f6002 POINTE WEST BLVD                                          !BRADENTON. R. 34209                   sa31\        ao.31l      2037!        60.00       2.38


                                                                                                                      £XHfBIT2

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                                                                                                                                    AEU INTERIM DISTRIBUTION


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                                                                                                                                                                                                                                                                                                         ':R$;,..,·
                                                                                                                                                                                                                                                                20.00!             so.co!                             2.34
XX-XXXXXXX     ICHRISTIANCOUNSEUNGOFGRl:ATE                                                 !39AWATERBURYROAD                                      !             !PROSPECT,CT06712                                     200.00·                  10..001         20.ool             so.oo!                             2.34
XX-XXXXXXX     !JACKSON PARK FAMILY PHYSICIANS PC                                           (806 W COMMERCE ST                                                   !BROWNSTOWN, lN 47220                                  20.00i                  20.ooi          20.00!                  _j                            2.34
XX-XXXXXXX     lOIIIDRENS EYE CARE LLC                                                      i1011 FREDERIO:: ROAD                                                ICAlONSVlllf, MD 2U28                                  65.00i                  65.DD\          20.ool             4s.oo!                             2.34
XX-XXXXXXX     !ROBERT KEITH ICAlMAR DPM                                                     62 GREEN STREET                                       i             IHUNTINGTON. NY 11743-6912                             75.DOi                                  19.891             45.ooi                             2.33
 XX-XXXXXXX   !~ R TEITELBAUM OPM                                                            315EASTB6Tl<srsu1rE1GE                               I              ,NEWYCRK,NY1002e                                      225.oo:                                  19.B9j            157.15!                             2.33
XX-XXXXXXX     /THE MIRIAM HOSPrTAL                                                         !164SUMMITAVENUE                                      I              iPRCVICENCE,Rl02906                         I       2,769.00'                                  19.421          U,57.961                              227
XX-XXXXXXX    rlAN DALE WAMBC.~~.'.,'.". .....                                              !PO BOX 20490                                                        jMESA. AZ852TI-0490                                    85.00~                                  l9.4oi             40.ool                             227
XX-XXXXXXX         OSEPH M CAPETOLA CC                                                      2,a PROSPECT PAR< WEST                                l               BRCOnVN, NYlUlS                                      100.ooi                  79.211          1921/              60.DCli                            2.25
XX-XXXXXXX     J CHRIS BECKMAN MD                                                           !s20 HIGHLAND TERM.CE sum: E                                          MURFREESBORO. lN 37130                               140.ooi                 59.27!           19.27!'            40.00i                             us
XX-XXXXXXX     leRICHEMBERG MD Pc                                                           !101 24TH STREET                                                     loPEUKA. AL 36801-6253                                 1B.01i                                  19.15]              0.011                             224
XX-XXXXXXX     leOTER AND ICOZHIN OBSTETRICAL                                               6960 108TH STREET                                       STE 101      !FOREST HIUS, NY 11375                      j         200.00'                 19.00;           19.00]                  -1                            222
                                                                                                                                                                                                                                                                       !
XX-XXXXXXX     PEDIATRIC NEUROLOGY HEALTH                                                   245 NEWTOWN RD                                                       jPLAINVJEW, NY 11803                                  300,00i                 GUIO;            1!il.00i           45.oo!                             222
               I
UNKNOWN

01..0650454
               !JAMES ARAGON A
               PRESTIGE PRIMARY CARE ASSOCATES
                                                                                            !PO BOX 103

                                                                                            4501 MACCORKLE AVE SW STE 301
                                                                                                                                                                 !ADELPHIA. NJ 07710-0103

                                                                                                                                                                  S CHARtESTON, WV 25309-1444
                                                                                                                                                                                                                       450.DOf

                                                                                                                                                                                                                       125.00i
                                                                                                                                                                                                                                              450.00\

                                                                                                                                                                                                                                               58.7B!
                                                                                                                                                                                                                                                                19.ool
                                                                                                                                                                                                                                                                18,781
                                                                                                                                                                                                                                                                                  431.00!

                                                                                                                                                                                                                                                                                   40.ool
                                                                                                                                                                                                                                                                                                                      =
                                                                                                                                                                                                                                                                                                                      220
XX-XXXXXXX     FOX VALLEY OPTHALMOLOGY LID                                                  40W330tAFOXRDSUJTEA                                                   STDWU.ES,.IL60175-6S1S                               584.00[                                  18.83!           49e.ool                              220
XX-XXXXXXX    !ARTHRJTlS RHEUMATIC BIC DISEASE                                              ,2301 EVESHAM RD                                      !BLDG 800       VOORHEES, NJ 08043-4510                              217.64'                140341            18.741             61.60:                             2.19
&1549973      [ZJTEW & BRODLAND PC                                                          ls200 CENTRE AVE STE 303                                              PITTSBURGH, PA 15232·1312                  1          ao.oot                 63.721           1B.12l             45.ool                             2.l!l
XX-XXXXXXX     MOUNTAIN EMPfRE RADIOLOGY PC                                                 1301SUNSETOR3                                                         JOHNSONaTY, 1N37604                                   33.00]                 23.10:           18.4B1              4.621                             2.16
73--1564706    JOEJ. RAZOOk MD                                                              2300 3611t AVE NW sum uo                                              NORMAN, OK 73072-2922                                 40.ool                                  1825!                   _j                            2.14
                                                                                                                                                                                                                                                    I
XX-XXXXXXX     HOUSTON DERMATOlDGY ASSOCATES                                                6560 FANNIN ST STE 724                                !               HOUSTON, TX 77030                                    485.DO]                171501            18.14!            153.361                             2.12
XX-XXXXXXX     )OHIO VALLEY PATHOLOGY ASSOCIATES                                             PO BOX 1295                                                         !BLUEFIELD, WV 24701-1295                              20.00i                 18.ao:           is.ool                  -1                            2.11
XX-XXXXXXX    iMAUREEN RICHARDS                                                             :4314WCRYSTALIAKERDSTEB                                               MCHENRY,IL600SO                                      180.00i                 lB.OOi           10.00!                  -!                            2.11
XX-XXXXXXX     JOHNCSHERSHOWMD                                                              240CENTRALPARKS02H                                    I              !NEWYORK,Nv10019                                      J.SO.oo!                62.69:           17.691            45.ool                              2.07

XX-XXXXXXX -·· jR10-tMONO NEPHR0LOGY AS.500ATES INC                                         l671 H.IOAKS RD STE B~----------+----+"'=°'~M~CN=C·~~~"=23=225=------                                            j          87.CO;                          16,691  60.ool
                                                                                                                                                                                                                                               76.~i-----==+----==+-                                                  1.95
                                                                                                                                                                                                         - +-·1__...,,.,,:=:=2! ____1~,03-7.B2-;-!- - - - -16.601
"2"'5-C-"96=5612=---,l.:.:WEsrM=:::0::,R::,E"IA:::N::::C.:.:HC::,S::.Plt::,A::.,L~---------------'!s,,3c,c2.:.:W..,_PITTSBU==•ccG_ _ _ _ _ _ _ _ _ _ _+----f'GRE=E=NSB=URG=••cc.Ac,15::;60=1-22=39'-----·-
                                                                                                                                                                                                       ..                                                              jr--~~     l.653.221
                                                                                                                                                                                                                                                                                      -;-                             1.94

~?1158723     !NORTHWEST RADIOLOGY NETWORK PC                                               !13583 COLLECTIONS CENTER ORNE                                       l011CAGO, IL 60693-0135                                    .... ,1--··••H••···· -~'=0S=.3=2,-!- - ~ =   : - - - - - - !-1-
                                                                                                                                                                                                                                                                     16.22!                                           1.90
XX-XXXXXXX    lCAPtrALHEALlH ADVANCEO IMAGING PC                                            1PO eox 3246                                                          1N01ANAPOus, 1N 46206-3246                            40.oo:                 40.oo)           1&.coi             24.001                             l.B7
                                                                                                      1
F5~6-2=622500=~-t'llTTI.E~=OJ=N~IC=ll.C=-------------------"l•-=c-=•=ox°'9"'329=SB=-------------+-----i-=a.=EVE=lA-"N"'D,"O"'H..
                                                                                                                              '-'"'"'=3=-------+---=12~:.~..-'-----GS~SO-,...!                                                                            --~~-----
                                                                                                                                                                                                                                                                16.00!             49.SO(                             1.87

XX-XXXXXXX    !SCANSTATTECH
                                                                                            1
                                                                                             288SMAINSTSTE600                                     l              lALPHARETTA,.GA.30009                                  lS.89'.                15.891           .....!                  _j
                                                                                                                                                                                                                                                                                                                      1.86
11·3419719     SOUTH BAY MEDICAL CARE PC                                                    625 MONTAUIC HWY                                                     Cl:NTER MORJOfES, NY 11934                             40.oai                 15.691           15.691                  -!                            1.B4
XX-XXXXXXX     PROCARE MEDICAi. CENTER U                                                    !68705 RAINSOW                                          SUJTI: 1D7    lAS VE.GAS, NV 89118                                 124.34i                 40381            15.38[             25.001'                            1.8D
47-40Ei2909    SOUTHERN 1NTERVENTIONA1 PAIN CENTER                                          lsis souTH HANSELL sr                                 !              !1HOMASV1LLE, GA3t792                                 210.631                 is.ls!           15351                   -!                            l.BO
XX-XXXXXXX    !CENTER FOR ORTHOPEDIC EXCl:llfNCf                                             lCNJSTAVERN RD                                       [m 102         !MARTINSBURG WV 2.5401-2801                         4,005.00!                 15.36!           15.361          3,180.83!                             1.80
XX-XXXXXXX    !SANTA BABRBARA SKIN CARE 1NC                                                 !ma BATH ST STE 205                                                  SANTA BARBARA, CA, 93105                              132.00.                 75.391         15.39!  60.ool                                          1.80
F3"'3-04=3"-'79,;:66:...___,""RC::W=.Ne.M=G,;:RE:EN=M:.C_ _ _ _ _ _ _ _ _ _ -------...;!c=-244==11 HEALTH CENTl:RDRSVE 520                                       '!LAGUNA HlUS, CA 92653-3633                          704.~~•---~56,,9~.4=;3i_ _
                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                             ~=,---==t-
                                                                                                                                                                                                                                                              1528'  554.15/                                          1.79
              1
XX-XXXXXXX ·---!~-':!~~!:!!?..~~-M::.:Ec::D.::CTR=PC=-----------------ili=200=0"-'.:;:,-"·~=•AR=•=c•.c.1VEc=-.._ _ _ _ _ _ _ _ _                       -----i!GuLFSHORfS,AL=36542=~------i----'10=2.00!
                                                                                                                                                 .1,...,                                                                          ··-----=ss=2=',---=+---~=+-
                                                                                                                                                                                                                                                  15.271  so.oo!                                                      1.79
XX-XXXXXXX    iPEEICSKII.LAREA HEALTH CT                                                    PO BOX S036                                                          !WHITE PLAINS,_!!!,, 10602                            370.01:                 SS.01 '.         15.011             40.ool                             1.76
XX-XXXXXXX    iGEORGEP MELTSAICOS MO                                                        I
                                                                                            ;3BARTLETTSTSUITE504                                                 !LOWELLMAD1852-1334                                    95.oo'                 65.ooi           15.001             so.oo!                             1.75


                                                                                                                                               EXHIBIT2

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                                                                                                           AEU INTERIM DISlRIBUTlON




                                                                                                                                                                                  ss.oo:    1s.ool
XX-XXXXXXX                                                                                                                                                         614.00!      113.00i '   15.00               1.75
XX-XXXXXXX          CHRISTINE MARTINSON ZEIFERT OD                     : 1849 GREEN BAY ROAD                         isurre1•s                                       90.00!       90.oo:    1s.oo:     75.00:   L75
XX-XXXXXXX                                                             13165 MCCRORY PL STE 174                                  !ORLANDO. FL, 32803                160.00;       74.s:z)   14.82!     60.001   L73
26-0S6869O                                                             ]POBOX:5127                                               !JOHNSON OTY, lN 37602              21.00 1      14.70i    14.701         -i   1.72
XX-XXXXXXX                                                             565 TALCOTTVIU.E RD 3134                                  [VERNON,CT0606G                   4!MAO!       398.401     14.40               L68
XX-XXXXXXX          1RAl.EIGH DERMATOLOGY ASSOCIATES                   800 SPRINGAElD COMMONS DR STE 115                          RALEIGH, NC 27509

                                                                                                                                                                                                                ,...
                                                                                                                                                                     95.001       74.07!                        1.65
l3-4060672          i;~LTHCARE RAOIOLOGY AND DIAGNOSTIC                ;POBCXSU3                                                 /WHITE PlAfNS. HYJ0602·51I3         19.SSi       13.99;
XX-XXXXXXX          \WYCKOFF                                           IPO BOX 7247-7928                                          PHILADELPHIA, PA 19170           250.00;      133.92! '                       L63
XX-XXXXXXX          '
                    !OCMULGEE MED PATHOLOGY ASSOCIATION                PO BOX 100191                                             1ATlANTA. GA 38401                 35.oai       13.97!                         1.63
22-3Z70669          'iDAVIO BACHA DO FAAP                              ·340TENAA.YRD
                                                                                                                                 1
                                                                                                                                  TENAFLY. NJ 07670,-2530           60.00i        13.84•                        l.62
05-047B628          [CARD!OLCGYSPEOAUSTS LTD                           l,oeox6300                                                 PROV1DENCE, RI 02:940-SOO        22s.ool       90.46!                n.121    L56
33--1011618         !MICHAEL PVERNI MD llD                             653 N TOWN CENTER AO                          ISTE302     llAS VEGAS, NV 89144              28LOD!        62.95;
                                                                                                                                                                                        I
                                                                                                                                                                                                       so.ooi   LS2
XX-XXXXXXX          !uNtVERSITY PHYSICAN ASSOOATES                     l,o eox 871174                                            ]KANSAS CITY MO 64187-1174        190.00i       12.971                40.781   1.52
88-o371504          iGUADALUPE MEDICAL CENTER                          Jt060NRANDIODR
                                                                                                                     I
                                                                                                                                  LAS VEGAS, NV 89106              191.0~l       42.031                         L52
XX-XXXXXXX          !ENT ASSOC OF ALABAMA                              !s33 ST VINCEN15 DR                           !5TE402      BIRMINGHAM, AL 35205-1606        110.00!       12.81!                         1.50
XX-XXXXXXX          !RONALD D HARTM 0                                  POBOXl.MO                                                  UNCCLN, CA 95648                 142.0D!       62.63!                         L48
XX-XXXXXXX          iDAVID G SANFORD MD PSC                            1SD2 CUMBERLAND AVE                                        MIDDlESBORO. KY 40965             75.00:       52.SDi                         1.46
XX-XXXXXXX          !GAR'( A MARCOTTE 00                               15900 W UJ1 ST AVE                                        ionR, IN 46311                    s12.00l      713.67!                         1.40
XX-XXXXXXX          INATHANIEL A KEU.ER MO                             7469 NW 4TH sr                                            !PLANTATION, FL 33317-2216        120.00)       s1.95J                         L40
XX-XXXXXXX          iHEARTIAND EYE CONSULTANT U.C                      i9900 NI0101ASSTREETSUITE 250                             ,OMAHA. NE 68114                  154.001        s1.oo!                        1.40
                                                                                                                                                                                      I
SS-1075293          !wtSTGEORGIA EYE CARE CENTER                       2616 WARM SPRINGS RO                                      lcoLuMBUS, GA 31904               314.oo]      235.83!                         1.40
                                                                                                                                                                                        ;
58-24369SO          PELHAM FAMILY PRACTlCE LLC                         2S CREEKVIEW CT                                           GREENVlll..E, SC 2961..5--4800    11200'.       11.97:                         1.40
XX-XXXXXXX          JUDITH HERTZ TANENBAUM MD                          ,930 PARK AVENUE SUITE llC                                NEW YORK, NY 10021                      '
                                                                                                                                                                  6.SOO.OOi    6.200.00!                        L38
XX-XXXXXXX          !KEITHO'CONNEU.Y                                   ls1 CRESCENT AVE m    B                                   WALDWICK, NJ 07463-1400           340.00!      179.891                         L37
XX-XXXXXXX          !SKIN SOLUTIONS OERMATOLOG                         200 COOLSPRINGS BLVD                                      !FRANKLIN, TN 37067               101.00!       11.nf      11.11!              L37
                                                                                                                                 ;
11-3103~5           !CLIFFORD M BERO: MD                               560 NORTHERN BLVD                                          GREAT NECK, NY 11021-S118         ss.00!       71.54!     1LS4!      60.oo!   L35
63-0S87021          'iBIRMINGHAM RADIOLOGICAL GROUP                    !POBOX2S14                                                 BIRMINGHAM, AL 35201              35.ocl       11.51' '   11.51          -1   L35
SS-0492369          iPRESTERA CENTER FOR MENTAL HEA                    !POBOXB069                                                 HUNTINGTON, WV 25705              56.48;       56.48!     11.48      45.00    L34
XX-XXXXXXX          !FAMILY EYE CARE OF LAKE GENEVA SC                 415 BROAD STftEErUNIT 101                                  LAKE GENEVA, WI 53147-1800        10.ool       ss.oo(     11.00!     45.00l   1.29
                                                                                                                                                                                       I
S6-1S8801S          !PATHOLOGISTS DlAGNOSTlC SERVICES                  3333 Silas Creek P                                        'Winston Salem, NC. 27103          35.ool       13.79'.    11.031      2.76!   1.29
XX-XXXXXXX          IMICHAELASOtULTEMO                                 !PO BOXS044S6                                             !ST LOUIS, MO 63150-44S6           2s.ooi       13.54i     10.83       2.71    1.27
XX-XXXXXXX          ;UNCROFT FOOT ANO ANKLE ASSQOATES UP               j513 NEWMAN SPRINGS RD                                     UNCROFT, NJ 07738-1426           140.00:      100.06!     10.87      29.19    1.27
39-166225S          !MARKE DECHECK MO                                  !3805B SPRING ST SUITE 250                    i            RAONE, WI S3405-1643               5S.00;       S0.69(    10.69      40.00    1.25
XX-XXXXXXX          !WINNEBAGO COUNTY                                  iPOBOX2lB7                                    L.          OSHKOSH, WI 54903-2187            109.71!       60.34i     10.34      so.ool   1.21
XX-XXXXXXX          !ANDREW SHAPIRO----···--                           !200 KATONAHAVE                               !            ICATONAH, NY 10536-217S          s10.00l      31525!      10.251    aas.oo!   1.20
XX-XXXXXXX    ...   ]MIOtAEL DAVID BERGMAN MD                          fPOaoX 789                                                ;LUDLOW, MA 01056-0789            211.001      240.67:     10.13!   1220381!   LI9
XX-XXXXXXX          ;JEAN J YANG, M.D                                  1m JERICHO TP1CE                              iuNrrB      iMINEOlA. NY 11501                150.ooi         g_gg)     9.gsl         ~I   L17


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              l & R MEDICALP.C.

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              CORE PSYOiOTHERAPY CENTER
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26-(1526051   !EKG INTERPRETATION GROUP
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58-120S211    ATIANTA CENTER FOR DERMATOLOGICAL                               l12Gs UPPER HEMBREE RD
                                                                   ------1'=======----------_,im=l=OO=---j,<"RO=SW=EU.:    ..?.-.:30076                                           ····-·r        305.0D[               176.85:         9.571          107.28!                  1.12
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XX-XXXXXXX
XX-XXXXXXX
               ORS KOVACS RESNICK PA
              TEO BREZEL. M.D.
                                                                              \4302ALTON RD 690
                                                                                  j,959 MYRn.E AVE                           I
                                                                                                                  lM1AM1 BEACH, FL3314D
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XX-XXXXXXX     BOSTON MEOICALCENTER                  - - - - - - - - - - ~ = = =h=BOSTON
                                                                                     ==   MEDICAL
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                                                                                                  - -Pl- - - - - - - - i = - m = • ~_     __,BOSTON,MA0211s-2910                       I          31.00;                 a.93j         8.93!                                   L04
XX-XXXXXXX    !FAMILY PHYSICIANS OF WINTERPARK                                  IPO BOX 616788                                               !01UAN00, Fl32861                         !         182.00\               110.79i         a.asi          101.94\                  1.04
XX-XXXXXXX     CARDIAC EKG INTERPRETATION PC                                      IPO BOX9SOOD-6S30                                          iPlilLADELPHIA. PA 19195-0001                        35.00i                 8.441         8.441                 _j                0.99
XX-XXXXXXX    !PANEL OF EKG                                                       !PO BOX 25548                                              ISARASOTA. R.342n                                    10.ool                 8A7!          8.47;                 -!                0.99
DS-8603504    lwoeep REDDY, MO                                                    is63910STHST'                                              IR1CHMOND Hill. NY 11418-1529             I          so.oo1                 8.39!         8391                  .I                0.98
XX-XXXXXXX    !PATHOLOGY SOLUTIONS                                                !24S INDUSTRIALWAYW srE2                                   IEAroNTOWN,NJD7724-4241                   I       1,253.ooi                as.ss!         832!           291.2s!                  0.91
XX-XXXXXXX    ]RENAJSSANCE IMAGING MED A                                          l,osox190                                                  lSIMlvAUEV,CA9306Hll!IO                   !          49.00'                 s31l          831!                  .i                D.97
                                                  i1111SHADOWIANE
~219190 LEWIS & 1.0VElT LTD
 =="'---!'=====-----------------.======-----------f-----fi1AS=VE::GAS=•c:NV=••=10=2'--------+---'209=.o,,,o,;.l-----"S8.22=+-i----'8~l.                                                                                                                so.ool                  0.96
XX-XXXXXXX     lo..uEEN OF THE VALlEY MEDICAL CENTER                    lPO BOX 310011973                !PASADENA. CA 91110                                                           l       1,310.00:            1,233.00!          8.091        1,224.911                  0.9s

XX-XXXXXXX    'iNORTH SUBURBAN DERMA1:'~~GY ""-'--------------l"""'-===="------------1------41:GURNEE.IL~600='~1____
                                                                        :103 SGREENLEAF, SfEJ                                                                                ---,----=11=1.==ooc:c! _ _ _ _..,.,cc_..=;-l_ _--'1"'.66c:;...:_ __::60::,.00::!!-!_ _ _ _ __,,o.=•o'--I
20-233S171    [ROBERT J KARL MD                                                   i100 N GREEN VALLEY PARJCNAY               !stJITE239      1HENDERSON,NVB9074                                  1es.00!                4736!          7.361           40.ool                  o.e6

XX-XXXXXXX    MERCER BUO'.S HEMATOLOGYONCOLOG'f PC                                liwo CAPJTAt WAY SUITE 220                                 !PENNINGTON. NJ. 08534-~23                I         385.00!                s2.ool         7.oo!           4s.oo1                  0.82

S6-20002SS    MT OLIVE FAMILY MEDICNE CENTER INC                                  [201NBREAZEALEAVE                          i               iMOuNTOUV£. NCZ8365-l603                  I          ss.001                 6.981         6.9s!                 -l                0.82

XX-XXXXXXX    !RIOiARD B POLAKOFF                                                 i7170 NOS HILL RD                                         TrAMARAC.Ft33321-7277                                100.41/                s1.95i         6s51            45.ooi                  a.SI

XX-XXXXXXX    !RAM KSINGH MD LTD                                                  is AWBREY COURT                                            !HENDERSON, NV 890S2                                 70.ool                 s.ss!         6.84!            L11!                   0.80

91·1220843    ,ASSOCATION OF UNIYER.mY PHYSIC ANS                                ·!ro   BOX 50095                                            lSEAm.e. WA9814S-5095                     I         248.301               159.95
                                                                                                                                                                                                                              1        6.71!          153.24!                  0.79

ll-3253224    !MARC BEHAR. M.D.                                                   ls20 FRANKLIN AVE STE 153                                  iGARDEN CITY, NY 11530                    !       2.379.s2l                 6.64-!        6.64[          397.691                  0.78

95-47gQ70l ....... GAREY ORTHOPEDIC MEDICAL GROUP                                 12776N GAREY AVENUE                                        IPOMONA,CA•1161-1B10                                406.BOJ                BG-871         ossl            ,s.ooi                  o.n
SS-2514522     UROLOGY ASSOCATES OF COLUMB                                        ipo BOX 11519                                              lsetFAST,ME04915-4D06                     ,       1,m.00!                 637A4:          ....   I       63Loo!                   0.1s

~!:~~1398      HARRY M GOLDIN MD                                                  !4709 GOLF RD                              iSTE 1000       lSICOIClE, IL 60076-1260                  t         233.75)               233.75!         6.33!          227.421                  0.74

XX-XXXXXXX     A.ORENCETOUSKA--GR!FflN DPM                                        1111 N WABASH AVE 1314                                     l0t1CAGO.IL60602-3076                               130.001                66.081         6.081           60.0Dl                  0.71

22·2421433     ROBERT FRIEDMAN                                                    lPO BOX 11579                                              lNewARr.:,NJ01101-4s79                              356.ool               3SG.ool         s.ool          aso.ao!                  0.10

XX-XXXXXXX     RADADVANTAGE A PROF~ONAL CORPORATION                               '
                                                                                  !POBOXBSOO                                 lLOcmox.9452 !Pt111AOELPHIA. PA 19178-9452                          666.ool               s1s.ss!         6.02!          Sl:i9.83l                0.10

XX-XXXXXXX    lcoNWAY HOSPITAL 1Nc                                                1100 SlNGLETON RIDGE RD                                    !CONWAY, SC29528-0829                             3,646.00i            2,625.121          5.90!        2,619.22j                  0.69

XX-XXXXXXX    IENTSPECIAU5TSPC                                                    IPOBOX9250                                                 1eEtr.ASr,ME04915                                    90.00:                64.24!         5.741           se.so!                  0.67

XX-XXXXXXX    !NORTH SHORE-W INTERNAL MEDIONE                                     f158 HEMPSrEAD AVE                                         ILYNBROOK.NY11563                                   489.oo!                 s.10:       • s.10!          200311                   o.67

34-l.S31993   lAWANCE CmzEHS HEALTH ASSOCIATION                                   '/PO SOX 15342                                            !~LFAST, ME04915-4048                      J         106.ooi                6s.46l         s.46!           60.00j                  0.64

XX-XXXXXXX    !PATHOLOGY GROUP OF THE MlDSOUTH PC                                 !Po BOX 100D DEPr539                                       !MEMPHIS,. TN 38148-0539                  !           S.47!                 S.47!         5.47i                 -!                0.64

XX-XXXXXXX    !RONALD N CAUOtARD OD                                               1373 Q.INTON AVENUE                                        lwvcx:oFF. NJ 07481                       i          93.00t                so.40i         s.401           45.ooi                  0.63

XX-XXXXXXX    IEFCOSENTINODPM                                             ---!==--===----------!-
                                                                              603 N STATE SI"                                                Jo1RARD,0H4442011••                       I         moo                    96.szo         ,_.. ,                                  0.59
36-434S312    !ROBIN L PASTORE OPM                                           l1N141COUNTYFARMROADSUI
                                                 --------------'========'---------lf------+'fw::,1:c•""'E""ID"-,:::ll=6019=0-c::2:032:....         ______ !,··--1,=43=1.00=j                                            so.ml          s.ool        1.os2.3;!f------'o"'.sa"--I
                                                                             14003 KRESGE WAY                     !STE 300 1toulSVlLLE, r:.v 40207                    iso.oo!                                           64.78[         4.781           60.oo!                  o.s6
XX-XXXXXXX    lsuRG1CAL CARE ASSOaATESPSC


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                                                    Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 209 of 266 PageID #:11305




                                                                                                                AEU INTERIM DISTRIBUTION



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                                                                                                                                                                                 10.00/                4.761          60.00/     056
~7-1486894         ivALLEY WELLNESS CEN1ER u.c                            104 COLONY PARK DRSTI: 3                        !suJTE 3005     !CUMMING, GA 30040                     60.oo!       49.91:   4.331          45.58!     051
27.0557482         iPEDIATR1C ACUTE CARE OF COLUMBUS PC                  lssss WHITTLESEY BLVD. STE U                                     icowMBUS, GA 31909-7247              S57.00j      260.00)    4.191         180.Slj     0.49
~6-1383859         !SHEARD & DRUGGE PC                                   ]so GLENBROOK RD APT lC                                          jSTAMFORD!..q, 06902                 350.59;      202.48'.   3.S6!         198.92i     0.42
 XX-XXXXXXX        !RENAL SPEOAUSTSOF Hou~;; A                            11665 FUQUAsurre ao1                            I               !HOUSTON, lX 7703<M632         i      112.ooi      63.47;
                                                                                                                                                                                                   I
                                                                                                                                                                                                       3.471          60.00;     0.41
XX-XXXXXXX         !CAROL KOTZ.AN MD LLI:                                 525 E CONGRESS PARKWAY                                          !CRYSTAL LAKE. ll 60014        I       25.oo!        2.97;   2.97[  0.3S         -1
                                                                                                                                lseLFAST, ME 04915
,_46-_1•~2•~1~•0~_,!so=u~™~V~AL~'~"-'-""~••~AL~M='"~•c~,•~•--------------···f.'l,~o~so~x~u~•~so~------------f _ _ _ ___,~=-==="--------+---=19c:s.o=;ol'-----'99"'.42=ij              __c_='1-----==;-----=:ci
                                                                                                                                                                                         2.82:   96.601       0.33
 XX-XXXXXXX lZAIBAUKANIMDPA                                  ·116244SMIUTARYTRAILSUITE410
                                                                                                                                 DELRAY BEAOi, FL 33484-6534 l
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A6-0741732         loNEMEDICALGROIJPPc                                    POBOX26069                                                      !SAN FRANOSCO, CA!M126-6069            20.00!        2.67!   2.67!               -1    0.31
SS-1109444         lGeoRG1AuR0LoGYPA                                      790CHUROISTNE                                   1sre430         !MARIETTA, GA 30060            i       22.00l        2.63!   ,..,1                     0.31
22·2918632         !BARBIERICOLAMEO&BERARDOASSOCLN                       !16JOHNSONAVENUE                                 I               IHACKENSACK, NJ 07601-4818             so.ool       41.sol   2.50!          4S.OOj     D.29
XX-XXXXXXX         !KENNETH H WASSERMAN MD                                177 N DEAN STIIEET                              !               ,ENGLEWOOD, NJ 07631-2533                                    2.16!          .....i     0.2S
SG-OSisou          IMESAFAMILYPHYSIOANS                                   1440SCOUNlRYCLUBDR                              \sre30          '
                                                                                                                                          !MESA.AZ 85210-9700            I     2,s.38!        60.01!   2.0,!          58.04i     0.24
XX-XXXXXXX         !MAGEUAN RX MANAGEMENT INC                             PO BOX 7830S3                                   )               iPHllADEl.PHlA, PA 19178       I        o.ni         0.12)   0.121                !    om,

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XX-XXXXXXX         !JUDSON FAM;~~-~IROPRACTIC                             133 LOUIS STREET                                                ]NEWIN;~~.CT06111                                                -i        661.So!
XX-XXXXXXX         !PAZJT EUlZUR DINSTEIN MD                              30W60THSTREETSUITE1F                            I               INEWYORX, NY 10023             I   10,soo.oo!   10,12s.ool       -1     (9,22S.ODli
XX-XXXXXXX         !RUDOLPH HAROLD BORGERSEN                              5015nU.WELISCORNeRRD                            I               iFREEHOLD, tu 07728-2965             148.00;            -l                  148.00
                                                                                                                                                                                                                             1

XX-XXXXXXX         'iOTRUS VALLEY ANESTHESIA                              PO BOX 60790                                    !               PASACENA. CA 91116             /    2,900.00/     529.67!                1,263.831
XX-XXXXXXX         Ions EDWARD TILLMAN JR MD                             •PO eox 4749                                     j               COLUMBUS. GA 31914-0749              1Sa.ool       1s.12i        -i         76.12!
01-ons806          IMARK EDWARD DOMANSKI DC                              b20 E MONTGOMERY CROSSROADS SUITE 30             I               !SAVANNAH, GA 31406            I                                 -1         35.00j
XX-XXXXXXX         [PETER LAMEtAS MO                                      MD NOW MEDICAL CENTERS                          icoNGRESSAVE    BOYNTON BEAOI, R. 03342-6804   i     160.ool      112.00!         I        112.ool
XX-XXXXXXX         !AMYE LEWIS l.CMHC
                                                                         1
                                                                          4DlCYPRESSSTREET                                !               MANO-IESTER, NH 03100.3362.    !     200.00)                     -1        152.931
~~:!]278255        lw1LUAM M SHERMAN JR MD                               lpoeox291                                                        'HUDSON, NH 03051-0291         I     tsLooi       144.SOl        .I        ,.._sol
XX-XXXXXXX         !PORTSMOUTH RADIOLOGICAL PA                            PO BOX 1849                                     I               LEWtsTON, ME 04241             I     247.ool        69.28!       -1         ••-~!
XX-XXXXXXX         :BARRY ERNEST STENGEl PHD                             .360 l3TH STREET"                                j               BROOKLYN, NY 11215             I     150.00!            -!       -1        150.00i
XX-XXXXXXX         !SEACOAST RADIOLOGY PA                                 PO BOX 9567                                                     MANCHESTER, NH 03108           I     159.00i      199.00i                  199.ooi
XX-XXXXXXX
             ....-1.. ··
                   !ROSEMARIE MATTE MD                                    POBOX1849                                      r·               !t..eWISTON, ME 04241-1849     I      7S.oo!        63.75!                  63.751
XX-XXXXXXX         !CHENGENxuMo                                           291Mooorsr                                                      LUDLOW. MA 01056-1246                11s.oo:        38.5sl       -1         3856!
XX-XXXXXXX         iSTEPHENJOHNSMITHMD                                   f4eworwArsre:200                                 I               IMANOIESTER, NH 03103-3544     I    1.315.00!                            1.27S.831
02-0460S71         !JOSEPH A M1SIEWIC2 MD                                !163 A DANIEL WEBmR HWY                                          !MEREDITH, NH 03253-5613       !     16s.ool                                     -1
02~70410           lk'.A.REN l PAlMER 00                                 1
                                                                          PO BOX 403561                                                   ATI.ANTA. GA 30384-3561        l                                            96.3li'
XX-XXXXXXX         ]GREGORY J SMULl                                      jPO BOX 403578                                                   IATlANTA. GA 30384-3578        I                                 .1        347.ooi
i=o~2.os=2osa=•~"'°ls=•~Df0=•0~w=oMENsCAREASSOCtATE                      J160s RJVERRDsrE 100                                             !BEDFORD, NH 03110                   811.ooi      657.00;                  657.DO!'
02-0$66741         iCARSONTAHOE PHYSICIAN CLINICS                        ilPO BOX 4540                              !CARSON
                                                                                             -------------j-----;-===  ~ ~CITY.
                                                                                                                            ~-  NV- - - - - t - - - 1 . 0 5 4 . 0 0 ! _ _ _ _.~66.DO=i
                                                                                                                                  89702                                                                    .I        866.00i
                                                                                                                    iBELlAIRE, TX 77401-3505                                                               j         220.o~I
~-;~S_7632B        1l,MA=••,.,•~BUC=•"--------------------,,F•S6S=w=EST=LOO=•=so=UTH=m=•=oo"--------t-'!,- - - - - ;                                                           220.94(            -l
02-0662S11         !uNIONCOUNTYEMSSC                                     IPOBOX309                                                        j~UE. NC:2702).0309                  471.00)      471.00i        _j        47Lool

                                                                                                                        EXHJBfT2

                                                                                                                              l8S
                                                 Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 210 of 266 PageID #:11306




                                                                                                        AEU INTERIM DISTRIBUTION




'o2-0708TT3      1ENlt>SAMARAROMANEWMD                                 1141JCINWESfPKWY100                                              !1RVING, TX7S063,.3512                  534.00;        495.48~            -!         495.48!

XX-XXXXXXX
                 1
                 ABAYOMIOSHINOWO                                       iPOeox277367                                                     [ARANTA.GA30384-3848                  2,457.ooj       2.457.ool           -1        2,,4s1.oo

XX-XXXXXXX _.. __IJAMESLSEWARD MD                                      !1ss30 BAUANTYNE MEDICAL PlACE       _,. _____   lsurre.=1•"'•~--;-c·OfA="='o'-'TTE=·="c"'2B=2=n-'---=3563=-----+i---'44'°-=•·oo==t:-----+----l---'44"g"'.o=ot-!------=--1
XX-XXXXXXX       lTR1COuNTYMED1CALEQ.UIPMENTANDSUPPLY                  !122M1LLRD                                       1surrEA130      iPHOENIXVILL!.PA19460         i         782.27]         504.99l                      504.99!

XX-XXXXXXX          SHEENA COX NP                                      PO BOX 1:16638                                                   !A11ANTA,. GA 30368-6638                272.00!              -i           -1         244.54 i

XX-XXXXXXX          JONATHAN VNGUYEN MD                                2965 M RD STE 101                                !     -----j'-=OfA=Rl=OTTESVl==I.LE,=V~Acc229=03-0=33"'0~--+--~35=6=.00~!,--------l-----i-----f-l-------"-1
XX-XXXXXXX ......b~::.M=SU::.:M=D=----------------- __-;i•=OS"'S'-'KA=TYc.cFRE=EW=•Y=STE='=""'--------- ---t------l~~USTON, TX 77024--1629                                      110.001          G3.471                        63~!,...i- - - - - - - 1
03,0502108       ltYNWOODWHAMMERSMO                                    /POSOX352                                        l               WlNDSOR,Cf0609S-03S2                  1,325.00!        991.20!            -1         991.ZDI
XX-XXXXXXX       jJAG-ONE PHYSICAL THERAPY llC                         1
                                                                        POeox2090                                                       lrARRYTOWN,NY.10591                   2,610.001              -i           -i
XX-XXXXXXX          BRUCE GERBERG                                      PO BOX 415662                                                    !&OSTON, MA02241•S662                    84.00J              ·i                            _l
                                                                                                                                                                                      1
XX-XXXXXXX          NOftTHEAmRN VERMONT REGIONAL HOSPITAL              !POSOX905                                                        iST JOHNSBURY, VT05819                l.4SSA2         2.277Asi            -!      (1.183.71ji

XX-XXXXXXX          OLGA VOLFSON                                       isoEAST ST STE 1400                                              METHUEN,MAD1844                         840.oo!        840.ooi                       840.00!
04-2551U4        !SPAULDING REHABILITATION HOSPITALCORPOR              !POBCX340Cl55                                                    BOSTON, MA 02241·3455                   150.00j          90.00!                       oo.ool
XX-XXXXXXX       !NEWTON-WEl.1.ESLEY EYE ASSOC                         2000 WASHINGTON ST                               lsum;462        ,NEWTON, MAD2462                        37D.DO!              .!                      370.DDI
XX-XXXXXXX ·-·      JONATHAN H OPPENHEIM MD                            POBOX3497                                                        IBoSToN,MAD2241·3497          l         314.00;        314.00!            -,         314.ooi
XX-XXXXXXX          SLEEPMED THERAPY SERV1CES                          1000 COBB PLACE BLVD SUITE 510                                   KENNESAW, GA 30144-3764               1,637.89 !       562.58:                       562.SBl

XX-XXXXXXX       !SAINT GEORGE TUCKER AUFRANC II MD                    !POBOXBOD2                                                       SALEM, NH 03079-8002                    184.00!                                      105.64

XX-XXXXXXX       !MEAD F NORTHROP MD                                   1362COURTSTRJaEI"                                                1PLYMOUTM,MAD236D-4397        l        489.ool
04·3197976          FRANCS Y FALCK MD                                  35 WASHINGTON STREET                                             MYSTIC,CT063SS.2816           j         17D.OD!        170.0D!            -I         170.00.

04,.3205435      \JOHN A ICARBASSI                                     !ONE ORTHOPEDICS DR 2ND R.                                       IPEABODY,MA0196D              !         344.0D!              -i           -1         344.00\    '
XX-XXXXXXX       '
                 iSETH G KATES MD                                      3 VILLAGE SQUARE                                                 OtELMSfORD, MA 01824--2712              300.00!               '
                                                                                                                                                                                                     ·!
04-32SG572       ,SPOR15 ANO PHYSC1Al THERAPY ASSOCIA                  l21AURELAVENUE                                                   WEUE5LEY HI.S, MA 02481                636.30!               -l
04--3299542         PAULAVJGNAMD                                       jPOBOX8002                                                       1SALEM, NH D3079-B002         !          ss.ool                                            i
                                                                                                                                                                                                                              88.00!

04--3369653 ...... MAINEGENERAL MEDICAL CENTER                         itOWA1ERSTSTE202                                                 lwATERVIUE. MJ: 04901--6565             142.00!                                      137.641

IJ4-.344945S        ROBJ:RTCAPRILE, DC                                 181 MAPLE STREET                                                 l:AST LONGMEADOW, MA 01028               s0.00;         29.0Di'                       29.00

XX-XXXXXXX          COHEN OERMAPATHOLOGY                               320 NEEDHAM srsre 200                                            NEWTON, MA 02464-1593         !       1,525_00!       1,485.ool                    1.485.00

XX-XXXXXXX            =~==·~-----------------,.!'.~_eox29
                    ARNOLD C CHEUNG                                                                                                     L£WISTON,ME04243                         29.oo!         29.ool                        29.oo
04--3550240         RONG J GUAN MD                                     PO BOX 483                                                       BELMONT, MA 02478-9998                 970.00;         29LS4i                        29LS4

XX-XXXXXXX          STACEYO'NEALPT DPT                                 911 HIUCRESf PARKWAY NA                                          DU SUN, GA 31021---4207                 670.001        670.0D!                       670.00

04--3611584      lKENNETM PASSERO DC                                   !228 WEST ROCICS ROAD                                            NORWAUC. CT D68Sl                      421U>O l        420.0D!            j          420.00

04--3648279         TROY D ESPIRITU MD                                 !1013CENTREBROOKCOURT                                            COLUMBUS.GA31904--4573                 454.00!         271-85\            ·I         271.85

()4-.3ij67599    !GAIL 8 WHITMAN MO                                    l2890MAINSTREETSUITTC                                            5TRA'TFORO,CT06614-4980                 118.79!          72.46l                       n.461
IJ4-.3671386     !ROBERT AGAOlAGEMD                                    3855 PLEASANT HIU ROAD                               SUITE 420   DUlllTH. GA 30096--8030               1,150.00 \       460.92!            J          460.92     !
04--3673521      !GARY KJMMEL MO PC                                    !GARv~MMELMD337nsr                                               leROOIClYN,NYlU09                    10,0DO.oo'.      1,295.99;           .i      (1.295.99)

XX-XXXXXXX
                 1
                  MARLENE_ASANTIAGO MD
                           :::~=="'-----------------J!-lP.::;0,=BO::,X,_,25=8'--------------+-------+iG=LE=N"-'~~P.-NYllS45-0258                                              1.925.00:       1,540.01?,_i------+---'1,540="'·00=;..I       -------'--!
(14.3746764          ·======~---------------,i.-PO~BO=X~"°~l3~1~------------t------t·N_EW_AR_K,~NJ_07_1~01~-8~33=1~-------,----18=S.~00c,-i
                    ~N JOHN STANFORD DO                                                                                                    _ _ _~15=7.25=,-i_ _ _,---,---_~15~7~.25=;-j--------l
XX-XXXXXXX. __ , GARY JULESBRAUNJ:RMD                                  t=l1=2S=E,_,•~·RD=ST~--- -----------------<'"~EW~YD~•~·~·NY~l0065=~-----~---18=5.=00L _ _ _--=19c=S.~Dl>';-!----,--~ll~SO~-OO=t)!_ _ _ _ _ _-f
XX-XXXXXXX       iPAULJOSEPH KEATING DMD                            ..... 1196DANBURYROAD                                               \WlLTON.CT06897~                        800.00)              .,                      800.00 1


                                                                                                                    OOIIBIT2

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                                                                                                                                           AEU INTI:RIM DISTRIBUTION



~·,,,,,,.~-~f~-'ili:,:                                                              1                 >;;! ,_                <"I
D4-9SOSZ51         IJO-ANN LATKOWSICI MD                                                             IPOeoX415662                                      1             leosrON,MA02241-s662                    i     535.00]             -!       -!            -1            •
=2588tJS            BROWNuNNERS1TYHEALTHSERvIas                                                      ,BOX19ZB                                          I             IPROVIDENCE.RID2!i112                         11s.oo'.      1is.ao!        .j     (lls.ooi!
OS-0258937          WOMEN & INFANTS HOSPITAL OF RHODE ISLAND                                          101 DUDLEY STREET                                i             !PROVIDENCE, RI 02905-2499                    218.DO!        189.66!       -1      189.66i

OS-0319962          OZOEN SULUT MD                                                                    65 SOCKANOSSET CROSS RD                                        !CRANSTON, RI 02920-5536                !     278.00!       23530i                 236.301
0S-0373266         IJANET M FETHERSTON CANA                                                           2s weus ST                                       I             lwESTERLY, RI D2891-2922                      590.00!       s9o.ool                4Bs.s,I
XX-XXXXXXX          DOUGLASMBURTTMO                                                                  tPOBOX414695                                                    isosroN,MAD2241-4695                            24.00)        24.00i       -l        24.oo!
XX-XXXXXXX          MARY BARRY                                                                       !Po eox 6300                                      !             !PROVIDENCE, RI 02940-6300                    662.00[       zsa.ooi                280.ool
XX-XXXXXXX         lUNIVERSrTY EMERGENCY MEDtCINE FOUNDATION                    .                                                                                                                        +-___60=73"'6't;_ _ ___c30=3,68=!-l------cc-----'3=03=,68=1+-l-----"-l
                                                                                    -------;•,;PO~•~OX=94~84_ _ _ _ _ ·-·-·--·----•-·..- -... ,~-·-··-· ----t'•~·~OVl~D~E~NCE.=•--•cco2cc.••cco_ _ _ _ _ _
XX-XXXXXXX         ,JOSEPHMSALOMONEMD                                                                .s3FA1RFAXROAosurrE2                                            lsrAteANs,vr05478                        222.00/                   -i           -1     222.001
OS-OSOS603         !ROMANAKl.UFASMD                                                                  !s25BROADsr                                       lsurre202     lcuMBERlAND,R:102864-6919                     156.oo!         28.31!                 28.311

OS-OS64SS6         !MID-AMERICA SURGERY INSTTTUTE LLC                                                lpaeox 281723                                     !             iATIANTA. GA3D384-1723                      13,399.oot     1,s19.oo!       -1     l.819.ool
XX-XXXXXXX         lDANla.t.E CENTO,:RAN0-11 lCSW                                                    !1 SOUTH MARION PLACE                                           iROCIMLLE CENTER. NY 11570-5300               480.00;       480.oo:                480.ooi
                                                                                                     1
0S-0614222          WIUJAMHEDRICK                                                                     1805NORTHNEWHOPERD                                             !RALEIGH,NC27604                              400.oo!       400.ooi                400.001
XX-XXXXXXX         ,DANIELLECENTOFRANCHI                                                              139SKENSINGTONAVE.                                             IRoOMLL£CENTRE.NY1157D                  !    1,5&0.00!     t,1B3.n 1       _j     1.503.11!

XX-XXXXXXX         1JAIMESJMON                                                                        30NEWBRIDGERDSTE200                                            IEASTMEAl)OW,NY11554-2150                     260.00;             J        _!            -1
OS-2563472         [MARGARET J NAOmGAu MD                                                             251 EAST 33RDSTREET                                            INEW YORK. NY 10016                           74s.ooi       22s.oo!                225.ool

XX-XXXXXXX          CAROLSHYERPHDLCSW                                                                 200Esosr                                                       INEWYORK.NY1012s                             2.000.001     2.000.00!       .I     2.000.00!

o&-o646768~-ll"'nt""E"'H=DSP=rrA~L'-'O"-F-=CE:cNTRAL==-c=occNccN=ECTI=CUT"'--                        ipe BOX 416594                                                  laoSTON, MA 02241-6594                        183.ool        86.S4l        -l       86.541
XX-XXXXXXX         IANDREWCSIMONOD                                                                   lz664EASTMAINSTREET                                             iBRIDGEPORT,CT06610-1422                      200.ooi       200.001        -i·     200.00!

OG-OSS6886         ]MILFORD PEDIATRIC GROUP                                                          !321 BOSTON P0ST ROAD                             sre 1         IM1LFORD, er. 06460                          2,01a.001     1,338.9gj              {194.89)   I
XX-XXXXXXX          ROBERTHLOVEGROVEMD                                                               123HOYTsrREETSUITES                                             lsrAMFORD,CT06905-5602                        280.oo;       140.ooi                140.ool
o&-os63601         iPR!MARY EYE CARE CENTER                                                           4 NORTI-IWESTERN DRNE                            !SUITE 400    !aLOOMAELD, er 06002--3444                    1.GD.00!                                   -l
XX-XXXXXXX          BEVERLYREIDYOD                                                                    :ZBBOOLDDDCWEUAVENUE                                           IHAMDEN,crO&Sts-3144                    I     tso.oo;       1so.oo!                100.oot

XX-XXXXXXX          ANNE HUDSON ANGEVINE MD                                                          ]34SHELBURNERD                                                  lsrAMFORD,CT06902.o32B                  I     200.00:         76.79!                7&.791

XX-XXXXXXX          WHEELEROJNIC.INC                                                                 i91NDK!'HWESTDRIVE                                              IPIAINVIUE,CT06062                            207,60:             -i                     -!
XX-XXXXXXX         ,STACEYSTARK                                                                       82NEWPARKAYENUE                                                INoRTHFRANICUN,crOG254-1B07                   604.oo\       29Loo1         _!      243.40:
XX-XXXXXXX          MAR1SSAG1ROLAMODPM                                                                12345UMMERsrm202                                 I             [srAMFORD,cro690s-ss10                        &10.00!       496.25:                496.2sl
XX-XXXXXXX          JOSEPH DIFRANCESCA DP                                                             196 PARKWAY SOUTH                                !             lwATERFORD, 006385-1234                       140.oo!       140.00!                140.0ol
o&-os83S4D          NEIL WTISHKOFF Mo                                                                !Po BOX 84S134                                                  IBOSTON, MA 02284-5134                      2,zs1.s11       47z.11!                412.111
o&-0886720          wtWAMAHUNTMD                                                                     l9ooMADISONAVENUE                                               leRIOGEPDRT,CT06606-SS34                      700.ool       100.oo!        .!      100.00\

XX-XXXXXXX         ;OEBRASUSANWEISSMANMD                                                              40CROSSSTREETSUITE34D                                          !NORWALK.CT06BS1-4642                         305.ool       22S.2of        -!      zzs.20!

o&-0909696         !SUHASHRPATELDO                                                                    439MJUHIUAVENUE                                                iBR1DGEPORT,cr0661~2866                       zso.oo]       250.00!
                                                                                                                                                                                                                                                 1      250.ool
06-09l5040         iRAFAEL011uMo                                                                     .160HAWL£YLNSTE101                                              hRuMsuu...cross11                             1ss.oo!       585.24!                sas.z4l
o&-0915856         !msePH F SPROVJERO MD PHD                                                         1148 EAST AVE STE 3G                                            INORWALK. er 068S1-s121                       380.oo;             -!               351.50    !
XX-XXXXXXX         !MARTIN DARICINOD                                                                  148EASTAVENUE                                                  !NORWALK.CT06851•5nl                          390.oo!       390.ool                390.oo!
F06-09=:::•:21,c4:.1_,Jcc•m=Rc:S.=M:::CKA=Y.=M:::D_ _ _ _ _ _ _ _ _ _ _ -----+!,:.,wccAc.cWccEC=US'-'STRE==-ET~SU=ITE=10=•~--------l-----+IN~O~R~Wl~CH.=CT=063:::60-=2=160~------t--··-·-100.00+-'-----=1=00=,00::l;-'_ _ ___._ ___,1=00.00=:,..'- - - - - - - ' - !
XX-XXXXXXX         !P111WPDENNENMD                                                                   h14woo0LANDST                                                   htARTIORD.CT0&1os-12os                       1,2&0.00=      990.ool                s90.ool
XX-XXXXXXX         !DANA PHILLIP WOODS MD                                                            !83 QUARRY ST                                                   !WlWMANTIC, CT 06226-1238                     175.00]         75.00!
XX-XXXXXXX         !ANTHONY RAYMOND BARR:1 MD PC                                                     j439 GOlO STAR HIGHWAY SUITE 100                                ]GROTON. CT 06340-6227                        200.ooi       150.ooi                iso.ool

                                                                                                                                                     EXHIBIT2

                                                                                                                                                           187
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                                                                                                                        AEU INTERIM DISTRIBUTION



 ~Ji•§~~llll~-,- . ~~-- -~ ·                                                                             ···:-·::r~~~
 XX-XXXXXXX        iSANJAY KUMAR GUPTA MD                                      /60 OLD NEW MILFORD RO SUITT 3E                    i             iBROOKAELD, cr06804-2430                    4SS.oo;
 Q6.1024018        lvicroR10GOTEMD                                              POBOX1762D                                                      !BELFAST. ME 04915-4071                   1,05836)
 XX-XXXXXXX        !ANIS RACY MD                                                1 TOWNE PARl PLAZA                                              lNoRWtCH,CT06300.2247                       soo.oo;                                     11s.ooi
 XX-XXXXXXX        iSTEVENSHABYOO                                              !I42SBEDFORDSTSTElM                                /             !STAMFORD,CTD6905                            90.001                           -l             -1
 XX-XXXXXXX        !BARRY s GOLDBERG MO                                        !2s TAMARACK AVE                                                 lol\NBURY, er 06811-4829                  1,415.ool        1,193.oo!                  1.193.00.

fCl6-=l09=0B77c.c..-;'=EU.JO=T~CH=AR~l=ES~l!N=E'.c."ccM.c.D_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-t4=l~N~O~RTH=M,A,~IN~5T~----------+----·t'!w"HA=Rlf=ORO=·cr=o::::•1cc.rn~-19=2•'-----+---=':::15::::·00:::;.i_ _ __:3:,lS:::.oo:::J!----+----"'='ts~J,_·- - - - - - - - 1
~06-=11=054=s=-1-;!=CHARLES==t=•cc"c.cAlAS2=:.:M:::Dc__ _ _ _ _ _ _ _ _ _ _ _ _ _ __,!1=-49=EAST=A="'="="~•=su=ma=20"-----------i!_ _ _ _-1l..~!?.RWAUC.cro68S1-s111               !          43s.ool        334.34;                      334.34!
.----06-11.21649   !RANDLAWRENCEWERBITTMD                                       1290SUMMERST                                  --+------i~AMFOR0,CTO6905-5360                                 66.oo!               J
 XX-XXXXXXX        IPARK SLOPE EMERGENCY PHYSICAN SVCS                          PO BOX 5464                                                     !NEW YORK, NY 10087                       1,793.00i          320.45!                  1,259.11!
 06-1179S64        !LOUISE EU.EN TORTORA DPM                                    1300 POST RD SUITE 206                                          lFAIRAELD, er 06824-6038                    35S.OO[          294.BGi                    294.B6i
 OG-1191494        !mot.ARO 8ARRV Wl;:BER MD                                    121SSUMMERsrsum103                                              lsrAMFORD,CT06905-5315            I       1.560.ool          966.to!                  1,294.24
 XX-XXXXXXX        !PEDIAlRIC MEOIONE OF WALLINGFORD                            979ARNESR0AD                                      SUITE6        WAWNGFORD,CT06492                           120.00(                                     120.00
 XX-XXXXXXX        !coNNECTICUTDSS                                              PO BOX 678827                                     !             DALI.AS. TX 752.67                        1,437.Ssl               -,1
XX-XXXXXXX         lw1WAM c MITOfARO, DPM                                      118S5li.ASD£ANEHIGHWAY                             )             .WEnifRSRB.D,CTO&l09                        lS0.00!           95.37 1                    9S.371
XX-XXXXXXX
                   I
                   !ROBERT M SPITZ   ~2......                                  !342 MONTAUKAVE                                                  ]NEW LONDON, CT06320-4726        I         620.00)                            .I
D6-l304741         JEAN P TUNESKI MS                                            324AANDERSROADPOsoxs97                                          lwrLYME.CT06333                            .31s.001          37S.001                    375.00i
XX-XXXXXXX             EUGENIA M VINING MD                                      31 BROADWAY                                                     NORTH HAVEN, CTD647.3-2304                 sss.oo;                -1
OS.1321877             MILFORD ANESTH~ A.SSOCJAT£S PC
                                                                               1
                                                                                PO BOX417297                                                    !B05TON, MAD2241-7297                                             -l          -i
06-1339~4          ,PHIUPSIMKOVITZ                                              ss20PARKAVENUEM1-900                                            !TRUMBULL. CTOEi6ll-3400                   120.00(           120.00!                    120.001
                                                                                                                                                                                           ◄11.ooi
                                                                                                                                                                                                                      I
()6.1358212        !DEUASOIMIDDC                                               l19CHURCHHILJ.RD                                                 NEWTOWN,cr06410                                              304.26!                   304..26

XX-XXXXXXX         ROBE:RTSSMITTl,DPM                                           .3715 MAIN STREET#306                                           BRIDGEPORT, Cf 06606             .!         90.00/                                       90.ool
D6-13ig&:31        lROSSJ SANFILIPPO OMO                                       [4SHAWSC0VESUITE203                               !              NEWL0NCON,CT06320                          525.00[           s2s.oo;
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                       525.00i
06-1387S98         lKATHLEEN BONIN APRN                                         326WASHINGTONST                                  !              iNORWICH,CT06.360-2737                     123.72!                j                    123.72

XX-XXXXXXX         lviNCENT A MANJONEY JR                                      !2120 MAINsr                                                     BRIDGEPORT, CT06606                         loo.ool          152.35!          -\       1&usl
06-14148!10            DAVIDTOMMD                                               llllOWHrrNEYAVENULSUITE300                                      HAMDEN,CT06518-3602              !        4,338.oo!        3,497.64:          .i      3,497.64
~1423159           !ROBERT LANG MD__··-                                         60WASHINGTONAVE#l.05                             1              HAMDEN,CT06S18-3273                        m.oo1             1Ss.44l          -!        188.44
XX-XXXXXXX             ELLEN GOLDEN DPM                                         4 DEARAELD DRIVE                                 lsurre 1Cl6    JGREENWICH. cro6831-999S                    tso.ooj           ss.211          -1         65.21

XX-XXXXXXX         IGREENWJOI EAR NOSE & TiiROAT P C                            49LAKEAVENUE                                     !Ste103        IGREENWICH.CT06830                        2.80S.Oo!        2,444.coi                  2,444.0D

~-~!434588         JEAN L BOLOGNIA MD                                           2CHURCHsrSOUTHS\JITE3DS                                         !NEWHAVEN,CT06S1.9-1717                    210.00\           210.00!          .[       210.00!

XX-XXXXXXX             ROBBAN SICA MD                                           POBOX110172                                                     !TRUMBUU.CT06611                           22S.oo:           225.oo!          _t       225.001
XX-XXXXXXX         loR AUCELLO & ASSOOATES                                      93EVERGREENWAY                                                  SOUTHWLNOSOR.CT06074                         97.ozl           69.lBJ                     69.181
XX-XXXXXXX             ANNETTE L HEADLEY MD                                     56WHITEHALLAVENUE                                               MYsnc.cro6355-197B               i         ns.oo:            405.ool          -i       40s.00

XX-XXXXXXX             CAROLYN AJEMIAN                                          POaox410                                                        lsoUTHeURY,CT06433-04to                    122.00!            38.2&!          -1         38.26!

XX-XXXXXXX         lwAGor HABASHY                                               31oowRo                                                         PIAJNFIELD,cr06374-1BOD                    .23a.ool          230.oo!          -1       Eo.ool
                   I
XX-XXXXXXX         !GERAID FRANCS CAMBRIA MD                                   12 TRAP FALLS ROAD STE404                                        SHELTON, cr 06484-466S                     988.oo]           322.13:                   32213J

XX-XXXXXXX         lcoNNecnarr
                   I
                               EYE PHYSICIANS PC
                    ========-=----------------Fls~3S~SA~vs=•oo=•~•~OA~D'------------i'ls=u~1TE~---;l~M1=0~0urr=OWN~,cr=064=s7'--------J---~260.=oo=il
                   IMARY ANN DIONNE BENTZ                                      1425MONTAUKAVf
                                                                                                                                                     _ _ _ _ __,__ _ _
                                                                                                                                                !NEWLO~~.CT06320-4628                      270.00;                -!
                                                                                                                                                                                                                               I             _j
                                                                                                                                                                                                                             -~+----,-7-0.-00-,1--------1
XX-XXXXXXX

06-1.535430        !PETERS ZlEUNSX\                                            !181MAINSTRl:ET                                    j             ll'MONROE,CT06468                         1,740.00!          654.761           t       654.76

06-1S41468         !MERIDEN IMAGING CENTER INC                               .. l101NORTHPLAININDROAO                             lBUILDtNGlA   'WALUNGfORD,CT06492-5869                   252.00~                _!

                                                                                                                                EXHIBrTZ
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                                                                                                                                                                             : ·,:~ ~ J f f l ! t l ~ ~ - · : : : _ _-
a&-1542949      /EDWARD UMHEISER DPT                                                           325 GARFlEU) PLACE                                                                      IBROOKLYN, NV 11215                    i         4,200.00\              849.SO;            J          849.SOi

0fHS4S452       (o E CHAMBERUN, MD                                                             49 WELLES STREET                                                                        iGLASTONBURY,CT06033                   !          640.oo!               640.ooi            -l         640.oo!
0Ei-1557046     !THoMAS E NOONAN OD                                                            10408ARNlJMAVENUE                                                                       !STRATFORO,CT0661.4-496B               !          130.00;                    J             -l
~1559791        !LORI CALABRESE,_ M_D, U.C                                                    1133DSUWVAN AVENUE                                                                       /SOUTHWINDSOR.CT06074                            1,790.00'              210.00!            -l         soo.oo!
XX-XXXXXXX      ;CONNECTICUT RETINA CONSULTANTS L1.C
                                              ==-------------+-j•"-•'--''"='NccCE=-:sr--=STE=2=1l3'-----------·-"··+·l_ _ _ _--:lcc•EW=HA=V=cEN,cr,06Sl9                                                                      I         3,D40.00'.           2,916.to)                     2,91&.10!
06-157S822      !PETER ALAN SMALL MD                                                           i2119   PosrROAD                                                                        IFAIRAELD,;~24-5657                                    380.oo!                      -:{ ____-I __-_·--=·a=,.~·•=s+-!,- - - - - - - 1
XX-XXXXXXX      lviPULKUMAR BHALODrYA MO
                 =======~--------------+'5"55~NEW'--F_IELD=~~V£~SU_ll'E~-~•-----------t----+sr_AM='°""~D,~CT~0690=s---=m=•------                                                                                               -·-··-··--·-·-~~l--------·---·-·-•f.68.SO.='+i____.+-I.----=268.S=•➔>l_____--.:.--1
o&-1SS6892       FRl:DERIOC ALLEN MOFFA OD                                                    ;posox930                                                     ....   i ·-·- . . • -· -   jGRANB'.f~.CT06035                                169.oo!               118.30!            -1         118.30!
XX-XXXXXXX      im SURGERY ASSOOA7ES llC                                                      !495 HAWLEY LANE                                                     I                   !STRATFORD, CT06614-l514                          14s.ool                s1.00i            .!          s,.ool
XX-XXXXXXX      ,KENNETH SC0Tr BACKMAN MD                                                      SSWAUSDRIVESUITE405                                                                     iFAIRAELD,CT06824-5163                            ns.oo!                633.7~                        633.761

XX-XXXXXXX      !FAMllYV1SlON CENT£R LLC                                                      l11sMA1NsrREEr                                                                           STRATFORo,croGGts-7406                            630.001               409.7s!            .[         409.7S.
XX-XXXXXXX      lsruARTSl'EINMAN MD FACEP
                                                                                              1
                                                                                               166EASTAVE                                                                              !NORWALK,CT068S1                                  B7S.OD/                     _!           .J               -!
o&-1637613       LAURA ELLEN CORIO MD                                                          113 E64THSTREIT                                                                         !NEWYORK,NY1006S-703B                             325.oo;                     _!           -1               -1
XX-XXXXXXX      lolCYGEN PLUS CORP                                                             900 MCARTHUR DRIVE                                                                      MANCHESTER, TN 37355-2326                         400.001                     -!           .l         400.ool
0&-1721282      !BRIAN VANDERBILT                                                             hossWYNSToNEPARKDR                                                                       NBARR1NGTON,1L60010                               340.ooi               101.54l            ./         101.54!

XX-XXXXXXX      'jUSA CANNADA. MD                                                              621 s NEW BAUAS RO SUITE 300S-8                                                         .SAINTLOUIS, MO 63141'"8266                       3oa.00!               130.90j                       130.901
XX-XXXXXXX      TOWN OF=======--------------f'if.,Ocel=95"R"'O"UTE="'=-----·----·----'------flKl=W=NGW=ORTH=cc•.:ccrc,064=1~•-----+----"'"=".3=5e,;------'•""•=•·oo=J.-·
                       HEBRON VOWNl"EER ARE                                                                                                                             _ _ _ _-lf-----'78=•.3=5,;.l_ _ _ _ _-=.-1
XX-XXXXXXX       ROBERT STEPHEN SCHACHnR                                                       136 E 57TH STREET SUITE 1201                                                            iNEW YORK. NY 10022                             7,350.00 1            2,450.001            .!        (305,001   f
XX-XXXXXXX       XI FREDA GU MO                                                                POB 1os1 PECK SUP STAT                                                                  NEW YORK, NY 10212-1os1                           no.ool                s10.ool            -i         a10.oo!
XX-XXXXXXX      MARGOTTOURIS PHO                                                               910 SKOKIE BLVD STE 201s                                                                NORmsROOr. IL 60062                             4,000.00)             4,000.oof            .l       1.109.15:

XX-XXXXXXX      JOHN M OHANWN DPM                                                              268 ROUTE 202                                                                           SOMERS. NY 10589-3242                             841.oo!               S00.68J            -!         soo.681
                                                                                              1388 WESTCHESTER A~                                                                      PORT CHESTER, NY 10573-3623                       200.oo!               200.00!            .j         200.00,
D7•7421846      !JONATHAN A HERBST MD

XX-XXXXXXX      !CARL LYNN DUNETZ                                                              POBOX415662                                                                             jBOSTON, MAD224l·S662                               30.00:                   -!           -i           22.50:
&5387569        iSHERA M ARAN OFF MD                                                          ,97S PARKAVENUE                                                                          NEWYORK.N'f10028                                  150.00!                    _j           -I               -!
XX-XXXXXXX      lAWRENCEA 1.EWIS MO                                                           !344MAJNSJHEETSUITE103                                                                   !MTKISC0L.NY10549                                 248.06;                     -!          -1          248.06;

XX-XXXXXXX      !KENNETH I PEARLMAN MD                                                        iPOBOX4lS662                                                                             !sosroN,MA02241-5662                            3,BGS.ooi                     -,           _j
J.0..4501170    '
                !WALTl:R F PRIESTLEY DC                                                       la1 CONICUN sr                                                                           FARMINOALE, NY 11735-2502                         450.oo!               450.00!'                      450.oo!
ll-1631637       WYCKOFF HEIGHTS MEDICAL CENTER                                               1374 STOCKHOLM ST                                                                        lsROOKt.YN, Nr 11237-4006                        1.215.24;                                 .!         98D.73!
                I
XX-XXXXXXX      lGLEN COVE HOSPITAL                                                            PO sax 95000-1480                                                                       iPH1LADELPH1A, PA 19195                          1,187.ool            1,1B7.0D!                     1.1s1.ooi
XX-XXXXXXX      l~FFOU:: HEART GROUP LLP                                                       260EMAINST                                                              STE214          SMITKTOWN,NY,11787                               l,53D.OO[                                            771Ul6i

XX-XXXXXXX      lJQAN ODONNELL DANIELE PHO                                                     250 WEST !lOTHSTRE£r 61                                             j                   NEW YORX. NY 10075                             12,750.00!            12.750.00i            _/     t12.1S0.001i
XX-XXXXXXX      GOLDBERG & PELLEGRINI MO PC                                                    )2051 FLATBUSHAVE                                                   !                   !BROOKLYN, NY 11234                             4,155.DO!                                 -!        4,155.00.

XX-XXXXXXX      STANLEY W TOKAR MD                                                            h,s EAST MAJN STREETSUITE 10                                                             IHUNTINGTON, NY 11743-2911                        112.1oi                86.35)                        86.351
XX-XXXXXXX      l•o•ALD ROTH MD                                                               !100MAPLEAVENUE                                                      \                   !SMrrHTOWN,NY11787-3519                \          200.001               200.00;            -1         200.ooi
XX-XXXXXXX       JEFFERY STEVEN SMITH MO                                                       260 GARTH llOAD APT 2J4                                                                 ISCARSDALE, NY 10583-1014                        1,750.00)            1,7SO.ooi            .I       1,75D.0D1

XX-XXXXXXX       ROBERTPASCAl.,_,IO,::Vl,cN,:0:..,0:,;0S"-------------------i!="==l-"M=EETl=Nc::.G,HaO=U=S.=.EIAN='=------                                         !                   SOUTHAMPTON. NY11968                   /         1,500.aol            2,500.00~                     1.soo.ool
~~-2674907..,pAULA,MOKI~·                                                                      ll10LAKEORIVE                    ___________                        i,______i.,_,IM_AN_HASSET
                                                                                                                                                                                      __     HIUS_,._._Y_ll_D4_0._1_12_3_ _ _.;.         560.~ ~. ,..:----144.75-1,·-.. --,                  512.92!
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F'=-1·=26833==1•=--...;iJ=E:..:FR!:::EY=S.coNU=O=ELMAN==M"0'-----------------+500=w=EST=MAIN=-=-sm=EET~----------+----- BABYLON,NY11702-3028                                                                                             200.00)                                             144.75;
XX-XXXXXXX      IMARINASAMPAGA                                                                 44-3DMACN1SHST                                                                          ,E1.MHURST,NV21373-999B                           21s.ooi                    .!                       21s.ool

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                 /suSANBSHERMANDSW

                 !MEOSTARSURGICAl&BREAntlNGEQINC

                 jJosePH L RUSSO oc Pc
                 !PETER YALESIROl<A DPM
                                                                                   /16233RDAvesre201

                                                                                   1270COMMUNITYDR

                                                                                   lsoo PARK BOULEVARD
                                                                                   )945 SUMMER STREET
                                                                                                                       AEU INTERIM DIS1RIBUTION




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~~~~9114         ;CARDIOUNK CORP                                                   jONE NORTH VIIJ.AGE GREEN                                    JLEVITTOWN. NY 11756             i    350.001       3!12.SO)    .:

XX-XXXXXXX       ]GERAW SOiULMAN MO                                                11360 OCEAN PARKWAY                                          lBaoonYN, NY 11230               I    320.00;       320.0D/             320.00i
XX-XXXXXXX       1RIOiARD BOHN OR                                                  3450 LONG BEACH ROAD                                         )OCEANSIDE, NY 11572?440         I     259.oo!                          259.oo!
XX-XXXXXXX       !MED STATION PC                                                   !104 FOREST AVE                                             iGtEN COVE,_NY, 11542
                                                                                                                                                                                 !    32S.00i
                                                                                                                                                                                                          _!    _!      213.so!
·-·-···-··-·--··-1
11·3026270       ]SERGIU MARaJS                                                    !ssOOVERDRIVE                                                fGREAT NECK. NY U021-1030        l    370.06'
XX-XXXXXXX       1EMANUEL N TSOUROUNAKIS DC                                        ig1.31 QUEENS BOULEVARD SUITE 304                            jElMHURST, NY 11373-5540              450.ooi      13s.46!
XX-XXXXXXX       ]NEALLHOCiWALDMD                                                  POBOX92                                                      !GLEN HEAD, NY 11545-0092        I   1,348.00;            -i!                  -,I
XX-XXXXXXX       isouTH SHORE PEDIATRIC NEUROLOGY PC                               123 GROVE AVE STE 100                                        laoARHuRST, NY, 11S16                3,750.00;      625.00!     _l      &25.ool
11-313S947       lAWNZILKHAMD                                                      i11s1MONTAUKH1GHWAY                           l              !WEST ISUP, NY 11795-4930            1,82S.00 1    374.16!

XX-XXXXXXX       /MATINEW w SAAA'.OFF OPM                                         ,250 w SUTH STREET                                            iNEW YORK.- NY 10024-1100             830.00_[      -1 -1      240.stl
XX-XXXXXXX       !RJCHMOND HILL MEDICAL SERVICES PC                                j9425 LEFFERTS BLVD                                         lsoUTH mo-iMaNo HIU. NY 11419             i ~s1.ool
                                                                                                                                                                                                    _; -1    1.287.DO!
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11·3239214::__--jl:..:FRAN=ON=E'-'-FRAll=cc•llA=DO"'-------------------+l':;;"'c..::;NO::;R:.:n<c..:::BR:::OAOW=:..:•:..:•_ _ _ _ _ _ _ _ _ _-iT-----f'========="---+------'="'-!--------=!-------+-!
                                                                                                                                                                                            640.00[ -1    __~3~75=-•~s'
                                                                                                                                                                                                     I
XX-XXXXXXX       jMELVIN TEPLER MD                                                 .1252 EAST 9TH ST                                           !BROOKLYN, NY 11230-5108               9BS.00l      534.42:              534.42

XX-XXXXXXX       llAN L BOURHIU.                                                  l2as EAST MAIN ST                                            IHuNTINGTON, NY 11743-7930        I    900.001      900.ool              g00.00l

11•3Z7B166       !DAVID AU.£N SCHL£5SINGER MD                                     i1s FROEHUOf FARM Bl.VD                                      lwooosunv, ~Y 11797-2903
                                                                                                                                               I
                                                                                                                                                                                 I   4,&21.00!    1,350.21!           1,388.21;
                                                                                                                                                                                 !
11-3311)gg7      !ruFFORD M GEVIRTZ                                                MC 11026 PO BOX 11839                                       lNEWARK, NJ 07101-8138            I   2,100.ooi            -i
XX-XXXXXXX       lsrATEN l5lAND HEART PC                                          lso1SEAV1EW AVE                                ,STE 300      · 1SfATEN !SIANO, NY 1030S-3400   I    soo.00!
                                                                                                                                                                                                          _,'
11·3345702       !01ARLES ANDREW SHAPIRO MD                                       !202 28 45TH AVENUE                                          IBAYSIDE. NY 11361·2540           !   1,83S.ooi            -1
XX-XXXXXXX       ISTEVEN B SOBEY MD                                                PO BOX 2608                                                 I.SOUTHAMPTON, NY 11969-2608      !    no.oo1              -1                  -l
XX-XXXXXXX       ;RUBIN BREOfER MD                                                 736 OCEAN PARKWAY                                           !BROOKLYN, NY 11230-1116               210.00!      164.40!              164.40!
~1-3~e:6900=-.:lsre=PH_,,EN=••,,cxe=•,_,.M,,,o,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _---4-,4701QUEENS BLVD                                  STE 404   lsuNNYSIDE, NY 11104              I   1,&10.ool            -,'         l.610.ool
XX-XXXXXXX       !MARK THOMAS DOUAR MD PC                                          j80 UNNERSm" PLACE SUITE 3-C                                TNEW,ORK, NY 10003                !    ns.ool              -!                   -l
XX-XXXXXXX       lwiwAM G JOHNSON MD                                               l1s110 UNDEN BLVD                                           !sr ALBANS, NY 11412-4026         I    130.021             -i
XX-XXXXXXX       l£ASTcOASTORTHOTIC&PROSTHETICCO                                  iPOBOX66l                                      b5euRTDRrve   IDEER PARK, NY 11729-0662         i    737.98]      432.12!      .1      479.86/

XX-XXXXXXX       IOTYWIDE MOBILE RESPONSE CORP                                 ----l-t~24 STIU.WElLAVE                                         !BRONX. NY 10461-2214             I    4Sl.241      294.74\

11·3425433       jMINEOLAMEDICAllABUC                                             llBSWIUISAVENUESUITl                                         !M1NEOIA. NY 11501-9998                300.00!      300.00!
XX-XXXXXXX       iROBERTWASNICK MD                                                 PO SOX 3074~                                                 jNEWYORK, NY 10087-0749               111.00!       106.201             106.20!
                                                                                                                                                                                                           I
11-3¢75662       IALEXANDER GOLBERG 00                                             b361 EAST 14 STREET                                         TBROOKLYN, NY 11229-4307          i   1.300.ooi    1,300.001

XX-XXXXXXX       )MICHAEL G MARCUS MD                                              iGPO BOX 26106                                              !NEW YORK, NY 10087-6106               135_00!             -1
XX-XXXXXXX       /otMA TErTEt.MANMD                                               !2G1BGERRfTSEHAVE                                            lBRooxtYN. NY 112is.s941          l   l.89B.001     484.131
                                                                                                                                                                                                           I
                                                                                                                                                                                                                        484.u!

XX-XXXXXXX       !JOSEPH QAYT'ON RNLEY JR MO                                      h14S1UCKHOLM ST                                              !BROOKLYN, NY 11237-4006
                                                                                                                                               I
                                                                                                                                                                                 I    390.00\'     153.68l

!-1-3$91103      !11.ENE GEWIRTZ MO                                                !369 EAST MAIN STREET SUITE 11                              IEASTISUP, NY11730-2BOO           !    125.oo!                   -!
                                                                                                                          3!15.00)             INEWYORK. NY 10087-7360
11-3666~•~22~..,i~CAR=OU~N:,,Ec_,:G"'EE1A=N,_.00~-----------------+IG~PO=BO,:X'-'2"7360=------------l-----+==="--"=="'-------+----'=""--------+------i
XX-XXXXXXX       ]SHAKEEL DURRANI MD                                               !PO BOX 5418                                                !ASHEBORO, NC 27204-5418               387.ooi       309.oo!
                                                                                                                                                                                                           I
                                                                                                                                                                                                                ·I
11-86698S4       IDAviDBARLASMD                                                    !PoBOX415662                                                 !BOSTON. MA0224l-S662                  21s.oo·      215.ool     -1


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XX-XXXXXXX      FPHIUP FRIED MD                                                      '2426 EASTOIESTER ROAD STE 201                    f               BRONX. NY 10469-0004                                uo.oo;                   i
                                                                                                                                                                                                                                   -:                      ss.ooi
XX-XXXXXXX     !DAVIDS BINDER 00S                                                        551 5TH AVE SUITE U14                                        !NEW YORK, NY 10176                                s.soo.oo;
13-19415519     ROY B COHEN OD                                                           551 AFTH AVE SECOND MOR                                       NEWYORK,NY10176-0001                                37S.OO!                                              -!
XX-XXXXXXX      'ISUSAN DROSSMAN MD                                               ,488
                                                                               ---; =MADISON
                                                                                       = =AVE= = - - - - - - - - - - - - + l____-,:.:N::EW::..Y,.:O:::R::,K...::NY;..l::002=2~-----+---'1,,.22S=.oo"';-•_ _ ___,1.22=•e.:·oo=,l_ _ __;+---'~?:.,225.00Jl
XX-XXXXXXX      l~~!ROSTHETICS & ORTHOT!~.!~.~                                       1699 NORTH MACQUesTEN PARKWAY                     i               MOUNTV!RNON, NY 10552-2121             !            721.86'                 -i                           -1
XX-XXXXXXX      HARRISCBRUSfEIN MD                                                   [77 QUAKER RIDGE RD STE 203
                                                                                                                                  --+i_-----+!N""EW'-"-'R"'OC°'H=~•~•N~Y~108=04-~2=B"'21'----~!,  ~~--~~~'-'300.00°"=:: ~•----~~~~~~~~~-+1:: : :-=-,:1~=====300==·00=~!============~
XX-XXXXXXX      !1oa. 5 HOFFMAN MD                             !25 CENTRAL PARIC WEST
                  =c====-----------------t======-----------i'-------f-N"'EW"--'-YO:.,Rc,K.'-'NY"-"100=23'--------+---=17"",850=00=,..•---=17.,::,850=.oo=·:...
                                                                                                                                                           ·                                                                            ----'-l•:_   _,(13,260.00J;--i- - - - - - - I
13-31.38378    !MIOiAEL M WOLFF DC
                                                 ....*-••----·--·
                                                                                         300 EAST57STREET#10                                           NEWYORK,NY10022                        i            450.oo;           450.00I                      •so.oo!
XX-XXXXXXX      IICAREN BARLETTA OTR/L                                                257 MAIN STREET                                                 lEASTOIESTER, NY 1D709-2!101            I            977.501

XX-XXXXXXX      \ENGLER DANIELLE                                                         175 PURCHASE ST                                              fRY£. NY 10580-2137                                  280.oo:           2so.ooi           -1         2so.00!
XX-XXXXXXX      IJILLPALTMAN MD                                                          PO BOX 270                                                    MASSAPEQUA PARK.     NY 117Gi                     1,920.00i          1,920.ool                   1,920.00!
XX-XXXXXXX      NOEL MEEHAN LCSw                                                         zu WEST SGT11 STREET surre 19L                !              INEWYORK,NY10019                        j          1,200.00!          1,200.00!          .!       1.200.00!
U-336672g       ,USSA B HIRSQI MD                                                    :75S PARK AVE                                                     NEWVORK.NY10021-42SS                   !            420.00!                 -!                     420.ool
XX-XXXXXXX      BARBARA EDE!STEIN                                                    11045PARKAVE

XX-XXXXXXX      MIRlAM GREENE MD                                                     1340 EAST34THSTREETSUrT1: lCD                     I              INEWVORJ(,NYlDOl&-4978                               320.ooi                 .!          -1               -!
                                                 - - - ----------t========'--------;i-----+1N=EW~~~~~NY1006S-5955                                                                                          450.DO;           -1so.oo!          _,,        450.00[
J.3..3556869    WAYNE GRAHAM WHITMORE MD                                             !116 EAST68STREET

XX-XXXXXXX ..... RIOiARD DAVIDSON ~f. .....                                         -F======='-------·-·---·-i-1
                                                                                     550 MAMARONECK AVE mo3     ----;:IHAR=•c.::==·'-'""-•=10S=2,a'-------i-l_ _ _10=•·=00:.;.i_ _ _--'1=os==.o=•c;..!·---_.j~---'1=0Se,.OOe,c;_l_ _ _ _ __:_-1
XX-XXXXXXX      IOIRIS CREATURA MD                                                   h3s e 67TH ~ 204                                                  NEWYORK,NY10065                        I            400.00'           400.001           .]         400.oo!

XX-XXXXXXX      IGEoRGE~~MAS soURRIPA MD                                             j970 N BROADWAY SfE 109                                           YONKERS, NY 10701-1310                 I            815.00!           486.471                      4B6.47i
13-37S7657      SAM A LEUZZl,M D                                                     i2u1 RICHMOND RD                                                  STATEN ISlAND, NY 10306-2584           I            130.DO\                             -i               -l
XX-XXXXXXX      fJOHN CONRAD PETERSON DDS                                            /2983 LONG BEAOi RO                                               OCEANSIDE. NY 1ts12                    I            600.00/                 -!          -i         iso.oo/
XX-XXXXXXX      MARIA I BETANCOURT MD                                                    185 MADISON AVENUE                            ,SUITT BOO     1NEWYORK.NYl0016                        !            375.00i                 .j          -1               -!
XX-XXXXXXX      ROGER f WIDMANN MD                                                       POBOX29234                                                   !NEW YORK, NY 10087-9234                             S40.00i                 .I                           _J
                                                                                                                                                                                                                                    !
l3-398564S      DOUGLAS SECKENDORF DC                                                    133 E SBTHST 15TH FLOOR                                      !NEW YORK, NY 10022                     I            490.00'
                                                                                                                                                                                                                   I
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XX-XXXXXXX      SCOTTTSOIAEFFER DC                                                   1_136 RADIO C1Ra.E DRIVE
                                                                                                                                                      I
                                                                                                                                                       MOUNT KISCO, NY 10549                               225.00i
                                                                                                                                                                                                                   '
                                                                                                                                                                                                                             ns.001
                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                               -i
XX-XXXXXXX      DENNIS GAGE MD                                                       i503 AIRPORT EXfCUTM PARK                                        [NANUET, NY ].(lg:54-5238                            19s.ool           133.25!

XX-XXXXXXX      ROHAi.DO DE LEON ZAMUCO MD                                           ,311 EAST79THSTREET                                   SUITT 2A    NEW YORK. NY 10075                                  aoo.oo:           480.ool           .I         480.ooi
~              !JEFFREY I MECHANtClt MD                                                  1192 PARlt AVENUE                             I               NEWY0RK.NY1012B                                     lBS.00:           185.ool                     (185.00)!
XX-XXXXXXX     'jSHARON B DIAMOND MD                                --------+===--~~---------+!'
                                                                             i61 EAST 86TH STSUITE 1
                                                                                                       -----+N...!,NY10028                                                                               1,360.00'                 -i                   i.oso.oo!
XX-XXXXXXX      ,MAZHARELAMIRMO                                              J192 HARRISON AVENUE    !        lJERSEY aJY, NJ 07304                                                           I            175.00!                 -:                      53.111
XX-XXXXXXX     I MICHAEL R LEONARD MO PC                                                 1550 YORK AVENUE                                             iNEWYORk,NY10028                        !          2.200.00/                                        250.ool
XX-XXXXXXX      HOWARD E HUEY                                                            210CANALSTSUITE307                                            NEW YORK, NY 10013-4187                I            405.00:           400.ooi                      405.ool
XX-XXXXXXX     !BEEKMAN RADIOLOGY                                                        342 EAST 49TH srREET                                          NEW YORK, NY 10017                                  450.00!           4s0.00!                     (450.DO)I
XX-XXXXXXX      lBEl'tfAMIN HENRYLEWJS                                                51 WES1' 51ST STREET                                            lNEW YORK. N'f 10019                               2.500.DO'                  '
                                                                                                                                                                                                                            1,765.D0}
                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                        2.500.00!'
l.3-4191134    '!MARY GOCKE                                                          134 RYE RIDGE PLAZA                                              iRYE BROOK. NY 10573-2820                            sso.ao!           745.00!                      74s.ooi

XX-XXXXXXX      OAHIUZEDEK MO                                                        !2606 IRONGATI: DR STE 201                        I              !WILMINGTON, NC 284U-2494                            150.00[           iso.oo!                      1so.ool
XX-XXXXXXX      hAMISON D Ail.EN DO                                                  izs60 HAUSER ROSS DR SUITE 450                    j              !SYCAMORE, ll 60178-318S                             124.00;           105.40;
                                                                                     I
XX-XXXXXXX      lw1WAM s POOLE MD                                   -------_;:.=====------------'f
                                                                              !PO SOX 9S000-366S  _____,'-!:P':..:HlcclA=DEI.Pli= IA,PA1919S-3665                                                          S71.ool                                       (106.40),_:- - - - - - - 1
1.3-4466476     ioeSORAH RIMLER, MD                                                  ,144-49 70TH AVE                                                 !FLUSHING,~~ 11367-171.3                             &2s.00'.                                       625.~!
                                                                                                                                     EXHIBrTZ

                                                                                                                                           191
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XX-XXXXXXX                                                                                                                                                    425.oof       425.ooi               425.DOi

XX-XXXXXXX ......1COMMUNITY MEMORIAL HOSPITAL                                                                                 HAMILTON. NY 13346-9575        926.24!                     .I      92624i
               1                                                                                                          llSEuN, NJ 08830                    875.00[       s1s.ool              s?s.ooi
lS-3467738 ---· MARYSUE MCNAIR LCSW
                                                                                                                                                             soo.ooj
~5546867
l.S-6542085
                  ELIZABETH PEYTON PHO
                  USA BETH SZUBIN MD                             I3 EAST 71ST STREET
                                                                                                                          iNEW YORK, NY10010
                                                                                                                          I
                                                                                                                              NEW YORK, NY 10019            2,025.00]
                                                                                                                                                                            soo.oo!
                                                                                                                                                                           1,768.08!
                                                                                                                                                                                         ·i.,    soo.oo!
                                                                                                                                                                                                1,2~;!
16-1D70301    SCOTT ROSSSOIIFfMAN MO                             P OBOX 278992                                                ROOIESTER, NV 14627              30.00;
              I
XX-XXXXXXX    IBANGS AMBULANCE lNC                               205 W GREEN ST                                           irrHACA. Hr 14850-5421            1,213.78:  '    43CJ.54i
XX-XXXXXXX    KRISHNAM RAO MD                                   ,601 ELMWOOD AVE BOX 320                                  jROOtESTER,NY14642                 430.00'        430.00!      .\      430.00
XX-XXXXXXX    !ROBERT GLOVER                                    !11 GOODELL STE 320 3RD FL                                !suffALO, NY 14203-1205            248.00!        160.70!      ·I      160.70!
16-l4S0921    !U OF R ANESl'HESIOLOGV GROUP                     !601 ELMW000AVE#32O                                       !ROCHESrER, NY, 14642             2.490.00!      2,403.991            2,403.991

XX-XXXXXXX    JAMES FOGARTIE                                     3713 BENSON DR STE 201                                   '
                                                                                                                          !RALEIGH, NC 27609-7372            120.ooi         36.96!
16-163B9B2    1MICHAEL CALABRESE DC                              1.39 EAST 57TH STREET 8TH FlR                            iNEW YORK, NY 10022                495.00i   '
XX-XXXXXXX    lweUSTAR COBS HOSPITAL                             39SOAUSTELLRD                                             AUSTELL. GA 30UJ6.1121            374_00i              .,     _j
XX-XXXXXXX    !DANIEL RYAN                                      J3710 BENSON DR                                           iRALEIGH, NC 27609-7321            390.00!        390.00:

XX-XXXXXXX    JANEZPEO\R
                                                                1
                                                                 PO BOX 12933                                             !BB.FAST, ME 04915-4020             35.68          35.68!  '
XX-XXXXXXX    FLYNN DERMATOLOGYPA                                5603 DURAl£1GH RD S1i 111                  i             IRAI.EIGH, NC, 276U                212.01!        127.07   '
XX-XXXXXXX    PAULJOHN WINTERS DC                                POBOX288                                   !NOTOi ROAD   iOiARLOTTE HAU, MD 2062H)288      1.765.ool      1,178.89!            1,178.B9j '
XX-XXXXXXX    IJAMES BRADY MD                                   ,POBOX6070                                                isouTHAMPTON, NY 119G9-6070       2,800.oo!             -!            1.932.00!
XX-XXXXXXX    !JANG OIADHA, M.D.                                !Poen0                                                    'PORT WASHINGTON, NY 11050-0310    11s.oo!              .l             175.oo!

20-01S819B    JKEVIN JOHN O'BRIEN DC                             6730ATASCOOTA ROAD 108                                   iHUMBlf, TX n34G-l995              144.00!              -i              =I
XX-XXXXXXX    MlotAEL R MACADAMS MD                              POBOX53487                                               ;LUBBOOC, TX 794S3                  81.001              -i              81.00!

XX-XXXXXXX    MAHMOUD ISRAHIM, MD                               1841510TH AVE                                             IBROOKLYN, NY 11228-3201          3,630.ooi             -!       I    3,630.00.

XX-XXXXXXX    'lLUBA TSYPKIN MD                                 1198 MASSACHUSETTS AVE                                    lNORlHANDOVElt MADl.845-4143       600.oo!              -!     .!               !
                                                                1
XX-XXXXXXX    DANIEL LBOSS MD                                    136JUPITER LAKES BLVD                                    lJUPITTR, Fl33458-7180             388.201        23S.S3i              238.53!

              10RTHOPEDICSURGEONS OF WISCONSIN SC                PO BOX78945                                              !MILWAUKEE,~.! S3278               718.00!        s&usl                664.151
XX-XXXXXXX

XX-XXXXXXX    ]ADVANCED WOMENS OBGYN LTH CARE                   i20 WEST UNCOLN AVE                                       1VALLEY SJREAM, NY 11580-S762      600.oo;              .,
XX-XXXXXXX    SOUTHWESTOIAGNOSTICtMAGING LTD                     2323 W ROSE GARDEN LN                                    !PHOENlX..~ 850l:7                1,439.00        943.11!              943.11!
                                                                                                                                                                       I
ZD-0426378    'AMERICAS HEALTHCARE AT HOME INC                   1510 CATON CENTER DRIVE SUITER                           leALTIMORE, MD 21221-1S2&         2,3a9.00:       980.03;              980.031

XX-XXXXXXX    CAIRO m CARE LLC                                  b21 NORTH BROAD ST                                         CAIRO, GA 39828-0487                65.00[                              ss.00!
20-044S029    !CESARE VIVANCO MD                                 lOSSS VISTA DELSOL STE 120                               IEL PASO, TX7992S-7943             317.29!        16L43j               16L43

XX-XXXXXXX    IWEl'iWANG,MD                                     I116 14 MYR11.E AVE                                       1
                                                                                                                           RIO-IMONO HILL. NY 11418
                                                                                                                                                                   I
                                                                                                                                                             220.00;
                                                                                                                                                                       ;
                                                                                                                                                                                  _J                   -i
XX-XXXXXXX    \ANNETT!: M SHAIEB MD                             1PO BOX 10076                                              VAN NUYS,CA91410                  274.00!                             150.70!

2CHl584900    PAUL WANG MO PHO                                   lz35 PROSPECT AVE LO                                     !HACKENSACK. NJ 07601              sso.ooi        440.00i              440.001

20-0587~ ....-!PIAGNOSTICTlSSUE CYTOLOGY GR                     '
                                                                1151220THAVE                                              !MER!DlAN, MS 39301-6116           450.00]        450.00 1 '           450.ooi
XX-XXXXXXX    il?.~.f?A L CANTOR MD                              POBOX11768                                               ]RtO-IMOND,.YA 23230-DltiS         160.ooi              .;             160.ool

XX-XXXXXXX    iPAlJLRCAm.EDC

XX-XXXXXXX ···-t;l~AM PWHITEMD
                                                                i1885 HICKS RD
                                                                i4126 CARMICHAB.COURT
                                                                                                                          jROWNG MEADOWS, IL 60008-1215

                                                                                                                              MONTGOMERY, AL36106-2871
                                                                                                                                                             605.00:

                                                                                                                                                            1,500.ool
                                                                                                                                                                            605.00:

                                                                                                                                                                                     '   :i--    605.ool

                                                                                                                                                                                                   00.001


                                                                                                           EXHIBIT2

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                                                                                                                                        l$~~~~,,,~~
~028039        {RAMIN AKHAVAN MO                                /PO BOX 7328                                /            O~G•~~ 92863-7328              .....~r~, ...   i      l.21LOO/
                                                                                                                                                                                                   -i              701-161
XX-XXXXXXX     IPACIFICEMERGPROV1DERSAPC                        iPosox1524                                               ARCADIA,CA91D77-t524                                    318.oo!

20-1oa31s9     imsEPK-GABRIEL BOBADJUA DPM                      \931 E HAVERFORD ROAD                                   TBRYN MAWR. PA t90t0-383B                              1,193.00l

20.1111882     !EXCELL CUNICAl lASORATORY                       iONE ETHEL ROAD                                         leo1SON, NJ 08817                                         65.oo;       ss.ool               65.oo!
XX-XXXXXXX     A5AAO JANDAU MD                                  iPo BOX 1103                                            iCRoWN POINT, IN 46307                                   909.oo!     250.00;               909.00
XX-XXXXXXX     NORTH SHORE WELLNESS SERVICES LTC                !425 HUEHL RD #19B                                       NORTHBROOK, IL 60062                                  1,920.00:    1,035.ooi            1,035.00
XX-XXXXXXX     VIVIAN MOUGIOS PHO                               !127 W 96 STREET STE 18                                 !NVC.NY1002S                                           7,900.oo 1                       (7,248.08)

~~1203894      IBRENT JASON HENRIKSEN MD DOS                    !1100S SOUTMEASTERNAVENUE                               !SIOUX FALLS. SD S7103-3227                            2,n2.00!
20-121856S     !NORTHSTAR ANESTHESIA. PA                        IPO SOX 6S02S2                                          !oALIAS, TX 75265-02S2                                 2,303.0D[    2,303.00
                                                                                                                                                                                                       1
                                                                                                                                                                                                                 2.303.00i
XX-XXXXXXX     iotESTER REGIONAL MEDICAL                        !ONE MEDJc:ALPARICDRIVE                                 !CHESTER, SC 29706-9769                                S,lU.35:     4,635.osi            4,635.osl

20-1250D16     DAVID LEVINE MD                                  ls23 EAST72NDSTREET                                     INEW YORK,. NY 100.21-4099                              400.oo!      400.00~             (375.oo,i
20-ll538S4     tJUAN C EST'EVA MD                               hs1 coaoovASTREET surre 1                                PASADENA. CA 91101-2617                                550.39!      141.7Si       -i      141.,sl

XX-XXXXXXX     !DAVID OBANDO MO                                 1520 E 22ND ST                                          !LOMBARD, IL60148-6110                                    n.oo;                             so.osl
XX-XXXXXXX     JUIAN-JUIAN t FU 11,fD                           lPOBOX862823                                             ORLANDO, R.32886-2823                                   345.00:           _j      -l
20-12943n      CAROLYN RACCUGUA LOBOCOilARO OD                   hooowesr MAIN STREET
                                                            -----1'======----------l------f-!======'-----+-----'="1-----"1os.=oo,;l
                                                                                                FREEHOLD, NJ 07728-S998 1as.001    ____ c+i____.: IO,:S-:: :-oo;-I_______,
~~1301082      JOHN CHARLES ICOI-IL DC                          h323EMAINSf                                              REYNOLDSBURG, OH 43060                                1,310.00!     839.27i               839..?7   !
XX-XXXXXXX     1NINA KONSTANTIN OVA                             '
                                                                1136SHERMANAVE                                          JNEW HAVEN, CT 06511-5238                              z.125.0~_\   2,125.ool            uzs.oo!
XX-XXXXXXX     !TEN BROECK COMMONS                              lo NE COMMONS onrve                                     .t.AKE KATRJNE, NY 12449-5149                           .,,usl             -1
                                                                                                                                                                                                       I

               I
XX-XXXXXXX     ISAILAJA MARAMREDDY MD                           \po BOX2718                                              PALATINE, IL 60078-2718                                 76s.ooi     53234}                532.34

XX-XXXXXXX     iKYlE RUSH DMD PC
                                                                I
                                                                j306 EAST 5TH AVENUE                                     ROME, GA 30161                                          169.00~
                                                                                                                                                                                                   _,  )
                                                                                                                                                                                                           -1      169.00

XX-XXXXXXX     ,MIOIAEL YUAN GAO MD                             149 VERONICA AYE srE 201                                 SOMERSET, NJ 08873-6802                               4,690.00!                   ./    ......oo/
XX-XXXXXXX     STEVEN WALTRIP MD                                1120 S SPALDING ORNE SUITE 400                           BEVERLY HILLS. CA 90212-9998                           97s.ool                            97s.ooi

XX-XXXXXXX     MORTON GROVE MEDICAL IMAGING LLC                 18930 WAUKEGAN RD S?'E 130                               MORTON GROVE, IL. 60053                               6,324.00i     430.00l               430.DD

XX-XXXXXXX     MANUEt.SMESIROWMD                                118425 WEST CREEK ORM STE F                              TINlfY PARK. IL 60477-6768                             zso.ool                            zsa.co!
XX-XXXXXXX     NAOiUM M LOSS PT                                 l61GRANDAVENUE                                           ENGLEWOOD, NJ 07631                                    sso.ool

XX-XXXXXXX     [JEFFERY MOSCOW                                  1to715TUTnEAVE STE 1                       1             SARASOTA. FL 34237                             I       470.001 '    470.00!               470.0D
XX-XXXXXXX     !ivAN RAMIREZ MD                                 j9670 RANOi RD 12                           !            WIMBERLEY, TX 78676                            I       140.12 1       69.09!               69.D9!
XX-XXXXXXX     CAROlf C APONTE MD                               !3005 E RENNER RD STE 100                               JRIOIARDSCN, 1X 7S082-3SOS                              375.oo!      us.col                263.22

20-1.909363    !RENAISSANCE EMERGENCY PHYSIOAN                  IP080X4631                                               HOUSTON, TX. 77210                                 -~~=---~==a~oo~;;-i
                                                                                                                                                                               1.288.ooi       ____,-l_~C,=1.22S=--•=·00l~~-------1
XX-XXXXXXX     !DEAN A EARP MD                                  '18818 MEISNER DR   sum 102                             .SAN ANTONIO, TX 78258                                   592.00!     503.00!       -1      503.00!
XX-XXXXXXX     !coRY EVAN JACOBY DPM                            hso FLETOtER ORIVE                          lsurra300   IELGIN, L 60123-4 703                                   200.ooi      180.00!               iso.oo!
XX-XXXXXXX     '
               !JOHN KEHOE                                      Im E 96TH sr APT l9C                                    INEW YORK, NY 10128                                      ns.ooi
XX-XXXXXXX     ICHABLES OLIVER TURK MD                          18615 SOLUTION CENTER                                   l011CAGO. IL 60667-8006                                 521.00!                            338.841

~2146961       iJOHN BARTl£Y MARTINEZ OClAC                     '/2230 SOU111 ST                            j           jMOIUUSTOWN, HJ 07960                                    525.00J'                          480.00
                                                                                                            I
                                                                !9U E PARK ROW DR                                       !ARLINGTON, TX 76010-4507                                 4s.oo:                            45.00!
~!_66309

XX-XXXXXXX
               ,ROGER PHAM

               iANDREW IVANOiENKO
                                                                I
                                                                i235 MORAINE RD
                                                                                                            '                                -----~2~'"~·00___,;,
                                                                                                                                             290.ooi
                                                                                                                        !HIGHLAND PARK, It 60035-1933            ____-+---2~90~·ccooc;!______-I
20-21n96o      ELLEN D FJTZGERAlO DO                            ho2 WESTSIDE DR                             i------r=======------+---==----"''•=·•c:,2L.
                                                                                                                    loouGLAS, GA 31533--3530  90.ool              ________-+--~'~•·cc•2c;!______-1
20-2::Z648S3   TAMPA BAY RADIOLOGY A5SOOA1cS                    '
                                                                11613 N HARRISON PARr!NAYSTE200                      SUNRISE,R.33323         246.ool           }           -I       134.osl

XX-XXXXXXX     ,KENNETHFI-IARDY                                 ln11P1NEV1EWDRIVESU1TE 200                              IMoRGA;,;~N. wv 26505-3276                               27s.ooi     275.oai               275.00'   '

                                                                                                          EXHIBCT2

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21H381320             [ROBERT BRUCE DENNISTON MD                                    /UOMADISONAVESTEC

XX-XXXXXXX            IARIS M MUSABJI MD                                            b10wLOOPRD                                              IWHEATON, ll 60189-2034                   1     1,413.00:                              -i       1.413.00!
XX-XXXXXXX        ICOMMUNITY HOSPITAL OF LAGRANGE COUNTY                            !Nw 6468 PO BOX 1450                                    iMINNEAPOUS,MNS.54a5-6468                 I        50.00
                                                                                                                                                                                                       1
                                                                                                                                                                                                                 so.ooi            -i         50.DOj

XX-XXXXXXX        :ADAM SELL                                                         2555106TH ST                                           \URBANDALE, IAS0322-3766                          32D.OO!
XX-XXXXXXX __
                ··-
                      fKRISTY KATE SHIJTTS MD                                       !P□ BOX1810                                 'i          jPRESTONSBURG, KV 41653-1080                      60B.00:                 _i                     343.St!

XX-XXXXXXX        '/PRIME HEALTHCARE SVCS-SHERMAN OAKS UC                           iALE1026                                                ·PASADENA,CA9ll99                               2,091.20\                                       2,09UO[
XX-XXXXXXX        !AUREZA NAMI                                                       332 UWNGTON AVE                                        i01ARLOTTE,Nc2s204-3130                          460.ool            428so!             -1        4ls.sof

XX-XXXXXXX        \FAMILY DERMATOLOGY OF Al.BEMA            215 WAYlES LN srE 150
                   -----===~-------------+-----------------.--------<:~CHA=~=OITESVILLE.VA.~229~1_1_ _ _ ___,                                                                             __,~,3.3=2~:_ _ _ _~%=.66:~'----f---'~~3.3=2~j'_ _ _ _ __
                                                                                                                                                                                               0

XX-XXXXXXX        !IRELAND GROVE CENTER FOR SURGERY LlC                             !3801 IRElANDGROVEROAD                                  BLOOMINGTON. ll 61704-5297                      S,211Q.OO,        s.2ao.oo!                    5,280.001

XX-XXXXXXX        jNlZAR HABAL MD                                                   j2223HEMBVlANE                                          !GREENVILLE, NC27834-9998                      1,000.00!            S88.331                      588.33l
XX-XXXXXXX        INmNBAWAMD                                                         4SSUGMSANDLNSUrrEA                                     lSANTAROSABEAOf, FLa24sg.7432                    350.oo!             68.38!            -1        2wsl
XX-XXXXXXX        !HARTSBURG CHIROPRACTIC                                            40 LAKE AVENUE EXT                                     DANBURY,cr06B11                                  330.ooi            ,.,.ooi            .I        189.ool
XX-XXXXXXX        !SCOTTM BAl<ER                                                     POBOX33504                                 I           ,CtiAR~NC28233-3504                            1,80L60!           1,BOL6Dl             -!       1)101.60
                                                                                                                                                                                                                                                       1


XX-XXXXXXX        iOllRAAG V DHARIA MO                                              ,8930WAUKEGAN ROAD SUITE l30                I           MCJlTONGROVE,,ILGOOS3-2132                       249.oo:            249.oo!                      249.ool

XX-XXXXXXX        lAMv WECHSU:R MD                                                  j3 EAST69THSTR£ET                                       NEWYORK, NY 10021                                700.00j            450.00!            -1        100.00!

20-3U1952         L1NGTAO J GUO MD                                                   23438 SOUTH WENlWORJH AVE 2                            1CHICAG0, IL60616-20l3                           542.00i            292.68!                      292.Gsl
XX-XXXXXXX        lKAYAL ORTHOPAEDIC CENTER PC                                       784 FRANKLIN AVE STE 250                                                                     ~!___2=,'J~7ccS.O=Oc;.j_ _ _ _ __.__ _ _-i-J'---'2,380==·00::;.l_ _ _ _ _ _-l
                                                                                                                                            FRANKLIN LAKES,,~NJc,•~•7~4~17_ _ _ _ _

     =~-F==========~------------+=======~--------t!
~1!_~6770 luROLOGY SURGERY CENTER OF coLORADO 2777 MILE HIGH STADIUM CR ____-FDE=N~VE=R,~CO=B0=2==1~1-------f---'2,B48.00: _______-+·i_ _ _ _-~j__=,l.9=,9::3-c:::60,i.i_ _ _ _ __;:_-l
»3203283          !CAROL TRAK.IMAS
                                                                                    1
                                                                                     9104FALLSOFNEUSE RD                        !           ,RALEGH,NC2761S-4731                             195.oo:            11s.11!            -i        1u.11I

XX-XXXXXXX
                  I
                  !GASTROCARE llP                                                    5431 N UNIVFRSITY DR                       I           coRALSPRINGS, Fl.33067-4639               !    1.900.os!            251.se!            _!        zs1.aal
XX-XXXXXXX        !ANNE G WAU<al,LCSW                                                4811 EMERSON                              I            PALATINE, 1L60D6H414                      /      m.oo:                    -/                     125.ool
XX-XXXXXXX        IREGIOHA!.. DIAGNOSTIC IMAGING LLC                                ,2527 CRANBERRY HIGHWAY                                 )WARatAM, MAozs,1-1046                             83.oo!            32.ssl                       32.58\
»32603S1          !ASHLEY BROOKS MAYIAND CC                                         bo3   w wt1..1.Cw STREET                                1HARRISBURG,SDS7032-2004                         lll.0Df             !34.351                      94.as!

XX-XXXXXXX        lMIO-IAEL HAUBER                                                   13157 STATE UNE RD                                     KANSASCTY,M06414~1650                          3,911.00!          1,354_77;            -1      1,354.nl
XX-XXXXXXX        'lJEfFREY N MCINTIRE MD                                            POBOX2438                                              GAINESVILLE, GA30503                             39Lool             2os.aolr-_ _ _-;---=2S=1.B0=1lt-------1

XX-XXXXXXX        !JAKE IOilNO                                                       PO BOX 843756                                          LOS ANGELES, CA 90084-3756                         28.00J            13~;,                        13.99]

XX-XXXXXXX        !GENORTHO UC                                                      !2300s3R0 AVE SUITE 200       i     ;BETTENDORF, IA S2722                        9,014.001                                        -j                   1,920.n!
XX-XXXXXXX        lttOSPITAL PHYSIOAN SERVJCfS         -------------f-CI
                                                                         PO=
                                                                           BOX=   =
                                                                              635061 ~ - - - - - - - - - - - - ; i____ +O~N=CIN~N~A=:TI,_.9,_1:1,..~4~52~63~------,--~~~DO!                                           -!                   1,188.00i
XX-XXXXXXX        beNNFER coo PER Mo                                                1PO BOX 791079
                                                                                                                                            ,BALTIMORE, MD 21279-1079                     -·-- 366.37•~'----'3:::66.3=7+-!----i---'3:::66=:.3::7.;..!'- - - - - - ' - - !
XX-XXXXXXX        lMETAMARK LABORATOR!S INC                                         it433 HOOPl:RAVE STE 320                                !TOMSRIVER,NJ08753                                 195,00;             11L1Si                     111.15\
                  I
XX-XXXXXXX        :MICHELlE WALTHER MD                                               POBOX8080                                              iGAU.AnN, TN 3706WOBO                            112.ooi                  -I          .I         1u.ool
                  I
XX-XXXXXXX        lMODUPEOLAOLADUNN! ABIODUN MD                                      3300 RIVERMONT AVE                        i            lLYNOIBURG, VA 24503-2030                        171.00
                                                                                                                                                                                                       1
                                                                                                                                                                                                                135.68!            J         135_68!

XX-XXXXXXX        '
                  :mueJONESCORBm1MSmRCHT                                             800 POST ROAD SUITE 3A                    I            DARIEN, er 06820-4622                          1,035.00i                  -!                     490.ool

20-3n1130         /POI TOLEDO tLC                                                   '
                                                                                    /POBOXSlO                                  !            NOVELTY, OH 44072                                9CKlOOj                  J            -!        900.oo!

XX-XXXXXXX        !NESTOR A PAMAlMAT MD                                             l,o eox 775153                                          !0t1CAGO. ll 60677-5153                   l      105.54,             64.35;                       64.351
20-40S4641        ]RAMA PRASAD MUWPURl MD                                           !6300STONEWOOD DRIVE STE200                             iPtANo. TX 1s02+sis1                             11s.oo\                                         11s.ool

lD-4098938        1CHR1STOPHER RSFORZO MD                                           1~·831 BEE RIDAE ROAD SUITE 200                         !SARASOTA. FL34233-5090                          945.00i            945.ool                      94s.oo!

XX-XXXXXXX        i~~ESHSHARMA                                                        l,o sax 637766
                                                                 --------i:-.:::===~-----------,-----lia:N:::O::.N:::NA,eTl,:,,..:OH=45=26:3-,_,77_c&6=-.._ _ _ _-4-_ _...=&6=3=.ooi _ _ _ _S!l_6._7D-+\_ _ _ _, __ _S~9~6.~70~1-------<
XX-XXXXXXX        !REGIONAL IMAGING                                                 IPO BOX 843972                                          !KANSAS CITY, MO, 64184                        , AA7.00             700.66!                      700_661


                                                                                                                              EXHISIT2


                                                                                                                                     1.94
                                                  Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 219 of 266 PageID #:11315




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                                                                                                                                                                      ,.-                                                                   -..i.•,·-             j


204141939    ]PETER F MCLVEEN MD                                   ')942 JONNSON IUOGE RD                                          !EL.KIN, NC28621-2212                                200.00!       97.99j   -i        97.591
                                                                                                                                                                                                           ;
XX-XXXXXXX       FARZAD FAKHERI MD                                 ls RIDGEWAY DR                                                  l1:1NGS POINT, NY 11024-1435                         699.ool     388.091             388.091
                                                                                                                   i                                                                                                           _:
20,4154737       SPOR15CARE OF AMERICA. PC                         '
                                                                   !11 EAGLE ROCICAVE                              !srE201         jEAST HANOVER. NJ 07936-3167                       3.51200•
XX-XXXXXXX   ,SEAN GROVER LCSW                                     '210W1:ST 21 ST!'!~, #SFE                                       iNEW YORK, NY 10011                                1,400.00i    1,400_00:         (~~0) 1    '
                                                                                                                                                                                                           i   _!
XX-XXXXXXX       TIFFANY YIN WONG CHANG MO                         loePT4408                                                       iCAROL STREAM, ll 60122-4408                         324.ool           -;                   -!
XX-XXXXXXX   !ELIZABETH A POYNOR MD                                igss PARICAVE                                                   )NEW YORK, NY 10028-0321                           1.s1s.oo:    5,921.66!         (3,326.10)!
             !PKYSIOANS REGIONAL Pl NE RIDGE                       ,PO BOX 281422                                                  IAT!ANTA. GA 30384-1422                                                 !
~1957                                                                                                                                                                                   363.96!           -;            ,02.ool
XX-XXXXXXX   lLESUE D WOODCOCK JR MD                               istOOWESTTAFJ"ROADSUITE 3L                                ___ ., __ !lJVERPOOL, NY 13088                             sso.~i            -!            277.44' '
XX-XXXXXXX   SURGICALSERVJCES OF IWNOISSC                          ;1235 N MULFORD RD SUffE 205                    i               /ROCKFORO, lL61107-3179                            l.019.ooi     567.74!             567.741
,0-,540400       DEBRA HENRY MC                                    POBOX79S9                                       i               IBEu:AST, ME 04915-7900                              210.00!     210.00!             2lo.D0
                                                                                                                                                                                                                               1

20-45S3410       GWINNmHOSPITALSYSrEM PHYSICIAN                    PO BOX 116156                                   l               IAT!ANTA. GA, 30368                                  960.00!            '            s6o.ool
20-4S61401       FRANKLIN l LL£VIN 00 PC                           !1nONPARHAMRD                                   i               IRICiMOND, V A ~ 8                                   290.00)     203.00)             203.0o!
XX-XXXXXXX   GREGORY DEAN LETTMAN DC                               2095JOHN F KENNY RD                             I               IDUBUQUE. LA s2002-3B99                              160.00!           -i                  -1
XX-XXXXXXX       REGIONAL RADIOLOGY UC                             POBOX2189                                                       !O<AlMITTE, lA, 70044                                458.00i     188.24!'   J      (1G8.33il
XX-XXXXXXX       MAATIN A URBAN MD                                 S20 E22ND5T                                     I               !WMBARO, IL 60148-6110                             1,223.001     332..63!   _j       332.631 '
XX-XXXXXXX   GULF COAST DERMATOLOGY PA                             2505 HARRISON AVE                               I               iPANAMA CITY, Fl.32405                               146.00!           -I   -,I            -i'
                                                                                                                                                                                                           !
XX-XXXXXXX       BRIAN 8 NOROUZJ MO                                1310 W STEWART DR                               I               ioRANGE. CA 92868-3855                              310.00( '          -!                   -1
XX-XXXXXXX   SVETLANA KORfNFELD MO                                 !2 MEDICAL PARK                                 1STE14          !WEST NYACK, NY 10994·1966                           190.00!     190.ool    -1       1so.ool
XX-XXXXXXX       QUESTCARE 1tOSPITALIS1'S P L L                    !12221 MERIT DR                                 I               l~~.1X7S251                                        1,470.00!    1.321.00!          1.410.001
20-SOS3918   !1NSTANiDlAGNOSTICSYS1cMS INC                         l17404THAVESE                                   !surreA         loECATUR, AL3560t                                     38.00!           -!                  -1
XX-XXXXXXX   !SMART CHOICE MRI llC                                 10532 NORIH PORT WASHINGTON R0A05UITE 1                         IMEGQUON, WI 53092-5563                      I     1,soo.00!           -i          1.454.3Si
XX-XXXXXXX   IJANICE SMITH                                         PO BOX 742616                                                   IATlANTA. GA 30374-2616                              184.oo!     171.48.'            17L48!
XX-XXXXXXX   PIEDMONT NEWNAN HOSPITAL INC
             1                                                     POBOX11649                                      I               [ATLANTA. GA 30368-6409                             740.00 1     S18.00!    -!      s1s.oo!
XX-XXXXXXX   TSAMBIKOS DIMllRAKIS                                  405 NORlHAELD AVE                                               lwm ORANGE, NJ 01052-3023                          2,.32S.OO!   2,325.ool   -1     2.32s.00:
                                                                                                                                                                                                          I
XX-XXXXXXX    A ~ Hospltal LLC                                     i2260 W~tsboro Road                                             /AUGUSTA,. GA 30904                                 6~.Y~l       419.93!    -i     (419.93)!
20.S129051   0WUES CASSIDY MD                                      80X28302                                        :               iNEW YORK, NY 10087-8302                             111.00)      30.94'.             30.941

XX-XXXXXXX       MAAN BARHOUM MO                                   11ssSMILWAUKEEAVE.SUITE 186                     !               lueERlYVIUE, tL60048                                380.001      380.00!    -1       380.DOi

XX-XXXXXXX   ~CS G ALBERTA MD                                      201 W PASSAIC STREET STE 201                                    iROOiEl.l.E PARl<._.~•IJ 07662•::11D0               779.40!            -!
XX-XXXXXXX       CHARLES RUOTOW MD                                 5500 MERRJO:: RD                                                ]MASSAPEQUA,. NY 11758-6231                          503.00]           J             503.ool
XX-XXXXXXX       COMPl.flE HEARING CARE PC                         462 W HALf DAY ROAD                                             IBU1TAW GROVE. TN 60087~5                            125.ool       66.25!             66.251
             I
20-S431785   IWEST OAKS URGENT CARE                                'l21SOSHIGHWAY6                                                 !HOUSTON, TX Tlf117                                  22S.OO!'          -!            22s.ool
XX-XXXXXXX   !ANGaJQUE COHEN MD                                    iOEPT4631                                       L               JCAROLSTREAM, IL60122~631                            694.00\                         694.ooi
                                                                                                                                                                                                           I
XX-XXXXXXX   iowu.es A REGER                                       1425 PARK Pl.ACE ORClE SUITE 200                ;               !MISHAWAKA. IN 4654S-3564                    !        ao.oo!       80.00!   _i        80.00!

20-S511312   !oEEPAi:: MALHAN MD                                   PO BOX 277827                                   !               !AllANTA. GA 3038,4.7827                             194.00[     194.ool    -!       194.ool
XX-XXXXXXX   \DAVID B TEMPLIN MD                                   960 GRUENE RD                                   I
                                                                                                                                   ,
                                                                                                                                   iNEWBRAUNFELS, TX78130-3919                          350.00,'    350.00\             3so.oo!
XX-XXXXXXX   DA\IID GOOOBEE MD                                     !POBOX5525                                                      !DENVER, CD 80217-5525                       i      940.00!      705.00i    -1       705.00;

!'-5758617   PIONEER OlAGNDSnc AND RESEAR~~£:!:!~                  5720 STONER ID GE MALL RO                       i               iPl.£ASANTON,CA94588-2828                    !      425.ooi      •,s.ool    -I       425.00!
                                                                                                                                                                               ➔
XX-XXXXXXX   hcew A CARROLL MD                                     1PO sax 46832!1                                                 IATIANT~--~~-31146-8329                              198.00'            '
                                                                                                                                                                                                    198.00'.   j       19aoo!
2M798950     lSTACEY AtsrON DDS                                    iPOsox 860036                                                   !MINNEAPOUS, MN 55486                                363.00t                -!          _j

                                                                                                                 EXHIBIT2

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===~~~~~!~
XX-XXXXXXX    !SI.AVA FUZAYLOFF                                                     \68-09 llZTHSIREET                                        j             !FCRESTHIUS. NY 11375-2972          I               -!                 -!
XX-XXXXXXX    ;JENNIFER COLE                                                         Po BOX 9014                                                            lADolSON, nr: 75001•9014                      13D.oo!             130.ooi           130.00
XX-XXXXXXX    !JOHN QiUWON CHOI MD                                                  h831s DAVIS PARKWAY SUITE 90S                             i             WARRENVILLE. IL 60SSS-303D                    661.ool             35s_a11           3ss.a,    !
XX-XXXXXXX    ;PAIN AND SPINE SPECIAU5TSOF CT                                       !POBOX714234                                                            ONCNATTl,0H45271-4234                       3,903.oo!                             1,,953.00j

XX-XXXXXXX    !HARRYBSCHICKDC                                                       j:111aMLANDAVENUE                                                       HIGHLAN0PARJ::,NJ08904-1B17         !         24s.oo1             115.73)   .!      115.731

XX-XXXXXXX    !AGATA   OCZK□-DANGUILAN MD                                           iPO eox 1a111                                                           ,BELFAST, ME 04915-4082             I         184.S?l                  -1            24.ool
~~!~ooss      IMARCBRETTM1SH1t:1NMD                                                 ,POBOX13393                                               1             lsELFAST,ME04915-4024                         400.ool            coo.oo!            coo.ool
XX-XXXXXXX    leRIANCCARROLLDCPC                                                     Poeoxt67                                          ....   !             HOLBROOK,NY11741-0l67                         :110.00]           1855s!     .!      1ss.ssl
~31441        !JAMESMca.EU.ANJR                                                     i90118THST'REETE                                                        ITIFTON,GA31794                               600.001                  _!   -1      324.SO

XX-XXXXXXX    !ALEJANDRO GONZALEZ DEUA VALLE MD                                      S35 E 70THST                                                           INEWYCRK, NY 10021"'1823                   45,150.00i                  j            250.00!
XX-XXXXXXX    jEASTGEOAGlARADIOLOGYLLC                                               7ACEEDR                                                                .NA1RONAHEIGHTS.PA15065-9700                  226.0t!                  -!   _j      226.01

XX-XXXXXXX    1KENNETH MAC.Eco RICE MD                                              12021 MARKETPIACE BLVD                                                  lcuMMING, GA 30041-7931                       350.oo(             350.ooi           350.ool
20-Bl3g14s    /ANGUSJON01liAN WILLIAMS PT                                           /134g ROCHESTER RD.sum 120                                             JROOIESJ"ER till.LS,. Ml 48307-nsi             462.oo!            3os.00l            308.ool
XX-XXXXXXX    ISYEo MUHAMMAD MOHSIN RAZA MD                                          415 w WACKERLY                                                        IM1DLAND. Ml 48640-2?61                        10s.ooi                       -l       63.ooi
XX-XXXXXXX    loocroRS CARDIO-VASCJLAR IMAGING PC                                    3131 KINGS HIGHWAY SUITE BS                                           IBROOKLYN, NY 11234-2644                     3,300.001           2,4~1-·--   -1    2.475.001
~~~-~8        IANNAMARIE GRECO MD PUC                                                PO BOX 18749                                                           BELFAST, ME 0491S-4082                        615.00!                  -1                 -!
XX-XXXXXXX    iEASONEYECARE                        _ _ _ _ _ _ _ _ _ _ _ _.,,14B=1S'-'u"s"'HWY==,..c.:so=-------·-----+m=•=~·--·---+ITH=o:::M:.:ASV1=LJ.E.=GA='''"'="'-..a.o='-----;----="::1.00=,i_ _ _ _ _ _-+i_ _ ___:1----''"'~L,eoo'i-!_ _ _ _ _--=.-1
XX-XXXXXXX    loRAL CANCER PREVENTION INTERNATIONAL INC                             !2 EXECUTIVE BLVD SUITE 102                                            !suFFERN, NY 10901                           4,384.1al           4,33031j    -!    4,384.tel
zo.assS6t6    IJOEYSPRICE.                                                           Posox1112                                                             ,LmANON.TN3708B                      l         11.G.ooi           u&.oo!             116.0ol
XX-XXXXXXX    !HOLLY MICHAELOfRISTY ND LAC                                          i2100MADISON AVENUE NORTH                                              [BAINBRIDGE ISlAND, WA9B110-t781     /          75.ool                  -i   -i
ZD-8624691    iSA.RASWATI DAYAL MD                                                   PO BOX 96                                                             !WESTWOOD, NJ 07675-0096                     1.125.00!
2D-fl64121Z   ~ODY Al.PERT LEVINE MD                                                 35A EAST B4Tii STREET                                                  NEW YORK, NV 10028                            653.00;            63S.osl            653.00!
2D-B7Z95Ei6   bALCARE WALK IN CLINIC 1Nc                                            /Po BOX 5412                                                           !BELFAST. ME 04915-5400                        450.00'.           420.&el            420.60!

F=='c.:•2==12=•:,,._-1l=LESU=Ec:o"'H=LO~•="'--------------------i'2620ELMHILlPJ1CE                              ---·--··-----------·-··•----;-----+!N~AS~HVtUE=~·~n<~3"'72-"1"'•-'------+---''"=s=.oo:=,-!______-!..__ _ _c,.•i_ _-=•=•s,,,.00:::.·'1-·- - - - - - - 1
XX-XXXXXXX    !CH HOSPITAL OF AU£NTOWN LLC                                           1503 N CEDAR CREST" BLVD                                 !             ALLENTO\\IN, PA 18104                       1,440.03!           1,180.82:         1.180.S:2.

zo.as&3929    /ABDAUAZBANDAK                                                         610SOTHSTREETSE                                                        atARLESrON.WVZS304                            187.oo!            1S1.oo!            1s7.ool
20-8927S61    !THE KlSSIMMEE FL ENDOSCOPY ASC UC                                    !715 OAK COMMONS BLVD                                                   IClSSIM MEE, fl 34741-4213                  1,504.00'.          1.oss.oof         1.055.00;

XX-XXXXXXX    !sre.PHEN L SIGAL MD                                                  2015 MUWERRY AVE sum. 310                                               MT PLEASANT, nc 7S4S5-231&                    s1s.ool            1SS.s1l            1as.s1

20-897S769
              1KArnARINA ANGER PHD                                                  110 WEST 81 STREET, sum IA                                             ,NEW YORK. NY 100Z4                          &,oso.ool           s.oso.oo:        cs.soo.001
XX-XXXXXXX    lcooPER HOSPITAL UMC                                                  ONE COOPER PLAZA                                                       ]CAMDEN, NJ 08103-1461                         42Loo!             42Looi             42LOO

XX-XXXXXXX    l1NSPIRAMEDICA1.CENTERSINC                                             POBOX6050                                                              BRIOGETON,NJ08099-6050                        204.72]            174.0li            174.01!
XX-XXXXXXX    1PPCGNNJ                                                               l96SPeEDWElLAVE                                                        MORRISTOWN,NJ07960-zg34                       170.oo!                  -1            92.tl9i
XX-XXXXXXX    /NORTHHUOSONCOMMUNITYACTION                                           180031STST                                                !            !uNJONCrJY,NJ,07087-2428                       sso.ooj            850.00!    .i      sso.ool
zz-1893909    IARTHUR suFF1N MD                                                     330 RATZER ROAD                                           lsre 1       1wAYNE. NJ 07410-1102                        1,698.oc!                  -!           63&.oo!

'!2"'-19=17c=24°'7--fiEccRl=C-"BO"'SWO=cc•™=M=:O,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.+'jPO.=BO=Xcc7B-"7=5=12,___ _ _ _ _ _ _ _ _ _ _      '+I__              !PHllADELPHIA,PA19171HS1Z                    1,625.00'.                 _i           247-25:

XX-XXXXXXX    iCHERnN_FIAUt
                      __       O_FF_M~O~--·-----------                          --}"i182=SO=UTH==STR=EET=Sl'E='-----------1j-----+!M=O'-'RR!"ST"-O"-W'-"N_="''-'"~"""'"=53=50=------+---'113=·00=-:-----=90cc.400'-j____-.,._!_ _ _._o_.40-;j______- i
XX-XXXXXXX    !'LENE PARDON                                                         ~3333 FAIRMONT AVE                                        [            !ASBURY PARK. NJ 07712-9998                    140.00!            140.ooi    -l      140.oo!
22N200467s    fEUOTHOWARD 0-IODOSH MD                                               !220 HAMBURG TNPK                                         !-----+lw:-A-YN-,-.NJ-a,~.-,o,;-2_13_2_______._,,---,s-o~.a"o!N•-N--•------               .!            J


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~lll•~~l!..~~~~1;-::·~~-~--~ .~:,~~--•~~ -
XX-XXXXXXX    !aoNALDRWHJTEMD                                                                                                      /ENGLEWOOD,NJ07631-2444           /    3,100.00:             1
                                                                                                                                                                                                    ./          ./
22•2162506    ielPINPREETNAGRA                                              i40 FULO ST STE 400                                    TRENTON, NJ 08638-5.247           ;       33.00:        33.ool            D.oo!
                                                                                                                                   1

XX-XXXXXXX    'jHOWARD ROSENSTEIN                                            POBOX6545                                             iFREEHOLO, NJ   onzs              t       8D.00:                          30_g7J
~-2325405     !CAYUGA MEDICAL CENTER                                        l1010ATESOR                                            ilTHACA, NV148~1342                      128.00!      128.00:            us.ooi
XX-XXXXXXX    !JOSEPH VITALE                                                i1031 MCBRIDGE AVE                                         WESrPATERSON, NJ D7424-2599          29D.DD'.           -i   ·i            -i
22-2390S89    !RICHARD DENNIS GORDON MD                                     2121 ICLOCKNER ROAD                                    IHAMILTON, NJ 08690-3417          I      120.00!            -l
XX-XXXXXXX     RIOIARD A DICKES MO                                          310 MADISON AVE SUITE 220                              iMORR1STOWN,NJ01gso               I      100.ooi            -i   -!      soo.00 1
22-24S3214     PmR EVAN KAGAN MD                                            ~BOX9SOCI0-4590                                        1PH11A0£11'HIA.PA19195-459D       i      1SG.ool            -i   -i            .,
XX-XXXXXXX    lso~QUADRANT MOBILE arriCAL CARE                              18610MAINSTREET                                        1WJWAMSVILLE, NY 14221-3730              500.00)            -f   _!            -1
22""2563241   'lJEFfERVYUCiT                                                POBOXS732                                              tselFASi. Me 04915~9                     650.00:
                                                                                                                                                                                                1
                                                                                                                                                                                                    -!      sso.ool
XX-XXXXXXX    !JOSEPH SCARPEW                                               !so etooMFIELD Ave                                     NUTLfY, NJ 07110                         385.DOi      357.64}            3S7.64;
XX-XXXXXXX     UNIV OF MEDICINE & DENTISTRY OFNJ RWJ C                      'iPO BOX 829642                                        PHILADELPHIA. PA.19182                   397.oo!      291.571            291.57°

XX-XXXXXXX    bmaEY LEVY MO                                                 745 NORTHFIELD AVE                                     WESTORANGE.NJ07052-1136                  115.ool             1
                                                                                                                                                                                                                  -!
22--2737981   jRANOYkl.EN                                                   149MHWY3l                                              FlEMJNGTDN, NJ D8B22-5747                679..ool     399_00!            399.ool
XX-XXXXXXX    !toss-ANN CERISE WELSH RPA-C                       IPO BOX 36157
                                                              -+===~------------+----+'i1N~EW=ARK=,NJ=l11~1S3,6==106~------i        -~l~,266=.00=t-;_ _ ___,6:,33.:,:DDc::c!;----+---'1.202.701
                                                                 1265 BROAD STREET
XX-XXXXXXX     =====------------------F===='------------"l!='su"ITE=•----;=la=LOO=M:cFIELD=·'-'"'=-111=003-=z"164'-'-----+------'687=.l2c:c!
               ROBERT A ElUR=AlO                                                                                                                   ____687=-~12'+i_ _ _ _i -_ _·~;;_~,.~12c;•!_ _ _ _ _ _-1
XX-XXXXXXX    !NEALDANAGITTl.EMAN MD                                        450 E KENNECYSLVD                          ]           ii.AKEWOOD, NJ 087D1-1488               315.00\             _,                 -!
XX-XXXXXXX    !MARKE NAGEL PT                                               1476AMWEUROAD                                          HJUSBOROUGH,NJ 08844-3400               zso.00I       175.oot           11s.0ol
XX-XXXXXXX    !~ATSAOIMINMD                                                 IPO BOX 829642                                         PHllADElPHIA, PA 19182-9642               36.oo!       25.zof    -i       zs.201
XX-XXXXXXX    'IROBERTC MESSINGER OD                                        !1108 WASHINGTON ST                                    !HOBOICEN,NJ07D30                        110.DD[            -i   .i            _j
XX-XXXXXXX    [LEON H SHULMAN                                               l1s EASTON AVE                                         /NEW BRUNSWICX,. NJ 089D1               15D.OD!             -i                 ·,'
22·3184557     NIOIOlAS ALEXANDER                                           j400 FRANKUNTPKE STE 10                                IMAHWAH, NJ D74lD                       350.00:       3so.ool            3SD.ooi

XX-XXXXXXX     MOKHTAR ASAADI M D FA CS                                     101 OlD SHORT HIUS RD ST'E 504                         WESr ORANGE, NJ 07052                 22,800.DD!                      22,soo.ool
XX-XXXXXXX    !LORRAINE URA                                                 680 ICJNDERXAMACK RO moz                               loRADeu. NJ 07649-1601                  110.00·       110.ooi           110.001
22·323Bn8      RICKPUMLLMD                                                  !Po BOX 21168                                          leel.fASr, ME 04915◄tos                2.2.00.001                J
22-325223.2    SAMUELfRIEDMAN MD FACC                                       lzu ESSEX STREET SUITE 304                             HACKENSAOC. NJ 07601                    67D.DO)                   '
                                                                                                                                                                                                    -i      670.ool
ZZ..3348014   !uBERTYVJllE tMAGJNG ASSOOATESUC                              !333 PETERSON ROAD 230                                 !usERTYVlllE,IL6004B-1085              2,357.ooi      448.oo:            448.00j
XX-XXXXXXX
          ..--·--1!TEANECK GASTROENTEROLOGY                                 !1086TEANECK RD SUITE 38
                                                         -----------.+=======-----------+------ijrTEAN=E=CK,=NJccl11"-666=-------i---'4,:200.00:                                                          4,200.DOj

XX-XXXXXXX    .MARTIN POST MD                                               !4zs EAST 61ST STRRET FLOOR ti                         NEWYORK.NV10065-8722                    495.00j                  -!            .I
XX-XXXXXXX     FERGES RAPISARDA ANO MERKEL                                  POBOXl.2133                                            BEU:AS'T, ME 04915-4012                 350.00[  '                             .I
XX-XXXXXXX     SCOTT RODEO MD                                               POBOX:23234                                            i~EWYORK,NY10087-9234                   .soo.ool             '
                                                                                                                                                                                               ·!
22·3472557     HACKENSACK VOWNTEER AMBULANCE CORPS                          !POBOX949                                              !MATAWAN, NJ 01147-og49                u48.00I       1.036.s1j         1,.124.oo!

XX-XXXXXXX     ANTOINETTE DEINGENIIS                                        !468 PARISH DR STE 6                                   lwAYNE. NJ 07470-4671                   140.011        ss.s1!    -!       ss.sz!

22-3SOZ406    'soor (N MOTION SPORTS & ORTliOPAEDIG INC                     lpoeox 38S                                             !LAKEWOOD,NID87D1                         .96..29)     96.29}    -i       96..291
XX-XXXXXXX    jJEFFREY UEGNER                                               il WILSONDR                                            !SPARTA. NJ 07871-4417                  399.oo'.      399.00;    -l     399.0D!

XX-XXXXXXX    !LINDEN HO                                                    itOORAIGRD                                             MANALAPAN, NJ 07726-8731                3SO.oo!       3SO.oo)    -i     350.ooi
XX-XXXXXXX    )JACQUELINE SAITTA MD                                         i101 Oto SHORT HILLS RO
                                                                            ;=c=~~-~~---------+=~'~"'----t,==~o•~AN~G=•·~•-'010-•~•-------;---~l.D='"-=°'?)______-~,-----•-;.l__~111=.9ccs;-i- - - - - - - 1
XX-XXXXXXX     BARPAK GERIATRIC HEALTH SERVICES INC                         110 NORTH WASHINGTON AVE                               fBERGENAELD, NJ D7621                   135.oo;       135.oo\    •I      us.ool
XX-XXXXXXX    !JACK GOULD 00                                                POBOXU946                                              lseu:ASr.MED4915-4020                   3ts.oo!              :   .I     315.00 1


                                                                                                                     EXHl81T2

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XX-XXXXXXX · !LoRINAPot.rrANooR                                12S1ER10Gewoo0AVE                                   STE3ot      lmDGewooo,NJ074S0-3887                        az.oo!              -i         .!             -l
XX-XXXXXXX    ELLEN MICHEllE PLATT                             904 82·908 A2 POMPTON AVENUE                                    jCEDAR GROVE, NJ 07009                      350.DDi          350.DDl         -l        3SO.oo1
XX-XXXXXXX    FRANK G ALMEIDA MD                               !nsRT7l                                                         iMANASQUAN, NJ D873~2806          I          100.001                         .I         78.74:
XX-XXXXXXX    !GLENN A DAVISON DPM                             11308 MORRIS AVENUE                                             luNION, NJ 07083--9998            I         zso.oo!                          -!        228.79
XX-XXXXXXX    !ROGER GERARD POLLOCK MD                         ONE WEST RIDGEWOOD AVENUE202                                    jPARAMUS, NJ 07652·2361                     240.00!
                                                                                                                                                                                                             '             -i
XX-XXXXXXX    BETHANY FISHBEIN OD                              2090 STATE ROUTE 27 SUITE 105                                   iNORTH BRUNSWICK. NJ 08902        i          375.DD!              _!         .I             _!
XX-XXXXXXX    WASHINGTON AVENUE PEDIATRICS                     jgs N WASHINGTON AVE                                  !                 leERGENAELD, NJ 01621            !           410.00;         .!    -1
                                                                                                                                                                 _ _ _ _+---,-.oos=.34cc.;-l-------l,-----+----
                                                                                                                 ····1-----t=i!EAST=~BR~u~NSWT=Ol.=NJ=osa~1-&-_10_,s
XX-XXXXXXX    !01PTI PANDYA MO                                     PO BOX 1D75 579A CRANBURY ROAD                                                                                                           .I            -::1
XX-XXXXXXX    IANTHONY J INVERNO MD                            95 WESTAELD AVE                                                 ]OARK. NJ 070i.s.2451             i         200.00!               -i         -1             .I
XX-XXXXXXX    GASl'RQENTEROLOGY ASSOOATES OF                   i610THIROSTSTE206                                               IMACDN,GA31201                    I        2,402.00'      -1
                                                                                                                                                                                          1,039.19!
                                                                                                                                                                                                43432
XX-XXXXXXX    JEFFRYTAMBOR MD                                  !ro BOX 141296                              lsrATEN ISLAND, NY 10314-129&                       120.ool                   -1     120.00
XX-XXXXXXX    ALEXANDER SHERMAN PT                             !531 W 235TH STREET                         laRONX,NY10<&H79s                      I          2,44s.00!      1,44s.ool    .I   1.445.00
XX-XXXXXXX    lwtWAM L BUOiAR Ill DC                           !a01S E NEW YORK ST STE A12                 .AURORA, IL60504-S163                  !             65.00!                   -1
22'"5002051   TOWNSHIP OF LYNDHURST                             C/OSBE 107 GILBRETH  PXWYST
                                                                           =·====---------+-----Ji.e:MUWCAHlll.,NJ08062                           I            673.75[                   -1     .,._,sJ
XX-XXXXXXX    leonouGH oF PARAMUS                               POBOX207                              I    IA~HTOWN,PA181DS-0207                  I          1.945.00[                   -1
22-6~5823     l~.~!!!IY BElSH MD                               !PO BOX 829642                              IPHllADELPHIA, PA 19182-9642                      L342.00i         318.271    .I     318.27!
                                                                                                           I
XX-XXXXXXX    ANffAKOMD                                        11&01 CHERRY ST STE 11S11                                                                                                 .l
                                                                                                           !PHILADa.PHIA,.~~-191=0:::2_ _ _ _ _---i------'113=.0=cO+'_ _ _ _ _ _-l-j------i---== 75.331
                                                                                                                                                                                                       I

XX-XXXXXXX    TYRONE HOSPITAi.                                  187 HOSPITAL DR                            !lYRONE, PA, 16686                               45,392.35'.             •I   -1  45,392.35;

XX-XXXXXXX    lrnEY LKAMPLAIN MD                               !PO BOX 11028                                                   !LANCASTER. PA 1760S                        143.00\           40.79i         -!         40.79,

XX-XXXXXXX    ANTHONY J SKIPTUNAS Ill DO                       JPOBOX143                                                       jlANDlSVILLE, PA 17538-0143                 150.00\          13g_QOj         -!        139.oo!
XX-XXXXXXX    SOuntERN BERICSREGJCINALEMS MED INC              POBOX726                                                        !NEW CUMBERLAND. PA 17070-0726    I        1.36820!               -,'        .I             -I
XX-XXXXXXX    JOHN P DEGENHART DC                              174g EAST BROAD STREET                                          !HAZLETON, PA 18201                         120.00(                          -I        120.001

XX-XXXXXXX    JACOB C MCCORMIOC                                POBOX70888                                                      !PH1tADELPH1A, PA 1911~s888                 646.00!         354.ssl          -I        354.ss!
                                                                                                                                                                                                                               I
XX-XXXXXXX    LEHIGH VALLEY-HAZLETON                           700 E BROAD STREET                                              !HAZLETON.PA 18201                         1.394.ooi       1,394.001         -i      1,394.00

23-2S58906    YOUNG YOO                                        10 PARIC PLACE                                                  iHA21.ETOWNSHIP,PA18202-9394                500.00!          156.01:         -I        156.01

XX-XXXXXXX    Nancy A Saunders                                           ======---------f=U:::~=-l,:.n~,,H,,,,;..=-'-iMATTESON,_,,IL:::6044=3<-------,'-----'1.,::006.=00::;!---'_ _. . :,1.006==.oo,li_____::,___
                                                               1Hanger Prosthetics & Orthctic:s                                                                                                             -!     l!,Qll~l
XX-XXXXXXX    JERJCKANE                                        !1605 NORTH ca>AR CREST BLVD SUITE 1106                         IAU.ENTOWN, PA 18104-2351                   150.00l                          ·l
XX-XXXXXXX    lENDLESSMOUNTAIN HEALTH                          [25 GROW AVENUE                                                 lMONTROSE,PA18801                           923.92:                          .,j      706.33
n.2n1286      1AMYAMYERS                                       iPOBOX3077                                                      !LANCASTER. PA 1761J4.30n                   144.00'          144.00i                  144.00
XX-XXXXXXX    boHN P DAHDAH DPM                                !s33 NClWU.OlTE STST"E2C                                        !POlTSTOWN, PA 19464-3974                   205.001          146.061         _!        146.06
23--2936169   !BRIAN J KEENER MD                               231 GRANITE RUN DR                                              !LANCASTER. PA 17601.-6823                  368.001               -l                   181.801
                                                                                                                   1m111                                                                         _l
XX-XXXXXXX    !STEVEN SHANNON                                  !3801 MARJl:EfSf                                                !PHllADElPHIA, PA 19104-3153                175.00I                          -I        1,s.00[
23--3040194   lPROCARE PHYSICAL THERAPY INC                    /24569 ROUTE 6 STEC                                             ITowANDA. PA. 18848               I        3,026.ool                         -!      1,663.23!

XX-XXXXXXX    lsMA MEDICAL 1Nc
                                                               !
                                                               !940 PENNSYLVANIA BlVD                              ,STEA       !FEASTERVtLLE. PA 190S3-7834      !       10,883.04:              -l         .1      1,049.98!

23-48457ffl   DEBRA BEA1TY MSW                                 !600SHREWBURY ST STE
                                                                 ======------------;.----..;l=CHARLEST===ON,=WV=2S=c30=1~----··-                                 IL ·-    1,530.00!
                                                                                                                                                                                                            .I      1.447.241
XX-XXXXXXX    !OiRlSTIAN PAUL MCDONOUGH MO                     !eo BOX 829642                             IPHllADELPHIA, PA 19182-9642                                    1.760.00!                         -i      1.584.00!
2~715S949     l~EGHISLIDAMD                                    !PO BOX 829642                                                  :PHILADELPHIA, PA 19182--9642     l        2,296.ooi
                                                                                                                                                                                                  I
                                                                                                                                                                                          1,040.Sl·                 1,040.51!
ll-7225104    iNEW ENGlAND CONSERVATORY OF MUSIC               !POeox 3160                                                     IANDOVER. MA. 01810                         596.00!          596.oot         .!        596.00j


                                                                                                                 EXHIBIT2


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-fB.!lflllflllllll\[,..                                                           "" _: \,.
XX-XXXXXXX     !UNIVERSTIYMEDICALSERVICEASSOCIATION I                               !roeOX917S71

XX-XXXXXXX     !RACHEL ALLEN APRN                                                   !3s SOUTH MAIN STREET                     l                CONCORD, NH 03301                      1,12S.ool                               -1
XX-XXXXXXX     !GEISINGER MEDICAL CENTER                                            !too N ACADEMY AVE                                        IDANVILLE, PA 17822                    ll,610.S7l                 .\            -!       11,610571
24-082.9851    hoNNE BOONE i..aw                                                        s23 E wN.T AVE                                        !wAKE FOREST. Nc21sB1-2121               140.ooi             140.00;                          140.ooi
XX-XXXXXXX     iSUMBUNACHAUDHARY                                                    !tGUTHRIESQUARE                                            SAYRE,PA18840-1699                      182.00!              60.14!                           60.14;

F25-0=96"'5"'3~3•~-;IM=ON"'O""N"'GAUA='-'G"'ENe:Ee:RAc.:L""H"'osm=c.:•'~-------------+•"'•""so'-'w"2"'a~•o~sr=su~11E=1----------+-----!.~~!~PAl6S06-S802                                264.ooi            132.00!   -i           264.00i
 XX-XXXXXXX     BROOKVIIJ.E HOSPITAL                                                    100 HOSPITAL ROAD                                      leRODIMLLE. PA 15825-1367                       300.00~               .I           210.00

 XX-XXXXXXX     PETI!R LE£JAMES                                                     !POBOX360915                              I'                                       ~•c.:15~- ---;-''--~22~4.~oo~!------+----.... •l-•m••·-••n•168.00=c;...--------l
                                                                                                                                             -:.-=~_u_R_GH~·-·•-1~525=1..
:zs.1339474    !PITTSBURGHGASTROENTEROLOGYASSOC                                     !13soLOa.rsrsr                            1STE406          iPfTTSBURGH,PA15219                             us.oo!                -l            11.51
ZS-1356745     leowARD c CLARK                                                          311 WEST 24 STREET                    !sulTE 402      !ERIE. PA 16502-2667                     406.DDl             295.SS!                          195.85
XX-XXXXXXX     MARY BERTHA RUSSO-COLT DO                                            !PO SOX 369                                                ERIE, PA 16512-0369                     115.82;              IS.DO!                           18.00i
~1653555       lLARRYWTHOMPSCN                                                          IOOPEACHSTAEET                        !               !ERIE,PA16507-1423                       825.00j                                _!            825.ool
XX-XXXXXXX     lJEFAtEY A BUETI KO FER                                                  232 w 25TH sr                                         !ERIE. PA 16544-0002                       2S.0oi                               ·I             12.87
XX-XXXXXXX     WILIJAM M TRAOiTMAN                                                  ,PO BOX 382046                                             PITTSBURGH, PA 15251-8046               200.00i                                              200.00!
XX-XXXXXXX     ROBERT G WAGNER DC                                                   14 N RAl1.ROAD STREET                                      PALMYRA. PA 17078                       382.tO!            149.soi                           149.soi
XX-XXXXXXX     CESARHOLGAOOMD                                                       !102JAMESST                               ISTE203          EDISON,NJOBS20                         1.740.0Ci                                         1,510.68
XX-XXXXXXX     CAROLYN DtENES                                                       !1200 HARRISON AVENUE                                     !ROO::FORD, IL 61112-1010                 60.00!              60.oo!            -I             60.00
XX-XXXXXXX     !JESSICA FARA MERKER-LEVY DPM                                            532 OLD SHORT HILLS ROAD                              !SHORTHIUS, NJ    07078--1437            350.oo!                  -l            -1            3t4.44l
2s-ooss22S     luNION EMERGENCY MEDICAL uN~·~F UNION NE                                 PO sox 575                                            !MATAWAN, NJ 07747-0575                  &22.SO!                  -1                          622.50)
XX-XXXXXXX     ]HEAlllER JANE KANEOA                                                    PO BOX 601830                                         !CHARLOTTE, NC 28260--1830               227.00j             110.zsl
XX-XXXXXXX      NATHAN R JAlSINGH NP                                                    PO BOX 379                                            ,ORLAND PARK. IL60462-0379               1SS.00l                  .!                          124.00
               1
XX-XXXXXXX      DAVJDMRADIN MD                                                      !Z70AICSTR£Er                                             _STAMFCRO,CT0690S                        755.00[             145.ool            -1            145.00;
2&-011osss     RlotARDA.MOJARESMD                                                   j1910srAT£ROUTE35                                          OAKHURST,NJ077SS                        200.aol            110A1i              -i
XX-XXXXXXX     LAKE POINTE OPERATING COMPANY UC                                     !FILE 849790                                              ,DALLAS, TX 7S284                        515.07(                  .j            ·.
2&-0204928     CTR FOR ADVANCED DERMATOLOGY                                         .301 W HUNTINGTON DR                       STE 215         ARCADIA, CA 91007-1S28                 1,590.00)                 ~                       1,068.36

XX-XXXXXXX     hoSEPHAWOLFMC PC                        ·--·----------t=,""'S6'-'srH=·•·"'v"'E=SU~11E=2A~----------! -----fN=E~W~Y=o•=K,.tf!}-~00"'7"-S-=17"'37~-----+-----''°'••ec'63.B5==;!------·+!_ _ _ _-,..1._                 _,19=<,28=7A"'7'+--------'--1
26-0Sl789S     hEFAtEYIRAELUSMD
                                                                                    0
                                                                                  358.SOUTHOYSTERBAYROAC                       IH1CKSV11.LE,NY.ll801-3508                   230.00:                _i       -!
XX-XXXXXXX     lEAMAEHOLCOMBDC                                                          7723SOLUT!ONSCENTER                                  OflCAGO,IL6067'7-7007                 1,980.DOi          1,665.00i  -1       1,665.001

26--0618472    iJASVEERGRfWAL                                                           PO BOX 7918                          ·"------,=-•e=LF~"5T=•M=E~04=•1S-=10=00~-----1----~•=oo=JJ~•,-l-----"''=•cc.oo,!____.+-i--="="=·oo;-1--------1
XX-XXXXXXX     !VASCULAR INTl::RVENTIONALOF ntOMASVI                                    SOS GORDON AVE                                       THOMASVlU.E, GA 31792-6646            4,70L00[                      -!       4,70LOO:
XX-XXXXXXX     iLEAtOTHEA1CARAvrr1                                                  lss21FANNINsrnEET                                          HOUSTON, rx11030-2303                   19s.ooi                  J             -1            19s.oo!

XX-XXXXXXX     DAVIDALLENWlGHTMD                                                    IPOeOX.15062                                              ilOVESPAPK,IL61132-S062                  290.oo!              99.90!            _I             99.90

XX-XXXXXXX     !SALVATORE JOHN oeGuuoM1N1 MD                                            mo lnH AVENUE                                          BROOKLYN, NY 11204                      190.ool              so.so!            -1             so.sol
XX-XXXXXXX     !cm.o.urrrREGIONAL uRONEW                                                4UVEOAKCOURT                                           MOUL1RIE.GA31768-6793                   335.00
                                                                                                                                                                                                1
                                                                                                                                                                                                                -l            -!            33s.ool
XX-XXXXXXX     ICATHYPLESSERMD                                                          l70EAST77THST                                         INEWYORK.NY1007S-1912                   2,21s.ooi          1.000.001            _\        1.000.00!

XX-XXXXXXX     !JAMESBONHEUR MD                                    -------F''===c.cwccBE=•=RY~"~'"=cr~sre=•~--------+-------;St~AM=FO=•=o~.cr~°"=•=02'-'-2~m~-----+-----'22=0=.oo=,-i-----===JJ-=o:.,_'-----+·.!---='"'20~90"';..!--------1
XX-XXXXXXX     .OHLCRENS ANESTHESIA GROUP INC ....·-··---------·-··•---------11~'°~80=Xcc6346=02=--------------l----                       ·-•--t9~0NNATI,   OH 45263-4692             810.00; _ _ ____c•:::10=.oo=;..'----1'------'"='o=.OO==..!     ------=--l
26-11269S6     iMARTHAJEFFERSON MEDICAL GROUP UC                                    !500 MARTHA JEFFERSON OR                                  )CiARLOTTESVII.LE, VA. Z2911-4668        387.00;                  -.•••'·       ·(M•-·- --·   241.97:
F,~~,13064=~.~-;l-=~~...
  ..                 ~CU=NICORTHOPAEOICCENTERUC                                     .POBOX72434                       ---+-----;!,-ClBIE--IA-N-D.-O-H-.~1-.,~------+----L-DS-.-.25~,
                                                                                                                                                       .                            -----~---~-1                                            402.DOt--------l


                                                                                                                            EXHIBIT2

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                                                                                                                                                                                       1
2ri-12B1s12   [EASTELPASOPHYSMEDCNTRUC                                             IPoBOx730966                                 :             !DAUAS. 1X75373-0966                                  1,480.ool            1,480.ooi               t.410..00l
2&-1289042    \AMANOAl'TZKOFFMO                                                    l276SthAvenue                                !Sulte307A    !NEWYORK,NY10001                                        400.00;             400.ooi                (375.00)1
21H294927     !HERITAGEPEOtATRICSPU.C                                              l7959BROADWAY                                    STE600    !~NANTONIO,TX78209                                     320.oo!               220.25(                       _j
F2~6-=1393=906=---tlL=ESU=E~A=••=c~vc~RC=Bl~NS=-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ JP.:B.!_1~=°'~ESTE=•~•~c~A~c________                          IBALLw1N,M063011-4503                                 3,644..9Bi           1,014_72j               t.074.12!
XX-XXXXXXX    CHELSEAGUSTAFSON                                                     !122oswMORR1SONsrmoo                         !             !PoRTLANo.oR972DS                                      us.oat                12B.ool                 m.ool
XX-XXXXXXX ___ •.,~•~•c_P_ERR_Y_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+PO_s_cx_._1S_2_85_ _ _ _ _ _ _ _ _ _ _ _-+------ei>-8CSTON==•M_A~D2~24_1______                                                490.001               350.oo!                 350.00;
XX-XXXXXXX    OCH PROFESSIONAL SERVICES                                            400HOSPITALROAD                                            !srARMUE,MS39759                         !            1,330.ooi            1,,330.oo!              1,330.00!
XX-XXXXXXX    !0tARLESSWEENEYMO                                                    P0B0X957                                                   IRowoRo.1L61105-09s1                                   m.oot                134.3a(        -!        134.381
XX-XXXXXXX    tJAVEDISLAM                                                          !309 1ST STREET                                            IHOsoKEN, NJ 01030-2A40                                16s.ool              1ss.ooi                t1os.00)   I
                                                                                   1
XX-XXXXXXX    'RANDY J HORNING DC                                                   1205RANDRD                                  i             !w::ezuR1CH.1L60047-2467                               330.ool                7s.83i                 ts0.asl
                                                                                   1
XX-XXXXXXX    i1FTIKHAR KHAN MD                                                    1430501JTHMIOilGANAVE                        !uNrrC2       !0t1CAGO,IL60605-2960                                  360.oo;                84.00!                  84.oot

XX-XXXXXXX    ,MICHAEL P GROSSMAN MD                                               !1GOow0eMPSTERsrstE105                                     !PARKR10Ge,n.6006s-1171                  l             546.ool                     -!      J               _i
XX-XXXXXXX    LYNNECBEI.SIC'I"                                                     1806 CENTRAL AVE                                           iHJGMLAND PARK, ll 60035-3218                          126.SO;                     J                       -i
2&-11~11 __   CEWGENTDJAGNOSTICSNC                                                 jposox32817                                                l01ARLOTTE.NC28232-2&11                                2.Ss.00!             2ss.ool        -l       2ss.oo

XX-XXXXXXX    !RYAN SBAUMAN DC                                                     J733 N PINEST                                              !euRUNGTON, W1 S3105-1473                              30s.oof              1n.351!                 177.3511

XX-XXXXXXX    HAMEEDUDDINICHAJAMD_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _t'-iiPO=SC~X~l3=D~------------+-----+11tccASCA.=,..L=60cc14c,3-<J-=130cc.__ _ _ _ _---!_ _ _~•c:2.::c00~!_ _ _ _ __:82=:.=B0+!_ _ _ _                                    -!,____:82=:·=80CJ.lj_ _ _ _ _ _--l
~t.~6         IAURIEAKELLEHERDC                                                    26FIREMENMEM0Rlf11S                                        !POMONA.NY10970-0460                                   165.001··----••~a.so"-"i_ _ _ _.+-!_         148.SOI
XX-XXXXXXX    lclANAEUZABETHALANIS                                                 461N MULFORDSTE.3                                          iROaFORD.IL6t107                                       129.DOi              109.Gsi                 109.&sl

XX-XXXXXXX    DIGESTIVE DISEASE PATiiOLOGY UC                                      !POSOX7316                                                 !EDMOND,OK73083-7316                                   847.891              286.17!        -I       286.17:
                                                                                                                                1

XX-XXXXXXX    CAROLYN K MCGRAlliD                                                  PO eox 51363                                 1             1PROVIDENCE, RI 02904                                  930.oo/              sse.oo!                 sss.aof

XX-XXXXXXX    PHVSICAN GROUP OF AZ                                                 POBOX281201                                                !ATIANTA,,GA30384-1201                                 275.00[                             _!       112.971

XX-XXXXXXX    ANDREW RONALD KRAMER MD                                              1101AFTHAVENuem1e                                          !NewvoRK,Nv1012S                         1             600.ool                     -!      -i            J
XX-XXXXXXX    FLOR!DA HOSPITAL MEDICAL GROUP INC                                   IPO sox 864414                                             laRLANcc, A. 32886-4414                  !             328.n!                      J       .i       21a.a1;
XX-XXXXXXX    SIDDHARTH TAMBAR                                                     2800NORTHSHERIDAN DRIVESUITE 308                           lett=ICA'-'G=O~·='L=606:::5=7_ _ _ _ _ _ _--i!_ _   _,,1,=DOO=·=DOe.:___
                                                                                                                                                                                                                     -+....==•2,;.!_ _ _ _1---+66=8.,,&2!,__ _ _ _ ___,
26-n41656     NAYEH E MIRSHED                                                      •zsswoaacsr                                                iCHoCAGO,IL60629-5041                                  654.oo!                     -l                      :1
XX-XXXXXXX    TI"tRIVE PHYSICAL THERAPY                                            s11GORDONAVE                                               lrnoMASVtllE,GA31792-999B                              ru.ool                      .j      .!       37s.ool

XX-XXXXXXX    1RYEASCU.C                                                           PO eox4t74GG                                               leosroN, MA 02241-7466                   I          12,114.34:                     -l      ./      s.920.a5i

XX-XXXXXXX    BAYSHORE EMERGENCY MEOICAL ASSOOATES                                 lp0eox417442                                               ieosr0N,MA02241                                      1,109.001             1,109,ooj               (909.0Qll
XX-XXXXXXX    DEBORAH MARIE BRJSEBOtS MSW QMHP                                     l,s MARICET STREET SUITE 14                                jELGIN, IL 6012.3-S021                                 sas.oo!              585.00!        -!       sas.oo!

XX-XXXXXXX    jRAPHAELKEUMAN MD                                                    7W45THSTREETS\JITE301                                      INEWYORK,NY10036-45105                                  70.00;                     J                  35.oo!

26-2S43G18    BERNADEITES PETALBER LPf                                             18605 BELLSOIOOL RD                                        !vAUEY, ILGlOl&-9372                                   190.00:              124.681                 124.681

XX-XXXXXXX    JAMESDRAKEDC                                                         !t86oseELL50100LRD                           I             !vAUEr,IL51Dl~372                                    1,m.00;                662.38\                 662.3s!

Z6-ZSS8314    SURGtcfNTfll OF EASTERN CAROLINA UC                                  !PO BOX 83851                                              )GREfNVJUf. HC 27835-8389                             3Ji27Al)             3,264.67/               3.,264.67!

XX-XXXXXXX    NATAUEJO MIGON! OC                                                   133560 DETROIT ROAO                                        !AVON, OH44011-2030                                    159.DDI              1Cl6.001                145.UI

2&-2816596    SASAN ARAGHI MD                                                      !Ins   couNTRYa.us OR                        1_ ----f'!FA~YEITTVJ==LLE.=•~c~2=BJ0=•-1~604~----+---~'"=':::.o:::o~_
                                                                                                                                                                                                             1
                                                                                                                                                                                                                                 -;,----+----=•=•s.oo=l'--------1
                                                                               -i·"'•c::.;sc=•-=•020='="------------'f-·----+IAc:cTIANT="'A.'-'GA=3=0368=-='"=38=------+-----'w=•·oo=;-'_ _ _ _.:,43:::.34:::;--i--·--l---"43".34"'+-l______;;..-l
F2~6-~2sz=•n~•~..,'~STE~PH='"~M.BARNETT:.,..:Mc,D:__ _ _ _ _ _ _ _ _ _ _ _ _ _ _
XX-XXXXXXX    iCHRJSTOPHERJHORAK                                                   boGsBUTTERAEWRD                              1             !MuNDELEIN,IL600w-94SB                                 422.ooi              386.25!                 381i25!

XX-XXXXXXX    lcoLERAINURGENTCARE                                                  !364SSTONECREEKBlVD                          i5uITTD       lcNCNNATI.OH4525t-t468                                 980.00!                     -~               gso.oo!


                                                                                                                               EXHfB/T2


                                                                                                                                    200
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26-315S286

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F,cc
              ~JUDY G COLE

              !STEPHEN R DAVIS

              !JONATHAN SCHER MD

              iOiRISTOPHER MATHLS
                                                                                      6025 SfAGE RD STE 44

                                                                                     !112sPARKAVE
                                                                                     iPOSOX740433
                                                                                                                                         !MCMINNVU.LE. TN37110-1332

                                                                                                                                         1BAATIETT. TN38134
                                                                                                                                         INewYORK,Nv1012B-1203
                                                                                                                                          jLOSANGELES,CA91Xl74-0433

  ..='"=••cc••,_____--!1'-'FO=QJ=S'-'M=E=D=ICAl.=IMAGl=="=G:.....________________l'--PD=BOX=25=90=-------------+-----t===NW"-DO=D"',AZ=863=26-'-'25=7•:.....___
                                                                                                                                                                                    l
                                                                                                                                                                                    l
                                                                                                                                                                                              320.001
                                                                                                                                                                                               ••.ool
                                                                                                                                                                                              425.00\
                                                                                                                                                                                              220.0Di

                                                                                                                                                                                               21.00'.
                                                                                                                                                                                                                    116,69)

                                                                                                                                                                                                                          -!
2~~~=:.....~lA~M=E~R•=~~•~ru=••=CAl.=SO=LccUTID=~=u.c=--------------fj2=424=•~'"=•=ERA1.="-HWY=STE=-•=•=•--------+------j'=so=~=AA~JO~N~•~R=•cc343=~~11cc3s,_________if----=2=.2DD=.DD~i+------·i·-----+--!--"~~~=~=®,-1______:~
                                                                                                                                                                                                                                   -!              ·-
                                                                                                                                                                                                                                             320.ao!




                                                                                                                                                                                                                                             116.69!

                                                                                                                                                                                                                                              27.ooi


2s.3373z77    !CEDARDtAGNosncsLLc                                              lPOBOX876                                       !          lcoRTEZ,.coau21-0s1s       I        230.00!     112.Sol            -!     112..501

XX-XXXXXXX    \GREGORYMATECHAK                                                       ,l1600KENNESAWDUEWEST                               IKENNESAW,GA.30152-4305                              189.ooi                     -i        _l
F2cc.6-=34SccS=lBcclc.....--!1"'KA.ccWccP=~~=R==~-----------------,!"113=N=2=ND=~=V~E~ ~=:.....-----0
                                                                                                                                     --rSf=C=HAR=LES,=l'--L60=17=4-9~09=8:....._ _ _ _+---~,=.8.SO=;i-     ----,.-.-50...;;c--------_-1:---,-
                                                                                                                                                                                                                                            .-..
                                                                                                                                                                                                                                              . -.+.- - - - - - - 1
XX-XXXXXXX    l1PM NORTHEASr uc                                                       4685 RELIABLE PARKWAY                              loc1CAG0, 1L 60686                         I       1,541.ool              1,383.soi       -!        415.14
2fr3489!39O   iPErRSABZANOVMD                                                        l1100967THDR                                            F0RESTHIUS,NY11375-M47                 I       2,000.00'.                             -1
XX-XXXXXXX    lw1NGMUNWONG-TOM
                                                                                     1401BROADWAYSTE2Cs                                      NEWYORK,NY10013-3033                    f        260.oo                106.79\        -1        106.79,
XX-XXXXXXX    lrurn MEDICAL CENTER. EP, LLC                                          IPO BOX536283                                       !PmSBuRGH, PA 15253                        i         889.00!               asg.ooi        -1      (889.00)
26--3680467   /KArvANKEYHANIMO                                                       !3.sosHusouLEVAADSUITER                                 YORKTOWNHEJGHJ5..NYlOS9a               !         200.Doi               14z.12i        -l        142.12)
                                                                                                                                                                                                                                                       I

2fr37D138D    !MATTHEW RBARTHOLOMEW MD                                                PO eox 79013                                           BALTIMORE, MD 2 1 2 7 9 - 0 0 1 3 , -!, ._ _ __ _   ~ ------1-!-----+-l-----+-------1
                                                                                                                                                                                              o,-.!
~.3.,10988    !erucMALLETTMD                                                         l1601cuMMINSDRSTE D                                     M0DESTC,CA95358-6403         -·-·-·..-··-·l.---~•~os.o=•,_:____2~7~•.s~o i____.t-l_ _ _2~1~•.socc.c;-------1
                                                                                                                                                                                                                    7
F2=-"'"' ce''=-=•=••,.____--!l=''u===H=o-"w'-'ARD=D""A~V1S=-M:ccD=-----------------f!2""s=s1 ~~HINGTON RD                                !AUGUSTA.    GA30909                                    263.oo!    130.00         1
                                                                                                                                                                                                                           -i       uo.oo,
~3760602      !MEDEXPRESSURGENTCAREPC                                                ,3944BRODHEADRD                                     !MONACA,PAl.5061-3029                                318.QO'.                    -!       -1        318.001

2fr3773291    !DAVlDBAKER                                                             SlGSWIWAMHOOKER                                        HOOKERTCIN,NC28538-7188                l         120.00!               112.311        .I        11.2.31!
XX-XXXXXXX    ]SERAANOPUTRlNOPT                                                       101JACKSONsrSTE1                                   !HaBOK£N,NJD7030                           i         390.ool                     -:       -1              -1
2&-3933289    iMATTHEWJMACATotMo                                                      s,oosoUTHWYccstvo                                  hoLEoo,oH43614-iso9                        I          94.oo 1                    _j       -1
XX-XXXXXXX    !ER1cMARTINMOLLMo                                                      !POsoX1846
                                                                                                                                         1
                                                                                                                                          ARCADJA.CA910n-1846                       !         150.00]                     -·       -I              -1
XX-XXXXXXX    !ctAUDIABADER                                                          ISOWest97thStree'C                    !UH
                                                                                                                                         1
                                                                                                                                             NEWYORK,NY10025                                  350.DO!               350.00i        -1      (300.0D)i

XX-XXXXXXX    imPHEN SQU.EIO!ER                                                       3317 PENN AVE                                          W£5T PAWN, PA 1960'3-1436              I         338.ooi               209.56!        -i
26-4lD6222    )cANAGCCHENMD                                                           330WESTSBTHsrREETSUTE6tO                               NEWY0RK,NY10D19                        I         250.oo[               250.oo!                  250.00
XX-XXXXXXX    !JAO: J SPARACO                                                         10 FOREST AVE surrE 2A                                 GLEN COVE. NY 11542-2117               I         601.34   l            21B.2,i                  278-l7
XX-XXXXXXX    holANTADZIDKMD                                                          1441w TALCOTT AVE ms61                                 auCAGO,ll6063t•3715                    I         21s.ool                      !       -i
XX-XXXXXXX    loENNtsCOGHUN                                                           262SBUTTERFIELDRD                                      OAKBROOK,IL&es23-9ggs                  l       3.StS.Ool              2,479.oo~       -1      2,.479.00
XX-XXXXXXX    iTooo e KERNER MD                                                      lPo BOX 636365                                          □NCNNATI, OH 45263-6365                l         477.0D:               310.ssl                (230.SSJ!

XX-XXXXXXX    iPAUL MADURA                                                           1450 CHARLESTOWN RD                                 !HAMPTON, NJ 08827-253S                              178.oo[                     -!                 14240[
XX-XXXXXXX    ILUTHERANMEDICALGROUPLLC                                                POBOX4852                                              BELFAST,ME0491.S-4BS2                  !         soa.00
                                                                                                                                                                                                       1
                                                                                                                                                                                                                    404.oo;                  404.00

26-4:us116    iA1Jc1AwEBBSCOTTPHD                                                     26WESTN1NTHSTREETSUrTE4A             i                 NEWYOU.NY10011                         I       s.120.ool              s.320.00!              (5,320.00)!

26-428ssa6    !AARoN MILlfR PT DPT                                                   1143 RAYMOND RD uNIT a                                  CANDtA, NH 03034-2133                  l       1.oss.ool               9S7.7Di        -!        997.70

26-4361no     /EMERGEHCYMEDIONEPHYSIOAHSOF                                           lroaox 18897                                        lBElFAST,MED4915                                   1,287.90;                              -1
 26-441ln8    luRGENTCARE CENTER LLP'                                                163 UNMRSAl. DRIVE                                    INoRTH HAVEN. CT06473                  1,437.00\   1.161!1si          -1                        1,16usl

i:2::::6-446006==''---1'::::'KARE=•,.,RO=SEc::Nc,LC:SW=:.....-----------------+l'c.=•.=OiAM="'·=•RS=2NccDccFL.=O=OR"'---------+-----:r.=EW~VO=R~IC,~NY~l=000=7-------+--~•~,95-=o=.OO"'i-i___.=6~,950=.oo=;'----·+-!_                    _,(6,100.00Js.!'-------I
XX-XXXXXXX    IRoSARIO J ROMANO                                                       PO BOX 13553                                       leEtFAST. ME 04915-4026                    i          29.28;                29.28!        -1         29.28(
26-4S25633    !NAYANAPAREKH                                                          !POBOX670369                                        !R.USHING,NY11367                     __   T..     4,900.0Q)                     _:       4 :             .t
26-4.590536   lUSAKIRSCHDC                                                           l249WESTSROAOWAYST'E2B                                  NEWYORK.NY10013                        I         200.00!                     J          1



                                                                                                                         EXHfBITZ

                                                                                                                               201
                                                          Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 226 of 266 PageID #:11322




XX-XXXXXXX
XX-XXXXXXX
                 !PBMAN SAMOUHA
                 iREGINA B BIB.KUS MD
                                                                                                 J1435 S VERMONT AVE 1DO
                                                                                                 PO BOX 967
                                                                                                                                                                    -.-~
                                                                                                                                             AEU INTERIM DISTRIBUTION



                                                                                                                                                       - ~- : ...
                                                                                                                                                                     !eRooKLYN, NY 11234-5405
                                                                                                                                                                     fLOS ANGELES, CA 90006-4543
                                                                                                                                                                      TINLEY PARK,. IL 60477-D967
                                                                                                                                                                                                          I    wo.ool
                                                                                                                                                                                                               1,600.00!
                                                                                                                                                                                                                105.DCF'
                                                                                                                                                                                                                                      J
                                                                                                                                                                                                                              t.354.65)
                                                                                                                                                                                                                                 67.20}
                                                                                                                                                                                                                                             .j   1,530.ooi
                                                                                                                                                                                                                                                  1,600.00!

                                                                                                                                                                                                                                                    (7.201!
                                                                                                                                                                                                                                                                _




XX-XXXXXXX       IGABRIEL MBZGER PT DPT                                                           11890 DONNER PASS RO ITT 1                                          TRUCKEE, CA 96161-4996                   1,014.00:        796.96!      -!    796.96!
XX-XXXXXXX       loeNNIS K DELAPP MD                                                             iPO sox 636388                                                      !CINCINNATI, OH 45263              ""1     259.00\               -,           153.86!
XX-XXXXXXX

XX-XXXXXXX
                 1.~NUELGMARINASJRMO

                 !Ml~TlANTICANESTHESIA CONSULTANTS
                                                                                                 151W28THSTAPT6E

                                                                                                  L--3748
                                                                                                                                                                     )NEW YORK, NYlOOOl-6122

                                                                                                                                                                     icoLUMBUS, OH 43260
                                                                                                                                                                                                          I!   1,200.00;
                                                                                                                                                                                                                aso.oo'.
                                                                                                                                                                                                                                      -I
                                                                                                                                                                                                                                3so.ool            360.001
                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                          i
21-022121&       i!~M·:e•cc•,,,rN::,Gc,0:::Oc____ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-'jl"'s•915=•cc•:::.1V::,E,,RS1c::":::'.::."'"~"o_ _ _ _ _ __                           ROCKFORD, IL 51114-4935          !     465.oo!         3Ss.so!            418.501
XX-XXXXXXX       !MELINDA LUKENS MD                                                              676 N SAINTCLAIR ST                                   1SUITE1880     OflCAGO, IL 60611-2927              I     S50.00'.              -:     -i
XX-XXXXXXX       !SKIN DIAGNOSTICS GROUP PC                                                      35U OLD MONTGOMERY HWY                                              le1RMJNGHAM, AL 3S209-5706                  83.ool          41.3/
                                                                                                                                                                                                                          I
XX-XXXXXXX       iMICHAELUVINGSTON                                                               !2307C BEUMORE AVENUE                                               leELLMORE. NY 11110-sGSt             I     893.10)         893.10!            893.101

XX-XXXXXXX       !JONATHAN SCOTT NELSON LCPC                                                     !sos& SlRATHMOOR DR STE C3                                          !R0CkFORO, IL 61107-6633             I     200.ool               -i           160.00!
XX-XXXXXXX       'IPROGRESSIVE HUDSON ANEST'HESIA UC                                             !POBOX1658                                                           HOBOKEN, NJ 07030                        a,ooo.ool      1,332.121

XX-XXXXXXX       !MATTHEW G FLEMING MD                                                           16400 INDUSTRIAL LOOP                                                GREENDALE, WI S3129-2452            i     172.DOl          80,65!

XX-XXXXXXX       !SOUTHERN Ra-tAB &SPORTS ... _ _ _ _ _ _ _ _ __                                 l1805VERNCN RD STE A                                                !LAGRANGE, GA 30240,,3B71            I     142.65;   '    142.651
XX-XXXXXXX       /DAVIDBUTlERMD                                                                  115300 WfST AVENUE STE 300                                          loRlAND PARK. 1L ~~~                 i     190.oo!         ~o.ooi             190.ool
27-070986~    ....TfnoRICA
                     ....._.. _, __DIGESTIVE
                                    _        HEALTH SPEOALISTS UP
                                                                                                 IPOBDXO~
                                                                                                                                        !oRLAN_~~. FL 32891
                                                                                                                  -------------l------"""'                                                                I    2,572.00]      1,440.1!41          1,440.84!
27-07895~        IDR. HANLEN &ASSOCATES                                                           104 WEST MAIN srR£ET                                                BOALSBURG, PA 16827-1347            i     200.00!               -i
XX-XXXXXXX
                 I
                 \PREMIER HEALTH CARE                                                            !Po BDX 644671                                        i             IPITT58URGH, PA 15254-4671           I     175.00'        175.ool       -!    11s.ool
XX-XXXXXXX
                 I
                 !ARSTGI ENDOSCOPY AND SURGERY CENTER                                            ,44STATE RT23 NORTl-fSTE 1                                           RIVERDALf,. NJ 07457-1625           !    5,800.ool                                 -I
27-o897294       !KENNETH ANDERSON MD                                                            lsoo E PEYTON                                         I              SHERMAN, TX 75090                   i     120.00;               -!
27-o961759       l1uUANMENENDEZ                                                                  54tsPARKsrNSUrrEC                                                    SAJNT PETERSBURG, fL337Qg..1087     I     216.00i        216.DOI             216.00l

21-10130&2       lcoNNECflCUT ADVANCED EYECARE. LLC                                              5D OAKRIDGE                                                         luNrONVILLf. er 06085                I     260.00!          60.ool            260.ool

XX-XXXXXXX       iPATRICA DOMYAN                                                                 s22 DElAWAREAVE                                                     laETHLEHEM. PA 1sD1S-11so            I     160.001        160,00!       -I    160.ool

XX-XXXXXXX       !JAMES FRAN KUN SPEARS II MD                                                    •800 GRANO CENTRAL MALL STE 11                             738.ooi  !VIENNA, WV 2610~100
                                                                                                                                                                         335.10i           336.101

XX-XXXXXXX       IROOGERSILVERSTEINMD
                                                                                                                                                     !    t.485.ool      709.soi
                                                                             ------t"m"-"PASSAl=:::Cc,~~~,cSTE=48S=---------+-----f"'====="--------f-----=='j------""=,-----+---'7e,09e,.Se,:O!
                                                                                                                             QJFTON, NJ 070U-1800
                                                                                                                                                                                                                          ;
XX-XXXXXXX       !AUDREY A VANDEWALLE CC                                                         7800 N MOPAC EXPY ST£ 340                                            AUSTIN, TX 787S9-8952                     120.00i          93.45 1           103.38
                                                                                                                                                                                                                                                            1


27-1ltiSS64      ICOU£GE STATION RHC COMPANY LLC                                                 500 N PAR'- ST                                                       BRENHAM, TX 77833                        1,029.00i         1LD4i             62L971

27•1E6103        !MIOIAEL CONNOR DPM                                                             27 OANBURY ROAD                                                      WILTON, Cf 06897~                   I      90.ool          65.n!              6521    !
XX-XXXXXXX       !KATHLEEN PORTER                                                                ,400 S43RD s                                                        •RENTON, WA 98055-5714               I      15.ool          1226('      -!     12.2sl
                                                                                                                                                                     I
21-1Z3ts76       leUSAcALVARADOMo                                                                630SRAYMONDAVE5urrc340                                              lPASADENA, CA 91105-3206             !     125.oo'.         75.ool             1s.ool

XX-XXXXXXX       IDAv10 s SHANKER MD                                                              zs EAST WASHINGTON srsurrE 1131                                     CHICAGO, IL 60602-1710              i     440.00:         308.oo!            308.ool
27-138SA85       !WARRENCMARTINMD                                                                !POBOXS343                                                           DENVER, CO 80217-5343               I      198.DD         137.61!
                                                                                                                                                                     !
XX-XXXXXXX       INElllMINIKESMO                                                                 IPOBOX19730                                                         iBELFAST, ME 0491.S-4092             I    1,024.001         11.74!      -1
XX-XXXXXXX       IJONATHAN AHN                                                                   1473 W ARMYTRAJL RD STE 103                                         leLOOMINGOALE. IL 60108-2674         I      160.00!         18.00!
~!.-1624168

XX-XXXXXXX
                 !JESSICA MURPHY

                 bASONWRUDOLP~H~M~D~-------------··"-"·---l71PARKAVENUESUJTE1C
                                                                                                 i12 RED OAK OR                                        l
                                                                                                                                                      1·
                                                                                                                                                                     !CRAJGSVJUE, VN 262DS-0729
                                                                                                                                                                     !NEWYORK. NY 10015
                                                                                                                                                                                             !
                                                                                                                                                                                                         +-     364.ooi
                                                                                                                                                                                                               2,soo.ool
                                                                                                                                                                                                                               210.osi....

                                                                                                                                                                                                                              2.SOO.DOi
XX-XXXXXXX       lmPHANtEWAINMD                                                                  !21coCASSETsr                                                   ---======='--------+---=cc;-------
                                                                                                                                                                     \roxsoRO, MA 0203S-l996   132.DOi -l
XX-XXXXXXX       IJOSHUA R MERCK                                                                 1180 N MIOUGAN AVE STE 1607                                         ia-tlCAGO, IL 60601-7478                   255.001         203.821            203.821


                                                                                                                                                     EXHIBIT2

                                                                                                                                                           2D2
                                                 Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 227 of 266 PageID #:11323




                                                                                                                                        AEU INTERIM DISTRIBUTION




 ~~~~~-~~tf··~~~~~ :~~~i~~~· ~--~- ~--f~~~)!:~~
 XX-XXXXXXX     [MR.NEB,LLC                                                                  !so76WINTERSOIAPEl.ROSTE200                                                        /ATI..ANTA,,GA30360-1831
                                                                                                                                                                                                                ~~~T~~-
 XX-XXXXXXX      ANSU JOY                                                                    !sot EWING ST                                                                      iPRINCETON. NJ 08540-2756                      150.00:               150.oo;                         iso.oo I
 XX-XXXXXXX      MATT BARTHOLF LPC LCAS                                                      !11220 ElM LN STE 203                                                              iDIARLOTTE, NC 28277                         1.462.SOi             1,462.50)             .j         1,462.SO\

 XX-XXXXXXX      JESSICAIRENENEM=ECZ=M=A=LCPC=-=--------------j=,so=••c.cG=RAN=occ•c.c~=-•------------+------F!SA:::le:NT.:.;l:.=OS=EP"-'H"',.::".::c•ts=73'-------+i---'660=•e,oo,;.i_ _ _ _ _                                                          ..:-,-j----=i-_,._. ,_. . . . __99_.oo.oo=l. - - - - - - - 1
 XX-XXXXXXX      JAMES A. lAFEVER. oc                                 !10470 w. CHEYENNE AVENUE. su1TE its                       !LAS veGAS, NV 89129-8733                     200.ool                                                                                    •          200
 XX-XXXXXXX······-,coLQumREG10NALGASTRONEW                                                   14UVEOAKCOURr                                                l                     lMoULTRIE.GA31768-6783               !         964.oo\                    J               -:_ ·--·-··-·-964.oolf-.- - - - - - 1
 XX-XXXXXXX      HILLA STEINBERG Pw1D                                                        !PO BOX 9516                                                 1                     IBELFAST, ME 04915-9516                        770.00:                    -!                         462.001
XX-XXXXXXX      !srewARDCARNEYHCSPITAtlNC                                                    !POBOX417062                                             j                   ·····-lsosroN,MA02241-7062                           365.88;               285.39!
XX-XXXXXXX      lsuMNER REGIONALMEOICALCE.::.NTE_R_U.C
                                                    _____________                            tr:POcc..:~~--;;2684=-----------                             j                       jATlANTA, GA 30374-2684                   10,551.08\                    .,
                                                                                                                                                                                                                                                                                  10.551.osi
27-270ll62       EDWARDWLENARDMD
                                                                                             1so1MAJNSTREET                                             i                       lMONROE,CT06468                                243.70!               198.85}                         198.BSi
 XX-XXXXXXX      JOVAWNA o EWSCN-HUBBARD MSN                                                 l2os w WINDCREST SUITE 130                                   I                     IFRmERICKSBURG, nc 78624-4418                  32&.ool                                               326.oo!
 XX-XXXXXXX     lETHos tABORATORY                                                            b9 E 6TH STREEr                                                                    !NEWPORT, KY 41071-1803                        998.39!                                               624.zs!
 XX-XXXXXXX     !KR1ST1 M LAfFERTV CRNP                                                      hu STATE5TREET                                             I                       IBRrOGEPORT. wv 26330-1375                     315.oo!                                   -!          ,,s.ool
XX-XXXXXXX       PROFESSlONAL DtAGNOSTJC                                                     !PO eox 636886                                               I                     lcmaNNATI, oH 4s263                           299.ool               26a.s6l                          20,.ool
27-3130290_ __ ...l01AB~ AND ENDOCRINE CENTEROFMlSSlSSIPPI                                   IPOBOX2153                                                 !DEPT 19?5=-_rls",."M"IN,=G,_,HAccMc,_,,,AL,.,35,,2,,01=- ------+-----'-=oo=;-!_ _ _ _ __:-,_!         -----'1----"••,,.oo"'i-l------=--l
27-314831:0 _ JGARY J LEooo                                                                  1235&5102Nosrsu111; e                               ······•-;-----------   ---;-l.w~EST~ALUS.~~w_,_s_,22_1_-2_1_04_ _ _ _ _-i---•~.t"fil".oo~!---~85"6.=-44'-'i-i----l--~ss=•=-·44     "+-i- - - - - - - 1
XX-XXXXXXX     ---l~uorrASHAH           ······                                               !sooSTHAVE                                                                            1FORTWORTH,TX76104-2Eit9                          910.00!          401.31!                   401.37 1
XX-XXXXXXX      ]sroNESRIVERDERMATOIDGYPLC                                                   Isis HIGHlAND TERRACE                                      !STEA                       lMuRFREESao~.~TN=37~1=,o~----+-----'53=3.o"o+,       ------'.=,,_=,"a'-!  ----l----'•"'92.=,"o'-1  1- - - - - - - 1

XX-XXXXXXX      lvUAYSHAWMD                                                                  JPOBOX740017                                               l                       iREGOPARK.NY11374                            z.1ss.ool                    .;             -1                -1
XX-XXXXXXX      lRDBERTWAl.TEROCONNORMD                                                      !5FOUNDERSSTSTE204                                         l                       lw1wMANTIC.CT0622Ei                          &.562.00!              404.03 1                         179A9   !
XX-XXXXXXX      {MJCHAELEDWARDDOYI.EMD                                                       !22FtFTHSTREET                                             I                       lsrAMFORD,crD6905                             22S.00f               :us.oo:              -1          225.ool
XX-XXXXXXX      lFAMILYMECICALHOMEPLLC                                                       l9179GRISSOMRD                                             I                       !SANANTON10,TX?S2S1                           200.s1l               14s.so!                               _j
XX-XXXXXXX       TARASWDIDENICO                                                              lPOBOXS9566                                                                        /SOiAUMBURG,IL6015S-OS66                      250.00!               zsc.ooi                          250.00l
27•3899821      IWE~YU OIDU MD                                                               Jpo eox 842255                                             I                       \sosroN, MA 02284-2255                        114.00!                     -;             .j          108.961

21◄126612        SP1ROCKARRAS                                                                !6611NuNCOLNAVESUrrE100                                    I                       !uNCOLNwooo,11.60112                          375.ooi                     J                          375.oo,

~?.±_~;1?.21     SESHAN SUBRAMANtAN MD                                                       !62647 COLLECTIONS CENTI!R DRJVE                           !                       iCHJCAGO, IL 60693...0626                     800.00!                                    -1          507.841

F2"-7-4.:.2B=521!1=--,J,=BE,,N,,,JAM=IN'-'STf=P-"HE:,N:..:CHACl<==O,cMccD_ _ _ _ _ _ _ _ _ _ _ _ _-ll'-''°:..:BOX==B2=64"'85"-------------~!f------->"l;PHl=IAD=ELP:..:Hec1A.'-'P"'A'-=19,.,182=-6485='----+---=l,,,,6S4=.oo=,l--,_ _ _s,, 1c::a.::c,o:;i_ _ __:t-'_ _. . ==57c.:,ll.9, c0"!1!_ _ _ _ __;:_--I
XX-XXXXXXX      IP..ANIELALLCOTT~-------------------+·PO_sox_.. _,_ _ _ _ _ _ _ _ _ _ _ _-;----·----1!r1•o~M~•~·GA~30~1~•~2-094~•-------+---2,19-•~·oo+i---~33"0.~•~Gi____+-_-'-1.""os""•c:.s=z,-l- - - - - - - - 1
27.al44487B      KATHLEENPARKERRNP                       iPooox142a2                                     leELFAST,ME049l5-403S                    uo.ooi             -!                       .I                                                                         -!
21--4457435     )NexPO u.c                                                                   1128 COLUMBIA TURNPIKE surre 101                                                   !A.ORHAM PARK. HJ 07932-2283                  11s.ool                     .i                               _j
27-469SD26      IPANAGIOTIS MANOL.AS MD                                                      ho.1630TH DRM:5UrTE3-S                                                             !ASTORIA. NY 11102                  I       29,121.21!                    -,                               -!
XX-XXXXXXX      IKAlHLEEN 1 LAMPING-ARARMD                                                   13666 PAXTON Ave                                                                   foNaNNATI, 01-145208-1568                    z.050.00(
                                                                                                                                                                                1
XX-XXXXXXX      !FRANCES v DILLON                                                            l10 EAST 85TH STREET tB                                                             NEW YORK. NY 1002s                          1,225.00\             1.22s.oo:                       t.225.ooi
XX-XXXXXXX      /PEG MBS, LPCC                                                               /4055 EXEamvE PARK DRM                                                             lcNaNNAn, oH 45241                            400.DOi                                                400.ool
XX-XXXXXXX      lRAYMoNorooo fiiloeee oo                                                     1321 N tc1CKAPoosr                                         !                       !uNcoLN, 1L62GS6-2124                         268.ooi                     -I
                                                                                                                                                        I
XX-XXXXXXX

XX-XXXXXXX
                IADAMWMIUKMD

                IELIZABET':IHENDERSON PERRY
                                                                                             IPOBOX16949
                                                                                             !~TRACECOlDNYPARKDRSTEB                                    i
                                                                                                                                                                                IBELFASr,ME049~

                                                                                                                                                                                IR10GELANO,MS39ts1
                                                                                                                                                                                                                              665.00°

                                                                                                                                                                                                                              340.oo:
                                                                                                                                                                                                                                                    605.74;
                                                                                                                                                                                                                                                    340.ooi              +
F3C:CO-O;c1::7;::523=9-;c::cMA::.:R:.:,K:..;W1.:,:L::T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _...;!:..;PD::.:B:,:O::.:X;c365=--------------i!f--_ _ __._iPR05=:..:PE=:RC'-llY"-'-"WV-'-"'25:,:9:,09:..;-0=c365=-----+-----'160=.00=i-!_______ ~~-----+'--~160=.0...;01_ _ _ _ _ _-I
                                                                                                                                                                                                                                                                                     605.74!
                                                                                                                                                                                                                                                                                     340,00!


XX-XXXXXXX      :HAROUNIAN KOU ROSH, DPM INC                                                 1311 H ROBERTSON BLVD                                      fm 331                  iBEVERLY HILLS, CA 90211-1705                1,810.00!                                   _j          592.411


                                                                                                                                                     EXHIBIT2

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                                                                                                    AEU INTI:RIM 0151RIBUTION



                                                                                                                                                                                                                ,.-•-
                                                                                                                                                                                                                    •. fl,-:f




XX-XXXXXXX     !THEODORE G SHEPARD MD                                                                                                                             645.00;        323_04(           323.04(
XX-XXXXXXX     hvAN HAYWARD MD                                                                                                                                    212.ooi          46.soi           46.50

~568~ .•       !SKENDER MURmANI MD PLLC                                                                                                                            100.001                         100.ool
~.6803        ··-]MATHERS aJNJC lLC                                                                                                                               825.~:         245.00;           315.00!
XX-XXXXXXX     iJOEL DANIEi. KELLY DPM                          jpOBOX 1060                                   :RO                                                1.323.00l       661.sol           661.soi
XX-XXXXXXX     jGARY W SWAR12£NTRUBER MD                        lPOBOXUO                                                                                           140_00:                         125.05
XX-XXXXXXX      MAROA SUMMERS                                       750 MOUNT CARMEL MALL                                                                         294.ooi
XX-XXXXXXX      MCOJU.OUGH HYDE MEMORIAL                            110 N POPLAR ST                                                                              1,006.53~             _!          686.46,
                                                                1
XX-XXXXXXX     tOtllDRENS ANESTHESIAASSOOAlcS INC               DEPT781678                                                 loemOJT, Ml4S21s-11us                 2,012.501                       2.012.50!
XX-XXXXXXX     lsoUTHERN OHIO MEDICAL CENTER                        1248 KINNE\'5 LANE                                     !PORTSMOUTH, OH 4S662""2g27            919.00[        s13.osi    -!     873.0S!

XX-XXXXXXX     iROBERTMFIXLERMD                                 1231 MAIN STREEr                                           iMllFORD, OH 45150-1123                12LOD\           68.09!         (68.09)[
31-079BSS0     lKmERING ANESTHESIAASSOOATES INC                 PO BOK 932759                                              !a.EVELAND, OH 44193                  1,541.00!             -!
                                                                                                                                                                                                            ;
31--0824192    !ARA DAVID APRAHAMIAN MD                             1008N MAINST                                               BLOOMINGTON, ll61701-1784          126.DOj                                 -i
31.o840164     ;SPRINGDALE-MASON PEDIATRIC ASSO                 lt1360SPRINGFIELD PIKE                                     'I  CNONNATI, OH 45246                 S75.00)              '
                                                                                                                                                                                 546.25'.
31-()917155    jHOsPICE OF ONCNNATI                             !PO BOX 633662                                                 CNCNNATI, OH 45263-3662           5,070.00           __:!         5,010.00!

XX-XXXXXXX     !JAMES B DAVIS MD                                5141 MORNING SUN ROAD                                          OXFCIRO, OH4SOS&-9629               5s.ool                           40.371
XX-XXXXXXX     IMARVINSIM                                           6880 PERIMETER DRS\JrrE B                              !ouBUN, OH 43016-2521                  120.ooi        120.00I          (80.00J\
XX-XXXXXXX     lJeFFREV osPA1Z MD                                   POBX95389                                                  OICLAHOMA C'TY, OK 73143-5389      604.00;        362.40i           362.40!

XX-XXXXXXX     loeRMATOPATHOLOGY LAB oF CENTRA                      7835 PARAGON ROAD                                          DAYTON, OH 45459                   390.00:              .l          390.00

XX-XXXXXXX      JEfFREYTODD KEMMETOC                                215 LOVB.AND MADBRA RD                                 h.OVElAND, OH 4S140                    870.001        362.51!           445.49

XX-XXXXXXX     !oXFORO RADIOLOGY                                    POBOX?29                                               ;OXFORD. OH 4SOS6                       12.00;         21.60j            2L60

XX-XXXXXXX     loHIO STATE UNIVERSITY HOS                           PO BOX. 643655                                             Pm'SBURGH, PA 15264                414.DO[              -i         237-631
31•1355976     iJEAN M ATWOOD MD                                    1375 CHERRY WAY ORM SUITE 110                           ~NNA. OH 43230-8700                   200.0lt        200.00!         1200.0011
                                                                                                                                                                                       I
XX-XXXXXXX     !HSCSURGICALASSOOATESOFONCNNATI                      PO BOX. 631180                                          CNONNATI, OH 45263-llBO            _2.002.ooi       1,115.551           14.45•
                                                                                                                           !
XX-XXXXXXX     iDANIB.C BOWEN MD                                    11317 SPRlNGAELD PIKE                                  iSfRINGDALE, OH 45246                  129.oo!         73.72)          (73.72)'

XX-XXXXXXX     ILESUE GUNZENHAEUSER MD                              PO BOX 932841                                              a.EVEI.AfolD, OH 44193             sso.ooi        170.121           277.05

XX-XXXXXXX      01RISTOPHER MARK CHAFIN MD                          710 VENTURE DRIVE                                          MORGANTOWN, WV 26508-7306          180.oo;        180.00i          1so.oo!
XX-XXXXXXX      NElSON E VEJ.AZQ.UEZOO                              136 UNDEN DRIVE                                        'lWINotESTER, VA22601-6800             100.00          86.33!            86.33!

XX-XXXXXXX      SUJATA GUTTI MD                                 lPOBOX.2158                                                    PIJCfVILLE, t.Y' 41502·2158        U4.00!          ss.1sl            55.761

XX-XXXXXXX     !JOSEPH MAURO MD                                     PO BOX 951426                                              0.EVElAND, OH 44193-0015           484.00~
                                                                                                                                                                            !
                                                                                                                                                                                       -l
XX-XXXXXXX     !MARcs GREENBERG DPM                             ,6200 PLEASANT AVE SUITE 3                                 !FAIRFIEW,OH4S014-467l                1.77S.00!

XX-XXXXXXX     ISANDERSR CAUAWAYMD                                  POSOX.63185                                                OIARLOTI'E, NC 28263-3185          100.00;                                 -;
                                                                                                                                                                                                            i
XX-XXXXXXX     ,UCKtNG MEMDRlAl HDSPrTAL                        j1320 W MAIN sr                                                NEWARK, OH 43055-1822              526.351        510.56;           s10.sol
                                                                I                                                                                                                                           I
XX-XXXXXXX     !GALUA COUNTY COMMISSlONERS                      !B364THAVE                                                 !HUNTlNGTON, WV 25701-9998             932.00:        699.oo!           6~~~!

XX-XXXXXXX •M••- 1ROBERT L POTEMPA DPM                          13144NAUSTIN                                               !QIICAGO, IL 60634-5127
                                                                                                                           I
                                                                                                                                                                 2,615.00!              '
                                                                                                                                                                                2,615.00(        :Z..61s.ooi

32-003101S     !MARGY FRAU LO lCSW ACSW LLC                     19BENDICTA..                                                   GREENWICH, Cf OG830                625.oo'              -1
                                                                                                                                                                                                            I
XX-XXXXXXX     jAMlAOSAfVI                                          457 LAKE COOK RD                                       iDEERAELD. IL 60015-5202              3 000.00!       575.221           575.221


                                                                                                             EXHIBIT2

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                                                                                                              AEU INTERIM DISTRIBUTION




                                                                               POBOXn7641                                           'jAlLANTA. GA 30384-7641                        2s3.0ol
XX-XXXXXXX                                                                     f40EMAINST                                               BAY SHORE. NY 11706-8329                  1.300.00!                                784.34
32..S626789                                                                    19845 LAKE OIABOT RD STE 200                         !CASTRO VALLEY, CA !34546-4055                  ns.oo:               '                 725.00
                                                                                                                                                                                                                                 I
XX-XXXXXXX     iHARBOR-UCl.A MEDICAL FOUNDATION                                fPOBOX30380                                              LOS ANGB.ES, CA 90030                       474.00;
                                                                                                                                                                                                         I
                                                                                                                                                                                                              -!--..-·     474.0D!
XX-XXXXXXX     lotRISTOPHER HAJNIK MD                                          332 SANTA FE DRIVE SUITE 110                             ENC NITAS, CA 92024-5143                    236.SBi         68.04:                   68.04i
XX-XXXXXXX     !GERALD B HOLT.Z. MD                                            PO BOX 5594                                          iCAROLSTREAM, IL 60197-5594               ________ 32.00!           -,    ·i              7.93j
XX-XXXXXXX     SOUTHERN CAUFORNIA HOSPlTAUST NET                               jPOBOX844713                                             LOS ANGELES, CA90084-4713                   893.40,             -!                 893.401
XX-XXXXXXX     DEXCOMINC                                                       i DEPT LA 24120                                          PASADENA. CA 9118~120                     6,007.Sf       2,168.BBi                4,776.31
XX-XXXXXXX     Im.a TRAN                                                       I
                                                                               17813 SHRADER RD                                         RIOIMONO, VA23294-4210                      59s.oo'       259.06/     .I           574.06

XX-XXXXXXX     ERIIQCA SAEHRtNG                                                11952 WHITNEY AVE                                        HAMDEN,CT06517-1209                         2&0.00!       2&0.0Dl                  2&0.00!
XX-XXXXXXX     KJMBERLY CHAMPNEY                                               1PO BOX 935560                                       iATlANTA. GA 31193-5560                         569.DDi  '    32s.84l                  326.84

XX-XXXXXXX     !RICiARDJACOBS                                                  l21s GULF BREEZE PKWY                                    GULFSREW, FL325614465                       110.00;  '         .I
XX-XXXXXXX     HUGHSTON _HOSPITAL                                              IP080X28160S                                         ATI.ANTA, GA 30384                           20.269.14;            .!                20,269.14!

~~             sr JOSEPH WARREN HOSPITAL                                       IPO BOX 636458                                       !CNCNNATI, OH 4S263                              79.00              -i                   79.ool
XX-XXXXXXX     !EMILY SANDeACH                  _______________.. --           h20s N ACADEMY BLvosurn: 130                         lcc1.0RAD0 SPRINGS. co 8091?.:!._~~             JA9.00              -l                 149.00,
34<l8t,mo      MEDICAL SERVICE COMPANY                                         lrosox7440t                                          1Cl.EVElAND, OH 44154-4401                    1.494.5B!      1,312.01!                1,312.07]

XX-XXXXXXX     ATRIUM OB--GYN INC                                              l4151HOUDAV STREET NW                                'CANTON, OH 44718-2531                          180.0D:       112.2s!
                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                            112.26i

XX-XXXXXXX     REYNALDO GACAD MO                                               ls10 WHIT POND DRIVE.                    SUITE200    ,AKRON, OH 44320-42.06                          130.00!             -!                        -,
                                                                                                                                                                                                                                  !

.34--1773323   COMMUNrTY AMBUlANCE SERVICE                                     PO BOX 951554                            I               a.EVELAND, OH 44193                       2,238.ooi      2,01420!                 2,,014.20

XX-XXXXXXX     PIONEER PHYSJCJANS NETWORK INC                                  j351S MASSIUON RD                        !STE3DO     ,UNIONTOWN, OH, 44685                           678.01)       177.001                  53936
                                                                                                                                                                                             ;
XX-XXXXXXX     TED SOtWEIICERT CRNA                                            !PO BOX 632317                                       !oNCNNATI, OH 45263-2317                        810.00i             .i
                                                                                                                                                                                          I
34-1B42373     !NEW FAMILY PHYSICANS ASSOCATES                                 34500 OfAROON RD                         UNIT6       WlllOUGHBY HILLS, OH 44094                      438.00!        95.00!                  399.ool
34-188368S     1PAUL WIWAM 8IZJAK DC                                           9630 RAVENNA ROAD SUITE 100                          lWINSBURG OH 44087-6812                         200.00'.            .,'                200.ool
3-!:!996544    KATHLEEN KENNEDY QUADRO MD                                      POBOX60000
                                                                                                                                    1
                                                                                                                                    SAN FRANOSCO, CA.94160-0001                     343.001             -l                 343.00,
34-2()06743    ZIED MIOIAEL TAWEH MD                                           27 HOSPrTAL AVE                                          DANBURY, CT 06810-5961                      135.00:       ns.oo}                   13S.OO
XX-XXXXXXX     ANDREW 8 PUNDY MO                                               1875 DEMPSTER 504                                        PARX RIDGE, ll 60068-1120                 1,075.00!       730.oof                 (S7S.OO)
XX-XXXXXXX     INDlANA UNIVERSITY HfALTH                                       3793 SOLUTIONS CENTER                                IOflCAGO, ll 60677                           12.s3s.ool             .,'               9,753.01
                                                                                                                                                                                          I
XX-XXXXXXX     OAKlAWN PSVDUATRICCENTER INC                                    330 LAKEVIEW DR                                      IGOSHEN, IN 46528                               185.00'       185.001                  185.00
XX-XXXXXXX     ILAWRENCELO                                                     •PD BOX12!1                                          \GREENflELD, IN 46140-0129                    1.1SD.ool       968.65!                   968.65!
                                                                                                                                                                                                                                   ;
XX-XXXXXXX     ,ORTHOPEDIC & SPORTS MEDICNE CENTER OF NORlliERN IN DIANA INC   in10 CALIFORNIA ROAD                                     ELKHART.. IN 46514-1228                   6.!141.00:     1,00223:                 1.002231
                                                                                                                                                                                                                                   I
35-1.333192    isrAa C MURPHY PNP                                              !1200SOUTH ROGERS STREET                                 BLOOMINGTON; IN 47403◄792                   315.00;             .,                  210.001

XX-XXXXXXX     l1NDIANA GASTilOENTEROLOGY INC                                  !3902 N MERIDIAN STSTI: 22                           !iNDIANAPOUS. IN 46260-5307                     ns.oa,        308.76!                  308.76

XX-XXXXXXX     !AlAN HENRY BIERLEIN MD                                         ,220 BLOOMINGDALE DRJVE                                  BRISTOL,. IN 46507                          114.00\        64.06!                    64.06!

~~!?~!296      WENDY M. WllSON MD                                              6820 PARKDALE PLACE 211                                  INCIANAPOUS, IN 46254-6600                  175.DO)       140371                   14037

35-181844S     WILUAMS BROS HEALTHCARE PHARMACY INC                            ho w1wAMS BROS ORM                                   !WASHINGTON, IN 47501 ________                  594.oo:
                                                                                                                                                                                 ------·  ;-·
                                                                                                                                                                                                        -!                 44L1BI

XX-XXXXXXX     JMUNIZA MASLEH MD                                               IP080XUB1S                                           IBELFAST, ME 04915-4019                         160.001        87.41:'                   87.411

XX-XXXXXXX     iJAMES MARCUS LINDSAY MD                                        \326 S WOOD CREST ORM                                !BlDOMINGJ"ON, IN 47401-5314          !          75.00!        37.sof                    31.so!

                                                                                                                      EXHIBIT2

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                                                                                                                           AEU INTERIM D15TRIBUTION




XX-XXXXXXX               !BRUCE GRAHAM                                                lgso N MERIOlAN ST SUITE BOO                                i1ND1ANAPOUS. IN 46204                                       25.DO!
                         1
XX-XXXXXXX                JUDYlDAVISDO                                                807GL£NDAlfBLVD                                             JvALPARAISO,IN46383                                        520.oo!

35--1948578              JEWELMARINOMD                                                POBOX4699                                      !            LAfAYETTE.IN47903-4699                                    1,243.DO!                         -1       50LB7
35-2D10087               JOSl:PH D HEOfT MD                                           !Po BOX 3329                                                !MUNSTER,. IN 46321-3329                                   508.0D!

~2031935 ~- -·· FORT WAYNE RADIOLOGY ASSOOATION LLC                                   h.oaeox A20 PO aox: 2801                                    1FORTWAYNE, IN 46801-25D1                            !     201.00!            53.oo
                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                              -!         53.00

XX-XXXXXXX               JANeTSEABROOkMO                     ------------+-'i102~1_W_S_TH_A_VE
                                                                                             _ _ _ _ _ _ _ _ _ _ _ _~----lGARY==·IN46402-1703                                                                101.00;                 -i       -1         67.04
35-20757.44              OAVIDCWHITE MD                                               IPO BX 4717                                                                                                  -+____;;75,:-D::Df-i----"'""'.oo=-Jf----:+-!___"'75"°.00"+-j- - - - - - = - l
                                                                                                                                                  lBE:cLFccAST=•.c.MccEcc.04cc9=1S-4=71::,7_ _ _ _ _


:~:.,':- ·--.~=•'A:~NMO
XX-XXXXXXX               !AMERICAN HEAi.TH NElWORIC IND UC
                                                                                        1
                                                                                      .: :0~=-~•couRT
                                                                                      110689 N PENNSYLVANIA ST SUITE 200
                                                                                                                                    T-----       -1:::::~:=-•
                                                                                                                                                  i1NDlANAPOUS, IN 46280-1070
                                                                                                                                                                                                             ::::
                                                                                                                                                                                                            2,610.00!
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                                                                                                                                                                                                                             1,829.33!
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                                                                                                                                                                                                                                                        ::J
                                                                                                                                                                                                                                                      (932.33) j

35-2UiG442               !JANICETAKATAROSSIMDSC                                       lt600S4THSTE140                                             iMORTON,IL61SS0-3401                                       143.00i          114AOi          .I       114.40i
ls-221153s               MATI'HEWANDREWHAMMETTOC                                      361DW80JlilANE                                 l            IMERRtllvtLLE.IN464J.O-S061                                1.So.ooi           so.ooi        -1         s1.sol

XX-XXXXXXX               MERCY GILBERT MEDICAL CENTER                                 355S S VAL VJSrA DR                                         !GILBERT. AR 8S296-7323                                   1,416.00!         651.36}         -1       65136!

XX-XXXXXXX               TRIMBLEVISIONSERVJCESLLC                                     9SOtOOLSl"REET                                              !uNIONVILLE.CT06085                                        19s.ooi                 -!
F3"'S-=232=02'-'46=--FSA""N"DRA=TH-"E=RESA==LEccR=CH-"C'-'F-"N'--PC=NccM~-------------f'32=D=E=•~•O=PDW=~AY~A=VE~•=o=•~9487=--------j------flJA'-'CKSO==•~•WY=8300=='-948-=c.'-----+---=-64S=.oo,;!_ _ _ _ _ _-+!-----"-f-l-----=+-------=--l
XX-XXXXXXX               !ANTHONY 0 ERWIN DC                                          !~51 TEAYSVAI.LEY RD                                        HURRICANE, WV 25526                                        375.00t          25L64!          -1       25L64!

XX-XXXXXXX               [PROVIDENCEHEALTH&SERVICES-WA                                iPOBOX33G9                                                  PORT1ANO,OR97208-3369                                      259.60 1                -i       -1       168.74i

XX-XXXXXXX               ADVANTAGE OilR0PRACTIC WEll.NESS llC                         130:ag N 2ND STREET                                         !ROSCOE. IL 61073-8248                                     425.oo]          425.oo!         _,       425.00

XX-XXXXXXX               DEARBORN OOUNlY HOSPrTAI.                                    1600 WUSCN CREEK ROAD                                       LAWRENCEBURG, IN 47025-2751                                375.901                 -l       -!       375.90

XX-XXXXXXX               GOTIUEBMEMORIALHOSPITAL                                      [POBOX74867                                                 OIICAGO,tL60694-4867                                      1,589.ooi                -l       -l      1,l!IL75

XX-XXXXXXX               SUZANNEKEEN0N,LCPC                                           [640NORTHRMRROAD,SUrre108                                   INAPERVILLE.ILG0563-8947                                   186.00!                 -1       .I
XX-XXXXXXX               lKENNETH v MELOU0NNA
                                                                                      I
                                                                                        sso SPR1NGH111R1NG RD STE 2020                            iwEST DUNDEE. 1L&011B-1296                           I     240.00!          240.ooi         -I       240.00!

XX-XXXXXXX               loAKPARKEVECENTER                                            763BW.N0RTHAVENUE                             I             !eLMWooDPARK.IL60707◄157                                   650.00!                  t       -:
XX-XXXXXXX               CASlMIR E UPlNSICI MD                                        PO BOX Ul80                                                 BELFAST, ME 04915-4002                               t      S3.ool           S3.ooi         -1        53.00

F3°"6-=2684=33=3~-tJ=Oc.,tt"-N""JOSE=P=H""RICH=AR=Oc.DccDS=-----------------+,6=9~DN=IL~RO'-'UTE=3=1------------t-----!"CRY51'.=~"'-=lAK=~~l=l600=U=•3~790~--------i----·- _______ 3,62.=D.OO~J7
35--2701302              ALIANPAULW0LfFMD                                             !3633WESTLAKEAVE5UrrE300                      !             G1..ENV1EW,1L60026--5203                             !     220.ool
                                                                                                                                                                                                                    i:-----..    -.l-,·,-;,----t"l_____-t-1-------1
                                                                                                                                                                                                                               _.,            -I        59.17;

XX-XXXXXXX               !ADAM LEE PRICICm MO                                         11S8s N. ARUNGTON HEJGHTS ROA                               ARLINGTON HEIGHTS. ll 60004                               1,795.oo!        1,224.151        .!      1,224.lSi
F3=6-=277=04='3~--FOA.c,Nc,IEL=JccGccRE=E"-'N~------------------+!48=S~GR~E=EN=l.EA=F_AVEN
                                                                                        __ UE_ _ _ _ _ _ _ _ _                    -!i_____•!-1G_UR_N~EE,JL60031-3300                                         130.00;                          -!             _j
36-2SOns2                GLENSIDE FPO                                                 iPO BOX 6253                                   I            [CARL STREAM, IL 60197-9998                                869.so:                 -1       -!             _j
                                                                                                                                                                                                                                                                 1
XX-XXXXXXX               leOW1NJAMESKARR1SDPM                                         hos40wCERMAKROAD                                            wesrotESTER Jt.601.54--S250                                  ss.ooi           65.00!        _j        55.00

36-283oon                STEVENWNEUBAUERMD                                            s01YOR1CST                                                  MANJTOWOC.WIS422D-4630                               I     446.92!                 -!       -1             -I
XX-XXXXXXX               GREATERROUNDLAICEFPO                                         1POBOX1368                                                  .ELMHURST,ll60U6-9998                                     1.201.20:        uouoi            -!      1.201.20!

XX-XXXXXXX               !KEVINMKINGMD                                                l1000RANOAllROAOsre100                                      IGENEVA,ILGOJ34-2591                                       290.oo           142.&2!                  142.6Zi

36-291-4065              !1RAJPIELMD                                                  lt425NHUNTCWBRD301                                          IGURNEE.IL60031-2632                                       186.00'.         1SS.29j         -l       155.29!

XX-XXXXXXX               '
                         1WINRELD PATHOLOGY CONSULTANTS SC                            . DEPT 4432                                                 CAROL STREAM, IL 60122-4432                                424.20]          216.88(                  216.88 j

36-295-4907   WO   ...   !ROBERT F HAlLJR MD                                  ----r:•~o~eo=•~~=•=12~_ _ _ _ _ _ _ _ _ _ __,__ _ _ _1~:"='~~AST.ME0491S-407~=·------t---~"'~"=.oo~;!-·-----4·:____-+-i'_-~187=.IS=t!______-I
XX-XXXXXXX               WEllBEINGMO JOHN R PRINOPE MD LTD                            i119SO SO HARLEM SUITE 101                                  PAI.CS HEIGHTS, ll 60463-1150                              406.00j

XX-XXXXXXX               lwARREN o CBASICIN                                           h53s LAJCE com:: RD                                         lNcRTH8ROOK. lt.60062-1451                                 119.30!                                   119.30!
F,=s-~,04=523~,=--,l~oa'"'•"'ALD=w"",~'"cc.ERT=Pl~LLE-•-o-c----------------t.,~,~12-1.AXEW-~oo_o_o_•------------;i-- --·--- !M-;~oorA. IL61342-1096                                                           52.00·



                                                                                                                                   EXHIBIT2

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                                                                                                                             AEU INTERIM OISTRIBIJTION




               lLAWRENCE JOHNSON MD                                                   3310WMAINST                                                   ]sr CHARlfS, IL 601~1029               300.0D:              -l
XX-XXXXXXX     JENNIFER OWENS MD                                                      1165 PAVSPHERE CRQ.E                                          lgjlCAGO, IL 60674-0011                65LOOi         s20.ao!
XX-XXXXXXX     IPATRICICBWHITAl:ER r:>CPC                                             129 S PHELPS AVE SUITE 316                                    iftC>OCFDRD, IL 61108                  ,is.ool        S66.501  '
                                                                                                                                                                                                                j
36-312339D     !KRISTOFFER JAN TUMILOWICZ                                             1EDGEBROOK CENTER 1619 NOR                                        ROCKFORD, IL61107-1414             189.oof              ·:
3fr3130849     iGLORIA KIM MD                                                         13825HIGHtANDAVETOWER1SUIT                       I                DOWNERS GROVE, IL 60515            140.00'.

36-31342Sl     ~.I.NA DAOABHOV MO                                                     l~ W BlESTl:RRELD RD STE 4003                    !            jeu; GROVE VILLAGE, ll60007--9991      185.00!              -! I


                                                                                                                                       I                                                                        -i
 6-3139231     BRlAN ENGEBRECHT MO                                                    54SVAUEYVIEWDR                                                !MOUNf,. U. 6U6S-6145                 429.00(                                 lSS.77)
XX-XXXXXXX     RADIOLOGY IMAGING SPECIAUSTS LTD                                       39645 TREASURY CENTER                                             OUCAGO, IL 60694                   185.0D!                                185.001
XX-XXXXXXX      KURTZ AMBULANCE SERVICE INC                                           POBOX457                                                          WHEEUNG, IL 60090-o457           1,636.aol                 'I                   -!
XX-XXXXXXX      0$£PH L DlGIROI.AMO DC                                                116ERMRSIDEBLVO                                               ,LOVES PARK. IL 61111                 144.00\        108.39!                  108.39!
XX-XXXXXXX                                                                            ;363514THAVE                                                  ,ROCK ISLAND, IL61l01-3069             m.ooi          124.20!  '
XX-XXXXXXX     leLSA HEANANDEZ..ounv                                                  380 EAST NORTHWEST HIGHWAY SUITE 200                              DES Pt.AiNES, IL 60016-2274       225.ooi          86.69:  '               B&.69

   3305716     LAl(E COOK ORTI-IOPEDIC ASSOCATES                                      POBOX6628                                                         CAROL STREAM, ll60197            1.075.00;       578.75                  (~.9811
XX-XXXXXXX     GILBERT£ TRESLEY MD                                                    1120 Oak Brook Center Ste 809                                 !OAK BROOK, ll 60523                 1,780.001  '   1,780.00i:      .!       (224.001
XX-XXXXXXX                                                                            [222 S GREENLEAF 5r STE 111                                   IGURNEE,. IL 60031-5705               1so.ool        297.61    '              297.61]
XX-XXXXXXX                                                                            9661 W 143RD STREET                                               ORLAND PARK, 1l60462-2557         280.00:        189.351        .,        18935,
                                                                                                                                                                                         4,387.00 1             .!      .,i
XX-XXXXXXX

XX-XXXXXXX
               KURT F JENSEN DOS                                                      6050 BRYNWOOD DR STE 102
                                                                                      100 E LEFEVRE RD
                                                                                                                                                        ROCKFORD, IL 61114

                                                                                                                                                        STERLING, IL 61081                690.COj         468.Sll  '              .....,
XX-XXXXXXX     JSURYA NADIMPAW MD                                                     8930WAUKEGAN RD STE 130                                       IMORTON GROVE. IL 60053-,2132       17,494.001      2.0SL48j                2,051.48
 6-3502481.    hoRGE VlllACORTA                                                       POBOX879B                                                         CAROLSTREAM, 1L60197-8'798        269.00i                       -i
XX-XXXXXXX     boHN AIKENHEAD                                                         i 1039 COLLEGE AVE STE A                                      !WHEATON, IL60187•5794                 ss.ool         44.00:
3tHSS413l.     JOSHUA T Rl01MAN DOS                                                   1303 MACOM DRIVE                                                  NAPERVILLE, IL 60564-3202         200.ool        zoo.ool                  200.00
XX-XXXXXXX     JOSEPHBARIC                                                            .825 E RAND RD                                                !ARUNGTON HEIGHTS, IL 60004-4074     1,iss.00!       303.23(                  303.23i
XX-XXXXXXX     ,1.AWRENCE KAUFMAN                                                     !2456 N WE.ST.ERN AVE                                         l0-11CAG0, IL 60647-2012              245.ooi        244.69!                  244.691

XX-XXXXXXX     ALAN M REIOI MD                       ........, __,,_.... ---····--·   7447WTALCOTTAVE                                  )SUITES69        OilCAGO, IL 60631-3722           1.034.00!       729.21!                  729.211

XX-XXXXXXX     PAULAGALLUZZODPM                                                       15999 REDANSA DRIVE                                           !Ro~;D,IL61108                       1,265.00:       21630i                   261.001

XX-XXXXXXX     BESAGARAHALLY C SHAN KARA MD                                           lP0B0X746                                                         MOtENRY, ll 60051-9012            390.00j        390_00!        .,        390.00
36-3748B01     LEXINGTON HEALTH CARE CENTER OF LAKE ZUI                               665 W NORTii AVENUE
                                                                                                                                                    I
                                                                                                                                                        LOMBARD, IL &0148               11,324.08;
                                                                                                                                                                                                  I
                                                                                                                                                                                                               .   '           11.324.08\   '
XX-XXXXXXX     PAUL FINLY DETJEN MD                                                   534 GREEN BAY RD                                                  KENILWORTH, IL 60043-1801         20s.oo!               -1                20s.ooi
36-3TISn2      DIANE BARTON DC                                                        !18665 DOOE HWY                                                   HOMEWOOO, IL 60430-3728          1.280.0D       l,280.00l               1,280.0Di
                                                                                                                                                                                                               i
XX-XXXXXXX     NICK DPSALTISOC                                                        l4202MARAY DR                                                 )ROOCFORD, IL 61107-4964              315.DO!        267.75:        -l        267.751
XX-XXXXXXX     ANTHONYPTARRASSO MO
                                                                                      !
                                                                                      17000 N WESTMOREIANO RD                                           lAXE FORfST, ll80045-1872          lS0.00)              ·i '    ./
36-3B001B7     !STEVEN M SANTO UN DC                                                  lz14s W JEFFERSON ST                                          1JOUET, IL (;0435-6621                213.00!        213.DDi        ·I        2uool

XX-XXXXXXX ..• ...lDR_ClJFFORD SWANSON                                                :zns w SOIAUMBURG RD                                                                              8,558.00'       Z.675.SOl  '    -:    __ 2.675.so!
 6-3814509     \~!:JO J GOlDIN MERTDOGAN MD                                           h.w11.AKEWOOD DRIVE SUITE A                                       MORR.IS, IL 604S0-3S52            us.ooj                -l      -!        125:~i
XX-XXXXXXX     IKIRIT K PATARI MD                                                     ln e IRVING PARK ROAD                                         ISJREAMW~D. IL 60107-2930             uo.oo!                -i                1oa00\
                                                                                                                                                    I
XX-XXXXXXX     bES:SICAJOHNSON MD                                                     IPO B0Xl7468                                                  !BELFAST ME04915~                     112.om


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                                                                                                                AEU INTERIM DISTRIBUTION




XX-XXXXXXX                                                                                                                             'I.AKE FOREST, IL60045-D631        t.2ts.oo!
                                                                                                                                                                                                 I
                                                                                                                                                                                         1,215.00i           1,215.00i
XX-XXXXXXX    !sELAL H BAKIR MD                                                                                                        'iElGIN, ll. 60124-7837             785.00i        644.90!              644.901
XX-XXXXXXX    !RALPH ORlAND MD                                                                                                             WHcATON, IL 60189-SBSS          11S.oo!              -,'            146.52!
XX-XXXXXXX        ARUNGTON HEIGHTS                                                                                                      ~NGTON HEIGHTS, ll 60004-3908      340.ool                             3-00.00
XX-XXXXXXX        MILANAMATZOO                                                'j360S WAUICEGAN RDIIA                                   iDEERflfLD, ll 60015-S6S4           215.00i              -i             215.00.
XX-XXXXXXX        KATIE MAURER OD                                             !456 W NORTHWEST HEY STE                          ---~---_ !~;-;,     IL 60067-2540         . . 260.oo;_    260.00!              zso.oo!
XX-XXXXXXX    !MOIRA C ARIANO MD                                                  2323 NAPERVILLE RD SUITE 12                           NAPERVILLE, IL 60563-5606          240.00;        216.00i     -!'      216.00!
              I
XX-XXXXXXX    'ENRIC P SOlANS MD                                                  DEPTn9288                                                OIICAGO, ll 60678-9288            59.30~        44.48!               44.48i

XX-XXXXXXX        RIOiARD S ROCK MD                                           i2101 WAUKEGAN RD                           !SUITE301    'BANNOO:BURN, IL 60015-1836         375_00:              -!             375.00!
XX-XXXXXXX    !DREYER MEDICAL GROUP LTD                                       l28S94 NETWORK PLACE                                     !OIICAGO,ll60673                   1,264.001      t.264-ool          (1.264.00)!

XX-XXXXXXX        OHN H BRAITHWAITE DC                                        1105 SLAFAYETTE ST                                       iBYRON, IL 61010-8970                 48.ool        48.00f     -1        48.00i
35-411sgs1        ROBERT JOHNSON                                                                                                        DIXON, IL 61021-2115                ss.oo:         72.13!               12.ul
XX-XXXXXXX    !ENT SURGICAL CONSULTANTS LTD                                                                                             JOLIET, IL 60435-5574              m.oo\          228.00!              289.70
36-4130S46    loouGLAS RAN DAU ROPP CRNA                                                                                               ICH1CAGO, IL 60693-0122             44LDO]         44LDDI               44LOO

XX-XXXXXXX    RDBERTT WRIGHT DC                                               hoo59 s ROBERTS RD                                       '
                                                                                                                                       IPALOS HILLS, IL 60465-1560         875.00.        45S.63!              4S5,63

36-4182S54    JOfflAR HAMDAN                                                                                                           !ouCAGO, IL 60677-7002              233_00!        233.00!              233.00J

XX-XXXXXXX    1MARY E ENGLISH DC                                                                                                        QUCAGO, IL 60640-2222            1,645.00,        ezs.oo[              825.llO

XX-XXXXXXX    jSIMON WU MD LTD                                                                                                         !KANKAKEE, IL60901                  554.00!        3B0.10i            (366.lDJI
XX-XXXXXXX        srEPHANIE £ SPICER DPM                                       3330 w 177TH sr                            STE 2D1       HAZEL CREST, IL604:ZS..2184        404.04'.             -!             363.631
XX-XXXXXXX    !LAKE IN TI-iE HlllS PODIATRY PC                                11441 MERCHANT ORM                                                                           13s.oo:        13s.ool              135.00
XX-XXXXXXX    !MARGARET A HAHN                                                1919 N PLUM GROVE RD SUITE C                                                                 31s.ool              -1
                                                                              1
                                                                                                                                                                                                 I
XX-XXXXXXX    !RONALD FREEMAN                                                  1800 HOlLISTER DR 205                                    UBERTYVILLf,, IL60048-S266         4"0.00"        31B.521              318.52

                                                                                                                                                                                                                     -1
                                                                              1
XX-XXXXXXX        OIRISTOPHER MARKUS COi.BERT DO                               PO BOX 809616                                            CHICAGO, IL 60680-9616             470.001              -;

XX-XXXXXXX ·-··- GREGORY SCOTT CRlSENBfRY                                      POBOX5126                                                EVANSrON, IL 60204-5126           3,450.0Dl             -1           2,880.00)
                                                                                                                                       1
XX-XXXXXXX         ORTH WEST ENT ASSOOATESSC                                   POBOX871D                                                BELFAST, ME 04915-8710             907.aoJ        813.ZOi     -l       813.20!

XX-XXXXXXX    JOHN PATENAUDE DC                                               lt1316 W WADSWORTH ROAD                                   BEACH PARK, IL50099-33Ei7          220.coi              -i                   -!
XX-XXXXXXX    JASON D JONES DC                                                 PO BOX 270345                                            WEST AlUS, WI 53227-7208            52.00'.  '     41.30!     -i        41.30!

XX-XXXXXXX    !STEVEN E CARLSON                                               '
                                                                              I 115 N GAlENA AVE                                       !DIXON, ll61021·2117                429.00;              J     -1       429.coi
XX-XXXXXXX    ANDREW WIWAM HARTMAN PSY 0                                      !2500 W HIGGINS ROAD                                     iHOFFMAN ESTATES, IL 60169-2050     140.oo:        140.00f              140.00

XX-XXXXXXX        RIPPLE RAJESH DOSHI MD                                      14647 W UNC.OLN HWY                                       MATTESON, ll 60443-231!3             35.oo:        19.25f               19.25[
              !
XX-XXXXXXX    JNAUSHEEN DIN MD SC                                             i600 FOX GLEN CT                                         •BARRINGTON, IL 60010              2,650.ool      2,638.68!           (661.89)!

XX-XXXXXXX        S!:RGEI UPDV MD                                             IPoBOX5478                                               !ELGIN, ll 60ll1·5478               :zso.ooi       22234!               222.341
                                                                              I
XX-XXXXXXX     MICHAEL GREENBAUM                                              !31480 NUS HWY 45                                         UBERTYVJLLE. IL 60048-1676           90.00 1            -?              90.ooi
~~S757        loouGLAS R KREBS cc                                             !922 WESTDJVERSEY PARKWAY                                 OflCAGO, IA 60614-1416             720.00:        120.00:              120.00!
              I                                                                                                                                                                      '     37.60:
                                                           ,._ --·----- --· ....-r··-·----
XX-XXXXXXX    '~HIN H SAMIMI MD                                               [5700 SOUTHWYCIC. BLVD                                   !TOLEDO, DH 436J.4.1S09               47.00                              37.60!

XX-XXXXXXX    iARAVIND GANGASANI MD                                           js~~SUSHWY75                                             f DENr50N, !X 75020-4597            1&s.oo;         63.7Sl               63.75,

XX-XXXXXXX    iMEMORIAL HOSPITAL OF TAMPA                                     !PO BOX 742631                                           !ATlANTA,. GA 30374-2631          21,588.381                         12.305.38


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                                               'a:,"                                                                                                                                                                                                         <k
36--600590S         !GLENVIEW ARE DEPARTMENT                                                                                                                                                                                            .j      l.165.44!
XX-XXXXXXX          ivtUAGE OF LOMBARD                                              POBOX457                                                          iWHEEUNG,ll60090-o457                              918.001                        ·1        459.00\
36-600G041          !PARK RIDGE FIRE DEPARTMENT                                     DEPARTMENT4074                                                    !CAROLSTREAM,IL.60122-4074                         987.50!         9B7.soi        .i        911.sol
36-i00608S          MUAGE OF ROSELLE                                                PO BOX 1368                                     I                 !ELMHURST, tL60126-9998                          2,151.50 i       1,073.50:               2,1suo/
36-,6008171         !vtUAGE OF GURNEE                                               : PO BOX 6253                                   !                 )CAROLSTitEAM, IL60197-9998                      2,603.84 i                               1,301.921
37-06612CJ:2....      ( ......
                   .. !FAlRFlELD MEMORIAL HOSPITAL                                                                 I            jFAIRFJELO, IL62837-1203       i
                                                                                    !~,03=N~W~E=l£VEN=~TH~ST~-~---------+-----'======""-------l---"4,::,01::4:::.0:::.0j'----"3,,::612.=60::;!   _ _ __::,.__ _;=""l------'--l
                                                                                                                                                                                                               1,806.301
XX-XXXXXXX          iPASSAVANT AREA HOSPITAL                                        !1600WWALNUTST                                  !
                                                                                                                                jJACKSONVIUE, IL 62650                 2,995.38]       2,995.38(I       .f       898.61!
XX-XXXXXXX

XX-XXXXXXX
                    SAINT JAMES HOSPITAL
                    lsr JOSEPH MEDICAL CENTER
                                                                                    !7090sOLuTION CENc:,TE.,,,R,__ _ _ _ _ _ _ _ _+----- IOllCAGO,
                                                                                     2200ewASH1NGTCN
                                                                                                                                          ,,.===='--------l---...e:57'.!2.,,,ooe;i
                                                                                                                                                   ll 60677
                                                                                                                                         lBLOOMINGTON, IL61701                787.ooi
                                                                                                                                                                                                I
                                                                                                                                                                                      _ _ __c57=>-,coo;_f_ _ __:•j!_- - ~572.00!
                                                                                                                                                                                               1e1.ool           .I
                                                                                                                                                                                                                           ~~-----.:-I
                                                                                                                                                                                                                         (787.ooil
37-o673S06          !GRAHAM MED GRP CANTON                                                                                                            ICANTON, IL 61520-2608                           3,612.01 1       2,690.72!       _j      1,472.501

3H684o91            I
                    !MEMORIAL HOSPITAL ASSOCIATION                                  '
                                                                                    !1454 N COUNTY ROAD 2050                                          iCARTHAG£, IL62321-<1160                         1,297.00i                '
                                                                                                                                                                                                                         464.00'.                 464.ool
37-D981099          IAIPING SMm-1                                                   PO BOX 959602                                                     "fSAJNT LOUIS, MO 63195-9602              i        275.00i               ·l       .1        21s.001
                                                                                                                                                                                                                                         I
XX-XXXXXXX          MARKE HUTTI DC                                                  !6SSWUNCOLNAVESUITE2                                              1o-tARI.ESTON, IL 61920-2426                        !:IO.oo!             .I       -!         90.ool
37•U49556           '
                    ITHOMASMDEWEERTMD                                               !1302FRANKUNAVE#4800                                              iNORMAl. ll 51761-3595                           1,279.151         603..77{       -i      (603.nJi
XX-XXXXXXX          KENNETH M BIRGE MD                                              902 N HERSHEY RD                                J           •••   [sLOOMINGTCN, IL61704:-.!~. ___________   J . . . __    7
                                                                                                                                                                                                                          90_.!ID-t"----·+-I--~~
                                                                                                                                                                                                         10_L_oo>l_ _ _ _ _                   oo.901
XX-XXXXXXX          JAMESMOSBACi                                                    117SMAIN                                        i                 !WASHINGTON, IL61571                      I        152.00!          34.20!        .I        110.201
XX-XXXXXXX          SlcPHEN L RABEN                                                 739 N JEFFERSON ST SUfTE 2D0                                      TMASCourAH,1L622Ss-1441                   !         10.ooi               -1       ..         10.001
XX-XXXXXXX          ROBBYE O Bfll MD                                                PO BOX 843732                                                     IKANSASarv, MO 64184                               11,.00:          90.401        .!         90.40]
37-lS20288          lHAZELLAWAJ..T                                                  !POBOX4701                                                        !HOUSTON, TX77210-4701                             953.65'                        .1              ·i
XX-XXXXXXX          JOYCE SHATNEY LCSW                                              8160 N OCERO SUITE 60S                                            l0t1CAGO, IL6064G                                  900.00!                        .I              .1
XX-XXXXXXX          PATHKARE INC                                                    i&2CHANOON                                                        jNEWPORTCOAST,CA92657-lll2                          74.001                        .I         71.33!
XX-XXXXXXX          !CHRISTINE NAUNGAYAN MD                                         518 WYNDHAM ROAD                                                  !TEANECK. NJ07666                                1,DSO.CC!         350.oa!                  aso.ool
XX-XXXXXXX          !ROBERT WYNN KOGEL MD                                           PO eox380s1                                                       IPHllADELPHIA. PA 19101-sos1                     1,sos.oo!                        -i      1,444.sot
XX-XXXXXXX          OtRtsTINA 8 NULTY MD                                            ,CAMPUSBOX2540                                                    1NORMAL.IL61761-2540                               170.00\               .I       .I              .i
37-60623.26         PANA COMMUNITY HOSPITAL ASSOOATION                              i101E!mtST                                                        1PANA.IL62557                                    4,322.25!        3,775.061       .!      3,775.061
XX-XXXXXXX          DANIEl.HBRUNEMD                                                 120wAGNER 1>R                                                     lcaEVE COEUR. IL61&10                              360.oo;               .1                 120.00!

XX-XXXXXXX          1SPARROW REGIONAL LAB                                           sns RELIABLE PARKWAY                                              loi1CAGO, IL 60686-0081                             so.ooi               .i                  so.ooi
XX-XXXXXXX          CENTRALMIOIIGAN COMM                                            122150UTHOR                                                       !MTPLEASANT,Ml488SS-3234                           252.72!                        .I        252.121
3S.18S9770          DRS HARRIS BIRKHILL PC                                          ipoeox2e02                                                        joEARBORN,Ml48123-2929                           1.552.ool         654.ooi        .I        111.02!

XX-XXXXXXX          SAMERGEORGESAQQA                                                lz4715 LmlE MACK AVE                                              ISA1NTCAJRSHORES, Ml 48080-!J99S          !        67s.ooi               -!       -!        562.501

XX-XXXXXXX          LANSING RADIOLOGY ASSOC                                         221 W 8TH ST                                                      TLORAIN, OH 44052-1817                             110.00'.                       _I         48.82!
38-19S0606          !MATTHEW P MADION MD                                            929 BUSINESS PARK OR                                              !TRAVERSE OTY, Ml 48686-8683                       375.00!         195.oo!        .,'       19s.ool
XX-XXXXXXX          IHENRY FORD AU.£GIANCE                                          !POBOX670884                                                      ioETROITMI, 48267.Q884                             68S.00i                        .!        616.so!
XX-XXXXXXX          lR10tARD POUPARD                                                !&w MERLIN CT                                                     IMIDlAND. Ml 48640                               2,09s.oo!                                z.ogs.ool
XX-XXXXXXX          jQUESTDIAGNOSTTCSSEATI'LE                                       iPOBOXB225S0                                                      lSEATTLE.WA98134                                   199.10:         199.10!                  199.10!

XX-XXXXXXX          ;FRANCJSCANHEAlTHCRA=W"'FOe,:RIISVl=e__ _ _ _ _ _ _ _ _ _ _ _  . 1!,:,P080=Xe.78=642=.1_____________,l-----i'ID,oETR=OITe,,e,Me,.1402=7ce6,_______+ --"''.56=•·cc60'+'------·+i_ _ __:.;,......________ .-,_!_ _ _ _ ___,
~~~~~_?.~.. ----1~~~-~~-~~~~~- ~!? .................... _..                           lz854 SOUlH 11TH ST                                           jKAlAMAZOO, Ml 49009-2129                           170.00]_                117.&tj                (117.6111-

                    ~~:::::o:~CLINCPC
                                                                                                                                                                                                                                                         i - - !_ _ _ _ _ _ _ ,




::::: _1                                                                    ···-···-·--•i=l:s=.c;:=:=~:::A:ec:,~==:'-----------+.----4'1:":"::=::.:~:::~NTE,.c:_:;:::;:0==D:::S,:.,M:::l;:;4823=6'----+-----';"'::=::.;;----~•o~33~,,..•----<---=1occ33cc_l,-!- - - - - - - I
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                                                                                                                                   EXHIBIT2

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                                                                                                                    AEU INTERIM DISTRIBUTION



~ ~ " -
                                                                                            • <
~LMEDICAlCENTER                                                                        !401 S BAll.ENGER HWY                                     '
                                                                                                                                                 !FUNT, Ml 48532-3638                  j          596.2D i          476.96t          -!        476.96!                 -
XX-XXXXXXX    luFECARE AMBULANCE CASS oouNTY                                           J330 HAMBUN AVE W                                         !BATILE CREEK. Ml 49037-843D                   2,0SL40i                                       924.lOj
38--2492131   ;EDMUND L0IJVAR MD                                                       POBOX6SSO                                                 SA.GINAW,Ml48608-65SO                             ZLOO;                  ~          J           10.D2

XX-XXXXXXX    PENELOPE BARXER DO
                                                    ------.---•--·-·--·                jpa BOX17146                                              IBELFASI', ME 04951-4066                        160.001                             -!        132.t9i

38-26D1836    iCHArr~A VEMULAPAW MD                                       -------t=GG02==so=u=m0~•-=a~NTE=•--------··              L----+c°'=='~CAGC=~·'=-'GOG=n~.QI0=~•------+---;3:::•.oo=•-----=ao.=oo:=:,..,---.....:+                       30.ooj
XX-XXXXXXX    !MACOMB ANESTHESIA PC                                                    lPQBOX33753                     --------------r-----      ]DETROT,M14823Z·3753                  i        1,029.001           710.0lj          -!·"·     710.0li

38--2897816    ====="'-------------------f':::03ccSO=UTH='°=""c.c™=sr'----------+----'-lFsru=RG::IS:,,•:::M:,:14:::909='·="=•=-•------f-;f_ ___,:12:eG.:eoo:::;-'_ _ _c....94=.so"1l_ _ ___:·l:--__;94~.50=,.------➔
              !ROBERT G PERRA ED D

XX-XXXXXXX     HUBERT W RUSSEU               ------------+'~'='"~•~•11E="~"°~--------------;-------,le-so~UTHGA~=TE~.M~•48~'~•~s-=2•~2•~----t---~"='=·ooc.c.;-I_ _ _ _G0.=1•.,.1_ _ _ _ -!>-----;"°:::.,.=.;.!______➔
XX-XXXXXXX     CARDIOVASCULAR CONSULTANTS PC                               3TT71 SCHOENHERR STE 103                    srERUNG HEIGHTS. Ml 48312-2302    442.00]                  -i       ·•·:1    207.93!

XX-XXXXXXX    !VINITA SHARMA MD                                           !314507MILEROST£t10                  I      luvONIA,Ml4BtSZ-137S               45s.ool           21s.ool            -1    21s.oo!
XX-XXXXXXX    ]MUNSON SERVICES INC                                                     !ssoMUNSONAVENUESUITEG100                                 TRAVl;RSEOTY.Ml49686                              57.541                 _l         -1              -1
33-3149n2     leRIAN s GENDELMAN MD                                                    !889G COMMERCE RD STE S                                   COMMERCE TWP. Ml 48382-4494                     303.00)                             -l        268.71!
XX-XXXXXXX    lQBALHUSSAIN MD                                                          PO eox 19006                                              BELFAST. ME 04915-4085                          448.00\            337.751          -l        337.75i

XX-XXXXXXX    STEVEN JOHN SERRA DO                                                     16040 KING RD                                             RIVERVIEW. Ml 48193-7947                          86.SO;                 -!          !         8650!

XX-XXXXXXX    DAVID M BY RENS                                                          215EMANSIONSTSUITE1G                        !             MARSHALL.Ml49068-1S59                           147.001                  -!         _I        116.53!

3S.3476508    ~~HN F SMAROt DC PC                                                      1515GREENWOODAVE                            !            !JAOCSON,Ml49203-4047                            350.00j            13B.04i          -l        179.7D

~!:~~182      JYCTHI ANANTHARAMAN KADAMBI MD                                          .16800 w 12 MILE RD STE 205                               lsoUTHRELD, Ml 48076-6334                        s10.00;            4is.oo!                   (340.00)

XX-XXXXXXX       ~~~~~-----------------+'-•-•_H_IW_P_R_D_STE_1D_1
              !JOHN BRUNETTI OMO                                                               _ _ ,.... __. VE~N(?NHIUS;c,•l,cLGD0=6l:=·.:lB5=8-----+----:C·18.DO==;i_ _ _ _.;::3;:2.=65:.,.l_ _ _____:.14---,_ _ _4:,,3:,c2.6,cSc.i_ _ _ _ __:_-1
                                                                 _ _ _ _ _ _ _ _ _ _ _-;!_STE_lD1
38-379S900    !ANTHONY PTERAASSE MD                                                    700D NORTltWES1MORElANCR0                   I             LAKEFOREsr.lL6004~1672                          100.ool                  -i                         -I
XX-XXXXXXX    llAZARus LYNNE MD                                                       !2222BANCROFTWAY                              #4300       !B£RKELY,CA94720-4300                              69.ool            69.ool                    (69.ooJl
XX-XXXXXXX    iKAREN l FAUC PSYD                                                      !POBOX:337                                                 DUNDEE,IL60118-0337                             450.00!            367.16!          -l        367.16!

XX-XXXXXXX    llCHAJAA NASARU0DIN MD                                                   IPO eox 1075                                              ELGlN, 1L60t21-1015                             S2s.oo!                  J          -1        525.00
XX-XXXXXXX    OIIRAGRAHA                                                               16630 SOUTI-1 OAK PARK AVE                                lnNLEY PARJ<. IL 604n-11ss                      100.ooi                  .j                         .I
XX-XXXXXXX    UVINCiST0N COUNTY EMS                                                    1911 TOOLEY RO                                            IHowELL.Ml488S5-8307                            52!1.ool                 -!         -i
XX-XXXXXXX    VISITING NURSE ASSOCATI0N OF WlSCONSIN                                   11333WNATIONALAVE                                         wesr ALLIS, WI 53227                            200.00!            200.001           !        200.ooi

XX-XXXXXXX    DMNESAVIOR HEALTiiCARE                                                   l2B17 NEW PINERY RD                                       \PORTAGE, WI 53901-9257                        2,497.25!          2,497.25)         -1       2,497.25

XX-XXXXXXX    ST JOSEPHS COMMUNITY HOSPITAL                                            POBOX154                                                  [MILWAUKEE, WI 53278..0154                    25,336.541          1,316.001         -/      24,020.54

XX-XXXXXXX    OULDRENS HOSPrTAL CF WI
                   ====='-----------------tl9~DOO=W~W-=ISC=C~N~Sl~N~AVE~----------!-----FiM~IC~W~A~UK=EE•_Wl=S=322-=6~-----+--~••~07~D-=.8Sc-;1_ _ _ _2~•125=.3~8 ' _ _ _ _.li-___,(l,930.38)f--------t                   7
XX-XXXXXXX    IROBERT s GAROFALO MD                                                    333NCOMMEROAt.ST                                         !NEENAH,Wl54956-2657                             158.DOj             28.78j          -i         28.78,

39--1128616   MAREN PIEFER                                                             roeox78625                                               !MILWAUKEE.Wl53278-062S                          355.ool            340.so:                    340.so!
XX-XXXXXXX    icoLUMBUS C0MMUNfiY H0SPITA                                              POeox8803                                                ICAROLSTREAL.IL60197-8803                        474.ool                  _j         -1        474.oo!

39-,1193991   JEFFEREY LCASPERSON COS                                                  539S W MlotAEl.S DRIVE                                    APPLETON, WI 54913                             J..840.00!                -[         _I        504.00
XX-XXXXXXX    .MAXWEU. NANES DO                                                        6400 INDUSTRIAL LOOP                                     !GREENDAlf. WI 53129-2452                        94LOOl             735.30!

XX-XXXXXXX    !oARREN C STRONG CC                                                      1426SCOMMEROALST                                         iNEENAH,Wl549S6                                  230.00j                  .j          '
                                                                                                                                                                                                                                     .!              .,'
XX-XXXXXXX    MILOS TOMICH DPM                                                         324EWISCONSJNAVESUrrE409                    l            !MJLWAUKEE.W1S3202-4306                !         769.ool            475.04!          .i        475..04

XX-XXXXXXX    jsoUTHERN WISCONSIN EMERGENCY ASSOOATES SC                               isox 88573                                                jMILWAUKEEWL..~~5~32~88~-05=73~---t---~990=.00cc,-!---~940.50=~f____·+'---"940=.S4Di_ _ _ _ _ _-l
XX-XXXXXXX ···-·}PAUL M BERMAN MC                                                      IPC 80< 628156                                            iMroDLETON, Wl53S62-Bl56                   658.oo!          ss9_30! .. :J·. ·~···--:c••==•=.a=;ol~------1
XX-XXXXXXX    iJEANNEVECDERM.C .•      ........ ·--··•···~"~·-.. -----------+1~400'~7_S_Sl11E~Er_SU_ITE_4_ _ _ _ _ _ _ __         •!------+'1KE=N:.::0S=HAc:,•,;cWccclS3=14=3-.=1544=-----+---...=:24:=3.00=ll_ _ _ _ _ _•.,_i -----'l               ·_·lt-1 _ _ _ _ ___,
39-,1702433   !GOLD CROSS AMBULANCE SERVICE   INC                                      1055 WITTMANN DR                            i             MENASHA, WI 54952-3606                           910.80!                 _f         -l                  1


                                                                                                                                EXHIBIT2

                                                                                                                                       210
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                                                                                                                              AElJ INTERIM DISTRIBUTION



 ~~.IJ!,,,;;~~-~"''""",!i,=-1,:,;-~!fi!j!,f,lll?$W"~~~~•l&k"""-~illJt~~'[i(('"" .•                                                                                                                                                                   ··•- ,.._. ··-       -       -   ·~
 i~~~,i~~~T~&t~~~~~~-,}7~t~~~~~l~S:~1ef.~ii~~~;                                                                                                                                                                                                    ~ ~'        !.t~ ..    ~   .            ~- ~ .

XX-XXXXXXX     I.JONATHANROBIN.50N                                                               !19035WCAPITOLDRSTE1D1
                                                                                                 I                                                     I
                                                                                                                                        :BROOKAELD,WIS304S.2755
                                                                                                                                        '                                                     ~          163.00~           163.00:'            '
                                                                                                                                                                                                                                              -I            163.00~   '                        •

XX-XXXXXXX     1TERRYL TIJRKE MD                                                                 !m HOSPITAL DRIVE                      !               WATERTOWN, w1 S3098-3304              !         473.00;            413.ool            -,            473.ool                            •
XX-XXXXXXX     ]CRAtGWINKDC                                                                      j924FORESfAVEffi101                    I               FONDDUlAC.Wl5493S                               S15,00             270.85]                          270.BSf

XX-XXXXXXX     [ANCREWCSTOPCZrNSXIOC                                                             \i624CE.ARENCECOURT                    \               WESTBEND,Wl5309s-BS33                             65.50•           . GS.so!           _I              65.50;

~9-1928"'3'-'71:_-;:iJ:::O""HN"-V"-AN=SUSTER==EN'-'PT-'-----------------f'•ccooccG=Ecc•EV="'-'PXWY=-"""""'"ITE=3'----------;-i_ _ _ _-FIA"'K=-EG"EN=EV"'11,'-'W'-'1.0C53=1-"47'-'.,;7"-01=-----f---=·<=·,.._=oo=-:'----"2,"'29"'5=.67:.;:_ _ _-''l---"'3.,::160=-•',.;'-----.....:-1
XX-XXXXXXX     1T08YJHAWICESDROC                                                                 l2470675THSTSTE200                     !               PAODOCKLAKE,WIS3t68,.9704                       315.00)                                             315.DDl

39.2013672      TERRYJOOBBS                                                                      1196WOiESTNUTSTREET                                    BURUNGTON,WIS310S-1236                            45.00)             32.64)                          32.64'

41-14101~       aNTERFORD1AGNOSTic1MAGING                       ---------fl,-'o-'sox=23=03'-'o"'•'-'PT-'1=•3'-----------+!_____!F'1N=o=-1ANAPO==us,=••~462=06,~2303='------+---'2"',10"1.00='-I----''"'·40=1.00=i,___ _ ,.._•+i_ _ _,~•40_1._00_1I,__ _ _ _ ___,
XX-XXXXXXX      OUWRENSHEALTHCAAE                                                               ·,POBOX860114                           i               MINNEAPOUS,MN55486-0114                         638.001            S74.lOl                          574.20!

XX-XXXXXXX      EQUIMED coRPORAnoN                                                               13300 FERNBROOK LANEN #175             I               PLYMOUTH, MN 55447-5360                         BSs.00 1                 -1           -!            79&.soi

XX-XXXXXXX     lscon ANTHONY WILKINS DPT                                                         hss19TH ST Nsurre 100                  I              !oAKDALE. MN 5s128-6626                          248.ss[            11S.1s!                          11s.15l
XX-XXXXXXX     ]ooROTHYCSAUNDERSOC                                                               !POBOX962                              I               MONTICEUO,MNSS362-0962                          806.00i            628.Gsl                          628.68j
XX-XXXXXXX      JAMESSTIRUNGRICICARDSMO                                                          !POBOX4246                             I               CAROLSTREAM,A.60197-1246                        112.68!             36.73!                           36.731
XX-XXXXXXX      aJNtCAl.COUEAGUESINC                                                             iPOBOX824246                                          !PHILAOELPHIAPA19182◄246                        3,500.00)          2,371.86!                       2,371.86!
            lHARTMeo1CALEQUIPMENT_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-tl=ts~ts~CAL=o~•~-------------,i__,___-+-o_Avi_oso~•·~M-•_484_23                           , _ _ _ _,.~-•~•.,.l______.t-1----;---~'"~"~•t-i- - - - - - - 1
                                                                                                                                                          1
 XX-XXXXXXX                                                                                                                               _ _ _ _ _ _ _+

ic•=-1-"218=19=3•:_-;lo"su=RAD=•o=•=-oGY=u=c'------------------+l·1-'00ACKE==RMAN='-'•~o_ _ _ _ _ _ _ _ _ _ _-+!_ _ _ _fco=-w=M=-•"~S.~O~H~432=02'--------+----=-so~.oo"-':· ----=-==2;-I.----;·l___.ocs:z.g=2+-!- - - - - - - !
 XX-XXXXXXX  A WALK IN MEDICAl.                                 [36S WIUARD A.VENUE                            !          KEWINGTON, er 06111                        14S.oo:         11s.001         11s.oot
                                                                                                                         1
 XX-XXXXXXX lwaNNESHIEIC MEOICALCENTER                          !901 MONTGOMERY ST                                        D£coRAH, IA 52101,2325                     23aoo]          128.l.BI        12s.1al
XX-XXXXXXX     !HAMMERMEOICALSUPPLY                                                              118012NDAVE                                            D£5MOJNES,IA50314-3605                          485.74.            374.44!                          374.441

XX-XXXXXXX     ]MEDICAL CENTER ANESTHESIOLOGISTS PC                                              !4u LAUREL ST SUITE 3170                               DES MOINES, IA 50314-3005                      2,112.oai         1,414.00!                        1,414.oo!
XX-XXXXXXX     iDANIEL5LAGEL                                                                     l2os BLUFF ST STE 1                                    DUBUOUE.1A5200l-4:i979                          :ig9.15]            s&.621                           SG.621
42·1306277     iMARKHANSEN                                                                       !315PARHAMSTSUITEB                     !              1MUSCATINE.IA52761-2604                          193.00i                  -i                         1!33.00!
XX-XXXXXXX      GREATRNERPHYSICIANSANDQJNlCS                                                     !1221SGEAAAVE                          I              lWESTBURUNGTON.IA5265S-1679                      614.00;                  -!                               -i
XX-XXXXXXX      oeGYNASSODATISPC                                                                 !Poeox3oso                             I               CEOARRAP10S,1AS2co•                   I         544.00!            319.23i                         (319.2311
XX-XXXXXXX     iootJGLASRHOl5'NGTONDO                                                            '14ss29lltsr                           /              ,WESTDE5MOINES.IA5026&-l3D2                     1,000.001                 -!                         499.74!

42·1518427     !DAv1oeoRAKE0D                                                                    )5ooecouRTAV£STE30S                                    DESM01NES,1A50309-2os1                I         532.ool            377.24!                          377.24i

42·1685996      JNT£GRAPARTJ\IERS                                                                /1oowALLsr                                             NEWYORJC,NY1000s                               1,135.92!           S6111sl                          567.961

XX-XXXXXXX     .Peachtree Travel Clln1c                                                          li1s CoIller Road                      Isuite #450A   All.ANTA. GA 30309                               200.001            200.ool                          200.00!

XX-XXXXXXX     !OlYOFJOHNSTON                                                                    IPOBOX4S7                              \              IWHEEUNG,IL60090-0457                            669.40:                  _!                         66£1.40!
XX-XXXXXXX     isuRESHKNARAYANANMD                                                               IPOeox795069                           1              iSATNTLCUrs,M063179-079s                         is1.oo;                  -!                         135.90

43-091.3832    •N10ioLASENGELBREOITMD                                                            h60ossnENTW00DaLvosrea00
                                                                                                                                                       1STLOuts.Mo63t44•1317                  I        1.100.00;           479ssl             .!            519.9s!
XX-XXXXXXX     ~OHNASALA01NoMD                                                                   IP0B0x25441                                            OVERlANDPARK.K.566225                           25s.ool            214_19!            .!            214.191

XX-XXXXXXX     1CARtAMAZZOLAMO                                                                   IPOBOX66997                                           lsrLOUIS,M063166-6997                            142.00;             S4.60!                           54.60!
XX-XXXXXXX     !oANIELEGERSHONOO                                                                 l142SNW BLUE PKWY                                     iU:ES5UMMrT.M064086-S705                         474.oo'.                 -!                         474.00!
43--1383893    ]GREGORYCIZEKMD                                                                   jPOBOX23340                                           !SAINTLOUIS,M063151H340                j        5,962.00]                                                   -1
43-1515~204~-]G~••~GO=•·~·~·~·•-G_MO~-- -----------------l·1c.:•o,_,•=o'-'x"'1443=33=-------                                                           iORLANDO, fl32814-4333                           175.00~             40.85;                           40.85!
XX-XXXXXXX     !STEVEN LSOLOMON MO                                                                PO BOX38900                                          !ST LOUIS, MD 63138-8900                          45.00i             12.97j                            12.97
F43-::..=;•173cc0=5::10:_~jJ::;A50=N,_,McclCHA=,,eElccRAR=ICl(=MccD_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ !P~BOX6349                                          !FLORENCE,.SC29502-6349                          336.60]            300.78)                          300.781
                                                                                                  7
 43-175S716                  !wEJGANGZHU MD                                                        !2326 MILLPARK ORM:                                 iMARYlAND HEIGH~.MO 63043-3530                    45.00]                                                4.621


                                                                                                                                       EXHIBIT2
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43--1800917
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               MINERAL AREA PAIN Cl:NTER PC
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                                                                                   lsosMAPLEVAU£YDRtVE
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                                                                                                                                                 fFARMINGTON, MO 636401976
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                                                                                                                                                                                                                                                                     67.67;
                                                                                                                                                                                                                                                                               .··~

XX-XXXXXXX     lsRuYAIDMD                                                          iPO BOX 14221                                                 1BELFAST, ME 04915-4035                            416.10/                          -i                             208.65!
XX-XXXXXXX     SREEVALU CEGA                                                       'iPOBOX650                                                        RINCON, GA31326                                4zs.oo'                   42&0Di  '                         (218.0011
                                                                                                                                     I
XX-XXXXXXX     !.'!~BECCA H LIU                                                    !7777FORE5TLANEm B222
                                                                                                                                     '           loAUAS. TX 1s230.252s                            1,470.00i                          -i                         1,470.00
:.t3-1§0987    !AMANDA MARTIN FNP                                                  lroeox120                                                     !HARROGATE, TN 3n52                                390.00:                          -!                -!
43--2118877    jANDREW MARTDREUA MD                                                !21SE6BTHST8                                                      NEWYORK, NY10065                               400.oo:                   400.00!                  -I           400.00[
XX-XXXXXXX     RIOlARD A BURKE MD                                                  !102S6TH                                                       TARKIO, MO 64491-1513                              75.0D/                          .!                -1            58.SO
XX-XXXXXXX     sr LUKES HOSPITAL                                                   !~1 WORNALL RO                                                 KANSAS crrv. MO 64111-3220                        360.D01                   z13.41J                  -!           213.41
44-05S2485     iMERCYHOSPJTALSPRINGFJELD                                           hns e. CHEROKEE STREET                                        !SPRINGFIELD, MO 65804                          38,997.68!                         ~                  -i      13,546.96
XX-XXXXXXX     '
               !CHRtsTOPHERJOHNSON MD                                              !,oBOx210                                                      MASSAPEQUA PARK. NV U762-0270                   1.27S.00 1
                                                                                                                                                                                                                                    _,'                .I                 -l
XX-XXXXXXX     !STEPHANIE MARTIN                                                   !PO BOX 531849                                                 ATIANTA, GA.30353-1849                !           276.27;                   276.271                  -1           276.27
XX-XXXXXXX     otl NATIONALHOMECARE                                                !601 SW 9TH sr                                        STEH    'iDESMOINES, IA,50309                            1,150.981                   317.461                  -l           317.41i
XX-XXXXXXX     lceseRT RADIOI.OGY SOLU110NS uc                                     !POBOX952591                                                  !sr LOUIS, MO 63195-2591                           sgs.ooi                          -1                             5!!6JHI
XX-XXXXXXX     ,MICHAEL GmGOVICH DO                                                11303RDST                                                     ii.ASAl.l.E, IL 61301·2312                         287.oo!                   143.411                  -1           143.41!
45-182S86B     ALEXANDER FRUCHTER 11 MD                                            12004 ROUTU7M                                                  GOSHEN, NY 10924-1985                             110.00:                    60.50!                  -l            so.soi
XX-XXXXXXX     iSAJNT FRANCIS EMERGENCY MEDICAL GRP                                l,oBOX41"66                                                    80STON, MA 02241-7366                             502.00!                         -!                 -l           502.00
XX-XXXXXXX     !MATTHEW J SISKOSKY                                                 jPO BOX 772039                                                1oETROrr.Ml48277-2039                              u1.ooi                            I
                                                                                                                                                                                                                               ...... ·t-...           -1
XX-XXXXXXX ... ___ EMPIRE SPECIALTY PHARMACY                                                                                                      WEST NEW YORK. NJ 07093               I         3,232.ss!               3,232.65i                    -1       3.232.65i
                                                                               ··-·--···t:::v::~:=AY
XX-XXXXXXX     DR VlcroR C GOLD BETTER                                                                                                            BROOKLYN, NV' 11209                                ss.ool                         -!                 ·I                 -,
XX-XXXXXXX     lrarAL CARE SOLUTIONS CORP                                          !101 TIMBER LN                                                !MARLBORO, NJ 07746                              s.aso.oo\                         .I                 -!                 -I
XX-XXXXXXX     !PROGRESSIVE ANESTHESIA UC                                          iPOBOX4860                                                     MURREUS INLET, SC 29576-2698                      608.00i                   1s2.ooi                  j            152.00
XX-XXXXXXX     DAVJD OIARLES WIWAMS                                                !17515 LUMPKIN STREET                                         IATllENS, GA 30606-4740                            145.ool
                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                    -!                 -1
XX-XXXXXXX     GURBIRJOHAL MD                                                      1,o BOX 28008                                                  NEW YORK. NY 10087                                800.00!                   soo.oo!                  ·i           400.001
XX-XXXXXXX    !KEVIN BRUCE CARTER                                                  lzso2TAY1.DRSV1LLE RD                                         fLDUlSVILI.£, KY 40205                             288.oo[                         .1                 -1           288.IIO
XX-XXXXXXX     iREEDCBASKIN MO                                                     iPO BOX 4058Zl                                    i            AllANTA, GA 30384-5827                            440.ooi                   2~.sol                   -1           219.SD

XX-XXXXXXX     DAREKOLEARCZ't'K, DC                                                !75 HAZARD AVENUE                                 lsum1        ENFIELD, CT 06082                                 180.ool                    63.ool                  -!            63.DO
XX-XXXXXXX     !ACQJRATE MEDICAL OIA.GNDSnC                                        b02S RICHMOND AVE STE 1                           I
                                                                                                                                     I           STATEN lSLAND, NY 10314--3937                    1,000.00!               1,000.00!                    -l       1,000.00

                                                                                                                                                                                                                                                       -''
                                                                                                                                                                                                          I
4S-29Ei2033    OHIO EMERGENCY PROFESSIONALS INC                                    ]630 EATON AVENUE                                 I            HAMILTON, OH 45013                              1,.152.DOl              1,116.00!                             1,116.00
                                                                                                                                                                                                             1
XX-XXXXXXX     'ADVANCED QJNICAL LABORATORY SOLUTIONS                              !2277-83 CONEYJ51.AND AVE ROOM 36                              BROOKLYN, NY 11223·3337                         1.182.00                1,004.70!                             1,D04.70

XX-XXXXXXX     NORTH SHORE W ME                                                    IPOBOX:50S1                                                    NEWYOR, NY 10087·5051                             904.ool                         -!                 -1           904.ool

XX-XXXXXXX     INORTH SHORE w MEDICAL PC                                           iPOBOXSOSl                                                    iNEW YORK, N'r"10081-SOS1                          904.oo;                         .;'                -i           904.00

XX-XXXXXXX    !JAMESTALBOTMD                                                       111 BURTIS AVE STE 203                            l            NEW CANAAN, CTD6840                               szo.oo!                   520.00!                               s20.ool

XX-XXXXXXX     iNAlHAN UDSKY MD                                                    jp0 BOX 740587                                    !            LOS ANGELES, CA 90074-0587                      1,581.481
                                                                                                                                                                                                             !
                                                                                                                                                                                                                              356.86i                               356.86j

XX-XXXXXXX     SEAN PASTUOI                                                        i4454AUSTIN BLVD                                               ISlAND PARK,. NY 11558-1621                       470.00                    470.00;                  -!           410.ool

45--3851855    JOSHUA ROVNER MD                                                    1440 CURRYAVESTl: A                                           [ENGLEWOOD, NJ 07631-1754                      104,790.oo'.                                           -1                 .I
XX-XXXXXXX     ROBERrWOODJOHNSON PHYSICAN ENTER                                    'j3 EXECUTIVE OR STE 400                                      '[SOMERSET, NJ 08873-4007                        1,143.00'.              1,143.00!                             1,.143.00
                                                                                                                                                 I
XX-XXXXXXX     NIOtOLAS S TAPAZOGLOU
                                                        -··-·-··-·----·---·-
                                                                                   !110 IRVING SfNWATIN: MEDICAL AFFAIRS                         rASHINGTON, DC 20010-3017                          221.00!                   204.30!                  -1           204.30!

454070993      ILONESrAR HOSPITAL MEOIONE                                          \PO BOX 637657                                                •□NCNN~TI. OH 45263-7657                         2,s11.00:               1,827.00;                    -1       u21.ool
XX-XXXXXXX     iOMSION OIIROPRACTIC&ACUPUNCTURE                                    ltli30WOfVISIONST                                              CHICAGO. IL60622-9998                             250.00;                    65.28t                  .I           190.281


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                                                                                                                                                                                                            ,_~                                     ,.,
XX-XXXXXXX         !PEDRA.MtNE GANQt:1 MD                                               !Po BOX 623                                                   iwFrON, NJ 07012-0623                    350.ool                   -,I                  -1
XX-XXXXXXX         !AARON MORGAN MD                                                     '301 BINGHAM AVE FLOOR 2 UNrr C             !                 ioC:AN, NJ 0m.2-1-764               i    157.00[         94.go{    -l              94.90i
XX-XXXXXXX         !JURKOWSICI MEDICAL CORPORATION                                       10605 SCRIPPS POWAY PARkWAY                imc               SAN DIEGO. CA 92131-3925                1,U0.00~              .!   -1                   .i
45-4300SOO         1MONICA1SIMONSMD                                                      !OBOX 19155                                                  !BELFAST, ME 04915-4086i                 300.00[        237.21\    .!            23121!

~~~7               !RANDALL LEE MOORE                                                    PO BOX 731SSS
                                                                                                                                    I
                                                                                                                                                      !DA~, TX 75373-1855                      !300.001             _,   _j                   -f'
XX-XXXXXXX         DAVID BAOAWJ                                                         l1s14 wesr aNTRAL RD STE 101                I                 iARLINGTON HEIGHTS, IL 60005-2490   I    440.00:        3n.Ol~     .i            3n.02i
XX-XXXXXXX         ABDUUAHSAUAJ                                                          S01 W OGDEN AVE SUITE 1                                      HINSDALE. IL 60521-3284                   300.00:             -i                        -1
XX-XXXXXXX         !FRANKT ARMSTRONG 00                                                  42DO NARMENIAAVESTEt                                         '
                                                                                                                                                      !TAMPA, Fl 33607-6438                    146.DO!         47.56'
                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                         •1.s6i
XX-XXXXXXX         JIMLU                                                                ,1351 BARCLAY BLVD                                            ,BUFFALO GROVE, IL 6QOeg--4501      l   2,299.00!       616.361    -!             616.361
XX-XXXXXXX         !JERRY' WIGL£Y                                                       j179 B PINE GROVE RD                                          CARTERSVILLE, GA 30120-8490         I     m.ooi         1S8.S6i    -1             158.56!

XX-XXXXXXX         JAMES R UffRIG MD                                                     POBCX 18104                                                  !BELFAST. ME 04915-4076             !    161501                !   -!'
XX-XXXXXXX         VUANCHEN                                                             l12os OAl::STftEET                                            iNORTH AURORA. ILGOS42-2006         I   3,392.00!      3.190.74!   .;          3,190.74!
XX-XXXXXXX         !ANDERSON PHYSICAL THERAPY A.SSOCATE                                 15775 OLD WINDER HWY                                          BRASE.TON GA 30517-1603                 1,:134.78[      290.62!    -!            9•1.a2I
XX-XXXXXXX         isconwHARRIS                                                          630 ROBERT E LEE AVc.                                        ElllNS, WV 26241-3211                      36.ool        36.001    -1             36.oo!
XX-XXXXXXX         !MICHAEL TYRONE MORRIS II MO                                         [3&92 HIGHLANDS PKWY SE                     i                 SMYRNA, GA 30082-5184                    327.00:        327.00!'   _j            321.00!

-is.5312414
XX-XXXXXXX

XX-XXXXXXX
                   !USA EDWARDS
                   WILLIAM BRINER
                   '
                   \KATHRYN STRANGSTALIEN DC
                                                                                         1930llt:OREAU DR N STE 165
                                                                                        [PO BCX 29887

                                                                                         3SO E SARNIAST
                                                                                                                                                      ~UM BURG. ll 60173-4181

                                                                                                                                                      NEW YORK, NY 10087-9887

                                                                                                                                                      WINONA, MN 55987
                                                                                                                                                                                          I   1,465.00i

                                                                                                                                                                                               sso.oo!
                                                                                                                                                                                               180.00
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                                                                                                                                                                                                              342.ooi
                                                                                                                                                                                                                   -1
                                                                                                                                                                                                              114.Sl;
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                                                                                                                                                                                                                         -l
                                                                                                                                                                                                                               .-..,·~ ·-342.00i
                                                                                                                                                                                                                                       U4.51I
                                                                                                                                                                                                                                              -1

XX-XXXXXXX         IRYAN J HUlSEBUS DC                                                  !1010 HARLEM RD                                               MAQiESNEY PARK, IL 61115-2518           2,108.50!      1.621.25!   -1          1,791.07!

XX-XXXXXXX         THOMAS MD DAVIS DOW:                                                 la NORTH GRANT ST                                             BROWNSBURG, IN 46112                i    936.00:        936.00!    -1            936.001

XX-XXXXXXX         lotREcr PAIN REUEF uc                                                1120 COUNTY RD SUITE. 200                                     bAA.Y, NJ 07670                     I    450.00:        •so.ooi    -I            450.ool

XX-XXXXXXX         !PATRICK KO MD                                                        110Wl4THST                                                   !NEW YORK. NY 10011                 I    300.001        195.ooi    -1            195.aoi

.ilC....C:610995   DESIREE MCNIK HERRON OD                                               1640S otURDt STSTElOO                                        !WATERTOWN, WI 53094-6406           I      95.00·         95.00!   -1             9S.ooi
XX-XXXXXXX         BONNIEJ PITERSEN CNP                                                 ,POBOXS074                                  i                 SIOUX FALLS.SD 57117""6074          I    260.00:        221.ool    -1            22Laal
4S-022786S         ROBERT R SEIDEL MD                                                    POBOX8C74                                                    !s10ux FALLS,SD57117-fi038          I    268.00:              -i   -1I                .i
4S-0237098         SIOUX FAUS PSYDtOLOGICALSERVICES                                      2109 SNORTON AVc.                          i                 !SIOUX FALLS.SO 57105-3730          !    310.00:              j    -I
MLJT-t:t'=..d.70   BRANDYLMORROW                                                        !5129 S WESTERN                             i                 isioux FALLS, so 57108-2670         i    220.0D         220.00=
                                                                                                                                                                                                                     j
                                                                                                                                                                                                                         -i            220.00i

4S-0360629          JACK C GASPARI MD                                                   IPOBOX3488                                                    OMAH, NE 68103-0488                 i    600.00i              -!   -i
                   I
XX-XXXXXXX         )ICIMWIEKING                                                          600SCUFFAVE.STE106                                           SIOUX FALLS, SD 57104-5355          i   1,202.00!       742.12i    -i            742.72
                                                                                                                                                                                                                                                1


XX-XXXXXXX         SANFORD HOME MEDICAL EQUIPMENT INC
                                                                                       ·-·1POBOX84906                                                 lSIOUX FAUS, SO 57118-4906               131.00!        104.80!    .l            104.801

XX-XXXXXXX         'IJEfFREY RAI.PHSMITH                                                 4019TH AVE NW                                                WATERTOWN, SO 57201-1548                 268.00(        259.961    _!            259.a61
XX-XXXXXXX         THOMAS M CINI: MD                                                    iPOSOXS074                                                    SIOUX FAUS, SD S7117-5074           I    61L001                    _\                   -1
XX-XXXXXXX         COFFEE MEDICAL GROUP lLC                                             !481 INlERSTATE DR                                            IMANOIESTER. TN 37355-2419          I    73035 1                   _j            438.21!
XX-XXXXXXX         SAYBROOK DERMATOLOGY UC                                              1455 BOSTON POST RD                                           !OLD SAYBROOK, CT 0647S-.1SS4       l    ,...001        17LSDi                   171501

46-0S3S304         WESTPORT URGENT CARE UC:                                             \494 TEMPLE HIU RD 5UlTE 104                                  iNEW WINDSOR. NY 12553-5529         I   1.446.001      1,229.BOi                1,229.80:

4&-1071107         \MELINDA MILLER-THRASHER MD                                          '
                                                                                        !PO BOX 119Gl                                                 !BELFAST, ME 04915-4010             I    m.oo!                -:
                                                                                                                                                      I
14ti-1074291       .DAVID P THOMPSON MD                                                 IPO BOX 11287                               ! -···-·· _____   !BE~AST, ME 04915-4003                   73736;         103.98}'                 103.98!

4&-1120780 ..      ISTIMN HAYDEN                                                        !PO BOX 637544                          ··--1                 lCNONNATI, OH 45203-7944            l   1.930.00:             .;                1.9~.:~I
14~1322238         !HEATHER EWAUCERMD                                                   !POBOX418597                                                  iSOSTON, MA 02241-8597              !     201.00:       165.14!                   165.14;


                                                                                                                                  EXHIBIT2

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                                                                                                                             AEU IN!cRIM DISTRIBUTION




                  JESSICA SHERIDAN
                  KATHRYN EFREW
                  COMMONWEALTH PAIN ASSOCATES PL1C
XX-XXXXXXX        !ROBERT E POLlARD

XX-XXXXXXX        !PAMELA BASUIC MD                                                    2011UNI0NBLVOSTE1                                                  jBAYSHORE.NY_1_17_D6-80
                                                                                                                                                                            __30_ _ _ _ _-;-_ _ _
                                                                                                                                                                                                130_.00-t;---~130.=00=;-!_ _ _ _f--~130=.0=eO+l-------l
                  ,TONYA HUGHEY NP                                                     POSOX:11917                                                        jBELFAST,ME04gt5-4010                          97.00,            75.00!                             75.00
                  lGARY M KAZMER DPM                                                   41O3W26THST                                                      l0t1CAG0.1L60623-4313                          796.oo!            44&.40i                            446.40
                  ]STEPHANIE -SaNGLETON MD                                             Imo HOSPITAL DR STE 300                                          iMouNT PLEASANT, sc 29464-3254                 szc.oo!                 _,
                  SANJAY HIROO PAm MD                                                   30 e 76TH ST                                                    lNEW YORK NY 100l1-2,ss                       3.ooo.ooi         3,ooo.ooi                         (2.02s.00)   !
                  ANTHONY DESANO                                                       8416.lAMAICAAVF.                                                   WOODHAVEN,NY11421-1920                       750.00 1                -!                                  -!

                                                                                       S07WEXFORDCT                                                     lsrcHARLES,IL60175-56Ss                        iso.oo:            iso.ool                            150.00

XX-XXXXXXX                                                                             8732 UNIVERSl"IYarY BLVD                                         lOiARI.OTTE, NC28213                           216.00!                                                60.001

46-21~347 --···                                                                        POBOX4940                                                          JACKSON,W'f83001-494D                        284.oo]            284.oo!                            284.ool
XX-XXXXXXX           ==='!!-,_-_-_-_-_-_-_-_-_-_-_-_·_·-_·-_···-_····_···_·-_·-·_-··_-··~~~~~~~~~~~~~;19;;5;;H,cU~O;;SON;;:;;STR£;;;;;;ET~~~~~~~~~~~~~~~~~~~~~~=~~~~~=---_-_1H-O=BO=KE~N-,NJ~07~03~0-~!1998~-----+--~S4~7~.0c;Di----"',,~•.=40cti-----i---=.,'-'S.4=0c+,--------l
                                                                                                                                                      7

XX-XXXXXXX                                                                             1245 W MAIN sr                                                   ,COVINGTON, VA 24426                           480.00!            480.00;-----s---~480~.0-'iOe-------l

41H492128         !WHITNEYBl.AICELYLCSW                                                415SMUlf0RDRD                                                    !ROCICFORD,IL61108                            2,850.00          1.462.881                          1,462.BBj

XX-XXXXXXX        !ANOREWJAYBuNTMD                                                     POBOX1703                                                          ROCKFORD,IL61110-0203                        3ss.oof            3ss.ooi                            3ss.ool
XX-XXXXXXX        ARCS HEALTHCARE LLC                                                  PO ax 12810                                                      ,BEt.FASr, ME D4915                            591.001            1,s.s9{                            176.89,

XX-XXXXXXX        JASONHKINDTOO                                                        ,32266C0LLECTIONSCTRDR                                          l0i1CAGO,IL60693-0322                           132.00!
                                                                                                                                                                                                                                                                   _,'
                  NGA.WMD                                                              1425E6lSTSTNSTE2                                                 IPARTCITY,KS67219                              570.QQ;                                              S70.00
                  ITRAOAPURATH                                                         S244ZA0iARYOR                                                      MOUNTPLEASANT,W1S3403-977S                   lSLOO!                  -!                            151.00
                                                                                                                                                                                                                                                                       1
   2908086        !HENRYSOEHMMD                                                        POBOX102107                                                      !ATLANTA.GA30368-2107                          420.ooi            420.ooi                            420.00
                  1
                   PAVE1.KHROMOIENKO=DPT~----------------l!1,,~1~H~EDGEJl=~OW=LAN=E~-----------t-----,iM.~AN=AJA=PA~N~•N~J~07725'=~7~90~S~-----t--~J,000.=~.00'i!_ _ _ _ _--l.!_ _ _ _..___ _ _- - l . ! - - - - - - - - l
 6-2940751        .coRYWALDMAN MO                                                      l435NROXBURYORSUrrE300                                           r~EVERLYHILLS,VA902l0-SOOS                     340.oo!            212.00!                            272.00)
                  jMERCY LABS WASHINGTON U.C                                           ·901 E 5TH ST                                                    .WASHINTON, MO 63090-3U7                       128.DO!            128.00!                            l.28JJO;

   3135310        KENNON A Ma.ENDON MD                                                 PO eox 731587                                                    ·DAUS, lX 75373-1587                           669.oo !           s3s.2ol                           53S.20     '
XX-XXXXXXX        ROBERTLDESfEFANO                                                     l755UMMrrAVE                                                     !HACKENSACK, NJ D7601--8504                    402.00!

XX-XXXXXXX        \MISSISSIPPI UROLOGY OUTPATIENTSURGERV C                             PO BOX 117063                                                    !ATLANTA. GA 30368-7063                       3.380.D2i         3,380.001                          3,380.02!

4&-3220012        ERIN 01EoUNG MED tCPC                                                1926 w ROSCOE                                                    !otJCAGO, IL60657                              625.oof            &25.00!                          (425.ooJi

46-3256CN3        DANIEL I SHRAGER MD                                                  670 LAWN AVE STE 1A                                                SEUERSVt11£. PA 18!160-1571                 1.317_24f                 !                          1,317.24
 6-3356689        \SAlSOH CJNICS UC                                                    ;1745 WEST 7800 SOUTH                                              WEST JORDAN, UT 84088-4017                   520.00i                 -i                           390.00!

46-.3490058       /TEMECUlA VAUEY EMEBG PHYS INC                                       /po BOX 4415                                                       WOODLAND Hilts, CA 91365-4419                634.00)                 .,                            634.00i
4&-3sgQ084        ABBAS Y RAMPURWALA                                                   POBOX!l5583                                                     !HOFFMAN ESTATES, ll6019S-9558                  229.00'.           200.07\                           200.07!
46-3?19318 _____ )::ILBYPEDIARlcsuc                -------------1'100SAUNDERSsr                                                                        1aJLPEPER,vA221a1                               697.341                 J                -l          SD6.1si
4&-3726824        IGENEVAHEALTHCARE                                                    l~~;OEVIADE VEN"TURA                              !mFU0-150     ISC01TSDALE.AZSS2ss                             172.00 1                .:                            112.00:

46-~884296 ______ KERIAWHEELERMD                                           -----+I_PO_ea_x_102_•_ _ _ _ _ _ _ _ _ _ _ _ ___,!~----+J1A_CXSON_~•~w_v_83001__-_10_20_ _ _ _ _-+_ _ _260._oo_._,_______                           -!-----------------!--       2sa.ao;-l- - - - - - - - ' I
XX-XXXXXXX        lM1CHAELJESSEMCNULTY 1v MD                                          !DEPT3729                             !Po 00x 123129 iCALlAS. nc1s312_3729                 1.004.oo!        340.19:                                        -1     ·-··-~--;!

                                                                                                                                        EXHIBIT2


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                                                                                                                                                      AEU INTERIM DISTRIBIJTION



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                                                                                                                                                                                                                                                                                                                  . ' -·-·' -
                                                                                                                                                                                                                                                                                                       (96.60)                      ·
~c;,17          !TEAM PHYSICIANS OF NEVADA MA                                                         !PO BOX 638389                                                                   !aNCNNATI, OH 45263-8389                         !         1.032.00!                                           ].032.00
4~25421S        !JoHNGGUINA.N PHD OBA WALLSTREET                                                      isoMAIDENLAHEM1003                                                               iNEWYORK,NY10038                                            775.oo!

XX-XXXXXXX      lMPATHuc                                                                              j3464sw1u.owst                                                 !STE390           loeNVER.COso231                                              &2&.00;                -t                            89.13,
XX-XXXXXXX       kELLY J MEDWIO MO                                                                    lPO BOX 743986 DEPT 20102                                                        iATI.ANTA, GA 30374-3986                                     981.00;
                                                                                                                                                                                                                                                                            1

XX-XXXXXXX      leMERGENCY PHYSIOANSOFST LUKES                                                        i_~o eox36B6                                    ----------· !
                                                                                                                                    -····--·---l~s,u;~:r~lA=KE~CJTY=."ur~84=110-~368-•----:---.:c,1:::11.2=;0i:-----1s-2-.1•..;·;-----''i-----,.-,"!i------=-1
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XX-XXXXXXX                                                                                _ _Y_D_R_LD_w_e_R_LEVE_s________i-----t-"-00CF_DRD_~••-••_1_10_1_ _ _ _ _ _-+___1,~44=D.<JD""t-:----"944=.oo::;..\----l---'1.:::004=.00::;..'- - - - - - - ' - . J
                i1HTERVENTIONAL_PA_1N_MA_NA_G_EM_ENT_o_,_ _ _ _ _ _ _ _ _ _ _---t_••_,._M_ORSA
4&459310=,-ro~••-lA=NDM~AN~•~M~o~u.~c----------------1~113~ess~ex=sr~sre~204~-
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XX-XXXXXXX       OIAMPAIGN-URBANA HEALTHCARE LLC                                                      1631 E GREEN ST                                                                  !OIAMPAIGN, IL 61820-S7D1                  487.16!           -!
XX-XXXXXXX       SCOTT MIOIAELSCN DO                                                                   PO BOX 731587                                                                   !DALLAS, TX 7S373-1587                           (         1,360.00!           952.00!                          9s2.ool
XX-XXXXXXX      !JOHNAOEN!VI                                                                           POBOX890
                                                                                                                                                                                       1
                                                                                                                                                                                        BRIDGEPORT,WV26330-0890                         !          450.00i                                 -1
XX-XXXXXXX       JOHN HICKS MD                                                                        ;504EiHIGHWAY176YPSSUITI:100                                                     iMYRnEBEACH,5C29586-4503                                    767.00!           536.90j                           536.901

XX-XXXXXXX       ACUTIS DIAGNOSTICS                                                                    728LARKFIELDRD                                                                   EASTNORTHPORT,NY11731-61D8                                1,645.00;         1.ISLSO[               -!         1.151.SO

4~2796          ,SIMPLE lABORATORIES llC                                                               5960NMILWAUICEEAVE                                            j                 !OIICAGO,IL60646                                             45.00]             ZS.35:              -i           2535!
'XX-XXXXXXX     !WINTHROP MEDICAL AFFILIATES URGENT CARE                                               700 HICKSVlll.E RD SUITE 202                                                    !BETHPAGE, NY 11714-3471                                    260.QO!                 -l                                -1
XX-XXXXXXX      !SARAH KASPROWICZ                                                                      363 W ERIE ST SUIT£ 350                                                         OilCAGO, IL 60654-6903                                      35s.oo!           237.zs!                           237.25

~6-~6307 ..     \ROBERT GAINES PHD                                                                    loNESOI.ITiiBROADWAY                                                                __NS~,N_Y_JD_60~1------+--~•~·600Jl0=:~!~~~~~~~,~.~...
                                                                                                                                                                ----!----~·-··---rWH_rre_PIAI                                                 -;;:.oo:t-1_-_-_-_-_-_-:_-t+---_-_::,-,°'.3~0,:o~,."'oo:1t-l,....-_-_-_-_-_-_-_-_-_-_-_-1~
XX-XXXXXXX     ··T~ WELL FAMILY MED                                                                   12320WRAYRD                                                    1                 01ANDLER,AZSS22-4-3601                                      119.00:                 _j                        . 61.071
XX-XXXXXXX      fUBc:RTY HOSPITAL URGENT CARf                                                          8300NOIURotRD                                                                   KANSASCITY,MOG41.58--1104                                   194.00i           150.491               -l          150.49!
47-08706U       lntERESAHASSELROTPHYSICAL THERAPY                                                      lUOtERRY.sr                                                       STE2          .NEWCANAAN,CT,06840                                        1,400.00:          704.75i               -!          704.75!

XX-XXXXXXX      'DONALD H STRONG                                                                       PO BOX 6641                                                                     iCAROlsrRAM, 11.60197·6641                                  521.0D;           260.SOj               -I          260SD
XX-XXXXXXX      JOHN O'HARGAN DO                                                                       POBOX8624SS                                                                     ORI.ANDO,n32886                                  l          ts7.a8i                 -1                          157.881

XX-XXXXXXX       WILLIAM H NOAH MD                                                                     1725 MEDICAL CENTER PARKWAY surre 220                         j                 MURFREESBORO, TN 37129-2594                                 110.00;                 -!                                -1
47-1001..911     CORINNENOVEUALCSW                                                                     900 BROADWAY surre 403                                                          !NEW YORK, NY 10003                                         950,00!           s&0.ooi                          1480.00)

XX-XXXXXXX       ~ R DAAPM 1.AMSON DC                                                                  727 LAFAYETTE RD                                                                SEABROOK, NH 03874                                          255.00'.                -!
'!7-1036010      JACQUELINE RANORY                                                                     1150 BROOKSTONE CENTRE PK                                                       jCOLUMBUS, GA 31904-4577                                   1,767.66:          289.62\                           289.62
XX-XXXXXXX       USHA BANGALORE KR!SHNAPPA                                                             PO BOX 13695                                                                    PHllADELPHlA, PA 19101-3695                                 710.00i           S68.00f                           568.00
                                                                                                                                                                                                                              1
XX-XXXXXXX      !LATAI GRANT BROWN MD                                                                  PO BOX 1369s                                                                                                           ,
                                                                                                                                                                                       PHJlADELPHIA, PA 1S10_1•_36_,_s_ _ _ _i-             --~sn~oo_,.;---~•~,2.~oo~·l,...------t--~572.00=c=+-'- - - - - - l
XX-XXXXXXX      !ma.A BERLEY                                                                          !7SDDNW5TH.5rREET                                                                iPLANTATJON,Fl33317                                       2,6W.OO;           2,610.001                        2.610.00
147-1561315     !BENJAMIN KEITH MERRITT                                                                809 WIO::ERSIREET                                                               ]SANFORD, NC 27330-4158                                     580.7D!                                             459.90
                                                                                                                                                                                                                                                                            I
XX-XXXXXXX       QIRESTOf'HER PARRETT                                                                 11424 N STATE sr                                                                 lsavt0ERE.1L61oos                                           340..00'.           BS.OD)                          144.50i
                                                                                                                                                                                                                                                                                                              I
XX-XXXXXXX       MARTHA DENNEN                                                                         1260 IROQUOIS AVE STE 200                                                       NAPERVILLE. IL 60563-8548                                 2,210.00i          2.210.00!                        2,.210.00!
XX-XXXXXXX       BRYAND MYERSMPAS                                                                     .PO BOX 3907                                                                     [POPLAR SLUFF, MO 63902-3907                                150.00!

'XX-XXXXXXX      SOUTHEASTUNCALl.ASORATORIES                                                          !1B09 STAllON DR STE A                                                           PRATTVJUE, AL 36066-5669                                    560.00!           240.0DI                           560.00i
47•2015921       AARONLYLES                                                                            15933Q.AYTONRDSTE2D1                                          !                 iBALLWIN,M0630U-9998                                         76.23!            76.23~               -l           76.23

XX-XXXXXXX      lavANSAN.D£RSGARYPT                                                                   ll331LAKEDRSESUITE1~~---·---------->!_ _ _ __,lc'GRAN=~o~RAP='os~,~M~••~'l506-=~1~•'~•----+---~'~01~.oocc;-,---~63~6.~oo'ci----+----"•36=.oo=,1_ _ _ _ _ _~
47•2042846__    !ANTONIO DARIA                                  __________ .                         ..;ir'•-"••c:USH=Y~e."'R"'o"sr"e"s"'"'=---------+------+ls"'RAN=FO~RD=,g:•~640='-------+----''"'•o.=oocc,· ______-;-!_ _                                                                                -!
47-205135:c•:_...;!c:IPR:,cEM:::1:::ER::,;EM=E:::RG=,E,::NCY=CA:::R=,E.:,SEc:;RVl=CES=IN,___ _ _ _ _ _ _ _ _ _ _·· _,,loc:•::E.:.:M::,ED=,ICA=L=:CE"'NlE=R.::D:::RIVE=---------+----~i::,;FIIA=NIW=N",o"H"4""SOO=s-=,sc:84c.______   ~-i...                                                -~!
                                                                                                                                                                                                                                                  1,213.00! .... _ _ _ _34_._oo~;_ _ _ _ --~1,~11~•·~00'+]_ _ _ _ _ __,
41.2111345      lPAULRCARRUTH                                                                          452SPARKRDSTEB104                                                               i01ARLOTTE,NC2S20S1                                        1sso.oo'                                 _l         LSso.ool

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                                                                                                                                         AEU INTERIM DISTRIBLITION



~~~-                                 -~~~.
 !'J.i         h   -•         :;j,

XX-XXXXXXX    !STEPHEN F WORTH MD

XX-XXXXXXX    ILONDON TREATMENT CENTER OF RORJDA                                             !1Ss1 FORUM PL STE 300E                                                   ]wEST PALM BEAOI. FL 33401.2301   I   s,400.00!                -f
47.25419&2     MEUNDAGREENAELD                                                               JPOBOX862823                                                              ORlANDO,Fl32886-2823                    216.DOl          21&.ool            -i         21s.ool
XX-XXXXXXX    !DARIUSBUZNIKASMD                                                              h110WEST12mfSTSTE2lO                                                      ]PALOSHEIGHTS,IL60463-1571        j     961.53!          892.96I            -1         892.96i
~!.:~586133   !BRIANAJ a.AUS.S                                                               !667 PINE LAKE DR                                                         1TOWNSHIPDFWASHINGTDN. NJ07676    I     sss.oo:          sss.ool                       sss.ooi
F•c.'·=25=9=19=-70'--llsa=LA=BL,,LC=--------------------+!t=ss'"'~°"c.c"ccM"P~L~m=300=F~----------i----+wesr=~•AL=M=BEACH=~•~'~"=340=1--"2~307~---+--=-'•"'•400=.9!?.L_-·----+----l---'3,"ooo=.o=o"-!_____....:.-1
                                                                                                                                                                                                                      1
XX-XXXXXXX    ioesoRAHPRESKEN                                                                lPOeox1s1s&                                                               BELFAST,ME04915-4046                     98.641                                         s1.24!
F4"-7•~''°"=B7B=--i=MARK=cc•ccCASA=NT=Ac.cM=D----------------·--···-_-fll"PD~BO~X~800~U~-------------;-----j;--•"-'IAD-ELPHIA,PA_1,9_1_D1~-<XIU~~----,1,-_~:u~•~·~·oo~i~-----..-l____                                                                       1,934.101
XX-XXXXXXX    lDAvtDCRAWFORD                                                                 l,sISWATISRDSTElOG                                                        MADtsON,WIS3719-2726                    12O.ooj                -l           -!              .1
XX-XXXXXXX    IANNWATERS                                                                     hsoHAMMONDDRBLDG10STE100                                                  ATtAHTA.GA3032B                         11s.001          11s.oo!            -1         11s.ool
XX-XXXXXXX    1Mexandra Sacks MC PLLC                                                        !262 Central Parle West                                  jSUite lA        NEW YORK, NY 10024                      100.ool          100.00!                     (565.00) j

XX-XXXXXXX    ioERMATOLOGVSPECIAUSTSO                                                        !2520BROAOWAY                                             SUITE2D2        SANANTONIO. lX78215                    364231            227.43)                      120.ooi
XX-XXXXXXX    !SHAHZADZAKl,MO                                                                lus1SOUTHBROADSTREET                                                      lwAWNGFORD,CTD6'192               I     100.00!                -!                     100.00!
XX-XXXXXXX     JEFFREYRHUNEKMD                                                               139SCOMMERCIAl.CTSUITEE                                                   iVENICE,,FL34292-1938             !    260.00!           170.10!            -1        170.101

~?-3393862    ju01EA1.TH BROOMFIELD HOSATALLLC .. -··-·-···· ............... -... -·-·-......... __ ..._. ----1l:.:,PD0,B:=o=•-"m=1=•c.1_ _ _ _ _ _ _ _ _ _ __,f-----f'DALLAS==·· TX
                                                                                                                                                                                  "75373-3157                1,sss.01!                J                     1,252.05!
47-3354?46 ___ ·,!"15 RADIOLOGY MEDICAL GROUP 1Nc                                            !1so1 w OLYMPIC eL                                       ,ALE 1313        !PASADENA, CA. 9~~9               I    876.191           Z63.63i                      876.191
XX-XXXXXXX     AURORA BAY AREA MEDICAL GROUP UC                                              !31DOSHORf DR                                                             !MARINETTE. WI 54143-t242         I     653.081                j            -l        653.osl
XX-XXXXXXX     DONAlDPROVENZALE                                                              143365ARATOGAAVE                                                          DOWNEHSGROVf,,IL60515             !   2,232.0Di                -1
!XX-XXXXXXX    MAWDLABORATORY                                                                IPOaoX843t33                                                              KANSASCrrY,M064184-3133           I      2a.ao!           28.so!
47'"4029028    FAHAD F BAFAKIH MD                                                            !PO BOX S8310                                                             jOtARLfSTCN, WV 25358-0310               20.0o!                                         20.0D!
47~8260       jJORDAN JOHN MICHELENA MD                                                      !PO BOX 16889                                                             BELFAST, ME 04915-4063                 574.90:                 -1           -1
XX-XXXXXXX     JuueaoGERS                                                                    1874WHIPPLERDSUJTE200                                                     MOUNTPLEASANT.sc29464--8901       l     1as.00!                -1           -!        14s.25I
!474308614     MABRIALOQMANMD                                                                \POBOX17343                                                               BELFAST,ME04915-4068              I    210.00!                 J                            -1
474550259      JUSllNDCOOMESMD                                                               !POBOX1629l                                                               ;BELFAST'.ME0491S-4057            !    472.50[           236.25!            -J        236.25!
'XX-XXXXXXX    CARLJ RlotARD MD                                                              1204 N JAOCSON AVE                                                        !KAPLAN.LA 10541-3920             !      69.oo;           69.ool                        69.ooi

XX-XXXXXXX    !ONSITEMEOICALSUITEPC                                                          !9811QUEENS8LVC                                                           REGOPARK.,NY11374                     1,304.00!                -1                     336.811

XX-XXXXXXX    !ALAN J HEIDEMAN MD                                                            isso KJNDERKAMAO: ROAD                                                    ORACEU. NJ 0154~1500              :   4,884.0lli        2,442.001           -1       z.44z.ool
XX-XXXXXXX    !ADVANCED LABORATORY SERVICES uc                                               lsoo EPEYTON sr                                                           SHERMAN. TX 75090-0200            j    soo.oo!                                         soo.oo 1
 ,<:,:7-4:c9843=,:.7B,,_+DA::,Vc,ID:;Sl:.,LV::,ERST=,eBN::.__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _....;:l•==oo:cPD=RTl'-'O"'N'-'R=D-=m=1c:.1_ _ _ _ _ _ _ _ _--l-----•;=IAX=ERccDccNccKO~N""K"'DMA.=-"N-'-V1~1=-779-45l!7c=...c=---+--l---=soa=.6B=;-\_ _ _ _ _ .Jc----·l_____.!,_._ _ _ _ __ _ ,
1                                                                                                                                                                                                                                                       7
XX-XXXXXXX     FORTRESS EMERGENCY                                                            l231scoLLNSRo                                                             lsuNNYVALE, n1s1B2-4624           I   1,016.00:                -!                           -l
XX-XXXXXXX     ABRAHAMINFECTIOUSDISEAs:EASSOC                                                l2024EPINE'TREEBLVO                                       STEB            !THOMA5VIL1E,GA31792-5391               935.00)                -1           -i        935.00!
147.5150415    EMERGENCY PHYSIOANS OF CONNECTICUT PC                                         !Po BOX 638950                                                            ]□NCNNATI, OH 45263-8950              2,307.00j                -i                    2,211.BOj

XX-XXXXXXX    lsr FRANCS HEALTH u.c                                                          l2122 MANOtESTER EXPRESSWAY                                               COLUMBUS, GA 31904                    4,931.1s j         102.10!            -f        102.101
XX-XXXXXXX    ]JAMESHUNMD                                                                    J3500ouLUTHPARKLANEsum:220                                                ;DUWTii,GA30096-3230              l     370.00;                -1           -!        344.101

47-S430624     VVBREMlASS                                                                    lrosox&10S31                                                              ioAUAS.TX1s2&1                        7,460.761         3.502_04l                    7,460.76]

i:•:c::7-:,:54::S::6005=-:=Dle:Me.:ITR,,,1,,,NA:,.:G::..VIZl=HAS=-----------------"i,'-'440=•="""=SSAN==CE~o"-•~---------+----lil"•AR=•~••c:.OG~e,~•c:.t6006B-==13~•c:.•-----+---c:.soo=.007·!f----~2soc:.·=oocii_ _ _ _·-;-!--~-=ooc;l_ _ _ _ _ _-l
 XX-XXXXXXX     ROBERTBALlENMD                                ------i1'-'PDc,B:=OcoX=63:=B9=,7.:,.4_ _ _ _ _ _ _ _ _ _ _ _ _ _;-----+~"-N=O=N~!.'•0H45263--8974                       853.00j              767.70!      -1        767.70:

ic•=-'·-=55=2cc0139=......;iccMc=IOtAE=~LJ'-'HAR=TMA='-'"---------------                     ]2MARICETPLAZAWAY                                                         MECHANICSBURG,PA170S5             I     240.oo'.               _j           _!         240.00[
4&-1O19s68     oeNNISONHAMILTON                                                              IPOeox2s141                                                               !ovmLANDPARK,KS66225-6t47               329.ooi          32&.ooi            J          ns.oo!


                                                                                                                                                     EXHJBIT2


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                                                 Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 241 of 266 PageID #:11337




                                                                                                       AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                11.os!
4&-1299029                                                             !3305 N BAUARD RD STE A                                         iAPPLETON, WI 54911-9001                     1,360.DD!                1,360.00'

r-s-=1•=,..="'~r=====~----------------,l3=909=s~so~UTH=~EAST'E=~••~~~"'~---------+----t'!si=o=ux~•~AL1S=·=so~•='=1•=3--'-7=1B6cc.._____+-----="'=.o"'o';--!_____..:.•1-l---....ci---="i--------'-1
XX-XXXXXXX                                                             iPO BOX 809109                                                  OIICAGO, IL60681)..9109                        600.00:                        _j                                 600.DOj
s1-02!1B419                                                             PO sox 12993                                                   leruAST. ME 04915-4020                        900.00'.                  603.ool
St-0337029                                                             lossoOMEGADRIVE                                                 ;NEWARK,.DE197t3-207G                          l!JG.oo!
s1~10689                                                               l2900HEMPSTEADTnESUITE205                                     ·-f,lfVITTO==w~•=••=,~1=1756-='-',_~-----t----'=90=.00=+-i-----
                                                                                                                                                                                                   ..-.oo-l;-,---....ci----••-.oa-,l--,-------=-!


                                                                                                                                                                                                                                                         85,00i
52-W14lSB     !BYRON HAWORTH                                           ,SCIO GREENE ST                                                 OJMBERlAND, MO 21502-2779                      871.00!                  s:ig_7fi                                (619.76)
XX-XXXXXXX    DOCfORS EMERGENCY SERVICES PA                            PO BOX 62239                                                   !BALTIMORE. MD 21264-2239                      717.00!                   197.82~                                  :197.82l

52-116096S    ~-~ BRIAN ARlHURS MD                                     j900 FAIRMONT RD                                               iMORGANTCWN, VN 26501-3847                     132.00i                   132.00                        -1         132.00:
sz-1461734    PAUlA A oeCAN0100 MD                                     ,Po BOX 404433                                                  AllANTA. GA 30:384-4433                         46.ool                     .!
                                                                                                                                                                                                                32.ooi                                   32.00
XX-XXXXXXX    KESHAV PRASAD MD                                         !323 SPOTSWOOD ENGUSHTOWN RD                                    MONROE TWP, NJ 08831-8628                     322.00'                      -i                                    322.00
XX-XXXXXXX    LLOYD Al.AN HOFFMAN                                      l12A E68TH ST                                                   NEW YORK, NV 10065         _____,.___1.3S~_a._ao+i----'~·'~"~.sa'--+1----.-1                                    '-·~'•~1~.s•"t-------,
52-244127D    IHOWARD W ROGERS MC                                      !111 SALEM TURHPIKE                                             HORWJ0-1, CT 06360-7403                      ,,..s.oa-               1.796.00                         -1        1.796.aal
XX-XXXXXXX    IGARRETT COUNTY MEMORlAL HOSPrTAL                        !251 NORTH FOUR'TH ST                                           ioAKLANC, MC 21550                              35.ool                          .!
SZ-8781514    iSHAAON N KIUHARA PSYOiOLOGIST                           633 aOVE ROAC                                                  isrATEN ISlAND, NY 10310                       130.ool                           -1
54-055380S    CARIUON NRV MEO CSNTER                                   PO BOX 826761                                                  1PHltAD£t.PtUA,. PA 19182-6761                 msol                      199.sa:                       ·i
XX-XXXXXXX    BRUCE HAYSE MD                                           PO BOK 1884                                                     JACKSON, WY 83001                               60.DO!                          -!                    ·'
XX-XXXXXXX    ASlNA MADISON MD                                         PO BOX 100767                                                  ,ATLANTA. GA30384-0767                         533.00~                           -!
S4-0854787    ,fl'JESTDIAGNOSTICS NIOiOLS lNSTl11JTE. INC              114225 NEWBRCOICDRM                                             OtANTILLY, VA 20151                           283A6]                     4S.68i

                                                                                                                                                                            +----=28=•'-'··=6',_----....ci·_;,l----'+---==;-----....:-,1
i,S4-0=88=S7c:,58::.._..jl:,E:.,ffR,:f:t:.:...,_le:L""=AU.0=------------------f2"'44"'5'-'AAM=Y-'-NA=VY.,_D=•c....._ _ _ _ _ _ _ _ __,._ _ _ _ _ ,;.:ARUN==-=="•c:Ve;Ac,22.,2"06-:o2,:90S=._ _ _ _
 XX-XXXXXXX  lPED1ATR1CASSOOAT£SOFRI01MOND~c.~-----------+'~lli=TH~RE~•~c~H_o_PT_R_OA_D_ _ _ _ _ _ _ _ _--fls~o_1TE~10_1_-;l_.,_CH~M~o~•="·~V~A~23=226-=3~64~3-----r---~r,~o~.o""oi,__ _ _ ___,_ _ _ _+-___-;______--I
XX-XXXXXXX    !JEFFREY E CYR ODS                                       SS03 PATTERSON AVE                                             !RIOIMONC, VA 23229                           1,oss.00)                          ·i

XX-XXXXXXX    lsRADLEY=.JCAS="c:'=ON.:.:M::,O::..__ _ _ _ _ _ _ _ _ _ _ _ _ _ _+•o=BOX=83=10"--------------1-----+l"~-=o"'KE"',-"vA-'-2'-'40""1'-'•-------+---'=;n=s.00=+i_ _ _ _                         --'1.2=••=.sa=i-!-----4---===i--------=---1
XX-XXXXXXX ·1DAVIC GARZA                                                PO BOX 12387                                                  !ROANOKE. VA 24025-2387                        119.00I                    37.35l
                                                                       1
XX-XXXXXXX    !PROFESSIONAL THERAPIES OF ROANOKE INC                    1421 3Rosrsw                                                  :ROANOKE. VA, 24016                            69s.ool                  43s.ool
                                                                                                                                                                                                                                              i
XX-XXXXXXX    PATIENT FIRST RICHMOND MEDOAL                            iPO BOX 758952                                                 !BALTIMORE. MD 21275                           394.00i                  279.511                        ·i
XX-XXXXXXX    lANNA MAGEE                                              !600 PETER JEFFERSON PKWY 230                                   ICHARLoTTESVIUE,. vA 22911-883s               241.00!

XX-XXXXXXX    /DOMINION CIAGNOSTICS UC                                 1211 ORCUIT OR                                                  NORTH KlNGSTOWN, RI 02852•7440                595.00i                           -1
54-192222s    !JOCELYN AJAlA Ma                                        !issomwN CENTER DR sum 110                                      RESTON. vA20190-ss98                          210.ool                  210.00!

XX-XXXXXXX    !wANTAGHPECIATRICSPI.LC                                  f2415JERUSALeMAVE                    ........   _,SfE204   --~NORlHBEUMORE,NY 11710                           425.oo!                           J
XX-XXXXXXX    lseRG10P£NE1RAS00                                        l2zsGORDENSCDRNERRDSTE1c                                       1MANALAPAN,NJ0112£i                            410.00:     ··--··--·--··-··--·   ~f-..........         -1         349.01'.
XX-XXXXXXX    IARM1NKA.MYABMO                                          !POBOX4046                                       I             )SPRINGFIELD,.M06~.~808~-4046=-----+----~'42.=00c.,:_ _ _~===64i                                       -;         2=22~~tr-------1
                                                                                                                                                                                                                                                            ...
SS-0357045    !DAVID M NAU.Y                                           lsoo WHEELING AVE                                              iGlEN DAlf, WV 26038                           136.00i                   136.00r                 -··- --,·   ---~36.oo!
                                                                                                                   EXHIBIT2

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                                                                                                                                 Al:U INTERIM DISTRIBUTION




55-0563l06                                                                                     i1305 WEBSTER ROAD                                                                                  715.001

SS-0589037     JAMESALLEN PAYNEPA-C                                                            h01MARQ.EYD_R_ _ _ _ _ _ _ _ _ _ _-;------;---~---------;----=125=·~00'-,l_ _ _ _ __,__ _ _                                     --1·_,. · - - ~ = t - - - - - - - - 1
Fs"'==9-=25=96~+'CA~M-"O-=EN~O~N~GA~U-=LEY~M~ED~ICAL~CE~•TE~•-IN~C_ _ _ _ _ _ _ _ _ _ _+l~D003=_W~El!STE=~·-"°~------------;------1~~~-=~~=~---;----"730=.so=.l_ _ _ _.cc7-=6.3-=7+1----i----=::c:+-------I
XX-XXXXXXX     OiARLES r BROPHY oo                                                                 PO eox 763                                              MORGANTOWN. WV26507--0763               220.00:         220.ool
XX-XXXXXXX     J KEITH WADE OD                                                                     405 LOCUST AVENUE                                       !FAIRMONT, WV 26554                     205.001         122.50[
S5-06S2732     !DAVID ALAN BOWMAN MD                                                               40 MEDICAL PARICSUITE 404                 Nr-
                                                                                                                                         .....         ·---l~EEUNG, WV 26003-6292                  685.00 i        299.32!

sS-0612861     lHARRYRIOiARDREYNOLDS                                                           l234sCHESTERAEU)AVesum::204                                 owu.esroN. WV2S304                    1,5so.ooi         884.9CI!
SS-0674259     IGLENN R GOLDFARB MD                                                            !2345 CHESTERREU) AVE STE 303                               owu.ESTON, WV 25304-1062                590.00J         690.00j

5.5-0698511    !Vlct'ORAWOODDO                                                                     24HOMESTEADAVE                                          WHEEUNG,WV26003-6638                     42.00!          16.66:

S5-0709223     GRACE McaUNG FALBO DO                                                               PO BOX 12415                                            BELFAST, ME 04915-4015                  188.oo!         122.32!
SS-0711779     PAULFFRANCKE                                                                    ,1201WASHINGTON5rE2D3                                       !otARLESTON, WV25301N1841                S4.63!          43.DS!

FS5--0=73000==•'--llTEA="5=PccHYScclc.=CAl.=TH"'E""RAP'-=-'-Y-"CE"N'-"TER=IN=C~------------fh=91-=0c..cTEA=YS~V=All.E=Yc..cRD~----·-------,-----IFHU-=RR=ICAN=E,WV,~,2S=52=6-------i--i---"79"'0=.00=;;.__ _ _-=69=Z.=57'-l!----+---==:.+-------1
~~!38653       !M1CHAELRAMSAY                                                                      POaox671                                                ll.EWISBURG:·~24901-0Gn                  54.oo~          54.oo~                 54.00i
SS-0765456     ICARLSM~··--              ···-········- --··-·· __ ............. _ _ _ _   ....- .....i1sosGRAND CENTRAL
                                                                                                                    __   _ _ _ _ _ _ _ _ __,._ _ _ _"""I_VI_ENNA,~~wv_2_61_0S-_1oa_1_ _ _ _ __,f---· 74.00i.. _ _ _ _ _
                                                                                                                        Ave                                                                                             -+-----t---1~•=·00.c.;i__,-------1
XX-XXXXXXX     JACKI KRAJEKIAN DMD                                                             !103STATION PlACEWAY                                        jHURRICANE, WV25526                     1,063.00!        874.DOi                1,063.001
                                                                                               14216MACCORKJ.E AVESli:                                                            _ _ _ _ _+---~265=.00=,-i---~1~83=.,=7;-i- - - - ; - - ~ = c + - - - - - - - 1
                                                                                                                                                           CHARLESTON, WV2S3_04-_2502
XX-XXXXXXX     GANIM HOWARD

SS-0783189     iCYNTtDA WALSH                                                                      1322 PINEVIEW ORM:                                      !MORGANTOWN. WI/ 26505-0710            200.00!          124.64(
                                                                                                                                                                                                                                 _,
sS-0796033     e10PSY DIAGNosncs                                                               IPO eox 602532                                              OIARLOTTE. NC 28260-2532                688.oo!         184.20!
55-Q798883     GEORGEAMATUZZI                                                                  !419MAJNST                                                  RIDGEFIB.D,C1'D6877                     620.00!         279.oo!       -1
XX-XXXXXXX     PUTNAMCOUNTYCOMMISSIONERSDEP                                                    1POBX808                                                    !WINREU>,WV25213-9636                   398.00(                 '
                                                                                                                                                                                                                          -1

XX-XXXXXXX     SHEPHERDSTOWN ARE DEPARTMENT                                                        836 4TH AVE                                             !HUNTINGTON, WV 25701-9989              632.00!                -!     -,
XX-XXXXXXX     NORTH CAROUNA BAPTIST HOSPITAL                                                      MEDICAL CENTER BLVD                                     WINSTON SALEM, NC 27157-0001          2.095.00l        2,095.00\      .I
F56-058-=-==•2,,••,_+PllT=COU=N1Y=M=E=M=O=RIAl=H=O=SP1T=•ccL_ _ _ _ _ _ _ _ _ _ _ _ _-rlPO=•~o•=B44~7~-------------;----fG=•e=eNVl=LLE=,•~c~2783=~"~'44~7~----+---~==oo=,-:---~289=.so~',----+----=28!1=.a=;o1--------1
XX-XXXXXXX     DURHAM RADIOLOGY ASSOC. INC
                                                                                               I
                                                                                                   PO BOX 13166                                            ROANOKE, VA 24031-3166                  243.00;                -!
s6-094823s     GREENSBORO PATHOLOGY u.c                                                        IP a eox 602313                                             OiARLOTTE. NC28260-2313                 322.001         322.ool                322.00

F=-=-==S4B0=3'--Fsrev=•c.c•-=CA-"m=•--------------------,~-!ox 12408                                                                                       !ROANOKE, VA 24025-2408                 212.ool         19usi                  191.15[
XX-XXXXXXX     WAKE RADIOLOGY CONSULTANTS. PA                                                      PO BOX 19368                                            iRALElGH, NC 27619.-9368                 55.001          46.75!                 46.75!
56-0!:194806   MARIC.AADICINS                                                                      POBOX30750                                              IGREENVILLE.NC27833-0750                 2!1.00!         26.10!

XX-XXXXXXX     THE RAlflGH MEDICAL GROUP PA                                                    l3S21 HAWORTH DR                                            RALEIGH, NC 27609                       538.00!         538.00!                538.00

XX-XXXXXXX     TODD A GOODNIGHT MO                                                             lpo BOX 7946                                                !ROCKY MOUNTNC. NC 27804-7946           498.00i         398AO/                 398.40

s&-1.u5889     lGLENNMSTAu.Mo                                                                      POBOX16S73                                              ic-tAPaH1u..Nc21s16-6s73                349.30!                -!      i       34930j

s&-1227652     !M1otAELAlAPUENTEDO                                                             lroeox63376                                                 01ARLOTTE.Nc2s263-3376                  820.00i         492.ooi                492.00,

F5"-6--=12c..c429=BO~-li~oHY=AN~P~~-------------------~l2~025=f~RON=TlS=PlAZA=~BL~VD~SU~ITE~200
                                                                                             _ _ _ _ _ _ ___,__ _ _~!~_INSTON SALEM, NC271D3-5663                                                  3ts.oo!         178.34!                178.34!
56-16227;;<) ...... !TAMMY LYNN MORRIS LLOYD MD                                                j1801 DOCTORS DRIVE                                         !SANFORD. NC27330-5067                  175.00)                .;     _1       175.oo!

S6-171431B~····~~M
                 __o1_co_m.e
                         ____________________                                                  j,..PD_Bo_x~"'••=••'-------------+-----;1c.c•TI.AHT=='-=GA=303=84-=563=3-----+---C..ns=.oo0 ,l'------=60'l=.oo=i-; --·--·----+··---'609=.o=ot-------1
s&-1734941     !JAMESRPOSTMD                                                                   l3101wAJCEFORESTRosre100                                    RAlflGH,NC27609-7340                    2ts.oo!                -:     -1       189.39!


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XX-XXXXXXX

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SS-1989SS8

XX-XXXXXXX
              ]NEAL TAUB

              WIWAM ARO-HE GRIMSI.EY JR 00

              !MECKLENBURG EMSAGENCY

              JEFl=REY WELUNG'TCN SCAlfS MD
                                                                                  -~!-'.
                                                                                  !Po BOX 6.U84

                                                                                  !POBOX489
                                                                                  jpe BOX 741033
                                                                                  6216 FAYETTEVlllE RO SUITE 102
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                                                                                                                                                        otARLOTTE,NC282&3-3184
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                                                                                                                                                       jATI..ANTA. tiA.30374-1033

                                                                                                                                                        DURHAM, NC 27713-6287
                                                                                                                                                                                               !              815.00;
                                                                                                                                                                                                               so.ao:
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                                                                                                                                                                                                                                                                          -1

                                                                                                                                                                                                                                                                   193.26
S6-20375126       KIM HOOVER                                                      !1102 5 HAWTHORNE RD                                                  WINSTON SALEM, NC2710.3-4016                          120.001              120.00!                         uo.oo 1
XX-XXXXXXX    !STEPHEN M YEH MD                                     jPO sox 601504                                        j                 !OIARLOTTE, NC 2B2&0-1.S04    434.oo!  -:
"2114902.          .•O = N ~ < ~ J ~ O Y N = E R ~ M ~ D - - - - - - - - - - - - - - - - - f = = = = - - - - - - - - - - - - t , : - - - - f ,
              j-W~.,~                                                                                                                                    =======------+----===-----+----'+----+------=--!
                                                                                                                                                                                                !I,




F====-+                                                                                                                                                        j _ _ _ _1_25~.00_,..t------,--~125=.00"'t-!- - - - - - - I
                                                                                                                                  ..=530=------,----'1:::60.=007
      1Vcc=~·•===="-----------------fi3=900=Bc.cRO=cWcccNcclN°"G'-'P-"L'°STE=200=----------+-----F[RA°"lE=lc=GHc,,-"NC"-'2"'7-"609=
56-21G6645        EVAMANITIUS                                                     l1os31 FOREST PINES DR STE110                                         RAtElGH, NC 27&14-9998                                tss.oo;                                                       !
XX-XXXXXXX    lSHERRV\.A MCPHEE MD                                                iPOBOX601067                                                         !OiARLOTTE,NC28260--1678                !              171.00;              150.48(                         150.48/
XX-XXXXXXX    :AEROFLOW HEALTHCARE                                                316SSWEET'EN     CREEICRD                             !               ASHV1UE, NC28S03-211S                                 410.20i               70.901                          70.91'.);
XX-XXXXXXX        RODOLFOCREYESMO                                                  100 S lUTH STREET                                                    UWNGTON, NC 27546-6690                                458..00)                                            40L00

XX-XXXXXXX        PAULJ CAPRlom MD                                                ho33 OGDEN AVENUE surre 210                                          •USLE. IL 60532                         !              iso.oo!                    .!                               .!
S6-243682S        ANJAUlHUKRAL                                                /   PO BOX 2190                                                           ORLAND PARK,. IL 60462·1085                       Ul0.00 j                       -!                      1,220.00
S6-2506432    luLTitASOUND OF BB.VIDERE                                           ,1006LOGANAVE                                                         BELVIDERE, IL6WD8-3855                                517.oo:              s11.oo:  '                     517.00

XX-XXXXXXX    :NAlHAUEALETHEA CAMPBEU.                                            !Po sox 6300                                                         !PROVIDENCE, RI 02940-6300                             14s.ooi              14s,00i                        145.ool
XX-XXXXXXX    MATTH~-~ MAHONEY MD
                                              ·----·-·---·-- ---                  in12166THSTREETN                                     l               !LARGO,FL33773-1Bl2                                1,146.ss!                                               277.37j

XX-XXXXXXX    GASTON EMERGENCY TRANSPORT
                      ======--------------t•~IS~•~o~•~"'~"~'"="LA~•~o~sr~-----------,1-----;c·GAST=~o•~JA.=•~c2~so~5~2~-2~17~•------t---~1=.2B4=.00=-!                                                                   ------+-----i--~840=.oocc+-I--------1
S6-6001291    TOWN OF MOREHEAD crTY FIRE & EMS                                    PO BOX 863                                                            LEWISVILLE, NC27023-0863                              604.25!                                                     -l
XX-XXXXXXX    GREENVILl.E HEALTH CORPORATION                                      POBOX9098                                                            IGR£ENVILLE.SC29604-9098                               10s.oo!              10s.J                          1os.ool
XX-XXXXXXX    ;SlEPHANIE f SMITH-PHILL                                            ,s10 LONG POINT RD STE 200                                            MT Pl..EASANT,   sc 29464-7940                         94.oo;               94.ooi              -l         94.ool
              I
XX-XXXXXXX    iJOHNGRIZMO                                                         i22971HIGHWAY76E                                                     !a.iNTON,SC2932S-7529                                  310.001              310.00!              .!        310.00,

XX-XXXXXXX    iPRADEEP SINGH MD                                                   196CARCI0LOGYDR                                                      IRooc:tt11..L.SC29732-1114                         1.01s.ooi                206..11!                       206.11
57•1095907    !ANESTHESIOLOGY CCNSULTANTSOFTHE U                                  PO Box zsss                                                           coLUMBus. GA 31902.2Sss                               85s.oo!                    -l                       333.72i

XX-XXXXXXX    \atRISTOPHER H CRASTREE DPM                                         POBOX337                                                              FOIITMILL.SC29716-0337                                970.00!                    ~              -I        467.2Di

XX-XXXXXXX    KATHLEEN JONES DC                                                   78700LENTANGYRMRROSUITE208                                           icoLUMBUS,OH43235                       i              2S0.00 1             280.00~                        280.00
5&-0566200             LONG HOSP EMORY UNIV
              CRAWFORD ======"---------------J'°=BO~X~4068=~64~-----------+----:"AT1.AN1==A~GA~30=38~4~6~86~4------+--3~Z=,3~83=.34+!                                                                                    ---~508.00=-=i!i----+----"508.00=-=i!f-------l
58--0566213       PIEDMONT HOSPrrAL                                               rl968 PEACHTREE RD NW                                                !ATIANTA. GA 30309-1281                            1~.oo!               1,336.30i                         1,336.30

XX-XXXXXXX    RYANMNADElSON                                                       lu40JESSEJEWcu.PKWYmsoo                                              iGA1NESV1LLE.GA30so1                                   37&.ooi                                             376.oo
~!:;~194   \HARLAN MCMIUAN STARR
       =---,p======----------------+!P~O~B0=•~"=252~--------------,1-----+·=·"~-=-~M~•~04=•=1S-1D0~=·------+--~2=•3.0=0.,.l    _ _ _ _ _-+-i -----i---'1"'79'".7-"5i-!--------1
XX-XXXXXXX !RADIOLOGY A5SOCIAlES OF MOULTRIE       717 20THsr                              COLUMBUS, GA 31904-8920   1,843.DO!           ~              -1     1,843.00

58-1251D17    GORDON L BRADY DMD                                                  5243 SNAPFINGER WOODS DR SUITE 106                                    DECATUR, GA 30035                                     820.00:                    -l
58-U77484     THOMAS EARL KEHL MD                                                 1062 FORSYl11 srREET                                      SUITE 38   !MACON, GA 31201·8640                              1.0G4.00!                lSS.901                       (185.90)

XX-XXXXXXX    NATIONAL EMS                                                        PO BOX 1289                                                          .CONYERS, GA 30012-1289                 !          2,805.70!            1.814.ZOj                         1.814.20
58•1287085    MELINDA GREENREW DO                                                 POBOX862S23                                                          !oRLANOO,FL32SB6--2823                                 417.00;              417.0o;                        417.00

SS..1288911   DAVIDE DOLEZAL DC                                                   2675 BEAVER RUIN RD                                                   NORCROSS, GA 30071-4136                               49S.oo;              35Ei.7Si                       356.78,

58--1345886   !MINOR C VERNON                                                         15                                                                             1                  5048                              1    355      0                     13
ss--136no1    i ROSWELL PEDIATRIC CENTER                                               =-=:"'=,o'-'G:"":"':a"'•:c.cu•cc:.=A----------flsrc.Ec.cC54=5~--ll""'""MA'-':.=•·=;:.cAc:,..=~·-=:.,=~5"------+-•!___:,c;c:,o=:~,,o+____ __._
                                                                                  ;:j:_"'•                                                                                                                                      _.,_        ,_:_ _ _   __,:l__ _.s-':"':"·~=):i===========::::
58.1375939
              I
              !~~gND I GRIFFIN MD                                                 .,..15_ss_5_PEAC_KT_RE_E_o_uN_woo                _ _ _ _ _ ,J._ _ _ __,1_ATIA_Nr_A.~"•-•_o_34_2_-1_10_,_ _ _ _ _~ - -
                                                                                                              _ _o_v_RD_N_E_5u_ITE_I!lO                                                                       243..00~             Bo.ooi                ·I       190~,_i_ _ _ _ ___,
XX-XXXXXXX    AROiBOLO HEALTH SERVICES                                            [po eox &20                                           ]              !THOMASVILLE GA 31799-0620                         1   653.34!                                   .!       1.653.34!


                                                                                                                                      EXHIBITZ

                                                                                                                                            219
                                                Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 244 of 266 PageID #:11340




                                                                                                                          AEU INTERIM DISlRIBLITION




!!~' ~AN~P~:!
58-1408S93    !ROBERTWJACKSCINDDSPC                                                JPOBOX1696209MIMOSAORIVE                           !                 THOMASVILLE,GA31799                               656.00j                      .!              356.00;
XX-XXXXXXX    !KaU BAENDER MD                                                       3379 PEACHTREE RD STE 500                                          lATLANTA, GA 30326-1418                            237.00!              15L60;                  1SL60l
SB-1484895    jDOZIER HOOD                                                          11240 HWY 54 W STE 710 BLV                                         !fAYcn'e\llllE, GA 30214-4565                    7,174.00:             3,263.771         -i    3,263.771

FSB-=1•=•=17-=22=----+IWl=WA=M'-'LE=E~W>t=ltocAc,KE,cR-=0-=-D---------------;\.?.;4 BELLEVUE AVE                                                        DUBUN,GA 31021-4846                               1E6.00'                      _,       _I     166.00

5!-'~~~~      jADRlANA M ROORKiUEZ                                                  !PO BOX 678700                                                      OAUAS, TI( 75267-8700                             293.00 !             293.00j          _j     293.00
SS-1578080    !CARMEN EUSA LABLANC                                                  1800 HOWELL MllLRD STE4S0                                           AltANTA, GA 30318-2508                            185.00!              1ss.ool                 1ss.00\
XX-XXXXXXX    /JOHN A ANDERSON                                                      106 WESTSIDE CR                           _   ---+--- __ J~UAHOMA, 'TN 37388--3280                 ·········-···-·--·-·---"'45=-00=-;'_ _ _ _ _   _,-!____-+-1----='1=7.4~.,---------<
ss-1626709    beFFREY"•""BRANT==M'---o-----------------+'!P=l<WV=SE=STE=20=1'---••-2-,0-,-,-.AN-•-HAR-•-is--                                           !CARTERSV1U£,GA30120-2142
                                                                                                                                                                                                          130.ool              12,.111                 121.,1
!SB-1694098   NORTI-IEASTGEORGIA MEO CT                                             743 SPRING STREET NE                                               !GAINESVIU.E, Fl30S01                              829.oo!              s12.01?                 s12.01
S8-1703171    lASRAHAM SMClNTOSH MD                                                i,229 WHEATSTREEr NE                                                 COVINGTON, GA 30014-1566              i           663.oo!              4S7.86J          -l     4S7.S6
SB-1749078    lRDBERTMMCCORMACMD                                                   !roBOX3293                                         !                 INDIANAPOUS,IN46206-3293              !           440.oo:                      -!                    -I
ss-1195627    lUSAs.ROGERS.M.D.                                                    lis2lFAJRRD                                                         isrATESBORO,GA304sa                                250.ooi                      -!              2so.00!
ss-11ss1ts    ,GEORGIA EMERGENCY MEDICNE SP                                         PO sox ss20s                                                       loKLAHOMA CITY. OK 73143-5209                    3,189.ool            1,063.DDt                1,617.131

l"5~8-=179~8=12=8~-!iGE=N=ERAL=S=U~RGE=ONS=O~F~GW=IN~N=ETT~--------------+'1800=~TR~E~E~IAN~E~RD0 _STE~33=0_ _ _ _ _ _ _ _---t_ _ _ _
                                                                                                                                                     7 SNELLVlu.E,GA30078-4~7~00_ _ _ _ _-t--_~9~,62S=.OO=!-------t-i----+-----·;-!_ _ _ _ _--l
~184~268      IKIMBERLYTWILUAMS                                                    lPO sox 12346                                                       ,BELFASI', ME 04915-4014                           185.ool                      -I       -i           -!
ic:ss-=1854=S0::c2=----1lE::.:;Rl:.,Ce:Me..:lf=HM=•:.::•c::M:::D:___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+l',,"-75=HANSE==1t====SE-=-------------+------+!,=CA=1Ro.GA3982B-3071                                1,950.ool            1,2Ss.4s!                1,255.45

XX-XXXXXXX    NAYEEM AKMAL                                                          2020 HONEY CREEK PKWY SE                                           !co~RS, GA 30013-2974                              229.00!                      )
XX-XXXXXXX    JERRY K HALL MD                                                      !PO BOX 80199                                                        PHII.ADaPHIA, PA 19101-1199                       98LOD;                       -i       -i
ss-1966881    /JONDEWITTE                                                          l,oBOx7547                                                           AlHENS,GA30604-7547                               126.00:               82.571
ss-.1981690   IAuGUSTAENT                                                          l340NORTHBELAIRRC                                                   ,EVANS,GA30809-3000                                ,01.00!              632.SB!          -1     632.SBi
SS.2031904    WE USTAR KENNESTONE HOSPfTAL                                          677 CHURCH sr NE                                                    MARlETTA, GA 30060-1101               !           362.59!                               -i
ss.2061094    STEVENJDNESMD                                                         POBOx2019s                                                          BElFAST,ME0491S-4096                  I           253.ooi                      -!       -l     253.ooj

ss-2089815    lvAl.ARIE MIOffLI.E DOZIER DDS                                        251s us HWY 319 SOUTH                             f                 TitOMASVlllf, GA 31792                            915.00!                      -'              915.00

sa-2104402    !TERRY CREWS, oc                                                      1864 THOMPSON BRIDGE Re,.,                                          GAINSVILLE, GA 30501-1119                         480.ool                      -1              480.00

SS-2130736    GEORGIA BONE ANO JOINT SURGEONS PC                                   \15 MEDICAL DR NE                                      srE 101      !CARTERSVIUE, ~,~·30_12~1-----+---··~08~6~.oo,i,---_ _ _ _
                                                                                                                                                                                                                82_6.Z~•-;!----t----~·2~6.2~·+--------t
SB-2140987    FREDRICK MARK BAKER                                                  /97 DEEP SOUTH FARM RD STE 1                                        /elAIRSVILLE. GA 30512                             110.00!               ss.ool                 110.00J
ss.2152587    MARKJ GtACCUM oc                                                     1415 GORDON AVE                                    /                itttoMASV1U£, GA 31192~3                            90.ooi               90.DOj                  90.00
SS-2238919    ATIANTA GASTOENTEROLOGY ASSOC                                        lsso PEAOflllEE STREE NE. sre 1620                 !                jAllANTA. GA 30308                                 300.ooJ                      -I  '           139.88
XX-XXXXXXX    SOUTH GEORGIA PSYCHIATRIC AND COUIIIS CENTER                         !2104 NOAK ST                                          BLDG B3      jVALDOSTA, GA, 31602                               422.0&]              358.75!                 3sa,sl

ss-224012s    fPATH LAB CONULTANTS OF ATHENS                                       loePTOF PATHOLOGY                                                   !AlHENS, GA 30606-3712                              78.ool
                                                                                                                                                                                                                                     I _,
58--2304502   !PRO ACTIVE THERAPY OF SOUTH CAIIOUNA INC                             PO BOX 676942                                                      \DALLAS, TX 75267-6942                           1,730.00!              874321
                                                                                                                                                                                                                                                 ;
ss--2353352   ILESUe GIARDKOFFSCARLETT MD                                           !2861 TRICOM STREET                                                 N 0tAR1ESTON, sc 29406-9172           !           210.ooi              10s.ool          -1     105.00:   '
XX-XXXXXXX    fAHI DECATUR L1.C                                                     lz774 NORTH DECATUR RD                            )                /DECATUR, GA 30033-5910                          2,225.00)                                      750.00/   '
sa-2425167    !GEORGIA DERMATOLOGY SPEOAUSTS                                        1w NEWNAN CROSSING BYP                                sre A        lNEWNAN, GA 30263-2384                             350.02\              t18A3l                  118.4S!
ss.2459554    iJEFFREYBLUMENTHAtM.~ - · · · · · - - - - - · -                      i993JCHNSCN FERRY RD NEST                                           [ATlANTA.GA30342-.4780                             180.ool              t7Lool           _i     17LOO
58--248210B   lPRAKASHJ THIRUPPATHI MO                                 ----+-!23_23_W_H_ITTLES
                                                                                           __          _ _ _ _ _ _ _ _ _ _ _+i! -----,~~UMBUS, GA31909-3011
                                                                                               EY_R_DA_D                                                                                                  165.00!               9657!                    96.57!

5~2488164 .lLOLJISB.JCA=US"'-'M"'D'---------------------ii'-•0=•0~•~•~34~1so     0                 ~-------------,-i___                                                          ~78~D~------+---==oo---;_ _ _~3~64.00=+-i- - - - - - ; - -
                                                                                                                                                       ;-•-nA~ITT~A,~G~•~•~t193=..                                                                    -=364.=ooc;i--------t
ss.2501121  lN10iCLAS MlOfAEL CAPITO MO                             lPD ecx 8425                                                                    ·······1eeLFAST. ME 0491.S-8425                       687.ooi                               .!     687.oo.



                                                                                                                                     EXHISIT2
                                                         Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 245 of 266 PageID #:11341




                                                                                                                                 AEU INTERIM DISTRIBUTION



l~- ·;,;Bi~~~~'::.::::..:t~ -~-,~ ,- -~:·::~·~: -e:.;;:--··
ss.2scs201       isuMMrr ENDOSCOPY CENTER. LLC                                          j9scou1eR RD NWSTE4D"",s'---------t-'----fi"-"nANT='-'.,"-G-=A"3""0309=•-=175=1------;---=1·=100=.oo::=;.;_ _ _ _ _ _- ; --'----C-1,-___..;•+I------'--1
                                                                                                                                                                                                                                           7
XX-XXXXXXX      1WENDYTAU.EYMD                                                          [POBOX5623                                                            !BELFAST,ME04915-5600                              184.00;
XX-XXXXXXX      ,CYNTHIA Bl.AIR CHAMBLESS MD                                            !sso1 PEAKE RD BLDG 200                                               !MACON, GA 31210-8044                              930.ooi             445.ool            -I        (440.oo)i

SB-2559300       JOSEPHWALRATH                                                          jsaoMTVERNONHWY                                       !               IATIANTA.GA3032B-4294                            1,400.00~             616.25!            -!            616.251

FS"-8-25=63008='--+A-":nA=NTccA:cHccEA~RT=SPf=CA~USTS='-'ll=C'---------------:l,l'-'468=M"'ON"'TREAl=="=-"-----------t-i----+
                                                                                                                            i'T-=U-=O<El=•-=GA"-3=0084='-------+----2=65=,=00:;.i_ _ _ _ _-+-----"-li--------lt-'- - - - - - - - 1
                                                                                                                                                                                                __1_ _ _ _7 , -_ _ _27~D_.oo_,!_ _ _ _ _.,_._oo..,i_ _ _ _+------+-------l
Fss-=-2=""=1=•=83=--+lR:::•:::•u=•c.c•=-lASTl=c=sc=ue.:•G=E'-'RY'-'L=Lc'----------------l'l2SDO=-="'"-"-="u=•ccGc.csrc.__ _ _ _ _ _ _ _ _ _--llsre=•=°'=---:--IF1an:::uc:•:::sw:::1C1<=•GA_3_1s_21M21
,_s_s-_26S~D3~ss_ _,I_CH_R_1ST1N_E_R_EN_•_u_o_PH_o_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,.221 WHANSELLST                                             !                       !THoMASVt~. GA31792                         16s.oo:             165.ool                16s.oo!

  XX-XXXXXXX          WOOOSTOCKENDOSCOPYCENTER                                                      1POBOX537016                                i                       !A11ANTA.GA30353-7016                     1.200.ooi           1,200.ool              1,200.00!
  XX-XXXXXXX          GLYNN CO FIRE DEPT                                                             PO BOX 22514                               1 -----flt-'AM=PA,=Fl-=3:c36cc22=-=25~14=------;!--~=6Sc-=6.=2Sc,l_ _ _....==cc."-l----t----"'=:::_:,._!-------I


58-600083S       GWlNNm CCUNiY ARE & EMS                                                 PO BOX 934826                                                        !Al1ANTA. GA 31193-4826                          :Z.0'10.00!
XX-XXXXXXX       A8RAHAM8ALDWINAGR1CULTURALCOLLEG                                       lSDSDsPRINGVALLEYRD                                   I               !DALLAS, lX75244-3909                               ,2.ool                   -!                          02,ooi
XX-XXXXXXX       !coNSOuDATEO LABORATORY SERVICES                                       !PO uox 865234                                        I               loRIANoo, FL32886-S234                             468.0o\             109.19!                          109.19!

XX-XXXXXXX       !MORTON PLANTHOSPITALASSOOATION 1Nc                                    .PO eox 404817                                        I               iAllANTA. GA 30384--4817                           48&.oal             486.ool            -1            486.oo,

S9-l212BBB       RAC101.0GYASSOC1A1cSOFsoun-1FLOR10APA                                   POSOX.919336                                                         loJU.ANDO,F1328S1-S338                           1,.us.02;             483.191            -1            483.211

"S:,::
   ..::,122=393,=.3"---l"'PA:::LM=•EACH=ccG::::AR=DE,cN,,_S,cM,c:ED,:IAL=CE,cNT,,_E,cR'--------------f•=aso=•::U:::RNS=•=-"------------i-----F-'lPALM=c:8:::EA.::CH=GAR=D.::EN=S,'-'R.=334l0-43==23=----+--..C•,,.SO::L"'l"'6;~-----;·:___                        6,801.161
XX-XXXXXXX       MEDICALCENTERRADIOt.OGYGROUP                                            POBOX9190to                                          [               lon1ANDO,FL32891-9010                              40&.oo!                                        ··-    73.601
XX-XXXXXXX    DRSMORIBEAN&BROOKSPA                                                      ,POBOX11Ei700                                         ----+IATI.ANTA.GA..~•=03.::68~-------t----'"='-=,001                                                                    185.25!
XX-XXXXXXX-·rRAYMCNDFRANKUN                                                              84WJERSEYSTREET                                                      !0R1AN~.FL32806                                  1,999.2Sr--------~:-----;-l---~=_~i,_ _ _ _ _ __,
ss-1301771      ,SURYAVAIDYANATHANMD                                                    ,gs1NW13THSTREET                                      lsuITEtC        laoCARATON,FL33486                                 265.0ol             144.90j            -i            t44.9oi

s!H315226        JOHANNES HENR1cus vAN oovEN PT MTC                                     ls:311 GRAND BLVD                                     !               !NEW PORT RIOiEY, FL 34652-4014                  2.483.00i             491..40!                         635.24;

XX-XXXXXXX       ,TOWfR IMAGING UC                                                       PO BOX 3U49                                                         !TAMPA, Fl. 33631                                 1.964.00/             220.69i                          220.69!

ss-1445s11       ROGER H STEWART                                                         6550 N FEDERAL Hwr                                   !m 3zo         IFORT lAUDERDALE. FL 33308-uoo                    1.290.ooi            772.86!                           n2.86l
XX-XXXXXXX      !EDWIN DEJESUS MD                                                       1685 PAIM SPRINGS DR SUITE 2A                                         !ALTAMONTE SPRINGS, Fl 32701-7853                  150.00i                   -l                          97.so!

XX-XXXXXXX      iCLEARwATER CARDIOVASCULAR AND INT£RVENTIONAL CONSULTANTS MD PA          455 PINELLAS ST                                      im 400          la.EARWATER. FL337S6-33S6                        t.206.00!                                -l            476.89!
,.,2150991       JOHNTGRIGG                                                             !,1soNW33Rosrsrurre113                                I               !coRALSPRINGS,FL33D65                                     .!                 -!           -1                  -!
XX-XXXXXXX       JOIARLESWRUSHMD                                                         60SOCATTI.ERJDGEBLVDSUITE201                                         !SARASOTA,R34232--6014                             sos.oo!             m.s,1                            259.57!

59-2247:,85;,Sc,_.;.:\A::,H"'M'°'ED:,;HO=W::,E::ED:c_Y_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _...;,c7SD=S"-FE=DE'-"RAL="-HWY"-'------------+-i'-----fioc,E,=cER"'-A""ElD=B:::EACH=•~Fl=c3c,344=1•.=576=7_ _ __,___ _ _--'404.=00=<!_ _ _ _1::7,o;4,:=6Sc,.!_ _ _ _.t-1___l::7c:4.:c65:,_i_ _ _ _ __:_-I
5!H3S9ss2       iioHNHSOKOLOW1a.Mo                                                      is353SW124THSTSTE208                                                 IMIAMl,FL33ts&                                      105.50!              84.40!            -I             84.40

~~9_013_--+TRACEY
             ___  EH_ELL
                      __GR_E_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,i~11=~~AP=ALA=CH"'"'~AA~RKW="~'~--------;-------rl,t~AU.AHA:SSE==~•~·~FL~~=•~•1~-454=2~-----+i--~~=~=oo~;_ _ _ _ _ _-+-:_ _ _-1-'-----'~='~.oo"'l-------~
XX-XXXXXXX       IMUSCULOSK                                                              PO BOX 117089                                                        iATLANTA. GA 30368-7089                 j       13,470.00'           2,293.43!                                J
s9-2932312      !aAVIDKYOONMD                                                            92&SAXONBLVD                                                         loRANGEOTY,FL32763-8313                            265.011                   j            -1             sa.22

s9-3189274      1mseANDRAOE MD PA                                                        5412 CURRY FORD ROAD                                 !               loRlANDO. FL32812-SS22                             395.35;                   -i
XX-XXXXXXX      !RONALDSGILBERGMD                                                        14100FJVAYROADSUITE200                               !               !HuDSON,FL34667-7150                                1s.oo!                   -1           -l             1s.oo
59-.3282284     :N FRED EAGLESTEIN oo PA                                                 2ass PROFESSlCNAL CENTER DR                          1               loRANGE PARK. FL 32073                           1,13s.20)             109.so!            -l         109.sol
s9-3283U7        SPEOALTY HOSPITALJACJCSONVILLE                                         ,POBOX74ll94                                          I               !ATIANTA.GA30384                                 1.223.ooi           7,223.ool                     7.223.oal
XX-XXXXXXX       WESTCCASTEARN,:::OSE=Acc;ND=.TccHR=cO=AccT_ _ _ _ _ _ _ _ _ _ _ _-lj=13=3=coso=UTH=F~ORT~.~HA=RR=ISO=N'-'AV~E~NU=E'------+---               ·+'CLEA=-=RW=ATE=R,~Fl=33~7~56~-----+--~56=L=DDc;!_ _ _ _4=Dl~-=08c,.l_ _ _ _.t-!_ _.,,l•=••c:.o:=81,-!             -------I
s9-~2s191 __ ,__ ,!JAM1E aECXERMD                                                       iro BOX 863297                                                        loa1ANDO.FL32886-3297                               39.oa!              29.25)            -1             29.is:!

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 0~34,
    _ , 7'-.0"'SDD~--,'iSO=UTH=EASTE=RN SURGERY CENTER                                   200D CENTRE POINTEBLVD _ _ _ _ _ _ _ _ __,_l_ _ ___,!1'._ALLA_H_ASSE_~•·-'L_3_2308_-48_94
                                                                                                                                                                                _ _ _ _--,_ _~2,~68_S_.71...,i_ _ _~2,6SS_,_7l~i---M•-·_!:-·•-M•-~2,6-i85=.~7lc;-;------;
59-'3474034      [JAMES TESAR MD                                                        !PO eox 628296                                        !               loaLANoo. A. 32862-8296                          2.326.00!                                          1.s1s.02l


                                                                                                                                            EXHIBITZ

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                                                                                                     AEU INTERIM DISTRIBUTION



~8.~1911!~
S9-3SS2817    !JENNIFER PETERS PT                                iPD BOX491313                                 I           1l£ESBURG.. FL 34749-1313       !    362.00l     197.09!         -I       197.091    -

XX-XXXXXXX    l01AKRAVARTH'tRAGHAVANMD                            POaoxt44333                                  I           loRLANDO,FL32Bl4-4333                 75.00\                     .!        60.ool
XX-XXXXXXX    IPRESGAR IMAGING oF CMI NORTH LC                   ,POeox 1169                                  T            !ROCKLAND, ME 04841                 1,SSo.00;          -:                 247.oo:
                                                                                                               I
XX-XXXXXXX     BANEY NANDLALL MD                                  PO BOX 102224                                            jATIANTA. GA 30368--2224        I   3,221.oc;          .!                2,79s_7si

 XX-XXXXXXX ,JENNIFER WU MD       121 MURRAY srREET #3Fl    'lNEW YORK, NY 10007
i=--==~--;=====------------------F======~---------'-----F=--====-------';...•    ---"30::,Do,.DD:::c:c__ _ _ __:;J_____:·,-l'_ __,,(300=.De,01_~'- - - - - - - - 1
XX-XXXXXXX     JAMESTHOMAS U:LL'fDO                               70 NORllt COUNTRY ROAD SUITE 105                          PORT JEFFERSON, NY 11777            100.00:                                    -I
XX-XXXXXXX     INDIAN RIVER COUNTY DEPARTMENT OF EMERGE          lpo BOXBSOODl DEPTII0669                     l             ORLANOO, Fl 32885-0669              620.001     620.0Di         .f       620.001

XX-XXXXXXX    lMARTIN COUNTY FIRE RESCUE                         13485 SE WILLOUGHBY BLVD                      I            snJART, Fl 34994-5060
                                                                                                                                                                572.73:          ·:    ----,-,-----+-1-------1
XX-XXXXXXX     COUNTY OF PINEUAS SOARD OF OOUNTY COMM             POBOX31074                                   I           !TAMPA. Ft33631-3074            i    GGS.33:     66S.33l          -l   66S.33!
XX-XXXXXXX     iTOWN Of DAVIE FLORIDA                             POBOXS477                                    l           '
                                                                                                                           1HIAI.EAH, R 33014-1477              846.24'           -l                 846.241
XX-XXXXXXX     ENT ASSOCOFS.W.GEORGlA                             301 W HANSELL STREET                                      TMOMASVlll.E, GA 31792-6678          56.181      56.18t                   S6.18 I
60-000097S     DAVID COHEN MD                                    :11660 ALPHARETTA HWY STE 265                              ROSWEU.. GA 30076                    ..... ,     88.DD[         -!       (43.DDJI

XX-XXXXXXX     JEFFERY TAYLOR                                     1903 BROADWAY ST                             l            PADUCAH, KY 42001-7105              321.00!     247.19!         _j       247.191

61.Q982294    [ANAND IC SINGH MD                                   I  OUCAGO. IL 60677-6145
                                                                  P08X776145                   928.00!      172.35!          _!   17235!

XX-XXXXXXX      IMAURICEJCAKLEYMD          11901 WINOIESTER AVENUE 1  ASHlAND, KY 41101-77S8   450.DD'                '      -1   349.ss!
                                                                   I lwulSVILLE. KV 40207◄652
                 ======------------------F=====----------+----i=======-----l----'-"'·:'!"·'--------;·l
61-100S772 ···•t~ANLEY SCH.MlEl.MD          4003 ICRESGE WAY 2X1
                                                                                                                        ____,___=860=.D=D::il_ _ _ _ _ _-,1
XX-XXXXXXX      !JACK F DITTY MD PSC        P0B0Xll195                BElFAST, ME 04915         14.1s:             J         -!    74.78l
XX-XXXXXXX       JOHN SANDERS               POBCX24576             I !LEXINGTON, KY 40524-4576 560.00: ·---:i~~-DD~,l,__.____ --~560.DD=~'~------I                                          -_,.!

XX-XXXXXXX      loouGt.ASSETTIN MD          PO BOX 776136          1 /CHICAGO, IL 60677~136    574.ooi                            574.001                                          !


XX-XXXXXXX    !ANDREW J WEST                                     ,2811 KLEMPNER WAY                            l            LOUlSVtu.E, KV 40205-4203
                                                                                                                                                           I
                                                                                                                                                                uo.oo!      130.oo!         -1       130.ool
XX-XXXXXXX     OIAD W HARSTON MD                                  POBCX11790                                                LEXINGTON, KY 40578

XX-XXXXXXX    !RAPIDES REGIONAL MED CTR                          !PO 80)(402934                                I           !ATI.ANTA. GA 30384-2934        I   1,160.SO[          J                 1,160.SD!

XX-XXXXXXX     GLEN BURNIE PHYS1CAI.. THERAPY
                                                                 1
                                                                  PC80XS90                                     I            WESTMINSTER, MO, 21158              1ss.ool     19s.11I         .I       319.131

61-134593S     RICHARD F FORD MD                                  2245 WINCHESTER AVE                                       ASHLAND, KV 41101-2882              175.00:           -!        -!       1,s.00!

XX-XXXXXXX .... jCALES I MOORE                                    644 WEST PUTNAM AVE STE 203                               GREENWICH,. CT06830                 160.oo!      so.ool                   so.ool
XX-XXXXXXX    !JACKIE   sue NIE MAND                              67S0 STILLWATER BLVD N
                                                                                                               !            STIUWATER. MN 55082                 135.00\           .I        -i
~-
XX-XXXXXXX     CYNTI-IIAJUUOI                                     2412 WILKINS DR                              I           'SANFORD,. NC 27330-7268             170.00)                              168.34'

XX-XXXXXXX    ')THOMAS ANTHONY GULINO APN RN ONC                  POB0Xl418                                    I           !AURORA, IL 60507                    393_00:           -l        -1
~2-()846885    THE PATHOLOGY GROUP                                POB0Xl483
                                                                                                               j            INDIANAPOUS, IN 46206-1483          262.00'.    135.67!

XX-XXXXXXX     HUGH H DELOZIER MD                                icEPTB88302                                                KNOXVILLE, 1N 37995-8302             45.00:           -1                   4s.ool
                                                                                                               1,nm12                                                              I
XX-XXXXXXX     JOHN MORRIS CRNA                                   PO BOX 415000                                             NASHVJUE, TN 37241--0912           1,920.00i   1,632.00!                1.632.001

&Z-1089661     DEANAICI.UG MD                                     POBOX881l                                    I           IPARIS, TN 38242-0880                420.00:                              39s.ool
XX-XXXXXXX     GORDON W MOUGHCN MD
                                                                 I
                                                                 '630 ONE EGA AVENUE sum: B                    !           iERwtN, 'TN 37650-2199               195.00i                              159.ozl'
XX-XXXXXXX     JEREMY M GILBERT CRNA                             iPOB0XS249                                   T             BEL.FAST, ME 049l.S-5200            520.00;     520.ool
                                                                                                                                                                                   ;        _,I
                                                                                                                                                                                                     520.0D1

XX-XXXXXXX     ]WIWAMCONN                                        1782 OLO HID<ORYBLVD                          I           !BRENTWOOD, TN 37027                 125.[)0;          -;                  91.95!
~2-~407244     !JEFFREY C MCClAIN OD PC                          !1132 ~_f!:AftlC BLVD SUITE B                             'lMURFREESBORO. TN 37129-2381        140.oo:      Sl..851        -I
                                                                                                                                                                                               I
                                                                                                                                                                                                      susl
XX-XXXXXXX     is E EMERGENCY PHYS MEMPHIS                       iPo   aox 633819                              I           !aNONNATI, OH 45263-3819            2,592.00    1,944.00i                1.944,ooi
                                                                                                                                                                                   '
~-2-1474680
XX-XXXXXXX
               )AMERICAN HOMEPATIENT

               '!THOMAS BERKLEY SHELTON MD
                                                                 l1S6SSOLUTIONSCENTER

                                                                 iPOBOX760                                    !            !onCAGO, IL 60677-1005

                                                                                                                           IMEMPH!S, TN 38101-076D
                                                                                                                                                               1,CE9.00!

                                                                                                                                                                224.DO:
                                                                                                                                                                            352.4Ci

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                                                                                                                                                                                                     352.40i
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                                                                                                                                                                                                      179.001


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                                                               1
XX-XXXXXXX    !Bill APOSTOLON                                   \PO SOX 31629                                                   jKNOXVILlE. lX37930.1629                  1,174.00!                              1,174.00:
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XX-XXXXXXX    sr WKES BEHAvtORAL HEALTH                         POBOX3658                                                        SALT LAKE CITY, UT8411a-.3658            4,883.79i                              1.188.92!
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Gl-OG3!161S   JOHNATHAN L HADlEY MD                            !205S NORMAN DIE DR SUITE 108                                        MONTGOMERY, AL36111-2732               29834!                                 298.341
63-,1041806   !ALABAMA IMAGING PC                              ;205S NORMANDIE DR
                                                                                                                                I
                                                                                                                                'MONTGOMERY, AL361U                        235.73i                .,              202.00
                                                               i                                                                                                                                      J
63--1134714   !HEAL.11-ISOUTH SUNRlSE REHAB                     PO BOX 864427                                                    ORl.ANOO, R. 32886-4427                 27,789.281                             19,452.50
XX-XXXXXXX        0-IAD EWOTT HAR~N DO                          2006 FRANICUN ST                                                !HUNTSVILLE, AL 35801                     1,113.00)               J              1,00L70
XX-XXXXXXX    lANETCASH MD                                      833 ST VINCENTS DRIVE STE 300                                   ]etRMINGHAM, ALBs2as-1s12                  182.00!           91,00!                91.00
XX-XXXXXXX    THE OIUHOPAEDIC CENTER PC                         927 FRANICUNSTSE                                                 HUNTSVILLE, AL 3S801~30S                 8,672.00!                              6,504.0D!  '
XX-XXXXXXX    'fOUNUS M ISMAIL MD                               1508SOUTH BROAD ST SUITE 200                                    lsccrrrssoRO, At 35768-!1998               537.oo:           96.32!               238.801
63-123927D    DAVID DEATKINE MD                                 POBOX1752D                                                      !BEL.FAST, ME 0491S-407D                   111.00!               .,
                                                                                                                                                                                                  I
                                                                                                                                                                                                                  117.00
                                                                                                                                I
63--1262716   DONALD BlAKE PERRY MD                             41SOOHWY280                                                     IBIRMINGKAM,AL35242-S028                   ru.ool                     J
                                                                                                                                                                                                                  493,00!
XX-XXXXXXX    PHYSICAL fXPRESS UC                               SEE PAYTC LOOP                                                  ;Mill.BROOK, Al 36054
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                                                                                                                                                                           264301   '            :i       ·!'     264.30
XX-XXXXXXX    DIAGNosnc MRI OF GADSDEN                          PO BOX 637237                                                   ONCINNATI, OH 45263-7237                   600.001                        -!      600.00!
XX-XXXXXXX    THE OOt HEALTH CAREAUTHO                          809 UNNERSliY BLVD E                                            TUSCALOOSA. AL 35401-2029                   64.501                                 3SAB!
XX-XXXXXXX    lo CANNON                                         971 l.AICELAND DRSUITE 1052                                     jJACl30N, MS 39216--4643                   165.00                         -i      165.00;

XX-XXXXXXX    )ADDIE STANFORD                                   555 HIGHWAY 51 NDRTif                                           '!RIDGELAND, MS39157-9999                  400.001         400.oo!                400.00!
64--0838482   GEORGE H ROBERTSON Ill                           ,3688 VETERANS MEMORIAi. DRIVE SUITE 200                          HATI'IESBURG, MS 39401-8246               913.00i
                                                                                                                                                                                                  j               S26A2j
                                                                                                                                                                                    !
64-6DDDS1S    SINGING RrvER HEALlli SYSTEM                                                                                       PASCAGOUCA, MS 39581                      435.oo:         304.SO:    '   -1      30450
XX-XXXXXXX    INDIAN RIVER HEALTH SVCS INC                      PO BOX 830270                                       IMSC37S     iaJRMINGHAM,AL35283-0270                   so9.ool         305ADi         -i      305.401

65--0DS3288   ERICOUBERTIMD                                     16244S MIUTARYTRLSTE 690                            I            DELRAY BEAQ-1, Fl 33484-6533             1,015.00!       1.015.IID              1,015,00 1
65--0060273   ALFRED OWEN SMllH DC                             '24n STICKNEY PTRD 202A                                          .SARASOTA. Fl 34231-4068                   864.oo:         178.74!                178.74

XX-XXXXXXX    STEVEN CRAIG COHEN DC                             6SS N MILirARYTRAIL                                             !wesr PALM, FL 33415-1305                  26,001            52.00!                52,00
XX-XXXXXXX    STEPHEN M SlNKOE DPM PA
                                                               1
                                                                POBOX 8996                                                      !BELFAST, MED4915-8996                     507.ooi         396.7&i        .i      396.76.

XX-XXXXXXX    loAVID MIOiAEL HEWITT MD                          PO SOX 634633                                                   !cNONNATI. OH 45263-4633                   625.00[  '            .1       .f      625.00:
XX-XXXXXXX    !KENDALL HEALTHCARE GROUP LTD                     PO 60X 402278                                                   IATlANTA,, GA 30384-2278                 3,524.00!                        .I    1,867.721
              ;
XX-XXXXXXX    iSCOTTDTANNENBAUM MO PA
                                                               I
                                                                4399 NOB HILLRD                                                 !SUNRISE. Fl 33351                        2.570.001                       -!     1.447.53

XX-XXXXXXX    PRIMARY CARE OF lHETREAS                         1POBOXD09                                                        VERO BEAOi,     Fl. 32961                 2,150.00i                       -i     1.723.001

XX-XXXXXXX    'MARK W KAYUN MD                                 •333 NW 70llt AVE 107                                            ')PlANTATION, A. 33317H2358                100.00:                        .!       52.13!

XX-XXXXXXX    AMERIPATH A.ORICA llC                            l15684 COllECTlO NS CENTER DRIVE                                 IOIICAGO, IL 60693-0166                    490.oo!                                397.73
                                                                                                                                                                                                                        ;
6~6516        CAPE CORAL HOSPITAL                              :636 OEL PRADO BlVO                                              !CAPE CORAL. Fl. 33990-26!15              4,810.70)        242.401        -!    3,848.S6i

XX-XXXXXXX    ROHAN FARIA MD                                   j7S REMITTANCE SUITE 6660                                        iOIICAGO, IL 60675-6660                   2,516.ool       ~l;!?J          -1     1,323.17:

6S-078S294    IJAMESRROSS                                      1670 GLADES RDAO SUITE 300                                       !BOCA RA~~. Fl 33431-6464                  307.00]               .i               307.DOj

XX-XXXXXXX    1LOIUSJ BUTERA 00                                l4631 N CONGRESS AVE 200                                         1WEST PALM BEAOi, Fl33407~~·--             150.0E.\.--+      53.tol                53.101

XX-XXXXXXX    iGABRIEU£ KATER MO                               !POBOX1313                                                       !LOXAHATCHEE, Fl 3347~1313                 128.00'.          4052;                  40.s2!

                                                                                                                  EXHJBIT2


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~lt!i~1r.i!~                     .- 1 ~ - ' i l a r ' J l l i - 1 - :.>--·.
XX-XXXXXXX     !GEORGEACARDENMD                                    i1411NF1AGLERDR                               lsre1900

65-11968S0     IMARICRAYDALTONMD                                   !901 W 38THST                                 !sulTE301    !AUSTIN, TX 78705-1163                      I      325.001       106.72t             106.72i
XX-XXXXXXX     iCARDIODX                                           iDEPTCH 1992"                                              !PAI.ATINE, IL60D55-9929                         1,245.00l      1.245.DO!     -1    1-245.ool
XX-XXXXXXX     '
               !MARLO CARiER MD                                    11267 HIGHWAY 54 w surrE 3200                              !FAYETTEVILLE, GA 30214-2111                       430.oo/              -!    -1            -i
GS-1264300     !oANIELGIRARDI DPM                                   1992 DEER PARI: AVE                                           DEER PARK, NY 11729-2701                           9s.oo!      9s.oo!              95.ool
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XX-XXXXXXX     S1ERRANEVADAMEC1CAt1MAG1NG                          iPOeox2087                                    I            !CARSON CTV, NV 89702                       I          32.ool                 -1       11.00!
XX-XXXXXXX     SEEMAADARMOPA                                       !19284STONEOAKPARKWAY                         1m102        !SAN ANTONIO~.J:?C. 78258                   !    2,540.oo!      1,374.20!     -!I    299.25
                                                                                                                                                                                                                            1
XX-XXXXXXX     I HEALTHONE CUNICSERVICES                           jpa BOX 74'25n                                             /ATLANTA. GA 30374-2977                     !    4,113.00]      •.w.ooi       _,    4,113.oo!
                                                                                                                                                                                                            _,
XX-XXXXXXX     GARYLEESMITHSRMD                                    !POBOX729                                     1            iarNGGOLD, GA30736-2804
                                                                                                                              I
                                                                                                                                                                                 105.05;                                 -!
71-0n2737      iWHJTECOUNTYMEDICALCENTER                            3214EASTRACESfR                              !            lSEARCY, AR 72143                           !    7,535.so;                    -1           J
               I                                                                                                              i
71-0S64353     !ANOREWWMARCHMDPLLC                                  POBOX20490                                                !MESA,. PoZ.85277                           !      195.00]              J     -I       97.soi
XX-XXXXXXX     BRYAN wu DPT                                        !4341 PIEDMONT AVENUE                         l                OAKIAND, CA 94611                              31s.ool       375.ooi      -!    1375.00l1
XX-XXXXXXX     DENVER HEALTH AND HOSPrrAL AUTHORITY                lPo sox 17989                                I                 DENVER, CO 80217-0989                   i    1.522.05j      1,522J15,     -1
                                                                                                                                                                                                                          I
                                                                                                                                                                                                                  1,522.05!
71..Q965998    INIRAVNmNDESAIMO                                     3838SANDIMASSTSTEB2D1                        ]                BAKERSFIELD, CA 93301                   I                                 -1    (110.71')1
                                                                                                                                                                                                             I
?2,-0423651    jouR LADY OFT'Ht WE RMC                             !5000 HENNESSY BOULEVARD                      j            !BATON ROUGE, lA 70808-4375                        4             305.st!      -!    (244.40)1
12~.f11=•2~os~3~+!M~,~CH~.,~L~P~ZER~,.~o~ue==---------------+-'3-
                                                                ••-,-H-ou_M_A_B_Lvo_sr_e_2_1_________            I                                                               •
                                                                                                                                  METAIRIE, LA 70006-2921 _____________
                                                                                                                                                                                                            -i     184.21!
n-1542112      H1GHCOUNTRYSURG1CALASS1STING                         1202suc1C1NGHAMPLACE                         I                HIGHLANDS RANOi, CO 80130-4159          I    z.s                          -1    Z.56s.ooi
XX-XXXXXXX     !eRic BANlZ                                          103 ow MARLTO Ill PIKE m211                  I            !MEDFORD, NJ 0SOSs.8772                     I                    742.00!      -l     1•2.ool
XX-XXXXXXX     ,DAV1Dwserrs1NGERDO                                  32DNSERVICERD                                !                MOORE, OIC 73160-4945                          1ss.00!              -i    -[            -I
XX-XXXXXXX     leRNEST J MCKENZIE MD                                PO sox 96846                                                  OKLAHOMA CITY, OK 73143
                                                                                                                                                                                                      _,'   -1      14.22i
73--1620264    WIWAM KEITii SMmt JR DPM                             1627 N KICkAPOO                                           SHAWNEE, OK 74804-9998                      I      144.00)       144.ool             144.ool
XX-XXXXXXX     DUDLEY KOY MD                                       !POST Office BOX 421849                      !                 HOUSTON, TX n242-1S49                          115.751                    -1     115.751
XX-XXXXXXX
               1ruOiARD COLWIN BRYARLY JR MD                       !Po eox 843770                                I                DALLAS, TX 75284-,3770                  I                    648.00,      -1     648.001
?M'!:1671142   lsoUTHTEXASRADIOLOGYGROUP.PA                        IPOeox2!1407                                  j            ISAN ANTONIO, TX 78229                      !'                                -I     158.00!
XX-XXXXXXX     1CARI.OSOVIESCAMD                                   IPOBOX910329                                               !DALLAS. TX 75~;~~32!1                                                  -,!   -i-           -l
XX-XXXXXXX     IAN LYN MD                                          l1600MED1CALCENTER DR     m   212                              EL PASO, TX 79902-5008                  I                           -i    -1            _j
XX-XXXXXXX     JUOITHAPESTERMO                                     lPOBOX30309                                                    01ARLESTON, SC 29417-0309               I       76.731                    .i      57541
XX-XXXXXXX     JAMESMATHIS                                          POBOX42830EPTSOSO                                         IHausroN. TX     n210◄283                          356.121                    -1     210.34i
XX-XXXXXXX     lvALLEY EAR NOSE AND THROAT PA                       2101 s CYNTHIA ST M                                       !MC AU.EN, TX 785'8                                                           -1     l64.6511
XX-XXXXXXX     JEffREYSWEISl.OW                                    tl722N1ARAGOZARD                              !STEB            ELPASO, lX,. 79936                      !                    258.BOj
                                                                                                                                                                                                            _,'    2sa.so!
74-22B1317     !ADRIAN CASIUAS                                     !PO BOX 654129                                I            !oAUAS, TX 75265-4129                                                         J       14.oa!
XX-XXXXXXX     ~OSHuA MICHA.fl ROMERO FNP--C                       lsos1 ALAMEDA AVE
                                                                                                                              I
                                                                                                                              !EL PASO, TX 79915-4705                     I                                 -1           I
                                                                                                                                                                                                                    10.SOi

XX-XXXXXXX     ~ASHVANTlALKTHAICKARMD                              iPOBOX3739
                                                                                                                              10iARLESTON, WV 25337-3739
                                                                                                                                                                          I    5,210.00:      1,599.06!           1,599.06!

XX-XXXXXXX     EDIBERTOSCJTO.CORAMD                                ]S959GATEWAYWESTSTE120                        i            !El PASO, TX 79925-3315                     I    1,432.00;              -l
XX-XXXXXXX     1~UTHWESTERN ULTRASOUND INC                         !122wESTCASTEUANO DR                          j            jEL PASO, TX 79912-Ei170                           213.75]       154.57}      -!     154.571
XX-XXXXXXX     !HERMAN ADRIAAN KOSTER PT                           !s35s EDGEMERE etvo                           J           leL PASO, nc 1gg25,.3511 I  708.ao:     S06S2l                                 -1     sos.s2I
74-29S7202                                                                                                                   !EL PASO, TIC 79902-5100 I
               ]MuNEEREASS100_ _ _ _ _ _. _ _ _ _ _ _ _ _ _ _ _ _,;ci11_oo_ec_llff_D_R_IV_E_BL_OG_A_ _ _ _ _ _ _ _ _t-lsre~100---+-'~~~~-~-----+--~20~1.~o•-;l   ______.;                                   _I     128.93]  '
XX-XXXXXXX     lrouR SEASONS oe GYN MO PA                          !1n1 LOU ts PASTIJER DR                       lsurre 907   !SAN ANTONIO, TX 78229                      !    1 -:ti.s.ooi   1 mt:. a1l    _j     180.S9!


                                                                                                               EXHIBIT2

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                                                                                                                           AEU INTERIM DISIRIBIJTION




XX-XXXXXXX        !THE SAN ANTONIO ORTI-IOPAEOICGROUP

174-3058825       !ADESH D PATEL MD                                            l690DAUASHIGHWAYSUITE101                                           !vrUARtcA.GA301BO                       JB4.oD(            110.l!;J!                   11L12!

XX-XXXXXXX        '!BRIGHTON FAMILY PH\ISIOANS                                 120SWGRANDRIVER                                        SUITE200    !6RIGHTON,Ml48l16                       250.00[

XX-XXXXXXX        'jPEDIATRIC GROUP UC                                          310 WESTSf LOUIS STREET                                           lwEST FRANKFORT, IL 62896-2037          100.ool            100.00;                         21.31!
XX-XXXXXXX        ST VINCENT CARMEL HOSPITAL
                  ========----------------+600=2ccRc=BJ=cA=B=llE°'P-"A"'RKW=A"-f-----------li_ _ _ _ _i!-=CHC:ICA=G-"'O''-'IL'-'6"'06=B6=--------i---23=••:::04:=.21=.i_ _____:1"'1,,::4S:,3,::50::,;_ _ _ _.:,.!_......,,(B_,!!!!:~li-'--------1
XX-XXXXXXX        !ewer l   KLBNMAN                                            IPOBOX281084                                                       lAnANTA,GA:30384-1084                   158.DDi             6L92i            .l            61.92!
XX-XXXXXXX        lAfAUATED PA'JliOLOGISTS PAD                                 ls2oe22NDST                                                        ILOMBARDtLGOI.48-6110            I      1Bs.ooi                  -i                    12s.s1i
XX-XXXXXXX        LESUEWALTERS                            _ _ _ _ _ _ _4-PO=BOX=-•=••=1"'48'---------------+-----..iGARlAND, lX 7!i049
                                                                                                                                                                                                 1
                                                                                                                                                                                              , _ _ _ _ __,-l_ _ _---------s-1.N __ -·----
                                                                                                                                                                                           15~...                                            ~.oo!
75-178818l.       LABOP.A.TORY PHYSICIANS ASSOCATION                           iPO BOX 740968                                                     !DALLAS. TX 7S374-0968                  132.BOl             S5.90;           -i            55.90'""[ --------1
XX-XXXXXXX        EDWARD COLES                                                 IPOBOX206239                                                       !DALLAS. TX75320-6239                   28&.00!           200.20(                      200.201

XX-XXXXXXX        METHODIST CHILDRENS HOSPJTAL                                  P0BOX677033                                                       !DAUAS, TX752fi7                      2,26DA2f           1,469.27;           _!      1.469.27]
i75-24740U        !AMERICAN MEDICAL RESPONSE                                    879 MARI.80ROUGH AVE                                              IRIVERSICE, CA 92507-2133             2,03457!                   -!          -i      2,034.57!

XX-XXXXXXX        !AMERIPATHTEXASJNC                                            POB0X844810                                                       :DAUAS,TX75284                          245581                   -!                             _!
XX-XXXXXXX        HEALTHCARE ASSOCIATES OF IRVING UP                           !POeox224968                                                       loAUAS, TX75222◄968                     sgo.ooi                              -!        440.001
XX-XXXXXXX        BENT TREE FAMILY                                             lasso PARKWOOD BLVD                                   STE GOO      iFRiscc, TX 7S034-l91S                 373.00!            373.00!                      3n.oal
XX-XXXXXXX ···- PARAMEDICS_Pi:USLLC ..                                         1POBOX637                                                          ITYLER. lX7571D                       2,933.oal                  -~          -!      2.9nosi
XX-XXXXXXX        DYNAL M LONDON PA MD                                  ---+690~•-SCE_}~!~DR STE 103                                                 ]RowLEIT. ,x 75088-2695                     110.001           .j         -!      es.as I
7S-2BS77SS        iwAU>O MIGUEL MARTINEZ JR MD
                                                                                POBOx 1620                    ..   -·----------·-----,------;-lw-••-oa.~~TX-,.-     ..-..-1&-211------;---·254.--oo-,!   _ _ _ _1_,-,.a-o-;-!----t---1~n~.ao=+l--------1

!75-286S955       lweBOCX RADIOLOGY LP                                          370121ST                                                          !Luesoa. TX79410                      1.909.00!                  -l          -1      1.336301

75--2890358       TEXASHMLTH PRESBYTERlAN AUEN                                  PO BOX 910175                                                     !DALLAS, TX 75391                     1.236.SO!                  -!          -i      1,236.50:

XX-XXXXXXX        COOIC OOLDRENS HOME HEALTH                                    POBOX99Z83                                                        iFORTWORTii,lX76199-0283               200.40!            200.40!                      200.40!
XX-XXXXXXX        !BAYLOR SURGICARE AT NORTH DALLAS                            l12230co1TROADSTE200                                               !DAUAS, rx1szs1                      20,049.ool                  -l                 12.1as.sal
XX-XXXXXXX        STEVEN J DISANTI DO                                           65SDERNERSIDEBLVD                                                 l1ovESPARK.1L6111t-4424                268.00 1                  .j                    136.oot
~S-303S002        MOHINA GUPrA MO                                               PO BOX 57085                                                      !0t1CAGO, IL 60657-00SS                229ADI             143.lSl                      143.tsl

  =="--J!.'===='--------------------l!·PO
       PEllE DUON PEAK
??3077388                                 eox532926                                                                                  I           .!
                                                                                                                                                  IAnANTA,GA 3D353-2926
                                                                                                                                                         89&.ooi                        1,792.00;                  -!
   ==~+=======---------------T1..;_;;;,._-_w_P_1N_H_OO_<_RD
75-3D77864 IPHIUP GAOiASSIN MD APMC                       ___________-+lm_2_oc__7 1_,w_A_,_em.~-~-'~-~-------,---'~•n_9.2_o:r,---~2-~n_,_-~~!____.,....~!'•''"~Ylt--l------1
XX-XXXXXXX        IKfVIN MUWNS MD PC                                            1175 MONTAUIC HWY srE 6                                           jWEST !SUP, NY 11795-4939               630.00!           46L86!                       630.00J

75-600393S        AAMERASBAS                                                    2015 MULBERRY AVE SUITE 210                                       iMOUNT PLEASANT, TX 75455-2316          222.00!             68.n!            -1            68.71/

XX-XXXXXXX        !rOPS SURGICAL SPECIAtTY                                     !Po BOX 301300                                        1            joAUAS, TX 75303                       434.00i                   -i
XX-XXXXXXX        ATHLETIC ORTHOPEDICS & ICNEE CE                              i91Bo ow KATY RD                                      Im    200    ltt0usrON, TX 77055-7443              1,.600.001         1,.600.ooi          -i      t.600.oo!

76-03S3012        !SPECTRACELL LABORATORIES INC                                 10401 TOWN PARK DRIVE                                !            ]HOUSTON. TX 77072-5219               6,709.04)          2.869-9S:                   6.709.04!

76-0394S73        !v,oa ROSE RABIN MD                                          hstS MAIN ST surre 110                                             iHouSTON, rx no30-4537                  280.ooi           213.ao)                      213.Sol
XX-XXXXXXX        irs:RRYWAYNE MOORE DC                                        !507 ROWNGBROOIC                                                   ;BAYTOWN. TX 77521~6                  1.080.DO!           368.61:                      3ti8.till
XX-XXXXXXX        NOAH WAYNE JAFFEE MD                                          PC BOX3140 OEPrl9D                                                !HOUSTON. TX n253-3140                  234.ooi           234.oo!                      234.oo!

XX-XXXXXXX        !MICHAEL PERICLES SIROPAlDES I MD                             PO BOX 844307                                                     ioAUAS, TX7S284                        231.00i                   -!          .[        231.00!

76-0S9724S        !GARY S BRANFMAN MD                                          !110ME01CALDRSU1TE1os                                              ivicroruA. TX77904-31Dt                 sz6.oaJ           391.sgl            -l        391.59j

76-0~916      -·· IG s RAMESH, MD                        ____________!"""915~G~ESSN_ER_____________ ·-·-·l,------+IH_o_u_sro_N~•-"'_7702        _ _ _ _ _ _ _~1._13_2.0_1.,.•_ _ _ _ _ _·.,._·----,---~3~3s~.,~•+l
                                                                                                                                       __.__,._23
                                                                                                                                                         7                                                                                             -------t
XX-XXXXXXX ...,   jROSE JMAGINGSPECIAUSTS PA                         !ro eox 203268                                      ioAllAS, TX 75320-3268            !      503.00!                                    143.ool

7&0754593         ADVANCED PHYSICAL THERAPY, PLLC                              ]4301 MACCORKLE AVENUE SE                                          iDiARLESFON. wv 25304                 2,739.ool          2,739.00)           ~I      2.739.ool


                                                                                                                                    EXH!BIT2

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                                                                                                                       AEU INTERIM DISTRIBUTION



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~~Jfi~1~~~~- ·.~
76-0~6864     !RAlPH MAYER. MD INC.

XX-XXXXXXX    !STEVEN Ra.ARI: PT MHS OCS                                        ,2001 WESTOWN PKWY STE 107                       I           W DES MOINES, IA 50265-1540           171.00!     124.83!                    124.83 1

76--2966928   !MYRIAM lANGER MD                                                  POBOX419430                                                 !eosroN,MAD2241-9430                  250.00)

XX-XXXXXXX    !w1WAM CHARLES PITTS MD                                            PO BOX 50901S DEPT# WS206                                   !SAN DIEGO, CA 921SIJ.901S            490.00;           .:                   490.00:

77~84766          MORGAN LAWRENCE MAGID MO                                      !1661 SOQUEL DRIVE BLDG E                                    !SANTA CRUZ. CA. 95065               1,065.00:    643.93f                    643.931
XX-XXXXXXX        EDWARD JACOB BAN MAN MO                                       bn2JOHNSON DRlVESTEtOO                           l            VENTURA.CA.93003-2654                224.&3!     21s.s1i                    21sssl
XX-XXXXXXX    JOHNS KEU.OGG MD MS                                               !l30BEL1.EROSEDR                                              SANJOSE,CA9S128-1729                 ]g&_QO)            -1                  227.35!

77-?440158 - ..•,ANDREW J KAUFMAN MD A MEDICAL                                   267Wf5THILLCRE5TDR                                  SJ'E2   ITHDUSANDOAICS,CA 91360               54!1.00i    328.931            _I      328.931
XX-XXXXXXX    JSANTA BARBARA NElGHBORHOOO CLINIC:                               i91SNMILPASST                                    /           .SANTABARSARA,CA93103-2331      /     107.00!            .1 ···-·-···-----·-)----,.-.,-1!,-·---------<
77~18674      lNOVAMED SURGERY CENTER OF OAK LAWN u.c                            7980 RELIABLE Pimv                                          fCH1CAGo, lL60686                    4.897.ooi   1,20S.00l                  uoa.ool
XX-XXXXXXX    SOUTHWEST DURHAM FAMILY MED                                       i1S1swNcH1GHWAYS4                                STE130      louRHAM,NC.2no1                 I     340.ooi     192.00\                    266.DO!

XX-XXXXXXX        PREVENTICE SERVICfS, LLC                                       1717 NORTH SAM HOUSTON PARKWAY WS1'E 100                    iHOUSTON, 1X 77038-1324             2,065.ooi    2,065.0oi           -1     2.065.00[

XX-XXXXXXX    lJCEITH BSEIDENBERG                                               !POSOX13694                                                   BELFASr,Mc:04915-4027                250.00;       87.66!                     87.661
XX-XXXXXXX        RIOIARD BARRY otERMAK                                         !POBOXS047                                       !           [FT LAUDERDALE, FL33310-5047         U,42.DO:     913.60!                    913.GOf

80--0107731       MEGAN LYNN HENDERSON APRN                                      PO SOX 932958                                   !           a.EVB.AND, OH 44193                   104.ool      ss.oo!           _!        5s.oo!

XX-XXXXXXX        MIOiAEL LAWRENCE YU MD                                         PO BOX 741702                                               AnANTA. GA 30374-1702                 670.DD 1    389.95{           -1       389.9S!
ao-o211s13    !DeRMATOPATHOUJGY SPECIALISTS                                     1s10 LONG POINT RD surre 230                                 MOUNT Pl.EASANT, SC29464-3285         185.ool     1os.oo!           -!       J.OS.oo!

XX-XXXXXXX    iRIOIARD LHORAKII_____                  _ _ _ _ _ _ _ _ _ __.lP..:Oc::BO,cX"'34=7•c__ _ _ _ _ _ _ _ _ _ _--l-----+~~~RN,AL36831-3476                                 160.DOi                       -!       125.471
XX-XXXXXXX    STEVEN E MAJOR DC                                                 1927 W LIBERTY DR                                            WHEATON, IL60187                      615.DOj     llO.l3i                    342.781

so-o586939        MDLABS                                                        ho115ooueLASRB1.VD                                   m102    !RENO,NV89521--897S                   409.oo:                       -I       409.ool

ao-o688659    !ANNE BRANDON oc                                                   979B ROUTE 22                                               leRESTER. NY 10509-152&               465.001     11s.ooi            -1      23z.sol
XX-XXXXXXX        WESTADRIDA-PPHLLC                                              POBOX742640                                                 An.ANTA,.GA30374-2640                7,769.66)           -)          .j            -i
Bl-0231784    IM10teu.ESPIEllSON                                                IPOeOX313l.S                                                 BIWNGS,MTS9107                        u1.oo!            .j                         •!
81--0547233   BRUCEJ THOMAS DOS                                                 11149 BOUGHTON STREET BLDG B                                 WAlERTOWN, Wl 53094                  2,104.oo!          -l                  Z.104.DDi
                                                                                1
.,•::.1-=11,.,,os.,09"'0'-----+l,,,•o,,MAN=_,,1SAA=c'-"M"'o'---------------------fi3=30=-G=RAN=o=-sra=•=.,."SUTTE==-'=OOL=---------+-----+·"=oeo=•=••~·"'="'"03"'o-'"'2=1=2a~-----+------'104=·os=,-·----~_11----+------+l---------1
XX-XXXXXXX    ILAuRIEROSENFELD                                                   212e1LL£TSBRIDGERD                              [           !CARNDEN,NC27921-1sos                 250.ooi     ts3.8o!                    25o~l

81-1401?14    AURORASURGERYCENTERSU.C                                           ,POSOX:341880                                    I            MILWAUKEE. WJS3234-1880            19,137.00:           -·          -l    18,180.16)

XX-XXXXXXX        UPSTATE AFFILIATE ORGANIZATION                                !pa BOX 601177                                               Q-lARLOTTE, NC ZB:ZW-1177           3,155.20!     275.20~                   3,086.401
                                                                                                                                                                                         1
.,•::.i-~188=801::.4::---+"'MA:::,R,olC"'YN'-T:.;S::.PR::,Ee.:N:::KLE=------------------fPO=SO=X'-19=248=--------------l------F"'="~==·~M=-E04='""'°"=='------+-----'Z7~8.=00=_ _ _ _ _ _ _ _.J ____l----'Z7=8-00='+''-------I
XX-XXXXXXX    !0tR1STOPHEROONOHOEMD                                              3916NDAMENAVENUE                                            _otlCAGO,IL60618                      650.00[            -I           t            -1
s1-19967S3    !eMtLKOHAN M.D. INC.                                               435 N ROXBURY DR                                STE 106     leEVERLY HIUS. CA 90210-5003         1,200.00\           -!         _I      uoo.ool
Bl-2n1954     TERRACEMUOiA                                                       POBOX10276                                      !            LOVESPARK.IL61131·3176         !     331.00:           .!          _!             .!
XX-XXXXXXX    STEVENWAUIN                                                        1705MOUNTVERNONRDSUITEA                                      DUNWOOD'Y,GA.30338-4257        j     260.00:           .:                         -1
                                                                                ;
XX-XXXXXXX        OiARtESTON DERMATOLcx;v PC                                    )5401 NETHERBY LANE                              lm1202      .NOKfHOIARl.fSTON,5C2942D            1,158.86:    &20.sol                    620.sol
                  TAMMYKMQ.EANMD                                                !6600 WHITTLESEY BLVD BLDG A                                 lcoLUMBUS, GA 31909-7251              490.00;
                                                                                                                                                                                                       ,                  234.56\

XX-XXXXXXX    /BIREN SHAH                                                       16090STRATHMOOR DR 5lE 6                                     IR0CKFORD.1L&1101                     s1s.ooi      73.50;                     1s.soi

XX-XXXXXXX    IVIUAGEMOOFSOUTHEAST~;,--··                                       !9055 KAlV FREEWAY                                           !HOUSTON, 1X 7702.4                   387.00j

~~_:3436690
              I
              INEUNDAJ RHODE ARNP                                            --·-fPO BOX 851341                                              \MINNEAPOLIS, MN 55485-1341           329.14'.    279.77:'.                  279.771

XX-XXXXXXX    !A1LADDICT'ION RECOVERY UC                                        !330 US HIGHWAY ONE SUITE 2                                  llAKE PARK. Ft 33403-3531           n.200.00!                                      -I


                                                                                                                               EXHIBIT2


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                                                                                                 AEU INTERIM DISTRIBUTION




                                                                                                                       ! □N□NNATI, OH45253-9126                                   337.0Di     303.3Di

81•3759666    THE NATURAL HEALTH PROlECT UC                       555 HIGHWAY 51                                           RIDGElAND, MS,. 39157                                 1,272.ooi    541.ooi            838.64!
XX-XXXXXXX                                                       'PO BOX 18309                                             BELFAST, ME 04915-4D78                                  ias.ooi          j
XX-XXXXXXX                                                        1601 GEORGIAN PARK STE 100                           1;~CHTllEE Cm', GA 30269-6968                             1.094.85;    561.76!            561.76
XX-XXXXXXX                                                       :PO BOX ns202
                                                                                                                       1
                                                                                                                        0IJCAGO, IL 60677-5202                                   2,no.00!           j                   .I
XX-XXXXXXX                                                        POBOX2D692                                           'BELFAST, ME 04915-4103                                    176.00!                        176.00
XX-XXXXXXX    '[S,ERRA ESTREUAS EMER PHYS LLC                    i1S00S MILLAVE                                        !TEMPE, AZ 85281--6699                                    1,710.00!          -i          1.110.ool
81~256666     iSETH OIATtlES RAYE MILLER DC                      j102NSTHST                                            jPONCACITY,OK74601                                        2.179.00!          -!          1."4.60i
82-163553B    !PARK PlAZAHCSPITAL                                 PO BOX 744321                                         ATI.ANTA. GA 30374-432.1                                  572.17!           -I
                                                                                                                                                                                                     I
XX-XXXXXXX    iJOHNIUYA                                           UOB HD..LTOP DR 105                                      ROCKSPRINGS, WV829Q1-S858                             4,S57.00[   4,329.15:

XX-XXXXXXX    FOUR PINES PHYSICAL iHERAPY' PC                    ·POBOX8467                                            i.JAOCSON, WY 83002-8467                                   545.00!
XX-XXXXXXX    MEOICALNECE551TIES&SERVIC!SUC                      llSOuPTOWNSQUARESTE e                                 !MURFREESBORO, lN 37129-0581                               475.00:     475.00 1           475.00
XX-XXXXXXX    ,lAURIE ANN STEVENS MD                              35 EAST 85TH STREETSUrrE SN                              NEW YORK. NY 10028                                     soo.ool     soo.ooi            5"0.00,
XX-XXXXXXX    !YAMPA VAll.EY MEDICAL CENTER                       1024 CENTRAL PARX DR                                                                                            799.93)     77S.93i            715.93

XX-XXXXXXX    !DEREK HARPER DPM                                  !1so HOSPfTALLODP                                      CRAIG, CO 8:l62S-8750                                     763.00!     724.SSi            124.ssi
XX-XXXXXXX    IJE~EMY WEISS 00                                    2090 S UNIVERSITY BLVD                               •DENVER. CO 80210--3904                                     67.oo!      53.40!             S3AO

XX-XXXXXXX    ,KEVIN W HANLEY MD                                  36GAROEN CrR                                         isROOMFlELO, CO B002~1776                                   38.27[      38.27              38.27
XX-XXXXXXX                                                       :151 W LAKE Sf                                        'FORT COWNS, CO 80524                                      13D.OOi     130.oo!      ·I     74.0S
XX-XXXXXXX    CRmCAL CARE PULMONARY ANO SLEEP                    !PO BOX 91186S                                        loENVER. co 80291-1865                                     844.00\           ·! '         844.00
84-1061.975   !BRADLEY ALGER MD                                   1960 OGDEN ST ST!: 600                               'iDENVER, CO 80218-3666                                    108.00!      91.soi      -1     91.80,
XX-XXXXXXX    !ALEXANDER KENT MEININGER MD                        940 CENTRAL PARK DR STE 190                                                                                     220.00!     220.ool      .i    220.ool
84-US6388     DIVcRSIFIED RADIOLOGY OF COLO                       PO BOX 173840                                        '
                                                                                                                       IDENVER CO 80217•3840                                      357.001     18L7Si             18L78

XX-XXXXXXX    COLORADO REHAB AND ace MED                         !1390 S POTOMACsr                         mus          AURORA, CO 80012                                         U82.7Bi      385.27\            385.27
                                                                                                                       !                                                                                    I
XX-XXXXXXX    KELLY ANN MCALEESE MD                               3n3 OiERRY CREEK DRIVEN #101                         !DENVER, CO 80209-3821                                     94s.ool     945.0D!      ·I    37e.oo!

XX-XXXXXXX    1RIPL.fY ROBERT HOWSTER MO                          4190 E WOODMEN RD STE ZOO                            'COLORADO SPRINGS, CO 80920                                165.ool     108.Slj
                                                                                                                                                                                                            !
                                                                                                                                                                                                                 102.10) 1

84--1449166   DONALD W CANNON DC                                 12472 F ROAD UNIT 6                                   iGRANO JUNCTION, CO 81SOS                                  165.ooi      69.44   '          69...;1
                                                                                                           1
XX-XXXXXXX    HARRtS RJENSEN MD                                  hsooJDHN F lt.ENNEDY PKWY                  SUITE210    FORT COWNS. CO 80S2S-261S                                 300.oo:                        300.00;

SC.1497134    ALEX R CUDROWICZ MD                                 POBOX667                                             Ice= co s132u,667                                          160.ool      37S41              37S4
                                                                                                                                                                                                                          1
XX-XXXXXXX    DENVER-\IAIL ORTHOPEDICS PC                         11960 LIONESS WAY SUITE 27D                          IPARKER, CO 80134-5640                                    1,095.00!                       629.so
XX-XXXXXXX    STEVEN J PAGAN DC                                  116691 SMOKY Hill. RD                                  )AURORA. CO 80015                                         245.oo,           -!           245.001
                                                                                                                       I1                                                                              ;
XX-XXXXXXX    !AZASTHMAALlfRGY                                   iusss N 75TH Ave                                         ffORIA, AZ 85381-6097                                  1,670.00:                              .i
86-04344SS    !sw GENERAL INC                                     PO BOX 847102                                            DAUAS, Tx:75284-7102                                  1,002.58'          -i
XX-XXXXXXX    'ROOZBEH RASSAOI MD                                !3805 E BELL RO sum: 4800                             !PHOENIX. AZ 85032-2173                                    886.DOI     230.6Si      -i    230.65

XX-XXXXXXX    ,BURREU.WOU::                                       72SSDOBSONRD                                         lcHANDLER, AR 85224-5679                                   215.38(      73.95!      .i      73.951 '
~~6901        jJOHN KORYAKOS MD                                  1922SN3RDST30S                                        !PHOENIX. AZ 850».2466                     ___________. 130.ool        uo.ooi             130.00l

86-lDll.997   tMARSHAJANETTETOMUNSON MD                          iDEPT3396                                             !LOS ANGELES, CA90084-3396      •••••• --· 1"'-···--···   1,634.00)
                                                                                                                                                                                              943.00j      -!    943.oo!
8~1069056     IPmR MORRO PT                                      j4 WALTEREFORANBLVDSTE203                             !REMINGTON, NJ 08822-4666                                   220.00\    1.54.00i           154.001


                                                                                                         EXHIBIT2


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                                                                                                                                         AEU INTERIM DISTRIBUTION




XX-XXXXXXX    IDANIELlAMESLEEMo                                                          ll23100EANSTREET                                                                  jsrcHARLES,1L6011s-106s                          385.oo:         124.sz~                    124.82 i

XX-XXXXXXX    •BRIGHAM YOUNG UNIVERSITY"-----------------t·1=7SO=N~WVM=~O~U~NT~TER=RACE=~---------!~---+iP.ccROVc.c..Oc,..c•Uc..cT.e.84c.c604-8600==~------i-----'1"46=.00=..-[_ _ __,10=c83=7,!_-----l---'1,::08.::,37::.;_)- - - - - - - 1
XX-XXXXXXX    'SOUTHPARK SURGERY CENTER                                                  !pa BOX 601836                                                                    CHARLOTTE. NC2826Q..1836                       3,122.92)        3,122.92(                  3,122.92j

a1-01s1612    ASSOOATESINDERMATOLOGY             ------------+l•:::•09=MAl=N'-'sr;:__ _ _ _ _ _ _ _ _ _ _-flsr=n==u=-_ _1,=••='DG=•=PORTCT06606-1830                                                                        75s.oo!         337.43i                    337.43
XX-XXXXXXX        DUSTINLRILEYMD                                     _ _ _ _ ___,112DDMOUNTAJNSTSTE230                                                                     •CARSONOTY,HV89703-3821                          146.00]          59.40l          .1          59.40f

XX-XXXXXXX    [CARSON TAHOE EMERGENCY PHYSIOANS                                           PO BOX 95728                                                                     OKLAHOMA    arr OK73143-5728                    928.00!                                     928.00!
              ;
B&-0256932    !SOUTH LYON MEDICAL CENTER                                                  ZDSWHITACREST                                                                    lvERINGTON,NVS9447--0940                       3,0la.751        1,B26.33i                  2.010.1&!

 8-0303529        NORTHERN NEVADA EMERGENCY PHYS                                          POBOX95728                                                                       ioKt.AHOMAaTY,OK73143-5728                      935.001                -!                   935.00•

SB-0376746    hEfFREY DWTGHT UPTON MD                                                     1525 VISTA lANE                                                                  ,CARSON CTV, NV 89703-4633                       180.00]          52.17!                      52.17 i
SB-0422196        DONNA LYNN ESKWITT Aue                                                  1867 CALIFORNIA AVENUE SUITE 101                                                lcoRONA. CA9288t-72Bt                           1,100.ooi         21s.ooi                    275.00

88-047739S    JACOB CARA0TT DC                                                            4921 ESTATE ST                                                                  !ROCKFORD., IL6ll0B-2275                         240.00j           42.00j                    102.00

XX-XXXXXXX    SPRINGVALLEYSURGERYCENTER                                                   POBOX30SSO                                                                      ILASVEGAS,NVS9173                              10,146.00!                         1,440.ool
i:9:::l>-Oc:c1c:.:40668="-····_,1:~=R'-'W'-'E::;IN::;STO=CK,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,_79=CH:..:ESTN=:.::UT"'STR=EET=-----------+----FjR:::IDG;::;EW=0:.::00::::,~lll"-0"'7-'45'-'0------+---'1.:,;:92S=.OO:::+-,----=975.00=:::l;-_ _ _:;....._ _,~:~,l_ _ _ _ _ _-I
XX-XXXXXXX    !oouGt.AS C MUROOCK.MD --·                                                  PO SOX. 20735                                                                   \BElJAST. ME 04915-4104                          136.SO\          U654!                      126.54

XX-XXXXXXX                                                                               ,PO BOX402023                                                                    !ATLANTA.GA30384-2023                            504.001------2=-46.94=c:l._ _ _ _'----'2::4::::•·::94:,.I_ _ _ _ _ _-I
SD-0499004                                                                                2S N LANIER AVENUE                                                              !FORT MEADE, A.33841·2918                       1,080.001         378.87!                    378.87!

XX-XXXXXXX                                                                               !49SOCOMMUNICATJONAVESUTTE250                                                     ,BOCARATON,Fl33431·3307                        2,135.22i        1.387.92}                  1.387.92!

XX-XXXXXXX                                                                                2555 E 13nf ST STE 130                                                           LOV!:LAND, CO 80537·S161                        251.00!                -i                   168.491
                                                                                                                                                                                                                                  i
90-(1883864                                                                               4802 lOlli AV!:                                                                  BROOKLYN, NY 11219-2916                        7,975.00!         185.741                   1,259.96

XX-XXXXXXX                                                                                PO BOX 1049                                                                      MORGANTOWN, WY 26507•104!:I                     253.00!

XX-XXXXXXX        MfDEXPRESS URGENT CARE pC INDlANA                                       PO BOX 11948                                                                     lsruAST. ME 04915-4010                          240.DDi
                                                                                                                                                                                                                                            154.91;                      37.49
                                                                                          1019 PAQACAVENUE                                                                                                               86,877.231                                  50,293A5

                                                                                          PO BOX 2168                                                                      FARGO,   ND 58107-2168                          100.00/
F•=-1-1=779=..=•~-t•:.::•~w~A•~•~'~w~AR~D~MD=_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ l.:.,1Sc:R:::EMe:ITT=ANC=•c.eDR=STE=•37=•---------l-----+'l01=1CAG=o"'.1"'L606=7:.::5-63=7:.::9_ _ _ _ ___,__ ___c29=3JlO=i______-+-i----'-1---'"'"'"'·oo""-------=-t
XX-XXXXXXX    MICHAEL vKO MD                                                             l1s REMITTANCE DR sutTE 1611                                                                                                      320.oo!          28833,                     288.331
91•1780102        MARY J ADlER MD                                                         75 REMITTANCE DR STE 1611                                                       iOilCAGO, 1160675-1611                           546.oo!

91·1932954    !FREDERICK GERALD MINER                                                    iMS 31S010PO BOX 3947                                                            iSEAfflE. WA 98124-3947                          289.76!                                     153.61!
91·2163283    !WOMENS VIEW MEDICAL                                                        PO BOX 843Z27                                                                   ,BOSTON. MA 022fl4..3227                         257.00!                                     257.001

91·2185756        DANIEL BROWN WALLIKAN MD                                                PO BOX 36725                                                                     OIARLOm. NC28236-672S                            1n.oo!                                       as.so!
XX-XXXXXXX    \PROVIDENCE IMAGING CENTER                                                 13427 E TUDOR RD                                                                 !ANCHORAGE, AK 99507-1282                        759.ooi          736.23\                     .....i
XX-XXXXXXX    J.nMontv ueNG                                                              !PO BOX 1189                                                                      koRvAWS. oR 97339--1189                        l.167.73!                                    157.O3i'
XX-XXXXXXX    loREGON HEALTH &SCIENCE UNIVERS=TTY~--                 ------+iPO=so~•~:as~•• _ _ _ _ _ _ _ _ _ _ _ _ _..__ _ _~i~_Q!fTLAND. oR 97208                                                                        339.00:                           -!;-,---,:.::.~
                                                                                                                                                                                                                                                                         254251
                                                                                                                                                                                                                                                                           •.=,7:+;-------1
XX-XXXXXXX    IPEACEHEALTH 1ABORATOR1ES                                                  iPO BOX 77003                                                                     ]sPRINGAEW, OR 97475                            693.00!          261.96!
                                                                                                                                                                                                                                                   I                              I
                                                                 -::_-::_-::_-::_-::_-::_-::_-::_-::_-::_-::_-::_~jPO~~so:""x_"',_•~ooo:~o_EPT_334_1_•__________,______,::lSA:::N'-'FRA=•=o=sc=o1,.=CA'-'94'-'l3=•----
94-11S6~.?.~...-.. ;.,.FRESNoCOMMUNTTYHOSPJTALAN~•~M~EO=•==c~_ _ _                                                                                                                                                        1,304.211         692.90(                   1,,270.85

XX-XXXXXXX    LOHN MUIR HEALTli                                                                                  PO BOX 39000 DEPT33370                                   lSAN FRANOSC. CA 94139                            29225!          219.19!          _;

                                                                                                                                                      EXHl81T2

                                                                                                                                                         228
                                                          Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 253 of 266 PageID #:11349




                                                                                                                                                 AEU INTERIM DISTRIBUTION




                                                                                                                                                                                                                                           981.DDi               598.oo:
XX-XXXXXXX                                                                                                                                                                                                                                  92.oo:
94-3:3')7S69   H ____   /LAWRENCE DAVID DICKINSON                                                                                                                                                                                          1so.00!                      -!
94-337107S              KUUW SINGH SIDHU MD                                                                                                                                                                                                543.00]               488.10!
94,.3461199             REGENTS OF THE UNIVERSITY OF                                                                                                                             ILOSANGELES,GA90074                                        51.80)                51.80!

94-Wl4062
                        ,=:::::m=RlH"',.,_'--'M"'~'--TI-O-N-LTD
                                                                                                                                                                                                         1      00":----30-,828.38--i-:----'----'='-'
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                                                              _____________---11f":C:C~:::o=:-":==•c:c•~'------------------------·---~---·-·-----'-'~:="==:=:~""CA=~:==':=c7":coo:=84-065:::                                                    S76.70i
XX-XXXXXXX                                                                                                                                                                                                                                                                                     (6,525.83) i

XX-XXXXXXX              jMARC BEAGHLER                                                              5855 OLIVAS PARK DR                                                          !VENTURA, CA 93003-7672                                   160,00;
                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                        -:
9s.-259ns3              ANDRE M lSHAIC MD                                                          !3szs LOMA V1STA RD SUITE A                                                    VENTURA. CA 93003-3101                                   387.oo[               243.so!                            248.80
XX-XXXXXXX              wtST HILLS HOSPITAL & MED CNTR                                             17300 MEDICAL CENTER DR                                                        WEST Hll.1S. CA 91307-:1902                              866.95!               664.09;                            664.091

9S-3535900              SUN QJNICALLABS                                                            19349 TELSt'AR AVf. UNIT A & B                                                 EL MONTl:1 CA 91731-2815                                 143.50;                19.39!                             1939j

XX-XXXXXXX              00NA1.DJ GJESDAL MD                                                        i16960 E BASTANCHURY RD STE H                                                  YORBA LINDA, CA 92886"                                   21&.ool               163.20!                            187.20!   j
XX-XXXXXXX              1EAST COOPER MEDICAL CTR                                                    PO BOX 741267                                                                ,AllANTA, GA 30374                                        44431i                368.781                            368.781

XX-XXXXXXX              :FACJ;Y MED FNDTN                                                           ALE S0670                                                                    iLOS ANGELES.. CA90074-0670                             1,155.00;             1,061.91;                        1.,061.911

~~397431                laeNTE H BERMAN                                        2952s CANwooo ST STE 219                                AGOURA HILLS, CA 91301-4231          355.oo;                 3ss.00,         3SS.001

XX-XXXXXXX              !THANHG.PHUN:,G,c:;Mo:·"::.·---------------·-·1POPO.•B00xx,.,3510"',.14:,::_18------------+-----!!"'so::UTH=•=Lc::M::O:::NTE=,CA="1=7=33'-----i----C!...,,,.,,,.oo,;!,__ _ _ _ -!____-!----===
                                                                                                                                                                                                                    2112.891
95-46S1287              iDEESHAU SHAH DO                                                                                                                                         !PASADENA, CA 91189-1418                                  sw.oo:                560.c~l                            560.001
95-4an907               SYLVIA L GARCIA, MD INC                                                     14442 WHITnER BLVD STE ios                                                   lwHrmER, CA 90605                                          ss.001                     '                             85.oo!
~~=~+'M='CHAE==L:::JAM=ES::.RE=•"'-----------------t=m=•=••:::OLL=o'"•:::M=------------t-----+ive=NnJ=RA,=CA"-•==aoc:::03::=....______+---"'==oo:+l____l::42.='"'l-;----='----'="                                      142.761
                                                                                                                                                                                                                              I
!!f~.. --'FiA,,,MAZON=:::·::CO:::M"-LLC=-----------------...PN/e::Ac::No:O.:..:P":::™=ENT=TD=••:::v.::cOVDE=•"---------f------fl•,,,IAe.__ _ _ _ _ _ _ _ _ _+-____;4c,7c,,l.98=!_ _ __,a,,,s,,,.oo"'i-;----'!--....!:!=~
                                                                                                                                                                                                                     (369.CD)j

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~;...--!']BA=••es=•c.::U::,5/"T"'ovs=•,.,u:::s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _f"N"/A:.!N:,:Oc:.P:!AVM=ENT"'-------------!-------f=-----------!---"''790:·:=                                   (379.99}

RERJNC                  ICENTRALGEDRGIAHEARTCENTER                                                 !10S2FORSYTHSTSUITE1B                                                                                                                   225.001               m.oo!                              180.00)

!!.~~Pt.......     .-   coMMUNETY CARE oF wesr VIRGINIA INC                                        jNANCY JOSEPH                                                PO BOX 11241      BELFAST. ME 04015                                         12.00                 12.001                            (47.00),
               1        1                                                                                                                                                                                                                                                           _,'
RE~~,?..11111:;,<-Jc1AGNosnc IMAGING ALLIANCE oF t.ouJSVIUf                                         PO BOX 950121                                               J                !LoutsV1ue, KY 40295-0121                                  93.ool                93.oo:                            '"'·0011
~~~g_~,rR• EMERG CARE SERVICES OF ttl                [3585 RIDGE PARK DR                        AKRON. OH 44333-8203                                                                                                                     3,64LOD!              3,64L0oi             -i     (2.441.00!!
                                                                                                                                                                                                                                                                                    _!
~FUND.,.....,,~-F=----------------------i;=S06=G::,RE,::E,:.N:"-":::Y.cR=OAD=-----------'------l'==="'-·                                                                                                                                 3,25LOO;              3,251.00!                   @,25'-0'1!
~~~gmn:,r·"·1tU HEALTH UC~ BROWNSBURG                                                              110319 JEFFERSON HIGHWAY                                                       BATON ROUGE, lA 70809                                    218.00;               218.00i            -:          tzlB.ool
                                                                                                                                                                                                                                                                  =.oo":li----=t---=~,------='-1
~~D~--FKE,,,RRe,Y_,B::,Rle,ON:,:E5=CA:,,:Re,0,:UNA=H:,:EAe,Le;THSY5TEM=="------------flc/':,:•:..::A:,:CCU=D::::0:,.CRetu=:::m:.,.Ma=il:..:Pro:::cess.=·::i"''-------i'-''0"'B"'O"X.::2090=-'rM:,:O::,RR:::ISV=IUE,=N:,:Cc,,.27:.,560=------+---'''=1100=i-i_ _ _ _..            (69.00)!

REFUN~·-~i!!!!======----------------i='32le:..,,Bosto=!!.•,:,PO,:stc,Rd,,__ _ _ _ _ _ _ _ _ _+----F====-------+----'34=1-D~0,_1_____.,34!:!_1.D=Ot-l----=!--~~!!!J...------=--1
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                                                                                                                                                                       (1,819.20}
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REFUND                  :NORTHEAST RADIOlOGY INC                                                   !Po BOX 42468                                                                  ONCNNATI, OH 45242-0468                                  122.25:               122.25:                        (1.22.25),

~~!!..--;:.iP=Eo:::.•:=clA:.,.T:::AZEIN==•LL:c.P:..:A:.!TH:::O::l:::;OG::;Y.c,G:::RO::,U:::.P_ _ _ _ _ _ _ _ _ _ _ _ _!;=11=00.:.:W..;:Gl£=N.:.:•.:.:v•:..:..:.;;00=-----------+-----.•:.::•=0111A.=.:::'L=•·==•=-1•:__ _ _ _ _ _-!----'15".1=•cc'-----=15:::·.::'":;.;____.:;,__          _,1=15"'_, ,01,. i______:_-J
R~RJ~?..,...____ !RALEIGH SEDATION ASSOOATES. uc                                                   14754 e. STATE ROAD 64                                                        !sRADENTON. FL 3ll208-90SB                              2.150.oo:             2,150.ool                        (908.lBJI
REFUND
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                 !m:FUNC
                   _JROBERl"EADENMD
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                                                                                                                                                                                                                                                               7,652.23!,
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                                                                                                                                                                                                                                                                                               17   1i
                                                                                                                                                                                                                                                                                                ;:::1+-1-------1
REFUND                  iRockford Health s   ems Anest. Services                                   i6785 weaver Rd                                              lsuite 2D        tROCKFORD, IL61114                                      l.586.00i             1.sss.00!            -!         1.SB6.oo)l


                                                                                                                                                              EXHIBIT2

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                                                          Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 254 of 266 PageID #:11350




                                                                                                                                   AfU INTERIM DISIRIBlJTION



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~,!!.N~ftHH:~l;::""::offo:::l=o.:.:HDD=""=&.:::Ass,:-==M:::;O::__ _ _ _ _ _ _ _ _ _ _ _ _-+[s::;75=5::.:H"'oo,=":.:":::""'c::._-----------!lr------;.:!"[c:AM::,•:.::•,.,.•c.:cL:::37,:25::S:__ _ _ _ _ _-+-l____,13:::7:::.S::,,O:;_i_ _ __,n~7e,.S:::o·f-,---~---''=13~7.SO:!!!/J.!e---------''--I
~..--f'SM=llE~LO=UISc.V""WS=-------------------,ir290=2T~A~YLO=RSVl=lLE=R~O.A~O-----------t-----f!L~OU:::ISVl=lLE=•"'~40-'2=0S'-------f-----'256=JJ=D"";_ _ __;2S=6.00=-'----!•i-!__(25=6:::.ll:::,Dl;..!_ _ _ _ ___:_-I
R~...             SPECIAUSl'SINMEDtcALIMAGtNG                                            !POeox3212                                                             l1NDtANAPOUS,IM46206-3272                I            310.ooi            310.001                -!         (3tn.ooJ!

~~~~=1.....c..:oc-··l~a_u~s----------·---------~!-~/A                                                                                                           lvoNICERS,NYlD71D                        !            230.98;            230.98~                _j         (230.9BJl
REFUND           luNMRSITYPHVSJOANASSOOATESOFNEWJERSEY                                   ·30BJ:RGENST1tt20S                                                     iNEWARK.NJ07107                                       936.DD\            936.ool                -1         (891.ooi!
~~~;e:~~:::::··~·nwefS!tyRaO!o]o~,,_G::;ro:::uccp..cPC=---------------rC/CCO..CRe=mex=•c.c'"~c.---'-----------Fi3:::07~W~•~"~-="'c..;.~~~CETO=~N~.NJ=DB540='-------!------'30=5=JJD='----=3=05=.oo=',-:- - - -.+-1_~(2~44~.ll~D"l,l_ _ _ _ _ _-l
a;FUND .......,,........ X-RAY ASSOCIATES OF LOUISVILLE                                   PO BOX 715!1                                                          LOUISVILLE, KY 40257                                  794.ool            794.ooj               -~]         {794.DOJ!;--------1
REFUND            ~O_H~N~M_c_•_••-•~•'~-----------------i:=B02=•..::w:,:1N""C"HEsrE="'•"RO°'STE=2SD=--------l-----FISA=LT.:;lAJC=•=crrv=·UT=B41=D7'-------··-·· .i-·---~87~S~JJDc..!_ _ _~3~77~.os~!;--'.------l-l__(376.DSl·,_;- - - - - - l
UNkNOWN           ADVANTAGE IMAGING LLC                                                  '3m PARKEAST"OR SUITE 100                                              /sEAOfWOOO, OH 44122-4334                           1,515.001          1,s1s.oo:                _/        1,.515.00,

UNKNOWN           ANESTHESIAASSOOATES OF ICC PC                                           PO BOX 801185                                                         .KANSAS crrr. MO 64180-1185                           666.00!            402.00i                            402.ooi

UNKNOWN           CAROLINAS HEA1.1HCARE SYSTEM                                           lc1a ACCUDOC Retum Mall Processing                      POBOX209D      MORRISVlt.l..E, NC27S60                  !            26S.ooj            198.75!                -1          198.?s!
UNKNOWN          lANUPAMARAVUCANTHMD                                                      481WPHCEST                                                            !LAWRENCEVILLE. GA 30045-3200            I             66.ooi             26.76!                _!           26.761
UNKNOWN           CENTRAtoH10PR1MARYCARE                                                  POeox1136S9                                                           ONONNATI. OH 45271•3659                  !            390.00:            390.ool                -1          390.ool
UNKNOWN           OARENCE CARR MD                                                        11200 No~hslde Fmsvth Dnve                                             icuMM!NG, GA 30041                       l            B8B.7si                 -l                -1                -;
UNKNOWN          loANIB.J.EWElSSMD                                                        447N EL CAMINO REAL                                   10200           ENO NITAS, CA 92024                      I            203.00!            203.ooJ                -1          203.ool
UNKNOWN          .RFTHAVENUEPLAST1CSURGERYPC                                              10495THAVENUE                                         SUITE2C                   -!
                                                                                                                                                                ,NEW YORK, NV 10028-0115
                                                                                                                                                                              15,067.001                 I         15,067.00i                 )

UNKNOWN          iHSS~·---···-··-·                                                        OncCentr.alAvenue                                     Ste.111                   .!
                                                                                                                                                                !TARRYTOWN, NY 10591   -!                !            52830i                  -!
                  M~tropolitanOralSu~ ·······-..-·--· -·-·-····-------------+'1~1~75~P~••~"'~'~,..~St.=N~E----------+----t---~-~-------+--~3~,7~44"JJD~!------,-'f-------+·l_____,-1,---------1
UNKNOWN                                                                                                                 Atlanta, GA30361
UNKNOWN           NllsaMJlrnenezMD                                               !100MCGREGORSTREET                     MANCHESTER. NH 03102         183.ocl       -i     -!     w.ool
UNKNOWN           OVERLAND PARK REGIONAL MEDICAL CENTER                                                                                                         BURLINGTON, NC27216                                   188.00!            13L60j                 -!          13L60i
UNKNOWN          )PROHEALlH CARE INC                                                     !ro eox31GG                                                            MILWAUKEE. WI 53201-3166                            :z.79s.G2!         2,798.62!                -l        2.198.62!
                                                                                                                                                                                                         I                   I                    I              I                   I
                                                                                                                                                                                                         I   :iao,457,s75Jl2 I   62.567,7911.91   I 54,270,DD!UO I   10,853,332.32   I   6,349,047.62




                                                                                                                                              EXHIBIT2

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Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 255 of 266 PageID #:11351




                             Exhibit 3
                                     to
           Court Approved Plan of
            Distribution/Interim
                 Distribution
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 256 of 266 PageID #:11352




                          EXHIBIT3
                 AEU NON-MEDICAL CLAIMANTS
                       TYPE 4 CLAIMS

                          AEU NON-MEDICAL CLAIMS
          CLAIMANT           APPROVED                          DESCRIPTION
                                CLAIM
                               AMOUNT
         KEN STAHNKE         $     490.00                 REFUND OF PREMIUM PAID
        I DESIGN SALON       $   3,367.00                 REFUND OF PREMIUM PAID
           TALLTREE          $ 147,383.75       NON-MEDICAL GENERAL CREDITOR CLAIMS FOR
       ADMINISTRATORS                          SERVICES (CUSTOMER SERVICE CALLS, PROCESSING
                                                 UNFUNDED MEDICAL CLAIMS, TAX DOCUMENT
                                                      PREPARATION. STOP LOSS FILINGS)
       FAMILY EYE CARE       $      1,303.00              REFUND OF PREMIUM PAID
           CENTER
        CENTRUST BANK        $     11,611.00             REFUND OF PREMIUM PAID
         BENEFIT PLAN            $23,326.56                     TPA FEES
       ADMINISTRATORS
            TOTAL            $    1872481.31
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 257 of 266 PageID #:11353




                            Exhibit 4
                                     to
           Court Approved Plan of
            Distribution/Interim
                Distribution
         Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 258 of 266 PageID #:11354


Receivership Management, Inc.
510 Hospital Drive, Ste. 490 Madison, TN 37115 (615-370-5733) Fax (615) 373-4336

                                               (INSERT DATE)




              .TYPE
               . ffi:m1 CL.AIMA.NrriQ:R.
                        2, Q~IlVIA.fff: "

         RE:      AEU Benefit Plan Court Ordered Liquidation (Martin J. Walsh v AEU Benefits,
                  LLC, et al, Case No. 1:17-cv-07931, United States District Court Northern District
                  of Illinois at Chicago)(Kness)

Dear (IN~ERT         NAME) :
The enclosed check was issued to you pursuant to the Independent Fiduciary's Plan of
Distribution/Interim Distribution approved by order of the United States District Judge John F.
Kness dated 3/28/2023 which can be found at:
https://www.receivermgmt.com/aeubenefitplan.htm You were previously approved by the
Independent Fiduciary for a reimbursement of monies you paid to providers which was the
responsibility of the AEU Benefit Plan. Your reimbursement check covers the following tracking
numbers:




The enclosed check represents 100% payment of the approved amount of your Type 1 or Type 2
Claim. You will not receive any further distribution regarding your Type 1 or Type 2 Claim.
Please remember, you need to cash your check by no later than 120 days from the date of the
check because it is void after that date. After that date, the Independent Fiduciary will forward
the amount to the Unclaimed Property Fund of the state shown in the address section of this
letter pursuant to the procedures set forth by the particular state.

Please turn to the back of this letter for frequently asked questions and responses to assist you.
Thank you in advance for your assistance with this process.

                                          Receivership Management, Inc.
                                       AEU Benefit Plan Independent Fiduciary
Enclosure; Refund Check
100425859.6                     EXHIBIT 4 TO INDEPENDENT FIDUCIARY'S
                             PLAN OF DISTRIBUTION/INTERIM DISTRIBUTION
         Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 259 of 266 PageID #:11355

                AEU BENEFIT PLAN LIQUIDATION - FREQUENTLY ASKED QUESTIONS
  (1)   What is the AEU Benefit Plan? The AEU Benefit Plan was a health benefit plan operated
      by AEU Holdings, Inc. and was administered by 7 third party administrators: Tall Tree,
      Benefit Plan Administrators (BPA), Taylor Benefits, Capitol Administrators, Benefit
      Administration Services (BAS), Pequot Health, and UCHealth.
  ( 2) Who filed the lawsuit seeking liquidation of AEU Benefit Plan? The United States
      Department of Labor (DOL) filed the lawsuit to protect the assets of the AEU Benefit
      Plan for its members and providers.
  (3) What Court is handling the litigation involving the liquidation of AEU Benefit Plan?
      DOL's lawsuit was filed in federal court in Chicago, Illinois. The case number is 1:17-
      cv-07931. It is being handled by U.S. District Court Judge John F. Kness.
  (4) Why did the Court place AEU Benefit Plan in court ordered liquidation?        Basically,
      the Court determined under the Employee Retirement Income Security Act of 1974 (ERISA)
      that it was necessary for it to take action to prevent any unnecessary drain of AEU
      Benefit Plan assets so its assets could be used for unpaid claims and the expenses of
      the liquidation.
  (5) Who is Receivership Management, Inc.? Receivership Management, Inc. (RMI) is the court
      appointed Independent Fiduciary in charge of the liquidation of the AEU Benefit Plan.
  (6) What telephone number do I call with questions not answered by this FAQ?
      615-370-5733. You may also email your questions to: AEU@receivermgmt.com. You may fax
      questions or correspondence to RMI at 615-373-4336.
  (7) Why did I receive a check from RMI?        RMI' s attorneys filed a motion for interim
      distribution with the Court and it was approved.    Basically, RMI determined that there
      were sufficient assets av'ailable to make an interim distribution and the Court approved
      RMI's plan.   You can review the Motion and Order for additional details by going to:
      https://www.receivermgmt.com/aeubenefitplan.htm
  (8) As a result of the Interim Distribution Order, how much will members and providers be
      paid for their claims?   Per the Court's Order, Type 1 and Type 2 Claimants are being
      paid 100 cents on the dollar owed to them by the AEU Benefit Plan. Type 3 Claimants
      are being paid approximately 11 cents on the dollar. Type 4 Claimants are not receiving
      a payment. Details regarding the Types of Claimants and their priority can be found in
      the Order and Court-approved Plan of Distribution posted to the website referenced
      above.
  (9) Is this all the payments C1aimants will receive? RMI does not know if there will be
      another distribution because it is dependent on RMI recovering additional assets. If
      additional assets are recovered, you will be notified.      Type 1 and Type 2 Claimants
      have been paid in full so they will not receive any further payments.
  (10) How did RMI determine how much to pay each Claimant?       Type 1 and Type 2 Claimants
      paid amounts to medical providers that should have been paid by the AEU Benefit Plan.
      They are receiving a reimbursement of the Plan Responsibility Amount they paid. Type 3
      Claimants are receiving a pro-rata amount of the adjudicated Plan Responsibility Amount
      owed to them. Type 3 Claimants are receiving a pro-rata amount because there are not
      enough AEU Benefit Plan assets to fully fund this class. Type 4 Claimants will not be
      paid until the Type 3 Claimants are paid in full.
  (11) How do. I, as a provider, determine what members/patients the amount of the check
      covers? For Type 3 Claimants, your check represents payment for the federal tax payer
      identification number associated with all of the tracking number(s) on the front of
      the letter you received with your check.    You can look at your MCDSs for the tracking
      numbers to identify the patients and claims the check covers. All members and providers
      have a tracking number or numbers associated with their accounts. You can find your
      tracking number by looking at the top of your MCDS statement you received in May/June
      2018 or if you filed an appeal, any amended MCDS statement you received.
  (12) I lost my MCDS Statement. Can I get another?     Yes but you must request a replacement
        copy by email to AEU@receivermgmt.com, mail, or fax. If you are a Provider you will be
        required to provide: the entity's name, the email address where you want the MCDS sent,
        your FEIN and tracking numbers to receive a replacement MCDS. If you are a Member you
        will be required to provide the full name of the member and dependents covered by AEU,
        the email address where you want the MCDS sent, the last four digits of your social
        security number and your tracking numbers.
100425859.6                 EXHIBIT 4 TO INDEPENDENT FIDUCIARY'S
                         PLAN OF DISTRIBUTION/INTERIM DISTRIBUTION
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 260 of 266 PageID #:11356




                            Exhibit 5
                                     to
           Court Approved Plan of
            Distribution/Interim
                 Distribution
         Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 261 of 266 PageID #:11357

Receivership Management, Inc.
510 Hospital Drive, Ste. 490 Madison, TN 37115 (615-370-5733) Fax (615) 373-4336

                                               (INSERT DATE)




         RE:    AEU Benefit Plan Court Ordered Liquidation (Eugene Scalia et al v AEU Benefits,
               LLC, et al, Case No. 1:17·cv·07931 ·JHL·SMF, United States District Court
               Northern District of Illinois at Chicago)

Dear:

The enclosed check was issued to you pursuant to the Independent Fiduciary's Plan of
Distribution/Interim Distribution approved by order of United States District Judge John F.
Kness dated 3/28/2023 which can be found at:
https://www.receivermgmt.com/aeubenefitplan.htm. As per the Court's order, the enclosed check
represents your pro rata portion of the AEU Benefit Plan assets available for interim
distribution to the Type 3 Claimants. The prorata distribution is 11 cents for every $1.00 of
allowed claim. Your check covers the following tracking numbers:




IMPORTANT! PLEASE READ: The following statement further explains and clarifies the above-referenced
Independent Fiduciary's Plan of Distribution/Interim Distribution and notices thereof previously transmitted
to you and supersedes any and all statements therein that may be construed as inconsistent with it:

(1) Cashing or depositing the enclosed Interim Distribution payment irrevocably establishes your agreement
to participate in the Court-approved Orderly Plan of Liquidation and this Interim Distribution being made
thereunder. With respect to the "Plan Pay" portion of the unpaid medical claims represented by the above-
referenced tracking number(s) and further identified in Exhibit 2 to the Plan of Distribution posted at
www.receivermgmt.com/aeubenefitplan.htm ("Claims"), cashing or depositing the enclosed Interim
Distribution Payment will result in the following:
    a) A partial satisfaction of the Claims to the extent of the enclosed Interim Distribution payment. Cashing
        or depositing the Interim Distribution payment does not affect your Claims in excess of the amount of
        the Interim Distribution payment ("Unsatisfied Portion of Your Claims") except as indicated in
        subparagraph (c) below, nor does it affect the Patient Responsibility amounts identified in Exhibit 2 to
1ooss3932.1                   EXHIBIT 5 TO INDEPENDENT FIDUCIARY'S
                           PLAN OF DISTRIBUTION/INTERIM DISTRIBUTION
          Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 262 of 266 PageID #:11358

          the Plan of Distribution and owed by the patient(s)/member(s) ("Participants") of the AEU Benefit Plan
          or its Participating Plans.

     b) The right to participate in any future interim or final distribution(s) that may be made in accordance
        with the Orderly Plan of Liquidation.

     c) Your agreement:

          (i) not to initiate or continue any suit, action, complaint, petition, charge, or any other form of
          administrative, legal or arbitral proceeding, or to engage in or threaten any type of collection activity
          directly against any Participants for collection of the Unsatisfied Portion of Your Claims;

          (ii) not to assign or transfer the Unsatisfied Portion of Your Claims to another for collection and to
          rescind, withdraw or cancel any such assignment or transfer previously made;

          (iii) to seek payment of the Unsatisfied Portion of Your Claims solely and exclusively from amounts that
          would otherwise be payable to you on behalf of the Participants pursuant to the benefit provisions of
          the AEU Plan and its Participating Plans as evidenced by the Plan Pay amounts set forth in Exhibit 2 to
          the Plan of Distribution, and to look solely and exclusively to the AEU Benefit Plan and its Participating
          Plans for payment of the Unsatisfied Portion of Your Claims in accordance with the provisions of the
          Orderly Plan of Liquidation; and            ·

          (iv) not to report negative credit information related to the Participants of the AEU Benefit Plan and its
          Participating Plans.

Cashing or depositing the Interim Distribution payment confirms that you are aware of and agree to be bound
by the above terms. If you do not agree to these terms, please return the check to the Independent Fiduciary's
office.

(2)    You must cash your check by no later than 120 days from the date of the check because it
is void after that date. It will not be replaced.

(3)    If you do not cash/deposit your check within the referenced 120 days, you will not receive
the interim distribution from The Benefit Plan Liquidation Estate. If you do not cash/deposit
your check within the referenced 120 days, you will still, at a minimum, be bound by the Court's
Order Staying All Proceeding's Against Participant (D.E. #38) which prohibits you from pursuing
Participant/Patient for amounts owed to you from The Benefit Plan and prohibits you from
reporting negative credit information or engaging in collection activity against a
Participant/Patient. Those restrictions will remain in place until the closure of the Court
proceedings or until further order of the Court. You can view a copy of the above-reference order
on the above-referenced website - see "Signed Order Granting Unopposed Motion of All Writs
(11/15/2017)."

Please turn to the next page of this letter for frequently asked questions and responses to assist
you.
                                  Receivership Management, Inc.
                            AEU Benefit Plan Independent Fiduciary
I 00583932.1                    EXHIBIT 5 TO INDEPENDENT FIDUCIARY'S
                             PLAN OF DISTRIBUTION/INTERIM DISTRIBUTION
         Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 263 of 266 PageID #:11359

               AEU BENEFIT PLAN LIQUIDATION - FREQUENTLY ASKED QUESTIONS
  (1)   What is the AEU Benefit Plan? The AEU Benefit Plan was a health benefit plan operated
      by AEU Holdings, Inc. and was administered by 7 third party administrators: Tall Tree,
      Benefit Plan Administrators (BPA), Taylor Benefits, Capitol Administrators, Benefit
      Administration Services (BAS), Pequot Health, and UCHealth.
  (2) Who filed the lawsuit seeking liquidation of AEU Benefit Plan? The United States
      Department of Labor (DOL) filed the lawsuit to protect the assets of the AEU Benefit
      Plan for its members and providers.
  (3) What Court is handling the litigation involving the liquidation of AEU Benefit Plan?
      DOL's lawsuit was filed in federal court in Chicago, Illinois. The case number is 1:17-
      cv-07931-JHL-SMF.   It is being handled by U.S. District Court Judge John F. Kness.
  (4) Why did the Court place AEU Benefit Plan in court ordered liquidation?        Basically,
      the Court determined under the Employee Retirement Income Security Act of 1974 (ERISA)
      that it was necessary for it to take action to prevent any unnecessary drain of AEU
      Benefit Plan assets so it's assets could be used for unpaid claims and the expenses of
      the liquidation.
  (5) Who is Receivership Management, Inc.? Receivership Management, Inc. (RMI) is the court
      appointed Independent Fiduciary in charge of the liquidation of the AEU Benefit Plan.
  (6) What telephone number do I call with questions not answered by this FAQ?
      615-370-5733. You may also email your questions to: AEU@receivermgmt.com. You may fax
      questions or correspondence to RMI at 615-373-4336.
  (7) Why did I receive a check from RMI?        RMI' s attorneys filed a motion for interim
      distribution with the Court and it was approved. Basically, RMI determined that there
      were sufficient assets available to make an interim distribution and the Court approved
      RMI's plan.   You can review the Motion and Order for additional details by going to:
      https://www.receivermgmt.com/aeubenefitpian-htm
  (8) As a result of the Interim Distribution Order, how much will members and providers be
      paid for their claims?    Per the Court's Order, Type 1 and Type 2 Claimants are being
      paid 100 cents on the dollar owed to them by the AEU Benefit Plan. Type 3 Claimants
      are being paid approximately 11 cents on the dollar. Type 4 Claimants are not receiving
      a payment. Details regarding the Types of Claimants and their priority can be found in
      the Order and Court-approved Plan of Distribution posted to the website referenced
      above.
  (9) Is this all the payments Claimants will receive? RMI does not know if there will be
      another distribution because it is dependent on RMI locating additional assets. If
      additional assets are recovered, you will be notified.      Type 1 and Type 2 Claimants
      have been paid in full so they will not receive any further payments.
  (10) How did RMI determine how much to pay each Claimant?       Type 1 and Type 2 Claimants
      paid amounts to medical providers that should have been paid by the AEU Benefit Plan.
      They are receiving a reimbursement of the Plan Responsibility Amount they paid. Type 3
      Claimants are receiving a pro-rata amount of the adjudicated Plan Responsibility Amount
      owed to them. Type 3 Claimants are receiving a pro-rata amount because there are not
      enough AEU Benefit Plan assets to fully fund this class.    Type 4 Claimants will not be
      paid until the Type 3 Claimants are paid in full.
  ( 11) How do I, as a provider, determine what members/patients the amount of the check
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      have a tracking number or numbers associated with their accounts. You can find your
      tracking number by looking at the top of your MCDS statement you received in May/June
      2018 or if you filed an appeal, any amended MCDS statement you received.
  (12) I lost my MCDS Statement. Can I get another? Yes but you may request a replacement
      copy by email to AEU@receivermgmt.com, mail, or fax. If you are a Provider you will be
      required to provide: the entity's name, the email address where you want the MCDS sent,
      your FEIN and tracking numbers to receive a replacement MCDS. If you are a Member you
      will be required to provide the full name of the member and dependents covered by AEU,
      the email address where you want the MCDS sent the last four digits of your social
      security number and your tracking numbers.

100583932.1                 EXHIBIT 5 TO INDEPENDENT FIDUCIARY'S
                         PLAN OF DISTRIBUTION/INTERIM DISTRIBUTION
Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 264 of 266 PageID #:11360




                            Exhibit 6
                             · to
           Court Approved Plan of
            Distribution/Interim
                Distribution
      Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 265 of 266 PageID #:11361



 Receivership Management, Inc.
 510 Hospital Drive, Ste. 490 Madison, TN 37115 {615-370-5733) Fax (615) 373-4336

                                                (INSERT DATE)

      Insert Recipient name and address
             TYPE 4 CLAIMANT



          RE:   AEU Benefit Plan Court Ordered Liquidation (Martin J. Walsh v AEU Benefits,
                LLC, et al, Case No. 1:·11·cv·0793l·JHL·SMF, United States District Court
                Northern District of Illinois at Chicago)(Kness)

Dear (INSERT NAME) : .

You are receiving this letter because you have made a claim against the AEU Holdings LLC
Employee Benefit Plan Liquidation Estate that has been classified as a Type 4 Claim. Pursuant
to the Independent Fiduciary's court-approved Plan of Distribution, a Type 4 Claim is
subordinate in priority to claims by the Independent Fiduciary for its fees and expenses, Type 1
claims (plan participant reimbursement claims), Type 2 Claims (employer reimbursement
claims) and Type 3 Claims (medical provider claims). Please refer to the Court-approved Plan of
Distribution posted on the website at www.receivermgmt.com/aeubenefitplan.htm regarding
questions you may have.

This letter confirms that the amount of your Type 4 Claim as shown on Exhibit 3 to the Plan of
Distribution is a final determination of the approved amount of your claim. Your Type 4 Claim
covers the following tracking numbers:


                                      INSERT TRACKING NUMBERS




At this time there are no funds available for a distribution. prorata or otherwise, on your Type 4
Claim. You will be notified if funds come available in the future such that a Type 4 claim
distribution can be made.

Please turn to the back of this letter for frequently asked questions and responses to assist you.


                                   Receivership Management, Inc.
                               AEU Benefit Plan Independent Fiduciary
100425881.7                   EXHIBIT 6 TO INDEPENDENT FIDUCIARY'S
                           PLAN OF DISTRIBUTION/INTERIM DISTRIBUTION
     Case: 1:17-cv-07931 Document #: 687 Filed: 04/28/23 Page 266 of 266 PageID #:11362


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       are being paid approximately 11 cents on the dollar. Type 4 Claimants are not receiving
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100425881.7                  EXHIBIT 6 TO INDEPENDENT FIDUCIARY'S
                          PLAN OF DISTRIBUTION/INTERIM DISTRIBUTION
